Prepare. Protect. Prevail.
                                                                                                                                                                     3
                                                                                                                                                        THE
                                                                                                                                                        HARTFORD
                                                                                                                                                       Business Insurance
                                                                                                                                                       Employee Benefits
                                                                                                                                                       Auto
                                                                                                                                                       Home




May 13th. 2024




        Insured :                    REFORMED THEOLOGICAL SEMINARY RTS
        Policy Number: 43 UUN DF2645
        Policy Term:                 05/20/2022 – 05/20/2023
        Writing Company: HARTFORD FIRE INSURANCE COMPANY



This will verify that, to the best of the undersigned's knowledge, the attached is a complete and accurate
representation of insurance policy referenced above. Documents and/or information produced herewith
are kept and maintained in the ordinary course of business.




Alicia Thayer Wiater
Operations Support Specialist
Clinton Business Center
Hartford Office Location




                                                                                               301 Woods Park Dr. Clinton, NY 13323
                                                                                               Toll Free: 888-525-2652
                                                                                               Fax: 866-809-1178




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Special Multi-Flex
Business Insurance Policy




                                   ABCD



                                   EFGH



                                   IJKL



                                   MNOP



Form HM 00 01 03 14                Epolicy Jackets              Page 1 of 1
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 Û¨¿³°´»- ±º Ý´¿·³- ¿²¼ Ô¿©-«·¬-
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                                  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ




                Ê×ÎÙ×Ò×ß ÒÑÌ×ÝÛ ó ÑÎÜ×ÒßÒÝÛ ÑÎ ÔßÉ ÝÑÊÛÎßÙÛ




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 ÐÔÛßÍÛ ÓßÕÛ ÍËÎÛ ÌÑ ×ÒÝÔËÜÛ ÇÑËÎ ÐÑÔ×ÝÇ ÒËÓÞÛÎ ×Ò ßÒÇ ÝÑÎÎÛÍÐÑÒÜÛÒÝÛ




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    ÌØ×Í ÒÑÌ×ÝÛ ßÐÐÔ×ÛÍ ËÒÔÛÍÍ ÌØ×Í ÐÑÔ×ÝÇ ×Í
 ÍÐÛÝ×Ú×ÝßÔÔÇ ÛÒÜÑÎÍÛÜ ÌÑ ÐÎÑÊ×ÜÛ ÝÑÊÛÎßÙÛ ßÌ
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     ÛßÎÌØÏËßÕÛÍô ÓËÜÍÔ×ÜÛÍô ÓËÜÚÔÑÉÍ ÑÎ
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 ÌØ×Í ÒÑÌ×ÝÛ ßÐÐÔ×ÛÍ ×Ú ÇÑË ØßÊÛ ß É×ÒÜÍÌÑÎÓ ÑÎ
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ÉßÎÒ×ÒÙæ ÌØ×Í ÐÎÑÐÛÎÌÇ ×ÒÍËÎßÒÝÛ ÐÑÔ×ÝÇ ÜÑÛÍ
ÒÑÌ ÐÎÑÌÛÝÌ ÇÑË ßÙß×ÒÍÌ ÔÑÍÍÛÍ ÚÎÑÓ ÚÔÑÑÜÍô
ÛßÎÌØÏËßÕÛÍô ÓËÜÍÔ×ÜÛÍô ÓËÜÚÔÑÉÍô ÔßÒÜÍÔ×ÜÛÍô
É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôò ÇÑË ÍØÑËÔÜ ÝÑÒÌßÝÌ ÇÑËÎ
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ÑÐÌ×ÑÒÍ ÚÑÎ ÑÞÌß×Ò×ÒÙ ÝÑÊÛÎßÙÛ ÚÑÎ ÌØÛÍÛ
ÔÑÍÍÛÍò ÌØ×Í ×Í ÒÑÌ ß ÝÑÓÐÔÛÌÛ Ô×ÍÌ×ÒÙ ÑÚ ßÔÔ ÑÚ
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                           ÐÑÔ×ÝÇØÑÔÜÛÎ ÒÑÌ×ÝÛ
                        ×ÒÔßÒÜ ÓßÎ×ÒÛ ÜÛÜËÝÌ×ÞÔÛ


×º §±«® Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» °±´·½§ô ±® ¬¸» Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²»
Ý±ª»®¿¹» Ð¿®¬ ±º §±«® Í°»½·¿´ Ó«´¬· Ú´»¨ Ð±´·½§ô ·²½´«¼»- ¿²§ ±º ¬¸» ×²´¿²¼
Ó¿®·²» Ý±ª»®¿¹»- ´·-¬»¼ ¾»´±©ô §±« -¸±«´¼ ¾» ¿©¿®» ¬¸¿¬ ¬¸» ³·²·³«³
½±ª»®¿¹» ¼»¼«½¬·¾´» ¿°°´·½¿¾´» ·- ²±© üëððò


Ç±« ³¿§ô º±® ¿² ¿¼¼·¬·±²¿´ ½¸¿®¹»ô ¾«§ ¾¿½µ ¬¸» üîëð ¼»¼«½¬·¾´» ½±ª»®¿¹»ò


                Ý¿³»®¿ Ü»¿´»®-
                Ó«-·½¿´ ×²-¬®«³»²¬ Ü»¿´»®-
                Ý±³³»®½·¿´ ß®¬·½´»-
                Û¯«·°³»²¬ Ü»¿´»®-
                Ú·´³
                Ú´±±® Ð´¿²
                Ð¸§-·½·¿²- ¿²¼ Í«®¹»±²- Û¯«·°³»²¬
                Ì¸»¿¬®·½¿´ Ð®±°»®¬§
                Ê¿´«¿¾´» Ð¿°»®-




Ú±®³ Ùóíîèéóð                                                               Ð¿¹» ï ±º ï

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                                   îððîô Ì¸» Ø¿®¬º±®¼
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            ×ÓÐÑÎÌßÒÌ ÒÑÌ×ÝÛ ÌÑ ÐÑÔ×ÝÇØÑÔÜÛÎÍ
        ÌØÛ ØßÎÌÚÑÎÜ ÝÇÞÛÎ ÝÛÒÌÛÎ ÉÛÞÍ×ÌÛ ßÝÝÛÍÍ

Ì¸¿²µ §±« º±® ½¸±±-·²¹ Ì¸» Ø¿®¬º±®¼ º±® §±«® ¾«-·²»-- ·²-«®¿²½» ²»»¼-ò

Ç±« ¿®» ®»½»·ª·²¹ ¬¸·- Ò±¬·½» ¾»½¿«-» §±« °«®½¸¿-»¼ ¿ ¹»²»®¿´ ´·¿¾·´·¬§ ±® °®±°»®¬§ °±´·½§ º®±³ Ì¸» Ø¿®¬º±®¼ô ©¸·½¸
·²½´«¼»- ¿½½»-- ¬± Ì¸» Ø¿®¬º±®¼ Ý§¾»® Ý»²¬»®ò Ì¸·- °±®¬¿´ ©¿- ½®»¿¬»¼ ¾»½¿«-» ©» ®»½±¹²·¦» ¬¸¿¬ ¾«-·²»--»-
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¼¿¬¿ ¾®»¿½¸»-ô ½±³°«¬»® ª·®«- ¿¬¬¿½µ- ¿²¼ ½§¾»® »¨¬±®¬·±² ¬¸®»¿¬-ò

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    ±    Ì¸·®¼ °¿®¬§ ½§¾»®-»½«®·¬§ °®»ó·²½·¼»²¬ -»®ª·½» °®±ª·¼»®- ¿²¼ ¿ ´·-¬ ±º ¿°°®±ª»¼ -»®ª·½»- ¬± ¸»´° °®±¬»½¬ §±«®
         ¾«-·²»-- ¾»º±®» ¿ ½§¾»®ó¬¸®»¿¬ ±½½«®-
    ±    Î·-µ ³¿²¿¹»³»²¬ ¬±±´-ô ·²½´«¼·²¹ -»´ºó¿--»--³»²¬-ô ¾»-¬ °®¿½¬·½» ¹«·¼»-ô ¬»³°´¿¬»-ô -¿³°´» ·²½·¼»²¬
         ®»-°±²-» °´¿²-ô ¿²¼ ¼¿¬¿ ¾®»¿½¸ ½±-¬ ½¿´½«´¿¬±®-
    ±    É¸·¬» °¿°»®-ô ¾´±¹- ¿²¼ ©»¾·²¿®- º®±³ ´»¿¼·²¹ °®·ª¿½§ ¿²¼ -»½«®·¬§ °®¿½¬·¬·±²»®-
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    ïò   Ê·-·¬ ©©©ò¬¸»¸¿®¬º±®¼ò½±³ñ½§¾»®½»²¬»®
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    ±   Ì¸» Ø¿®¬º±®¼ Ý§¾»® Ý»²¬»® ·- ¿ °®±°®·»¬¿®§ ©»¾ °±®¬¿´ »¨½´«-·ª»´§ °®±ª·¼»¼ ¬± ½«-¬±³»®- ±º Ì¸» Ø¿®¬º±®¼ò
        Ð´»¿-» ¼± ²±¬ -¸¿®» ¬¸» ¿½½»-- ½±¼» ©·¬¸ ¿²§±²» ±«¬-·¼» §±«® ±®¹¿²·¦¿¬·±²ò
    ±   Î»¹·-¬®¿¬·±² ·- ®»¯«·®»¼ ¬± ¿½½»-- ¬¸» Ý§¾»® Ý»²¬»®ò Ç±« ³¿§ ®»¹·-¬»® ¿- ³¿²§ «-»®- ¿- ²»½»--¿®§ò
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        ¿- ®»¯«·®»¼ «²¼»® §±«® ·²-«®¿²½» °±´·½§ò Î»¿¼ §±«® ·²-«®¿²½» °±´·½§ ¿²¼ ¼·-½«-- ¿²§ ¯«»-¬·±²- ©·¬¸ §±«®
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        °«®°±-»- ±²´§ò Ì¸» Ø¿®¬º±®¼ ¼±»- ²±¬ -°»½·º·½¿´´§ »²¼±®-» ¿²§ -«½¸ -»®ª·½» °®±ª·¼»® ©·¬¸·² Ì¸» Ø¿®¬º±®¼
        Ý§¾»® Ý»²¬»® ¿²¼ ¸»®»¾§ ¼·-½´¿·³- ¿´´ ´·¿¾·´·¬§ ©·¬¸ ®»-°»½¬ ¬± «-» ±º ±® ®»´·¿²½» ±² -«½¸ -»®ª·½» °®±ª·¼»®-ò
        ß´´ -»®ª·½» °®±ª·¼»®- ¿®» ·²¼»°»²¼»²¬ ½±²¬®¿½¬±®- ¿²¼ ²±¬ ¿¹»²¬- ±º Ì¸» Ø¿®¬º±®¼ò Ì¸» Ø¿®¬º±®¼ ¼±»- ²±¬
        ©¿®®¿²¬ ¬¸» °»®º±®³¿²½» ±º ¬¸» -»®ª·½» °®±ª·¼»®-ô »ª»² ·º -«½¸ -»®ª·½»- ¿®» ½±ª»®»¼ «²¼»® §±«® °±´·½§ò
        É» -¬®±²¹´§ »²½±«®¿¹» §±« ¬± ½±²¼«½¬ §±«® ±©² ¿--»--³»²¬- ±º ¬¸» -»®ª·½» °®±ª·¼»®-ù -»®ª·½»- ¿²¼ ¬¸»
        º·¬²»-- ±® ¿¼»¯«¿½§ ±º -«½¸ -»®ª·½»- º±® §±«® °¿®¬·½«´¿® ²»»¼-ò Ì¸·- Ò±¬·½» ¼±»- ²±¬ ¿³»²¼ ±® ±¬¸»®©·-»
        ¿ºº»½¬ ¬¸» °®±ª·-·±²- ±º §±«® °±´·½§ò
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®¿²¹» ±º ½§¾»®ó®»´¿¬»¼ ¬¸®»¿¬-ò Ð´»¿-» ®»ª·»© §±«® ½±ª»®¿¹» ©·¬¸ §±«® ·²-«®¿²½» ¿¹»²¬ ±® ¾®±µ»® ¬± ¼»¬»®³·²» ¬¸»
³±-¬ ¿°°®±°®·¿¬» ½§¾»® ½±ª»®¿¹»- ¿²¼ ´·³·¬- º±® §±«® ¾«-·²»--ò
×º §±« ¸¿ª» ¿ ½´¿·³ô §±« ½¿² ®»°±®¬ ·¬ ¾§ ½¿´´·²¹ Ì¸» Ø¿®¬º±®¼ù- ¬±´´óº®»» ½´¿·³- ´·²» ¿¬ ïóèððóíîéóíêíêò
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É» ¿°°®»½·¿¬» §±«® ¾«-·²»-- ¿²¼ ´±±µ º±®©¿®¼ ¬± ¾»·²¹ ±º ½±²¬·²«»¼ -»®ª·½» ¬± §±«ò



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                                           Ì¸» Ø¿®¬º±®¼
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Ì¸¿²µ §±« º±® -»´»½¬·²¹ Ì¸» Ø¿®¬º±®¼ º±® §±«® ¾«-·²»-- ·²-«®¿²½» ²»»¼-ò

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©¸¿¬ ¬± »¨°»½¬ ¿- ¿ ª¿´«»¼ ½«-¬±³»® ±º Ì¸» Ø¿®¬º±®¼ò Í¸±«´¼ §±« ¸¿ª» ¿²§ ¯«»-¬·±²- ¿º¬»®
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    ®»½»·ª»¼ ¾§ ¬¸» ¼«» ¼¿¬» -¸±©² ±² §±«® ¾·´´ò Í»®ª·½» ¿²¼ ´¿¬» °¿§³»²¬ º»»- ¼± ²±¬ ¿°°´§ ·² ¿´´ -¬¿¬»-ò

±   ×º §±« -»´»½¬»¼ ·²-¬¿´´³»²¬ ¾·´´·²¹ô ¿²§ ½®»¼·¬ ±® ¿¼¼·¬·±²¿´ °®»³·«³ ¼«» ¿- ¬¸» ®»-«´¬ ±º ¿ ½¸¿²¹» ³¿¼» ¬± §±«®
    °±´·½§ô ©·´´ ¾» -°®»¿¼ ±ª»® ¬¸» ®»³¿·²·²¹ ¾·´´·²¹ ·²-¬¿´´³»²¬-ò ß¼¼·¬·±²¿´ °®»³·«³ ¼«» ¿- ¿ ®»-«´¬ ±º ¿² ¿«¼·¬ ©·´´ ¾»
    ¾·´´»¼ ·² º«´´ ±² §±«® ²»¨¬ ¾·´´ ¼¿¬» º±´´±©·²¹ ¬¸» ½±³°´»¬·±² ±º ¬¸» ¿«¼·¬ò

±   ×º §±« »´»½¬»¼ Û´»½¬®±²·½ Ú«²¼- Ì®¿²-º»® øÛÚÌ÷ô °±´·½§ ½¸¿²¹»- ³¿§ ®»-«´¬ ·² ½¸¿²¹»- ¬± ¬¸» ¿³±«²¬ ¿«¬±³¿¬·½¿´´§
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±   ×º §±« -»´»½¬»¼ ·²-¬¿´´³»²¬ ¾·´´·²¹ ¿²¼ °¿§ ¬¸» °®»³·«³- º±® §±«® º·®-¬ °±´·½§ ¬»®³ ±² ¬·³»ô ¿¬ ®»²»©¿´ô §±«® ¿½½±«²¬
    ³¿§ ¯«¿´·º§ º±® ±«® þÛ¯«¿´ ×²-¬¿´´³»²¬þ º»¿¬«®»ò Ì¸·- ³»¿²- ¬¸¿¬ ¬¸» °»®½»²¬¿¹» ¼«» º±® »¿½¸ ·²-¬¿´´³»²¬ô ·²½´«¼·²¹
    ¬¸» ·²·¬·¿´ ®»²»©¿´ ·²­¬¿´´³»²¬ô ©·´´ ¾» ¬¸» ­¿³» ¬¸®±«¹¸±«¬ ¬¸» °±´·½§ ¬»®³  ¸»´°·²¹ §±« ¾»¬¬»® ³¿²¿¹» ½¿­¸ º´±©ò
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±   ×º §±«® °±´·½§ ·- »´·¹·¾´» º±® ®»²»©¿´ô §±«® ¾·´´ º±® ¬¸» «°½±³·²¹ °±´·½§ ¬»®³ ©·´´ ¾» -»²¬ ¬± §±« ¿°°®±¨·³¿¬»´§ íð ¼¿§-
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±   Ñ²» ¾·´´ ½±²ª»²·»²½» óó §±« ¸¿ª» ¬¸» ±°¬·±² ±º ½±³¾·²·²¹ ¿´´ »´·¹·¾´» Ø¿®¬º±®¼ °±´·½·»- ±² ±²» -·²¹´» ¾·´´ ¿´´±©·²¹
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Ç±«®» ×² Ý±²¬®±´

×² ¿¼¼·¬·±² ¬± -»´»½¬·²¹ ¿ ¾·´´ °´¿² ±°¬·±² ¬¸¿¬ ¾»-¬ ³»»¬- §±«® ¾«¼¹»¬ô §±« ¸¿ª» ¬¸» º´»¨·¾·´·¬§ ¬± ¼»½·¼» ¸±© §±«®
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± Î»°»¬·¬·ª» ÛÚÌæ Í·¹² «° º±® Î»°»¬·¬·ª» ÛÚÌ °¿§³»²¬- ¿²¼ ¸¿ª» °¿§³»²¬- ¿«¬±³¿¬·½¿´´§ ©·¬¸¼®¿©² º®±³ §±«® ¾¿²µ
  ¿½½±«²¬ò Ì¸·- ±°¬·±² -¿ª»- §±« ³±²»§ ¾§ ®»¼«½·²¹ ¬¸» ¿³±«²¬ ±º ¬¸» ·²-¬¿´´³»²¬ -»®ª·½» º»»ò
± Ð¿§ Ñ²´·²»æ Î»¹·-¬»® ¿¬ ©©©ò¬¸»¸¿®¬º±®¼ò½±³ñ-»®ª·½»½»²¬»®ò Ñ²´·²» Þ·´´ Ð¿§ ·- Ï«·½µô Û¿-§ ¿²¼ Í»½«®»ÿ
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Ú±®³ ïððéîî 3:24-cv-00490-FDW-SCR
                Î»ªò Ð®·²¬»¼ ·² ËòÍòßò              Document 1-4 Filed 05/21/24 Page 9 of 579
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Ù®±«°ô -¸±©² ¾»´±©ò

ÝÑÓÓÑÒ ÐÑÔ×ÝÇ ÜÛÝÔßÎßÌ×ÑÒÍ

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë                  ÜØ
        ÎÛÒÛÉßÔ ÑÚæ ìí ËËÒ ÜÚîêìë

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×² ®»¬«®² º±® ¬¸» °¿§³»²¬ ±º ¬¸» °®»³·«³ô ¿²¼ -«¾¶»½¬ ¬± ¿´´ ±º ¬¸» ¬»®³- ±º ¬¸·- °±´·½§ô ©» ¿¹®»» ©·¬¸ §±« ¬± °®±ª·¼»
·²-«®¿²½» ¿- -¬¿¬»¼ ·² ¬¸·- °±´·½§ò Ì¸» Ý±ª»®¿¹» Ð¿®¬- ¬¸¿¬ ¿®» ¿ °¿®¬ ±º ¬¸·- °±´·½§ ¿®» ´·-¬»¼ ¾»´±©ò Ì¸» ß¼ª¿²½»
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Ý±ª»®¿¹» Ð¿®¬ ¿²¼ ×²-«®¿²½» Ý±³°¿²§ Í«³³¿®§                                               ß¼ª¿²½» Ð®»³·«³


ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ
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ÑÒÛ ØßÎÌÚÑÎÜ ÐÔßÆß
ØßÎÌÚÑÎÜô ÝÑÒÒÛÝÌ×ÝËÌ ðêïëë                                                                 üïîíôçîîòðð

ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ
ØßÎÌÚÑÎÜ Ú×ÎÛ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ
ÑÒÛ ØßÎÌÚÑÎÜ ÐÔßÆß
ØßÎÌÚÑÎÜô ÝÑÒÒÛÝÌ×ÝËÌ ðêïëë                                                                 ü   îôðëéòðð

Ô×ÍÌ×ÒÙ ÑÚ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ÝÑÒÌ×ÒËÛÜ ÑÒ ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐßÙÛò

Ú±®³ Ò«³¾»®- ±º Ý±ª»®¿¹» Ð¿®¬-ô Ú±®³- ¿²¼ Û²¼±®-»³»²¬- ¬¸¿¬ ¿®» ¿ °¿®¬ ±º ¬¸·- °±´·½§ ¿²¼ ¬¸¿¬ ¿®» ²±¬
´·-¬»¼ ·² ¬¸» Ý±ª»®¿¹» Ð¿®¬-ò

ØÓðððï ×Ôððïéïïçè ×Øðçèëðïïë ×Øïîðìðíïî ×Øïîðëðîîï ×Øççìððìðç ×Øççìïðìðç
×Ôððîïðçðè ×Ôðïïçïðïî ×Ôðîèîðçðè ÐÝðððïðïðç ØÓððîððîçë ØÝððïððéçè
ØÝððîððîçë ØÙðððìðíïë




ß¹»²¬ñÞ®±µ»® Ò¿³»æ ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝ




                        Ý±«²¬»®-·¹²»¼ ¾§                                                            ðëñîíñîî
                   øÉ¸»®» ®»¯«·®»¼ ¾§ ´¿©÷                   ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»                     Ü¿¬»
        Case 3:24-cv-00490-FDW-SCR Document 1-4ÐßÙÛ
                                                 Filedï05/21/24 Page 10 of 579
                                                        øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
Ú±®³ ØÓ ðð ïð ðï ðé
ÝÑÓÓÑÒ ÐÑÔ×ÝÇ ÜÛÝÔßÎßÌ×ÑÒÍ øÝ±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛ ÐßÎÌÍ øÝÑÒÌ×ÒËÛÜ÷
ÝÑÊÛÎßÙÛ ÐßÎÌ ßÒÜ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ ÍËÓÓßÎÇ                  ßÜÊßÒÝÛ ÐÎÛÓ×ËÓ
ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ
ÛÜËÝßÌÑÎùÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ×ÒÍËÎßÒÝÛ
ØßÎÌÚÑÎÜ ËÒÜÛÎÉÎ×ÌÛÎÍ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ
ÑÒÛ ØßÎÌÚÑÎÜ ÐÔßÆß
ØßÎÌÚÑÎÜô ÝÑÒÒÛÝÌ×ÝËÌ ðêïëë                                     ü îèôèèïòðð
          ÚÔÑÎ×Üß Ú×ÎÛ ÝÑÔÔÛÙÛ ÍËÎÝØßÎÙÛ                          üìçòéì
          ÒÛÉ ÇÑÎÕ Ú×ÎÛ ÚÛÛ                                        üðòïí




Ú±®³ ØÓ ðð ïð ðï ðé                            ÐßÙÛ   î
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 11 of 579
                                ÝÑÓÓÑÒ ÐÑÔ×ÝÇ ÝÑÒÜ×Ì×ÑÒÍ
ß´´ Ý±ª»®¿¹» Ð¿®¬- ·²½´«¼»¼ ·² ¬¸·- °±´·½§ ¿®» -«¾¶»½¬ ¬± ¬¸» º±´´±©·²¹ ½±²¼·¬·±²-ò

ßòÝ¿²½»´´¿¬·±²                                                    Ýò Û¨¿³·²¿¬·±² Ñº Ç±«® Þ±±µ- ß²¼ Î»½±®¼-
  ïò Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸»                            É» ³¿§ »¨¿³·²» ¿²¼ ¿«¼·¬ §±«® ¾±±µ- ¿²¼ ®»½±®¼-
     Ü»½´¿®¿¬·±²- ³¿§ ½¿²½»´ ¬¸·- °±´·½§ ¾§ ³¿·´·²¹ ±®               ¿- ¬¸»§ ®»´¿¬» ¬± ¬¸·- °±´·½§ ¿¬ ¿²§ ¬·³» ¼«®·²¹ ¬¸»
     ¼»´·ª»®·²¹ ¬± «- ¿¼ª¿²½» ©®·¬¬»² ²±¬·½» ±º                      °±´·½§ °»®·±¼ ¿²¼ «° ¬± ¬¸®»» §»¿®- ¿º¬»®©¿®¼ò
     ½¿²½»´´¿¬·±²ò                                                Üò ×²-°»½¬·±²- ß²¼ Í«®ª»§-
  îò É» ³¿§ ½¿²½»´ ¬¸·- °±´·½§ ¾§ ³¿·´·²¹ ±® ¼»´·ª»®·²¹              ïò É» ¸¿ª» ¬¸» ®·¹¸¬ ¬±æ
     ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ©®·¬¬»² ²±¬·½» ±º
     ½¿²½»´´¿¬·±² ¿¬ ´»¿-¬æ                                             ¿ò Ó¿µ» ·²-°»½¬·±²- ¿²¼ -«®ª»§- ¿¬ ¿²§ ¬·³»å
     ¿ò ïð ¼¿§- ¾»º±®» ¬¸» »ºº»½¬·ª» ¼¿¬» ±º                            ¾ò Ù·ª» §±« ®»°±®¬- ±² ¬¸» ½±²¼·¬·±²- ©» º·²¼å
        ½¿²½»´´¿¬·±² ·º ©» ½¿²½»´ º±® ²±²°¿§³»²¬ ±º                        ¿²¼
        °®»³·«³å ±®                                                     ½ò Î»½±³³»²¼ ½¸¿²¹»-ò
     ¾ò íð ¼¿§- ¾»º±®» ¬¸» »ºº»½¬·ª» ¼¿¬» ±º                         îò É» ¿®» ²±¬ ±¾´·¹¿¬»¼ ¬± ³¿µ» ¿²§ ·²-°»½¬·±²-ô
        ½¿²½»´´¿¬·±² ·º ©» ½¿²½»´ º±® ¿²§ ±¬¸»® ®»¿-±²ò                 -«®ª»§-ô ®»°±®¬- ±® ®»½±³³»²¼¿¬·±²- ¿²¼ ¿²§
  íò É» ©·´´ ³¿·´ ±® ¼»´·ª»® ±«® ²±¬·½» ¬± ¬¸» º·®-¬                    -«½¸ ¿½¬·±²- ©» ¼± «²¼»®¬¿µ» ®»´¿¬» ±²´§ ¬±
     Ò¿³»¼ ×²-«®»¼ù- ´¿-¬ ³¿·´·²¹ ¿¼¼®»-- µ²±©² ¬±                      ·²-«®¿¾·´·¬§ ¿²¼ ¬¸» °®»³·«³- ¬± ¾» ½¸¿®¹»¼ò É»
     «-ò                                                                ¼± ²±¬ ³¿µ» -¿º»¬§ ·²-°»½¬·±²-ò É» ¼± ²±¬
                                                                        «²¼»®¬¿µ» ¬± °»®º±®³ ¬¸» ¼«¬§ ±º ¿²§ °»®-±² ±®
  ìò Ò±¬·½» ±º ½¿²½»´´¿¬·±² ©·´´ -¬¿¬» ¬¸» »ºº»½¬·ª» ¼¿¬»               ±®¹¿²·¦¿¬·±² ¬± °®±ª·¼» º±® ¬¸» ¸»¿´¬¸ ±® -¿º»¬§ ±º
     ±º ½¿²½»´´¿¬·±²ò Ì¸» °±´·½§ °»®·±¼ ©·´´ »²¼ ±² ¬¸¿¬                ©±®µ»®- ±® ¬¸» °«¾´·½ò ß²¼ ©» ¼± ²±¬ ©¿®®¿²¬ ¬¸¿¬
     ¼¿¬»ò                                                              ½±²¼·¬·±²-æ
  ëò ×º ¬¸·- °±´·½§ ·- ½¿²½»´´»¼ô ©» ©·´´ -»²¼ ¬¸» º·®-¬                ¿ò ß®» -¿º» ±® ¸»¿´¬¸º«´å ±®
     Ò¿³»¼ ×²-«®»¼ ¿²§ °®»³·«³ ®»º«²¼ ¼«»ò ×º ©»
     ½¿²½»´ô ¬¸» ®»º«²¼ ©·´´ ¾» °®± ®¿¬¿ò ×º ¬¸» º·®-¬                  ¾ò Ý±³°´§ ©·¬¸ ´¿©-ô ®»¹«´¿¬·±²-ô ½±¼»- ±®
     Ò¿³»¼ ×²-«®»¼ ½¿²½»´-ô ¬¸» ®»º«²¼ ³¿§ ¾» ´»--                         -¬¿²¼¿®¼-ò
     ¬¸¿² °®± ®¿¬¿ò Ì¸» ½¿²½»´´¿¬·±² ©·´´ ¾» »ºº»½¬·ª»               íò Ð¿®¿¹®¿°¸- ïò ¿²¼ îò ±º ¬¸·- ½±²¼·¬·±² ¿°°´§ ²±¬
     »ª»² ·º ©» ¸¿ª» ²±¬ ³¿¼» ±® ±ºº»®»¼ ¿ ®»º«²¼ò                      ±²´§ ¬± «-ô ¾«¬ ¿´-± ¬± ¿²§ ®¿¬·²¹ô ¿¼ª·-±®§ô ®¿¬»
  êò ×º ²±¬·½» ·- ³¿·´»¼ô °®±±º ±º ³¿·´·²¹ ©·´´ ¾»                      -»®ª·½» ±® -·³·´¿® ±®¹¿²·¦¿¬·±² ©¸·½¸ ³¿µ»-
     -«ºº·½·»²¬ °®±±º ±º ²±¬·½»ò                                        ·²-«®¿²½» ·²-°»½¬·±²-ô -«®ª»§-ô ®»°±®¬- ±®
                                                                        ®»½±³³»²¼¿¬·±²-ò
Þò Ý¸¿²¹»-
                                                                     ìò Ð¿®¿¹®¿°¸ îò ±º ¬¸·- ½±²¼·¬·±² ¼±»- ²±¬ ¿°°´§ ¬±
  Ì¸·- °±´·½§ ½±²¬¿·²- ¿´´ ¬¸» ¿¹®»»³»²¬- ¾»¬©»»² §±«                   ¿²§      ·²-°»½¬·±²-ô   -«®ª»§-ô    ®»°±®¬-    ±®
  ¿²¼ «- ½±²½»®²·²¹ ¬¸» ·²-«®¿²½» ¿ºº±®¼»¼ò Ì¸» º·®-¬                   ®»½±³³»²¼¿¬·±²- ©» ³¿§ ³¿µ» ®»´¿¬·ª» ¬±
  Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ·-                            ½»®¬·º·½¿¬·±²ô «²¼»® -¬¿¬» ±® ³«²·½·°¿´ -¬¿¬«¬»-ô
  ¿«¬¸±®·¦»¼ ¬± ³¿µ» ½¸¿²¹»- ·² ¬¸» ¬»®³- ±º ¬¸·-                       ±®¼·²¿²½»- ±® ®»¹«´¿¬·±²-ô ±º ¾±·´»®-ô °®»--«®»
  °±´·½§ ©·¬¸ ±«® ½±²-»²¬ò Ì¸·- °±´·½§ù- ¬»®³- ½¿² ¾»                   ª»--»´- ±® »´»ª¿¬±®-ò
  ¿³»²¼»¼ ±® ©¿·ª»¼ ±²´§ ¾§ »²¼±®-»³»²¬ ·--«»¼ ¾§
  «- ¿²¼ ³¿¼» ¿ °¿®¬ ±º ¬¸·- °±´·½§ò




   ×Ô ðð ïé ïï çè
                                            Document 1-4 Filed 05/21/24 Page 12 ofÐ¿¹»
                          Ý±°§®·¹¸¬ô ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô ïççè
          Case 3:24-cv-00490-FDW-SCR                                               579 ï ±º î
Ûò Ð®»³·«³-                                                       ×º §±« ¼·»ô §±«® ®·¹¸¬- ¿²¼ ¼«¬·»- ©·´´ ¾» ¬®¿²-º»®®»¼
   Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-æ             ¬± §±«® ´»¹¿´ ®»°®»-»²¬¿¬·ª» ¾«¬ ±²´§ ©¸·´» ¿½¬·²¹
                                                                  ©·¬¸·² ¬¸» -½±°» ±º ¼«¬·»- ¿- §±«® ´»¹¿´
   ïò ×- ®»-°±²-·¾´» º±® ¬¸» °¿§³»²¬ ±º ¿´´ °®»³·«³-å             ®»°®»-»²¬¿¬·ª»ò Ë²¬·´ §±«® ´»¹¿´ ®»°®»-»²¬¿¬·ª» ·-
      ¿²¼                                                         ¿°°±·²¬»¼ô ¿²§±²» ¸¿ª·²¹ °®±°»® ¬»³°±®¿®§
   îò É·´´ ¾» ¬¸» °¿§»» º±® ¿²§ ®»¬«®² °®»³·«³- ©»                ½«-¬±¼§ ±º §±«® °®±°»®¬§ ©·´´ ¸¿ª» §±«® ®·¹¸¬- ¿²¼
      °¿§ò                                                        ¼«¬·»- ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸¿¬ °®±°»®¬§ò
Úò Ì®¿²-º»® Ñº Ç±«® Î·¹¸¬- ß²¼ Ü«¬·»- Ë²¼»® Ì¸·-
   Ð±´·½§
   Ç±«® ®·¹¸¬- ¿²¼ ¼«¬·»- «²¼»® ¬¸·- °±´·½§ ³¿§ ²±¬ ¾»
   ¬®¿²-º»®®»¼ ©·¬¸±«¬ ±«® ©®·¬¬»² ½±²-»²¬ »¨½»°¬ ·² ¬¸»
   ½¿-» ±º ¼»¿¬¸ ±º ¿² ·²¼·ª·¼«¿´ ²¿³»¼ ·²-«®»¼ò




       Õ»ª·² Þ¿®²»¬¬ô Í»½®»¬¿®§




        Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 13 of 579
  Ð¿¹» î ±º î                       w ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô ïççè                          ×Ô ðð ïé ïï çè
  ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


            ÙÑÑÜÍ ßÒÜ ÍÛÎÊ×ÝÛÍ ÛÒÜÑÎÍÛÓÛÒÌ

 Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¿´´ Ý±ª»®¿¹» Ð¿®¬- ±º ¬¸·- Ð±´·½§ò

    É» ³¿§ ±ºº»® ±® ³¿µ» þ¹±±¼- ±® -»®ª·½»-þ ¿ª¿·´¿¾´» ¬± §±« ¬¸®±«¹¸ ¬¸·- «²¼»®©®·¬·²¹
    ½±³°¿²§ô ¿ ²±²ó·²-«®»® -«¾-·¼·¿®§ô ±® «²¿ºº·´·¿¬»¼ ¬¸·®¼ °¿®¬·»- ¿- ¿ °¿®¬ ±º ¬¸·- °±´·½§ò
    Ì¸» þ¹±±¼- ±® -»®ª·½»-þ ³¿§ ¾» °®±ª·¼»¼ º±® ¿ ½¸¿®¹»ô ¿¬ ¿ ¼·-½±«²¬ô ±² ¿ -«¾-·¼·¦»¼
    ¾¿-·-ô ±® º®»» ±º ½¸¿®¹»ò ×² -±³» ½¿-»-ô ©» ³¿§ ®»½»·ª» ¿ º»» º®±³ ¬¸» «²¿ºº·´·¿¬»¼
    ¬¸·®¼ °¿®¬·»- ¬¸¿¬ °®±ª·¼» þ¹±±¼- ±® -»®ª·½»-þò É» ¼± ²±¬ ©¿®®¿²¬ ±® ¹«¿®¿²¬»» ¬¸»
    þ¹±±¼- ±® -»®ª·½»-þ °®±ª·¼»¼ ¾§ ¬¸·®¼ °¿®¬·»-ô ¿²¼ -«½¸ ¬¸·®¼ °¿®¬·»- -¸¿´´ ¾» -±´»´§
    ´·¿¾´» ¿²¼ ®»-°±²-·¾´» º±® ¬¸» þ¹±±¼- ±® -»®ª·½»-þ ¬¸»§ °®±ª·¼»ò Ì¸» þ¹±±¼- ±®
    -»®ª·½»-þ ±ºº»®»¼ ±® ³¿¼» ¿ª¿·´¿¾´» ¾§ «- ³¿§ ¾» ³±¼·º·»¼ ±® ¼·-½±²¬·²«»¼ ¿¬ ¿²§
    ¬·³»ò


    þÙ±±¼- ±® -»®ª·½»-þ ³»¿²- ¹±±¼-ô °®±¼«½¬- ±® -»®ª·½»-ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬±
    ®·-µ ³·¬·¹¿¬·±²ô -¿º»¬§ô ¿²¼ñ±® ´±-- °®»ª»²¬·±² -»®ª·½»- ±® »¯«·°³»²¬ò




×Ø ïîCase
      ðë ðî3:24-cv-00490-FDW-SCR
           îï                              Document 1-4 Filed 05/21/24 Page 14 of 579Ð¿¹» ï ±º ï
                                         w îðîïô Ì¸» Ø¿®¬º±®¼
ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ×Í ßÌÌßÝØÛÜ ÌÑ ßÒÜ ÓßÜÛ ÐßÎÌ ÑÚ ÇÑËÎ ÐÑÔ×ÝÇ ×Ò
        ÎÛÍÐÑÒÍÛ ÌÑ ÌØÛ Ü×ÍÝÔÑÍËÎÛ ÎÛÏË×ÎÛÓÛÒÌÍ ÑÚ ÌØÛ ÌÛÎÎÑÎ×ÍÓ Î×ÍÕ
                                ×ÒÍËÎßÒÝÛ ßÝÌò

              Ü×ÍÝÔÑÍËÎÛ ÐËÎÍËßÒÌ ÌÑ ÌÛÎÎÑÎ×ÍÓ Î×ÍÕ
                          ×ÒÍËÎßÒÝÛ ßÝÌ
                                                ÌÛÎÎÑÎ×ÍÓ ÐÎÛÓ×ËÓ

                                      Ý±ª»®¿¹»æ                    Ð®»³·«³ ø·º Ý±ª»®»¼÷æ

                        ÐÎÑÐÛÎÌÇ                                              ü         îôèïçòðð
                        ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ                                     ü           îèçòðð
                        ×ÒÔßÒÜ ÓßÎ×ÒÛ                                         ü            îðòðð


                        ÌÑÌßÔ                                                 ü         íôïîèòðð



ßò Ü·-½´±-«®» Ñº Ð®»³·«³                                            ½±»®½» ¬¸» ½·ª·´·¿² °±°«´¿¬·±² ±º ¬¸» Ë²·¬»¼
   ×² ¿½½±®¼¿²½» ©·¬¸ ¬¸» º»¼»®¿´ Ì»®®±®·-³ Î·-µ                    Í¬¿¬»- ±® ¬± ·²º´«»²½» ¬¸» °±´·½§ ±® ¿ºº»½¬ ¬¸»
   ×²-«®¿²½» ß½¬ô ¿- ¿³»²¼»¼ øÌÎ×ß÷ô ©» ¿®»                         ½±²¼«½¬ ±º ¬¸» Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ ¾§
   ®»¯«·®»¼ ¬± °®±ª·¼» §±« ©·¬¸ ¿ ²±¬·½» ¼·-½´±-·²¹ ¬¸»             ½±»®½·±²ò
   °±®¬·±² ±º §±«® °®»³·«³ô ·º ¿²§ô ¿¬¬®·¾«¬¿¾´» ¬±          Ýò Ü·-½´±-«®» Ñº Ú»¼»®¿´ Í¸¿®» Ñº Ì»®®±®·-³
   ½±ª»®¿¹» º±® þ½»®¬·º·»¼ ¿½¬- ±º ¬»®®±®·-³þ «²¼»®             Ô±--»- Ë²¼»® ÌÎ×ß
   ÌÎ×ßò Ì¸» °±®¬·±² ±º §±«® °®»³·«³ ¿¬¬®·¾«¬¿¾´» ¬±            Ì¸» Ë²·¬»¼ Í¬¿¬»- Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§ ©·´´
   -«½¸ ½±ª»®¿¹» ·- -¸±©² ¿¾±ª» ·² ¬¸·-                         ®»·³¾«®-» ·²-«®»®- º±® ¿ °±®¬·±² ±º -«½¸ ·²-«®»¼
   »²¼±®-»³»²¬ò                                                 ´±--»- ¿- ·²¼·½¿¬»¼ ·² ¬¸» ¬¿¾´» ¾»´±© ¬¸¿¬ »¨½»»¼-
Þò Ì¸» º±´´±©·²¹ ¼»º·²·¬·±² ·- ¿¼¼»¼ ©·¬¸ ®»-°»½¬               ¬¸» ¿°°´·½¿¾´» ·²-«®»® ¼»¼«½¬·¾´»æ
   ¬± ¬¸» °®±ª·-·±²- ±º ¬¸·- »²¼±®-»³»²¬æ                         Ý¿´»²¼¿® Ç»¿®        Ú»¼»®¿´ Í¸¿®» ±º
   ß þ½»®¬·º·»¼ ¿½¬ ±º ¬»®®±®·-³þ ³»¿²- ¿² ¿½¬ ¬¸¿¬ ·-                                Ì»®®±®·-³ Ô±--»-
   ½»®¬·º·»¼ ¾§ ¬¸» Í»½®»¬¿®§ ±º ¬¸» Ì®»¿-«®§ô ·²                      îðïë                  èëû
   ¿½½±®¼¿²½» ©·¬¸ ¬¸» °®±ª·-·±²- ±º ÌÎ×ßô ¬± ¾» ¿²
   ¿½¬ ±º ¬»®®±®·-³ «²¼»® ÌÎ×ßò Ì¸» ½®·¬»®·¿ ½±²¬¿·²»¼                 îðïê                  èìû
   ·² ÌÎ×ß º±® ¿ þ½»®¬·º·»¼ ¿½¬ ±º ¬»®®±®·-³þ ·²½´«¼» ¬¸»              îðïé                  èíû
   º±´´±©·²¹æ
                                                                       îðïè                  èîû
   ïò Ì¸» ¿½¬ ®»-«´¬- ·² ·²-«®»¼ ´±--»- ·² »¨½»-- ±º
        üë ³·´´·±² ·² ¬¸» ¿¹¹®»¹¿¬»ô ¿¬¬®·¾«¬¿¾´» ¬± ¿´´               îðïç                  èïû
        ¬§°»- ±º ·²-«®¿²½» -«¾¶»½¬ ¬± ÌÎ×ßå ¿²¼                    îðîð ±® ´¿¬»®             èðû
   îò Ì¸» ¿½¬ ®»-«´¬- ·² ¼¿³¿¹» ©·¬¸·² ¬¸» Ë²·¬»¼                Ø±©»ª»®ô ·º ¿¹¹®»¹¿¬» ·²-«®»¼ ´±--»- ¿¬¬®·¾«¬¿¾´»
        Í¬¿¬»-ô ±® ±«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»- ·² ¬¸»              ¬± þ½»®¬·º·»¼ ¿½¬- ±º ¬»®®±®·-³þ «²¼»® ÌÎ×ß »¨½»»¼
        ½¿-» ±º ½»®¬¿·² ¿·® ½¿®®·»®- ±® ª»--»´- ±® ¬¸»           üïðð ¾·´´·±² ·² ¿ ½¿´»²¼¿® §»¿®ô ¬¸» Ì®»¿-«®§ -¸¿´´
        °®»³·-»- ±º ¿² Ë²·¬»¼ Í¬¿¬»- ³·--·±²å ¿²¼                ²±¬ ³¿µ» ¿²§ °¿§³»²¬ º±® ¿²§ °±®¬·±² ±º ¬¸»
   íò Ì¸» ¿½¬ ·- ¿ ª·±´»²¬ ¿½¬ ±® ¿² ¿½¬ ¬¸¿¬ ·-                 ¿³±«²¬ ±º -«½¸ ´±--»- ¬¸¿¬ »¨½»»¼- üïðð ¾·´´·±²ò
        ¼¿²¹»®±«- ¬± ¸«³¿² ´·º»ô °®±°»®¬§ ±®                     Ì¸» Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ ¸¿- ²±¬ ½¸¿®¹»¼
        ·²º®¿-¬®«½¬«®» ¿²¼ ·- ½±³³·¬¬»¼ ¾§ ¿²                    ¿²§ °®»³·«³ º±® ¬¸»·® °¿®¬·½·°¿¬·±² ·² ½±ª»®·²¹
        ·²¼·ª·¼«¿´ ±® ·²¼·ª·¼«¿´- ¿- °¿®¬ ±º ¿² »ºº±®¬ ¬±        ¬»®®±®·-³ ´±--»-ò




Ú±®³ ×Ø ðç èë ðï ïë                                                                                       Ð¿¹» ï ±º î
                                              w îðïë Ì¸» Ø¿®¬º±®¼
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Üò Ý¿° Ñ² ×²-«®»® Ô·¿¾·´·¬§ º±® Ì»®®±®·-³ Ô±--»-                Ûò ß°°´·½¿¬·±² ±º Ñ¬¸»® Û¨½´«-·±²-
   Ë²¼»® ÌÎ×ß                                                      Ì¸» ¬»®³- ¿²¼ ´·³·¬¿¬·±²- ±º ¿²§ ¬»®®±®·-³
   ×º ¿¹¹®»¹¿¬» ·²-«®»¼ ´±--»- ¿¬¬®·¾«¬¿¾´» ¬± þ½»®¬·º·»¼          »¨½´«-·±²ô ¬¸» ·²¿°°´·½¿¾·´·¬§ ±® ±³·--·±² ±º ¿
   ¿½¬- ±º ¬»®®±®·-³þ «²¼»® ÌÎ×ß »¨½»»¼ üïðð ¾·´´·±²               ¬»®®±®·-³ »¨½´«-·±²ô ±® ¬¸» ·²½´«-·±² ±º
   ·² ¿ ½¿´»²¼¿® §»¿® ¿²¼ ©» ¸¿ª» ³»¬ô ±® ©·´´ ³»»¬ô               ¬»®®±®·-³ ½±ª»®¿¹»ô ¼± ²±¬ -»®ª» ¬± ½®»¿¬»
   ±«® ·²-«®»® ¼»¼«½¬·¾´» «²¼»® ÌÎ×ß ©» -¸¿´´ ²±¬ ¾»               ½±ª»®¿¹» º±® ¿²§ ´±-- ©¸·½¸ ©±«´¼ ±¬¸»®©·-»
   ´·¿¾´» º±® ¬¸» °¿§³»²¬ ±º ¿²§ °±®¬·±² ±º ¬¸» ¿³±«²¬             ¾» »¨½´«¼»¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³ô
   ±º -«½¸ ´±--»- ¬¸¿¬ »¨½»»¼- üïðð ¾·´´·±²ò ×² -«½¸               Ý±ª»®¿¹» Ð¿®¬ ±® Ð±´·½§ò
   ½¿-»ô §±«® ½±ª»®¿¹» º±® ¬»®®±®·-³ ´±--»- ³¿§ ¾»              Úò ß´´ ±¬¸»® ¬»®³- ¿²¼ ½±²¼·¬·±²- ®»³¿·² ¬¸»
   ®»¼«½»¼ ±² ¿ °®±ó®¿¬¿ ¾¿-·- ·² ¿½½±®¼¿²½» ©·¬¸                  -¿³»ò
   °®±½»¼«®»- »-¬¿¾´·-¸»¼ ¾§ ¬¸» Ì®»¿-«®§ô ¾¿-»¼ ±²
   ·¬- »-¬·³¿¬»- ±º ¿¹¹®»¹¿¬» ·²¼«-¬®§ ´±--»- ¿²¼ ±«®
   »-¬·³¿¬» ¬¸¿¬ ©» ©·´´ »¨½»»¼ ±«® ·²-«®»®
   ¼»¼«½¬·¾´»ò     ×² ¿½½±®¼¿²½» ©·¬¸ Ì®»¿-«®§
   °®±½»¼«®»-ô ¿³±«²¬- °¿·¼ º±® ´±--»- ³¿§ ¾»
   -«¾¶»½¬ ¬± º«®¬¸»® ¿¼¶«-¬³»²¬- ¾¿-»¼ ±²
   ¼·ºº»®»²½»- ¾»¬©»»² ¿½¬«¿´ ´±--»- ¿²¼ »-¬·³¿¬»-ò




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ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


  ßÓÛÒÜÓÛÒÌ ÑÚ ÌØÛ ÜÛÝÔßÎßÌ×ÑÒÍ ó ßÜÜ×Ì×ÑÒßÔ
ÐÛÎÍÑÒÍ ÑÎ ÑÎÙßÒ×ÆßÌ×ÑÒÍ ÜÛÍ×ÙÒßÌÛÜ ßÍ ÒßÓÛÜ
                  ×ÒÍËÎÛÜÍ

Ì¸» º±´´±©·²¹ °»®-±²ø-÷ ±® ±®¹¿²·¦¿¬·±²ø-÷ ¿®» ¿¼¼»¼ ¬± ¬¸» Ü»½´¿®¿¬·±²- ¿- Ò¿³»¼ ×²-«®»¼-æ




ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ
ÎÌÍ ÚÑËÒÜßÌ×ÑÒ ×ÒÝ
ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÑÚ ÚÔÑÎ×Üß ×ÒÝ
ÎÛÚÑÎÓÛÜ ÐÎÑÐÛÎÌ×ÛÍ ÔÔÝ
ÌØÛ ÞÑßÎÜ ÑÚ ÌÎËÍÌÛÛÍ ÑÚ ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ
ÌØÛ ÞÑßÎÜ ÑÚ ÌÎËÍÌÛÛÍ ÑÚ ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ
ÑÚ ÚÔÑÎ×Üß ×ÒÝ
ÌØÛ ÞÑßÎÜ ÑÚ ÌÎËÍÌÛÛÍ ÎÌÍ ÚÑËÒÜßÌ×ÑÒ ×ÒÝ




Ú±®³ ×Ø ïî ðì ðí ïî ÍÛÏòÒÑò ðï
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                                    îðïîô Ì¸» Ø¿®¬º±®¼
 ËòÍò ÜÛÐßÎÌÓÛÒÌ ÑÚ ÌØÛ ÌÎÛßÍËÎÇô ÑÚÚ×ÝÛ ÑÚ ÚÑÎÛ×ÙÒ ßÍÍÛÌÍ
     ÝÑÒÌÎÑÔ øþÑÚßÝþ÷ ßÜÊ×ÍÑÎÇ ÒÑÌ×ÝÛ ÌÑ ÐÑÔ×ÝÇØÑÔÜÛÎÍ

Ò± ½±ª»®¿¹» ·- °®±ª·¼»¼ ¾§ ¬¸·- Ð±´·½§¸±´¼»® Ò±¬·½» ²±® ½¿² ·¬ ¾» ½±²-¬®«»¼ ¬± ®»°´¿½» ¿²§ °®±ª·-·±²- ±º §±«®
°±´·½§ò Ç±« -¸±«´¼ ®»¿¼ §±«® °±´·½§ ¿²¼ ®»ª·»© §±«® Ü»½´¿®¿¬·±²- °¿¹» º±® ½±³°´»¬» ·²º±®³¿¬·±² ±² ¬¸»
½±ª»®¿¹»- §±« ¿®» °®±ª·¼»¼ò

Ì¸·- Ò±¬·½» °®±ª·¼»- ·²º±®³¿¬·±² ½±²½»®²·²¹ °±--·¾´» ·³°¿½¬ ±² §±«® ·²-«®¿²½» ½±ª»®¿¹» ¼«» ¬± ¼·®»½¬·ª»-
·--«»¼ ¾§ ¬¸» Ë²·¬»¼ Í¬¿¬»-ò Ð´»¿-» ®»¿¼ ¬¸·- Ò±¬·½» ½¿®»º«´´§ò

Ì¸» Ñºº·½» ±º Ú±®»·¹² ß--»¬- Ý±²¬®±´ øþÑÚßÝþ÷ ±º ¬¸» ËòÍò Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§ ¿¼³·²·-¬»®- ¿²¼
»²º±®½»- »½±²±³·½ ¿²¼ ¬®¿¼» -¿²½¬·±²- ¾¿-»¼ ±² ËòÍò º±®»·¹² °±´·½§ ¿²¼ ²¿¬·±²¿´ -»½«®·¬§ ¹±¿´- ¿¹¿·²-¬
¬¿®¹»¬»¼ º±®»·¹² ½±«²¬®·»- ¿²¼ ®»¹·³»-ô ¬»®®±®·-¬-ô ·²¬»®²¿¬·±²¿´ ²¿®½±¬·½- ¬®¿ºº·½µ»®-ô ¬¸±-» »²¹¿¹»¼ ·² ¿½¬·ª·¬·»-
®»´¿¬»¼ ¬± ¬¸» °®±´·º»®¿¬·±² ±º ©»¿°±²- ±º ³¿-- ¼»-¬®«½¬·±²ô ¿²¼ ±¬¸»® ¬¸®»¿¬- ¬± ¬¸» ²¿¬·±²¿´ -»½«®·¬§ô º±®»·¹²
°±´·½§ ±® »½±²±³§ ±º ¬¸» Ë²·¬»¼ Í¬¿¬»-ò ÑÚßÝ ¿½¬- «²¼»® Ð®»-·¼»²¬·¿´ ²¿¬·±²¿´ »³»®¹»²½§ °±©»®-ô ¿- ©»´´ ¿-
¿«¬¸±®·¬§ ¹®¿²¬»¼ ¾§ -°»½·º·½ ´»¹·-´¿¬·±²ô ¬± ·³°±-» ½±²¬®±´- ±² ¬®¿²-¿½¬·±²- ¿²¼ º®»»¦» ¿--»¬- «²¼»® ËòÍò
¶«®·-¼·½¬·±²ò ÑÚßÝ °«¾´·-¸»- ¿ ´·-¬ ±º ·²¼·ª·¼«¿´- ¿²¼ ½±³°¿²·»- ±©²»¼ ±® ½±²¬®±´´»¼ ¾§ô ±® ¿½¬·²¹ º±® ±® ±²
¾»¸¿´º ±ºô ¬¿®¹»¬»¼ ½±«²¬®·»-ò ×¬ ¿´-± ´·-¬- ·²¼·ª·¼«¿´-ô ¹®±«°-ô ¿²¼ »²¬·¬·»-ô -«½¸ ¿- ¬»®®±®·-¬- ¿²¼ ²¿®½±¬·½-
¬®¿ºº·½µ»®- ¼»-·¹²¿¬»¼ «²¼»® °®±¹®¿³- ¬¸¿¬ ¿®» ²±¬ ½±«²¬®§ó-°»½·º·½ò Ý±´´»½¬·ª»´§ô -«½¸ ·²¼·ª·¼«¿´- ¿²¼
½±³°¿²·»- ¿®» ½¿´´»¼ þÍ°»½·¿´´§ Ü»-·¹²¿¬»¼ Ò¿¬·±²¿´- ¿²¼ Þ´±½µ»¼ Ð»®-±²-þ ±® þÍÜÒ-þò Ì¸»·® ¿--»¬- ¿®»
¾´±½µ»¼ ¿²¼ ËòÍò °»®­±²­ ¿®» ¹»²»®¿´´§ °®±¸·¾·¬»¼ º®±³ ¼»¿´·²¹ ©·¬¸ ¬¸»³ò Ì¸·­ ´·­¬ ½¿² ¾» ´±½¿¬»¼ ±² ÑÚßÝ­
©»¾ ­·¬» ¿¬  ¸¬¬°ññ©©©ò¬®»¿­ò¹±ªñ±º¿½ò

×² ¿½½±®¼¿²½» ©·¬¸ ÑÚßÝ ®»¹«´¿¬·±²-ô ·º ·¬ ·- ¼»¬»®³·²»¼ ¬¸¿¬ §±« ±® ¿²§ ±¬¸»® ·²-«®»¼ô ±® ¿²§ °»®-±² ±® »²¬·¬§
½´¿·³·²¹ ¬¸» ¾»²»º·¬- ±º ¬¸·- ·²-«®¿²½» ¸¿- ª·±´¿¬»¼ ËòÍò -¿²½¬·±²- ´¿© ±® ·- ¿² ÍÜÒô ¿- ·¼»²¬·º·»¼ ¾§ ÑÚßÝô ¬¸»
°±´·½§ ·- ¿ ¾´±½µ»¼ ½±²¬®¿½¬ ¿²¼ ¿´´ ¼»¿´·²¹- ©·¬¸ ·¬ ³«-¬ ·²ª±´ª» ÑÚßÝò É¸»² ¿² ·²-«®¿²½» °±´·½§ ·-
½±²-·¼»®»¼ ¬± ¾» -«½¸ ¿ ¾´±½µ»¼ ±® º®±¦»² ½±²¬®¿½¬ô ²± °¿§³»²¬- ²±® °®»³·«³ ®»º«²¼- ³¿§ ¾» ³¿¼» ©·¬¸±«¬
¿«¬¸±®·¦¿¬·±² º®±³ ÑÚßÝò




Ú±®³ ×Ø çç ìð ðì ðç                                                                                 Ð¿¹» ï ±º ï

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Ò¿³»¼ ×²-«®»¼æ        ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ

Ð±´·½§ Ò«³¾»®æ        ìí ËËÒ ÜÚîêìë

Ûºº»½¬·ª» Ü¿¬»æ       ðëñîðñîî                          Û¨°·®¿¬·±² Ü¿¬»æ   ðëñîðñîí

Ý±³°¿²§ Ò¿³»æ         ØßÎÌÚÑÎÜ Ú×ÎÛ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ



            ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

              ÌÎßÜÛ ÑÎ ÛÝÑÒÑÓ×Ý ÍßÒÝÌ×ÑÒÍ ÛÒÜÑÎÍÛÓÛÒÌ


Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» »¨¬»²¬ ¬¸¿¬ ¬®¿¼» ±® »½±²±³·½ -¿²½¬·±²- ±® ±¬¸»® ´¿©- ±® ®»¹«´¿¬·±²-
°®±¸·¾·¬ «- º®±³ °®±ª·¼·²¹ ·²-«®¿²½»ô ·²½´«¼·²¹ô ¾«¬ ²±¬ ´·³·¬»¼ ¬±ô ¬¸» °¿§³»²¬ ±º ½´¿·³-ò


ß´´ ±¬¸»® ¬»®³- ¿²¼ ½±²¼·¬·±²- ®»³¿·² «²½¸¿²¹»¼ò




Ú±®³ ×Ø çç ìï ðì ðç                                                                         Ð¿¹» ï ±º ï

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                                                                                                      ×Ô ðð îï ðç ðè

      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                 ÒËÝÔÛßÎ ÛÒÛÎÙÇ Ô×ßÞ×Ô×ÌÇ ÛÈÝÔËÍ×ÑÒ
                           ÛÒÜÑÎÍÛÓÛÒÌ
                                                      øÞ®±¿¼ Ú±®³÷


Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÝÑÓÓÛÎÝ×ßÔ ßËÌÑÓÑÞ×ÔÛ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÚßÎÓ ÝÑÊÛÎßÙÛ ÐßÎÌ
   Ô×ÏËÑÎ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÓÛÜ×ÝßÔ ÐÎÑÚÛÍÍ×ÑÒßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÑÉÒÛÎÍ ßÒÜ ÝÑÒÌÎßÝÌÑÎÍ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÐÑÔÔËÌ×ÑÒ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
   Îß×ÔÎÑßÜ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ËÒÜÛÎÙÎÑËÒÜ ÍÌÑÎßÙÛ ÌßÒÕ ÐÑÔ×ÝÇ

ïò Ì¸» ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§æ                                 Ýò Ë²¼»® ¿²§ Ô·¿¾·´·¬§ Ý±ª»®¿¹»ô ¬± þ¾±¼·´§ ·²¶«®§þ
   ßò Ë²¼»® ¿²§ Ô·¿¾·´·¬§ Ý±ª»®¿¹»ô ¬± þ¾±¼·´§ ·²¶«®§þ              ±®    þ°®±°»®¬§      ¼¿³¿¹»þ    ®»-«´¬·²¹  º®±³
      ±® þ°®±°»®¬§ ¼¿³¿¹»þæ                                         þ¸¿¦¿®¼±«- °®±°»®¬·»-þ ±º þ²«½´»¿® ³¿¬»®·¿´þô ·ºæ
     øï÷ É·¬¸ ®»-°»½¬ ¬± ©¸·½¸ ¿² þ·²-«®»¼þ «²¼»®                  øï÷ Ì¸» þ²«½´»¿® ³¿¬»®·¿´þ ø¿÷ ·- ¿¬ ¿²§ þ²«½´»¿®
          ¬¸» °±´·½§ ·- ¿´-± ¿² ·²-«®»¼ «²¼»® ¿                        º¿½·´·¬§þ ±©²»¼ ¾§ô ±® ±°»®¿¬»¼ ¾§ ±® ±²
          ²«½´»¿® »²»®¹§ ´·¿¾·´·¬§ °±´·½§ ·--«»¼ ¾§                    ¾»¸¿´º ±ºô ¿² þ·²-«®»¼þ ±® ø¾÷ ¸¿- ¾»»²
          Ò«½´»¿®    Û²»®¹§        Ô·¿¾·´·¬§      ×²-«®¿²½»            ¼·-½¸¿®¹»¼ ±® ¼·-°»®-»¼ ¬¸»®»º®±³å
          ß--±½·¿¬·±²ô Ó«¬«¿´ ß¬±³·½ Û²»®¹§ Ô·¿¾·´·¬§              øî÷ Ì¸» þ²«½´»¿® ³¿¬»®·¿´þ ·- ½±²¬¿·²»¼ ·²
          Ë²¼»®©®·¬»®-ô        Ò«½´»¿®            ×²-«®¿²½»            þ-°»²¬ º«»´þ ±® þ©¿-¬»þ ¿¬ ¿²§ ¬·³»
          ß--±½·¿¬·±² ±º Ý¿²¿¼¿ ±® ¿²§ ±º ¬¸»·®                        °±--»--»¼ô ¸¿²¼´»¼ô «-»¼ô °®±½»--»¼ô
          -«½½»--±®-ô ±® ©±«´¼ ¾» ¿² ·²-«®»¼ «²¼»®                     -¬±®»¼ô ¬®¿²-°±®¬»¼ ±® ¼·-°±-»¼ ±ºô ¾§ ±® ±²
          ¿²§ -«½¸ °±´·½§ ¾«¬ º±® ·¬- ¬»®³·²¿¬·±² «°±²                 ¾»¸¿´º ±º ¿² þ·²-«®»¼þå ±®
          »¨¸¿«-¬·±² ±º ·¬- ´·³·¬ ±º ´·¿¾·´·¬§å ±®                 øí÷ Ì¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ
      øî÷ Î»-«´¬·²¹ º®±³ ¬¸» þ¸¿¦¿®¼±«- °®±°»®¬·»-þ                    ¿®·-»- ±«¬ ±º ¬¸» º«®²·-¸·²¹ ¾§ ¿² þ·²-«®»¼þ
          ±º þ²«½´»¿® ³¿¬»®·¿´þ ¿²¼ ©·¬¸ ®»-°»½¬ ¬±                    ±º -»®ª·½»-ô ³¿¬»®·¿´-ô °¿®¬- ±® »¯«·°³»²¬ ·²
          ©¸·½¸ ø¿÷ ¿²§ °»®-±² ±® ±®¹¿²·¦¿¬·±² ·-                      ½±²²»½¬·±² ©·¬¸ ¬¸» °´¿²²·²¹ô ½±²-¬®«½¬·±²ô
          ®»¯«·®»¼ ¬± ³¿·²¬¿·² º·²¿²½·¿´ °®±¬»½¬·±²                    ³¿·²¬»²¿²½»ô ±°»®¿¬·±² ±® «-» ±º ¿²§
          °«®-«¿²¬ ¬± ¬¸» ß¬±³·½ Û²»®¹§ ß½¬ ±º ïçëìô                   þ²«½´»¿® º¿½·´·¬§þô ¾«¬ ·º -«½¸ º¿½·´·¬§ ·-
          ±® ¿²§ ´¿© ¿³»²¼¿¬±®§ ¬¸»®»±ºô ±® ø¾÷ ¬¸»                    ´±½¿¬»¼ ©·¬¸·² ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿ô
          þ·²-«®»¼þ ·-ô ±® ¸¿¼ ¬¸·- °±´·½§ ²±¬ ¾»»²                    ·¬- ¬»®®·¬±®·»- ±® °±--»--·±²- ±® Ý¿²¿¼¿ô ¬¸·-
          ·--«»¼ ©±«´¼ ¾»ô »²¬·¬´»¼ ¬± ·²¼»³²·¬§ º®±³                  »¨½´«-·±² øí÷ ¿°°´·»- ±²´§ ¬± þ°®±°»®¬§
          ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿ô ±® ¿²§                         ¼¿³¿¹»þ ¬± -«½¸ þ²«½´»¿® º¿½·´·¬§þ ¿²¼ ¿²§
          ¿¹»²½§ ¬¸»®»±ºô «²¼»® ¿²§ ¿¹®»»³»²¬                          °®±°»®¬§ ¬¸»®»¿¬ò
          »²¬»®»¼ ·²¬± ¾§ ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º                îò ß- «-»¼ ·² ¬¸·- »²¼±®-»³»²¬æ
          ß³»®·½¿ô ±® ¿²§ ¿¹»²½§ ¬¸»®»±ºô ©·¬¸ ¿²§
          °»®-±² ±® ±®¹¿²·¦¿¬·±²ò                                þØ¿¦¿®¼±«- °®±°»®¬·»-þ ·²½´«¼»- ®¿¼·±¿½¬·ª»ô ¬±¨·½
                                                                 ±® »¨°´±-·ª» °®±°»®¬·»-ò
   Þò Ë²¼»® ¿²§ Ó»¼·½¿´ Ð¿§³»²¬- ½±ª»®¿¹»ô ¬±
      »¨°»²-»- ·²½«®®»¼ ©·¬¸ ®»-°»½¬ ¬± þ¾±¼·´§                  þÒ«½´»¿® ³¿¬»®·¿´þ ³»¿²- þ-±«®½» ³¿¬»®·¿´þô
      ·²¶«®§þ   ®»-«´¬·²¹   º®±³    ¬¸»    þ¸¿¦¿®¼±«-            þ-°»½·¿´ ²«½´»¿® ³¿¬»®·¿´þ ±® þ¾§ó°®±¼«½¬ ³¿¬»®·¿´þò
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      ±º ¬¸» ±°»®¿¬·±² ±º ¿ þ²«½´»¿® º¿½·´·¬§þ ¾§ ¿²§
      °»®-±² ±® ±®¹¿²·¦¿¬·±²ò




×Ô ðð îï ðç ðè                                w ×ÍÑ Ð®±°»®¬·»-ô ×²½òô îððé                              Ð¿¹» ï ±º î
        Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 20 of 579
   þÍ±«®½» ³¿¬»®·¿´þô þ-°»½·¿´ ²«½´»¿® ³¿¬»®·¿´þô ¿²¼            ø½÷ ß²§ »¯«·°³»²¬ ±® ¼»ª·½» «-»¼ º±® ¬¸»
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   þ¾§ó°®±¼«½¬ ³¿¬»®·¿´þ ±¬¸»® ¬¸¿² ¬¸» ¬¿·´·²¹- ±®                  ¹®¿³- ±º «®¿²·«³ îíëå
   ©¿-¬»-      °®±¼«½»¼     ¾§       ¬¸» »¨¬®¿½¬·±²  ±®
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   °®±½»--»¼ °®·³¿®·´§ º±® ·¬- þ-±«®½» ³¿¬»®·¿´þ                     ±® °´¿½» °®»°¿®»¼ ±® «-»¼ º±® ¬¸» -¬±®¿¹» ±®
   ½±²¬»²¬ô ¿²¼ ø¾÷ ®»-«´¬·²¹ º®±³ ¬¸» ±°»®¿¬·±² ¾§                  ¼·-°±-¿´ ±º þ©¿-¬»þå
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     ø¿÷ ß²§ þ²«½´»¿® ®»¿½¬±®þå                               ±® «-»¼ ¬± -«-¬¿·² ²«½´»¿® º·--·±² ·² ¿ -»´ºó
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         º±® øï÷ -»°¿®¿¬·²¹ ¬¸» ·-±¬±°»- ±º «®¿²·«³ ±®
         °´«¬±²·«³ô øî÷ °®±½»--·²¹ ±® «¬·´·¦·²¹ þ-°»²¬        þÐ®±°»®¬§ ¼¿³¿¹»þ ·²½´«¼»- ¿´´           º±®³-    ±º
         º«»´þô ±® øí÷ ¸¿²¼´·²¹ô °®±½»--·²¹ ±®                ®¿¼·±¿½¬·ª» ½±²¬¿³·²¿¬·±² ±º °®±°»®¬§ò
         °¿½µ¿¹·²¹ þ©¿-¬»þå




Ð¿¹» î ±º î                                w ×ÍÑ Ð®±°»®¬·»-ô ×²½òô îððé                            ×Ô ðð îï ðç ðè
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                                                                                                ×Ô ðï ïç ïð ïî

     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                                 Ó×ÍÍ×ÍÍ×ÐÐ× ÝØßÒÙÛÍ

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÝßÐ×ÌßÔ ßÍÍÛÌÍ ÐÎÑÙÎßÓ øÑËÌÐËÌ ÐÑÔ×ÝÇ÷ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÝÑÓÓÛÎÝ×ßÔ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
   ÍÌßÒÜßÎÜ ÐÎÑÐÛÎÌÇ ÐÑÔ×ÝÇ

ßò É¸»² ¬¸·- »²¼±®-»³»²¬ ·- ¿¬¬¿½¸»¼ ¬± ¬¸»                          ø¾÷ Ì¸» ¿½¬·±² ·- ¾®±«¹¸¬ ©·¬¸·² í §»¿®-
   Í¬¿²¼¿®¼ Ð®±°»®¬§ Ð±´·½§ ÝÐ ðð çç ¬¸» ¬»®³                            ¿º¬»® §±« ¼·-½±ª»® ¬¸» »®®±® ±®
   Ý±ª»®¿¹» Ð¿®¬ ·² ¬¸·- »²¼±®-»³»²¬ ·- ®»°´¿½»¼ ¾§                      ¿½½·¼»²¬¿´ ±³·--·±²ò
   ¬¸» ¬»®³ Ð±´·½§ò                                        Üò Ì¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë- Ý±²¼·¬·±² ·² ¬¸»
Þò Ì¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë- Ý±²¼·¬·±²ô ·² ¬¸»              Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±²¼·¬·±²- ·- ®»°´¿½»¼
   Ý±³³»®½·¿´ Ð®±°»®¬§ Ý±²¼·¬·±²-ô ¬¸» Í¬¿²¼¿®¼               ¾§ ¬¸» º±´´±©·²¹æ
   Ð®±°»®¬§ Ð±´·½§ ¿²¼ ¬¸» Ý¿°·¬¿´ ß--»¬- Ð®±¹®¿³             ÔÛÙßÔ ßÝÌ×ÑÒ ßÙß×ÒÍÌ ËÍ
   Ý±ª»®¿¹» Ú±®³ øÑ«¬°«¬ Ð±´·½§÷ ·- ®»°´¿½»¼ ¾§ ¬¸»
   º±´´±©·²¹æ                                                 Ò± ±²» ³¿§ ¾®·²¹ ¿ ´»¹¿´ ¿½¬·±² ¿¹¿·²-¬ «- «²¼»®
                                                              ¬¸·- Ý±ª»®¿¹» Ð¿®¬ «²´»--æ
   ÔÛÙßÔ ßÝÌ×ÑÒ ßÙß×ÒÍÌ ËÍ
                                                              ïò Ì¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸ ¿´´ ¬¸»
   Ò± ±²» ³¿§ ¾®·²¹ ¿ ´»¹¿´ ¿½¬·±² ¿¹¿·²-¬ «- «²¼»®               ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬å ¿²¼
   ¬¸·- Ý±ª»®¿¹» Ð¿®¬ «²´»--æ
                                                              îò Ì¸» ¿½¬·±² ·- ¾®±«¹¸¬ ©·¬¸·² í §»¿®- ¿º¬»® §±«
   ïò Ì¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸ ¿´´ ±º ¬¸»              º·®-¬ ¸¿ª» µ²±©´»¼¹» ±º ¬¸» ¼·®»½¬ ´±-- ±®
       ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬å ¿²¼                           ¼¿³¿¹»ò
   îò Ì¸» ¿½¬·±² ·- ¾®±«¹¸¬ ©·¬¸·² í §»¿®- ¿º¬»® ¬¸»
       ¼¿¬» ±² ©¸·½¸ ¬¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±®
       ¼¿³¿¹» ±½½«®®»¼ò
Ýò Ë²¼»® ¬¸» Ý±³³»®½·¿´ Ð®±°»®¬§ Ý±ª»®¿¹» Ð¿®¬ô
   Ð¿®¿¹®¿°¸ øï÷ ±º ¬¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-
   Ý±²¼·¬·±² ·² ¬¸» Ó±®¬¹¿¹»¸±´¼»®- Û®®±®- ß²¼
   Ñ³·--·±²- Ý±ª»®¿¹» Ú±®³ ·- ®»°´¿½»¼ ¾§ ¬¸»
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           «²¼»® Ý±ª»®¿¹»- ß ¿²¼ Þ «²´»--æ
           ø¿÷ Ì¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸ ¿´´
               ±º ¬¸» ¬»®³- ±º Ý±ª»®¿¹»- ß ¿²¼ Þå
               ¿²¼




×Ô ðï ïç ïð ïî                       w ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô îðïí                       Ð¿¹» ï ±º ï
        Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 22 of 579
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       ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                   Ó×ÍÍ×ÍÍ×ÐÐ× ÝØßÒÙÛÍ ó ÝßÒÝÛÔÔßÌ×ÑÒ
                            ßÒÜ ÒÑÒÎÛÒÛÉßÔ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÝßÐ×ÌßÔ ßÍÍÛÌÍ ÐÎÑÙÎßÓ øÑËÌÐËÌ ÐÑÔ×ÝÇ÷ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÝÑÓÓÛÎÝ×ßÔ ßËÌÑ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÝÑÓÓÛÎÝ×ßÔ Ô×ßÞ×Ô×ÌÇ ËÓÞÎÛÔÔß ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÝÑÓÓÛÎÝ×ßÔ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÛÓÐÔÑÇÓÛÒÌóÎÛÔßÌÛÜ ÐÎßÝÌ×ÝÛÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÚßÎÓ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÚßÎÓ ËÓÞÎÛÔÔß Ô×ßÞ×Ô×ÌÇ ÐÑÔ×ÝÇ
    Ô×ÏËÑÎ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÓÛÜ×ÝßÔ ÐÎÑÚÛÍÍ×ÑÒßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÐÑÔÔËÌ×ÑÒ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò Ð¿®¿¹®¿°¸ éò ·- ¿¼¼»¼ ¬± ¬¸» Ý¿²½»´´¿¬·±²                            ¹ò ×ºæ
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   éò ×ºæ                                                                        ®»²»© ¬¸·- °±´·½§ô ©» ©·´´ ²±¬·º§ ¬¸»
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          °±´·½§ô ©» ©·´´ ²±¬·º§ ¿²§ ²¿³»¼ ½®»¼·¬±®                          øî÷ É» ¼»½·¼» ²±¬ ¬± ®»²»© ¬¸·- °±´·½§ô ©»
          ´±-- °¿§»»ò                                                            ©·´´ ¹·ª» ©®·¬¬»² ²±¬·½» ¬± ¬¸»
       ¾ò É» ½¿²½»´ ¬¸·- °±´·½§ô ©» ©·´´ ³¿·´ ±®                                 ³±®¬¹¿¹»¸±´¼»® ¿¬ ´»¿-¬æ
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       Ì¸» °®±ª·-·±²- ±º Ð¿®¿¹®¿°¸- ¿ò ¿²¼ ¾ò ¿¾±ª»                                  ¼¿¬» ±® ¬¸» »¨°·®¿¬·±² ¼¿¬» ±º ¬¸»
       ¼± ²±¬ ¿°°´§ ¬± ¿²§ ³±®¬¹¿¹»¸±´¼»®ò                                           °±´·½§ô ·º ¬¸» ²±²®»²»©¿´ ·- º±® ¿²§
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       ºò   ×ºæ                                                                  ³¿·´·²¹ ±® ¼»´·ª»®·²¹ ¬¸» ²±¬·½» ±º
                                                                                 ²±²®»²»©¿´ ¬± ¬¸» ´¿-¬ ³¿·´·²¹ ¿¼¼®»--
            øï÷ Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ½¿²½»´- ¬¸·-                             µ²±©² ¬± «-ò ×º ²±¬·½» ·- ³¿·´»¼ô °®±±º
                °±´·½§ô    ©»   ©·´´   ²±¬·º§    ¬¸»                             ±º ³¿·´·²¹ ©·´´ ¾» -«ºº·½·»²¬ °®±±º ±º
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                ´»¿-¬ íð ¼¿§- ¾»º±®» ¬¸» »ºº»½¬·ª» ¼¿¬»
                ±º ½¿²½»´´¿¬·±²ò                                    ÒÑÒÎÛÒÛÉßÔ
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                  ²±¬·½»ò
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 23 of 579
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      ³¿·´ ±® ¼»´·ª»® ©®·¬¬»² ²±¬·½» ±º ²±²®»²»©¿´ ¬±              ²±¬ ¿°°´§ ¬± ¿²§ ³±®¬¹¿¹»¸±´¼»®ò
      ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ¿²¼ ¿²§ ²¿³»¼                    Üò Ì¸» ®»¯«·®»³»²¬- º±® ²±¬·º·½¿¬·±² ±º ½¿²½»´´¿¬·±² ±®
      ½®»¼·¬±® ´±-- °¿§»»ô ¿¬ ´»¿-¬æ                              ²±²®»²»©¿´ ±º ¬¸·- °±´·½§ô ¿- -¬¿¬»¼ ·² Ð¿®¿¹®¿°¸-
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          ²±²®»²»©¿´ô ·º ¬¸» ²±²®»²»©¿´ ·- ¼«» ¬±                 ²±¬·º·½¿¬·±² ®»¯«·®»³»²¬- ¬± ¿²§ ²¿³»¼ ½®»¼·¬±®
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          ²±²®»²»©¿´ ·- º±® ¿²§ ±¬¸»® ®»¿-±²ò                  Ûò ß²§ ²¿³»¼ ½®»¼·¬±® ´±-- °¿§»» ¿²¼ ¿²§
       É» ©·´´ ²±¬·º§ ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ¿²¼ ¿²§             ³±®¬¹¿¹»¸±´¼»® ³¿§ »´»½¬ ²±¬ ¬± ®»½»·ª»
       ²¿³»¼ ½®»¼·¬±® ´±-- °¿§»»ô ¾§ ³¿·´·²¹ ±®                   ²±¬·º·½¿¬·±² ±º ½¿²½»´´¿¬·±² ±® ²±²®»²»©¿´ ¾§
       ¼»´·ª»®·²¹ ¬¸» ²±¬·½» ±º ²±²®»²»©¿´ ¬± ¬¸» ´¿-¬            °®±ª·¼·²¹ «- ©·¬¸ ¿ ©®·¬¬»² ®»´»¿-»ò
       ³¿·´·²¹ ¿¼¼®»-- µ²±©² ¬± «-ò ×º ²±¬·½» ·-
       ³¿·´»¼ô °®±±º ±º ³¿·´·²¹ ©·´´ ¾» -«ºº·½·»²¬ °®±±º
       ±º ²±¬·½»ò




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Ð¿¹» î ±º î                                  w ×ÍÑ Ð®±°»®¬·»-ô ×²½òô îððé                            ×Ô ðî èî ðç ðè
                                                                               ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




                                      ÏË×ÝÕ ÎÛÚÛÎÛÒÝÛ
                               ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²-

ßò Ù»²»®¿´ Ý±²¼·¬·±²-                                    ½ò Ð®±¬»½¬ Ð®±°»®¬§
   ïò ß¾¿²¼±²³»²¬                                        ¼ò Ì¿µ» ×²ª»²¬±®§
   îò ß°°´·½¿¬·±² ±º É¿·¬·²¹ Ð»®·±¼                      »ò Ð»®³·¬ «- ¬± ×²-°»½¬ Ð®±°»®¬§ô Þ±±µ-
   íò ß°°®¿·-¿´                                             ¿²¼ Î»½±®¼-
   ìò Ý´¿·³ Í»¬¬´»³»²¬                                   ºò Ð®±±º ±º Ô±--
   ëò Ý±²½»¿´³»²¬ô Ó·-®»°®»-»²¬¿¬·±² ±® Ú®¿«¼            ¹ò Ý±±°»®¿¬»
   êò Ý±²¬®±´ ±º Ð®±°»®¬§                               ¸ò Î»-«³°¬·±² ±º Þ«-·²»--
   éò Ý±ª»®¿¹» Ì»®®·¬±®§                             îò Ñ«® Î·¹¸¬ ó Û¨¿³·²» Ç±« Ë²¼»® Ñ¿¬¸
   èò Û¯«·°³»²¬ Þ®»¿µ¼±©² ó Í«-°»²-·±²            Ýò Ù»²»®¿´ Ü»º·²·¬·±²-
   çò Û¯«·°³»²¬ Þ®»¿µ¼±©² ó ×²-°»½¬·±²               ïò Þ«·´¼·²¹ Ù´¿--
   ïðò ×º Ì©± ±® Ó±®» Ý±ª»®¿¹»- ß°°´§                îò Ý±³°«¬»® Û¯«·°³»²¬
   ïïò Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-                       íò Û´»½¬®±²·½ Ü¿¬¿
   ïîò Ô·¾»®¿´·¦¿¬·±²                                ìò Ú«²¹«-
   ïíò Ô±-- Ð¿§»» ó Í¬¿²¼¿®¼                         ëò Ó±²»§
   ïìò Ó±®¬¹¿¹»¸±´¼»®- ¿²¼ Ô»²¼»® Ô±-- Ð¿§»»-        êò Ð±´·½§ Ç»¿®
   ïëò Ý±²¬®¿½¬ ±º Í¿´» ¿²¼ Þ«·´¼·²¹ Ñ©²»® Ô±--      éò Ð±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-
       Ð¿§¿¾´» Ý´¿«-»-                               èò Í½¸»¼«´»¼ Ð®»³·-»-
   ïêò Ò± Þ»²»º·¬ ¬± Þ¿·´»»                          çò Í»½«®·¬·»-
   ïéò Ñ¬¸»® ×²-«®¿²½»                               ïðò Í·²µ¸±´» Ý±´´¿°-»
   ïèò Ð±´·½§ Ð»®·±¼                                 ïïò Í°»½·º·»¼ Ý¿«-»- ±º Ô±--
   ïçò Î»½±ª»®»¼ Ð®±°»®¬§                            ïîò Í°®·²µ´»® Ô»¿µ¿¹»
   îðò Í¬¿²¼¿®¼ Ú·®» Ð±´·½§                          ïíò Í¬±½µ
   îïò Ì®¿²-º»® ±º Î·¹¸¬- øÍ«¾®±¹¿¬·±²÷              ïìò Ì»²¿²¬ ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-
Þò Ù»²»®¿´ Ü«¬·»- ·² Ûª»²¬ ±º Ô±--                   ïëò Ì¸»º¬
   ïò Ç±«® Ü«¬·»-                                    ïêò Ê¿´«¿¾´» Ð¿°»®-
      ¿ò Ò±¬·º§ Ð±´·½»                               ïéò Ê±´½¿²·½ ß½¬·±²
       ¾ò Ò±¬·º§ Ë-

Ð®±°»®¬§ Ý¸±·½» Ý±ª»®¿¹» Ú±®³

ßò Ý±ª»®¿¹»                                       Ýò Ô·³·¬- ±º ×²-«®¿²½»
   ïò Ý±ª»®»¼ Ð®±°»®¬§ Ü»º·²·¬·±²-                Üò Ü»¼«½¬·¾´»
      ¿ò Þ«·´¼·²¹                                 Ûò Ô±-- Ð¿§³»²¬ ¿²¼ Ê¿´«¿¬·±² Ý±²¼·¬·±²-
      ¾ò Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§                  ïò Î»°´¿½»³»²¬ Ý±-¬
   îò Ð®±°»®¬§ Ò±¬ Ý±ª»®»¼                           îò ß½¬«¿´ Ý¿-¸ Ê¿´«»
   íò Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ó Í»» -»°¿®¿¬»          íò Í°»½·º·½ Ð®±°»®¬§ Ê¿´«¿¬·±²-
      º±®³                                              ¿ò ß½½±«²¬- Î»½»·ª¿¾´»
Þò Û¨½´«-·±²- ó Í»» -»°¿®¿¬» º±®³                       ¾ò ß²·³¿´-


Ú±®³ ÐÝ ðð çï ðï ïè                                                                    Ð¿¹» ï ±º í
       Case 3:24-cv-00490-FDW-SCRw îðïèô
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                                         Ì¸» Ø¿®¬º±®¼
       ½ò Þ«·´¼·²¹ Ù´¿--                                        ¶ò    Ì®¿²-·¬
       ¼ò Û´»½¬®±²·½ Ü¿¬¿ ¿²¼ Ê¿´«¿¾´» Ð¿°»®-                   µò Ê»¸·½´»-
       »ò Ú·²» ß®¬-                                          ìò Ê¿´«» Û²¸¿²½»³»²¬-
       ºò   Ð¿®¬§ É¿´´                                           ¿ò ß®½¸·¬»½¬ ¿²¼ Û²¹·²»»®·²¹ Ú»»-
       ¹ò Ð®±°»®¬§ ±º Ñ¬¸»®-                                     ¾ò Ý«-¬±³- Ü«¬§ô Í¿´»- Ì¿¨
       ¸ò Í¬±½µ                                                  ½ò   Û¨¬»²¼»¼ É¿®®¿²¬·»-
       ·ò   Ì»²¿²¬ ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-


Ð®±°»®¬§ Ý¸±·½» ó Í°»½·¿´·¦»¼ Ð®±°»®¬§ ×²-«®¿²½» Ý±ª»®¿¹»-

   Í»½¬·±² ßò ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-                               ïçò Ò»© Ý±²-¬®«½¬·±² ¿¬ Í½¸»¼«´»¼ Ð®»³·-»-
       ïò ß½½±«²¬- Î»½»·ª¿¾´»                                    îðò Ò»©´§ ß½¯«·®»¼ Ð®±°»®¬§
       îò Þ®¿²¼- ¿²¼ Ô¿¾»´-                                      îïò Ò±²óÑ©²»¼ Ü»¬¿½¸»¼ Ì®¿·´»®-
       íò Þ«·´¼·²¹ Ù´¿-- Î»°¿·®-                                 îîò Ñ®¼·²¿²½» ±® Ô¿©
       ìò Þ«-·²»-- Ì®¿ª»´ ×²½´«¼·²¹ Í¿´»-                        îíò Ñ«¬¼±±® Ì®»»-ô Í¸®«¾-ô Í±¼ô Ð´¿²¬- ¿²¼
          Î»°®»-»²¬¿¬·ª» Í¿³°´»-                                     Ô¿©²-
       ëò Ý´¿·³ Û¨°»²-»-                                         îìò Ð¿·®- ±® Í»¬-
       êò Ý±²¬®¿½¬ Ð»²¿´¬·»-                                     îëò Ð±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬- Ý´»¿² Ë°
       éò Ü»¾®·- Î»³±ª¿´                                         îêò Ð®»-»®ª¿¬·±² ±º Ð®±°»®¬§
       èò Û³°´±§»» Ð»®-±²¿´ Ûºº»½¬-                              îéò Î»©¿®¼-
       çò Û®®±®- ·² Ü»-½®·°¬·±²                                  îèò Í»©»® ¿²¼ Ü®¿·² Þ¿½µ«°
       ïðò Û¨¸·¾·¬·±²-                                           îçò Ì®¿²-·¬
       ïïò Û¨¬®¿ Û¨°»²-» ¿²¼ Û¨°»¼·¬·²¹ Û¨°»²-»-                 íðò Ì®¿²-·¬·±² ¬± Î»°´¿½»³»²¬ Ð®»³·-»-
       ïîò Ú·²» ß®¬-                                             íïò Ë²²¿³»¼ Ð®»³·-»-
       ïíò Ú·®» Ü»°¿®¬³»²¬ Í»®ª·½» Ý¸¿®¹»                        íîò Ë¬·´·¬§ Í»®ª·½» ×²¬»®®«°¬·±²
       ïìò Ú·®» Ü»ª·½» Î»½¸¿®¹»                                  ííò É¿¬»® Ü¿³¿¹» Þ«·´¼·²¹ Ì»¿® Ñ«¬ ¿²¼
       ïëò Ú«²¹«-ô É»¬ Î±¬ô Ü®§ Î±¬ô Þ¿½¬»®·¿ ¿²¼                    Î»°¿·®
           Ê·®«- ó Ô·³·¬»¼ Ý±ª»®¿¹»                              íìò É¿¬»® Í»»°¿¹»
       ïêò ×²º´¿¬·±² Ù«¿®¼                                       íëò É·²¼¾´±©² Ü»¾®·-
       ïéò ×²-¬¿´´³»²¬ ±® Ü»º»®®»¼ Í¿´»-                     Í»½¬·±² Þò ó Ý±³¾·²»¼ ß¼¼·¬·±²¿´ Ð®±¬»½¬·±²
       ïèò Ô±-- ±º Ó¿-¬»® Õ»§                                Í»½¬·±² Ýò ó Ì»²¿²¬ Ô»¿-» Ý±ª»®¿¹»


Ð®±°»®¬§ Ý¸±·½» ó Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³

ßò Ý±ª»®»¼ Ý¿«-»- ±º Ô±--                                        µò Ñ®¼·²¿²½» ±® Ô¿©
Þò Û¨½´«-·±²-                                                    ´ò Ð¿¬¸±¹»²·½ ±® Ð±·-±²±«- Þ·±´±¹·½¿´ ±®
   ïò ¿ò ß½¬- Û®®±®- ±® Ñ³·--·±²-                                   Ý¸»³·½¿´ Ó¿¬»®·¿´-
      ¾ò É±®µ³¿²-¸·° ¿²¼ Î»°¿·®                                  ³ò Ð±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-
       ½ò ß²·³¿´-                                                ²ò Ë¬·´·¬§ Í»®ª·½»- ×²¬»®®«°¬·±²
       ¼ò Ý±´´¿°-» øÎ»´¿¬»¼ ¬± Û¿®¬¸¯«¿µ» ±®                     ±ò É¿® ¿²¼ Ó·´·¬¿®§ ß½¬·±²
          Ú´±±¼÷                                             îò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼
       »ò Û¿®¬¸ Ó±ª»³»²¬                                        ¾§ ±® ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹æ
       ºò É¿¬»®                                                  ¿ò ß®¬·º·½·¿´´§ Ù»²»®¿¬»¼ Û´»½¬®·½¿´ô
                                                                    Ó¿¹²»¬·½ ±® Û´»½¬®±³¿¹²»¬·½ Û²»®¹§
       ¹ò Ú«²¹«-ô É»¬ Î±¬ô Ü®§ Î±¬ô Þ¿½¬»®·¿ ±®
          Ê·®«-                                                  ¾ò ß½½±«²¬·²¹ Û®®±®-
       ¸ò Ù±ª»®²³»²¬¿´ ß½¬·±²                                    ½ò Ý¸¿²¹»- ±º Ì»³°»®¿¬«®»ô Ü¿³°²»-- ±®
                                                                    Ü®§²»--
       ·ò   Ò»-¬·²¹ ±® ×²º»-¬¿¬·±²
                                                                 ¼ò Ü»´¿§ô Ô±-- ±º Ë-» ±® Ô±-- ±º Ó¿®µ»¬
       ¶ò   Ò«½´»¿® Ø¿¦¿®¼

       Case
Ð¿¹» î ±º í 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 26 of
                                                                              Ú±®³ ÐÝ579
                                                                                      ðð çï ðï ïè
     »ò Ü·-¸±²»-¬ ß½¬-                                  íò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼
     ºò Ü±½µ-ô Ð·»®-ô É¸¿®ª»-                              ¾§ ±® ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹ò Þ«¬
                                                           ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
     ¹ò Û´»½¬®±²·½ Ê¿²¼¿´·-³ ±® Ý±®®«°¬·±² ±º              ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¾§ ¿ Ý±ª»®»¼
        þÛ´»½¬®±²·½ Ü¿¬¿þ ±® Ý±®®«°¬·±² ±º                 Ý¿«-» ±º Ô±-- ®»-«´¬-ô ©» ©·´´ °¿§ º±® ¬¸»
        þÝ±³°«¬»® Û¯«·°³»²¬þ                               ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬
     ¸ò Ô±-- Ü«» Ì± Þ§óÐ®±¼«½¬- ±º Ð®±¼«½¬·±²              Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò
        ±® Ð®±½»--·²¹ Ñ°»®¿¬·±²-                            ¿ò É»¿® ¿²¼ ¬»¿®ô ±® ½¸¿²¹» ·² ½±´±®ô
     ·ò   Ó»½¸¿²·½¿´ Þ®»¿µ¼±©²                                 ¬»¨¬«®»ô ±® º·²·-¸å
     ¶ò   Ó·--·²¹ Ð®±°»®¬§                                  ¾ò Î«-¬ô ½±®®±-·±²ô ¼»½¿§ô ±® ¼»¬»®·±®¿¬·±²å
     µò Ò»¹´»½¬ ¬± Ð®±¬»½¬ Ð®±°»®¬§                         ½ò Ø·¼¼»² ±® ´¿¬»²¬ ¼»º»½¬ ±® ¿²§ ¯«¿´·¬§ ·²
     ´ò Î¿·²ô Í²±©ô ×½»ô Í´»»¬ ¬± Ð®±°»®¬§ ·² ¬¸»              °®±°»®¬§ ¬¸¿¬ ½¿«-»- ·¬ ¬± ¼¿³¿¹» ±®
        Ñ°»²                                                   ¼»-¬®±§ ·¬-»´ºå
     ³ò Í»¬¬´·²¹ô Ý®¿½µ·²¹ ¬± Þ«·´¼·²¹- ±®                  ¼ò Ó¿·²¬»²¿²½»å
        Í¬®«½¬«®»-                                          »ò Í³±¹å ±®
     ²ò Í³±µ» ø¿¹®·½«´¬«®¿´ ±® ×²¼«-¬®·¿´÷                  ºò   Í¸®·²µ¿¹»ô »ª¿°±®¿¬·±²ô ±® ´±-- ±º ©»·¹¸¬
     ±ò Í¬»¿³ Û¨°´±-·±²-                                         ±º Í¬±½µò
     °ò Ì»-¬·²¹                                      Ýò Ô·³·¬¿¬·±²-
     ¯ò Ë²¿«¬¸±®·¦»¼ Ì®¿²-º»® ±º Ð®±°»®¬§
     ®ò Ê±´«²¬¿®§ Ð¿®¬·²¹




      Case
Ú±®³ ÐÝ ðð çï3:24-cv-00490-FDW-SCR
              ðï ïè                         Document 1-4 Filed 05/21/24 Page 27 of 579
                                                                                    Ð¿¹» í ±º í
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ
ÝÑÊÛÎßÙÛ ÐßÎÌ ó ÜÛÝÔßÎßÌ×ÑÒÍ

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


Ì¸·- ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ ½±²-·-¬- ±ºæ

ßò   Ì¸·- Ü»½´¿®¿¬·±²-å
Þò   Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-å
Ýò   Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²-å
Üò   Ð®±°»®¬§ Ý¸±·½» Ý±ª»®¿¹» Ú±®³å
Ûò   Ð®±°»®¬§ Ý¸±·½» Í°»½·¿´·¦»¼ Ð®±°»®¬§ ×²-«®¿²½» Ý±ª»®¿¹»-å
Úò   Ð®±°»®¬§ Ý¸±·½» Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³å ¿²¼
Ùò   ß²§ ±¬¸»® Ý±ª»®¿¹» Ú±®³-ô Ý±²¼·¬·±²- Ú±®³-ô Û²¼±®-»³»²¬- ¿²¼ Í½¸»¼«´»- ·--«»¼ ¬± ¾» ¿ °¿®¬ ±º
     ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿²¼ ´·-¬»¼ ¾»´±©ò


Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» Ý±ª»®¿¹» Ð¿®¬ ½¿®»º«´´§ ¬± ¼»¬»®³·²»
®·¹¸¬-ô ¼«¬·»- ¿²¼ ©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò

Ì¸®±«¹¸±«¬ ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò
Ì¸» ©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò

Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± Ü»º·²·¬·±²- º±«²¼ ·² ¬¸»
Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²- øÚ±®³ Ò«³¾»® ÐÝ ðð çð÷ò


                                                                ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ          üïîíôçîîòðð


ßËÜ×Ì ÐÛÎ×ÑÜæ


Û¨½»°¬ ·² ¬¸·- Ü»½´¿®¿¬·±²-ô ©¸»² ©» «-» ¬¸» ©±®¼ þÜ»½´¿®¿¬·±²-þ ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©» ³»¿² ¬¸·- þÐ®±°»®¬§
Ý¸±·½» Ü»½´¿®¿¬·±²-þ ±® ¬¸» þÝ±³³±² Ð±´·½§ Ü»½´¿®¿¬·±²-þò

ß´´ Í½¸»¼«´»- ´·-¬»¼ ±² ¬¸·- Ü»½´¿®¿¬·±²- ¿®» °¿®¬ ±º ¬¸·- Ü»½´¿®¿¬·±²-ò

Ú±®³ Ò«³¾»®- ±º Ý±ª»®¿¹» Ú±®³-ô Û²¼±®-»³»²¬-ô ¿²¼ Í½¸»¼«´»- ¬¸¿¬ ¿®» ¿ °¿®¬ ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬æ

ÐÝððçïðïïè      ÐÝðððîðïïçÌ ÐÝëðïéðïïè ÐÝîðîíðïðç ÐÓîðëîðîïï ÐÝíìíïïðïì
ÐÝíëíïïðïì      ÐÝîððçðïïí ÐÝîðîéðïðç ÐÝððçððïïç ×Øðçìððïïë ÐÝîêðîðïïè
ÐÝððïððïïè      ÐÝððîððïïè ÐÝððíððïïí ÐÝïðïððïïè ÐÝïðîððïïè ÐÝïðêíðïðç
ÐÝïðéîðïïè      ÐÝîðììðïïè ÐÝîðëððïïç ÐÝîëðêðïðç ÐÝîëïíðïïí ÐÝîéðïðïðç
ÐÝîéðçðïïí      ÐÝððçéðïðç ÐÝððëððïïè ÐÝíðîíðïïç ÐÝíïðçðîïî ÐÝíïïððïîð
ÐÝíïîíðïðç      ÐÝíïíïðëïè ÐÝíïíîðîïì ÐÝíïìîðïîð ÐÝíïìëðìïë ÐÝíîíððêçç
ÐÝíîéìïïïè
×Øïîðïïïèë       ÐÝîéïïðïïè ÒßÓÛÜ ÍÌÑÎÓ ÜÑÔÔßÎ ÜÛÜËÝÌ×ÞÔÛ
×Øïîðïïïèë       ÐÓîîìîðîîð ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÞË×ÔÜ×ÒÍ Ô×Ó×ÌÍ ÑÚ
                 ×ÒÍËÎßÒÝÛ ÞÔßÒÕÛÌ ÚÔ




Ú±®³ ÐÝ ðð ðï ðï ðç
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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ
ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ

           ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑÊÛÎßÙÛ ßÒÜ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

×ÒÍËÎßÒÝÛ ßÐÐÔ×ÛÍ ÑÒ ß ÞÔßÒÕÛÌ ÞßÍ×Í ÑÒÔÇ ÌÑ ß ÝÑÊÛÎßÙÛ ÚÑÎ ÉØ×ÝØ ß Ô×Ó×Ì
ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÍØÑÉÒ ÞÛÔÑÉ ×Ò ÌØÛ ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ
ÐÎÑÐÛÎÌÇò ÌØÛ ÓßÈ×ÓËÓ ÉÛ É×ÔÔ ÐßÇ ÚÑÎ ÔÑÍÍ ÑÎ ÜßÓßÙÛ ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
×Í ÌØÛ ÍÓßÔÔÛÍÌ ßÐÐÔ×ÝßÞÔÛ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ÍØÑÉÒ ×Ò ÌØÛ ÜÛÝÔßÎßÌ×ÑÒÍô
ÍÝØÛÜËÔÛÍô ÑÎ ÛÒÜÑÎÍÛÓÛÒÌøÍ÷ò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ
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ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ×ÒÍËÎÛÜ ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ
ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                      Ô×Ó×ÌøÍ÷ ÑÚ ×ÒÍËÎßÒÝÛ
                                                      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞË×ÔÜ×ÒÙ                                                       üîçôððíôððð
ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ                                      üêôêðëôìðð

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ÎÛÐÔßÝÛÓÛÒÌ ÝÑÍÌ øÍËÞÖÛÝÌ ÌÑ Ô×Ó×ÌßÌ×ÑÒÍ÷ ßÐÐÔ×ÛÍ ÌÑ ÌØÛ ÌÇÐÛÍ ÑÚ ÝÑÊÛÎÛÜ
ÐÎÑÐÛÎÌÇ ×ÒÍËÎÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇò ÚÑÎ ÊßÔËßÌ×ÑÒ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß
ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ ó ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ
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ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ     ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                          Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
                                                         ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                              üëôêðëôððð
  ìè ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
 ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ




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                                                                        ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑ×ÒÍËÎßÒÝÛ ÐÎÑÊ×Í×ÑÒæ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ËÒÔÛÍÍ ÑÌØÛÎÉ×ÍÛ ÍÌßÌÛÜ ×Ò ÌØ×Í ÐÑÔ×ÝÇô ÝÑ×ÒÍËÎßÒÝÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ÌØÛ
ÝÑÊÛÎßÙÛÍ ÍØÑÉÒ ÑÒ ÌØ×Í ÐÑÔ×ÝÇò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ     ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ßÔÔ ÝÑÊÛÎßÙÛÍ ßÍ ÐÎÑÊ×ÜÛÜ ßÒÜ Ô×Ó×ÌÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇ ßÌ ßÔÔ ×ÒÍËÎÛÜ
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ ×Ò ÌÑÌßÔ Í×ÌËßÌÛÜ ×Òæ
                                            ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ÝßÔ×ÚÑÎÒ×ß                                                 ÒÑÌ ÝÑÊÛÎÛÜ
ßÔßÞßÓß                                                    ÒÑÌ ÝÑÊÛÎÛÜ
ÙÛÑÎÙ×ß                                                     üëôðððôððð
ÔÑË×Í×ßÒß                                                  ÒÑÌ ÝÑÊÛÎÛÜ
ÒÑÎÌØ ÝßÎÑÔ×Òß                                              üëôðððôððð
ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ                                            üëôðððôððð

ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ
ßÒÇ ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò
ÌØÛ ÔßÎÙÛÍÌ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ËÒÜÛÎ
ÌØ×Í ÐÑÔ×ÝÇ ×Ò ÌÑÌßÔ ×Ò ßÒÇ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ ÛÊÛÒ ×Ú ÌØÛ ÔÑÍÍ ÑÎ ÜßÓßÙÛ
×ÒÊÑÔÊÛÍ ÓÑÎÛ ÌØßÒ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
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ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ     ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ
ÞÎÛßÕÜÑÉÒ ÐÎÑÐÛÎÌÇ ×Í ÌØÛ ßÐÐÔ×ÝßÞÔÛ ÞË×ÔÜ×ÒÙô ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ
ßÒÜ ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛò

ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍæ  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ßÎÛ ×ÒÝÔËÜÛÜ ×Ò ÌØÛ ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ßÒÜ ßÐÐÔÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



                                                          Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ

ÝÚÝ ÎÛÚÎ×ÙÛÎßÒÌÍæ                                       ×ÒÝÔËÜÛÜ ×Ò ÌØÛ Ô×Ó×Ì
                                                       ÑÚ ×ÒÍËÎßÒÝÛ ßÐÐÔ×ÝßÞÔÛ
                                                        ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ØßÆßÎÜÑËÍ ÍËÞÍÌßÒÝÛÍæ                                            üïððôððð
ÍÐÑ×ÔßÙÛæ                                                        üïððôððð
ÛÈÐÛÜ×Ì×ÒÙ ÛÈÐÛÒÍÛÍæ                                             üïððôððð

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ÜÛÜËÝÌ×ÞÔÛÍ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ÜÛÜËÝÌ×ÞÔÛÍ ÌØßÌ ßÐÐÔÇ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ     ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




ÞÇ ÛßÎÌØÏËßÕÛæ
                             ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
  ×Ò ÌØÛ ÍÌßÌÛøÍ÷ ÑÚæ
    ÙÛÑÎÙ×ß                             üëðôððð
    ÒÑÎÌØ ÝßÎÑÔ×Òß                      üëðôððð

  ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ
    ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ            üëðôððð
    ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍò

ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
  ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ
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ÌØÛ ÚÑÔÔÑÉ×ÒÙ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ ßÐÐÔÇ ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ ËÒÔÛÍÍ
ÑÌØÛÎÉ×ÍÛ ÍÌßÌÛÜò


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  ßÜÜÎÛÍÍæ

    ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
    ÑÊ×ÛÜÑô ÚÔ íîéêë
    ÍÛÓ×ÒÑÔÛ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                    üïïôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 üîôçððôððð


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  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                            üîôðððôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                        ÐÛÎÝÛÒÌßÙÛ      Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                       ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ       ëû               üîôëðð


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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     ï       ÝÑÒÌ×ÒËÛÜ




      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô     éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ    Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ   éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ              üïðôððð


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  ßÜÜÎÛÍÍæ

    ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
    ÑÊ×ÛÜÑô ÚÔ íîéêë
    ÍÛÓ×ÒÑÔÛ ÝÑËÒÌÇ

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  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                     üëôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                    üíéëôððð


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  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                               üïëðôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                        ÐÛÎÝÛÒÌßÙÛ         Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                          ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ       ëû                  üîôëðð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô        éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ    Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ      éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                                                        ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


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                                                                          ÒÛÈÌ  ÐßÙÛ÷
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                                                              ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ              üïðôððð




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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                       ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ            ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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                                                             ÞË×ÔÜ×ÒÙ Ô×Ó×Ì

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                       ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ              üîëôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô ÒÑ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ              üïðôððð




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                                                                        ÒÛÈÌ  ÐßÙÛ÷
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                                                            ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                       ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ              üîëôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô ÒÑ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                                             ÞË×ÔÜ×ÒÙ Ô×Ó×Ì

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ            ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                            ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                       ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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                                                              ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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                                                              ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                         ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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  ßÜÜÎÛÍÍæ

    ïïîð êÌØ ßÊÛ
    ÒÛÉ ÇÑÎÕô ÒÇ ïððíê
    ÒÛÉ ÇÑÎÕ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ              ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                              ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
                                                               ÐÎÑÐÛÎÌÇ Ô×Ó×Ì


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                             ÒÑÌ ÝÑÊÛÎÛÜ




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                                                                          ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




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  ÐÎÛÓ×ÍÛÍ ÒÑò   êè

  ßÜÜÎÛÍÍæ

    ïìèî ÎÑÈÞËÎÇ ÝÌ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ

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  ÞË×ÔÜ×ÒÙæ                                                ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                           ÒÑÌ ÝÑÊÛÎÛÜ


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  ßÜÜÎÛÍÍæ

    ìððë ÎÑÈÞËÎÇ ÎÜ
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  ÞË×ÔÜ×ÒÙæ                                                ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                             ÞË×ÔÜ×ÒÙ Ô×Ó×Ì




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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

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  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                           ÒÑÌ ÝÑÊÛÎÛÜ




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                                                                                              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




       ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÐÛÝ×ßÔ×ÆÛÜ ÐÎÑÐÛÎÌÇ ×ÒÍËÎßÒÝÛ ÝÑÊÛÎßÙÛÍ
                 ÚÑÎ ÝÑÔÔÛÙÛÍ ßÒÜ ÍÝØÑÑÔÍ

Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò É±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬±
Ú±®³ ÐÝ ðð çð ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ º±® ¼»º·²·¬·±²-ò
ÍËÓÓßÎÇ ±º ÝÑÊÛÎßÙÛ Ô×Ó×ÌÍ ¿²¼ ×ÒÜÛÈ
Ì¸·- ·- ¿ -«³³¿®§ ±º ¬¸» ´·³·¬- ±º ·²-«®¿²½» ¿²¼ ½±ª»®¿¹»- °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬ò
Ò± ½±ª»®¿¹» ·- °®±ª·¼»¼ ¾§ ¬¸·- -«³³¿®§ò
×¬»³   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ                                                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
 Ò±ò   ÍÛÝÌ×ÑÒ ßò ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ                                       øß°°´§ ·² ¿²§ ±²» ±½½«®®»²½» «²´»--
                                                                                         ±¬¸»®©·-» ²±¬»¼÷
 ïò    ßÝÝÑËÒÌÍ ÎÛÝÛ×ÊßÞÔÛæ                                                  üîëðôððð ¿¬ ¿´´ þÍ½¸»¼«´»¼ Ð®»³·-»-þå
                                                                             ©¸·´» ·² ¬¸» ¼«» ½±«®-» ±º Ì®¿²-·¬å ±®
                                                                             ©¸·´» ¿¬ Ë²²¿³»¼ Ð®»³·-»-ò
 îò    ÞÎßÒÜÍ ßÒÜ ÔßÞÛÔÍæ                                                    ×²½´«¼»¼ ·² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»
                                                                             ¿°°´·½¿¾´» ¬± Þ«-·²»-- Ð»®-±²¿´
                                                                             Ð®±°»®¬§ ó Í¬±½µò
 íò    ÞË×ÔÜ×ÒÙ ÙÔßÍÍ ÎÛÐß×ÎÍæ                                               ×²½´«¼»¼ ×² ¬¸» Þ«·´¼·²¹ Ô·³·¬ ±º
                                                                             ×²-«®¿²½»ò
 ìò    ÞËÍ×ÒÛÍÍ ÌÎßÊÛÔ ×ÒÝÔËÜ×ÒÙ
       ÍßÔÛÍ ÎÛÐÎÛÍÛÒÌßÌ×ÊÛ ÍßÓÐÔÛÍæ                                         üëðôðððò
ëò     ÝÔß×Ó ÛÈÐÛÒÍÛÍæ                                                       üëðôðððò
êò     ÝÑÒÌÎßÝÌ ÐÛÒßÔÌ×ÛÍæ                                                   üëðôðððò
éò     ÜÛÞÎ×Í ÎÛÓÑÊßÔ ó øßÜÜ×Ì×ÑÒßÔ ßÓÑËÒÌ÷æ                                 üîëðôðððò
èò     ÛÓÐÔÑÇÛÛ ÐÛÎÍÑÒßÔ ÛÚÚÛÝÌÍæ                                            üëðôðððò
çò     ÛÎÎÑÎÍ ×Ò ÜÛÍÝÎ×ÐÌ×ÑÒæ                                                Í»» °®±ª·-·±²ò
ïðò    ÛÈØ×Þ×Ì×ÑÒÍæ                                                          üëðôðððò ß¬ ¿²§ ±²» Û¨¸·¾·¬·±²ò
ïïò    ÛÈÌÎß ÛÈÐÛÒÍÛ ßÒÜ ÛÈÐÛÜ×Ì×ÒÙ ÛÈÐÛÒÍÛÍ øÑÌØÛÎ
       ÌØßÒ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ÛÈÐÛÜ×Ì×ÒÙ ÛÈÐÛÒÍÛÍ÷æ                        üïððôðððò
ïîò    Ú×ÒÛ ßÎÌÍæ                                                            üëðôðððò
ïíò    Ú×ÎÛ ÜÛÐßÎÌÓÛÒÌ ÍÛÎÊ×ÝÛ ÝØßÎÙÛæ                                       üëðôðððò
ïìò    Ú×ÎÛ ÜÛÊ×ÝÛ ÎÛÝØßÎÙÛæ                                                 üëðôðððò
ïëò    ÚËÒÙËÍô ÉÛÌ ÎÑÌô ÜÎÇ ÎÑÌô ÞßÝÌÛÎ×ß ßÒÜ Ê×ÎËÍ ó                        üëðôðððò ß¬ Û¿½¸ Ð®»³·-»-
       Ô×Ó×ÌÛÜ ÝÑÊÛÎßÙÛæ                                                     ·² ¿²§ ±²» þÐ±´·½§ Ç»¿®þò
ïêò    ×ÒÚÔßÌ×ÑÒ ÙËßÎÜæ                                                      Ý±²-«³»® Ð®·½» ×²¼»¨ «° ¬± èûò
ïéò    ×ÒÍÌßÔÔÓÛÒÌ ÑÎ ÜÛÚÛÎÎÛÜ ÍßÔÛÍæ                                        Ë° ¬± üëðôðððò
ïèò    ÔÑÍÍ ÑÚ ÓßÍÌÛÎ ÕÛÇ                                                    üîëôðððò
ïçò    ÒÛÉ ÝÑÒÍÌÎËÝÌ×ÑÒ ßÌ ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍæ                               üïôðððôðððò
îðò    ÒÛÉÔÇ ßÝÏË×ÎÛÜ ÐÎÑÐÛÎÌÇæ ÞË×ÔÜ×ÒÙÍæ                                   üîôðððôðððò
       ÒÛÉÔÇ ßÝÏË×ÎÛÜ ÐÎÑÐÛÎÌÇæ
       ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇæ                                           üïôðððôðððò
îïò    ÒÑÒ ÑÉÒÛÜ ÜÛÌßÝØÛÜ ÌÎß×ÔÛÎÍæ                                          üëðôðððò
îîò    ÑÎÜ×ÒßÒÝÛ ÑÎ ÔßÉ ÝÑÊÛÎßÙÛ ß                                           ×²½´«¼»¼ ·² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»
       øÊßÔËÛ ÑÚ ÌØÛ ËÒÜßÓßÙÛÜ ÞË×ÔÜ×ÒÙ÷æ                                    ¿°°´·½¿¾´» ¬± Þ«·´¼·²¹ò




Ú±®³ ÐÝ ëð ïé ðï ïè                                                                                    Ð¿¹» ï ±º ïê
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                                          Ì¸» Ø¿®¬º±®¼
      ÑÎÜ×ÒßÒÝÛ ÑÎ ÔßÉ ÝÑÊÛÎßÙÛÍ Þ ú Ý
      øÜÛÓÑÔ×Ì×ÑÒ ú ×ÒÝÎÛßÍÛÜ ÝÑÍÌ ÑÚ ÝÑÒÍÌÎËÝÌ×ÑÒ÷æ      üïôðððôðððò
îíò   ÑËÌÜÑÑÎ ÌÎÛÛÍô ÍØÎËÞÍô ÍÑÜô ÐÔßÒÌÍ ßÒÜ ÔßÉÒÍæ       üëðôðððò
îìò   Ðß×ÎÍ ßÒÜ ÍÛÌÍæ                                     ×²½´«¼»¼ ·² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»
                                                          ¿°°´·½¿¾´» ¬± Þ«-·²»-- Ð»®-±²¿´
                                                          Ð®±°»®¬§ ó Í¬±½µò
îëò   ÐÑÔÔËÌßÒÌÍ ßÒÜ ÝÑÒÌßÓ×ÒßÒÌÍ ÝÔÛßÒËÐæ                üëðôðððò ¿¬ »¿½¸ þÍ½¸»¼«´»¼
                                                          Ð®»³·-»-þ ·² ¿²§ ±²» þÐ±´·½§ Ç»¿®þò
îêò   ÐÎÛÍÛÎÊßÌ×ÑÒ ÑÚ ÐÎÑÐÛÎÌÇæ                           ïèð ¼¿§-ò
îéò   ÎÛÉßÎÜ ÝÑÊÛÎßÙÛæ                                    üëðôðððò
îèò   ÍÛÉÛÎ ßÒÜ ÜÎß×Ò ÞßÝÕËÐæ                             ×²½´«¼»¼ ·² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò
îçò   ÌÎßÒÍ×Ìæ                                            üïððôðððò
íðò   ÌÎßÒÍ×Ì×ÑÒ ÌÑ ÎÛÐÔßÝÛÓÛÒÌ ÐÎÛÓ×ÍÛÍæ                 ×²½´«¼»¼ ©·¬¸·² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»
                                                          ¿°°´·½¿¾´» ¬± ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ ¬¸¿¬
                                                          ·- ³±ª»¼ò
íïò   ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ ßÌ ßÔÔ ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ
      ÞË×ÔÜ×ÒÙÍæ                                          üïððôðððò
      ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ ßÌ ßÔÔ ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ
      ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇæ                         üïððôðððò
      ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ ßÌ ßÔÔ ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ
      ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ó×ÒÍÌßÔÔßÌ×ÑÒæ           üîëôðððò ß¬ ¿²§ ±²» ×²-¬¿´´¿¬·±²ò
íîò   ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛ ×ÒÌÛÎÎËÐÌ×ÑÒæ                       üîëôðððò
ííò   ÉßÌÛÎ ÜßÓßÙÛ ÞË×ÔÜ×ÒÙ ÌÛßÎ ÑËÌ ßÒÜ ÎÛÐß×Îæ          ×²½´«¼»¼ò
íìò   ÉßÌÛÎ ÍÛÛÐßÙÛæ                                      üîëôðððò
íëò   É×ÒÜ ÞÔÑÉÒ ÜÛÞÎ×Íæ                                  üîôëððò
íêò   ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎÛÜ ÐÎÑÐÛÎÌÇæ                        ×²½´«¼»¼ò
íéò   ßÒ×ÓßÔÍæ                                            üîëôðððò
íèò   ßÌØÔÛÌ×Ý ËÒ×ÚÑÎÓÍô ÞßÒÜ ËÒ×ÚÑÎÓÍô ßÒÜ ÌØÛßÌÎÛ
      ÝÑÍÌËÓÛÍæ                                           üïððôðððò
íçò   ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÚÎÑÓ ßËÈ×Ô×ßÎÇ ÑÐÛÎßÌ×ÑÒÍæ          üîëôðððò
ìðò   ÚßÝËÔÌÇ ÐÛÎÍÑÒßÔ ÛÚÚÛÝÌÍæ                           ×²½´«¼»¼ ×² Û³°´±§»» Ð»®-±²¿´ Ûºº»½¬-ò
ìïò   ØßÎÊÛÍÌÛÜ ÝÎÑÐÍæ                                    üîëôðððò
ìîò   ÓËÍ×ÝßÔ ×ÒÍÌÎËÓÛÒÌÍæ                                üïððôðððò
ìíò   ÐÛÎÍÑÒßÔ ÛÚÚÛÝÌÍ ÑÚ ÍÌËÜÛÒÌÍ ó ÍËÞÔ×Ó×Ì ÑÚ üëôððð
      ÐÛÎ ÍÌËÜÛÒÌæ                                        üïððôðððò

      ÍÛÝÌ×ÑÒ Þò ó
      ÝÑÓÞ×ÒÛÜ ßÜÜ×Ì×ÑÒßÔ ÐÎÑÌÛÝÌ×ÑÒæ                     Ë° ¬± üëððôðððò

      ÍÛÝÌ×ÑÒ Ýò ó ÌÛÒßÒÌ ÔÛßÍÛ ÝÑÊÛÎßÙÛÍæ
ïò    ÞË×ÔÜ×ÒÙ ÙÔßÍÍæ                                     ×²½´«¼»¼ ·² Þ«-·²»-- Ð»®-±²¿´
                                                          Ð®±°»®¬§ Ô·³·¬ò

îò    ÔÛßÍÛ ßÍÍÛÍÍÓÛÒÌæ                                   üîôëððò

íò    ÔÛßÍÛØÑÔÜ ×ÓÐÎÑÊÛÓÛÒÌÍæ                             üîëôðððò

ìò    Ó×ÍÝÛÔÔßÒÛÑËÍ ×ÒÌÛÎ×ÑÎ ÞË×ÔÜ×ÒÙ ÐÎÑÐÛÎÌÇæ           üîëôðððò

ëò    ÌØÛÚÌ ÜßÓßÙÛæ                                       ×²½´«¼»¼ ·² Þ«-·²»-- Ð»®-±²¿´
                                                          Ð®±°»®¬§ Ô·³·¬ò




       Case
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                                                                            ëð ïé ðï ïè
 êò    ÔÛÙßÔ Ô×ßÞ×Ô×ÌÇ ó ÞË×ÔÜ×ÒÙ ÝÑÊÛÎßÙÛ ÚÑÎÓ øÐÝ ðð íð÷
       ßÌÌßÝØÛÍ ÌÑ ßÒÜ ÚÑÎÓÍ ÐßÎÌ ÑÚ ÌØ×Í ÐÑÔ×ÝÇ
       ÔÛÙßÔ Ô×ßÞ×Ô×ÌÇ ó ÞË×ÔÜ×ÒÙ
       Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛæ                                                 üîëôðððò ×² ¿²§ ±²» ¿½½·¼»²¬ò

       ÍÛÝÌ×ÑÒ Üò ó ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÓÓÑÒ ÝÎ×ÓÛ
       ÝÑÊÛÎßÙÛ ÚÑÎÓ ×Í ßÜÜÛÜæ

       ÛÓÐÔÑÇÛÛ ÌØÛÚÌæ                                                     üïððôðððò

       ÚÑÎÙÛÎÇ ÑÎ ßÔÌÛÎßÌ×ÑÒæ                                              üîëôðððò

       ÓÑÒÛÇ ÑÎÜÛÎÍ ßÒÜ ÝÑËÒÌÛÎÚÛ×Ì ÐßÐÛÎ ÝËÎÎÛÒÝÇæ                        üîëôðððò

       ×ÒÍ×ÜÛ ÌØÛ ÐÎÛÓ×ÍÛÍ ÌØÛÚÌ ÑÚ ÓÑÒÛÇ ßÒÜ ÍÛÝËÎ×Ì×ÛÍæ                  üëðôðððò

       ÑËÌÍ×ÜÛ ÌØÛ ÐÎÛÓ×ÍÛÍ ó ÌØÛÚÌ ÑÚ ÓÑÒÛÇ ßÒÜ
       ÍÛÝËÎ×Ì×ÛÍæ                                                         üîëôðððò

ÍÛÝÌ×ÑÒ ßò ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ                              ¿²¼ þÍ¬±½µþ ·- Ý±ª»®»¼ Ð®±°»®¬§ ¬¸¿¬ ·- ¾®¿²¼»¼ ±®
Ì¸» º±´´±©·²¹ ß¼¼·¬·±²¿´ Ý±ª»®¿¹»- ¿®» ¿¼¼»¼ ¬± ¬¸»            ´¿¾»´»¼ô ©» ©·´´ ¬¿µ» ¿´´ ±® °¿®¬ ±º ¬¸» ¼¿³¿¹»¼
Ð®±°»®¬§ Ý¸±·½» Ý±ª»®¿¹» Ú±®³ «²´»-- ±¬¸»®©·-»                 þ-¬±½µþ ¿¬ ¿² ¿¹®»»¼ ±® ¿°°®¿·-»¼ ª¿´«»ò Ì¸·- ©·´´
·²¼·½¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»-          ·²½´«¼»æ
¿²¼ Ý±ª»®¿¹»- ±® ¾§ »²¼±®-»³»²¬ ¬± ¬¸·- °±´·½§ò                ¿ò Û¨°»²-»- ·²½«®®»¼ ¬±æ
Ú±® ×²-«®¿²½» ¬¸¿¬ ³¿§ ¿°°´§ ¬± ¿ Í°»½·º·½ Í½¸»¼«´»¼               øï÷ Í¬¿³° -¿´ª¿¹» ±² ¬¸» þÍ¬±½µþ ±® ·¬-
Ð®»³·-»- -»»æ Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»-                     ½±²¬¿·²»®-ô ·º ¬¸» -¬¿³° ©·´´ ²±¬ °¸§-·½¿´´§
¿²¼ Ý±ª»®¿¹» ó Í½¸»¼«´»¼ Ð®»³·-»- -»½¬·±²ò                             ¼¿³¿¹» ¬¸» ³»®½¸¿²¼·-»å ±®
ïò ßÝÝÑËÒÌÍ ÎÛÝÛ×ÊßÞÔÛ                                             øî÷ Î»³±ª» ¬¸» ¾®¿²¼- ±® ´¿¾»´-ô ·º ¼±·²¹ -±
     Ý±ª»®¿¹»æ É» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±®                 ©·´´ ²±¬ °¸§-·½¿´´§ ¼¿³¿¹» ¬¸» þÍ¬±½µþò
     ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹                     Ç±« ³«-¬ ®»´¿¾»´ ¬¸» þÍ¬±½µþ ¿²¼ ·¬-
     º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± §±«® ®»½±®¼- ±º                   ½±²¬¿·²»®- ¬± ½±³°´§ ©·¬¸ ¬¸» ´¿©ò
     ß½½±«²¬- Î»½»·ª¿¾´»ò         ß½½±«²¬- Î»½»·ª¿¾´»ô         ¾ò ß²§ ®»¼«½¬·±² ·² ¬¸» -¿´ª¿¹» ª¿´«» ±º ¬¸»
     ³»¿²- ¿´´ ¿³±«²¬- ¼«» º®±³ §±«® ½«-¬±³»®- ¬¸¿¬               ¼¿³¿¹»¼ þÍ¬±½µþ ¿- ¬¸» ®»-«´¬ ±º ¬¸» ®»³±ª¿´
     §±« ¿®» «²¿¾´» ¬± ½±´´»½¬å ¼«» ¬± ¿ ½±ª»®»¼ ¼·®»½¬           ±º ¬¸» ¾®¿²¼ ±® ´¿¾»´ò
     °¸§-·½¿´ ´±-- ±® ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬±
     ·²-½®·¾»¼ô °®·²¬»¼ô ©®·¬¬»² ±® »´»½¬®±²·½ ®»½±®¼- ±º      Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ «²¼»®
     ¿½½±«²¬- ®»½»·ª¿¾´»ò É» ©·´´ ¿´-± °¿§ º±®æ                ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó Þ®¿²¼- ¿²¼ Ô¿¾»´- ·²
                                                               ¿²§ ±²» ±½½«®®»²½» ·- ¬¸» ´·³·¬ ±º ·²-«®¿²½»
     ¿ò ×²¬»®»-¬ ½¸¿®¹»- ±² ¿²§ ´±¿² ®»¯«·®»¼ ¬± ±ºº-»¬        ¿°°´·½¿¾´» ¬± Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ó þ-¬±½µþ
         ¿³±«²¬- §±« ¿®» «²¿¾´» ¬± ½±´´»½¬ °»²¼·²¹ ±«®         ©¸»®» ¬¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
         °¿§³»²¬ ±º ¬¸»-» ¿³±«²¬-å                             ¼¿³¿¹» ±½½«®®»¼ò
     ¾ò Ý±´´»½¬·±² »¨°»²-»- ·² »¨½»-- ±º §±«® ²±®³¿´
                                                            íò þÞË×ÔÜ×ÒÙ ÙÔßÍÍþ ÎÛÐß×ÎÍ
         ½±´´»½¬·±² »¨°»²-»- ¬¸¿¬ ¿®» ³¿¼» ²»½»--¿®§
         ¾§ ¬¸» ´±-- ±® ¼¿³¿¹»å ¿²¼                            Ý±ª»®¿¹»æ ×² ¬¸» »ª»²¬ ±º ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´
                                                               ´±-- ±® ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬±
     ½ò Ñ¬¸»® ®»¿-±²¿¾´» »¨°»²-»- ¬¸¿¬ §±« ·²½«® ¬±
         ®»ó»-¬¿¾´·-¸ §±«® ®»½±®¼- ±º ¿½½±«²¬-                 þÞ«·´¼·²¹ Ù´¿--þô ©» ©·´´ °¿§ ·² ¿²§ ±²»
                                                               ±½½«®®»²½» §±«® »¨°»²-»- ¬±æ
         ®»½»·ª¿¾´»ò
     Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¿´´          ¿ò ×²-¬¿´´ ¬»³°±®¿®§ °´¿¬»- ±® ¾±¿®¼ «° ±°»²·²¹-
     ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬±            ·º ®»°¿·® ±® ®»°´¿½»³»²¬ ±º ¼¿³¿¹»¼ þÞ«·´¼·²¹
     ®»½±®¼- ±º ß½½±«²¬- Î»½»·ª¿¾´» ·² ¿²§ ±²»                    Ù´¿--þ ·- ¼»´¿§»¼ò
     ±½½«®®»²½» ·- üîëðôððð ¿¬ ¿´´ þÍ½¸»¼«´»¼                  ¾ò Ó¿µ» ²»½»--¿®§ ®»°¿·®- ±® ®»°´¿½» ¬¸» º®¿³»-
     Ð®»³·-»-þå ©¸·´» ·² ¬¸» ¼«» ½±«®-» ±º Ì®¿²-·¬å ±®            ·³³»¼·¿¬»´§ »²½¿-·²¹ ¬¸» ¼¿³¿¹»¼ þÞ«·´¼·²¹
    ©¸·´» ¿¬ Ë²²¿³»¼ Ð®»³·-»- òÌ¸·- ·- ¿² ¿¼¼·¬·±²¿´              Ù´¿--þò
     ¿³±«²¬ ±º ×²-«®¿²½»ò                                      Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·-
îò ÞÎßÒÜÍ ßÒÜ ÔßÞÛÔÍ                                           ·²½´«¼»¼ ©·¬¸·² ¬¸» Ô·³·¬ ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬±
     Ý±ª»®¿¹»æ ×² ¬¸» »ª»²¬ ±º ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´         Þ«·´¼·²¹ø-÷ ©¸»®» ¬¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
     ´±-- ±® ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± þÍ¬±½µþô        °¸§-·½¿´ ¼¿³¿¹» ±½½«®®»¼ò



Ú±®³ ÐÝCase
        ëð ïé3:24-cv-00490-FDW-SCR
              ðï ïè                               Document 1-4 Filed 05/21/24 Page 82 of Ð¿¹»
                                                                                         579 í ±º ïê
ìò ÞËÍ×ÒÛÍÍ ÌÎßÊÛÔ ×ÒÝÔËÜ×ÒÙ                  ÍßÔÛÍ        Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¿´´
   ÎÛÐÎÛÍÛÒÌßÌ×ÊÛ ÍßÓÐÔÛÍ                                  °»²¿´¬·»- ·² ¿²§ ±²» ±½½«®®»²½» ®»-«´¬·²¹ º®±³ ¿
  Ý±ª»®¿¹»æ ×º ¿ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©² ·² ¬¸»        Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ·- üëðôðððò Ì¸·- ·- ¿²
  Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                 ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò
  Ý±ª»®¿¹»- º±® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ô ¬¸»²         éò ÜÛÞÎ×Í ÎÛÓÑÊßÔ
  ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬           ¿ò Ý±ª»®¿¹»æ É» ©·´´ °¿§ §±«® »¨°»²-» ¬±
  °¸§-·½¿´ ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬±               ®»³±ª» ¼»¾®·- ±º Ý±ª»®»¼ Ð®±°»®¬§ ¿²¼ ±¬¸»®
  Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·²½´«¼·²¹ Í¿´»-                  ¼»¾®·- ¬¸¿¬ ·- ±² ¬¸» ¼»-½®·¾»¼ °®»³·-»-ô
  Î»°®»-»²¬¿¬·ª» Í¿³°´»- ©¸·´» ·² ¬¸» ½«-¬±¼§ ±ºæ             ©¸»² -«½¸ ¼»¾®·- ·- ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹
  ¿ò Ç±«® -¿´»- ®»°®»-»²¬¿¬·ª»-å ±®                           º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬¸¿¬ ±½½«®-
  ¾ò ß²§ ±ºº·½»®ô »³°´±§»» ±® §±«®-»´ºå                       ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ò Ì¸» »¨°»²-»- ©·´´ ¾»
                                                              °¿·¼ ±²´§ ·º ¬¸»§ ¿®» ®»°±®¬»¼ ¬± «- ·² ©®·¬·²¹
  ©¸·´» ¬®¿ª»´·²¹ ¿²§©¸»®» ·²         ¬¸»   ©±®´¼   ±²        ©·¬¸·² ïèð ¼¿§- ±º ¬¸» ¼¿¬» ±º ¼·®»½¬ °¸§-·½¿´
  ¿«¬¸±®·¦»¼ ½±³°¿²§ ¾«-·²»--ò                                ´±-- ±® ¼¿³¿¹»ò Ì¸·- ¿¼¼·¬·±²¿´ ½±ª»®¿¹»
  É·¬¸ ®»-°»½¬ ¬± ¬¸» ½±ª»®¿¹» °®±ª·¼»¼ «²¼»® ¬¸·-            ¼±»- ²±¬ ¿°°´§ ¬±æ
  ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó Þ«-·²»-- Ì®¿ª»´ô ¬¸»                   øï÷ Î»³±ª» ¼»¾®·- ±º °®±°»®¬§ ±º §±«®- ¬¸¿¬ ·-
  Ý±ª»®¿¹» Ì»®®·¬±®§ Ù»²»®¿´ Ý±²¼·¬·±² º±«²¼ ·² ¬¸»                ²±¬ ·²-«®»¼ «²¼»® ¬¸·- °±´·½§ô ±® °®±°»®¬§
  Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²- º±®³                  ·² §±«® °±--»--·±² ¬¸¿¬ ·- ²±¬ Ý±ª»®»¼
  ¼±»- ²±¬ ¿°°´§ò                                                  Ð®±°»®¬§å
  Þ«-·²»-- Ì®¿ª»´ Ý±ª»®¿¹» ¼±»- ²±¬ ·²½´«¼»                    øî÷ Î»³±ª» °®±°»®¬§ ±º ±¬¸»®- ±º ¿ ¬§°» ¬¸¿¬
  °®±°»®¬§ ±©²»¼ ¾§ ¿²¼ º±® »¨½´«-·ª» °»®-±²¿´ «-»                 ©±«´¼ ²±¬ ¾» Ý±ª»®»¼ Ð®±°»®¬§ «²¼»® ¬¸·-
  ¾§ §±« ±® §±«® ±ºº·½»®-ô °¿®¬²»®-ô »³°´±§»»-ô                    Ý±ª»®¿¹» Ú±®³å
  ®»-·¼»²¬- ±® -¬«¼»²¬-ò
                                                               øí÷ Î»³±ª» ¼»°±-·¬- ±º ³«¼ ±® »¿®¬¸ º®±³ ¬¸»
  Ð®±°»®¬§ »´·¹·¾´» º±® Þ«-·²»-- Ì®¿ª»´ Ý±ª»®¿¹» ·-                ¹®±«²¼- ±º ¬¸» ¼»-½®·¾»¼ °®»³·-»-å
  ²±¬ »´·¹·¾´» «²¼»® ¿²§ ±¬¸»® Ý±ª»®¿¹» ·² ¬¸·-
  Ý±ª»®¿¹» Ú±®³ò                                               øì÷ Ý±-¬- ¬± »¨¬®¿½¬ þ°±´´«¬¿²¬-þ º®±³ ´¿²¼ ±®
                                                                   ©¿¬»®å ±®
  Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±®
  ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬±            øë÷ Ý±-¬- ¬± ®»³±ª» ®»-¬±®» ±® ®»°´¿½»
  Þ«-·²»-- Ì®¿ª»´ ×²½´«¼·²¹ Í¿´»- Î»°®»-»²¬¿¬·ª»                   °±´´«¬»¼ ´¿²¼ ±® ©¿¬»®ò
  Í¿³°´»- ·² ¿²§ ±²» ±½½«®®»²½» ·- üëðôðððò Ì¸·- ·-        ¾ò Ô·³·¬ ±º ×²-«®¿²½»æ
  ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º ·²-«®¿²½»ò
                                                               øï÷ Ð¿§³»²¬ º±® Ü»¾®·- Î»³±ª¿´ ·- ·²½´«¼»¼
ëò ÝÔß×Ó ÛÈÐÛÒÍÛÍ                                                  ©·¬¸·² ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»
  Ý±ª»®¿¹»æ Ç±« ³¿§ »¨¬»²¼ ¬¸» ·²-«®¿²½»                           -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º
  °®±ª·¼»¼ ¾§ ¬¸·- Ý±ª»®¿¹» Ú±®³ ¬± ¿°°´§ ¬± ¬¸»                   Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- º±® ¬¸» ¼¿³¿¹»¼
  ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» »¨°»²-»- §±«                    Ý±ª»®»¼ Ð®±°»®¬§ò Ì¸» ³±-¬ ©» ©·´´ °¿§
  ·²½«® ·² °®»°¿®·²¹ ½´¿·³ ¼¿¬¿ ©¸»² ©» ®»¯«·®» ·¬ò                «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- îëû ±º ¬¸»
  Ý´¿·³ »¨°»²-»- ¿- «-»¼ ·² ¬¸·- ß¼¼·¬·±²¿´                        ¿³±«²¬ ¬¸¿¬ ©» °¿§ º±® ¬¸» ¼·®»½¬ °¸§-·½¿´
  Ý±ª»®¿¹» ³»¿²- ¬¸» ½±-¬ ±º ¬¿µ·²¹ ·²ª»²¬±®·»-ô                   ´±-- ±º ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± Ý±ª»®»¼
  ³¿µ·²¹ ¿°°®¿·-¿´- ¿²¼ °®»°¿®·²¹ ±¬¸»® ¼±½«³»²¬-                  Ð®±°»®¬§ô °´«- ¬¸» ¼»¼«½¬·¾´» ·² ¬¸·- °±´·½§
  ¬¸¿¬ ©» ®»¯«»-¬ ·² ©®·¬·²¹ ¬± §±«ò                               ¿°°´·½¿¾´» ¬± ¬¸¿¬ ´±-- ±® ¼¿³¿¹»ò
  Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§              øî÷ É¸»² ¬¸» ¼»¾®·- ®»³±ª¿´ »¨°»²-» »¨½»»¼-
  ±²» ±½½«®®»²½» º±® ¬¸» °®»°¿®¿¬·±² ±º ½´¿·³ ¼¿¬¿                 ¬¸» ¿¾±ª» îëû ´·³·¬¿¬·±² ±® ¬¸» -«³ ±º ´±--
  «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- üëðôðððò Ì¸·- ·-               ±® ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¿²¼ ¬¸»
  ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò                               »¨°»²-» º±® ®»³±ª¿´ ±º ¬¸» Ý±ª»®»¼
                                                                   Ð®±°»®¬§ ¼»¾®·- »¨½»»¼- ¬¸» ¿°°´·½¿¾´» Ô·³·¬
  É» ©·´´ ²±¬ °¿§ º±® ¿²§ »¨°»²-»- ·²½«®®»¼ô
                                                                   ±º ×²-«®¿²½» º±® ¬¸» ¼¿³¿¹»¼ Ý±ª»®»¼
  ¼·®»½¬»¼ ±® ¾·´´»¼ ¾§ ¿²¼ °¿§¿¾´» ¬± ·²-«®¿²½»
                                                                   Ð®±°»®¬§ô ©» ©·´´ °¿§ ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬
  ¿¹»²¬-ô ¾®±µ»®-ô ¿¼¶«-¬»®- ±® ¬¸»·® ¿ºº·´·¿¬»- ±®
                                                                   º±® ¼»¾®·- ®»³±ª¿´ »¨°»²-» ±º «° ¬±
  -«¾-·¼·¿®·»- ±® ¿²§ ½±-¬- ¿- °®±ª·¼»¼ ·² ±®
                                                                   üîëðôððð ·² ¬±¬¿´ ¿¬ ¿´´ þÍ½¸»¼«´»¼
  ·²½«®®»¼ ¼«» ¬± ¬¸» ÙÛÒÛÎßÔ ÝÑÒÜ×Ì×ÑÒ ó
                                                                   Ð®»³·-»-þ ·² ¿²§ ±²» ±½½«®®»²½»ò
  ß°°®¿·-¿´ò
                                                               øí÷ Ø±©»ª»®ô ·º ²± Ý±ª»®»¼ Ð®±°»®¬§ ¸¿-
êò ÝÑÒÌÎßÝÌ ÐÛÒßÔÌ×ÛÍ
                                                                   -«-¬¿·²»¼ ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
  Ý±ª»®¿¹»æ É» ©·´´ °¿§ º±® ©®·¬¬»² ½±²¬®¿½¬                       °¸§-·½¿´ ¼¿³¿¹»ô ¬¸» ³±-¬ ©» ©·´´ °¿§ º±®
  °»²¿´¬·»- §±« ¿®» ®»¯«·®»¼ ¬± °¿§ ¼«» ¬± §±«®                    ®»³±ª¿´ ±º ¼»¾®·- ±º ±¬¸»® °®±°»®¬§ ø·º -«½¸
  º¿·´«®» ¬± °®±ª·¼» §±«® °®±¼«½¬ ±® -»®ª·½» ©¸·½¸ ·-              ®»³±ª¿´ ·- ½±ª»®»¼ «²¼»® ¬¸·- ß¼¼·¬·±²¿´
  ¬¸» ¼·®»½¬ ®»-«´¬ ±º ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--                     Ý±ª»®¿¹»÷ ·- üëôððð ¿¬ »¿½¸ þÍ½¸»¼«´»¼
  ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ ¬± þÍ¬±½µþ ¿²¼ þÍ¬±½µþ ·-               Ð®»³·-»-þò
  Ý±ª»®»¼ Ð®±°»®¬§ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò

       Case
Ð¿¹» ì ±º ïê 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 83 of
                                                                               Ú±®³ ÐÝ579
                                                                                       ëð ïé ðï ïè
èò ÛÓÐÔÑÇÛÛ ÐÛÎÍÑÒßÔ ÛÚÚÛÝÌÍ                                     ïïò ÛÈÌÎß   ÛÈÐÛÒÍÛ    ßÒÜ    ÛÈÐÛÜ×Ì×ÒÙ
     Ý±ª»®¿¹»æ ×º ¿ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©² ·² ¬¸»               ÛÈÐÛÒÍÛÍ øÑÌØÛÎ    ÌØßÒ ÛÏË×ÐÓÛÒÌ
     Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                        ÞÎÛßÕÜÑÉÒ ÛÈÐÛÜ×Ì×ÒÙ ÛÈÐÛÒÍÛÍ÷
     Ý±ª»®¿¹»- º±® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ô ¬¸»²                 Ý±ª»®¿¹»æ ×² ¬¸» »ª»²¬ ±º ¿ Ý±ª»®»¼ Ý¿«-» ±º
     ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬                 Ô±-- ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¿¬ ¿ þÍ½¸»¼«´»¼
     °¸§-·½¿´ ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿                  Ð®»³·-»-þ §±« ³¿§ »¨¬»²¼ ¬¸» ·²-«®¿²½» °®±ª·¼»¼
     Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± §±«® Û³°´±§»»                         ¾§ ¬¸·- ½±ª»®¿¹» º±®³ ¬± ¿°°´§ ¬± ¬¸» ¿½¬«¿´ô
     Ð»®-±²¿´ Ûºº»½¬- ¿¬ ¿ þÍ½¸»¼«´»¼ Ð®»³·-»-þò                    ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´»æ
     Û³°´±§»» Ð»®-±²¿´ Ûºº»½¬- ³»¿²- °»®-±²¿´                       ¿ò Û¨¬®¿ »¨°»²-»- §±« ·²½«® ¬± ½±²¬·²«» ¿-
     »ºº»½¬- ±©²»¼ ¾§ §±« ±® §±«® ±ºº·½»®-ô °¿®¬²»®-ô
                                                                       ²»¿®´§ ¿- °±--·¾´» §±«® ²±®³¿´ ¾«-·²»--
     »³°´±§»»-ô ³»³¾»®-ô ±® ³¿²¿¹»®- ¿²¼ «-»¼                          ±°»®¿¬·±²- ·³³»¼·¿¬»´§ º±´´±©·²¹ ¬¸» ½±ª»®»¼
     »¨½´«-·ª»´§ ¾§ ¬¸» ·²¼·ª·¼«¿´ ±©²»® º±® ¬¸»·® ±©²
                                                                       ´±-- ±® ¼¿³¿¹»ò
     °»®-±²¿´ «-» -«½¸ ¿- °»®-±²¿´´§ ±©²»¼ ´¿°¬±°-ô
     Ð»®-±²¿´ Ü·¹·¬¿´ ß--·-¬¿²¬- ¿²¼ ½»´´ °¸±²»-ò Ì¸·-              ¾ò ß¼¼·¬·±²¿´ »¨°»²-»- §±« ·²½«® ¬±æ
     ½±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¿¬ ¿ °´¿½» ±º ®»-·¼»²½»ò                   øï÷ Ó¿µ» ¬»³°±®¿®§ ®»°¿·®- ±º ¼¿³¿¹»¼
     Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¬±¬¿´                      ½±ª»®»¼ °®±°»®¬§å
     ·² ¿²§ ±²» ±½½«®®»²½» º±® ¿´´ ¼·®»½¬ °¸§-·½¿´ ´±-- ±®              øî÷ Û¨°»¼·¬» °»®³¿²»²¬ ®»°¿·® ±® ®»°´¿½»³»²¬
     ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± ¿´´ »³°´±§»» °»®-±²¿´                        ±º ¼¿³¿¹»¼ ½±ª»®»¼ °®±°»®¬§å ±®
     »ºº»½¬- ·- üëðôðððò É» ©·´´ ²±¬ °¿§ ³±®» ¬¸¿²
                                                                        øí÷ Ð®±ª·¼» ¬®¿·²·²¹ ±² ®»°´¿½»³»²¬ ³¿½¸·²»-
     üîëôððð ·² ¬±¬¿´ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
                                                                            ±® »¯«·°³»²¬ ¬¸¿¬ ¿®» ½±ª»®»¼ °®±°»®¬§ò
     °¸§-·½¿´ ¼¿³¿¹» ¬± °»®-±²¿´ »ºº»½¬- ¾»´±²¹·²¹ ¬±
     ¿²§ ±²» »³°´±§»» ·² ¿²§ ±²» ±½½«®®»²½»                             Ì¸·- ·²½´«¼»- ±ª»®¬·³» ©¿¹»-ô ¬¸» »¨¬®¿ ½±-¬
     ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±® ¬§°»- ±º °»®-±²¿´                      ±º »¨°®»-- ±® ±¬¸»® ®¿°·¼ ³»¿²- ±º
     »ºº»½¬- ´±-¬ ±® ¼¿³¿¹»¼ò                                           ¬®¿²-°±®¬¿¬·±²ô ¿²¼ »¨°»²-»- ¬± ¾®·²¹
                                                                        ½±³°«¬»® -§-¬»³- ¾¿½µ ¬± ±°»®¿¬·±²¿´ -¬¿¬«-ò
     Ý±ª»®¿¹» º±® Û³°´±§»» Ð»®-±²¿´ Ûºº»½¬- ·-
     »¨¬»²¼»¼ ¬± ¿°°´§ «° ¬± ïððð º»»¬ ±«¬-·¼» ¬¸»                  ½ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·²
     þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¾±«²¼¿®§ò                                    ¬±¬¿´ º±® ¿´´ »¨°»²-»- ·²½«®®»¼ «²¼»® ¬¸·-
                                                                       ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·² ¿²§ ±²» ±½½«®®»²½» ·-
     Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º ·²-«®¿²½»ò
                                                                       üïððôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º
çò   ÛÎÎÑÎÍ ×Ò ÜÛÍÝÎ×ÐÌ×ÑÒ                                             ·²-«®¿²½»ò
     ß²§ «²·²¬»²¬·±²¿´ »®®±® ·² ¬¸» ¼»-½®·°¬·±² ±º ¬¸»           ïîò Ú×ÒÛ ßÎÌÍ
     ±½½«°¿²½§ ±® ´±½¿¬·±² ¿¼¼®»-- ±º Ý±ª»®»¼ Ð®±°»®¬§
     ©·´´ ²±¬ ·³°¿·® ¬¸·- ·²-«®¿²½»ô °®±ª·¼»¼ §±« ®»°±®¬ ¬¸»        Ý±ª»®¿¹»æ ×º ¿ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©² ·² ¬¸»
     »®®±® ¬± «- ¿- -±±² ¿- ¬¸» »®®±® ¾»½±³»- µ²±©² ¬±              Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
     §±«ò                                                           Ý±ª»®¿¹»- º±® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ô ¬¸»²
                                                                    ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
ïðò ÛÈØ×Þ×Ì×ÑÒÍ                                                     °¸§-·½¿´ ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿
     Ý±ª»®¿¹»æ ×º ¿ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©² ·² ¬¸»              Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± Ú·²» ß®¬-ò Ú·²» ß®¬-
     Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                       ³»¿² °¿·²¬·²¹-ô »¬½¸·²¹-ô °·½¬«®»-ô ¬¿°»-¬®·»-ô ¿®¬
     Ý±ª»®¿¹»- º±® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ô ¬¸»² ©»              ¹´¿-- ©·²¼±©-ô ª¿´«¿¾´» ®«¹-ô -¬¿¬«¿®§ô ³¿®¾´»-ô
     ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´           ¾®±²¦»-ô ¿²¬·¯«» º«®²·¬«®»ô ®¿®» ¾±±µ-ô ¿²¬·¯«»
     ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿ Ý±ª»®»¼                   -·´ª»®ô °±®½»´¿·²-ô ®¿®» ¹´¿--ô ¾®·½ó¿ó¾®¿½ô ¿²¼
     Ý¿«-» ±º Ô±-- ¬± Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ©¸·´»              -·³·´¿® °®±°»®¬§ô ±º ®¿®·¬§ô ¸·-¬±®·½¿´ ª¿´«» ±® ¿®¬·-¬·½
     ±² ¬»³°±®¿®§ °«¾´·½ ¼·-°´¿§ô ±® ¾»·²¹ «-»¼ô ¿¬ º¿·®-ô          ³»®·¬ô ±©²»¼ ¾§ §±« ±® ±¬¸»®- ·² §±«® ½¿®»ô
     »¨¸·¾·¬·±²-ô »¨°±-·¬·±²- ±® ¬®¿¼» -¸±©- ±® ©¸·´» ·²            ½«-¬±¼§ ±® ½±²¬®±´ò
     ¬®¿²-·¬ ¬± ¿²¼ º®±³ ¬¸»-» ¬»³°±®¿®§ -·¬»-ò                     Ú·²» ß®¬- ¼± ²±¬ ·²½´«¼» ¿®¬©±®µ                ¬¸¿¬   ·-
     É·¬¸ ®»-°»½¬ ¬± ¬¸» ½±ª»®¿¹» °®±ª·¼»¼ «²¼»® ¬¸·-               ½±³°«¬»®·¦»¼ ±® ½´¿--·º·»¼ ¿- ¼¿¬¿ò
     ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó Û¨¸·¾·¬·±²-ô ¬¸» Ý±ª»®¿¹»                Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±®
     Ì»®®·¬±®§ Ù»²»®¿´ Ý±²¼·¬·±² º±«²¼ ·² ¬¸» Ð®±°»®¬§              ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ·²
     Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²- º±®³ ¼±»- ²±¬                ¿²§ ±²» ±½½«®®»²½» ·- üëðôðððô ®»¹¿®¼´»-- ±º ¬¸»
     ¿°°´§ò                                                         ²«³¾»® ±® ¬§°»- ±º Ú·²» ß®¬- ¼¿³¿¹»¼ò É» ©·´´
     Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¿´´               ²±¬ °¿§ ³±®» ¬¸¿² üïðôððð º±® ¿²§ ±²» ·¬»³ ±º
     ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¿¬ ¿²§          Ú·²» ß®¬- ·² ¿²§ ±²» ±½½«®®»²½»ò ß °¿·® ±® -»¬ ©·´´
     ±²» »¨¸·¾·¬·±² ·- üëðôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º      ¾» ¼»»³»¼ ¬± ¾» ±²» ·¬»³ò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´
     ·²-«®¿²½»ò Ð®±°»®¬§ »´·¹·¾´» º±® Û¨¸·¾·¬·±²- Ý±ª»®¿¹»          ´·³·¬ ±º ·²-«®¿²½»ò
     ·- ²±¬ »´·¹·¾´» «²¼»® ¿²§ ±¬¸»® Ý±ª»®¿¹» ±º ¬¸·-            ïíò Ú×ÎÛ ÜÛÐßÎÌÓÛÒÌ ÍÛÎÊ×ÝÛ ÝØßÎÙÛ
     Ý±ª»®¿¹» Ú±®³ò
                                                                    Ý±ª»®¿¹»æ ×² ¬¸» »ª»²¬ ¬¸¿¬ ¬¸» º·®» ¼»°¿®¬³»²¬
                                                                    ®»-°±²¼- ¬± -¿ª» ±® °®±¬»½¬ Ý±ª»®»¼ Ð®±°»®¬§


Ú±®³ ÐÝCase
        ëð ïé3:24-cv-00490-FDW-SCR
              ðï ïè                                    Document 1-4 Filed 05/21/24 Page 84 of Ð¿¹»
                                                                                              579 ë ±º ïê
   º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--ô ©» ©·´´ °¿§ º±®              øí÷ Ú´±±¼ô ·º ¬¸» Ý¿«-»- ±º Ô±-- Ú´±±¼
   §±«® ´·¿¾·´·¬§ º±® º·®» ¼»°¿®¬³»²¬ -»®ª·½» ½¸¿®¹»-æ             »²¼±®-»³»²¬ ¿°°´·»- ¬± ¬¸» ¿ºº»½¬»¼
   ¿ò ß--«³»¼ ¾§ ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ °®·±® ¬±                    °®»³·-»-ò
      ¬¸» ½±ª»®»¼ ´±-- »ª»²¬å ±®                           ¾ò É» ©·´´ °¿§ º±® ´±-- ±® ¼¿³¿¹» ¾§ þº«²¹«-þô
   ¾ò Î»¯«·®»¼ ¾§ ´±½¿´ ±®¼·²¿²½»ò                            ©»¬ ®±¬ô ¼®§ ®±¬ô ¾¿½¬»®·¿ ¿²¼ ª·®«-ò ß- «-»¼ ·²
                                                              ¬¸·- Ô·³·¬»¼ Ý±ª»®¿¹»ô ¬¸» ¬»®³ ´±-- ±®
   Ò± ¼»¼«½¬·¾´» ¿°°´·»- ¬± ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò         ¼¿³¿¹» ³»¿²-æ
   Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® Ú·®»          øï÷ Ü·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
   Ü»°¿®¬³»²¬ Í»®ª·½» Ý¸¿®¹» ·² ¿²§ ±²»                            ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ½¿«-»¼ ¾§
   ±½½«®®»²½» ·- üëðôðððò Í«½¸ Ô·³·¬ ·- ¬¸» ³±-¬ ©»                þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô ¾¿½¬»®·¿ ±® ª·®«-ô
   ©·´´ °¿§ ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±º ®»-°±²¼·²¹                 ·²½´«¼·²¹ ¬¸» ½±-¬ ±º ®»³±ª¿´ ±º ¬¸»
   º·®» ¼»°¿®¬³»²¬- ±® º·®» «²·¬- ¿²¼ ®»¹¿®¼´»-- ±º ¬¸»            þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô ¾¿½¬»®·¿ ±® ª·®«-å
   ²«³¾»® ±® ¬§°» ±º -»®ª·½»- °»®º±®³»¼ò Ì¸·- ·- ¿²           øî÷ Ì¸» ½±-¬ ¬± ¬»¿® ±«¬ ¿²¼ ®»°´¿½» ¿²§ °¿®¬
   ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò
                                                                   ±º ¬¸» ¾«·´¼·²¹ ±® ±¬¸»® °®±°»®¬§ ¿- ²»»¼»¼
ïìò Ú×ÎÛ ÜÛÊ×ÝÛ ÎÛÝØßÎÙÛ                                           ¬± ¹¿·² ¿½½»-- ¬± ¬¸» þº«²¹«-þô ©»¬ ®±¬ô ¼®§
   ¿ò Ý±ª»®¿¹»æ ×² ¬¸» »ª»²¬ ¬¸¿¬ ¿ ³¿²«¿´ ±®                      ®±¬ô ¾¿½¬»®·¿ ±® ª·®«-å ¿²¼
      ¿«¬±³¿¬·½ º·®» »¨¬·²¹«·-¸·²¹ ¼»ª·½» ·-                  øí÷ Ì¸» ½±-¬ ±º ¬»-¬·²¹ °»®º±®³»¼ ¿º¬»®
      ¼·-½¸¿®¹»¼æ                                                  ®»³±ª¿´ô       ®»°¿·®ô    ®»°´¿½»³»²¬       ±®
       øï÷ Ì± º·¹¸¬ ¿ º·®»å                                        ®»-¬±®¿¬·±² ±º ¬¸» ¼¿³¿¹»¼ °®±°»®¬§ ·-
                                                                   ½±³°´»¬»¼ô °®±ª·¼»¼ ¬¸»®» ·- ¿ ®»¿-±² ¬±
       øî÷ ß- ¬¸» ®»-«´¬ ±º Ý±ª»®»¼ Ý¿«-» ±º Ô±--å                 ¾»´·»ª» ¬¸¿¬ þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô
           ±®                                                      ¾¿½¬»®·¿ ±® ª·®«- ·- °®»-»²¬ò
       øí÷ Ü«» ¬± ¿½½·¼»²¬¿´ ¼·-½¸¿®¹»å                    ½ò Ì¸» ½±ª»®¿¹» ¼»-½®·¾»¼ «²¼»® ¬¸·- Ô·³·¬»¼
       ©» ©·´´ °¿§ »¨°»²-»- §±« ·²½«® ¬± ®»½¸¿®¹»             Ý±ª»®¿¹» ·- ´·³·¬»¼ ¬± üëðôððð ¿¬ »¿½¸
       -«½¸ »¯«·°³»²¬ò                                        þÍ½¸»¼«´»¼ Ð®»³·-»-þò Î»¹¿®¼´»-- ±º ¬¸»
   ¾ò É» ©·´´ ²±¬ °¿§ º±®æ                                    ²«³¾»® ±º ½´¿·³-ô ¬¸·- ´·³·¬ ·- ¬¸» ³±-¬ ©» ©·´´
                                                              °¿§ º±® ¬¸» ¬±¬¿´ ±º ¿´´ ´±-- ±® ¼¿³¿¹» ¿®·-·²¹
       øï÷ ß²§ ½±-¬- ®»-«´¬·²¹ º®±³ ¬¸» »²º±®½»³»²¬           ±«¬ ±º ¿´´ ±½½«®®»²½»- ±º þ-°»½·º·»¼ ½¿«-»- ±º
           ±º ¿²§ ±®¼·²¿²½» ±® ´¿© ¬¸¿¬ ®»¹«´¿¬»- ¬¸»         ´±--þ ø±¬¸»® ¬¸¿² º·®» ±® ´·¹¸¬²·²¹÷ô Û¯«·°³»²¬
           ®»½¸¿®¹·²¹ô ®»°¿·® ±® ®»°´¿½»³»²¬ ±º -«½¸          Þ®»¿µ¼±©² ß½½·¼»²¬ ¬¸¿¬ ±½½«®- ¬± Û¯«·°³»²¬
           º·®» »¨¬·²¹«·-¸·²¹ ¼»ª·½» ±® º·®» º·¹¸¬·²¹ô        Þ®»¿µ¼±©² Ð®±°»®¬§ ¿²¼ Ú´±±¼ ©¸·½¸ ¬¿µ»
           -«°°®»--·²¹ ±® ½±²¬®±´´·²¹ -«¾-¬¿²½»å              °´¿½» ·² ¿ ïîó³±²¬¸ °»®·±¼ ø-¬¿®¬·²¹ ©·¬¸ ¬¸»
       øî÷ Ø¿´±²å                                             ¾»¹·²²·²¹ ±º ¬¸» °®»-»²¬ ¿²²«¿´ °±´·½§ °»®·±¼÷ò
                                                              É·¬¸ ®»-°»½¬ ¬± ¿ °¿®¬·½«´¿® ±½½«®®»²½» ±º ´±--
       øí÷ Ì¸» ®»½¸¿®¹» ±º ¿²§ ¼»ª·½» «-»¼ º±®
                                                              ©¸·½¸ ®»-«´¬- ·² þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô
           ¼»³±²-¬®¿¬·±² ±® ¬»-¬·²¹ °«®°±-»-å ±®
                                                              ¾¿½¬»®·¿ ±® ª·®«-ô ©» ©·´´ ²±¬ °¿§ ³±®» ¬¸¿²
       øì÷ Î»½¸¿®¹» ¼«» ¬± ³¿·²¬»²¿²½» ±º ¿²§                 üëðôððð ¿¬ »¿½¸ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ·² ¿²§
           ¼»ª·½» ±® -§-¬»³ò                                  ±²» þÐ±´·½§ Ç»¿®þ ¿°°´·½¿¾´» ¬± þÚ«²¹«-þô É»¬
   ½ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±®            Î±¬ô Ü®§ Î±¬ô Þ¿½¬»®·¿ ¿²¼ Ê·®«- ó Ô·³·¬»¼
      Ú·®» Ü»ª·½» Î»½¸¿®¹» ·² ¿²§ ±²» ±½½«®®»²½»              Ý±ª»®¿¹» »ª»² ·º ¬¸» þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô
      ·- üëðôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º              ¾¿½¬»®·¿ ±® ª·®«- ½±²¬·²«»- ¬± ¾» °®»-»²¬ ±®
      ·²-«®¿²½»ò                                              ¿½¬·ª»ô ±® ®»½«®-ô ·² ¿ ´¿¬»® °±´·½§ °»®·±¼ò
ïëò þÚËÒÙËÍþô ÉÛÌ ÎÑÌô ÜÎÇ ÎÑÌô ÞßÝÌÛÎ×ß                   ¼ò Ì¸» ½±ª»®¿¹» °®±ª·¼»¼ «²¼»® ¬¸·- Ô·³·¬»¼
    ßÒÜ Ê×ÎËÍ ó Ô×Ó×ÌÛÜ ÝÑÊÛÎßÙÛ                              Ý±ª»®¿¹» ¼±»- ²±¬ ·²½®»¿-» ¬¸» ¿°°´·½¿¾´»
                                                              Ô·³·¬ ±º ×²-«®¿²½» ±² ¿²§ Ý±ª»®»¼ Ð®±°»®¬§ò
   ¿ò Ì¸» ½±ª»®¿¹» ¼»-½®·¾»¼ ¾»´±© ±²´§ ¿°°´·»-               ×º ¿ °¿®¬·½«´¿® ±½½«®®»²½» ®»-«´¬- ·² ´±-- ±®
      ©¸»² ¬¸» þº«²¹«-þô ©»¬ ±® ¼®§ ®±¬ô ¾¿½¬»®·¿ ±®          ¼¿³¿¹» ¾§ þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô ¾¿½¬»®·¿
      ª·®«- ·- ¬¸» ®»-«´¬ ±º ±²» ±® ³±®» ±º ¬¸»               ±® ª·®«-ô ¿²¼ ±¬¸»® ´±-- ±® ¼¿³¿¹»ô ©» ©·´´ ²±¬
      º±´´±©·²¹ ½¿«-»- ¬¸¿¬ ±½½«®- ¼«®·²¹ ¬¸» °±´·½§          °¿§ ³±®»ô º±® ¬¸» ¬±¬¿´ ±º ¿´´ ´±-- ±® ¼¿³¿¹»ô
      °»®·±¼ ¿²¼ ±²´§ ·º ¿´´ ®»¿-±²¿¾´» ³»¿²- ©»®»            ¬¸¿² ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½» ±² ¬¸»
      «-»¼ ¬± -¿ª» ¿²¼ °®»-»®ª» ¬¸» °®±°»®¬§ º®±³             ¿ºº»½¬»¼ Ý±ª»®»¼ Ð®±°»®¬§ò
      º«®¬¸»® ¼¿³¿¹» ¿¬ ¬¸» ¬·³» ±º ¿²¼ ¿º¬»® ¬¸¿¬
                                                              ×º ¬¸»®» ·- ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ¬± Ý±ª»®»¼
      ±½½«®®»²½»ò
                                                              Ð®±°»®¬§ô ²±¬ ½¿«-»¼ ¾§ þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô
       øï÷ ß þ-°»½·º·»¼ ½¿«-» ±º ´±--þ ±¬¸»® ¬¸¿² º·®»        ¾¿½¬»®·¿ ±® ª·®«-ô ´±-- °¿§³»²¬ ©·´´ ²±¬ ¾» ´·³·¬»¼
           ±® ´·¹¸¬²·²¹å                                      ¾§ ¬¸» ¬»®³- ±º ¬¸·- Ô·³·¬»¼ Ý±ª»®¿¹»ô »¨½»°¬ ¬±
       øî÷ Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ ±½½«®- ¬±             ¬¸» »¨¬»²¬ ¬¸¿¬ þº«²¹«-þô ©»¬ ±® ¼®§ ®±¬ô ¾¿½¬»®·¿
           Û¯«·°³»²¬ Þ®»¿µ¼±©² Ð®±°»®¬§ô ·º                   ±® ª·®«- ½¿«-»- ¿² ·²½®»¿-» ·² ¬¸» ´±--ò ß²§
           Û¯«·°³»²¬ Þ®»¿µ¼±©² ¿°°´·»- ¬± ¬¸»                 -«½¸ ·²½®»¿-» ·² ¬¸» ´±-- ©·´´ ¾» -«¾¶»½¬ ¬± ¬¸»
           ¿ºº»½¬»¼ °®»³·-»-å ±®                              ¬»®³- ±º ¬¸·- Ô·³·¬»¼ Ý±ª»®¿¹»ò

       Case
Ð¿¹» ê ±º ïê 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 85 of
                                                                               Ú±®³ ÐÝ579
                                                                                       ëð ïé ðï ïè
         Ì¸» ¬»®³- ±º ¬¸·- Ô·³·¬»¼ Ý±ª»®¿¹» ¼± ²±¬                     ®»-«´¬·²¹ º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬±
         ·²½®»¿-» ±® ®»¼«½» ¬¸» ½±ª»®¿¹» °®±ª·¼»¼ «²¼»®                Ò»© Ý±²-¬®«½¬·±² ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þò
         ¬¸» ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó É¿¬»® Ü¿³¿¹»                        Ò»© Ý±²-¬®«½¬·±² ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þ
         Þ«·´¼·²¹ Ì»¿® Ñ«¬ ¿²¼ Î»°¿·® ±º ¬¸·- Ú±®³ò                    ¿°°´·»- ¬± ¾«·´¼·²¹- §±« ¾»¹·² ¬± ½±²-¬®«½¬
ïêò ×ÒÚÔßÌ×ÑÒ ÙËßÎÜ                                                    ¿º¬»® ¬¸» ·²½»°¬·±² ±º ¬¸·- °±´·½§ ¿²¼ ©·´´ »²¼
                                                                       ©¸»² ¿²§ ±º ¬¸» º±´´±©·²¹ º·®-¬ ±½½«®-æ
    Ý±ª»®¿¹»æ ×² ¬¸» »ª»²¬ ±º ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--
    ±® ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¿¬ ¿ þÍ½¸»¼«´»¼                      øï÷ Ì¸·- °±´·½§ »¨°·®»-å
    Ð®»³·-»-þô ¬¸» Ô·³·¬- ±º ×²-«®¿²½» ¬¸¿¬ ¿°°´§ ¬± ¬¸»               øî÷ ïèð ¼¿§- »¨°·®» ¿º¬»® §±« ¾»¹·² ¬±
    ¼¿³¿¹»¼ Þ«·´¼·²¹- ¿²¼ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§                         ½±²-¬®«½¬ ¬¸» ¾«·´¼·²¹å ±®
    ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ©¸»®» ¬¸» ´±-- ±® ¼¿³¿¹»                   øí÷ Ì¸» ¾«·´¼·²¹ ·- -°»½·º·½¿´´§ ·²-«®»¼ ±² ¬¸·-
    ±½½«®- ©·´´ ¿«¬±³¿¬·½¿´´§ ·²½®»¿-» ¾§ ¿ º¿½¬±® ¾¿-»¼                     Ý±ª»®¿¹» Ú±®³ ±® »´-»©¸»®»ò
    ±² ¬¸» ¿½½«³«´¿¬»¼ ËòÍò Ù±ª»®²³»²¬ Ý±²-«³»®
                                                                    ¾ò É» ©·´´ ½¸¿®¹» §±« ¿¼¼·¬·±²¿´ °®»³·«³ º®±³
    Ð®·½» ×²¼»¨ øÝÐ×÷ º±® ¬¸» ³±²¬¸- º®±³ ¬¸» ·²½»°¬·±² ±º
                                                                       ¬¸» ¼¿¬» §±« ¾»¹·² ¬± ½±²-¬®«½¬ ¬¸» ¾«·´¼·²¹ò
    ¬¸·- °±´·½§ «²¬·´ ¬¸» ¼¿¬» ±º ´±--ò
    Ô·³·¬ ±º ×²-«®¿²½»æ Þ«¬ ·² ²± »ª»²¬ ©·´´ ©» °¿§ ³±®»            ½ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±®
                                                                       Ò»© Ý±²-¬®«½¬·±² ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ·²
    ¬¸¿² ¿² ¿¼¼·¬·±²¿´ èû ±º ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º
                                                                       ¿²§ ±²» ±½½«®®»²½» ·- üïôðððôðððò Ì¸·- ·- ¿²
    ×²-«®¿²½»ò
                                                                       ¿¼¼·¬·±²¿´ ´·³·¬ ±º ·²-«®¿²½»ò
ïéò ×ÒÍÌßÔÔÓÛÒÌ ÑÎ ÜÛÚÛÎÎÛÜ ÍßÔÛÍ
                                                                îðò ÒÛÉÔÇ ßÝÏË×ÎÛÜ ÝÑÊÛÎÛÜ ÐÎÑÐÛÎÌÇ
    Ý±ª»®¿¹»æ ×º ¿ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©² ·² ¬¸»
                                                                    ¿ò É» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
    Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
    Ý±ª»®¿¹»- º±® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ô ½±ª»®¿¹»                 °¸§-·½¿´ ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³
                                                                       ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± Ò»©´§ ß½¯«·®»¼
    ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬± ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
    °¸§-·½¿´ ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬±                      Ð®±°»®¬§ò Ò»©´§ ß½¯«·®»¼ Ð®±°»®¬§ ³»¿²-
                                                                       ¾«·´¼·²¹- ±® ¾«-·²»-- °»®-±²¿´ °®±°»®¬§ §±«
    §±«® º·²¿²½·¿´ ·²¬»®»-¬ ·² Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§
    ¬¸¿¬ §±« ¸¿ª» -±´¼ «²¼»® ¿ ¼»º»®®»¼ ±® ·²-¬¿´´³»²¬                 ¿½¯«·®»ô °«®½¸¿-» ±® ´»¿-» ¿º¬»® ¬¸» ·²½»°¬·±²
                                                                       ±º ¬¸·- °±´·½§ô ¾«¬ ¼±»- ²±¬ ·²½´«¼»æ
    °¿§³»²¬ °´¿² ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ ¿²¼ ¿º¬»® §±«
    ¸¿ª» ³¿¼» ¼»´·ª»®§ ¬± §±«® ½«-¬±³»® ¼«®·²¹ ¬¸»                     øï÷ ß²§ °®±°»®¬§ ¿½¯«·®»¼ ¬¸®±«¹¸ ¿²§
    °±´·½§ °»®·±¼ò                                                           º±®»½´±-«®» °®±½»--å
    Ü·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± -«½¸             øî÷ ß²§ °®»³·-»- ±º ±¬¸»®- ©¸»®» §±« ¿®»
    Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ³«-¬ ¾» ¾§ ¿ Ý±ª»®»¼                          ¬»³°±®¿®·´§ ©±®µ·²¹ô -«½¸ ¿- ·²-¬¿´´·²¹
    Ý¿«-» ±º Ô±-- ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ò Ì¸»º¬ ±®                         °®±°»®¬§ ±® °»®º±®³·²¹ ³¿·²¬»²¿²½» ±®
    ½±²ª»®-·±² ¾§ §±«® ½«-¬±³»® ±® º¿·´«®» ±º §±«®                           -»®ª·½» ©±®µå
    ½«-¬±³»® ¬± ³¿µ» °¿§³»²¬- «²¼»® ¬¸» °¿§³»²¬ °´¿²                   øí÷ ß²§ °®±°»®¬§ ½±ª»®»¼ ¾§ ¿²§ ±¬¸»® °¿®¬ ±º
    ¿®» ²±¬ Ý±ª»®»¼ Ý¿«-»- ±º Ô±--ò                                          ¬¸·- Ý±ª»®¿¹» Ú±®³å ±®
    Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±®                       øì÷ ß²§ °®±°»®¬§ ¬¸¿¬ ·- ²±¬ ½±ª»®»¼ «²¼»® ¬¸·-
    ×²-¬¿´´³»²¬ ±® Ü»º»®®»¼ Í¿´»- ·² ¿²§ ±²» ±½½«®®»²½»                      °±´·½§ò
    ·- ¬¸» ´»--»® ±º §±«® ®»³¿·²·²¹ º·²¿²½·¿´ ·²¬»®»-¬ ·² ¬¸»       ¾ò Ý±ª»®¿¹» º±® Ò»©´§ ß½¯«·®»¼ Ý±ª»®»¼
    Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ -±´¼ «²¼»® ¿ ¼»º»®®»¼ ±®                Ð®±°»®¬§ ©·´´ »²¼ ©¸»² ¿²§ ±º ¬¸» º±´´±©·²¹
    ·²-¬¿´´³»²¬ °´¿² ±® üëðôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ´·³·¬           º·®-¬ ±½½«®-æ
    ±º ·²-«®¿²½»ò
                                                                       øï÷ Ì¸·- °±´·½§ »¨°·®»-å
ïèò ÔÑÍÍ ÑÚ ÓßÍÌÛÎ ÕÛÇ
                                                                       øî÷ ïèð ¼¿§- »¨°·®» ¿º¬»® §±« ²»©´§ ¿½¯«·®»
    É» ©·´´ °¿§ º±® ¬¸» ®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ ½±-¬-
                                                                             ¬¸» Þ«·´¼·²¹å
    §±« ·²½«® ¬± ®»°´¿½» µ»§-ô ¿¼¶«-¬ ´±½µ- ¬± ¿½½»°¬ ²»©
    µ»§- ±® ·º ®»¯«·®»¼ô ·²-¬¿´´ ²»© ´±½µ-ô ¼«» ¬± ¼·®»½¬              øí÷ ïèð ¼¿§- »¨°·®» ¿º¬»® §±« ²»©´§ ¿½¯«·®»
    °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± ¿ ³¿-¬»®                      ¬¸» Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ¿¬ ²»©´§
    µ»§ ±® ¹®¿²¼ ³¿-¬»® µ»§ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³                      ¿½¯«·®»¼ °®»³·-»-å
    ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò                                           øì÷ êð ¼¿§- »¨°·®» ¿º¬»® §±« ²»©´§ ¿½¯«·®»
    Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® Ô±--                        Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ¿¬ þÍ½¸»¼«´»¼
    ±º Ó¿-¬»® Õ»§ ·² ¿²§ ±²» ±½½«®®»²½» ·- üîëôðððò                          Ð®»³·-»-þå
    Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º ·²-«®¿²½»ò                          øë÷ Ç±« ®»°±®¬ ª¿´«»- ¬± «-å ±®
ïçò ÒÛÉ ÝÑÒÍÌÎËÝÌ×ÑÒ ßÌ þÍÝØÛÜËÔÛÜ                                     øê÷ Ì¸» °®±°»®¬§ ·- -°»½·º·½¿´´§ ·²-«®»¼ ±² ¬¸·-
    ÐÎÛÓ×ÍÛÍþ                                                                Ý±ª»®¿¹» Ú±®³ ±® »´-»©¸»®»ò
    ¿ò Ý±ª»®¿¹»æ ×º ¿ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©² ·²                ½ò É» ©·´´ ½¸¿®¹» §±« ¿¼¼·¬·±²¿´ °®»³·«³ º®±³
         ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»-                      ¬¸» ¼¿¬» §±« ¿½¯«·®» ¬¸» °®±°»®¬§ò
         ¿²¼ Ý±ª»®¿¹»- º±® Þ«·´¼·²¹ ©» ©·´´ °¿§ º±®                 ¼ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® Ò»©´§ ß½¯«·®»¼
         ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»ô               Ý±ª»®»¼ Ð®±°»®¬§ ·² ¿²§ ±²» ±½½«®®»²½» ·-æ
         ·²½´«¼·²¹ ¬¸» ½±-¬ ±º ´¿¾±®ô ½¿«-»¼ ¾§ ±®
                                                                       øï÷ Þ«·´¼·²¹-æ üîôðððôðððò


Ú±®³ ÐÝCase
        ëð ïé3:24-cv-00490-FDW-SCR
              ðï ïè                                   Document 1-4 Filed 05/21/24 Page 86 of Ð¿¹»
                                                                                             579 é ±º ïê
       øî÷ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§æ üïôðððôðððò               ¬¸¿¬ ¿°°´·»- ¬± ¬¸» »²¬·®» ¾«·´¼·²¹ò Ì¸·- ¼±»-
       Ì¸»-» ¿®» ¿¼¼·¬·±²¿´ ´·³·¬- ±º ·²-«®¿²½»ò                 ²±¬ ·²½´«¼» ¿²§ ·²½®»¿-»¼ ½±-¬- ¬± ®»°¿·®ô
                                                                 ®»°´¿½» ±® ®»¾«·´¼ ¬¸» °®±°»®¬§ ¼«» ¬± ¿
îïò ÒÑÒóÑÉÒÛÜ ÜÛÌßÝØÛÜ ÌÎß×ÔÛÎÍ                                  ®»¯«·®»³»²¬ ¬± ½±³°´§ ©·¬¸ ¿²§ ±®¼·²¿²½» ±®
  Ý±ª»®¿¹»æ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ½±ª»®¿¹»                  ´¿©ò
  ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þô Ë²²¿³»¼ Ð®»³·-»- ¿²¼               ¾ò Ý±ª»®¿¹» Þ ó Ü»³±´·¬·±² Ý±-¬ Ý±ª»®¿¹»
  Ò»©´§ ß½¯«·®»¼ Ð®»³·-»- ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬±
  ¼»¬¿½¸»¼ ¬®¿·´»®- ±©²»¼ ¾§ ±¬¸»®-ô ¬¸¿¬ ¿®» ·² §±«®            É·¬¸ ®»-°»½¬ ¬± ¬¸» ¾«·´¼·²¹ ¬¸¿¬ ¸¿- -«-¬¿·²»¼
  ½¿®»ô ½«-¬±¼§ ±® ½±²¬®±´ô ©¸·´» ¾»·²¹ ´±¿¼»¼ô                  ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»ô ©» ©·´´ °¿§
  «²´±¿¼»¼ô ¿©¿·¬·²¹ ¬®¿²-°±®¬ ±® «-»¼ º±® ¬»³°±®¿®§             ¬¸» ½±-¬ ¬± ¼»³±´·-¸ ¿²¼ ½´»¿® ¬¸» -·¬» ±º
  -¬±®¿¹» ±® -·³·´¿® «-¿¹»ô ·²½´«¼·²¹ ©¸·´» ¬¸» ¬®¿·´»®          «²¼¿³¿¹»¼ °¿®¬- ±º ¬¸» -¿³» ¾«·´¼·²¹ ¿- ¿
  ·- ³±ª»¼ ¿¬ §±«® °®»³·-»-ò Ì¸·- ß¼¼·¬·±²¿´                     ½±²-»¯«»²½» ±º ¿ ®»¯«·®»³»²¬ ¬± ½±³°´§ ©·¬¸
  Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬± ¬®¿·´»®- ´»¿-»¼ ¾§ §±«              ¿² ±®¼·²¿²½» ±® ´¿© ¬¸¿¬ ®»¯«·®»- ¼»³±´·¬·±² ±º
  ±² ¿ ¬»³°±®¿®§ ±® ´±²¹ó¬»®³ ¾¿-·-ò                             -«½¸ «²¼¿³¿¹»¼ °®±°»®¬§ò
  Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® Ò±²ó           ½ò Ý±ª»®¿¹» Ý ó ×²½®»¿-»¼                Ý±-¬    ±º
  Ñ©²»¼ Ü»¬¿½¸»¼ Ì®¿·´»®- ·² ¿²§ ±²» ±½½«®®»²½»                  Ý±²-¬®«½¬·±² Ý±ª»®¿¹»
  ·- üëðôðððò Ì¸·- ·²-«®¿²½» ·- »¨½»-- ±ª»® ¬¸»                  É·¬¸ ®»-°»½¬ ¬± ¬¸» ¾«·´¼·²¹ ¬¸¿¬ ¸¿- -«-¬¿·²»¼
  ¿³±«²¬ ¼«» ø©¸»¬¸»® §±« ½¿² ½±´´»½¬ ±² ·¬ ±® ²±¬÷              ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»ô ©» ©·´´ °¿§
  º®±³ ¿²§ ±¬¸»® ·²-«®¿²½» ½±ª»®·²¹ -«½¸ °®±°»®¬§ò               ¬¸» ·²½®»¿-»¼ ½±-¬ ¬±æ
îîò ÑÎÜ×ÒßÒÝÛ ÑÎ ÔßÉ                                             øï÷ Î»°¿·® ±® ®»½±²-¬®«½¬ ¼¿³¿¹»¼ °±®¬·±²- ±º
  Ý±ª»®¿¹» ßò ó Ê¿´«» ±º ¬¸» Ë²¼¿³¿¹»¼                               ¬¸¿¬ ¾«·´¼·²¹å ¿²¼ñ±®
  Þ«·´¼·²¹-ô Ý±ª»®¿¹» Þò ó Ü»³±´·¬·±² Ý±-¬- ¿²¼                  øî÷ Î»½±²-¬®«½¬ ±® ®»³±¼»´ «²¼¿³¿¹»¼
  Ý±ª»®¿¹» Ýò ó ×²½®»¿-»¼ Ý±-¬ ±º Ý±²-¬®«½¬·±²                       °±®¬·±²- ±º ¬¸¿¬ ¾«·´¼·²¹ô ©¸»¬¸»® ±® ²±¬
  Ý±ª»®¿¹»- ¿- ¼»-½®·¾»¼ ¾»´±©ô ¿°°´§ ·² ¬¸» »ª»²¬                   ¼»³±´·¬·±² ·- ®»¯«·®»¼å
  ¬¸»®» ·- ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± ½±ª»®»¼                    ©¸»² ¬¸» ·²½®»¿-»¼ ½±-¬ ·- ¿ ½±²-»¯«»²½» ±º
  Þ«·´¼·²¹- ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¿²¼ ¬± ½±ª»®»¼               ¿ ®»¯«·®»³»²¬ ¬± ½±³°´§ ©·¬¸ ¬¸» ³·²·³«³
  þÌ»²¿²¬ ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-þ ¿¬                       -¬¿²¼¿®¼- ±º ¬¸» ±®¼·²¿²½» ±® ´¿©ò
  þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¬¸¿¬ ®»-«´¬- ·² ¬¸»
                                                                 Ø±©»ª»®æ
  »²º±®½»³»²¬ ±º ¿² ±®¼·²¿²½» ±® ´¿© ¬¸¿¬æ
                                                                 øï÷ Ì¸·- ½±ª»®¿¹» ¿°°´·»- ±²´§ ·º ¬¸» ®»°¿·®»¼ô
  ·ò   Î»¹«´¿¬»- ¬¸» ½±²-¬®«½¬·±² ±® ®»°¿·® ±º
                                                                     ®»-¬±®»¼ ±® ®»³±¼»´»¼ °®±°»®¬§ ·-
       ¾«·´¼·²¹-ô ±® »-¬¿¾´·-¸»- ¦±²·²¹ ±® ´¿²¼ «-»
                                                                     ·²¬»²¼»¼ º±® -·³·´¿® ±½½«°¿²½§ ¿- ¬¸»
       ®»¯«·®»³»²¬- ¿¬ ¬¸» ·²-«®»¼ °®»³·-»-å
                                                                     ½«®®»²¬ °®±°»®¬§ô «²´»-- -«½¸ ±½½«°¿²½§
  ··ò Î»¯«·®»- ¬¸» ¼»³±´·¬·±² ±º °¿®¬- ±º ¬¸» -¿³»                   ·- ²±¬ °»®³·¬¬»¼ ¾§ ¦±²·²¹ ±® ´¿²¼ «-»
      ¾«·´¼·²¹ ¬¸¿¬ ¿®» ²±¬ ¼¿³¿¹»¼ ¾§ ¿ Ý±ª»®»¼                     ±®¼·²¿²½» ±® ´¿©ò
      Ý¿«-» ±º Ô±--å ¿²¼
                                                                 øî÷ É» ©·´´ ²±¬ °¿§ º±® ¬¸» ·²½®»¿-»¼ ½±-¬ ±º
  ···ò ×- ·² º±®½» ¿¬ ¬¸» ¬·³» ±º ¿ Ý±ª»®»¼ Ý¿«-» ±º                 ½±²-¬®«½¬·±² ·º ¬¸» ¾«·´¼·²¹ ·- ²±¬ ®»°¿·®»¼ô
       Ô±-- ±® ¬¸» ±®¼·²¿²½» ±® ´¿© ·- °®±³«´¹¿¬»¼ ±®                ®»½±²-¬®«½¬»¼ ±® ®»³±¼»´»¼ò
       ·- ®»ª·-»¼ ¿º¬»® ¬¸» ´±-- ¾«¬ °®·±® ¬±                 ¼ò Ñ®¼·²¿²½» ±® Ô¿© Û¨½´«-·±²-æ
       ½±³³»²½»³»²¬ ±º ®»½±²-¬®«½¬·±² ±® ®»°¿·®
       ¿²¼ °®±ª·¼»¼ ¬¸¿¬ -«½¸ ±®¼·²¿²½» ±® ´¿©                   øï÷ É» ©·´´ ²±¬ °¿§ º±® ¬¸» »²º±®½»³»²¬ ±º ±®
       ®»¯«·®»- ½±³°´·¿²½» ¿- ¿ ½±²¼·¬·±² °®»½»¼»²¬                  ½±³°´·¿²½» ©·¬¸ ¿²§ ±®¼·²¿²½» ±® ´¿©
       ¬± ±¾¬¿·²·²¹ ¿ ¾«·´¼·²¹ °»®³·¬ ±® ½»®¬·º·½¿¬» ±º              ©¸·½¸    ®»¯«·®»-      ¼»³±´·¬·±²ô    ®»°¿·®ô
       ±½½«°¿²½§ò                                                    ®»°´¿½»³»²¬ô ®»½±²-¬®«½¬·±²ô ®»³±¼»´·²¹
                                                                     ±® ®»³»¼·¿¬·±² ±º °®±°»®¬§ ¼«» ¬±
       Ý±ª»®¿¹» «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»
                                                                     ½±²¬¿³·²¿¬·±²       ¾§    þÐ±´´«¬¿²¬-    ¿²¼
       ¿°°´·»- ±²´§ ·² ®»-°±²-» ¬± ¬¸» ³·²·³«³
                                                                     Ý±²¬¿³·²¿²¬-þ ±® ¼«» ¬± ¬¸» °®»-»²½»ô
       ®»¯«·®»³»²¬- ±º ¬¸» ¿°°´·½¿¾´» ±®¼·²¿²½» ±®
                                                                     ¹®±©¬¸ô °®±´·º»®¿¬·±²ô -°®»¿¼ ±® ¿²§ ¿½¬·ª·¬§
       ´¿©ò Ô±--»- ¿²¼ ½±-¬- ·²½«®®»¼ ·² ½±³°´§·²¹
                                                                     ±º þÚ«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô ¾¿½¬»®·¿ ±®
       ©·¬¸ ®»½±³³»²¼»¼ ¿½¬·±²- ±® -¬¿²¼¿®¼- ¬¸¿¬
                                                                     ª·®«-ò
       »¨½»»¼ ¿½¬«¿´ ®»¯«·®»³»²¬- ¿®» ²±¬ ½±ª»®»¼
       «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò                           øî÷ É» ©·´´ ²±¬ °¿§ º±® ¿²§ ½±-¬- ¿--±½·¿¬»¼
                                                                     ©·¬¸ ¬¸» »²º±®½»³»²¬ ±º ±® ½±³°´·¿²½»
  ¿ò Ý±ª»®¿¹» ß ó Ý±ª»®¿¹» Ú±® Ô±-- Ì± Ì¸»
                                                                     ©·¬¸ ¿²§ ±®¼·²¿²½» ±® ´¿© ©¸·½¸ ®»¯«·®»-
     Ë²¼¿³¿¹»¼ Ð±®¬·±² Ñº Ì¸» Þ«·´¼·²¹
                                                                     §±« ±® ±¬¸»®- ¬± ¬»-¬ º±®ô ³±²·¬±®ô ½´»¿² «°ô
       É» ©·´´ °¿§ º±® ¬¸» ª¿´«» ±º ¬¸» «²¼¿³¿¹»¼                    ®»³±ª»ô ½±²¬¿·²ô ¬®»¿¬ô ¼»¬±¨·º§ ±®
       °±®¬·±² ±º ¬¸» ¾«·´¼·²¹ ¬¸¿¬ ©¿- ®»¯«·®»¼ ¬± ¾»               ²»«¬®¿´·¦»ô ±® ·² ¿²§ ©¿§ ®»-°±²¼ ¬±ô ±®
       ¼»³±´·-¸»¼ ¾§ ¿ ®»¯«·®»³»²¬ ¬± ½±³°´§ ©·¬¸ ¿                  ¿--»-- ¬¸» »ºº»½¬- ±º þÐ±´´«¬¿²¬- ¿²¼
       ¾«·´¼·²¹ô ¦±²·²¹ ±® ´¿²¼ «-» ±®¼·²¿²½» ±® ´¿©ò                Ý±²¬¿³·²¿²¬-þ ±® þÚ«²¹«-þô ©»¬ ®±¬ô ¼®§
       É» ©·´´ ¼± ¬¸·- ±² ¬¸» -¿³» ª¿´«¿¬·±² ¾¿-·-                   ®±¬ô ¾¿½¬»®·¿ ±® ª·®«-ò

       Case
Ð¿¹» è ±º ïê 3:24-cv-00490-FDW-SCR                 Document 1-4 Filed 05/21/24 Page 87 of
                                                                                  Ú±®³ ÐÝ579
                                                                                          ëð ïé ðï ïè
     øí÷ É» ©·´´ ²±¬ °¿§ ¿²§ ´±-- ·² ª¿´«» ±® ¿²§                         üïôðððôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´
         ½±-¬- ·²½«®®»¼ ¼«» ¬± ¿² ±®¼·²¿²½» ±® ´¿©                        ¿³±«²¬ ±º ·²-«®¿²½»ò
         ¬¸¿¬ §±« ©»®» ®»¯«·®»¼ ¬± ½±³°´§ ©·¬¸                        ø¾÷ Ú±®     þÌ»²¿²¬    ×³°®±ª»³»²¬- ¿²¼
         ¾»º±®» ¬¸» ¬·³» ±º ¬¸» ½«®®»²¬ ´±--ô »ª»² ·²                     Þ»¬¬»®³»²¬-þ °®±°»®¬§ô ¬¸» ³±-¬ ©» ©·´´
         ¬¸» ¿¾-»²½» ±º ¾«·´¼·²¹ ¼¿³¿¹»ô ·º §±«                           °¿§ ·² ¿²§ ±²» ±½½«®®»²½» ¿- ®»-°»½¬-
         º¿·´»¼ ¬± ½±³°´§ò                                                ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ©¸»®» þÌ»²¿²¬
     øì÷ É» ©·´´ ²±¬ °¿§ º±® ¬¸» ½±³°´·¿²½» ±º ¿²§                        ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-þ ¿°°´·»-
         ±®¼·²¿²½» ±® ´¿© «²´»-- ¬¸» ®»°¿·®- ±®                           ·- îëû ±º ¬¸» ·²-«®»¼ ª¿´«» ±º þÌ»²¿²¬
         ®»°´¿½»³»²¬ ¿®» ³¿¼» ¿- -±±² ¿-                                  ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-þ «° ¬±
         ®»¿-±²¿¾´§ °±--·¾´» ¿º¬»® ¬¸» ´±-- ±®                            üëððôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬
         ¼¿³¿¹» ²±¬ ¬± »¨½»»¼ ¬©± §»¿®-ò É» ³¿§                           ±º ·²-«®¿²½»ò
         »¨¬»²¼ ¬¸·- °»®·±¼ ·² ©®·¬·²¹ ¼«®·²¹ ¬¸» ¬©±   îíò ÑËÌÜÑÑÎ ÌÎÛÛÍô ÍØÎËÞÍô ÍÑÜô ÐÔßÒÌÍ
         §»¿®-ò                                             ßÒÜ ÔßÉÒÍ
  »ò Ñ®¼·²¿²½» ±® Ô¿© Ô·³·¬- ±º ×²-«®¿²½»                   ¿ò Ñ«¬¼±±® ¬®»»-ô -¸®«¾-ô -±¼ô °´¿²¬- ¿²¼ ´¿©²-ô
     øï÷ Ú±® Ü»³±´·¬·±² Ý±-¬ô ©» ©·´´ ²±¬ °¿§ ³±®»               ©¸»² «-»¼ º±® ´¿²¼-½¿°·²¹ ¿®» ½±ª»®»¼ ±²´§
         ¬¸¿² ¬¸» ¿³±«²¬ §±« ¿½¬«¿´´§ -°»²¼ ¬±                   º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
         ¼»³±´·-¸ ¿²¼ ½´»¿® ¬¸» -·¬» ±º ¬¸»                      ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¬¸»
         ¼»-½®·¾»¼ °®»³·-»-ò                                     º±´´±©·²¹ ½¿«-»- ±º ´±--æ
     øî÷ É·¬¸ ®»-°»½¬ ¬± ¬¸» ×²½®»¿-»¼ Ý±-¬ ±º                   øï÷ Ú·®»å
         Ý±²-¬®«½¬·±²æ ×º ¬¸» ½±ª»®»¼ ¾«·´¼·²¹ ·-                øî÷ Ô·¹¸¬²·²¹å
         -«¾¶»½¬ ¬± ¬¸» Î»°´¿½»³»²¬ Ý±-¬
                                                                 øí÷ Û¨°´±-·±²å
         Ê¿´«¿¬·±² °®±ª·-·±² ¿- -¸±©² ·² ¬¸»
         Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»-                  øì÷ Î·±¬ ±® ½·ª·´ ½±³³±¬·±²å
         ¿²¼ Ý±ª»®¿¹»-ô ¿²¼ §±« ®»¾«·´¼ ¬¸»                      øë÷ ß·®½®¿º¬å ±®
         ¾«·´¼·²¹ ©» ©·´´ ²±¬ °¿§ º±® ¬¸» ·²½®»¿-»¼              øê÷ Ê»¸·½´»- ±°»®¿¬»¼ ¾§ °»®-±²- ±¬¸»® ¬¸¿²
         ½±-¬ ±º ½±²-¬®«½¬·±²æ                                        §±« ±® §±«® »³°´±§»»-ò
         ø¿÷ Ë²¬·´ ¬¸» ¾«·´¼·²¹ ·- ¿½¬«¿´´§ ®»°¿·®»¼        ¾ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±®
              ±® ®»°´¿½»¼ô ¿¬ ¬¸» -¿³» ±® ¿²±¬¸»®                ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ·² ¿²§ ±²» ±½½«®®»²½»
              °®»³·-»-å ¿²¼                                      «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- üëðôðððô ¾«¬
         ø¾÷ Ë²´»-- ¬¸» ®»°¿·® ±® ®»°´¿½»³»²¬ ·-                 ²±¬ ³±®» ¬¸¿²æ
              ³¿¼» ¿- -±±² ¿- ®»¿-±²¿¾´§ °±--·¾´»                øï÷ üïðôððð º±® ¿²§ ±²» ¬®»»ô -¸®«¾ ±® °´¿²¬å
              ¿º¬»® ¬¸» ´±-- ±® ¼¿³¿¹»ô ²±¬ ¬± »¨½»»¼
              ¬©± §»¿®-ò É» ³¿§ »¨¬»²¼ ¬¸·- °»®·±¼               øî÷ üïðôððð º±® ´¿©²- ±® -±¼ ·² ¬±¬¿´ ¿¬ ¿²§
              ·² ©®·¬·²¹ ¼«®·²¹ ¬¸» ¬©± §»¿®-ò                        ±²» ·²-«®»¼ °®»³·-»-ò
     øí÷ ×º ¬¸» ¾«·´¼·²¹ ·- ®»°¿·®»¼ ±® ®»°´¿½»¼ ¿¬         ½ò Ì¸» Ô·³·¬ ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬± ¬¸»-»
         ¬¸» -¿³» °®»³·-»-ô ±® ·º §±« »´»½¬ ¬±                   ¬§°»- ±º °®±°»®¬§ ·²½´«¼»- ¬¸»·® ¼»¾®·- ®»³±ª¿´
         ®»¾«·´¼ ¿¬ ¿²±¬¸»® °®»³·-»-ô ¬¸» ³±-¬ ©»                »¨°»²-»ò Í«½¸ ¼»¾®·- ®»³±ª¿´ »¨°»²-»- ¿®»
         ©·´´ °¿§ º±® ¬¸» ·²½®»¿-»¼ ½±-¬ ±º                      ²±¬ ·²½´«¼»¼ ·² ¬¸» Ü»¾®·- Î»³±ª¿´ ó
         ½±²-¬®«½¬·±² ·- ¬¸» ·²½®»¿-»¼ ½±-¬ ±º                   ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò
         ½±²-¬®«½¬·±² ¿¬ ¬¸» -¿³» °®»³·-»-ò                 ¼ò Ì¸»-» ´·³·¬- ¿°°´§ ·² ¿²§ ±²» ±½½«®®»²½»ô
     øì÷ ×º ¬¸» ±®¼·²¿²½» ±® ´¿© ®»¯«·®»- ®»´±½¿¬·±²             ®»¹¿®¼´»-- ±º ¬¸» ¬§°»- ±® ²«³¾»® ±º ·¬»³- ´±-¬
         ¬± ¿²±¬¸»® °®»³·-»-ô ¬¸» ³±-¬ ©» ©·´´ °¿§               ±® ¼¿³¿¹»¼ ·² ¬¸¿¬ ±½½«®®»²½»ò
         º±® ¬¸» ·²½®»¿-»¼ ½±-¬ ±º ½±²-¬®«½¬·±² ·-      îìò Ðß×ÎÍ ÑÎ ÍÛÌÍ
         ¬¸» ·²½®»¿-»¼ ½±-¬ ±º ½±²-¬®«½¬·±² ¿¬ ¬¸»          Ý±ª»®¿¹»æ ×º °¿®¬- ±º °¿·®- ±® -»¬- ±º ½±ª»®»¼
         ²»© °®»³·-»-ò                                      Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ó þÍ¬±½µþ ¿®»
     øë÷ ß- ®»-°»½¬- Ý±ª»®¿¹» ßò ó Ý±ª»®¿¹»                 ¼¿³¿¹»¼ ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--ô ©» ©·´´ °¿§
         Ú±® Ô±-- Ì± Ì¸» Ë²¼¿³¿¹»¼ Ð±®¬·±²                  ¬¸» ®»¼«½¬·±² ·² ª¿´«» ±º ¬¸» «²¼¿³¿¹»¼ °¿®¬- ±º
         Ñº Ì¸» Þ«·´¼·²¹ô ¬¸·- ·- ·²½´«¼»¼ ©·¬¸·²           -«½¸ ¼¿³¿¹»¼ °¿·®- ±® -»¬- ·² ¿²§ ±²»
         ¬¸» Ô·³·¬ ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬± ¬¸»           ±½½«®®»²½»ò
         ¼¿³¿¹»¼ Þ«·´¼·²¹ ±® ¼¿³¿¹»¼ þÌ»²¿²¬                Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·-
         ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-þ ¿²¼                  ·²½´«¼»¼ ©·¬¸·² ¬¸» Ô·³·¬ ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬±
         ¿°°´·»- ·² ¿²§ ±²» ±½½«®®»²½»ò                     ¬¸» ¼¿³¿¹»¼ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ó
     øê÷ ß- ®»-°»½¬- Ý±ª»®¿¹» Þò ó Ü»³±´·¬·±²               þÍ¬±½µþò
         Ý±-¬- ¿²¼ Ý±ª»®¿¹» Ýò ó ×²½®»¿-»¼              îëò þÐÑÔÔËÌßÒÌÍ ßÒÜ ÝÑÒÌßÓ×ÒßÒÌÍþ ÝÔÛßÒ
         Ý±-¬ ±º Ý±²-¬®«½¬·±²æ                              ËÐ
         ø¿÷ Ú±® Þ«·´¼·²¹ °®±°»®¬§ô ¬¸» ³±-¬ ©» ©·´´        ¿ò Ý±ª»®¿¹»æ É» ©·´´ °¿§ º±® §±«® »¨°»²-» ¬±
              °¿§ ·² ¿²§ ±²» ±½½«®®»²½» ·-                       »¨¬®¿½¬ þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þô


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              ðï ïè                           Document 1-4 Filed 05/21/24 Page 88 of Ð¿¹»
                                                                                     579 ç ±º ïê
      ·²½´«¼·²¹ ²¿²±³¿¬»®·¿´-ô º®±³ ´¿²¼ ±® ©¿¬»® ¿¬     îèò ÍÛÉÛÎ ßÒÜ ÜÎß×Ò ÞßÝÕËÐ
      ¿ þÍ½¸»¼«´»¼ Ð®»³·-»-þô ·º ¬¸» ¼·-½¸¿®¹»ô              Ý±ª»®¿¹»æ Ì¸·- ·²-«®¿²½» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬±
      ¼·-°»®-¿´ô -»»°¿¹»ô ³·¹®¿¬·±²ô ®»´»¿-» ±®              ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬±
      »-½¿°» ±º ¬¸» þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þ            Ý±ª»®»¼ Ð®±°»®¬§ ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þô Ò»©´§
      ·- ½¿«-»¼ ¾§ ±® ®»-«´¬- º®±³ ¿ Ý±ª»®»¼ Ý¿«-»           ß½¯«·®»¼ Ð®»³·-»- ¿²¼ Ë²²¿³»¼ Ð®»³·-»-
      ±º Ô±-- ¬¸¿¬ ±½½«®- ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ò          ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ©¿¬»® ±® ±¬¸»®
      Ì¸» »¨°»²-»- ©·´´ ¾» °¿·¼ ±²´§ ·º ¬¸»§ ¿®»             ³¿¬»®·¿´- ¬¸¿¬ ¾¿½µ- «° º®±³ ¿ -»©»® ±® ¼®¿·²ò
      ®»°±®¬»¼ ¬± «- ·² ©®·¬·²¹ ©·¬¸·² ïèð ¼¿§- ±º ¬¸»
      ¼¿¬» ±² ©¸·½¸ ¬¸» Ý±ª»®»¼ Ý¿«-» ±º Ô±--                Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§
      ±½½«®-ò                                                ±²» ±½½«®®»²½» ·- ¬¸» Ô·³·¬ ±º ×²-«®¿²½»
                                                             ¿°°´·½¿¾´» ¬± ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ ©¸»®» ¬¸»
  ¾ò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬±              ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»
     ½±-¬- ¬± ¬»-¬ º±®ô ³±²·¬±® ±® ¿--»-- ¬¸»                ±½½«®®»¼ò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- ·²½´«¼»¼
     »¨·-¬»²½»ô ½±²½»²¬®¿¬·±² ±® »ºº»½¬- ±º                  ©·¬¸·² ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ Ô·³·¬- ±º ×²-«®¿²½»ò
     þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þò Þ«¬ ©» ©·´´
                                                             ÌØ×Í ×Í ÒÑÌ ÚÔÑÑÜ ×ÒÍËÎßÒÝÛò
     °¿§ º±® ¬»-¬·²¹ ©¸·½¸ ·- °»®º±®³»¼ ·² ¬¸»
     ½±«®-» ±º »¨¬®¿½¬·²¹ ¬¸» þÐ±´´«¬¿²¬- ¿²¼                Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬± ´±-- ±®
     Ý±²¬¿³·²¿²¬-þ º®±³ ´¿²¼ ±® ©¿¬»®ò                       ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ Ú´±±¼
                                                             ®»¹¿®¼´»-- ±º ¬¸» °®±¨·³·¬§ ±º ¬¸» ¾¿½µó«° ±®
  ½ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§                ±ª»®º´±© ¬± -«½¸ ½±²¼·¬·±²-ò
     «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¿¬ »¿½¸
     þ-½¸»¼«´»¼ °®»³·-»-þ ·- üëðôððð º±® ¿´´                 Ú´±±¼ ¿- «-»¼ ·² ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ³»¿²-æ
     ½±ª»®»¼ »¨°»²-»- ¿®·-·²¹ ±«¬ ±º Ý±ª»®»¼                 ¿ò Í«®º¿½» ©¿¬»®ô ©¿ª»-ô ¬·¼¿´ ©¿¬»®ô ¬·¼¿´ ©¿ª»-ô
     Ý¿«-»- ±º Ô±-- ±½½«®®·²¹ ¼«®·²¹ »¿½¸ þÐ±´·½§                ¬-«²¿³·-ô ±® ±ª»®º´±© ±º ¿²§ ²¿¬«®¿´ ±® ³¿²
     Ç»¿®þò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º                      ³¿¼» ¾±¼§ ±º ©¿¬»® º®±³ ·¬- ¾±«²¼¿®·»-ô ¿´´
     ·²-«®¿²½»ò                                                  ©¸»¬¸»® ¼®·ª»² ¾§ ©·²¼ ±® ²±¬å ±®
îêò ÐÎÛÍÛÎÊßÌ×ÑÒ ÑÚ ÐÎÑÐÛÎÌÇ                                 ¾ò Ó«¼-´·¼» ±® ³«¼º´±©ô ³»¿²·²¹ ¿ ®·ª»® ±® º´±©
                                                                 ±º ´·¯«·¼ ³«¼ ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ½¿«-»¼ ¾§
  ¿ò Ý±ª»®¿¹»æ ×º ·¬ ·- ²»½»--¿®§ ¬± ³±ª» Ý±ª»®»¼
                                                                 º´±±¼·²¹ ±® ¬¸» ¿½½«³«´¿¬·±² ±º ©¿¬»® «²¼»®
     Ð®±°»®¬§ ¬± °®»-»®ª» ·¬ º®±³ ·³³·²»²¬ ´±-- ±®
                                                                 ¬¸» ¹®±«²¼ò
     ¼¿³¿¹» ¾§ Ú´±±¼ ±® ¿ Ý±ª»®»¼ Ý¿«-» ±º
     Ô±--ô ©» ©·´´ °¿§ ·² ¿²§ ±²» ±½½«®®»²½» º±®             ½ò É¿¬»® «²¼»® ¬¸» ¹®±«²¼ -«®º¿½» °®»--·²¹ ±²ô
     ¿²§ ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´                 ±® º´±©·²¹ ±® -»»°·²¹ ¬¸®±«¹¸æ
     ¼¿³¿¹» ¬± ¬¸¿¬ °®±°»®¬§ ©¸·´» ¾»·²¹ ³±ª»¼ ¬±                øï÷ Ú±«²¼¿¬·±²-ô ©¿´´-ô º´±±®- ±® °¿ª»¼
     ±® ©¸·´» ¿¬ ¬¸» ¬»³°±®¿®§ -¬±®¿¹» ´±½¿¬·±²ò                      -«®º¿½»-å
  ¾ò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ©·´´ »²¼ ïèð ¼¿§-                  øî÷ Þ¿-»³»²¬-ô ©¸»¬¸»® °¿ª»¼ ±® ²±¬å ±®
     ¿º¬»® ¬¸» °®±°»®¬§ ·- º·®-¬ ³±ª»¼ò                          øí÷ Ü±±®-ô ©·²¼±©- ±® ±¬¸»® ±°»²·²¹-ò
  ½ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸·- Ý±ª»®¿¹» ·-                    ¼ò Ú´±±¼ ·²½´«¼»- ©¿¬»® ±® ±¬¸»® ³¿¬»®·¿´ ¬¸¿¬
     ·²½´«¼»¼ ©·¬¸·² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»                      ¾¿½µ- «° ±® ±ª»®º´±©- º®±³ ¿²§ -»©»® ±®
     ¿°°´·½¿¾´» ¬± ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ ¬¸¿¬ ·-                  -»°¬·½ ¬¿²µ ±® ¼®¿·²ô ·º -«½¸ ¾¿½µó«° ·- ½¿«-»¼
     ³±ª»¼ò                                                      ¾§ ¿²§ ±º ¬¸» ½±²¼·¬·±²- ·² ¿ò ±® ½ò ¿¾±ª»
îéò ÎÛÉßÎÜ ÝÑÊÛÎßÙÛ                                              ®»¹¿®¼´»-- ±º ¬¸» °®±¨·³·¬§ ±º ¬¸» ¾¿½µó«° ¬±
                                                                 -«½¸ ½±²¼·¬·±²-ò
  ¿ò Ý±ª»®¿¹»æ É» ©·´´ ®»·³¾«®-» §±« º±® ®»©¿®¼-
     §±« ¸¿ª» °¿·¼ ´»¿¼·²¹ ¬±æ                               »ò ß´´ º´±±¼·²¹ ·² ¿ ½±²¬·²«±«- ±® °®±¬®¿½¬»¼ »ª»²¬
                                                                 ©·´´ ½±²-¬·¬«¬» ¿ -·²¹´» º´±±¼ò
      øï÷ Ì¸» -«½½»--º«´ ®»¬«®² ±º -«¾-¬¿²¬·¿´´§
          «²¼¿³¿¹»¼ -¬±´»² ¿®¬·½´»- ¬± ¿ ´¿©             îçò ÌÎßÒÍ×Ì
          »²º±®½»³»²¬ ¿¹»²½§å ±®                             ¿ò Ý±ª»®¿¹»æ ×º ¿ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©² ·²
                                                                 ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»-
      øî÷ Ì¸» ¿®®»-¬ ¿²¼ ½±²ª·½¬·±² ±º ¿²§ °»®-±²-
                                                                 ¿²¼ Ý±ª»®¿¹»- º±® Þ«-·²»-- Ð»®-±²¿´
          º±® ¸¿ª·²¹ ¼¿³¿¹»¼ ±® -¬±´»² ¿²§ ±º §±«®
                                                                 Ð®±°»®¬§ô ¬¸»² ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´
          Ý±ª»®»¼ Ð®±°»®¬§ò
                                                                 ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼
  ¾ò Ô·³·¬ ±º ×²-«®¿²½»æ É» ©·´´ °¿§ îëû ±º ¬¸»                  Ý¿«-» ±º Ô±-- ¬± ¬¸» º±´´±©·²¹ Ý±ª»®»¼
     ½±ª»®»¼ ´±-- ø°®·±® ¬± ¬¸» ¿°°´·½¿¬·±² ±º ¿²§               Ð®±°»®¬§ ©¸·´» ·² ¬¸» ¼«» ½±«®-» ±º ¬®¿²-·¬æ
     ¿°°´·½¿¾´» ¼»¼«½¬·¾´» ¿²¼ ®»½±ª»®§ ±º ¿²§                   øï÷ Ç±«® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§å ¿²¼
     -¬±´»² ¿®¬·½´»-÷ «° ¬± üëðôððð º±® Î»©¿®¼
     Ý±ª»®¿¹» ·² ¿²§ ±²» ±½½«®®»²½» º±® ¬¸»                      øî÷ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ±©²»¼ ¾§
     °¿§³»²¬- ±º ®»©¿®¼- §±« ³¿µ»ò Ì¸»-» ®»©¿®¼                       ±¬¸»®-ò
     °¿§³»²¬- ³«-¬ ¾» ¼±½«³»²¬»¼ò Ò±                         ¾ò Û¨½´«-·±²- Û¿®¬¸ Ó±ª»³»²¬ ¿²¼ É¿¬»® ¿-
     ¼»¼«½¬·¾´» ¿°°´·»- ¬± ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò             º±«²¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Ý±ª»®»¼
     Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò                  Ý¿«-»- Ñº Ô±-- ß²¼ Û¨½´«-·±²- Ú±®³ ¼± ²±¬
                                                                 ¿°°´§ ¬± ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó ÌÎßÒÍ×Ìò

Ð¿¹» ïðCase
       ±º ïê 3:24-cv-00490-FDW-SCR             Document 1-4 Filed 05/21/24 Page 89 of
                                                                              Ú±®³ ÐÝ579
                                                                                      ëð ïé ðï ïè
  ½ò Ì¸·- Ý±ª»®¿¹» ©·´´ ½±²¬·²«» ¬± ¿°°´§ ¬± -«½¸                 ¸ò Ú±® ¬¸» Ì®¿²-·¬ ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ô ¬¸»
     °®±°»®¬§ ·² ¬¸» ¼«» ½±«®-» ±º ¬®¿²-·¬ô ¿º¬»® ¬¸»                 Ý±ª»®¿¹» Ì»®®·¬±®§ ·- ©·¬¸·² ±® ¾»¬©»»² ¬¸»
     »¨°·®¿¬·±² ±® ½¿²½»´´¿¬·±² ±º ¬¸·- °±´·½§ô «²¬·´                 Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿ô ø·²½´«¼·²¹ ·¬-
     ¿®®·ª¿´ ¿¬ ¿²¼ ¿½½»°¬»¼ ¾§ ¿² ¿«¬¸±®·¦»¼                         ¬»®®·¬±®·»- ¿²¼ °±--»--·±²-÷ô Ð«»®¬± Î·½± ¿²¼
     ®»°®»-»²¬¿¬·ª» ¿¬ ¬¸» ·²ª±·½»¼ ¼»-¬·²¿¬·±²ô ¾«¬                  Ý¿²¿¼¿å ¸±©»ª»®ô ©¿¬»®¾±®²» -¸·°³»²¬- ¿®»
     º±® ²± ´±²¹»® ¬¸¿² íð ¼¿§- ¿º¬»® ¬¸» ¼¿¬» ±º ¬¸»                 ½±ª»®»¼ ±²´§ ·º ±² ·²´¿²¼ ©¿¬»®©¿§- ±® ·²
     -¸·°³»²¬ ±®·¹·²¿¬·±²ò                                            ¬»®®·¬±®·¿´ ©¿¬»®-ô ©·¬¸·² ïî ³·´»- ±º ´¿²¼ò
  ¼ò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ¬± ½±ª»®»¼            íðò ÌÎßÒÍ×Ì×ÑÒ ÌÑ ÎÛÐÔßÝÛÓÛÒÌ ÐÎÛÓ×ÍÛÍ
     °®±°»®¬§æ                                                    ×º Ý±ª»®»¼ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·- ³±ª»¼ ¬±
     øï÷ É¸»®» §±« ¿®» ®»-°±²-·¾´» º±® ´±-- ±®                    ²»© °®»³·-»- º®±³ ¿ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¾»·²¹
          ¼¿³¿¹» ¬± °®±°»®¬§ ¿- ¿ ½¿®®·»® º±® ¸·®»å ±®            ª¿½¿¬»¼ô ¬¸» Ô·³·¬ ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬± ¬¸¿¬
     øî÷ É¸»®» §±« ¿®» ·² ¬¸» ¾«-·²»-- ±º                         ª¿½¿¬»¼ °®»³·-»- ©·´´ ¿°°´§ °®±°±®¬·±²¿¬»´§ ¬± ¾±¬¸
          ¿®®¿²¹·²¹ ¬®¿²-°±®¬¿¬·±² ±® ½±²-±´·¼¿¬·±²-              °®»³·-»- ¿- ¬¸» °®±°»®¬§ ·- ³±ª»¼ò Ì¸·- ½±ª»®¿¹»
          º±® ±¬¸»®-ò                                             »²¼- ©¸»² ¿²§ ±²» ±º ¬¸» º±´´±©·²¹ º·®-¬ ±½½«®-æ
  »ò Ç±« ³«-¬ ®»¬¿·² ¿½½«®¿¬» ®»½±®¼- ±º ¿´´                      ¿ò çð ¼¿§- ¿º¬»® ¬¸» ³±ª» ¾»¹·²-å
     -¸·°³»²¬- ±º Ý±ª»®»¼ Ð®±°»®¬§ º±® ±²» §»¿®ò                  ¾ò ¬¸» ³±ª» ·- ½±³°´»¬»¼å ±®
  ºò Ì®¿²-·¬ Ý±ª»®¿¹» Û¨¬»²-·±²-                                  ½ò ¬¸·- °±´·½§ »¨°·®»-ò
     øï÷ ÚòÑòÞò Í¸·°³»²¬-                                     íïò ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ
          É» ©·´´ °¿§ º±® §±«® ·²¬»®»-¬ ·² ½±ª»®»¼                ¿ò Ý±ª»®¿¹»æ Ç±« ³¿§ »¨¬»²¼ ¬¸» ·²-«®¿²½» ¬¸¿¬
          ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ½±ª»®»¼ ¼·®»½¬                      ¿°°´·»- ¬± Þ«·´¼·²¹ ø·º Þ«·´¼·²¹ ·- Ý±ª»®»¼
          °¸§-·½¿´ ¼¿³¿¹» ¬± ±«¬¹±·²¹ -¸·°³»²¬-ô                      Ð®±°»®¬§÷ ¿²¼ ¬± Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§
          ©¸·½¸ §±« ¸¿ª» -±´¼ «²¼»® ½±²¼·¬·±²-                        ø·º Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·- Ý±ª»®»¼
          ©¸»®» ¬¸» ®·-µ ±º ´±-- ±® ¼¿³¿¹» ·-                         Ð®±°»®¬§÷ ¬± °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±®
          ¬®¿²-º»®®»¼ ¬± ¬¸» ¾«§»® ©¸»² -«½¸                          ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-»
          °®±°»®¬§      ´»¿ª»-      §±«®     þÍ½¸»¼«´»¼               ±º Ô±-- ¬± Þ«·´¼·²¹- ¿²¼ Þ«-·²»-- Ð»®-±²¿´
          Ð®»³·-»-þ ·º §±« ½¿²²±¬ ½±´´»½¬ °¿§³»²¬                     Ð®±°»®¬§ ©¸·´» ¿¬æ
          º±® ¬¸» ´±-- ±® ¼¿³¿¹» º®±³ ¬¸»                             øï÷ Ð®»³·-»- ¬¸¿¬ §±« ±©²ô ´»¿-»ô ±® ±½½«°§
          ½±²-·¹²»»ò                                                       ±¬¸»® ¬¸¿² ¿¬ ¿ þÍ½¸»¼«´»¼ Ð®»³·-»-þå
     øî÷ Î»°¿½µ ¿²¼ Î»-¸·°                                            øî÷ Ð®»³·-»- ²±¬ ¼»-½®·¾»¼ ·² ¬¸» Ð®±°»®¬§
          É» ©·´´ °¿§ ¬¸» ²»½»--¿®§ ¿¼¼·¬·±²¿´                             Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
          »¨°»²-»- §±« ·²½«® ¬± ·²-°»½¬ô ®»°¿½µ¿¹»                         Ý±ª»®¿¹»-ô ©¸·½¸ §±« ¼± ²±¬ ±©²ô ´»¿-»
          ¿²¼ ®»-¸·° °®±°»®¬§ ¼¿³¿¹»¼ ¾§ ¿                                 ±® ±½½«°§å
          Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò                                      øí÷ Ð®»³·-»- ©¸»®» §±« ¿®» ¬»³°±®¿®·´§
     øí÷ Ù»²»®¿´ ßª»®¿¹» ¿²¼ Í¿´ª¿¹» Ý¸¿®¹»-                               °»®º±®³·²¹ ©±®µ ±® ·²-¬¿´´·²¹ Þ«-·²»--
          ×² ¿½½±®¼¿²½» ©·¬¸ ¿°°´·½¿¾´» ´¿© ¿²¼                            Ð»®-±²¿´ Ð®±°»®¬§ò
          «-¿¹»ô ©» ©·´´ °¿§ Ù»²»®¿´ ßª»®¿¹» ¿²¼                      øì÷ Ý±ª»®¿¹» ¿- ®»-°»½¬- §±« ·²-¬¿´´·²¹
          Í¿´ª¿¹» Ý¸¿®¹»- ¬¸¿¬ ³¿§ ¾» ¿--»--»¼                             Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ½±²¬·²«»-
          ¿¹¿·²-¬ §±«® ½±ª»®»¼ -¸·°³»²¬- ¬¸¿¬ ¿®»                          «²¬·´ ±²» ±º ¬¸» º±´´±©·²¹ º·®-¬ ±½½«®-æ
          ©¿¬»®¾±®²»ò                                                      ø¿÷ ¬¸» ·²-¬¿´´¿¬·±² ·- ¿½½»°¬»¼ ¾§ ¬¸»
     øì÷ Ô±¿¼·²¹ ¿²¼ Ë²´±¿¼·²¹                                                  ½«-¬±³»®å
          É» ©·´´ ¿´-± °¿§ º±® ½±ª»®»¼ ¼·®»½¬                              ø¾÷ ¬¸·- °±´·½§ »¨°·®»-å ±®
          °¸§-·½¿´ ´±-- ±® ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´                         ø½÷ ¬¸» ·²-¬¿´´¿¬·±² ·- -°»½·º·½¿´´§ ·²-«®»¼
          ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¼«®·²¹                                     ±² ¬¸·- °±´·½§ ±® »´-»©¸»®»ò
          ´±¿¼·²¹ ¿²¼ «²´±¿¼·²¹ ±º ¬¸» ¬®¿²-°±®¬·²¹
          ½±²ª»§¿²½»ò                                                 øë÷ Ë²²¿³»¼ Ð®»³·-»- ¼±»- ²±¬ ·²½´«¼» ¿²§æ
     øë÷ Î»¬«®² Í¸·°³»²¬-                                                  ø¿÷ Ð®»³·-»- ±® °®±°»®¬§ ·²-«®»¼ «²¼»®
                                                                                ¿²§ ±¬¸»® Ý±ª»®¿¹» ±® ß¼¼·¬·±²¿´
          É» ©·´´ ¿´-± °¿§ º±® ½±ª»®»¼ ¼·®»½¬
                                                                                Ý±ª»®¿¹» ±º ¬¸·- Ý±ª»®¿¹» Ú±®³å
          °¸§-·½¿´ ´±-- ±® ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´
          ¼¿³¿¹» ¬± ±«¬¹±·²¹ -¸·°³»²¬- ¬¸¿¬ ¸¿ª»                           ø¾÷ É¿-¬» ¼·-°±-¿´ ±® ¬®¿²-º»® -·¬»-å
          ¾»»² ®»¶»½¬»¼ ¾§ ¬¸» ½±²-·¹²»» ±® ¿®» ²±¬                        ø½÷ Ð®±°»®¬§ ©¸·´» ·² ¬¸» ¼«» ½±«®-» ±º
          ¼»´·ª»®¿¾´»ô ©¸·´» ¾»·²¹ ®»¬«®²»¼ ¬± §±«ò                             ¬®¿²-·¬å
  ¹ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±®                          ø¼÷ ×²¬»®³»¼·¿¬» -·¬» ©¸·´» ·² ¬¸» ¼«»
     ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»                             ½±«®-» ±º ¬®¿²-·¬å
     ¬± Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·² ¬¸» ¼«» ½±«®-»                       ø»÷ Ð®»³·-»- ±® °®±°»®¬§ ¬¸¿¬ ·- ²±¬
     ±º ¬®¿²-·¬ ·- üïððôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º                     ½±ª»®»¼ ±® »¨½´«¼»¼ º®±³ ½±ª»®¿¹»
     ·²-«®¿²½»ò                                                                 «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò


Ú±®³ ÐÝCase
        ëð ïé3:24-cv-00490-FDW-SCR
              ðï ïè                                 Document 1-4 Filed 05/21/24 Page 90 ofÐ¿¹»
                                                                                           579ïï ±º ïê
    ¾ò Ô·³·¬- ±º ×²-«®¿²½»æ                                  ½ò Ì¸» ·²¬»®®«°¬·±² ³«-¬ ¾» ½¿«-»¼ ¾§ ±® ®»-«´¬
       øï÷ Ì¸» ³±-¬ ©» ©·´´ °¿§ ¿- ®»-°»½¬- Þ«·´¼·²¹            º®±³ ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
             ·² ¿²§ ±²» ±½½«®®»²½» ·² ¬±¬¿´ ¿¬ ¿´´              ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± «¬·´·¬§
             Ë²²¿³»¼ Ð®»³·-»- ·- üïððôðððò Ì¸·- ·-              -»®ª·½»- °®±°»®¬§ò É» ©·´´ ²±¬ °¿§ º±® ¿²§
             ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º ·²-«®¿²½»ò                  ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹» ¼«» ¬± ¬»³°»®¿¬«®»
                                                                ½¸¿²¹» ±® -°±·´¿¹» ¬± ¾«-·²»-- °»®-±²¿´
       øî÷ Ì¸» ³±-¬ ©» ©·´´ °¿§ ¿- ®»-°»½¬-
                                                                °®±°»®¬§ò
             Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·² ¿²§ ±²»
             ±½½«®®»²½» ·² ¬±¬¿´ ¿¬ ¿´´ Ë²²¿³»¼              ¼ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±®
             Ð®»³·-»- øÛ¨½»°¬ °®»³·-»- ©¸»®» §±« ¿®»            ¿´´ Ë¬·´·¬§ Í»®ª·½» ×²¬»®®«°¬·±² ·² ¬±¬¿´ ·² ¿²§
             ¬»³°±®¿®·´§ °»®º±®³·²¹ ©±®µ ±® ·²-¬¿´´·²¹          ±²» ±½½«®®»²½» ·- üîëôðððò Ì¸·- ·- ¿²
             Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§÷ ·- üïððôðððò           ¿¼¼·¬·±²¿´ ´·³·¬ ±º ·²-«®¿²½»ò
             Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ´·³·¬ ±º ·²-«®¿²½»ò     ííò ÉßÌÛÎ ÜßÓßÙÛ ÞË×ÔÜ×ÒÙ ÌÛßÎ ÑËÌ ßÒÜ
       øí÷ Ì¸» ³±-¬ ©» ©·´´ °¿§ ¿- ®»-°»½¬-                    ÎÛÐß×Î
             Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·² ¿²§ ±²»           ¿ò Ý±ª»®¿¹»æ É¸»² ©» °¿§ º±® ¼·®»½¬ °¸§-·½¿´
             ±½½«®®»²½» ·² ¬±¬¿´ ¿¬ ¿´´ Ë²²¿³»¼                 ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸»
             Ð®»³·-»- ©¸»®» §±« ¿®» ¬»³°±®¿®·´§                 »-½¿°» ±º ©¿¬»® ±® ±¬¸»® ´·¯«·¼ô °±©¼»®ô ±®
             °»®º±®³·²¹ ©±®µ ±® ·²-¬¿´´·²¹ Þ«-·²»--             ³±´¬»² ³¿¬»®·¿´ô ©» ©·´´ ¿´-± °¿§ ¬¸» ½±-¬ ¬±
             Ð»®-±²¿´ Ð®±°»®¬§ ·- üîëôðððò Ì¸·- ·- ¿²           ¬»¿® ±«¬ ¿²¼ ®»°´¿½» ¬¸» °¿®¬- ±º ¬¸» ¾«·´¼·²¹
             ¿¼¼·¬·±²¿´ ´·³·¬ ±º ·²-«®¿²½»ò                     ±® -¬®«½¬«®» ø©¸»¬¸»® ±® ²±¬ -«½¸ °®±°»®¬§ ·-
íîò ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛ ×ÒÌÛÎÎËÐÌ×ÑÒ                                ¼¿³¿¹»¼÷ ¬± ®»°¿·® ¬¸» ¾®±µ»² ±® ½®¿½µ»¼
    ¿ò Ý±ª»®¿¹»æ É» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±--           -§-¬»³ ±® ¿°°´·¿²½» º®±³ ©¸·½¸ -«½¸
       ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§            -«¾-¬¿²½»- »-½¿°»¼ò
       ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þô ½¿«-»¼ ¾§ ±®                 ¾ò É» ©·´´ ²±¬ °¿§ ¬¸» ½±-¬ ¬± ®»°¿·® ¿²§ ¼»º»½¬ ¬±
       ®»-«´¬·²¹ º®±³ ¬¸» ·²¬»®®«°¬·±² ±º ¬¸» º±´´±©·²¹         ¬¸» -§-¬»³ ±® ¿°°´·¿²½» º®±³ ©¸·½¸ -«½¸
       «¬·´·¬§ -»®ª·½»-æ                                        -«¾-¬¿²½»- »-½¿°»¼ò Þ«¬ ©» ©·´´ °¿§ ¬¸» ½±-¬
       øï÷ É¿¬»® Í«°°´§ Í»®ª·½»-ô ³»¿²·²¹ ¬¸»                   ¬± ®»°¿·® ±® ®»°´¿½» ¼¿³¿¹»¼ °¿®¬- ±º
             º±´´±©·²¹ ¬§°»- ±º °®±°»®¬§ -«°°´§·²¹ ©¿¬»®        ß«¬±³¿¬·½ Ú·®» Û¨¬·²¹«·-¸·²¹ Í§-¬»³- ·º ¬¸»
             ¬± ¬¸» þÍ½¸»¼«´»¼ Ð®»³·-»-þæ                       ¼¿³¿¹»æ
             ø¿÷ Ð«³°·²¹ -¬¿¬·±²-å ¿²¼                           øï÷ Î»-«´¬- ·² ¼·-½¸¿®¹» ±º ¿²§ -«¾-¬¿²½» º®±³
             ø¾÷ É¿¬»® ³¿·²-ò                                        ¿² ¿«¬±³¿¬·½ º·®» °®±¬»½¬·±² -§-¬»³å ±®
       øî÷ Ý±³³«²·½¿¬·±² Í«°°´§ Í»®ª·½»-ô ³»¿²·²¹                øî÷ ×- ¼·®»½¬´§ ½¿«-»¼ ¾§ º®»»¦·²¹ò
             °®±°»®¬§       -«°°´§·²¹      ½±³³«²·½¿¬·±²     ½ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸·- Ý±ª»®¿¹» ·-
             -»®ª·½»-ô ·²½´«¼·²¹ ¬»´»°¸±²»ô ®¿¼·±ô              ·²½´«¼»¼ ©·¬¸·² ¬¸» ¿°°´·½¿¾´» Ý±ª»®»¼
             ³·½®±©¿ª» ±® ¬»´»ª·-·±² -»®ª·½»- ¬± ¬¸»            Ð®±°»®¬§ Ô·³·¬ ±º ×²-«®¿²½»ò
             ¼»-½®·¾»¼ °®»³·-»-ô -«½¸ ¿-æ                    ¼ò ß«¬±³¿¬·½ Ú·®» Û¨¬·²¹«·-¸·²¹ Í§-¬»³ ³»¿²-æ
             ø¿÷ Ý±³³«²·½¿¬·±² ¬®¿²-³·--·±² ´·²»-ô              øï÷ ß²§ ¿«¬±³¿¬·½ º·®» °®±¬»½¬·ª» ±®
                  ·²½´«¼·²¹ ±°¬·½ º·¾»® ¬®¿²-³·--·±²
                                                                    »¨¬·²¹«·-¸·²¹      -§-¬»³ô         ·²½´«¼·²¹
                  ´·²»-å
                                                                    ½±²²»½¬»¼æ
             ø¾÷ Ý±¿¨·¿´ ½¿¾´»-å ¿²¼                                ø¿÷ Í°®·²µ´»®- ¿²¼ ¼·-½¸¿®¹» ²±¦¦´»-å
             ø½÷ Ó·½®±©¿ª» ®¿¼·± ®»´¿§- »¨½»°¬
                                                                    ø¾÷ Ü«½¬-ô °·°»-ô ª¿´ª»- ¿²¼ º·¬¬·²¹-å
                  -¿¬»´´·¬»-ò
                                                                    ø½÷ Ì¿²µ-ô ¬¸»·® ½±³°±²»²¬ °¿®¬- ¿²¼
       øí÷ Ð±©»® Í«°°´§ Í»®ª·½»-ô ³»¿²·²¹ ¬¸»
                                                                         -«°°±®¬-å ¿²¼
             º±´´±©·²¹ ¬§°»- ±º °®±°»®¬§ -«°°´§·²¹
             »´»½¬®·½·¬§ô -¬»¿³ ±® ¹¿- ¬± ¬¸» ¼»-½®·¾»¼             ø¼÷ Ð«³°- ¿²¼ °®·ª¿¬» º·®» °®±¬»½¬·ª»
             °®»³·-»-æ                                                   ³¿·²-ò
             ø¿÷ Ë¬·´·¬§ ¹»²»®¿¬·²¹ °´¿²¬-å                     øî÷ Ò±²ó¿«¬±³¿¬·½ º·®» °®±¬»½¬·ª» -§-¬»³-ô
                                                                    ¸§¼®¿²¬-ô -¬¿²¼°·°»- ¿²¼ ±«¬´»¬-ô ¿´´ ©¸»²
             ø¾÷ Í©·¬½¸·²¹ -¬¿¬·±²-å
                                                                    -«°°´·»¼ º®±³ ¿² ¿«¬±³¿¬·½ º·®» °®±¬»½¬·ª»
             ø½÷ Í«¾-¬¿¬·±²-å                                       -§-¬»³ò
             ø¼÷ Ì®¿²-º±®³»®-å ¿²¼                         íìò ÉßÌÛÎ ÍÛÛÐßÙÛ
             ø»÷ Ì®¿²-³·--·±² ´·²»-ò                         ¿ò Ý±ª»®¿¹»æ Ì¸·- ·²-«®¿²½» ·- »¨¬»²¼»¼ ¬±
    ¾ò ß- «-»¼ ·² ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ô ¬¸» ¬»®³            ¿°°´§ ¬± ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
       ¬®¿²-³·--·±² ´·²»- ·²½´«¼»- ¿´´ ´·²»- ©¸·½¸              ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¿¬ þÍ½¸»¼«´»¼
       -»®ª» ¬± ¬®¿²-³·¬ ½±³³«²·½¿¬·±² -»®ª·½» ±®               Ð®»³·-»-þô Ò»©´§ ß½¯«·®»¼ Ð®»³·-»- ¿²¼
       °±©»®ô ·²½´«¼·²¹ ´·²»- ©¸·½¸ ³¿§ ¾» ·¼»²¬·º·»¼           Ë²²¿³»¼ Ð®»³·-»- ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹
       ¿- ¼·-¬®·¾«¬·±² ´·²»-ò                                   º®±³ ©¿¬»® «²¼»® ¬¸» ¹®±«²¼ -«®º¿½» °®»--·²¹


Ð¿¹» ïîCase
       ±º ïê 3:24-cv-00490-FDW-SCR               Document 1-4 Filed 05/21/24 Page 91 of
                                                                                Ú±®³ ÐÝ579
                                                                                        ëð ïé ðï ïè
      ±²ô ±® º´±©·²¹ ±® ¾¿½µ·²¹ «° ±® -»»°·²¹           íëò É×ÒÜÞÔÑÉÒ ÜÛÞÎ×Í
      ¬¸®±«¹¸æ                                             Ý±ª»®¿¹»æ É» ©·´´ °¿§ §±«® »¨°»²-» ¬± ®»³±ª»
      øï÷ Ú±«²¼¿¬·±²-ô   ©¿´´-ô   º´±±®-   ±®   °¿ª»¼      ¼»¾®·-    ø·²½´«¼·²¹   ¬®»»-÷     ©·²¼¾´±©² ±²¬±
          -«®º¿½»-å                                        þÍ½¸»¼«´»¼ Ð®»³·-»-þ º®±³ ¬¸» °®»³·-»- ±º ±¬¸»®-
      øî÷ Þ¿-»³»²¬-ô ©¸»¬¸»® °¿ª»¼ ±® ²±¬å                 ¬¸¿¬ ±½½«®- ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ò
      øí÷ Ü±±®-ô ©·²¼±©- ±® ±¬¸»® ±°»²·²¹-å ±®             Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§
                                                           ±²» ±½½«®®»²½» ·² ¬±¬¿´ º±® ¬¸» ®»³±ª¿´ ±º ¿´´
      øì÷ Í»°¬·½ ±® -«³° -§-¬»³-ò                          ©·²¼¾´±©² ¼»¾®·- «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»
  ¾ò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬±            ·- üîôëððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º
     ´±-- ±® ¼¿³¿¹» ®»-«´¬·²¹ º®±³ -»©»® ±® ¼®¿·²          ·²-«®¿²½»ò
     ¾¿½µ «°ò                                           íêò ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎÛÜ ÐÎÑÐÛÎÌÇ
  ½ò ÌØ×Í ×Í ÒÑÌ ÚÔÑÑÜ ×ÒÍËÎßÒÝÛò                          ¿ò Ý±ª»®¿¹»æ Ì¸» º±´´±©·²¹ ¿®» ¿¼¼»¼ ¿-
      Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬±              Ý±ª»®»¼ Þ«·´¼·²¹ Ð®±°»®¬§æ
      ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³                øï÷ Þ´»¿½¸»®-ô ¼«¹±«¬- ¿²¼ -½±®»¾±¿®¼-å
      Ú´±±¼ ®»¹¿®¼´»-- ±º ¬¸» °®±¨·³·¬§ ±º ¬¸»
      ¹®±«²¼ -«®º¿½» °®»--·²¹ ±²ô ±® º´±©·²¹ ±®                 øî÷ Ú´¿¹°±´»- ¿²¼ ´·¹¸¬ °±´»-å
      -»»°·²¹ ¬¸®±«¹¸ ¬± -«½¸ ½±²¼·¬·±²-ò                       øí÷ Ð´¿§¹®±«²¼ »¯«·°³»²¬å ¿²¼ô
  ¼ò Ú´±±¼ ¿- «-»¼ ·² ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»                  øì÷ Î»º®»-¸³»²¬ -¬¿²¼-ô °®»-- ¾±¨»-ô
     ³»¿²-æ                                                         -¬±®¿¹» ¾«·´¼·²¹- ¿²¼ ¬·½µ»¬ ¾±±¬¸-ò
     øï÷ Í«®º¿½» ©¿¬»®ô ©¿ª»-ô ¬·¼¿´ ©¿¬»®ô ¬·¼¿´               øë÷ Þ«- -¬±°-       -·¬«¿¬»¼     ±²   þÍ½¸»¼«´»¼
         ©¿ª»-ô ¬-«²¿³·-ô ±® ±ª»®º´±© ±º ¿²§                        Ð®»³·-»-þò
         ²¿¬«®¿´ ±® ³¿² ³¿¼» ¾±¼§ ±º ©¿¬»® º®±³
                                                           ¾ò Ý±ª»®¿¹»æ Ý®»© -¸»´´- ¿²¼ ¿--±½·¿¬»¼
         ·¬- ¾±«²¼¿®·»-ô ¿´´ ©¸»¬¸»® ¼®·ª»² ¾§ ©·²¼
                                                              ¿°°¿®¿¬«- ¿®» ¿¼¼»¼ ¿- Ý±ª»®»¼ Þ«-·²»--
         ±® ²±¬å
                                                              Ð»®-±²¿´ Ð®±°»®¬§ò
     øî÷ Ó«¼-´·¼» ±® ³«¼º´±©ô ³»¿²·²¹ ¿ ®·ª»® ±®
         º´±© ±º ´·¯«·¼ ³«¼ ¼·®»½¬´§ ±® ·²¼·®»½¬´§      íéò ßÒ×ÓßÔÍ
         ½¿«-»¼ ¾§ º´±±¼·²¹ ±® ¬¸» ¿½½«³«´¿¬·±² ±º         ¿ò Ý±ª»®¿¹»æ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§
         ©¿¬»® «²¼»® ¬¸» ¹®±«²¼å ±®                           ½±ª»®¿¹» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬± ¿²·³¿´-ô
     øí÷ É¿¬»® «²¼»® ¬¸» ¹®±«²¼ -«®º¿½» °®»--·²¹              ·²-·¼» ±® ±«¬-·¼» ±º ¾«·´¼·²¹-ô ©¸·½¸ §±« «-»
         ±²ô ±® º´±©·²¹ ±® -»»°·²¹ ¬¸®±«¹¸æ                   ¿- °¿®¬ ±º ¿² ¿¹®·½«´¬«®¿´ô ª±½¿¬·±²¿´ ±®
                                                              »¯«»-¬®·¿² °®±¹®¿³ò
         ø¿÷ Ú±«²¼¿¬·±²-ô ©¿´´-ô º´±±®- ±® °¿ª»¼
              -«®º¿½»-å                                    ¾ò ß²·³¿´- ¿®» ½±ª»®»¼ ±²´§ º±® ´±-- ±® ¼¿³¿¹»
                                                              ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ þÍ°»½·º·»¼ Ý¿«-»-
         ø¾÷ Þ¿-»³»²¬-ô ©¸»¬¸»® °¿ª»¼ ±® ²±¬å ±®
                                                              ±º Ô±--þô þÌ¸»º¬þô ½±´´·-·±² ©·¬¸ ¿ ª»¸·½´»ô
         ø½÷ Ü±±®-ô ©·²¼±©- ±® ±¬¸»® ±°»²·²¹-ò                »´»½¬®±½«¬·±²ô ¿¬¬¿½µ ¾§ ¼±¹- ±® ©·´¼ ¿²·³¿´-ô
         ×º -«½¸ ©¿¬»® «²¼»® ¬¸» ¹®±«²¼ -«®º¿½»               ¿½½·¼»²¬¿´ -¸±±¬·²¹ ±® ¼®±©²·²¹ò
         °®»--·²¹ ±²ô ±® º´±©·²¹ ±® -»»°·²¹ ¬¸®±«¹¸        ½ò Ý±ª»®¿¹» ¿°°´·»- ±²´§ ·º ¬¸» ¿²·³¿´ ·- µ·´´»¼ ±®
         ·- ½¿«-»¼ ¾§ ¿²§ ±º ¬¸» ½±²¼·¬·±²- ·² ¼ò øï÷         ·¬- ¼»-¬®«½¬·±² ·- ³¿¼» ²»½»--¿®§ º±® ¸«³¿²»
         ±® ¼ò øî÷ ¿¾±ª» ®»¹¿®¼´»-- ±º ¬¸» °®±¨·³·¬§          ®»¿-±²-ò
         ±º ¬¸» º±«²¼¿¬·±²-ô ©¿´´-ô º´±±®- ±® °¿ª»¼
         -«®º¿½»-å ¾¿-»³»²¬-ô ©¸»¬¸»® °¿ª»¼ ±® ²±¬å        ¼ò Ð±«´¬®§ ·- ½±ª»®»¼ ±²´§ ©¸·´» ·²-·¼» ¾«·´¼·²¹-ò
         ±® ¼±±®-ô ©·²¼±©- ±® ±¬¸»® ±°»²·²¹- ¬± -«½¸       »ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·²
         ½±²¼·¬·±²-ò                                          ¿²§ ±²» ±½½«®®»²½» «²¼»® ¬¸·- ß¼¼·¬·±²¿´
         ø¼÷ Ú´±±¼ ·²½´«¼»- ©¿¬»® ±® ±¬¸»® ³¿¬»®·¿´           Ý±ª»®¿¹» ·- üîëôðððô ¾«¬ ²±¬ ³±®» ¬¸¿²
              ¬¸¿¬ ¾¿½µ- «° ±® ±ª»®º´±©- º®±³ ¿²§             üïôëðð º±® ¿²§ ±²» ¿²·³¿´ò Ì¸·- ½±ª»®¿¹» ·-
              -»©»® ±® -»°¬·½ ¬¿²µ ±® ¼®¿·²ô ·º -«½¸          ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò
              ¾¿½µó«° ·- ½¿«-»¼ ¾§ ¿²§ ±º ¬¸»           íèò ßÌØÔÛÌ×Ý ËÒ×ÚÑÎÓÍô ÞßÒÜ ËÒ×ÚÑÎÓÍô ßÒÜ
              ½±²¼·¬·±²- ·² ¼ò øï÷ ±® ¼ò øî÷ ¿¾±ª»          ÌØÛßÌÎÛ ÝÑÍÌËÓÛÍ
              ®»¹¿®¼´»-- ±º ¬¸» °®±¨·³·¬§ ±º ¬¸»           ¿ò   Ý±ª»®¿¹»æ     Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§
              ¾¿½µó«° ¬± -«½¸ ½±²¼·¬·±²-ò                       ½±ª»®¿¹» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬± ß¬¸´»¬·½
         ø»÷ ß´´ º´±±¼·²¹ ·² ¿ ½±²¬·²«±«- ±®                    Ë²·º±®³-ô Þ¿²¼ Ë²·º±®³-ô ¿²¼ Ì¸»¿¬®»
              °®±¬®¿½¬»¼ »ª»²¬ ©·´´ ½±²-¬·¬«¬» ¿                Ý±-¬«³»- ¬¸¿¬ ¿®»æ
              -·²¹´» º´±±¼ò
                                                                øï÷ Ç±«® °®±°»®¬§å ±®
  »ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ º±®
                                                                øî÷ Ì¸» °®±°»®¬§ ±º ±¬¸»®- ¬¸¿¬ ·- ·² §±«® ½¿®»ô
     É¿¬»® Í»»°¿¹» ·² ¿²§ ±²» ±½½«®®»²½» ·-
                                                                    ½«-¬±¼§ ±® ½±²¬®±´ò
     üîëôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º
     ·²-«®¿²½»ò


Ú±®³ ÐÝCase
        ëð ïé3:24-cv-00490-FDW-SCR
              ðï ïè                             Document 1-4 Filed 05/21/24 Page 92 ofÐ¿¹»
                                                                                       579ïí ±º ïê
   ¾ò Ì¸» º±´´±©·²¹ Û¨½´«-·±²- ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»           ¼ò Î»²¬¿´ Ê¿´«» ³»¿²-æ
      Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³                     øï÷ Ì±¬¿´ ¿²¬·½·°¿¬»¼ ®»²¬¿´ ·²½±³» º®±³
      ¼± ²±¬ ¿°°´§ ¬± ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»æ                           ¬»²¿²¬ ±½½«°¿²½§ ±º ¬¸» °®»³·-»-
       Ý¸¿²¹» ±º      Ì»³°»®¿¬«®»ô       Ü¿³°²»--     ±®                  ¼»-½®·¾»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó
       Ü®§²»--ò                                                           Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ¿-
                                                                          º«®²·-¸»¼ ¿²¼ »¯«·°°»¼ ¾§ §±«å ¿²¼
       É¿¬»®ò
                                                                     øî÷ ß³±«²¬ ±º ¿´´ ½¸¿®¹»- ©¸·½¸ ¿®» ¬¸» ´»¹¿´
       Ë¬·´·¬§ Í»®ª·½»- ×²¬»®®«°¬·±²ò
                                                                          ±¾´·¹¿¬·±² ±º ¬¸» ¬»²¿²¬ø-÷ ¿²¼ ©¸·½¸
   ½ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·²                         ©±«´¼ ±¬¸»®©·-» ¾» §±«® ±¾´·¹¿¬·±²-å ¿²¼
      ¿²§ ±²» ±½½«®®»²½» «²¼»® ¬¸·- ß¼¼·¬·±²¿´                       øí÷ Ú¿·® ®»²¬¿´ ª¿´«» ±º ¿²§ °±®¬·±² ±º ¬¸»
      Ý±ª»®¿¹» ·- üïððôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´                         ¼»-½®·¾»¼ °®»³·-»- ©¸·½¸ ·- ±½½«°·»¼ ¾§
      ¿³±«²¬ ±º ·²-«®¿²½»ò                                                §±«ò
íçò ÞËÍ×ÒÛÍÍ   ×ÒÝÑÓÛ             ÚÎÑÓ      ßËÈ×Ô×ßÎÇ                É» ©·´´ °¿§ ¿²§ ²»½»--¿®§ »¨°»²-»- §±«
    ÑÐÛÎßÌ×ÑÒÍ                                                       ·²½«®ô »¨½»°¬ ¬¸» ½±-¬ ±º »¨¬·²¹«·-¸·²¹ ¿ º·®»ô ¬±
   Ý±ª»®¿¹»æ Ç±« ³¿§ »¨¬»²¼ ¬¸·- ·²-«®¿²½» ¬±                        ®»¼«½» ¬¸» ¿³±«²¬ ±º ´±-- «²¼»® ¬¸·-
   ¿°°´§ ¬± ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» §±«                   ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò É» ©·´´ °¿§ º±® -«½¸
   -«-¬¿·² ½¿«-»¼ ¾§ ¬¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±º ±®                  »¨°»²-»- ¬± ¬¸» »¨¬»²¬ ¬¸¿¬ ¬¸»§ ¼± ²±¬
   ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± °®±°»®¬§ ¿¬ ¬¸» °®»³·-»-                »¨½»»¼ ¬¸» ¿³±«²¬ ±º ´±-- ±¬¸»®©·-» °¿§¿¾´»
   ¼»-½®·¾»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º                    «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò
   Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹                    É» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»--
   º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò                                     ×²½±³» §±« -«-¬¿·² ¼«®·²¹ ¬¸» -½¸±±´ ¬»®³
   ß- «-»¼ ·² ¬¸·- Û¨¬»²-·±²æ                                        º±´´±©·²¹ ¬¸» ¼¿¬» ¬¸» °®±°»®¬§ ·- ¿½¬«¿´´§
                                                                     ®»°¿·®»¼ô ®»¾«·´¬ ±® ®»°´¿½»¼ô ·º ¬¸» ¼¿¬» ·- íð
   ¿ò Þ«-·²»-- ×²½±³» ³»¿²- ¬¸» ²»½»--¿®§                            ¼¿§- ±® ´»-- ¾»º±®» ¬¸» -½¸»¼«´»¼ ±°»²·²¹ ±º
      -«-°»²-·±² ±º §±«® ¿«¨·´·¿®§ ±°»®¿¬·±²- ¼«®·²¹                 ¬¸» ²»¨¬ -½¸±±´ ¬»®³ò
      ¬¸» °»®·±¼ ±º ®»-¬±®¿¬·±² º±®å
                                                                Ô·³·¬ ±º ×²-«®¿²½»æ É» ©·´´ ²±¬ °¿§ º±® ¿²§
       øï÷ Ò»¬ ×²½±³» øÒ»¬ Ð®±º·¬ ±® Ô±-- ¾»º±®»                ·²½®»¿-» º±® ´±-- ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³
           ·²½±³» ¬¿¨»-÷ ¬¸¿¬ ©±«´¼ ¸¿ª» ¾»»²                   -«-°»²-·±²ô ´¿°-» ±® ½¿²½»´´¿¬·±² ±º ¿²§ ´·½»²-»ô
           »¿®²»¼ ±® ·²½«®®»¼ô º®±³ §±«® ¿«¨·´·¿®§              ´»¿-» ±® ½±²¬®¿½¬ò Þ«¬ ·º ¬¸» -«-°»²-·±²ô ´¿°-» ±®
           ±°»®¿¬·±²-å                                          ½¿²½»´´¿¬·±² ·- ¼·®»½¬´§ ½¿«-»¼ ¾§ ¬¸» -«-°»²-·±²
       øî÷ Ý±²¬·²«·²¹ ²±®³¿´ ±°»®¿¬·²¹ »¨°»²-»-                 ±º ¿«¨·´·¿®§ ±°»®¿¬·±²ô ©» ©·´´ ½±ª»® -«½¸ ´±-- ¬¸¿¬
           ·²½«®®»¼ô ·²½´«¼·²¹ °¿§®±´´ò                         ¿ºº»½¬- §±«® Þ«-·²»-- ×²½±³» ¼«®·²¹ ¬¸» °»®·±¼ ±º
   ¾ò ß«¨·´·¿®§ Ñ°»®¿¬·±²- ³»¿²-å                               ®»-¬±®¿¬·±²ò Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§ ±²»
                                                                ±½½«®®»²½» «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·-
       øï÷ ®»²¬¿´ ª¿´«»å                                        üîëôðððò
       øî÷ ´¿¾±®¿¬±®§ º»»-å                                 ìðò ÚßÝËÔÌÇ ÐÛÎÍÑÒßÔ ÛÚÚÛÝÌÍ
       øí÷ ¾±±µ-¬±®»-å                                          Ì¸» ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó Û³°´±§»» Ð»®-±²¿´
       øì÷ ¿¬¸´»¬·½ »ª»²¬-å ¿²¼                                 Ûºº»½¬- ·- ®»ª·-»¼ ¬± ·²½´«¼» Ú¿½«´¬§ Ð»®-±²¿´
                                                                Ûºº»½¬-ò
       øë÷ ®»-»¿®½¸ ¹®¿²¬-å
                                                            ìïò ØßÎÊÛÍÌÛÜ ÝÎÑÐÍ
   ½ò Ð»®·±¼ ±º Î»-¬±®¿¬·±² ³»¿²-å
                                                                Ý±ª»®¿¹»æ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ½±ª»®¿¹»
       øï÷ ¬¸» °»®·±¼ ±º ¬·³» ·¬ ¬¿µ»- ¬± ®»°¿·®ô ®»¾«·´¼       ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬± ¹®¿·²ô ¸¿§ô -¬®¿©ô º®«·¬-ô
           ±® ®»°´¿½» ¬¸» ¼»-½®·¾»¼ °®»³·-»- ©·¬¸               ª»¹»¬¿¾´»- ¿²¼ ±¬¸»® ½®±°- ©¸·½¸ ¸¿ª» ¾»»²
           ®»¿-±²¿¾´» -°»»¼ ¿²¼ -·³·´¿® ¯«¿´·¬§å ±®             ¸¿®ª»-¬»¼ ¿²¼ ¿®» -¬±®»¼ ·²-·¼» §±«® ¾«·´¼·²¹ ±® ·²
       øî÷ Ì¸» ¼¿¬» ©¸»² ¾«-·²»-- ·- ®»-«³»¼ ¿¬ ¿               ¬¸» ±°»² ¿¬ ¬¸» þÍ½¸»¼«´»¼ Ð®»³·-»-þò
           ²»© °»®³¿²»²¬ ´±½¿¬·±²ò                              Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§
       Ð»®·±¼ ±º Î»-¬±®¿¬·±² ¼±»- ²±¬ ·²½´«¼» ¿²§               ±²» ±½½«®®»²½» «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·-
       ·²½®»¿-»¼ °»®·±¼ ®»¯«·®»¼ ¼«» ¬± ¬¸»                     üîëôðððò
       »²º±®½»³»²¬ ±º ¿²§ ±®¼·²¿²½» ±® ´¿© ¬¸¿¬                 Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò
       ®»¯«·®»- ¿²§ ·²-«®»¼ ±® ±¬¸»®- ¬± ¬»-¬ º±®ô          ìîò ÓËÍ×ÝßÔ ×ÒÍÌÎËÓÛÒÌÍ
       ³±²·¬±®ô ½´»¿² «°ô ®»³±ª»ô ½±²¬¿·²ô ¬®»¿¬ô
                                                                Ý±ª»®¿¹»æ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ½±ª»®¿¹»
       ¼»¬±¨·º§ ±® ²»«¬®¿´·¦»ô ±® ·² ¿²§ ©¿§ ®»-°±²¼
                                                                ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬± ³«-·½¿´ ·²-¬®«³»²¬- ¿²¼
       ¬±ô ±® ¿--»-- ¬¸» »ºº»½¬- ±º þÐ±´´«¬¿²¬- ¿²¼
                                                                ®»´¿¬»¼ »¯«·°³»²¬ ¿²¼ ¿½½»--±®·»- ¬¸¿¬ ¿®»æ
       Ý±²¬¿³·²¿²¬-þò
                                                                ¿ò Ç±«® °®±°»®¬§å ±®
       Ì¸» »¨°·®¿¬·±² ¼¿¬» ±º ¬¸·- °±´·½§ ©·´´ ²±¬ ½«¬
       -¸±®¬ ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±²                          ¾ò Ì¸» °®±°»®¬§ ±º ±¬¸»®- ¬¸¿¬ ·- ·² §±«® ½¿®»ô
                                                                     ½«-¬±¼§ ±® ½±²¬®±´ò


Ð¿¹» ïìCase
       ±º ïê 3:24-cv-00490-FDW-SCR                Document 1-4 Filed 05/21/24 Page 93 of
                                                                                 Ú±®³ ÐÝ579
                                                                                         ëð ïé ðï ïè
    Ì¸» º±´´±©·²¹ Û¨½´«-·±²- ·² ¬¸» Ý±ª»®»¼ Ý¿«-»-                ·² »¨½»-- ±º ¬¸» ¿°°´·½¿¾´» ¼»¼«½¬·¾´»ò Ç±«
    ±º Ô±-- ¿²¼ Ý±³³±² Û¨½´«-·±²- Ú±®³ ¼± ²±¬                     ³¿§ ¿°°±®¬·±² ¬¸·- ´·³·¬ ¿³±²¹ ¬¸» ¿°°´·½¿¾´»
    ¿°°´§ ¬± ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»æ                            ½±ª»®¿¹»- ¿- §±« ½¸±±-»ò
         Ý¸¿²¹» ±º Ì»³°»®¿¬«®»ô Ü¿³°²»-- ±®                   ½ò ß- ®»-°»½¬- ·¬»³ ·ò Ñ«¬¼±±® Ì®»»-ô Í¸®«¾-ô
         Ü®§²»--ò                                                Í±¼ô Ð´¿²¬- ¿²¼ Ô¿©²- ¬¸» ³±-¬ ©» ©·´´ °¿§
         É¿¬»®ò                                                  º±® ¿²§ ±²» ·¬»³ ·- -¬·´´ ´·³·¬»¼ ¬±æ
         Ë¬·´·¬§ Í»®ª·½»- ×²¬»®®«°¬·±²ò                           øï÷ üïðôððð º±® ¿²§ ±²» ¬®»»ô -¸®«¾ ±® °´¿²¬å

    Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§               øî÷ üïðôððð º±® ´¿©²- ±® -±¼ ·² ¬±¬¿´ ¿¬ ¿²§
    ±²» ±½½«®®»²½» «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·-                  ±²» ·²-«®»¼ °®»³·-»-ò
    üïððôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º                 ¼ò ß- ®»-°»½¬- ·¬»³- ïò ¾ò Þ«·´¼·²¹- ¿²¼ ïò ½ò
    ·²-«®¿²½»ò                                                   Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ´·-¬»¼ ¿¾±ª»ô ¬¸·-
ìíò ÐÛÎÍÑÒßÔ ÛÚÚÛÝÌÍ ÑÚ ÍÌËÜÛÒÌÍ                                 Ý±³¾·²»¼ ß¼¼·¬·±²¿´ Ð®±¬»½¬·±² ¼±»- ²±¬
                                                                 ¿°°´§ ¬± Þ«·´¼·²¹- ¿²¼ Þ«-·²»-- Ð»®-±²¿´
    Ý±ª»®¿¹»æ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ½±ª»®¿¹»                Ð®±°»®¬§ ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¬¸¿¬ ©»®»
    ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬± °»®-±²¿´ »ºº»½¬- ±©²»¼ ¾§            ²±¬ ·²-«®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ º±® ´·³·¬-
    §±«® -¬«¼»²¬- ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þò                       »¯«¿´ ¬± ¬¸»·® º«´´ Î»°´¿½»³»²¬ Ý±-¬ ±® ß½¬«¿´
    Ì¸·- Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬± ´±-- ±® ¼¿³¿¹»               Ý¿-¸ Ê¿´«» ¿- ¿°°´·½¿¾´» ¿¬ ¬¸» ·²½»°¬·±² ¼¿¬»
    ¾§ þ¬¸»º¬þ ±® ³§-¬»®·±«- ¼·-¿°°»¿®¿²½»ò                      ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
    Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§       ÍÛÝÌ×ÑÒ Ýò ó ÌÛÒßÒÌ ÔÛßÍÛ ÝÑÊÛÎßÙÛÍ
    ±²» ±½½«®®»²½» «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·²      Ì¸»-» Ý±ª»®¿¹»- ¿°°´§ ¬± §±«® ·²¬»®»-¬ ¿- ¿ ¬»²¿²¬ ±®
    ¬±¬¿´ ·- üïððôððð ¿¬ »¿½¸ þÍ½¸»¼«´»¼ Ð®»³·-»-þô       ¬± §±«® ®»-°±²-·¾·´·¬§ ¿- ¿ ¬»²¿²¬ «²¼»® ¿ ©®·¬¬»² ´»¿-»
    ¾«¬ ²±¬ ³±®» ¬¸¿² üëôððð º±® »¿½¸ -¬«¼»²¬ò Ì¸·- ·-    ¿¹®»»³»²¬ ¿- ¿ ¬»²¿²¬ ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þæ
    ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò
                                                          ïò þÞ«·´¼·²¹ Ù´¿--þ
ÍÛÝÌ×ÑÒ  Þò           ó   ÝÑÓÞ×ÒÛÜ        ßÜÜ×Ì×ÑÒßÔ
                                                              Ç±«® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·- »¨¬»²¼»¼ ¬±
ÐÎÑÌÛÝÌ×ÑÒ
                                                              ¿°°´§ ¬± ¼¿³¿¹» ¬± þÞ«·´¼·²¹ Ù´¿--þ ½¿«-»¼ ¾§
ïò ×º ½±ª»®»¼ ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ·º ½±ª»®»¼ ¼·®»½¬       ¿²§ ½¿«-» ±º ´±--ò Ì¸·- Ý±ª»®¿¹» ·- ·²½´«¼»¼ ·²
   °¸§-·½¿´ ¼¿³¿¹» »¨½»»¼- ¬¸» Ô·³·¬- ±º ×²-«®¿²½»            ¬¸» ¿°°´·½¿¾´» Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ Ô·³·¬ ±º
   º±® ±²» ±® ³±®» ±º ¬¸» º±´´±©·²¹ Ý±ª»®¿¹»- ±®              ×²-«®¿²½» ©¸»®» ¬¸» ½±ª»®»¼ ´±-- ±® ½±ª»®»¼
   ß¼¼·¬·±²¿´ Ý±ª»®¿¹»- ¿¬ ¿ þÍ½¸»¼«´»¼ Ð®»³·-»-þæ            ¼¿³¿¹» ±½½«®-ò
    ¿ò ß½½±«²¬- Î»½»·ª¿¾´»å                               îò Ô»¿-» ß--»--³»²¬
    ¾ò Þ«·´¼·²¹å                                              ¿ò Ç±«® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·- »¨¬»²¼»¼
    ½ò Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§å                               ¬± ¿°°´§ ¬± §±«® -¸¿®» ±º ¿²§ ¿--»--³»²¬
                                                                 ½¸¿®¹»¼ ¬± ¿´´ ¬»²¿²¬- ¾§ ¬¸» ¾«·´¼·²¹ ±©²»® ¿-
    ¼ò Ü»¾®·- Î»³±ª¿´ ó Ý±ª»®»¼ Ð®±°»®¬§å
                                                                 ¿ ®»-«´¬ ±º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
    »ò Û³°´±§»» Ð»®-±²¿´ Ûºº»½¬-å                                °¸§-·½¿´ ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³
    ºò   Ú·²» ß®¬-å                                              ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± ¾«·´¼·²¹ °®±°»®¬§
                                                                 ©¸·½¸ ·- ²±¬ °¿·¼ ·² ¬¸» ¾«·´¼·²¹ ±©²»®- °±´·½§ô
    ¹ò Ô»¿-»¸±´¼ ×³°®±ª»³»²¬-          øÌ»²¿²¬   Ô»¿-»           ¿- ¿¹®»»¼ ¬± ·² §±«® ©®·¬¬»² ´»¿-» ¿¹®»»³»²¬ò
       Ý±ª»®¿¹»÷å
                                                              ¾ò Ì¸·- Ý±ª»®¿¹» ·- -«¾¶»½¬ ¬± ¿ -»°¿®¿¬»
    ¸ò Ô»¹¿´ Ô·¿¾·´·¬§ ó Þ«·´¼·²¹ øÔ»¹¿´ Ô·¿¾·´·¬§ ó             ¼»¼«½¬·¾´» ±º üëðð ·² ¿²§ ±²» ±½½«®®»²½»ò Ò±
       Þ«·´¼·²¹ Ý±ª»®¿¹» Ú±®³ øÐÝ ðð íð÷ ©¸·½¸                   ±¬¸»® ¼»¼«½¬·¾´» ¿°°´·»-ò
       ¿¬¬¿½¸»- ¬± ¿²¼ º±®³- °¿®¬ ±º ¬¸·- °±´·½§ò÷å
                                                              ½ò É» ©·´´ ²±¬ °¿§ ³±®» ¬¸¿² üîôëðð ·² ¿²§ ±²»
    ·ò   Ñ«¬¼±±® Ì®»»-ô Í¸®«¾-ô Í±¼ô Ð´¿²¬- ¿²¼                  ±½½«®®»²½» º±® Ô»¿-» ß--»--³»²¬ò Ì¸·- ·- ¿²
         Ô¿©²-å                                                  ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò
   ¶ò    Ð¿·®- ±® Í»¬-å                                   íò Ô»¿-»¸±´¼ ×³°®±ª»³»²¬-
îò Ô·³·¬ ±º ×²-«®¿²½»æ                                        ¿ò ×º §±«® ´»¿-» ·- ½¿²½»´»¼ ·² ¿½½±®¼¿²½» ©·¬¸ ¿
    É» ©·´´ °¿§ «° ¬± ¬¸» ´»--»® ±ºæ                             ª¿´·¼ ´»¿-» °®±ª·-·±² ¿- ¬¸» ¼·®»½¬ ®»-«´¬ ±º ¿
    ¿ò îëû ±º ¬¸» ¬±¬¿´ Í½¸»¼«´»¼ Ð®»³·-»- Þ«·´¼·²¹              Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± °®±°»®¬§ ¿¬ ¬¸»
       ¿²¼ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ Ô·³·¬- ±º                  ´±½¿¬·±² ·² ©¸·½¸ §±« ¿®» ¿ ¬»²¿²¬ ¿²¼ §±«
       ×²-«®¿²½»å ±®                                             ½¿²²±¬ ´»¹¿´´§ ®»³±ª» þÌ»²¿²¬ ×³°®±ª»³»²¬-
                                                                 ¿²¼ Þ»¬¬»®³»²¬-þ ©» ©·´´ »¨¬»²¼ Þ«-·²»--
    ¾ò üëððôððð ·² ¬±¬¿´ ·² ¿²§ ±²» ±½½«®®»²½»                   Ð»®-±²¿´ Ð®±°»®¬§ ½±ª»®¿¹» ¬± ¿°°´§ ¬± ¬¸»
       ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±º ·¬»³- ´±-¬ ±®                 «²¿³±®¬·¦»¼       ª¿´«»   ±º    ¬¸»    þÌ»²¿²¬
       ¼¿³¿¹»¼ ±® Ý±ª»®¿¹»- ±® ß¼¼·¬·±²¿´                        ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-þ ¬¸¿¬ ®»³¿·²-
       Ý±ª»®¿¹»- ·²ª±´ª»¼ ·² ¿²§ ±²» ±½½«®®»²½» º±®              ¿²¼ §±« ©»®» º±®½»¼ ¬± ¿¾¿²¼±²ò
       ¬¸» -«³ ±º ¿´´ -«½¸ «²·²-«®»¼ ´±-- ±® ¼¿³¿¹»


Ú±®³ ÐÝCase
        ëð ïé3:24-cv-00490-FDW-SCR
              ðï ïè                              Document 1-4 Filed 05/21/24 Page 94 ofÐ¿¹»
                                                                                        579ïë ±º ïê
   ¾ò Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§ ±²» ±½½«®®»²½»         ÍÛÝÌ×ÑÒ Üò ó ÞËÍ×ÒÛÍÍ ÝÎ×ÓÛ ßÜÜÛÜ
      º±® ´±-- «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·-         Ì¸» Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³» Ý±ª»®¿¹»-
      üîëôððð º±® Ô»¿-»¸±´¼ ×³°®±ª»³»²¬-ò Ì¸·- ·-        Ú±®³ ·- ³¿¼» ¿ °¿®¬ ±º ¬¸·- °±´·½§ô ¿²¼ «²¼»® ¬¸·-
      ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò                 »²¼±®-»³»²¬ô ¿®» -«¾¶»½¬ ¬± ¬¸» º±´´±©·²¹ -¬¿¬»¼ Ô·³·¬-
ìò Ó·-½»´´¿²»±«- ×²¬»®·±® Þ«·´¼·²¹ Ð®±°»®¬§              ±º ×²-«®¿²½»æ
   Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·- »¨¬»²¼»¼ ¬± ¿°°´§           Ý±ª»®¿¹»                              Ô·³·¬ ±º
   ¬± ³·-½»´´¿²»±«- ·²¬»®·±® Þ«·´¼·²¹ °®±°»®¬§ ·¬»³-                                              ×²-«®¿²½»
   ¬¸¿¬ °»®¬¿·² ±²´§ ¬± ¬¸» ¿®»¿ §±« ±½½«°§ ¿- ¿             Û³°´±§»» Ì¸»º¬                        üïððôðððò
   ¬»²¿²¬ ¿²¼ §±« ¿®» ®»¯«·®»¼ ¬± ·²-«®» ¿- ¿ ¬»²¿²¬ò
   Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§ ±²» ±½½«®®»²½» º±®            Ú±®¹»®§ ±® ß´¬»®¿¬·±²                 üîëôðððò
   ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»            Ó±²»§ Ñ®¼»®- ¿²¼ Ý±«²¬»®º»·¬          üîëôðððò
   «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- üîëôðððò Ì¸·-           Ð¿°»® Ý«®®»²½§
   Ý±ª»®¿¹» ·- ·²½´«¼»¼ ·² ¬¸» ¿°°´·½¿¾´» Þ«-·²»--           ×²-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º        üëðôðððò
   Ð»®-±²¿´ Ð®±°»®¬§ Ô·³·¬ ±º ×²-«®¿²½» ©¸»®» ¬¸»            Ó±²»§ ¿²¼ Í»½«®·¬·»-
   ½±ª»®»¼ ´±-- ±® ½±ª»®»¼ ¼¿³¿¹» ±½½«®- ¿²¼
   ¿°°´·»- ·² ¿²§ ±²» ±½½«®®»²½»ò                            Ñ«¬-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º       üîëôðððò
                                                             Ó±²»§ ¿²¼ Í»½«®·¬·»-
ëò Ì¸»º¬ Ü¿³¿¹»
                                                         ß- ®»-°»½¬- ½±ª»®¿¹» º±® »³°´±§»» ¬¸»º¬ô ¬¸»
   Ç±«® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·- »¨¬»²¼»¼ ¬±        »³°´±§»» ¾»²»º·¬- °´¿²- °®±ª·-·±² ¿°°´·»- ¬± ¿²§
   ¿°°´§ ¬± ¼¿³¿¹» ¬± ¬¸» ¾«·´¼·²¹ ©¸»®» §±« ¿®» ¿       ©»´º¿®» ±® °»²-·±² ¾»²»º·¬ °´¿² ¬¸¿¬ ·- -«¾¶»½¬ ¬± ¬¸»
   ¬»²¿²¬ ¿²¼ §±« ¿®» ´·¿¾´» º±® -«½¸ ¼¿³¿¹»-ô           »³°´±§»» ®»¬·®»³»²¬ ·²½±³» -»½«®·¬§ ¿½¬ ±º ïçéì
   ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿½¬«¿´ ±® ¿¬¬»³°¬»¼       øÛÎ×Íß÷ò
   þ¬¸»º¬þò
                                                         Ì¸»-» Ô·³·¬- ¿®» ·² ¿¼¼·¬·±² ¬± ¿²§ ±¬¸»® Ô·³·¬ ±º
   Ì¸·- Ý±ª»®¿¹» ·- ·²½´«¼»¼ ·² ¬¸» ¿°°´·½¿¾´»           ×²-«®¿²½» ¬¸¿¬ ³¿§ ¾» -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
   Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ Ô·³·¬ ±º ×²-«®¿²½»         Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ¿°°´·½¿¾´» ¬±
   ©¸»®» ¬¸» ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ±½½«®- ¿²¼           ¬¸»-» Þ«-·²»-- Ý®·³» Ý±ª»®¿¹»-ò
   ¿°°´·»- ·² ¿²§ ±²» ±½½«®®»²½»ò
êò Ô»¹¿´ Ô·¿¾·´·¬§ ó Þ«·´¼·²¹
   Ô»¹¿´ Ô·¿¾·´·¬§ ó Þ«·´¼·²¹ Ý±ª»®¿¹» Ú±®³
   øÐÝ ðð íð÷ ¿¬¬¿½¸»- ¬± ¿²¼ º±®³- °¿®¬ ±º ¬¸·-
   °±´·½§ò Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§ ±²» ¿½½·¼»²¬ ·-
   üîëôðððò




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       ±º ïê 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 95 of
                                                                               Ú±®³ ÐÝ579
                                                                                       ëð ïé ðï ïè
     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


            ÙÎÛÛÒ ÝØÑ×ÝÛ ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÍÐÛÝ×ßÔ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÐÎÑÚÛÍÍ×ÑÒßÔ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ

Í½¸»¼«´» ·²º±®³¿¬·±² ·º ²±¬ -¬¿¬»¼ ¸»®»ô ©·´´ ¾» -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
Ý±ª»®¿¹»-ò

                                                    Í½¸»¼«´»

                                       Ù®»»² Ý¸±·½» Ô·³·¬ ±º ×²-«®¿²½»


ßò Ì¸» º±´´±©·²¹ ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- ¿¼¼»¼ ¬±                             ¿´¬»®²¿¬·ª»- ¿®»    ±¬¸»®©·-»   ±º
   ¬¸» ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÚÑÎÓæ                                        ½±³°¿®¿¾´» ¯«¿´·¬§ ¿²¼ º«²½¬·±² ¬±
   Ý±-¬- ¬± Ë°¹®¿¼» ¬± þÙ®»»²þ ß´¬»®²¿¬·ª»-                                  ¬¸» ´±-¬ ±® ¼¿³¿¹»¼ Ý±ª»®»¼
                                                                             Ð®±°»®¬§ò
   ïò ×º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
      ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ±½½«®-                        ¾ò Û³°´±§ Ù®»»² ³»¬¸±¼­ ±® °®±½»­­»­
      ¬± Ý±ª»®»¼ Ð®±°»®¬§ ©» ©·´´ ¿´-± °¿§ º±® ¬¸»                       ±º ½±²-¬®«½¬·±²ô ¼·-°±-¿´ ±® ®»½§½´·²¹
      ®»¿-±²¿¾´» ¿¼¼·¬·±²¿´ ½±-¬- ¬¸¿¬ §±« ·²½«® ¬±æ                     ·²½´«¼·²¹ ª»²¬·´¿¬·±² ±® º´«-¸ ±«¬ ±º ¿·®
                                                                         -§-¬»³-ô ·² ¬¸» ½±«®-» ±º ¬¸» ®»°¿·® ¿²¼
       ¿ò Î»°¿·® ±® ®»°´¿½» ¬¸» ´±-¬ ±® ¼¿³¿¹»¼                          ®»°´¿½»³»²¬ ±º ¬¸» ´±-¬ ±® ¼¿³¿¹»¼
          Ý±ª»®»¼ Ð®±°»®¬§ «-·²¹ °®±¼«½¬- ±®                             Ý±ª»®»¼ Ð®±°»®¬§ô ·² ¿½½±®¼¿²½» ©·¬¸æ
          ³¿¬»®·¿´­ ¬¸¿¬ ¿®» Ù®»»² ¿´¬»®²¿¬·ª»­ ¬±
          ¬¸» ´±-¬ ±® ¼¿³¿¹»¼ Ý±ª»®»¼ Ð®±°»®¬§ô                          øï÷ Ì¸» ³·²·³«³ -¬¿²¼¿®¼- ±º ¿ •Ù®»»²
          ·² ¿½½±®¼¿²½» ©·¬¸æ                                                ß«¬¸±®·¬§     ·º  ¬¸»    þÍ½¸»¼«´»¼
                                                                             Ð®»³·-»-þ ©¸»®» ¬¸» ´±-- ±®
           øï÷ Ì¸» ³·²·³«³ -¬¿²¼¿®¼- ±º ¿ •Ù®»»²                             ¼¿³¿¹» ±½½«®®»¼ ©¿- ²±¬ þÙ®»»²þ
               ß«¬¸±®·¬§     ·º  ¬¸»    þÍ½¸»¼«´»¼                          ½»®¬·º·»¼ ¾§ ¿ þÙ®»»² ß«¬¸±®·¬§þ °®·±®
               Ð®»³·-»-þ ©¸»®» ¬¸» ´±-- ±®                                   ¬± ¬¸» ´±-- ±® ¼¿³¿¹»å ±®
               ¼¿³¿¹» ±½½«®®»¼ ©¿- ²±¬ þÙ®»»²þ
               ½»®¬·º·»¼ ¾§ ¿ þÙ®»»² ß«¬¸±®·¬§þ °®·±®                    øî÷ Ì¸» -¬¿²¼¿®¼- ±º ¿ þÙ®»»²
               ¬± ¬¸» ´±-- ±® ¼¿³¿¹»å ±®                                     ß«¬¸±®·¬§þ ½±²-·-¬»²¬ ©·¬¸ ¬¸» °®»ó
                                                                             ´±-- þÙ®»»²þ ½»®¬·º·½¿¬·±² ´»ª»´ô ·º ¬¸»
           øî÷ Ì¸» -¬¿²¼¿®¼- ±º ¿ þÙ®»»²                                     þÍ½¸»¼«´»¼ Ð®»³·-»-þ ©¸»®» ¬¸»
               ß«¬¸±®·¬§þ ½±²-·-¬»²¬ ©·¬¸ ¬¸» °®»ó                           ´±-- ±® ¼¿³¿¹» ±½½«®®»¼ ©¿-
               ´±-- þÙ®»»²þ ½»®¬·º·½¿¬·±² ´»ª»´ô ·º ¬¸»                      þÙ®»»²þ ½»®¬·º·»¼ °®·±® ¬± ¬¸» ´±-- ±®
               þÍ½¸»¼«´»¼ Ð®»³·-»-þ ©¸»®» ¬¸»                                ¼¿³¿¹»ò
               ´±-- ±® ¼¿³¿¹» ±½½«®®»¼ ©¿-
               þÙ®»»²þ ½»®¬·º·»¼ °®·±® ¬± ¬¸» ´±-- ±®                 ½ò Ø·®» ¿ ¼»-·¹² °®±º»--·±²¿´ø-÷ ¿½½®»¼·¬»¼
               ¼¿³¿¹»ô °®±ª·¼»¼ ¬¸¿¬ ¬¸» þÙ®»»²þ                         ¾§ ¿ Ù®»»² ß«¬¸±®·¬§ ¬± °¿®¬·½·°¿¬» ·²



Ú±®³ ÐÝ îð îí ðï ðç                                                                                  Ð¿¹» ï ±º í
                                               w îððçô Ì¸» Ø¿®¬º±®¼
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              ¬¸» ®»½±²-¬®«½¬·±²ô ®»°´¿½»³»²¬ ±® ®»°¿·®              ©» ©·´´ °¿§ ·² ¿²§ ±²» ±½½«®®»²½» ¿¬ ¬¸¿¬
              ±º ¬¸» Ý±ª»®»¼ Ð®±°»®¬§å                               þÍ½¸»¼«´»¼ Ð®»³·-»-þ º±® Ý±-¬- ¬±
       ¼ò Ø·®» ¿² »²¹·²»»®ø-÷ ¿½½®»¼·¬»¼ ¾§ ¿                        Ë°¹®¿¼» ¬± þÙ®»»²þ ß´¬»®²¿¬·ª»-ò
          Ù®»»² ß«¬¸±®·¬§ ¬± ­«°»®ª·­» ¬¸» ®»°¿·®              »ò Ì¸·- ·- ¿²       ¿¼¼·¬·±²¿´   ¿³±«²¬    ±º
          ±® ®»°´¿½»³»²¬ ±º ¬¸» Ý±ª»®»¼ Ð®±°»®¬§                    ·²-«®¿²½»ò
          ¬± ª»®·º§ ¬¸¿¬ ®»°´¿½»³»²¬ -§-¬»³- ¿²¼          Þò Ì¸·- -»½¬·±² Þò ¿°°´·»- ±²´§ ©¸»² ¿²§ ±º ¬¸»
          ³»½¸¿²·½¿´- ¸¿ª» ¾»»² ·²-¬¿´´»¼ ¿²¼                º±´´±©·²¹ ¿®» ¿¬¬¿½¸»¼ ¬± ¬¸·- °±´·½§æ
          ½±²º·¹«®»¼ ¬± °»®º±®³ ¬± ¾«·´¼·²¹ ¼»-·¹²
          ±® ³¿²«º¿½¬«®»®­ ­°»½·º·½¿¬·±²­å                  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÍÐÛÝ×ßÔ ÞËÍ×ÒÛÍÍ
                                                             ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
       »ò ß°°´§ ¬± ¿ þÙ®»»² ß«¬¸±®·¬§þ º±®
          ½»®¬·º·½¿¬·±² ±º    §±«®    þÍ½¸»¼«´»¼             ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ
          Ð®»³·-»-þ ·² ½±²²»½¬·±² ©·¬¸ ¬¸» ®»°¿·®            ÝÑÊÛÎßÙÛ ÚÑÎÓ
          ±® ®»°´¿½»³»²¬ ±º ¬¸» ´±-¬ ±® ¼¿³¿¹»¼              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÐÎÑÚÛÍÍ×ÑÒßÔ
          Ý±ª»®»¼ Ð®±°»®¬§ò                                  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
   îò Ý±-¬- ¬± Ë°¹®¿¼» ¬± þÙ®»»²þ ß´¬»®²¿¬·ª»-               Ì¸» º±´´±©·²¹ ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- ¿¼¼»¼æ
      ¿°°´·»- ±²´§ ·º ®»°´¿½»³»²¬ ½±-¬ ª¿´«¿¬·±²             Ù®»»² ß´¬»®²¿¬·ª»­  ×²½®»¿­»¼ Ð»®·±¼ ±º
      ¿°°´·»- ¬± ¬¸» ´±-¬ ±® ¼¿³¿¹»¼ Ý±ª»®»¼                 Î»-¬±®¿¬·±²
      Ð®±°»®¬§ ¿²¼ ¬¸»² ±²´§ ·º ¬¸» ´±-¬ ±®
                                                             ïò ×º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
      ¼¿³¿¹»¼ °®±°»®¬§ ·- ¿½¬«¿´´§ ®»°¿·®»¼ ±®
                                                                ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ±½½«®-
      ®»°´¿½»¼ ¿- -±±² ¿- ®»¿-±²¿¾´§ °±--·¾´»
                                                                ¬± ½±ª»®»¼ ¾«·´¼·²¹ °®±°»®¬§ ¿¬ ¿ þÍ½¸»¼«´»¼
      ¿º¬»® ¬¸» ´±-- ±® ¼¿³¿¹» ø²±¬ ¬± »¨½»»¼ ¬©±
                                                                Ð®»³·-»-þô Þ«-·²»-- ×²½±³» ½±ª»®¿¹» ·-
      §»¿®- º®±³ ¬¸» ¼¿¬» ±º ´±-- ±® ¼¿³¿¹»÷ò
                                                                ®»ª·-»¼ ¬± ·²½´«¼» ¬¸» ¿½¬«¿´ ´±-- ±º ·²½±³»
   íò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬±                §±« -«-¬¿·² ¼«®·²¹ ¬¸» ®»¿-±²¿¾´» ¿²¼
      ¿²§ »¨°»²-»- ·²½«®®»¼ ¬± »¨½»»¼ §±«® °®»ó                 ²»½»--¿®§ ·²½®»¿-» ·² ¬¸» °»®·±¼ ±º
      ´±-- ´»ª»´ ±º ½»®¬·º·½¿¬·±²ô ·º §±« ¸¿¼ ¿¬¬¿·²»¼          ®»-¬±®¿¬·±² ¬¸¿¬ ·- ¿½¬«¿´´§ ·²½«®®»¼ ¬±æ
      ½»®¬·º·½¿¬·±² ¾§ ¿ Ù®»»² ß«¬¸±®·¬§ º±® ¬¸»
                                                                 ¿ò Î»°¿·® ±® ®»°´¿½» ¬¸» ´±-¬ ±® ¼¿³¿¹»¼
      Ý±ª»®»¼ Ð®±°»®¬§ °®·±® ¬± ¬¸» Ý±ª»®»¼
                                                                    Ý±ª»®»¼ Ð®±°»®¬§ ¿- -¬¿¬»¼ ·² ßòïò¿ò
      Ý¿«-» ±º Ô±--ò
                                                                 ¾ò Û³°´±§ Ù®»»² ³»¬¸±¼­ ±® °®±½»­­»­
   ìò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ®»¯«·®»
                                                                    ±º ½±²-¬®«½¬·±²ô ¼·-°±-¿´ ±® ®»½§½´·²¹ ·²
      §±« ¬± °«®-«»ô ²±® ¹«¿®¿²¬»» -«½½»-- ±ºô
                                                                    ¬¸» ½±«®-» ±º ¬¸» ®»°¿·® ¿²¼ ®»°´¿½»³»²¬
      ½»®¬·º·½¿¬·±² ¾§ ¿ þÙ®»»² ß«¬¸±®·¬§þò
                                                                    ±º ¬¸» ´±-¬ ±® ¼¿³¿¹»¼ Ý±ª»®»¼ Ð®±°»®¬§
   ëò ¿ò Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§ ±²»                            ¿- -¬¿¬»¼ ·² ßòïò¾ò
         ±½½«®®»²½» º±® Ý±-¬- ¬± Ë°¹®¿¼» ¬±
                                                             îò Ì¸» ×²½®»¿-»¼ Ð»®·±¼ ±º Î»-¬±®¿¬·±²
         þÙ®»»²þ      ß´¬»®²¿¬·ª»-  «²¼»®     ¬¸·-
                                                                °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬ ·- -«¾¶»½¬ ¬± ¿
         »²¼±®-»³»²¬ ·- üïððôððð º±® ¿´´
                                                                ³¿¨·³«³ °»®·±¼ ±º «° ¬± íð ½±²-»½«¬·ª»
         þÍ½¸»¼«´»¼ Ð®»³·-»-þ «²´»-- ¿ ¼·ºº»®»²¬
                                                                ¼¿§- º®±³ ¬¸» ¼¿¬» ¬¸» °»®·±¼ ±º ®»-¬±®¿¬·±²
         ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©² ·² ¬¸» ¿¾±ª»
                                                                ©±«´¼ ¸¿ª» ±¬¸»®©·­» »²¼»¼ ¸¿¼ Ù®»»²
         Í½¸»¼«´»ò
                                                                ¿´¬»®²¿¬·ª»- ²±¬ ¾»»² «-»¼ò
       ¾ò ×º ¿ ¼·ºº»®»²¬ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©²
                                                             íò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» Ù®»»² ß´¬»®²¿¬·ª»-
          ·² ¬¸» ¿¾±ª» Í½¸»¼«´» ¬¸»² ¬¸¿¬ ¼·ºº»®»²¬
                                                                 ×²½®»¿­»¼ Ð»®·±¼ ±º Î»­¬±®¿¬·±² ·­
          ´·³·¬ ±º ·²-«®¿²½» ·- ¬¸» ³±-¬ ©» ©·´´ °¿§
                                                                ·²½´«¼»¼ ·²ô ¿²¼ ¼±»- ²±¬ ·²½®»¿-» ¬¸»
          ·² ¿²§ ±²» ±½½«®®»²½» º±® ¿´´ þÍ½¸»¼«´»¼
                                                                ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½» ·² ¬¸» ¿¾±ª»
          Ð®»³·-»-þ º±® Ý±-¬- ¬± Ë°¹®¿¼» ¬±
                                                                ®»º»®»²½»¼ Ý±ª»®¿¹» Ú±®³-ò
          þÙ®»»²þ ß´¬»®²¿¬·ª»-ò
                                                             ìò Ì¸» ¬»®³ Ð»®·±¼ ±º Î»-¬±®¿¬·±² ¿- º±«²¼ ·²
       ½ò Ì¸» ´·³·¬ º±® Ý±-¬- ¬± Ë°¹®¿¼» ¬±
                                                                ¬¸» ¿¾±ª» ®»º»®»²½»¼ Ý±ª»®¿¹» Ú±®³- ¿²¼
          þÙ®»»²þ ß´¬»®²¿¬·ª»- ¿°°´·»- ·² ¿²§ ±²»
                                                                ¿- «-»¼ ·² ¬¸·- »²¼±®-»³»²¬ ¼±»- ²±¬
          ±½½«®®»²½»ô ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±º
                                                                ·²½´«¼» ¿²§ ·²½®»¿-»¼ Ð»®·±¼ ±º Î»-¬±®¿¬·±²
          þÍ½¸»¼«´»¼ Ð®»³·-»-þ ±® ¾«·´¼·²¹-
                                                                ¼«» ¬±æ
          ¼¿³¿¹»¼ ·² ¬¸¿¬ ±½½«®®»²½»ò
                                                                 ¿ò Î»ª·»© ¿²¼ñ±® ¿°°®±ª¿´ ¾§ ¿ þÙ®»»²
       ¼ò ×º ¿ Ù®»»² Ý¸±·½» ó Ô·³·¬ ±º ×²-«®¿²½» ·-
                                                                    ß«¬¸±®·¬§þ ®»¹¿®¼·²¹ §±«® ¿°°´·½¿¬·±² º±®
          -¸±©² ¿- ¿°°´§·²¹ ¬± ¿ þÍ½¸»¼«´»¼
                                                                    ½»®¬·º·½¿¬·±²     ±º §±«®    þ-½¸»¼«´»¼
          Ð®»³·-»-þ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
                                                                    Ð®»³·-»-þô -¸±«´¼ §±« »´»½¬ ¬± °«®-«»
          Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô
                                                                    ½»®¬·º·½¿¬·±²å ±®
          ¬¸»² ¬¸¿¬ ´·³·¬ ±º ·²-«®¿²½» ·- ¬¸» ³±-¬

Ð¿¹» î ±º í                                                                           Ú±®³ ÐÝ îð îí ðï ðç
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       ¾ò Ý±²¼«½¬·²¹ ¬»-¬ ¿²¼ ¾¿´¿²½» ¿²¿´§-·- ±º    Üò ßÜÜ×Ì×ÑÒßÔ ÜÛÚ×Ò×Ì×ÑÒÍ
          ¬¸»    ¸»¿¬·²¹ô    ª»²¬·´¿¬·±²  ±®   ¿·®      ß- «-»¼ ·² ¬¸·- »²¼±®-»³»²¬æ
          ½±²¼·¬·±²·²¹ -§-¬»³- ¬± ½±²º·®³ ¬¸¿¬
          ¬¸»§ ¸¿ª» ¾»»² ·²-¬¿´´»¼ °®±°»®´§ ¿²¼         ïò þÙ®»»²    ³»¿²­     °®±¼«½¬­ô   ³¿¬»®·¿´­ô
          ³»»¬     ³¿²«º¿½¬«®»®­     ¿²¼  ¼»­·¹²          ³»¬¸±¼- ¿²¼ °®±½»--»- ¬¸¿¬ ½±²-»®ª»
          °®±º»­­·±²¿´­ ­¬¿²¼¿®¼­ò                        ²¿¬«®¿´ ®»-±«®½»-ô ®»¼«½» »²»®¹§ ±® ©¿¬»®
                                                           ½±²-«³°¬·±²ô ¿ª±·¼ ¬±¨·½ ±® ±¬¸»® °±´´«¬·²¹
Ýò ßÜÜ×Ì×ÑÒßÔ ÛÈÝÔËÍ×ÑÒÍ                                   »³·--·±²- ±® ±¬¸»®©·-» ³·²·³·¦» ¬¸»·®
   ïò Ý±ª»®¿¹» °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬                ·³°¿½¬ ±² ¬¸» »²ª·®±²³»²¬ò
      ¼±»- ²±¬ ¿°°´§ ¬± ¿²§ þÍ½¸»¼«´»¼ Ð®»³·-»-þ        îò þÙ®»»² ß«¬¸±®·¬§ ³»¿²­ ¬¸» Ë²·¬»¼ Í¬¿¬»­
      ©¸»®»æ                                               Ù®»»² Þ«·´¼·²¹ Ý±«²½·´ øÔÛÛÜr Ù®»»²
       ¿ò Î»°´¿½»³»²¬ Ý±-¬ ª¿´«¿¬·±² ¼±»- ²±¬              Þ«·´¼·²¹ Î¿¬·²¹ Í§-¬»³÷å ¬¸» Ù®»»² Þ«·´¼·²¹
          ¿°°´§å                                           ×²·¬·¿¬·ª» øÙ®»»² Ù´±¾»­ ß­­»­­³»²¬
       ¾ò Ñ®¼·²¿²½» ±® Ô¿© ß¼¼·¬·±²¿´ Ý±ª»®¿¹»             ß²¼ Î¿¬·²¹ Í§-¬»³÷å ±® ¬¸» Û²ª·®±²³»²¬¿´
          ¼±»- ²±¬ ¿°°´§å ±®                               Ð®±¬»½¬·±² ß¹»²½§ ¿²¼ ¬¸» Ü»°¿®¬³»²¬ ±º
                                                           Û²»®¹§ øÛ²»®¹§Í¬¿®r ®»¯«·®»³»²¬-÷ò
       ½ò Þ«·´¼·²¹ø-÷ ¿®» ª¿½¿²¬ò
   îò Ì¸·- »²¼±®-»³»²¬ ¼±»- ²±¬ ¿°°´§ ¬± þ-¬±½µþò
   íò Ý±ª»®¿¹» °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬
      ¼±»- ²±¬ ·²½´«¼» ¿²§ ·²½®»¿-» ·² ½±-¬-ô ´±--
      ±® ¼¿³¿¹» ¿¬¬®·¾«¬¿¾´» ¬± ¿²§ þÙ®»»²þ
      -¬¿²¼¿®¼- º±® ©¸·½¸ §±« ©»®» «²¼»® ±®¼»® ±®
      ³¿²¼¿¬» º®±³ ¿² »¨·-¬·²¹ ¿«¬¸±®·¬§ô ¾«¬ §±«
      ¼·¼ ²±¬ ½±³°´§ ©·¬¸ô ¾»º±®» ¬¸» ´±-- ±®
      ¼¿³¿¹»ò




Ú±®³ ÐÝ îð îí ðï ðç                                                                      Ð¿¹» í ±º í
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ÐÑÔ×ÝÇ ÒËÓÞÛÎæ                                                                   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                 ÚÔÑÎ×Üß ÝØßÒÙÛÍ ó ÙÎÛÛÒ ÝØÑ×ÝÛ ó
                 ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ ó ÛÈÝÔËÜÛÜ

Ì¸·- Û²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

ÙÎÛÛÒ ÝØÑ×ÝÛ  ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ


ßò Ù®»»² Ý¸±·½»  ß¼¼·¬·±²¿´ Ý±ª»®¿¹»­ »²¼±®­»³»²¬ ¼±»­ ²±¬ ¿°°´§ ¬± Ð®»³·­»­ ­·¬«¿¬»¼ ·² ¬¸» ­¬¿¬» ±º
   Ú´±®·¼¿ò




      Case
Ú±®³ ÐÓ     3:24-cv-00490-FDW-SCR
        îð ëî ðî ïï                            Document 1-4 Filed 05/21/24 Page 99 ofÐ¿¹»
                                                                                      579 ï ±º ï
                                                                                          ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                        ÒÛÉ ÇÑÎÕ ÝØßÒÙÛÍ ó ÚËÒÙËÍô
                           ÉÛÌ ÎÑÌ ßÒÜ ÜÎÇ ÎÑÌ

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò ×² ¬¸» Ð®±°»®¬§ Ý¸±·½»  Ý±ª»®»¼ Ý¿«­»­ ±º Ô±­­        Ýò Ð¿®¿¹®¿°¸ ßò ïîò ±º Ñ®¼·²¿²½» Ñ® Ô¿© 
   ¿²¼ Û¨½´«-·±² Ú±®³ ¿²¼ Ó±®¬¹¿¹»¸±´¼»®- Û®®±®-             ×²½®»¿-»¼ Ð»®·±¼ Ñº Î»-¬±®¿¬·±² º±«²¼ ·² ¬¸»
   ß²¼ Ñ³·--·±²- Ý±ª»®¿¹» Ú±®³ô ¬¸» »¨½´«-·±²                Ð®±°»®¬§ Ý¸±·½» Þ«-·²»-- ×²½±³» ±® Û¨¬®¿
   ¬·¬´»¼ þÚ«²¹«-þô É»¬ Î±¬ô Ü®§ Î±¬ô Þ¿½¬»®·¿ ¿²¼           Û¨°»²­»  ß¼¼·¬·±²¿´ Ý±ª»®¿¹»­ º±®³­ ·­ ®»°´¿½»¼
   Ê·®«­ ¿²¼ ¬¸» ß¼¼·¬·±²¿´ Ý±ª»®¿¹»  Ô·³·¬»¼               ¾§ ¬¸» º±´´±©·²¹æ
   Ý±ª»®¿¹» Ú±® þÚ«²¹«-þô É»¬ Î±¬ô Ü®§ Î±¬ ß²¼               ×º ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ±½½«®- ¬± °®±°»®¬§ ¿¬
   Þ¿½¬»®·¿ Ú±«²¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»                    ¬¸» þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¼»-½®·¾»¼ ·² ¬¸»
   Í°»½·¿´·¦»¼ Ð®±°»®¬§ ×²-«®¿²½» Ý±ª»®¿¹»- º±®³-            Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
   ·- ¼»´»¬»¼ò Ë²¼»® ¬¸»-» º±®³-ô ¬¸» º±´´±©·²¹              Ý±ª»®¿¹» ·- »¨¬»²¼»¼ ¬± ·²½´«¼» ¬¸» ¿³±«²¬ ±º
   »¨½´«-·±² ·- ¿¼¼»¼æ                                       ¿½¬«¿´ ¿²¼ ²»½»--¿®§ ´±-- §±« -«-¬¿·² ¼«®·²¹ ¬¸»
   É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§ ±®           ·²½®»¿-»¼ °»®·±¼ ±º -«-°»²-·±² ±º ±°»®¿¬·±²-
   ®»-«´¬·²¹ º®±³ þº«²¹«-þô ©»¬ ®±¬ ±® ¼®§ ®±¬ò              ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿ ®»¯«·®»³»²¬ ¬±
   Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ©¸»²               ½±³°´§ ©·¬¸ ¿²§ ±®¼·²¿²½» ±® ´¿© ¬¸¿¬æ
   þº«²¹«-þô ©»¬ ®±¬ ±® ¼®§ ®±¬ ®»-«´¬- º®±³ ¿ Ý±ª»®»¼       ïò Î»¹«´¿¬»- ¬¸» ½±²-¬®«½¬·±² ±® ®»°¿·® ±º ¿²§
   Ý¿«-» ±º Ô±--ò                                                °®±°»®¬§å
Þò Ð¿®¿¹®¿°¸ ½ò Ñ®¼·²¿²½» ±® Ô¿© Û¨½´«-·±²-ô ·¬»³-           îò Î»¯«·®»- ¬¸» ¬»¿®·²¹ ¼±©² ±º °¿®¬- ±º ¿²§
   øï÷ ¿²¼ øî÷ ±º Ñ®¼·²¿²½» Ñ® Ô¿© Ý±ª»®¿¹» º±«²¼                °®±°»®¬§ ²±¬ ¼¿³¿¹»¼ ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º
   ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»  Í°»½·¿´·¦»¼ Ð®±°»®¬§                 Ô±--å ¿²¼
   ×²-«®¿²½» Ý±ª»®¿¹»- º±®³- ·- ®»°´¿½»¼ ¾§ ¬¸»
   º±´´±©·²¹æ                                                íò ×- ·² º±®½» ¿¬ ¬¸» ¬·³» ±º ´±--ò
   É» ©·´´ ²±¬ °¿§ º±®æ                                      Ø±©»ª»®ô ½±ª»®¿¹» ·- ²±¬ »¨¬»²¼»¼ «²¼»® ¬¸·-
                                                             »²¼±®-»³»²¬ ¬± ·²½´«¼» ´±-- ½¿«-»¼ ¾§ ±®
   ïò Û²º±®½»³»²¬ ±º ±® ½±³°´·¿²½» ©·¬¸ ¿²§                  ®»-«´¬·²¹ º®±³ ¬¸» »²º±®½»³»²¬ ±º ±® ½±³°´·¿²½»
       ±®¼·²¿²½» ±® ´¿© ©¸·½¸ ®»¯«·®»- ¬¸»                   ©·¬¸ ¿²§ ±®¼·²¿²½» ±® ´¿© ©¸·½¸ ®»¯«·®»-æ
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       ®»½±²-¬®«½¬·±²ô ®»³±¼»´·²¹ ±® ®»³»¼·¿¬·±² ±º          ïò Ì¸»       ¼»³±´·¬·±²ô      ®»°¿·®ô  ®»°´¿½»³»²¬ô
       °®±°»®¬§ ¼«» ¬± ½±²¬¿³·²¿¬·±² ¾§ þ°±´´«¬¿²¬-þå            ®»½±²-¬®«½¬·±²ô ®»³±¼»´·²¹ ±® ®»³»¼·¿¬·±² ±º
       ±®                                                        °®±°»®¬§ ¼«» ¬± ½±²¬¿³·²¿¬·±² ¾§ þ°±´´«¬¿²¬-þå
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   îò Ì¸» ½±-¬- ¿--±½·¿¬»¼ ©·¬¸ ¬¸» »²º±®½»³»²¬ ±º
      ±® ½±³°´·¿²½» ©·¬¸ ¿²§ ±®¼·²¿²½» ±® ´¿© ©¸·½¸          îò ß²§ ·²-«®»¼ ±® ±¬¸»®- ¬± ¬»-¬ º±®ô ³±²·¬±®ô ½´»¿²
      ®»¯«·®»- ¿²§ ·²-«®»¼ ±® ±¬¸»®- ¬± ¬»-¬ º±®ô                «°ô ®»³±ª»ô ½±²¬¿·²ô ¬®»¿¬ô ¼»¬±¨·º§ ±®
      ³±²·¬±®ô ½´»¿² «°ô ®»³±ª»ô ½±²¬¿·²ô ¬®»¿¬ô                 ²»«¬®¿´·¦»ô ±® ·² ¿²§ ©¿§ ®»-°±²¼ ¬±ô ±® ¿--»--
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                                                                                       °»®³·--·±²ò÷
                                                                                           ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                      ÒÛÉ ÇÑÎÕ ó ÛÈÝÔËÍ×ÑÒ ÑÚ ÔÑÍÍ
                        ÜËÛ ÌÑ Ê×ÎËÍ ÑÎ ÞßÝÌÛÎ×ß

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò Ì¸» »¨½´«-·±² -»¬ º±®¬¸ ·² Ð¿®¿¹®¿°¸ Þò ¿°°´·»- ¬±       Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ´±-- ±®
   ¿´´ ½±ª»®¿¹» «²¼»® ¿´´ º±®³- ¿²¼ »²¼±®-»³»²¬-            ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ þº«²¹«-þô ©»¬
   ¬¸¿¬ ½±³°®·-» ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ·²½´«¼·²¹ ¾«¬ ²±¬      ®±¬ ±® ¼®§ ®±¬ò Í«½¸ ´±-- ±® ¼¿³¿¹» ·- ¿¼¼®»--»¼ ·²
   ´·³·¬»¼ ¬± º±®³- ±® »²¼±®-»³»²¬- ¬¸¿¬ ½±ª»®              ¿ -»°¿®¿¬» »¨½´«-·±² ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
   °®±°»®¬§ ¼¿³¿¹» ¬± ¾«·´¼·²¹- ±® °»®-±²¿´ °®±°»®¬§     Ýò Ì¸» ¬»®³- ±º ¬¸» »¨½´«-·±² ·² Ð¿®¿¹®¿°¸ Þòô ±® ¬¸»
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   ·²½±³»ô »¨¬®¿ »¨°»²-» ±® ¿½¬·±² ±º ½·ª·´ ¿«¬¸±®·¬§ò      ¼± ²±¬ -»®ª» ¬± ½®»¿¬» ½±ª»®¿¹» º±® ¿²§ ´±-- ¬¸¿¬
Þò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§ ±®          ©±«´¼ ±¬¸»®©·-» ¾» »¨½´«¼»¼ «²¼»® ¬¸·- Ý±ª»®¿¹»
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   ³·½®±±®¹¿²·-³ ¬¸¿¬ ·²¼«½»- ±® ·- ½¿°¿¾´» ±º
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     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                      ÐÎÑÐÛÎÌÇ ÛÈÝÔËÜÛÜñ×ÒÝÔËÜÛÜ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ


                                                ÍÝØÛÜËÔÛ

Ì¸» º±´´±©·²¹ ·¬»³- ±º ¼»-½®·¾»¼ °®±°»®¬§ ¿®» ¿¼¼»¼ ¿- Ð®±°»®¬§ Ò±¬ Ý±ª»®»¼ô ±® ß¼¼»¼ ¿- Ý±ª»®»¼ Ð®±°»®¬§
¿­ ·²¼·½¿¬»¼ ¾§ ¿²  È ·² ¬¸» ¿°°´·½¿¾´» ½±´«³²ò
ö ×¬»³- ¿¼¼»¼ ¿- Ý±ª»®»¼ Ð®±°»®¬§ ¿®» ©·¬¸¼®¿©² º®±³ ÐÎÑÐÛÎÌÇ ÒÑÌ ÝÑÊÛÎÛÜò

þÍ½¸»¼«´»¼            Ü»-½®·°¬·±² ±º Ð®±°»®¬§             Ô·³·¬ ±º ×²-«®¿²½»       ß¼¼»¼ ¿-      öß¼¼»¼ ¿-
Ð®»³·-»-þ                                                                          Ð®±°»®¬§      Ý±ª»®»¼
Ò±ò                                                                                Ò±¬           Ð®±°»®¬§
                                                                                   Ý±ª»®»¼

ððì ó ðîí       ÎÑÑÚñÞßÔÝÑÒ×ÛÍ ÚÔ ÝÑÒÜÑÍ                                               È




Ú±®³ ÐÝ îð ðç ðï ïí                                                                               Ð¿¹» ï ±º ï
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                                   îðïíô Ì¸» Ø¿®¬º±®¼
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     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ ó
               ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ ó
           ÍÝØÛÜËÔÛÜ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ
Ì¸·- Û²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÍÐÛÝ×ßÔ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÐÎÑÚÛÍÍ×ÑÒßÔ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÎÛÒÌßÔ ×ÒÝÑÓÛ ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÛÈÌÎß ÛÈÐÛÒÍÛ ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ


                                                 Í½¸»¼«´»

þÍ½¸»¼«´»¼        ß¼¼®»-- ±º Ü»°»²¼»²¬ Ð®±°»®¬§              Ô·³·¬ ±º   É¿·¬·²¹      Ì¸» Ú±´´±©·²¹
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Ò±ò                                                                                      ß°°´§æ

                          ÍÛÛ ÚÑÔÔÑÉ×ÒÙ ÐßÙÛ ÚÑÎ ÍÝØÛÜËÔÛ ×ÒÚÑÎÓßÌ×ÑÒ




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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ 
ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ  ÍÝØÛÜËÔÛÜ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ øÝ±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




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                                                                                              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ
Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»
©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·²
¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± -»½¬·±² Ýò ÜÛÚ×Ò×Ì×ÑÒÍò
Ì¸» º±´´±©·²¹ ½±²¼·¬·±²- ¿°°´§ ¬± ¿´´ ½±ª»®¿¹»- ¬¸¿¬ ¿®» ¿ °¿®¬ ±º ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±ª»®¿¹» Ð¿®¬ ±® Ð®±°»®¬§
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ßò ÙÛÒÛÎßÔ ÝÑÒÜ×Ì×ÑÒÍ                                                    øï÷ É» ¸¿ª» ®»¿½¸»¼ ¿¹®»»³»²¬ ©·¬¸ §±«
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        «³°·®»ò ×º ¬¸»§ ½¿²²±¬ ¿¹®»»ô »·¬¸»® ³¿§                     ¼ò ß ½´¿·³ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
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        ¾ò Þ»¿® ¬¸» ±¬¸»® »¨°»²-»- ±º ¬¸» ¿°°®¿·-¿´                  ¿ºº»½¬ ½±ª»®¿¹» ¿¬ ¿²§ °®»³·-»- ©¸»®»ô ¿¬ ¬¸»
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        ×º ¬¸»®» ·- ¿² ¿°°®¿·-¿´ô ©» ©·´´ -¬·´´ ®»¬¿·² ±«®
        ®·¹¸¬ ¬± ¼»²§ ¬¸» ½´¿·³ ±² ¬¸» ¹®±«²¼- ¬¸¿¬ ·¬ ·-        éò Ý±ª»®¿¹» Ì»®®·¬±®§
        ²±¬ ½±ª»®»¼ «²¼»® ¬¸·- °±´·½§ò                               Ì¸» ½±ª»®¿¹» ¬»®®·¬±®§ ·- ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º
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                                                                     °±--»--·±²-÷ô Ð«»®¬± Î·½±ô ¿²¼ Ý¿²¿¼¿ò
        ¿ò É» ©·´´ ¹·ª» ²±¬·½» ±º ±«® ·²¬»²¬·±²- ©·¬¸·²
           íð ¼¿§- ¿º¬»® ©» ®»½»·ª» ¬¸» -©±®² °®±±º                  Û¨½»°¬·±²- º±® ¬¸» º±´´±©·²¹ ß¼¼·¬·±²¿´
           ±º ´±--ò                                                  Ý±ª»®¿¹»-æ
        ¾ò É» ©·´´ °¿§ º±® ½±ª»®»¼ ´±-- ±® ¼¿³¿¹»                    ¿ò Þ«-·²»-- Ì®¿ª»´
           ©·¬¸·² íð ¼¿§- ¿º¬»® ©» ®»½»·ª» §±«® -©±®²                    Ú±® ¬¸» Þ«-·²»-- Ì®¿ª»´ ß¼¼·¬·±²¿´
           °®±±º ±º ´±--ô ·º §±« ¸¿ª» ½±³°´·»¼ ©·¬¸ ¿´´                  Ý±ª»®¿¹»ô ¬¸» Ý±ª»®¿¹» Ì»®®·¬±®§ ·-
           ±º ¬¸» ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬å ¿²¼æ                      ¿²§©¸»®» ·² ¬¸» ©±®´¼ò



Ú±®³ ÐÝ ðð çð ðï ïç                                                                                 Ð¿¹» ï ±º é
                                            w îðïçô Ì¸» Ø¿®¬º±®¼
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            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º Document    1-4 Filed
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                                                                         ×²½ò ©·¬¸ ·¬- Page  105 of 579
                                                                                       °»®³·--·±²ò÷
     ¾ò Û¨¸·¾·¬·±²-                                       ïîò Ô·¾»®¿´·¦¿¬·±²
         Ú±® ¬¸» Û¨¸·¾·¬·±² ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ô             ×º ©» ¿¼±°¬ ¿²§ ®»ª·-·±² ¬¸¿¬ ©±«´¼ ¾®±¿¼»² ¬¸·-
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         ©±®´¼ò                                              ©·¬¸·² ìë ¼¿§- °®·±® ¬± ·²½»°¬·±² ±º ¬¸·- °±´·½§ ±®
     ½ò Ì®¿²-·¬                                              ¼«®·²¹ ¬¸·- °±´·½§ °»®·±¼ô ¬¸» ¾®±¿¼»²»¼
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         Ú±® ¬¸» Ì®¿²-·¬ ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ô ¬¸»
         Ý±ª»®¿¹» Ì»®®·¬±®§ ·- ©·¬¸·² ±® ¾»¬©»»²          ïíò Ô±-- Ð¿§»»
         ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿ô ø·²½´«¼·²¹            ¿ò Ú±® Ý±ª»®»¼ Ð®±°»®¬§ ·² ©¸·½¸ ¾±¬¸ §±«
         ·¬- ¬»®®·¬±®·»- ¿²¼ °±--»--·±²-÷ô Ð«»®¬±               ¿²¼ ¬¸» Ô±-- Ð¿§»» ¿- -¬¿¬»¼ ·² ¬¸»
         Î·½± ¿²¼ Ý¿²¿¼¿å ¸±©»ª»®ô ©¿¬»®¾±®²»                   Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»-
         -¸·°³»²¬- ¿®» ½±ª»®»¼ ±²´§ ·º ±² ·²´¿²¼                ¿²¼ Ý±ª»®¿¹»- ±® ¾§ »²¼±®-»³»²¬ ¸¿ª»
         ©¿¬»®©¿§- ±® ·² ¬»®®·¬±®·¿´ ©¿¬»®-ô ©·¬¸·² ïî          ¿² ·²-«®¿¾´» ·²¬»®»-¬ô ©» ©·´´æ
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     «-ò ×º ©» -«-°»²¼ §±«® ·²-«®¿²½»ô §±« ©·´´ ¹»¬
                                                                     ©·´´ ¹·ª» ©®·¬¬»² ²±¬·½» ¬± ¬¸» ´±--
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  ïïò Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-                                        ½±²¬®¿½¬ º±® ¼»»¼ô ¾·´´- ±º ´¿¼·²¹ô
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                                                                     ¿¹®»»³»²¬-ò
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Ð¿¹» î Case
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           øï÷ Ð¿§- ¿²§ °®»³·«³ ¼«» «²¼»® ¬¸·-                 ¿ò Ý±²¬®¿½¬ ±º Í¿´» Ô±-- Ð¿§¿¾´» Ý´¿«-» ×º
               Ý±ª»®¿¹» Ð¿®¬ ¿¬ ±«® ®»¯«»-¬ ·º §±«                ¬¸» Ô±-- Ð¿§»» -¸±©² ·² ¬¸» Ð®±°»®¬§
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           ¬¸»² ¿°°´§ ¼·®»½¬´§ ¬± ¬¸» ³±®¬¹¿¹»¸±´¼»®                   ø¾÷ Ð¿§ ¿²§ ½´¿·³ º±® ´±-- ±® ¼¿³¿¹»
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      ¼ò ×º ©» °¿§ ¬¸» ³±®¬¹¿¹»¸±´¼»® ±® ´»²¼»® º±®                        ¿- ·²¬»®»-¬- ³¿§ ¿°°»¿®ò
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               ¬¸» »¨¬»²¬ ±º ¬¸» ¿³±«²¬ ©» °¿§å ¿²¼               ×º ¬¸» Ô±-- Ð¿§»» -¸±©² ·² ¬¸» Í½¸»¼«´»
           øî÷ Ì¸» ³±®¬¹¿¹»¸±´¼»®ù- ±® ´»²¼»®ù- ®·¹¸¬             ±® ·² ¬¸» Ü»½´¿®¿¬·±²- ·- ¬¸» ±©²»® ±º ¬¸»
               ¬± ®»½±ª»® ¬¸» º«´´ ¿³±«²¬ ±º ¬¸»·®                ¼»-½®·¾»¼ ¾«·´¼·²¹ô ·² ©¸·½¸ §±« ¿®» ¿
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           ß¬ ±«® ±°¬·±²ô ©» ³¿§ °¿§ ¬± ¬¸»                        øï÷ É» ©·´´ ¿¼¶«-¬ ´±--»- ¬± ¬¸» ¼»-½®·¾»¼
           ³±®¬¹¿¹»¸±´¼»® ±® ´»²¼»® ¬¸» ©¸±´»                          ¾«·´¼·²¹ ©·¬¸ ¬¸» Ô±-- Ð¿§»»ò ß²§ ´±--
           °®·²½·°¿´ ±² ¬¸» ³±®¬¹¿¹» ±® ¼»¾¬ °´«- ¿²§                  °¿§³»²¬ ³¿¼» ¬± ¬¸» Ô±-- Ð¿§»» ©·´´
           ¿½½®«»¼ ·²¬»®»-¬ò ×² ¬¸·- »ª»²¬æ                            -¿¬·-º§ §±«® ½´¿·³- ¿¹¿·²-¬ «- º±® ¬¸»
           ·ò   Ú±® ³±®¬¹¿¹»¸±´¼»® ®»´¿¬·±²-¸·°-ô                      ±©²»®ù- °®±°»®¬§ò
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      »ò ×º ©» ½¿²½»´ ¬¸·- °±´·½§ô ©» ©·´´ ¹·ª» ©®·¬¬»²        Ò± °»®-±² ±® ±®¹¿²·¦¿¬·±²ô ±¬¸»® ¬¸¿² §±«ô
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         ´»¿-¬æ                                                ¾»²»º·¬ º®±³ ¬¸·- ·²-«®¿²½»ò
           øï÷ ïð ¼¿§- ¾»º±®» ¬¸» »ºº»½¬·ª» ¼¿¬» ±º         ïéò Ñ¬¸»® ×²-«®¿²½»
               ½¿²½»´´¿¬·±² ·º ©» ½¿²½»´ º±® §±«®              ¿ò Ç±« ³¿§ ¸¿ª» ±¬¸»® ·²-«®¿²½» -«¾¶»½¬ ¬±
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               ½¿²½»´´¿¬·±² ·º ©» ½¿²½»´ º±® ¿²§ ±¬¸»®            Ý±ª»®¿¹» Ð¿®¬ò ×º §±« ¼±ô ©» ©·´´ °¿§ ±«®
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           ¹·ª» ©®·¬¬»² ²±¬·½» ¬± ¬¸» ³±®¬¹¿¹»¸±´¼»® ±®           Ô·³·¬ ±º ×²-«®¿²½» «²¼»® ¬¸·- Ý±ª»®¿¹»
           ´»²¼»® ¿¬ ´»¿-¬ ïð ¼¿§- ¾»º±®» ¬¸»                     Ð¿®¬ ¾»¿®- ¬± ¬¸» Ô·³·¬- ±º ×²-«®¿²½» ±º ¿´´
           »¨°·®¿¬·±² ¼¿¬» ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò                 ·²-«®¿²½» ½±ª»®·²¹ ±² ¬¸» -¿³» ¾¿-·-ò
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       Ð¿§¿¾´» Ý´¿«-»-                                            -¿³» ´±-- ±® ¼¿³¿¹»ô ±¬¸»® ¬¸¿² ¬¸¿¬
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      ·²¬»®»-¬ ·² ½±ª»®»¼ ´±-- ±® ¼¿³¿¹»ô ¿- -¬¿¬»¼               ·² »¨½»-- ±º ¬¸» ¿³±«²¬ ¼«» º®±³ ¬¸¿¬
      ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»-               ±¬¸»® ·²-«®¿²½»ô ©¸»¬¸»® §±« ½¿² ½±´´»½¬
      ¿²¼ Ý±ª»®¿¹»- ±® ¾§ »²¼±®-»³»²¬ ·² ¬¸»                      ±² ·¬ ±® ²±¬ò Þ«¬ ©» ©·´´ ²±¬ °¿§ ³±®» ¬¸¿²
      ±®¼»® ±º ¬¸»·® °®»½»¼»²½»ô ¿- ¬¸»·® ·²¬»®»-¬                ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò
      ³¿§ ¿°°»¿®æ


      Case
Ú±®³ ÐÝ ðð çð3:24-cv-00490-FDW-SCR
              ðï ïç                             Document 1-4 Filed 05/21/24 Page 107 of 579
                                                                                        Ð¿¹» í ±º é
  ïèò Ð±´·½§ Ð»®·±¼                                             ¼¿³¿¹»- º®±³ ¿²§ ½¿®®·»® º±® ¸·®»ô ¾¿·´»»
     ×² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©» ±²´§ ½±ª»® ¼·®»½¬                ±® ¬¸·®¼ °¿®¬§ò
     °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ©¸·½¸              Ø±©»ª»®ô §±« ³¿§ ¿½½»°¬ ¾·´´- ±º ´¿¼·²¹ô
     ±½½«®- ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ -¬¿¬»¼ ·² ¬¸»              ®»½»·°¬- ±® ½±²¬®¿½¬- ±º ¬®¿²-°±®¬¿¬·±²
     Ü»½´¿®¿¬·±²-ò                                              º®±³ ½¿®®·»®- º±® ¸·®»ô ©¸·½¸ ½±²¬¿·² ¿
  ïçò Î»½±ª»®»¼ Ð®±°»®¬§                                        ´·³·¬¿¬·±² ±º ª¿´«»ò
     ×º »·¬¸»® §±« ±® ©» ®»½±ª»® ¿²§ °®±°»®¬§ ¿º¬»®       îîò Ê¿½¿²½§
     ´±-- -»¬¬´»³»²¬ô ¬¸¿¬ °¿®¬§ ³«-¬ ¹·ª» ¬¸» ±¬¸»®         ¿ò Ü»-½®·°¬·±² ±º Ì»®³-
     °®±³°¬ ²±¬·½»ò ß¬ §±«® ±°¬·±²ô ¬¸» °®±°»®¬§ ©·´´           ß- «-»¼ ·² ¬¸·- Ù»²»®¿´ Ý±²¼·¬·±²ô ¬¸»
     ¾» ®»¬«®²»¼ ¬± §±«ò Ç±« ³«-¬ ¬¸»² ®»¬«®² ¬±                ¬»®³- ¾«·´¼·²¹ ¿²¼ ª¿½¿²¬ ¸¿ª» ¬¸»
     «- ¬¸» ¿³±«²¬ ©» °¿·¼ ¬± §±« º±® ¬¸» °®±°»®¬§ò             ³»¿²·²¹- -»¬ º±®¬¸ ·² øï÷ô øî÷ ¿²¼ øí÷
     É» ©·´´ °¿§ ®»½±ª»®§ »¨°»²-»- ¿²¼ ¬¸»                      ¾»´±©æ
     »¨°»²-»- ¬± ®»°¿·® ¬¸» ®»½±ª»®»¼ °®±°»®¬§ô
     -«¾¶»½¬ ¬± ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò              øï÷ É¸»² ¬¸·- °±´·½§ ·- ·--«»¼ ¬± ¿ ¬»²¿²¬ô
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     Ç±« ©·´´ °¿§ «- ¬¸» ¿³±«²¬ ±º ¿´´ ®»½±ª»®·»- ±º                ·²¬»®»-¬ ·² Ý±ª»®»¼ Ð®±°»®¬§ô ¾«·´¼·²¹
     ß½½±«²¬- Î»½»·ª¿¾´» §±« ®»½»·ª» º±® ¿ ´±--                     ³»¿²- ¬¸» »²¬·®» ¾«·´¼·²¹ô «²·¬ ±® -«·¬»
     °¿·¼ ¾§ «-ò Þ«¬ ¿²§ ®»½±ª»®·»- ·² »¨½»-- ±º                    ®»²¬»¼ ±® ´»¿-»¼ ¬± ¬¸» ¬»²¿²¬ò Í«½¸
     ¬¸» ¿³±«²¬ ©» ¸¿ª» °¿·¼ ¾»´±²¹ ¬± §±«ò                         ¾«·´¼·²¹ ·- ª¿½¿²¬ ©¸»² ·¬ ¼±»- ²±¬
  îðò Í¬¿²¼¿®¼ Ú·®» Ð±´·½§                                          ½±²¬¿·² »²±«¹¸ ¾«-·²»-- °»®-±²¿´
     ×º ¬¸» Í¬¿²¼¿®¼ Ú·®» Ð±´·½§ øïêë Ô·²»-÷ ·-                     °®±°»®¬§ ¬± ½±²¼«½¬ ½«-¬±³¿®§
     ®»¯«·®»¼ ¾§ -¬¿¬» -¬¿¬«¬» ¬± ¾» ¿¬¬¿½¸»¼ ¬± ¬¸·-               ±°»®¿¬·±²- ±® ½«-¬±³¿®§ ±°»®¿¬·±²-
     °±´·½§ô ±²´§ ¬¸» °®±ª·-·±²- ±º ¬¸» Í¬¿²¼¿®¼ Ú·®»               ¸¿ª» ½»¿-»¼ò
     Ð±´·½§ ¬¸¿¬ ¿®» ¾®±¿¼»® ¬¸¿² ¬¸» °®±ª·-·±²-                øî÷ É¸»² ¬¸·- °±´·½§ ·- ·--«»¼ ¬± ¬¸»
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  îïò Ì®¿²-º»® ±º Î·¹¸¬- ±º Î»½±ª»®§ ß¹¿·²-¬                        ¾«·´¼·²¹ ³»¿²- ¬¸» »²¬·®» ¾«·´¼·²¹ò
      Ñ¬¸»®- Ì± Ë- øÍ«¾®±¹¿¬·±²÷                                    Í«½¸ ¾«·´¼·²¹ ·- ª¿½¿²¬ ·º ¬¸»®» ·- ²±¬
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     ©¸±³ ©» ³¿µ» °¿§³»²¬ «²¼»® ¬¸·- Ý±ª»®¿¹»
     Ð¿®¬ ¸¿- ®·¹¸¬- ¬± ®»½±ª»® ¼¿³¿¹»- º®±³                        ø¿÷ Î»²¬»¼ ¬± ¿ ´»--»» ±® -«¾ó´»--»»
     ¿²±¬¸»®ô ¬¸±-» ®·¹¸¬- ¿®» ¬®¿²-º»®®»¼ ¬± «- ¬±                     ¿²¼ «-»¼ ¾§ ¬¸» ´»--»» ±® -«¾ó
     ¬¸» »¨¬»²¬ ±º ±«® °¿§³»²¬ò Ì¸¿¬ °»®-±² ±®                          ´»--»» ¬± ½±²¼«½¬ ·¬- ½«-¬±³¿®§
     ±®¹¿²·¦¿¬·±² ³«-¬ ¼± »ª»®§¬¸·²¹ ²»½»--¿®§ ¬±                       ±°»®¿¬·±²-å ¿²¼ñ±®
     -»½«®» ±«® ®·¹¸¬- ¿²¼ ³«-¬ ¼± ²±¬¸·²¹ ¿º¬»®                    ø¾÷ Ë-»¼ ¾§ ¬¸» ¾«·´¼·²¹ ±©²»® ¬±
     ´±-- ¬± ·³°¿·® ¬¸»³ò Þ«¬ §±« ³¿§ ©¿·ª» §±«®                        ½±²¼«½¬ ½«-¬±³¿®§ ±°»®¿¬·±²-ò
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         øï÷ Í±³»±²» ·²-«®»¼ ¾§ ¬¸·- ·²-«®¿²½»å              ¾ò Ê¿½¿²½§ Ô±-- Ð®±ª·-·±²-
         øî÷ ß ¾«-·²»-- º·®³ ¬¸¿¬ §±« ±©² ±®                    ×º ¬¸» ¾«·´¼·²¹ ©¸»®» ´±-- ±® ¼¿³¿¹»
             ½±²¬®±´å                                           ±½½«®- ¸¿- ¾»»² ª¿½¿²¬ º±® ³±®» ¬¸¿² êð
                                                                ½±²-»½«¬·ª» ¼¿§- ¾»º±®» ¬¸¿¬ ´±-- ±®
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             ±©²- ±® ½±²¬®±´- §±«å ±®
                                                                øï÷ É» ©·´´ ²±¬ °¿§ º±® ¿²§ ´±-- ±®
         øì÷ Ç±«® ¬»²¿²¬ò                                           ¼¿³¿¹» ½¿«-»¼ ¾§ ¿²§ ±º ¬¸»
     Ì¸·- ©®·¬¬»² ©¿·ª»® ©·´´ ²±¬ ®»-¬®·½¬ §±«®                     º±´´±©·²¹ »ª»² ·º ¬¸»§ ¿®» Ý±ª»®»¼
     ·²-«®¿²½»ò                                                     Ý¿«-»- ±º Ô±--æ
     Û¨½»°¬·±²-æ                                                    ø¿÷ Ê¿²¼¿´·-³å
     ø·÷ Ú±® ¬¸»·® ·²¬»®»-¬ ·² ¾«·´¼·²¹ ®»°¿·® ±®                   ø¾÷ Ó¿´·½·±«- ³·-½¸·»ºå
         ½±²-¬®«½¬·±²ô §±« ³¿§ ²±¬ ©¿·ª» §±«®                       ø½÷ þÍ°®·²µ´»® Ô»¿µ¿¹»þô «²´»-- §±«
         ®·¹¸¬- ¬± ®»½±ª»® ¼¿³¿¹»- º®±³ ¿®½¸·¬»½¬-                      ¸¿ª» °®±¬»½¬»¼ ¬¸» -°®·²µ´»®
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                                                                    ø¼÷ þÞ«·´¼·²¹ Ù´¿--þ ¾®»¿µ¿¹»å
     ø··÷ Ú±® °®±°»®¬§ ·² ¬¸» ¼«» ½±«®-» ±º
          ¬®¿²-°±®¬¿¬·±²ô ©» ©·´´ ²±¬ °¿§ º±® ´±-- ±®               ø»÷ É¿¬»® ¼¿³¿¹»å
          ¼¿³¿¹» ·º §±« ·³°¿·® ±«® ®·¹¸¬- ¬± ®»½±ª»®

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              øº÷ Ì¸»º¬å ±®                                    ºò   Ð®±±º ±º Ô±--
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                                                               ¬¸» ¾«·´¼·²¹ ±® -¬®«½¬«®»ô ·²½´«¼·²¹ ¹´¿--
      ½ò Ð®±¬»½¬ Ð®±°»®¬§                                      ¾«·´¼·²¹ ¾´±½µ-ô -µ§´·¹¸¬-ô ¹´¿-- ¼±±®- ¿²¼
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          ®»½±®¼ ±º §±«® »¨°»²-»- ²»½»--¿®§ ¬±                 Ì¸·- ¼±»- ²±¬ ·²½´«¼» ¿®¬ ¹´¿--ô ¸¿´º ¬±²»
          °®±¬»½¬ ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ô º±®                    -½®»»²-ô ´»²-»-ô ³»³±®·¿´ ©·²¼±©-ô ³±-¿·½
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                                                            îò þÝ±³°«¬»®      Û¯«·°³»²¬þ         ·²½´«¼»-     ¬¸»
          ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò Ø±©»ª»®ô
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          øï÷ ×²-°»½¬ ¬¸» ¼¿³¿¹»¼ ¿²¼ «²¼¿³¿¹»¼                ¼»ª·½»- ±® ¿²§ ±¬¸»® ®»°±-·¬±®·»- ±º ½±³°«¬»®
              °®±°»®¬§ ¿²¼ ¬¿µ» -¿³°´»- º±® ¬»-¬·²¹            -±º¬©¿®» ©¸·½¸ ¿®» «-»¼ ©·¬¸ »´»½¬®±²·½¿´´§
              ¿²¼ ¿²¿´§-·-ò                                    ½±²¬®±´´»¼ »¯«·°³»²¬ò Ì¸» ¬»®³ ½±³°«¬»®
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      ¬± ·¬ô ©¸·½¸ »²¿¾´» ¬¸» ½±³°«¬»® ±® ¼»ª·½» ¬±           ª¿²¼¿´·-³å þÍ·²µ¸±´» Ý±´´¿°-»þå þÊ±´½¿²·½
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  ìò þÚ«²¹«-þ ³»¿²- ¿²§ ¬§°» ±® º±®³ ±º º«²¹«-ô               -´»»¬å ©¿¬»® ¼¿³¿¹»ô þÍ°®·²µ´»® Ô»¿µ¿¹»þå
     ·²½´«¼·²¹ ³±´¼ ±® ³·´¼»©ô ¿²¼ ¿²§ ³§½±¬±¨·²-ô            þÌ¸»º¬þå ±® þÞ«·´¼·²¹ Ù´¿--þ ¾®»¿µ¿¹»ò
     -°±®»-ô -½»²¬- ±® ¾§ó°®±¼«½¬- °®±¼«½»¼ ±®                ¿ò Ú¿´´·²¹ ±¾¶»½¬- ¼±»- ²±¬ ·²½´«¼» ´±-- ±®
     ®»´»¿-»¼ ¾§ º«²¹·ò                                          ¼¿³¿¹» ¬±æ
  ëò þÓ±²»§þ ³»¿²-æ                                               øï÷ Ð»®-±²¿´ °®±°»®¬§ ·² ¬¸» ±°»²å ±®
      ¿ò Ý«®®»²½§ô ½±·²- ¿²¼ ¾¿²µ ²±¬»-å ¿²¼                      øî÷ Ì¸» ·²¬»®·±® ±º ¿ ¾«·´¼·²¹ ±® -¬®«½¬«®»ô
      ¾ò Ì®¿ª»´»®- ½¸»½µ-ô ®»¹·-¬»® ½¸»½µ- ¿²¼                        ±® °®±°»®¬§ ·²-·¼» ¿ ¾«·´¼·²¹ ±®
         ³±²»§ ±®¼»®- ¸»´¼ º±® -¿´» ¬± ¬¸» °«¾´·½ò                    -¬®«½¬«®»ô «²´»-- ¬¸» ®±±º ±® ¿²
                                                                      ±«¬-·¼» ©¿´´ ±® ¬¸» ¾«·´¼·²¹ -¬®«½¬«®» ·-
  êò þÐ±´·½§ Ç»¿®þ ³»¿²- ¬¸» °»®·±¼ ±º ¬·³» ¬¸¿¬æ                     º·®-¬ ¼¿³¿¹»¼ ¾§ ¿ º¿´´·²¹ ±¾¶»½¬ò
      ¿ò Þ»¹·²- ©·¬¸ ¬¸» ·²½»°¬·±² ±® ¿²²·ª»®-¿®§             ¾ò É¿¬»® ¼¿³¿¹» ³»¿²-æ
         ¼¿¬» ±º ¬¸·- °±´·½§å ¿²¼
                                                                  øï÷ ß½½·¼»²¬¿´ ¼·-½¸¿®¹» ±® ´»¿µ¿¹» ±º
      ¾ò Û²¼- ¿¬ ¬¸» »¨°·®¿¬·±² ±® ¿¬ ¬¸» ²»¨¬                        ©¿¬»® ±® -¬»¿³ ¿- ¬¸» ¼·®»½¬ ®»-«´¬ ±º
         ¿²²·ª»®-¿®§ ¼¿¬» ±º ¬¸·- °±´·½§ò                             ¬¸» ¾®»¿µ·²¹ ¿°¿®¬ ±® ½®¿½µ·²¹ ±º ¿
  éò þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þ ³»¿²- ¿²§                          °´«³¾·²¹ô ¸»¿¬·²¹ô ¿·® ½±²¼·¬·±²·²¹ ±®
     -±´·¼ô ´·¯«·¼ô ¹¿-»±«- ±® ¬¸»®³¿´ ·®®·¬¿²¬ ±®                    ±¬¸»® -§-¬»³ ±® ¿°°´·¿²½» ø±¬¸»® ¬¸¿²
     ½±²¬¿³·²¿²¬ô ·²½´«¼·²¹ -³±µ»ô ª¿°±®ô -±±¬ô                       ¿ -«³° -§-¬»³ ·²½´«¼·²¹ ·¬- ®»´¿¬»¼
     º«³»-ô ¿½·¼-ô ¿´µ¿´·-ô ½¸»³·½¿´ ¿²¼ ©¿-¬»ô ±®                    »¯«·°³»²¬ ¿²¼ °¿®¬-÷ô ¬¸¿¬ ·- ´±½¿¬»¼
     ¿²§ ±¬¸»® ³¿¬»®·¿´ ©¸·½¸ ½¿«-»- ±® ¬¸®»¿¬»²-                     ±² ¬¸» þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¿²¼
     ¬± ½¿«-» °¸§-·½¿´ ´±--ô ¼¿³¿¹»ô ·³°«®·¬§ ¬±                      ½±²¬¿·²- ©¿¬»® ±® -¬»¿³å ¿²¼
     °®±°»®¬§ô «²©¸±´»-±³»²»--ô «²¼»-·®¿¾·´·¬§ô                   øî÷ ß½½·¼»²¬¿´ ¼·-½¸¿®¹» ±® ´»¿µ¿¹» ±º
     ´±-- ±º ³¿®µ»¬¿¾·´·¬§ô ´±-- ±º «-» ±º °®±°»®¬§ ±®                ©¿¬»® ±® ©¿¬»®¾±®²» ³¿¬»®·¿´ ¿- ¬¸»
     ©¸·½¸ ¬¸®»¿¬»²- ¸«³¿² ¸»¿´¬¸ ±® ©»´º¿®»ò                         ¼·®»½¬ ®»-«´¬ ±º ¬¸» ¾®»¿µ·²¹ ¿°¿®¬ ±®
     É¿-¬» ·²½´«¼»- ³¿¬»®·¿´- ¬± ¾» ®»½§½´»¼ô                         ½®¿½µ·²¹ ±º ¿ ©¿¬»® ±® -»©»® °·°» ¬¸¿¬
     ®»½±²¼·¬·±²»¼ ±® ®»½´¿·³»¼ò                                      ·- ´±½¿¬»¼ ±ºº ¬¸» þÍ½¸»¼«´»¼
  èò þÍ½¸»¼«´»¼ Ð®»³·-»-þ ³»¿²- ¿²§ °®»³·-»-                          Ð®»³·-»-þ ¿²¼ ·- °¿®¬ ±º ¿ ³«²·½·°¿´
     ´·-¬»¼ ¾§ ´±½¿¬·±² ¿¼¼®»-- ·² ¬¸» Í½¸»¼«´»¼                      °±¬¿¾´» ©¿¬»® -«°°´§ -§-¬»³ ±®
     Ð®»³·-»- -»½¬·±² ±º ¬¸» Ð®±°»®¬§ Ý¸±·½»                          ³«²·½·°¿´ -¿²·¬¿®§ -»©»® -§-¬»³ô ·º
     Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»ò                               ¬¸» ¾®»¿µ¿¹» ±® ½®¿½µ·²¹ ·- ½¿«-»¼ ¾§
  çò þÍ»½«®·¬·»-þ ³»¿²- ²»¹±¬·¿¾´» ¿²¼ ²±²ó                           ©»¿® ¿²¼ ¬»¿®ò Þ«¬ ©¿¬»® ¼¿³¿¹»
                                                                      ¼±»- ²±¬ ·²½´«¼» ´±-- ±® ¼¿³¿¹»
     ²»¹±¬·¿¾´»    ·²-¬®«³»²¬-    ±®     ½±²¬®¿½¬-
     ®»°®»-»²¬·²¹ »·¬¸»® þÓ±²»§þ ±® ±¬¸»® °®±°»®¬§                    ±¬¸»®©·-» »¨½´«¼»¼ «²¼»® ¬¸» ¬»®³- ±º
                                                                      ¬¸» É¿¬»® Û¨½´«-·±²ò Ì¸»®»º±®»ô º±®
     ¿²¼ ·²½´«¼»-æ
                                                                      »¨¿³°´»ô ¬¸»®» ·- ²± ½±ª»®¿¹» «²¼»®
      ¿ò Ì±µ»²-ô ¬·½µ»¬-ô ®»ª»²«» ¿²¼ ±¬¸»®                           ¬¸·- °±´·½§ ·² ¬¸» -·¬«¿¬·±² ·² ©¸·½¸
         -¬¿³°- ø©¸»¬¸»® ®»°®»-»²¬»¼ ¾§ ¿½¬«¿´                        ¼·-½¸¿®¹» ±® ´»¿µ¿¹» ±º ©¿¬»® ®»-«´¬-
         -¬¿³°- ±® «²«-»¼ ª¿´«» ·² ¿ ³»¬»®÷å ¿²¼                      º®±³ ¬¸» ¾®»¿µ·²¹ ¿°¿®¬ ±® ½®¿½µ·²¹ ±º
      ¾ò Ûª·¼»²½»- ±º ¼»¾¬ ·--«»¼ ·² ½±²²»½¬·±²                       ¿ °·°» ©¸·½¸ ©¿- ½¿«-»¼ ¾§ ±® ®»´¿¬»¼
         ©·¬¸ ½®»¼·¬ ±® ½¸¿®¹» ½¿®¼-ô ©¸·½¸ ½¿®¼-                     ¬± ©»¿¬¸»®ó·²¼«½»¼ º´±±¼·²¹ô »ª»² ·º
         ¿®» ²±¬ ±º §±«® ±©² ·--«»å                                   ©»¿® ¿²¼ ¬»¿® ½±²¬®·¾«¬»¼ ¬± ¬¸»
                                                                      ¾®»¿µ¿¹» ±® ½®¿½µ·²¹ò ß- ¿²±¬¸»®
      ¾«¬ ¼±»- ²±¬ ·²½´«¼» þÓ±²»§þò
                                                                      »¨¿³°´»ô ¿²¼ ¿´-± ·² ¿½½±®¼¿²½» ©·¬¸
      Ô±¬¬»®§ ¬·½µ»¬- ¸»´¼ º±® -¿´» ¿²¼ Ð±-¬¿¹»                       ¬¸» ¬»®³- ±º ¬¸» É¿¬»® Û¨½´«-·±²ô
      -¬¿³°- ·² ½«®®»²¬ «-¿¹» ¿®» ²±¬ þÍ»½«®·¬·»-þò                   ¬¸»®» ·- ²± ½±ª»®¿¹» º±® ´±-- ±®
  ïðò þÍ·²µ¸±´» Ý±´´¿°-»þ ³»¿²- ¬¸» -«¼¼»²                            ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»´¿¬»¼ ¬±
      -·²µ·²¹ ±® ½±´´¿°-» ±º ´¿²¼ ·²¬± «²¼»®¹®±«²¼                    ©»¿¬¸»®ó·²¼«½»¼       º´±±¼·²¹     ©¸·½¸
      »³°¬§ -°¿½»- ½®»¿¬»¼ ¾§ ¬¸» ¿½¬·±² ±º ©¿¬»®                     º±´´±©- ±® ·- »¨¿½»®¾¿¬»¼ ¾§ °·°»
      ±² ´·³»-¬±²» ±® -·³·´¿® ®±½µ º±®³¿¬·±²-ò                        ¾®»¿µ¿¹» ±® ½®¿½µ·²¹ ¿¬¬®·¾«¬¿¾´» ¬±
                                                                      ©»¿® ¿²¼ ¬»¿®ò Ì± ¬¸» »¨¬»²¬ ¬¸¿¬
      Ì¸·- ½¿«-» ±º ´±-- ¼±»- ²±¬ ·²½´«¼»æ
                                                                      ¿½½·¼»²¬¿´ ¼·-½¸¿®¹» ±® ´»¿µ¿¹» ±º
      ¿ò Ì¸» ½±-¬ ±º º·´´·²¹ -·²µ¸±´»-å ±®                            ©¿¬»® º¿´´- ©·¬¸·² ¬¸» ½®·¬»®·¿ -»¬ º±®¬¸
      ¾ò Í·²µ·²¹ ±® ½±´´¿°-» ±º ´¿²¼ ·²¬± ³¿²ó³¿¼»                    ·² ¾òøï÷ ±® ¾òøî÷ ±º ¬¸·- ¼»º·²·¬·±² ±º
         «²¼»®¹®±«²¼ ½¿ª·¬·»-ò                                        þ-°»½·º·»¼ ½¿«-»- ±º ´±--ôþ -«½¸ ©¿¬»®
                                                                      ·- ²±¬ -«¾¶»½¬ ¬± ¬¸» °®±ª·-·±²- ±º ¬¸»
  ïïò þÍ°»½·º·»¼ Ý¿«-»- ±º Ô±--þ ³»¿²- º·®»å
                                                                      É¿¬»® Û¨½´«-·±² ©¸·½¸ °®»½´«¼»
      ´·¹¸¬²·²¹å »¨°´±-·±²å ©·²¼-¬±®³ ±® ¸¿·´å -³±µ»å
                                                                      ½±ª»®¿¹» º±® -«®º¿½» ©¿¬»® ±® ©¿¬»®
      ¿·®½®¿º¬ ±® ª»¸·½´»-å ®·±¬ ±® ½·ª·´ ½±³³±¬·±²å
                                                                      «²¼»® ¬¸» -«®º¿½» ±º ¬¸» ¹®±«²¼ò

Ð¿¹» ê Case
       ±º é 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 PageÚ±®³
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                                                                                       ðð çð ðï ïç
   ïîò þÍ°®·²µ´»® Ô»¿µ¿¹»þ ³»¿²- ¿ ´»¿µ¿¹» ±®                  ®»½±®¼- ·²½´«¼·²¹ ¿¾-¬®¿½¬-ô ¾±±µ-ô ¼»»¼-ô
       ¼·-½¸¿®¹» ±º ¿ -«¾-¬¿²½» ø»¨½»°¬ ¸¿´±²÷ º®±³            ¼®¿©·²¹-ô º·´³-ô ³¿°- ±® ³±®¬¹¿¹»-ò
       ¿² ß«¬±³¿¬·½ Ú·®» Û¨¬·²¹«·-¸·²¹ Í§-¬»³ô                 þÊ¿´«¿¾´» Ð¿°»®-þ ¼±»- ²±¬ ³»¿²æ
       ·²½´«¼·²¹ ½±´´¿°-» ±º ¿ ¬¿²µ ¬¸¿¬ ·- °¿®¬ ±º ¬¸»
       -§-¬»³ò                                                 øï÷ þÓ±²»§þ ±® þÍ»½«®·¬·»-þô ©¸»¬¸»® ±® ²±¬ ·²
                                                                   ½«®®»²¬ ½·®½«´¿¬·±²ò
   ïíò þÍ¬±½µþ ³»¿²- ³»®½¸¿²¼·-» ¸»´¼ ·² -¬±®¿¹»
       ±® º±® -¿´»ô ®¿© ³¿¬»®·¿´-ô ¿²¼ ¹±±¼- ·²ó               øî÷ Ð®±°»®¬§ ¬¸¿¬ ½¿²²±¬ ¾» ®»°´¿½»¼ ©·¬¸
       °®±½»-- ±® º·²·-¸»¼ò                                        ±¬¸»® °®±°»®¬§ ±º ´·µ» µ·²¼ ¿²¼ ¯«¿´·¬§ò
   ïìò þÌ»²¿²¬ ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-þ                   øí÷ Ú·²» ß®¬- ±® ß½½±«²¬- Î»½»·ª¿¾´»ò
       ³»¿²- º·¨¬«®»-ô ¿´¬»®¿¬·±²-ô ·²-¬¿´´¿¬·±²- ±®           øì÷ þÛ´»½¬®±²·½ ¼¿¬¿þò
       ¿¼¼·¬·±²- ³¿¼» ¿ °¿®¬ ±º ¬¸» Þ«·´¼·²¹ §±«            ïéò þÊ±´½¿²·½ ß½¬·±²þ ³»¿²- ¼·®»½¬ ´±-- ±®
       ±½½«°§ ¾«¬ ¼± ²±¬ ±©²å ¿²¼æ                              ¼¿³¿¹» ®»-«´¬·²¹ º®±³ ¬¸» »®«°¬·±² ±º ¿
       ¿ò Ó¿¼» ¿¬ §±«® »¨°»²-»å ±®                              ª±´½¿²± ©¸»² ¬¸» ´±-- ±® ¼¿³¿¹» ·- ½¿«-»¼
       ¾ò Ç±« ¿½¯«·®»¼ º®±³ ¬¸» °®·±® ¬»²¿²¬ ¿¬ §±«®            ¾§æ
          »¨°»²-»å ¿²¼                                         ¿ò ß·®¾±®²» ª±´½¿²·½ ¾´¿-¬ ±® ¿·®¾±®²» -¸±½µ
       §±« ½¿²²±¬ ´»¹¿´´§ ®»³±ª»ò                                 ©¿ª»-å
       Ì»²¿²¬ ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-                     ¾ò ß-¸ô ¼«-¬ ±® °¿®¬·½«´¿¬» ³¿¬¬»®å ±®
       ·²½´«¼»- º»²½»-ô -·¹²-ô ¿²¼ ®¿¼·± ±® ¬»´»ª·-·±²         ½ò Ô¿ª¿ º´±©ò
       ¬±©»®-ô ¿²¬»²²¿- ¿²¼ -¿¬»´´·¬» ¼·-¸»-
                                                               ß´´ ª±´½¿²·½ »®«°¬·±²- ¬¸¿¬ ±½½«® ©·¬¸·² ¿²§
       ø·²½´«¼·²¹ ¿¬¬¿½¸»¼ »¯«·°³»²¬÷ò                         ïêèó¸±«® °»®·±¼ ©·´´ ½±²-¬·¬«¬» ¿ -·²¹´»
   ïëò þÌ¸»º¬þ ³»¿²- ¿²§ ¿½¬ ±º -¬»¿´·²¹ »¨½»°¬ ¿-             ±½½«®®»²½»ò
       ¼»º·²»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±³³±²                   Ê±´½¿²·½ ¿½¬·±² ¼±»- ²±¬ ·²½´«¼» ¬¸» ½±-¬ ¬±
       Ý®·³» Ý±ª»®¿¹»- Ú±®³ò                                   ®»³±ª» ¿-¸ô ¼«-¬ ±® °¿®¬·½«´¿¬» ³¿¬¬»® ¬¸¿¬
   ïêò þÊ¿´«¿¾´» Ð¿°»®-þ ³»¿²-æ ×²-½®·¾»¼ô °®·²¬»¼             ¼±»- ²±¬ ½¿«-» ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼¿³¿¹»
       ±® ©®·¬¬»² ¼±½«³»²¬-ô ³¿²«-½®·°¬-ô °¿¬¬»®²- ±®          ¬± °®±°»®¬§ò




      Case
Ú±®³ ÐÝ ðð çð3:24-cv-00490-FDW-SCR
              ðï ïç                             Document 1-4 Filed 05/21/24 Page 111 of 579
                                                                                        Ð¿¹» é ±º é
     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


             ÝßÐ ÑÒ ÔÑÍÍÛÍ ÚÎÑÓ ÝÛÎÌ×Ú×ÛÜ ßÝÌÍ ÑÚ
                         ÌÛÎÎÑÎ×ÍÓ

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ
   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ


ßò Ü·-½´±-«®» Ñº Ú»¼»®¿´ Í¸¿®» Ñº Ì»®®±®·-³                  îò Ì¸» ¿½¬ ®»-«´¬- ·² ¼¿³¿¹» ©·¬¸·² ¬¸» Ë²·¬»¼
   Ô±--»-                                                       Í¬¿¬»-ô ±® ±«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»- ·² ¬¸» ½¿-»
   Ì¸» Ë²·¬»¼ Í¬¿¬»- Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§ ©·´´            ±º ½»®¬¿·² ¿·® ½¿®®·»®- ±® ª»--»´- ±® ¬¸»
   ®»·³¾«®-» ·²-«®»®- º±® ¿ °±®¬·±² ±º -«½¸ ·²-«®»¼             °®»³·-»- ±º ¿ Ë²·¬»¼ Í¬¿¬»- ³·--·±²å ¿²¼
   ´±--»- ¿- ·²¼·½¿¬»¼ ·² ¬¸» ¬¿¾´» ¾»´±© ¬¸¿¬ »¨½»»¼-       íò Ì¸» ¿½¬ ·- ¿ ª·±´»²¬ ¿½¬ ±® ¿² ¿½¬ ¬¸¿¬ ·-
   ¬¸» ¿°°´·½¿¾´» ·²-«®»® ¼»¼«½¬·¾´»æ                            ¼¿²¹»®±«- ¬± ¸«³¿² ´·º»ô °®±°»®¬§ ±®
      Ý¿´»²¼¿® Ç»¿®              Ú»¼»®¿´ Í¸¿®» ±º                ·²º®¿-¬®«½¬«®» ¿²¼ ·- ½±³³·¬¬»¼ ¾§ ¿² ·²¼·ª·¼«¿´
                                 Ì»®®±®·-³ Ô±--»-                ±® ·²¼·ª·¼«¿´- ¿- °¿®¬ ±º ¿² »ºº±®¬ ¬± ½±»®½» ¬¸»
                                                                 ½·ª·´·¿² °±°«´¿¬·±² ±º ¬¸» Ë²·¬»¼ Í¬¿¬»- ±® ¬±
      îðïë                       èëû                             ·²º´«»²½» ¬¸» °±´·½§ ±® ¿ºº»½¬ ¬¸» ½±²¼«½¬ ±º ¬¸»
      îðïê                       èìû                             Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ ¾§ ½±»®½·±²ò
      îðïé                       èíû                         ×º ¿¹¹®»¹¿¬» ·²-«®»¼ ´±--»- ¿¬¬®·¾«¬¿¾´» ¬± þ½»®¬·º·»¼
                                                             ¿½¬- ±º ¬»®®±®·-³þ «²¼»® ÌÎ×ß »¨½»»¼ üïðð ¾·´´·±²
      îðïè                       èîû
                                                             ·² ¿ ½¿´»²¼¿® §»¿® ¿²¼ ©» ¸¿ª» ³»¬ô ±® ©·´´ ³»»¬ô
      îðïç                       èïû                         ±«® ·²-«®»® ¼»¼«½¬·¾´» «²¼»® ÌÎ×ß ©» -¸¿´´ ²±¬ ¾»
      îðîð ±® ´¿¬»®              èðû                         ´·¿¾´» º±® ¬¸» °¿§³»²¬ ±º ¿²§ °±®¬·±² ±º ¬¸» ¿³±«²¬
                                                             ±º -«½¸ ´±--»- ¬¸¿¬ »¨½»»¼- üïðð ¾·´´·±²ò ×² -«½¸
   Ø±©»ª»®ô ·º ¿¹¹®»¹¿¬» ·²-«®»¼ ´±--»- ¿¬¬®·¾«¬¿¾´»
                                                             ½¿-»ô §±«® ½±ª»®¿¹» º±® ¬»®®±®·-³ ´±--»- ³¿§ ¾»
   ¬± þ½»®¬·º·»¼ ¿½¬- ±º ¬»®®±®·-³þ «²¼»® ¬¸» º»¼»®¿´
                                                             ®»¼«½»¼ ±² ¿ °®±ó®¿¬¿ ¾¿-·- ·² ¿½½±®¼¿²½» ©·¬¸
   Ì»®®±®·-³ Î·-µ ×²-«®¿²½» ß½¬ô ¿- ¿³»²¼»¼ øÌÎ×ß÷
                                                             °®±½»¼«®»- »-¬¿¾´·-¸»¼ ¾§ ¬¸» Ì®»¿-«®§ô ¾¿-»¼ ±²
   »¨½»»¼ üïðð ¾·´´·±² ·² ¿ ½¿´»²¼¿® §»¿®ô ¬¸»
                                                             ·¬- »-¬·³¿¬»- ±º ¿¹¹®»¹¿¬» ·²¼«-¬®§ ´±--»- ¿²¼ ±«®
   Ì®»¿-«®§ -¸¿´´ ²±¬ ³¿µ» ¿²§ °¿§³»²¬ º±® ¿²§
                                                             »-¬·³¿¬» ¬¸¿¬ ©» ©·´´ »¨½»»¼ ±«® ·²-«®»® ¼»¼«½¬·¾´»ò
   °±®¬·±² ±º ¬¸» ¿³±«²¬ ±º -«½¸ ´±--»- ¬¸¿¬ »¨½»»¼-
                                                             ×² ¿½½±®¼¿²½» ©·¬¸ Ì®»¿-«®§ °®±½»¼«®»-ô ¿³±«²¬-
   üïðð ¾·´´·±²ò Ì¸» Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ ¸¿-
                                                             °¿·¼ º±® ´±--»- ³¿§ ¾» -«¾¶»½¬ ¬± º«®¬¸»®
   ²±¬ ½¸¿®¹»¼ ¿²§ °®»³·«³ º±® ¬¸»·® °¿®¬·½·°¿¬·±² ·²
                                                             ¿¼¶«-¬³»²¬- ¾¿-»¼ ±² ¼·ºº»®»²½»- ¾»¬©»»² ¿½¬«¿´
   ½±ª»®·²¹ ¬»®®±®·-³ ´±--»-ò                                ´±--»- ¿²¼ »-¬·³¿¬»-ò
Þò Ý¿° Ñ² ×²-«®»® Ô·¿¾·´·¬§ Ú±® Ì»®®±®·-³ Ô±--»-
                                                          Ýò ß°°´·½¿¬·±² Ñº Ñ¬¸»® Û¨½´«-·±²-
   ß þ½»®¬·º·»¼ ¿½¬ ±º ¬»®®±®·-³þ ³»¿²- ¿² ¿½¬ ¬¸¿¬ ·-       Ì¸» ¬»®³- ¿²¼ ´·³·¬¿¬·±²- ±º ¿²§ ¬»®®±®·-³
   ½»®¬·º·»¼ ¾§ ¬¸» Í»½®»¬¿®§ ±º ¬¸» Ì®»¿-«®§ô ·²
                                                             »¨½´«-·±²ô ¬¸» ·²¿°°´·½¿¾·´·¬§ ±® ±³·--·±² ±º ¿
   ¿½½±®¼¿²½» ©·¬¸ ¬¸» °®±ª·-·±²- ±º ¬¸» º»¼»®¿´             ¬»®®±®·-³ »¨½´«-·±²ô ±® ¬¸» ·²½´«-·±² ±º Ì»®®±®·-³
   Ì»®®±®·-³ Î·-µ ×²-«®¿²½» ß½¬ô ¬± ¾» ¿² ¿½¬ ±º
                                                             ½±ª»®¿¹»ô ¼± ²±¬ -»®ª» ¬± ½®»¿¬» ½±ª»®¿¹» º±® ¿²§
   ¬»®®±®·-³ «²¼»® ÌÎ×ßò Ì¸» ½®·¬»®·¿ ½±²¬¿·²»¼ ·²           ´±-- ©¸·½¸ ©±«´¼ ±¬¸»®©·-» ¾» »¨½´«¼»¼ «²¼»® ¬¸·-
   ÌÎ×ß º±® ¿ þ½»®¬·º·»¼ ¿½¬ ±º ¬»®®±®·-³þ ·²½´«¼» ¬¸»
                                                             Ý±ª»®¿¹» Ð¿®¬ ±® Ð±´·½§ô -«½¸ ¿- ´±--»- »¨½´«¼»¼
   º±´´±©·²¹æ                                                ¾§ ¬¸» Ò«½´»¿® Ø¿¦¿®¼ Û¨½´«-·±²ô ¬¸» Ð¿¬¸±¹»²·½
  ïò Ì¸» ¿½¬ ®»-«´¬- ·² ·²-«®»¼ ´±--»- ·² »¨½»-- ±º          ±® Ð±·-±²±«- Þ·±´±¹·½¿´ ±® Ý¸»³·½¿´ Ó¿¬»®·¿´-
     üë ³·´´·±² ·² ¬¸» ¿¹¹®»¹¿¬»ô ¿¬¬®·¾«¬¿¾´» ¬± ¿´´        Û¨½´«-·±²ô ¬¸» þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þ
     ¬§°»- ±º ·²-«®¿²½» -«¾¶»½¬ ¬± ÌÎ×ßå ¿²¼                 Û¨½´«-·±² ¿²¼ ¬¸» É¿® ß²¼ Ó·´·¬¿®§ ß½¬·±²
                                                             Û¨½´«-·±²ò




Ú±®³ ×Ø ðç ìð ðï ïë                                                                                  Ð¿¹» ï ±º ï
                                             w îðïëô Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR             Document
            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ×²-«®¿²½»   1-4 Filed
                                                        Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                         ×²½òô ©·¬¸ ·¬- Page  112 of 579
                                                                                        °»®³·--·±²ò÷
                                                                                              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

          ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛ
                ÝÑÊÛÎßÙÛ ÚÑÎÓ ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ

Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò É±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬±
Ú±®³ ÐÝ ðð çð ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ º±® ¼»º·²·¬·±²-ò
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» «²¼»® ¬¸» º±´´±©·²¹æ
       ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
ÍËÓÓßÎÇ ±º ÝÑÊÛÎßÙÛ Ô×Ó×ÌÍ ¿²¼ ×ÒÜÛÈ
   ± Ì¸·- ·- ¿ -«³³¿®§ ±º ¬¸» ´·³·¬- ±º ·²-«®¿²½» ¿²¼ ½±ª»®¿¹»- °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬ò
   ± Ò± ½±ª»®¿¹» ·- °®±ª·¼»¼ ¾§ ¬¸·- -«³³¿®§ò

×¬»³      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛ                                 Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
 Ò±ò      ÝÑÊÛÎßÙÛ ÚÑÎÓ ó ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍæ                                                øß°°´§ ·² ¿²§ ±²»
                                                                                              ±½½«®®»²½» «²´»--
                                                                                               ±¬¸»®©·-» ²±¬»¼÷
  ïò      ÞËÍ×ÒÛÍÍ ÌÎßÊÛÔæ                                                                ×²½´«¼»¼ ·² Þ«-·²»--
                                                                                          ×²½±³» ¿²¼ Û¨¬®¿
                                                                                          Û¨°»²-» Ô·³·¬ ±º
                                                                                          ×²-«®¿²½»ò
  îò      Ý×Ê×Ô ßËÌØÑÎ×ÌÇ
          øéî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ÷æ                                               íð Ü¿§-ò
  íò      ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ
          ×ÒÝÔËÜ×ÒÙ ÉÑÎÔÜÉ×ÜÛ ÝÑÊÛÎßÙÛ ÌÛÎÎ×ÌÑÎÇ                                          üïððôðððò Ú®±³ ß´´
          øéî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ÷æ                                               Ü»°»²¼»²¬ Ð®±°»®¬·»-ò
  ìò      ÍÛÝÑÒÜßÎÇ ÜÛÐÛÒÜÛÒÝ×ÛÍ ó ÝÑÒÌÎ×ÞËÌ×ÒÙ ßÒÜ ÎÛÝ×Ð×ÛÒÌ                             ×²½´«¼»¼ ·² Ü»°»²¼»²¬
          ÔÑÝßÌ×ÑÒÍ                                                                       Ð®±°»®¬·»- Ô·³·¬ ±º
                                                                                          ×²-«®¿²½»ò
  ëò      ÛÈÌÛÒÜÛÜ ×ÒÝÑÓÛ øïèð ÜßÇÍ÷æ                                                     ×²½´«¼»¼ ·² Þ«-·²»--
                                                                                          ×²½±³» ¿²¼ Û¨¬®¿
                                                                                          Û¨°»²-» Ô·³·¬ ±º
                                                                                          ×²-«®¿²½»ò
  êò      ÚËÒÙËÍô ÉÛÌ ÎÑÌô ÜÎÇ ÎÑÌô ÞßÝÌÛÎ×ß ßÒÜ Ê×ÎËÍ ó                                  ß½¬«¿´ Ô±-- Í«-¬¿·²»¼
          Ô×Ó×ÌÛÜ ÝÑÊÛÎßÙÛæ                                                               º±® íð Ü¿§-ò
  éò      ÚËÌËÎÛ ÛßÎÒ×ÒÙÍæ                                                                ×²½´«¼»¼ ·² Þ«-·²»--
                                                                                          ×²½±³» ¿²¼ Û¨¬®¿
                                                                                          Û¨°»²-» Ô·³·¬ ±º
                                                                                          ×²-«®¿²½»ò
  èò      ×ÒÙÎÛÍÍ ßÒÜ ÛÙÎÛÍÍ
          øîì ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ÷æ                                               íð Ü¿§-
  çò      ÔÛÍÍÑÎùÍ ÌÛÒßÒÌ ÓÑÊÛ ÞßÝÕ ÛÈÐÛÒÍÛæ                                              üïðôðððò
 ïðò      ÓßÝØ×ÒÛÎÇ ÌÛÍÌ×ÒÙ ßÒÜ ÌÎß×Ò×ÒÙæ                                                 ×²½´«¼»¼ ·² Þ«-·²»--
                                                                                          ×²½±³» ¿²¼ Û¨¬®¿
                                                                                          Û¨°»²-» Ô·³·¬ ±º
                                                                                          ×²-«®¿²½»ò




Ú±®³ ÐÝ îê ðî ðï ïè                                                                                     Ð¿¹» ï ±º ç
         Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 113 of 579
                                     îðïèô Ì¸» Ø¿®¬º±®¼
 ïïò    ÒÛÉÔÇ ßÝÏË×ÎÛÜ ÐÎÛÓ×ÍÛÍæ                                                 ×²½´«¼»¼ ·² Þ«-·²»--
                                                                                 ×²½±³» ¿²¼ Û¨¬®¿
                                                                                 Û¨°»²-» Ô·³·¬ ±º
                                                                                 ×²-«®¿²½»ò
 ïîò    ÑÎÜ×ÒßÒÝÛ ÑÎ ÔßÉ ÝÑÊÛÎßÙÛ                                                ×²½´«¼»¼ ·² Þ«-·²»--
        ø×ÒÝÎÛßÍÛÜ ÐÛÎ×ÑÜ ÑÚ ÎÛÍÌÑÎßÌ×ÑÒ÷æ                                       ×²½±³» ¿²¼ Û¨¬®¿
                                                                                 Û¨°»²-» Ô·³·¬ ±º
                                                                                 ×²-«®¿²½»ò
 ïíò    ÐÑÔÔËÌßÒÌÍ ßÒÜ ÝÑÒÌßÓ×ÒßÒÌÍ ÝÔÛßÒËÐæ                                     üîëôðððò ×² ¿²§ ±²»
                                                                                 þÐ±´·½§ Ç»¿®þò
 ïìò    ÍÛÉÛÎ ßÒÜ ÜÎß×Ò ÞßÝÕËÐæ                                                  ×²½´«¼»¼ ·² Þ«-·²»--
                                                                                 ×²½±³» ¿²¼ Û¨¬®¿
                                                                                 Û¨°»²-» Ô·³·¬ ±º
                                                                                 ×²-«®¿²½»ò
 ïëò    ÌÎßÒÍ×Ìæ                                                                 üïððôðððò
 ïêò    ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ                                                        üïððôðððò
        ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ ßÌ ßÒÇ ÑÒÛ ×ÒÍÌßÔÔßÌ×ÑÒæ                               ×²½´«¼»¼ ·² Þ«-·²»--
                                                                                 ×²½±³» ¿²¼ Û¨¬®¿
                                                                                 Û¨°»²-» Ô·³·¬ ±º
                                                                                 ×²-«®¿²½»ò
        ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍæ ßÌ ßÒÇ ÑÒÛ ÛÈØ×Þ×Ì×ÑÒæ                                 ×²½´«¼»¼ ·² Þ«-·²»--
                                                                                 ×²½±³» ¿²¼ Û¨¬®¿
                                                                                 Û¨°»²-» Ô·³·¬ ±º
                                                                                 ×²-«®¿²½»ò
 ïéò    ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛ ×ÒÌÛÎÎËÐÌ×ÑÒ
        øîì ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ÷æ                                        üîëôðððò
 ïèò    ÉÛÞ Í×ÌÛ ßÒÜ ×ÒÌÛÎÒÛÌ ÍÛÎÊ×ÝÛÍ                                           Ô»--»® ±º ß½¬«¿´ Ô±--
        øïî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ÷æ                                        Í«-¬¿·²»¼ º±® íð ¼¿§- ±®
                                                                                 üïððôðððò

ßò ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ ó Ì¸» º±´´±©·²¹                           øî÷ ß²§ ±ºº·½»®ô »³°´±§»» ±® §±«®-»´ºå
   ß¼¼·¬·±²¿´ Ý±ª»®¿¹»- ¿®» ¿¼¼»¼ ¬± ¬¸» Ð®±°»®¬§                 ©¸·´» ¬®¿ª»´·²¹ ±² ¿«¬¸±®·¦»¼ ½±³°¿²§
   Ý¸±·½» Þ«-·²»-- ×²½±³» ¿²¼ Û¨¬®¿ Û¨°»²-»                       ¾«-·²»--ò
   Ý±ª»®¿¹» Ú±®³ «²´»-- ±¬¸»®©·-» ·²¼·½¿¬»¼ ·² ¬¸»
                                                              ¾ò É·¬¸ ®»-°»½¬ ¬± ¬¸» ½±ª»®¿¹» °®±ª·¼»¼
   Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
                                                                  «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó
   Ý±ª»®¿¹» ±® ¾§ »²¼±®-»³»²¬ ¬± ¬¸·- °±´·½§æ
                                                                  Þ«·-²»-- Ì®¿ª»´ô ¬¸» Ý±ª»®¿¹» Ì»®®·¬±®§
   Ë²´»-- ±¬¸»®©·-» -¬¿¬»¼ ·² ¬¸» ßÜÜ×Ì×ÑÒßÔ                      Ù»²»®¿´ Ý±²¼·¬·±² º±«²¼ ·² ¬¸» Ð®±°»®¬§
   ÝÑÊÛÎßÙÛÍ ¾»´±©ô ±® ¾§ »²¼±®-»³»²¬ô ¬¸»                        Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²- º±®³
   Ô·³·¬- ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬± ¬¸» ß¼¼·¬·±²¿´               ¼±»- ²±¬ ¿°°´§ò
   Ý±ª»®¿¹»- ¿®» ·²½´«¼»¼ ·² ¿²¼ ¿®» ²±¬ ·²
                                                           îò Ý·ª·´ ß«¬¸±®·¬§
   ¿¼¼·¬·±² ¬± ¬¸» Ô·³·¬ ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬±
   ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛ ¿-                       ¿ò Ì¸·- ·²-«®¿²½» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬± ¬¸»
   -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º                      ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» §±«
   Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ò Ú±® ×²-«®¿²½» ¬¸¿¬                     -«-¬¿·² ¿²¼ ¬¸» ¿½¬«¿´ô ²»½»--¿®§ ¿²¼
   ³¿§ ¿°°´§ ¬± ¿ Í°»½·º·½ þÍ½¸»¼«´»¼ Ð®»³·-»-þ                   ®»¿-±²¿¾´» Û¨¬®¿ Û¨°»²-» §±« ·²½«®
   -»»æ Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                  ©¸»² ¿½½»-- ¬± §±«® þÍ½¸»¼«´»¼
   Ý±ª»®¿¹» ó Í½¸»¼«´»¼ Ð®»³·-»- -»½¬·±²ò                         Ð®»³·-»-þ ·- -°»½·º·½¿´´§ °®±¸·¾·¬»¼ ¾§
   ïò Þ«-·²»-- Ì®¿ª»´                                             ±®¼»® ±º ¿ ½·ª·´ ¿«¬¸±®·¬§ ¿- ¬¸» ¼·®»½¬
                                                                  ®»-«´¬ ±º ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬±
       ¿ò É» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º                      °®±°»®¬§ ·² ¬¸» ·³³»¼·¿¬» ¿®»¿ ±º §±«®
           Þ«-·²»-- ×²½±³» ¿²¼ ¬¸» ¿½¬«¿´ô                        þÍ½¸»¼«´»¼ Ð®»³·-»-þò
           ²»½»--¿®§ ¿²¼        ®»¿-±²¿¾´»    Û¨¬®¿
                                                              ¾ò Ì¸» ½±ª»®¿¹» º±® Þ«-·²»-- ×²½±³» ©·´´
           Û¨°»²-»- §±«® ·²½«® ¼«» ¬± ¼·®»½¬
                                                                  ¾»¹·² ¿º¬»® ¿ É¿·¬·²¹ Ð»®·±¼ ±º éî ¸±«®-
           °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»
                                                                  ø«²´»-- ¿ ¼·ºº»®»²¬ É¿·¬·²¹ Ð»®·±¼ ·-
           ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± Ç±«®
                                                                  »·¬¸»® -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
           Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ·²½´«¼·²¹
                                                                  Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹» ±®
           Í¿´»- Î»°®»-»²¬¿¬·ª» Í¿³°´»- ©¸·´» ·²
                                                                  ·- -¸±©² ¾§ »²¼±®-»³»²¬÷ ¿º¬»® ¬¸»
           ¬¸» ½«-¬±¼§ ±ºæ
                                                                  ±®¼»® ±º ¿ ½·ª·´ ¿«¬¸±®·¬§ ¿²¼ ½±ª»®¿¹»
           øï÷ Ç±«® -¿´»- ®»°®»-»²¬¿¬·ª»-å ±®                     ©·´´ »²¼ ¿¬ ¬¸» »¿®´·»® ±ºæ

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         øï÷ É¸»² ¿½½»-- ·- °»®³·¬¬»¼ ¬± §±«®                         ø¾÷ ©¸»² ¬¸» ¿°°´·½¿¾´» ´·³·¬ ±º
              þÍ½¸»¼«´»¼ Ð®»³·-»-þå ±®                                     ·²-«®¿²½» ·- »¨¸¿«-¬»¼ò
         øî÷ íð ½±²-»½«¬·ª» ¼¿§- ¿º¬»® ¬¸» ±®¼»®                 Ð»®·±¼ ±º Î»-¬±®¿¬·±² ¼±»- ²±¬ ·²½´«¼»
              ±º ¬¸» ½·ª·´ ¿«¬¸±®·¬§ò                            ¿²§ ·²½®»¿-»¼ °»®·±¼ ®»¯«·®»¼ ¼«» ¬± ¬¸»
      ½ò Ì¸» ½±ª»®¿¹» º±® Û¨¬®¿ Û¨°»²-» ©·´´                     »²º±®½»³»²¬ ±º ±® ½±³°´·¿²½» ©·¬¸ ¿²§
         ¾»¹·² ·³³»¼·¿¬»´§ ¿º¬»® ¬¸» ±®¼»® ±º ¿                  ±®¼·²¿²½» ±® ´¿© ¬¸¿¬æ
         ½·ª·´ ¿«¬¸±®·¬§ ¿²¼ ½±ª»®¿¹» ©·´´ »²¼ ¿¬                øï÷ Î»¹«´¿¬»- ¬¸» ½±²-¬®«½¬·±²ô «-» ±®
         ¬¸» »¿®´·»® ±ºæ                                              ®»°¿·®ô ±® ®»¯«·®»- ¬¸» ¬»¿®·²¹ ¼±©²ô
         øï÷ É¸»² ¿½½»-- ·- °»®³·¬¬»¼ ¬± §±«®                         ±º ¿²§ °®±°»®¬§å ±®
              þÍ½¸»¼«´»¼ Ð®»³·-»-þå ±®                           øî÷ Î»¯«·®»- ¿²§ ·²-«®»¼ ±® ±¬¸»®- ¬±
         øî÷ íð ½±²-»½«¬·ª» ¼¿§- ¿º¬»® ¬¸» ±®¼»®                      ¬»-¬ º±®ô ³±²·¬±®ô ½´»¿² «°ô ®»³±ª»ô
              ±º ¬¸» ½·ª·´ ¿«¬¸±®·¬§ò                                 ½±²¬¿·²ô ¬®»¿¬ô ¼»¬±¨·º§ ±® ²»«¬®¿´·¦»ô
                                                                      ±® ·² ¿²§ ©¿§ ®»-°±²¼ ¬± ±® ¿--»--
   íò Ü»°»²¼»²¬ Ð®±°»®¬·»-
                                                                      ¬¸» »ºº»½¬- ±º þÐ±´´«¬¿²¬- ¿²¼
      ¿ò É» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º                           Ý±²¬¿³·²¿²¬-þò
         Þ«-·²»-- ×²½±³» §±« -«-¬¿·² ¿²¼ ¬¸»                     Ì¸» »¨°·®¿¬·±² ¼¿¬» ±º ¬¸·- °±´·½§ ©·´´ ²±¬
         ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿                  ½«¬ -¸±®¬ ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±²ò
         Û¨°»²-» §±« ·²½«® ¼«» ¬± ¬¸» ²»½»--¿®§
         -«-°»²-·±² ±º §±«® ±°»®¿¬·±²- ¼«®·²¹ ¬¸»             ½ò Ü»°»²¼»²¬ Ð®±°»®¬·»- ³»¿²- °®±°»®¬§ ¿¬
         Ð»®·±¼ ±º Î»-¬±®¿¬·±²ò Ì¸» -«-°»²-·±²                   °®»³·-»- ±©²»¼ ¿²¼ ±°»®¿¬»¼ ¾§ ±¬¸»®-
         ³«-¬ ¾» ½¿«-»¼ ¾§ ¼·®»½¬ °¸§-·½¿´ ´±-- ±º               ¬¸¿¬ §±« ¼»°»²¼ ±² ¬±æ
         ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± ¿ Ü»°»²¼»²¬                øï÷ Ü»´·ª»® ³¿¬»®·¿´- ±® -»®ª·½»- ¬± §±«ô
         Ð®±°»®¬§ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿                       ±® ¬± ±¬¸»®- º±® §±«® ¿½½±«²¬
         Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò Ø±©»ª»®ô                              øÝ±²¬®·¾«¬·²¹ Ô±½¿¬·±²÷å
         ½±ª»®¿¹» «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»                      Þ«¬ ¿²§ °®±°»®¬§ ©¸·½¸ ¼»´·ª»®- ¿²§
         ¼±»- ²±¬ ¿°°´§ ©¸»² ¬¸» ±²´§ ´±-- ¬± ¿                       ±º ¬¸» º±´´±©·²¹ -»®ª·½»- ·- ²±¬ ¿
         Ü»°»²¼»²¬ Ð®±°»®¬§ ·- ´±-- ±® ¼¿³¿¹» ¬±                      Ý±²¬®·¾«¬·²¹ Ô±½¿¬·±² ©·¬¸ ®»-°»½¬ ¬±
         þÛ´»½¬®±²·½ Ü¿¬¿þô ·²½´«¼·²¹ ¼»-¬®«½¬·±² ±®                  -«½¸ -»®ª·½»-æ
         ½±®®«°¬·±² ±º þÛ´»½¬®±²·½ Ü¿¬¿þò ×º ¬¸»                      ø¿÷ É¿¬»® -«°°´§ -»®ª·½»-å
         Ü»°»²¼»²¬ Ð®±°»®¬§ -«-¬¿·²- ´±-- ±®
         ¼¿³¿¹» ¬± þÛ´»½¬®±²·½ Ü¿¬¿þ ¿²¼ ±¬¸»®                        ø¾÷ Ð±©»® -«°°´§ -»®ª·½»-å ±®
         °®±°»®¬§ô       ½±ª»®¿¹»        «²¼»®  ¬¸·-                  ø½÷ É¿-¬»©¿¬»® ®»³±ª¿´ -»®ª·½»-å ±®
         »²¼±®-»³»²¬ ©·´´ ²±¬ ½±²¬·²«» ±²½» ¬¸»                       ø¼÷ Ý±³³«²·½¿¬·±² -«°°´§ -»®ª·½»-ô
         ±¬¸»® °®±°»®¬§ ·- ®»°¿·®»¼ô ®»¾«·´¬ ±®                            ·²½´«¼·²¹ -»®ª·½»- ®»´¿¬·²¹ ¬±
         ®»°´¿½»¼ò Ì¸» ¬»®³ þÛ´»½¬®±²·½ Ü¿¬¿þ ¸¿-                          ·²¬»®²»¬ ¿½½»-- ±® ¿½½»-- ¬± ¿²§
         ¬¸» ³»¿²·²¹ -»¬ º±®¬¸ ·² ¬¸» Ý±ª»®¿¹»                             »´»½¬®±²·½ ²»¬©±®µå
         Ú±®³ ¬± ©¸·½¸ ¬¸·- »²¼±®-»³»²¬ ¿°°´·»-ò
                                                                 øî÷ ß½½»°¬ §±«® °®±¼«½¬- ±® -»®ª·½»-
      ¾ò Ð»®·±¼ ±º Î»-¬±®¿¬·±²ô ©·¬¸ ®»-°»½¬ ¬±                       øÎ»½·°·»²¬ Ô±½¿¬·±²÷å
         Ü»°»²¼»²¬ Ð®±°»®¬§ ³»¿²- ¬¸» °»®·±¼ ±º
                                                                 øí÷ Ó¿²«º¿½¬«®» °®±¼«½¬- º±® ¼»´·ª»®§ ¬±
         ¬·³» ¬¸¿¬æ
                                                                      §±«® ½«-¬±³»®- «²¼»® ½±²¬®¿½¬ ±º
         øï÷ Þ»¹·²- éî ¸±«®- ø«²´»-- ¿ ¼·ºº»®»²¬                      -¿´» øÓ¿²«º¿½¬«®·²¹ Ô±½¿¬·±²÷å ±®
              É¿·¬·²¹ Ð»®·±¼ ·- »·¬¸»® -¸±©² ·² ¬¸»
                                                                 øì÷ ß¬¬®¿½¬ ½«-¬±³»®- ¬± §±«® ¾«-·²»--
              Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º
                                                                      °®»³·-»- øÔ»¿¼»® Ô±½¿¬·±²-÷ò
              Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ±® ·-
              -¸±©² ¾§ »²¼±®-»³»²¬÷ ¿º¬»® ¬¸»                 ¼ò É·¬¸ ®»-°»½¬ ¬± ¬¸» ½±ª»®¿¹» °®±ª·¼»¼
              ¬·³» ±º ¬¸» Ý±ª»®»¼ Ý¿«-» ±º Ô±--                  «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó
              ±½½«®®»¼ º±® Þ«-·²»-- ×²½±³»                       Ü»°»²¼»²¬ Ð®±°»®¬·»-ô ¬¸» Ý±ª»®¿¹»
              Ý±ª»®¿¹»å                                          Ì»®®·¬±®§ Ù»²»®¿´ Ý±²¼·¬·±² º±«²¼ ·² ¬¸»
                                                                 Ð®±°»®¬§      Ý¸±·½»     Ý±²¼·¬·±²-     ¿²¼
         øî÷ Þ»¹·²- ·³³»¼·¿¬»´§ ¿º¬»® ¬¸» ¬·³» ±º
                                                                 Ü»º·²·¬·±²- º±®³ ¼±»- ²±¬ ¿°°´§ò
              ¬¸» Ý±ª»®»¼ Ý¿«-» ±º Ô±-- º±® Û¨¬®¿
              Û¨°»²-» Ý±ª»®¿¹»å                               »ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» -«³ ±º ¿´´
                                                                 ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» ¿²¼
         øí÷ Û²¼- ±² ¬¸» »¿®´·»® ±ºæ
                                                                 ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿
              ø¿÷ ¬¸» ¼¿¬» ©¸»² ¬¸» °®±°»®¬§ ¿¬                  Û¨°»²-» §±« ·²½«® ·² ¿²§ ±²» ±½½«®®»²½»
                   ¬¸» °®»³·-»- ±º ¬¸» Ü»°»²¼»²¬                 ®»¹¿®¼´»-- ±º ¬¸» ¬§°»- ±® ²«³¾»® ±º
                   Ð®±°»®¬§ -¸±«´¼ ¾» ®»°¿·®»¼ô                  Ü»°»²¼»²¬ Ð®±°»®¬·»- ·²ª±´ª»¼ ·² ¿²§ ±²»
                   ®»¾«·´¬     ±®     ®»°´¿½»¼  ©·¬¸             ±½½«®®»²½»       «²¼»®    ¬¸·-    ß¼¼·¬·±²¿´
                   ®»¿-±²¿¾´» -°»»¼ ¿²¼ -·³·´¿®                  Ý±ª»®¿¹» ·- üïððôðððò Ì¸·- ·- ¿²
                   ¯«¿´·¬§å ±®                                   ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò


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Ú±®³ ÐÝ îê ðî3:24-cv-00490-FDW-SCR
              ðï ïè                           Document 1-4 Filed 05/21/24 Page 115 of 579
                                                                                      Ð¿¹» í ±º ç
  ìò Í»½±²¼¿®§ Ü»°»²¼»²½·»- ó Ý±²¬®·¾«¬·²¹                      -¬®«½¬«®» ·- ²±¬ ¿ -»½±²¼¿®§ ½±²¬®·¾«¬·²¹
     ¿²¼ Î»½·°·»²¬ Ô±½¿¬·±²-                                    ´±½¿¬·±²ò
     ¿ò É» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º                   »ò ß²§ °®±°»®¬§ ©¸·½¸ ¼»´·ª»®- ¿²§ ±º ¬¸»
        Þ«-·²»-- ×²½±³» §±« -«-¬¿·² ¼«» ¬± ¬¸»                  º±´´±©·²¹ -»®ª·½»- ·- ²±¬ ¿ -»½±²¼¿®§
        ²»½»--¿®§       -«-°»²-·±²     ±º     §±«®              ½±²¬®·¾«¬·²¹ ´±½¿¬·±² ©·¬¸ ®»-°»½¬ ¬± -«½¸
        ±°»®¿¬·±²- ¼«®·²¹ ¬¸» Ð»®·±¼ ±º                         -»®ª·½»-æ
        Î»-¬±®¿¬·±²ò Ì¸» -«-°»²-·±² ³«-¬ ¾»                     øï÷ É¿¬»® -«°°´§ -»®ª·½»-å
        ½¿«-»¼ ¾§ ¼·®»½¬ °¸§-·½¿´ ´±-- ±º ±®
                                                                øî÷ Ð±©»® -«°°´§ -»®ª·½»-å
        ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± °®±°»®¬§ ¿¬ ¿
        -»½±²¼¿®§ ½±²¬®·¾«¬·²¹ ´±½¿¬·±² ±® ¿¬ ¿                 øí÷ É¿-¬»©¿¬»® ®»³±ª¿´ -»®ª·½»-å ±®
        -»½±²¼¿®§ ®»½·°·»²¬ ´±½¿¬·±²ô ½¿«-»¼ ¾§                 øì÷ Ý±³³«²·½¿¬·±² -«°°´§ -»®ª·½»-ô
        ±® ®»-«´¬·²¹ º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º                         ·²½´«¼·²¹ -»®ª·½»- ®»´¿¬·²¹ ¬± ×²¬»®²»¬
        Ô±--ô ©¸·½¸ ·² ¬«®² ®»-«´¬- ·² °¿®¬·¿´ ±®                    ¿½½»-- ±® ¿½½»-- ¬± ¿²§ »´»½¬®±²·½
        ½±³°´»¬» ·²¬»®®«°¬·±² ±º ¬¸» ³¿¬»®·¿´- ±®                    ²»¬©±®µò
        -»®ª·½»- °®±ª·¼»¼ ¬± §±« ¾§ ¿ ¼»°»²¼»²¬              ºò Í»½±²¼¿®§ ®»½·°·»²¬ ´±½¿¬·±² ·- ¿² »²¬·¬§
        °®±°»®¬§ô ¬¸»®»¾§ ®»-«´¬·²¹ ·² ¬¸»                      ©¸·½¸æ
        -«-°»²-·±² ±º §±«® ±°»®¿¬·±²-ò
                                                                øï÷ ×- ²±¬ ±©²»¼ ±® ±°»®¿¬»¼ ¾§ ¿
     ¾ò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§                      Î»½·°·»²¬ Ô±½¿¬·±²å ¿²¼
        ©¸»² ¬¸» ±²´§ ´±-- ¿¬ ¬¸» -»½±²¼¿®§
                                                                øî÷ ß½½»°¬- ³¿¬»®·¿´- ±® -»®ª·½»- º®±³ ¿
        ½±²¬®·¾«¬·²¹ ´±½¿¬·±² ±® -»½±²¼¿®§
        ®»½·°·»²¬ ´±½¿¬·±² ·- ´±-- ±® ¼¿³¿¹» ¬±                      Î»½·°·»²¬ Ô±½¿¬·±²ô ©¸·½¸ ·² ¬«®²
                                                                     ¿½½»°¬- §±«® ³¿¬»®·¿´- ±® -»®ª·½»-ò
        þÛ´»½¬®±²·½ Ü¿¬¿þô ·²½´«¼·²¹ ¼»-¬®«½¬·±²
        ±® ½±®®«°¬·±² ±º þÛ´»½¬®±²·½ Ü¿¬¿þò ×º ¬¸»              ß ®±¿¼ô ¾®·¼¹»ô ¬«²²»´ô ©¿¬»®©¿§ô ¿·®º·»´¼ô
        -»½±²¼¿®§ ½±²¬®·¾«¬·²¹ ´±½¿¬·±² ±®                      °·°»´·²» ±® ¿²§ ±¬¸»® -·³·´¿® ¿®»¿ ±®
        -»½±²¼¿®§ ®»½·°·»²¬ ´±½¿¬·±² -«-¬¿·²-                   -¬®«½¬«®» ·- ²±¬ ¿ -»½±²¼¿®§ ®»½·°·»²¬
        ´±-- ±® ¼¿³¿¹» ¬± þÛ´»½¬®±²·½ Ü¿¬¿þ ¿²¼                 ´±½¿¬·±²ò
        ±¬¸»® °®±°»®¬§ô ½±ª»®¿¹» «²¼»® ¬¸·-                  ¹ò É·¬¸ ®»-°»½¬ ¬± ¬¸» ½±ª»®¿¹» °®±ª·¼»¼
        »²¼±®-»³»²¬ ©·´´ ²±¬ ½±²¬·²«» ±²½» ¬¸»                  «²¼»®       ¬¸·-    °®±ª·-·±²    øÍ»½±²¼¿®§
        ±¬¸»® °®±°»®¬§ ·- ®»°¿·®»¼ô ®»¾«·´¬ ±®                  Ü»°»²¼»²½·»- ó Ý±²¬®·¾«¬·²¹ ¿²¼
        ®»°´¿½»¼ò Ì¸» ¬»®³ þÛ´»½¬®±²·½ Ü¿¬¿þ ¸¿-                Î»½·°·»²¬ Ô±½¿¬·±²-÷ô ¬¸» Ý±ª»®¿¹»
        ¬¸» ³»¿²·²¹ -»¬ º±®¬¸ ·² ¬¸» Ý±ª»®¿¹»                   Ì»®®·¬±®§ Ù»²»®¿´ Ý±²¼·¬·±² º±«²¼ ·² ¬¸»
        Ð¿®¬ ¬± ©¸·½¸ ¬¸·- °®±ª·-·±² ¿°°´·»-ò                   Ð®±°»®¬§       Ý¸±·½»      Ý±²¼·¬·±²-      ¿²¼
     ½ò É·¬¸ ®»-°»½¬ ¬± ¿ -«-°»²-·±² ±º §±«®                    Ü»º·²·¬·±²- º±®³ ¼±»- ²±¬ ¿°°´§ò
        ±°»®¿¬·±²- ½±ª»®»¼ «²¼»® ¬¸·- °®±ª·-·±²ô          ëò Û¨¬»²¼»¼ ×²½±³»
        ¬¸» ³¿¨·³«³ ¿³±«²¬ °¿§¿¾´» ·- ¬¸»                    ¿ò ×º ¬¸» ²»½»--¿®§ -«-°»²-·±² ±º §±«®
        Ô·³·¬ ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬±                        ±°»®¿¬·±²- ø¿°°´·»- ¬± ¿´´ ±°»®¿¬·±²-
        Ü»°»²¼»²¬ Ð®±°»®¬·»-ò Ì¸·- °®±ª·-·±²ô                   »¨½»°¬         »¼«½¿¬·±²¿´        ·²-¬·¬«¬·±²¿´
        ¼±»- ²±¬ ·²½®»¿-» ¬¸» Ô·³·¬ Ñº ×²-«®¿²½»                ±°»®¿¬·±²-÷ °®±¼«½»- ¿ Þ«-·²»--
        º±® Ü»°»²¼»²¬ Ð®±°»®¬·»-ô ¿- ¿²§                        ×²½±³» ´±-- °¿§¿¾´» «²¼»® ¬¸·- °±´·½§ô
        ¿³±«²¬ °¿§¿¾´» «²¼»® ¬¸·- °®±ª·-·±² ·-                  ©» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º
        ½±²-·¼»®»¼ °¿®¬ ±ºô ²±¬ ·² ¿¼¼·¬·±² ¬±ô                 Þ«-·²»-- ×²½±³» §±« ·²½«® ¼«®·²¹ ¬¸»
        -«½¸ Ü»°»²¼»²¬ Ð®±°»®¬·»- Ô·³·¬ ±º                      °»®·±¼ ¬¸¿¬æ
        ×²-«®¿²½»ô »ª»² ·º ¬¸» -«-°»²-·±² ±º
        §±«® ±°»®¿¬·±²- ·- ½¿«-»¼ ¾§ ¼·®»½¬                     øï÷ Þ»¹·²- ±² ¬¸» ¼¿¬» °®±°»®¬§ ø»¨½»°¬
        °¸§-·½¿´ ´±-- ±º ±® ¼¿³¿¹» ¬± ¼»°»²¼»²¬                      þÍ¬±½µþ       §±«      ¸¿ª»      º·²·-¸»¼
        °®±°»®¬§ ¿²¼ °®±°»®¬§ ¿¬ ±²» ±® ³±®»                         ³¿²«º¿½¬«®·²¹÷ ·- ¿½¬«¿´´§ ®»°¿·®»¼ô
        -»½±²¼¿®§ ½±²¬®·¾«¬·²¹ ´±½¿¬·±²- ±®                          ®»¾«·´¬ ±® ®»°´¿½»¼ ¿²¼ ¾«-·²»--
        -»½±²¼¿®§ ®»½·°·»²¬ ´±½¿¬·±²-ò                               ±°»®¿¬·±²- ¿®» ®»-«³»¼å ¿²¼
     ¼ò Í»½±²¼¿®§ ½±²¬®·¾«¬·²¹ ´±½¿¬·±² ·- ¿²                   øî÷ Û²¼- ±² ¬¸» »¿®´·»® ±ºæ
        »²¬·¬§ ©¸·½¸æ                                                ø¿÷ Ì¸» ¼¿¬» §±« ½±«´¼ ®»-¬±®» §±«®
        øï÷ ×- ²±¬ ±©²»¼ ±® ±°»®¿¬»¼ ¾§ ¿                                 ¾«-·²»--       ±°»®¿¬·±²-ô       ©·¬¸
             Ý±²¬®·¾«¬·²¹ Ô±½¿¬·±²å ¿²¼                                   ®»¿-±²¿¾´» -°»»¼ô ¬± ¬¸» ´»ª»´
                                                                          ©¸·½¸ ©±«´¼ ¹»²»®¿¬» ¬¸»
        øî÷ Ü»´·ª»®- ³¿¬»®·¿´- ±® -»®ª·½»- ¬± ¿                           Þ«-·²»-- ×²½±³» ¿³±«²¬ ¬¸¿¬
             Ý±²¬®·¾«¬·²¹ Ô±½¿¬·±²ô ©¸·½¸ ·² ¬«®²                         ©±«´¼ ¸¿ª» »¨·-¬»¼ ·º ²± ¼·®»½¬
             ¿®» «-»¼ ¾§ ¬¸¿¬ Ý±²¬®·¾«¬·²¹                                °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
             Ô±½¿¬·±² ·² °®±ª·¼·²¹ ³¿¬»®·¿´- ±®                           ¼¿³¿¹» ¸¿¼ ±½½«®®»¼å ±®
             -»®ª·½»- ¬± §±«ò
                                                                     ø¾÷ ïèð ¼¿§- ¬¸¿¬ ·³³»¼·¿¬»´§
        ß ®±¿¼ô ¾®·¼¹»ô ¬«²²»´ô ©¿¬»®©¿§ô ¿·®º·»´¼ô                       º±´´±©- ¿º¬»® ¬¸» ¼¿¬» ¼»¬»®³·²»¼
        °·°»´·²» ±® ¿²§ ±¬¸»® -·³·´¿® ¿®»¿ ±®                             ·² ¿ò øï÷ ¿¾±ª»ò

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      ¾ò ß- ®»-°»½¬- »¼«½¿¬·±²¿´ ±°»®¿¬·±²-ô ¬¸»                         Þ«-·²»-- ×²½±³» ¿²¼ñ±® Û¨¬®¿
          º±´´±©·²¹ ¿°°´·»-æ                                             Û¨°»²-» ·- ´·³·¬»¼ ¬± ¬¸» ¿³±«²¬ ±º
          ×² ¬¸» »ª»²¬ ±º ¿ ½±ª»®»¼ Þ«-·²»--                             ´±-- ¿²¼ñ±® »¨°»²-» -«-¬¿·²»¼ ·² ¿
          ×²½±³» ´±--ô ©» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´                        °»®·±¼ ±º ²±¬ ³±®» ¬¸¿² íð ¼¿§-ò
          ´±-- ±º Þ«-·²»-- ×²½±³» §±« -«-¬¿·²                            Ì¸» ¼¿§- ²»»¼ ²±¬ ¾» ½±²-»½«¬·ª»ò
          ¼«®·²¹ ¬¸» -½¸±±´ ¬»®³ º±´´±©·²¹ ¬¸» ¼¿¬»                 øî÷ ×º ¿ ½±ª»®»¼ ²»½»--¿®§ ·²¬»®®«°¬·±²
          ¬¸» °®±°»®¬§ ·- ¿½¬«¿´´§ ®»°¿·®»¼ô ®»¾«·´¬                     ±º §±«® ¾«-·²»-- ±°»®¿¬·±²- ©¿-
          ±® ®»°´¿½»¼ô ·º ¬¸¿¬ ¼¿¬» ·- êð ¼¿§- ±®                        ½¿«-»¼ ¾§ ´±-- ±® ¼¿³¿¹» ±¬¸»®
          ´»-- ¾»º±®» ¬¸» -½¸»¼«´»¼ ±°»²·²¹ ±º ¬¸»                       ¬¸¿² þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô
          ²»¨¬ -½¸±±´ ¬»®³ò                                              ¾¿½¬»®·¿ ±® ª·®«- °®±´±²¹- ¬¸» Ð»®·±¼
      ½ò Ø±©»ª»®ô Û¨¬»²¼»¼ Þ«-·²»-- ×²½±³»                               ±º Î»-¬±®¿¬·±²ô ©» ©·´´ °¿§ º±® ´±--
          ¼±»- ²±¬ ¿°°´§ ¬± ´±-- ±º Þ«-·²»--                             ¿²¼ñ±® »¨°»²-» -«-¬¿·²»¼ ¼«®·²¹ ¬¸»
          ×²½±³» ·²½«®®»¼ ¿- ¿ ®»-«´¬ ±º                                 ¼»´¿§ ø®»¹¿®¼´»-- ±º ©¸»² -«½¸
          «²º¿ª±®¿¾´» ¾«-·²»-- ½±²¼·¬·±²- ½¿«-»¼                         ¼»´¿§ ±½½«®- ¼«®·²¹ ¬¸» Ð»®·±¼ ±º
          ¾§ ¬¸» ·³°¿½¬ ±º ¬¸» Ý±ª»®»¼ Ý¿«-» ±º                          Î»-¬±®¿¬·±²÷ô ¾«¬ -«½¸ ½±ª»®¿¹» ·-
          Ô±-- ·² ¬¸» ¿®»¿ ©¸»®» ¬¸» ·²-«®»¼                             ´·³·¬»¼ ¬± íð ¼¿§- ·² ¬±¬¿´ò Ì¸» ¼¿§-
          °®»³·-»- ¿®» ´±½¿¬»¼ò                                          ²»»¼ ²±¬ ¾» ½±²-»½«¬·ª»ò
      ¼ò Ô±-- ±º Þ«-·²»-- ×²½±³» ³«-¬ ¾»                     éò Ú«¬«®» Û¿®²·²¹-
          ½¿«-»¼ ¾§ ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬              ¿ò ×² ¬¸» »ª»²¬ ±º ¿ ½±ª»®»¼ Þ«-·²»--
          °¸§-·½¿´ ¼¿³¿¹» ¿¬ ¬¸» ·²-«®»¼-                           ×²½±³» ´±-- ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þô ©»
          °®»³·-»- ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿                    ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»--
          Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò                                    ×²½±³» §±« -«¾-»¯«»²¬´§ ¿²¼ ²»½»--¿®·´§
   êò þÚ«²¹«-þô É»¬ Î±¬ô Ü®§ Î±¬ô Þ¿½¬»®·¿ ¿²¼                      -«-¬¿·² ¿º¬»® ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±²
      Ê·®«- ó Ô·³·¬»¼ Ý±ª»®¿¹»                                      ¿²¼ ¬¸» Û¨¬»²¼»¼ ×²½±³» °»®·±¼ »²¼-
                                                                    ¿²¼ ¬¸¿¬ ¬¸» ¿½¬«¿´ ´±-- ·² Þ«-·²»--
      ¿ò Ì¸» ½±ª»®¿¹» ¼»-½®·¾»¼ ¾»´±© ±²´§
                                                                    ×²½±³» ·- ¼·®»½¬´§ ¿¬¬®·¾«¬¿¾´» ¬± ¬¸»
          ¿°°´·»- ©¸»² ¬¸» þº«²¹«-þô ©»¬ ®±¬ô ¼®§                   Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ±½½«®®»²½»ò
          ®±¬ô ¾¿½¬»®·¿ ±® ª·®«- ·- ¬¸» ®»-«´¬ ±º ±²»
          ±® ³±®» ±º ¬¸» º±´´±©·²¹ ½¿«-»- ¬¸¿¬                  ¾ò Ø±©»ª»®ô Ú«¬«®» Û¿®²·²¹- ¼±»- ²±¬ ¿°°´§
          ±½½«®- ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ ¿²¼ ±²´§                  ¬± ´±-- ±º Þ«-·²»-- ×²½±³» ·²½«®®»¼ ¿- ¿
          ·º ¿´´ ®»¿-±²¿¾´» ³»¿²- ©»®» «-»¼ ¬±                      ®»-«´¬ ±º «²º¿ª±®¿¾´» ¾«-·²»-- ½±²¼·¬·±²-
          -¿ª» ¿²¼ °®»-»®ª» ¬¸» °®±°»®¬§ º®±³                       ½¿«-»¼ ¾§ ¬¸» ·³°¿½¬ ±º ¬¸» Ý±ª»®»¼
          º«®¬¸»® ¼¿³¿¹» ¿¬ ¬¸» ¬·³» ±º ¿²¼ ¿º¬»®                   Ý¿«-» ±º Ô±-- ·² ¬¸» ¿®»¿ ©¸»®» ¬¸»
          ¬¸¿¬ ±½½«®®»²½»æ                                          ·²-«®»¼ °®»³·-»- ¿®» ´±½¿¬»¼ò
          øï÷ ß þ-°»½·º·»¼ ½¿«-» ±º ´±--þ ±¬¸»®                 ½ò Ì¸·- ½±ª»®¿¹» ©·´´ ¿°°´§ ¬± ¬¸» ¿½¬«¿´
               ¬¸¿² º·®» ±® ´·¹¸¬²·²¹å                              ´±-- ±º ¾«-·²»-- ·²½±³» §±« -«-¬¿·²
                                                                    ©·¬¸·² î §»¿®- º®±³ ¬¸» ¼¿¬» ¬¸» Ý±ª»®»¼
          øî÷ Û¯«·°³»²¬ ¾®»¿µ¼±©² ¿½½·¼»²¬                          Ý¿«-» ±º Ô±-- ±½½«®®»¼ò
               ±½½«®- ¬± Û¯«·°³»²¬ Þ®»¿µ¼±©²
               Ð®±°»®¬§ô ·º Û¯«·°³»²¬ Þ®»¿µ¼±©²              èò ×²¹®»-- ±® Û¹®»--
               ¿°°´·»- ¬± ¬¸» »ºº»½¬»¼ °®»³·-»-å ±®             ¿ò Ì¸·- ·²-«®¿²½» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬±
          øí÷ Ú´±±¼ô ·º ¬¸» Ý¿«-»- ±º Ô±-- ó Ú´±±¼                  ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» §±«
               »²¼±®-»³»²¬ ¿°°´·»- ¬± ¬¸» »ºº»½¬»¼                  -«-¬¿·² ©¸»² ·²¹®»-- ±® »¹®»-- ¬± §±«®
               °®»³·-»-ò                                            þÍ½¸»¼«´»¼ Ð®»³·-»-þ ·- -°»½·º·½¿´´§
                                                                    °®±¸·¾·¬»¼ ¿- ¬¸» ¼·®»½¬ ®»-«´¬ ±º ¿
      ¾ò Ì¸» º±´´±©·²¹ ¿°°´·»- ±²´§ ·º Þ«-·²»--
                                                                    Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± °®±°»®¬§ ¿¬
          ×²½±³» ¿²¼ñ±® Û¨¬®¿ Û¨°»²-» ½±ª»®¿¹»                      °®»³·-»- ¬¸¿¬ ·- ½±²¬·¹«±«- ¬± §±«®
          ¿°°´·»- ¬± ¬¸» þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¿²¼                   þÍ½¸»¼«´»¼ Ð®»³·-»-þò
          ±²´§ ·º ¬¸» ²»½»--¿®§ ·²¬»®®«°¬·±² ±º §±«®
          ¾«-·²»-- ±°»®¿¬·±²- -¿¬·-º·»- ¿´´ ¬»®³-               ¾ò Ý±ª»®¿¹» º±® Þ«-·²»-- ×²½±³» ©·´´ ¾»¹·²
          ¿²¼ ½±²¼·¬·±²- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò                     ¿º¬»® ¿ É¿·¬·²¹ Ð»®·±¼ ±º îì ¸±«®- ø«²´»--
                                                                    ¿ ¼·ºº»®»²¬ É¿·¬·²¹ Ð»®·±¼ ¿°°´·½¿¾´» ¬±
          øï÷ ×º ¬¸» ´±-- ©¸·½¸ ®»-«´¬- ·² þº«²¹«-þô
                                                                    ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- -¸±©² ¾§
               ©»¬ ®±¬ô ¼®§ ®±¬ô ¾¿½¬»®·¿ ±® ª·®«-                  »²¼±®-»³»²¬÷ ¿º¬»® ¬¸» ¬·³» ±º ¬¸»
               ¼±»- ²±¬ ·² ·¬-»´º ²»½»--·¬¿¬» ¿                     Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¿²¼ ©·´´ »²¼ ¿¬
               ²»½»--¿®§ ·²¬»®®«°¬·±² ±º §±«®                       ¬¸» »¿®´·»® ±ºæ
               ¾«-·²»-- ±°»®¿¬·±²-ô ¾«¬ -«½¸
               ·²¬»®®«°¬·±² ·- ²»½»--¿®§ ¼«» ¬± ´±--                øï÷ É¸»² ·²¹®»-- ±® »¹®»-- ·- °»®³·¬¬»¼
               ±® ¼¿³¿¹» ¬± °®±°»®¬§ ½¿«-»¼ ¾§                           ¬± ±® º®±³ §±«® þÍ½¸»¼«´»¼ Ð®»³·-»-þå
               þº«²¹«-þô ©»¬ ®±¬ô ¼®§ ®±¬ô ¾¿½¬»®·¿ ±®                   ±®
               ª·®«-ô ¬¸»² ±«® °¿§³»²¬ «²¼»®                        øî÷ íð ½±²-»½«¬·ª» ¼¿§-ò


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              ðï ïè                             Document 1-4 Filed 05/21/24 Page 117 of 579
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      ½ò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ·ºæ                  ß½¯«·®»¼ Ð®»³·-»-ò Ò»©´§ ß½¯«·®»¼
          øï÷ Ì¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬                      Ð®»³·-»- ³»¿²- °®»³·-»- §±« ¿½¯«·®»ô
               °¸§-·½¿´ ¼¿³¿¹» ·- ½¿«-»¼ ¾§ ±®                        °«®½¸¿-» ±® ´»¿-» ¿º¬»® ¬¸» ·²½»°¬·±² ±º
               ®»-«´¬- º®±³ º´±±¼ ±® »¿®¬¸¯«¿µ»                       ¬¸·- °±´·½§ô ¾«¬ ¼±»- ²±¬ ·²½´«¼»æ
               »ª»² ·º º´±±¼ ±® »¿®¬¸¯«¿µ» ¿®»                        øï÷ ß²§ °®»³·-»- ¿½¯«·®»¼ ¬¸®±«¹¸ ¿²§
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          øî÷ Ì¸» ·²¹®»-- ¬± ±® »¹®»-- º®±³ §±«®                      øî÷ ß²§ °®»³·-»- ±º ±¬¸»®- ©¸»®» §±«
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               ¾§ ½·ª·´ ¿«¬¸±®·¬§ò                                        ·²-¬¿´´·²¹ °®±°»®¬§ ±® °»®º±®³·²¹
  çò Ô»--±®ù- Ì»²¿²¬ Ó±ª» Þ¿½µ Û¨°»²-»-                                   ³¿·²¬»²¿²½» ±® -»®ª·½» ©±®µå ±®
      ¿ò ×² ¬¸» »ª»²¬ ¬¸¿¬ §±«® ¬»²¿²¬- ³«-¬                          øí÷ ß²§ °®»³·-»- ½±ª»®»¼ ¾§ ¿²§ ±¬¸»®
          ¬»³°±®¿®·´§ ª¿½¿¬» ¬¸» ½±ª»®»¼ Þ«·´¼·²¹                         °¿®¬ ±º ¬¸·- Ý±ª»®¿¹» Ú±®³ò
          °®±°»®¬§ ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¼«» ¬±                 ¾ò ×²-«®¿²½» º±® »¿½¸ Ò»©´§ ß½¯«·®»¼
          «²¬»²¿²¬¿¾·´·¬§ ½¿«-»¼ ¾§ ¼·®»½¬ °¸§-·½¿´                  Ð®»³·-»- ©·´´ »²¼ ©¸»² ¿²§ ±º ¬¸»
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          Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± ¬¸» ½±ª»®»¼                       -¸±®¬ ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±²æ
          Þ«·´¼·²¹ô ©» ©·´´ °¿§ º±® ¬¸» º±´´±©·²¹
                                                                      øï÷ Ì¸·- °±´·½§ »¨°·®»-å
          »¨°»²-»- §±« ¿½¬«¿´´§ ·²½«® ¬± ³±ª»
          ¬¸±-» ¬»²¿²¬- ¾¿½µ ·²¬± §±«® ½±ª»®»¼                        øî÷ ïèð ¼¿§- »¨°·®» ¿º¬»® §±« ¿½¯«·®»
          Þ«·´¼·²¹ò É» ©·´´ ±²´§ °¿§ º±® ¬¸»                              ¬¸» °®±°»®¬§å
          º±´´±©·²¹ »¨°»²-»-æ                                         øí÷ Ç±« ®»°±®¬ ª¿´«»- ¬± «-æ ±®
          øï÷ Ð¿½µ·²¹ô ¬®¿²-°±®¬·²¹ ¿²¼ «²°¿½µ·²¹                     øì÷ Ì¸» °®±°»®¬§ ·- ³±®» -°»½·º·½¿´´§
               ¬¸» ¬»²¿²¬-ù Þ«-·²»-- Ð»®-±²¿´                             ·²-«®»¼ò
               Ð®±°»®¬§ô ·²½´«¼·²¹ ¬¸» ½±-¬ ±º
               ·²-«®·²¹ ¬¸» ³±ª» ¾¿½µ ¿²¼ ¿²§                         É» ©·´´ ½¸¿®¹» §±« ¿¼¼·¬·±²¿´ °®»³·«³
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               º«®²·¬«®» ¿²¼ »¯«·°³»²¬ô ¿²¼                   ïîò Ñ®¼·²¿²½» ±® Ô¿© ó ×²½®»¿-»¼ Ð»®·±¼ ±º
          øî÷ Ì¸» ²»¬ ½±-¬ ¬± ®»ó»-¬¿¾´·-¸ ¬¸»                    Î»-¬±®¿¬·±²
               ¬»²¿²¬-ù «¬·´·¬§ ¿²¼ ¬»´»°¸±²» -»®ª·½»-ô           ¿ò ×º ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ±½½«®- ¬±
               ¿º¬»® ¿²§ ®»º«²¼- ¼«» ¬¸» ¬»²¿²¬-ò                    °®±°»®¬§ ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þô
      ¾ò É» ©·´´ ±²´§ °¿§ º±® ¬¸»-» »¨°»²-»- ¬¸¿¬                    ½±ª»®¿¹» ·- »¨¬»²¼»¼ ¬± ·²½´«¼» ¬¸»
          §±« ¿½¬«¿´´§ ·²½«® ©·¬¸·² êð ¼¿§- º®±³                     ¿³±«²¬ ±º ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»--
          ¬¸» ¼¿¬» ¬¸¿¬ ¬¸» ¼¿³¿¹»¼ ¾«·´¼·²¹ ¸¿-                     ×²½±³» ¿²¼ ¬¸» ¿½¬«¿´ô ²»½»--¿®§ ¿²¼
          ¾»»² ®»°¿·®»¼ ±® ®»¾«·´¬ ¿²¼ ·º ²»»¼»¼ ¿                   ®»¿-±²¿¾´» Û¨¬®¿ Û¨°»²-» §±« ·²½«®
          ½»®¬·º·½¿¬» ±º ±½½«°¿²½§ ¸¿- ¾»»²                          ¼«®·²¹ ¬¸» ·²½®»¿-»¼ °»®·±¼ ±º
          ¹®¿²¬»¼ò                                                   -«-°»²-·±² ±º ±°»®¿¬·±²- ½¿«-»¼ ¾§ ±®
      ½ò Ì¸» ³±-¬ ©» ©·´´ °¿§ ¬¸» -«³ ·² ¿²§ ±²»                     ®»-«´¬·²¹ º®±³ ¿ ®»¯«·®»³»²¬ ¬± ½±³°´§
                                                                     ©·¬¸ ¿²§ ±®¼·²¿²½» ±® ´¿© ¬¸¿¬æ
          ±½½«®®»²½» ±º ½±ª»®»¼ ´±-- «²¼»® ¬¸·-
          ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- üïðôðððò Ì¸·- ·-                    øï÷ Î»¹«´¿¬»- ¬¸» ½±²-¬®«½¬·±² ±® ®»°¿·®
          ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò                             ±º ¾«·´¼·²¹-ô ±® »-¬¿¾´·-¸»- ¦±²·²¹ ±®
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  ïðò Ó¿½¸·²»®§ Ì»-¬·²¹ ¿²¼ Ì®¿·²·²¹
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      ×² ¬¸» »ª»²¬ ·¬ ©¿- ²»½»--¿®§ ¬± ®»°´¿½»
      ³¿½¸·²»®§ ¼¿³¿¹»¼ ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º                        øî÷ Î»¯«·®»- ¬¸» ¼»³±´·¬·±² ±º °¿®¬- ±º
      Ô±--ô ©» ©·´´ »¨¬»²¼ ¬¸» Ð»®·±¼ ±º                                 ¬¸» -¿³» °®±°»®¬§ ²±¬ ¼¿³¿¹»¼ ¾§
      Î»-¬±®¿¬·±² ¬± ·²½´«¼»æ                                            ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--å ¿²¼
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          ®»°´¿½»³»²¬ ³¿½¸·²»®§å ¿²¼                              ¾ò Ý±ª»®¿¹» ·- ²±¬ »¨¬»²¼»¼ «²¼»® ¬¸·-
      ¾ò Ì¸» ¿¼¼·¬·±²¿´ ¬·³» ¬± ¬®¿·² »³°´±§»»-                      ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¬± ·²½´«¼» ´±--
          ±² ¬¸» ¼·ºº»®»²½»- ·² ±°»®¿¬·²¹ ¬¸»                        ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¬¸»
          ¼¿³¿¹»¼         ³¿½¸·²»®§        ¿²¼      ¬¸»              »²º±®½»³»²¬ ±º ±® ½±³°´·¿²½» ©·¬¸ ¿²§
          ®»°´¿½»³»²¬ ³¿½¸·²»®§ò                                     ±®¼·²¿²½» ±® ´¿©æ
  ïïò Ò»©´§ ß½¯«·®»¼ Ð®»³·-»-                                        øï÷ É¸·½¸ ®»¯«·®»- ¬¸» ¼»³±´·¬·±²ô
                                                                         ®»°¿·®ô ®»°´¿½»³»²¬ô ®»½±²-¬®«½¬·±²ô
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          Þ«-·²»-- ×²½±³» §±« -«-¬¿·² ¼«» ¬±                             °®±°»®¬§ ¼«» ¬± ¬¸» °®»-»²½»ô
          ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´                        ¹®±©¬¸ô °®±´·º»®¿¬·±²ô -°®»¿¼ ±® ¿²§
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          Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± Ò»©´§                                 ¾¿½¬»®·¿ ±® ª·®«-å ±®

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       ¾ò Í«½¸ ´±-- ³«-¬ ¾» ®»°±®¬»¼ ¬± «- ·²                   ¿ò Ì¸·- ·²-«®¿²½» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬±
          ©®·¬·²¹ ©·¬¸·² ïèð ¼¿§- ±º ¬¸» ¼¿¬» ±²                   ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» §±«
          ©¸·½¸ ¬¸» Ý±ª»®»¼ Ý¿«-» ±º Ô±--                          -«-¬¿·² ¿²¼ ¬¸» ¿½¬«¿´ô ²»½»--¿®§ ¿²¼
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          ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò                       øï÷ Ç±«® Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§å
   ïìò Í»©»® ¿²¼ Ü®¿·² Þ¿½µ«°                                           ¿²¼
       ¿ò É» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º                       øî÷ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ±©²»¼
          Þ«-·²»-- ×²½±³» §±« -«-¬¿·² ¿²¼ ¬¸»                           ¾§ ±¬¸»®-ò
          ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿                ¾ò Ì¸·- Ý±ª»®¿¹» ©·´´ ½±²¬·²«» ¬± ¿°°´§ ¬±
          Û¨°»²-» §±« ·²½«® ¼«» ¬± ¼·®»½¬ °¸§-·½¿´                 -«½¸ °®±°»®¬§ ·² ¬¸» ¼«» ½±«®-» ±º
          ´±-- ±º ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬±                     ¬®¿²-·¬ô    ¿º¬»®    ¬¸»     »¨°·®¿¬·±²    ±®
          °®±°»®¬§ ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þô                        ½¿²½»´´¿¬·±² ±º ¬¸·- °±´·½§ô «²¬·´ ¿®®·ª¿´ ¿¬
          Ò»©´§ ß½¯«·®»¼ Ð®»³·-»- ¿²¼ Ë²²¿³»¼                      ¿²¼ ¿½½»°¬»¼ ¾§ ¿² ¿«¬¸±®·¦»¼
          Ð®»³·-»- ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³                     ®»°®»-»²¬¿¬·ª»       ¿¬     ¬¸»      ·²ª±·½»¼
          ©¿¬»® ±® ±¬¸»® ³¿¬»®·¿´- ¬¸¿¬ ¾¿½µ- «°                   ¼»-¬·²¿¬·±²ô ¾«¬ º±® ²± ´±²¹»® ¬¸¿² íð
          º®±³ ¿ -»©»® ±® ¼®¿·²ò                                   ¼¿§- ¿º¬»® ¬¸» ¼¿¬» ±º ¬¸» -¸·°³»²¬
       ¾ò ÌØ×Í ×Í ÒÑÌ ÚÔÑÑÜ ×ÒÍËÎßÒÝÛò                             ±®·¹·²¿¬·±²ô ¾«¬ ¬¸·- ©·´´ ²±¬ ½«¬ -¸±®¬ ¬¸»
          Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§                  Ð»®·±¼ ±º Î»-¬±®¿¬·±²ò
          ¬± ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹              ½ò Ç±« ³«-¬ ®»¬¿·² ¿½½«®¿¬» ®»½±®¼- ±º ¿´´
          º®±³ Ú´±±¼ ®»¹¿®¼´»-- ±º ¬¸» °®±¨·³·¬§ ±º                -¸·°³»²¬- ±º Ý±ª»®»¼ Ð®±°»®¬§ º±® ±²»
          ¬¸» ¾¿½µó«° ±® ±ª»®º´±© ¬± -«½¸                          §»¿®ò
          ½±²¼·¬·±²-ò                                           ¼ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» -«³ ±º ¿´´
          Ú´±±¼ ¿- «-»¼ ·² ¬¸·- °®±ª·-·±² ³»¿²-æ                   Þ«-·²»-- ×²½±³» ¿²¼ Û¨¬®¿ Û¨°»²-» ·²
          øï÷ Í«®º¿½» ©¿¬»®ô ©¿ª»-ô ¬·¼¿´ ©¿¬»®ô                   ¿²§ ±²» ±½½«®®»²½» «²¼»® ¬¸·- ß¼¼·¬·±²¿´
               ¬·¼¿´ ©¿ª»-ô ¬-«²¿³·-ô ±® ±ª»®º´±© ±º               Ý±ª»®¿¹» ·- üïððôðððò Ì¸·- ·- ¿²
               ¿²§ ²¿¬«®¿´ ±® ³¿² ³¿¼» ¾±¼§ ±º                     ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò

      Case
Ú±®³ ÐÝ îê ðî3:24-cv-00490-FDW-SCR
              ðï ïè                            Document 1-4 Filed 05/21/24 Page 119 of 579
                                                                                       Ð¿¹» é ±º ç
      »ò Ú±® ¬¸» Ì®¿²-·¬ ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ô ¬¸»               »ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º
         Ý±ª»®¿¹» Ì»®®·¬±®§ ·- ©·¬¸·² ±® ¾»¬©»»²                     Þ«-·²»-- ×²½±³» §±« -«-¬¿·² ¿²¼ ¬¸»
         ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿ô ø·²½´«¼·²¹                    ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿
         ·¬- ¬»®®·¬±®·»- ¿²¼ °±--»--·±²-÷ô Ð«»®¬±                    Û¨°»²-» §±« ·²½«® ·² ¿²§ ±²» ±½½«®®»²½»
         Î·½± ¿²¼ Ý¿²¿¼¿å ¸±©»ª»®ô ©¿¬»®¾±®²»                        «²¼»® ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¿¬ ¿²§ ±²»
         -¸·°³»²¬- ¿®» ½±ª»®»¼ ±²´§ ·º ±² ·²´¿²¼                     »¨¸·¾·¬·±² ·- ¬¸» ´·³·¬ ±º ·²-«®¿²½»
         ©¿¬»®©¿§- ±® ·² ¬»®®·¬±®·¿´ ©¿¬»®-ô ©·¬¸·²                  ¿°°´·½¿¾´» ¬± Þ«-·²»-- ×²½±³» ¿²¼ Û¨¬®¿
         ïî ³·´»- ±º ´¿²¼ò                                           Û¨°»²-» Ô·³·¬ò
  ïêò Ë²²¿³»¼ Ð®»³·-»-                                      ïéò Ë¬·´·¬§ Í»®ª·½» ×²¬»®®«°¬·±²
      ¿ò Ì¸·- ·²-«®¿²½» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬±                 ¿ò Ì¸·- ·²-«®¿²½» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬± ¬¸»
         ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» §±«                      ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» §±« -«-¬¿·²
         -«-¬¿·² ¿²¼ ¬¸» ¿½¬«¿´ô ²»½»--¿®§ ¿²¼                       ¿²¼ ¬¸» ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´»
         ®»¿-±²¿¾´» Û¨¬®¿ Û¨°»²-» §±« ·²½«®                          Û¨¬®¿ Û¨°»²-» §±« ·²½«® ¿¬ þÍ½¸»¼«´»¼
         ½¿«-»¼ ¾§ ¼·®»½¬ °¸§-·½¿´ ´±-- ±º ±®                        Ð®»³·-»-þô þÒ»©´§ ß½¯«·®»¼ Ð®»³·-»-þ
         ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼                         ¿²¼ Ë²²¿³»¼ Ð®»³·-»- ½¿«-»¼ ¾§ ¬¸»
         Ý¿«-» ±º Ô±-- ¬± Ð®±°»®¬§ ©¸·´» ¿¬æ                         ·²¬»®®«°¬·±² ±º -°»½·º·½ -»®ª·½»-ò
         øï÷ Ð®»³·-»- ¬¸¿¬ §±« ±©²ô ´»¿-»ô ±®                        Ì¸» ·²¬»®®«°¬·±² ³«-¬ ®»-«´¬ º®±³ ¼·®»½¬
              ±½½«°§ ±¬¸»® ¬¸¿² ¿¬ ¿ þÍ½¸»¼«´»¼                      °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»
              Ð®»³·-»-þå                                             ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬± °®±°»®¬§
         øî÷ Ð®»³·-»- ²±¬ ¼»-½®·¾»¼ ·² ¬¸»                           ±«¬-·¼» ¬¸» ·²-«®»¼ °®»³·-»- ¾±«²¼¿®§
              Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º                            ¿²¼ ©¸·½¸ °®±ª·¼»- ¬¸» º±´´±©·²¹
              Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô ©¸·½¸ §±«                      -»®ª·½»-æ
              ¼± ²±¬ ±©²ô ´»¿-» ±® ±½½«°§å                           øï÷ É¿¬»® Í«°°´§ Ð®±°»®¬§ô ³»¿²·²¹ ¬¸»
         øí÷ Ð®»³·-»- ©¸»®» §±« ¿®» ¬»³°±®¿®·´§                           º±´´±©·²¹ ¬§°»- ±º °®±°»®¬§ -«°°´§·²¹
              °»®º±®³·²¹     ©±®µ      ±®  ·²-¬¿´´·²¹                     ©¿¬»® ¬± ¬¸» ¼»-½®·¾»¼ °®»³·-»-æ
              Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ¿²¼                              ø¿÷ Ð«³°·²¹ -¬¿¬·±²-å ¿²¼
              §±«® ·²-«®¿¾´» ·²¬»®»-¬ ½±²¬·²«»-                           ø¾÷ É¿¬»® ³¿·²-ò
              «²¬·´ ¬¸» ·²-¬¿´´¿¬·±² ·- ¿½½»°¬»¼ ¾§
                                                                     øî÷ É¿-¬»©¿¬»® Î»³±ª¿´ Ð®±°»®¬§ô
              ¬¸» ½«-¬±³»®ò
                                                                          ³»¿²·²¹ ¿ «¬·´·¬§ -§-¬»³ º±®
      ¾ò Ë²²¿³»¼ Ð®»³·-»- ¼±»- ²±¬ ·²½´«¼»                                ®»³±ª·²¹ ©¿-¬»©¿¬»® ¿²¼ -»©¿¹»
         ¿²§æ                                                             º®±³ ¬¸» ¼»-½®·¾»¼ °®»³·-»-ô ±¬¸»®
         øï÷ Ð®»³·-»- ±® °®±°»®¬§ ½±ª»®»¼ «²¼»®                           ¬¸¿² ¿ -§-¬»³ ¼»-·¹²»¼ °®·³¿®·´§ º±®
              ¿²§ ±¬¸»® ½±ª»®¿¹» ±º ¬¸·- Ý±ª»®¿¹»                         ¼®¿·²·²¹ -¬±®³ ©¿¬»®ò Ì¸» «¬·´·¬§
              Ú±®³å                                                       °®±°»®¬§ ·²½´«¼»- -»©»® ³¿·²-ô
         øî÷ É¿-¬» ¼·-°±-¿´ ±® ¬®¿²-º»® -·¬»-å                            °«³°·²¹ -¬¿¬·±²- ¿²¼ -·³·´¿®
                                                                          »¯«·°³»²¬ º±® ³±ª·²¹ ¬¸» »ºº´«»²¬ ¬±
         øí÷ ×²¬»®³»¼·¿¬» -·¬» ©¸·´» ·² ¬¸» ¼«»                           ¿ ¸±´¼·²¹ô ¬®»¿¬³»²¬ ±® ¼·-°±-¿´
              ½±«®-» ±º ¬®¿²-·¬å ±®                                       º¿½·´·¬§ô ¿²¼ ·²½´«¼»- -«½¸ º¿½·´·¬·»-ò
         øì÷ Ð®»³·-»- ±º ¿ É»¾ Í·¬» ±® ×²¬»®²»¬                           Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬±
              Í»®ª·½»- °®±ª·¼»®ò                                          ·²¬»®®«°¬·±² ·² -»®ª·½» ½¿«-»¼ ¾§ ±®
      ½ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±--                         ®»-«´¬·²¹ º®±³ ¿ ¼·-½¸¿®¹» ±º ©¿¬»®
         ±º Þ«-·²»-- ×²½±³» §±« -«-¬¿·² ¿²¼ ¬¸»                           ±® -»©¿¹» ¼«» ¬± ¸»¿ª§ ®¿·²º¿´´ ±®
         ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿                           º´±±¼·²¹ò
         Û¨°»²-» §±« ·²½«® ·² ¿²§ ±²»                                øí÷ Ý±³³«²·½¿¬·±² Í«°°´§ Ð®±°»®¬§ô
         ±½½«®®»²½»      «²¼»®      ¬¸·-  ß¼¼·¬·±²¿´                      ³»¿²·²¹         °®±°»®¬§       -«°°´§·²¹
         Ý±ª»®¿¹» ¿¬ ¿´´ «²²¿³»¼ °®»³·-»- ±¬¸»®                           ½±³³«²·½¿¬·±² -»®ª·½»-ô ·²½´«¼·²¹
         ¬¸¿² ¿¬ ¿²§ ±²» ·²-¬¿´´¿¬·±² ±® ¿¬ ¿²§ ±²»                       ¬»´»°¸±²»ô ®¿¼·±ô ³·½®±©¿ª» ±®
         »¨¸·¾·¬·±² ·- üïððôðððò                                          ¬»´»ª·-·±² -»®ª·½»-ô ¬± ¬¸» ¼»-½®·¾»¼
      ¼ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±--                         °®»³·-»-ô -«½¸ ¿-æ
         ±º Þ«-·²»-- ×²½±³» §±« -«-¬¿·² ¿²¼ ¬¸»                           ø¿÷ Ý±³³«²·½¿¬·±²          ¬®¿²-³·--·±²
         ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿                                ´·²»-ô ·²½´«¼·²¹ ±°¬·½ º·¾»®
         Û¨°»²-» §±« ·²½«® ·² ¿²§ ±²»                                          ¬®¿²-³·--·±² ´·²»-å
         ±½½«®®»²½»      «²¼»®      ¬¸·-  ß¼¼·¬·±²¿´
         Ý±ª»®¿¹» ¿¬ ¿²§ ±²» ·²-¬¿´´¿¬·±² ·- ¬¸»                          ø¾÷ Ý±¿¨·¿´ ½¿¾´»-å ¿²¼
         ´·³·¬ ±º ·²-«®¿²½» ¿°°´·½¿¾´» ¬± Þ«-·²»--                       ø½÷ Ó·½®±©¿ª» ®¿¼·± ®»´¿§- »¨½»°¬
         ×²½±³» ¿²¼ Û¨¬®¿ Û¨°»²-»ò Ì¸·- ·-                                   -¿¬»´´·¬»-ò
         ·²½´«¼»¼ ·² ¬¸» Þ«-·²»-- ×²½±³» ¿²¼                        øì÷ Ð±©»® Í«°°´§ Ð®±°»®¬§ô ³»¿²·²¹ ¬¸»
         Û¨¬®¿ Û¨°»²-» Ô·³·¬ ±º ×²-«®¿²½»ò                              º±´´±©·²¹ ¬§°»- ±º °®±°»®¬§ -«°°´§·²¹


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              »´»½¬®·½·¬§ô -¬»¿³ ±® ¹¿- ¬± ¬¸»                    Ô±-- ¬± °®±°»®¬§ ¬¸¿¬ §±« ¼»°»²¼ ±² º±®
              ¼»-½®·¾»¼ °®»³·-»-æ                                 É»¾-·¬» ¿²¼ ×²¬»®²»¬ Í»®ª·½»-ò
              ø¿÷ Ë¬·´·¬§ ¹»²»®¿¬·²¹ °´¿²¬-å                      É»¾-·¬» ¿²¼ ×²¬»®²»¬ Í»®ª·½»- ³»¿²-æ
              ø¾÷ Í©·¬½¸·²¹ -¬¿¬·±²-å                             øï÷ ×²¬»®²»¬ ¿½½»--ô »ó³¿·´ô ©»¾ ¸±-¬·²¹
              ø½÷ Í«¾-¬¿¬·±²-å                                        ¿²¼ ¿°°´·½¿¬·±² -±º¬©¿®» -»®ª·½»- ¿¬
                                                                      ¬¸» °®»³·-»- ±º ±¬¸»®-ô ±®
              ø¼÷ Ì®¿²-º±®³»®-å ¿²¼
                                                                  øî÷ Î±«¬»®     ·²º®¿-¬®«½¬«®»   -»®ª·½»-ô
              ø»÷ Ì®¿²-³·--·±² ´·²»-ò                                 ·²½´«¼·²¹ ½¿¾´» ¿²¼ ©·®»´»--ô ´±½¿¬»¼
      ¾ò ß- «-»¼ ·² ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ô ¬¸»                     ±«¬-·¼» §±«® °®»³·-»- ¾±«²¼¿®§ò
         ¬»®³ ¬®¿²-³·--·±² ´·²»- ·²½´«¼»- ¿´´ ´·²»-            ¾ò É» ©·´´ ²±¬ °¿§ º±® ¿²§ Þ«-·²»-- ×²½±³»
         ©¸·½¸ -»®ª» ¬± ¬®¿²-³·¬ ½±³³«²·½¿¬·±²                    ´±-- «²¼»® ¬¸·- Ý±ª»®¿¹» ¬¸¿¬ §±«
         -»®ª·½» ±® °±©»®ô ·²½´«¼·²¹ ´·²»- ©¸·½¸                  -«-¬¿·² ¼«®·²¹ ¬¸» ïî ¸±«®- ø«²´»-- ¿
         ³¿§ ¾» ·¼»²¬·º·»¼ ¿- ¼·-¬®·¾«¬·±² ´·²»-ò                 ¼·ºº»®»²¬ É¿·¬·²¹ Ð»®·±¼ º±® ¬¸·-
      ½ò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬                        Ý±ª»®¿¹» ·- ·²¼·½¿¬»¼ ·² ¬¸» Ð®±°»®¬§
         ·²½´«¼» ¿²§ ´±-- ±® ¼¿³¿¹» ¼«» ¬±                        Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
         ¬»³°»®¿¬«®» ½¸¿²¹» ±® -°±·´¿¹»ò                          Ý±ª»®¿¹»- ±® ¾§ »²¼±®-»³»²¬÷ ¬¸¿¬
                                                                  ·³³»¼·¿¬»´§ º±´´±© ¬¸» ¬·³» ©¸»² §±«
      ¼ò Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§
                                                                  º·®-¬ ¼·-½±ª»®»¼ ¬¸» Ý±ª»®»¼ Ý¿«-» ±º
         ¬± ¬¸» Ü»°»²¼»²¬ Ð®±°»®¬·»- ß¼¼·¬·±²¿´
                                                                  Ô±--ò Ì¸·- É¿·¬·²¹ Ð»®·±¼ ¼±»- ²±¬
         Ý±ª»®¿¹»ò
                                                                  ¿°°´§ ¬± Û¨¬®¿ Û¨°»²-»ò
      »ò É» ©·´´ ²±¬ °¿§ º±® Þ«-·²»-- ×²½±³»
                                                               ½ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±--
         ´±-- §±« -«-¬¿·² ¼«®·²¹ ¬¸» îì ¸±«®-
                                                                  ±º Þ«-·²»-- ×²½±³» ±® ²»½»--¿®§ ¿²¼
         ø«²´»-- ¿ ¼·ºº»®»²¬ É¿·¬·²¹ Ð»®·±¼ ·-
                                                                  ®»¿-±²¿¾´» Û¨¬®¿ Û¨°»²-» ·² ¿²§ ±²»
         »·¬¸»® -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
                                                                  ±½½«®®»²½»    «²¼»®     ¬¸·-  ß¼¼·¬·±²¿´
         Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ±®
                                                                  Ý±ª»®¿¹» ·- ¬¸» ´»--»® ±ºæ
         ·- -¸±©² ¾§ »²¼±®-»³»²¬÷ ¬¸¿¬
         ·³³»¼·¿¬»´§ º±´´±© ¿º¬»® ¬¸» Ý±ª»®»¼                     øï÷ Ì¸» ¿³±«²¬ ±º ¬¸» ¿½¬«¿´ ´±-- ±º
         Ý¿«-» ±º Ô±--ò Ì¸·- É¿·¬·²¹ Ð»®·±¼                           Þ«-·²»-- ×²½±³» §±« -«-¬¿·² ¼«®·²¹
         ¼±»- ²±¬ ¿°°´§ ¬± Û¨¬®¿ Û¨°»²-»ò                             ¬¸» íð ¼¿§ °»®·±¼ ·³³»¼·¿¬»´§
                                                                      º±´´±©·²¹ ¬¸» É¿·¬·²¹ Ð»®·±¼ ¿²¼ ¬¸»
      ºò   Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» -«³ ±º ¿´´
                                                                      ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿
           ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» ¿²¼ ¬¸»
                                                                      Û¨°»²-» §±« ·²½«® ©¸»² §±« º·®-¬
           ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿
                                                                      ¼·-½±ª»®»¼ ¬¸» Ý±ª»®»¼ Ý¿«-» ±º
           Û¨°»²-» §±« ·²½«® ·² ¿²§ ±²»
                                                                      Ô±-- ø¼«®·²¹ ¬¸» É¿·¬·²¹ Ð»®·±¼÷ ¿²¼
           ±½½«®®»²½»     «²¼»®    ¬¸·-  ß¼¼·¬·±²¿´
                                                                      º±® ¿ íð ¼¿§ °»®·±¼ ·³³»¼·¿¬»´§
           Ý±ª»®¿¹» ·- üîëôðððò Ì¸·- ·- ¿²
                                                                      º±´´±©·²¹ ¬¸» É¿·¬·²¹ Ð»®·±¼å ±®
           ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò
                                                                  øî÷ üïððôðððò
   ïèò É»¾ Í·¬» ¿²¼ ×²¬»®²»¬ Í»®ª·½»-
                                                               ¼ò É·¬¸ ®»-°»½¬ ¬± É»¾ Í·¬»-ô ¬¸·-
      ¿ò Ì¸·- ·²-«®¿²½» ·- »¨¬»²¼»¼ ¬± ¿°°´§ ¬±
                                                                  ½±ª»®¿¹» ¿°°´·»- ±²´§ ·º §±« ¸¿ª» ¿
         ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³» §±«
                                                                  ¾¿½µó«° ½±°§ ±º §±«® É»¾ Ð¿¹» -¬±®»¼
         -«-¬¿·² ¿²¼ ¬¸» ¿½¬«¿´ ²»½»--¿®§ ¿²¼
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         ®»¿-±²¿¾´» Û¨¬®¿ Û¨°»²-» §±« ·²½«®
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                                                                  ·²-«®¿²½»ò




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                                                                                       Ð¿¹» ç ±º ç
                                                                                              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




                   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
                                                   øÐÎÑÐÛÎÌÇ÷


Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
Ü»½´¿®¿¬·±²-ò Ì¸» ©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± Ú±®³ ÐÝ ðð çð
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ º±® ¼»º·²·¬·±²-ò

ßò ÝÑÊÛÎßÙÛ                                                             øç÷ Î¿¼·± ±® ¬»´»ª·-·±² ¬±©»®-ô ¿²¬»²²¿-
    É» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±º ±® ¼·®»½¬                       ¿²¼      -¿¬»´´·¬»  ¼·-¸»-    ø·²½´«¼·²¹
    °¸§-·½¿´ ¼¿³¿¹» ¬± ¬¸» º±´´±©·²¹ ¬§°»- ±º Ý±ª»®»¼                       ¿¬¬¿½¸³»²¬-÷ô º»²½»-ô -·¹²- ¿²¼ ±¬¸»®
    Ð®±°»®¬§ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿ Ý±ª»®»¼                          ±«¬¼±±® º·¨¬«®»-å
    Ý¿«-» ±º Ô±--ò Ý±ª»®»¼ Ð®±°»®¬§ô ¿- «-»¼ ·² ¬¸·-                    øïð÷ß°°´·¿²½»- «-»¼ º±® ®»º®·¹»®¿¬·²¹ô
    Ý±ª»®¿¹» Ð¿®¬ô ³»¿²- ¬¸» ¬§°» ±º °®±°»®¬§                               ª»²¬·´¿¬·²¹ô ½±±µ·²¹ô ¼·-¸©¿-¸·²¹ ±®
    ¼»-½®·¾»¼ ·² ¬¸·- Í»½¬·±²ô ßòïò Ý±ª»®»¼ Ð®±°»®¬§                        ´¿«²¼»®·²¹å
    º±® ©¸·½¸ ¿ Ô·³·¬ ±º ×²-«®¿²½» ¿²¼ ¿ °®»³·-»-                       øïï÷Ð®±°»®¬§ ±©²»¼ ¾§ §±« º±® ¬¸»
    ¿¼¼®»-- ·- -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó                               ³¿·²¬»²¿²½» ±® -»®ª·½» ±º ¬¸» ¾«·´¼·²¹
    Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ò                                     ±® ·¬- °®»³·-»-ô ·²½´«¼·²¹ º·®»
    ïò Ý±ª»®»¼ Ð®±°»®¬§                                                     »¨¬·²¹«·-¸·²¹      »¯«·°³»²¬ô     ¿´¿®³ô
                                                                            ½±³³«²·½¿¬·±²        ¿²¼     ³±²·¬±®·²¹
        ¿ò Þ«·´¼·²¹ ³»¿²- ¾«·´¼·²¹- ±® -¬®«½¬«®»-
                                                                            -§-¬»³-ô ¿²¼ ´¿©² ³¿·²¬»²¿²½» ±®
           ¬¸¿¬æ
                                                                            -²±© ®»³±ª¿´ »¯«·°³»²¬å
            øï÷ Ç±« ±©²å ±®                                             øïî÷Î»¬¿·²·²¹ ©¿´´- ¿¬¬¿½¸»¼ ¬± ¾«·´¼·²¹-å
            øî÷ ß®» ®»-°±²-·¾´» º±® ·²-«®·²¹ò                           øïí÷Í©·³³·²¹ °±±´- ©¸»¬¸»® ±® ²±¬
            Þ«·´¼·²¹ ¿´-± ·²½´«¼»-æ                                         ¿¬¬¿½¸»¼ ¬± ¬¸» ¾«·´¼·²¹å
            øï÷ Þ«·´¼·²¹- ±® -¬®«½¬«®»- ·² ¬¸» ½±«®-»                   øïì÷ß°°«®¬»²¿²¬ -¬®«½¬«®»- ©¸»¬¸»® ±® ²±¬
                ±º ½±²-¬®«½¬·±²å                                            ¿¬¬¿½¸»¼ ¬± ¬¸» ¾«·´¼·²¹å
            øî÷ ß´¬»®¿¬·±²-ô ®»°¿·®- ±® ¿¼¼·¬·±²- ¬± ¬¸»                øïë÷Û´»½¬®±²·½ ½¿® ½¸¿®¹·²¹ -¬¿¬·±²-å
                ¾«·´¼·²¹å                                               øïê÷Í±´¿® °¿²»´- ¿¬¬¿½¸»¼ ¬± ¬¸» ¾«·´¼·²¹å
            øí÷ Ú±«²¼¿¬·±²-å                                            øïé÷É¿´µ-ô ®±¿¼©¿§-ô °¿¬·±- ±® ±¬¸»® °¿ª»¼
            øì÷ Ë²¼»®¹®±«²¼ °·°»-ô º´«»- ±® ¼®¿·²-                          -«®º¿½»- ¿¬ ¿ þÍ½¸»¼«´»¼ Ð®»³·-»-þò
                ²»½»--¿®§ º±® ¬¸» -»®ª·½» ±º ¬¸»                     ¾ò Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§
                ¾«·´¼·²¹å                                               øï÷ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ³»¿²-æ
            øë÷ Û¨½¿ª¿¬·±²-ô ¹®¿¼·²¹ô ¾¿½µº·´´·²¹ ±®                        ø¿÷ ß´´ ±º Ç±«® Þ«-·²»-- Ð»®-±²¿´
                º·´´·²¹ ¬¸¿¬ ¿®» ²»½»--¿®§ ¬± ®»°¿·®ô                            Ð®±°»®¬§ ±©²»¼ ¾§ §±«® ¾«-·²»--å
                ®»¾«·´¼ ±® ®»°´¿½» ¬¸» ¾«·´¼·²¹ ±® ·¬-                           ¿²¼
                º±«²¼¿¬·±²å                                                 ø¾÷ Þ«-·²»--       Ð»®-±²¿´     Ð®±°»®¬§
            øê÷ Ð»®³¿²»²¬´§ ·²-¬¿´´»¼ ³¿½¸·²»®§ ¿²¼                              ±©²»¼ ¾§ ±¬¸»®-ô ¬¸¿¬ ·- ·² §±«®
                »¯«·°³»²¬å                                                       ½¿®»ô ½«-¬±¼§ ±® ½±²¬®±´ ø·²½´«¼·²¹
            øé÷ ß©²·²¹-ô þÞ«·´¼·²¹ Ù´¿--þ ¿²¼ º´±±®                              ´»¿-»¼ °®±°»®¬§ ¿- °®±ª·¼»¼ ·² ¿
                ½±ª»®·²¹-å                                                       ©®·¬¬»² ´»¿-» ¿¹®»»³»²¬÷å
            øè÷ Ó¿¬»®·¿´-ô »¯«·°³»²¬ ¿²¼ -«°°´·»-ô                      øî÷ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ¿´-±
                «-»¼ ·² ¬¸» ½±²-¬®«½¬·±²ô ¿´¬»®¿¬·±² ±®                     ·²½´«¼»-æ
                ®»°¿·® ±º ¾«·´¼·²¹-å                                        ø¿÷ Ú«®²·¬«®»ô º·¨¬«®»-ô ³¿½¸·²»®§ ¿²¼
                                                                                 »¯«·°³»²¬å


Ú±®³ ÐÝ ðð ïð ðï ïè                                                                                 Ð¿¹» ï ±º ê
                                            w îðïèô Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR
            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º Document    1-4 Filed
                                              ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                         ×²½ò ©·¬¸ ·¬- Page  122 of 579
                                                                                       °»®³·--·±²ò÷
             ø¾÷ þÍ¬±½µþå                                         ½±²¬¿·²»¼ ©·¬¸·² ¿²§ -¬±®¿¹» ¬¿²µô º±® «-» ·²
             ø½÷ þÝ±³°«¬»® Û¯«·°³»²¬þå                            §±«®      ³¿²«º¿½¬«®·²¹    ±®    °®±½»--·²¹
                                                                  ±°»®¿¬·±²-÷ô ¼¿³-ô «²¼»®¹®±«²¼ ³·²»-ô
             ø¼÷ þÛ´»½¬®±²·½ Ü¿¬¿þ ¿²¼ þÊ¿´«¿¾´»
                                                                  ¿²¼ ½¿ª»®²-ò
                 Ð¿°»®-þå
                                                               µò Ê»¸·½´»-ô ¿²¼ -»´ºó°®±°»´´»¼ ³¿½¸·²»-ô
             ø»÷ Ð¿¬¬»®²-ô ¼·»-ô ³±´¼- ¿²¼ º±®³-å
                                                                  ·²½´«¼·²¹ ¿·®½®¿º¬ ø·²½´«¼·²¹ þ«²³¿²²»¼
             øº÷ Ç±«® ·²¬»®»-¬ ·² ¬¸» ´¿¾±®ô                      ¿·®½®¿º¬þ÷ ¿²¼ ©¿¬»®½®¿º¬ô »¨½»°¬ ¬¸»
                 ³¿¬»®·¿´- ±® -»®ª·½»- º«®²·-¸»¼ ±®               º±´´±©·²¹ ¿®» Ý±ª»®»¼ Ð®±°»®¬§æ
                 ¿®®¿²¹»¼ ¾§ §±« ±² Þ«-·²»--
                                                                    øï÷ Ê»¸·½´»- ¿²¼ -»´ºó°®±°»´´»¼ ³¿½¸·²»-ô
                 Ð»®-±²¿´ Ð®±°»®¬§ §±« ¸¿ª»
                                                                        ø·²½´«¼·²¹ ¿·®½®¿º¬ ¿²¼ ©¿¬»®½®¿º¬÷ ¬¸¿¬
                 ·²-¬¿´´»¼ ±® ®»°¿·®»¼å
                                                                        §±« ³¿²«º¿½¬«®»ô °®±½»--ô ©¿®»¸±«-»
             ø¹÷ þÌ»²¿²¬       ×³°®±ª»³»²¬-     ¿²¼                     ±® ¸±´¼ º±® -¿´» ø»¨½»°¬ ¿«¬±³±¾·´»-
                 Þ»¬¬»®³»²¬-þå                                          ¸»´¼ º±® -¿´»÷ ©¸·´» ´±½¿¬»¼ ¿¬ ·²-«®»¼
             ø¸÷ Ì±±´- ¿²¼ »¯«·°³»²¬ ±©²»¼ ¾§                           °®»³·-»-å
                 §±«® »³°´±§»»- ¬¸¿¬ ¿®» «-»¼ ·²                    øî÷ Ê»¸·½´»- ¿²¼ -»´ºó°®±°»´´»¼ ³¿½¸·²»-ô
                 §±«® ¾«-·²»-- ±°»®¿¬·±²-å                              ø»¨½»°¬ ¿·®½®¿º¬ ¿²¼ ©¿¬»®½®¿º¬÷ ¬¸¿¬
             ø·÷ Þ«·´¼·²¹       ½±³°±²»²¬-    ©¸·´»                     §±« ±°»®¿¬» °®·²½·°¿´´§ ±² §±«®
                 ®»³±ª»¼ º®±³ ¬¸» °®»³·-»- º±®                          ·²-«®»¼ °®»³·-»-ô ¬¸¿¬ ¿®» ²±¬
                 -»®ª·½» ±® ®»°¿·®å                                     ´·½»²-»¼ ±® ®»¹·-¬»®»¼ º±® «-» ±²
             ø¶÷ Ô±¬¬»®§ ¬·½µ»¬- ¸»´¼ º±® -¿´» ¿²¼                      °«¾´·½ ®±¿¼-å ¿²¼
                 °±-¬¿¹» -¬¿³°- ·² ½«®®»²¬ «-¿¹»å                   øí÷ Ý¿²±»- ¿²¼ ®±©¾±¿¬- ©¸·´» ±«¬ ±º ¬¸»
             øµ÷ Û´»½¬®±²·½ ½¿® ½¸¿®¹·²¹ -¬¿¬·±²- ·º                    ©¿¬»® ¿¬ ·²-«®»¼ °®»³·-»-ò
                 ²±¬ ½±ª»®»¼ «²¼»® Þ«·´¼·²¹ò                   ´ò   Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ¬¸¿¬ §±« ¸¿ª»
         øí÷ Ý±ª»®¿¹»      ¿°°´·»-    ¬±   Þ«-·²»--                 -±´¼ «²¼»®æ
             Ð»®-±²¿´ Ð®±°»®¬§ «° ¬± ïððð º»»¬                      øï÷ Ý±²¼·¬·±²¿´ -¿´»å
             ±«¬-·¼» ¬¸» °®»³·-»- ¾±«²¼¿®§ò
                                                                    øî÷ Ì®«-¬ ¿¹®»»³»²¬å
  îò Ð®±°»®¬§ Ò±¬ Ý±ª»®»¼
                                                                    øí÷ ×²-¬¿´´³»²¬ °¿§³»²¬å
     Ý±ª»®»¼ Ð®±°»®¬§ ¼±»- ²±¬ ·²½´«¼» ¬¸»
     º±´´±©·²¹ «²´»-- ¿² »²¼±®-»³»²¬ ·- ¿¼¼»¼ ¬±                    øì÷ Ñ¬¸»® ¼»º»®®»¼ °¿§³»²¬ °´¿²å ±®
     ¬¸·- Ý±ª»®¿¹» Ð¿®¬æ                                            øë÷ Ñ¬¸»® ¿¹®»»³»²¬ «²¼»® ©¸·½¸ §±«
     ¿ò ß½½±«²¬-ô ¾·´´-ô ½«®®»²½§ô º±±¼ -¬¿³°- ±®                       ¸¿ª» ®»¬¿·²»¼ ¿ -»½«®·¬§ ·²¬»®»-¬å
          ±¬¸»® »ª·¼»²½»- ±º ¼»¾¬ô þ³±²»§þô ²±¬»- ±®           ³ò Ð®±°»®¬§ ¬¸¿¬ ·- ³±®» -°»½·º·½¿´´§ ½±ª»®»¼ô
          þ-»½«®·¬·»-þò                                           ·²-«®»¼ ±® ¼»-½®·¾»¼ «²¼»® ¿²±¬¸»®
     ¾ò ß²·³¿´-ô »¨½»°¬ ¿²·³¿´- ·²-·¼» ¾«·´¼·²¹-ô                 ½±ª»®¿¹» º±®³ ±º ¬¸·- °±´·½§ ±® ¿²§ ±¬¸»®
          ¿²¼æ                                                    °±´·½§ô »¨½»°¬ º±® ¬¸» »¨½»-- ±º ¬¸»
          øï÷ Ñ©²»¼ ¾§ ±¬¸»®- ¿²¼ ¾±¿®¼»¼ ¾§ §±«å                 ¿³±«²¬ ¼«» ø©¸»¬¸»® §±« ½¿² ½±´´»½¬ ±² ·¬
               ±®                                                 ±® ²±¬÷ º®±³ ¬¸¿¬ ±¬¸»® ·²-«®¿²½»ò
          øî÷ Ñ©²»¼ ¾§ §±« ¿- þÍ¬±½µþò                         ²ò Ô·ª» »¹¹-ô ¸«³¿² ¬·--«»ô ¾±¼·´§ º´«·¼-ô ±®
                                                                  »³¾®§±-ò
     ½ò Ð®±°»®¬§ ±©²»¼ ¾§ ¿²¼ º±® »¨½´«-·ª»
          °»®-±²¿´ «-» ¾§ §±« ±® §±«® ±ºº·½»®-ô                ±ò Î»¬¿·²·²¹     ©¿´´- ²±¬ ¿¬¬¿½¸»¼ ¬± ¬¸»
          ³»³¾»®-ô °¿®¬²»®- ±® »³°´±§»»-ò                         ¾«·´¼·²¹ò
     ¼ò Ð®±°»®¬§ ±©²»¼ ¾§ §±«® ®»-·¼»²¬-ô                  íò Ý±ª»®»¼ Ý¿«-»- ±º Ô±--
          °¿¬·»²¬-ô ±® -¬«¼»²¬-ò                               Í»» Ð®±°»®¬§ Ý¸±·½» ó Ý±ª»®»¼ Ý¿«-»- ±º
     »ò Ð®±°»®¬§ ±©²»¼ ¾§ §±«® ¬»²¿²¬-ò                        Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³ò
     ºò Ý±²¬®¿¾¿²¼ô ±® °®±°»®¬§ ·² ¬¸» ½±«®-» ±º        Þò ÛÈÝÔËÍ×ÑÒÍ
          ·´´»¹¿´ ¬®¿²-°±®¬¿¬·±² ±® ¬®¿¼»ò                 Í»» ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Ý±ª»®»¼ Ý¿«-»- ±º
     ¹ò Ù®±©·²¹ ½®±°- ±® -¬¿²¼·²¹ ¬·³¾»®ò                  Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³ò
     ¸ò Ù®¿·²ô ¸¿§ô -¬®¿© ±® ±¬¸»® ½®±°- ©¸·½¸          Ýò Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
          ¸¿ª» ¾»»² ¸¿®ª»-¬»¼ô ¾«¬ ¿®» ±«¬-·¼» ±º          Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ´±-- ±® ¼¿³¿¹» ·² ¿²§
          ¾«·´¼·²¹- ±® -¬®«½¬«®»-ò                         ±²» ±½½«®®»²½» ·- ¬¸» -³¿´´»-¬ ¿°°´·½¿¾´» Ô·³·¬ ±º
     ·ò Ñ«¬¼±±® ¬®»»-ô -¸®«¾-ô °´¿²¬- ¿²¼ -±¼              ×²-«®¿²½» -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
          ø±¬¸»® ¬¸¿² ¬¸±-» ¸»´¼ º±® -¿´»÷ ¿²¼ ´¿©²-ò      Ü»½´¿®¿¬·±²-ô Í½¸»¼«´»-ô Ý±ª»®¿¹» Ú±®³ø-÷ ±®
     ¶ò Ô¿²¼ ø·²½´«¼·²¹ ´¿²¼ ±² ©¸·½¸ ¬¸» °®±°»®¬§ ·-      Û²¼±®-»³»²¬ø-÷ò
          ´±½¿¬»¼÷ô ´¿²¼ ª¿´«»-ô ©¿¬»® ø»¨½»°¬ ©¿¬»®



Ð¿¹» î Case
       ±º ê 3:24-cv-00490-FDW-SCR             Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                               123 ÐÝ
                                                                                   of 579
                                                                                      ðð ïð ðï ïè
Üò ÜÛÜËÝÌ×ÞÔÛ                                                     øë÷ ×² ¬¸» »ª»²¬ ±º ¿ ¬±¬¿´ ´±-- ¬± Þ«-·²»--
   É» ©·´´ ²±¬ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬                 Ð»®-±²¿´ Ð®±°»®¬§ô ©» ®»¬¿·² ±«® ®·¹¸¬
   °¸§-·½¿´ ¼¿³¿¹» ·² ¿²§ ±²» ±½½«®®»²½» «²¬·´ ¬¸»                    ¬± -¿´ª¿¹» -«½¸ Þ«-·²»-- Ð»®-±²¿´
   ¿³±«²¬ ±º ´±-- ±® ¼¿³¿¹» »¨½»»¼- ¬¸» ¿°°´·½¿¾´»                    Ð®±°»®¬§ò
   Ü»¼«½¬·¾´» -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´»              øê÷ Î»°´¿½»³»²¬ Ý±-¬ ¼±»- ²±¬ ·²½´«¼»
   ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ±® Û²¼±®-»³»²¬ø-÷ò                       ¿²§ ·²½®»¿-»¼ ½±-¬ ¿¬¬®·¾«¬¿¾´» ¬±
   É» ©·´´ ¬¸»² °¿§ ¬¸» ¿³±«²¬ ±º ´±-- ·² »¨½»-- ±º                   »²º±®½»³»²¬ ±º ±® ½±³°´·¿²½» ©·¬¸
   ¬¸» Ü»¼«½¬·¾´»ô «° ¬± ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º                      ¿²§ ±®¼·²¿²½» ±® ´¿© ®»¹«´¿¬·²¹ ¬¸»
   ×²-«®¿²½»ò                                                         ½±²-¬®«½¬·±²ô «-» ±® ®»°¿·® ±º ¿²§
  É¸»² ½´¿·³ ·- ³¿¼» º±® ´±-- ±® ¼¿³¿¹» ¬± ³±®»                       °®±°»®¬§ò
  ¬¸¿² ±²» ¬§°» ±º °®±°»®¬§ô ½±ª»®¿¹»ô °®»³·-»-ô ±®           ¾ò É» ©·´´ °¿§ §±« ±² ¿² ß½¬«¿´ Ý¿-¸ Ê¿´«»
  Ý¿«-» ±º Ô±-- ¿²¼ ¼·ºº»®»²¬ ¼»¼«½¬·¾´» ¿³±«²¬-                 ¾¿-·- «²¬·´ ¬¸» ´±-¬ ±® ¼¿³¿¹»¼ °®±°»®¬§ ·-
  ¿°°´§ ·² ¬¸» -¿³» ±½½«®®»²½»ô ©» ©·´´ ±²´§ ¿°°´§               ¿½¬«¿´´§ ®»°¿·®»¼ô ®»¾«·´¬ ±® ®»°´¿½»¼ò
  ¬¸» ´¿®¹»-¬ ¿°°´·½¿¾´» ¼»¼«½¬·¾´» º±® ¬¸» ·¬»³ º±®          ½ò ×º §±« ¼± ²±¬ ®»°¿·®ô ®»°´¿½» ±® ®»¾«·´¼ ±²
  ©¸·½¸ ½´¿·³ ·- ³¿¼» «²´»-- -°»½·º·»¼ ¾§
                                                                 ¬¸» -¿³» -·¬» ±® ¿²±¬¸»® -·¬» ©·¬¸·² î
  »²¼±®-»³»²¬ò
                                                                 §»¿®- ±º ¬¸» ¼¿¬» ±º ´±--ô ©» ©·´´ °¿§ §±«
Ûò ÔÑÍÍ ÐßÇÓÛÒÌ ßÒÜ ÊßÔËßÌ×ÑÒ ÝÑÒÜ×Ì×ÑÒÍ                         ±² ¿² ß½¬«¿´ Ý¿-¸ Ê¿´«» ¾¿-·-ò
   Ý±ª»®»¼ Ð®±°»®¬§ ©·´´ ¾» ª¿´«»¼ ¿¬ »·¬¸»®                  ¼ò Ð¿¬¬»®²-ô ¼·»-ô ³±´¼- ¿²¼ º±®³- ²±¬ ·²
   Î»°´¿½»³»²¬ Ý±-¬ ±® ß½¬«¿´ Ý¿-¸ Ê¿´«»ô ¿-                     ½«®®»²¬ «-¿¹» ¿¬ ¿½¬«¿´ ½¿-¸ ª¿´«»ò ×º ´±--
   -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º                     ·- °¿·¼ ±² ¿² ¿½¬«¿´ ½¿-¸ ª¿´«» ¾¿-·- ¿²¼
   Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ¿²¼ ¿- ¼»-½®·¾»¼ ¾»´±©                 ©·¬¸·² êð ³±²¬¸- º®±³ ¬¸» ¼¿¬» ±º ¬¸»
   »¨½»°¬ º±® ¬¸» ·¬»³- ´·-¬»¼ ¾»´±© ·² ·¬»³ íò                  ½±ª»®»¼ ´±-- ¿²¼ §±« ²»»¼ ¬± ®»°¿·® ±®
   Í°»½·º·½ Ð®±°»®¬§ Ê¿´«¿¬·±²-ò É» ©·´´ ²±¬ °¿§                 ®»°´¿½» ¬¸»³ô ©» ©·´´ °¿§ §±«ô -«¾¶»½¬ ¬±
   ³±®» ¬¸¿² §±«® º·²¿²½·¿´ ·²¬»®»-¬ ·² ¬¸» ´±-¬ ±®              ¬¸» Ý±²¼·¬·±²- ±º ¬¸·- ·²-«®¿²½»ô ¬¸»
   ¼¿³¿¹»¼ °®±°»®¬§ò                                             ¼·ºº»®»²½» ¾»¬©»»² ¿½¬«¿´ ½¿-¸ ª¿´«» ¿²¼
   ïò Î»°´¿½»³»²¬ Ý±-¬                                           ®»°´¿½»³»²¬ ½±-¬ ©¸»² ¬¸» °¿¬¬»®²-ô ¼·»-ô
                                                                 ³±´¼- ¿²¼ º±®³- ¿®» ¿½¬«¿´´§ ®»°¿·®»¼ ±®
      ×² ¬¸» »ª»²¬ ±º ½±ª»®»¼ ´±-- ±® ¼¿³¿¹»ô ©»                 ®»°´¿½»¼ò
      ©·´´ ¼»¬»®³·²» ¬¸» ª¿´«» ±º Ý±ª»®»¼ Ð®±°»®¬§
      ¿¬ ¬¸» ¿½¬«¿´ ¿³±«²¬ -°»²¬ ¬± ®»°¿·®ô ®»°´¿½»        îò ß½¬«¿´ Ý¿-¸ Ê¿´«»
      ±® ®»¾«·´¼ ¬¸» ¼¿³¿¹»¼ °®±°»®¬§ ¿- ±º ¬¸» ¬·³»          ¿ò É» ©·´´ °¿§ §±« ±² ¿² ß½¬«¿´ Ý¿-¸ Ê¿´«»
      ±º ¬¸» ´±-- ±® ¼¿³¿¹»ô ¿¬ ¬¸» -¿³» -·¬» ±®                 ¾¿-·- ·ºæ
      ¿²±¬¸»® -·¬»ô -«¾¶»½¬ ¬± ¬¸» º±´´±©·²¹æ                     øï÷ Ì¸» ª¿´«¿¬·±² ±º ¬¸» ´±-¬ ±® ¼¿³¿¹»¼
      ¿ò É» ©·´´ ²±¬ °¿§ ³±®» º±® ´±-¬ ±® ¼¿³¿¹»¼                     °®±°»®¬§ ·- ¼»-·¹²¿¬»¼ ·² ¬¸» Ð®±°»®¬§
           °®±°»®¬§ ¬¸¿² ¬¸» ´»¿-¬ ±º                                 Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
           øï÷ Ì¸» Ô·³·¬ ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬±                   Ý±ª»®¿¹»- ¿- ß½¬«¿´ Ý¿-¸ Ê¿´«»ò
               ¬¸» ´±-¬ ±® ¼¿³¿¹»¼ °®±°»®¬§å                      øî÷ Ç±« »´»½¬ ß½¬«¿´ Ý¿-¸ Ê¿´«» ¿- ¬¸»
           øî÷ Ì¸» ¿³±«²¬ ·¬ ½±-¬- ¬± ®»°´¿½»ô ±² ¬¸»                 ¾¿-·- º±® ´±-- °¿§³»²¬ ¿¬ ¬¸» ¬·³» ±º
               -¿³» °®»³·-»-ô ¬¸» ´±-¬ ±® ¼¿³¿¹»¼                     ´±-- ±® ¼¿³¿¹»ò
               °®±°»®¬§ ©·¬¸ ±¬¸»® °®±°»®¬§æ                  ¾ò ×² ¬¸» »ª»²¬ ±º ½±ª»®»¼ ´±-- ±® ¼¿³¿¹»ô ¿¬
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                    ¯«¿´·¬§å ¿²¼                                 ¾«¬ ²±¬ °¿§ ³±®» ¬¸¿² ¬¸» Ô·³·¬ ±º
               ø¾÷ Ë-»¼ º±® ¬¸» -¿³» °«®°±-»å ±®                 ×²-«®¿²½» ¿°°´·½¿¾´» ¬± ¬¸» ´±-¬ ±®
                                                                 ¼¿³¿¹»¼ °®±°»®¬§æ
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               ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´» ¬± ®»°¿·® ±®              øï÷ Ð¿§ ¬¸» ª¿´«» ±º ¬¸» ´±-¬ ±® ¼¿³¿¹»¼
               ®»°´¿½» ¬¸» ´±-¬ ±® ¼¿³¿¹»¼ °®±°»®¬§                   °®±°»®¬§ ¿¬ ¬¸» ¬·³» ±º ´±--å
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               §±«® Þ«·´¼·²¹ °®±°»®¬§ ¿¬ ¿²±¬¸»®                 Ð»®-±²¿´ Ð®±°»®¬§ô ©» ®»¬¿·² ±«® ®·¹¸¬ ¬±
               °®»³·-»-ô ¸±©»ª»®ô ©» ©·´´ ²±¬ °¿§                -¿´ª¿¹» -«½¸ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ò
               ³±®» ¬¸¿² ¬¸» ½±-¬ ¬± ®»°´¿½» ¬¸»
                                                              ¼ò ß½¬«¿´ Ý¿-¸ Ê¿´«» ¼±»- ²±¬ ·²½´«¼» ¬¸»
               Þ«·´¼·²¹ °®±°»®¬§ ¿¬ ¬¸» ±®·¹·²¿´
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               °®»³·-»-ò

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Ú±®³ ÐÝ ðð ïð3:24-cv-00490-FDW-SCR
              ðï ïè                            Document 1-4 Filed 05/21/24 Page 124 of 579
                                                                                       Ð¿¹» í ±º ê
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         ¿²§ °®±°»®¬§ò                                               ¿½¬«¿´ô ®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§
     »ò ×º ¬¸» ¿½¬«¿´ ¿³±«²¬ -°»²¬ ¬± ®»°¿·®ô                        ½±-¬- §±« ·²½«® ¬± ®»-¬±®» ±® ®»°´¿½»
        ®»°´¿½» ±® ®»¾«·´¼ ¬¸» ¼¿³¿¹»¼ °®±°»®¬§                      þÛ´»½¬®±²·½ Ü¿¬¿þò
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                 ¿²§ ¼»³±²-¬®¿¬»¼ ª¿®·¿²½» º®±³                      ±® ¿²§ ±¬¸»® °¿®¬§ º±® ´±-- ±® ¼¿³¿¹»
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         ©·´´ °¿§ ¿ °®±°±®¬·±² ±º ¬¸» ´±-- ¬± ¬¸»                  øï÷ Ó¿²«º¿½¬«®»¼       Í¬±½µ    ø·²½´«¼·²¹
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         ¾«·´¼·²¹ô ©» ©·´´ °¿§ §±« ¬¸» º«´´ ª¿´«» ±º                   Ì¸·- ¿´-± ¿°°´·»- ¬± ½±³°±²»²¬ °¿®¬-
         ¬¸» ´±-- ¬± ¬¸» °¿®¬§ ©¿´´ô -«¾¶»½¬ ¬± ¿´´                    ³¿²«º¿½¬«®»¼ ¾§ ±¬¸»®- ¬¸¿¬ ©·´´
         ¿°°´·½¿¾´» °±´·½§ °®±ª·-·±²- ·²½´«¼·²¹                        ¾»½±³» ¿ °¿®¬ ±º §±«® º·²·-¸»¼
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         Ý±²¼·¬·±²ò Ñ«® °¿§³»²¬ «²¼»® ¬¸»                              É» ©·´´ ¼»¬»®³·²» ¬¸» ª¿´«» ±º
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         Î·¹¸¬- Ñº Î»½±ª»®§ ß¹¿·²-¬ Ñ¬¸»®- Ì± Ë-                       ¬± þÍ¬±½µþ §±« ¸¿ª» ³¿²«º¿½¬«®»¼ò
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                  °®±°»®¬§å ±®                                         ø¿÷ Ì¸» °±-¬»¼ ³¿®µ»¬ °®·½» ¿- ±º ¬¸»
                                                                           ¬·³» ¿²¼ °´¿½» ±º ´±--å
              ø½÷ ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò
                                                                       ø¾÷ Ô»-- ¼·-½±«²¬- ¿²¼ »¨°»²-»- §±«
          øî÷ ×º ²± -«½¸ ½±²¬®¿½¬ »¨·-¬- ©» ©·´´ ²±¬
                                                                           ±¬¸»®©·-» ©±«´¼ ¸¿ª» ¸¿¼ò
              °¿§ ³±®» ¬¸¿² §±«® º·²¿²½·¿´ ·²¬»®»-¬
              ·² Ð»®-±²¿´ Ð®±°»®¬§ ±º Ñ¬¸»®- ²±¬ ¬±           ·ò   þÌ»²¿²¬ ×³°®±ª»³»²¬- ¿²¼ Þ»¬¬»®³»²¬-þ
              »¨½»»¼æ                                              øï÷ ×º §±« ¼± ²±¬ ®»°¿·® ±® ®»°´¿½» ´±-¬ ±®
              ø¿÷ ¬¸» ß½¬«¿´ Ý¿-¸ Ê¿´«» ±º -«½¸                        ¼¿³¿¹»¼ þÌ»²¿²¬ ×³°®±ª»³»²¬- ¿²¼
                  °®±°»®¬§æ ±®                                         Þ»¬¬»®³»²¬-þ ©·¬¸·² î §»¿®-ô ©» ©·´´
                                                                       °¿§ ¬¸» °®± ®¿¬¿ ±º ¬¸» ß½¬«¿´ Ý¿-¸
              ø¾÷ ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò                   Ê¿´«» ¾¿-»¼ ±² ¬¸» ¼«®¿¬·±² ±º ¬¸»
          øí÷ ß¬ §±«® ±°¬·±²ô ©» ³¿§ ¿¼¶«-¬ ´±--»-                     ´»¿-» ¿²¼ ¬¸» ·²-¬¿´´¿¬·±² ¼¿¬» ±º ¬¸»
              ©·¬¸ ¬¸» ±©²»®- ±º ´±-¬ ±® ¼¿³¿¹»¼                       °®±°»®¬§ò
              °®±°»®¬§ ·º ±¬¸»® ¬¸¿² §±«ò ×º ©» °¿§                øî÷ ×º ±¬¸»®- °¿§ º±® ®»°¿·®- ±®
              ¬¸» ±©²»®-æ                                              ®»°´¿½»³»²¬ô ©» ©·´´ ²±¬ ³¿µ» ´±--
              ø¿÷ Í«½¸ °¿§³»²¬- ©·´´ ±²´§ ¾» º±® ¬¸»                   °¿§³»²¬ ¬± §±«ò
                  ¿½½±«²¬ ±º ¬¸» ±©²»® ±º ¬¸»                 ¶ò   Ì®¿²-·¬
                  °®±°»®¬§ ¿²¼ ©·´´ -¿¬·-º§ §±«®
                  ½´¿·³- ¿¹¿·²-¬ «- º±® ¬¸» ±©²»®-ù                É» ©·´´ ¼»¬»®³·²» ¬¸» ª¿´«» ±º ½±ª»®»¼
                  °®±°»®¬§å                                        °®±°»®¬§ ·² ¼«» ½±«®-» ±º ¬®¿²-·¬ ¿¬æ
              ø¾÷ É» ©·´´ ²±¬ °¿§ ³±®» ¬¸¿² ¬¸»·®                  øï÷ Ì¸» ¿³±«²¬ ±º ·²ª±·½» °´«- ¿½½®«»¼
                  º·²¿²½·¿´ ·²¬»®»-¬ ·² ¬¸» °®±°»®¬§ò                  ½±-¬-ô °®»°¿·¼ ½¸¿®¹»- ¿²¼ ½¸¿®¹»-
                                                                       -·²½» -¸·°³»²¬å ±®
          øì÷ É» ³¿§ »´»½¬ ¬± ¼»º»²¼ §±« ¿¹¿·²-¬
              -«·¬- ¿®·-·²¹ º®±³ ½´¿·³- ±º ±©²»®- ±º               øî÷ ×² ¬¸» ¿¾-»²½» ±º ¿² ·²ª±·½»ô ¬¸»
              °®±°»®¬§ò É» ©·´´ ¼± ¬¸·- ¿¬ ±«®                         ª¿´«¿¬·±²    °®±ª·-·±²    ±¬¸»®©·-»
              »¨°»²-»ò                                                 ¿°°´·½¿¾´» ¬± ¬¸¿¬ ¬§°» ±º Ý±ª»®»¼
                                                                       Ð®±°»®¬§ ¿- ±º ¬¸» ¬·³» ±º ´±-- ±®
                                                                       ¼¿³¿¹»ò

      Case
Ú±®³ ÐÝ ðð ïð3:24-cv-00490-FDW-SCR
              ðï ïè                            Document 1-4 Filed 05/21/24 Page 126 of 579
                                                                                       Ð¿¹» ë ±º ê
     µò þÊ¿´«¿¾´» Ð¿°»®-þ                                 ìò Ê¿´«» Û²¸¿²½»³»²¬-
          É» ©·´´ ¼»¬»®³·²» ¬¸» ª¿´«» ±º þÊ¿´«¿¾´»           ¿ò ß®½¸·¬»½¬ ¿²¼ Û²¹·²»»®·²¹ Ú»»-
          Ð¿°»®-þ ¿¬ §±«® ·²½«®®»¼ ½±-¬ ±ºæ                     Ì¸» ª¿´«» ±º Ý±ª»®»¼ Ð®±°»®¬§ ©·´´ ·²½´«¼»
          øï÷ Þ´¿²µ ³¿¬»®·¿´- º±® ®»°®±¼«½·²¹ ¬¸»               ®»¿-±²¿¾´» ¿®½¸·¬»½¬ ¿²¼ »²¹·²»»®·²¹ º»»-
              ®»½±®¼- ø·²½´«¼·²¹ ¾´¿²µ °®»°¿½µ¿¹»¼              §±« ·²½«® ·² ¬¸» ½±«®-» ±º ®»°¿·®·²¹ ±®
              °®±¹®¿³- ©¸»² ®»°´¿½»¼÷å ¿²¼                      ®»½±²-¬®«½¬·²¹ ¼¿³¿¹»¼ °®±°»®¬§ò
          øî÷ Ô¿¾±® ¬± ¬®¿²-½®·¾» ±® ½±°§ ¬¸»                ¾ò Ý«-¬±³- Ü«¬§ô Í¿´»- Ì¿¨
              ®»½±®¼- ¿²¼ ¬± ®»-»¿®½¸ô ®»°´¿½» ±®               Ì¸» ª¿´«» ±º Ý±ª»®»¼ Ð®±°»®¬§ ©·´´ ·²½´«¼»
              ®»-¬±®» ¬¸» ´±-¬ ·²º±®³¿¬·±²ô ·²½´«¼·²¹           ¬¸» ½±-¬ ±º ½«-¬±³- ¼«¬·»- ¿²¼ -¿´»-
              ®»-»¿®½¸       ¿²¼        ¼»ª»´±°³»²¬             ¬¿¨»- ¬± ®»°¿·® ±® ®»°´¿½» ¬¸» °®±°»®¬§ò
              ¼±½«³»²¬¿¬·±²ò
                                                             ½ò Û¨¬»²¼»¼ É¿®®¿²¬·»-
     ´ò   Ê»¸·½´»-
                                                                Ì¸» ª¿´«» ±º Ý±ª»®»¼ Ð®±°»®¬§ô ¬¸¿¬ ·- ¿
          øï÷ É» ©·´´ ¼»¬»®³·²» ¬¸» ª¿´«» ±º                    ¬±¬¿´ ´±-- ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ô ©·´´
              ½±ª»®»¼ ª»¸·½´»- ¿²¼ -»´ºó°®±°»´´»¼               ·²½´«¼» ¬¸» «²«-»¼ °®± ®¿¬¿ °±®¬·±² ±º
              ³¿½¸·²»-ô       ·²½´«¼·²¹     ¿·®½®¿º¬ô           ²±²ó®»º«²¼¿¾´»       ±°¬·±²¿´    »¨¬»²¼»¼
              ¿«¬±³±¾·´»-ô ½±²¬®¿½¬±®ù- »¯«·°³»²¬               ©¿®®¿²¬·»- ±® -»®ª·½» ½±²¬®¿½¬- ©¸·½¸ §±«
              ¿²¼ ©¿¬»®½®¿º¬ ±² ¿² ß½¬«¿´ Ý¿-¸                  °«®½¸¿-»¼ º±® ¬¸» ¼¿³¿¹»¼ °®±°»®¬§ °®·±®
              Ê¿´«» ¾¿-·-ò Ì¸·- ¿´-± ¿°°´·»- ¬±                 ¬± ¬¸» ½±ª»®»¼ ´±-- ±® ¼¿³¿¹»ò
              ½±ª»®¿¹» °®±ª·¼»¼ º±® ¬®¿·´»®- «²¼»®
              ¬¸» Ò±²óÑ©²»¼ Ü»¬¿½¸»¼ Ì®¿·´»®
              ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò
          øî÷ Ò»© ª»¸·½´»- ¿²¼ ³¿½¸·²»- §±« ¸¿ª»
              ³¿²«º¿½¬«®»¼ ©·´´ ¾» -«¾¶»½¬ ¬± ¬¸»
              ª¿´«¿¬·±² ¿°°´·½¿¾´» ¬± ½±ª»®»¼
              þÍ¬±½µþò




Ð¿¹» ê Case
       ±º ê 3:24-cv-00490-FDW-SCR             Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                               127 ÐÝ
                                                                                   of 579
                                                                                      ðð ïð ðï ïè
                                                                                              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




    ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß
             ÛÈÐÛÒÍÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
                                          øÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ÷

Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»
©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± Ú±®³ ÐÝ ðð çð
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ º±® ¼»º·²·¬·±²-ò

ßò ÝÑÊÛÎßÙÛ                                                            »ò Ú±®     ®»-»¿®½¸    ¿²¼     ¼»ª»´±°³»²¬
    É» ©·´´ °¿§ «° ¬± ¬¸» Þ«-·²»-- ×²½±³» ¿²¼ Û¨¬®¿                       ±°»®¿¬·±²-ô Þ«-·²»-- ×²½±³» ¿´-±
    Û¨°»²-» Ô·³·¬ ±º ×²-«®¿²½» -¬¿¬»¼ ·² ¬¸»                              ·²½´«¼»- ¿©¿®¼»¼ ½±²¬®¿½¬ ®»ª»²«»-ô
    Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                            ´·½»²-·²¹ º»»-ô ½±²-«´¬·²¹ º»»-ô º«²¼·²¹
    Ý±ª»®¿¹»- º±® ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»--                             ¹®¿²¬-    ¿²¼    °®±¹®»--    ø³·´»-¬±²»÷
    ×²½±³» §±« -«-¬¿·² ¿²¼ ¬¸» ¿½¬«¿´ô ²»½»--¿®§                          °¿§³»²¬-ò
    ¿²¼ ®»¿-±²¿¾´» Û¨¬®¿ Û¨°»²-» §±« ·²½«® ¼«» ¬±                      ºò   ß- ®»-°»½¬- ¿´´ ·²-«®»¼- ·º §±« ¿®»
    ¬¸» ²»½»--¿®§ ·²¬»®®«°¬·±² ±º §±«® ¾«-·²»--                             ±°»®¿¬·²¹ ¿¬ ¿ Ò»¬ Ô±--ô ½±²¬·²«·²¹
    ±°»®¿¬·±²- ¼«®·²¹ ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±² ¼«»                         ²±®³¿´ ±°»®¿¬·²¹ »¨°»²-»- ©·´´ ¾» ±ºº-»¬
    ¬± ¼·®»½¬ °¸§-·½¿´ ´±-- ±º ±® ¼·®»½¬ °¸§-·½¿´                           ¾§ ¬¸» Ò»¬ Ô±--ò
    ¼¿³¿¹» ¬± °®±°»®¬§ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³                îò Û¨¬®¿ Û¨°»²-» ³»¿²- ¬¸» ¿½¬«¿´ô ²»½»--¿®§
    ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¿¬ þÍ½¸»¼«´»¼                            ¿²¼ ®»¿-±²¿¾´» »¨°»²-»- §±« ·²½«® ¼«®·²¹
    Ð®»³·-»-þ ©¸»®» ¿ ´·³·¬ ±º ·²-«®¿²½» ·- -¸±©²                    ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±² ¬¸¿¬ §±« ©±«´¼ ²±¬
    º±® Þ«-·²»-- ×²½±³» ¿²¼ Û¨¬®¿ Û¨°»²-»ò ×º §±«                    ¸¿ª» ·²½«®®»¼ ·º ¬¸»®» ¸¿¼ ¾»»² ²± ¼·®»½¬
    ¿®» ¿ ¬»²¿²¬ô ¬¸·- Ý±ª»®¿¹» ¿°°´·»- ¬± ¬¸¿¬                      °¸§-·½¿´ ´±-- ±º ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬±
    °±®¬·±² ±º ¬¸» ¾«·´¼·²¹ ©¸·½¸ §±« ®»²¬ô ´»¿-» ±®                 °®±°»®¬§ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿
    ±½½«°§ô ¿²¼ »¨¬»²¼- ¬± ½±³³±² -»®ª·½» ¿®»¿-                      Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¿¬ þÍ½¸»¼«´»¼
    ¿²¼ ¿½½»-- ®±«¬»- ¬± §±«® ¿®»¿ò                                  Ð®»³·-»-þò É» ©·´´ °¿§ Û¨¬®¿ Û¨°»²-»
    Ü»º·²·¬·±²-                                                      ø±¬¸»® ¬¸¿² ¬¸» »¨°»²-» ¬± ®»°¿·® ±® ®»°´¿½»
    ïò Þ«-·²»-- ×²½±³» ³»¿²-æ                                        °®±°»®¬§÷ ¬±æ
        ¿ò Ò»¬ ×²½±³» øÒ»¬ Ð®±º·¬ ±® Ò»¬ Ô±--                          ¿ò ßª±·¼ ±® ³·²·³·¦» ¬¸» -«-°»²-·±² ±º
            ¾»º±®» ·²½±³» ¬¿¨»-÷ô ·²½´«¼·²¹ Î»²¬¿´                        ¾«-·²»-- ¿²¼ ¬± ½±²¬·²«» ±°»®¿¬·±²- ¿¬ ¿
            ×²½±³» ¿²¼ Î±§¿´¬·»-ô ¬¸¿¬ ©±«´¼ ¸¿ª»                         þÍ½¸»¼«´»¼ Ð®»³·-»-þ ±® ¿¬ ®»°´¿½»³»²¬
            ¾»»² »¿®²»¼ ±® ·²½«®®»¼å ¿²¼                                  °®»³·-»- ±® ¬»³°±®¿®§ ´±½¿¬·±²-ô
        ¾ò Ý±²¬·²«·²¹ ²±®³¿´ ±°»®¿¬·²¹ »¨°»²-»-                           ·²½´«¼·²¹ ®»´±½¿¬·±² »¨°»²-»- ¿²¼ ½±-¬-
            ·²½«®®»¼ô ·²½´«¼·²¹ Ð¿§®±´´ Û¨°»²-»-ò                         ¬± »¯«·° ¿²¼ ±°»®¿¬» ¬¸» ®»°´¿½»³»²¬
                                                                          ´±½¿¬·±² ±® ¬»³°±®¿®§ ´±½¿¬·±²ò
        ½ò Ú±® »¼«½¿¬·±²¿´ ±°»®¿¬·±²-ô Þ«-·²»--
            ×²½±³» ¿´-± ·²½´«¼»- ·²½±³» º®±³æ                          ¾ò Ó·²·³·¦» ¬¸» -«-°»²-·±² ±º ¾«-·²»-- ·º
                                                                          §±« ½¿²²±¬ ½±²¬·²«» ±°»®¿¬·±²-ò É» ©·´´
            øï÷ Ì«·¬·±² ¿²¼ ®»´¿¬»¼ -¬«¼»²¬ º»»-
                                                                          ¿´-± °¿§ Û¨¬®¿ Û¨°»²-» ¬± ®»°¿·® ±®
                 ·²½´«¼·²¹ ®±±³ô ¾±¿®¼ô ´¿¾±®¿¬±®·»-                      ®»°´¿½» °®±°»®¬§ô ¾«¬ ±²´§ ¬± ¬¸» »¨¬»²¬ ·¬
                 ¿²¼ ±¬¸»® -·³·´¿® º»»-å
                                                                          ®»¼«½»- ¬¸» ¿³±«²¬ ±º ´±-- ¬¸¿¬
            øî÷ Þ±±µ-¬±®»-å                                               ±¬¸»®©·-» ©±«´¼ ¸¿ª» ¾»»² °¿§¿¾´»
            øí÷ ß¬¸´»¬·½ »ª»²¬-å ±®                                       «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³ò
            øì÷ ß½¬·ª·¬§ ®»´¿¬»¼ ¬± ®»-»¿®½¸ ¹®¿²¬-ò                   ½ò Û¨¬®¿ Û¨°»²-» Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§
        ¼ò Ú±® ³¿²«º¿½¬«®·²¹ ¾«-·²»--»-ô Ò»¬                              ¬± ¿²§ »¨°»²-» ®»´¿¬»¼ ¬± ¿²§ ®»½¿´´ ±º
            ×²½±³» ¿´-± ·²½´«¼»- ¬¸» ²»¬ -¿´»- ª¿´«»                      °®±¼«½¬- §±« ³¿²«º¿½¬«®»ô ¸¿²¼´» ±®
            ±º °®±¼«½¬·±²ò                                                ¼·-¬®·¾«¬»ò


Ú±®³ ÐÝ ðð îð ðï ïè                                                                                 Ð¿¹» ï ±º ì
                                            w îðïèô Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR
            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º Document    1-4 Filed
                                              ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                         ×²½ò ©·¬¸ ·¬- Page  128 of 579
                                                                                       °»®³·--·±²ò÷
  íò ×²¬»®®«°¬·±² ³»¿²- ¬¸» -´±©¼±©² ±®                                  ¬¸» »ºº»½¬- ±º þÐ±´´«¬¿²¬- ¿²¼
     ½»--¿¬·±² ±º ¿²§ °¿®¬ ±º §±«® ¾«-·²»--                              Ý±²¬¿³·²¿²¬-þô »¨½»°¬ ¿- ½±ª»®»¼ ·²
     ¿½¬·ª·¬·»- ±® ¬¸» °¿®¬·¿´ ±® ¬±¬¿´ «²¬»²¿²¬¿¾·´·¬§                  ¬¸» þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þ
     ±º ¬¸» °®»³·-»-ò                                                    Ý´»¿² Ë° ß¼¼·¬·±²¿´ Ý±ª»®¿¹»å ±®
  ìò Ð¿§®±´´ Û¨°»²-»- ·²½´«¼»æ                                       øî÷ Î»¹«´¿¬»- ¬¸» ½±²-¬®«½¬·±²ô «-» ±®
      ¿ò Ð¿§®±´´å                                                        ®»°¿·®ô ±® ®»¯«·®»- ¬¸» ¬»¿®·²¹ ¼±©²
                                                                         ±º ¿²§ °®±°»®¬§ô »¨½»°¬ ¿- ½±ª»®»¼
      ¾ò Í°»½·¿´ ½±³°»²-¿¬·±² -«½¸ ¿- ¾±²«-»-                            ·² ¬¸» Ñ®¼·²¿²½» ±® Ô¿© ß¼¼·¬·±²¿´
         ¿²¼ ±¬¸»® ·²½»²¬·ª» ½±³°»²-¿¬·±²å                               Ý±ª»®¿¹»ò
      ½ò Û³°´±§»» ¾»²»º·¬-ô ·º ¼·®»½¬´§ ®»´¿¬»¼ ¬±            êò Î»²¬¿´ ×²½±³»ñÎ»²¬¿´ Ê¿´«» ³»¿²- Þ«-·²»--
         °¿§®±´´å                                                ×²½±³» ¬¸¿¬ ½±²-·-¬- ±ºæ
      ¼ò Ú×Ýß °¿§³»²¬- §±« °¿§å                                  ¿ò Ò»¬ ×²½±³» øÒ»¬ Ð®±º·¬ ±® Ò»¬ Ô±--
      »ò Ë²·±² ¼«»- §±« °¿§å ¿²¼                                    ¾»º±®» ·²½±³» ¬¿¨»-÷ ¬¸¿¬ ©±«´¼ ¸¿ª»
      ºò                                                            ¾»»² »¿®²»¼ ±® ·²½«®®»¼ ¿- ·²½±³» º®±³
           É±®µ»®-ù ½±³°»²-¿¬·±² °®»³·«³-ò
                                                                    ¬»²¿²¬ ±½½«°¿²½§ ±º ¬¸» þÍ½¸»¼«´»¼
  ëò ¿ò Ð»®·±¼ ±º Î»-¬±®¿¬·±² ³»¿²- ¬¸» °»®·±¼                      Ð®»³·-»-þ ¿- º«®²·-¸»¼ ¿²¼ »¯«·°°»¼ ¾§
        ±º ¬·³» ¬¸¿¬æ                                               §±« ·²½´«¼·²¹ º¿·® ®»²¬¿´ ª¿´«» ±º ¿²§
           øï÷ Þ»¹·²- ¿¬ ¬¸» ¬·³» ¬¸» Ý±ª»®»¼                       °±®¬·±² ±º ¬¸» þÍ½¸»¼«´»¼ Ð®»³·-»-þ
               Ý¿«-» ±º Ô±-- ±½½«®®»¼å ¿²¼                          ©¸·½¸ ·- ±½½«°·»¼ ¾§ §±«® ¬»²¿²¬- ±® §±«
                                                                    ¿- ¿ ¬»²¿²¬å ¿²¼
           øî÷ Û²¼- ±² ¬¸» »¿®´·»® ±ºæ
                                                                 ¾ò Ý±²¬·²«·²¹ ²±®³¿´ ±°»®¿¬·²¹ »¨°»²-»-
               ø¿÷ Ì¸» ¼¿¬» ©¸»² ¬¸» °®±°»®¬§
                                                                    ·²½«®®»¼ ·² ½±²²»½¬·±² ©·¬¸ ¬¸¿¬
                   -¸±«´¼ ¾» ®»°¿·®»¼ô ®»¾«·´¬ ±®
                                                                    °®»³·-»- ·²½´«¼·²¹æ
                   ®»°´¿½»¼ ©·¬¸ ®»¿-±²¿¾´» -°»»¼
                   ¿²¼ -·³·´¿® ¯«¿´·¬§å ±®                           øï÷ Ð¿§®±´´ Û¨°»²-»-å ¿²¼
               ø¾÷ Ì¸» ¼¿¬» ©¸»² ¾«-·²»-- ·-                         øî÷ Ì¸» ¿³±«²¬ ±º ½¸¿®¹»- ©¸·½¸ ¿®»
                   ®»-«³»¼ ¿¬ ¿ ²»© °»®³¿²»²¬                            ¬¸» ´»¹¿´ ±¾´·¹¿¬·±² ±º ¬¸» ¬»²¿²¬ø-÷
                   ´±½¿¬·±²ò                                             ¾«¬ ©±«´¼ ±¬¸»®©·-» ¾» §±«®
                                                                         ±¾´·¹¿¬·±²-ò
           Ì¸» »¨°·®¿¬·±² ¼¿¬» ±º ¬¸·- °±´·½§ ©·´´ ²±¬
           ½«¬ -¸±®¬ ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±²ò                  ½ò ×º §±« ¿®» ±°»®¿¬·²¹ ¿¬ ¿ Ò»¬ Ô±--ô
                                                                    ½±²¬·²«·²¹ ²±®³¿´ ±°»®¿¬·²¹ »¨°»²-»-
      ¾ò Ú±® ¾«·´¼·²¹- «²¼»® ½±²-¬®«½¬·±² ±®
                                                                    ©·´´ ¾» ±ºº-»¬ ¾§ ¬¸» Ò»¬ Ô±--ò
         «²¼»®¹±·²¹ ¿¼¼·¬·±²- ±® ¿´¬»®¿¬·±²-ô ·º ¬¸»
         ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´           Þò ÝÑÊÛÎÛÜ ÝßËÍÛÍ ÑÚ ÔÑÍÍô ÛÈÝÔËÍ×ÑÒÍ
         ¼¿³¿¹» ¼»´¿§- ¬¸» -¬¿®¬ ±º ¾«-·²»--                  ßÒÜ Ô×Ó×ÌßÌ×ÑÒ
         ±°»®¿¬·±²-ô ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±² ©·´´           ïò Í»» Ð®±°»®¬§ Ý¸±·½» ó Ý±ª»®»¼ Ý¿«-»- ±º
         ¾»¹·² ¬¸» ¼¿¬» ¾«-·²»-- ±°»®¿¬·±²-                      Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³ò
         ©±«´¼ ¸¿ª» ¾»¹«² ¸¿¼ ¬¸» ¼·®»½¬
         °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»              îò Ì¸» º±´´±©·²¹ Û¨½´«-·±²- ¿°°´§ ·² ¿¼¼·¬·±²
         ²±¬ ±½½«®®»¼ò                                           ¬± ¬¸» Û¨½´«-·±²- º±«²¼ ·² ¬¸» Ð®±°»®¬§
                                                                 Ý¸±·½» ó Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ¿²¼
      ½ò Ú±® »¼«½¿¬·±²¿´ ·²-¬·¬«¬·±²-ô ¬¸» Ð»®·±¼                Û¨½´«-·±²- Ú±®³ ¿¬¬¿½¸»¼ ¬± ¬¸·- Ý±ª»®¿¹»
         ±º Î»-¬±®¿¬·±² »²¼- ±² ¬¸» »¿®´·»® ±ºæ                  Ð¿®¬æ
           øï÷ Ì¸» ¼¿§ ¾»º±®» ¬¸» ±°»²·²¹ ±º ¬¸»                 ¿ò Ý±²¬®¿½¬ô Ô»¿-» ±® Ô·½»²-» Ý¿²½»´´¿¬·±²
               ²»¨¬ -½¸±±´ ¬»®³ º±´´±©·²¹ ¬¸» ¼¿¬»
               ¬¸» °®±°»®¬§ -¸±«´¼ ¾» ®»°¿·®»¼ô                      É» ©·´´ ²±¬ °¿§ º±® ¿²§ ·²½®»¿-» ±º ´±--
               ®»¾«·´¬ ±® ®»°´¿½»¼ ©·¬¸ ®»¿-±²¿¾´»                   ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ -«-°»²-·±²ô
               -°»»¼ ¿²¼ -·³·´¿® ¯«¿´·¬§å ±®                         ´¿°-» ±® ½¿²½»´´¿¬·±² ±º ¿²§ ½±²¬®¿½¬ô
                                                                     ´»¿-» ±® ´·½»²-» ø·²½´«¼·²¹ ½±²-«´¬¿¬·±²
           øî÷ Ì¸» ¼¿¬» ©¸»² ¬¸» -½¸±±´ ¬»®³ ·-                      ¿²¼ º«²¼·²¹ ¹®¿²¬-÷ò       Þ«¬ ·º -«½¸
               ®»-«³»¼ ¿¬ ¿ ²»© °»®³¿²»²¬                            -«-°»²-·±²ô ´¿°-» ±® ½¿²½»´´¿¬·±² ·-
               ´±½¿¬·±²ò                                             ¼·®»½¬´§ ½¿«-»¼ ¾§ ¿ ½±ª»®»¼ ·²¬»®®«°¬·±²
      ¼ò Ð»®·±¼ ±º Î»-¬±®¿¬·±² ¼±»- ²±¬ ·²½´«¼»                      ±º ¾«-·²»-- ±°»®¿¬·±²-ô ©» ©·´´ °¿§ º±®
         ¿²§ ·²½®»¿-»¼ °»®·±¼ ®»¯«·®»¼ ¼«» ¬± ¬¸»                    -«½¸ ´±-- ¬¸¿¬ ¿ºº»½¬- §±«® Þ«-·²»--
         »²º±®½»³»²¬ ±º ±® ½±³°´·¿²½» ©·¬¸ ¿²§                       ×²½±³» ¼«®·²¹ ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±²
         ±®¼·²¿²½» ±® ´¿© ¬¸¿¬æ                                      ¿²¼ ¿²§ »¨¬»²-·±² ±º ¬¸» Ð»®·±¼ ±º
                                                                     Î»-¬±®¿¬·±² ·² ¿½½±®¼¿²½» ©·¬¸ ¬¸»
           øï÷ Î»¯«·®»- ¿²§ ·²-«®»¼ ±® ±¬¸»®- ¬±
                                                                     ¬»®³- ±º ¬¸» Û¨¬»²¼»¼ ×²½±³» ß¼¼·¬·±²¿´
               ¬»-¬ º±®ô ³±²·¬±®ô ½´»¿² «°ô ®»³±ª»ô
                                                                     Ý±ª»®¿¹» ±® ¬¸» Ú«¬«®» Û¿®²·²¹-
               ½±²¬¿·²ô ¬®»¿¬ô ¼»¬±¨·º§ ±® ²»«¬®¿´·¦»ô
                                                                     ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò
               ±® ·² ¿²§ ©¿§ ®»-°±²¼ ¬±ô ±® ¿--»--

Ð¿¹» î Case
       ±º ì 3:24-cv-00490-FDW-SCR                Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                                  129 ÐÝ
                                                                                      of 579
                                                                                         ðð îð ðï ïè
       ¾ò Ó¿²«º¿½¬«®»¼ þÍ¬±½µþ                              Þ«-·²»-- ×²½±³» ½±ª»®¿¹»ò Ò± ¼»¼«½¬·¾´» ±®
           É» ©·´´ ²±¬ °¿§ º±® ¿²§ ´±-- ½¿«-»¼ ¾§ ±®        É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Û¨¬®¿ Û¨°»²-»ò
           ®»-«´¬·²¹ º®±³ ¼¿³¿¹» ±® ¼»-¬®«½¬·±² ±º       Ûò ÔÑÍÍ ÝÑÒÜ×Ì×ÑÒÍ
           ±® ¬¸» ¬·³» ®»¯«·®»¼ ¬± ®»°®±¼«½» þÍ¬±½µþ        Ì¸» º±´´±©·²¹ Ý±²¼·¬·±²- ¿°°´§ ·² ¿¼¼·¬·±² ¬± ¬¸»
           §±« ¸¿ª» º·²·-¸»¼ ³¿²«º¿½¬«®·²¹ò                 Ý±³³±² Ð±´·½§ Ý±²¼·¬·±²- ¿²¼ ¿´´ ±º ¬¸»
       ½ò Í¿¬»´´·¬» Ý±³³«²·½¿¬·±²-                          Ý±²¼·¬·±²- ¿- º±«²¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
           É» ©·´´ ²±¬ °¿§ º±® ¿²§ ´±-- ½¿«-»¼ ¾§ ±®        Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²- Ú±®³æ
           ®»-«´¬·²¹ º®±³ ¬¸» ¼·-®«°¬·±² ±º                 ïò Î»-«³°¬·±² ±º Þ«-·²»--
           ½±³³«²·½¿¬·±²- ±® -»®ª·½» ¬± ±® º®±³                ×º §±« ·²¬»²¼ ¬± ½±²¬·²«» ·² ¾«-·²»--ô §±«
           ¿²§ -¿¬»´´·¬» ¸±©»ª»® ½¿«-»¼ò Þ«¬ ¬¸·-              ³«-¬ ®»-«³» ¿´´ ±® °¿®¬ ±º §±«® ¾«-·²»--
           »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ´¿²¼ ¾¿-»¼              ±°»®¿¬·±²- ¿- ¯«·½µ´§ ¿- °±--·¾´»ò
           -¿¬»´´·¬» ¼·-¸»-ò
                                                            îò Ô±-- Ü»¬»®³·²¿¬·±²
       ¼ò Í¬®·µ» ×²¬»®º»®»²½»
                                                               ¿ò Þ«-·²»-- ×²½±³»
           É» ©·´´ ²±¬ °¿§ º±® ¿²§ ·²½®»¿-» ±º ´±--
                                                                    Ì¸» ¿³±«²¬ ±º Þ«-·²»-- ×²½±³» ´±--
           ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¼»´¿§ ·²
                                                                    ©·´´ ¾» ¼»¬»®³·²»¼ ¾¿-»¼ ±²æ
           ®»¾«·´¼·²¹ô ®»°¿·®·²¹ ±® ®»°´¿½·²¹ ¬¸»
           °®±°»®¬§      ±®   ®»-«³·²¹      ¾«-·²»--                øï÷ Ì¸» Ò»¬ ×²½±³» ±º ¬¸» ¾«-·²»--
           ±°»®¿¬·±²-ô ¼«» ¬± ·²¬»®º»®»²½» ¿¬ ¬¸»                        ¾»º±®» ¬¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±®
           ´±½¿¬·±² ±º ¬¸» ®»¾«·´¼·²¹ô ®»°¿·® ±®                         ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ±½½«®®»¼å
           ®»°´¿½»³»²¬ ¾§ -¬®·µ»®- ±® ±¬¸»®                         øî÷ Ì¸» ´·µ»´§ Ò»¬ ×²½±³» ±º ¬¸»
           °»®-±²-ò                                                      ¾«-·²»-- ·º ²± °¸§-·½¿´ ´±-- ±® ²±
   íò Ô·³·¬¿¬·±² ó ×²¬»®®«°¬·±² Ñº Ý±³°«¬»®                              °¸§-·½¿´ ¼¿³¿¹» ¸¿¼ ±½½«®®»¼ô ¾«¬
       Ñ°»®¿¬·±²-                                                        ²±¬ ·²½´«¼·²¹ ¿²§ Ò»¬ ×²½±³» ¬¸¿¬
                                                                         ©±«´¼ ´·µ»´§ ¸¿ª» ¾»»² »¿®²»¼ ¿- ¿
       ¿ò Ý±ª»®¿¹» º±® Þ«-·²»-- ×²½±³» ¼±»- ²±¬
                                                                         ®»-«´¬ ±º ¿² ·²½®»¿-» ·² ¬¸» ª±´«³»
           ¿°°´§ ©¸»² ¿ -«-°»²-·±² ±º ±°»®¿¬·±²-
                                                                         ±º ¾«-·²»-- ¼«» ¬± º¿ª±®¿¾´»
           ·- ½¿«-»¼ ¾§ ¼»-¬®«½¬·±² ±® ½±®®«°¬·±² ±º
                                                                         ¾«-·²»-- ½±²¼·¬·±²- ½¿«-»¼ ¾§ ¬¸»
           þÛ´»½¬®±²·½ Ü¿¬¿þô ±® ¿²§ ´±-- ±® ¼¿³¿¹»
                                                                         ·³°¿½¬ ±º ¬¸» Ý±ª»®»¼ Ý¿«-» ±º
           ¬± þÛ´»½¬®±²·½ Ü¿¬¿þò
                                                                         Ô±-- ±² ½«-¬±³»®- ±® ±² ±¬¸»®
       ¾ò Ý±ª»®¿¹» º±® Û¨¬®¿ Û¨°»²-» ¼±»- ²±¬                            ¾«-·²»--»-ò
           ¿°°´§ ©¸»² ¿½¬·±² ·- ¬¿µ»² ¬± ¿ª±·¼ ±®
                                                                    øí÷ Ì¸» ±°»®¿¬·²¹ »¨°»²-»-ô ·²½´«¼·²¹
           ³·²·³·¦» ¿ -«-°»²-·±² ±º ±°»®¿¬·±²-
                                                                         °¿§®±´´ »¨°»²-»-ô ²»½»--¿®§ ¬±
           ½¿«-»¼ ¾§ ¼»-¬®«½¬·±² ±® ½±®®«°¬·±² ±º
                                                                         ®»-«³» ¾«-·²»-- ±°»®¿¬·±²- ©·¬¸ ¬¸»
           þÛ´»½¬®±²·½ Ü¿¬¿þô ±® ¿²§ ´±-- ±® ¼¿³¿¹»
                                                                         -¿³» ¯«¿´·¬§ ±º -»®ª·½» ¬¸¿¬ »¨·-¬»¼
           ¬± þÛ´»½¬®±²·½ Ü¿¬¿þò
                                                                         ¶«-¬ ¾»º±®» ¬¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±®
       ½ò Ì¸·- ß¼¼·¬·±²¿´ Ô·³·¬¿¬·±² ¼±»- ²±¬ ¿°°´§                      ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»ô ¿²¼
           ©¸»² ´±-- ±® ¼¿³¿¹» ¬± þÛ´»½¬®±²·½
                                                                    øì÷ Ñ¬¸»®        ®»´»ª¿²¬    -±«®½»-      ±º
           Ü¿¬¿þ ·²ª±´ª»- ±²´§ þÛ´»½¬®±²·½ Ü¿¬¿þ
                                                                         ·²º±®³¿¬·±²ô ·²½´«¼·²¹æ
           ©¸·½¸ ·- ·²¬»¹®¿¬»¼ ·² ¿²¼ ±°»®¿¬»- ±®
           ½±²¬®±´- ¿ ¾«·´¼·²¹ù- »´»ª¿¬±®ô ´·¹¸¬·²¹ô                     ø¿÷ Ç±«® º·²¿²½·¿´ ®»½±®¼- ¿²¼
           ¸»¿¬·²¹ô ª»²¬·´¿¬·±²ô ¿·® ½±²¼·¬·±²·²¹ ±®                          ¿½½±«²¬·²¹ °®±½»¼«®»-å
           -»½«®·¬§ -§-¬»³ò                                              ø¾÷ Þ·´´-ô ·²ª±·½»- ¿²¼ ±¬¸»® ª±«½¸»®-å
Ýò Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ                                                        ¿²¼
   Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ´±-- ·² ¿²§ ±²»                              ø½÷ Ü»»¼-ô ´·»²- ±® ½±²¬®¿½¬-ò
   ±½½«®®»²½» ·- ¬¸» -³¿´´»-¬ ¿°°´·½¿¾´» Ô·³·¬ ±º              ¾ò Û¨¬®¿ Û¨°»²-»
   ×²-«®¿²½» -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»                           Ì¸» ¿³±«²¬ ±º Û¨¬®¿ Û¨°»²-» ©·´´ ¾»
   Ü»½´¿®¿¬·±²-ô Í½¸»¼«´»-ô Ý±ª»®¿¹» Ú±®³ø-÷ ±®                     ¼»¬»®³·²»¼ ¾¿-»¼ ±²æ
   Û²¼±®-»³»²¬ø-÷ò
                                                                    øï÷ ß´´ »¨°»²-»- ¬¸¿¬ »¨½»»¼ ¬¸» ²±®³¿´
Üò ÜÛÜËÝÌ×ÞÔÛ                                                            ±°»®¿¬·²¹ »¨°»²-»- ¬¸¿¬ ©±«´¼ ¸¿ª»
   É» ©·´´ ²±¬ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»--                       ¾»»²       ·²½«®®»¼    ¾§     ¾«-·²»--
   ×²½±³» §±« -«-¬¿·² ·² ¿²§ ±²» ±½½«®®»²½» «²¬·´                        ±°»®¿¬·±²- ¼«®·²¹ ¬¸» Ð»®·±¼ ±º
   ¬¸» ²»½»--¿®§ ·²¬»®®«°¬·±² ±º §±«® ¾«-·²»--                           Î»-¬±®¿¬·±² ·º ²± ¼·®»½¬ °¸§-·½¿´ ´±--
   ±°»®¿¬·±²- »¨½»»¼- ¬¸» É¿·¬·²¹ Ð»®·±¼ ¿- -¬¿¬»¼                       ±® ·º ²± ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¸¿¼
   ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»-                           ±½½«®®»¼ò É» ©·´´ ¼»¼«½¬ º®±³ ¬¸»
   ¿²¼ Ý±ª»®¿¹»- ±® ¾§ Û²¼±®-»³»²¬ø-÷ò É» ©·´´                           ¬±¬¿´ ±º -«½¸ »¨°»²-»-æ
   ²±¬ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º Þ«-·²»-- ×²½±³»                        ø¿÷ Ì¸» -¿´ª¿¹» ª¿´«» ¬¸¿¬ ®»³¿·²-
   §±« -«-¬¿·² ·² ¿²§ ±²» ±½½«®®»²½» ¼«®·²¹ -«½¸                              ±º ¿²§ °®±°»®¬§ ¾±«¹¸¬ º±®
   É¿·¬·²¹ Ð»®·±¼ò Ò± ±¬¸»® ¼»¼«½¬·¾´» ¿°°´·»- ¬±                             ¬»³°±®¿®§ «-» ¼«®·²¹ ¬¸» Ð»®·±¼

      Case
Ú±®³ ÐÝ ðð îð3:24-cv-00490-FDW-SCR
              ðï ïè                            Document 1-4 Filed 05/21/24 Page 130 of 579
                                                                                       Ð¿¹» í ±º ì
                 ±º Î»-¬±®¿¬·±²ô ±²½» ¾«-·²»--              ¾ò É» ©·´´ ®»¼«½» ¬¸» ¿³±«²¬ ±º Û¨¬®¿
                 ±°»®¿¬·±²- ¿®» ®»-«³»¼å ¿²¼                   Û¨°»²-» ´±-- °¿§³»²¬ ¬± ¬¸» »¨¬»²¬ §±«
             ø¾÷ ß²§ Û¨¬®¿ Û¨°»²-» ¬¸¿¬ ·- °¿·¼                ½¿² ®»¬«®² ±°»®¿¬·±²- ¬± ²±®³¿´ ¿²¼
                 º±® ¾§ ±¬¸»® ·²-«®¿²½»ò                       ¼·-½±²¬·²«» Û¨¬®¿ Û¨°»²-»-ò
         øî÷ ß´´ ¿½¬«¿´ô ²»½»--¿®§ ¿²¼ ®»¿-±²¿¾´»           ½ò ×º §±« ¼± ²±¬ ®»-«³» ¾«-·²»--
             »¨°»²-»- ¬¸¿¬ ®»¼«½» ¬¸» Þ«-·²»--                 ±°»®¿¬·±²-ô ±® ¼± ²±¬ ®»-«³» ¾«-·²»--
             ×²½±³» ´±-- ±¬¸»®©·-» ·²½«®®»¼ò                   ±°»®¿¬·±²- ¿- ¯«·½µ´§ ¿- °±--·¾´»ô ©» ©·´´
                                                               °¿§ ¾¿-»¼ ±² ¬¸» ´»²¹¬¸ ±º ¬·³» ·¬ ©±«´¼
  íò Î»¼«½¬·±²- ·² ß³±«²¬ É» Ð¿§                               ¸¿ª» ¬¿µ»² ¬± ®»-«³» ¾«-·²»--
     ¿ò É» ©·´´ ®»¼«½» ¬¸» ¿³±«²¬ ±º ¬¸»                       ±°»®¿¬·±²- ¿- ¯«·½µ´§ ¿- °±--·¾´»ò
        Þ«-·²»-- ×²½±³» ´±-- °¿§³»²¬ ¬± ¬¸»                 ¼ò É» ©·´´ ®»¼«½» ¬¸» ¿³±«²¬ ±º ¬¸»
        »¨¬»²¬ §±« ½¿² ®»-«³» §±«® ¾«-·²»--                    Þ«-·²»-- ×²½±³» ´±-- °¿§³»²¬ ¬± ¬¸»
        ±°»®¿¬·±²-ô ·² ©¸±´» ±® ·² °¿®¬ô ¾§ «-·²¹æ             »¨¬»²¬ ¬¸¿¬ ¬¸» ®»¼«½¬·±² ·² ª±´«³» ±º
         øï÷ Ü¿³¿¹»¼ ±® «²¼¿³¿¹»¼ °®±°»®¬§                     ¾«-·²»-- ·²½±³» º®±³ ¬¸» ¿ºº»½¬»¼
             ø·²½´«¼·²¹ ³»®½¸¿²¼·-» ±® þ-¬±½µþ÷ ¿¬             ·²½±³» ½¸¿²²»´ ·- ±ºº-»¬ ¾§ ¿² ·²½®»¿-»
             ¬¸» ·²-«®»¼ °®»³·-»- ±® »´-»©¸»®»å                ·² ¬¸» ª±´«³» ±º ¾«-·²»-- º®±³ ±¬¸»®
         øî÷ ß²§ ±¬¸»® ¿ª¿·´¿¾´» -±«®½» ±º                     ·²½±³» ½¸¿²²»´-ò
             ³¿¬»®·¿´- ±® ±¬¸»® ±«¬´»¬ º±® §±«®
             °®±¼«½¬-ò




Ð¿¹» ì Case
       ±º ì 3:24-cv-00490-FDW-SCR           Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                             131 ÐÝ
                                                                                 of 579
                                                                                    ðð îð ðï ïè
                                                                                             ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




         ÔÛÙßÔ Ô×ßÞ×Ô×ÌÇ ó ÞË×ÔÜ×ÒÙ ÝÑÊÛÎßÙÛ ÚÑÎÓ
Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»
©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·²
¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± Ú±®³ ÐÝ ðð çð ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ
ÜÛÚ×Ò×Ì×ÑÒÍ º±® ¼»º·²·¬·±²-ò


ßò ÝÑÊÛÎßÙÛ                                                                    ×²-«®¿²½»ò É» ¼± ²±¬ ¸¿ª» ¬±
    É» ©·´´ °¿§ «° ¬± ¬¸» ¿°°´·½¿¾´» Ô»¹¿´ Ô·¿¾·´·¬§ ó                         º«®²·-¸ ¬¸»-» ¾±²¼-ò
    Þ«·´¼·²¹ Ô·³·¬ ±º ×²-«®¿²½» -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§                     øí÷ ß´´ ®»¿-±²¿¾´» »¨°»²-»- ·²½«®®»¼ ¾§
    Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ±®                               §±« ¿¬ ±«® ®»¯«»-¬ô ·²½´«¼·²¹ ¿½¬«¿´
    ·² ¿² »²¼±®-»³»²¬ ¿¬¬¿½¸»¼ ¬± ¬¸·- Ý±ª»®¿¹»                                ´±-- ±º »¿®²·²¹- «° ¬± üîëð ¿ ¼¿§
    Ð¿®¬ º±® ¬¸±-» -«³- ¬¸¿¬ §±« ¾»½±³» ´»¹¿´´§                                ¾»½¿«-» ±º ¬·³» ±ºº º®±³ ©±®µò
    ±¾´·¹¿¬»¼ ¬± °¿§ ¿- ¼¿³¿¹»- ¾»½¿«-» ±º ¼·®»½¬                          øì÷ ß´´ ½±-¬- ¬¿¨»¼ ¿¹¿·²-¬ §±« ·² ¬¸»
    °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»ô                                   -«·¬ò
    ·²½´«¼·²¹ ´±-- ±º «-»ô ¬± Ý±ª»®»¼ Þ«·´¼·²¹
    Ð®±°»®¬§ ½¿«-»¼ ¾§ ¿½½·¼»²¬ ¿²¼ ¿®·-·²¹ ±«¬ ±º ¿                       øë÷ Ð®»¶«¼¹³»²¬      ·²¬»®»-¬   ¿©¿®¼»¼
    Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò É» ©·´´ ¸¿ª» ¬¸» ¼«¬§                               ¿¹¿·²-¬ §±« ±² ¬¸¿¬ °¿®¬ ±º ¬¸»
    ¬± ¼»º»²¼ ¿²§ -«·¬ -»»µ·²¹ ¬¸±-» ¼¿³¿¹»-ò Í«·¬                             ¶«¼¹³»²¬ ©» °¿§ò ×º ©» ³¿µ» ¿²
    ·²½´«¼»- ¿² ¿®¾·¬®¿¬·±² °®±½»»¼·²¹ ¬± ©¸·½¸ §±«                            ±ºº»® ¬± °¿§ ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ô
    ³«-¬ -«¾³·¬ ±® -«¾³·¬ ©·¬¸ ±«® ½±²-»²¬ò                                    ©» ©·´´ ²±¬ °¿§ ¿²§ °®»¶«¼¹³»²¬
    Ø±©»ª»®ô ©» ¸¿ª» ²± ¼«¬§ ¬± ¼»º»²¼ §±« ¿¹¿·²-¬                             ·²¬»®»-¬ ¾¿-»¼ ±² ¬¸¿¬ °»®·±¼ ±º ¬·³»
    ¿ -«·¬ -»»µ·²¹ ¼¿³¿¹»- º±® ¼·®»½¬ °¸§-·½¿´ ´±--                            ¿º¬»® ¬¸» ±ºº»®ò
    ±® ¼¿³¿¹» ¬± ©¸·½¸ ¬¸·- ·²-«®¿²½» ¼±»- ²±¬                             øê÷ ß´´ ·²¬»®»-¬ ±² ¬¸» º«´´ ¿³±«²¬ ±º ¿²§
    ¿°°´§ò É» ³¿§ ·²ª»-¬·¹¿¬» ¿²¼ -»¬¬´» ¿²§ ½´¿·³                             ¶«¼¹³»²¬ ¬¸¿¬ ¿½½®«»- ¿º¬»® »²¬®§ ±º
    ±® -«·¬ ¿¬ ±«® ¼·-½®»¬·±²ò Þ«¬ ±«® ¼«¬§ ¬± ¼»º»²¼                          ¬¸» ¶«¼¹³»²¬ ¿²¼ ¾»º±®» ©» ¸¿ª»
    »²¼- ©¸»² ©» ¸¿ª» «-»¼ «° ¬¸» Ô»¹¿´ Ô·¿¾·´·¬§                              °¿·¼ô ±ºº»®»¼ ¬± °¿§ô ±® ¼»°±-·¬»¼ ·²
    Þ«·´¼·²¹ Ô·³·¬ ±º ×²-«®¿²½» ·² ¬¸» °¿§³»²¬ ±º                              ½±«®¬ ¬¸» °¿®¬ ±º ¬¸» ¶«¼¹³»²¬ ¬¸¿¬ ·-
    ¶«¼¹³»²¬- ±® -»¬¬´»³»²¬-ò                                                  ©·¬¸·² ±«® Ô·³·¬ ±º ×²-«®¿²½»ò
    ïò Ý±ª»®»¼ Þ«·´¼·²¹ Ð®±°»®¬§                                           Ð¿§³»²¬-      «²¼»®      ¬¸·-  ß¼¼·¬·±²¿´
        Ý±ª»®»¼ Þ«·´¼·²¹ Ð®±°»®¬§ ³»¿²- ¾«·´¼·²¹-                          Ý±ª»®¿¹» ¿®» ·² ¿¼¼·¬·±² ¬± ¬¸»
        ±® -¬®«½¬«®»- ±º ±¬¸»®- ·² §±«® ½¿®»ô ½«-¬±¼§                      ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò
        ±® ½±²¬®±´ò                                                    ¾ò ß¼¼·¬·±²¿´ ×²-«®»¼-
    îò Ý±ª»®»¼ Ý¿«-»- Ñº Ô±--                                              Ì¸®±«¹¸±«¬ ¬¸·- Ý±ª»®¿¹» Ú±®³ô ·º ¬¸»
        Í»» ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Ý±ª»®»¼ Ý¿«-»-                           Ò¿³»¼ ×²-«®»¼ -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§
        ±º Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³ò                                       Ý¸±·½» Ü»½´¿®¿¬·±²- ·-æ
    íò ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-                                                øï÷ ß °¿®¬²»®-¸·° ±® ½±®°±®¿¬·±²ô ¬¸»
                                                                               ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ·²½´«¼»
        ¿ò Í«°°´»³»²¬¿®§ Ð¿§³»²¬-                                              °¿®¬²»®-ô      »¨»½«¬·ª»     ±ºº·½»®-ô
            É» ©·´´ °¿§ô ©·¬¸ ®»-°»½¬ ¬± ¿²§ ½´¿·³ ±®                          ¬®«-¬»»-ô ¼·®»½¬±®- ¿²¼ -¬±½µ¸±´¼»®-
            ¿²§ -«·¬ ¿¹¿·²-¬ §±« ¬¸¿¬ ©» ¼»º»²¼æ                               ±º -«½¸ °¿®¬²»®-¸·° ±® ½±®°±®¿¬·±²å
            øï÷ ß´´ »¨°»²-»- ©» ·²½«®ò                                     øî÷ ß ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§ô ¬¸» ©±®¼-
            øî÷ Ì¸» ½±-¬ ±º ¾±²¼- ¬± ®»´»¿-»                                   þ§±«þ ¿²¼ þ§±«®þ ·²½´«¼» ³»³¾»®
                ¿¬¬¿½¸³»²¬-ô ¾«¬ ±²´§ º±® ¾±²¼                                 ¿²¼ ³¿²¿¹»®å
                ¿³±«²¬- ©·¬¸·² ±«® Ô·³·¬ ±º                                ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸»·® ¼«¬·»- ¿-
                                                                           -«½¸ò


Ú±®³ ÐÝ ðð íð ðï ïí                                                                                     Ð¿¹» ï ±º í
                                              w îðïíô Ì¸» Ø¿®¬º±®¼
       Caseø×²½´«¼»-
             3:24-cv-00490-FDW-SCR
                     ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ¬¸»Document    1-4 Filed
                                                 ×²-«®¿²½» Í»®ª·½»-      05/21/24
                                                                    Ñºº·½»ô             Page
                                                                            ×²½òô ©·¬¸ ·¬-     132 of 579
                                                                                           °»®³·--·±²ò÷
        Ì¸» »¨·-¬»²½» ±º ±²» ±® ³±®» ß¼¼·¬·±²¿´                         É» ©·´´ ½¸¿®¹» §±« ¿¼¼·¬·±²¿´
        ×²-«®»¼- ¼±»- ²±¬ ·²½®»¿-» ¬¸» Ô·³·¬ ±º                         °®»³·«³ º±® ª¿´«»- ®»°±®¬»¼ º®±³
        ×²-«®¿²½»ò                                                      ¬¸» ¼¿¬» ¬¸» °®±°»®¬§ ½±³»- «²¼»®
     ½ò Ò»©´§ ß½¯«·®»¼ Ñ®¹¿²·¦¿¬·±²-                                    §±«® ½¿®»ô ½«-¬±¼§ ±® ½±²¬®±´ò
        Ì¸®±«¹¸±«¬ ¬¸·- Ý±ª»®¿¹» Ú±®³ô ¬¸»                          øí÷ Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬
        ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ¿´-± ·²½´«¼» ¿²§                         ¿°°´§ ¬± ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
        ±®¹¿²·¦¿¬·±² ø±¬¸»® ¬¸¿² ¿ °¿®¬²»®-¸·°ô                         °¸§-·½¿´ ¼¿³¿¹» ¬¸¿¬ ±½½«®®»¼
        ¶±·²¬ ª»²¬«®» ±® ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§÷                     ¾»º±®» ¬¸» ¾«·´¼·²¹ °®±°»®¬§ ½¿³»
        §±« ²»©´§ ¿½¯«·®» ±® º±®³ ¿²¼ ±ª»®                              «²¼»® §±«® ½¿®»ô ½«-¬±¼§ ±® ½±²¬®±´ò
        ©¸·½¸ §±« ³¿·²¬¿·² ±©²»®-¸·° ±®                  Þò ÛÈÝÔËÍ×ÑÒÍ ßÒÜ Ô×Ó×ÌßÌ×ÑÒÍ
        ³¿¶±®·¬§ ·²¬»®»-¬ ·º ¬¸»®» ·- ²± ±¬¸»®
                                                            ïò Í»» ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Ý±ª»®»¼ Ý¿«-»-
        -·³·´¿® ·²-«®¿²½» ¿ª¿·´¿¾´» ¬± ¬¸¿¬
        ±®¹¿²·¦¿¬·±²ò                                          ±º Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³ò
        Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» »²¼-æ                      îò Ì¸» º±´´±©·²¹ ¿¼¼·¬·±²¿´ »¨½´«-·±²- ¿°°´§ ¬±
                                                               ·²-«®¿²½» «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³æ
        øï÷ çð ¼¿§- ¿º¬»® §±« ¿½¯«·®» ±® º±®³
             ¬¸» ±®¹¿²·¦¿¬·±²å ±®                               ¿ò Ý±²¬®¿½¬«¿´ Ô·¿¾·´·¬§
        øî÷ ß¬ ¬¸» »²¼ ±º ¬¸» °±´·½§ °»®·±¼ -¬¿¬»¼                  É» ©·´´ ²±¬ ¼»º»²¼ ¿²§ ½´¿·³ ±® þ-«·¬þô ±®
             ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Ü»½´¿®¿¬·±²-å                   °¿§ ¼¿³¿¹»- ¬¸¿¬ §±« ¿®» ´»¹¿´´§ ´·¿¾´»
        ©¸·½¸»ª»® ·- »¿®´·»®ò                                       ¬± °¿§ô -±´»´§ ¾§ ®»¿-±² ±º §±«®
                                                                    ¿--«³°¬·±² ±º ´·¿¾·´·¬§ ·² ¿ ½±²¬®¿½¬ ±®
        Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§                     ¿¹®»»³»²¬ò Þ«¬ ¬¸·- »¨½´«-·±² ¼±»- ²±¬
        ¬± ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´                  ¿°°´§ ¬± ¿ ©®·¬¬»² ´»¿-» ¿¹®»»³»²¬ ·²
        ¼¿³¿¹» ¬¸¿¬ ±½½«®®»¼ ¾»º±®» §±«                             ©¸·½¸ §±« ¸¿ª» ¿--«³»¼ ´·¿¾·´·¬§ º±®
        ¿½¯«·®»¼ ±® º±®³»¼ ¬¸» ±®¹¿²·¦¿¬·±²ò                        ¾«·´¼·²¹ ¼¿³¿¹» ®»-«´¬·²¹ º®±³ ¿² ¿½¬«¿´
        Ì¸» »¨·-¬»²½» ±º ±²» ±® ³±®» Ò»©´§                          ±® ¿¬¬»³°¬»¼ ¾«®¹´¿®§ ±® ®±¾¾»®§ô
        ß½¯«·®»¼ Ñ®¹¿²·¦¿¬·±²- ¼±»- ²±¬                             °®±ª·¼»¼ ¬¸¿¬æ
        ·²½®»¿-» ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò
                                                                    øï÷ Ç±«® ¿--«³°¬·±² ±º ´·¿¾·´·¬§ ©¿-
     ¼ò Ò»©´§ ß½¯«·®»¼ Þ«·´¼·²¹ Ð®±°»®¬§                                »¨»½«¬»¼ °®·±® ¬± ¬¸» ¿½½·¼»²¬å ¿²¼
        øï÷ Ç±« ³¿§ »¨¬»²¼ ¬¸» ·²-«®¿²½» ¬¸¿¬                       øî÷ Ì¸» ¾«·´¼·²¹ ·- Ý±ª»®»¼ Ð®±°»®¬§
             ¿°°´·»-      ¬±   Ý±ª»®»¼       Þ«·´¼·²¹                   «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³ò
             Ð®±°»®¬§ô ¿- «-»¼ ·² ¬¸·- Ý±ª»®¿¹»
             Ú±®³ô ¬± ¿°°´§ ¬± §±«® ´·¿¾·´·¬§ º±®               ¾ò Ò«½´»¿® Ø¿¦¿®¼
             Þ«·´¼·²¹ °®±°»®¬§ ±º ±¬¸»®- ¬¸¿¬                       É» ©·´´ ²±¬ ¼»º»²¼ ¿²§ ½´¿·³ ±® þ-«·¬þô ±®
             ½±³»- «²¼»® §±«® ½¿®»ô ½«-¬±¼§ ±®                      °¿§ ¿²§ ¼¿³¿¹»-ô ´±--ô »¨°»²-» ±®
             ½±²¬®±´ ¿º¬»® ¬¸» ¾»¹·²²·²¹ ±º ¬¸»                     ±¾´·¹¿¬·±²ô ®»-«´¬·²¹ º®±³       ²«½´»¿®
             ½«®®»²¬ °±´·½§ °»®·±¼ò Ì¸·- ß¼¼·¬·±²¿´                 ®»¿½¬·±² ±® ®¿¼·¿¬·±²ô ±® ®¿¼·±¿½¬·ª»
             Ý±ª»®¿¹» ·- -«¾¶»½¬ ¬± ¿´´ ¬»®³- ¿²¼                   ½±²¬¿³·²¿¬·±²ô ¸±©»ª»® ½¿«-»¼ò
             Ý±²¼·¬·±²- ±º ¬¸·- Ý±ª»®¿¹» Ú±®³ò           Ýò Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
             Ì¸» ³±-¬ ©» ©·´´ °¿§ ¿- ¬¸» ®»-«´¬ ±º          Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¼¿³¿¹»- ¿- ¬¸» ®»-«´¬ ±º
             ¿²§ ±²» ¿½½·¼»²¬ º±® ´±-- ±® ¼¿³¿¹»            ¿²§ ±²» ¿½½·¼»²¬ ·- ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º
             ¬± ¾«·´¼·²¹- ½±ª»®»¼ «²¼»® ¬¸·-                ×²­«®¿²½» ­¸±©² º±® Ô»¹¿´ Ô·¿¾·´·¬§  Þ«·´¼·²¹
             ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ·- üîëôððð ¿¬              Ô·³·¬ ±º ×²-«®¿²½» ¿- -¸±©² ·² ¬¸» Ð®±°»®¬§
             »¿½¸ ¾«·´¼·²¹ò                                 Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ±®
        øî÷ ×²-«®¿²½» «²¼»® ¬¸·- ß¼¼·¬·±²¿´                 ·² ¿² »²¼±®-»³»²¬ ¬± ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
             Ý±ª»®¿¹» ©·´´ »²¼ ©¸»² ¿²§ ±º ¬¸»
                                                            Ð¿§³»²¬- «²¼»® ¬¸» ß¼¼·¬·±²¿´ Ý±ª»®¿¹»- ¿®» ·²
             º±´´±©·²¹ º·®-¬ ±½½«®-æ
                                                            ¿¼¼·¬·±² ¬± ¬¸» Ô·³·¬- ±º ×²-«®¿²½»ò
             ø¿÷ Ì¸·- °±´·½§ »¨°·®»-å
                                                            Ì¸» »¨·-¬»²½» ±º ±²» ±® ³±®»æ
             ø¾÷ ïèð ¼¿§- »¨°·®» ¿º¬»® ¬¸»
                                                            ïò ß¼¼·¬·±²¿´ ×²-«®»¼-ô ±®
                  ¾«·´¼·²¹ °®±°»®¬§ ¸¿- ½±³»
                  «²¼»® §±«® ½¿®»ô ½«-¬±¼§ ±®               îò Ò»©´§ ß½¯«·®»¼ Ñ®¹¿²·¦¿¬·±²-ô
                  ½±²¬®±´å                                  ¼±»- ²±¬ ·²½®»¿-» ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò
             ø½÷ Ç±« ®»°±®¬ ª¿´«»- ¬± «-å ±®             Üò ÜÛÜËÝÌ×ÞÔÛ
             ø¼÷ Ì¸» °®±°»®¬§ ·- ³±®» -°»½·º·½¿´´§          Ò± ¼»¼«½¬·¾´» °®±ª·-·±² ¿°°´·»- ¬± ¬¸·- Ý±ª»®¿¹»
                  ·²-«®»¼ò                                  Ú±®³ò




Ð¿¹» î Case
       ±º í 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                                133 ÐÝ
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Ûò ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ÝØßÒÙÛÍ                     îò Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-
   Ú±® Ý±ª»®¿¹» °®±ª·¼»¼ «²¼»® ¬¸·- Ý±ª»®¿¹»                 Ì¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë- Ù»²»®¿´
   Ú±®³ô ¬¸» º±´´±©·²¹ ½¸¿²¹»- ¿®» ³¿¼» ¬± ¬¸»               Ý±²¼·¬·±² ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
   Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²-æ                               Ò± °»®-±² ±® ±®¹¿²·¦¿¬·±² ¸¿- ¿ ®·¹¸¬ «²¼»®
   ïò Ü«¬·»- ×² Ì¸» Ûª»²¬ Ñº ß½½·¼»²¬ô Ý´¿·³                 ¬¸·- Ý±ª»®¿¹» Ú±®³æ
      Ñ® Í«·¬                                                ¿ò Ì± ¶±·² «- ¿- ¿ °¿®¬§ ±® ±¬¸»®©·-» ¾®·²¹
      Ì¸» Ù»²»®¿´ Ü«¬·»- ·² Ûª»²¬ ±º Ô±--                       «- ·²¬± ¿ -«·¬ ¿-µ·²¹ º±® ¼¿³¿¹»- º®±³
      Ý±²¼·¬·±² ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ                   §±«å ±®
      ¿ò Ç±« ³«-¬ -»» ¬± ·¬ ¬¸¿¬ ©» ¿®» ²±¬·º·»¼             ¾ò Ì± -«» «- ±² ¬¸·- Ý±ª»®¿¹» Ú±®³ «²´»--
         °®±³°¬´§ ±º ¿²§ ¿½½·¼»²¬ ¬¸¿¬ ³¿§ ®»-«´¬               ¿´´ ±º ·¬- ¬»®³- ¸¿ª» ¾»»² º«´´§ ½±³°´·»¼
         ·² ¿ ½´¿·³ò Ò±¬·½» -¸±«´¼ ·²½´«¼»æ                     ©·¬¸ò
          øï÷ Ø±©ô ©¸»² ¿²¼ ©¸»®» ¬¸» ¿½½·¼»²¬               ß °»®-±² ±® ±®¹¿²·¦¿¬·±² ³¿§ -«» «- ¬±
              ¬±±µ °´¿½»å ¿²¼                                ®»½±ª»® ±² ¿² ¿¹®»»¼ -»¬¬´»³»²¬ ±® ±² ¿
          øî÷ Ì¸» ²¿³»- ¿²¼ ¿¼¼®»--»- ±º ¿²§                 º·²¿´ ¶«¼¹³»²¬ ¿¹¿·²-¬ §±« ±¾¬¿·²»¼ ¿º¬»® ¿²
              ©·¬²»--»-ò                                     ¿½¬«¿´ ¬®·¿´ô ¾«¬ ©» ©·´´ ²±¬ ¾» ´·¿¾´» º±®
                                                             ¼¿³¿¹»- ¬¸¿¬ ¿®» ²±¬ °¿§¿¾´» «²¼»® ¬¸»
          Ò±¬·½» ±º ¿² ¿½½·¼»²¬ ·- ²±¬ ²±¬·½» ±º ¿           ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ú±®³ ±® ¬¸¿¬ ¿®» ·²
          ½´¿·³ò                                             »¨½»-- ±º ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò ß² ¿¹®»»¼
      ¾ò ×º ¿ ½´¿·³ ·- ³¿¼» ±® -«·¬ ·- ¾®±«¹¸¬               -»¬¬´»³»²¬ ³»¿²- ¿ -»¬¬´»³»²¬ ¿²¼ ®»´»¿-»
         ¿¹¿·²-¬ §±«ô §±« ³«-¬ -»» ¬± ·¬ ¬¸¿¬ ©»             ±º ´·¿¾·´·¬§ -·¹²»¼ ¾§ «-ô §±« ¿²¼ ¬¸» ½´¿·³¿²¬
         ®»½»·ª» °®±³°¬ ©®·¬¬»² ²±¬·½» ±º ¬¸»                ±® ¬¸» ½´¿·³¿²¬ù- ´»¹¿´ ®»°®»-»²¬¿¬·ª»ò
         ½´¿·³ ±® -«·¬ò                                   íò Ì®¿²-º»® Ñº Î·¹¸¬- øÍ«¾®±¹¿¬·±²÷
      ½ò Ç±« ³«-¬æ                                           Ì¸» Ì®¿²-º»® ±º Î·¹¸¬- ±º Î»½±ª»®§
          øï÷ ×³³»¼·¿¬»´§ -»²¼ «- ½±°·»- ±º ¿²§              ß¹¿·²-¬ Ñ¬¸»®- Ì± Ë- Ù»²»®¿´ Ý±²¼·¬·±²
              ¼»³¿²¼-ô ²±¬·½»-ô -«³³±²-»- ±®                 ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
              ´»¹¿´ °¿°»®- ®»½»·ª»¼ ·² ½±²²»½¬·±²            ×º §±« ¸¿ª» ®·¹¸¬- ¬± ®»½±ª»® ¿´´ ±® °¿®¬ ±º ¿²§
              ©·¬¸ ¬¸» ½´¿·³ ±® -«·¬å                        °¿§³»²¬ ©» ¸¿ª» ³¿¼» «²¼»® ¬¸·- Ý±ª»®¿¹»
          øî÷ ß«¬¸±®·¦» «- ¬± ±¾¬¿·² ®»½±®¼- ¿²¼             Ú±®³ô ¬¸±-» ®·¹¸¬- ¿®» ¬®¿²-º»®®»¼ ¬± «-ò Ç±«
              ±¬¸»® ·²º±®³¿¬·±²å                             ³«-¬ ¼± ²±¬¸·²¹ ¿º¬»® ´±-- ¬± ·³°¿·® ¬¸»³ò ß¬
          øí÷ Ý±±°»®¿¬»      ©·¬¸     «-  ·²   ¬¸»           ±«® ®»¯«»-¬ô §±« ©·´´ ¾®·²¹ -«·¬ ±® ¬®¿²-º»®
              ·²ª»-¬·¹¿¬·±²ô -»¬¬´»³»²¬ ±® ¼»º»²-»           ¬¸±-» ®·¹¸¬- ¬± «- ¿²¼ ¸»´° «- »²º±®½» ¬¸»³ò
              ±º ¬¸» ½´¿·³ ±® -«·¬å ¿²¼                Úò ßÜÜ×Ì×ÑÒßÔ ÝÑÒÜ×Ì×ÑÒÍ
          øì÷ ß--·-¬ «-ô «°±² ±«® ®»¯«»-¬ô ·² ¬¸»         Ì¸» º±´´±©·²¹ ½±²¼·¬·±²- ¿®» ¿¼¼»¼ ¿²¼ ¿°°´§ ·²
              »²º±®½»³»²¬ ±º ¿²§ ®·¹¸¬ ¿¹¿·²-¬ ¿²§        ¿¼¼·¬·±² ¬± ¬¸» Ý±³³±² Ð±´·½§ Ý±²¼·¬·±²-ô ¿²¼
              °»®-±² ±® ±®¹¿²·¦¿¬·±² ¬¸¿¬ ³¿§ ¾»          ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²-æ
              ´·¿¾´» ¬± §±« ¾»½¿«-» ±º ¼¿³¿¹» ¬±          ïò Þ¿²µ®«°¬½§
              ©¸·½¸ ¬¸·- ·²-«®¿²½» ³¿§ ¿´-± ¿°°´§ò
                                                             Þ¿²µ®«°¬½§ ±® ·²-±´ª»²½§ ±º §±« ±® §±«®
      ¼ò Ç±« ©·´´ ²±¬ô »¨½»°¬ ¿¬ §±«® ±©² ½±-¬ô              »-¬¿¬» ©·´´ ²±¬ ®»´·»ª» «- ±º ±«® ±¾´·¹¿¬·±²-
         ª±´«²¬¿®·´§ ³¿µ» ¿ °¿§³»²¬ô ¿--«³» ¿²§              «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³ò
         ±¾´·¹¿¬·±²ô ±® ·²½«® ¿²§ »¨°»²-» ©·¬¸±«¬
         ±«® ½±²-»²¬ò                                     îò Í»°¿®¿¬·±² Ñº ×²-«®»¼-
                                                             Ì¸» ·²-«®¿²½» «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³
                                                             ¿°°´·»- -»°¿®¿¬»´§ ¬± §±« ¿²¼ »¿½¸
                                                             ¿¼¼·¬·±²¿´ ·²-«®»¼ô »¨½»°¬ ©·¬¸ ®»-°»½¬ ¬± ¬¸»
                                                             Ô·³·¬- ±º ×²-«®¿²½»ò




      Case
Ú±®³ ÐÝ ðð íð3:24-cv-00490-FDW-SCR
              ðï ïí                          Document 1-4 Filed 05/21/24 Page 134 of 579
                                                                                     Ð¿¹» í ±º í
                                                                                              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


       ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÝÑÊÛÎÛÜ ÝßËÍÛÍ ÑÚ ÔÑÍÍ
                 ßÒÜ ÛÈÝÔËÍ×ÑÒÍ ÚÑÎÓ
Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»
©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± Ú±®³ ÐÝ ðð çð
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ º±® ¼»º·²·¬·±²-ò

ßò ÝÑÊÛÎÛÜ ÝßËÍÛÍ ÑÚ ÔÑÍÍ                                                        ¼»-·¹²ô -°»½·º·½¿¬·±²-ô ½±²-¬®«½¬·±²ô
   Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ³»¿²- ¼·®»½¬ °¸§-·½¿´                                  ®»²±ª¿¬·±²ô ®»³±¼»´·²¹ô ¹®¿¼·²¹ ±®
   ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬¸¿¬ ±½½«®- ¼«®·²¹                             ½±³°¿½¬·±²ò
   ¬¸» Ð±´·½§ Ð»®·±¼ ¿²¼ ·² ¬¸» Ý±ª»®¿¹» Ì»®®·¬±®§                      Ì¸» ß½¬-ô Û®®±®- ±® Ñ³·--·±²- Û¨½´«-·±²
   «²´»-- ¬¸» ´±-- ±® ¼¿³¿¹» ·- »¨½´«¼»¼ ±® ´·³·¬»¼ ·²                  ¿°°´·»- ©¸»¬¸»® ±® ²±¬ ¬¸» °®±°»®¬§ ±®
   ¬¸·- °±´·½§ò                                                         º¿½·´·¬·»- ¼»-½®·¾»¼ ¿¾±ª» ¿®» Ý±ª»®»¼
Þò ÛÈÝÔËÍ×ÑÒÍ                                                           Ð®±°»®¬§ «²¼»® ¬¸·- °±´·½§ ±® ±² ±® ¿©¿§
                                                                        º®±³ ¿ þÍ½¸»¼«´»¼ Ð®»³·-»-þò
   ïò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼
        ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ¾§ ¿²§ ±º ¬¸» º±´´±©·²¹ò                 Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
        Í«½¸ ´±-- ±® ¼¿³¿¹» ·- »¨½´«¼»¼ ®»¹¿®¼´»--                      ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¾§ º·®»ô
        ±º ¿²§ ±¬¸»® ½¿«-» ±® »ª»²¬ ¬¸¿¬ ½±²¬®·¾«¬»-                    »¨°´±-·±² ±® þÍ°®·²µ´»® Ô»¿µ¿¹»þ ®»-«´¬-ô
        ½±²½«®®»²¬´§ ±® ·² ¿²§ -»¯«»²½» ¬± ¬¸» ´±-- ±®                  ©» ©·´´ °¿§ º±® ¬¸» ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹»
        ¼¿³¿¹»æ                                                         ½¿«-»¼ ¾§ ¬¸¿¬ º·®»ô »¨°´±-·±² ±® þÍ°®·²µ´»®
                                                                        Ô»¿µ¿¹»þò
        ¿ò ß½¬-ô Û®®±®- ±® Ñ³·--·±²-
                                                                     ¾ò É±®µ³¿²-¸·° ¿²¼ Î»°¿·®
            ß½¬-ô »®®±®- ±® ±³·--·±²- ¾§ §±« ±® ±¬¸»®-ô
            ©¸»¬¸»® ¾»º±®» ±® ¿º¬»® ¬¸» ¿½¯«·-·¬·±² ±º                  É» ©·´´ ²±¬ °¿§ º±® ¬¸» ½±-¬ ±º ½±®®»½¬·²¹
            ¿²§ Ý±ª»®»¼ Ð®±°»®¬§ô ·² ¿²§ ±º ¬¸»                         ¼»º»½¬- ·² Ý±ª»®»¼ Ð®±°»®¬§ô ±® ´±-- ±®
            º±´´±©·²¹ ¿½¬·ª·¬·»-æ                                       ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¬¸¿¬ ©¿-
                                                                        ½¿«-»¼ ¾§ô ®»-«´¬·²¹ º®±³ô ±® ¿®·-·²¹ ±«¬ ±º
            øï÷ Ð´¿²²·²¹ô         ¦±²·²¹ô     ¼»ª»´±°·²¹ô               ·³°®±°»® ±® ¼»º»½¬·ª» ©±®µ³¿²-¸·° ±®
                 -«®ª»§·²¹ô ¬»-¬·²¹ ±® -·¬·²¹ °®±°»®¬§å                 ®»°¿·® ¼±²» ±² Ý±ª»®»¼ Ð®±°»®¬§ ¾§ §±«ô
            øî÷ Û-¬¿¾´·-¸·²¹ ±® »²º±®½·²¹ ¿²§ ¾«·´¼·²¹                  §±«® »³°´±§»»-ô ±® ±¬¸»®- ©±®µ·²¹ ±²
                 ½±¼»ô ±® ¿²§ -¬¿²¼¿®¼ô ±®¼·²¿²½» ±®                    §±«® ¾»¸¿´ºò
                 ´¿© ¿¾±«¬ ¬¸» ½±²-¬®«½¬·±²ô «-» ±®                     Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
                 ®»°¿·® ±º ¿²§ °®±°»®¬§ ±® ³¿¬»®·¿´-ô ±®                ¼¿³¿¹» ¾§ ¿ þÍ°»½·º·»¼ Ý¿«-» ±º Ô±--þ
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                 °®±°»®¬§ô ·²½´«¼·²¹ ¬¸» ®»³±ª¿´ ±º ·¬-                 Û¯«·°³»²¬ Þ®»¿µ¼±©² ½±ª»®¿¹» ·-
                 ¼»¾®·-å ±®                                             °®±ª·¼»¼ «²¼»® ¬¸·- °±´·½§ ¿²¼ ¿²
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                 ´¿²¼ô ¾«·´¼·²¹-ô ®±¿¼-ô ©¿¬»® ±® ¹¿-                   Û¯«·°³»²¬ Þ®»¿µ¼±©² Û¯«·°³»²¬ô ©» ©·´´
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Ú±®³ ÐÝ ïð ïð ðï ïè                                                                                      Ð¿¹» ï ±º é
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                                   îðïèô Ì¸» Ø¿®¬º±®¼
     ¼ò Ý±´´¿°-»                                                  øì÷ Î»´»¿-» ±º ©¿¬»® ¸»´¼ ¾§ ¿ ¼¿³ô ´»ª»»
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         ¾«´¹·²¹ô »¨°¿²-·±²ô -¸·º¬·²¹ô ®·-·²¹ô                    øë÷ É¿¬»® «²¼»® ¬¸» ¹®±«²¼ -«®º¿½»
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              º±«²¼¿¬·±²- ±® ±¬¸»® °¿®¬ ±º ¾«·´¼·²¹-           ¹ò þÚ«²¹«-þô É»¬ Î±¬ô Ü®§ Î±¬ô Þ¿½¬»®·¿
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                                                                  Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
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        ©»¿¬¸»®ô ¿² ¿½¬ ±º ²¿¬«®» ±® ¾§ ¿²                        °¿§ º±® ¬¸» ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹» ½¿«-»¼
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              ¹®±«²¼ò                                             øî÷ Þ«¬ ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±--
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              ±® ±ª»®º´±©- º®±³ ¿²§ -»©»®ô -»°¬·½                     ±® ®»-«´¬·²¹ º®±³ ¿½¬- ±º ¼»-¬®«½¬·±²
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               ½±ª»®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò                         ø¿÷ ß² ±®¼·²¿²½» ±® ´¿© ¬¸¿¬ ·-
           øí÷ Ì¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±                              »²º±®½»¼ »ª»² ·º ¬¸» °®±°»®¬§ ¸¿-
               ½±ª»®¿¹» ¿- °®±ª·¼»¼ «²¼»® ¬¸»                                ²±¬ ¾»»² ¼¿³¿¹»¼å ±®
               Ñ®¼·²¿²½»    ±®  Ô¿©    ß¼¼·¬·±²¿´                        ø¾÷ Ì¸» ·²½®»¿-»¼ ½±-¬- ·²½«®®»¼ ¬±
               Ý±ª»®¿¹»ø-÷ò                                                  ½±³°´§ ©·¬¸ ¿² ±®¼·²¿²½» ±® ´¿©
      ·ò   Ò»-¬·²¹ ±® ×²º»-¬¿¬·±²                                            ©¸·´»     ·²   ¬¸»   ½±«®-»      ±º
           øï÷ É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹»                            ½±²-¬®«½¬·±²ô ®»°¿·®ô ®»²±ª¿¬·±²ô
               ½¿«-»¼ ¾§ô ®»-«´¬·²¹ º®±³ô ±® ¿®·-·²¹                         ®»³±¼»´·²¹ ±® ¼»³±´·¬·±² ±º
               ±«¬ ±º ²»-¬·²¹ ±® ·²º»-¬¿¬·±²ô ±®                             °®±°»®¬§ô ±® ®»³±ª¿´ ±º ·¬- ¼»¾®·-ô
               ¼·-½¸¿®¹» ±® ®»´»¿-» ±º ©¿-¬»                                 º±´´±©·²¹ ¿ °¸§-·½¿´ ´±-- ¬± ¬¸¿¬
               °®±¼«½¬- ±® -»½®»¬·±²-ô ¾§ ·²-»½¬-ô                           °®±°»®¬§ò
               ¾·®¼-ô ®±¼»²¬- ±® ±¬¸»® ¿²·³¿´-ò                 ´ò   Ð¿¬¸±¹»²·½ ±® Ð±·-±²±«- Þ·±´±¹·½¿´ ±®
           øî÷ ×º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´            Ý¸»³·½¿´ Ó¿¬»®·¿´-
               ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--                     øï÷ Ì¸» ¼»´·¾»®¿¬» ±® ·²¬»²¬·±²¿´ ¼·-°»®-¿´
               »²-«»- ¬± Ý±ª»®»¼ Ð®±°»®¬§ô ©» ©·´´                       ±® ¿°°´·½¿¬·±² ±º ¿²§ °¿¬¸±¹»²·½ ±®
               °¿§ ±²´§ º±® -«½¸ »²-«·²¹ ´±-- ±®                         °±·-±²±«- ¾·±´±¹·½¿´ ±® ½¸»³·½¿´
               ¼¿³¿¹»ò                                                   ³¿¬»®·¿´-ò
           øí÷ Ì¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±æ                     øî÷ Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
               ø¿÷ þÝ±³°«¬»®     Û¯«·°³»²¬þ         ¿²¼                  °¸§-·½¿´ ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§
                   þÊ¿´«¿¾´» Ð¿°»®-þå ¿²¼                                ¾§ º·®» ®»-«´¬-ô ©» ©·´´ °¿§ º±® ¬¸»
                                                                         ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§
               ø¾÷ ß½½±«²¬- Î»½»·ª¿¾´» ¿²¼ Ú·²»                          ¬¸¿¬ º·®»ò
                   ß®¬- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-ò
                                                                ³ò þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þ
     ¶ò    Ò«½´»¿® Ø¿¦¿®¼
                                                                     øï÷ Ü·-½¸¿®¹»ô     ¼·-°»®-¿´ô   -»»°¿¹»ô
           øï÷ Ò«½´»¿® ®»¿½¬·±²ô ²«½´»¿® ®¿¼·¿¬·±² ±®                    ³·¹®¿¬·±²ô ®»´»¿-» ±® »-½¿°» ±º
               ®¿¼·±¿½¬·ª» ½±²¬¿³·²¿¬·±²ô ¸±©»ª»®                        þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þò
               ½¿«-»¼ô     ©¸»¬¸»® ·²¬»²¬·±²¿´       ±®
               «²·²¬»²¬·±²¿´ò Ì¸·- ·²½´«¼»-ô ¾«¬ ·- ²±¬              øî÷ Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
               ´·³·¬»¼ ¬±ô ¬¸» ®»´»¿-»ô ¼·-°»®-¿´ ±®                     °¸§-·½¿´ ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§
               ¿°°´·½¿¬·±² ±º ®¿¼·±¿½¬·ª» ³¿¬»®·¿´ô ±®                   ¾§ ¿ þÍ°»½·º·»¼ Ý¿«-» ±º Ô±--þ ®»-«´¬-ô
               ¬¸» «-» ±º ¿ ²«½´»¿® ©»¿°±² ±® ¼»ª·½»                     ©» ©·´´ °¿§ º±® ¬¸» ®»-«´¬·²¹ ´±-- ±®
               ¬¸¿¬ ·²ª±´ª»- ±® °®±¼«½»- ¿ ²«½´»¿®                       ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬ þÍ°»½·º·»¼
               ®»¿½¬·±²ô    ²«½´»¿®     ®¿¼·¿¬·±²    ±®                  Ý¿«-» ±º Ô±--þò
               ®¿¼·±¿½¬·ª»      ½±²¬¿³·²¿¬·±²        ±®              øí÷ Ì¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ·º ¬¸»
               ®¿¼·±¿½¬·ª» º±®½»ò                                        ¼·-½¸¿®¹»ô     ¼·-°»®-¿´ô  -»»°¿¹»ô
           øî÷ É¸»² -¬¿¬» -¬¿²¼¿®¼ º·®» °±´·½§ ´¿©                       ³·¹®¿¬·±²ô ®»´»¿-» ±® »-½¿°» ·- ·¬-»´º
               ®»¯«·®»- ¬¸¿¬ ©» ½±ª»® ¿²§ ®»-«´¬·²¹                      ½¿«-»¼ ¾§ ¿ þÍ°»½·º·»¼ Ý¿«-» ±º
               º·®» ¼¿³¿¹»ô ©» ©·´´ °¿§ ±²´§ º±® ¬¸»                     Ô±--þò
               ®»-«´¬·²¹ ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬                     øì÷ Ì¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±æ
               ®»-«´¬·²¹ º·®»ò É» ©·´´ °¿§ ±²´§ ¬¸»                     ø¿÷ þÝ±³°«¬»®       Û¯«·°³»²¬þ      ¿²¼
               ß½¬«¿´ Ý¿-¸ Ê¿´«» º±® ¬¸» ¼¿³¿¹»¼                            þÊ¿´«¿¾´» Ð¿°»®-þå
               °®±°»®¬§ò Ì¸»®»º±®»ô ©» ©·´´ ²±¬ °¿§
               º±® ¿²§ ·²¼·®»½¬ ±® ®»´¿¬»¼ ´±--ø»-÷ô                    ø¾÷ ß½½±«²¬- Î»½»·ª¿¾´»ô Þ«-·²»--
               -«½¸ ¿- ¾«-·²»-- ·²½±³»ô »¨¬®¿                               Ì®¿ª»´ô Û¨¸·¾·¬·±²-ô Ú·²» ß®¬- ¿²¼
               »¨°»²-»-ô ´»¹¿´ ´·¿¾·´·¬§ô ±® ´»¿-»¸±´¼                      Ì®¿²-·¬ ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-å ±®
               ·²¬»®»-¬ ´±--ø»-÷ò                                       ø½÷ Ì¸» ¿½½·¼»²¬¿´ ±® ³¿´·½·±«-
                                                                            ¿°°´·½¿¬·±² ±º ½¸»³·½¿´- ¬± ¹´¿--
      µò Ñ®¼·²¿²½» ±® Ô¿©
                                                                            ¬¸¿¬ ·- ¿ °¿®¬ ±º ¿ ¾«·´¼·²¹ô
           øï÷ Ì¸» »²º±®½»³»²¬ ±ºô ±® ½±³°´·¿²½»                            -¬®«½¬«®» ±® -¸±©½¿-»ò
               ©·¬¸ô ¿²§ ±®¼·²¿²½» ±® ´¿©æ
                                                                ²ò Ë¬·´·¬§ Í»®ª·½»- ×²¬»®®«°¬·±²
               ø¿÷ Î»¹«´¿¬·²¹ ¬¸» ½±²-¬®«½¬·±²ô «-»                Ì¸» º¿·´«®» ±º °±©»®ô ½±³³«²·½¿¬·±²ô
                   ±® ®»°¿·® ±º ¿²§ °®±°»®¬§å ±®                   ©¿¬»® ±® ±¬¸»® «¬·´·¬§ -»®ª·½» -«°°´·»¼ ¬± ¿
               ø¾÷ Î»¯«·®·²¹ ¬¸» ¬»¿®·²¹ ¼±©² ±º ¿²§               þÍ½¸»¼«´»¼ Ð®»³·-»-þ ·º ¬¸» º¿·´«®»æ
                   °®±°»®¬§ô ·²½´«¼·²¹ ¬¸» ½±-¬ ±º                 øï÷ Ñ®·¹·²¿¬»- ¿©¿§ º®±³ ¿ þÍ½¸»¼«´»¼
                   ®»³±ª·²¹ ·¬- ¼»¾®·-ò                                 Ð®»³·-»-þå ±®


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Ú±®³ ÐÝ ïð ïð3:24-cv-00490-FDW-SCR
              ðï ïè                              Document 1-4 Filed 05/21/24 Page 137 of 579
                                                                                         Ð¿¹» í ±º é
        øî÷ Ñ®·¹·²¿¬»- ¿¬ ¿ þÍ½¸»¼«´»¼ Ð®»³·-»-þô                    Û¨½´«-·±²- Þòïò¿ò ¬¸®±«¹¸ Þòïò±ò
            ¾«¬ ±²´§ ·º -«½¸ º¿·´«®» ·²ª±´ª»-                        ¿°°´§ ©¸»¬¸»® ±® ²±¬ ¬¸» ´±-- »ª»²¬
            »¯«·°³»²¬ «-»¼ ¬± -«°°´§ ¬¸» «¬·´·¬§                     ®»-«´¬- ·² ©·¼»-°®»¿¼ ¼¿³¿¹» ±®
            -»®ª·½» ¬± ¬¸» þÍ½¸»¼«´»¼ Ð®»³·-»-þ                      ¿ºº»½¬- ¿ -«¾-¬¿²¬·¿´ ¿®»¿ò
            º®±³ ¿ -±«®½» ¿©¿§ º®±³ ¬¸»                   îò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§
            þÍ½¸»¼«´»¼ Ð®»³·-»-þò                            ±® ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹æ
            Ú¿·´«®» ±º ¿²§ «¬·´·¬§ -»®ª·½» ·²½´«¼»-          ¿ò ß®¬·º·½·¿´´§  Ù»²»®¿¬»¼     Û´»½¬®·½¿´ô
            ´¿½µ ±º -«ºº·½·»²¬ ½¿°¿½·¬§ ¿²¼                     Ó¿¹²»¬·½ ±® Û´»½¬®±³¿¹²»¬·½ Û²»®¹§
            ®»¼«½¬·±² ·² -«°°´§ò
                                                                 ß®¬·º·½·¿´´§ ¹»²»®¿¬»¼ »´»½¬®·½¿´ô ³¿¹²»¬·½
            Ô±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§ ¿ -«®¹» ±º
                                                                 ±® »´»½¬®±³¿¹²»¬·½ »²»®¹§ô ·²½´«¼·²¹
            °±©»® ·- ¿´-± »¨½´«¼»¼ô ·º ¬¸» -«®¹»
                                                                 »´»½¬®·½ ¿®½·²¹ô ¬¸¿¬ ¼¿³¿¹»-ô ¼·-¬«®¾-ô
            ©±«´¼ ²±¬ ¸¿ª» ±½½«®®»¼ ¾«¬ º±® ¿²
                                                                 ¼·-®«°¬- ±® ±¬¸»®©·-» ·²¬»®º»®»- ©·¬¸ ¿²§
            »ª»²¬ ½¿«-·²¹ ¿ º¿·´«®» ±º °±©»®ò                    »´»½¬®·½¿´ ±® »´»½¬®±²·½ ©·®»ô ¼»ª·½»ô
            Ý±³³«²·½¿¬·±² -»®ª·½»- ·²½´«¼» ¾«¬                   ¿°°´·¿²½»ô -§-¬»³ ±® ²»¬©±®µò
            ¿®» ²±¬ ´·³·¬»¼ ¬± -»®ª·½» ®»´¿¬·²¹ ¬±
                                                                 Ú±® ¬¸» °«®°±-» ±º ¬¸·- Û¨½´«-·±²ô
            ·²¬»®²»¬ ¿½½»-- ±® ¿½½»-- ¬± ¿²§
                                                                 »´»½¬®·½¿´ô ³¿¹²»¬·½ ±® »´»½¬®±³¿¹²»¬·½
            »´»½¬®±²·½ô ½»´´«´¿® ±® -¿¬»´´·¬» ²»¬©±®µò
                                                                 »²»®¹§ ·²½´«¼»- ¾«¬ ·- ²±¬ ´·³·¬»¼ ¬±æ
            Þ«¬ ·º ¬¸» º¿·´«®» ±º °±©»®ô
                                                                 øï÷ Û´»½¬®·½¿´ ½«®®»²¬ô ·²½´«¼·²¹ ¿®½·²¹å
            ½±³³«²·½¿¬·±²ô ©¿¬»® ±® ±¬¸»® «¬·´·¬§
            -»®ª·½» -«°°´·»¼ ¬± ¬¸» ·²-«®»¼                      øî÷ Û´»½¬®·½¿´ ½¸¿®¹»      °®±¼«½»¼         ±®
            °®»³·-»- ®»-«´¬- ·² ¿ Ý±ª»®»¼ Ý¿«-»                      ½±²¼«½¬»¼ ¾§ ¿ ³¿¹²»¬·½                 ±®
            ±º Ô±--ô ©» ©·´´ °¿§ º±® ¬¸» ´±-- ±®                     »´»½¬®±³¿¹²»¬·½ º·»´¼å
            ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬ Ý±ª»®»¼ Ý¿«-»                  øí÷ Ð«´-» ±º »´»½¬®±³¿¹²»¬·½ »²»®¹§å ±®
            ±º Ô±-- ¬± Ý±ª»®»¼ Ð®±°»®¬§ò
                                                                 øì÷ Û´»½¬®±³¿¹²»¬·½           ©¿ª»-         ±®
        øí÷ Ì¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±æ                        ³·½®±©¿ª»-ò
            ø¿÷ þÊ¿´«¿¾´» Ð¿°»®-þô                               Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
            ø¾÷ ß½½±«²¬- Î»½»·ª¿¾´» ¿²¼ Ú·²»                     ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¾§ º·®»
                ß®¬- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-å ¿²¼                   ®»-«´¬-ô ©» ©·´´ °¿§ º±® ¬¸» ®»-«´¬·²¹ ´±-- ±®
                                                                 ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬ º·®»ò
            ø½÷ Ý±ª»®¿¹» °®±ª·¼»¼        «²¼»® ¬¸»
                Ë¬·´·¬§   Í»®ª·½»         ß¼¼·¬·±²¿´         ¾ò ß½½±«²¬·²¹ Û®®±®-
                Ý±ª»®¿¹»ø-÷ò                                    Û®®±®- ±® ±³·--·±²- ·² ¿½½±«²¬·²¹ô
     ±ò É¿® ¿²¼ Ó·´·¬¿®§ ß½¬·±²                                 ¿®·¬¸³»¬·½ô ¾±±µµ»»°·²¹ô ±® ¾·´´·²¹ò
        øï÷ É¿®ô ·²½´«¼·²¹ «²¼»½´¿®»¼ ©¿®å                   ½ò Ý¸¿²¹» ±º Ì»³°»®¿¬«®»ô Ü¿³°²»-- ±®
                                                                Ü®§²»--
        øî÷ Ø±-¬·´» ±® ©¿®´·µ» ¿½¬·±²ô ·² ¬·³» ±º
                                                                øï÷ Ü¿³°²»-- ±® ¼®§²»-- ±º ¿¬³±-°¸»®»å ±®
            °»¿½» ±® ©¿®ô ·²½´«¼·²¹ ¿½¬·±² ·²
            ¸·²¼»®·²¹ô ½±³¾¿¬·²¹ ±® ¼»º»²¼·²¹                   øî÷ Ý¸¿²¹»-       ·²     ±®    »¨¬®»³»-     ±º
            ¿¹¿·²-¬ ¿² ¿½¬«¿´ ±® »¨°»½¬»¼ ¿¬¬¿½µå                    ¬»³°»®¿¬«®»ò
            ¾§ ¿²§ ±º ¬¸» º±´´±©·²¹æ                            Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
            ø¿÷ Ù±ª»®²³»²¬ ±® -±ª»®»·¹² °±©»®                   ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¾§ ¿
                ø·²½´«¼·²¹ ¯«¿-· ¿²¼ ¼» º¿½¬±                   Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ®»-«´¬-ô ©» ©·´´
                º±®³-÷ô ±® ¾§ ¿²§ ¿«¬¸±®·¬§                     °¿§ º±® ¬¸» ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹»
                ³¿·²¬¿·²·²¹ ±® «-·²¹ ³·´·¬¿®§ô                  ½¿«-»¼ ¾§ ¬¸¿¬ Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò
                ²¿ª¿´ ±® ¿·® º±®½»-å                            øí÷ Ì¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±æ
            ø¾÷ Ó·´·¬¿®§ô ²¿ª¿´ ±® ¿·® º±®½»-å ±®                    ø¿÷ þÝ±³°«¬»®        Û¯«·°³»²¬þ      ¿²¼
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                º±®½»-ò                                                   ß®¬- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-å ¿²¼
        øí÷ ×²ª¿-·±²ô     ·²-«®®»½¬·±²ô   ®»¾»´´·±²ô                 ø½÷ Ý±ª»®¿¹» °®±ª·¼»¼ º±® Í°±·´¿¹»
            ®»ª±´«¬·±²ô ½·ª·´ ©¿®ô «-«®°»¼ °±©»®ô                         «²¼»® ¬¸» Ý¿«-» ±º Ô±--
            ·²½´«¼·²¹     ¿½¬·±²     ·²  ¸·²¼»®·²¹ô                       Û¯«·°³»²¬         Þ®»¿µ¼±©²        ·º
            ½±³¾¿¬·²¹ ±® ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿²§                            ¿°°´·½¿¾´»ò
            -«½¸ ¿½¬«¿´ ±® »¨°»½¬»¼ »ª»²¬ ¾§ ¿²§             ¼ò Ü»´¿§ô Ô±-- ±º Ë-» ±® Ô±-- ±º Ó¿®µ»¬
            ¹±ª»®²³»²¬ô °±©»®ô ¿«¬¸±®·¬§ô º±®½»-                É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹»
            ±® ¿¹»²¬- ¼»-½®·¾»¼ ·² Ð¿®¿¹®¿°¸                    ½¿«-»¼ ¾§ô ®»-«´¬·²¹ º®±³ô ±® ¿®·-·²¹ ±«¬ ±º
            øî÷ø¿÷óø½÷ò¿¾±ª»ò                                   ¼»´¿§ô ´±-- ±º «-»ô ±® ´±-- ±º ³¿®µ»¬ò


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      »ò Ü·-¸±²»-¬ ß½¬-                                            øí÷ Û®®±®-ô ±³·--·±²- ±® ¼»º·½·»²½§ ·²
           Ü·-¸±²»-¬ ±® ½®·³·²¿´ ¿½¬ ø·²½´«¼·²¹ ¬¸»º¬÷                 °®±¹®¿³³·²¹ô °®±½»--·²¹ ±® -¬±®·²¹
           ¾§ §±«ô ¿²§ ±º §±«® °¿®¬²»®-ô ³»³¾»®-ô                      þÛ´»½¬®±²·½ Ü¿¬¿þå
           ±ºº·½»®-ô ³¿²¿¹»®-ô »³°´±§»»- ø·²½´«¼·²¹                øì÷ Û®®±®-ô ±³·--·±²- ±® ¼»º·½·»²½§ ·²
           ¬»³°±®¿®§      »³°´±§»»-      ¿²¼     ´»¿-»¼                ¼»-·¹²ô ·²-¬¿´´¿¬·±²ô ³¿·²¬»²¿²½»ô
           ©±®µ»®-÷ô ¼·®»½¬±®-ô ¬®«-¬»»-ô ±® ¿«¬¸±®·¦»¼                ®»°¿·® ±® ³±¼·º·½¿¬·±² ±º §±«®
           ®»°®»-»²¬¿¬·ª»-ô ©¸»¬¸»® ¿½¬·²¹ ¿´±²» ±® ·²                 ½±³°«¬»® -§-¬»³ ±® ¿²§ ½±³°«¬»®
           ½±´´«-·±² ©·¬¸ »¿½¸ ±¬¸»® ±® ©·¬¸ ¿²§ ±¬¸»®                 -§-¬»³ ±® ²»¬©±®µ ¬± ©¸·½¸ §±«®
           °¿®¬§å ±® ¬¸»º¬ ¾§ ¿²§ °»®-±² ¬± ©¸±³ §±«                   -§-¬»³ ·- ½±²²»½¬»¼ ±® ±² ©¸·½¸ §±«®
           »²¬®«-¬ ¬¸» °®±°»®¬§ º±® ¿²§ °«®°±-»ô                       -§-¬»³ ¼»°»²¼- ø·²½´«¼·²¹ þÛ´»½¬®±²·½
           ©¸»¬¸»® ¿½¬·²¹ ¿´±²» ±® ·² ½±´´«-·±² ©·¬¸                   Ü¿¬¿þ÷å
           ¿²§ ±¬¸»® °¿®¬§ò                                        øë÷ Ó¿²·°«´¿¬·±² ±º §±«® ½±³°«¬»®
           Ì¸·- Û¨½´«-·±²æ                                             -§-¬»³ô ·²½´«¼·²¹ þÛ´»½¬®±²·½ Ü¿¬¿þô ¾§
           øï÷ ß°°´·»- ©¸»¬¸»® ±® ²±¬ ¿² ¿½¬ ±½½«®-                    ¿²§ °»®-±²ø-÷ô º±® ¬¸» °«®°±-» ±º
                                                                       ¼·ª»®¬·²¹ ±® ¼»-¬®±§·²¹ þÛ´»½¬®±²·½
               ¼«®·²¹ §±«® ²±®³¿´ ¸±«®- ±º ±°»®¿¬·±²å
                                                                       Ü¿¬¿þ ±® ½¿«-·²¹ º®¿«¼«´»²¬ ±® ·´´»¹¿´
           øî÷ Ü±»- ²±¬ ¿°°´§ ¬±æ                                      ¬®¿²-º»® ±º ¿²§ °®±°»®¬§å
               ø¿÷ ß½¬- ±º ¼»-¬®«½¬·±² ¾§ §±«®                     øê÷ ×²¬»®®«°¬·±² ·² ²±®³¿´ ½±³°«¬»®
                   »³°´±§»»- ø·²½´«¼·²¹ ¬»³°±®¿®§                      º«²½¬·±² ±® ²»¬©±®µ -»®ª·½» ±® º«²½¬·±²
                   »³°´±§»»- ¿²¼ ´»¿-»¼ ©±®µ»®-÷                       ¼«» ¬± ·²-«ºº·½·»²¬ ½¿°¿½·¬§ ¬± °®±½»--
                   ±® ¿«¬¸±®·¦»¼ ®»°®»-»²¬¿¬·ª»-å ¾«¬                  ¬®¿²-¿½¬·±²- ±® ¬± ¿² ±ª»®´±¿¼ ±º
                   ¬¸»º¬ ¾§ §±«® »³°´±§»»- ø·²½´«¼·²¹                  ¿½¬·ª·¬§ ±² ¬¸» -§-¬»³ ±® ²»¬©±®µå
                   ¬»³°±®¿®§ »³°´±§»»- ¿²¼ ´»¿-»¼                  øé÷ Ë²»¨°´¿·²»¼ ±® ·²¼»¬»®³·²¿¾´» º¿·´«®»ô
                   ©±®µ»®-÷       ±®       ¿«¬¸±®·¦»¼                  ³¿´º«²½¬·±² ±® -´±©¼±©² ±º ¿
                   ®»°®»-»²¬¿¬·ª»- ·- ²±¬ ½±ª»®»¼å ±®                  ½±³°«¬»®         -§-¬»³ô       ·²½´«¼·²¹
               ø¾÷ Ð®±°»®¬§ »²¬®«-¬»¼ ¬± ½¿®®·»®- º±®                  þÛ´»½¬®±²·½ Ü¿¬¿þ ±® ¬¸» ·²¿¾·´·¬§ ¬±
                   ¸·®»ò                                               ¿½½»-- ±® °®±°»®´§ ³¿²·°«´¿¬» ¬¸»
      ºò   Ü±½µ-ô Ð·»®-ô É¸¿®ª»-                                       þÛ´»½¬®±²·½ Ü¿¬¿þå
           øï÷ ß½¬·±² ±º ©¿¬»® ±® ·½» ¬± ¾«´µ¸»¿¼-ô                øè÷ Ý±³°´»¬» ±® -«¾-¬¿²¬·¿´ º¿·´«®»ô
               ¼±½µ-ô °·»®-ô -»¿©¿´´-ô ©¸¿®ª»-ô ±®                     ¼·-¿¾´»³»²¬ ±® -¸«¬¼±©² ±º ¬¸»
               °®±°»®¬§ ±² -«½¸ -¬®«½¬«®»-ò                            ×²¬»®²»¬ô ®»¹¿®¼´»-- ±º ¬¸» ½¿«-»å
                                                                   øç÷ Ì¸» ·²¿¾·´·¬§ ±º ¿ ½±³°«¬»® -§-¬»³ ¬±
           øî÷ Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
                                                                       ½±®®»½¬´§      ®»½±¹²·¦»ô       °®±½»--ô
               °¸§-·½¿´ ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§
                                                                       ¼·-¬·²¹«·-¸ô ·²¬»®°®»¬ ±® ¿½½»°¬ ±²» ±®
               ¾§ ¿ þÍ°»½·º·»¼ Ý¿«-» ±º Ô±--þ
                                                                       ³±®» ¼¿¬»- ±® ¬·³»-ò
               ®»-«´¬-ô ©» ©·´´ °¿§ º±® ¬¸» ®»-«´¬·²¹
               ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬                      Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´
               Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò                             ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¾§ º·®»ô
                                                                  »¨°´±-·±² ±® þÍ°®·²µ´»® Ô»¿µ¿¹»þ ®»-«´¬-ô
      ¹ò Û´»½¬®±²·½ Ê¿²¼¿´·-³ ±® Ý±®®«°¬·±² ±º
                                                                  ©» ©·´´ °¿§ º±® ¬¸» ®»-«´¬·²¹ ´±-- ±®
         þÛ´»½¬®±²·½ Ü¿¬¿þ ±® Ý±®®«°¬·±² ±º                       ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬ º·®»ô »¨°´±-·±² ±®
         þÝ±³°«¬»® Û¯«·°³»²¬þ                                     þÍ°®·²µ´»® Ô»¿µ¿¹»þò
           Û´»½¬®±²·½ Ê¿²¼¿´·-³ ±® Ý±®®«°¬·±² ±º               ¸ò Ô±--     Ü«»     Ì±     Þ§óÐ®±¼«½¬-      ±º
           þÛ´»½¬®±²·½ Ü¿¬¿þ ±® Ý±®®«°¬·±² ±º                     Ð®±¼«½¬·±² ±® Ð®±½»--·²¹ Ñ°»®¿¬·±²-
           þÝ±³°«¬»® Û¯«·°³»²¬þ ©¸·½¸ ³»¿²-æ
                                                                  øï÷ É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ¬±
           øï÷ ß ª·®«-ô ³¿´·½·±«- ½±¼» ±® -·³·´¿®                     þÍ½¸»¼«´»¼ Ð®»³·-»-þô ½¿«-»¼ ¾§ ±®
               ·²-¬®«½¬·±² ·²¬®±¼«½»¼ ·²¬± ±® »²¿½¬»¼                 ®»-«´¬·²¹ º®±³ -³±µ»ô ª¿°±®ô ¹¿- ±®
               ±² ¿ ½±³°«¬»® -§-¬»³ ø·²½´«¼·²¹                        ¿²§ -«¾-¬¿²½» ®»´»¿-»¼ ·² ¬¸» ½±«®-»
               þÛ´»½¬®±²·½ Ü¿¬¿þ÷ ±® ¿ ²»¬©±®µ ¬±                     ±º     °®±¼«½¬·±²     ±°»®¿¬·±²-     ±®
               ©¸·½¸ ·¬ ·- ½±²²»½¬»¼ô ¼»-·¹²»¼ ¬±                     °®±½»--·²¹ ±°»®¿¬·±²- °»®º±®³»¼ ¿¬
               ¼¿³¿¹» ±® ¼»-¬®±§ ¿²§ °¿®¬ ±º ¬¸»                      ¬¸» þÍ½¸»¼«´»¼ Ð®»³·-»-þò Ì¸·-
               -§-¬»³ ±® ¼·-®«°¬ ·¬- ²±®³¿´ ±°»®¿¬·±²ò                »¨½´«-·±² ¿°°´·»- ®»¹¿®¼´»-- ±º
           øî÷ Ë²¿«¬¸±®·¦»¼ ª·»©·²¹ô ½±°§·²¹ ±® «-»                   ©¸»¬¸»® -«½¸ ±°»®¿¬·±²- ¿®»æ
               ±º »´»½¬®±²·½ ¼¿¬¿ ø±® ¿²§ °®±°®·»¬¿®§                 ø¿÷ Ô»¹¿´´§ °»®³·¬¬»¼ ±® °®±¸·¾·¬»¼å
               ±®     ½±²º·¼»²¬·¿´   ·²º±®³¿¬·±²   ±®
                                                                      ø¾÷ Ð»®³·¬¬»¼ ±® °®±¸·¾·¬»¼ «²¼»® ¬¸»
               ·²¬»´´»½¬«¿´ °®±°»®¬§ ·² ¿²§ º±®³÷ ¾§
                                                                          ¬»®³- ±º ¬¸» ´»¿-»å ±®
               ¿²§ °»®-±²ô »ª»² ·º -«½¸ ¿½¬·ª·¬§ ·-
               ½¸¿®¿½¬»®·¦»¼ ¿- þÌ¸»º¬þå                              ø½÷ Ë-«¿´ ¬± ¬¸» ·²¬»²¼»¼ ±½½«°¿²½§
                                                                          ±º ¬¸» °®»³·-»-ò


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              ðï ïè                             Document 1-4 Filed 05/21/24 Page 139 of 579
                                                                                        Ð¿¹» ë ±º é
              Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ´±--                  øî÷ Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼¿³¿¹»
              ±® ¼¿³¿¹» ¾§ º·®» ±® »¨°´±-·±² ¬¸¿¬                        ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¾§ ¿ Ý±ª»®»¼
              ®»-«´¬- º®±³ ¬¸» ®»´»¿-» ±º ¿ ¾§ó                          Ý¿«-» ±º Ô±-- ®»-«´¬-ô ©» ©·´´ °¿§ º±®
              °®±¼«½¬ ±º ¬¸» °®±¼«½¬·±² ±®                               ¬¸» ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹» ½¿«-»¼
              °®±½»--·²¹ ±°»®¿¬·±²ò                                      ¾§ ¬¸¿¬ Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò
          øî÷ ×º ¬¸» ´±-- ±® ¼¿³¿¹» ¼»-½®·¾»¼ ·²                ²ò Í³±µ» øß¹®·½«´¬«®¿´ ±® ×²¼«-¬®·¿´÷
              Ð¿®¿¹®¿°¸ øï÷ ®»-«´¬- ·² Þ«-·²»--                      Í³±µ»ô ª¿°±® ±® ¹¿- º®±³ ¿¹®·½«´¬«®¿´
              ×²½±³» ´±-- ±® Û¨¬®¿ Û¨°»²-»ô ¬¸»®»                    -³«¼¹·²¹ ±® ·²¼«-¬®·¿´ ±°»®¿¬·±²-ò
              ·- ²± ½±ª»®¿¹» º±® -«½¸ ´±-- ±®
              »¨°»²-» «²¼»® ¬¸» ¾«-·²»-- ·²½±³»                 ±ò Í¬»¿³ Û¨°´±-·±²-
              ¿²¼ñ±® »¨¬®¿ »¨°»²-» º±®³- ´·-¬»¼ ·²                   Û¨°´±-·±² ±º -¬»¿³ ¾±·´»®-ô -¬»¿³ °·°»-ô
              ¬¸·- °±´·½§ô ±® «²¼»® ¿²§ ±¬¸»®                        -¬»¿³ »²¹·²»- ±® -¬»¿³ ¬«®¾·²»- ±©²»¼
              ¾«-·²»-- ·²¬»®®«°¬·±² ·²-«®¿²½» ·º                     ±® ´»¿-»¼ ¾§ §±«ô ±® ±°»®¿¬»¼ «²¼»® §±«®
              °®±ª·¼»¼ «²¼»® ¬¸·- °±´·½§ò                            ½±²¬®±´ò Þ«¬ ·º »¨°´±-·±² ±º -¬»¿³ ¾±·´»®-ô
          øí÷ Ì¸» ½±²¼«½¬ ±º ¿² ·²-«®»¼ ±® ¬»²¿²¬                    -¬»¿³ °·°»-ô -¬»¿³ »²¹·²»- ±® -¬»¿³
              °®±¼«½¬·±² ±® °®±½»--·²¹ ±°»®¿¬·±²-                    ¬«®¾·²»- ®»-«´¬- ·² º·®» ±® ½±³¾«-¬·±²
              ©·´´ ²±¬ ¾» ½±²-·¼»®»¼ ¬± ¾» ª¿²¼¿´·-³                 »¨°´±-·±²ô ©» ©·´´ °¿§ º±® ¬¸» ´±-- ±®
              ±º ¬¸» °®»³·-»- ®»¹¿®¼´»-- ±º ©¸»¬¸»®                  ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬ º·®» ±® ½±³¾«-¬·±²
              -«½¸ ±°»®¿¬·±²- ¿®»æ                                   »¨°´±-·±²ò É» ©·´´ ¿´-± °¿§ º±® ´±-- ±®
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              ø¿÷ Ô»¹¿´´§ °»®³·¬¬»¼ ±® °®±¸·¾·¬»¼å                   »¨°´±-·±² ±º ¹¿-»- ±® º«»´ ©·¬¸·² ¬¸»
              ø¾÷ Ð»®³·¬¬»¼ ±® °®±¸·¾·¬»¼ «²¼»® ¬¸»                  º«®²¿½» ±º ¿²§ º·®»¼ ª»--»´ ±® ©·¬¸·² ¬¸»
                  ¬»®³- ±º ¿ ´»¿-»å ±®                               º´«»- ±® °¿--¿¹»- ¬¸®±«¹¸ ©¸·½¸ ¬¸»
              ø½÷ Ë-«¿´ ¬± ¬¸» ·²¬»²¼»¼ ±½½«°¿²½§                    ¹¿-»- ±º ½±³¾«-¬·±² °¿--ò
                  ±º ¬¸» °®»³·-»-ò                              °ò Ì»-¬·²¹
     ·ò   Ó»½¸¿²·½¿´ Þ®»¿µ¼±©²                                       øï÷ ß ¸§¼®±-¬¿¬·½ô °²»«³¿¬·½ ±® ¹¿-
          Ó»½¸¿²·½¿´ ¾®»¿µ¼±©²ô ·²½´«¼·²¹ ®«°¬«®»                        °®»--«®» ¬»-¬ ±º ¿²§ ¾±·´»® ±® °®»--«®»
          ±® ¾«®-¬·²¹ ½¿«-»¼ ¾§ ½»²¬®·º«¹¿´ º±®½»ò                       ª»--»´å ±®
          Þ«¬ ·º ³»½¸¿²·½¿´ ¾®»¿µ¼±©² ®»-«´¬- ·²                     øî÷ ß² ·²-«´¿¬·±² ¾®»¿µ¼±©² ¬»-¬ ±º ¿²§
          »´»ª¿¬±® ½±´´·-·±²ô ©» ©·´´ °¿§ º±® ¬¸» ¼·®»½¬                 ¬§°» ±º »´»½¬®·½¿´ »¯«·°³»²¬ò
          °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹»                    øí÷ Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼¿³¿¹»
          ½¿«-»¼ ¾§ ¬¸¿¬ »´»ª¿¬±® ½±´´·-·±²ò                             ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¾§ ¿ þÍ°»½·º·»¼
     ¶ò   Ó·--·²¹ Ð®±°»®¬§                                               Ý¿«-» ±º Ô±--þ ®»-«´¬-ô ©» ©·´´ °¿§ º±®
          Ü·-¿°°»¿®¿²½» ±º °®±°»®¬§ ©¸»² ¬¸»®» ·-                        ¬¸» ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹» ½¿«-»¼
          ²± ½´»¿® »ª·¼»²½» ¬± -¸±© ©¸¿¬ ¸¿°°»²»¼                        ¾§ ¬¸¿¬ þÍ°»½·º·»¼ Ý¿«-» ±º Ô±--òþ
          ¬± ·¬ò Ì¸·- ©±«´¼ ·²½´«¼» ¿ -¸±®¬¿¹»                  ¯ò Ë²¿«¬¸±®·¦»¼ Ì®¿²-º»® ±º Ð®±°»®¬§
          ¼·-½´±-»¼ ±² ¬¿µ·²¹ ·²ª»²¬±®§ ±® ¿«¼·¬·²¹                  Ë²¿«¬¸±®·¦»¼ ¬®¿²-º»® ±º °®±°»®¬§ ¬¸¿¬ ¸¿-
          ®»½±®¼-ò Ì¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±                  ¾»»² ¬®¿²-º»®®»¼ ¬± ¿²§ °»®-±² ±® ¬± ¿²§
          °®±°»®¬§ ·² ¬¸» ½«-¬±¼§ ±º ¿ ½¿®®·»® º±® ¸·®»ò             °´¿½» ±«¬-·¼» §±«® °®»³·-»- ±² ¬¸» ¾¿-·-
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          Ò»¹´»½¬ ¬± «-» ¿´´ ®»¿-±²¿¾´» ³»¿²- ¬±                ®ò   Ê±´«²¬¿®§ Ð¿®¬·²¹
          -¿ª» ¿²¼ °®»-»®ª» °®±°»®¬§ º®±³ º«®¬¸»®                    Ê±´«²¬¿®§ °¿®¬·²¹ ©·¬¸ ¿²§ °®±°»®¬§ ¾§ §±«
          ¼¿³¿¹» ¿¬ ¿²¼ ¿º¬»® ¬·³» ±º ¬¸» ¼·®»½¬                     ±® ¿²§±²» »´-» ¬± ©¸±³ §±« ¸¿ª»
          °¸§-·½¿´ ´±-- ±® ¼¿³¿¹»ò                                   »²¬®«-¬»¼ ¬¸» °®±°»®¬§ ·º ·²¼«½»¼ ¬± ¼± -±
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          ¬¸» Ñ°»²                                                   º¿´-» °®»¬»²-»ò
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          °®±°»®¬§ ©¸·´» ·² ¬¸» ±°»²ò Ì¸·- Û¨½´«-·±²           ±® ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹ô íò¿ò
          ¼±»- ²±¬ ¿°°´§ ¬± °®±°»®¬§ ·² ¬¸» ½«-¬±¼§            ¬¸®±«¹¸ íòºò Þ«¬ ·º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
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        Í¬®«½¬«®»-                                             ¬¸» ®»-«´¬·²¹ ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸¿¬
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              ¾®·¼¹»-ô ®±¿¼©¿§-ô ©¿´µ-ô °¿¬·±- ±®                  ±® º·²·-¸å
              ½±²½®»¬» ±® °¿ª»¼ -«®º¿½»-ò                       ¾ò Î«-¬ô ½±®®±-·±²ô ¼»½¿§ô ±® ¼»¬»®·±®¿¬·±²å


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       ½ò Ø·¼¼»² ±® ´¿¬»²¬ ¼»º»½¬ ±® ¿²§ ¯«¿´·¬§ ·²        îò Ø±¬ ©¿¬»® ¾±·´»®- ±® ±¬¸»® ©¿¬»® ¸»¿¬·²¹
          °®±°»®¬§ ¬¸¿¬ ½¿«-»- ·¬ ¬± ¼¿³¿¹» ±®                »¯«·°³»²¬ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿²§
          ¼»-¬®±§ ·¬-»´ºå                                     ½±²¼·¬·±² ±® »ª»²¬ ·²-·¼» -«½¸ ¾±·´»®- ±®
       ¼ò Ó¿·²¬»²¿²½»å                                        »¯«·°³»²¬ô ±¬¸»® ¬¸¿² ¿² »¨°´±-·±²ò
       »ò Í³±¹å ±®                                         íò Ì¸» ·²¬»®·±® ±º ¿²§ ¾«·´¼·²¹ ±® -¬®«½¬«®»ô ±®
                                                              °»®-±²¿´ °®±°»®¬§ ·² ¬¸» ¾«·´¼·²¹ ±® -¬®«½¬«®»ô
       ºò   Í¸®·²µ¿¹»ô »ª¿°±®¿¬·±²ô ±® ´±-- ±º ©»·¹¸¬         ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ®¿·²ô -²±©ô -´»»¬ô
            ±º þÍ¬±½µþò                                       ·½»ô -¿²¼ ±® ¼«-¬ô ©¸»¬¸»® ¼®·ª»² ¾§ ©·²¼ ±®
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   Ì¸» º±´´±©·²¹ ´·³·¬¿¬·±²- ¿°°´§ ¬± ¿´´ °±´·½§ º±®³-         ¿ò Ì¸» ¾«·´¼·²¹ ±® -¬®«½¬«®» º·®-¬ -«-¬¿·²-
   ¿²¼ »²¼±®-»³»²¬-æ                                              ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¬±
   É» ©·´´ ²±¬ °¿§ º±® ´±-- ±º ±® ¼¿³¿¹» ¬± °®±°»®¬§ô             ·¬- ®±±º ±® ©¿´´- ¬¸®±«¹¸ ©¸·½¸ ¬¸» ®¿·²ô
   ¿- ¼»-½®·¾»¼ ¿²¼ ´·³·¬»¼ ¾»´±©ò ×² ¿¼¼·¬·±²ô ©»                -²±©ô -´»»¬ô ·½»ô -¿²¼ ±® ¼«-¬ »²¬»®-å ±®
   ©·´´ ²±¬ °¿§ º±® ¿²§ ´±-- ¬¸¿¬ ·- ¿ ½±²-»¯«»²½» ±º          ¾ò Ì¸» ´±-- ±® ¼¿³¿¹» ·- ½¿«-»¼ ¾§ ±®
   ´±-- ±® ¼¿³¿¹» ¿- ¼»-½®·¾»¼ ¿²¼ ´·³·¬»¼ ¾»´±©ò                 ®»-«´¬- º®±³ ¬¸¿©·²¹ ±º -²±©ô -´»»¬ ±® ·½»
   ïò Í¬»¿³ ¾±·´»®-ô -¬»¿³ °·°»-ô -¬»¿³ »²¹·²»- ±®                ±² ¬¸» ¾«·´¼·²¹ ±® -¬®«½¬«®»ò
      -¬»¿³ ¬«®¾·²»- ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³           ìò þÌ¸»º¬þ ±º þÛ´»½¬®±²·½ Ü¿¬¿þò
      ¿²§ ½±²¼·¬·±² ±® »ª»²¬ ·²-·¼» -«½¸ »¯«·°³»²¬ò
      Þ«¬ ©» ©·´´ °¿§ º±® ´±-- ±º ±® ¼¿³¿¹» ¬± -«½¸
      »¯«·°³»²¬ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿²
      »¨°´±-·±² ±º ¹¿-»- ±® º«»´ ©·¬¸·² ¬¸» º«®²¿½» ±º
      ¿²§ º·®»¼ ª»--»´ ±® ©·¬¸·² ¬¸» º´«»- ±®
      °¿--¿¹»- ¬¸®±«¹¸ ©¸·½¸ ¬¸» ¹¿-»- ±º
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      Case
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              ðï ïè                            Document 1-4 Filed 05/21/24 Page 141 of 579
                                                                                       Ð¿¹» é ±º é
                                                                                              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                         ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ
Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò É±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬±
Ú±®³ ÐÝ ðð çð ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ º±® ¼»º·²·¬·±²-ò
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò ÝÑÊÛÎÛÜ ÝßËÍÛÍ ÑÚ ÔÑÍÍ                                          ìò Ë²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ¿- -»¬ º±®¬¸ «²¼»®
    É¸»² Ý¿«-»- ±º Ô±-- ó Û¿®¬¸¯«¿µ» ·- ¿¼¼»¼ ¬±                      Ð®±°»®¬§ Ò±¬ Ý±ª»®»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
    ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±ª»®¿¹» Ð¿®¬ô Ý±ª»®»¼                        Ý±ª»®¿¹» Ú±®³ ¬± ©¸·½¸ ¬¸·- »²¼±®-»³»²¬ ·-
    Ý¿«-»- ±º Ô±-- ·- ®»ª·-»¼ ¬± ·²½´«¼» º±®                          ¿¬¬¿½¸»¼ô ´¿²¼ ·- ²±¬ ½±ª»®»¼ °®±°»®¬§ò
    ¼»-·¹²¿¬»¼ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¿²¼ ¿°°´·½¿¾´»                    Ì¸»®»º±®»ô ½±ª»®¿¹» «²¼»® ¬¸·- »²¼±®-»³»²¬
    ½±ª»®¿¹»- ¿- ·²¼·½¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»                     ¼±»- ²±¬ ·²½´«¼» ¬¸» ½±-¬ ±º ®»-¬±®·²¹ ±®
    Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-æ                               ®»³»¼·¿¬·²¹ ´¿²¼ò
    Û¿®¬¸¯«¿µ»ô ³»¿²·²¹ ¿ -¸¿µ·²¹ ±® ¬®»³¾´·²¹ ±º ¬¸»              ëò Û¿®¬¸¯«¿µ» ½±ª»®¿¹» ¿- °®±ª·¼»¼ ¾§ ¬¸·-
    »¿®¬¸ù- ½®«-¬ô ½¿«-»¼ ¾§ «²¼»®¹®±«²¼ ¬»½¬±²·½                     »²¼±®-»³»²¬ ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» º±´´±©·²¹
    º±®½»- ®»-«´¬·²¹ ·² ¾®»¿µ·²¹ô -¸·º¬·²¹ô ®·-·²¹ô -»¬¬´·²¹ô         Ý±ª»®¿¹» Ú±®³- »ª»² ·º ¬¸»-» Ý±ª»®¿¹»
    -·²µ·²¹ ±® ´¿¬»®¿´ ³±ª»³»²¬ ±® ±¬¸»® ³±ª»³»²¬ò                    Ú±®³- ¿®» ¿¬¬¿½¸»¼ ¬± ¬¸» Ð®±°»®¬§ Ý¸±·½»
                                                                      Ý±ª»®¿¹» Ð¿®¬æ
    ß´´ »¿®¬¸¯«¿µ» -¸±½µ- ¬¸¿¬ ±½½«® ©·¬¸·² ¿²§
    ïêèó¸±«® °»®·±¼ ©·´´ ¾» ¼»»³»¼ ¬± ¾» ¿ -·²¹´»                     ¿ò Ô»¹¿´ Ô·¿¾·´·¬§ ó Þ«·´¼·²¹ Ý±ª»®¿¹» Ú±®³ô
    Û¿®¬¸¯«¿µ» ±½½«®®»²½»ò Ì¸» »¨°·®¿¬·±² ±º ¬¸·-                        ÐÝ ðð íðò
    °±´·½§ ©·´´ ²±¬ ®»¼«½» ¬¸» ïêèó¸±«® °»®·±¼ò                       ¾ò Ó±®¬¹¿¹»¸±´¼»®- Û®®±®- ¿²¼ Ñ³·--·±²-
Þò ÛÈÝÔËÍ×ÑÒÍ                                                            Ý±ª»®¿¹» Ú±®³ô ÐÝ ðð ìðò
    ïò Û¿®¬¸¯«¿µ» ¼±»- ²±¬ ¿°°´§ ¿- ¿ Ý±ª»®»¼                         ½ò ïî Ó±²¬¸ Þ«-·²»-- ×²½±³» ¿²¼ Û¨°»²-»
       Ý¿«-» ±º Ô±-- ¬± ¬¸» º±´´±©·²¹ ß¼¼·¬·±²¿´                         Ý±ª»®¿¹» Ú±®³ô ÐÝ ðð îíò
       Ý±ª»®¿¹»-ô º±«²¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»                  Ýò ÜÛÜËÝÌ×ÞÔÛ
       Í°»½·¿´·¦»¼ Ð®±°»®¬§ ×²-«®¿²½» Ý±ª»®¿¹»ø-÷
                                                                   É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ·² ¿²§ ±²»
       º±®³- ¿²¼ñ±® ¿²§ ¿°°´·½¿¾´» Þ«-·²»--                        ±½½«®®»²½» «²¬·´ ¬¸» ¬±¬¿´ ¿³±«²¬ ±º ´±-- ±®
       ×²¬»®®«°¬·±² ß¼¼·¬·±²¿´ Ý±ª»®¿¹»- Ú±®³æ
                                                                   ¼¿³¿¹» º±® ¿´´ ½±ª»®¿¹»- »¨½»»¼- ¬¸» ¿°°´·½¿¾´»
        ¿ò Ü»°»²¼»²¬ Ð®±°»®¬·»-å                                   Ü»¼«½¬·¾´» -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
        ¾ò Ò»©´§ ß½¯«·®»¼ Ð®»³·-»-ô »¨½»°¬ ¿-                      Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ±® ¾§
           °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬å                           »²¼±®-»³»²¬ò É» ©·´´ ¬¸»² °¿§ ¬¸» ¿³±«²¬ ±º ´±--
                                                                   ±® ¼¿³¿¹» ·² »¨½»-- ±º ¬¸» ¼»¼«½¬·¾´» «° ¬± ¬¸»
        ½ò Ë²²¿³»¼ Ð®»³·-»-å ±®                                    ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò
        ¼ò Ë¬·´·¬§ Í»®ª·½» ×²¬»®®«°¬·±²ò                        Üò Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
    îò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼                   Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± -»½¬·±² Ýò Ô·³·¬- ±º
       ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ¾§ Ú´±±¼ô ¿- ¼»º·²»¼ ¾§              ×²-«®¿²½» ±º ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±ª»®¿¹» Ú±®³
       ¬¸» Ú´±±¼ Û¨½´«-·±² º±«²¼ ·² ¬¸» Ð®±°»®¬§
       Ý¸±·½» Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ¿²¼                           Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼
       Û¨½´«-·±²- Ú±®³ô »ª»² ·º ¿¬¬®·¾«¬¿¾´» ¬± ¿²                 ¾§ ¿²§ Û¿®¬¸¯«¿µ» ·-æ
       Û¿®¬¸¯«¿µ»ò                                                 ïò Ì¸» Û¿®¬¸¯«¿µ» þÐ±´·½§ Ç»¿®þ Ô·³·¬ ±º
    íò Ì¸·- Ý±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬± ¿²§                            ×²-«®¿²½» -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
       Û¿®¬¸¯«¿µ» ±½½«®®»²½» ¬¸¿¬ ¾»¹¿² °®·±® ¬± ¬¸»                  Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ·- ¬¸»
       ·²½»°¬·±² ±º ¬¸·- Û²¼±®-»³»²¬ò


Ú±®³ ÐÝ ïð îð ðï ïè                                                                                     Ð¿¹» ï ±º î
       Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 142 of 579
                                   îðïèô Ì¸» Ø¿®¬º±®¼
     ³±-¬ ©» ©·´´ °¿§ º±® ¿´´ Û¿®¬¸¯«¿µ» ´±-- ±®        ìò ×º ¿ Ý¿«-» ±º Ô±-- ø-«½¸ ¿- º·®»÷ ·- ½±ª»®»¼ ¾§
     ¼¿³¿¹» ¬¸¿¬ ±½½«®- ¼«®·²¹ ¿²§ ±²» þÐ±´·½§             ³»¿²- ±º ¿² »¨½»°¬·±² ¬± ¬¸» Û¿®¬¸ Ó±ª»³»²¬
     Ç»¿®þô ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±º °®»³·-»-           Û¨½´«-·±²ô ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±ª»®»¼
     ½±ª»®»¼ «²¼»® ¬¸·- °±´·½§ô ±® ¬¸» ²«³¾»® ±º           Ý¿«-»- ±º Ô±-- ¿²¼ Û¨½´«-·±²- Ú±®³ô ©» ©·´´
     ±½½«®®»²½»- ¼«®·²¹ ¬¸» þÐ±´·½§ Ç»¿®þò ß²§             ¿´-± °¿§ º±® ¬¸» ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§
     ¿³±«²¬- °¿§¿¾´» «²¼»® ¿²§ Ý±ª»®¿¹» ±®                 ¬¸¿¬ ±¬¸»® Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò Þ«¬ ¬¸»
     ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ½±²¬¿·²»¼ ·² ¬¸·-                 ³±-¬ ©» ©·´´ °¿§ô º±® ¬¸» ¬±¬¿´ ±º ¿´´ ´±-- ±®
     Ý±ª»®¿¹» Ð¿®¬ ¼± ²±¬ ·²½®»¿-» ¬¸¿¬ Ô·³·¬ ±º           ¼¿³¿¹» ½¿«-»¼ ¾§ ¬¸» Û¿®¬¸¯«¿µ» ¿²¼ ±¬¸»®
     ×²-«®¿²½» »¨½»°¬ º±® Ò»©´§ ß½¯«·®»¼ Ð®±°»®¬§ô         Ý±ª»®»¼ Ý¿«-» ±º Ô±--ô ·- ¬¸» Ô·³·¬ ±º
     ¿- ½±²¬¿·²»¼ ·² ¬¸·- »²¼±®-»³»²¬ò                     ×²-«®¿²½» ¿°°´·½¿¾´» ¬± -«½¸ ±¬¸»® Ý±ª»®»¼
  îò ×º ¬©± ±® ³±®» Û¿®¬¸¯«¿µ» þÐ±´·½§ Ç»¿®þ ´·³·¬-        Ý¿«-» ±º Ô±--ò É» ©·´´ ²±¬ °¿§ ¬¸» -«³ ±º ¬¸»
     ±º ×²-«®¿²½» ¿®» -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»         ¬©± Ô·³·¬-ò
     Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô ¬¸»            ëò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ´±-- ±® ¼¿³¿¹» º±®
     ³±-¬ ©» ©·´´ °¿§ «²¼»® ¬¸·- °±´·½§ ·² ¬±¬¿´ ·²        Ò»©´§ ß½¯«·®»¼ Ð®»³·-»- «²¼»® ¬¸·-
     ¿²§ ±²» þÐ±´·½§ Ç»¿®þ ·- ¬¸» ´¿®¹»-¬                  »²¼±®-»³»²¬ ·- üîëðôððð ·² ¿²§ ±²» þÐ±´·½§
     Û¿®¬¸¯«¿µ» þÐ±´·½§ Ç»¿®þ ´·³·¬ ±º ·²-«®¿²½»           Ç»¿®þò
     »ª»² ·º ¬¸» ´±-- ±® ¼¿³¿¹» ·²ª±´ª»- ³±®» ¬¸¿²         ×²-«®¿²½» º±® »¿½¸ ²»©´§ ¿½¯«·®»¼ °®»³·-»
     ±²» Û¿®¬¸¯«¿µ» þÐ±´·½§ Ç»¿®þ ´·³·¬ ±º                 §±« ¿½¯«·®» ¾§ °«®½¸¿-» ±® ´»¿-» ©·´´ »²¼
     ·²-«®¿²½»ò                                            ©¸»² ¿²§ ±º ¬¸» º±´´±©·²¹ º·®-¬ ±½½«®-æ
  íò Ì¸» Û¿®¬¸¯«¿µ» þÐ±´·½§ Ç»¿®þ Ô·³·¬ ±º                  ¿ò Ì¸·- °±´·½§ »¨°·®»-å
     ×²-«®¿²½» ¿- -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
     Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ·- ¿                ¾ò ïèð ¼¿§- »¨°·®» ¿º¬»® §±« ¿½¯«·®» ¬¸»
     °¿®¬ ±º ¿²¼ ·- ·²½´«¼»¼ ·² ¬¸» Ô·³·¬ ±º                   °®±°»®¬§å
     ×²-«®¿²½» ©¸·½¸ ¿°°´·»- ¬± §±«® þÍ½¸»¼«´»¼             ½ò Ç±« ®»°±®¬ ª¿´«»- ¬± «-å ±®
     Ð®»³·-»-þ ¿- -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
                                                            ¼ò Ì¸» °®±°»®¬§ ·- ³±®» -°»½·º·½¿´´§ ·²-«®»¼ò
     Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»ò Ì¸»
     Û¿®¬¸¯«¿µ» þÐ±´·½§ Ç»¿®þ Ô·³·¬ ±º ×²-«®¿²½» ·-         É» ©·´´ ½¸¿®¹» §±« ¿¼¼·¬·±²¿´ °®»³·«³ º±®
     ²±¬ ¿² ¿¼¼·¬·±²¿´ Ô·³·¬ ±º ×²-«®¿²½»ò                  ª¿´«»- ®»°±®¬»¼ º®±³ ¬¸» ¼¿¬» §±« ¿½¯«·®» ¬¸»
                                                            °®±°»®¬§




Ð¿¹» î Case
       ±º î 3:24-cv-00490-FDW-SCR           Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                             143 ÐÝ
                                                                                 of 579
                                                                                    ïð îð ðï ïè
                                                                                           ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


     ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÜÛÜËÝÌ×ÞÔÛ
                     ÑÐÌ×ÑÒÍ
                                           øÛ¯«·°³»²¬ Þ®»¿µ¼±©²÷

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ïò Ü±´´¿® Ü»¼«½¬·¾´» Ë-¿¹»                                   üìðôððð ¨ òïð ã üìôððð Ð»®½»²¬¿¹» ±º Ô±--
   ß ¼»¼«½¬·¾´» -¬¿¬»¼ ¿- ¿ ¼±´´¿® ¿³±«²¬ ¿°°´·»- ¬±         Ü»¼«½¬·¾´»  Ø±©»ª»®æüëôððð ³·²·³«³ ¼»¼«½¬·¾´»
   ¿´´ ´±-- ±® ¼¿³¿¹» ¿- °®±ª·¼»¼ ¾§ ¬¸» ß¼¼·¬·±²¿´          ¿°°´·»-ò
   Ý±ª»®¿¹» ó Û¯«·°³»²¬ Þ®»¿µ¼±©² «²´»-- ±²» ±®              Ô±-- °¿§³»²¬ ½¿´½«´¿¬·±²æ
   ³±®» ±º ¬¸» ¼»¼«½¬·¾´»- ¼»-½®·¾»¼ ·² îòô íòô ¿²¼ñ±®       üìðôððð ó üëôððð ã üíëôðððò Ì¸·- ·- ¬¸» ³±-¬ ©»
   ìò ·- ·²¼·½¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´»         ©·´´ °¿§ ·² ¬¸·- »¨¿³°´»ò
   ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ò
                                                         íò Ì·³» Ü»¼«½¬·¾´»
îò Ð»®½»²¬¿¹» ±º Ô±--
                                                             ×º Ì·³» Ü»¼«½¬·¾´» ·- -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
   ×º Ð»®½»²¬¿¹» ±º Ô±-- ·- -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§           ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- º±®
   Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô              Û¯«·°³»²¬ Þ®»¿µ¼±©²ô ¬¸» º±´´±©·²¹ ®»°´¿½»-
   ¬¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¿- ®»-°»½¬- ¬¸» Ý±ª»®¿¹»           Ð¿®¿¹®¿°¸ Üò Ü»¼«½¬·¾´» ·² ¬¸» Þ«-·²»--
   Û¨¬»²­·±²  Í°±·´¿¹»ò                                     ×²¬»®®«°¬·±² Ý±ª»®¿¹» Ú±®³-æ
   ß ¼»¼«½¬·¾´» ·- ½¿´½«´¿¬»¼ -»°¿®¿¬»´§ º±® ¿²¼             É·¬¸ ®»-°»½¬ ¬± Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬
   ¿°°´·»­ ­»°¿®¿¬»´§ ¬± ¬¸» Ý±ª»®¿¹» Û¨¬»²­·±²             ©» ©·´´ ²±¬ ¾» ´·¿¾´» º±® ¿²§ ´±-- ±½½«®®·²¹ ¼«®·²¹
   Í°±·´¿¹»ò                                                 ¬¸» -°»½·º·»¼ ²«³¾»® ±º ¸±«®- ·³³»¼·¿¬»´§
   É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» «²¬·´ ¬¸»              º±´´±©·²¹ ¬¸» Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ò
   ¿³±«²¬ ±º ´±-- ±® ¼¿³¿¹» »¨½»»¼- ¬¸» ¿°°´·½¿¾´»       ìò ßª»®¿¹» Ü¿·´§ Ê¿´«»
   ¼»¼«½¬·¾´»ò É» ©·´´ ¬¸»² °¿§ ¬¸» ¿³±«²¬ ±º ´±-- ±®
   ¼¿³¿¹» ·² »¨½»-- ±º ¬¸¿¬ ¼»¼«½¬·¾´» «° ¬± ¬¸»             ×º ßª»®¿¹» Ü¿·´§ Ê¿´«» ·- -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§
   ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò                            Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- º±®
                                                             Û¯«·°³»²¬ Þ®»¿µ¼±©²ô ¬¸» º±´´±©·²¹ ®»°´¿½»-
   ×² ¼»¬»®³·²·²¹ ¬¸» ¿³±«²¬ô ·º ¿²§ô ¬¸¿¬ ©» ©·´´ °¿§       Ð¿®¿¹®¿°¸ Üò Ü»¼«½¬·¾´» ·² ¬¸» Þ«-·²»--
   º±® ´±-- ±® ¼¿³¿¹»ô ©» ©·´´ ¼»¼«½¬ ¿² ¿³±«²¬              ×²¬»®®«°¬·±² Ú±®³-æ
   »¯«¿´ ¬± ¿ °»®½»²¬¿¹» ¿- -¸±©² ·² ¬¸» Ð®±°»®¬§
   Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô ±º           É·¬¸ ®»-°»½¬ ¬± Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬
   ¬¸» ´±-- ±® ¼¿³¿¹»ò                                       ©» ©·´´ ²±¬ ¾» ´·¿¾´» º±® ¬¸¿¬ °±®¬·±² ±º ¿²§ ´±-- ¬¸¿¬
                                                             ·- ©·¬¸·² ¬¸» ßª»®¿¹» Ü¿·´§ Ê¿´«»ò Ì¸» ßª»®¿¹»
   Ø±©»ª»®æ ×º ¿ ³·²·³«³ ¼»¼«½¬·¾´» ·- ¿´-± -¸±©²            Ü¿·´§ Ê¿´«» ©·´´ ¾» ½¿´½«´¿¬»¼ ¿- º±´´±©-æ
   ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»-
   ¿²¼ Ý±ª»®¿¹»- ¬¸» ´»¿-¬ ©» ©·´´ ¼»¼«½¬ ·² ¿²§ ±²»         Ì¸» ßª»®¿¹» Ü¿·´§ Ê¿´«» ©·´´ ¾» ¬¸» Þ«-·²»--
   ´±-- ·- ¬¸» ³·²·³«³ ¼»¼«½¬·¾´»ò                           ×²½±³» ø¿- ¼»º·²»¼ ·² ¿²§ Þ«-·²»-- ×²½±³»
                                                             ½±ª»®¿¹» º±®³ ¬¸¿¬ ·- °¿®¬ ±º ¬¸·- °±´·½§÷ ¬¸¿¬ ©±«´¼
   ÛÈßÓÐÔÛ                                                   ¸¿ª» ¾»»² »¿®²»¼ ±® ·²½«®®»¼ ¸¿¼ ²± Û¯«·°³»²¬
   ß² Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ ¬± Û¯«·°³»²¬              Þ®»¿µ¼±©² ß½½·¼»²¬ ±½½«®®»¼ ¼«®·²¹ ¬¸» °»®·±¼ ±º
   Þ®»¿µ¼±©² Ð®±°»®¬§ ®»-«´¬- ·² ¬¸» -°±·´¿¹» ±º             ·²¬»®®«°¬·±² ±º ¾«-·²»-- ¼·ª·¼»¼ ¾§ ¬¸» ²«³¾»® ±º
   °»®·-¸¿¾´» ¹±±¼- ·² ¬¸» ¿³±«²¬ ±º üìðôððð                 ©±®µ·²¹ ¼¿§- ·² ¬¸¿¬ °»®·±¼ò Ò± ®»¼«½¬·±² -¸¿´´ ¾»
   Ð»®½»²¬¿¹» ±º Ô±-- Ü»¼«½¬·¾´» ·-æ ïðû                     ³¿¼» º±® Þ«-·²»-- ×²½±³» ²±¬ ¾»·²¹ »¿®²»¼ ±®
                                                             ·²½«®®»¼ ±® ·² ¬¸» ²«³¾»® ±º ©±®µ·²¹ ¼¿§-ô
   üëôððð Ó·²·³«³ Ü»¼«½¬·¾´» ¿°°´·»-ò

Ú±®³ ÐÝ ïð êí ðï ðç                                                                                Ð¿¹» ï ±º î
       Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 144 of 579
                                   îððçô Ì¸» Ø¿®¬º±®¼
  ¾»½¿«-» ±º ¬¸» Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ ±®         ëò Û¯«·°³»²¬ Þ®»¿µ¼±©² Ü»¼«½¬·¾´»-
  ¿²§ ±¬¸»® -½¸»¼«´»¼ ±® «²-½¸»¼«´»¼ -¸«¬¼±©²-              Ì¸» º±´´±©·²¹ ®»°´¿½»- ·¬»³ Üò ÜÛÜËÝÌ×ÞÔÛ
  ¼«®·²¹ ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±²ò Ì¸» ßª»®¿¹»             º±«²¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±ª»®¿¹» Ú±®³æ
  Ü¿·´§ Ê¿´«» ¿°°´·»- ¬± ¿´´ ´±½¿¬·±²- ·²½´«¼»¼ ·² ¬¸»
  ª¿´«¿¬·±² ±º ¬¸» ´±--ò                                    ¿ò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» «²¬·´ ¬¸»
                                                               ¿³±«²¬ ±º ´±-- ±® ¼¿³¿¹» »¨½»»¼- ¬¸»
  Ì¸» ²«³¾»® ·²¼·½¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó                ¿°°´·½¿¾´» ¼»¼«½¬·¾´»ò É» ©·´´ ¬¸»² °¿§ ¬¸»
  Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- -¸¿´´ ¾»                  ¿³±«²¬ ±º ´±-- ±® ¼¿³¿¹» ·² »¨½»-- ±º ¬¸¿¬
  ³«´¬·°´·»¼ ¾§ ¬¸» ßª»®¿¹» Ü¿·´§ Ê¿´«» ¿-                     ¼»¼«½¬·¾´» «° ¬± ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º
  ¼»¬»®³·²»¼ ¿¾±ª»ò Ì¸» ®»-«´¬ -¸¿´´ ¾» «-»¼ ¿- ¬¸»            ×²-«®¿²½»ò
  ¿°°´·½¿¾´» ¼»¼«½¬·¾´»ò
                                                            ¾ò ×º ¿²§ ±º ¬¸» Ü»¼«½¬·¾´»- ¿- ¼»-½®·¾»¼ ·² ¬¸·-
  ÛÈßÓÐÔÛ                                                      »²¼±®-»³»²¬ ¿°°´§ »¿½¸ ¼»¼«½¬·¾´» ©·´´ ¾»
  Þ«-·²»-- ·- ·²¬»®®«°¬»¼ô °¿®¬·¿´´§ ±® ½±³°´»¬»´§ º±®         ¿°°´·»¼ -»°¿®¿¬»´§ ¿¬ ¬¸» ¬·³» ±º ¬¸» ´±--ò
  ë ¼¿§-ò                                                   ½ò ×º ¼»¼«½¬·¾´»- ª¿®§ ¾§ ¬§°» ±º Û¯«·°³»²¬
  ×º ¬¸»®» ¸¿¼ ¾»»² ²± Û¯«·°³»²¬ Þ®»¿µ¼±©² ¬¸»                 Þ®»¿µ¼±©² Ð®±°»®¬§ ¿²¼ ³±®» ¬¸¿² ±²» ¬§°»
  ¬±¬¿´ Þ«-·²»-- ×²½±³» øÒ»¬ ×²½±³» °´«-                       ±º »¯«·°³»²¬ ·- ·²ª±´ª»¼ ·² ¿²§ ±²»
  ½±²¬·²«·²¹ »¨°»²-»-÷ º±® ¬¸±-» ë ¼¿§- ©±«´¼ ¸¿ª»             Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ô ¬¸» ´¿®¹»-¬
  ¾»»² ã üïððôðððò                                             ¼»¼«½¬·¾´» º±® »¿½¸ ½±ª»®¿¹» øº±® »¨¿³°´»
  Ì¸» Û¯«·°³»²¬ Þ®»¿µ¼±©² Þ«-·²»-- ×²½±³»                      Þ«-·²»-- ×²½±³»ñÛ¨¬®¿ Û¨°»²-»ô Í°±·´¿¹» ±®
  ¼»¼«½¬·¾´» ·-æ î ¬·³»- ßª»®¿¹» Ü¿·´§ Ê¿´«»                   ¿´´ ±¬¸»® Û¯«·°³»²¬ Þ®»¿µ¼±©²÷ ©·´´ ¿°°´§ò
  Í¬»° ïæ üïððôððð ñë ã üîðôððð ßª»®¿¹» Ü¿·´§            êò Ü»º·²·¬·±²
  Ê¿´«»                                                     Ì¸» ¬»®³ Ð®±¼«½¬·±² Û¯«·°³»²¬ ³¿§ ¾» «-»¼ ·²
  Í¬»° îæ üîðôððð øßª»®¿¹» Ü¿·´§ Ê¿´«»÷ ¨ î ø¬·³»-          ¬¸» Û¯«·°³»²¬ Þ®»¿µ¼±©² Ü»¼«½¬·¾´» ¿- -¬¿¬»¼ ·²
  ßª»®¿¹» Ü¿·´§ Ê¿´«»÷ ã üìðôððð Û¯«·°³»²¬                  ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
  Þ®»¿µ¼±©² Þ«-·²»-- ×²½±³» ¼»¼«½¬·¾´»ò                     Ý±ª»®¿¹»-ò Ð®±¼«½¬·±² Û¯«·°³»²¬ ³»¿²- ¿²§
                                                            ³¿½¸·²» ±® ¿°°¿®¿¬«- ¬¸¿¬ °®±½»--»- ±® °®±¼«½»-
  Ô±-- Ð¿§³»²¬ Ý¿´½«´¿¬·±²æ                                 ¿ °®±¼«½¬ ·²¬»²¼»¼ º±® »ª»²¬«¿´ -¿´»ò Ø±©»ª»®ô
  üïððôððð ó üìðôððð ã üêðôðððò Ì¸·- ·- ¬¸» ³±-¬            Ð®±¼«½¬·±² Û¯«·°³»²¬ ¼±»- ²±¬ ³»¿² ¿²§ º·®»¼ ±®
  ©» ©·´´ °¿§ ·² ¬¸·- »¨¿³°´»ò                              «²º·®»¼ °®»--«®» ª»--»´ ±¬¸»® ¬¸¿² ¿ ½§´·²¼»®
                                                            ½±²¬¿·²·²¹ ¿ ³±ª¿¾´» °´«²¹»® ±® °·-¬±²ò




Ð¿¹» îCase
       ±º î 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 145
                                                                             Ú±®³ ÐÝofïð579
                                                                                         êí ðï ðç
                                                                                              ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÝßËÍÛ ÑÚ ÔÑÍÍ ó
                       ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»
©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± Ú±®³ ÐÝ ðð çð
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ º±® ¼»º·²·¬·±²-ò


ßò ÝÑÊÛÎÛÜ ÝßËÍÛ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ                                          ½±³³«²·½¿¬·±²- ¿²¼ ¼¿¬¿ °®±½»--·²¹
   ÞÎÛßÕÜÑÉÒ                                                                  »¯«·°³»²¬å ±®
   Ì¸» ¼»º·²·¬·±² ±º Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ·²½´«¼»-                    øî÷ ©¸·½¸ô ¼«®·²¹ ²±®³¿´ «-¿¹»ô ±°»®¿¬»-
   Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ ¬± Û¯«·°³»²¬                                  «²¼»® ª¿½««³ ±® °®»--«®»ô ±¬¸»® ¬¸¿²
   Þ®»¿µ¼±©² Ð®±°»®¬§ô ¿- ¼»º·²»¼ ¿²¼ ´·³·¬»¼                                 ¬¸» ©»·¹¸¬ ±º ·¬- ½±²¬»²¬-ò
   ¾»´±©æ                                                               Û¯«·°³»²¬ Þ®»¿µ¼±©² Ð®±°»®¬§ ³¿§
   ïò Û¯«·°³»²¬ Þ®»¿µ¼±©²                                               «¬·´·¦» ½±²ª»²¬·±²¿´ ¼»-·¹² ¿²¼ ¬»½¸²±´±¹§
       ¿ò Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ ³»¿²-                            ±® ²»© ±® ²»©´§ ½±³³»®½·¿´·¦»¼ ¼»-·¹²
           ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´                      ¿²¼ ¬»½¸²±´±¹§ò
           ¼¿³¿¹» ¿- º±´´±©-æ                                        ½ò Ì¸»       º±´´±©·²¹    ·-   ²±¬   Û¯«·°³»²¬
           øï÷ Ó»½¸¿²·½¿´ ¾®»¿µ¼±©²ô ·²½´«¼·²¹                          Þ®»¿µ¼±©² Ð®±°»®¬§æ
                ®«°¬«®» ±® ¾«®-¬·²¹ ½¿«-»¼ ¾§                           øï÷ ß²§ -¬®«½¬«®»ô º±«²¼¿¬·±²ô ½¿¾·²»¬ô ±®
                ½»²¬®·º«¹¿´ º±®½»å                                            ½±³°¿®¬³»²¬å
           øî÷ ß®¬·º·½·¿´´§ ¹»²»®¿¬»¼ »´»½¬®·½ ½«®®»²¬ô                 øî÷ ß²§ ·²-«´¿¬·²¹ ±® ®»º®¿½¬±®§ ³¿¬»®·¿´å
                ·²½´«¼·²¹ »´»½¬®·½ ¿®½·²¹ô ¬¸¿¬ ¼·-¬«®¾-                øí÷ ß²§ -»©»® °·°·²¹ô ¿²§ «²¼»®¹®±«²¼
                »´»½¬®·½¿´ ¼»ª·½»-ô ¿°°´·¿²½»- ±® ©·®»-å                      ª»--»´- ±® °·°·²¹ô ¿²§ °·°·²¹ º±®³·²¹ ¿
           øí÷ Û¨°´±-·±² ±º -¬»¿³ ¾±·´»®-ô -¬»¿³                              °¿®¬ ±º ¿ -°®·²µ´»® -§-¬»³ ±® ©¿¬»®
                °·°»-ô -¬»¿³ »²¹·²»- ±® -¬»¿³                                 °·°·²¹ ±¬¸»® ¬¸¿² ¾±·´»® º»»¼©¿¬»®
                ¬«®¾·²»- ±©²»¼ ±® ´»¿-»¼ ¾§ §±«ô ±®                           °·°·²¹ô ¾±·´»® ½±²¼»²-¿¬» ®»¬«®² °·°·²¹
                ±°»®¿¬»¼ «²¼»® §±«® ½±²¬®±´å                                  ±® ©¿¬»® °·°·²¹ º±®³·²¹ ¿ °¿®¬ ±º ¿
           øì÷ Ô±-- ±® ¼¿³¿¹» ¬± -¬»¿³ ¾±·´»®-ô                               ®»º®·¹»®¿¬·²¹ ±® ¿·® ½±²¼·¬·±²·²¹
                -¬»¿³ °·°»-ô -¬»¿³ »²¹·²»- ±® -¬»¿³                           -§-¬»³å
                ¬«®¾·²»- ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³                    øì÷ ß²§        ¼®¿¹´·²»-ô    »¨½¿ª¿¬·±²     ±®
                ¿²§ ½±²¼·¬·±² ±® »ª»²¬ ·²-·¼» -«½¸                            ½±²-¬®«½¬·±² »¯«·°³»²¬å
                »¯«·°³»²¬å ±®                                           øë÷ ß²§ »¯«·°³»²¬ ³¿²«º¿½¬«®»¼ ¾§ §±«
           øë÷ Ô±-- ±® ¼¿³¿¹» ¬± ¸±¬ ©¿¬»® ¾±·´»®-                            º±® -¿´»å
                ±® ±¬¸»® ©¿¬»® ¸»¿¬·²¹ »¯«·°³»²¬                        øê÷ ß²§ -¿¬»´´·¬»ô ±® ¿²§ »¯«·°³»²¬
                ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿²§                               ³±«²¬»¼ ±² ¿ -¿¬»´´·¬»å ±®
                ½±²¼·¬·±² ±® »ª»²¬ ·²-·¼» -«½¸ ¾±·´»®-                  øé÷ ß²§ ª»¸·½´» ±® ¿²§ »¯«·°³»²¬
                ±® »¯«·°³»²¬ò
                                                                              ³±«²¬»¼ ±² ¿ ª»¸·½´»ò ß- «-»¼ ¸»®»ô
       ¾ò Û¯«·°³»²¬ Þ®»¿µ¼±©² Ð®±°»®¬§ ³»¿²-                                  ª»¸·½´» ³»¿²- ¿²§ ³¿½¸·²» ±®
           °®±°»®¬§æ                                                          ¿°°¿®¿¬«-      ¬¸¿¬    ·-   «-»¼     º±®
           øï÷ ¬¸¿¬ ¹»²»®¿¬»-ô ¬®¿²-³·¬- ±® «¬·´·¦»-                          ¬®¿²-°±®¬¿¬·±² ±® ³±ª»- «²¼»® ·¬- ±©²
                »²»®¹§ô        ·²½´«¼·²¹      »´»½¬®±²·½                      °±©»®ò Ê»¸·½´» ·²½´«¼»-ô ¾«¬ ·- ²±¬


Ú±®³ ÐÝ ïð éî ðï ïè                                                                                 Ð¿¹» ï ±º í
                                            w îðïèô Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR
            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º Document    1-4 Filed
                                              ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                         ×²½ò ©·¬¸ ·¬- Page  146 of 579
                                                                                       °»®³·--·±²ò÷
             ´·³·¬»¼ ¬±ô ½¿®ô ¬®«½µô ¾«-ô ¬®¿·´»®ô ¬®¿·²ô          ¾»§±²¼ ©¸¿¬ ©±«´¼ ¸¿ª» ¾»»² ²»½»--¿®§
             ¿·®½®¿º¬ô -°¿½»½®¿º¬ô ©¿¬»®½®¿º¬ô º±®µ´·º¬ô           ¸¿¼ ¬¸» Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬
             ¾«´´¼±¦»®ô    ¬®¿½¬±®    ±® ¸¿®ª»-¬»®ò                ²±¬ ½¿«-»¼ ½±²¬¿³·²¿¬·±² ¾§ ¿ Ø¿¦¿®¼±«-
             Ø±©»ª»®ô ¿²§ °®±°»®¬§ ¬¸¿¬ ·-                         Í«¾-¬¿²½»ò Ì¸·- ·²½´«¼»- ¬¸» ¿¼¼·¬·±²¿´
             -¬¿¬·±²¿®§ô °»®³¿²»²¬´§ ·²-¬¿´´»¼ ¿¬ ¿                »¨°»²-»- ¬± ½´»¿² «° ±® ¼·-°±-» ±º -«½¸
             þÍ½¸»¼«´»¼ Ð®»³·-»-þ ¿²¼ ¬¸¿¬                         °®±°»®¬§ò
             ®»½»·ª»- »´»½¬®·½¿´ °±©»® º®±³ ¿²                     ß- «-»¼ ·² ¬¸·- Ý±ª»®¿¹» Û¨¬»²-·±²ô
             »¨¬»®²¿´ °±©»® -±«®½» ©·´´ ²±¬ ¾»                     Ø¿¦¿®¼±«-      Í«¾-¬¿²½»      ³»¿²-      ¿²§
             ½±²-·¼»®»¼ ¿ ª»¸·½´»ò                                 -«¾-¬¿²½» ¬¸¿¬ ¸¿- ¾»»² ¼»½´¿®»¼ ¬± ¾»
     ¼ò Ô·³·¬ ±º ×²-«®¿²½»æ Ì¸» ³±-¬ ©» ©·´´ °¿§                   ¸¿¦¿®¼±«- ¬± ¸»¿´¬¸ ¾§ ¿ ¹±ª»®²³»²¬¿´
         ·² ¿²§ ±²» Û¯«·°³»²¬ Þ®»¿µ¼±©²                            ¿¹»²½§ò
         ß½½·¼»²¬ ¬± Û¯«·°³»²¬ Þ®»¿µ¼±©²                           Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® »¿½¸ ±½½«®®»²½»
         Ð®±°»®¬§ ·- ¬¸» ´»--»® ±º ¬¸» ¿°°´·½¿¾´»                  ±º ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» «²¼»® ¬¸·-
         Ô·³·¬ ±º ×²-«®¿²½» º±®æ                                   Ý±ª»®¿¹» Û¨¬»²-·±² ·- ¬¸» Ø¿¦¿®¼±«-
         øï÷ Þ«·´¼·²¹ ¿²¼ Þ«-·²»-- Ð»®-±²¿´                        Í«¾-¬¿²½»- Ô·³·¬ ±º ×²-«®¿²½» -¬¿¬»¼ ·²
             Ð®±°»®¬§ ±® Þ«-·²»-- ×²¬»®®«°¬·±² ¿-                  ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º
             -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»                          Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ò
             Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ±®                 Ì¸·- Ý±ª»®¿¹» Û¨¬»²-·±² ·- ·²½´«¼»¼ ©·¬¸·²
         øî÷ Û¯«·°³»²¬ Þ®»¿µ¼±©² Ô·³·¬ ±º                          ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ Ô·³·¬ ±º ×²-«®¿²½»ò
             ×²-«®¿²½» ¿- -¸±©² ·² ¬¸» Ð®±°»®¬§                 ½ò Í°±·´¿¹»
             Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                       É» ©·´´ °¿§ º±® §±«® ´±-- ±º °»®·-¸¿¾´»
             Ý±ª»®¿¹»-ò                                            ¹±±¼- ¼«» ¬±æ
  îò Û¯«·°³»²¬          Þ®»¿µ¼±©²           Ý±ª»®¿¹»               øï÷ Í°±·´¿¹»å ±®
     Û¨¬»²-·±²-
                                                                   øî÷ Ý±²¬¿³·²¿¬·±² ½¿«-»¼ ¾§ ¬¸» ®»´»¿-»
     Ì¸» º±´´±©·²¹ Ý±ª»®¿¹» Û¨¬»²-·±²- ¿°°´§ ¬±                         ±º ®»º®·¹»®¿²¬-ô ·²½´«¼·²¹ ¾«¬ ²±¬
     ´±-- ±® ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ½¿«-»¼                          ´·³·¬»¼ ¬± ¿³³±²·¿å ½¿«-»¼ ¾§ ±®
     ¾§ ±® ®»-«´¬·²¹ º®±³ ¿² Û¯«·°³»²¬ Þ®»¿µ¼±©²                        ®»-«´¬·²¹    º®±³     ¿²     Û¯«·°³»²¬
     ß½½·¼»²¬ ¬± Û¯«·°³»²¬ Þ®»¿µ¼±©² Ð®±°»®¬§æ                          Þ®»¿µ¼±©² ß½½·¼»²¬ ¬± Û¯«·°³»²¬
     ¿ò ÝÚÝ Î»º®·¹»®¿²¬-                                                Þ®»¿µ¼±©² Ð®±°»®¬§ ´±½¿¬»¼ ¿¬ ¬¸»
         É» ©·´´ °¿§ º±® ¬¸» ¿¼¼·¬·±²¿´ ½±-¬- ¬±                        °®»³·-»-ò
         ®»°¿·® ±® ®»°´¿½» Ý±ª»®»¼ Ð®±°»®¬§                        É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ¿- ¿
         ¾»§±²¼ ©¸¿¬ ©±«´¼ ¸¿ª» ¾»»² ²»½»--¿®§                     ®»-«´¬ ±º §±«® º¿·´«®» ¬± «-» ¿´´ ®»¿-±²¿¾´»
         ¸¿¼ ²± ®»º®·¹»®¿²¬ ½±²¬¿·²·²¹ ÝÚÝ                         ³»¿²- ¬± °®±¬»½¬ ¬¸» °»®·-¸¿¾´» ¹±±¼-
         ø½¸´±®·²¿¬»¼ º´«±®±½¿®¾±²÷ -«¾-¬¿²½»-                     º®±³ ¼¿³¿¹» º±´´±©·²¹ ¿² Û¯«·°³»²¬
         ¾»»² ·²ª±´ª»¼         ·² ¬¸» Û¯«·°³»²¬                    Þ®»¿µ¼±©² ß½½·¼»²¬ò
         Þ®»¿µ¼±©² ß½½·¼»²¬ò                                       É» ©·´´ ¿´-± °¿§ ¿²§ ²»½»--¿®§ »¨°»²-»-
         Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® »¿½¸ ±½½«®®»²½»                  §±« ·²½«® ¬± ®»¼«½» ¬¸» ¿³±«²¬ ±º ´±--
         ±º ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» «²¼»® ¬¸·-                      «²¼»® ¬¸·- ½±ª»®¿¹»ò É» ©·´´ °¿§ º±® -«½¸
         Ý±ª»®¿¹» Û¨¬»²-·±² ·- ¬¸» ÝÚÝ                             »¨°»²-»- ¬± ¬¸» »¨¬»²¬ ¬¸¿¬ ¬¸»§ ¼± ²±¬
         Î»º®·¹»®¿²¬- Ô·³·¬ ±º ×²-«®¿²½» -¬¿¬»¼ ·²                 »¨½»»¼ ¬¸» ¿³±«²¬ ±º ´±-- ¬¸¿¬ ±¬¸»®©·-»
         ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º                           ©±«´¼ ¸¿ª» ¾»»² °¿§¿¾´» «²¼»® ¬¸·-
         Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô ¾«¬ ²±¬ ³±®»                      ½±ª»®¿¹»ò
         ¬¸¿² ¬¸» ´»¿-¬ ¿³±«²¬ ¬±æ                                 ×º §±« ¿®» «²¿¾´» ¬± ®»°´¿½» ¬¸» °»®·-¸¿¾´»
         øï÷ Î»°¿·® ¬¸» ¼¿³¿¹»¼ °®±°»®¬§ ¿²¼                       ¹±±¼- ¾»º±®» ·¬- ¿²¬·½·°¿¬»¼ -¿´»ô ¬¸»
             ®»°´¿½» ¿²§ ´±-¬ ÝÚÝ ®»º®·¹»®¿²¬å                     ¿³±«²¬ ±º ±«® °¿§³»²¬ ©·´´ ¾» ¼»¬»®³·²»¼
         øî÷ Î»°¿·® ¬¸» ¼¿³¿¹»¼ °®±°»®¬§ô ®»¬®±º·¬                 ±² ¬¸» ¾¿-·- ±º ¬¸» -¿´»- °®·½» ±º ¬¸»
             ¬¸» -§-¬»³ ¬± ¿½½»°¬ ¿ ²±²óÝÚÝ                        °»®·-¸¿¾´» ¹±±¼- ¿¬ ¬¸» ¬·³» ±º ¬¸»
             ®»º®·¹»®¿²¬ ¿²¼ ½¸¿®¹» ¬¸» -§-¬»³ ©·¬¸                Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ô ´»--
             ¿ ²±²óÝÚÝ ®»º®·¹»®¿²¬å ±®                             ¼·-½±«²¬- ¿²¼ »¨°»²-»- §±« ±¬¸»®©·-»
                                                                   ©±«´¼ ¸¿ª» ¸¿¼ò Ñ¬¸»®©·-» ±«® °¿§³»²¬
         øí÷ Î»°´¿½» ¬¸» -§-¬»³ ©·¬¸ ±²» «-·²¹ ¿
                                                                   ©·´´ ¾» ¼»¬»®³·²»¼ ·² ¿½½±®¼¿²½» ©·¬¸ ¬¸»
             ²±²óÝÚÝ ®»º®·¹»®¿²¬ò
                                                                   Ê¿´«¿¬·±² ½±²¼·¬·±²ò
         Ì¸·- Ý±ª»®¿¹» Û¨¬»²-·±² ·- ·²½´«¼»¼
                                                                   ß- «-»¼ ·² ¬¸·- Ý±ª»®¿¹» Û¨¬»²-·±²ô
         ©·¬¸·² ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ Ô·³·¬ ±º
                                                                   °»®·-¸¿¾´»     ¹±±¼-      ³»¿²-     °»®-±²¿´
         ×²-«®¿²½»ò
                                                                   °®±°»®¬§ ³¿·²¬¿·²»¼ «²¼»® ½±²¬®±´´»¼
     ¾ò Ø¿¦¿®¼±«- Í«¾-¬¿²½»-                                       ½±²¼·¬·±²- º±® ·¬- °®»-»®ª¿¬·±²ô ¿²¼
         É» ©·´´ °¿§ º±® ¬¸» ¿¼¼·¬·±²¿´ ½±-¬- ¬±                   -«-½»°¬·¾´» ¬± ´±-- ±® ¼¿³¿¹» ·º ¬¸»
         ®»°¿·® ±® ®»°´¿½» Ý±ª»®»¼ Ð®±°»®¬§                        ½±²¬®±´´»¼ ½±²¼·¬·±²- ½¸¿²¹»ò


Ð¿¹» î Case
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                                                                                  147 ÐÝ
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         Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ·² ¿²§ ±²»                  ø¿÷ Ó¿µ» ¬»³°±®¿®§ ®»°¿·®-å
         ±½½«®®»²½»   «²¼»®  ¬¸·-    Ý±ª»®¿¹»                 ø¾÷ Û¨°»¼·¬» °»®³¿²»²¬      ®»°¿·® ±®
         Û¨¬»²-·±² ·- ¬¸» Ý¿«-»- ±º Ô±--                          ®»°´¿½»³»²¬   ±º         ¼¿³¿¹»¼
         Û¯«·°³»²¬ Þ®»¿µ¼±©² Í°±·´¿¹» Ô·³·¬ ±º                    °®±°»®¬§å ±®
         ×²-«®¿²½» ¿- -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§
         Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                      ø½÷ Ð®±ª·¼» ¬®¿·²·²¹ ±² ®»°´¿½»³»²¬
         Ý±ª»®¿¹»-ò                                               ³¿½¸·²»- ±® »¯«·°³»²¬ò
         Ì¸·- ·- ·²½´«¼»¼ ©·¬¸·² ¬¸» Ý±ª»®»¼               øî÷ Ì¸·- ·²½´«¼»- ±ª»®¬·³» ©¿¹»-ô ¬¸»
         Ð®±°»®¬§ Ô·³·¬ ±º ×²-«®¿²½»ò                          »¨¬®¿ ½±-¬ ±º »¨°®»-- ±® ±¬¸»® ®¿°·¼
                                                               ³»¿²-     ±º    ¬®¿²-°±®¬¿¬·±²ô ¿²¼
      ¼ò Û¨°»¼·¬·²¹ Û¨°»²-»-
                                                               »¨°»²-»- ¬± ¾®·²¹ ½±³°«¬»® -§-¬»³-
         øÎ»´¿¬»¼ ¬± Û¯«·°³»²¬ Þ®»¿µ¼±©²÷                      ¾¿½µ ¬± ±°»®¿¬·±²¿´ -¬¿¬«-ò
         øï÷ ×² ¬¸» »ª»²¬ ±º ¿ ´±-- ±® ¼¿³¿¹»              øí÷ Ì¸» ³±-¬ ©» ©·´´ °¿§ «²¼»® ¬¸·-
             ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿²                    Ý±ª»®¿¹» Û¨¬»²-·±² ·- ¬¸» ¿°°´·½¿¾´»
             Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ ¬±                   ´·³·¬ ±º ·²-«®¿²½» ¿- -¸±©² ·²
             Û¯«·°³»²¬ Þ®»¿µ¼±©² Ð®±°»®¬§ ¿¬                   Ð®±°»®¬§    Ý¸±·½»     Í½¸»¼«´»    ±º
             þÍ½¸»¼«´»¼     Ð®»³·-»-þô  þÒ»©´§                 Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó Ý¿«-»- Ñº
             ß½¯«·®»¼ Ð®»³·-»-þô ¿²¼ þË²²¿³»¼                  Ô±--    ó    Û¯«·°³»²¬     Þ®»¿µ¼±©²
             Ð®»³·-»-þô ©» ©·´´ °¿§ º±® ¬¸»                    Û¨°»¼·¬·²¹ Û¨°»²-»-ò Ì¸·- ·- ¿²
             ®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ ¿¼¼·¬·±²¿´               ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º ·²-«®¿²½»ò
             »¨°»²-»- §±« ·²½«® ¬±æ




      Case
Ú±®³ ÐÝ ïð éî3:24-cv-00490-FDW-SCR
              ðï ïè                      Document 1-4 Filed 05/21/24 Page 148 of 579
                                                                                 Ð¿¹» í ±º í
                                                                                           ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                          ÝÔÑËÜ ÝÑÓÐËÌ×ÒÙ ÝÑÊÛÎßÙÛ
Ì¸·- Û²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò Ð®±°»®¬§ Ý¸±·½» ó Í°»½·¿´·¦»¼ Ð®±°»®¬§                           ¾ò Î»º»® ¬± ¿²§ ±°¬·±²¿´ Ý±ª»®»¼ Ý¿«-»ø-÷
   ×²-«®¿²½» Ý±ª»®¿¹»- »²¼±®-»³»²¬ ·- ®»ª·-»¼ ¿-                        ±º Ô±-- »²¼±®-»³»²¬ ¬¸¿¬ ·- ¿¬¬¿½¸»¼ ¬±
   º±´´±©-æ                                                             ¬¸·- Ý±ª»®¿¹» Ð¿®¬ º±® ¿² ¿°°´·½¿¾´»
   ïò ÔÑÍÍ ÑÚ ÑÎ ÜßÓßÙÛ ÌÑ ÛÔÛÝÌÎÑÒ×Ý                                   þÐ±´·½§ Ç»¿®þ Ô·³·¬ ±º ×²-«®¿²½»ò
        ÜßÌß ßÌ ÝÔÑËÜ ÝÑÓÐËÌ×ÒÙ ÚßÝ×Ô×ÌÇ                    Þò ×º ¿ Ô·³·¬ ±º ×²-«®¿²½» ·- -¸±©² ·² ¬¸» Ð®±°»®¬§
        ¿ò Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± Í»½¬·±² ßò                Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- º±®
            ß¼¼·¬·±²¿´ Ý±ª»®¿¹»- ó Ë²²¿³»¼                     Þ«-·²»-- ×²½±³»ô Î»²¬¿´ ×²½±³» ±® Û¨¬®¿
            Ð®»³·-»-æ                                          Û¨°»²-» Ý±ª»®¿¹» ¬¸»² ¬¸» º±´´±©·²¹ ¿°°´·»-æ
            É» ©·´´ °¿§ º±® ´±-- ±® ¼¿³¿¹» ¬± §±«®             Ì¸» ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ó Ë²²¿³»¼ Ð®»³·-»-
            þÛ´»½¬®±²·½ Ü¿¬¿þ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹           º±«²¼ ·² ¬¸» º±´´±©·²¹ »²¼±®-»³»²¬-æ
            º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ©¸·´» ¿¬ ¿            Ð®±°»®¬§ Ý¸±·½» Þ«-·²»-- ×²½±³» ¿²¼ Û¨¬®¿
            Ý´±«¼      Ý±³°«¬·²¹      º¿½·´·¬§   ´±½¿¬»¼       Û¨°»²-» ó ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-å
            ¿²§©¸»®» ·² ¬¸» ©±®´¼ò ß Ý´±«¼                     Ð®±°»®¬§ Ý¸±·½» Þ«-·²»-- ×²½±³» ó ß¼¼·¬·±²¿´
            Ý±³°«¬·²¹ º¿½·´·¬§ ³»¿²- ¿ º¿½·´·¬§                Ý±ª»®¿¹»-å
            ±°»®¿¬»¼ ¾§ ¿ Ý´±«¼ Ý±³°«¬·²¹ °®±ª·¼»®             Ð®±°»®¬§ Ý¸±·½» Ð®±º»--·±²¿´ Þ«-·²»-- ×²½±³» ó
            ©·¬¸ ©¸±³ §±« ¸¿ª» ¿ ©®·¬¬»² ½±²¬®¿½¬ò             ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-å
        ¾ò É·¬¸ ®»-°»½¬ ¬± ¬¸» ½±ª»®¿¹» °®±ª·¼»¼               Ð®±°»®¬§ Ý¸±·½» ïî Ó±²¬¸ Þ«-·²»-- ×²½±³» ó
            «²¼»® ¬¸·- Ý´±«¼ Ý±³°«¬·²¹ °®±ª·-·±²æ              ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-å
            øï÷ Ë²²¿³»¼ Ð®»³·-»- ·²½´«¼»- ¬¸»                  Ð®±°»®¬§ Ý¸±·½» Î»²¬¿´ ×²½±³» ó ß¼¼·¬·±²¿´
                 °®»³·-»-      ±º    ¿     É»¾      Í·¬»ô      Ý±ª»®¿¹»-å ±®
                 Ý±³³«²·½¿¬·±²-         ±®      ×²¬»®²»¬
                                                               Ð®±°»®¬§ Ý¸±·½» Û¨¬®¿ Û¨°»²-» ó ß¼¼·¬·±²¿´
                 Í»®ª·½»- °®±ª·¼»®ò
                                                               Ý±ª»®¿¹»-å
            øî÷ Ì¸» Ý±ª»®¿¹» Ì»®®·¬±®§ Ù»²»®¿´
                                                               ·- ®»ª·-»¼ ¿- º±´´±©-æ
                 Ý±²¼·¬·±² º±«²¼ ·² ¬¸» Ð®±°»®¬§
                 Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²-             ïò ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛô ÎÛÒÌßÔ ×ÒÝÑÓÛ
                 º±®³ ¼±»- ²±¬ ¿°°´§ò                               ÑÎ ÛÈÌÎß ÛÈÐÛÒÍÛ ÜËÛ ÌÑ ÔÑÍÍ ÑÚ
            øí÷ Ì¸·- ·- ¬¸» ±²´§ ·²-«®¿²½» ¬¸¿¬                     ÑÎ ÜßÓßÙÛ ÌÑ ÛÔÛÝÌÎÑÒ×Ý ÜßÌß ßÌ
                 ¿°°´·»- ¬± ´±-- ±® ¼¿³¿¹» ¬± §±«®                  ÝÔÑËÜ ÝÑÓÐËÌ×ÒÙ ÚßÝ×Ô×ÌÇ
                 þÛ´»½¬®±²·½      Ü¿¬¿þ      ¿¬    Ý´±«¼            ¿ò Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± ß¼¼·¬·±²¿´
                 Ý±³°«¬·²¹ º¿½·´·¬·»-ò                                  Ý±ª»®¿¹» ó Ë²²¿³»¼ Ð®»³·-»-æ
   îò Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ                                                É» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±-- ±º
        ¿ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ´±-- ±® ¼¿³¿¹»                      Þ«-·²»-- ×²½±³»ô Î»²¬¿´ ×²½±³» ±®
            ·² ¿²§ ±²» ±½½«®®»²½» ®»¹¿®¼´»-- ±º ¬¸»                     Û¨¬®¿ Û¨°»²-» §±« ·²½«®ô ·º ¿°°´·½¿¾´»
                                                                        ¼«» ¬± ´±-- ±® ¼¿³¿¹» ¬± §±«®
            ¬§°»- ±® ²«³¾»® ±º Ý´±«¼ Ý±³°«¬·²¹
            º¿½·´·¬·»- ±® Ý¿«-»- ±º Ô±-- ·²ª±´ª»¼ ·-                    þÛ´»½¬®±²·½ Ü¿¬¿þô ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹
                                                                        º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ©¸·´» ¿¬ ¿
            ¬¸» Ô·³·¬ ±º ×²-«®¿²½» -¸±©² ·² ¬¸»
            ¿°°´·½¿¾´» Ð®±°»®¬§ Ý¸±·½» ó Í°»½·¿´·¦»¼                    Ý´±«¼     Ý±³°«¬·²¹      º¿½·´·¬§ ´±½¿¬»¼
                                                                        ¿²§©¸»®» ·² ¬¸» ©±®´¼ò ß Ý´±«¼
            Ð®±°»®¬§        ×²-«®¿²½»         Ý±ª»®¿¹»-
            »²¼±®-»³»²¬æ ß¼¼·¬·±²¿´ Ý±ª»®¿¹»æ                           Ý±³°«¬·²¹ º¿½·´·¬§ ³»¿²- ¿ º¿½·´·¬§
                                                                        ±°»®¿¬»¼ ¾§ ¿ Ý´±«¼ Ý±³°«¬·²¹ °®±ª·¼»®
            Ë²²¿³»¼ Ð®»³·-»-æ ß¬ ¿´´ Ë²²¿³»¼
            Ð®»³·-»-æ Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ò                       ©·¬¸ ©¸±³ §±« ¸¿ª» ¿ ©®·¬¬»² ½±²¬®¿½¬ò



Ú±®³ ÐÝ îð ìì ðï ïè                                                                                  Ð¿¹» ï ±º î
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                                    îðïèô Ì¸» Ø¿®¬º±®¼
     ¾ò É·¬¸ ®»-°»½¬ ¬± ¬¸» ½±ª»®¿¹» °®±ª·¼»¼                 Ý±ª»®¿¹»-      ±®   ¾§   »²¼±®-»³»²¬
        «²¼»® ¬¸·- Ý´±«¼ Ý±³°«¬·²¹ °®±ª·-·±²æ                 ¿°°´·½¿¾´» ¬± Ë²²¿³»¼ Ð®»³·-»-÷ò É»
        øï÷ Ë²²¿³»¼ Ð®»³·-»- ·²½´«¼»- ¬¸»                     ©·´´ ²±¬ °¿§ º±® ¿²§ ´±-- ±º Þ«-·²»--
            °®»³·-»-    ±º     ¿   É»¾     Í·¬»ô              ×²½±³» ±® Î»²¬¿´ ×²½±³» §±« -«-¬¿·² ·²
            Ý±³³«²·½¿¬·±²-       ±®    ×²¬»®²»¬               ¿²§ ±²» ±½½«®®»²½» ¼«®·²¹ -«½¸ ¬·³»
            Í»®ª·½»- °®±ª·¼»®ò                                °»®·±¼ò Ì¸·- É¿·¬·²¹ Ð»®·±¼ ¼±»- ²±¬
                                                              ¿°°´§ ¬± Û¨¬®¿ Û¨°»²-»ò
        øî÷ Ì¸» Ý±ª»®¿¹» Ì»®®·¬±®§ Ù»²»®¿´
            Ý±²¼·¬·±² º±«²¼ ·² ¬¸» Ð®±°»®¬§             îò Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
            Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²-              ¿ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» ¿½¬«¿´ ´±--
            º±®³ ¼±»- ²±¬ ¿°°´§ò                              ±º Þ«-·²»-- ×²½±³» ±® Î»²¬¿´ ×²½±³»
        øí÷ Ì¸·- ·- ¬¸» ±²´§ ·²-«®¿²½» ¬¸¿¬                   -«-¬¿·²»¼ ±® Û¨¬®¿ Û¨°»²-» ·²½«®®»¼ ·²
            ¿°°´·»- ¬± ¬¸» ¿½¬«¿´ ´±-- ±º                     ¿²§ ±²» ±½½«®®»²½» ®»¹¿®¼´»-- ±º ¬¸»
            Þ«-·²»-- ×²½±³»ô Î»²¬¿´ ×²½±³» ±®                 ¬§°»- ±® ²«³¾»® ±º Ý´±«¼ Ý±³°«¬·²¹
            Û¨¬®¿ Û¨°»²-»ô ·º ¿°°´·½¿¾´»ô ¼«» ¬±              º¿½·´·¬·»- ·²ª±´ª»¼ ·- ¬¸» Ô·³·¬ ±º
            ´±-- ±® ¼¿³¿¹» ¬± §±«® þÛ´»½¬®±²·½                ×²-«®¿²½» -¸±©² ·² ¬¸» ¿°°´·½¿¾´»
            Ü¿¬¿þ ¿¬ Ý´±«¼ Ý±³°«¬·²¹ º¿½·´·¬·»-ò              Ð®±°»®¬§ Ý¸±·½» Þ«-·²»-- ×²½±³» ±®
                                                              Î»²¬¿´ ×²½±³» ±® Û¨¬®¿ Û¨°»²-» ó
     ½ò É» ©·´´ ²±¬ °¿§ º±® ¿²§ ´±-- ±º Þ«-·²»--              ß¼¼·¬·±²¿´    Ý±ª»®¿¹»    ó   Ë²²¿³»¼
        ×²½±³» ±® Î»²¬¿´ ×²½±³» «²¬·´ ¬¸»                     Ð®»³·-»-ò
        ²»½»--¿®§ ·²¬»®®«°¬·±² ±º §±«® ¾«-·²»--
        ±°»®¿¬·±²- »¨½»»¼- ïî ¸±«®- ø«²´»-- ¿              ¾ò Î»º»® ¬± ¿²§ ±°¬·±²¿´ Ý±ª»®»¼ Ý¿«-»ø-÷
        ¼·ºº»®»²¬ É¿·¬·²¹ Ð»®·±¼ º±® ¬¸·-                     ±º Ô±-- »²¼±®-»³»²¬ ¬¸¿¬ ·- ¿¬¬¿½¸»¼ ¬±
        Ý±ª»®¿¹» ·- ·²¼·½¿¬»¼ ·² ¬¸» Ð®±°»®¬§                 ¬¸·- Ý±ª»®¿¹» Ð¿®¬ º±® ¿² ¿°°´·½¿¾´»
        Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ±®                        þÐ±´·½§ Ç»¿®þ Ô·³·¬ ±º ×²-«®¿²½»ò




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                                                                                        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


  ßÐÐÔ×ÝßÌ×ÑÒ ÑÚ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ô ÜÛÜËÝÌ×ÞÔÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ

ßò Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± Ü»¼«½¬·¾´» -»½¬·±² ±º ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±ª»®¿¹» Ú±®³æ
   É» ©·´´ ¿°°´§ ¬¸» ¿°°´·½¿¾´» É·²¼-¬±®³ ±® Ø¿·´ Ü»¼«½¬·¾´» ¿- -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º
   Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ¬± »¿½¸ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ©¸»®» ¬¸» ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ±® ¼·®»½¬ °¸§-·½¿´
   ´±-- ±½½«®®»¼ ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±º þÍ½¸»¼«´»¼ Ð®»³·-»-þ ·²ª±´ª»¼ ·² ¿²§ ±²» ±½½«®®»²½»ò




Ú±®³ ÐÝ îð ëð ðï ïç                                                                           Ð¿¹» ï ±º ï
                                            w îðïçô Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 151 of 579
                                                                    ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                       ÛÈÝÔËÍ×ÑÒ ó ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ
                                            øÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ÷


Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓÍ


Ì¸» º±´´±©·²¹ »¨½´«-·±² ¿°°´·»- ¬± ¬¸» þÍ½¸»¼«´»¼
Ð®»³·-»-þ -¬¿¬»¼ º±® Þ«-·²»-- ×²½±³» Û¨½´«-·±²
·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
Ý±ª»®¿¹»-ò
Ý±ª»®¿¹» «²¼»® ¿²§ ¿°°´·½¿¾´» Þ«-·²»-- ×²½±³»
Ý±ª»®¿¹» Ú±®³ ¼±»- ²±¬ ¿°°´§ ¬± ´±-- ½¿«-»¼ ¾§ ±®
®»-«´¬·²¹ º®±³ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±-- ¿¬ ¬¸»
-°»½·º·»¼ þÍ½¸»¼«´»¼ Ð®»³·-»-þò Ì¸·- ·²½´«¼»- ´±--
¿¬ ±¬¸»® °®»³·-»- ©¸·½¸ ¿®» ·²¬»®¼»°»²¼»²¬ ©·¬¸ ¬¸»
¼»-·¹²¿¬»¼ þÍ½¸»¼«´»¼ Ð®»³·-»-þò




Ú±®³ ÐÝ îë ðê ðï ðç                                                       Ð¿¹» ï ±º ï
                                             w îððçô Ì¸» Ø¿®¬º±®¼
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                                                                                          ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


             É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ô ó ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ
                      Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
   Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» «²¼»® ¬¸» º±´´±©·²¹æ

       ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÍÐÛÝ×ßÔ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
       ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
       ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÐÎÑÚÛÍÍ×ÑÒßÔ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
       ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ïî ÓÑÒÌØ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
       ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛÍ
       ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎÛÜ ÝßËÍÛÍ ÑÚ ÔÑÍÍ ßÒÜ ÛÈÝÔËÍ×ÑÒÍ ÚÑÎÓ

   Í½¸»¼«´» ×²º±®³¿¬·±² ·º ²±¬ -¬¿¬»¼ ¾»´±©ô ·- -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
   Ý±ª»®¿¹»-
                                                   ÍÝØÛÜËÔÛ

                  Í½¸»¼«´»¼ Ð®»³·-»- Ò«³¾»®                   É¿·¬·²¹ Ð»®·±¼æ Ò«³¾»® ±º Ø±«®-




ßò Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± ÝÑÊÛÎßÙÛæ
   ïò ß- ®»-°»½¬- Ý±ª»®¿¹» º±® Þ«-·²»-- ×²½±³»ô ¬¸» Ð»®·±¼ ±º Î»-¬±®¿¬·±² ©·´´ ¾»¹·² ¿º¬»® ¬¸» ²«³¾»® ±º ¸±«®-
      ¿- ·²¼·½¿¬»¼ ·² ¬¸» ¿¾±ª» Í½¸»¼«´» ¿º¬»® ¬¸» ¬·³» ±º ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ½¿«-»¼
      ¾§ ±® ®»-«´¬·²¹ º®±³ É·²¼-¬±®³ ±® Ø¿·´ ¿¬ ¬¸» ¿¾±ª» Í½¸»¼«´»¼ Ð®»³·-»-ò
   îò Ì¸» ©¿·¬·²¹ °»®·±¼- ¿- ®»-°»½¬- Þ«-·²»-- ×²½±³» ó ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-æ Ý·ª·´ ß«¬¸±®·¬§ô Ü»°»²¼»²¬
      Ð®±°»®¬·»- ¿²¼ Ë¬·´·¬§ Í»®ª·½» ×²¬»®®«°¬·±² ¿®» ¿´-± ®»ª·-»¼ ¬± ¬¸» É¿·¬·²¹ Ð»®·±¼ Ò«³¾»® ±º Ø±«®- -¸±©²
      ¿¾±ª»ò




Ú±®³ ÐÝ îë ïí ðï ïí                                                                                 Ð¿¹» ï ±º ï
      Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 153 of 579
                                  îðïíô Ì¸» Ø¿®¬º±®¼
                                                                                             ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


     É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ô ÐÛÎÝÛÒÌßÙÛ ÜÛÜËÝÌ×ÞÔÛÍ
Ì¸·- Û²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

Ì¸» É·²¼-¬±®³ ±® Ø¿·´ Ü»¼«½¬·¾´»ô ¿- -¸±©² ·² ¬¸»           «²¼»® ¿ -·²¹´» Ô·³·¬ ±º ×²-«®¿²½»ò ×¬»³- ±º ·²-«®¿²½»
Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                    ¿²¼ ½±®®»-°±²¼·²¹ Ô·³·¬ø-÷ ±º ×²-«®¿²½» ¿®» -¸±©² ·²
Ý±ª»®¿¹»-ô ¿²¼ ¿- -»¬ º±®¬¸ ·² ¬¸·- »²¼±®-»³»²¬ô            ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
¿°°´·»- ¬± ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ¬± Ý±ª»®»¼                Ý±ª»®¿¹»-ò
Ð®±°»®¬§ ½¿«-»¼ ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ¾§ É·²¼-¬±®³ ±®      É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ô ÜÛÜËÝÌ×ÞÔÛ ÝÔßËÍÛ
Ø¿·´ò Ì¸·- Ü»¼«½¬·¾´» ¿°°´·»- ¬± »¿½¸ ±½½«®®»²½» ±º
É·²¼-¬±®³ ±® Ø¿·´ô ®»¹¿®¼´»-- ±º ¿²§ ±¬¸»® ½¿«-» ±®         ßò ß´´ Ð±´·½·»-
»ª»²¬ ¬¸¿¬ ½±²¬®·¾«¬»- ½±²½«®®»²¬´§ ±® ·² ¿²§ -»¯«»²½»           ïò ß Ü»¼«½¬·¾´» ·- ½¿´½«´¿¬»¼ -»°¿®¿¬»´§ º±®ô ¿²¼
¬± ¬¸» ´±-- ±® ¼¿³¿¹»ò ×º ´±-- ±® ¼¿³¿¹» º®±³ ¿                     ¿°°´·»- -»°¿®¿¬»´§ ¬±æ
½±ª»®»¼ ©»¿¬¸»® ½±²¼·¬·±² ±¬¸»® ¬¸¿² É·²¼-¬±®³ ±®                    ¿ò Û¿½¸ ¾«·´¼·²¹ô ¬¸¿¬ -«-¬¿·²- ´±-- ±®
Ø¿·´ ±½½«®-ô ¿²¼ ¬¸¿¬ ´±-- ±® ¼¿³¿¹» ©±«´¼ ²±¬ ¸¿ª»                     ¼¿³¿¹»å
±½½«®®»¼ ¾«¬ º±® ¬¸» É·²¼-¬±®³ ±® Ø¿·´ô -«½¸ ´±-- ±®
                                                                     ¾ò Ì¸» ¾«-·²»-- °»®-±²¿´ °®±°»®¬§ ¿¬ »¿½¸
¼¿³¿¹» -¸¿´´ ¾» ½±²-·¼»®»¼ ¬± ¾» ½¿«-»¼ ¾§
                                                                        ¾«·´¼·²¹ô ¿¬ ©¸·½¸ ¬¸»®» ·- ´±-- ±® ¼¿³¿¹»
É·²¼-¬±®³ ±® Ø¿·´ ¿²¼ ¬¸»®»º±®» °¿®¬ ±º ¬¸» É·²¼-¬±®³
                                                                        ¬± ¾«-·²»-- °»®-±²¿´ °®±°»®¬§å
±® Ø¿·´ ±½½«®®»²½»ò
                                                                     ½ò Þ«-·²»-- Ð»®-±²¿´ °®±°»®¬§ ·² ¬¸» ±°»²ò
É·¬¸ ®»-°»½¬ ¬± Ý±ª»®»¼ Ð®±°»®¬§ ¿¬ ¿ °®»³·-»-
·¼»²¬·º·»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º                        ×º ¬¸»®» ·- ¼¿³¿¹» ¬± ¾±¬¸ ¿ ¾«·´¼·²¹ ¿²¼
Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô ²± ±¬¸»® ¼»¼«½¬·¾´» ¿°°´·»-                  °»®-±²¿´ °®±°»®¬§ ·² ¬¸¿¬ ¾«·´¼·²¹ô -»°¿®¿¬»
¬± É·²¼-¬±®³ ±® Ø¿·´ò                                                ¼»¼«½¬·¾´»- ¿°°´§ ¬± ¬¸» ¾«·´¼·²¹ ¿²¼ ¬± ¬¸»
                                                                     °»®-±²¿´ °®±°»®¬§ò
Ì¸» É·²¼-¬±®³ ±® Ø¿·´ Ü»¼«½¬·¾´» ¿°°´·»- ©¸»²»ª»®
¬¸»®» ·- ¿² ±½½«®®»²½» ±º É·²¼-¬±®³ ±® Ø¿·´ò                     îò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» «²¬·´ ¬¸»
                                                                    ¿³±«²¬ ±º ´±-- ±® ¼¿³¿¹» »¨½»»¼- ¬¸»
Ò±¬¸·²¹ ·² ¬¸·- »²¼±®-»³»²¬ ·³°´·»- ±® ¿ºº±®¼-
                                                                    ¿°°´·½¿¾´» Ü»¼«½¬·¾´»ò É» ©·´´ ¬¸»² °¿§ ¬¸»
½±ª»®¿¹» º±® ¿²§ ´±-- ±® ¼¿³¿¹» ¬¸¿¬ ·- »¨½´«¼»¼
                                                                    ¿³±«²¬ ±º ´±-- ±® ¼¿³¿¹» ·² »¨½»-- ±º ¬¸¿¬
«²¼»® ¬¸» ¬»®³- ±º ¬¸» É¿¬»® Û¨½´«-·±² ±® ¿²§ ±¬¸»®
                                                                    Ü»¼«½¬·¾´»ô «° ¬± ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º
»¨½´«-·±² ·² ¬¸·- °±´·½§ò ×º ¬¸·- °±´·½§ ·- »²¼±®-»¼ ¬±
                                                                    ×²-«®¿²½»ò
½±ª»® Ú´±±¼ «²¼»® ¬¸» Ý¿«-»- ±º Ô±-- ó Ú´±±¼
Û²¼±®-»³»²¬ô ¿ -»°¿®¿¬» Ú´±±¼ Ü»¼«½¬·¾´» ¿°°´·»- ¬±              íò É¸»² °®±°»®¬§ ·- ½±ª»®»¼ «²¼»® ¬¸»
´±-- ±® ¼¿³¿¹» ¿¬¬®·¾«¬¿¾´» ¬± Ú´±±¼ô ·² ¿½½±®¼¿²½»                 ß¼¼·¬·±²¿´ Ý±ª»®¿¹»- º±® Ò»©´§ ß½¯«·®»¼ ±®
©·¬¸ ¬¸» ¬»®³- ±º ¬¸¿¬ »²¼±®-»³»²¬ ±® °±´·½§ò                       Ò»© Ý±²-¬®«½¬·±² ¿¬ þÍ½¸»¼«´»¼ Ð®»³·-»-þ ±®
                                                                    Ë²²¿³»¼ Ð®»³·-»-æ ×² ¼»¬»®³·²·²¹ ¬¸»
ß- «-»¼ ·² ¬¸·- »²¼±®-»³»²¬ô ¬¸» ¬»®³- þ-°»½·º·½
                                                                    ¿³±«²¬ô ·º ¿²§ô ¬¸¿¬ ©» ©·´´ °¿§ º±® ´±-- ±®
·²-«®¿²½»þ ¿²¼ þ¾´¿²µ»¬ ·²-«®¿²½»þ ¸¿ª» ¬¸» º±´´±©·²¹
                                                                    ¼¿³¿¹»ô ©» ©·´´ ¼»¼«½¬ ¿² ¿³±«²¬ »¯«¿´ ¬± ¿
³»¿²·²¹-æ Í°»½·º·½ ·²-«®¿²½» ½±ª»®- »¿½¸ ·¬»³ ±º
                                                                    °»®½»²¬¿¹» ±º ¬¸» ª¿´«»ø-÷ ±º ¬¸» °®±°»®¬§ ¿¬
·²-«®¿²½» øº±® »¨¿³°´»ô »¿½¸ ¾«·´¼·²¹ ±® °»®-±²¿´
                                                                    ¬·³» ±º ´±--ò Ì¸» ¿°°´·½¿¾´» °»®½»²¬¿¹» º±®
°®±°»®¬§ ·² ¿ ¾«·´¼·²¹÷ «²¼»® ¿ -»°¿®¿¬» Ô·³·¬ ±º
                                                                    Ò»©´§ ß½¯«·®»¼ ±® Ò»© Ý±²-¬®«½¬·±² ¿¬
×²-«®¿²½»ò Þ´¿²µ»¬ ·²-«®¿²½» ½±ª»®- ¬©± ±® ³±®»
                                                                    þÍ½¸»¼«´»¼     Ð®»³·-»-þ    ±® Ý±²-¬®«½¬»¼
·¬»³- ±º ·²-«®¿²½» øº±® »¨¿³°´»ô ¿ ¾«·´¼·²¹ ¿²¼
                                                                    Ð®±°»®¬§ ·- ¬¸» ¸·¹¸»-¬ °»®½»²¬¿¹» -¸±©² ·²
°»®-±²¿´ °®±°»®¬§ ·² ¬¸¿¬ ¾«·´¼·²¹ô ±® ¬©± ¾«·´¼·²¹-÷

Ú±®³ ÐÝ îé ðï ðï ðç                                                                                      Ð¿¹» ï ±º î
                                              w îððçô Ì¸» Ø¿®¬º±®¼
              ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô ©·¬¸ ·¬- °»®³·--·±²ò÷
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 154 of 579
       ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»-           Í¬¿¬»³»²¬ ±º Ê¿´«»- ±² º·´» ©·¬¸ «-ò ×º ¬¸»
       ¿²¼ Ý±ª»®¿¹»-       º±®  ¿²§    þÍ½¸»¼«´»¼           -¬¿¬»³»²¬ ±º ª¿´«»- ¼±»- ²±¬ °®±ª·¼» ¬¸» ª¿´«» ±º
       Ð®»³·-»-þò                                           »¿½¸ Þ«·´¼·²¹ ¿²¼ ¬¸» ª¿´«» ±º Þ«-·²»-- Ð»®-±²¿´
Þò Ý¿´½«´¿¬·±²   Ñº   Ì¸»   Ü»¼«½¬·¾´»    ó   Í°»½·º·½      Ð®±°»®¬§ ¿¬ »¿½¸ ¾«·´¼·²¹ ±® °®»³·-»-ô ©» ©·´´
   ×²-«®¿²½»                                                ¼»¬»®³·²» ·²¼·ª·¼«¿´ ª¿´«»- ¿- ¿ °¿®¬ ±º ¬¸» ¬±¬¿´
                                                            ®»°±®¬»¼ ª¿´«»- °®·±® ¬± ¿°°´·½¿¬·±² ±º ¬¸»
   ×² ¼»¬»®³·²·²¹ ¬¸» ¿³±«²¬ô ·º ¿²§ô ¬¸¿¬ ©» ©·´´ °¿§      Ð»®½»²¬¿¹» Ü»¼«½¬·¾´»ò
   º±® ´±-- ±® ¼¿³¿¹»ô ©» ©·´´ ¼»¼«½¬ ¿² ¿³±«²¬
   »¯«¿´ ¬± ¿ °»®½»²¬¿¹» øû÷ ø¿- -¸±©² ·² ¬¸»            Üò É¸»² -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º
   Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                 Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»-ô ¬¸» º±´´±©·²¹ ·-
   Ý±ª»®¿¹»-÷ ±º ¬¸» Ô·³·¬ø-÷ ±º ×²-«®¿²½» ¿°°´·½¿¾´»       ¿°°´·½¿¾´» ¬± Ð®±°»®¬§ Ý¸±·½» Þ«-·²»-- ×²½±³»æ
   ¬± ¬¸» °®±°»®¬§ ¬¸¿¬ ¸¿- -«-¬¿·²»¼ ´±-- ±® ¼¿³¿¹»ò       É» ©·´´ ±²´§ °¿§ º±® ´±-- §±« -«-¬¿·² ¿º¬»® ¬¸» º·®-¬
Ýò Ý¿´½«´¿¬·±²   Ñº Ì¸» Ü»¼«½¬·¾´» ó Þ´¿²µ»¬                ²«³¾»® ±º ½±²-»½«¬·ª» ¸±«®- ·²¼·½¿¬»¼ ·² ¬¸»
   ×²-«®¿²½»                                                Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
                                                            Ý±ª»®¿¹»-ô ¿º¬»® ¼·®»½¬ °¸§-·½¿´ ´±-- ±® ¼·®»½¬
   ×² ¼»¬»®³·²·²¹ ¬¸» ¿³±«²¬ô ·º ¿²§ô ¬¸¿¬ ©» ©·´´ °¿§      °¸§-·½¿´ ¼¿³¿¹» ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹ º®±³
   º±® ´±-- ±® ¼¿³¿¹»ô ©» ©·´´ ¼»¼«½¬ ¿² ¿³±«²¬             É·²¼-¬±®³ ±® Ø¿·´ò É» ©·´´ ¬¸»² °¿§ ¬¸» ¿³±«²¬ ±º
   »¯«¿´ ¬± ¿ °»®½»²¬¿¹» øû÷ ø¿- -¸±©² ·² ¬¸»               ´±-- ·² »¨½»-- ±º ¬¸» É¿·¬·²¹ Ð»®·±¼ «° ¬± ¬¸»
   Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                 Ô·³·¬ ±º ×²-«®¿²½»ò
   Ý±ª»®¿¹»-÷ ±º ¬¸» ª¿´«»ø-÷ ±º ¬¸» °®±°»®¬§ ¬¸¿¬
   ¸¿- -«-¬¿·²»¼ ´±-- ±® ¼¿³¿¹»ò Ì¸» ª¿´«»ø-÷ ¬± ¾»         Ì¸» Ð»®½»²¬¿¹» Ü»¼«½¬·¾´» ¼±»- ²±¬ ¿°°´§ ¬± ¬¸»
   «-»¼ ¿®» ¬¸±-» -¸±©² ·² ¬¸» ³±-¬ ®»½»²¬                  Þ«-·²»-- ×²½±³» ´±--ò




Ð¿¹» î Case
       ±º î 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 155
                                                                             Ú±®³ ÐÝofîé579
                                                                                         ðï ðï ðç
                                                                                          ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                            ÒßÓÛÜ ÍÌÑÎÓ ÜÛÜËÝÌ×ÞÔÛ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ

Í½¸»¼«´» ·²º±®³¿¬·±² ·º ²±¬ -¬¿¬»¼ ¸»®»ô ©·´´ ¾» -¬¿¬»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
Ý±ª»®¿¹»-ò

                                                         ÍÝØÛÜËÔÛ
       þÍ½¸»¼«´»¼                      Ò¿³»¼ Í¬±®³                      Þ«-·²»-- ×²½±³» É¿·¬·²¹ Ð»®·±¼
      Ð®»³·-»-þ Ò±ò               Ð»®½»²¬¿¹» øû÷ Ü»¼«½¬·¾´»                   øÒ«³¾»® ±º Ø±«®-÷




Ì¸» º±´´±©·²¹ ½¸¿²¹»- ¿°°´§ ±²´§ ¬± ¬¸» þÍ½¸»¼«´»¼           ¬®±°·½¿´ -¬±®³-ò ß Ò¿³»¼ Í¬±®³ ¾»¹·²- ¿¬ ¬¸» ¬·³» ¿
Ð®»³·-»-þ -¬¿¬»¼ º±® Ò¿³»¼ Í¬±®³ Ð»®½»²¬¿¹» øû÷              É¿¬½¸ ±® É¿®²·²¹ ·- ·--«»¼ ¾§ ¿²§ ±º ¬¸»
Ü»¼«½¬·¾´» ·² ¬¸» ¿¾±ª» ÍÝØÛÜËÔÛò Ò± ±¬¸»®                   ¿º±®»³»²¬·±²»¼ »²¬·¬·»- º±® ¬¸» ¿®»¿ ·² ©¸·½¸ ¬¸»
¼»¼«½¬·¾´» ©·´´ ¿°°´§ ¬± ©·²¼-¬±®³ ¿¬ ¬¸»-»                  ¿ºº»½¬»¼ °®»³·-»- ¿®» ´±½¿¬»¼ô ¿²¼ »²¼- éî ¸±«®-
þÍ½¸»¼«´»¼ Ð®»³·-»-þò                                        ¿º¬»® ¬¸» ¬»®³·²¿¬·±² ±º ¬¸» ´¿-¬ É¿¬½¸ ±® É¿®²·²¹
Ì¸» Ò¿³»¼ Í¬±®³ Ð»®½»²¬¿¹» Ü»¼«½¬·¾´» -¬¿¬»¼ ·²              ·--«»¼ º±® ¬¸¿¬ ¿®»¿ ¾§ ¬¸» -¿³» »²¬·¬§ò
¬¸» ¿¾±ª» ÍÝØÛÜËÔÛ ¿°°´·»- ¬± ¼·®»½¬ °¸§-·½¿´ ´±--           ßò ÒßÓÛÜ ÍÌÑÎÓ ÐÛÎÝÛÒÌßÙÛ ÜÛÜËÝÌ×ÞÔÛ
±º ±® ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ½¿«-»¼ ¼·®»½¬´§ ±®             ÝÔßËÍÛ
·²¼·®»½¬´§ ¾§ ¿ Ò¿³»¼ Í¬±®³ô ®»¹¿®¼´»-- ±º ¿²§ ±¬¸»®            É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» «²¬·´ ¬¸»
½¿«-» ±® »ª»²¬ ¬¸¿¬ ½±²¬®·¾«¬»- ½±²½«®®»²¬´§ ±® ·² ¿²§          ¿³±«²¬ ±º ´±-- ±® ¼¿³¿¹» »¨½»»¼- ¬¸»
-»¯«»²½» ¬± ¬¸» ´±-- ±® ¼¿³¿¹»ò ×º ¼·®»½¬ °¸§-·½¿´              ¿°°´·½¿¾´» Ü»¼«½¬·¾´»ò É» ©·´´ ¬¸»² °¿§ ¬¸»
´±-- ±® ¼¿³¿¹» º®±³ ¿ ½±ª»®»¼ ©»¿¬¸»® ½±²¼·¬·±²                 ¿³±«²¬ ±º ´±-- ±® ¼¿³¿¹» ·² »¨½»-- ±º ¬¸»
±¬¸»® ¬¸¿² ¿ Ò¿³»¼ Í¬±®³ ±½½«®-ô ¿²¼ ¬¸¿¬ ´±-- ±®               Ü»¼«½¬·¾´»ô «° ¬± ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º
¼¿³¿¹» ©±«´¼ ²±¬ ¸¿ª» ±½½«®®»¼ ¾«¬ º±® ¬¸» Ò¿³»¼                ×²-«®¿²½»ò
Í¬±®³ô -«½¸ ´±-- ±® ¼¿³¿¹» -¸¿´´ ¾» ½±²-·¼»®»¼ °¿®¬
±º ¬¸» Ò¿³»¼ Í¬±®³ ±½½«®®»²½»ò                                  Ì¸·- Ü»¼«½¬·¾´» ·- ½¿´½«´¿¬»¼ -»°¿®¿¬»´§ º±®ô ¿²¼
                                                                ¿°°´·»- -»°¿®¿¬»´§ ¬±æ
Ì¸» Ò¿³»¼ Í¬±®³ Ð»®½»²¬¿¹» Ü»¼«½¬·¾´» ¿°°´·»-
©¸»²»ª»® ¬¸»®» ·- ¿² ±½½«®®»²½» ±º ¬¸» Ò¿³»¼                    ïò Û¿½¸ ¾«·´¼·²¹ô ·º ¬©± ±® ³±®» ¾«·´¼·²¹-
Í¬±®³ò                                                             -«-¬¿·² ´±-- ±® ¼¿³¿¹»å
×º ¿ ©·²¼-¬±®³ ·- ²±¬ ¼»½´¿®»¼ ¿ Ò¿³»¼ Í¬±®³ ¿²¼                îò Û¿½¸ ¾«·´¼·²¹ ¿²¼ ¬¸» °»®-±²¿´ °®±°»®¬§ ·²
¬¸»®» ·- ´±-- ±® ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ô ¬¸»                   ¬¸¿¬ ¾«·´¼·²¹ô ·º ¾±¬¸ -«-¬¿·² ´±-- ±® ¼¿³¿¹»å
¿°°´·½¿¾´» ¼»¼«½¬·¾´» ·- ¬¸» -¿³» ¼»¼«½¬·¾´» ¬¸¿¬               íò Ð»®-±²¿´ °®±°»®¬§ ¿¬ »¿½¸ ¾«·´¼·²¹ô ·º
¿°°´·»- ¬± Ú·®»ò                                                   °»®-±²¿´ °®±°»®¬§ ¿¬ ¬©± ±® ³±®» ¾«·´¼·²¹-
Ò¿³»¼ Í¬±®³ Ü»º·²·¬·±²æ Ë²¼»® ¬¸» ¬»®³- ±º ¬¸·-                    -«-¬¿·²- ´±-- ±® ¼¿³¿¹»å
»²¼±®-»³»²¬ô ¿ Ò¿³»¼ Í¬±®³ ·- ¿ ©»¿¬¸»®ó®»´¿¬»¼                 ìò Ð»®-±²¿´ °®±°»®¬§ ·² ¬¸» ±°»²ò
»ª»²¬ ·²ª±´ª·²¹ ©·²¼ ¬¸¿¬ ¸¿- ¾»»² ¿--·¹²»¼ ¿ º±®³¿´
                                                             Þò ÜÛÌÛÎÓ×Ò×ÒÙ ßÓÑËÒÌ ÑÚ ÜÛÜËÝÌ×ÞÔÛ
²¿³» ¾§ ¬¸» Ò¿¬·±²¿´ Ø«®®·½¿²» Ý»²¬»®ô Ò¿¬·±²¿´
É»¿¬¸»® Í»®ª·½»ô É±®´¼ Ó»¬»±®±´±¹·½¿´ ß--±½·¿¬·±²ô              ×² ¼»¬»®³·²·²¹ ¬¸» ¿³±«²¬ô ·º ¿²§ô ¬¸¿¬ ©» ©·´´
±® ¿²§ ±¬¸»® ¹»²»®¿´´§ ®»½±¹²·¦»¼ -½·»²¬·º·½ ±®                 °¿§ º±® ´±-- ±® ¼¿³¿¹»ô ©» ©·´´ ¼»¼«½¬ ¿²
³»¬»±®±´±¹·½¿´ ¿--±½·¿¬·±² ¬¸¿¬ °®±ª·¼»- º±®³¿´                 ¿³±«²¬ »¯«¿´ ¬± ¬¸» °»®½»²¬¿¹» ¿- -¬¿¬»¼ ·² ¬¸»
²¿³»- º±® °«¾´·½ «-» ¿²¼ ®»º»®»²½»ò ß Ò¿³»¼ Í¬±®³               ¿¾±ª» ÍÝØÛÜËÔÛ ¿°°´·½¿¾´» ¬± ¬¸» ª¿´«» ±º ¬¸»
·²½´«¼»- ¸«®®·½¿²»-ô ¬®±°·½¿´ ¼»°®»--·±²-ô ¿²¼                  ¼¿³¿¹»¼ °®±°»®¬§ ¿¬ ¬¸» ¬·³» ±º ´±--ò


Ú±®³ ÐÝ îé ðç ðï ïí                                                                                  Ð¿¹» ï ±º î
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                                   îðïíô Ì¸» Ø¿®¬º±®¼
  ×² ¿²§ ±²» ±½½«®®»²½» ±º ¿ Ò¿³»¼ Í¬±®³ô ¬¸»           É» ©·´´ ±²´§ °¿§ º±® ´±-- §±« -«-¬¿·² ¿º¬»® ¬¸»
  ¬±¬¿´ ¼»¼«½¬·¾´» º±® ¿´´ ½±ª»®»¼ Ò¿³»¼ Í¬±®³          º·®-¬ ²«³¾»® ±º ½±²-»½«¬·ª» ¸±«®- ·²¼·½¿¬»¼ ·²
  ´±--»- ©·´´ ²±¬ ¾» ´»-- ¬¸¿² üïðððò                   ¬¸» ¿¾±ª» ÍÝØÛÜËÔÛ ¿º¬»® ¼·®»½¬ °¸§-·½¿´ ´±--
Ýò ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ                       ±º ±® ¼·®»½¬ °¸§-·½¿´ ¼¿³¿¹» ¬± °®±°»®¬§ ¿¬ ¿
                                                        þÍ½¸»¼«´»¼ Ð®»³·-»þ ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹
  É¸»² ¿ ²«³¾»® ±º ¸±«®- ·- -¬¿¬»¼ ·² ¬¸» ¿¾±ª»         º®±³ ¿ Ò¿³»¼ Í¬±®³ò É» ©·´´ ¬¸»² °¿§ ¬¸»
  ÍÝØÛÜËÔÛ º±® Þ«-·²»-- ×²½±³» É¿·¬·²¹ Ð»®·±¼           ¿³±«²¬ ±º ´±-- ·² »¨½»-- ±º ¬¸» É¿·¬·²¹ Ð»®·±¼
  ¬¸» º±´´±©·²¹ ·- ¿°°´·½¿¾´» ¬± Ð®±°»®¬§ Ý¸±·½»        «° ¬± ¿°°´·½¿¾´» ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò
  Þ«-·²»-- ×²½±³»æ




Ð¿¹» î Case
       ±º î 3:24-cv-00490-FDW-SCR          Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                            157 ÐÝ
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                                                                                   îé ðç ðï ïí
                                                                                  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




                                  ÏË×ÝÕ ÎÛÚÛÎÛÒÝÛ
                                         ÞËÍ×ÒÛÍÍ ÝÎ×ÓÛ


Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³» Ý±ª»®¿¹»- Ú±®³


ßò ×²-«®·²¹ ß¹®»»³»²¬-                                     ¶ò   Ñ¬¸»® ×²-«®¿²½»
Þò ß¼¼·¬·±²¿´ Ý±ª»®¿¹»  Ý´¿·³ Û¨°»²­»                     µò Ñ©²»®-¸·°     ±º    Ð®±°»®¬§å   ×²¬»®»-¬-
Ýò Ô·³·¬ ±º ×²-«®¿²½»                                         Ý±ª»®»¼
Üò Ü»¼«½¬·¾´»                                              ´ò   Ð±´·½§ Þ®·¼¹»  Ü·­½±ª»®§ Î»°´¿½·²¹
                                                                Ô±-- Í«-¬¿·²»¼
Ûò Û¨½´«-·±²-
                                                           ³ò Î»½±®¼-
Úò Ý®·³» Ý±³³±² Ý±²¼·¬·±²-
                                                           ²ò Î»½±ª»®·»-
   ïò Ý±²¼·¬·±²- ¿°°´·½¿¾´» ¬± ¿´´ ×²-«®·²¹
      ß¹®»»³»²¬-                                           ±ò Ì»®®·¬±®§
       ¿ò ß¼¼·¬·±²¿´ Ð®»³·-»- ±® Û³°´±§»»-                 °ò Ì®¿²-º»® ±º Ç±«® Î·¹¸¬- ±º Î»½±ª»®§
                                                              ß¹¿·²-¬ Ñ¬¸»®- ¬± Ë-
       ¾ò Ý±²½»¿´³»²¬ô     Ó·-®»°®»-»²¬¿¬·±²   ±®
          Ú®¿«¼                                            ¯ò Ê¿´«¿¬·±² ó Í»¬¬´»³»²¬
       ½ò Ý±²­±´·¼¿¬·±²  Ó»®¹»® ±® ß½¯«·­·¬·±²        îò Ý±²¼·¬·±²- ß°°´·½¿¾´» ¬± ×²-«®·²¹
                                                          ß¹®»»³»²¬ ßòïò Û³°´±§»» Ì¸»º¬ò
       ¼ò Ý±±°»®¿¬·±²
                                                       íò Ý±²¼·¬·±²- ß°°´·½¿¾´» ¬± ×²-«®·²¹
       »ò Ü«¬·»- ·² ¬¸» Ûª»²¬ ±º Ô±--                     ß¹®»»³»²¬ ßòîò Ú±®¹»®§ ±® ß´¬»®¿¬·±²ò
       ºò   Û³°´±§»» Þ»²»º·¬ Ð´¿²ø-÷                   ìò Ý±²¼·¬·±² ß°°´·½¿¾´» Ì± ×²-«®·²¹
       ¹ò Û¨¬»²¼»¼ Ð»®·±¼ ¬± Ü·-½±ª»® Ô±--                ß¹®»»³»²¬ ßòìò Ñ«¬­·¼» ¬¸» Ð®»³·­»­ 
       ¸ò Ö±·²¬ ×²-«®»¼                                   Ì¸»º¬ ±º Ó±²»§ ¿²¼ Í»½«®·¬·»-ò
       ·ò   Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-                    ëò Ý±²¼·¬·±²- ß°°´·½¿¾´» Ì± ×²-«®·²¹
                                                          ß¹®»»³»²¬ ßòëò Ý±³°«¬»® Ú®¿«¼ò
                                                    Ùò Ü»º·²·¬·±²-




Ú±®³ ÐÝ ðð çé ðï ðç                                                                       Ð¿¹» ï ±º ï
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                                                                                               ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÓÓÑÒ ÝÎ×ÓÛ ÝÑÊÛÎßÙÛÍ ÚÑÎÓ
                                             øÞËÍ×ÒÛÍÍ ÝÎ×ÓÛ÷
Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼
©¸¿¬ ·- ±® ·- ²±¬ ½±ª»®»¼ò
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ ®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»
©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± Í»½¬·±² Ùò Ü»º·²·¬·±²-ò

ßò ×ÒÍËÎ×ÒÙ ßÙÎÛÛÓÛÒÌÍ                                                  ±® ¿´¬»®»¼ô ¿²¼ §±« ¸¿ª» ±«® ©®·¬¬»² ½±²-»²¬
   Ý±ª»®¿¹» ·- °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹                             ¬± ¼»º»²¼ ¿¹¿·²-¬ ¬¸» -«·¬ô ©» ©·´´ °¿§ º±® ¿²§
   ×ÒÍËÎ×ÒÙ        ßÙÎÛÛÓÛÒÌÍ          º±®   ©¸·½¸   ¿                  ®»¿-±²¿¾´» ´»¹¿´ »¨°»²-»- §±« ·²½«® ¿²¼
   ½±®®»-°±²¼·²¹ Ô·³·¬ ±º ×²-«®¿²½» ·- -¸±©² ·² ¬¸»                     °¿§ ·² ¬¸¿¬ ¼»º»²-»ò Ì¸» ¿³±«²¬ ¬¸¿¬ ©» ©·´´
   Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼                             °¿§ ·- ·² ¿¼¼·¬·±² ¬± ¬¸» ´·³·¬ ±º ×²-«®¿²½»
   Ý±ª»®¿¹»-ô ±® Û²¼±®-»³»²¬- ¿²¼ ¿°°´·»- ¬± ´±--                       ¿°°´·½¿¾´» ¬± ¬¸·- ×²-«®·²¹ ß¹®»»³»²¬ò
   ©¸·½¸ ·- ¬± §±«® º·²¿²½·¿´ ¼»¬®·³»²¬ ¿²¼ ¬¸¿¬ §±«             íò ×²-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º Ó±²»§ ¿²¼
   -«-¬¿·² ®»-«´¬·²¹ ¼·®»½¬´§ º®±³ ¿² þ±½½«®®»²½»þ                  Í»½«®·¬·»-
   ¬¿µ·²¹ °´¿½» ¿¬ ¿²§ ¬·³» ©¸·½¸ ·- þ¼·-½±ª»®»¼þ ¾§                ¿ò É» ©·´´ °¿§ º±® ´±-- ±º þ³±²»§þ ¿²¼
   §±« ¼«®·²¹ ¬¸» Ð±´·½§ Ð»®·±¼ -¸±©² ·² ¬¸» Ð®±°»®¬§                   þ-»½«®·¬·»-þ ·²-·¼» ¬¸» þ°®»³·-»-þ ±®
   Ý¸±·½» Ü»½´¿®¿¬·±²- ±® ¼«®·²¹ ¬¸» °»®·±¼ ±º ¬·³»                     þ¾¿²µ·²¹ °®»³·-»þ ®»-«´¬·²¹ º®±³ þ¬¸»º¬þô
   °®±ª·¼»¼ ·² ¬¸» Û¨¬»²¼»¼ Ð»®·±¼ Ì± Ü·-½±ª»® Ô±--                     ¼·-¿°°»¿®¿²½» ±® ¼»-¬®«½¬·±²ò
   ó ÝÎ×ÓÛ ÝÑÓÓÑÒ ÝÑÒÜ×Ì×ÑÒ Úòïò¹òæ
                                                                    ¾ò É» ©·´´ °¿§ º±® ´±-- º®±³ ¼¿³¿¹» ¬± ¬¸»
   ïò Û³°´±§»» Ì¸»º¬                                                    þ°®»³·-»-þ ±® ·¬- »¨¬»®·±® ®»-«´¬·²¹ ¼·®»½¬´§
       É» ©·´´ °¿§ º±® ´±-- ±º ±® ¼¿³¿¹» ¬± þ³±²»§þô                    º®±³ ¿² ¿½¬«¿´ ±® ¿¬¬»³°¬»¼ þ¬¸»º¬þ ±º
       þ-»½«®·¬·»-þ ¿²¼ þ±¬¸»® °®±°»®¬§þ ®»-«´¬·²¹                      þ³±²»§þ ¿²¼ þ-»½«®·¬·»-þô ·º §±« ¿®» ¬¸»
       ¼·®»½¬´§ º®±³ þ¬¸»º¬þ ½±³³·¬¬»¼ ¾§ ¿²                            ±©²»® ±º ¬¸» þ°®»³·-»-þ ±® ¿®» ´·¿¾´» º±®
       þ»³°´±§»»þô ©¸»¬¸»® ·¼»²¬·º·»¼ ±® ²±¬ô ¿½¬·²¹                    ¼¿³¿¹» ¬± ·¬ò
       ¿´±²» ±® ·² ½±´´«-·±² ©·¬¸ ±¬¸»® °»®-±²-ò                    ½ò É» ©·´´ °¿§ º±® ´±-- ±º ±® ¼¿³¿¹» ¬± ¿
       Ú±® ¬¸» °«®°±-»- ±º ¬¸·- ×²-«®·²¹ ß¹®»»³»²¬ô                     ´±½µ»¼ -¿º»ô ª¿«´¬ô ½¿-¸ ®»¹·-¬»®ô ½¿-¸ ¾±¨
       þ¬¸»º¬þ -¸¿´´ ¿´-± ·²½´«¼» º±®¹»®§ò                              ±® ½¿-¸ ¼®¿©»® ´±½¿¬»¼ ·²-·¼» ¬¸»
   îò Ú±®¹»®§ ±® ß´¬»®¿¬·±²                                             þ°®»³·-»-þ ®»-«´¬·²¹ ¼·®»½¬´§ º®±³ ¿²
                                                                        ¿½¬«¿´ ±® ¿¬¬»³°¬»¼ þ¬¸»º¬þ ±º ±® «²´¿©º«´
       ¿ò É» ©·´´ °¿§ º±® ´±-- ®»-«´¬·²¹ º®±³
                                                                        »²¬®§ ·²¬± ¬¸±-» ½±²¬¿·²»®-ò
           þº±®¹»®§þ ±® ¿´¬»®¿¬·±² ±º ½¸»½µ-ô ¼®¿º¬-ô
           °®±³·--±®§ ²±¬»-ô ±® -·³·´¿® ©®·¬¬»²                  ìò Ñ«¬-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º Ó±²»§ ¿²¼
           °®±³·-»-ô ±®¼»®- ±® ¼·®»½¬·±²- ¬± °¿§ ¿                  Í»½«®·¬·»-
           -«³ ½»®¬¿·² ·² þ³±²»§þ ¬¸¿¬ ¿®»æ                         É» ©·´´ °¿§ º±® ´±-- ±º þ³±²»§þ ¿²¼
           øï÷ Ó¿¼» ±® ¼®¿©² ¾§ ±® ¼®¿©² «°±² §±«å ±®               þ-»½«®·¬·»-þ ±«¬-·¼» ¬¸» þ°®»³·-»-þ ·² ¬¸» ½¿®»
                                                                    ¿²¼ ½«-¬±¼§ ±º ¿ þ³»--»²¹»®þ ±® ¿² ¿®³±®»¼
           øî÷ Ó¿¼» ±® ¼®¿©² ¾§ ±²» ¿½¬·²¹ ¿- §±«®
                                                                    ³±¬±® ª»¸·½´» ½±³°¿²§ ®»-«´¬·²¹ ¼·®»½¬´§ º®±³
                ¿¹»²¬å
                                                                    þ¬¸»º¬þô ¼·-¿°°»¿®¿²½» ±® ¼»-¬®«½¬·±²ò
           ±® ¬¸¿¬ ¿®» °«®°±®¬»¼ ¬± ¸¿ª» ¾»»² -±
                                                                 ëò Ý±³°«¬»® ¿²¼ Ú«²¼- Ì®¿²-º»® Ú®¿«¼
           ³¿¼» ±® ¼®¿©²ò
           Ú±® ¬¸» °«®°±-»- ±º ¬¸·- ×²-«®·²¹                        É» ©·´´ °¿§ º±® ´±-- ±º ±® ¼¿³¿¹» ¬± þ³±²»§þô
           ß¹®»»³»²¬ô ¿ -«¾-¬·¬«¬» ½¸»½µ ¿- ¼»º·²»¼                 þ-»½«®·¬·»-þô ¿²¼ þ±¬¸»® °®±°»®¬§þ ®»-«´¬·²¹
           ·² ¬¸» Ý¸»½µ Ý´»¿®·²¹ º±® ¬¸» îï-¬ò                      ¼·®»½¬´§ º®±³æ ¬¸» «-» ±º ¿²§ ½±³°«¬»® ¬±
           Ý»²¬«®§ ß½¬ -¸¿´´ ¾» ¬®»¿¬»¼ ¬¸» -¿³» ¿-                 º®¿«¼«´»²¬´§ ½¿«-»æ
           ¬¸» ±®·¹·²¿´ ·¬ ®»°´¿½»¼ò                                ¿ò ß ¬®¿²-º»® ±º ¬¸¿¬ °®±°»®¬§ º®±³ ·²-·¼» ¬¸»
       ¾ò ×º §±« ¿®» -«»¼ º±® ®»º«-·²¹ ¬± °¿§ ¿²§                       þ°®»³·-»-þ ±® þ¾¿²µ·²¹ °®»³·-»-þæ
           ·²-¬®«³»²¬ ½±ª»®»¼ ·² Ð¿®¿¹®¿°¸ îò ¿ò                        øï÷ Ì± ¿ °»®-±² ø±¬¸»® ¬¸¿² ¿ þ³»--»²¹»®þ÷
           ¿¾±ª»ô ±² ¬¸» ¾¿-·- ¬¸¿¬ ·¬ ¸¿- ¾»»² º±®¹»¼                        ±«¬-·¼» ¬¸±-» þ°®»³·-»-þå ±®


Ú±®³ ÐÝ ðð ëð ðï ïè                                                                                 Ð¿¹» ï ±º ïï
                                            w îðïèô Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR
            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º Document    1-4 Filed
                                              ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                         ×²½ò ©·¬¸ ·¬- Page  159 of 579
                                                                                       °»®³·--·±²ò÷
            øî÷ Ì± ¿ °´¿½» ±«¬-·¼» ¬¸±-» þ°®»³·-»-þò         ¿³±«²¬ô «° ¬± ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò ×² ¬¸» »ª»²¬
       ¾ò Ì¸» ´±-- ±º þº«²¼-þ ®»-«´¬·²¹ ¼·®»½¬´§ º®±³        ¬¸¿¬ ³±®» ¬¸¿² ±²» Ü»¼«½¬·¾´» ß³±«²¬ ½±«´¼ ¿°°´§
            ¿ þº®¿«¼«´»²¬ ·²-¬®«½¬·±²þ ¼·®»½¬·²¹ ¿           ¬± ¬¸» -¿³» ´±--ô ±²´§ ¬¸» ¸·¹¸»-¬ Ü»¼«½¬·¾´»
            º·²¿²½·¿´ ·²-¬·¬«¬·±² ¬± ¬®¿²-º»®ô °¿§ ±®        ß³±«²¬ ©·´´ ¾» ¿°°´·»¼ò
            ¼»´·ª»® þº«²¼-þ º®±³ §±«® þ¬®¿²-º»®            Ûò ÛÈÝÔËÍ×ÑÒÍ
            ¿½½±«²¬þò                                        ïò ÛÈÝÔËÍ×ÑÒÍ ßÐÐÔ×ÝßÞÔÛ                ÌÑ     ßÔÔ
   êò Ó±²»§ Ñ®¼»®- ¿²¼ Ý±«²¬»®º»·¬ Ð¿°»®                        ×ÒÍËÎ×ÒÙ ßÙÎÛÛÓÛÒÌÍ
       Ý«®®»²½§
                                                                 Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ
       É» ©·´´ °¿§ º±® ´±-- ®»-«´¬·²¹ ¼·®»½¬´§ º®±³ §±«®
                                                                 ¿ò ß½¬- Ý±³³·¬¬»¼ Þ§ Ç±«ô Ç±«® Ð¿®¬²»®-
       ¸¿ª·²¹ ¿½½»°¬»¼ ·² ¹±±¼ º¿·¬¸ô ·² »¨½¸¿²¹» º±®
       ³»®½¸¿²¼·-»ô þ³±²»§þ ±® -»®ª·½»-æ                            Ñ® Ç±«® Ó»³¾»®-
       ¿ò Ó±²»§ ±®¼»®- ·--«»¼ ¾§ ¿²§ °±-¬ ±ºº·½»ô                    Ô±-- ®»-«´¬·²¹ º®±³ þ¬¸»º¬þ ±® ¿²§ ±¬¸»®
            »¨°®»-- ½±³°¿²§ ±® ¾¿²µ ¬¸¿¬ ¿®» ²±¬                     ¼·-¸±²»-¬ ¿½¬ ½±³³·¬¬»¼ ¾§æ
            °¿·¼ «°±² °®»-»²¬¿¬·±²å ±®                               øï÷ Ç±«å ±®
       ¾ò þÝ±«²¬»®º»·¬þ °¿°»® ½«®®»²½§ ¬¸¿¬ ·-                       øî÷ ß²§ ±º §±«® °¿®¬²»®- ±® þ³»³¾»®-þå
            ¿½¯«·®»¼ ¼«®·²¹ ¬¸» ®»¹«´¿® ½±«®-» ±º                    ©¸»¬¸»® ¿½¬·²¹ ¿´±²» ±® ·² ½±´´«-·±² ©·¬¸
            ¾«-·²»--ò                                                ±¬¸»® °»®-±²-ò
   éò Ü»½»°¬·±² Ú®¿«¼
                                                                 ¾ò ß½¬- Ñº Û³°´±§»»- Ô»¿®²»¼ Ñº Þ§ Ç±«
       É» ©·´´ °¿§ º±® ´±-- ¬± þ³±²»§þô þ-»½«®·¬·»-þ                Ð®·±® Ì± Ì¸» Ð±´·½§ Ð»®·±¼
       ¿²¼ þ±¬¸»® °®±°»®¬§þ ©¸»² §±«ô ±® ¿²§±²» ¬±
       ©¸±³       §±«    ¸¿ª»     »²¬®«-¬»¼     þ³±²»§þô             Ô±-- ½¿«-»¼ ¾§ ¿² þ»³°´±§»»þ ·º ¬¸»
       þ-»½«®·¬·»-þ ¿²¼ þ±¬¸»® °®±°»®¬§þô ª±´«²¬¿®·´§                þ»³°´±§»»þ ¸¿¼ ¿´-± ½±³³·¬¬»¼ þ¬¸»º¬þ ±®
       °¿®¬- ©·¬¸ -«½¸ þ³±²»§þô þ-»½«®·¬·»-þ ¿²¼                     ¿²§ ±¬¸»® ¼·-¸±²»-¬ ¿½¬ °®·±® ¬± ¬¸»
       þ±¬¸»® °®±°»®¬§þ ¼«» ¬± ¿²§ º®¿«¼«´»²¬ -½¸»³»ô                »ºº»½¬·ª» ¼¿¬» ±º ¬¸·- ·²-«®¿²½» ¿²¼ §±« ±®
       ¬®·½µô ¼»ª·½» ±® º¿´-» °®»¬»²-»ò                              ¿²§ ±º §±«® °¿®¬²»®-ô þ³»³¾»®-þô
                                                                     þ³¿²¿¹»®-þô ±ºº·½»®-ô ¼·®»½¬±®- ±® ¬®«-¬»»-ô
Þò ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛ ó ÝÔß×Ó ÛÈÐÛÒÍÛ                               ²±¬ ·² ½±´´«-·±² ©·¬¸ ¬¸» þ»³°´±§»»þô
   ïò ×² ¬¸» »ª»²¬ ±º ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ©» ©·´´                 ´»¿®²»¼ ±º ¬¸¿¬ þ¬¸»º¬þ ±® ¼·-¸±²»-¬ ¿½¬
       °¿§ º±® ®»¿-±²¿¾´» »¨°»²-»- ·²½«®®»¼ ¾§ §±«                   °®·±® ¬± ¬¸» Ð±´·½§ Ð»®·±¼ -¸±©² ·² ¬¸»
       ¿¬ ±«® -°»½·º·½ ®»¯«»-¬ ¬± ¿--·-¬ «- ·²æ                      Ü»½´¿®¿¬·±²-ò
       ¿ò Ì¸» ·²ª»-¬·¹¿¬·±² ±º ¿ ½´¿·³ ±® -«·¬å ±®               ½ò ß½¬-    Ñº    Û³°´±§»»-ô    Ó¿²¿¹»®-ô
       ¾ò Ì¸» ¼»¬»®³·²¿¬·±² ±º ¬¸» ¿³±«²¬ ±º ´±--ô                  Ü·®»½¬±®-ô Ì®«-¬»»- Ñ® Î»°®»-»²¬¿¬·ª»-
            -«½¸ ¿- ¬¿µ·²¹ ·²ª»²¬±®§ ±® ¿«¼·¬·²¹                     Ô±-- ®»-«´¬·²¹ º®±³ þ¬¸»º¬þ ±® ¿²§ ±¬¸»®
            ¾«-·²»-- ®»½±®¼-ò                                        ¼·-¸±²»-¬ ¿½¬ ½±³³·¬¬»¼ ¾§ ¿²§ ±º §±«®
   îò Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§ ±²» ±½½«®®»²½» ·-                  þ»³°´±§»»-þô     þ³¿²¿¹»®-þô     ¼·®»½¬±®-ô
       üïðôðððò Ì¸·- ·- ¿² ¿¼¼·¬·±²¿´ ¿³±«²¬ ±º                      ¬®«-¬»»- ±® ¿«¬¸±®·¦»¼ ®»°®»-»²¬¿¬·ª»-æ
       ·²-«®¿²½»ò                                                    øï÷ É¸»¬¸»® ¿½¬·²¹ ¿´±²» ±® ·² ½±´´«-·±²
Ýò Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ                                                    ©·¬¸ ±¬¸»® °»®-±²-å ±®
   Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ´±-- ·² ¿²§ ±²»                          øî÷ É¸·´» °»®º±®³·²¹ -»®ª·½»- º±® §±« ±®
   þ±½½«®®»²½»þ ·- ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»                     ±¬¸»®©·-»å
   -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô Í½¸»¼«´»- ±®
                                                                     »¨½»°¬ ©¸»² ½±ª»®»¼ «²¼»® ×²-«®·²¹
   Û²¼±®-»³»²¬-ò
                                                                     ß¹®»»³»²¬ ßòïò Û³°´±§»» Ì¸»º¬ò
   Î»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±º §»¿®- ¬¸·- ·²-«®¿²½»
   ®»³¿·²- ·² º±®½» ±® ¬¸» ²«³¾»® ±º °®»³·«³- °¿·¼ô              ¼ò Ý±²º·¼»²¬·¿´ ×²º±®³¿¬·±²
   ²± Ô·³·¬ ±º ×²-«®¿²½» ½«³«´¿¬»- º®±³ §»¿® ¬± §»¿®                 Ô±-- ®»-«´¬·²¹ º®±³æ
   ±® °»®·±¼ ¬± °»®·±¼ò                                              øï÷ Ì¸» «²¿«¬¸±®·¦»¼ ¼·-½´±-«®» ±º §±«®
   ×º ¿²§ ´±-- ·- ½±ª»®»¼ «²¼»® ³±®» ¬¸¿² ±²»                            ½±²º·¼»²¬·¿´ ·²º±®³¿¬·±² ·²½´«¼·²¹ô ¾«¬
   ×²-«®·²¹ ß¹®»»³»²¬ ±® Ý±ª»®¿¹»ô ¬¸» ³±-¬ ©» ©·´´                      ²±¬ ´·³·¬»¼ ¬±ô °¿¬»²¬-ô ¬®¿¼» -»½®»¬-ô
   °¿§ º±® -«½¸ ´±-- -¸¿´´ ²±¬ »¨½»»¼ ¬¸» ´¿®¹»-¬ Ô·³·¬                  °®±½»--·²¹ ³»¬¸±¼- ±® ½«-¬±³»® ´·-¬-å
   ±º ×²-«®¿²½» ¿ª¿·´¿¾´» «²¼»® ¿²§ ±²» ±º ¬¸±-»                         ±®
   ×²-«®·²¹ ß¹®»»³»²¬- ±® Ý±ª»®¿¹»-ò
                                                                     øî÷ Ì¸» «²¿«¬¸±®·¦»¼ «-» ±® ¼·-½´±-«®» ±º
Üò ÜÛÜËÝÌ×ÞÔÛ                                                            ½±²º·¼»²¬·¿´ ·²º±®³¿¬·±² ±º ¿²±¬¸»®
   É» ©·´´ ²±¬ °¿§ º±® ´±-- ·² ¿²§ ±²» þ±½½«®®»²½»þ                      °»®-±² ±® »²¬·¬§ ©¸·½¸ ·- ¸»´¼ ¾§ §±«
   «²´»-- ¬¸» ¿³±«²¬ ±º ´±-- »¨½»»¼- ¬¸» ¿°°´·½¿¾´»                      ·²½´«¼·²¹ô ¾«¬ ²±¬ ´·³·¬»¼ ¬±ô º·²¿²½·¿´
   Ü»¼«½¬·¾´» ß³±«²¬ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô                          ·²º±®³¿¬·±²ô °»®-±²¿´ ·²º±®³¿¬·±²ô
   Í½¸»¼«´»- ±® Û²¼±®-»³»²¬-ò É» ©·´´ ¬¸»² °¿§ º±®                       ½®»¼·¬ ½¿®¼ ·²º±®³¿¬·±² ±® -·³·´¿® ²±²ó
   ¬¸» ¿³±«²¬ ±º ´±-- ·² »¨½»-- ±º ¬¸» Ü»¼«½¬·¾´»                        °«¾´·½ ·²º±®³¿¬·±²ò


Ð¿¹» î Case
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                                                                                      of 579
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      »ò Ù±ª»®²³»²¬¿´ ß½¬·±²                                   ¶ò   É¿® ¿²¼ Í·³·´¿® ß½¬·±²-
           Ô±-- ®»-«´¬·²¹ º®±³ -»·¦«®» ±® ¼»-¬®«½¬·±²               Ô±-- ®»-«´¬·²¹ º®±³ ©¿®ô ©¸»¬¸»® ±® ²±¬
           ±º °®±°»®¬§ ¾§ ±®¼»® ±º ¹±ª»®²³»²¬¿´                     ¼»½´¿®»¼ô ©¿®´·µ» ¿½¬·±²ô ·²-«®®»½¬·±²ô
           ¿«¬¸±®·¬§ò                                               ®»¾»´´·±² ±® ®»ª±´«¬·±²ô ±® ¿²§ ®»´¿¬»¼ ¿½¬
      ºò   ×²¼·®»½¬ Ô±--                                            ±® ·²½·¼»²¬ò
           Ô±-- ¬¸¿¬ ·- ¿² ·²¼·®»½¬ ®»-«´¬ ±º ¿²§ ¿½¬ ±®    îò ßÜÜ×Ì×ÑÒßÔ ÛÈÝÔËÍ×ÑÒÍ ßÐÐÔ×ÝßÞÔÛ
           ±½½«®®»²½» ½±ª»®»¼ ¾§ ¬¸·- ·²-«®¿²½»                ÌÑ ÛÓÐÔÑÇÛÛ ÌØÛÚÌ
           ·²½´«¼·²¹ô ¾«¬ ²±¬ ´·³·¬»¼ ¬±ô ´±-- ®»-«´¬·²¹       ×²-«®·²¹ ¿¹®»»³»²¬ ßòïò Û³°´±§»» Ì¸»º¬
           º®±³æ                                               ¼±»- ²±¬ ¿°°´§ ¬±æ
           øï÷ Ç±«® ·²¿¾·´·¬§ ¬± ®»¿´·¦» ·²½±³» ¬¸¿¬           ¿ò ×²ª»²¬±®§ Í¸±®¬¿¹»-
               §±« ©±«´¼ ¸¿ª» ®»¿´·¦»¼ ¸¿¼ ¬¸»®»                    Ô±--ô ±® ¬¸¿¬ °¿®¬ ±º ¿²§ ´±--ô ¬¸» °®±±º ±º
               ¾»»² ²± ´±-- ±º ±® ´±-- º®±³ ¼¿³¿¹»                  ©¸·½¸ ¿- ¬± ·¬- »¨·-¬»²½» ±® ¿³±«²¬ ·-
               ¬± °®±°»®¬§ò ß²§ Þ«-·²»-- ×²½±³»                     ¼»°»²¼»²¬ «°±²æ
               Ý±ª»®¿¹» Ú±®³ ±® Û¨¬®¿ Û¨°»²-»
               Ý±ª»®¿¹» Ú±®³ ¬¸¿¬ ·- ¿¬¬¿½¸»¼ ¬± ¬¸·-               øï÷ ß² ·²ª»²¬±®§ ½±³°«¬¿¬·±²å ±®
               °±´·½§ ¼±»- ²±¬ ¿°°´§ò                               øî÷ ß °®±º·¬ ±® ´±-- ½±³°«¬¿¬·±²ò
           øî÷ Ð¿§³»²¬ ±º ¼¿³¿¹»- ±º ¿²§ ¬§°» º±®                   Ø±©»ª»®ô ©»®» §±« ¬± »-¬¿¾´·-¸ ©¸±´´§
               ©¸·½¸ §±« ¿®» ´»¹¿´´§ ´·¿¾´»ò                        ¿°¿®¬ º®±³ -«½¸ ½±³°«¬¿¬·±²- ¬¸¿¬ §±«
           øí÷ Ð¿§³»²¬ ±º ½±-¬-ô º»»- ±® ±¬¸»®                      ¸¿ª» -«-¬¿·²»¼ ¿ ´±--ô ¬¸»² §±« ³¿§ ±ºº»®
               »¨°»²-»- §±« ·²½«® ·² »-¬¿¾´·-¸·²¹                   §±«® ·²ª»²¬±®§ ®»½±®¼- ¿²¼ ¿½¬«¿´ °¸§-·½¿´
               »·¬¸»® ¬¸» »¨·-¬»²½» ±® ¬¸» ¿³±«²¬ ±º                ½±«²¬ ±º ·²ª»²¬±®§ ·² -«°°±®¬ ±º ¬¸»
               ´±-- «²¼»® ¬¸·- ·²-«®¿²½»ô »¨½»°¬ ¿-                 ¿³±«²¬ ½´¿·³»¼ò
               °®±ª·¼»¼ ¿¾±ª» ·² Í»½¬·±² Þò                    ¾ò Ì®¿¼·²¹
               ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛ ó ÝÔß×Ó                          Ô±-- ®»-«´¬·²¹ ¼·®»½¬´§ ±® ·²¼·®»½¬´§ º®±³
               ÛÈÐÛÒÍÛò                                             ¬®¿¼·²¹ô ©¸»¬¸»® ·² §±«® ²¿³» ±® ·² ¿
      ¹ò Ô»¹¿´ Ú»»-ô Ý±-¬- ß²¼ Û¨°»²-»-                             ¹»²«·²» ±® º·½¬·¬·±«- ¿½½±«²¬ò
           Ú»»-ô ½±-¬- ¿²¼ »¨°»²-»- ·²½«®®»¼ ¾§ §±«            ½ò É¿®»¸±«-» Î»½»·°¬-
           ©¸·½¸ ¿®» ®»´¿¬»¼ ¬± ¿²§ ´»¹¿´ ¿½¬·±²                    Ô±-- ®»-«´¬·²¹ º®±³ º®¿«¼«´»²¬ ±®
           »¨½»°¬ ©¸»² ½±ª»®»¼ «²¼»® ·²-«®·²¹                       ¼·-¸±²»-¬ -·¹²·²¹ô ·--«·²¹ô ½¿²½»´·²¹ ±®
           ß¹®»»³»²¬ ßò îò Ú±®¹»®§ ±® ß´¬»®¿¬·±²ò                   º¿·´·²¹ ¬± ½¿²½»´ô ¿ ©¿®»¸±«-» ®»½»·°¬ ±®
      ¸ò Ò«½´»¿® Ø¿¦¿®¼                                             ¿²§ °¿°»®- ½±²²»½¬»¼ ©·¬¸ ·¬ò
           Ô±-- ®»-«´¬·²¹ º®±³ ²«½´»¿® ®»¿½¬·±²ô            íò ßÜÜ×Ì×ÑÒßÔ ÛÈÝÔËÍ×ÑÒÍ ßÐÐÔ×ÝßÞÔÛ
           ²«½´»¿®    ®¿¼·¿¬·±² ±®     ®¿¼·±¿½¬·ª»             ÌÑ ßòíò ×ÒÍ×ÜÛ ÌØÛ ÐÎÛÓ×ÍÛÍ ó ÌØÛÚÌ
           ½±²¬¿³·²¿¬·±²ô ±® ¿²§ ®»´¿¬»¼ ¿½¬ ±®                ÑÚ ÓÑÒÛÇ ßÒÜ ÍÛÝËÎ×Ì×ÛÍ ó ßÒÜ ßòìò
           ·²½·¼»²¬ò                                           ÑËÌÍ×ÜÛ ÌØÛ ÐÎÛÓ×ÍÛÍ ó ÌØÛÚÌ ÑÚ
      ·ò   þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þ                       ÓÑÒÛÇ ßÒÜ ÍÛÝËÎ×Ì×ÛÍ
           É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹»                  ×²-«®·²¹ ß¹®»»³»²¬- ßòíò ×²-·¼» ¬¸»
           ½¿«-»¼ ¾§ô ®»-«´¬·²¹ º®±³ô ¿®·-·²¹ ±«¬ ±ºô          Ð®»³·-»- ó Ì¸»º¬ ±º Ó±²»§ ¿²¼ Í»½«®·¬·»- ó
           ±® ·² ¿²§ ©¿§ ®»´¿¬»¼ ¬± ¬¸» ¼·-½¸¿®¹»ô             ¿²¼ ßòìò Ñ«¬-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º
           ¼·-°»®-¿´ô -»»°¿¹»ô ³·¹®¿¬·±²ô ®»´»¿-» ±®           Ó±²»§ ¿²¼ Í»½«®·¬·»-ô ¼± ²±¬ ¿°°´§ ¬±æ
           »-½¿°» ±º þÐ±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬-þò            ¿ò ß½½±«²¬·²¹ Ñ® ß®·¬¸³»¬·½ Û®®±®- Ñ®
           Ð±´´«¬¿²¬- ¿²¼ Ý±²¬¿³·²¿²¬- ¿- «-»¼ ·²                 Ñ³·--·±²-
           ¬¸·- »¨½´«-·±² ³»¿²- ¿²§ -±´·¼ô ´·¯«·¼ô                  Ô±-- ®»-«´¬·²¹ º®±³ ¿½½±«²¬·²¹           ±®
           ¹¿-»±«-      ±®    ¬¸»®³¿´    ·®®·¬¿²¬    ±®             ¿½½±«²¬·²¹ ±® ¿®·¬¸³»¬·½¿´ »®®±®-        ±®
           ½±²¬¿³·²¿²¬ô ·²½´«¼·²¹ -³±µ»ô ª¿°±®ô                     ±³·--·±²-ò
           -±±¬ô º«³»-ô ¿½·¼-ô ¿´µ¿´·-ô ½¸»³·½¿´ ¿²¼
           ©¿-¬»ô ±® ¿²§ ±¬¸»® ³¿¬»®·¿´ ©¸·½¸ ½¿«-»-           ¾ò Û¨½¸¿²¹»- ±® Ð«®½¸¿-»-
           ±® ¬¸®»¿¬»²- ¬± ½¿«-» °¸§-·½¿´ ´±--ô                     Ô±-- ®»-«´¬·²¹ º®±³ ¬¸» ¹·ª·²¹ ±®
           ¼¿³¿¹»ô       ·³°«®·¬§     ¬±      °®±°»®¬§ô             -«®®»²¼»®·²¹ ±º °®±°»®¬§ ·² ¿²§ »¨½¸¿²¹»
           «²©¸±´»-±³»²»--ô «²¼»-·®¿¾·´·¬§ô ´±-- ±º                 ±® °«®½¸¿-»ò
           ³¿®µ»¬¿¾·´·¬§ô ´±-- ±º «-» ±º °®±°»®¬§ ±®           ½ò Ú·®»
           ©¸·½¸ ¬¸®»¿¬»²- ¸«³¿² ¸»¿´¬¸ ±® ©»´º¿®»ò
           É¿-¬» ·²½´«¼»- ³¿¬»®·¿´- ¬± ¾» ®»½§½´»¼ô                 Ô±-- ±® ¼¿³¿¹» ®»-«´¬·²¹ º®±³ º·®»ô
           ®»½±²¼·¬·±²»¼ ±® ®»½´¿·³»¼ò                              ¸±©»ª»® ½¿«-»¼ô »¨½»°¬æ
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      Case
Ú±®³ ÐÝ ðð ëð3:24-cv-00490-FDW-SCR
              ðï ïè                             Document 1-4 Filed 05/21/24 Page 161 ofÐ¿¹»
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           øî÷ Ô±-- º®±³ ¼¿³¿¹» ¬± ¿ -¿º» ±® ª¿«´¬ò                     ø¾÷ Ø¿¼ µ²±©´»¼¹» ±º ¿ ¬¸®»¿¬ ¿¬ ¬¸»
      ¼ò Ó±²»§ Ñ°»®¿¬»¼ Ü»ª·½»-                                             ¬·³» ¬¸» ½±²ª»§¿²½» ¾»¹¿²ô ¾«¬
                                                                            ¬¸» ´±-- ©¿- ²±¬ ®»´¿¬»¼ ¬± ¬¸»
           Ô±-- ±º °®±°»®¬§ ½±²¬¿·²»¼ ·² ¿²§ ³±²»§                          ¬¸®»¿¬ò
           ±°»®¿¬»¼ ¼»ª·½» «²´»-- ¬¸» ¿³±«²¬ ±º
           þ³±²»§þ ¼»°±-·¬»¼ ·² ·¬ ·- ®»½±®¼»¼ ¾§ ¿             ¹ò Ê¿²¼¿´·-³
           ½±²¬·²«±«- ®»½±®¼·²¹ ·²-¬®«³»²¬ ·² ¬¸»                   Ô±-- º®±³ ¼¿³¿¹» ¬± ¬¸» þ°®»³·-»-þ ±® ·¬-
           ¼»ª·½»ò                                                  »¨¬»®·±®ô ±® ¬± ¿²§ -¿º»ô ª¿«´¬ô ½¿-¸
      »ò Ó±¬±® Ê»¸·½´»- Ñ® Û¯«·°³»²¬ ß²¼                            ®»¹·-¬»®ô ½¿-¸ ¾±¨ô ½¿-¸ ¼®¿©»® ±® þ±¬¸»®
         ß½½»--±®·»-                                                °®±°»®¬§þ ¾§ ª¿²¼¿´·-³ ±® ³¿´·½·±«-
                                                                    ³·-½¸·»ºò
           Ô±-- ±º ±® ¼¿³¿¹» ¬± ³±¬±® ª»¸·½´»-ô
           ¬®¿·´»®- ±® -»³·ó¬®¿·´»®- ±® »¯«·°³»²¬ ¿²¼           ¸ò Ê±´«²¬¿®§ Ð¿®¬·²¹ ±º          Ì·¬´»    ¬±   ±®
           ¿½½»--±®·»- ¿¬¬¿½¸»¼ ¬± ¬¸»³ò                           Ð±--»--·±² ±º Ð®±°»®¬§
      ºò   Ì®¿²-º»® ±® Í«®®»²¼»® Ñº Ð®±°»®¬§                        Ô±-- ®»-«´¬·²¹ º®±³ §±«®ô ±® ¿²§±²» ¿½¬·²¹
                                                                    ±² §±«® »¨°®»-- ±® ·³°´·»¼ ¿«¬¸±®·¬§ô ¾»·²¹
           øï÷ Ô±-- ±º ±® ¼¿³¿¹» ¬± °®±°»®¬§ ¬¸¿¬                   ·²¼«½»¼ ¾§ ¿²§ ¼·-¸±²»-¬ ¿½¬ ¬± ª±´«²¬¿®·´§
               ¸¿- ¾»»² ¬®¿²-º»®®»¼ ±® -«®®»²¼»®»¼                  °¿®¬ ©·¬¸ ¬·¬´» ¬± ±® °±--»--·±² ±º ¿²§
               ¬± ¿ °»®-±² ±® °´¿½» ±«¬-·¼» ¬¸»                     °®±°»®¬§ò
               þ°®»³·-»-þ ±® þ¾¿²µ·²¹ °®»³·-»-þæ
                                                             ìò ßÜÜ×Ì×ÑÒßÔ ÛÈÝÔËÍ×ÑÒÍ ßÐÐÔ×ÝßÞÔÛ
               ø¿÷ Ñ² ¬¸» ¾¿-·- ±º «²¿«¬¸±®·¦»¼                 ÌÑ ÝÑÓÐËÌÛÎ ßÒÜ ÚËÒÜÍ ÌÎßÒÍÚÛÎ
                   ·²-¬®«½¬·±²-å ±®                             ÚÎßËÜ
               ø¾÷ ß- ¿ ®»-«´¬ ±º ¿ ¬¸®»¿¬ ¬± ¼± ¾±¼·´§         ×²-«®·²¹ ß¹®»»³»²¬ ßòëò Ý±³°«¬»® ¿²¼
                   ¸¿®³ ¬± ¿²§ °»®-±²å ±®                       Ú«²¼- Ì®¿²-º»® Ú®¿«¼ ¼±»- ²±¬ ¿°°´§ ¬±æ
               ø½÷ ß- ¿ ®»-«´¬ ±º ¿ ¬¸®»¿¬ ¬± ¼±                ¿ò Ý®»¼·¬ Ý¿®¼ Ì®¿²-¿½¬·±²-
                   ¼¿³¿¹» ¬± ¿²§ °®±°»®¬§å ±®
                                                                    Ô±-- ®»-«´¬·²¹ º®±³ ¬¸» «-» ±® °«®°±®¬»¼
               ø¼÷ ß- ¿ ®»-«´¬ ±º ¿ ¬¸®»¿¬ ¬± ·²¬®±¼«½»             «-» ±º ½®»¼·¬ô ¼»¾·¬ô ½¸¿®¹»ô ¿½½»--ô
                   ¿ ¼»²·¿´ ±º -»®ª·½» ¿¬¬¿½µ ·²¬± §±«®             ½±²ª»²·»²½»ô ·¼»²¬·º·½¿¬·±²ô -¬±®»¼óª¿´«»
                   ½±³°«¬»® -§-¬»³å ±®                              ±® ±¬¸»® ½¿®¼- ±® ¬¸» ·²º±®³¿¬·±²
               ø»÷ ß- ¿ ®»-«´¬ ±º ¿ ¬¸®»¿¬ ¬± ·²¬®±¼«½»             ½±²¬¿·²»¼ ±² -«½¸ ½¿®¼-ò
                   ¿ ª·®«- ±® ±¬¸»® ³¿´·½·±«-                   ¾ò ×²ª»²¬±®§ Í¸±®¬¿¹»-
                   ·²-¬®«½¬·±² ·²¬± §±«® ½±³°«¬»®
                   -§-¬»³ ©¸·½¸ ·- ¼»-·¹²»¼ ¬±                      Ô±--ô ±® ¬¸¿¬ °¿®¬ ±º ¿²§ ´±--ô ¬¸» °®±±º ±º
                   ¼¿³¿¹»ô ¼»-¬®±§ ±® ½±®®«°¬ ¼¿¬¿                  ©¸·½¸ ¿- ¬± ·¬- »¨·-¬»²½» ±® ¿³±«²¬ ·-
                   ±® ½±³°«¬»® °®±¹®¿³- -¬±®»¼                      ¼»°»²¼»²¬ «°±²æ
                   ©·¬¸·² §±«® ½±³°«¬»® -§-¬»³å ±®                  øï÷ ß² ·²ª»²¬±®§ ½±³°«¬¿¬·±²å ±®
               øº÷ ß- ¿ ®»-«´¬ ±º ¿ ¬¸®»¿¬ ¬±                       øî÷ ß °®±º·¬ ±® ´±-- ½±³°«¬¿¬·±²ò
                   ½±²¬¿³·²¿¬»ô °±´´«¬» ±® ®»²¼»®            ëò ßÜÜ×Ì×ÑÒßÔ ÛÈÝÔËÍ×ÑÒÍ ßÐÐÔ×ÝßÞÔÛ
                   -«¾-¬¿²¼¿®¼ §±«® °®±¼«½¬- ±®                 ÌÑ ÜÛÝÛÐÌ×ÑÒ ÚÎßËÜ
                   ¹±±¼-å ±®
                                                                ×²-«®·²¹ ß¹®»»³»²¬ ßòéò Ü»½»°¬·±² Ú®¿«¼
               ø¹÷ ß- ¿ ®»-«´¬ ±º ¿ ¬¸®»¿¬            ¬±
                                                                ¼±»- ²±¬ ½±ª»®æ
                   ¼·--»³·²¿¬»ô ¼·ª«´¹» ±® «¬·´·¦»æ
                                                                Ô±-- ±º þ³±²»§þô þ-»½«®·¬·»-þ ¿²¼ þ±¬¸»®
                   ø·÷ Ç±«® ½±²º·¼»²¬·¿´ ·²º±®³¿¬·±²å           °®±°»®¬§þ ©¸»² ¬¸» °»®-±² ½±³³·¬¬·²¹ ¬¸»
                       ±®                                       º®¿«¼«´»²¬ -½¸»³»ô ¬®·½µô ¼»ª·½» ±® º¿´-»
                   ø··÷ É»¿µ²»--»- ·² ¬¸» -±«®½»                °®»¬»²-» ·- ¿² þ»³°´±§»»þò
                        ½±¼» ©·¬¸·² §±«® ½±³°«¬»®          Úò ÝÎ×ÓÛ ÝÑÓÓÑÒ ÝÑÒÜ×Ì×ÑÒÍ
                        -§-¬»³ò
                                                             Ì¸» º±´´±©·²¹ Ý±²¼·¬·±²- ¿°°´§ ·² ¿¼¼·¬·±² ¬± ¬¸»
           øî÷ Þ«¬ô ¬¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§            Ý±³³±² Ð±´·½§ Ý±²¼·¬·±²-æ
               «²¼»® ×²-«®·²¹ ß¹®»»³»²¬ ßòìò
               Ñ«¬-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º               ïò Ý±²¼·¬·±²- ¿°°´·½¿¾´»       ¬±   ¿´´     ×²-«®·²¹
               Ó±²»§ ¿²¼ Í»½«®·¬·»- ¬± ´±-- ±º                  ß¹®»»³»²¬-
               þ³±²»§þô ±® þ-»½«®·¬·»-þ ©¸·´» ±«¬-·¼»           ¿ò ß¼¼·¬·±²¿´ Ð®»³·-»- Ñ® Û³°´±§»»-
               ¬¸» þ°®»³·-»-þ ·² ¬¸» ½¿®» ¿²¼                       ×ºô ©¸·´» ¬¸·- ·²-«®¿²½» ·- ·² º±®½»ô §±«
               ½«-¬±¼§ ±º ¿ þ³»--»²¹»®þ ·º §±«æ                     »-¬¿¾´·-¸ ¿²§ ¿¼¼·¬·±²¿´ þ°®»³·-»-þ ±® ¸·®»
               ø¿÷ Ø¿¼ ²± µ²±©´»¼¹» ±º ¿²§ ¬¸®»¿¬ ¿¬                ¿¼¼·¬·±²¿´ þ»³°´±§»»-þô ±¬¸»® ¬¸¿² ¬¸®±«¹¸
                   ¬¸» ¬·³» ¬¸» ½±²ª»§¿²½» ¾»¹¿²å                   ½±²-±´·¼¿¬·±² ±® ³»®¹»® ©·¬¸ô ±® °«®½¸¿-»
                   ±®                                               ±® ¿½¯«·-·¬·±² ±º ¿--»¬- ±® ´·¿¾·´·¬·»- ±ºô


Ð¿¹» ì Case
       ±º ïï 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                                 162 ÐÝ
                                                                                     of 579
                                                                                        ðð ëð ðï ïè
           ¿²±¬¸»® »²¬·¬§ô -«½¸ þ°®»³·-»-þ ¿²¼                        þ³±²»§þô þ-»½«®·¬·»-þ ±® þ±¬¸»® °®±°»®¬§þ
           þ»³°´±§»»-þ -¸¿´´ ¿«¬±³¿¬·½¿´´§ ¾»                         §±« ³«-¬æ
           ½±ª»®»¼ «²¼»® ¬¸·- ·²-«®¿²½»ò Ò±¬·½» ¬± «-                 øï÷ Ò±¬·º§ «- ¿- -±±² ¿- °±--·¾´»ò ×º §±«
           ±º ¿² ·²½®»¿-» ·² ¬¸» ²«³¾»® ±º                                ¸¿ª» ®»¿-±² ¬± ¾»´·»ª» ¬¸¿¬ ¿²§ ´±--
           þ°®»³·-»-þ ±® þ»³°´±§»»-þ ²»»¼ ²±¬ ¾»                          ø»¨½»°¬ º±® ´±-- ½±ª»®»¼ «²¼»®
           ¹·ª»² ¿²¼ ²± ¿¼¼·¬·±²¿´ °®»³·«³ ²»»¼ ¾»                        ×²-«®·²¹ ß¹®»»³»²¬- ßòïò Û³°´±§»»
           °¿·¼ º±® ¬¸» ®»³¿·²¼»® ±º ¬¸» Ð±´·½§ Ð»®·±¼                    Ì¸»º¬ ±® ßòîò Ú±®¹»®§ ±® ß´¬»®¿¬·±²÷
           -¸±©²         ·²    ¬¸»    Ð®±°»®¬§     Ý¸±·½»                 ·²ª±´ª»- ¿ ª·±´¿¬·±² ±º ¿ ´¿© §±« ³«-¬
           Ü»½´¿®¿¬·±²-ò                                                  ¿´-± ²±¬·º§ ¬¸» ´±½¿´ ´¿© »²º±®½»³»²¬
      ¾ò   Ý±²½»¿´³»²¬ô Ó·-®»°®»-»²¬¿¬·±² Ñ®                              ¿«¬¸±®·¬·»-ò
           Ú®¿«¼                                                      øî÷ Í«¾³·¬ ¬± »¨¿³·²¿¬·±² «²¼»® ±¿¬¸ ¿¬
           Ì¸·- ·²-«®¿²½» ·- ª±·¼ ·² ¿²§ ½¿-» ±º º®¿«¼                    ±«® ®»¯«»-¬ ¿²¼ ¹·ª» «- ¿ -·¹²»¼
           ¾§ §±« ¿- ·¬ ®»´¿¬»- ¬± ¬¸·- ·²-«®¿²½» ¿¬ ¿²§                  -¬¿¬»³»²¬ ±º §±«® ¿²-©»®-ò
           ¬·³»ò ×¬ ·- ¿´-± ª±·¼ ·º §±« ±® ¿²§ ±¬¸»®                  øí÷ Ð®±¼«½» º±® ±«® »¨¿³·²¿¬·±² ¿´´
           ×²-«®»¼ô ¿¬ ¿²§ ¬·³»ô ·²¬»²¬·±²¿´´§ ½±²½»¿´                    °»®¬·²»²¬ ®»½±®¼-ò
           ±® ³·-®»°®»-»²¬ ¿ ³¿¬»®·¿´ º¿½¬ ½±²½»®²·²¹æ
                                                                      øì÷ Ù·ª» «- ¿ ¼»¬¿·´»¼ô -©±®² °®±±º ±º ´±--
           øï÷ Ì¸·- ·²-«®¿²½»å                                            ©·¬¸·² ïîð ¼¿§- º®±³ ©¸»² ©» ®»¯«»-¬
           øî÷ Ì¸» °®±°»®¬§ ½±ª»®»¼ «²¼»® ¬¸·-                            ¬¸» ·²º±®³¿¬·±²ò
                ·²-«®¿²½»å                                            øë÷ Ý±±°»®¿¬» ©·¬¸ «- ·² ¬¸» ·²ª»-¬·¹¿¬·±²
           øí÷ Ç±«® ·²¬»®»-¬ ·² ¬¸» °®±°»®¬§ ½±ª»®»¼                      ¿²¼ -»¬¬´»³»²¬ ±º ¿²§ ½´¿·³ò
                «²¼»® ¬¸·- ·²-«®¿²½»å ±®                         ºò   Û³°´±§»» Þ»²»º·¬ Ð´¿²ø-÷
           øì÷ ß ½´¿·³ «²¼»® ¬¸·- ·²-«®¿²½»ò                          øï÷ Ì¸» þ»³°´±§»» ¾»²»º·¬ °´¿²ø-÷þ -¸±©²
      ½ò   Ý±²-±´·¼¿¬·±² ó Ó»®¹»® ±® ß½¯«·-·¬·±²                          ·² ¬¸» Ü»½´¿®¿¬·±²-ô Í½¸»¼«´»- ±®
           ×º ¬¸®±«¹¸ ½±²-±´·¼¿¬·±² ±® ³»®¹»® ©·¬¸ô ±®                    »²¼±®-»³»²¬- ¿®» ·²½´«¼»¼ ¿-
           °«®½¸¿-» ±® ¿½¯«·-·¬·±² ±º ¿--»¬- ±®                           ×²-«®»¼- «²¼»® ×²-«®·²¹ ¿¹®»»³»²¬
           ´·¿¾·´·¬·»- ±ºô -±³» ±¬¸»® »²¬·¬§ô ¿²§                         ßòïò Û³°´±§»» Ì¸»º¬ò
           ¿¼¼·¬·±²¿´        °»®-±²-     ©¸±      ¾»½±³»              øî÷ ×º ¿²§ þ»³°´±§»» ¾»²»º·¬ °´¿²ø-÷þ ·-
           þÛ³°´±§»»-þ ±® §±« ¿½¯«·®» ¬¸» «-» ¿²¼                         ·²-«®»¼ ¶±·²¬´§ ©·¬¸ ¿²§ ±¬¸»® »²¬·¬§
           ½±²¬®±´ ±º ¿²§ ¿¼¼·¬·±²¿´ °®»³·-»-æ                            «²¼»® ¬¸·- ·²-«®¿²½»ô §±« ±® ¬¸» Ð´¿²
           øï÷ Ç±« ³«-¬ ¹·ª» «- ©®·¬¬»² ²±¬·½» ¿²¼                        ß¼³·²·-¬®¿¬±® ³«-¬ -»´»½¬ ¿ Ô·³·¬ ±º
                ±¾¬¿·² ±«® ©®·¬¬»² ½±²-»²¬ ¬± »¨¬»²¼                      ×²-«®¿²½» º±® ×²-«®·²¹ ß¹®»»³»²¬ ßòïò
                ¬¸·- ·²-«®¿²½» ¬± -«½¸ ¿¼¼·¬·±²¿´                         Û³°´±§»» Ì¸»º¬ ¬¸¿¬ ·- -«ºº·½·»²¬ ¬±
                þ»³°´±§»»-þ ±® þ°®»³·-»-þò É» ³¿§                         °®±ª·¼» ¿ ´·³·¬ ±º ×²-«®¿²½» º±® »¿½¸
                ½±²¼·¬·±² ±«® ½±²-»²¬ «°±² °¿§³»²¬                        Ð´¿² ¬¸¿¬ ·- ¿¬ ´»¿-¬ »¯«¿´ ¬± ¬¸¿¬
                ±º ¿² ¿¼¼·¬·±²¿´ °®»³·«³å ¾«¬                             ®»¯«·®»¼ ·º »¿½¸ Ð´¿² ©»®» -»°¿®¿¬»´§
           øî÷ Ú±® ¬¸» º·®-¬ çð ¼¿§- ¿º¬»® ¬¸» »ºº»½¬·ª»                  ·²-«®»¼ò
                ¼¿¬» ±º -«½¸ ½±²-±´·¼¿¬·±²ô ³»®¹»® ±®                 øí÷ É·¬¸ ®»-°»½¬ ¬± ´±--»- -«-¬¿·²»¼ ±®
                °«®½¸¿-» ±® ¿½¯«·-·¬·±² ±º ¿--»¬- ±®                      þ¼·-½±ª»®»¼þ ¾§ ¿²§ -«½¸ Ð´¿²ô
                ´·¿¾·´·¬·»-ô ¬¸» ½±ª»®¿¹» °®±ª·¼»¼ ¾§                     ×²-«®·²¹ ß¹®»»³»²¬ ßòïò Û³°´±§»»
                ¬¸·- ·²-«®¿²½» -¸¿´´ ¿°°´§ ¬± -«½¸                        Ì¸»º¬ ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
                ½±²-±´·¼¿¬»¼ ±® ³»®¹»¼ »²¬·¬§ ±® -«½¸                     É» ©·´´ °¿§ º±® ´±-- ±º ±® ¼¿³¿¹» ¬±
                °«®½¸¿-»¼ ±® ¿½¯«·®»¼ ¿--»¬- ±®                           þº«²¼-þ ¿²¼ þ±¬¸»® °®±°»®¬§þ ®»-«´¬·²¹
                ´·¿¾·´·¬·»-ô     °®±ª·¼»¼     ¬¸¿¬     ¿´´                ¼·®»½¬´§ º®±³ º®¿«¼«´»²¬ ±® ¼·-¸±²»-¬
                þ±½½«®®»²½»-þ ½¿«-·²¹ ±® ½±²¬®·¾«¬·²¹                     ¿½¬- ½±³³·¬¬»¼ ¾§ ¿² þ»³°´±§»»þô
                ¬± ¿ ´±-- ·²ª±´ª·²¹ -«½¸ ½±²-±´·¼¿¬·±²ô                   ©¸»¬¸»® ·¼»²¬·º·»¼ ±® ²±¬ô ¿½¬·²¹ ¿´±²»
                ³»®¹»® ±® °«®½¸¿-» ±® ¿½¯«·-·¬·±² ±º                      ±® ·² ½±´´«-·±² ©·¬¸ ±¬¸»® °»®-±²-ò
                ¿--»¬- ±® ´·¿¾·´·¬·»-ô ³«-¬ ¬¿µ» °´¿½»
                                                                      øì÷ ×º ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ·- ¿² »²¬·¬§
                ¿º¬»® ¬¸» »ºº»½¬·ª» ¼¿¬» ±º -«½¸
                ½±²-±´·¼¿¬·±²ô ³»®¹»® ±® °«®½¸¿-» ±®                      ±¬¸»® ¬¸¿² ¿ Ð´¿²ô ¿²§ °¿§³»²¬ ©»
                                                                          ³¿µ» ¬± ¬¸¿¬ ×²-«®»¼ º±® ´±--
                ¿½¯«·-·¬·±² ±º ¿--»¬- ±® ´·¿¾·´·¬·»-ò
                                                                          -«-¬¿·²»¼ ¾§ ¿²§ Ð´¿² ©·´´ ¾» ¸»´¼ ¾§
      ¼ò   Ý±±°»®¿¬·±²                                                    ¬¸¿¬ ×²-«®»¼ º±® ¬¸» «-» ¿²¼ ¾»²»º·¬ ±º
           Ç±« ³«-¬ ½±±°»®¿¬» ©·¬¸ «- ·² ¿´´ ³¿¬¬»®-                      ¬¸» Ð´¿²ø-÷ -«-¬¿·²·²¹ ¬¸» ´±--ò
           °»®¬¿·²·²¹ ¬± ¬¸·- ·²-«®¿²½» ¿- -¬¿¬»¼ ·² ·¬-              øë÷ ×º ¬©± ±® ³±®» Ð´¿²- ¿®» ·²-«®»¼
           ¬»®³- ¿²¼ ½±²¼·¬·±²-ò                                          «²¼»® ¬¸·- ·²-«®¿²½»ô ¿²§ °¿§³»²¬ ©»
      »ò   Ü«¬·»- ·² ¬¸» Ûª»²¬ ±º Ô±--                                    ³¿µ» º±® ´±--æ
           ßº¬»® §±« ¼·-½±ª»® ¿ ´±-- ±® ¿ -·¬«¿¬·±² ¬¸¿¬                  ø¿÷ Í«-¬¿·²»¼ ¾§ ¬©± ±® ³±®» Ð´¿²-å
           ³¿§ ®»-«´¬ ·² ´±-- ±º ±® ¼¿³¿¹» ¬±                                  ±®

      Case
Ú±®³ ÐÝ ðð ëð3:24-cv-00490-FDW-SCR
              ðï ïè                               Document 1-4 Filed 05/21/24 Page 163 ofÐ¿¹»
                                                                                          579 ë ±º ïï
              ø¾÷ ±º ½±³³·²¹´»¼ þº«²¼-þ ±® þ±¬¸»®                             ¬¸» »ºº»½¬·ª» ¼¿¬» ±º ¿²§ ±¬¸»®
                   °®±°»®¬§þ ±º ¬©± ±® ³±®» Ð´¿²-å                            ·²-«®¿²½» ±¾¬¿·²»¼ ¾§ ¬¸¿¬ ×²-«®»¼ô
              ¬¸¿¬ ¿®·-»- ±«¬ ±º ±²» þ±½½«®®»²½»þô ·-                         ©¸»¬¸»® º®±³ «- ±® ¿²±¬¸»®
              ¬± ¾» -¸¿®»¼ ¾§ »¿½¸ Ð´¿² -«-¬¿·²·²¹                            ·²-«®»®ô ®»°´¿½·²¹ ·² ©¸±´» ±® ·²
              ´±-- ·² ¬¸» °®±°±®¬·±² ¬¸¿¬ ¬¸» Ô·³·¬ ±º                        °¿®¬ ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼ «²¼»®
              ×²-«®¿²½» ®»¯«·®»¼ º±® »¿½¸ Ð´¿²                                ¬¸·- ·²-«®¿²½»ô ©¸»¬¸»® ±® ²±¬ -«½¸
              ¾»¿®- ¬± ¬¸» ¬±¬¿´ Ô·³·¬- ±º ×²-«®¿²½»                          ±¬¸»® ·²-«®¿²½» °®±ª·¼»- ½±ª»®¿¹»
              ±º ¿´´ °´¿²- -«-¬¿·²·²¹ ´±--ò                                   º±® ´±-- -«-¬¿·²»¼ °®·±® ¬± ·¬-
                                                                              »ºº»½¬·ª» ¼¿¬»ò
         øê÷ Ì¸» Ü»¼«½¬·¾´» ß³±«²¬ ¿°°´·½¿¾´» ¬±
              ×²-«®·²¹ ¿¹®»»³»²¬ ßòïò Û³°´±§»»                           ø¾÷ Ò± ´¿¬»® ¬¸¿² ï §»¿® º®±³ ¬¸» ¼¿¬»
              Ì¸»º¬ ¼±»- ²±¬ ¿°°´§ ¬± ´±-- -«-¬¿·²»¼                          ±º ¬¸¿¬ ½¿²½»´´¿¬·±² ©·¬¸ ®»¹¿®¼ ¬±
              ¾§ ¿²§ þ»³°´±§»» ¾»²»º·¬ °´¿²ø-÷þò                              ¿²§ þ»³°´±§»» ¾»²»º·¬ °´¿²-þò
      ¹ò Û¨¬»²¼»¼ Ð»®·±¼ Ì± Ü·-½±ª»® Ô±--                           øë÷ É» ©·´´ ²±¬ °¿§ ³±®» º±® ´±--
                                                                         -«-¬¿·²»¼ ¾§ ³±®» ¬¸¿² ±²» ×²-«®»¼
         É» ©·´´ °¿§ º±® ´±-- ¬¸¿¬ §±« -«-¬¿·²»¼ °®·±®                   ¬¸¿² ¬¸» ¿³±«²¬ ©» ©±«´¼ °¿§ ·º ¿´´
         ¬± ¬¸» »ºº»½¬·ª» ¼¿¬» ±º ½¿²½»´´¿¬·±² ±º ¬¸·-                   ¬¸» ´±-- ¸¿¼ ¾»»² -«-¬¿·²»¼ ¾§ ±²»
         ·²-«®¿²½»ô ©¸·½¸ ·- þ¼·-½±ª»®»¼þ ¾§ §±«æ                        ×²-«®»¼ò
         øï÷ Ò± ´¿¬»® ¬¸¿² êð ¼¿§- º®±³ ¬¸» ¼¿¬» ±º            ·ò   Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-
              ¬¸¿¬     ½¿²½»´´¿¬·±²    ±®    »¨°·®¿¬·±²ò
              Ø±©»ª»®ô ¬¸·- »¨¬»²¼»¼ °»®·±¼ ¬±                      Ç±« ³¿§ ²±¬ ¾®·²¹ ¿²§ ´»¹¿´ ¿½¬·±² ¿¹¿·²-¬
              þ¼·-½±ª»®þ ´±-- ¬»®³·²¿¬»- ·³³»¼·¿¬»´§                «- ·²ª±´ª·²¹ ´±--æ
              «°±² ¬¸» »ºº»½¬·ª» ¼¿¬» ±º ¿²§ ±¬¸»®                  øï÷ Ë²´»-- §±« ¸¿ª» ½±³°´·»¼ ©·¬¸ ¿´´ ¬¸»
              ·²-«®¿²½» ±¾¬¿·²»¼ ¾§ §±«ô ©¸»¬¸»®                         ¬»®³- ±º ¬¸·- ·²-«®¿²½»å
              º®±³ «- ±® ¿²±¬¸»® ·²-«®»®ô ®»°´¿½·²¹ ·²              øî÷ Ë²¬·´ çð ¼¿§- ¿º¬»® §±« ¸¿ª» º·´»¼ °®±±º
              ©¸±´» ±® ·² °¿®¬ ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼                     ±º ´±-- ©·¬¸ «-å ¿²¼
              «²¼»® ¬¸·- ·²-«®¿²½»ô ©¸»¬¸»® ±® ²±¬
                                                                    øí÷ Ë²´»-- ¾®±«¹¸¬ ©·¬¸·² î §»¿®- º®±³
              -«½¸      ±¬¸»®    ·²-«®¿²½»     °®±ª·¼»-
                                                                         ¬¸» ¼¿¬» §±« þ¼·-½±ª»®»¼þ ¬¸» ´±--ò
              ½±ª»®¿¹» º±® ´±-- -«-¬¿·²»¼ °®·±® ¬± ·¬-
              »ºº»½¬·ª» ¼¿¬»ò                                       ×º ¿²§ ´·³·¬¿¬·±² ·² ¬¸·- Ý±²¼·¬·±² ·-
                                                                    °®±¸·¾·¬»¼ ¾§ ´¿©ô -«½¸ ´·³·¬¿¬·±² ·-
         øî÷ Ò± ´¿¬»® ¬¸¿² ï §»¿® º®±³ ¬¸» ¼¿¬» ±º                  ¿³»²¼»¼ -± ¿- ¬± »¯«¿´ ¬¸» ³·²·³«³
              ¬¸¿¬ ½¿²½»´´¿¬·±² ©·¬¸ ®»¹¿®¼ ¬± ¿²§                  °»®·±¼ ±º ´·³·¬¿¬·±² °®±ª·¼»¼ ¾§ -«½¸ ´¿©ò
              þ»³°´±§»» ¾»²»º·¬ °´¿²-þò
                                                               ¶ò   Ñ¬¸»® ×²-«®¿²½»
      ¸ò Ö±·²¬ ×²-«®»¼
                                                                    ×º ±¬¸»® ª¿´·¼ ¿²¼ ½±´´»½¬·¾´» ·²-«®¿²½» ·-
         øï÷ ×º ³±®» ¬¸¿² ±²» ×²-«®»¼ ·- ²¿³»¼ ·²                   ¿ª¿·´¿¾´» ¬± §±« º±® ´±-- ½±ª»®»¼ «²¼»®
              ¬¸» Ü»½´¿®¿¬·±²-ô ¬¸» º·®-¬ Ò¿³»¼                     ¬¸·- ·²-«®¿²½»ô ±«® ±¾´·¹¿¬·±²- ¿®» ´·³·¬»¼
              ×²-«®»¼ ©·´´ ¿½¬ º±® ·¬-»´º ¿²¼ º±® »ª»®§             ¿- º±´´±©-æ
              ±¬¸»® ×²-«®»¼ º±® ¿´´ °«®°±-»- ±º ¬¸·-
              ·²-«®¿²½»ò ×º ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼                 øï÷ Ð®·³¿®§ ×²-«®¿²½»
              ½»¿-»- ¬± ¾» ½±ª»®»¼ô ¬¸»² ¬¸» ²»¨¬                        É¸»² ¬¸·- ·²-«®¿²½» ·- ©®·¬¬»² ¿-
              Ò¿³»¼ ×²-«®»¼ ©·´´ ¾»½±³» ¬¸» º·®-¬                        °®·³¿®§ ·²-«®¿²½»ô ¿²¼æ
              Ò¿³»¼ ×²-«®»¼ò                                             ø¿÷ Ç±« ¸¿ª» ±¬¸»® ·²-«®¿²½» -«¾¶»½¬
         øî÷ ×º ¿²§ ×²-«®»¼ ±® °¿®¬²»®ô þ³»³¾»®þ ±®                           ¬± ¬¸» -¿³» ¬»®³- ¿²¼ ½±²¼·¬·±²-
              ±ºº·½»® ±º ¬¸¿¬ ×²-«®»¼ ¸¿- µ²±©´»¼¹»                           ¿- ¬¸·- ·²-«®¿²½»ô ©» ©·´´ °¿§ ±«®
              ±º ¿²§ ·²º±®³¿¬·±² ®»´»ª¿²¬ ¬± ¬¸·-                             -¸¿®» ±º ¬¸» ½±ª»®»¼ ´±--ò Ñ«®
              ·²-«®¿²½»ô      ¬¸¿¬    µ²±©´»¼¹»       ·-                      -¸¿®» ·- ¬¸» °®±°±®¬·±² ¬¸¿¬ ¬¸»
              ½±²-·¼»®»¼ µ²±©´»¼¹» ±º »ª»®§                                   ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»
              ×²-«®»¼ò                                                        -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô
         øí÷ ß² þÛ³°´±§»»þ ±º ¿²§ ×²-«®»¼ ·-                                  Í½¸»¼«´»-       ±®    Û²¼±®-»³»²¬-
              ½±²-·¼»®»¼ ¬± ¾» ¿² þÛ³°´±§»»þ ±º                               ¾»¿®- ¬± ¬¸» ¬±¬¿´ ´·³·¬ ±º ¿´´
              »ª»®§ ×²-«®»¼ò                                                  ·²-«®¿²½» ½±ª»®·²¹ ¬¸» -¿³» ´±--ò
         øì÷ ×º ¬¸·- ·²-«®¿²½» ±® ¿²§ ±º ·¬-                             ø¾÷ Ç±«      ¸¿ª»      ±¬¸»®    ·²-«®¿²½»
              ½±ª»®¿¹»- ·- ½¿²½»´´»¼ ¿- ¬± ¿²§                                ½±ª»®·²¹ ¬¸» -¿³» ´±-- ±¬¸»® ¬¸¿²
              ×²-«®»¼ô ´±-- -«-¬¿·²»¼ ¾§ ¬¸¿¬                                 ¬¸¿¬ ¼»-½®·¾»¼ ·² Ð¿®¿¹®¿°¸
              ×²-«®»¼ ·- ½±ª»®»¼ ±²´§ ·º ·¬ ·-                                øï÷ø¿÷ô ©» ©·´´ ±²´§ °¿§ º±® ¬¸»
              þ¼·-½±ª»®»¼þ ¾§ §±«æ                                            ¿³±«²¬ ±º ´±-- ¬¸¿¬ »¨½»»¼-æ
              ø¿÷ Ò± ´¿¬»® ¬¸¿² êð ¼¿§- º®±³ ¬¸»                              ø·÷ Ì¸» Ô·³·¬ ±º ×²-«®¿²½» ¿²¼
                   ¼¿¬» ±º ¬¸¿¬ ½¿²½»´´¿¬·±²ò Ø±©»ª»®ô                             Ü»¼«½¬·¾´» ß³±«²¬ ±º ¬¸¿¬
                   ¬¸·- »¨¬»²¼»¼ °»®·±¼ ¬± þ¼·-½±ª»®þ                              ±¬¸»® ·²-«®¿²½»ô ©¸»¬¸»® §±«
                   ´±-- ¬»®³·²¿¬»- ·³³»¼·¿¬»´§ «°±²                                ½¿² ½±´´»½¬ ±² ·¬ ±® ²±¬å ±®

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       ±º ïï 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 PageÚ±®³
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                   ø··÷ Ì¸» Ü»¼«½¬·¾´» ß³±«²¬ -¸±©²                       ¿²¼ Ü»¼«½¬·¾´» ß³±«²¬ ±º ¬¸¿¬
                        ·² ¬¸» Ü»½´¿®¿¬·±²-ô Í½¸»¼«´»-                    °®·±® ·²-«®¿²½»ò ×² ¬¸¿¬ ½¿-»ô ©»
                        ±® Û²¼±®-»³»²¬-å                                  ©·´´ °¿§ º±® ¬¸» »¨½»-- ´±--
                   ©¸·½¸»ª»®    ·-    ¹®»¿¬»®ò   Ñ«®                      -«¾¶»½¬ ¬± ¬¸» ¬»®³- ¿²¼
                   °¿§³»²¬ º±® ´±-- ·- -«¾¶»½¬ ¬± ¬¸»                     ½±²¼·¬·±²- ±º ¬¸·- °±´·½§ò
                   ¬»®³- ¿²¼ ½±²¼·¬·±²- ±º ¬¸·-                       ø¾÷ Ø±©»ª»®ô ¿²§ °¿§³»²¬ ©» ³¿µ»
                   ·²-«®¿²½»ò                                             º±® ¬¸» »¨½»-- ´±-- ©·´´ ²±¬ ¾»
           øî÷ Û¨½»-- ×²-«®¿²½»                                           ¹®»¿¬»® ¬¸¿² ¬¸» ¼·ºº»®»²½»
                                                                          ¾»¬©»»² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»
               ø¿÷ É¸»² ¬¸·- ·²-«®¿²½» ·- ©®·¬¬»²                         ¿²¼ Ü»¼«½¬·¾´» ß³±«²¬ ±º ¬¸¿¬
                   »¨½»-- ±ª»® ±¬¸»® ·²-«®¿²½»ô ©»                        °®·±® ·²-«®¿²½» ¿²¼ ¬¸» Ô·³·¬ ±º
                   ©·´´ ±²´§ °¿§ º±® ¬¸» ¿³±«²¬ ±º                        ×²-«®¿²½»     -¸±©²    ·²     ¬¸»
                   ´±-- ¬¸¿¬ »¨½»»¼- ¬¸» Ô·³·¬ ±º                         Ü»½´¿®¿¬·±²-ô    Í½¸»¼«´»-     ±®
                   ×²-«®¿²½» ¿²¼ Ü»¼«½¬·¾´» ß³±«²¬                        Û²¼±®-»³»²¬-ò
                   ±º ¬¸¿¬ ±¬¸»® ·²-«®¿²½»ô ©¸»¬¸»®
                   §±« ½¿² ½±´´»½¬ ±² ·¬ ±® ²±¬ò Ñ«®                      É» ©·´´ ²±¬ ¿°°´§ ¬¸» Ü»¼«½¬·¾´»
                   °¿§³»²¬ º±® ´±-- ·- -«¾¶»½¬ ¬± ¬¸»                     ß³±«²¬ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô
                   ¬»®³- ¿²¼ ½±²¼·¬·±²- ±º ¬¸·-                           Í½¸»¼«´»- ±® Û²¼±®-»³»²¬- ¬± ¬¸·-
                   ·²-«®¿²½»ò                                             »¨½»-- ´±--ò
               ø¾÷ Ø±©»ª»®ô ·º ´±-- ½±ª»®»¼ «²¼»®                 øî÷ Ì¸» Ñ¬¸»® ×²-«®¿²½» Ý±²¼·¬·±² Úòïò ¶ò
                   ¬¸·- ·²-«®¿²½» ·- -«¾¶»½¬ ¬± ¿                     ¼±»- ²±¬ ¿°°´§ ¬± ¬¸·- Ý±²¼·¬·±²ò
                   Ü»¼«½¬·¾´»ô ©» ©·´´ ®»¼«½» ¬¸»              ³ò Î»½±®¼-
                   Ü»¼«½¬·¾´» ß³±«²¬ -¸±©² ·² ¬¸»                 Ç±« ³«-¬ µ»»° ®»½±®¼- ±º ¿´´ Ý±ª»®»¼
                   Ü»½´¿®¿¬·±²-ô     Í½¸»¼«´»-    ±®              Ð®±°»®¬§ -± ©» ½¿² ª»®·º§ ¬¸» ¿³±«²¬ ±º
                   Û²¼±®-»³»²¬-ô ¾§ ¬¸» -«³ ¬±¬¿´ ±º              ¿²§ ´±--ò
                   ¿´´ -«½¸ ±¬¸»® ·²-«®¿²½» °´«- ¿²§
                   Ü»¼«½¬·¾´» ß³±«²¬ ¿°°´·½¿¾´» ¬±             ²ò Î»½±ª»®·»-
                   ¬¸¿¬ ±¬¸»® ·²-«®¿²½»ò                          øï÷ ß²§ ®»½±ª»®·»-ô ©¸»¬¸»® »ºº»½¬»¼
      µò Ñ©²»®-¸·°        ±º   Ð®±°»®¬§å      ×²¬»®»-¬-               ¾»º±®» ±® ¿º¬»® ¿²§ °¿§³»²¬ «²¼»® ¬¸·-
         Ý±ª»®»¼                                                      ·²-«®¿²½»ô ©¸»¬¸»® ³¿¼» ¾§ «- ±®
                                                                      §±«ô -¸¿´´ ¾» ¿°°´·»¼ ²»¬ ±º ¬¸»
           Ì¸» °®±°»®¬§ ½±ª»®»¼ «²¼»® ¬¸·- ·²-«®¿²½»                  »¨°»²-» ±º -«½¸ ®»½±ª»®§æ
           ·- ´·³·¬»¼ ¬± °®±°»®¬§æ
                                                                      ø¿÷ Ú·®-¬ô ¬± §±« ·² -¿¬·-º¿½¬·±² ±º §±«®
           øï÷ Ì¸¿¬ §±« ±©² ±® ´»¿-»å                                     ½±ª»®»¼ ´±-- ·² »¨½»-- ±º ¬¸»
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           øí÷ Ú±® ©¸·½¸ §±« ¿®» ´»¹¿´´§ ´·¿¾´»ô                      ø¾÷ Í»½±²¼ô ¬± «- ·² -¿¬·-º¿½¬·±² ±º
               »¨½»°¬ º±® °®±°»®¬§ ·²-·¼» ¿ °®»³·-»-                      ¿³±«²¬- °¿·¼ ·² -»¬¬´»³»²¬ ±º
               ±º ¿ þ½´·»²¬þ ±º §±«®-ò                                    §±«® ½´¿·³å
           Ø±©»ª»®ô ¬¸·- ·²-«®¿²½» ·- º±® §±«® ¾»²»º·¬                ø½÷ Ì¸·®¼ô ¬± §±« ·² -¿¬·-º¿½¬·±² ±º ¿²§
           ±²´§ò ×¬ °®±ª·¼»- ²± ®·¹¸¬- ±® ¾»²»º·¬- ¬±                     Ü»¼«½¬·¾´» ß³±«²¬å ¿²¼
           ¿²§ ±¬¸»® °»®-±² ±® ±®¹¿²·¦¿¬·±²ò ß²§                      ø¼÷ Ú±«®¬¸ô ¬± §±« ·² -¿¬·-º¿½¬·±² ±º
           ½´¿·³ º±® ´±-- ¬¸¿¬ ·- ½±ª»®»¼ «²¼»® ¬¸·-                      ¿²§ ´±-- ²±¬ ½±ª»®»¼ «²¼»® ¬¸·-
           ·²-«®¿²½» ³«-¬ ¾» °®»-»²¬»¼ ¾§ §±«ò                            ·²-«®¿²½»ò
      ´ò   Ð±´·½§ Þ®·¼¹» ó Ü·-½±ª»®§ Î»°´¿½·²¹                    øî÷ Î»½±ª»®·»-    ¼±    ²±¬   ·²½´«¼»    ¿²§
           Ô±-- Í«-¬¿·²»¼                                             ®»½±ª»®§æ
           øï÷ ×º ¬¸·- ·²-«®¿²½» ®»°´¿½»- ·²-«®¿²½»                   ø¿÷ Ú®±³      ·²-«®¿²½»ô      -«®»¬§-¸·°ô
               ¬¸¿¬ °®±ª·¼»¼ §±« ©·¬¸ ¿² »¨¬»²¼»¼                         ®»·²-«®¿²½»ô -»½«®·¬§ ±® ·²¼»³²·¬§
               °»®·±¼ ±º ¬·³» ¿º¬»® ½¿²½»´´¿¬·±² ·²                       ¬¿µ»² º±® ±«® ¾»²»º·¬å ±®
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               ²±¬ ¬»®³·²¿¬» ¿¬ ¬¸» ¬·³» ¬¸·-                         ø¾÷ Ñº ±®·¹·²¿´ þ-»½«®·¬·»-þ ¿º¬»®
               ·²-«®¿²½» ¾»½¿³» »ºº»½¬·ª»æ                                ¼«°´·½¿¬»- ±º ¬¸»³ ¸¿ª» ¾»»²
                                                                          ·--«»¼ò
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                   þ¼·-½±ª»®»¼þ ¾§ §±« ¼«®·²¹ ¬¸»                 »ª»²¬- ±½½«®®·²¹ ©·¬¸·² ¬¸» Ë²·¬»¼ Í¬¿¬»-
                   »¨¬»²¼»¼ °»®·±¼ ¬± þ¼·-½±ª»®þ                  ±º ß³»®·½¿ ø·²½´«¼·²¹ ·¬- ¬»®®·¬±®·»- ¿²¼
                   ´±--ô «²´»-- ¬¸» ¿³±«²¬ ±º ´±--                °±--»--·±²-÷ô Ð«»®¬± Î·½± ¿²¼ Ý¿²¿¼¿ò
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      °ò Ì®¿²-º»® ±º Ç±«® Î·¹¸¬- ±º Î»½±ª»®§                             ³±®» ¬¸¿² ¬¸» ´»¿-¬ ±º ¬¸»
         ß¹¿·²-¬ Ñ¬¸»®- ¬± Ë-                                            º±´´±©·²¹æ
         Ç±« ³«-¬ ¬®¿²-º»® ¬± «- ¿´´ §±«® ®·¹¸¬- ±º                      ø·÷ Ì¸» Ô·³·¬ ±º ×²-«®¿²½»
         ®»½±ª»®§      ¿¹¿·²-¬    ¿²§     °»®-±²     ±®                        ¿°°´·½¿¾´» ¬± ¬¸» ´±-¬ ±®
         ±®¹¿²·¦¿¬·±² º±® ¿²§ ´±-- §±« -«-¬¿·²»¼                               ¼¿³¿¹»¼ °®±°»®¬§å
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         ³«-¬ ¿´-± ¼± »ª»®§¬¸·²¹ ²»½»--¿®§ ¬±                                  ¼¿³¿¹»¼ °®±°»®¬§ ©·¬¸ ±¬¸»®
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         ´±-- ¬± ·³°¿·® ¬¸»³ò                                                  ³¿¬»®·¿´ ¿²¼ ¯«¿´·¬§ ¿²¼ «-»¼
      ¯ò Ê¿´«¿¬·±² ó Í»¬¬´»³»²¬                                                º±® ¬¸» -¿³» °«®°±-»å ±®
         øï÷ Í«¾¶»½¬ ¬± Í»½¬·±² Þò Ô·³·¬ ±º                              ø···÷ Ì¸» ¿³±«²¬ §±« ¿½¬«¿´´§
             ×²-«®¿²½»ô ©» ©·´´ °¿§ º±®æ                                       -°»²¬ ¬¸¿¬ ·- ²»½»--¿®§ ¬±
             ø¿÷ Ô±-- ±º þÓ±²»§þ ¾«¬ ±²´§ «° ¬±                                ®»°¿·® ±® ®»°´¿½» ¬¸» ´±-¬ ±®
                  ¿²¼ ·²½´«¼·²¹ ·¬- º¿½» ª¿´«»ò É»                             ¼¿³¿¹»¼ °®±°»®¬§ò
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                  þÓ±²»§þ ·--«»¼ ¾§ ¿²§ ½±«²¬®§                          ½±-¬ ¾¿-·- º±® ¿²§ ´±--æ
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                       ¼»¬»®³·²»¼ ¾§ ¬¸» ®¿¬» ±º                               ¿º¬»® ¬¸» ´±-- ±® ¼¿³¿¹»ò
                       »¨½¸¿²¹» °«¾´·-¸»¼ ·² Ì¸»                         ×º ¬¸» ´±-¬ ±® ¼¿³¿¹»¼ °®±°»®¬§ ·-
                       É¿´´ Í¬®»»¬ Ö±«®²¿´ ±² ¬¸»                        ²±¬ ®»°¿·®»¼ ±® ®»°´¿½»¼ô ©» ©·´´
                       ¼¿§ ¬¸» ´±-- ©¿- ¼·-½±ª»®»¼ò                      °¿§ ±² ¿² ¿½¬«¿´ ½¿-¸ ª¿´«»
             ø¾÷ Ô±-- ±º þÍ»½«®·¬·»-þ ¾«¬ ±²´§ «° ¬±                     ¾¿-·-ò
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                  ½´±-» ±º ¾«-·²»-- ±² ¬¸» ¼¿§ ¬¸»                   ±® ´±-- º®±³ ¼¿³¿¹» ¬±ô °®±°»®¬§
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                  ±«® ±°¬·±²æ                                        ø¿÷ ×² ¬¸» þÓ±²»§þ ±º ¬¸» ½±«²¬®§ ·²
                  ø·÷ Ð¿§ ¬¸» ª¿´«» ±º -«½¸                              ©¸·½¸ ¬¸» ´±-- ±½½«®®»¼å ±®
                       þÍ»½«®·¬·»-þ ±® ®»°´¿½» ¬¸»³ ·²               ø¾÷ ×² ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿
                       µ·²¼ô ·² ©¸·½¸ »ª»²¬ §±« ³«-¬                     ¼±´´¿® »¯«·ª¿´»²¬ ±º ¬¸» þÓ±²»§þ ±º
                       ¿--·¹² ¬± «- ¿´´ §±«® ®·¹¸¬-ô                     ¬¸» ½±«²¬®§ ·² ©¸·½¸ ¬¸» ´±--
                       ¬·¬´» ¿²¼ ·²¬»®»-¬ ·² ¿²¼ ¬±                      ±½½«®®»¼ ¼»¬»®³·²»¼ ¾§ ¬¸» ®¿¬»
                       ¬¸±-» þÍ»½«®·¬·»-þå ±®                            ±º »¨½¸¿²¹» °«¾´·-¸»¼ ·² ¬¸» É¿´´
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                       ½±²²»½¬·±²      ©·¬¸     ·--«·²¹          øí÷ ß²§ °®±°»®¬§ ¬¸¿¬ ©» °¿§ º±® ±®
                       ¼«°´·½¿¬»- ±º ¬¸» þÍ»½«®·¬·»-þò               ®»°´¿½» ¾»½±³»- ±«® °®±°»®¬§ò
                       Ø±©»ª»®ô ©» ©·´´ ¾» ´·¿¾´»
                       ±²´§ º±® ¬¸» °¿§³»²¬ ±º -±          îò Ý±²¼·¬·±²-      ß°°´·½¿¾´»        ¬±    ×²-«®·²¹
                       ³«½¸ ±º ¬¸» ½±-¬ ±º ¬¸» ¾±²¼           ß¹®»»³»²¬ ßòïò Û³°´±§»» Ì¸»º¬
                       ¿- ©±«´¼ ¾» ½¸¿®¹»¼ º±® ¿              ¿ò Ì»®³·²¿¬·±² ß- Ì± ß²§ Û³°´±§»»
                       ¾±²¼ ¸¿ª·²¹ ¿ °»²¿´¬§ ²±¬                 Ì¸·- ×²-«®·²¹ ß¹®»»³»²¬ ¬»®³·²¿¬»- ¿- ¬±
                       »¨½»»¼·²¹ ¬¸» ´»--»® ±º ¬¸»æ              ¿²§ þ»³°´±§»»þæ
                       ·ò Ê¿´«» ±º ¬¸» þÍ»½«®·¬·»-þ              øï÷ ß- -±±² ¿-æ
                            ¿¬ ¬¸» ½´±-» ±º ¾«-·²»--
                                                                     ø¿÷ Ç±«å ±®
                            ±² ¬¸» ¼¿§ ¬¸» ´±-- ©¿-
                            ¼·-½±ª»®»¼å ±®                           ø¾÷ ß²§ ±º §±«® °¿®¬²»®-ô þ³»³¾»®-þô
                                                                         þ³¿²¿¹»®-þô ±ºº·½»®-ô ¼·®»½¬±®-ô ±®
                       ··ò Ô·³·¬ ±º ×²-«®¿²½»ò
                                                                         ¬®«-¬»»- ²±¬ ·² ½±´´«-·±² ©·¬¸ ¬¸»
             ø½÷ Ô±-- ±º ±® ¼¿³¿¹» ¬± þ±¬¸»®                             þ»³°´±§»»þå
                  °®±°»®¬§þ º±® ¬¸» ®»°´¿½»³»²¬ ½±-¬                 ´»¿®² ±º þ¬¸»º¬þ ±® ¿²§ ±¬¸»® ¼·-¸±²»-¬
                  ±º ¬¸» °®±°»®¬§ ©·¬¸±«¬ ¼»¼«½¬·±²
                                                                     ¿½¬ ½±³³·¬¬»¼ ¾§ ¬¸» þ»³°´±§»»þ
                  º±® ¼»°®»½·¿¬·±² ¿- ±º ¬¸» ¬·³» ±º                 ©¸»¬¸»® ¾»º±®» ±® ¿º¬»® ¾»½±³·²¹
                  ´±--ò Ø±©»ª»®ô ©» ©·´´ ²±¬ °¿§
                                                                     »³°´±§»¼ ¾§ §±«ò

Ð¿¹» è Case
       ±º ïï 3:24-cv-00490-FDW-SCR             Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                                166 ÐÝ
                                                                                    of 579
                                                                                       ðð ëð ðï ïè
          øî÷ Ñ² ¬¸» ¼¿¬» -°»½·º·»¼ ·² ¿ ²±¬·½»               ëò Ý±²¼·¬·±²-    ß°°´·½¿¾´» Ì± ×²-«®·²¹
              ³¿·´»¼ ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ò                 ß¹®»»³»²¬ ßòëò Ý±³°«¬»® ¿²¼ Ú«²¼-
              Ì¸¿¬ ¼¿¬» ©·´´ ¾» ¿¬ ´»¿-¬ íð ¼¿§- ¿º¬»®           Ì®¿²-º»® Ú®¿«¼
              ¬¸» ¼¿¬» ±º ³¿·´·²¹ò                                ¿ò Í°»½·¿´ Ô·³·¬ Ñº            ×²-«®¿²½»      Ú±®
              É» ©·´´ ³¿·´ ±® ¼»´·ª»® ±«® ²±¬·½» ¬±                  Í°»½·º·»¼ Ð®±°»®¬§
              ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ù- ´¿-¬ ³¿·´·²¹
                                                                      É» ©·´´ ±²´§ °¿§ «° ¬± üëôððð º±® ¿²§ ±²»
              ¿¼¼®»-- µ²±©² ¬± «-ò ×º ²±¬·½» ·-
                                                                      þ±½½«®®»²½»þ ±º ´±-- ±º ±® ¼¿³¿¹» ¬±
              ³¿·´»¼ô °®±±º ±º ³¿·´·²¹ ©·´´ ¾»
                                                                      ³¿²«-½®·°¬-ô ¼®¿©·²¹-ô ±® ®»½±®¼- ±º ¿²§
              -«ºº·½·»²¬ °®±±º ±º ²±¬·½»ò
                                                                      µ·²¼ô ±® ¬¸» ½±-¬ ±º ®»½±²-¬®«½¬·²¹ ¬¸»³ ±®
      ¾ò Ì»®®·¬±®§                                                    ®»°®±¼«½·²¹ ¿²§ ·²º±®³¿¬·±² ½±²¬¿·²»¼ ·²
          É» ©·´´ °¿§ º±® ´±-- ½¿«-»¼ ¾§ ¿²§                          ¬¸»³ò
          þ»³°´±§»»þ ©¸·´» ¬»³°±®¿®·´§ ±«¬-·¼» ¬¸»                ¾ò Ì»®®·¬±®§
          ¬»®®·¬±®§ -°»½·º·»¼ ·² ¬¸» Ì»®®·¬±®§ Ý±²¼·¬·±²
                                                                      É» ©·´´ ½±ª»® ´±-- ¬¸¿¬ §±« -«-¬¿·²
          Ûòïò²ò º±® ¿ °»®·±¼ ±º ²±¬ ³±®» ¬¸¿² çð
                                                                      ®»-«´¬·²¹ ¼·®»½¬´§ º®±³ ¿² þ±½½«®®»²½»þ
          ¼¿§-ò
                                                                      ¬¿µ·²¹ °´¿½» ¿²§©¸»®» ·² ¬¸» ©±®´¼ò
   íò Ý±²¼·¬·±²-   ß°°´·½¿¾´»     ¬±     ×²-«®·²¹                     ÝÑÓÓÑÒ ÝÎ×ÓÛ ÝÑÒÜ×Ì×ÑÒ ó Ì»®®·¬±®§
      ß¹®»»³»²¬ ßòîò Ú±®¹»®§ ±® ß´¬»®¿¬·±²æ                           ó Úòïò±ò ¼±»- ²±¬ ¿°°´§ ¬± ×²-«®·²¹
      ¿ò Ü»¼«½¬·¾´» ß³±«²¬                                            ß¹®»»³»²¬ ßòëò
          Ì¸» Ü»¼«½¬·¾´» ¿³±«²¬ ¼±»- ²±¬ ¿°°´§ ¬±             êò Ý±²¼·¬·±²-   ß°°´·½¿¾´»    Ì±            ×²-«®·²¹
          ´»¹¿´ »¨°»²-»- °¿·¼ «²¼»® ×²-«®·²¹                     ß¹®»»³»²¬ ßòéò Ü»½»°¬·±² Ú®¿«¼
          ß¹®»»³»²¬ ßòîò Ú±®¹»®§ ±® ß´¬»®¿¬·±²ò                   Ì»®®·¬±®§
      ¾ò Û´»½¬®±²·½ ¿²¼ Ó»½¸¿²·½¿´ Í·¹²¿¬«®»-                     É» ©·´´ ½±ª»® ´±-- ¬¸¿¬ §±« -«-¬¿·² ®»-«´¬·²¹
          É» ©·´´ ¬®»¿¬ -·¹²¿¬«®»- ¬¸¿¬ ¿®» °®±¼«½»¼              ¼·®»½¬´§ º®±³ ¿² þ±½½«®®»²½»þ ¬¿µ·²¹ °´¿½»
          ±® ®»°®±¼«½»¼ »´»½¬®±²·½¿´´§ô ³»½¸¿²·½¿´´§              ¿²§©¸»®» ·² ¬¸» ©±®´¼ò ÝÑÓÓÑÒ ÝÎ×ÓÛ
          ±® ¾§ ±¬¸»® ³»¿²- ¬¸» -¿³» ¿-                           ÝÑÒÜ×Ì×ÑÒ ó Ì»®®·¬±®§ ó Úòïò±ò ¼±»- ²±¬ ¿°°´§
          ¸¿²¼©®·¬¬»² -·¹²¿¬«®»-ò                                 ¬± ×²-«®·²¹ ß¹®»»³»²¬ ßòéò
      ½ò Ð®±±º ±º Ô±--                                     Ùò Ü»º·²·¬·±²-
          Ç±« ³«-¬ ·²½´«¼» ©·¬¸ §±«® °®±±º ±º ´±--            ïò þÞ¿²µ·²¹ Ð®»³·-»-þ ³»¿²- ¬¸» ·²¬»®·±® ±º ¬¸¿¬
          ¿²§ ·²-¬®«³»²¬ ·²ª±´ª»¼ ·² ¬¸¿¬ ´±--ô ±®ô ·º           °±®¬·±² ±º ¿²§ ¾«·´¼·²¹ ±½½«°·»¼ ¾§ ¿ ¾¿²µ·²¹
          ¬¸¿¬ ·- ²±¬ °±--·¾´»ô ¿² ¿ºº·¼¿ª·¬ -»¬¬·²¹             ·²-¬·¬«¬·±² ±® -·³·´¿® -¿º» ¼»°±-·¬±®§ò
          º±®¬¸ ¬¸» ¿³±«²¬ ¿²¼ ½¿«-» ±º ´±--ò                 îò þÝ´·»²¬þ ³»¿²- ¿²§ »²¬·¬§ º±® ©¸±³ §±«
      ¼ò Ì»®®·¬±®§                                               °»®º±®³ -»®ª·½»- «²¼»® ¿ ©®·¬¬»² ¿¹®»»³»²¬ò
          É» ©·´´ ½±ª»® ´±-- §±« -«-¬¿·² ¿²§©¸»®»             íò þÝ±«²¬»®º»·¬ ³±²»§þ ³»¿²- ¿² ·³·¬¿¬·±² ±º
          ·² ¬¸» ©±®´¼ò Ì¸» Ì»®®·¬±®§ Ý±²¼·¬·±² Ûòïò²ò           þ³±²»§þ ¬¸¿¬ ·- ·²¬»²¼»¼ ¬± ¼»½»·ª» ¿²¼ ¬± ¾»
          ¼±»- ²±¬ ¿°°´§ ¬± ×²-«®·²¹ ß¹®»»³»²¬ ßòîò              ¬¿µ»² ¿- ¹»²«·²»ò
          Ú±®¹»®§ ±® ß´¬»®¿¬·±²ò                              ìò þÝ«-¬±¼·¿²þ ³»¿²- §±«ô ±® ¿²§ ±º §±«®
   ìò Ý±²¼·¬·±²    ß°°´·½¿¾´»     ¬± ×²-«®·²¹                    °¿®¬²»®- ±® þ³»³¾»®-þô ±® ¿²§ þ»³°´±§»»þ
      ß¹®»»³»²¬ ßòìò Ñ«¬-·¼» ¬¸» Ð®»³·-»- ó                      ©¸·´» ¸¿ª·²¹ ½¿®» ¿²¼ ½«-¬±¼§ ±º °®±°»®¬§
      Ì¸»º¬ ±º Ó±²»§ ¿²¼ Í»½«®·¬·»-                              ·²-·¼» ¬¸» þ°®»³·-»-þô »¨½´«¼·²¹ ¿²§ °»®-±²
                                                                 ©¸·´» ¿½¬·²¹ ¿- ¿ þ©¿¬½¸°»®-±²þ ±® ¶¿²·¬±®ò
      Í°»½·¿´ Ô·³·¬ Ñº ×²-«®¿²½» Ú±® Í°»½·º·»¼
      Ð®±°»®¬§                                                ëò þÜ·-½±ª»®þ ±® þ¼·-½±ª»®»¼þ ³»¿²- ¬¸» ¬·³»
                                                                 ©¸»² §±« º·®-¬ ¾»½±³» ¿©¿®» ±º º¿½¬- ©¸·½¸
      É» ©·´´ ±²´§ °¿§ «° ¬± üëôððð º±® ¿²§ ±²»                  ©±«´¼ ½¿«-» ¿ ®»¿-±²¿¾´» °»®-±² ¬± ¿--«³»
      þ±½½«®®»²½»þ ±º ´±-- ±º ±® ¼¿³¿¹» ¬±æ                      ¬¸¿¬ ¿ ´±-- ±º ¿ ¬§°» ½±ª»®»¼ ¾§ ¬¸·- ·²-«®¿²½»
      øï÷ Ð®»½·±«- ³»¬¿´-ô °®»½·±«- ±® -»³·°®»½·±«-              ¸¿- ¾»»² ±® ©·´´ ¾» ·²½«®®»¼ô ®»¹¿®¼´»-- ±º
          -¬±²»-ô °»¿®´-ô º«®-ô ±® ½±³°´»¬»¼ ±®                  ©¸»² ¬¸» ¿½¬ ±® ¿½¬- ½¿«-·²¹ ±® ½±²¬®·¾«¬·²¹ ¬±
          °¿®¬·¿´´§ ½±³°´»¬»¼ ¿®¬·½´»- ³¿¼» ±º ±®                -«½¸ ´±-- ±½½«®®»¼ô »ª»² ¬¸±«¹¸ ¬¸» »¨¿½¬
          ½±²¬¿·²·²¹ -«½¸ ³¿¬»®·¿´- ¬¸¿¬ ½±²-¬·¬«¬»              ¿³±«²¬ ±® ¼»¬¿·´- ±º ´±-- ³¿§ ²±¬ ¬¸»² ¾»
          ¬¸» °®·²½·°¿´ ª¿´«» ±º -«½¸ ¿®¬·½´»-å ±®               µ²±©²ò
      øî÷ Ó¿²«-½®·°¬-ô ¼®¿©·²¹-ô ±® ®»½±®¼- ±º ¿²§                þÜ·-½±ª»®þ ±® þ¼·-½±ª»®»¼þ ¿´-± ³»¿²- ¬¸»
          µ·²¼ô ±® ¬¸» ½±-¬ ±º ®»½±²-¬®«½¬·²¹ ¬¸»³ ±®             ¬·³» ©¸»² §±« º·®-¬ ®»½»·ª» ²±¬·½» ±º ¿² ¿½¬«¿´
          ®»°®±¼«½·²¹ ¿²§ ·²º±®³¿¬·±² ½±²¬¿·²»¼ ·²                ±® °±¬»²¬·¿´ ½´¿·³ ·² ©¸·½¸ ·¬ ·- ¿´´»¹»¼ ¬¸¿¬ §±«
          ¬¸»³ò                                                   ¿®» ´·¿¾´» ¬± ¿ ¬¸·®¼ °¿®¬§ «²¼»® ½·®½«³-¬¿²½»-
                                                                  ©¸·½¸ô ·º ¬®«»ô ©±«´¼ ½±²-¬·¬«¬» ¿ ´±-- «²¼»®
                                                                  ¬¸·- ·²-«®¿²½»ò


      Case
Ú±®³ ÐÝ ðð ëð3:24-cv-00490-FDW-SCR
              ðï ïè                             Document 1-4 Filed 05/21/24 Page 167 ofÐ¿¹»
                                                                                        579 ç ±º ïï
   êò þÛ³°´±§»»þæ                                                øé÷ ß²§ þ»³°´±§»»þ ±º ¿² »²¬·¬§ ³»®¹»¼ ±®
      ¿ò þÛ³°´±§»»þ ³»¿²-æ                                           ½±²-±´·¼¿¬»¼ ©·¬¸ §±« °®·±® ¬± ¬¸»
                                                                     »ºº»½¬·ª» ¼¿¬» ±º ¬¸·- ·²-«®¿²½»å ±®
          øï÷ ß²§ ²¿¬«®¿´ °»®-±²æ
                                                                 øè÷ ß²§ ±º §±«® þ³¿²¿¹»®-þô ¼·®»½¬±®- ±®
              ø¿÷ É¸·´» ·² §±«® -»®ª·½» ¿²¼ º±® ¬¸»                  ¬®«-¬»»- ©¸·´»æ
                  º·®-¬ íð ¼¿§- ·³³»¼·¿¬»´§ ¿º¬»®
                  ¬»®³·²¿¬·±² ±º -»®ª·½»ô «²´»--                     ø¿÷ Ð»®º±®³·²¹ ¿½¬- ©·¬¸·² ¬¸» -½±°»
                  -«½¸ ¬»®³·²¿¬·±² ·- ¼«» ¬± þ¬¸»º¬þ                     ±º ¬¸» «-«¿´ ¼«¬·»- ±º ¿²
                  ±® ¿²§ ±¬¸»® ¼·-¸±²»-¬ ¿½¬                             þ»³°´±§»»þå ±®
                  ½±³³·¬¬»¼ ¾§ ¬¸» þ»³°´±§»»þå                       ø¾÷ ß½¬·²¹ ¿- ¿ ³»³¾»® ±º ¿²§
              ø¾÷ É¸± §±« ½±³°»²-¿¬» ¼·®»½¬´§ ¾§                         ½±³³·¬¬»»       ¼«´§   »´»½¬»¼   ±®
                  -¿´¿®§ô ©¿¹»- ±® ½±³³·--·±²-å                          ¿°°±·²¬»¼ ¾§ ®»-±´«¬·±² ±º §±«®
                  ¿²¼                                                    ¾±¿®¼ ±º ¼·®»½¬±®- ±® ¾±¿®¼ ±º
                                                                         ¬®«-¬»»- ¬± °»®º±®³ -°»½·º·½ô ¿-
              ø½÷ É¸± §±« ¸¿ª» ¬¸» ®·¹¸¬ ¬± ¼·®»½¬                       ¼·-¬·²¹«·-¸»¼      º®±³     ¹»²»®¿´ô
                  ¿²¼ ½±²¬®±´ ©¸·´» °»®º±®³·²¹                           ¼·®»½¬±®·¿´ ¿½¬- ±² §±«® ¾»¸¿´ºò
                  -»®ª·½»- º±® §±«å
                                                             ¾ò þÛ³°´±§»»þ ¼±»- ²±¬ ³»¿² ¿²§ ¿¹»²¬ô
          øî÷ ß²§ ²¿¬«®¿´ °»®-±² ©¸± ·- º«®²·-¸»¼               ¾®±µ»®ô º¿½¬±®ô ½±³³·--·±² ³»®½¸¿²¬ô
              ¬»³°±®¿®·´§ ¬± §±«æ                               ½±²-·¹²»»ô ·²¼»°»²¼»²¬ ½±²¬®¿½¬±® ±®
              ø¿÷ Ì± -«¾-¬·¬«¬» º±® ¿ °»®³¿²»²¬                 ®»°®»-»²¬¿¬·ª» ±º ¬¸» -¿³» ¹»²»®¿´
                  þ»³°´±§»»þ    ¿-   ¼»º·²»¼   ·²               ½¸¿®¿½¬»® ²±¬ -°»½·º·»¼ ·² Ð¿®¿¹®¿°¸ ëò¿ò
                  Ð¿®¿¹®¿°¸ øï÷ ¿¾±ª»ô ©¸± ·- ±²          éò þÛ³°´±§»» ¾»²»º·¬ °´¿²ø-÷þ ³»¿²- ¿²§ ©»´º¿®»
                  ´»¿ª»å ±®                                  ±® °»²-·±² ¾»²»º·¬ °´¿² -¸±©² ·² ¬¸»
              ø¾÷ Ì± ³»»¬ -»¿-±²¿´ ±® -¸±®¬ó¬»®³             Ü»½´¿®¿¬·±²-ô Í½¸»¼«´»- ±® »²¼±®-»³»²¬-ô
                  ©±®µ´±¿¼ ½±²¼·¬·±²-å                       ¬¸¿¬ §±« -°±²-±® ¿²¼ ©¸·½¸ ·- -«¾¶»½¬ ¬± ¬¸»
              ©¸·´» ¬¸¿¬ °»®-±² ·- -«¾¶»½¬ ¬± §±«®           Û³°´±§»» Î»¬·®»³»²¬ ×²½±³» Í»½«®·¬§ ß½¬ ±º
              ¼·®»½¬·±² ¿²¼ ½±²¬®±´ ¿²¼ °»®º±®³·²¹           ïçéì øÛÎ×Íß÷ ¿²¼ ¿²§ ¿³»²¼³»²¬- ¬¸»®»¬±ò
              -»®ª·½»- º±® §±«ô »¨½´«¼·²¹ô ¸±©»ª»®ô       èò þÚ±®¹»®§þ ³»¿²- ¬¸» -·¹²·²¹ ±º ¬¸» ²¿³» ±º
              ¿²§ -«½¸ °»®-±² ©¸·´» ¸¿ª·²¹ ½¿®»              ¿²±¬¸»® °»®-±² ±® ±®¹¿²·¦¿¬·±² ©·¬¸ ·²¬»²¬ ¬±
              ¿²¼ ½«-¬±¼§ ±º °®±°»®¬§ ±«¬-·¼» ¬¸»            ¼»½»·ª»å ·¬ ¼±»- ²±¬ ³»¿² ¿ -·¹²¿¬«®» ©¸·½¸
              þ°®»³·-»-þå                                    ½±²-·-¬- ·² ©¸±´» ±® ·² °¿®¬ ±º ±²»ù- ±©² ²¿³»
          øí÷ ß²§ ²¿¬«®¿´ °»®-±² ©¸± ·- ´»¿-»¼ ¬±            -·¹²»¼ ©·¬¸ ±® ©·¬¸±«¬ ¿«¬¸±®·¬§ô ·² ¿²§
              §±« «²¼»® ¿ ©®·¬¬»² ¿¹®»»³»²¬                  ½¿°¿½·¬§ô º±® ¿²§ °«®°±-»ò
              ¾»¬©»»² §±« ¿²¼ ¿ ´¿¾±® ´»¿-·²¹ º·®³ô       çò þÚ®¿«¼«´»²¬ ·²-¬®«½¬·±²þ ³»¿²-æ
              ¬± °»®º±®³ ¼«¬·»- ®»´¿¬»¼ ¬± ¬¸»               ¿ò ß² »´»½¬®±²·½ô ¬»´»¹®¿°¸·½ô ½¿¾´»ô ¬»´»¬§°»ô
              ½±²¼«½¬ ±º §±«® ¾«-·²»--ô ¾«¬ ¼±»-                ¬»´»º¿½-·³·´» ±® ¬»´»°¸±²» ·²-¬®«½¬·±²
              ²±¬ ³»¿² ¿ ¬»³°±®¿®§ »³°´±§»» ¿-                  ©¸·½¸ °«®°±®¬- ¬± ¸¿ª» ¾»»² ¬®¿²-³·¬¬»¼
              ¼»º·²»¼ ·² Ð¿®¿¹®¿°¸ øî÷ ¿¾±ª»å                   ¾§ §±«ô ¾«¬ ©¸·½¸ ©¿- ·² º¿½¬ º®¿«¼«´»²¬´§
          øì÷ ß²§ Ò¿¬«®¿´ °»®-±² ©¸± ·-æ                        ¬®¿²-³·¬¬»¼ ¾§ §±«ô ¾«¬ ©¸·½¸ ©¿- ·² º¿½¬
              ø¿÷ ß ¬®«-¬»»ô ±ºº·½»®ô »³°´±§»»ô                 º®¿«¼«´»²¬´§ ¬®¿²-³·¬¬»¼ ¾§ -±³»±²» »´-»
                  ¿¼³·²·-¬®¿¬±® ±® ³¿²¿¹»® ©¸± ·-               ©·¬¸±«¬ §±«® µ²±©´»¼¹» ±® ½±²-»²¬å
                  ¿² ·²¼»°»²¼»²¬ ½±²¬®¿½¬±®ô ±º ¿²§          ¾ò ß ©®·¬¬»² ·²-¬®«½¬·±² ø±¬¸»® ¬¸¿² ¬¸±-»
                  þ»³°´±§»» ¾»²»º·¬ °´¿²å ¿²¼                   ¼»-½®·¾»¼ ·² ×²-«®·²¹ ß¹®»»³»²¬ ßòîò
              ø¾÷ ß ¼·®»½¬±® ±® ¬®«-¬»» ±º §±«®- ©¸·´»          Ú±®¹»®§ ±® ß´¬»®¿¬·±²÷ ·--«»¼ ¾§ §±«ô
                  ¬¸¿¬ °»®-±² ·- »²¹¿¹»¼ ·² ¸¿²¼´·²¹            ©¸·½¸ ©¿- º±®¹»¼ ±® ¿´¬»®»¼ ¾§ -±³»±²»
                  þº«²¼-þ ±® þ±¬¸»® °®±°»®¬§þ ±º ¿²§            ±¬¸»® ¬¸¿² §±« ©·¬¸±«¬ §±«® µ²±©´»¼¹» ±®
                  þ»³°´±§»» ¾»²»º·¬ °´¿²å                       ½±²-»²¬ô ±® ©¸·½¸ °«®°±®¬- ¬± ¸¿ª» ¾»»²
                                                                ·--«»¼ ¾§ §±«ô ¾«¬ ©¿- ·² º¿½¬ º®¿«¼«´»²¬´§
          øë÷ ß²§ ²¿¬«®¿´ °»®-±² ©¸± ·- ¿ º±®³»®                ·--«»¼ ©·¬¸±«¬ §±«® µ²±©´»¼¹» ±® ½±²-»²¬å
              þ»³°´±§»»þô      ¼·®»½¬±®ô     °¿®¬²»®ô           ±®
              þ³»³¾»®þô þ³¿²¿¹»®þô ®»°®»-»²¬¿¬·ª»
              ±® ¬®«-¬»» ®»¬¿·²»¼ ¿- ¿ ½±²-«´¬¿²¬            ½ò ß² »´»½¬®±²·½ô ¬»´»¹®¿°¸·½ô ½¿¾´»ô ¬»´»¬§°»ô
              ©¸·´» °»®º±®³·²¹ -»®ª·½»- º±® §±«å                ¬»´»º¿½-·³·´» ±® ©®·¬¬»² ·²-¬®«½¬·±² ·²·¬·¿´´§
                                                                ®»½»·ª»¼ ¾§ §±« ©¸·½¸ °«®°±®¬- ¬± ¸¿ª»
          øê÷ ß²§ ²¿¬«®¿´ °»®-±² ©¸± ·- ¿ ¹«»-¬                 ¾»»² ¬®¿²-³·¬¬»¼ ¾§ ¿² þ»³°´±§»»þ ¾«¬
              -¬«¼»²¬ ±® ·²¬»®² °«®-«·²¹ -¬«¼·»- ±®             ©¸·½¸ ©¿- ·² º¿½¬ º®¿«¼«´»²¬´§ ¬®¿²-³·¬¬»¼
              ¼«¬·»-ô »¨½´«¼·²¹ô ¸±©»ª»®ô ¿²§ -«½¸              ¾§ -±³»±²» »´-» ©·¬¸±«¬ §±«® ±® ¬¸»
              °»®-±² ©¸·´» ¸¿ª·²¹ ½¿®» ¿²¼ ½«-¬±¼§              þ»³°´±§»»ù-þ µ²±©´»¼¹» ±® ½±²-»²¬ò
              ±º °®±°»®¬§ ±«¬-·¼» ¬¸» þ°®»³·-»-þò


Ð¿¹» ïðCase
        ±º ïï 3:24-cv-00490-FDW-SCR           Document 1-4 Filed 05/21/24 PageÚ±®³
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   ïðò þÚ«²¼-þ ³»¿²- þ³±²»§þ ¿²¼ þ-»½«®·¬·»-þò                  ïêò þÑ¬¸»® °®±°»®¬§þ ³»¿²- ¿²§ ¬¿²¹·¾´» °®±°»®¬§
   ïïò þÓ¿²¿¹»®þ ³»¿²- ¿ °»®-±² -»®ª·²¹ ·² ¿                        ±¬¸»® ¬¸¿² þ³±²»§þ ¿²¼ þ-»½«®·¬·»-þ ¬¸¿¬ ¸¿-
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       ·²¬»®»-¬ô ©¸± ¿´-± ³¿§ -»®ª» ¿- ¿ þ³¿²¿¹»®þò             ïéò þÐ®»³·-»-þ ³»¿²- ¬¸» ·²¬»®·±® ±º ¬¸¿¬ °±®¬·±²
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   ïíò þÓ»--»²¹»®þ ³»¿²- §±«ô ±® ¿ ®»´¿¬·ª» ±º                      ¾«-·²»--ò
       §±«®-ô ±® ¿²§ °¿®¬²»®- ±® þ³»³¾»®-þô ±® ¿²§
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          «-» ¿²¼ ¸¿ª·²¹ ¿ º¿½» ª¿´«»å ¿²¼                            -¬¿³°- ø©¸»¬¸»® ®»°®»-»²¬»¼ ¾§ ¿½¬«¿´
       ¾ò Ì®¿ª»´»®- ½¸»½µ-ô ®»¹·-¬»®»¼ ½¸»½µ- ¿²¼                     -¬¿³°- ±® «²«-»¼ ª¿´«» ·² ¿ ³»¬»®÷ ·²
          ³±²»§ ±®¼»®- ¸»´¼ º±® -¿´» ¬± ¬¸» °«¾´·½ò                   ½«®®»²¬ «-»å ¿²¼
   ïëò þÑ½½«®®»²½»þ ³»¿²-æ                                         ¾ò Ûª·¼»²½»- ±º ¼»¾¬ ·--«»¼ ·² ½±²²»½¬·±²
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            øî÷ Ì¸» ½±³¾·²»¼ ¬±¬¿´ ±º ¿´´ -»°¿®¿¬»
                                                                    þ-»½«®·¬·»-ùô ±® þ±¬¸»® °®±°»®¬§þ ¬± ¬¸»
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                ®»´¿¬»¼å
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            ½±³³·¬¬»¼ ¾§ ¿² þ»³°´±§»»þ ¿½¬·²¹ ¿´±²»                 º®±³ ©¸·½¸ §±« ½¿² ·²·¬·¿¬» ¬¸» ¬®¿²-º»®ô
            ±® ·² ½±´´«-·±² ©·¬¸ ±¬¸»® °»®-±²-ô ¼«®·²¹              °¿§³»²¬ ±® ¼»´·ª»®§ ±º þº«²¼-þæ
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                                                                   ¿ò Þ§ ³»¿²- ±º »´»½¬®±²·½ô ¬»´»¹®¿°¸·½ô ½¿¾´»ô
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            ¾±¬¸ò
                                                                      ·²-¬®«½¬·±²-   ½±³³«²·½¿¬»¼        ¼·®»½¬´§
       ¾ò Ë²¼»® ×²-«®·²¹ ß¹®»»³»²¬ ßòîò Ú±®¹»®§                       ¬¸®±«¹¸ ¿² »´»½¬®±²·½ º«²¼- ¬®¿²-º»®
          ±® ß´¬»®¿¬·±²æ                                              -§-¬»³å ±®
            øï÷ ß² ·²¼·ª·¼«¿´ ¿½¬å                                 ¾ò Þ§ ³»¿²- ±º ©®·¬¬»² ·²-¬®«½¬·±²- ø±¬¸»®
            øî÷ Ì¸» ½±³¾·²»¼ ¬±¬¿´ ±º ¿´´ -»°¿®¿¬»                    ¬¸¿² ¬¸±-» ¼»-½®·¾»¼ ·² ×²-«®·²¹
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                                                                      »-¬¿¾´·-¸·²¹ ¬¸» ½±²¼·¬·±²- «²¼»® ©¸·½¸
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                                                                      -«½¸ ¬®¿²-º»®- ¿®» ¬± ¾» ·²·¬·¿¬»¼ ¾§ -«½¸
                ®»´¿¬»¼å
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            ½±´´«-·±² ©·¬¸ ±¬¸»® °»®-±²-ô ·²ª±´ª·²¹ ±²»
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            ±® ³±®» ·²-¬®«³»²¬-ô ¼«®·²¹ ¬¸» Ð±´·½§
                                                                    -°»½·º·½¿´´§ ¬± ¸¿ª» ½¿®» ¿²¼ ½«-¬±¼§ ±º
            Ð»®·±¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô ¾»º±®»
                                                                    °®±°»®¬§ ·²-·¼» ¬¸» þ°®»³·-»-þ ¿²¼ ©¸± ¸¿- ²±
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                                                                    ±¬¸»® ¼«¬·»-ò
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            øï÷ ß² ·²¼·ª·¼«¿´ ¿½¬ ±® »ª»²¬å
            øî÷ Ì¸» ½±³¾·²»¼ ¬±¬¿´ ±º ¿´´ -»°¿®¿¬»
                ¿½¬- ±® »ª»²¬- ©¸»¬¸»® ±® ²±¬ ®»´¿¬»¼å
                ±®
            øí÷ ß -»®·»- ±º ¿½¬- ±® »ª»²¬- ©¸»¬¸»® ±®
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            ½±´´«-·±² ©·¬¸ ±¬¸»® °»®-±²-ô ±® ²±¬
            ½±³³·¬¬»¼ ¾§ ¿²§ °»®-±²ô ¼«®·²¹ ¬¸»
            °±´·½§ Ð»®·±¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô
            ¾»º±®» -«½¸ Ð±´·½§ Ð»®·±¼ ±® ¾±¬¸ò


      Case
Ú±®³ ÐÝ ðð ëð3:24-cv-00490-FDW-SCR
              ðï ïè                                 Document 1-4 Filed 05/21/24 Page 169 of 579ïï ±º ïï
                                                                                         Ð¿¹»
                                                                                             ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                  Ó×ÍÍ×ÍÍ×ÐÐ× ÝØßÒÙÛÍ ó ÝßÒÝÛÔÔßÌ×ÑÒ
                           ßÒÜ ÒÑÒÎÛÒÛÉßÔ

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò Ð¿®¿¹®¿°¸ éò ·- ¿¼¼»¼ ¬± ¬¸» Ý¿²½»´´¿¬·±²                            øî÷ É» ¼»½·¼» ²±¬ ¬± ®»²»© ¬¸·- °±´·½§ô ©»
   Ý±³³±² Ð±´·½§ Ý±²¼·¬·±²-æ                                                ©·´´ ¹·ª» ©®·¬¬»² ²±¬·½» ¬± ¬¸»
   éò ×ºæ                                                                   ³±®¬¹¿¹»¸±´¼»® ¿¬ ´»¿-¬æ
       ¿ò Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ½¿²½»´- ¬¸·-                              ø¿÷ ïð ¼¿§- ¾»º±®» ¿² ¿²²·ª»®-¿®§
          °±´·½§ô ©» ©·´´ ²±¬·º§ ¿²§ ²¿³»¼ ½®»¼·¬±®                             ¼¿¬» ±® ¬¸» »¨°·®¿¬·±² ¼¿¬» ±º ¬¸»
          ´±-- °¿§»»ò                                                           °±´·½§ô ·º ¬¸» ²±²®»²»©¿´ ·- ¼«» ¬±
                                                                                ²±²°¿§³»²¬ ±º °®»³·«³å ±®
       ¾ò É» ½¿²½»´ ¬¸·- °±´·½§ô ©» ©·´´ ³¿·´ ±®
          ¼»´·ª»® ±«® ©®·¬¬»² ²±¬·½» ±º ½¿²½»´´¿¬·±² ¬±                     ø¾÷ íð ¼¿§- ¾»º±®» ¿² ¿²²·ª»®-¿®§
          ¿²§ ²¿³»¼ ½®»¼·¬±® ´±-- °¿§»» ·² ¬¸»                                  ¼¿¬» ±® ¬¸» »¨°·®¿¬·±² ¼¿¬» ±º ¬¸»
          -¿³» ³¿²²»® ¿²¼ ¿¬ ¬¸» -¿³» ¬·³» ¿-                                   °±´·½§ô ·º ¬¸» ²±²®»²»©¿´ ·- º±® ¿²§
          ²±¬·º·½¿¬·±² ·- ¹·ª»² ¬± ¬¸» º·®-¬ Ò¿³»¼                              ±¬¸»® ®»¿-±²ò
          ×²-«®»¼ô ¿- -¬¿¬»¼ ·² ¬¸·- Ý±²¼·¬·±²ò                             É» ©·´´ ²±¬·º§ ¬¸» ³±®¬¹¿¹»¸±´¼»® ¾§
       Ì¸» °®±ª·-·±²- ±º Ð¿®¿¹®¿°¸- ¿ò ¿²¼ ¾ò ¿¾±ª»                         ³¿·´·²¹ ±® ¼»´·ª»®·²¹ ¬¸» ²±¬·½» ±º
       ¼± ²±¬ ¿°°´§ ¬± ¿²§ ³±®¬¹¿¹»¸±´¼»®ò                                  ²±²®»²»©¿´ ¬± ¬¸» ´¿-¬ ³¿·´·²¹
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   Ô»²¼»® Ô±-- Ð¿§»»- Ý±²¼·¬·±²ô ·º ¿²§ô ¿®»                                -«ºº·½·»²¬ °®±±º ±º ²±¬·½»ò
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                                                            Ýò Ì¸» º±´´±©·²¹ Ý±²¼·¬·±² ·- ¿¼¼»¼ ¿²¼ -«°»®-»¼»-
       ºò   ×ºæ                                                ¿²§ °®±ª·-·±² ¬± ¬¸» ½±²¬®¿®§æ
            øï÷ Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ½¿²½»´- ¬¸·-           ÒÑÒÎÛÒÛÉßÔ
                °±´·½§ô    ©»   ©·´´   ²±¬·º§    ¬¸»
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                                                                  °±´·½§ô ©» ©·´´ ²±¬·º§ ¿²§ ²¿³»¼ ½®»¼·¬±® ´±--
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                                                                  ³¿·´ ±® ¼»´·ª»® ©®·¬¬»² ²±¬·½» ±º ²±²®»²»©¿´ ¬±
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                  ³¿·´·²¹ ±® ¼»´·ª»®·²¹ ¬¸» ½¿²½»´´¿¬·±²
                  ²±¬·½» ¬± ¬¸» ´¿-¬ ³¿·´·²¹ ¿¼¼®»--                ¿ò ïð ¼¿§- ¾»º±®» ¬¸» »ºº»½¬·ª» ¼¿¬» ±º
                  µ²±©² ¬± «-ò ×º ²±¬·½» ·- ³¿·´»¼ô °®±±º              ²±²®»²»©¿´ô ·º ¬¸» ²±²®»²»©¿´ ·- ¼«» ¬±
                  ±º ³¿·´·²¹ ©·´´ ¾» -«ºº·½·»²¬ °®±±º ±º               ²±²°¿§³»²¬ ±º °®»³·«³å ±®
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Ú±®³ ÐÝ íð îí ðï ïç                                                                                Ð¿¹» ï ±º î
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                                                                                       °»®³·--·±²÷
        ¼»´·ª»®·²¹ ¬¸» ²±¬·½» ±º ²±²®»²»©¿´ ¬± ¬¸» ´¿-¬        ²±¬·º·½¿¬·±² ®»¯«·®»³»²¬- ¬± ¿²§ ²¿³»¼ ½®»¼·¬±®
        ³¿·´·²¹ ¿¼¼®»-- µ²±©² ¬± «-ò ×º ²±¬·½» ·-              ´±-- °¿§»» ¿²¼ ¿²§ ³±®¬¹¿¹»¸±´¼»®ô -¬¿¬»¼ ·² ¬¸·-
        ³¿·´»¼ô °®±±º ±º ³¿·´·²¹ ©·´´ ¾» -«ºº·½·»²¬ °®±±º      °±´·½§ô ·²½´«¼·²¹ ¿²§ »²¼±®-»³»²¬ ¿¬¬¿½¸»¼ ¬± ¬¸»
        ±º ²±¬·½»ò                                             °±´·½§ò
    Ì¸» °®±ª·-·±²- ±º Ð¿®¿¹®¿°¸- ïò ¿²¼ îò ¿¾±ª» ¼±         Ûò ß²§ ²¿³»¼ ½®»¼·¬±® ´±-- °¿§»» ¿²¼ ¿²§
    ²±¬ ¿°°´§ ¬± ¿²§ ³±®¬¹¿¹»¸±´¼»®ò                           ³±®¬¹¿¹»¸±´¼»® ³¿§ »´»½¬ ²±¬ ¬± ®»½»·ª»
Üò Ì¸» ®»¯«·®»³»²¬- º±® ²±¬·º·½¿¬·±² ±º ½¿²½»´´¿¬·±² ±®        ²±¬·º·½¿¬·±² ±º ½¿²½»´´¿¬·±² ±® ²±²®»²»©¿´ ¾§
   ²±²®»²»©¿´ ±º ¬¸·- °±´·½§ô ¿- -¬¿¬»¼ ·² Ð¿®¿¹®¿°¸-          °®±ª·¼·²¹ «- ©·¬¸ ¿ ©®·¬¬»² ®»´»¿-»ò
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Ð¿¹» î Case
       ±º î 3:24-cv-00490-FDW-SCR                Document 1-4 Filed 05/21/24 Page 171
                                                                               Ú±®³ ÐÝofíð579
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                                                                                           ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




       ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                       ÚÔÑÎ×Üß ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ


ßò Ì¸» ÝÔß×Ó ÍÛÌÌÔÛÓÛÒÌ Ý±²¼·¬·±² ¼»¿´·²¹ ©·¬¸             Þò É·²¼-¬±®³ Û¨¬»®·±® Ð¿·²¬ ß²¼ É¿¬»®°®±±º·²¹
   ¬¸» ²«³¾»® ±º ¼¿§- ©·¬¸·² ©¸·½¸ ©» ³«-¬ °¿§ º±®            Û¨½´«-·±²
   ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ        Ì¸·- ¿¼¼·¬·±²¿´ »¨½´«-·±² ¿°°´·»- ·º ´±-- ±® ¼¿³¿¹»
   Ð®±ª·¼»¼ §±« ¸¿ª» ½±³°´·»¼ ©·¬¸ ¿´´ ¬¸» ¬»®³- ±º            ¬± Ý±ª»®»¼ Ð®±°»®¬§ ·- ½¿«-»¼ ¾§ ±® ®»-«´¬- º®±³
   ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©» ©·´´ °¿§ º±® ½±ª»®»¼ ´±-- ±®         É·²¼-¬±®³ ·² ¬¸» º±´´±©·²¹æ
   ¼¿³¿¹» «°±² ¬¸» »¿®´·»-¬ ±º ¬¸» º±´´±©·²¹æ                  ïò Þ®±©¿®¼ Ý±«²¬§å
   øï÷ É·¬¸·² îð ¼¿§- ¿º¬»® ©» ®»½»·ª» ¬¸» -©±®²               îò Ü¿¼» Ý±«²¬§å
       -¬¿¬»³»²¬ ±º ´±-- ¿²¼ ®»¿½¸ ©®·¬¬»² ¿¹®»»³»²¬
       ©·¬¸ §±«å                                               íò Ó¿®¬·² Ý±«²¬§å

   øî÷ É·¬¸·² íð ¼¿§- ¿º¬»® ©» ®»½»·ª» ¬¸» -©±®² -¬¿¬»         ìò Ó±²®±» Ý±«²¬§å
       ±º ´±-- ¿²¼æ                                            ëò Ð¿´³ Þ»¿½¸ Ý±«²¬§å ¿²¼
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   °±´·½§ ·- ¾¿-»¼ «°±² ¬¸» «-» ±º ¬¸» ½±·²-«®¿²½»           °»®º±®³»¼ô ©» ³«-¬ »·¬¸»® ½±³°´»¬» ¬¸»
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   ¿½½±®¼¿²½» ©·¬¸ ¬¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-                    íò þÍ¬®«½¬«®¿´ ¼¿³¿¹»þ ¬± ¬¸» ¾«·´¼·²¹ô ·²½´«¼·²¹
   Ý±²¼·¬·±² ·² ¬¸·- °±´·½§å »¨½»°¬ ¬¸¿¬ ¬¸» ¬·³» º±® º·´·²¹         ¬¸» º±«²¼¿¬·±²å ¿²¼
   -«·¬ ·- »¨¬»²¼»¼ º±® ¿ °»®·±¼ ±º êð ¼¿§- º±´´±©·²¹ ¬¸»         ìò Ì¸» ·²-«®»¼ -¬®«½¬«®» ¾»·²¹ ½±²¼»³²»¼ ¿²¼
   ½±²½´«-·±² ±º ¬¸» ²»«¬®¿´ »ª¿´«¿¬·±² °®±½»-- ±® º·ª»              ±®¼»®»¼ ¬± ¾» ª¿½¿¬»¼ ¾§ ¬¸» ¹±ª»®²³»²¬¿´
   §»¿®-ô ©¸·½¸»ª»® ·- ´¿¬»®ò                                        ¿¹»²½§ ¿«¬¸±®·¦»¼ ¾§ ´¿© ¬± ·--«» -«½¸ ¿² ±®¼»®
   Ý±ª»®¿¹» º±® Í·²µ¸±´» Ô±-- «²¼»® ¬¸·- »²¼±®-»³»²¬                 º±® ¬¸¿¬ -¬®«½¬«®»ò
   ¼±»- ²±¬ ·²½®»¿-» ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò           Ø±©»ª»®ô ¼¿³¿¹» ½±²-·-¬·²¹ ³»®»´§ ±º ¬¸» -»¬¬´·²¹
   Ûª»² ·º ´±-- ±® ¼¿³¿¹» ¯«¿´·º·»- «²¼»®ô ±® ·²½´«¼»-ô           ±® ½®¿½µ·²¹ ±º ¿ º±«²¼¿¬·±²ô -¬®«½¬«®» ±® ¾«·´¼·²¹
   ¾±¬¸ Ý¿¬¿-¬®±°¸·½ Ù®±«²¼ Ý±ª»® Ý±´´¿°-» ¿²¼                    ¼±»- ²±¬ ½±²-¬·¬«¬» ´±-- ±® ¼¿³¿¹» ®»-«´¬·²¹ º®±³ ¿
   Í·²µ¸±´» Ô±--ô ±²´§ ±²» Ô·³·¬ ±º ×²-«®¿²½» ©·´´ ¿°°´§          ½¿¬¿-¬®±°¸·½ ¹®±«²¼ ½±ª»® ½±´´¿°-»ò
   ¬± -«½¸ ´±-- ±® ¼¿³¿¹»ò
                                                                  Ì¸» Û¿®¬¸ Ó±ª»³»²¬ Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±
   ×º ©» ¼»²§ §±«® ½´¿·³ º±® Í·²µ¸±´» Ô±-- ©·¬¸±«¬                ½±ª»®¿¹» º±® Ý¿¬¿-¬®±°¸·½ Ù®±«²¼ Ý±ª»® Ý±´´¿°-»ò
   °»®º±®³·²¹ ¬»-¬·²¹ «²¼»® -»½¬·±² êîéòéðéîô Ú´±®·¼¿
                                                               Úò Ì¸» º±´´±©·²¹ °®±ª·-·±²- ¿®» ¿¼¼»¼ ¬± ¬¸» Ç±«®
   Í¬¿¬«¬»-ô     §±«    ³¿§     ¼»³¿²¼       ¬»-¬·²¹  ¾§
                                                                  Ù»²»®¿´ Ü«¬·»- ×² Ûª»²¬ ±º Ô±-- Ý±²¼·¬·±²æ
   ½±³³«²·½¿¬·²¹ -«½¸ ¼»³¿²¼ ¬± «- ·² ©®·¬·²¹ ©·¬¸·²
   êð ¼¿§- ¿º¬»® §±« ®»½»·ª» ±«® ¼»²·¿´ ±º ¬¸» ½´¿·³ò                     øï÷ ß ½´¿·³ô -«°°´»³»²¬¿´ ½´¿·³ ±®
   Ç±« ¿®» ®»-°±²-·¾´» º±® ëðû ±º ¬¸» ¬»-¬·²¹ ½±-¬-ô ±®                       ®»±°»²»¼ ½´¿·³ º±® ´±-- ±® ¼¿³¿¹»
   üîôëððô ©¸·½¸»ª»® ·- ´»--ò        ×º ±«® °®±º»--·±²¿´                      ½¿«-»¼ ¾§ ¸«®®·½¿²» ±® ±¬¸»® ©·²¼-¬±®³
   »²¹·²»»® ±® ¹»±´±¹·-¬ °®±ª·¼»- ©®·¬¬»² ½»®¬·º·½¿¬·±²ô                      ·- ¾¿®®»¼ «²´»-- ²±¬·½» ±º ½´¿·³ ·- ¹·ª»²
   °«®-«¿²¬ ¬± -»½¬·±² êîéòéðéíô ¬¸¿¬ ¬¸»®» ·- -·²µ¸±´»                       ¬± «- ·² ¿½½±®¼¿²½» ©·¬¸ ¬¸» ¬»®³- ±º
   ´±--ô ©» ©·´´ ®»·³¾«®-» §±« º±® ¬¸» ¬»-¬·²¹ ½±-¬-ò                         ¬¸·- °±´·½§ ©·¬¸·² ¬¸®»» §»¿®- ¿º¬»® ¬¸»
                                                                              ¸«®®·½¿²» º·®-¬ ³¿¼» ´¿²¼º¿´´ ±® ¿
   Ç±« ³¿§ ²±¬ ¿½½»°¬ ¿ ®»¾¿¬» º®±³ ¿²§ °»®-±²
                                                                              ©·²¼-¬±®³ ±¬¸»® ¬¸¿² ¸«®®·½¿²» ½¿«-»¼
   °»®º±®³·²¹ ®»°¿·®- º±® Í·²µ¸±´» Ô±-- ½±ª»®»¼ «²¼»®
                                                                              ¬¸» ½±ª»®»¼ ¼¿³¿¹»ò øÍ«°°´»³»²¬¿´
   ¬¸·- »²¼±®-»³»²¬ò ×º §±« ®»½»·ª» ¿ ®»¾¿¬»ô ½±ª»®¿¹»
                                                                              ½´¿·³ ±® ®»±°»²»¼ ½´¿·³ ³»¿²- ¿²
   «²¼»® ¬¸·- »²¼±®-»³»²¬ ·- ª±·¼ ¿²¼ §±« ³«-¬ ®»º«²¼
                                                                              ¿¼¼·¬·±²¿´ ½´¿·³ º±® ®»½±ª»®§ º®±³ «- º±®
   ¬¸» ¿³±«²¬ ±º ¬¸» ®»¾¿¬» ¬± «-ò
                                                                              ´±--»- º®±³ ¬¸» -¿³» ¸«®®·½¿²» ±® ±¬¸»®
   ×º ©» ¼»²§ §±«® ½´¿·³ º±® Í·²µ¸±´» Ô±-- «°±² ®»½»·°¬                       ©·²¼-¬±®³ ©¸·½¸ ©» ¸¿ª» °®»ª·±«-´§
   ±º ©®·¬¬»² ½»®¬·º·½¿¬·±² º®±³ ¿ °®±º»--·±²¿´ »²¹·²»»®                      ¿¼¶«-¬»¼ °«®-«¿²¬ ¬± ¬¸» ·²·¬·¿´ ½´¿·³ò÷
   ±® ¹»±´±¹·-¬ô °«®-«¿²¬ ¬± -»½¬·±² êîéòéðéíô ¬¸¿¬
                                                                              Ì¸·- °®±ª·-·±² ½±²½»®²·²¹ ¬·³» º±®
   ¬¸»®» ·- ²± -·²µ¸±´» ´±-- ±® ¬¸¿¬ ¬¸» ½¿«-» ±º ¬¸»
                                                                              -«¾³·--·±² ±º ½´¿·³ô -«°°´»³»²¬¿´
   ¼¿³¿¹» ©¿- ²±¬ -·²µ¸±´» ¿½¬·ª·¬§ô ¿²¼ ·º ¬¸» -·²µ¸±´»
                                                                              ½´¿·³ô ±® ®»±°»²»¼ ½´¿·³ ¼±»- ²±¬ ¿ºº»½¬
   ½´¿·³ ©¿- -«¾³·¬¬»¼ ©·¬¸±«¬ ¹±±¼ º¿·¬¸ ¹®±«²¼- º±®
                                                                              ¿²§ ´·³·¬¿¬·±² º±® ´»¹¿´ ¿½¬·±² ¿¹¿·²-¬ «-
   -«¾³·¬¬·²¹ -«½¸ ½´¿·³ô §±« -¸¿´´ ®»·³¾«®-» «- º±®
                                                                              ¿- °®±ª·¼»¼ ·² ¬¸·- °±´·½§ «²¼»® ¬¸»
   ëðû ±º ¬¸» ¿½¬«¿´ ½±-¬- ±º ¬¸» ¿²¿´§-»- ¿²¼ -»®ª·½»-
                                                                              Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë- Ý±²¼·¬·±²ô
   °®±ª·¼»¼ «²¼»® -»½¬·±²- êîéòéðéî ¿²¼ êîéòéðéíô ±®
                                                                              ·²½´«¼·²¹ ¿²§ ¿³»²¼³»²¬ ¬± ¬¸¿¬
   üîôëððô ©¸·½¸»ª»® ·- ´»--ò Ç±« ¿®» ²±¬ ®»¯«·®»¼ ¬±
                                                                              ½±²¼·¬·±²ò
   °¿§ -«½¸ ®»·³¾«®-»³»²¬ «²´»-- §±« ®»¯«»-¬»¼ ¬¸»
   ¿²¿´§-·- ¿²¼ -»®ª·½»- ¿²¼ ©»ô ¾»º±®» ±®¼»®·²¹ ¬¸»                      øî÷ ß²§ ·²-°»½¬·±² ±® -«®ª»§ ¾§ «-ô ±® ±²
   ¿²¿´§-·-ô ·²º±®³»¼ §±« ·² ©®·¬·²¹ ±º ¬¸» °±¬»²¬·¿´ º±®                     ±«® ¾»¸¿´ºô ±º °®±°»®¬§ ¬¸¿¬ ·- ¬¸» -«¾¶»½¬
   ®»·³¾«®-»³»²¬ ¿²¼ ¹¿ª» §±« ¬¸» ±°°±®¬«²·¬§ ¬±                              ±º ¿ ½´¿·³ô ©·´´ ¾» ½±²¼«½¬»¼ ©·¬¸ ¿¬
   ©·¬¸¼®¿© ¬¸» ½´¿·³ò                                                        ´»¿­¬ ìè ¸±«®­ ²±¬·½» ¬± §±«ò Ì¸» ìèó
                                                                              ¸±«® ²±¬·½» ³¿§ ¾» ©¿·ª»¼ ¾§ §±«ò


      Case
Ú±®³ ÐÝ íï ðç3:24-cv-00490-FDW-SCR
              ðî ïî                               Document 1-4 Filed 05/21/24 Page 174 of 579Ð¿¹» í ±º ì
Ùò Ì¸» º±´´±©·²¹ ¼»º·²·¬·±²- ¿®» ¿¼¼»¼ ©·¬¸ ®»-°»½¬ ¬±            ¼ò Ü¿³¿¹» ¬¸¿¬ ®»-«´¬- ·² ¬¸» ¾«·´¼·²¹ô ±® ¿²§
   ¬¸» ½±ª»®¿¹» °®±ª·¼»¼ «²¼»® ¬¸·- »²¼±®-»³»²¬æ                     °±®¬·±² ±º ¬¸» ¾«·´¼·²¹ ½±²¬¿·²·²¹ þ°®·³¿®§
   ïò þÍ¬®«½¬«®¿´ ¼¿³¿¹»þ ³»¿²- ¿ ½±ª»®»¼ ¾«·´¼·²¹ô                  -¬®«½¬«®¿´ ³»³¾»®-þ ±® þ°®·³¿®§ -¬®«½¬«®¿´
      ®»¹¿®¼´»-- ±º ¬¸» ¼¿¬» ±º ·¬- ½±²-¬®«½¬·±²ô ¸¿-                -§-¬»³-þô ¾»·²¹ -·¹²·º·½¿²¬´§ ´·µ»´§ ¬±
      »¨°»®·»²½»¼ ¬¸» º±´´±©·²¹æ                                     ·³³·²»²¬´§ ½±´´¿°-» ¾»½¿«-» ±º ¬¸»
                                                                     ³±ª»³»²¬ ±® ·²-¬¿¾·´·¬§ ±º ¬¸» ¹®±«²¼ ©·¬¸·²
       ¿ò ×²¬»®·±® º´±±® ¼·-°´¿½»³»²¬ ±® ¼»º´»½¬·±² ·²               ¬¸» ·²º´«»²½» ¦±²» ±º ¬¸» -«°°±®¬·²¹ ¹®±«²¼
          »¨½»-- ±º ¿½½»°¬¿¾´» ª¿®·¿²½»- ¿- ¼»º·²»¼                  ©·¬¸·² ¬¸» -¸»»® °´¿²» ²»½»--¿®§ º±® ¬¸»
          ·² ßÝ× ïïéóçð ±® ¬¸» Ú´±®·¼¿ Þ«·´¼·²¹ Ý±¼»ô                °«®°±-» ±º -«°°±®¬·²¹ -«½¸ ¾«·´¼·²¹ ¿-
          ©¸·½¸ ®»-«´¬- ·² -»¬¬´»³»²¬ ®»´¿¬»¼ ¼¿³¿¹»                 ¼»º·²»¼ ©·¬¸·² ¬¸» Ú´±®·¼¿ Þ«·´¼·²¹ Ý±¼»å ±®
          ¬± ¬¸» ·²¬»®·±® -«½¸ ¬¸¿¬ ¬¸» ·²¬»®·±® ¾«·´¼·²¹
          -¬®«½¬«®» ±® ³»³¾»®- ¾»½±³» «²º·¬ º±®                   »ò Ü¿³¿¹» ±½½«®®·²¹ ±² ±® ¿º¬»® Ñ½¬±¾»® ïëô
          -»®ª·½» ±® ®»°®»-»²¬ ¿ -¿º»¬§ ¸¿¦¿®¼ ¿-                    îððëô ¬¸¿¬ ¯«¿´·º·»- ¿- -«¾-¬¿²¬·¿´ -¬®«½¬«®¿´
          ¼»º·²»¼ ©·¬¸·² ¬¸» Ú´±®·¼¿ Þ«·´¼·²¹ Ý±¼»å                  ¼¿³¿¹» ¿- ¼»º·²»¼ ·² ¬¸» Ú´±®·¼¿ Þ«·´¼·²¹
                                                                     Ý±¼»ò
       ¾ò Ú±«²¼¿¬·±² ¼·-°´¿½»³»²¬ ±® ¼»º´»½¬·±² ·²
          »¨½»-- ±º ¿½½»°¬¿¾´» ª¿®·¿²½»- ¿- ¼»º·²»¼           îò þÐ®·³¿®§ -¬®«½¬«®¿´ ³»³¾»®þ ³»¿²- ¿ -¬®«½¬«®¿´
          ·² ßÝ× íïèóçë ±® ¬¸» Ú´±®·¼¿ Þ«·´¼·²¹ Ý±¼»ô            »´»³»²¬ ¼»-·¹²»¼ ¬± °®±ª·¼» -«°°±®¬ ¿²¼
          ©¸·½¸ ®»-«´¬- ·² -»¬¬´»³»²¬ ®»´¿¬»¼ ¼¿³¿¹»             -¬¿¾·´·¬§ º±® ¬¸» ª»®¬·½¿´ ±® ´¿¬»®¿´ ´±¿¼- ±º ¬¸»
          ¬± ¬¸» þ°®·³¿®§ -¬®«½¬«®¿´ ³»³¾»®-þ ±®                 ±ª»®¿´´ -¬®«½¬«®»ò
          þ°®·³¿®§ -¬®«½¬«®¿´ -§-¬»³-þ ¿²¼ ¬¸¿¬               íò þÐ®·³¿®§ -¬®«½¬«®¿´ -§-¬»³þ ³»¿²- ¿²
          °®»ª»²¬- ¬¸±-» ³»³¾»®- ±® -§-¬»³- º®±³                 ¿--»³¾´¿¹» ±º þ°®·³¿®§ -¬®«½¬«®¿´ ³»³¾»®-þò
          -«°°±®¬·²¹ ¬¸» ´±¿¼- ¿²¼ º±®½»- ¬¸»§ ©»®»         Øò ÐÑÔÔËÌßÒÌÍ
          ¼»-·¹²»¼ ¬± -«°°±®¬ ¬± ¬¸» »¨¬»²¬ ¬¸¿¬
          -¬®»--»- ·² ¬¸±-» þ°®·³¿®§ -¬®«½¬«®¿´               Ì¸» Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²-
          ³»³¾»®-þ ±® þ°®·³¿®§ -¬®«½¬«®¿´ -§-¬»³-þ            º±®³ ·- ®»ª·-»¼ ¿- º±´´±©-æ
          »¨½»»¼ ±²» ¿²¼ ±²»ó¬¸·®¼ ¬¸» ²±³·²¿´                ×¬»³ Ýò ÜÛÚ×Ò×ÌÑÒÍô éò þÐ±´´«¬¿²¬- ¿²¼
          -¬®»²¹¬¸ ¿´´±©»¼ «²¼»® ¬¸» Ú´±®·¼¿ Þ«·´¼·²¹         Ý±²¬¿³·²¿²¬-þ ·- ¼»´»¬»¼ ¿²¼ ®»°´¿½»¼ ¾§ ¬¸»
          Ý±¼» º±® ²»© ¾«·´¼·²¹- ±º -·³·´¿® -¬®«½¬«®»ô        º±´´±©·²¹æ
          °«®°±-»ô ±® ´±½¿¬·±²å                               þÐ±´´«¬¿²¬-þ ³»¿²- ¿²§ -±´·¼ô ´·¯«·¼ô ¹¿-»±«- ±®
       ½ò Ü¿³¿¹» ¬¸¿¬ ®»-«´¬- ·² ´·-¬·²¹ô ´»¿²·²¹ô ±®         ¬¸»®³¿´ ·®®·¬¿²¬ ±® ½±²¬¿³·²¿²¬ô ·²½´«¼·²¹ -³±µ»ô
          ¾«½µ´·²¹ ±º ¬¸» »¨¬»®·±® ´±¿¼ ¾»¿®·²¹ ©¿´´- ±®      ª¿°±®ô -±±¬ô º«³»-ô ¿½·¼-ô ¿´µ¿´·-ô ½¸»³·½¿´- ¿²¼
          ±¬¸»® ª»®¬·½¿´ þ°®·³¿®§ -¬®«½¬«®¿´ ³»³¾»®-þ         ©¿-¬»ò É¿-¬» ·²½´«¼»- ³¿¬»®·¿´- ¬± ¾» ®»½§½´»¼ô
          ¬± -«½¸ ¿² »¨¬»²¬ ¬¸¿¬ ¿ °´«³¾ ´·²» °¿--·²¹         ®»½±²¼·¬·±²»¼ ±® ®»½´¿·³»¼ò
          ¬¸®±«¹¸ ¬¸» ½»²¬»® ±º ¹®¿ª·¬§ ¼±»- ²±¬ º¿´´
          ·²-·¼» ¬¸» ³·¼¼´» ±²»ó¬¸·®¼ ±º ¬¸» ¾¿-» ¿-
          ¼»º·²»¼ ©·¬¸·² ¬¸» Ú´±®·¼¿ Þ«·´¼·²¹ Ý±¼»å




Ð¿¹» ì Case
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                                                                                   Ú±®³ ÐÝ íï ðç ðî ïî
                                                                                                     ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò



                                      ÙÛÑÎÙ×ß ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ



  ßò É×ÒÜÍÌÑÎÓ   ÛÈÌÛÎ×ÑÎ    Ðß×ÒÌ                   ßÒÜ               íò ×º ©» °¿§ ¿ ½´¿·³ °«®-«¿²¬ ¬± Ð¿®¿¹®¿°¸ Þòîòô
     ÉßÌÛÎÐÎÑÑÚ×ÒÙ ÛÈÝÔËÍ×ÑÒ                                              ±«® °¿§³»²¬ ¬± ¬¸» ·²-«®»¼ ·- ´·³·¬»¼ ¬± ¬¸¿¬
      É·¬¸ ®»-°»½¬ ¬± ¬¸» °®»³·-»- ·²¼·½¿¬»¼ ·² ¬¸»                       ·²-«®»¼ù- ´»¹¿´ ·²¬»®»-¬ ·² ¬¸» °®±°»®¬§ ´»--
      Í«°°´»³»²¬¿´     Ü»½´¿®¿¬·±²ô    ¬¸·-  ¿¼¼·¬·±²¿´                   ¿²§ °¿§³»²¬- ©» º·®-¬ ³¿¼» ¬± ¿
      »¨½´«-·±² ¿°°´·»- ¬± Ý±ª»®»¼ Ð®±°»®¬§ ·º ´±-- ±®                    ³±®¬¹¿¹»¸±´¼»® ±® ±¬¸»® °¿®¬§ ©·¬¸ ¿ ´»¹¿´
      ¼¿³¿¹» ·- ½¿«-»¼ ¾§ ±® ®»-«´¬- º®±³ É·²¼-¬±®³ò                      -»½«®»¼ ·²¬»®»-¬ ·² ¬¸» °®±°»®¬§ò ×² ²± »ª»²¬
                                                                          ©·´´ ©» °¿§ ³±®» ¬¸¿² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò
      É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ¬±æ
                                                                  Ýò Ì¸» Ý±²½»¿´³»²¬ô Ó·-®»°®»-»²¬¿¬·±² Ñ® Ú®¿«¼
      ïò Ð¿·²¬å ±®                                                   Ý±²¼·¬·±² ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
      îò É¿¬»®°®±±º·²¹ ³¿¬»®·¿´å                                      Ý±²½»¿´³»²¬ô Ó·-®»°®»-»²¬¿¬·±² Ñ® Ú®¿«¼
      ¿°°´·»¼ ¬± ¬¸» »¨¬»®·±® ±º ¾«·´¼·²¹-ò                           É» ©·´´ ²±¬ °¿§ º±® ¿²§ ´±-- ±® ¼¿³¿¹» ·² ¿²§
      É» ©·´´ ²±¬ ·²½´«¼» ¬¸» ª¿´«» ±º °¿·²¬ ±®                       ½¿-» ±ºæ
      ©¿¬»®°®±±º·²¹ ³¿¬»®·¿´ ¬± ¼»¬»®³·²» ¬¸» ¿³±«²¬ ±º               ïò Ý±²½»¿´³»²¬ ±®        ³·-®»°®»-»²¬¿¬·±²     ±º   ¿
      É·²¼-¬±®³ ±® Ø¿·´ ¼»¼«½¬·¾´»                                       ³¿¬»®·¿´ º¿½¬å ±®
  Þò Ì¸» º±´´±©·²¹ »¨½´«-·±² ¿²¼ ®»´¿¬»¼ °®±ª·-·±²- ¿®»               îò Ú®¿«¼å
     ¿¼¼»¼ ¬± Í°»½·º·½ Û¨½´«-·±²- ·² ¬¸» Ð®±°»®¬§
     Ý¸±·½» ó Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ¿²¼ Û¨½´«-·±²-                   ½±³³·¬¬»¼ ¾§ §±« ±® ¿²§ ±¬¸»® ·²-«®»¼ô ¿¬ ¿²§
     Ú±®³ øÐÝ ïð ïð÷æ                                                 ¬·³»ô ¿²¼ ®»´¿¬·²¹ ¬± ½±ª»®¿¹» «²¼»® ¬¸·-
                                                                      ·²-«®¿²½»ò
      ïò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ¿®·-·²¹ ±«¬
         ±º ¿²§ ¿½¬ ½±³³·¬¬»¼æ                                    Üò Ì¸·- Ð¿®¿¹®¿°¸ô Üòô ¿°°´·»- ¬± ¬¸» º±´´±©·²¹æ
          ¿ò Þ§ ±® ¿¬ ¬¸» ¼·®»½¬·±² ±º ¿²§ ·²-«®»¼å ¿²¼                   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
          ¾ò É·¬¸ ¬¸» ·²¬»²¬ ¬± ½¿«-» ¿ ´±--ò                         É·¬¸ ®»-°»½¬ ¬± Í»½¬·±² Ûò ÔÑÍÍ ÐßÇÓÛÒÌ ßÒÜ
                                                                      ÊßÔËßÌ×ÑÒ ÝÑÒÜ×Ì×ÑÒÍô ¬¸·- °±´·½§ ½±ª»®-
      îò Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ©·´´ ²±¬ ¿°°´§ ¬± ¼»²§               ±²´§ ¬¸» ½±-¬ ±º ®»°¿·®ô ®»¾«·´¼·²¹ ±® ®»°´¿½»³»²¬ò
         ½±ª»®¿¹» ¬± ¿² ·²²±½»²¬ ½±ó·²-«®»¼ô °®±ª·¼»¼                 Í«½¸ ½±-¬ ¼±»- ²±¬ ·²½´«¼» ®»½±ª»®§ ±ºô ¿²¼
         ¬¸» ´±--æ                                                    ¬¸»®»º±®» ¬¸·- °±´·½§ ¼±»- ²±¬ °¿§ ¿²§
          ¿ò ×- ±¬¸»®©·-» ½±ª»®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹»                 ½±³°»²-¿¬·±² º±®ô ¿² ¿½¬«¿´ ±® °»®½»·ª»¼
             Ð¿®¬å ¿²¼                                                ®»¼«½¬·±² ±º ¬¸» ³¿®µ»¬ ª¿´«» ±º ¿²§ °®±°»®¬§ò
          ¾ò ß®±-» ±«¬ ±º ¿² ¿½¬ ±º º¿³·´§ ª·±´»²½» ±®                Þ«¬ ·º ¬¸» °®±°»®¬§ ¬¸¿¬ ¸¿- -«-¬¿·²»¼ ´±-- ±®
             -»¨«¿´ ¿--¿«´¬ ¾§ ¿² ·²-«®»¼ô ¿¹¿·²-¬                    ¼¿³¿¹» ·- -«¾¶»½¬ ¬± ¿² »²¼±®-»³»²¬ ©¸·½¸
             ©¸±³ ¿ º¿³·´§ ª·±´»²½» ±® -»¨«¿´ ¿--¿«´¬                 »¨°´·½·¬´§ ¿¼¼®»--»- ³¿®µ»¬ ª¿´«»ô ¬¸»² ¬¸¿¬
             ½±³°´¿·²¬ ·- ¾®±«¹¸¬ º±® -«½¸ ¿½¬ò                       »²¼±®-»³»²¬ ©·´´ ¿°°´§ ¬± -«½¸ °®±°»®¬§ ·²
                                                                      ¿½½±®¼¿²½» ©·¬¸ ·¬- ¬»®³-ò




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                                         Ì¸» Ø¿®¬º±®¼
                  ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô ©·¬¸ ·¬- °»®³·--·±²ò÷
                                                                                         ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                 Ó×ÍÍ×ÍÍ×ÐÐ× ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò Ì¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë- Ý±²¼·¬·±² ·² ¬¸»                     ¿ò Ò± ±²» ³¿§ ¾®·²¹ ¿ ´»¹¿´ ¿½¬·±² ¿¹¿·²-¬
   Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²- ß²¼ Ü»º·²·¬·±²- º±®³                     «- «²¼»® Ý±ª»®¿¹»- ß ¿²¼ Þ «²´»--æ
   ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ                                       øï÷ Ì¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸
   ÔÛÙßÔ ßÝÌ×ÑÒ ßÙß×ÒÍÌ ËÍ                                                 ¿´´ ±º ¬¸» ¬»®³- ±º Ý±ª»®¿¹»- ß ¿²¼
   Ò± ±²» ³¿§ ¾®·²¹ ¿ ´»¹¿´ ¿½¬·±² ¿¹¿·²-¬ «- «²¼»®                        Þå ¿²¼
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   ïò Ì¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸ ¿´´ ±º ¬¸»                       ¿º¬»® §±« ¼·-½±ª»® ¬¸» »®®±® ±®
      ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬å ¿²¼                                     ¿½½·¼»²¬¿´ ±³·--·±²ò
   îò Ì¸» ¿½¬·±² ·- ¾®±«¹¸¬ ©·¬¸·² í §»¿®- ¿º¬»® ¬¸»     Ýò Ì¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë- Ý±²¼·¬·±² ·² ¬¸»
      ¼¿¬» ±² ©¸·½¸ ¬¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±®             Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³» Ý±ª»®¿¹»- Ú±®³
      ¼¿³¿¹» ±½½«®®»¼ò                                      ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
Þò Ð¿®¿¹®¿°¸ ¿ò ±º ¬¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-                ÔÛÙßÔ ßÝÌ×ÑÒ ßÙß×ÒÍÌ ËÍ
   Ý±²¼·¬·±² ·² ¬¸» Ó±®¬¹¿¹»¸±´¼»®- Û®®±®- ¿²¼                Ò± ±²» ³¿§ ¾®·²¹ ¿ ´»¹¿´ ¿½¬·±² ¿¹¿·²-¬ «- «²¼»®
   Ñ³·--·±²- Ý±ª»®¿¹» Ú±®³ ·- ®»°´¿½»¼ ¾§ ¬¸»                 ¬¸·- Ý±ª»®¿¹» Ð¿®¬ «²´»--æ
   º±´´±©·²¹æ                                                 ïò Ì¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸ ¿´´ ±º ¬¸»
                                                                 ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬å ¿²¼
                                                              îò Ì¸» ¿½¬·±² ·- ¾®±«¹¸¬ ©·¬¸·² í §»¿®- ¿º¬»® ¬¸»
                                                                 ¼¿¬» ±² ©¸·½¸ §±« ¼·-½±ª»® ¬¸» ´±--ò




Ú±®³ ÐÝ íï îí ðï ðç                                                                               Ð¿¹» ï ±º ï
                                            w îððçô Ì¸» Ø¿®¬º±®¼

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      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                        ÒÛÉ ÇÑÎÕ ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

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ßò ×º ¬¸·- °±´·½§ ½±ª»®- ¬¸» ·²¬»®»-¬ ±º ¬¸» ±©²»® ±º ¿²§         Ýò Ì¸» Ý±²½»¿´³»²¬ô Ó·-®»°®»-»²¬¿¬·±² ±® Ú®¿«¼
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         º¿³·´§ ±® ±©²»®ó±½½«°·»¼ ¬©±óº¿³·´§ ¾«·´¼·²¹-               É» ¼± ²±¬ °®±ª·¼» ½±ª»®¿¹» º±® ¿²§ ·²-«®»¼ ©¸± ¸¿-
         ±® -¬®«½¬«®»-÷å                                             ³¿¼» º®¿«¼«´»²¬ -¬¿¬»³»²¬- ±® »²¹¿¹»¼ ·² º®¿«¼«´»²¬
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   íò ×²¼«-¬®·¿´å                                                    ©¸·½¸ ½±ª»®¿¹» ·- -±«¹¸¬ «²¼»® ¬¸·- °±´·½§ò
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                                                                     Ú±®³æ
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   ¿¾±ª» ¾«·´¼·²¹- ±® -¬®«½¬«®»- ½¿«-»¼ ¾§ ±®                        ïò Ì¸» º±´´±©·²¹ -»²¬»²½» ±º Ð¿®¿¹®¿°¸ ßò Ù«»-¬-ù
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         ¾ò Ð¿§ ¼·®»½¬´§ ¬± ¬¸» ¬¿¨ ¼·-¬®·½¬ ¬¸» ¿³±«²¬                  Ì¸» º±´´±©·²¹ -»²¬»²½» ·- -«¾-¬·¬«¬»¼æ
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   °¿§ ¬¸» ¿³±«²¬ ±º ¬¸¿¬ ½´¿·³ ¬± §±«ò Ñ«® °¿§³»²¬ ±º                   ¿´´»¹¿¬·±²- ±º ¬¸» þ-«·¬þ ¿®» ¹®±«²¼´»--ô º¿´-» ±®
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Þò Ì¸» Û¨¿³·²¿¬·±² Ñº Ç±«® Þ±±µ- ß²¼ Î»½±®¼-                             Í«·¬ Ý±²¼·¬·±² ·² ¬¸» ×²²µ»»°»®- Ý±ª»®¿¹»
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   º±´´±©·²¹æ                                                            ¿ò Ò±¬·½» ¹·ª»² ¾§ ±® ±² ¾»¸¿´º ±º ¬¸» ·²-«®»¼ô
   Ë²¼»® ¬¸» Ó±²¬¸´§ Î»°±®¬·²¹ Û²¼±®-»³»²¬ô ¬¸»                               ±® ©®·¬¬»² ²±¬·½» ¾§ ±® ±² ¾»¸¿´º ±º ¬¸»
   ¿«¼·¬ ³¿§ ¾» ©¿·ª»¼ ·ºæ                                                    ·²-«®»¼ °»®-±² ±® ¿²§ ±¬¸»® ½´¿·³¿²¬ô ¬±
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         ¿«¼·¬¿¾´» »¨°±-«®» ¾¿-» ·- ²±¬ ®»¿-±²¿¾´§                            °¿®¬·½«´¿®- -«ºº·½·»²¬ ¬± ·¼»²¬·º§ ¬¸» ·²-«®»¼ô
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        ©·¬¸ ¬¸» -°»½·º·½ ·¼»²¬·º·½¿¬·±² ±º ¿²§ ¿¼¼·¬·±²¿´                    ±º ¿²§ ´±--ô ½´¿·³ ±® þ-«·¬þ ±® ¬± -»²¼ «-
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   ×º ¬¸» ¿«¼·¬ ·- ²±¬ ©¿·ª»¼ô ·¬ ³«-¬ ¾» ½±³°´»¬»¼                           «- º®±³ ¿²§ ®»-°±²-·¾·´·¬§ ·² ¿²§ þ-«·¬þ ·º ·¬
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   ïò Ì¸» »¨°·®¿¬·±² ¼¿¬» ±º ¬¸» °±´·½§å ±®                                   °±--·¾´» ¬± ¹·ª» ¬¸» ²±¬·½» ±® º±®©¿®¼ ¬¸»
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         ±²» §»¿®ò                                                            ¿- ®»¿-±²¿¾´§ °±--·¾´»ò


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                                                                                        °»®³·--·±²ò÷
Ûò Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ©·¬¸ ®»-°»½¬ ¬± ¿²§            Ùò Ì¸» º±´´±©·²¹ Ý±²¼·¬·±² ·- ¿¼¼»¼ ¬± ¬¸» Ó±²»§ ¿²¼
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   ¿½½·¼»²¬ô ½´¿·³ ±® þ-«·¬þæ                               ¿²¼ Ñ³·--·±²- Ý±ª»®¿¹» Ú±®³-æ
   ïò Ò±¬·½» ¹·ª»² ¾§ ±® ±² §±«® ¾»¸¿´ºå ±®                 Ì®¿²-º»® Ñº Ü«¬·»- É¸»² ß Ô·³·¬ Ñº ×²-«®¿²½»
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                                                               ×²-«®¿²½» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ·- ´·µ»´§
Úò Ì¸» º±´´±©·²¹ ¿°°´§ ¬± ¾±¬¸ ¬¸» Ô»¹¿´ Ô·¿¾·´·¬§ ó           ¬± ¾» «-»¼ «° ·² ¬¸» °¿§³»²¬ ±º ¶«¼¹³»²¬- ±®
   Þ«·´¼·²¹ ¿²¼ ¬¸» Ó±®¬¹¿¹» Û®®±®- ¿²¼ Ñ³·--·±²-              -»¬¬´»³»²¬-ô ©» ©·´´ ²±¬·º§ ¬¸» º·®-¬ Ò¿³»¼
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       Ì¸» ®»¯«·®»³»²¬- º±® °®±³°¬ ²±¬·º·½¿¬·±² ±º                 -«¾¶»½¬ ¬± ¬¸¿¬ ´·³·¬ ¸¿- ¿´-± »²¼»¼ò
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                                                                ¾ò É» ©·´´ ·²·¬·¿¬» ¿²¼ ½±±°»®¿¬» ·² ¬¸»
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       Ý±ª»®¿¹» Ú±®³ ¿²¼ ·² Ð¿®¿¹®¿°¸ Ùòíò¿òøï÷ø¾÷
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                                                                   ¼¿³¿¹»- ©¸·½¸ ¿®» -«¾¶»½¬ ¬± ¬¸¿¬ ´·³·¬
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       °±--·¾´»ò
                                                                   ½±±°»®¿¬» ·² ¬¸» ¬®¿²-º»® ±º ½±²¬®±´ ±º -¿·¼
   îò Ì¸» º±´´±©·²¹ ½¸¿²¹» ¿°°´·»- ¬± ¬¸» ´¿-¬                     ½´¿·³- ¿²¼ þ-«·¬-þò
      °¿®¿¹®¿°¸ ±º ¬¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-                      É» ¿¹®»» ¬± ¬¿µ» -«½¸ -¬»°- ¿- ©» ¼»»³
      Ý±²¼·¬·±² Ûòî ±º ¬¸» Ô»¹¿´ Ô·¿¾·´·¬§ ó Þ«·´¼·²¹               ¿°°®±°®·¿¬» ¬± ¿ª±·¼ ¿ ¼»º¿«´¬ ·²ô ±®
      Ý±ª»®¿¹»     Ú±®³    ¿²¼    Ùòëò      ±º    ¬¸»               ½±²¬·²«» ¬¸» ¼»º»²-» ±º -«½¸ þ-«·¬-þô «²¬·´
      Ó±®¬¹¿¹»¸±´¼»®- Û®®±®- ¿²¼ Ñ³·--·±²-                          -«½¸ ¬®¿²-º»® ·- ½±³°´»¬»¼ô °®±ª·¼»¼ ¬¸»
      Ý±ª»®¿¹» Ú±®³ò                                                ¿°°®±°®·¿¬» ·²-«®»¼ ·- ½±±°»®¿¬·²¹ ·²
       Ì¸» º·®-¬ -»²¬»²½» ±º ¬¸·- °¿®¿¹®¿°¸ ¿- ·¬                   ½±³°´»¬·²¹ -«½¸ ¬®¿²-º»®ò
       ¿°°»¿®- ·² »¿½¸ º±®³ ·- ®»°´¿½»¼ ¾§ ¬¸»                      É» ©·´´ ¬¿µ» ²± ¿½¬·±² ©¸¿¬-±»ª»® ©·¬¸
       º±´´±©·²¹æ                                                   ®»-°»½¬ ¬± ¿²§ ½´¿·³ ±® þ-«·¬þ -»»µ·²¹
       ß °»®-±² ±® ±®¹¿²·¦¿¬·±² ³¿§ -«» «- ¬±                       ¼¿³¿¹»- ¬¸¿¬ ©±«´¼ ¸¿ª» ¾»»² -«¾¶»½¬ ¬±
       ®»½±ª»® ±² ¿² ¿¹®»»¼ -»¬¬´»³»²¬ ±® ±² ¿ º·²¿´                ¬¸¿¬ ´·³·¬ô ¸¿¼ ·¬ ²±¬ ¾»»² «-»¼ «°ô ·º ¬¸»
       ¶«¼¹³»²¬ ¿¹¿·²-¬ §±«ô ¾«¬ ©» ©·´´ ²±¬ ¾» ´·¿¾´»              ½´¿·³ ±® þ-«·¬þ ·- ®»°±®¬»¼ ¬± «- ¿º¬»® ¬¸¿¬
       º±® ¼¿³¿¹»- ¬¸¿¬ ¿®» ²±¬ °¿§¿¾´» «²¼»® ¬¸»                   Ô·³·¬ ±º ×²-«®¿²½» ¸¿- ¾»»² «-»¼ «°ò
       ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ú±®³ ±® ¬¸¿¬ ¿®» ·²               ½ò Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ô ¿²¼ ¿²§ ±¬¸»®
       »¨½»-- ±º ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò                           ·²-«®»¼ ·²ª±´ª»¼ ·² ¿ þ-«·¬þ -»»µ·²¹
   íò Ì¸» º±´´±©·²¹ -»²¬»²½» ·- ¼»´»¬»¼ º®±³                       ¼¿³¿¹»- -«¾¶»½¬ ¬± ¬¸¿¬ ´·³·¬ô ³«-¬
      Ð¿®¿¹®¿°¸ ßò ±º ¬¸» Ô»¹¿´ Ô·¿¾·´·¬§ ó Þ«·´¼·²¹               ¿®®¿²¹» º±® ¬¸» ¼»º»²-» ±º -«½¸ þ-«·¬þ
      Ý±ª»®¿¹» Ú±®³å ¿²¼ º®±³ Ð¿®¿¹®¿°¸ ßòíò ±º                    ©·¬¸·² -«½¸ ¬·³» °»®·±¼ ¿- ¿¹®»»¼ ¬±
      ¬¸» Ó±®¬¹¿¹»¸±´¼»®- Û®®±®- ¿²¼ Ñ³·--·±²-                     ¾»¬©»»² ¬¸» ¿°°®±°®·¿¬» ·²-«®»¼ ¿²¼ «-ò
      Ý±ª»®¿¹» Ú±®³æ                                               ß¾-»²¬       ¿²§   -«½¸      ¿¹®»»³»²¬ô
                                                                   ¿®®¿²¹»³»²¬- º±® ¬¸» ¼»º»²-» ±º -«½¸
       É» ©·´´ ¸¿ª» ¬¸» ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ ¿²§
                                                                   þ-«·¬þ ³«-¬ ¾» ³¿¼» ¿- -±±² ¿-
       þ-«·¬þ -»»µ·²¹ ¬¸±-» ¼¿³¿¹»-ò
                                                                   °®¿½¬·½¿¾´»ò
       ×² ·¬- °´¿½»ô ¬¸» º±´´±©·²¹ -»²¬»²½» ¿°°´·»- ·²
       ¾±¬¸ º±®³-æ                                          íò Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ©·´´ ®»·³¾«®-» «- º±®
                                                               »¨°»²-»- ©» ·²½«® ·² ¬¿µ·²¹ ¬¸±-» -¬»°- ©»
       É» ©·´´ ¸¿ª» ¬¸» ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ ¿²§           ¼»»³ ¿°°®±°®·¿¬» ·² ¿½½±®¼¿²½» ©·¬¸
       þ-«·¬þ -»»µ·²¹ ¬¸±-» ¼¿³¿¹»- »ª»² ·º ¿²§ ±º             Ð¿®¿¹®¿°¸ Ùòîò¾ò ¿¾±ª»ò
       ¬¸» ¿´´»¹¿¬·±²- ±º ¬¸» þ-«·¬þ ¿®» ¹®±«²¼´»--ô
       º¿´-» ±® º®¿«¼«´»²¬ò


Ð¿¹» î Case
       ±º í 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                                179 ÐÝ
                                                                                    of 579
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          Ì¸» ¼«¬§ ±º ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ¬±                    ¬± ®»¿´ °®±°»®¬§ô -°»½·º§·²¹ ¿´´ ¼»¼«½¬·±²-ô °®±ª·¼»¼
          ®»·³¾«®-» «- ©·´´ ¾»¹·² ±²æ                               -«½¸ ¿² »-¬·³¿¬» ¸¿- ¾»»² °®»°¿®»¼ ¾§ «- ±® ¸¿-
          ¿ò Ì¸» ¼¿¬» ±² ©¸·½¸ ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º              ¾»»² °®»°¿®»¼ ±² ±«® ¾»¸¿´º º±® ±«® ±©²
             ×²-«®¿²½» ·- «-»¼ «°ô ·º ©» -»²¬ ²±¬·½» ·²             °«®°±-»-ò Ì¸·- »-¬·³¿¬» ©·´´ ¾» °®±ª·¼»¼ ©·¬¸·²
             ¿½½±®¼¿²½» ©·¬¸ Ð¿®¿¹®¿°¸ Ùòïò ¿¾±ª»å ±®               ¬¸·®¬§ ¼¿§- ¿º¬»® §±«® ®»¯«»-¬ ±® ·¬- °®»°¿®¿¬·±²ô
                                                                    ©¸·½¸»ª»® ·- ´¿¬»®ò
          ¾ò Ì¸» ¼¿¬» ±² ©¸·½¸ ©» -»²¬ ²±¬·½» ·²
                                                                 Öò Ì¸» º±´´±©·²¹ °®±ª·-·±² ·- ¿¼¼»¼ ¬± ¬¸» Ô»¹¿´
             ¿½½±®¼¿²½» ©·¬¸ Ð¿®¿¹®¿°¸ Ùòîò¿ò ¿¾±ª»ô
             ·º ©» ¼·¼ ²±¬ -»²¼ ²±¬·½» ·² ¿½½±®¼¿²½»                Ô·¿¾·´·¬§ ó Þ«·´¼·²¹ Ý±ª»®¿¹» Ú±®³ ¿²¼
             ©·¬¸ Ð¿®¿¹®¿°¸ Ùòïò ¿¾±ª»ò                             -«°»®-»¼»- ¿²§ °®±ª·-·±² ¬± ¬¸» ½±²¬®¿®§æ
                                                                    Ú¿·´«®» ¬± ¹·ª» °®±³°¬ ²±¬·½» ¬± «-ô ¿- ®»¯«·®»¼
     ìò Ì¸» »¨¸¿«-¬·±² ±º ¿²§ Ô·³·¬ ±º ×²-«®¿²½» ¾§
                                                                    «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³ô -¸¿´´ ²±¬ ·²ª¿´·¼¿¬» ¿²§
        ¬¸» °¿§³»²¬- ±º ¶«¼¹³»²¬- ±® -»¬¬´»³»²¬-ô
                                                                    ½´¿·³ ³¿¼» ¾§ §±« ±® ¿²§ ±¬¸»® ½´¿·³¿²¬ô «²´»--
        ¿²¼ ¬¸» ®»-«´¬·²¹ »²¼ ±º ±«® ¼«¬§ ¬± ¼»º»²¼ô
                                                                    ¬¸» º¿·´«®» ¬± °®±ª·¼» -«½¸ ¬·³»´§ ²±¬·½» ¸¿-
        ©·´´ ²±¬ ¾» ¿ºº»½¬»¼ ¾§ ±«® º¿·´«®» ¬± ½±³°´§
                                                                    °®»¶«¼·½»¼ «-ò Ø±©»ª»®ô ²± ½´¿·³ ³¿¼» ¾§ §±« ±®
        ©·¬¸ ¿²§ ±º ¬¸» °®±ª·-·±²- ±º ¬¸·- Ý±²¼·¬·±²ò
                                                                    ¿²§ ±¬¸»® ½´¿·³¿²¬ ©·´´ ¾» ·²ª¿´·¼¿¬»¼ ·º ·¬ -¸¿´´ ¾»
Øò Ì¸» ß°°®¿·-¿´ Ý±²¼·¬·±² ·- ®»°´¿½»¼ ¾§ ¬¸»                       -¸±©² ²±¬ ¬± ¸¿ª» ¾»»² ®»¿-±²¿¾´§ °±--·¾´» ¬±
   º±´´±©·²¹æ                                                       ¹·ª» -«½¸ ¬·³»´§ ²±¬·½» ¿²¼ ¬¸¿¬ ²±¬·½» ©¿- ¹·ª»²
     ß°°®¿·-¿´                                                      ¿- -±±² ¿- ©¿- ®»¿-±²¿¾´§ °±--·¾´» ¬¸»®»¿º¬»®ò
     ïò   ×º ©» ¿²¼ §±« ¼·-¿¹®»» ±² ¬¸» ª¿´«» ±º ¬¸»             Õò ×º ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³»
          °®±°»®¬§ô ¬¸» »¨¬»²¬ ±º ¬¸» ´±-- ±® ¼¿³¿¹» ±® ¬¸»         Ý±ª»®¿¹» Ú±®³ ·- ¿¬¬¿½¸»¼ ¬± ¬¸·- Ý±ª»®¿¹» Ð¿®¬
          ¿³±«²¬ ±º ¬¸» ´±-- ±® ¼¿³¿¹»ô »·¬¸»® ³¿§ ³¿µ»             ¬¸»² ¬¸» º±´´±©·²¹ ¿°°´·»-æ
          ©®·¬¬»² ¼»³¿²¼ º±® ¿² ¿°°®¿·-¿´ ±º ¬¸» ´±--ò ×²           ïò Ø±©»ª»® Ð¿®¿¹®¿°¸ Ûòïò¾ ¼±»- ²±¬ ¿°°´§ ¬±
          ¬¸·- »ª»²¬ô »¿½¸ °¿®¬§ ©·´´ -»´»½¬ ¿ ½±³°»¬»²¬ ¿²¼           ¿² þ»³°´±§»»þ ©¸± ©¿- ½±²ª·½¬»¼ ±º ±²» ±®
          ·³°¿®¬·¿´ ¿°°®¿·-»® ¿²¼ ²±¬·º§ ¬¸» ±¬¸»® ±º ¬¸»              ³±®» ½®·³·²¿´ ±ºº»²-»- ·² ¬¸·- -¬¿¬» ±® ¿²§
          ¿°°®¿·-»® -»´»½¬»¼ ©·¬¸·² îð ¼¿§- ±º -«½¸                    ±¬¸»® ¶«®·-¼·½¬·±² °®·±® ¬± ¾»½±³·²¹ »³°´±§»¼
          ¼»³¿²¼ò                                                      ¾§ §±« ·ºô ¿º¬»® ´»¿®²·²¹ ¿¾±«¬ ¬¸» þ»³°´±§»»ù-þ
     îò   ×º ©» ±® §±« º¿·´ ¬± °®±½»»¼ ©·¬¸ ¬¸» ¿°°®¿·-¿´ ±º           °¿-¬ ½®·³·²¿´ ½±²ª·½¬·±² ±® ½±²ª·½¬·±²-ô §±«
          ¬¸» ½±ª»®»¼ ´±-- ¿º¬»® ¿ ©®·¬¬»² ¼»³¿²¼ ·- ³¿¼»              ³¿¼» ¿ ¼»¬»®³·²¿¬·±² ¬± ¸·®» ±® ®»¬¿·² ¬¸»
          ¾§ »·¬¸»® °¿®¬§ô ¬¸»² »·¬¸»® °¿®¬§ ³¿§ ¿°°´§ ¬± ¿            þ»³°´±§»»þ «¬·´·¬¦·²¹ ¬¸» º¿½¬±®- -»¬ ±«¬ ·² Ò»©
          ½±«®¬ ¸¿ª·²¹ ¶«®·-¼·½¬·±² º±® ¿² ±®¼»® ¼·®»½¬·²¹ ¬¸»         Ç±®µ Ý±®®»½¬·±² Ô¿© ß®¬·½´» îíóßò
          °¿®¬§ ¬¸¿¬ º¿·´»¼ ¬± °®±½»»¼ ©·¬¸ ¬¸» ¿°°®¿·-¿´ ¬±        îò Ø±©»ª»® Ð¿®¿¹®¿°¸ Úòîò¿òøï÷ ¼±»- ²±¬ ¿°°´§
          ½±³°´§ ©·¬¸ ¬¸» ¼»³¿²¼ º±® ¬¸» ¿°°®¿·-¿´ ±º ¬¸»              ¬± ¿² þ»³°´±§»»þ ©¸±-» þ¬¸»º¬þ ±® ±¬¸»®
          ´±--ò ×² ¬¸·- »ª»²¬ô »¿½¸ °¿®¬§ ©·´´ -»´»½¬ ¿                ¼·-¸±²»-¬ ¿½¬ ©¿- ½±³³·¬¬»¼ °®·±® ¬±
          ½±³°»¬»²¬ ¿²¼ ·³°¿®¬·¿´ ¿°°®¿·-»® ¿²¼ ²±¬·º§ ¬¸»             ¾»½±³·²¹ »³°´±§»¼ ¾§ §±« ¿²¼ ©¸·½¸
          ±¬¸»® ±º ¬¸» ¿°°®¿·-»® -»´»½¬»¼ ©·¬¸·² îð ¼¿§- ±º            ®»-«´¬»¼ ·² ¬¸» þ»³°´±§»»þ ¾»·²¹ ½±²ª·½¬»¼ ±º
          -«½¸ ±®¼»®ò                                                  ±²» ±® ³±®» ½®·³·²¿´ ±ºº»²-»- ·² ¬¸·- -¬¿¬» ±®
     íò   Ì¸» ¬©± ¿°°®¿·-»®- ©·´´ -»´»½¬ ¿² «³°·®»ò ×º ¬¸»§            ¿²§ ±¬¸»® ¶«®·-¼·½¬·±² ·ºô ¿º¬»® ´»¿®²·²¹ ¿¾±«¬
          ½¿²²±¬ ¿¹®»» ©·¬¸·² ïë ¼¿§- «°±² -«½¸ «³°·®»ô                ¬¸» þ»³°´±§»»ù-þ °¿-¬ ½®·³·²¿´ ½±²ª·½¬·±² ±®
          »·¬¸»® ³¿§ ®»¯«»-¬ ¬¸¿¬ -»´»½¬·±² ¾» ³¿¼» ¾§ ¿               ½±²ª·½¬·±²-ô §±« ³¿¼» ¿ ¼»¬»®³·²¿¬·±² ¬± ¸·®»
          ¶«¼¹» ±º ¿ ½±«®¬ ¸¿ª·²¹ ¶«®·-¼·½¬·±²ò        Ì¸»             ±® ®»¬¿·² ¬¸» þ»³°´±§»»þ «¬·´·¦·²¹ ¬¸» º¿½¬±® -»¬
          ¿°°®¿·-»®- ©·´´ -¬¿¬» -»°¿®¿¬»´§ ¬¸» ª¿´«» ±º ¬¸»            ±«¬ ·² Ò»© Ç±®µ Ý±®®»½¬·±² Ô¿© ß®¬·½´» îíóßå
          °®±°»®¬§ô ¬¸» »¨¬»²¬ ±º ¬¸» ´±-- ±® ¼¿³¿¹» ¿²¼               ±®
          ¬¸» ¿³±«²¬ ±º ¬¸» ´±-- ±® ¼¿³¿¹»ò ×º ¬¸»§ º¿·´ ¬±         íò Ð¿®¿¹®¿°¸ Úòïò® Û-¬·³¿¬·±² ±º Ý´¿·³- ·-
          ¿¹®»»ô ¬¸»§ ©·´´ -«¾³·¬ ¬¸»·® ¼·ºº»®»²½»- ¬± ¬¸»             ¿¼¼»¼
          «³°·®»ò ß ¼»½·-·±² ¿¹®»»¼ ¬± ¾§ ¿²§ ¬©± ©·´´ ¾»
                                                                       Ë°±² ®»¯«»-¬ô ©» ©·´´ º«®²·-¸ §±«ô ±® §±«®
          ¾·²¼·²¹ò
                                                                       ®»°®»-»²¬¿¬·ª»ô ©·¬¸ ¿ ©®·¬¬»² »-¬·³¿¬» ±º
     ìò   Û¿½¸ °¿®¬§ ©·´´æ                                             ¼¿³¿¹» ¬± ®»¿´ °®±°»®¬§ô -°»½·º§·²¹ ¿´´
          ¿ò Ð¿§ ·¬- ½¸±-»² ¿°°®¿·-»®å ¿²¼                             ¼»¼«½¬·±²-ô °®±ª·¼»¼ -«½¸ ¿² »-¬·³¿¬» ¸¿-
                                                                       ¾»»² °®»°¿®»¼ ¾§ «- ±® ¸¿- ¾»»² °®»°¿®»¼ ±²
          ¾ò Þ»¿® ¬¸» ±¬¸»® »¨°»²-»- ±º ¬¸» ¿°°®¿·-¿´
                                                                       ±«® ¾»¸¿´º º±® ±«® ±©² °«®°±-»-ò         Ì¸·-
             ¿²¼ «³°·®» »¯«¿´´§ò
                                                                       »-¬·³¿¬» ©·´´ ¾» °®±ª·¼»¼ ©·¬¸·² íð ¼¿§- ¿º¬»®
     ×º ¬¸»®» ·- ¿² ¿°°®¿·-¿´ô ©» ©·´´ -¬·´´ ®»¬¿·² ±«® ®·¹¸¬          §±«® ®»¯«»-¬ ±® ·¬- °®»°¿®¿¬·±²ô ©¸·½¸»ª»® ·-
     ¬± ¼»²§ ¬¸» ½´¿·³ò                                                ´¿¬»®ò
×ò   Ì¸» º±´´±©·²¹ °®±ª·-·±² ·- ¿¼¼»¼ ¬± ¬¸» Ð®±°»®¬§
     Ý¸±·½» Ý±ª»®¿¹» Ð¿®¬æ
     Ë°±² ®»¯«»-¬ô ©» ©·´´ º«®²·-¸ §±«ô ±® §±«®
     ®»°®»-»²¬¿¬·ª»ô ©·¬¸ ¿ ©®·¬¬»² »-¬·³¿¬» ±º ¼¿³¿¹»-


      Case
Ú±®³ ÐÝ íï íï3:24-cv-00490-FDW-SCR
              ðë ïè                                   Document 1-4 Filed 05/21/24 Page 180 of 579
                                                                                              Ð¿¹» í ±º í
                                                                                             ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




         ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                             ÒÑÎÌØ ÝßÎÑÔ×Òß ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

         ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò Ì¸» Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë- Ý±²¼·¬·±² ·-                                  ø¾÷ ß¬ -±³» ±¬¸»® ´±½¿¬·±² ·² ¬¸»
   ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ                                                    Í¬¿¬» ±º Ò±®¬¸ Ý¿®±´·²¿å ¿²¼
    Ò± ±²» ³¿§ ¾®·²¹ ¿ ´»¹¿´ ¿½¬·±² ¿¹¿·²-¬ «- «²¼»®                    øî÷ Ë²´»-- ¬¸» ®»°¿·® ±® ®»°´¿½»³»²¬ ·-
    ¬¸·- Ý±ª»®¿¹» Ð¿®¬ «²´»--æ                                              ³¿¼» ¿- -±±² ¿- ®»¿-±²¿¾´§ °±--·¾´»
    ïò Ì¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸ ¿´´ ±º ¬¸»                       ¿º¬»® ¬¸» ´±-- ±® ¼¿³¿¹»ò
       ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬å ¿²¼                                 øí÷ ×º    ¬»²¿²¬     ·³°®±ª»³»²¬-       ¿²¼
    îò Ì¸» ¿½¬·±² ·- ¾®±«¹¸¬ ©·¬¸·² ¬¸®»» §»¿®- ¿º¬»®                       ¾»¬¬»®³»²¬- ¿®» ½±ª»®»¼ô ¿²¼ ¬¸»
       ¬¸» ¼¿¬» ±² ©¸·½¸ ¬¸» ¼·®»½¬ °¸§-·½¿´ ´±-- ±®                        ½±²¼·¬·±²- ·² ¾òøï÷ ¿²¼ ¾òøî÷ ¿¾±ª» ¿®»
       ¼¿³¿¹» ±½½«®®»¼ò                                                     ²±¬ ³»¬ô ¬¸» ª¿´«» ±º ¬»²¿²¬
                                                                            ·³°®±ª»³»²¬- ¿²¼ ¾»¬¬»®³»²¬- ©·´´ ¾»
Þò ×º ´±-- ±® ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ ·² ¬¸» Þ»¿½¸                       ¼»¬»®³·²»¼ ¿- ¿ °®±°±®¬·±² ±º §±«®
   Ì»®®·¬±®§ ·- ½¿«-»¼ ¾§ ±® ®»-«´¬- º®±³ É·²¼-¬±®³ ±®                      ±®·¹·²¿´ ½±-¬ô ¿- -»¬ º±®¬¸ ·² ¬¸» Ô±--
   Ø¿·´ô ¬¸» º±´´±©·²¹ ¿¼¼·¬·±²¿´ »¨½´«-·±² ¿°°´·»-æ                        Ð¿§³»²¬ ¿²¼ Ê¿´«¿¬·±² Ý±²¼·¬·±²-ò
    É·²¼-¬±®³ ±® Ø¿·´ Û¨¬»®·±®               Ð¿·²¬   ¿²¼            ½ò Ì¸» ÑÐÌ×ÑÒßÔ ÎÛÐÔßÝÛÓÛÒÌ ßÌ
    É¿¬»®°®±±º·²¹ Û¨½´«-·±²                                            ßÒÑÌØÛÎ ÐÎÛÓ×ÍÛÍ Ð¿®¿¹®¿°¸ ·-
    É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ¬±æ                             ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
    ïò Ð¿·²¬å ±®                                                        Ç±« ³¿§ ½¸±±-» ¬± ®»°´¿½» §±«® ¾«·´¼·²¹
    îò É¿¬»®°®±±º·²¹ ³¿¬»®·¿´å                                          ¿¬ ¿²±¬¸»® °®»³·-»- ·² ¬¸» -¬¿¬» ±º Ò±®¬¸
                                                                        Ý¿®±´·²¿ô ¸±©»ª»®ô ©» ©·´´ ²±¬ °¿§ ³±®»
    ¿°°´·»¼ ¬± ¬¸» »¨¬»®·±® ±º Þ«·´¼·²¹-ò                               ¬¸¿² ¬¸» ½±-¬ ¬± ®»°´¿½» ¬¸» °®±°»®¬§ ¿¬ ¬¸»
    Ì¸» Þ»¿½¸ Ì»®®·¬±®§ ½±²-·-¬- ±º ´±½¿´·¬·»- -±«¬¸ ¿²¼                ±®·¹·²¿´ °®»³·-»-ò
    »¿-¬ ±º ¬¸» ×²´¿²¼ É¿¬»®©¿§æ                            Üò Ì¸» ß°°®¿·-¿´ Ý±²¼·¬·±² ·- ®»°´¿½»¼ ¾§ ¬¸»
    ïò Ú®±³ ¬¸» Í±«¬¸ Ý¿®±´·²¿ ´·²» ¬± Ú±®¬ Ó¿½±²              º±´´±©·²¹æ
       øÞ»¿«º±®¬ ×²´»¬÷ô                                       ×º ©» ¿²¼ §±« ¼·-¿¹®»» ±² ¬¸» ª¿´«» ±º ¬¸» °®±°»®¬§ ±®
    îò Ú®±³ ¬¸»®» -±«¬¸ ¿²¼ »¿-¬ ±º Ý±®»ô Ð¿³´·½±ô             ¬¸» ¿³±«²¬ ±º ´±--ô »·¬¸»® ³¿§ ³¿µ» ©®·¬¬»² ¼»³¿²¼
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Ýò Ð¿®¿¹®¿°¸- ïò¾ò ¿²¼ ïò½ò ±º ¬¸» ÔÑÍÍ ÐßÇÓÛÒÌ                ¿²¼ ©» ³«-¬ ²±¬·º§ ¬¸» ±¬¸»® ±º ¬¸» ¿°°®¿·-»®
   ßÒÜ ÊßÔËßÌ×ÑÒ ÝÑÒÜ×Ì×ÑÒÍ ·² ¬¸» Ð®±°»®¬§                    -»´»½¬»¼ ©·¬¸·² îð ¼¿§- ±º ¬¸» ©®·¬¬»² ¼»³¿²¼ º±®
   Ý¸±·½» Ý±ª»®¿¹» Ú±®³ ¿®» ®»°´¿½»¼ ¾§ ¬¸»                    ¿°°®¿·-¿´ò Ì¸» ¬©± ¿°°®¿·-»®- ©·´´ -»´»½¬ ¿² «³°·®»ò
   º±´´±©·²¹æ                                                  ×º ¬¸» ¿°°®¿·-»®- ¼± ²±¬ ¿¹®»» ±² ¬¸» -»´»½¬·±² ±º ¿²
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                  ¿½¬«¿´´§ ®»°¿·®»¼ ±® ®»°´¿½»¼æ
                  ø¿÷ Ñ² ¬¸» ¼»-½®·¾»¼ °®»³·-»-å ±®




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          ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                                            ÌÛÈßÍ ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ ¿°°´·»- ±²´§ ¬± ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ±½½«®®·²¹ ·² ¬¸» -¬¿¬» ±º ÌÛÈßÍò
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      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

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        ¿ò Ì¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸ ¿´´ ±º               «³°·®»ò ×º ¬¸»§ ½¿²²±¬ ¿¹®»» ©·¬¸·² ïë ¼¿§- «°±²
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           ±²» ¼¿§ º®±³ ¬¸» ¼¿¬» ¬¸» ½¿«-» ±º ¿½¬·±²                Û¿½¸ ¿°°®¿·-»® ©·´´ -¬¿¬» ¬¸» ¿³±«²¬ ±º ´±--ò ×º
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      ¬¸¿² ¬¸» ïð¬¸ ¼¿§ ¿º¬»® ¬¸» ¼¿¬» ±² ©¸·½¸ ¬¸»                  ×º ©» ¸¿ª» ²±¬·º·»¼ §±« ¬¸¿¬ ©» ²»»¼
      ±ºº»® ·- ³¿¼»ò                                                 ¿¼¼·¬·±²¿´ ¬·³» ¬± ®»¿½¸ ¿ ¼»½·-·±²ô ©»
   îò ß²§ -»¬¬´»³»²¬ ±º ¿ ½´¿·³ ³¿¼» ±® þ-«·¬þ                       ³«-¬ ¬¸»² »·¬¸»® ¿°°®±ª» ±® ¼»²§ ¬¸»
      ¾®±«¹¸¬ ¿¹¿·²-¬ ¬¸» ·²-«®»¼ «²¼»® ¬¸·-                         ½´¿·³ ©·¬¸·² ìë ¼¿§- ±º -«½¸ ²±¬·½»ò
      ½±ª»®¿¹»ò Ì¸» ²±¬·½» ©·´´ ¾» ¹·ª»² ²± ´¿¬»®              îò Ý´¿·³- Ð¿§³»²¬
      ¬¸¿² ¬¸» íð¬¸ ¼¿§ ¿º¬»® ¬¸» ¼¿¬» ±º ¬¸»
      -»¬¬´»³»²¬ò                                                 É» ©·´´ °¿§ º±® ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ©·¬¸·²
                                                                  º·ª» ¾«-·²»-- ¼¿§- ¿º¬»®æ
Ûò Ë²¼»® ¬¸» Ý´¿·³ Í»¬¬´»³»²¬ Ý±²¼·¬·±² ·² ¬¸»
   Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²- ¿²¼ Ü»º·²·¬·±²- Ú±®³                ¿ò É» ¸¿ª» ²±¬·º·»¼ §±« ¬¸¿¬ °¿§³»²¬ ±º ¬¸»
   ¿²¼ «²¼»® ¬¸» Ô±-- Ð¿§³»²¬ Ý±²¼·¬·±² ·² ¬¸»                       ½´¿·³ ±® °¿®¬ ±º ¬¸» ½´¿·³ ©·´´ ¾» ³¿¼»
   Ð®±°»®¬§ Ý¸±·½»  Ý®·­·­ Ûª»²¬ Ý±ª»®¿¹» Ú±®³ô                     ¿²¼ ¸¿ª» ®»¿½¸»¼ ¿¹®»»³»²¬ ©·¬¸ §±« ±²
   ¬¸» °®±ª·-·±²- °»®¬¿·²·²¹ ¬± ²±¬·½» ±º ±«®                        ¬¸» ¿³±«²¬ ±º ´±--å ±®
   ·²¬»²¬·±²- ¿²¼ ¬¸» ¬·³» °»®·±¼ º±® °¿§³»²¬ ±º                  ¾ò ß² ¿°°®¿·-¿´ ¿©¿®¼ ¸¿- ¾»»² ³¿¼»ò
   ½´¿·³- ¿®» ¼»´»¬»¼ ¿²¼ ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ              Ø±©»ª»®ô ·º °¿§³»²¬ ±º ¬¸» ½´¿·³ ±® °¿®¬ ±º
   ïò Ý´¿·³- Ø¿²¼´·²¹                                             ¬¸» ½´¿·³ ·- ½±²¼·¬·±²»¼ ±² §±«® ½±³°´·¿²½»
       ¿ò É·¬¸·² ïë ¼¿§- ¿º¬»® ©» ®»½»·ª» ©®·¬¬»²                 ©·¬¸ ¿²§ ±º ¬¸» ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô
          ²±¬·½» ±º ½´¿·³ô ©» ©·´´æ                               ©» ©·´´ ³¿µ» °¿§³»²¬ ©·¬¸·² º·ª» ¾«-·²»--
                                                                  ¼¿§- ¿º¬»® ¬¸» ¼¿¬» §±« ¸¿ª» ½±³°´·»¼ ©·¬¸
           øï÷ ß½µ²±©´»¼¹» ®»½»·°¬ ±º ¬¸» ½´¿·³ò ×º               -«½¸ ¬»®³-ò
               ©» ¼± ²±¬ ¿½µ²±©´»¼¹» ®»½»·°¬ ±º ¬¸»
               ½´¿·³ ·² ©®·¬·²¹ô ©» ©·´´ µ»»° ¿ ®»½±®¼         íò Ý¿¬¿-¬®±°¸» Ý´¿·³-
               ±º ¬¸» ¼¿¬»ô ³»¬¸±¼ ¿²¼ ½±²¬»²¬ ±º ¬¸»             Ì¸» º±´´±©·²¹ °¿®¿¹®¿°¸- ¿®» ¿¼¼»¼æ
               ¿½µ²±©´»¼¹³»²¬å                                    ×º ¿ ½´¿·³ ®»-«´¬- º®±³ ¿ ©»¿¬¸»® ®»´¿¬»¼
           øî÷ Þ»¹·² ¿²§ ·²ª»-¬·¹¿¬·±² ±º ¬¸» ½´¿·³å              ½¿¬¿-¬®±°¸» ±® ¿ ³¿¶±® ²¿¬«®¿´ ¼·-¿-¬»®ô ¬¸»
               ¿²¼                                                ½´¿·³ ¸¿²¼´·²¹ ¿²¼ ½´¿·³ °¿§³»²¬ ¼»¿¼´·²»-
           øí÷ Î»¯«»-¬ ¿ -·¹²»¼ô -©±®² °®±±º ±º ´±--ô             ¼»-½®·¾»¼ ·² ïò¿ò ¿²¼ ïò¾ò ¿¾±ª» ¿®» »¨¬»²¼»¼
               -°»½·º§ ¬¸» ·²º±®³¿¬·±² §±« ³«-¬                   º±® ¿² ¿¼¼·¬·±²¿´ ïë ¼¿§-ò
               °®±ª·¼» ¿²¼ -«°°´§ §±« ©·¬¸ ¬¸»                    Ý¿¬¿-¬®±°¸» ±® Ó¿¶±® Ò¿¬«®¿´ Ü·-¿-¬»® ³»¿²-
               ²»½»--¿®§ º±®³-ò É» ³¿§ ®»¯«»-¬                    ¿ ©»¿¬¸»® ®»´¿¬»¼ »ª»²¬ ©¸·½¸æ
               ³±®» ·²º±®³¿¬·±² ¿¬ ¿ ´¿¬»® ¼¿¬»ô ·º               ¿ò ×- ¼»½´¿®»¼ ¿ ¼·-¿-¬»® «²¼»® ¬¸» Ì»¨¿-
               ¼«®·²¹ ¬¸» ·²ª»-¬·¹¿¬·±² ±º ¬¸» ½´¿·³                 Ü·-¿-¬»® ß½¬ ±º ïçéëå ±®
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               ²»½»--¿®§ò                                         ¾ò ×- ¼»¬»®³·²»¼ ¬± ¾» ¿ ½¿¬¿-¬®±°¸» ¾§ ¬¸»
                                                                     Ì»¨¿- Ü»°¿®¬³»²¬ ±º ×²-«®¿²½»ò
       ¾ò É» ©·´´ ²±¬·º§ §±« ·² ©®·¬·²¹ ¿- ¬± ©¸»¬¸»®æ
                                                               ìò Ì¸» ¬»®³ ùù¼¿§-þô ¿- «-»¼ ·² ¬¸» Ý´¿·³
           øï÷ Ì¸» ½´¿·³ ±® °¿®¬ ±º ¬¸» ½´¿·³ ©·´´ ¾»             Í»¬¬´»³»²¬ Ý±²¼·¬·±²ô ³»¿²- ¿ ¼¿§ ±¬¸»®
               °¿·¼å                                              ¬¸¿² Í¿¬«®¼¿§ô



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         Í«²¼¿§ ±® ¿ ¸±´·¼¿§ ®»½±¹²·¦»¼ ¾§ ¬¸» -¬¿¬»                  ¬¸·- °±´·½§ò Þ«¬ ¬¸·- Ý±²¼·¬·±² ¼±»- ²±¬ ¿°°´§
         ±º Ì»¨¿-ò                                                    ¬± «²·¬ó±©²»®- ¿½¬·²¹ ©·¬¸·² ¬¸» -½±°» ±º ¬¸»·®
Úò Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± ¬¸» Ô±-- Ð¿§³»²¬ ß²¼                     ¿«¬¸±®·¬§ ±² ¾»¸¿´º ±º ¬¸» ß--±½·¿¬·±²ò
   Ê¿´«¿¬·±² Ý±²¼·¬·±²- ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»                   îò Ì¸» É¿·ª» Ñº Î·¹¸¬- Ñº Î»½±ª»®§
   Ý±ª»®¿¹» Ú±®³æ                                                     ß¼¼·¬·±²¿´ Ý±²¼·¬·±² ·² ¬¸» Ý±²¼±³·²·«³
                                                                      ß--±½·¿¬·±² ó Ý±ª»®»¼ Ð®±°»®¬§ Û²¼±®-»³»²¬
    ß®¬·½´» èêîòðëí Ð±´·½§ ¿ Ô·¯«·¼¿¬»¼ Ü»³¿²¼ò
                                                                      ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
    ß º·®» ·²-«®¿²½» °±´·½§ô ·² ½¿-» ±º ¬±¬¿´ ´±-- ¾§ º·®»            É» ©¿·ª» ±«® ®·¹¸¬- ¬± ®»½±ª»® °¿§³»²¬
    ±º °®±°»®¬§ ·²-«®»¼ô -¸¿´´ ¾» ¸»´¼ ¿²¼ ½±²-·¼»®»¼
                                                                      ¿¹¿·²-¬æ
    ¬± ¾» ¿ ´·¯«·¼¿¬»¼ ¼»³¿²¼ ¿¹¿·²-¬ ¬¸» Ý±³°¿²§
    º±® ¬¸» º«´´ ¿³±«²¬ ±º -«½¸ °±´·½§ò Ì¸» °®±ª·-·±²-                ¿ò ß²§ «²·¬ó±©²»® ¼»-½®·¾»¼ ·² ¬¸»
    ±º ¬¸·- ß®¬·½´» -¸¿´´ ²±¬ ¿°°´§ ¬± °»®-±²¿´ °®±°»®¬§ò                  Ü»½´¿®¿¬·±²- ·²½´«¼·²¹ ¬¸» ¼»ª»´±°»®ô ¿²¼
                                                                           ³»³¾»®- ±º ¸·- ±® ¸»® ¸±«-»¸±´¼å
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                                                                      ¾ò Ì¸» ß--±½·¿¬·±²å ¿²¼
   ß²¼ Ô»²¼»® Ô±-- Ð¿§»»- Ý±²¼·¬·±² ¿®» ®»°´¿½»¼
   ¾§ ¬¸» º±´´±©·²¹ ø¿- ®»-°»½¬- Ó±®¬¹¿¹»¸±´¼»®-                      ½ò Ó»³¾»®- ±º ¬¸» ¾±¿®¼ ±º ¼·®»½¬±®- º±® ¿½¬-
   ±²´§÷æ                                                                  ±® ±³·--·±²- ©·¬¸·² ¬¸» -½±°» ±º ¬¸»·®
                                                                           ¼«¬·»- º±® §±«ò
    ½ò ×º ©» ¼»²§ §±«® ½´¿·³ ¾»½¿«-» ±º §±«® ¿½¬- ±®
       ¾»½¿«-» §±« ¸¿ª» º¿·´»¼ ¬± ½±³°´§ ©·¬¸ ¬¸»                     Þ«¬ ©» ®»-»®ª» ±«® ®·¹¸¬- ¬± ®»½±ª»® º®±³ ¬¸»
       ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ¬¸» ³±®¬¹¿¹»                      ¼»ª»´±°»® ¼¿³¿¹»- º±® ©¸·½¸ ¸» ±® -¸» ³¿§
       ¸±´¼»® ©·´´ -¬·´´ ¸¿ª» ¬¸» ®·¹¸¬ ¬± ®»½»·ª» ´±--               ¾» ¸»´¼ ´·¿¾´» ·² ¸·- ±® ¸»® ½¿°¿½·¬§ ¿- ¿
       °¿§³»²¬ ·º ¬¸» ³±®¬¹¿¹»¸±´¼»®æ                                 ¼»ª»´±°»®ò
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             Ý±ª»®¿¹» Ð¿®¬ ¿¬ ±«® ®»¯«»-¬ ·º §±« ¸¿ª»                 Ó±®¬¹¿¹»¸±´¼»®- ß²¼ Ô»²¼»® Ô±-- Ð¿§»»-
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                                                                      ×º ¬¸» ½±²¼±³·²·«³ ·- ¬»®³·²¿¬»¼ô ©» ©·´´ °¿§
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                                                                      º±® ½±ª»®»¼ ´±-- ±ºô ±® ¼¿³¿¹» ¬±ô ¾«·´¼·²¹- ±®
             ©·¬¸·² çï ¼¿§- ¿º¬»® ®»½»·ª·²¹ ²±¬·½» º®±³
                                                                      -¬®«½¬«®»- ¬± »¿½¸ ³±®¬¹¿¹»¸±´¼»® -¸±©² ±²
             «- ±º §±«® º¿·´«®» ¬± ¼± -±å ¿²¼
                                                                      ¬¸» Ü»½´¿®¿¬·±²- ·² ¬¸»·® ±®¼»® ±º °®»½»¼»²½»ô
         øí÷ Ø¿- ²±¬·º·»¼ «- ±º ¿²§ ½¸¿²¹» ·²                         ¿- ·²¬»®»-¬- ³¿§ ¿°°»¿®ò
             ±©²»®-¸·°ô ±½½«°¿²½§ ±® -«¾-¬¿²¬·¿´                      ×² ¿´´ ±¬¸»® ®»-°»½¬-ô ©» ©·´´ °¿§ º±® ´±-- ¬±
             ½¸¿²¹»    ·²    ®·-µ µ²±©² ¬±  ¬¸»                       ¾«·´¼·²¹- ±® -¬®«½¬«®»- ¬± §±« ±® ¬¸» ·²-«®¿²½»
             ³±®¬¹¿¹»¸±´¼»®ò                                          ¬®«-¬»» ¼»-·¹²¿¬»¼ º±® ¬¸¿¬ °«®°±-»ô ·²
         ß´´ ±º ¬¸» ¬»®³- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ©·´´ ¬¸»²             ¿½½±®¼¿²½» ©·¬¸ ¬¸» Ý´¿·³ Í»¬¬´»³»²¬
         ¿°°´§ ¼·®»½¬´§ ¬± ¬¸» ³±®¬¹¿¹»¸±´¼»®ò                        Ý±²¼·¬·±² ½±²¬¿·²»¼ ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
    ºò   ×º ¬¸·- °±´·½§ ·- ½¿²½»´´»¼ô ©» ©·´´ ¹·ª» ¬¸»                Ý±²¼·¬·±²- ß²¼ Ü»º·²·¬·±²- Ú±®³ò
         ³±®¬¹¿¹»¸±´¼»® ²¿³»¼ ·² ¬¸» Ü»½´¿®¿¬·±²-             ×ò Ì¸» º±´´±©·²¹ ½¸¿²¹» ¿°°´·»- ¬± ¬¸» Ó±²¬¸´§
         ©®·¬¬»² ²±¬·½» ±º ½¿²½»´´¿¬·±²ò                         Î»°±®¬·²¹ Û²¼±®-»³»²¬ô ÐÝ îè ðïò
         ×º ©» ½¿²½»´ ¬¸·- °±´·½§ô ©» ©·´´ ¹·ª» ©®·¬¬»²          Ì¸» Ð¿®¿¹®¿°¸ ¬·¬´»¼ô Î»°±®¬- ×² Û¨½»-- ±º Ô·³·¬
         ²±¬·½» ¬± ¬¸» ³±®¬¹¿¹»¸±´¼»® ¿¬ ´»¿-¬æ                  ±º ×²-«®¿²½»ô ·- ¼»´»¬»¼ò
       øï÷ ïì ¼¿§- ¾»º±®» ¬¸» »ºº»½¬·ª» ¼¿¬» ±º               Öò ×º ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³» Ý±ª»®¿¹»-
            ½¿²½»´´¿¬·±² ·º ©» ½¿²½»´ º±® §±«®                   Ú±®³ ±® ¬¸» Ý®·³» Ý±³³±² Ý±²¼·¬·±²- ß²¼
            ²±²ó°¿§³»²¬ ±º °®»³·«³å ±®                           Û¨½´«-·±²- Ú±®³ ·- ¿ °¿®¬ ±º ¬¸·- °±´·½§ô ¬¸»
       øî÷ íð ¼¿§- ¾»º±®» ¬¸» »ºº»½¬·ª» ¼¿¬» ±º                  Ü·-½±ª»®§ Ý®·³» Ý±³³±² Ý±²¼·¬·±² ·- ®»°´¿½»¼
            ½¿²½»´´¿¬·±² ·º ©» ½¿²½»´ º±® ¿²§ ±¬¸»®              ¾§ ¬¸» º±´´±©·²¹æ
            ®»¿-±²ò                                              îò Ü·-½±ª»®§
       ×º §±« ½¿²½»´ ¬¸» °±´·½§ô ©» ©·´´ ¹·ª» ¬¸»                     Ì¸» º±´´±©·²¹ -«°»®-»¼»- ¿²§ °®±ª·-·±² ¬± ¬¸»
       ³±®¬¹¿¹»¸±´¼»® ²±¬·½» ±º ½¿²½»´´¿¬·±² ¬± ¾»                    ½±²¬®¿®§ ·² ¬¸» Ð±´·½§ Ð»®·±¼ Ù»²»®¿´
       »ºº»½¬·ª» ±² ¬¸» ¼¿¬» -¬¿¬»¼ ·² ¬¸» ²±¬·½»ò Ì¸»                Ý±²¼·¬·±²ô ·² ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²-
       ¼¿¬» ±º ½¿²½»´´¿¬·±² ½¿²²±¬ ¾» ¾»º±®» ¬¸» ïð¬¸                 ß²¼ Ü»º·²·¬·±²- Ú±®³æ
       ¼¿§ ¿º¬»® ¬¸» ¼¿¬» ©» ³¿·´ ¬¸» ²±¬·½»ò                         É» ©·´´ °¿§ ±²´§ º±® ´±-- §±« -«-¬¿·² ¬¸®±«¹¸
Øò Ì¸» º±´´±©·²¹ ¿°°´§ ©¸»² ¬¸» Ý±²¼±³·²·«³                           ¿½¬- ½±³³·¬¬»¼ ±® »ª»²¬- ±½½«®®·²¹ ¿¬ ¿²§
   ß--±½·¿¬·±² ó Ý±ª»®»¼ Ð®±°»®¬§ Û²¼±®-»³»²¬ ·-                      ¬·³» ¿²¼ ¼·-½±ª»®»¼ ¾§ §±«æ
   ¿¬¬¿½¸»¼ ¬± ¬¸·- °±´·½§æ                                           ¿ò Ü«®·²¹ ¬¸» °±´·½§ °»®·±¼ -¬¿¬»¼ ·² ¬¸»
   ïò Ì¸» º±´´±©·²¹ Ý±²¼·¬·±²- ¿®» ¿¼¼»¼æ                                  Ü»½´¿®¿¬·±²-å ±®
       ß½¬ Ñ® Ñ³·--·±²                                                ¾ò Ò± ´¿¬»® ¬¸¿² ±²» §»¿® º®±³ ¬¸» »²¼ ±º
       Ò± ¿½¬ ±® ±³·--·±² ¾§ ¿²§ «²·¬ó±©²»® ©·´´ ª±·¼                      ¬¸¿¬ °±´·½§ °»®·±¼ò
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      Ø±©»ª»®ô ¬¸·- ±²» §»¿® °»®·±¼ ¬»®³·²¿¬»-        Õò Ü»º»²-» Ý±-¬-
      ·³³»¼·¿¬»´§ «°±² ¬¸» »ºº»½¬·ª» ¼¿¬» ±º             ïò Ì¸» °®±ª·-·±²- ±º Ð¿®¿¹®¿°¸ îò ¿®» ¿¼¼»¼ ¬±
      ¿²§ ±¬¸»® ·²-«®¿²½» ±¾¬¿·²»¼ ¾§ §±«                   ¿´´ ·²-«®·²¹ ¿¹®»»³»²¬- ¬¸¿¬ -»¬ º±®¬¸ ¿ ¼«¬§ ¬±
      ®»°´¿½·²¹ ·² ©¸±´» ±® ·² °¿®¬ ¬¸·-                    ¼»º»²¼ «²¼»®æ
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      ¾»½±³» ¿©¿®» ±º º¿½¬- ¬¸¿¬ ¿ ´±-- ½±ª»®»¼              ¾ò Ý±ª»®¿¹»       Ý  Ó±®¬¹¿¹»¸±´¼»®­
      ¾§ ¬¸·- °±´·½§ ¸¿- ¾»»²ô ±® ³¿§ ¾»                        Ô·¿¾·´·¬§ô ±º ¬¸» Ó±®¬¹¿¹»¸±´¼»®- Û®®±®-
      ·²½«®®»¼ »ª»² ¬¸±«¹¸ ¬¸» »¨¿½¬ ¿³±«²¬ ±®                  ¿²¼ Ñ³·--·±²- Ý±ª»®¿¹» Ú±®³ò
      ¬¸» ¼»¬¿·´- ±º ¬¸» ´±-- ³¿§ ²±¬ ¬¸»² ¾»                Ð¿®¿¹®¿°¸ îò ¿´-± ¿°°´·»- ¬± ¿²§ ±¬¸»®
      µ²±©²ò                                                 °®±ª·-·±² ·² ¬¸» °±´·½§ ¬¸¿¬ -»¬- º±®¬¸ ¿ ¼«¬§ ¬±
      Ü·-½±ª»®§ ¿´-± ±½½«®- ©¸»² §±« ®»½»·ª»                 ¼»º»²¼ò
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  Î»°´¿½»³»²¬ ±º Ð®·±® Ô±-- Í«-¬¿·²»¼                       ·²-«®¿²½»ô ©» ©·´´ ¸¿ª» ¬¸» ®·¹¸¬ ¬±
  Ý±ª»®¿¹»                                                  ®»·³¾«®-»³»²¬ º±® ¬¸» ¼»º»²-» ½±-¬- ©» ¸¿ª»
  Ì¸» º±´´±©·²¹ ¿°°´·»- ±²´§ ·º ¬¸·- Ý±ª»®¿¹»               ·²½«®®»¼ò
  Ú±®³ ®»°´¿½»- -·³·´¿® °®·±® ·²-«®¿²½» ¬¸¿¬                 Ì¸» ®·¹¸¬ ¬± ®»·³¾«®-»³»²¬ º±® ¬¸» ¼»º»²-»
  °®±ª·¼»¼ §±« ©·¬¸ ¿² »¨¬»²-·±² ±º ¬·³» ¿º¬»®               ½±-¬- «²¼»® ¬¸·- °®±ª·-·±² ©·´´ ±²´§ ¿°°´§ ¬±
  ¬¸» °±´·½§ °»®·±¼ ¬± ¼·-½±ª»® ´±-- ¬¸¿¬                    ¼»º»²-» ½±-¬- ©» ¸¿ª» ·²½«®®»¼ ¿º¬»® ©»
  ±½½«®®»¼ ¼«®·²¹ ¬¸» ¬»®³ ±º ¬¸» °®·±®                      ²±¬·º§ §±« ·² ©®·¬·²¹ ¬¸¿¬ ¬¸»®» ³¿§ ²±¬ ¾»
  ·²-«®¿²½»æ                                                 ½±ª»®¿¹»ô ¿²¼ ¬¸¿¬ ©» ¿®» ®»-»®ª·²¹ ±«® ®·¹¸¬-
  ¿ò É» ©·´´ ²±¬ °¿§ º±® ´±-- ¬¸¿¬ ±½½«®®»¼                  ¬± ¬»®³·²¿¬» ¬¸» ¼»º»²-» ¿²¼ -»»µ
      ¼«®·²¹ ¬¸» ¬»®³ ±º ¬¸» °®·±® ·²-«®¿²½» ¿²¼             ®»·³¾«®-»³»²¬ º±® ¼»º»²-» ½±-¬-ò
      ¼·-½±ª»®»¼ ¾§ §±« ¼«®·²¹ ¬¸» »¨¬»²¼»¼           Ôò Ý±²½»¿´³»²¬ô Ó·-®»°®»-»²¬¿¬·±² Ñ®              Ú®¿«¼
      °»®·±¼ ¬± ¼·-½±ª»® ´±--ô «²´»-- ¬¸» ¿³±«²¬         Ý±²¼·¬·±² ·- ®»°´¿½»¼ ©·¬¸ ¬¸» º±´´±©·²¹æ
      ±º ´±-- »¨½»»¼- ¬¸» Ô·³·¬ ±º ×²-«®¿²½» ±º
      §±«® °®·±® °±´·½§ò ×² ¬¸¿¬ ½¿-»ô ©» ©·´´ °¿§       ëò Ý±²½»¿´³»²¬ô Ó·-®»°®»-»²¬¿¬·±² ±® Ú®¿«¼
      º±® ¬¸» »¨½»-- ´±-- -«¾¶»½¬ ¬± ¬¸» ¬»®³-               Ì¸·- Ý±ª»®¿¹» Ð¿®¬ ·- ª±·¼ ·º §±« ±® ¿²§ ±¬¸»®
      ¿²¼ °®±ª·-·±²- ±º ¬¸·- Ý±ª»®¿¹» Ú±®³ò                  ·²-«®»¼ô ¿¬ ¿²§ ¬·³»ô ·²¬»²¬·±²¿´´§ ½±²½»¿´ ±®
  ¾ò Ø±©»ª»®ô ¿²§ °¿§³»²¬ ©» ³¿µ» º±® ¬¸»                    ³·-®»°®»-»²¬ ¿ ³¿¬»®·¿´ º¿½¬ ½±²½»®²·²¹æ
      »¨½»-- ´±-- ©·´´ ²±¬ ¾» ¹®»¿¬»® ¬¸¿² ¬¸»               ¿ò Ì¸·- Ý±ª»®¿¹» Ð¿®¬å
      ¼·ºº»®»²½» ¾»¬©»»² ¬¸» Ô·³·¬ ±º ×²-«®¿²½»
                                                             ¾ò Ì¸» °®±°»®¬§        ½±ª»®»¼     «²¼»®     ¬¸·-
      ±º §±«® °®·±® °±´·½§ ¿²¼ ¬¸» ¿°°´·½¿¾´»
                                                                ·²-«®¿²½»å
      Ô·³·¬ ±º ×²-«®¿²½» -¬¿¬»¼ ·² ¬¸»
      Ü»½´¿®¿¬·±²-ò     É» ©·´´ ²±¬ ¿°°´§ ±«®                ½ò Ç±«® ·²¬»®»-¬ ·² ¬¸» °®±°»®¬§ ½±ª»®»¼
      Ü»¼«½¬·¾´» ¬± ¬¸·- »¨½»-- ´±--ò                           «²¼»® ¬¸·- ·²-«®¿²½»å ±®
                                                             ¼ò ß ½´¿·³ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò




Ð¿¹»Case
    ì ±º ì 3:24-cv-00490-FDW-SCR             Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                              186 ÐÝ
                                                                                  of 579
                                                                                     íï ìî ðï îð
                                                                                               ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                       Ê×ÎÙ×Ò×ß ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ

ßò Ì¸» ß°°®¿·-¿´ Ý±²¼·¬·±² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»             Ýò Ð¿®¿¹®¿°¸ Þòïò½ò ·² ¬¸» ÇÑËÎ ÙÛÒÛÎßÔ
   Ý±²¼·¬·±²- ß²¼ Ü»º·²·¬·±²- Ú±®³ ¿²¼ ·² ¬¸»                    ÜËÌ×ÛÍ ×Ò ÛÊÛÒÌ ÑÚ ÔÑÍÍ Ý±²¼·¬·±² ·² ¬¸»
   Ó±®¬¹¿¹»¸±´¼»®- Û®®±®- ¿²¼ Ñ³·--·±²- Ý±ª»®¿¹»                 Ð®±°»®¬§ Ý¸±·½» Ý±²¼·¬·±²- ß²¼ Ü»º·²·¬·±²- Ú±®³
   Ú±®³ ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ                            ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
   ×º ©» ¿²¼ §±« ¼·-¿¹®»» ±² ¬¸» ª¿´«» ±º ¬¸» °®±°»®¬§           Ì¿µ» ¿´´ ®»¿-±²¿¾´» -¬»°- ¬± °®±¬»½¬ ¬¸» Ý±ª»®»¼
   ±® ¬¸» ¿³±«²¬ ±º ´±--ô »·¬¸»® ³¿§ ³¿µ» ©®·¬¬»²                Ð®±°»®¬§ º®±³ º«®¬¸»® ¼¿³¿¹»ô ¿²¼ µ»»° ¿ ®»½±®¼ ±º
   ¼»³¿²¼ º±® ¿² ¿°°®¿·-¿´ ±º ¬¸» ´±--ò ×² ¬¸·- »ª»²¬ô           §±«® »¨°»²-»- ²»½»--¿®§ ¬± °®±¬»½¬ ¬¸» Ý±ª»®»¼
   »¿½¸ °¿®¬§ ©·´´ -»´»½¬ ¿ ½±³°»¬»²¬ ¿²¼ ·³°¿®¬·¿´              Ð®±°»®¬§ô º±® ½±²-·¼»®¿¬·±² ·² ¬¸» -»¬¬´»³»²¬ ±º ¬¸»
   ¿°°®¿·-»®ò Ç±« ¿²¼ ©» ³«-¬ ²±¬·º§ ¬¸» ±¬¸»® ±º ¬¸»            ½´¿·³ò Ì¸·- ©·´´ ²±¬ ·²½®»¿-» ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò
   ¿°°®¿·-»® -»´»½¬»¼ ©·¬¸·² îð ¼¿§- ±º ¬¸» ©®·¬¬»²              Ò±¬©·¬¸-¬¿²¼·²¹ ¬¸» ¼«¬§ ¬± °®±¬»½¬ Ý±ª»®»¼
   ¼»³¿²¼ º±® ¿°°®¿·-¿´ò Ì¸» ¬©± ¿°°®¿·-»®- ©·´´                 Ð®±°»®¬§ º®±³ º«®¬¸»® ¼¿³¿¹»ô ¿- -¬¿¬»¼ ¿¾±ª»ô
   -»´»½¬ ¿² «³°·®»ò ×º ¬¸» ¿°°®¿·-»®- ¼± ²±¬ ¿¹®»» ±²           ©» ©·´´ ²±¬ °¿§ º±® ¿²§ -«¾-»¯«»²¬ ´±-- ±® ¼¿³¿¹»
   ¬¸» -»´»½¬·±² ±º ¿² «³°·®» ©·¬¸·² ïë ¼¿§-ô ¬¸»                ®»-«´¬·²¹ º®±³ ¿ ½¿«-» ±º ´±-- ¬¸¿¬ ·- ²±¬ ¿
   ·²-«®»¼ ±® ¬¸» ·²-«®»® ³¿§ ¿°°´§ ·² ©®·¬·²¹ º±® ¬¸»           Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò Þ«¬ ¬¸·- °®±ª·-·±² ¼±»-
   ¿°°±·²¬³»²¬ ±º ¿² «³°·®»ô ¬± ¬¸» ¶«¼¹» ±º ¬¸» ½·®½«·¬         ²±¬ ¿ºº»½¬ô ¿²¼ ¬¸»®»º±®» ¼±»- ²±¬ ´·³·¬ô ½±ª»®¿¹»
   ½±«®¬ ±º ¬¸» ½±«²¬§ ±® ½·¬§ ·² ©¸·½¸ ¬¸» ¼¿³¿¹»¼ ±®           °®±ª·¼»¼ «²¼»® ¬¸» ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¬·¬´»¼
   ¼»-¬®±§»¼ °®±°»®¬§ ©¿- ´±½¿¬»¼ ¿¬ ¬¸» ¬·³» ±º ´±--ò           Ð®»-»®ª¿¬·±² ±º Ð®±°»®¬§ò
   Ì¸» ¿°°®¿·-»®- ©·´´ -¬¿¬» -»°¿®¿¬»´§ ¬¸» ª¿´«» ±º ¬¸»
   °®±°»®¬§ ¿²¼ ¿³±«²¬ ±º ´±--ò ×º ¬¸» ¿°°®¿·-»®-                ×º º»¿-·¾´»ô -»¬ ¬¸» ¼¿³¿¹»¼ °®±°»®¬§ ¿-·¼» ¿²¼ ·²
   -«¾³·¬ ¿ ©®·¬¬»² ®»°±®¬ ±º ¿² ¿¹®»»³»²¬ ¬± «-ô ¬¸»            ¬¸» ¾»-¬ °±--·¾´» ±®¼»® º±® »¨¿³·²¿¬·±²ò
   ¿³±«²¬ ¿¹®»»¼ «°±² ©·´´ ¾» ¬¸» ¿³±«²¬ ±º ´±--ò ×º          Üò Ú±® ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» Ð®±°»®¬§ Ý¸±·½»
   ¬¸»§ º¿·´ ¬± ¿¹®»»ô ¬¸»§ ©·´´ -«¾³·¬ ¬¸»·® ¼·ºº»®»²½»-        Ý±ª»®¿¹» Ú±®³ô ¿- ®»-°»½¬- Ð¿®¿¹®¿°¸ Ûòïò
   ¬± ¬¸» «³°·®»ò ß ¼»½·-·±² ¿¹®»»¼ ¬± ¾§ ¿²§ ¬©± ©·´´           ÎÛÐÔßÝÛÓÛÒÌ ÝÑÍÌô ¬¸» º±´´±©·²¹ °®±ª·-·±²
   -»¬ ¬¸» ¿³±«²¬ ±º ´±--ò ß²§ ±«¬½±³» ±º ¬¸»                    ¿°°´·»- ¿²¼ -«°»®-»¼»- ¿²§ °®±ª·-·±² ¬± ¬¸»
   ¿°°®¿·-¿´ ©·´´ ¾» ¾·²¼·²¹ ±² ¾±¬¸ °¿®¬·»-ò                    ½±²¬®¿®§æ
   Û¿½¸ °¿®¬§ ©·´´æ                                              Ç±« ³¿§ ³¿µ» ¿² ·²·¬·¿´ ½´¿·³ º±® ´±-- ±® ¼¿³¿¹»
   ïò Ð¿§ ·¬- ±©² ¿°°®¿·-»®å ¿²¼                                 ½±ª»®»¼ ¾§ ¬¸·- ·²-«®¿²½» ±² ¿² ¿½¬«¿´ ½¿-¸ ª¿´«»
                                                                 ¾¿-·- ·²-¬»¿¼ ±º ±² ¿ ®»°´¿½»³»²¬ ½±-¬ ¾¿-·-ò ×²
   îò Þ»¿® ¬¸» ±¬¸»® »¨°»²-»- ±º ¬¸» ¿°°®¿·-¿´ ¿²¼               ¬¸» »ª»²¬ §±« »´»½¬ ¬± ¸¿ª» ´±-- ±® ¼¿³¿¹» -»¬¬´»¼
        «³°·®» »¯«¿´´§ò                                          ±² ¿² ¿½¬«¿´ ½¿-¸ ª¿´«» ¾¿-·-ô §±« ³¿§ -¬·´´ ³¿µ»
   Ø±©»ª»®ô ·º ©» ³¿µ» ©®·¬¬»² ¼»³¿²¼ º±® ¿²                     ¿ ½´¿·³ º±® ¬¸» ¿¼¼·¬·±²¿´ ½±ª»®¿¹» ¬¸·-
   ¿°°®¿·-¿´ ±º ¬¸» ´±--ô ©» ©·´´ ®»·³¾«®-» §±« º±® ¬¸»          Î»°´¿½»³»²¬ Ý±-¬ Ñ°¬·±²¿´ Ý±ª»®¿¹» °®±ª·¼»- ·º
   ®»¿-±²¿¾´» ½±-¬ ±º §±«® ½¸±-»² ¿°°®¿·-»®ô ¿²¼ º±®             §±« ²±¬·º§ «- ±º §±«® ·²¬»²¬ ¬± ¼± -± ©·¬¸·² ê
   §±«® °±®¬·±² ±º ¬¸» ½±-¬ ±º ¬¸» «³°·®»ò                       ³±²¬¸- ±º ¬¸» ´¿¬»® ±º ¬¸» º±´´±©·²¹ ¼¿¬»-æ
   ×º ¬¸»®» ·- ¿² ¿°°®¿·-¿´ô ©» ©·´´ -¬·´´ ®»¬¿·² ±«® ®·¹¸¬      ïò Ì¸» ´¿-¬ ¼¿¬» ±² ©¸·½¸ §±« ®»½»·ª»¼ ¿
   ¬± ¼»²§ ¬¸» ½´¿·³ò                                               °¿§³»²¬ º±® ¿½¬«¿´ ½¿-¸ ª¿´«»å ±®
Þò Ì¸» ÇÑËÎ ÙÛÒÛÎßÔ ÜËÌ×ÛÍ ×Ò ÌØÛ ÛÊÛÒÌ ÑÚ                       îò Ì¸» ¼¿¬» ±º »²¬®§ ±º ¿ º·²¿´ ±®¼»® ±º ¿ ½±«®¬ ±º
   ÔÑÍÍ Ð¿®¿¹®¿°¸ Þòïò¿ò ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»                     ½±³°»¬»²¬ ¶«®·-¼·½¬·±² ¼»½´¿®·²¹ §±«® ®·¹¸¬ ¬±
   Ý±²¼·¬·±²- ß²¼ Ü»º·²·¬·±²- Ú±®³ô ¿²¼ Ð¿®¿¹®¿°¸                   º«´´ ®»°´¿½»³»²¬ ½±-¬ò
   Ùòíò¿òøï÷ø¿÷ ·² ¬¸» Ó±®¬¹¿¹»¸±´¼»®- Û®®±®- ¿²¼
   Ñ³·--·±²- Ý±ª»®¿¹» Ú±®³ ¼± ²±¬ ¿°°´§ò



Ú±®³ ÐÝ íï ìë ðì ïë                                                                                  Ð¿¹» ï ±º î
                                            w îðïìô Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR             Document
            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ×²-«®¿²½»   1-4 Filed
                                                        Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                         ×²½òô ©·¬¸ ·¬- Page  187 of 579
                                                                                        °»®³·--·±²ò÷
Ûò Ú±® ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» Ó±®¬¹¿¹»¸±´¼»®-      ×ò   Ì¸» Ð®±°»®¬§ Ý¸±·½» Ó±®¬¹¿¹» Ð®±¬»½¬·±²
   Û®®±®- ¿²¼ Ñ³·--·±²- Ý±ª»®¿¹» Ú±®³ô ¬¸»                    ×²-«®¿²½» Ý±ª»®¿¹» Ú±®³ ·- ®»ª·-»¼ ¿- º±´´±©-æ
   ÊßÝßÒÝÇ Ý±²¼·¬·±² ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ                Í»½¬·±² Ê ó Û¨½´«-·±²-ô ·¬»³ êò þÚ«²¹«-þô É»¬
   É» ©·´´ ²±¬ °¿§ º±® ¿²§ ´±-- ±® ¼¿³¿¹» ·º ¬¸»                  Î±¬ô Ü®§ Î±¬ô Þ¿½¬»®·¿ ±® Ê·®«- ·- ®»ª·-»¼ ¿-
   ¾«·´¼·²¹ ©¸»®» ´±-- ±® ¼¿³¿¹» ±½½«®-ô ±® ±«¬ ±º                º±´´±©-æ
   ©¸·½¸ ¿ ½´¿·³ ±® þ-«·¬þ ¿®·-»-ô ¸¿- ¾»»² ª¿½¿²¬ º±®            ïò Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± »²-«·²¹
   ³±®» ¬¸¿² êð ¼¿§- ¾»º±®» ¬¸¿¬ ´±-- ±® ¼¿³¿¹»ô ±®                  þÚ«²¹«-þô É»¬ Î±¬ô Ü®§ Î±¬ô Þ¿½¬»®·¿ ±®
   ¬¸» »ª»²¬ ¬¸¿¬ ¹·ª»- ®·-» ¬± ¬¸» ½´¿·³ ±® þ-«·¬þò                 Ê·®«- ½¿«-»¼ ¾§ º·®» ±® ´·¹¸¬²·²¹ò
   ß ¾«·´¼·²¹ ·- ª¿½¿²¬ ©¸»² ·¬ ¼±»- ²±¬ ½±²¬¿·²                  îò Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±
   »²±«¹¸ ¾«-·²»-- °»®-±²¿´ °®±°»®¬§ ¬± ½±²¼«½¬                      »²¼±®-»³»²¬ ÐÝ êð ðí Ú«²¹«-ô É»¬ Î±¬ô
   ½«-¬±³¿®§ ±°»®¿¬·±²-ò                                             Ü®§ Î±¬ô Þ¿½¬»®·¿ ±® Ê·®«- ó Ô·³·¬»¼
Úò Ì¸» Ý®·³» Ý±³³±² Ý±²¼·¬·±²- ¿²¼ Û¨½´«-·±²-                        Ý±ª»®¿¹»ò
   Ú±®³ ¿²¼ ¬¸» Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³»             Öò Ì¸» Ú·®» Ü»°¿®¬³»²¬ Í»®ª·½» Ý¸¿®¹» ß¼¼·¬·±²¿´
   Ý±ª»®¿¹»- Ú±®³ ¿®» ®»ª·-»¼ ¿- º±´´±©-æ                   Ý±ª»®¿¹» ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
   ïò Ì¸» º·®-¬ -»²¬»²½» ±º Ð¿®¿¹®¿°¸ ßòçò¿òøî÷ ·² ¬¸»        Ú·®» Ü»°¿®¬³»²¬ Í»®ª·½» Ý¸¿®¹»
      Ý®·³» Ý±³³±² Ý±²¼·¬·±²- ß²¼ Û¨½´«-·±²-
      Ú±®³ ¿²¼ Ð¿®¿¹®¿°¸ Úòïò¯òøï÷ø¾÷ ·² ¬¸»                  ïò É¸»² ¬¸» º·®» ¼»°¿®¬³»²¬ ·- ½¿´´»¼ ¬± -¿ª» ±®
      Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³» Ý±ª»®¿¹»-                     °®±¬»½¬ Ý±ª»®»¼ Ð®±°»®¬§ º®±³ ¿ Ý±ª»®»¼
      Ú±®³ ÊßÔËßÌ×ÑÒ ó ÍÛÌÌÔÛÓÛÒÌ ·-                             Ý¿«-» ±º Ô±--ô ©» ©·´´ °¿§ «° ¬± üëðôððð º±®
      ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ                                 -»®ª·½» ¿¬ »¿½¸ °®»³·-»- ¼»-½®·¾»¼ ·² ¬¸»
                                                                 Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
      Ô±-- ±º þ-»½«®·¬·»-þ ¾«¬ ±²´§ «° ¬± ¬¸»·® ³¿®µ»¬           Ý±ª»®¿¹»ô «²´»-- ¿ ¸·¹¸»® ´·³·¬ ·- -¸±©² ·² ¬¸»
      ª¿´«» ¿¬ ¬¸» ¬·³» ¬¸» ´±-- ·- -»¬¬´»¼ò                     Ð®±°»®¬§ Ý¸±·½» Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼
   îò Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± Î»°´¿½»³»²¬ ±º                   Ý±ª»®¿¹»ò Í«½¸ ´·³·¬ ·- ¬¸» ³±-¬ ©» ©·´´ °¿§ô
      Ð®·±® Ô±-- Í«-¬¿·²»¼ Ý±ª»®¿¹»æ                             ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±º ®»-°±²¼·²¹ º·®»
       Ì¸·- ½´¿«-» ¼±»- ²±¬ ¿°°´§ ·º ¬¸» ¼·-½±ª»®§               ¼»°¿®¬³»²¬- ±® º·®» «²·¬-ô ¿²¼ ®»¹¿®¼´»-- ±º ¬¸»
       °»®·±¼ ±² ¬¸» °®·±® °±´·½§ ¿«¬±³¿¬·½¿´´§                  ²«³¾»® ±® ¬§°» ±º -»®ª·½»- °»®º±®³»¼ò
       ¬»®³·²¿¬»- «°±² ¬¸» »ºº»½¬·ª» ¼¿¬» ±º ¬¸» ²»©              Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¿°°´·»- ¬± §±«®
       ·²-«®¿²½»ò                                                 ´·¿¾·´·¬§ º±® º·®» ¼»°¿®¬³»²¬ -»®ª·½» ½¸¿®¹»-æ
Ùò Ì¸» Ñ¬¸»® ×²-«®¿²½» Ý±²¼·¬·±² ·- ®»ª·-»¼ ¿-                    ¿ò ß--«³»¼ ¾§ ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ °®·±®
   º±´´±©-æ                                                          ¬± ´±--å ±®
   Ì¸» Ñ¬¸»® ×²-«®¿²½» Ý±²¼·¬·±² ·- ¼»´»¬»¼ô                      ¾ò Î»¯«·®»¼ ¾§ ´±½¿´ ±®¼·²¿²½»ò
   ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹ô ¿²¼ -«°»®-»¼»- ¿²§              îò ×º ¬¸» º·®» ¼»°¿®¬³»²¬ -»®ª·½» ½¸¿®¹» ·- ²±¬
   °®±ª·-·±² ¬± ¬¸» ½±²¬®¿®§æ                                    ½±ª»®»¼ «²¼»® ¬¸» ¬»®³- ±º Ð¿®¿¹®¿°¸ ïòô ¬¸»²
   Ñ¬¸»® ×²-«®¿²½»                                               ¬¸» º±´´±©·²¹ ¿°°´·»-æ
   ïò Ç±« ³¿²§ ¸¿ª» ±¬¸»® ·²-«®¿²½» -«¾¶»½¬ ¬± ¬¸»               É¸»² ¿ ª±´«²¬»»® º·®» ¼»°¿®¬³»²¬ ·- ½¿´´»¼ ¬±
      -¿³» °´¿²ô ¬»®³-ô ½±²¼·¬·±²- ¿²¼ °®±ª·-·±²- ¿-             -¿ª» ±® °®±¬»½¬ Ý±ª»®»¼ Ð®±°»®¬§ º®±³ ¿
      ¬¸» ·²-«®¿²½» «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò ×º §±«             Ý±ª»®»¼ Ý¿«-» ±º Ô±--ô ©» ©·´´ °¿§ ¬¸»
      ¼±ô ©» ©·´´ °¿§ ±«® -¸¿®» ±º ¬¸» ½±ª»®»¼ ´±-- ±®           ¿³±«²¬ ¾·´´»¼ ¬± §±«ô «° ¬± üîëðô «²´»-- ¿
      ¼¿³¿¹»ò Ñ«® -¸¿®» ·- ¬¸» °®±°±®¬·±² ¬¸¿¬ ¬¸»               ¸·¹¸»® ´·³·¬ ·- -¸±©² ·² ¬¸» Ð®±°»®¬§ Ý¸±·½»
      ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½» «²¼»® ¬¸·-                   Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹» º±®
      Ý±ª»®¿¹» Ð¿®¬ ¾»¿®- ¬± ¬¸» Ô·³·¬- ±º ×²-«®¿²½»             ª±´«²¬»»® º·®» ¼»°¿®¬³»²¬ -»®ª·½» ½¸¿®¹»-ò
      ±º ¿´´ ·²-«®¿²½» ½±ª»®·²¹ ±² ¬¸» -¿³» ¾¿-·-ò                Ì¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ¿°°´·»- ¬± §±«®
   îò ×º ¬¸»®» ·- ±¬¸»® ·²-«®¿²½» ½±ª»®·²¹ ¬¸» -¿³»               ´·¿¾·´·¬§ º±® -»®ª·½» ½¸¿®¹»- ¾·´´»¼ ¬± §±« ¾§ ¿
      ´±-- ±® ¼¿³¿¹»ô ±¬¸»® ¬¸¿² ¬¸¿¬ ¼»-½®·¾»¼ ·²                ª±´«²¬»»® º·®» ¼»°¿®¬³»²¬ô °®±ª·¼»¼ ¬¸¿¬æ
      Ð¿®¿¹®¿°¸ ïò ¿¾±ª»ô ©» ©·´´ °¿§ ±²´§ º±® ¬¸»                ¿ò Ì¸» ª±´«²¬»»® º·®» ¼»°¿®¬³»²¬ ·- ²±¬ º«´´§
      ¿³±«²¬ ±º ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ·² »¨½»--                     º«²¼»¼ ¾§ ®»¿´ »-¬¿¬» ¬¿¨»- ±® ±¬¸»®
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      ©·´´ ²±¬ °¿§ ³±®» ¬¸¿² ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º              ¾ò Ì¸» -»®ª·½» ½¸¿®¹» ·- ²±¬ ³¿¼» ·²
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Øò Ì¸» Ô»¹¿´ Ô·¿¾·´·¬§ ó Þ«·´¼·²¹ Ý±ª»®¿¹» Ú±®³ ·-                   ½·¬§ ±® ³«²·½·°¿´·¬§ °«®-«¿²¬ ¬± ¿ ½±²¬®¿½¬ò
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                                                              Ò± ¼»¼«½¬·¾´» ¿°°´·»- ¬± ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»ò
       Ì¸» ß¼¼·¬·±²¿´ ×²-«®»¼- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»
       ·- ®»²¿³»¼ ¬± ¾» ®»¿¼ ß¼¼·¬·±²¿´ Ò¿³»¼
       ×²-«®»¼ò


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                                                                                                ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




       ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


  ÒÛÉ ÇÑÎÕ ÝØßÒÙÛÍ ó ÎÛÉßÎÜÍ ÝÑÊÛÎßÙÛ ÜÛÔÛÌÛÜ

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ

Ì¸» ÎÛÉßÎÜÍ Ý±ª»®¿¹» °®±ª·¼»¼ ·² ¬¸» Ð®±°»®¬§ Ý±ª»®¿¹» Ú±®³ ·- ¼»´»¬»¼ ¿²¼ ¼±»- ²±¬ ¿°°´§ ¿- ®»-°»½¬- ®·-µ-
´±½¿¬»¼ ·² ¬¸» -¬¿¬» ±º Ò»© Ç±®µò




Ú±®³ ÐÝ íî íð ðê çç                                                                                        Ð¿¹» ï ±º ï

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                                                                                            ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ




      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


        ÚÔÑÎ×Üß ÝØßÒÙÛÍ ó ÓÛÜ×ßÌ×ÑÒ ÑÎ ßÐÐÎß×ÍßÔ
           øÝÑÓÓÛÎÝ×ßÔ ÎÛÍ×ÜÛÒÌ×ßÔ ÐÎÑÐÛÎÌÇ÷

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÒÜ×Ì×ÑÒÍ ßÒÜ ÜÛÚ×Ò×Ì×ÑÒÍ ÚÑÎÓ
    ÓÑÎÌÙßÙÛØÑÔÜÛÎÍ ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ ÝÑÊÛÎßÙÛ ÚÑÎÓ


É·¬¸ ®»-°»½¬ ¬± ¿ ´±-- ¬± ½±³³»®½·¿´ ®»-·¼»²¬·¿´                    ½±²º»®»²½» ¿¬ ©¸·½¸ ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼
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ßò ×º ©» ¿²¼ »·¬¸»® ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ±® ¿ ¬¸·®¼ó             ³»¼·¿¬·±² ½±²º»®»²½»å ±®
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   ¿--·¹²»» ±® ©»ô ³¿§ ®»¯«»-¬ ¿ ³»¼·¿¬·±² ±º ¬¸»                ½¿-¸ »¨°»²-»- ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ·²½«®-
   ´±-- ·² ¿½½±®¼¿²½» ©·¬¸ ¬¸» ®«´»- »-¬¿¾´·-¸»¼ ¾§              ·² ¿¬¬»²¼·²¹ ¬¸» ³»¼·¿¬·±² ½±²º»®»²½» ¿²¼
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    ïò Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ º¿·´- ¬± ¿°°»¿® ¿¬ ¬¸»
       ³»¼·¿¬·±² ½±²º»®»²½» ¿²¼ ¬¸» º·®-¬ Ò¿³»¼               Ø±©»ª»®ô ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¼·-¿¹®»»³»²¬-
       ×²-«®»¼ ©·-¸»- ¬± -½¸»¼«´» ¿ ²»© ½±²º»®»²½»            ¾»¬©»»² «- ¿²¼ ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ô ¬¸» º·®-¬
       ¿º¬»® º¿·´·²¹ ¬± ¿°°»¿®ô ¬¸»² ¬¸» ²»©                  Ò¿³»¼ ×²-«®»¼ ·- ²±¬ ®»¯«·®»¼ ¬± -«¾³·¬ ¬±ô ±®
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  îò Ú¿·´»¼ ¬± ²±¬·º§ ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ±º ¬¸»
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ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




       ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ



ÐÝîéïïðïïè ÒßÓÛÜ ÍÌÑÎÓ ÜÑÔÔßÎ ÜÛÜËÝÌ×ÞÔÛ



ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ


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Ú±®³ ×Ø ïî ðï ïï èë ÍÛÏòÒÑò ðë          Ð®·²¬»¼ ·² ËòÍòßò
ððï ó ðîí              ü ïôðððôððð                            éî ØÑËÎÍ




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ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




       ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ



ÐÓîîìîðîîð ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÞË×ÔÜ×ÒÍ Ô×Ó×ÌÍ ÑÚ
×ÒÍËÎßÒÝÛ ÞÔßÒÕÛÌ ÚÔ


ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ


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Ú±®³ ×Ø ïî ðï ïï èë ÍÛÏòÒÑò ðé          Ð®·²¬»¼ ·² ËòÍòßò
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                                        ÎÛßÜ ÇÑËÎ ÐÑÔ×ÝÇ ÝßÎÛÚËÔÔÇ

ÜÛÝÔßÎßÌ×ÑÒÍ
   ±    Ô·-¬ ±º ©¸¿¬ º±®³- ¬¸·- Ý±ª»®¿¹» Ð¿®¬
   ±    Ì§°» ±º Ý±ª»®¿¹»
   ±    Ð®»³·«³ø-÷
   ±    Ô±-- Ð¿§»» ø×º ß°°´·½¿¾´»÷
   ±    Ô·-¬ ±º º±®³ ²«³¾»®- ¬¸¿¬ ³¿µ» «° ¬¸·- Ý±ª»®¿¹» Ð¿®¬




ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ ÝÑÒÜ×Ì×ÑÒÍ
   ÔÑÍÍ ÝÑÒÜ×Ì×ÑÒÍ
        ßò   ß¾¿²¼±²³»²¬
        Þò   ß°°®¿·-¿´
        Ýò   Ü«¬·»- ×² Ì¸» Ûª»²¬ ±º Ô±--
        Üò   ×²-«®¿²½» Ë²¼»® Ì©± ±® Ó±®» Ý±ª»®¿¹»-
        Ûò   Ô±-- Ð¿§³»²¬
        Úò   Ñ¬¸»® ×²-«®¿²½»
        Ùò   Ð¿·®ô Í»¬- ±® Ð¿®¬-
        Øò   Ð®·ª·´»¹» Ì± ß¼¶«-¬ É·¬¸ Ñ©²»®
        ×ò   Î»½±ª»®·»-
        Öò   Î»·²-¬¿¬»³»²¬ ±º Ô·³·¬ ßº¬»® Ô±--
        Õò   Ì®¿²-º»® ±º Î·¹¸¬- ±º Î»½±ª»®§ ß¹¿·²-¬ Ñ¬¸»®- Ì± Ë-
   ÙÛÒÛÎßÔ ÝÑÒÜ×Ì×ÑÒÍ
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        Ýò   Ò± Þ»²»º·¬ ¬± Þ¿·´»»
        Üò   Ð±´·½§ Ð»®·±¼
        Ûò   Ê¿´«¿¬·±²




ÝÑÊÛÎßÙÛ ÚÑÎÓÍøÍ÷
   ßò   ÝÑÊÛÎßÙÛ
   Þò   ÛÈÝÔËÍ×ÑÒÍ
   Ýò   Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
   Üò   ÜÛÜËÝÌ×ÞÔÛ
   Ûò   ßÜÜ×Ì×ÑÒßÔ ÝÑÒÜ×Ì×ÑÒÍ
   Úò   ÜÛÚ×Ò×Ì×ÑÒÍ




Ú±®³ ØÓ çç ðì ðï èê Ð®·²¬»¼ ·² ËòÍòßò
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ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ
ÝÑÊÛÎßÙÛ ÐßÎÌ ó ÜÛÝÔßÎßÌ×ÑÒÍ

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


Ì¸·- ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ ÝÑÊÛÎßÙÛ ÐßÎÌ ½±²-·-¬- ±ºæ
    ßò Ì¸·- Ü»½´¿®¿¬·±²-å
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       ¾»´±©ò

Í«³³¿®§ ±º Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±ª»®¿¹» ¿²¼ Ð®»³·«³æ
Ì§°» ±º Ý±ª»®¿¹»                                                                         ß¼ª¿²½» Ð®»³·«³

ÝÑÓÓÛÎÝ×ßÔ ßÎÌ×ÝÔÛÍ ó ÓËÍ×ÝßÔ ×ÒÍÌÎËÓÛÒÌÍ                                                      üíìðòðð
Ú×ÒÛ ßÎÌÍ                                                                                    üïôëíéòðð
Ó×ÍÝÛÔÔßÒÛÑËÍ ÐÎÑÐÛÎÌÇ                                                                         üïêðòðð




                                                          Ì±¬¿´ ß¼ª¿²½» Ð®»³·«³                  üîôðëéòðð
Ì¸» º±´´±©·²¹ ¿°°´·»- ¬± ½±ª»®¿¹»- ¬¸¿¬ ¿®» -«¾¶»½¬ ¬± Î»°±®¬·²¹ ®»¯«·®»³»²¬-æ

Ì§°» ±º Ý±ª»®¿¹»æ

Ü»°±-·¬ Ð®»³·«³æ
Ð®»³·«³ Þ¿-»
Ý±³°«¬»¼ ±²æ
Î»°±®¬·²¹ Ð»®·±¼æ
ß¼¶«-¬³»²¬ Ð»®·±¼æ
Î»°±®¬·²¹ Î¿¬»
Ý±ª»®¿¹» Ó·²·³«³ Ð®»³·«³æ

ßËÜ×Ì ÐÛÎ×ÑÜæ

É» ©·´´ ¿¼¶«-¬ ¿²§ ´±--»- ©·¬¸ §±« ¿²¼ °¿§ ¿²§ ½´¿·³ ¬± §±« ¿²¼ ¬¸·- Ô±-- Ð¿§»» ¶±·²¬´§ ±® ¿- ·²¬»®»-¬- ³¿§
¿°°»¿®ò
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Û¨½»°¬ ·² ¬¸·- Ü»½´¿®¿¬·±²-ô ©¸»² ©» «-» ¬¸» ©±®¼ þÜ»½´¿®¿¬·±²-þ ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©» ³»¿² ¬¸·-
þÜ»½´¿®¿¬·±²-þ ±® ¬¸» þÝ±³³±² Ð±´·½§ Ü»½´¿®¿¬·±²-þò

Ú±®³ Ò«³¾»®- ±º Ý±ª»®¿¹» Ú±®³-ô Û²¼±®-»³»²¬- ¿²¼ Í½¸»¼«´»- ¬¸¿¬ ¿®» ¿ °¿®¬ ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬æ

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                                                                                         ÝÓ ðð ðï ðç ðì


            ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ ÝÑÒÜ×Ì×ÑÒÍ
Ì¸» º±´´±©·²¹ ½±²¼·¬·±²- ¿°°´§ ·² ¿¼¼·¬·±² ¬± ¬¸» Ý±³³±² Ð±´·½§ Ý±²¼·¬·±²- ¿²¼ ¿°°´·½¿¾´» ß¼¼·¬·±²¿´ Ý±²¼·¬·±²-
·² Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±ª»®¿¹» Ú±®³-æ

ÔÑÍÍ ÝÑÒÜ×Ì×ÑÒÍ                                                ëò   Ç±« ©·´´ ²±¬ô »¨½»°¬ ¿¬ §±«® ±©² ½±-¬ô
ßò ß¾¿²¼±²³»²¬                                                      ª±´«²¬¿®·´§ ³¿µ» ¿ °¿§³»²¬ô ¿--«³» ¿²§
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Þò ß°°®¿·-¿´                                                        °»®³·¬ «- ¬± ·²-°»½¬ ¬¸» °®±°»®¬§ °®±ª·²¹ ¬¸»
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      ©·¬¸·² íð ¼¿§- ¿º¬»® ©» ®»½»·ª» ¬¸» -©±®²                  ©·´´ ®»º«²¼ ¬¸» «²»¿®²»¼ °®»³·«³ ±² ¬¸¿¬ ·¬»³ò
      °®±±º ±º ´±-- ·º §±« ¸¿ª» ½±³°´·»¼ ©·¬¸ ¿´´ ¬¸»       Öò Ì®¿²-º»® Ñº Î·¹¸¬- Ñº Î»½±ª»®§ ß¹¿·²-¬
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        ¿ò É» ¸¿ª» ®»¿½¸»¼ ¿¹®»»³»²¬ ©·¬¸ §±«                    ×º ¿²§ °»®-±² ±® ±®¹¿²·¦¿¬·±² ¬± ±® º±® ©¸±³ ©»
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        ½±ª»®»¼ ´±-- ±® ¼¿³¿¹» ·² »¨½»-- ±º ¬¸»                  Ì¸·- ©·´´ ²±¬ ®»-¬®·½¬ §±«® ·²-«®¿²½»ò
        ¿³±«²¬ ¼«» º®±³ ¬¸¿¬ ±¬¸»® ·²-«®¿²½»ô ©¸»¬¸»®       ÙÛÒÛÎßÔ ÝÑÒÜ×Ì×ÑÒÍ
        §±« ½¿² ½±´´»½¬ ±² ·¬ ±® ²±¬ò Þ«¬ ©» ©·´´ ²±¬ °¿§
                                                            ßò Ý±²½»¿´³»²¬ô Ó·-®»°®»-»²¬¿¬·±² Ñ® Ú®¿«¼
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   °®±°»®¬§ô -«¾¶»½¬ ¬± ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ò


Ð¿¹» î ±º í                                                                                       ÝÓ ðð ðï ðç ðì
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   îò Ì¸» ¿½¬·±² ·- ¾®±«¹¸¬ ©·¬¸·² î §»¿®- ¿º¬»®       Úò Ê¿´«¿¬·±²
      §±« º·®-¬ ¸¿ª» µ²±©´»¼¹» ±º ¬¸» ¼·®»½¬ ´±-- ±®      Ì¸» ª¿´«» ±º °®±°»®¬§ ©·´´ ¾» ¬¸» ´»¿-¬ ±º ¬¸»
      ¼¿³¿¹»ò                                             º±´´±©·²¹ ¿³±«²¬-æ
Üò Ò± Þ»²»º·¬ Ì± Þ¿·´»»                                   ïò Ì¸» ¿½¬«¿´ ½¿-¸ ª¿´«» ±º ¬¸¿¬ °®±°»®¬§å
   Ò± °»®-±² ±® ±®¹¿²·¦¿¬·±²ô ±¬¸»® ¬¸¿² §±«ô             îò Ì¸» ½±-¬ ±º ®»¿-±²¿¾´§ ®»-¬±®·²¹ ¬¸¿¬
   ¸¿ª·²¹ ½«-¬±¼§ ±º Ý±ª»®»¼ Ð®±°»®¬§ô ©·´´ ¾»²»º·¬          °®±°»®¬§ ¬± ·¬- ½±²¼·¬·±² ·³³»¼·¿¬»´§ ¾»º±®»
   º®±³ ¬¸·- ·²-«®¿²½»ò                                      ´±-- ±® ¼¿³¿¹»å ±®
Ûò Ð±´·½§ Ð»®·±¼ô Ý±ª»®¿¹» Ì»®®·¬±®§                      íò Ì¸» ½±-¬ ±º ®»°´¿½·²¹ ¬¸¿¬ °®±°»®¬§ ©·¬¸
   É» ½±ª»® ´±-- ±® ¼¿³¿¹» ½±³³»²½·²¹æ                       -«¾-¬¿²¬·¿´´§ ·¼»²¬·½¿´ °®±°»®¬§ò
   ïò Ü«®·²¹ ¬¸» °±´·½§ °»®·±¼ -¸±©² ·² ¬¸»               ×² ¬¸» »ª»²¬ ±º ´±-- ±® ¼¿³¿¹»ô ¬¸» ª¿´«» ±º
      Ü»½´¿®¿¬·±²-å ¿²¼                                   °®±°»®¬§ ©·´´ ¾» ¼»¬»®³·²»¼ ¿- ±º ¬¸» ¬·³» ±º ´±--
   îò É·¬¸·² ¬¸» ½±ª»®¿¹» ¬»®®·¬±®§ò                      ±® ¼¿³¿¹»ò




ÝÓ ðð ðï ðç ðì                                                                               Ð¿¹» í ±º í
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     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

            ÝßÐ ÑÒ ÔÑÍÍÛÍ ÚÎÑÓ ÝÛÎÌ×Ú×ÛÜ ßÝÌÍ ÑÚ
                        ÌÛÎÎÑÎ×ÍÓ

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ ÝÑÊÛÎßÙÛ ÐßÎÌ


ßò Ü·-½´±-«®» Ñº Ú»¼»®¿´ Í¸¿®» ±º Ì»®®±®·-³                  îò Ì¸» ¿½¬ ®»-«´¬- ·² ¼¿³¿¹» ©·¬¸·² ¬¸» Ë²·¬»¼
   Ô±--»-                                                       Í¬¿¬»-ô ±® ±«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»- ·² ¬¸» ½¿-»
   Ì¸» Ë²·¬»¼ Í¬¿¬»- Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§ ©·´´            ±º ½»®¬¿·² ¿·® ½¿®®·»®- ±® ª»--»´- ±® ¬¸»
   ®»·³¾«®-» ·²-«®»®- º±® ¿ °±®¬·±² ±º -«½¸ ·²-«®»¼             °®»³·-»- ±º ¿² Ë²·¬»¼ Í¬¿¬»- ³·--·±²å ¿²¼
   ´±--»- ¿- ·²¼·½¿¬»¼ ·² ¬¸» ¬¿¾´» ¾»´±© ¬¸¿¬ »¨½»»¼-       íò Ì¸» ¿½¬ ·- ¿ ª·±´»²¬ ¿½¬ ±® ¿² ¿½¬ ¬¸¿¬ ·-
   ¬¸» ¿°°´·½¿¾´» ·²-«®»® ¼»¼«½¬·¾´»æ                           ¼¿²¹»®±«- ¬± ¸«³¿² ´·º»ô °®±°»®¬§ ±®
       Ý¿´»²¼¿® Ç»¿®            Ú»¼»®¿´ Í¸¿®» ±º                ·²º®¿-¬®«½¬«®» ¿²¼ ·- ½±³³·¬¬»¼ ¾§ ¿² ·²¼·ª·¼«¿´
                                Ì»®®±®·-³ Ô±--»-                ±® ·²¼·ª·¼«¿´- ¿- °¿®¬ ±º ¿² »ºº±®¬ ¬± ½±»®½» ¬¸»
                                                                ½·ª·´·¿² °±°«´¿¬·±² ±º ¬¸» Ë²·¬»¼ Í¬¿¬»- ±® ¬±
            îðïë                        èëû                     ·²º´«»²½» ¬¸» °±´·½§ ±® ¿ºº»½¬ ¬¸» ½±²¼«½¬ ±º ¬¸»
            îðïê                        èìû                     Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ ¾§ ½±»®½·±²ò
            îðïé                        èíû                  ×º ¿¹¹®»¹¿¬» ·²-«®»¼ ´±--»- ¿¬¬®·¾«¬¿¾´» ¬± þ½»®¬·º·»¼
                                                             ¿½¬- ±º ¬»®®±®·-³þ «²¼»® ÌÎ×ß »¨½»»¼ üïðð ¾·´´·±²
            îðïè                        èîû
                                                             ·² ¿ ½¿´»²¼¿® §»¿® ¿²¼ ©» ¸¿ª» ³»¬ô ±® ©·´´ ³»»¬ô
            îðïç                        èïû                  ±«® ·²-«®»® ¼»¼«½¬·¾´» «²¼»® ÌÎ×ß ©» -¸¿´´ ²±¬ ¾»
        îðîð ±® ´¿¬»®                   èðû                  ´·¿¾´» º±® ¬¸» °¿§³»²¬ ±º ¿²§ °±®¬·±² ±º ¬¸» ¿³±«²¬
                                                             ±º -«½¸ ´±--»- ¬¸¿¬ »¨½»»¼- üïðð ¾·´´·±²ò ×² -«½¸
   Ø±©»ª»®ô ·º ¿¹¹®»¹¿¬» ·²-«®»¼ ´±--»- ¿¬¬®·¾«¬¿¾´»         ½¿-»ô §±«® ½±ª»®¿¹» º±® ¬»®®±®·-³ ´±--»- ³¿§ ¾»
   ¬± þ½»®¬·º·»¼ ¿½¬- ±º ¬»®®±®·-³þ «²¼»® ¬¸» º»¼»®¿´        ®»¼«½»¼ ±² ¿ °®±ó®¿¬¿ ¾¿-·- ·² ¿½½±®¼¿²½» ©·¬¸
   Ì»®®±®·-³ Î·-µ ×²-«®¿²½» ß½¬ô ¿- ¿³»²¼»¼ øÌÎ×ß÷ô          °®±½»¼«®»- »-¬¿¾´·-¸»¼ ¾§ ¬¸» Ì®»¿-«®§ô ¾¿-»¼ ±²
   »¨½»»¼ üïðð ¾·´´·±² ·² ¿ ½¿´»²¼¿® §»¿®ô ¬¸»               ·¬- »-¬·³¿¬»- ±º ¿¹¹®»¹¿¬» ·²¼«-¬®§ ´±--»- ¿²¼ ±«®
   Ì®»¿-«®§ -¸¿´´ ²±¬ ³¿µ» ¿²§ °¿§³»²¬ º±® ¿²§               »-¬·³¿¬» ¬¸¿¬ ©» ©·´´ »¨½»»¼ ±«® ·²-«®»®
   °±®¬·±² ±º ¬¸» ¿³±«²¬ ±º -«½¸ ´±--»- ¬¸¿¬ »¨½»»¼-         ¼»¼«½¬·¾´»ò     ×² ¿½½±®¼¿²½» ©·¬¸ Ì®»¿-«®§
   üïðð ¾·´´·±²ò Ì¸» Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ ¸¿-            °®±½»¼«®»-ô ¿³±«²¬- °¿·¼ º±® ´±--»- ³¿§ ¾»
   ²±¬ ½¸¿®¹»¼ ¿²§ °®»³·«³ º±® ¬¸»·® °¿®¬·½·°¿¬·±² ·²        -«¾¶»½¬ ¬± º«®¬¸»® ¿¼¶«-¬³»²¬- ¾¿-»¼ ±²
   ½±ª»®·²¹ ¬»®®±®·-³ ´±--»-ò                                ¼·ºº»®»²½»- ¾»¬©»»² ¿½¬«¿´ ´±--»- ¿²¼ »-¬·³¿¬»-ò
Þò Ý¿° Ñ² ×²-«®»® Ô·¿¾·´·¬§ Ú±® Ì»®®±®·-³ Ô±--»-          Ýò ß°°´·½¿¬·±² Ñº Ñ¬¸»® Û¨½´«-·±²-
   ß þ½»®¬·º·»¼ ¿½¬ ±º ¬»®®±®·-³þ ³»¿²- ¿² ¿½¬ ¬¸¿¬ ·-       Ì¸» ¬»®³- ¿²¼ ´·³·¬¿¬·±²- ±º ¿²§ ¬»®®±®·-³
   ½»®¬·º·»¼ ¾§ ¬¸» Í»½®»¬¿®§ ±º ¬¸» Ì®»¿-«®§ô ·²            »¨½´«-·±²ô ¬¸» ·²¿°°´·½¿¾·´·¬§ ±® ±³·--·±² ±º ¿
   ¿½½±®¼¿²½» ©·¬¸ ¬¸» °®±ª·-·±²- ±º ¬¸» º»¼»®¿´             ¬»®®±®·-³ »¨½´«-·±²ô ±® ¬¸» ·²½´«-·±² ±º ¬»®®±®·-³
   Ì»®®±®·-³ Î·-µ ×²-«®¿²½» ß½¬ô ¬± ¾» ¿² ¿½¬ ±º             ½±ª»®¿¹»ô ¼± ²±¬ -»®ª» ¬± ½®»¿¬» ½±ª»®¿¹» º±® ¿²§
   ¬»®®±®·-³ «²¼»® ÌÎ×ßò Ì¸» ½®·¬»®·¿ ½±²¬¿·²»¼ ·²           ´±-- ©¸·½¸ ©±«´¼ ±¬¸»®©·-» ¾» »¨½´«¼»¼ «²¼»® ¬¸·-
   ÌÎ×ßô º±® ¿ þ½»®¬·º·»¼ ¿½¬ ±º ¬»®®±®·-³þ ·²½´«¼» ¬¸»      Ý±ª»®¿¹» Ð¿®¬ ±® Ð±´·½§ô -«½¸ ¿- ´±--»- »¨½´«¼»¼
   º±´´±©·²¹æ                                                ¾§ ¬¸» Ò«½´»¿® Ø¿¦¿®¼ Û¨½´«-·±² ¿²¼ ¬¸» É¿® ß²¼
   ïò Ì¸» ¿½¬ ®»-«´¬- ·² ·²-«®»¼ ´±--»- ·² »¨½»-- ±º         Ó·´·¬¿®§ ß½¬·±² Û¨½´«-·±²ò
       üë ³·´´·±² ·² ¬¸» ¿¹¹®»¹¿¬»ô ¿¬¬®·¾«¬¿¾´» ¬± ¿´´
       ¬§°»- ±º ·²-«®¿²½» -«¾¶»½¬ ¬± ÌÎ×ßå ¿²¼




Ú±®³ ×Ø ðç ëî ðï ïë                                                                                 Ð¿¹» ï ±º ï
                                            w îðïëô Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR
            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º Document    1-4 Filed
                                              ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                         ×²½ò ©·¬¸ ·¬- Page  200 of 579
                                                                                       °»®³·--·±²ò÷
                                                                               ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ
                                                                                            ÝÓ ðð îð ðï ïí


             ÝÑÓÓÛÎÝ×ßÔ ßÎÌ×ÝÔÛÍ ÝÑÊÛÎßÙÛ ÚÑÎÓ

Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò             ¾ò É» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±®
Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô               ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ô ½¿«-»¼ ¾§
¼«¬·»- ¿²¼ ©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò                              ¿¾®«°¬ ½±´´¿°-» ±º ¿ ¾«·´¼·²¹ ±® ¿²§ °¿®¬ ±º ¿
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ô ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ                  ¾«·´¼·²¹ ¬¸¿¬ ½±²¬¿·²- Ý±ª»®»¼ Ð®±°»®¬§
®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò               ·²-«®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³ô ·º -«½¸
Ì¸» ©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» ½±³°¿²§                 ½±´´¿°-» ·- ½¿«-»¼ ¾§ ±²» ±® ³±®» ±º ¬¸»
°®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò                                           º±´´±©·²¹æ
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±²                   øï÷ Þ«·´¼·²¹ ¼»½¿§ ¬¸¿¬ ·- ¸·¼¼»² º®±³ ª·»©ô
³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò                                             «²´»-- ¬¸» °®»-»²½» ±º -«½¸ ¼»½¿§ ·-
                                                                        µ²±©² ¬± ¿² ·²-«®»¼ °®·±® ¬± ½±´´¿°-»å
ßò Ý±ª»®¿¹»
                                                                    øî÷ ×²-»½¬ ±® ª»®³·² ¼¿³¿¹» ¬¸¿¬ ·- ¸·¼¼»²
   É» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ´±-- ±º ±® ¼¿³¿¹» ¬±                 º®±³ ª·»©ô «²´»-- ¬¸» °®»-»²½» ±º -«½¸
   Ý±ª»®»¼ Ð®±°»®¬§ º®±³ ¿²§ ±º ¬¸» Ý±ª»®»¼                             ¼¿³¿¹» ·- µ²±©² ¬± ¿² ·²-«®»¼ °®·±® ¬±
   Ý¿«-»- ±º Ô±--ò                                                      ½±´´¿°-»å
   ïò Ý±ª»®»¼ Ð®±°»®¬§ô ¿- «-»¼ ·² ¬¸·- Ý±ª»®¿¹»                    øí÷ Ë-» ±º ¼»º»½¬·ª» ³¿¬»®·¿´ ±® ³»¬¸±¼- ·²
      Ú±®³ô ³»¿²-æ                                                      ½±²-¬®«½¬·±²ô ®»³±¼»´·²¹ ±® ®»²±ª¿¬·±² ·º
      ¿ò Ý¿³»®¿-ô °®±¶»½¬·±² ³¿½¸·²»-ô º·´³- ¿²¼                        ¬¸» ¿¾®«°¬ ½±´´¿°-» ±½½«®- ¼«®·²¹ ¬¸»
         ®»´¿¬»¼ »¯«·°³»²¬ ¿²¼ ¿½½»--±®·»-å                             ½±«®-» ±º ¬¸» ½±²-¬®«½¬·±²ô ®»³±¼»´·²¹
      ¾ò Ó«-·½¿´ ·²-¬®«³»²¬- ¿²¼ ®»´¿¬»¼ »¯«·°³»²¬                      ±® ®»²±ª¿¬·±²å
         ¿²¼ ¿½½»--±®·»-å ¿²¼                                       øì÷ Ë-» ±º ¼»º»½¬·ª» ³¿¬»®·¿´ ±® ³»¬¸±¼- ·²
      ½ò Í·³·´¿® °®±°»®¬§ ±º ±¬¸»®- ¬¸¿¬ ·- ·² §±«®                     ½±²-¬®«½¬·±²ô ®»³±¼»´·²¹ ±® ®»²±ª¿¬·±² ·º
         ½¿®»ô ½«-¬±¼§ ±® ½±²¬®±´ò                                      ¬¸» ¿¾®«°¬ ½±´´¿°-» ±½½«®- ¿º¬»® ¬¸»
                                                                        ½±²-¬®«½¬·±²ô ®»³±¼»´·²¹ ±® ®»²±ª¿¬·±²
   îò Ð®±°»®¬§ Ò±¬ Ý±ª»®»¼
                                                                        ·- ½±³°´»¬»ô ¾«¬ ±²´§ ·º ¬¸» ½±´´¿°-» ·-
      Ý±ª»®»¼ Ð®±°»®¬§ ¼±»- ²±¬ ·²½´«¼» ½±²¬®¿¾¿²¼ô                     ½¿«-»¼ ·² °¿®¬ ¾§æ
      ±® °®±°»®¬§ ·² ¬¸» ½±«®-» ±º ·´´»¹¿´                             ø¿÷ ß ½¿«-» ±º ´±-- ´·-¬»¼ ·² Ð¿®¿¹®¿°¸
      ¬®¿²-°±®¬¿¬·±² ±® ¬®¿¼»ò                                              øï÷ ±® øî÷å
   íò Ý±ª»®»¼ Ý¿«-»- Ñº Ô±--
                                                                       ø¾÷ Ñ²» ±® ³±®» ±º ¬¸» º±´´±©·²¹ ½¿«-»-
      Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ³»¿²- ¼·®»½¬ °¸§-·½¿´                          ±º ´±--æ º·®»å ´·¹¸¬²·²¹å ©·²¼-¬±®³å
      ´±-- ±® ¼¿³¿¹» ¬± Ý±ª»®»¼ Ð®±°»®¬§ »¨½»°¬                             ¸¿·´å »¨°´±-·±²å -³±µ»å ¿·®½®¿º¬å
      ¬¸±-» ½¿«-»- ±º ´±-- ´·-¬»¼ ·² ¬¸» Û¨½´«-·±²-ò                        ª»¸·½´»-å ®·±¬å ½·ª·´ ½±³³±¬·±²å
   ìò ß¼¼·¬·±²¿´ Ý±ª»®¿¹»  Ý±´´¿°­»                                        ª¿²¼¿´·-³å    ´»¿µ¿¹»      º®±³    º·®»
                                                                            »¨¬·²¹«·-¸·²¹ »¯«·°³»²¬å -·²µ¸±´»
      Ì¸» ½±ª»®¿¹» °®±ª·¼»¼ «²¼»® ¬¸·- ß¼¼·¬·±²¿´
                                                                            ½±´´¿°-»å ª±´½¿²·½ ¿½¬·±²å ¾®»¿µ¿¹»
      Ý±ª»®¿¹»  Ý±´´¿°­» ¿°°´·»­ ±²´§ ¬± ¿² ¿¾®«°¬
                                                                            ±º ¾«·´¼·²¹ ¹´¿--å º¿´´·²¹ ±¾¶»½¬-å
      ½±´´¿°-» ¿- ¼»-½®·¾»¼ ¿²¼ ´·³·¬»¼ ·²
                                                                            ©»·¹¸¬ ±º -²±©ô ·½» ±® -´»»¬å ©¿¬»®
      Ð¿®¿¹®¿°¸- ¿ò ¬¸®±«¹¸ ½ò
                                                                            ¼¿³¿¹»å »¿®¬¸¯«¿µ»å ¿´´ ±²´§ ¿-
      ¿ò Ú±® ¬¸» °«®°±-» ±º ¬¸·- ß¼¼·¬·±²¿´ Ý±ª»®¿¹»                        ·²-«®»¼ ¿¹¿·²-¬ ·² ¬¸·- Ý±ª»®¿¹»
          Ý±´´¿°­»ô ¿¾®«°¬ ½±´´¿°­» ³»¿²­ ¿²                               Ú±®³å
         ¿¾®«°¬ º¿´´·²¹ ¼±©² ±® ½¿ª·²¹ ·² ±º ¿ ¾«·´¼·²¹
                                                                       ø½÷ É»·¹¸¬ ±º °»±°´» ±® °»®-±²¿´
         ±® ¿²§ °¿®¬ ±º ¿ ¾«·´¼·²¹ ©·¬¸ ¬¸» ®»-«´¬ ¬¸¿¬
                                                                            °®±°»®¬§å ±®
         ¬¸» ¾«·´¼·²¹ ±® °¿®¬ ±º ¬¸» ¾«·´¼·²¹ ½¿²²±¬ ¾»
         ±½½«°·»¼ º±® ·¬- ·²¬»²¼»¼ °«®°±-»ò                            ø¼÷ É»·¹¸¬ ±º ®¿·² ¬¸¿¬ ½±´´»½¬- ±² ¿ ®±±ºò
                                                                 ½ò Ì¸·­ ß¼¼·¬·±²¿´ Ý±ª»®¿¹»  Ý±´´¿°­» ©·´´
                                                                    ²±¬ ·²½®»¿-» ¬¸» Ô·³·¬- ±º ×²-«®¿²½»
                                                                    °®±ª·¼»¼ ·² ¬¸·- Ý±ª»®¿¹» Ú±®³ò




ÝÓ ðð îð ðï ïí                       w ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô îðïï                          Ð¿¹» ï ±º í
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 201 of 579
Þò Û¨½´«-·±²-                                                       øí÷ ß²§±²» »´-» ©·¬¸ ¿² ·²¬»®»-¬ ·² ¬¸»
   ïò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼                         °®±°»®¬§ô ±® ¬¸»·® »³°´±§»»- ø·²½´«¼·²¹
      ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ¾§ ¿²§ ±º ¬¸» º±´´±©·²¹ò                   ¬»³°±®¿®§ »³°´±§»»- ¿²¼ ´»¿-»¼
      Í«½¸ ´±-- ±® ¼¿³¿¹» ·- »¨½´«¼»¼ ®»¹¿®¼´»-- ±º                     ©±®µ»®-÷ ±® ¿«¬¸±®·¦»¼ ®»°®»-»²¬¿¬·ª»-å
      ¿²§ ±¬¸»® ½¿«-» ±® »ª»²¬ ¬¸¿¬ ½±²¬®·¾«¬»-                      ©¸»¬¸»® ¿½¬·²¹ ¿´±²» ±® ·² ½±´´«-·±² ©·¬¸
      ½±²½«®®»²¬´§ ±® ·² ¿²§ -»¯«»²½» ¬± ¬¸» ´±--ò                   »¿½¸ ±¬¸»® ±® ©·¬¸ ¿²§ ±¬¸»® °¿®¬§ò
      ¿ò Ù±ª»®²³»²¬¿´ ß½¬·±²                                         Ì¸·- »¨½´«-·±² ¿°°´·»- ©¸»¬¸»® ±® ²±¬ ¿² ¿½¬
         Í»·¦«®» ±® ¼»-¬®«½¬·±² ±º °®±°»®¬§ ¾§ ±®¼»®                 ±½½«®- ¼«®·²¹ §±«® ²±®³¿´ ¸±«®- ±º
         ±º ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ò                                  ±°»®¿¬·±²ò
         Þ«¬ ©» ©·´´ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼                   Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ¿½¬- ±º
         ¾§ ±® ®»-«´¬·²¹ º®±³ ¿½¬- ±º ¼»-¬®«½¬·±²                    ¼»-¬®«½¬·±² ¾§ §±«® »³°´±§»»- ø·²½´«¼·²¹
         ±®¼»®»¼ ¾§ ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ ¿²¼                       ¬»³°±®¿®§ »³°´±§»»- ¿²¼ ´»¿-»¼ ©±®µ»®-÷
         ¬¿µ»² ¿¬ ¬¸» ¬·³» ±º ¿ º·®» ¬± °®»ª»²¬ ·¬-                  ±® ¿«¬¸±®·¦»¼ ®»°®»-»²¬¿¬·ª»-å ¾«¬ ¬¸»º¬ ¾§
         -°®»¿¼ ·º ¬¸» º·®» ©±«´¼ ¾» ½±ª»®»¼ «²¼»®                   §±«® »³°´±§»»- ø·²½´«¼·²¹ ¬»³°±®¿®§
         ¬¸·- Ý±ª»®¿¹» Ú±®³ò                                         »³°´±§»»- ¿²¼ ´»¿-»¼ ©±®µ»®-÷ ±®
                                                                     ¿«¬¸±®·¦»¼ ®»°®»-»²¬¿¬·ª»- ·- ²±¬ ½±ª»®»¼ò
      ¾ò Ò«½´»¿® Ø¿¦¿®¼
                                                                 ½ò Ê±´«²¬¿®§ °¿®¬·²¹ ©·¬¸ ¿²§ °®±°»®¬§ ¾§ §±«
         Ò«½´»¿® ®»¿½¬·±² ±® ®¿¼·¿¬·±²ô ±® ®¿¼·±¿½¬·ª»              ±® ¿²§±²» »²¬®«-¬»¼ ©·¬¸ ¬¸» °®±°»®¬§ ·º
         ½±²¬¿³·²¿¬·±²ô ¸±©»ª»® ½¿«-»¼ò                             ·²¼«½»¼ ¬± ¼± -± ¾§ ¿²§ º®¿«¼«´»²¬ -½¸»³»ô
         Þ«¬ ·º ²«½´»¿® ®»¿½¬·±² ±® ®¿¼·¿¬·±²ô ±®                   ¬®·½µô ¼»ª·½» ±® º¿´-» °®»¬»²-»ò
         ®¿¼·±¿½¬·ª» ½±²¬¿³·²¿¬·±² ®»-«´¬- ·² º·®»ô ©»           ¼ò Ë²¿«¬¸±®·¦»¼ ·²-¬®«½¬·±²- ¬± ¬®¿²-º»®
         ©·´´ °¿§ º±® ¬¸» ¼·®»½¬ ´±-- ±® ¼¿³¿¹»                     °®±°»®¬§ ¬± ¿²§ °»®-±² ±® ¬± ¿²§ °´¿½»ò
         ½¿«-»¼ ¾§ ¬¸¿¬ º·®» ·º ¬¸» º·®» ©±«´¼ ¾»
         ½±ª»®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ú±®³ò                       »ò Ò»¹´»½¬ ±º ¿² ·²-«®»¼ ¬± «-» ¿´´ ®»¿-±²¿¾´»
                                                                    ³»¿²- ¬± -¿ª» ¿²¼ °®»-»®ª» °®±°»®¬§ º®±³
      ½ò É¿® ß²¼ Ó·´·¬¿®§ ß½¬·±²                                    º«®¬¸»® ¼¿³¿¹» ¿¬ ¿²¼ ¿º¬»® ¬¸» ¬·³» ±º ´±--ò
        øï÷ É¿®ô ·²½´«¼·²¹ «²¼»½´¿®»¼ ±® ½·ª·´ ©¿®å              ºò Ì¸»º¬ ¾§ ¿²§ °»®-±² ø»¨½»°¬ ½¿®®·»®- º±®
        øî÷ É¿®´·µ» ¿½¬·±² ¾§ ¿ ³·´·¬¿®§ º±®½»ô                     ¸·®»÷ ¬± ©¸±³ §±« »²¬®«-¬ ¬¸» °®±°»®¬§ º±®
            ·²½´«¼·²¹ ¿½¬·±² ·² ¸·²¼»®·²¹ ±®                        ¿²§ °«®°±-»ô ©¸»¬¸»® ¿½¬·²¹ ¿´±²» ±® ·²
            ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿² ¿½¬«¿´ ±® »¨°»½¬»¼                 ½±´´«-·±² ©·¬¸ ¿²§ ±¬¸»® °¿®¬§ò
            ¿¬¬¿½µô ¾§ ¿²§ ¹±ª»®²³»²¬ô -±ª»®»·¹² ±®                  Ì¸·- »¨½´«-·±² ¿°°´·»- ©¸»¬¸»® ±® ²±¬ ¿² ¿½¬
            ±¬¸»® ¿«¬¸±®·¬§ «-·²¹ ³·´·¬¿®§ °»®-±²²»´                 ±½½«®- ¼«®·²¹ §±«® ²±®³¿´ ¸±«®- ±º
            ±® ±¬¸»® ¿¹»²¬-å ±®                                      ±°»®¿¬·±²ò
        øí÷ ×²-«®®»½¬·±²ô    ®»¾»´´·±²ô    ®»ª±´«¬·±²ô        íò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§
            «-«®°»¼ °±©»®ô ±® ¿½¬·±² ¬¿µ»² ¾§                    ±® ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹ò Þ«¬ ·º ´±--
            ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ ·² ¸·²¼»®·²¹ ±®               ±® ¼¿³¿¹» ¾§ ¿ Ý±ª»®»¼ Ý¿«-» ±º Ô±--
            ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿²§ ±º ¬¸»-»ò                      ®»-«´¬-ô ©» ©·´´ °¿§ º±® ¬¸» ´±-- ±® ¼¿³¿¹»
      Û¨½´«-·±²- Þòïò¿ò ¬¸®±«¹¸ Þòïò½ò ¿°°´§ ©¸»¬¸»®             ½¿«-»¼ ¾§ ¬¸¿¬ Ý±ª»®»¼ Ý¿«-» ±º Ô±--ò
      ±® ²±¬ ¬¸» ´±-- »ª»²¬ ®»-«´¬- ·² ©·¼»-°®»¿¼                ¿ò É»¿¬¸»® ½±²¼·¬·±²-ò Þ«¬ ¬¸·- »¨½´«-·±² ±²´§
      ¼¿³¿¹» ±® ¿ºº»½¬- ¿ -«¾-¬¿²¬·¿´ ¿®»¿ò                          ¿°°´·»- ·º ©»¿¬¸»® ½±²¼·¬·±²- ½±²¬®·¾«¬» ·²
   îò É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ½¿«-»¼ ¾§                   ¿²§ ©¿§ ©·¬¸ ¿ ½¿«-» ±® »ª»²¬ »¨½´«¼»¼ ·²
      ±® ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹æ                        Ð¿®¿¹®¿°¸ ïò ¿¾±ª» ¬± °®±¼«½» ¬¸» ´±-- ±®
      ¿ò Ü»´¿§ô ´±-- ±º «-»ô ´±-- ±º ³¿®µ»¬ ±® ¿²§                   ¼¿³¿¹»ò
          ±¬¸»® ½±²-»¯«»²¬·¿´ ´±--ò                              ¾ò ß½¬- ±® ¼»½·-·±²-ô ·²½´«¼·²¹ ¬¸» º¿·´«®» ¬± ¿½¬
      ¾ò Ü·-¸±²»-¬ ±® ½®·³·²¿´ ¿½¬ ø·²½´«¼·²¹ ¬¸»º¬÷                 ±® ¼»½·¼»ô ±º ¿²§ °»®-±²ô ¹®±«°ô
          ½±³³·¬¬»¼ ¾§æ                                              ±®¹¿²·¦¿¬·±² ±® ¹±ª»®²³»²¬¿´ ¾±¼§ò
         øï÷ Ç±«ô ¿²§ ±º §±«® °¿®¬²»®-ô »³°´±§»»-                ½ò Ú¿«´¬§ô ·²¿¼»¯«¿¬» ±® ¼»º»½¬·ª»æ
             ø·²½´«¼·²¹ ¬»³°±®¿®§ »³°´±§»»- ¿²¼                     øï÷ Ð´¿²²·²¹ô       ¦±²·²¹ô    ¼»ª»´±°³»²¬ô
             ´»¿-»¼ ©±®µ»®-÷ô ±ºº·½»®-ô ¼·®»½¬±®-ô                      -«®ª»§·²¹ô -·¬·²¹å
             ¬®«-¬»»-ô ±® ¿«¬¸±®·¦»¼ ®»°®»-»²¬¿¬·ª»-å               øî÷ Ü»-·¹²ô -°»½·º·½¿¬·±²-ô ©±®µ³¿²-¸·°ô
         øî÷ ß ³¿²¿¹»® ±® ¿ ³»³¾»® ·º §±« ¿®» ¿                         ®»°¿·®ô     ½±²-¬®«½¬·±²ô    ®»²±ª¿¬·±²ô
             ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§å ±®                              ®»³±¼»´·²¹ô ¹®¿¼·²¹ô ½±³°¿½¬·±²å
                                                                    øí÷ Ó¿¬»®·¿´- «-»¼ ·² ®»°¿·®ô ½±²-¬®«½¬·±²ô
                                                                        ®»²±ª¿¬·±² ±® ®»³±¼»´·²¹å ±®



Ð¿¹» î ±º í                          w ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô îðïï                      ÝÓ ðð îð ðï ïí
      Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 202 of 579
         øì÷ Ó¿·²¬»²¿²½»å                                      îò Ý±·²-«®¿²½»
          ±º °¿®¬ ±® ¿´´ ±º ¿²§ °®±°»®¬§ ©¸»®»ª»®                 ×º ¿ Ý±·²-«®¿²½» °»®½»²¬¿¹» ·- -¸±©² ·² ¬¸»
          ´±½¿¬»¼ò                                                Ü»½´¿®¿¬·±²-ô ¬¸» º±´´±©·²¹ ½±²¼·¬·±² ¿°°´·»- ¬±
      ¼ò Ý±´´¿°-»ô ·²½´«¼·²¹ ¿²§ ±º ¬¸» º±´´±©·²¹                 ¿´´ ·¬»³- ¬¸¿¬ ¿®» ½±ª»®»¼ ¾«¬ ²±¬ ·²¼·ª·¼«¿´´§
         ½±²¼·¬·±²- ±º °®±°»®¬§ ±® ¿²§ °¿®¬ ±º ¬¸»                ´·-¬»¼ ¿²¼ ¼»-½®·¾»¼ò
         °®±°»®¬§æ                                                É» ©·´´ ²±¬ °¿§ ¬¸» º«´´ ¿³±«²¬ ±º ¿²§ ´±-- ·º
         øï÷ ß² ¿¾®«°¬ º¿´´·²¹ ¼±©² ±® ½¿ª·²¹ ·²å                 ¬¸» ª¿´«» ±º Ý±ª»®»¼ Ð®±°»®¬§ô »¨½»°¬ °®±°»®¬§
                                                                  ·² ¬®¿²-·¬ô ¿¬ ¬¸» ¬·³» ±º ´±-- ¬·³»- ¬¸»
         øî÷ Ô±-- ±º -¬®«½¬«®¿´ ·²¬»¹®·¬§ô ·²½´«¼·²¹              Ý±·²-«®¿²½» °»®½»²¬¿¹» -¸±©² º±® ·¬ ·² ¬¸»
             -»°¿®¿¬·±² ±º °¿®¬- ±º ¬¸» °®±°»®¬§ ±®               Ü»½´¿®¿¬·±²- ·- ¹®»¿¬»® ¬¸¿² ¬¸» Ô·³·¬ ±º
             °®±°»®¬§ ·² ¼¿²¹»® ±º º¿´´·²¹ ¼±©² ±®                ×²-«®¿²½» º±® ¬¸» °®±°»®¬§ò
             ½¿ª·²¹ ·²å ±®
                                                                  ×²-¬»¿¼ô ©» ©·´´ ¼»¬»®³·²» ¬¸» ³±-¬ ©» ©·´´ °¿§
         øí÷ ß²§ ½®¿½µ·²¹ô ¾«´¹·²¹ô -¿¹¹·²¹ô ¾»²¼·²¹ô             «-·²¹ ¬¸» º±´´±©·²¹ -¬»°-æ
             ´»¿²·²¹ô -»¬¬´·²¹ô -¸®·²µ·²¹ ±® »¨°¿²-·±²
             ¿- -«½¸ ½±²¼·¬·±² ®»´¿¬»- ¬± Ð¿®¿¹®¿°¸               ¿ò Ó«´¬·°´§ ¬¸» ª¿´«» ±º Ý±ª»®»¼ Ð®±°»®¬§ô
             øï÷ ±® øî÷ò                                              »¨½»°¬ °®±°»®¬§ ·² ¬®¿²-·¬ô ¿¬ ¬¸» ¬·³» ±º ´±--
                                                                      ¾§ ¬¸» Ý±·²-«®¿²½» °»®½»²¬¿¹»å
          Ì¸·- Û¨½´«-·±² ¼ò ¼±»- ²±¬ ¿°°´§ ¬± ¬¸»
          »¨¬»²¬ ¬¸¿¬ ½±ª»®¿¹» ·- °®±ª·¼»¼ «²¼»® ¬¸»              ¾ò Ü·ª·¼» ¬¸» Ô·³·¬ ±º ×²-«®¿²½» ±º ¬¸» °®±°»®¬§
          ß¼¼·¬·±²¿´ Ý±ª»®¿¹»  Ý±´´¿°­» ±® ¬±                        ¾§ ¬¸» º·¹«®» ¼»¬»®³·²»¼ ·² Í¬»° ¿òå
          ½±´´¿°-» ½¿«-»¼ ¾§ ±²» ±® ³±®» ±º ¬¸»                   ½ò Ó«´¬·°´§ ¬¸» ¬±¬¿´ ¿³±«²¬ ±º ´±--ô ¾»º±®» ¬¸»
          º±´´±©·²¹æ º·®»å ´·¹¸¬²·²¹å ©·²¼-¬±®³å ¸¿·´å               ¿°°´·½¿¬·±² ±º ¿²§ ¼»¼«½¬·¾´»ô ¾§ ¬¸» º·¹«®»
          »¨°´±-·±²å -³±µ»å ¿·®½®¿º¬å ª»¸·½´»-å ®·±¬å                ¼»¬»®³·²»¼ ·² Í¬»° ¾òå ¿²¼
          ½·ª·´ ½±³³±¬·±²å ª¿²¼¿´·-³å ´»¿µ¿¹» º®±³                ¼ò Í«¾¬®¿½¬ ¬¸» ¼»¼«½¬·¾´» º®±³ ¬¸» º·¹«®»
          º·®» »¨¬·²¹«·-¸·²¹ »¯«·°³»²¬å -·²µ¸±´»                     ¼»¬»®³·²»¼ ·² Í¬»° ½ò
          ½±´´¿°-»å ª±´½¿²·½ ¿½¬·±²å ¾®»¿µ¿¹» ±º
          ¾«·´¼·²¹ ¹´¿--å º¿´´·²¹ ±¾¶»½¬-å ©»·¹¸¬ ±º              É» ©·´´ °¿§ ¬¸» ¿³±«²¬ ¼»¬»®³·²»¼ ·² Í¬»° ¼ò
          -²±©ô ·½» ±® -´»»¬å ©¿¬»® ¼¿³¿¹»å                       ±® ¬¸» Ô·³·¬ ±º ×²-«®¿²½»ô ©¸·½¸»ª»® ·- ´»--ò Ú±®
          »¿®¬¸¯«¿µ»å ©»·¹¸¬ ±º °»±°´» ±® °»®-±²¿´                ¬¸» ®»³¿·²¼»®ô §±« ©·´´ »·¬¸»® ¸¿ª» ¬± ®»´§ ±²
          °®±°»®¬§å ©»·¹¸¬ ±º ®¿·² ¬¸¿¬ ½±´´»½¬- ±² ¿             ±¬¸»® ·²-«®¿²½» ±® ¿¾-±®¾ ¬¸» ´±-- §±«®-»´ºò
          ®±±ºò                                                íò ß¼¼·¬·±²¿´ ß½¯«·®»¼ Ð®±°»®¬§
      »ò É»¿® ¿²¼ ¬»¿®ô ¿²§ ¯«¿´·¬§ ·² ¬¸» °®±°»®¬§               ×º ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ §±« ¿½¯«·®»
         ¬¸¿¬ ½¿«-»- ·¬ ¬± ¼¿³¿¹» ±® ¼»-¬®±§ ·¬-»´ºô              ¿¼¼·¬·±²¿´ °®±°»®¬§ ±º ¿ ¬§°» ¿´®»¿¼§ ½±ª»®»¼
         ¹®¿¼«¿´ ¼»¬»®·±®¿¬·±²å ·²-»½¬-ô ª»®³·² ±®                ¾§ ¬¸·- º±®³ô ©» ©·´´ ½±ª»® -«½¸ °®±°»®¬§ º±® «°
         ®±¼»²¬-ò                                                 ¬± íð ¼¿§-ô ¾«¬ ²±¬ ¾»§±²¼ ¬¸» »²¼ ±º ¬¸»
Ýò Ô·³·¬- Ñº ×²-«®¿²½»                                            °±´·½§ °»®·±¼ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ´±-- ±®
                                                                  ¼¿³¿¹» ·- ¬¸» ´»--»® ±ºæ
   Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ´±-- ±® ¼¿³¿¹» ·² ¿²§
   ±²» ±½½«®®»²½» ·- ¬¸» ¿°°´·½¿¾´» Ô·³·¬ Ñº                      ¿ò îëû ±º ¬¸» ¬±¬¿´ Ô·³·¬ Ñº ×²-«®¿²½» -¸±©²
   ×²-«®¿²½» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò                              ·² ¬¸» Ü»½´¿®¿¬·±²- º±® ¬¸¿¬ ¬§°» ±º °®±°»®¬§å
                                                                     ±®
Üò Ü»¼«½¬·¾´»
                                                                  ¾ò üïðôðððò
   É» ©·´´ ²±¬ °¿§ º±® ´±-- ±® ¼¿³¿¹» ·² ¿²§ ±²»
   ±½½«®®»²½» «²¬·´ ¬¸» ¿³±«²¬ ±º ¬¸» ¿¼¶«-¬»¼ ´±-- ±®            Ç±« ©·´´ ®»°±®¬ -«½¸ °®±°»®¬§ ©·¬¸·² íð ¼¿§-
   ¼¿³¿¹» ¾»º±®» ¿°°´§·²¹ ¬¸» ¿°°´·½¿¾´» Ô·³·¬- ±º                º®±³ ¬¸» ¼¿¬» ¿½¯«·®»¼ ¿²¼ ©·´´ °¿§ ¿²§
   ×²-«®¿²½» »¨½»»¼- ¬¸» Ü»¼«½¬·¾´» -¸±©² ·² ¬¸»                  ¿¼¼·¬·±²¿´ °®»³·«³ ¼«»ò ×º §±« ¼± ²±¬ ®»°±®¬
   Ü»½´¿®¿¬·±²-ò É» ©·´´ ¬¸»² °¿§ ¬¸» ¿³±«²¬ ±º ¬¸»               -«½¸     °®±°»®¬§ô   ½±ª»®¿¹»     ©·´´    ½»¿-»
   ¿¼¶«-¬»¼ ´±-- ±® ¼¿³¿¹» ·² »¨½»-- ±º ¬¸»                       ¿«¬±³¿¬·½¿´´§ íð ¼¿§- ¿º¬»® ¬¸» ¼¿¬» ¬¸»
   Ü»¼«½¬·¾´»ô «° ¬± ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò           °®±°»®¬§ ·- ¿½¯«·®»¼ ±® ¿¬ ¬¸» »²¼ ±º ¬¸» °±´·½§
                                                                  °»®·±¼ô ©¸·½¸»ª»® ±½½«®- º·®-¬ò
Ûò ß¼¼·¬·±²¿´ Ý±²¼·¬·±²-
   Ì¸» º±´´±©·²¹ ½±²¼·¬·±²- ¿°°´§ ·² ¿¼¼·¬·±² ¬± ¬¸»
   Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±²¼·¬·±²- ¿²¼ ¬¸»
   Ý±³³±² Ð±´·½§ Ý±²¼·¬·±²-æ
   ïò Ý±ª»®¿¹» Ì»®®·¬±®§
      É» ½±ª»® °®±°»®¬§ ©¸»®»ª»® ´±½¿¬»¼ò




ÝÓ ðð îð ðï ïí                        w ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô îðïï                          Ð¿¹» í ±º í
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 203 of 579
                                                                                         ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ




              Ó×ÍÝÛÔÔßÒÛÑËÍ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ

Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼                ½ò   øï÷ É¿®ô ·²½´«¼·²¹ «²¼»½´¿®»¼ ±® ½·ª·´ ©¿®å
¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼                   øî÷ É¿®´·µ» ¿½¬·±² ¾§ ¿ ³·´·¬¿®§ º±®½»ô
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò                                                       ·²½´«¼·²¹   ¿½¬·±²   ·² ¸·²¼»®·²¹     ±®
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- ùù§±«ùù ¿²¼ ùù§±«®ùù ®»º»®                       ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿² ¿½¬«¿´ ±® »¨°»½¬»¼
¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»                               ¿¬¬¿½µô ¾§ ¿²§ ¹±ª»®²³»²¬ô -±ª»®»·¹² ±®
©±®¼- ùù©»ôùù ùù«-ùù ¿²¼ ùù±«®ùù ®»º»® ¬± ¬¸» Ý±³°¿²§                             ±¬¸»® ¿«¬¸±®·¬§ «-·²¹ ³·´·¬¿®§ °»®-±²²»´
°®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò                                                         ±® ±¬¸»® ¿¹»²¬-å ±®
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ-                        øí÷ ×²-«®®»½¬·±²ô   ®»¾»´´·±²ô   ®»ª±´«¬·±²ô
¸¿ª» -°»½·¿´ ³»¿²·²¹ò        Î»º»® ¬± Í»½¬·±² Ú ó                                 «-«®°»¼ °±©»® ±® ¿½¬·±² ¬¿µ»² ¾§
ÜÛÚ×Ò×Ì×ÑÒÍò                                                                      ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ ·² ¸·²¼»®·²¹ ±®
ßò ÝÑÊÛÎßÙÛ                                                                       ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿²§ ±º ¬¸»-»ò
    É» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ùù´±--ùù ¬± Ý±ª»®»¼             îò   É» ©·´´ ²±¬ °¿§ º±® ùù´±--ùù ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹
    Ð®±°»®¬§ ½¿«-»¼ ¾§ ¿²§ ±º ¬¸» Ý±ª»®»¼ Ý¿«-»- ±º                      º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹æ
    Ô±--ò                                                                ¿ò   Ü»´¿§ô ´±-- ±º «-»ô ´±-- ±º ³¿®µ»¬ô ±® ¿²§
    ïò   Ý±ª»®»¼ Ð®±°»®¬§ô ¿- «-»¼ ·² ¬¸·- Ý±ª»®¿¹»                           ±¬¸»® ½¿«-»- ±º ½±²-»¯«»²¬·¿´ ùù´±--ùùò
         Ú±®³ô ³»¿²- °®±°»®¬§ ´·-¬»¼ ¿²¼ ¼»-½®·¾»¼ ·²                    ¾ò   É»¿®     ¿²¼         ¬»¿®ô    ¼»°®»½·¿¬·±²     ±®
         ¬¸» Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´»ò                                        ±¾-±´»-½»²½»ò
    îò   Ð®±°»®¬§ Ò±¬ Ý±ª»®»¼                                            ½ò   Î«-¬ô       ½±®®±-·±²ô     º«²¹«-ô      ¼»½¿§ô
         Ý±ª»®»¼ Ð®±°»®¬§ ¼±»- ²±¬ ·²½´«¼» ½±²¬®¿¾¿²¼                         ¼»¬»®·±®¿¬·±²ô ¸·¼¼»² ±® ´¿¬»²¬ ¼»º»½¬ô ±® ¿²§
         ±® °®±°»®¬§ ·² ¬¸» ½±«®-» ±º ·´´»¹¿´ ¬®¿²-°±®¬¿¬·±²                  ¯«¿´·¬§ ·² °®±°»®¬§ ¬¸¿¬ ½¿«-»- ·¬ ¬± ¼¿³¿¹»
         ±® ¬®¿¼»ò                                                            ±® ¼»-¬®±§ ·¬-»´ºò
    íò   Ý±ª»®»¼ Ý¿«-»- ±º Ô±--                                          ¼ò   ×²-»½¬-ô ¾·®¼-ô ®±¼»²¬-ô ±® ±¬¸»® ¿²·³¿´-ò
         Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ³»¿²- Î×ÍÕÍ ÑÚ                           »ò   Ó»½¸¿²·½¿´ ¾®»¿µ¼±©² ±® º¿·´«®»ò
         Ü×ÎÛÝÌ      ÐØÇÍ×ÝßÔ         ùùÔÑÍÍùù ¬± Ý±ª»®»¼                     Þ«¬ ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ùù´±--ùù ¬±
         Ð®±°»®¬§ º®±³ ¿²§ »¨¬»®²¿´ ½¿«-» »¨½»°¬ ¬¸±-»                        Ý±ª»®»¼ Ð®±°»®¬§ ½¿«-»¼ ¾§ ®»-«´¬·²¹ º·®» ±®
         ½¿«-»- ±º ùù´±--ùù ´·-¬»¼ ·² ¬¸» Û¨½´«-·±²-ò                         »¨°´±-·±²ô »¨½»°¬ ¿- ±¬¸»®©·-» »¨½´«¼»¼ò
Þò ÛÈÝÔËÍ×ÑÒÍ                                                            ºò   ß®¬·º·½·¿´´§     ¹»²»®¿¬»¼    »´»½¬®·½   ½«®®»²¬ô
    ïò   É» ©·´´ ²±¬ °¿§ º±® ùù´±--ùù ½¿«-»¼ ¼·®»½¬´§ ±®                      ·²½´«¼·²¹      »´»½¬®·½ ¿®½·²¹ô ¬¸¿¬     ¼·-¬«®¾-
         ·²¼·®»½¬´§ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸»                           »´»½¬®·½¿´æ
         º±´´±©·²¹ò Í«½¸ ùù´±--ùù ·- »¨½´«¼»¼ ®»¹¿®¼´»-- ±º                   øï÷ Ü»ª·½»-å
         ¿²§ ±¬¸»® ½¿«-» ±® »ª»²¬ ¬¸¿¬ ½±²¬®·¾«¬»-                            øî÷ Û¯«·°³»²¬å
         ½±²½«®®»²¬´§ ±® ·² ¿²§ -»¯«»²½» ¬± ¬¸» ùù´±--ùùò
                                                                              øí÷ ß°°´·¿²½»-å ±®
         ¿ò   Í»·¦«®» ±® ¼»-¬®«½¬·±² ±º °®±°»®¬§ ¾§ ±®¼»®
                                                                              øì÷ É·®»-ò
              ±º ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ò
                                                                              Þ«¬ ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ùù´±--ùù ¬±
              Þ«¬ ©» ©·´´ °¿§ º±® ¿½¬- ±º ¼»-¬®«½¬·±² ¬±
                                                                              Ý±ª»®»¼ Ð®±°»®¬§ ½¿«-»¼ ¾§ ®»-«´¬·²¹ º·®» ±®
              Ý±ª»®»¼ Ð®±°»®¬§ ±®¼»®»¼ ¾§ ¹±ª»®²³»²¬¿´
                                                                              »¨°´±-·±²ô »¨½»°¬ ¿- ±¬¸»®©·-» »¨½´«¼»¼ò
              ¿«¬¸±®·¬§ ¿²¼ ¬¿µ»² ¿¬ ¬¸» ¬·³» ±º ¿ º·®» ¬±
              °®»ª»²¬ ·¬- -°®»¿¼ò                                        ¹ò   Ë²»¨°´¿·²»¼ ¼·-¿°°»¿®¿²½»ò
         ¾ò   øï÷ ß²§ ©»¿°±² »³°´±§·²¹ ¿¬±³·½ º·--·±²                    ¸ò   Í¸±®¬¿¹» º±«²¼ «°±² ¬¿µ·²¹ ·²ª»²¬±®§ò
                  ±® º«-·±²å ±®                                          ·ò   Ü·-¸±²»-¬ ¿½¬- ¾§æ
              øî÷ Ò«½´»¿® ®»¿½¬·±² ±® ®¿¼·¿¬·±²ô ±®                           øï÷ Ç±« ±® ¿²§ ±º §±«® °¿®¬²»®-å
                  ®¿¼·±¿½¬·ª» ½±²¬¿³·²¿¬·±² º®±³ ¿²§                          øî÷ Ç±«® ¼·®»½¬±®- ±® ¬®«-¬»»-å
                  ±¬¸»® ½¿«-»ò Þ«¬ ©» ©·´´ °¿§ º±® ¼·®»½¬
                                                                              øí÷ Ç±«® ¿«¬¸±®·¦»¼          ®»°®»-»²¬¿¬·ª»-   ±®
                  °¸§-·½¿´ ùù´±--ùù ¬± Ý±ª»®»¼ Ð®±°»®¬§
                                                                                  »³°´±§»»-å ±®
                  ½¿«-»¼ ¾§ ®»-«´¬·²¹ º·®»ò


Ú±®³ ÓÍ ðð îð ïî èë Ð®·²¬»¼ ·² ËòÍòßò                                                                            Ð¿¹» ï ±º î

                                    Ý±°§®·¹¸¬ Ø¿®¬º±®¼ Ú·®» ×²-«®¿²½» Ý±³°¿²§ô ïçèë

                         ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ×²-«®¿²½» Í»®ª·½»- Ñºº·½»
         Case 3:24-cv-00490-FDW-SCR          Document 1-4 Filed 05/21/24 Page 204 of 579
                          ©·¬¸ ·¬- °»®³·--·±²ò Ý±°§®·¹¸¬ô ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ïçèíô ïçèì÷
Ó×ÍÝÛÔÔßÒÛÑËÍ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ


              øì÷ ß²§±²»ô ±¬¸»® ¬¸¿² ¿ ½¿®®·»® º±® ¸·®»ô ¬±       ×º ©» -¸±© ¿ Ó¿¨·³«³ Ô·³·¬ ±º ×²-«®¿²½»ô ¬¸¿¬ ·- ¬¸»
                  ©¸±³ §±« »²¬®«-¬»¼ ¬¸» Ý±ª»®»¼                  ³±-¬ ©» ©·´´ °¿§ º±® ¿´´ ùù´±--ùù ·² ¿²§ ±²» ±½½«®®»²½»
                  Ð®±°»®¬§ô ·²½´«¼·²¹ ¬¸»·® »³°´±§»»-ô º±®        ¬± Ý±ª»®»¼ Ð®±°»®¬§ ·²-«®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹»
                  ¿²§ °«®°±-»æ                                    Ú±®³ò
              ©¸»¬¸»® ¿½¬·²¹ ¿´±²» ±® ·² ½±´´«-·±² ©·¬¸         Üò ÜÛÜËÝÌ×ÞÔÛ
              ±¬¸»®-å ¿²¼
                                                                  É» ©·´´ ¿¼¶«-¬ ¬¸» ùù´±--ùù ·² ¿²§ ±²» ±½½«®®»²½» ¿- ¿
              ©¸»¬¸»® ±® ²±¬ ±½½«®®·²¹ ¼«®·²¹ ¬¸» ¸±«®- ±º        -·²¹´» ùù´±--ùùò Ì¸» Ü»¼«½¬·¾´» ¿³±«²¬ -¸±©² ·² ¬¸»
              »³°´±§³»²¬ò                                         Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´» ©·´´ ¾» -«¾¬®¿½¬»¼ º®±³ ¬¸»
        ¶ò    Ê±´«²¬¿®§ °¿®¬·²¹ ©·¬¸ ¿²§ °®±°»®¬§ ©¸»¬¸»®         ´»--»® ¿³±«²¬ ±ºæ
              ±® ²±¬ ·²¼«½»¼ ¬± ¼± -± ¾§ ¿²§ º®¿«¼«´»²¬           ïò   Ì¸» ¿¼¶«-¬»¼ ùù´±--ùùå ±®
              -½¸»³»ô ¬®·½µô ¼»ª·½» ±® º¿´-» °®»¬»²-»ò
                                                                  îò   Ì¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò
        µò    Ë²¿«¬¸±®·¦»¼     ·²-¬®«½¬·±²-   ¬±   ¬®¿²-º»®
              °®±°»®¬§ ¬± ¿²§ °»®-±² ±® ¬± ¿²§ °´¿½»ò           Ûò ßÜÜ×Ì×ÑÒßÔ ÝÑÒÜ×Ì×ÑÒÍ
        ´ò    Í°±·´¿¹»ô     ½±²¬¿³·²¿¬·±²ô   ´»¿µ¿¹»ô             Ì¸» Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±²¼·¬·±²- ¿²¼ ¬¸»
              ¾®»¿µ¿¹»ô ³¿®®·²¹ô -½®¿¬½¸·²¹ô º®»»¦·²¹ô            Ý±³³±² Ð±´·½§ Ý±²¼·¬·±²- ¿°°´§ ¿- ©»´´ ¿- ¬¸±-»
              ©»¬²»--ô ¼¿³°²»-- ±® »¨°±-«®» ¬± ´·¹¸¬ô             ´·-¬»¼ ¾»´±©æ
              ¼¿®µ²»-- ±® ¸»¿¬ò                                   ïò   Ý±ª»®¿¹» Ì»®®·¬±®§
              Þ«¬ ©» ©·´´ °¿§ º±® -«½¸ ¼·®»½¬ °¸§-·½¿´                 É» ·²-«®» ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ ±²´§ ©¸·´» ·¬ ·-
              ùù´±--ùù ¬± Ý±ª»®»¼ Ð®±°»®¬§ ½¿«-»¼ ¾§ ¿²§ ±º            ´±½¿¬»¼ ·²æ
              ¬¸» ùù-°»½·º·»¼ ½¿«-»- ±º ´±--ùùô »¨½»°¬ ¿-
                                                                       ¿ò   Ì¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿å
              ±¬¸»®©·-» »¨½´«¼»¼ò
                                                                       ¾ò   Ð«»®¬± Î·½±å ±®
        ³ò Ì¸»º¬ º®±³ ¿²§ «²¿¬¬»²¼»¼ ª»¸·½´» «²´»-- ¿¬
           ¬¸» ¬·³» ±º ¬¸»º¬ ·¬- ©·²¼±©-ô ¼±±®- ¿²¼                    ½ò   Ý¿²¿¼¿ò
           ½±³°¿®¬³»²¬- ©»®» ½´±-»¼ ¿²¼ ´±½µ»¼ ¿²¼                îò   Ý±·²-«®¿²½»
           ¬¸»®» ¿®» ª·-·¾´» -·¹²- ¬¸¿¬ ¬¸» ¬¸»º¬ ©¿- ¬¸»
                                                                       Ý±ª»®»¼ Ð®±°»®¬§ ³«-¬ ¾» ·²-«®»¼ º±® ·¬- ¬±¬¿´
           ®»-«´¬ ±º º±®½»¼ »²¬®§ò
                                                                       ª¿´«» ¿- ±º ¬¸» ¬·³» ±º ùù´±--ùù ±® §±« ©·´´ ·²½«® ¿
              Þ«¬ ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± °®±°»®¬§            °»²¿´¬§ò
              ·² ¬¸» ½«-¬±¼§ ±º ¿ ½¿®®·»® º±® ¸·®»ò
                                                                       Ì¸·- °»²¿´¬§ ·- ¬¸¿¬ ©» ©·´´ °¿§ ±²´§ ¬¸»
        ²ò    Ð®±½»--·²¹ ±® ©±®µ «°±² ¬¸» °®±°»®¬§ò                    °®±°±®¬·±² ±º ¿²§ ùù´±--ùù ¬¸¿¬ ¬¸» ¿°°´·½¿¾´» Ô·³·¬
              Þ«¬ ©» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ùù´±--ùù ¬±          ±º ×²-«®¿²½» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ±®
              Ý±ª»®»¼ Ð®±°»®¬§ ½¿«-»¼ ¾§ ®»-«´¬·²¹ º·®» ±®             Í½¸»¼«´» º±® ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ ¾»¿®- ¬± ¬¸»
              »¨°´±-·±²ô »¨½»°¬ ¿- ±¬¸»®©·-» »¨½´«¼»¼ò                 ª¿´«» ±º ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ ¿- ±º ¬¸» ¬·³» ±º
                                                                       ùù´±--ùùò
Ýò Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
                                                                       ×º ©» ½±ª»® ¬©± ±® ³±®» ·¬»³-ô ¬¸·- ½±²¼·¬·±² ©·´´
   Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ùù´±--ùù ·² ¿²§ ±²»                        ¿°°´§ ¬± »¿½¸ ·¬»³ -»°¿®¿¬»´§ò
   ±½½«®®»²½» ·- ¬¸» -³¿´´»-¬ ¿°°´·½¿¾´» Ô·³·¬ ±º
   ×²-«®¿²½» -¸±©² ·²æ                                          Úò ÜÛÚ×Ò×Ì×ÑÒÍ
   ïò   Ì¸» Ü»½´¿®¿¬·±²-å                                         ïò   ùùÔ±--ùù ³»¿²- ¿½½·¼»²¬¿´ ´±-- ±® ¼¿³¿¹»ò
   îò   Ì¸» Í½¸»¼«´»ø-÷å                                          îò   ùùÍ°»½·º·»¼ ½¿«-»- ±º ´±--ùù ³»¿²-æ º·®»å ´·¹¸¬²·²¹å
                                                                       »¨°´±-·±²å ©·²¼-¬±®³å ¸¿·´å -³±µ»å ®·±¬å -¬®·µ»å
   íò   Ì¸» Ý±ª»®¿¹» Ú±®³å ±®
                                                                       ª¿²¼¿´·-³å ¬¸»º¬å º´±±¼å »¿®¬¸ ³±ª»³»²¬å ±®
   ìò   Ì¸» Û²¼±®-»³»²¬ø-÷ò                                            ¿½½·¼»²¬ ¬± ¬¸» ª»¸·½´» ©¸·´» ½¿®®§·²¹ ¬¸»
                                                                       Ý±ª»®»¼ Ð®±°»®¬§ò




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Ð¿¹» î ±º î                                                                   Ú±®³ ÓÍ ðð îð ïî èë Ð®·²¬»¼ ·² ËòÍòßò
                                                                                      ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ




                               Ú×ÒÛ ßÎÌÍ ÝÑÊÛÎßÙÛ ÚÑÎÓ

Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼                   ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ ¿²¼ ¬¿µ»² ¿¬ ¬¸»
¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼                 ¬·³» ±º ¿ º·®» ¬± °®»ª»²¬ ·¬- -°®»¿¼ò
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò                                             ¾ò øï÷ ß²§ ©»¿°±² »³°´±§·²¹ ¿¬±³·½ º·--·±²
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- ùù§±«ùù ¿²¼ ùù§±«®ùù ®»º»®                      ±® º«-·±²å ±®
¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»                         øî÷ Ò«½´»¿® ®»¿½¬·±² ±® ®¿¼·¿¬·±²ô             ±®
©±®¼- ùù©»ôùù ùù«-ùù ¿²¼ ùù±«®ùù ®»º»® ¬± ¬¸» Ý±³°¿²§                            ®¿¼·±¿½¬·ª» ½±²¬¿³·²¿¬·±² º®±³ ¿²§
°®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò                                                        ±¬¸»® ½¿«-»ò Þ«¬ ©» ©·´´ °¿§ º±® ¼·®»½¬
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ-                           °¸§-·½¿´ ùù´±--ùù ¬± Ý±ª»®»¼ Ð®±°»®¬§
¸¿ª» -°»½·¿´ ³»¿²·²¹ò           Î»º»® ¬± Í»½¬·±² Ú ó                             ½¿«-»¼ ¾§ ®»-«´¬·²¹ º·®»ò
ÜÛÚ×Ò×Ì×ÑÒÍò                                                            ½ò øï÷ É¿®ô ·²½´«¼·²¹ «²¼»½´¿®»¼ ±® ½·ª·´ ©¿®å
ßò ÝÑÊÛÎßÙÛ                                                                 øî÷ É¿®´·µ» ¿½¬·±² ¾§ ¿ ³·´·¬¿®§ º±®½»ô
    É» ©·´´ °¿§ º±® ¼·®»½¬ °¸§-·½¿´ ùù´±--ùù ¬± Ý±ª»®»¼                          ·²½´«¼·²¹     ¿½¬·±²    ·² ¸·²¼»®·²¹      ±®
    Ð®±°»®¬§ ½¿«-»¼ ¾§ ¿²§ ±º ¬¸» Ý±ª»®»¼ Ý¿«-»- ±º                              ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿² ¿½¬«¿´ ±® »¨°»½¬»¼
    Ô±--ò                                                                        ¿¬¬¿½µô ¾§ ¿²§ ¹±ª»®²³»²¬ô -±ª»®»·¹² ±®
    ïò Ý±ª»®»¼ Ð®±°»®¬§ô ¿- «-»¼ ·² ¬¸·- Ý±ª»®¿¹»                                ±¬¸»® ¿«¬¸±®·¬§ «-·²¹ ³·´·¬¿®§ °»®-±²²»´
        Ú±®³ô ³»¿²- ¬¸» ùùÚ·²» ß®¬-ùù ´·-¬»¼ ¿²¼                                 ±® ±¬¸»® ¿¹»²¬-å ±®
        ¼»-½®·¾»¼ ·² ¬¸» Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´» ©¸·½¸                     øí÷ ×²-«®®»½¬·±²ô       ®»¾»´´·±²ô    ®»ª±´«¬·±²ô
        ¿®»æ                                                                     «-«®°»¼ °±©»® ±® ¿½¬·±² ¬¿µ»² ¾§
        ¿ò Ñ©²»¼ ¾§ §±«å ±®                                                      ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ ·² ¸·²¼»®·²¹ ±®
        ¾ò Ñ©²»¼ ¾§ ±¬¸»®-ô ¿²¼ ·² §±«® ½¿®»ô ½«-¬±¼§                            ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿²§ ±º ¬¸»-»ò
             ±® ½±²¬®±´ò                                           îò   É» ©·´´ ²±¬ °¿§ º±® ùù´±--ùù ½¿«-»¼ ¾§ ±® ®»-«´¬·²¹
    îò   Ð®±°»®¬§ Ò±¬ Ý±ª»®»¼                                           º®±³ ¿²§ ±º ¬¸» º±´´±©·²¹ò
         Ý±ª»®»¼ Ð®±°»®¬§ ¼±»- ²±¬ ·²½´«¼»æ                             ¿ò Ü»´¿§ô ´±-- ±º «-»ô ´±-- ±º ³¿®µ»¬ô ±® ¿²§
         ¿ò Ð®±°»®¬§ ±² »¨¸·¾·¬·±² ¿¬ º¿·® ¹®±«²¼- ±® ¿¬                    ±¬¸»® ½¿«-»- ±º ½±²-»¯«»²¬·¿´ ùù´±--ùùò
            ¿²§ ¬§°» ±º »¨°±-·¬·±²ô «²´»-- -«½¸                         ¾ò É»¿®        ¿²¼      ¬»¿®ô     ¼»°®»½·¿¬·±²     ±®
            ´±½¿¬·±²- ¿®» ´·-¬»¼ ¿²¼ ¼»-½®·¾»¼ ·² ¬¸»                       ±¾-±´»-½»²½»ò
            Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´»å ±®                                ½ò Î«-¬ô        ½±®®±-·±²ô       º«²¹«-ô       ¼»½¿§ô
         ¾ò Ý±²¬®¿¾¿²¼ ±® °®±°»®¬§ ·² ¬¸» ½±«®-» ±º                         ¼»¬»®·±®¿¬·±²ô ¸·¼¼»² ±® ´¿¬»²¬ ¼»º»½¬ô ±® ¿²§
            ·´´»¹¿´ ¬®¿²-°±®¬¿¬·±² ±® ¬®¿¼»ò                                ¯«¿´·¬§ ·² °®±°»®¬§ ¬¸¿¬ ½¿«-»- ·¬ ¬± ¼¿³¿¹»
    íò   Ý±ª»®»¼ Ý¿«-»- ±º Ô±--                                             ±® ¼»-¬®±§ ·¬-»´ºò
         Ý±ª»®»¼ Ý¿«-»- ±º Ô±-- ³»¿²- Î×ÍÕÍ ÑÚ                          ¼ò ×²-»½¬-ô ¾·®¼-ô ®±¼»²¬- ±® ±¬¸»® ¿²·³¿´-ò
         Ü×ÎÛÝÌ      ÐØÇÍ×ÝßÔ         ùùÔÑÍÍùù ¬± Ý±ª»®»¼               »ò Ü·-¸±²»-¬ ¿½¬- ¾§æ
         Ð®±°»®¬§ º®±³ ¿²§ »¨¬»®²¿´ ½¿«-» »¨½»°¬ ¬¸±-»                      øï÷ Ç±« ±® ¿²§ ±º §±«® °¿®¬²»®-å
         ½¿«-»- ±º ùù´±--ùù ´·-¬»¼ ·² ¬¸» Û¨½´«-·±²-ò                       øî÷ Ç±«® ¼·®»½¬±®- ±® ¬®«-¬»»-å
Þò ÛÈÝÔËÍ×ÑÒÍ                                                               øí÷ Ç±«® ¿«¬¸±®·¦»¼ ®»°®»-»²¬¿¬·ª»-            ±®
    ïò   É» ©·´´ ²±¬ °¿§ º±® ùù´±--ùù ½¿«-»¼ ¼·®»½¬´§ ±®                         »³°´±§»»-å ±®
         ·²¼·®»½¬´§ ¾§ ±® ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸»                         øì÷ ß²§±²»ô ±¬¸»® ¬¸¿² ¿ ½¿®®·»® º±® ¸·®»ô ¬±
         º±´´±©·²¹ò Í«½¸ ùù´±--ùù ·- »¨½´«¼»¼ ®»¹¿®¼´»-- ±º                      ©¸±³ §±« »²¬®«-¬»¼ ¬¸» Ý±ª»®»¼
         ¿²§ ±¬¸»® ½¿«-» ±® »ª»²¬ ¬¸¿¬ ½±²¬®·¾«¬»-                               Ð®±°»®¬§ô ·²½´«¼·²¹ ¬¸»·® »³°´±§»»-ô º±®
         ½±²½«®®»²¬´§ ±® ·² ¿²§ -»¯«»²½» ¬± ¬¸» ùù´±--ùùò                        ¿²§ °«®°±-»æ
         ¿ò Í»·¦«®» ±® ¼»-¬®«½¬·±² ±º °®±°»®¬§ ¾§ ±®¼»®                     ©¸»¬¸»® ¿½¬·²¹ ¿´±²» ±® ·² ½±´´«-·±² ©·¬¸
              ±º ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ò                                    ±¬¸»®-å ¿²¼
              Þ«¬ ©» ©·´´ °¿§ º±® ¿½¬- ±º ¼»-¬®«½¬·±² ¬±                    ©¸»¬¸»® ±® ²±¬ ±½½«®®·²¹ ¼«®·²¹ ¬¸» ¸±«®- ±º
              Ý±ª»®»¼        Ð®±°»®¬§       ±®¼»®»¼       ¾§                »³°´±§³»²¬ò
                                                                        ºò Ê±´«²¬¿®§ °¿®¬·²¹ ©·¬¸ ¿²§ °®±°»®¬§ ©¸»¬¸»®




Ú±®³ ÓÍ ðð îç ïï èë Ð®·²¬»¼ ·² ËòÍòßò                                                                         Ð¿¹» ï ±º î

                                    Ý±°§®·¹¸¬ Ø¿®¬º±®¼ Ú·®» ×²-«®¿²½» Ý±³°¿²§ô ïçèë

                        ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ×²-«®¿²½» Í»®ª·½»- Ñºº·½» ©·¬¸
         Case 3:24-cv-00490-FDW-SCR           Document 1-4 Filed 05/21/24 Page 206 of 579
                            ·¬- °»®³·--·±²ò Ý±°§®·¹¸¬ô ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ïçèíô ïçèì÷
Ú×ÒÛ ßÎÌÍ ÝÑÊÛÎßÙÛ ÚÑÎÓ


              ±® ²±¬ ·²¼«½»¼ ¬± ¼± -± ¾§ ¿²§ º®¿«¼«´»²¬           îò   Ê¿´«¿¬·±²
              -½¸»³»ô ¬®·½µô ¼»ª·½» ±® º¿´-» °®»¬»²-»ò                 ß- ®»-°»½¬- Ý±ª»®»¼ Ð®±°»®¬§ ´·-¬»¼ ¿²¼
        ¹ò    Ë²¿«¬¸±®·¦»¼        ·²-¬®«½¬·±²-   ¬±  ¬®¿²-º»®          ¼»-½®·¾»¼ ·² ¬¸» Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´»ô
              °®±°»®¬§ ¬± ¿²§ °»®-±² ±® ¬± ¿²§ °´¿½»ò                  Ù»²»®¿´    Ý±²¼·¬·±²    Ûò Ê¿´«¿¬·±² ·² ¬¸»
        ¸ò    Ì¸»º¬ º®±³ ¿²§ «²¿¬¬»²¼»¼ ª»¸·½´» «²´»-- ¿¬              Ý±³³»®½·¿´     ×²´¿²¼ Ó¿®·²» Ý±²¼·¬·±²-    ·-
              ¬¸» ¬·³» ±º ¬¸»º¬ ·¬- ©·²¼±©-ô ¼±±®- ¿²¼                 ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
              ½±³°¿®¬³»²¬- ©»®» ½´±-»¼ ¿²¼ ´±½µ»¼ ¿²¼                  Ì¸» ª¿´«» ±º Ý±ª»®»¼ Ð®±°»®¬§ ©·´´ ¾» ¬¸»
              ¬¸»®» ¿®» ª·-·¾´» -·¹²- ¬¸¿¬ ¬¸» ¬¸»º¬ ©¿- ¬¸»           ¿³±«²¬ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´»
              ®»-«´¬ ±º º±®½»¼ »²¬®§ò                                  º±® »¿½¸ ·¬»³ ±º Ý±ª»®»¼ Ð®±°»®¬§ô ©¸·½¸ ·-
              Þ«¬ ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± °®±°»®¬§            ¿¹®»»¼ ¬± ¾» ¬¸» ª¿´«» ±º ¬¸» ·¬»³ò
              ·² ¬¸» ½«-¬±¼§ ±º ¿ ½¿®®·»® º±® ¸·®»ò               íò   Ð¿·® ±® Í»¬
        ·ò    Ð®±½»--·²¹ ±® ©±®µ «°±² ¬¸» °®±°»®¬§ò                    ß- ®»-°»½¬- Ý±ª»®»¼ Ð®±°»®¬§ ´·-¬»¼ ¿²¼
        ¶ò    Þ®»¿µ¿¹» ±º ¿®¬ ¹´¿-- ©·²¼±©-ô ¹´¿--©¿®»ô                ¼»-½®·¾»¼ ·² ¬¸» Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´»ô Ô±--
              -¬¿¬«¿®§ô ³¿®¾´»-ô ¾®·½ó¿ó¾®¿½ô °±®½»´¿·²- ±®            Ý±²¼·¬·±² Ùòô Ð¿·®ô Í»¬- ±® Ð¿®¬-ô ·² ¬¸»
              -·³·´¿® º®¿¹·´» ¿®¬·½´»-ò                                Ý±³³»®½·¿´       ×²´¿²¼ Ó¿®·²» Ý±²¼·¬·±²-       ·-
              Þ«¬ ©» ©·´´ °¿§ º±® -«½¸ ¼·®»½¬ °¸§-·½¿´                 ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
              ùù´±--ùù ¬± Ý±ª»®»¼ Ð®±°»®¬§ ½¿«-»¼ ¾§æ º·®»ô            ×² ½¿-» ±º ¬±¬¿´ ùù´±--ùù ¬± ¿² ·¬»³ ±º Ý±ª»®»¼
              ´·¹¸¬²·²¹å ©·²¼-¬±®³å »¨°´±-·±²å ¿·®½®¿º¬å               Ð®±°»®¬§ ©¸·½¸ ·- °¿®¬ ±º ¿ °¿·® ±® -»¬ô ©» ¿¹®»»
              »¿®¬¸ ³±ª»³»²¬å º´±±¼å ª¿²¼¿´·-³å ¬¸»º¬å                 ¬± °¿§ §±« ¬¸» º«´´ ¿³±«²¬ ±º ¬¸» °¿·® ±® -»¬ ¿-
              ½±´´·-·±²ô «°-»¬ô ¼»®¿·´³»²¬ ±® ±ª»®¬«®² ±º ¬¸»          -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´» ¿²¼ §±«
              ª»¸·½´» ½¿®®§·²¹ ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ò                   ¿¹®»» ¬± -«®®»²¼»® ¬¸» ®»³¿·²·²¹ ·¬»³ø-÷ ±º ¬¸»
              Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± -«½¸ ·¬»³-              °¿·® ±® -»¬ ¬± «-ò
              ±º Ý±ª»®»¼ Ð®±°»®¬§ ·²¼·½¿¬»¼ ·² ¬¸»                ìò   Ò»©´§ ß½¯«·®»¼ ùùÚ·²» ß®¬-ùù
              Ü»½´¿®¿¬·±²-     ±® Í½¸»¼«´»        ¿- ¸¿ª·²¹            ×º §±« ¿½¯«·®» ¿¼¼·¬·±²¿´ ·¬»³- ±º ùùÚ·²» ß®¬-ùùô ©»
              ½±ª»®¿¹» º±® ¾®»¿µ¿¹»ò                                   ©·´´ »¨¬»²¼ ¬¸» ·²-«®¿²½» °®±ª·¼»¼ ¾§ ¬¸·- º±®³
Ýò Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ                                                 ¬± §±«® ²»©´§ ¿½¯«·®»¼ ùùÚ·²» ß®¬-ùù ¾«¬æ
   Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ùù´±--ùù ·² ¿²§ ±²»                        ¿ò Ì¸» ³±-¬ ©» ©·´´ °¿§ º±® ùù´±--ùù ¬± ¬¸·- ²»©´§
   ±½½«®®»²½» ·- ¬¸» -³¿´´»-¬ ¿°°´·½¿¾´» Ô·³·¬ ±º                           ¿½¯«·®»¼ ùùÚ·²» ß®¬-ùù ·- ¬¸» ´»--»® ±ºæ
   ×²-«®¿²½» -¸±©² ·²æ                                                      øï÷ îëû ±º ¬¸» ¬±¬¿´ Ô·³·¬ ±º ×²-«®¿²½»
   ïò Ì¸» Ü»½´¿®¿¬·±²-å                                                          -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ±º Í½¸»¼«´»
   îò Ì¸» Í½¸»¼«´»ø-÷å                                                           º±® ùùÚ·²» ß®¬-ùùô ±®
   íò Ì¸» Ý±ª»®¿¹» Ú±®³å ±®                                                 øî÷ Ì¸» ¿½¬«¿´ ½¿-¸ ª¿´«» ±º ¬¸» ²»©´§
   ìò Ì¸» Û²¼±®-»³»²¬ø-÷ò                                                        ¿½¯«·®»¼ °®±°»®¬§ò
Üò ÜÛÜËÝÌ×ÞÔÛ                                                          ¾ò Ý±ª»®¿¹» «²¼»® ¬¸·- ½±²¼·¬·±² º±® »¿½¸
                                                                            ²»©´§ ¿½¯«·®»¼ ·¬»³ ±º ùùÚ·²» ß®¬-ùù ©·´´ »²¼
   É» ©·´´ ¿¼¶«-¬ ¬¸» ùù´±--ùù ·² ¿²§ ±²» ±½½«®®»²½» ¿- ¿
                                                                            ©¸»² ¿²§ ±º ¬¸» º±´´±©·²¹ º·®-¬ ±½½«®-ò
   -·²¹´» ùù´±--ùùò Ì¸» Ü»¼«½¬·¾´» ¿³±«²¬ -¸±©² ·² ¬¸»
                                                                            øï÷ Ì¸·- °±´·½§ »¨°·®»- ±® ·- ½¿²½»´´»¼ò
   Ü»½´¿®¿¬·±²- ±® Í½¸»¼«´» ©·´´ ¾» -«¾¬®¿½¬»¼ º®±³ ¬¸»
                                                                            øî÷ çð ¼¿§- »¨°·®» ¿º¬»® §±« ¿½¯«·®» ¬¸»
   ´»--»® ¿³±«²¬ ±ºæ
                                                                                 ùùÚ·²» ß®¬-ùùò
   ïò Ì¸» ¿¼¶«-¬»¼ ùù´±--ùùå ±®
                                                                            øí÷ Ç±« ®»°±®¬ ª¿´«»- ¬± «-ò
   îò Ì¸» ¿°°´·½¿¾´» Ô·³·¬ ±º ×²-«®¿²½»ò
                                                                       É» ©·´´ ½¸¿®¹» §±« ¿¼¼·¬·±²¿´ °®»³·«³ º±®
Ûò ßÜÜ×Ì×ÑÒßÔ ÝÑÒÜ×Ì×ÑÒÍ                                               ª¿´«»- ®»°±®¬»¼ º®±³ ¬¸» ¼¿¬» §±« ¿½¯«·®» ¬¸»
   Ì¸» Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±²¼·¬·±²- ¿²¼ ¬¸»                     ùùÚ·²» ß®¬-ùùò
   Ý±³³±² Ð±´·½§ Ý±²¼·¬·±²- ¿°°´§ ¿- ©»´´ ¿- ¬¸±-»                ëò   Ð¿½µ·²¹
   ´·-¬»¼ ¾»´±©æ                                                       Ç±« ¿¹®»» ¬¸¿¬ Ý±ª»®»¼ Ð®±°»®¬§ ©·´´ ¾» °¿½µ»¼
   ïò   Ý±ª»®¿¹» Ì»®®·¬±®§                                             ¿²¼ «²°¿½µ»¼ ¾§ ½±³°»¬»²¬ °¿½µ»®-ò
        É» ·²-«®» ¬¸» Ý±ª»®»¼ Ð®±°»®¬§ ±²´§ ©¸·´» ·¬ ·-
        ´±½¿¬»¼ ·²æ
                                                                Úò ÜÛÚ×Ò×Ì×ÑÒÍ
                                                                  ïò   ùùÔ±--ùù ³»¿²- ¿½½·¼»²¬¿´ ´±-- ±® ¼¿³¿¹»ò
        ¿ò Ì¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿å
                                                                  îò   ùùÚ·²» ß®¬-ùù ³»¿²- °¿·²¬·²¹-ô »¬½¸·²¹-ô °·½¬«®»-ô
        ¾ò Ð«»®¬± Î·½±å ±®
                                                                       ¬¿°»-¬®·»-ô ¿®¬ ¹´¿-- ©·²¼±©-ô ª¿´«¿¾´» ®«¹-ô
        ½ò Ý¿²¿¼¿ò
                                                                       -¬¿¬«¿®§ô ³¿®¾´»-ô ¾®±²¦»-ô ¿²¬·¯«» º«®²·¬«®»ô
                                                                       ®¿®» ¾±±µ-ô      ¿²¬·¯«»    -·´ª»®ô  ³¿²«-½®·°¬-ô
                                                                       °±®½»´¿·²-ô ®¿®» ¹´¿--ô ¾®·½ó¿ó¾®¿½ô ¿²¼ -·³·´¿®
                                                                       °®±°»®¬§ô ±º ®¿®·¬§ô ¸·-¬±®·½¿´ ª¿´«» ±® ¿®¬·-¬·½
                                                                       ³»®·¬ò


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Ð¿¹» î ±º î                                                                   Ú±®³ ÓÍ ðð îç ïï èë Ð®·²¬»¼ ·² ËòÍòßò
ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ
ÍÝØÛÜËÔÛ ÑÚ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎÛÜ

Ì¸·- -½¸»¼«´» °®±ª·¼»- -«°°´»³»²¬¿®§ ·²º±®³¿¬·±² ¬± ¾» «-»¼ ©·¬¸ ¬¸» Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±ª»®¿¹» -¸±©²ò

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

        ÌÇÐÛ ÑÚ ÝÑÊÛÎßÙÛæ


ÝÑÓÓÛÎÝ×ßÔ ßÎÌ×ÝÔÛÍ ó ÓËÍ×ÝßÔ ×ÒÍÌÎËÓÛÒÌÍ

ÎßÌÛæ òðéð                ÐÎÛÓ×ËÓæ ü íêë                   ÓßÈ×ÓËÓ Ô×Ó×Ìæ ü ëîïôððð
                       ÜÛÜËÝÌ×ÞÔÛæ ü ëðð

                                                                              Ô×Ó×Ì ÑÚ
 ×ÌÛÓ ÒÑ             ÚËÔÔ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎÛÜ              ÐÎÑÐÛÎÌÇ        ×ÒÍËÎßÒÝÛ

  ððï                ÓËÍ×ÝßÔ ×ÒÍÌÎËÓÛÒÌÍ                                      ü ëîïôððð




Ú±®³ ÓÍ ïç ðï ïî èëÌ ÍÛÏòÒÑò ðî        Ð®·²¬»¼ ·² ËòÍòßò
        Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 208 of 579
ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ
ÍÝØÛÜËÔÛ ÑÚ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎÛÜ

Ì¸·- -½¸»¼«´» °®±ª·¼»- -«°°´»³»²¬¿®§ ·²º±®³¿¬·±² ¬± ¾» «-»¼ ©·¬¸ ¬¸» Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±ª»®¿¹» -¸±©²ò

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

        ÌÇÐÛ ÑÚ ÝÑÊÛÎßÙÛæ


ÌÇÐÛ ÑÚ ÝÑÊÛÎßÙÛæ Ú×ÒÛ ßÎÌÍ

ÎßÌÛæ òíéì            ÐÎÛÓ×ËÓæ ü ïôëíé                     ÓßÈ×ÓËÓ Ô×Ó×Ìæ ü ìïðôèçð
                   ÜÛÜËÝÌ×ÞÔÛæ ü ïðôððð

                                                                             Ô×Ó×Ì ÑÚ
  ×ÌÛÓ ÒÑ          ÚËÔÔ ÜÛÍÝÌ×ÐÌ×ÑÒ ÑÚ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎÛÜ                      ×ÒÍËÎßÒÝÛ

     ððï           ÌÑÎßØ ÍÝÎÑÔÔÍ                                             ü ìïðôèçð




Ú±®³ ÓÍ ïç ðï ïî èëÌ ÍÛÏòÒÑò ðí        Ð®·²¬»¼ ·² ËòÍòßò
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ÝÑÓÓÛÎÝ×ßÔ ×ÒÔßÒÜ ÓßÎ×ÒÛ
ÍÝØÛÜËÔÛ ÑÚ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎÛÜ

Ì¸·- -½¸»¼«´» °®±ª·¼»- -«°°´»³»²¬¿®§ ·²º±®³¿¬·±² ¬± ¾» «-»¼ ©·¬¸ ¬¸» Ý±³³»®½·¿´ ×²´¿²¼ Ó¿®·²» Ý±ª»®¿¹» -¸±©²ò

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

        ÌÇÐÛ ÑÚ ÝÑÊÛÎßÙÛæ


ÌÇÐÛ ÑÚ ÝÑÊÛÎßÙÛæ Ó×ÍÝÛÔÔßÒÛÑËÍ ÐÎÑÐÛÎÌÇ

ÎßÌÛæ ïòðð               ÐÎÛÓ×ËÓæ ü    ïìð                 ÓßÈ×ÓËÓ Ô×Ó×Ìæ ü ïìôððð
                      ÜÛÜËÝÌ×ÞÔÛæ ü ïðôððð

                                                                              Ô×Ó×Ì ÑÚ
 ×ÌÛÓ ÒÑ              ÚËÔÔ ÜÛÍÝÌ×ÐÌ×ÑÒ ÑÚ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎÛÜ                    ×ÒÍËÎßÒÝÛ

  ððï                 Ó×ÍÝÛÔÔßÒÛÑËÍ ÐÎÑÐÛÎÌÇ                                  ü ïìôððð




Ú±®³ ÓÍ ïç ðï ïî èëÌ ÍÛÏòÒÑò ðì        Ð®·²¬»¼ ·² ËòÍòßò
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                  ÏË×ÝÕ ÎÛÚÛÎÛÒÝÛ
     ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
                   ÑÝÝËÎÎÛÒÝÛ
                                                 ÎÛßÜ ÇÑËÎ ÐÑÔ×ÝÇ ÝßÎÛÚËÔÔÇ

ÜÛÝÔßÎßÌ×ÑÒÍ ÐßÙÛÍ
     Ò¿³»¼ ×²-«®»¼ ¿²¼ Ó¿·´·²¹ ß¼¼®»--
     Ð±´·½§ Ð»®·±¼
     Ü»-½®·°¬·±² ±º Þ«-·²»-- ¿²¼ Ô±½¿¬·±²
     Ý±ª»®¿¹»- ¿²¼ Ô·³·¬- ±º ×²-«®¿²½»
                                                                                                                                 Þ»¹·²²·²¹ ±² Ð¿¹»
ÍÛÝÌ×ÑÒ × ó ÝÑÊÛÎßÙÛÍ
     Ý±ª»®¿¹» ß ó                                   ×²-«®·²¹ ß¹®»»³»²¬ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ï
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        Ü¿³¿¹» Ô·¿¾·´·¬§
     Ý±ª»®¿¹» Þ ó                                   ×²-«®·²¹ ß¹®»»³»²¬ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ë
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        ß¼ª»®¬·-·²¹                                 Û¨½´«-·±²- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ê
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     Ý±ª»®¿¹» Ý ó                                   ×²-«®·²¹ ß¹®»»³»²¬ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò é
        Ó»¼·½¿´ Ð¿§³»²¬-                            Û¨½´«-·±²- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò è
     Í«°°´»³»²¬¿®§ Ð¿§³»²¬- Ý±ª»®¿¹»- ß ß²¼ Þ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò è
ÍÛÝÌ×ÑÒ ×× ó ÉØÑ ×Í ßÒ ×ÒÍËÎÛÜ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òò ç
ÍÛÝÌ×ÑÒ ××× ó Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò                  ïî
ÍÛÝÌ×ÑÒ ×Ê ó ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÒÜ×Ì×ÑÒÍ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ïí
   Þ¿²µ®«°¬½§ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòò ïí
   Ü«¬·»- ·² Ì¸» Ûª»²¬ Ñº Ñ½½«®®»²½»ô Ñºº»²-»ô Ý´¿·³ ±® Í«·¬ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ïí
   Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ïí
   Ñ¬¸»® ×²-«®¿²½» òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òò ïì
   Ð®»³·«³ ß«¼·¬ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ò ïë
   Î»°®»-»²¬¿¬·±²- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ò ïë
   Í»°¿®¿¬·±² ±º ×²-«®»¼- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ïë
   Ì®¿²-º»® ±º Î·¹¸¬- ±º Î»½±ª»®§ ß¹¿·²-¬ Ñ¬¸»®- Ì± Ë- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ïë
   É¸»² É» Ü± Ò±¬ Î»²»© òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò ïë
ÍÛÝÌ×ÑÒ Ê ó ÜÛÚ×Ò×Ì×ÑÒÍ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòò ïë
ÝÑÓÓÑÒ ÐÑÔ×ÝÇ ÝÑÒÜ×Ì×ÑÒÍ
  Ý¿²½»´´¿¬·±²
  Ý¸¿²¹»-
  Û¨¿³·²¿¬·±² ±º Ç±«® Þ±±µ- ¿²¼ Î»½±®¼-
  ×²-°»½¬·±²- ¿²¼ Í«®ª»§-
  Ð®»³·«³-
  Ì®¿²-º»® ±º Ç±«® Î·¹¸¬- ¿²¼ Ü«¬·»- «²¼»® ¬¸·- Ð±´·½§
ÛÒÜÑÎÍÛÓÛÒÌÍ
     Ì¸»-» º±®³ ²«³¾»®- ¿®» -¸±©² ±² ¬¸» Ý±ª»®¿¹» Ð¿®¬ ó Ü»½´¿®¿¬·±²- Ð¿¹» ±® ±² ¬¸» Ý±³³±² Ð±´·½§
     Ü»½´¿®¿¬·±²- Ð¿¹»ò



Ú±®³ ØÝ éð ðï ðê ðë
                                              w îððëô Ì¸» Ø¿®¬º±®¼
          Case 3:24-cv-00490-FDW-SCR ×²-«®¿²½»
              ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º DocumentÍ»®ª·½»-  Ñºº·½»ô05/21/24
                                                           1-4 Filed      ×²½òô ©·¬¸ ·¬-Page
                                                                                         °»®³·--·±²ò÷
                                                                                              211 of 579
ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
ÝÑÊÛÎßÙÛ ÐßÎÌ ó ÜÛÝÔßÎßÌ×ÑÒÍ


          ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


Ì¸·- ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ ½±²-·-¬- ±ºæ

    ßò    Ì¸·- Ü»½´¿®¿¬·±²-å
    Þò    Ý±³³»®½·¿´ Ù»²»®¿´ Ô·¿¾·´·¬§ Í½¸»¼«´»å
    Ýò    Ý±³ ³»®½·¿´ Ù»²»®¿´ Ô·¿¾·´·¬§ Ý±ª»®¿¹» Ú±®³å ¿²¼
    Üò    ß²§ Û²¼±®-»³»²¬- ·--«»¼ ¬± ¾» ¿ °¿®¬ ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿²¼ ´·-¬»¼ ¾»´±©ò



Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ

Ì¸» Ô·³·¬- ±º ×²-«®¿²½»ô -«¾¶»½¬ ¬± ¿´´ ¬¸» ¬»®³- ±º ¬¸·- Ð±´·½§ ¬¸¿¬ ¿°°´§ô ¿®»æ

         Û¿½¸ Ñ½½«®®»²½» Ô·³·¬                                                                     üïôðððôððð

              Ü¿³¿¹» ¬± Ð®»³·-»- Î»²¬»¼ ¬± Ç±« Ô·³·¬ ó ß²§ Ñ²» Ð®»³·-»-                               üíððôððð

              Ó»¼·½¿´ Û¨°»²-» Ô·³·¬ ó ß²§ Ñ²» Ð»®-±²                                                    üïðôððð

         Ð»®-±²¿´ ¿²¼ ß¼ª»®¬·-·²¹ ×²¶«®§ Ô·³·¬                                                     üïôðððôððð

         Ù»²»®¿´ ß¹¹®»¹¿¬» Ô·³·¬ô                                                                  üîôðððôððð
             ø±¬¸»® ¬¸¿² Ð®±¼«½¬-óÝ±³°´»¬»¼ Ñ°»®¿¬·±²-÷

         Ð®±¼«½¬-óÝ±³°´»¬»¼ Ñ°»®¿¬·±²- ß¹¹®»¹¿¬» Ô·³·¬                                             üîôðððôððð

                                                                        ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ              üïèôçèìòðð
ßËÜ×Ì ÐÛÎ×ÑÜæ ßÒÒËßÔ ßËÜ×Ì




Û¨½»°¬ ·² ¬¸·- Ü»½´¿®¿¬·±²-ô ©¸»² ©» «-» ¬¸» ©±®¼ ùùÜ»½´¿®¿¬·±²-ùù ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©» ³»¿² ¬¸·- ùùÜ»½´¿®¿¬·±²-ùù ±®
¬¸» ùùÝ±³³±² Ð±´·½§ Ü»½´¿®¿¬·±²-òùù

Ú±®³ Ò«³¾»®- ±º Ý±ª»®¿¹» Ú±®³-ô Û²¼±®-»³»²¬- ¿²¼ Í½¸»¼«´»- ¬¸¿¬ ¿®» °¿®¬ ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬æ

ØÝéððïðêðë    ÝÙîîêéïðçí     ÝÙîîéïðìïí     ÝÙîìïêïîðé                                    ÝÙîëðîðéçè
ØÝððèèðçïê    ØÝðìïèðêïï     ØÝðìíïïïðê     ØÝîïðçïðèé                                    ØÝîïïïðéçè
ØÝîïçêðêðë    ØÝîîíìðíðë     ØÝîíïìðêïé     ØÝîíéððïïë                                    ØÝíððêðçïê
ØÙðððïðçïê    ØÙîïðîðíïë     ØÝîïíéðíçí     ØÝîïçððêðè                                    ØÙîîðíðêðë
ØÝïîïðïïèëÌ
×Øïîðïïïèë ÙØðéçìðëïç ßÓÛÒÜÛÜ ÝÑÔÔÛÙÛ ÑÎ ÍÝØÑÑÔÍ
                      øÔ×Ó×ÌÛÜ ÚÑÎÓ÷




Ú±®³ ØÝ ðð ïð ðé çè

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                                                                                          ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                                                                                         ÝÙ îî êé ïð çí

           ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                       ÝÑÎÐÑÎßÔ ÐËÒ×ÍØÓÛÒÌ

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

     ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ

Û¨½´«-·±² ¿ò ±º °¿®¿¹®¿°¸ îòô Û¨½´«-·±²- ±º ÝÑÊÛÎßÙÛ ß ó ÞÑÜ×ÔÇ ×ÒÖËÎÇ ßÒÜ ÐÎÑÐÛÎÌÇ ÜßÓßÙÛ Ô×ßÞ×Ô×ÌÇ
øÍ»½¬·±² × ó Ý±ª»®¿¹»-÷ ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ
¿ò   ùùÞ±¼·´§ ·²¶«®§ùù ±® ùù°®±°»®¬§ ¼¿³¿¹»ùù »¨°»½¬»¼ ±® ·²¬»²¼»¼ º®±³ ¬¸» -¬¿²¼°±·²¬ ±º ¬¸» ·²-«®»¼ò
     Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ùù¾±¼·´§ ·²¶«®§ùù ®»-«´¬·²¹ º®±³æ
     øï÷ Ì¸» «-» ±º ®»¿-±²¿¾´» º±®½» ¬± °®±¬»½¬ °»®-±²- ±® °®±°»®¬§å ±®
     øî÷ Ý±®°±®¿´ °«²·-¸³»²¬ ¬± §±«® -¬«¼»²¬ ¿¼³·²·-¬»®»¼ ¾§ ±® ¿¬ ¬¸» ¼·®»½¬·±² ±º ¿²§ ·²-«®»¼ò




ÝÙ îî êé ïð çí                       Ý±°§®·¹¸¬ô ×²-«®¿²½» Í»®ª·½»- Ñ
                                                                   ÁÁºº·½»ô ×²½òô ïççî
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                                                                                  ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                                                                                 ÝÙ îî éï ðì ïí

        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                 ÝÑÔÔÛÙÛÍ ÑÎ ÍÝØÑÑÔÍ øÔ×Ó×ÌÛÜ ÚÑÎÓ÷

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ

É·¬¸ ®»-°»½¬ ¬± ¬¸» ±°»®¿¬·±² ±º ¿²§ ½±´´»¹» ±® -½¸±±´                  øî÷ ß²§ ¸»¿´¬¸ ±® ¬¸»®¿°»«¬·½ -»®ª·½»ô
¾§ §±« ±® ±² §±«® ¾»¸¿´ºô ¬¸» º±´´±©·²¹ °®±ª·-·±²- ¿°°´§æ                   ¬®»¿¬³»²¬ô ¿¼ª·½» ±® ·²-¬®«½¬·±²å ±®
ßò É·¬¸ ®»-°»½¬ ¬± ¬¸» ¬®¿²-°±®¬¿¬·±² ±º -¬«¼»²¬-ô                      øí÷ ß²§ -»®ª·½»ô ¬®»¿¬³»²¬ô ¿¼ª·½» ±®
   Û¨½´«-·±² ¹ò ±º Ð¿®¿¹®¿°¸ îò Û¨½´«-·±²- ±º Í»½¬·±²                       ·²-¬®«½¬·±² º±® ¬¸» °«®°±-» ±º ¿°°»¿®¿²½»
   ×  Ý±ª»®¿¹» ß  Þ±¼·´§ ×²¶«®§ ß²¼ Ð®±°»®¬§                              ±® -µ·² »²¸¿²½»³»²¬ô ¸¿·® ®»³±ª¿´ ±®
   Ü¿³¿¹» Ô·¿¾·´·¬§ ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ                           ®»°´¿½»³»²¬ ±® °»®-±²¿´ ¹®±±³·²¹ò
   îò Û¨½´«-·±²-                                                     ¾ò Ì¸» º«®²·-¸·²¹ ±® ¼·-°»²-·²¹ ±º ¼®«¹- ±®
      Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ                                 ³»¼·½¿´ô ¼»²¬¿´ ±® -«®¹·½¿´ -«°°´·»- ±®
                                                                        ¿°°´·¿²½»-å ±®
      ¹ò þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¿®·-·²¹
         ±«¬ ±º ¬¸» ±©²»®-¸·°ô ³¿·²¬»²¿²½»ô ±°»®¿¬·±²ô               ½ò Ì¸» ¸¿²¼´·²¹ ±® ¬®»¿¬³»²¬ ±º ¼»¿¼ ¾±¼·»-ô
         «-»ô þ´±¿¼·²¹ ±® «²´±¿¼·²¹þ ±® »²¬®«-¬³»²¬ ¬±                  ·²½´«¼·²¹ ¿«¬±°-·»-ô ±®¹¿² ¼±²¿¬·±² ±® ±¬¸»®
         ±¬¸»®- ±º ¿²§ ¿·®½®¿º¬ô þ¿«¬±þ ±® ©¿¬»®½®¿º¬ ¬¸¿¬              °®±½»¼«®»-ò
         ·- ±©²»¼ô ±°»®¿¬»¼ ±® ¸·®»¼ ¾§ ¿²§ ·²-«®»¼ò                 Ì¸·- »¨½´«-·±² ¿°°´·»- »ª»² ·º ¬¸» ½´¿·³- ¿¹¿·²-¬
         Ú±® ¬¸» °«®°±-» ±º ¬¸·- »¨½´«-·±²ô ¬¸» ©±®¼                 ¿²§ ·²-«®»¼ ¿´´»¹» ²»¹´·¹»²½» ±® ±¬¸»®
         ¸·®»¼ ·²½´«¼»- ¿²§ ½±²¬®¿½¬ ¬± º«®²·-¸                      ©®±²¹¼±·²¹      ·²   ¬¸»    -«°»®ª·-·±²ô   ¸·®·²¹ô
         ¬®¿²-°±®¬¿¬·±² ±º §±«® -¬«¼»²¬- ¬± ¿²¼ º®±³                 »³°´±§³»²¬ô ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®- ¾§
         -½¸±±´-ò                                                    ¬¸¿¬ ·²-«®»¼ô ·º ¬¸» þ±½½«®®»²½»þ ©¸·½¸ ½¿«-»¼
         Ì¸·- »¨½´«-·±² ¿°°´·»- »ª»² ·º ¬¸» ½´¿·³-                   ¬¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þô ±® ¬¸»
         ¿¹¿·²-¬ ¿²§ ·²-«®»¼ ¿´´»¹» ²»¹´·¹»²½» ±®                    ±ºº»²-» ©¸·½¸ ½¿«-»¼ ¬¸» þ°»®-±²¿´ ¿²¼
         ±¬¸»® ©®±²¹¼±·²¹ ·² ¬¸» -«°»®ª·-·±²ô ¸·®·²¹ô                ¿¼ª»®¬·-·²¹ ·²¶«®§þô ·²ª±´ª»¼ ¬¸¿¬ ©¸·½¸ ·-
         »³°´±§³»²¬ô ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®-                ¼»-½®·¾»¼ ·² Ð¿®¿¹®¿°¸ ¿òô ¾ò ±® ½ò
         ¾§ ¬¸¿¬ ·²-«®»¼ô ·º ¬¸» þ±½½«®®»²½»þ ©¸·½¸              îò Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± þ¾±¼·´§ ·²¶«®§þ ¬±
         ½¿«-»¼ ¬¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§                    ¿²§ °»®-±² ©¸·´» °®¿½¬·½·²¹ º±® ±® °¿®¬·½·°¿¬·²¹ ·²
         ¼¿³¿¹»þ       ·²ª±´ª»¼    ¬¸»     ±©²»®-¸·°ô               ¿²§ -°±®¬- ±® ¿¬¸´»¬·½ ½±²¬»-¬ ±® »¨¸·¾·¬·±² ·º ¬¸»®»
         ³¿·²¬»²¿²½»ô «-» ±® »²¬®«-¬³»²¬ ¬± ±¬¸»®- ±º               ·- ²± ¼·®»½¬ ³¿²¿¹»³»²¬ô ±®¹¿²·¦¿¬·±² ±®
         ¿²§ ¿·®½®¿º¬ô þ¿«¬±þ ±® ©¿¬»®½®¿º¬ ¬¸¿¬ ·-                 -«°»®ª·-·±² ±º -«½¸ -°±®¬- ±® ¿¬¸´»¬·½ ½±²¬»-¬ ±®
         ±©²»¼ô ±°»®¿¬»¼ ±® ¸·®»¼ ¾§ ¿²§ ·²-«®»¼ò                   »¨¸·¾·¬·±² ¾§ ¿²§ ·²-«®»¼ò
Þò Ì¸» º±´´±©·²¹ »¨½´«-·±²- ¿®» ¿¼¼»¼ ¬± Í»½¬·±² ×           Ýò Ì¸» º±´´±©·²¹ »¨½´«-·±² ·- ¿¼¼»¼ ¬± Í»½¬·±² × 
   Ý±ª»®¿¹» ß  Þ±¼·´§ ×²¶«®§ ß²¼ Ð®±°»®¬§                       Ý±ª»®¿¹» Ý  Ó»¼·½¿´ Ð¿§³»²¬­æ
   Ü¿³¿¹» Ô·¿¾·´·¬§ ¿²¼ Í»½¬·±² ×  Ý±ª»®¿¹» Þ                  É» ©·´´ ²±¬ °¿§ »¨°»²-»- º±® þ¾±¼·´§ ·²¶«®§þ ¬± §±«®
   Ð»®-±²¿´ ß²¼ ß¼ª»®¬·-·²¹ ×²¶«®§ Ô·¿¾·´·¬§æ                    -¬«¼»²¬ò
   ïò ×º ¬¸» ½±´´»¹» ±® -½¸±±´ ±©²- ±® ±°»®¿¬»- ¿²            Üò Í»½¬·±² ××  É¸± ×­ ß² ×²­«®»¼ ·- ¿³»²¼»¼ ¬±
      ·²º·®³¿®§ ©·¬¸ º¿½·´·¬·»- º±® ´±¼¹·²¹ ¿²¼ ¬®»¿¬³»²¬        ·²½´«¼» ¿- ¿² ·²-«®»¼ ¿²§ ±º ¬¸» º±´´±©·²¹ ¾«¬ ±²´§
      ±® ¿ °«¾´·½ ½´·²·½ ±® ¸±-°·¬¿´ô ¬¸·- ·²-«®¿²½» ¼±»-        ©·¬¸ ®»-°»½¬ ¬± ¬¸»·® ¼«¬·»- ·² ½±²²»½¬·±² ©·¬¸ ¬¸»
      ²±¬ ¿°°´§ ¬± þ¾±¼·´§ ·²¶«®§þô þ°®±°»®¬§ ¼¿³¿¹»þô ±®        °±-·¬·±²- ¼»-½®·¾»¼ ¾»´±©æ
      þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ½¿«-»¼ ¾§æ
                                                                 ïò ß²§ ±º §±«® ¬®«-¬»»- ±® ³»³¾»®- ±º §±«® Þ±¿®¼ ±º
      ¿ò Ì¸» ®»²¼»®·²¹ ±º ±® º¿·´«®» ¬± ®»²¼»®æ                      Ù±ª»®²±®- ·º §±« ¿®» ¿ °®·ª¿¬» ½¸¿®·¬¿¾´» ±®
           øï÷ Ó»¼·½¿´ô -«®¹·½¿´ô ¼»²¬¿´ô Èó®¿§ ±® ²«®-·²¹           »¼«½¿¬·±²¿´ ·²-¬·¬«¬·±²å
               -»®ª·½»ô ¬®»¿¬³»²¬ô ¿¼ª·½» ±® ·²-¬®«½¬·±²ô        îò ß²§ ±º §±«® ¾±¿®¼ ³»³¾»®- ±® ½±³³·--·±²»®- ·º
               ±® ¬¸» ®»´¿¬»¼ º«®²·-¸·²¹ ±º º±±¼ ±®                  §±« ¿®» ¿ °«¾´·½ ¾±¿®¼ ±® ½±³³·--·±²å ±®
               ¾»ª»®¿¹»-å
                                                                 íò ß²§ -¬«¼»²¬ ¬»¿½¸»®- ¬»¿½¸·²¹ ¿- °¿®¬ ±º ¬¸»·®
                                                                     »¼«½¿¬·±²¿´ ®»¯«·®»³»²¬-ò




ÝÙ îî éï ðì ïí                          w ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô îðïî                             Ð¿¹» ï ±º ï
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 214 of 579
                                                                        ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                                                                       ÝÙ îì ïê ïî ðé

     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                              ÝßÒÑÛÍ ÑÎ ÎÑÉÞÑßÌÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ

ïò Û¨½´«-·±² ¹ò ±º Í»½¬·±² ×  Ý±ª»®¿¹» ß  Þ±¼·´§       îò Í»½¬·±² ××  É¸± ×­ ß² ×²­«®»¼ ·- ¿³»²¼»¼ ¬±
   ×²¶«®§ ß²¼ Ð®±°»®¬§ Ü¿³¿¹» Ô·¿¾·´·¬§ ¼±»- ²±¬            ·²½´«¼» ¿- ¿² ·²-«®»¼ ¿²§ °»®-±² ±® ±®¹¿²·¦¿¬·±²
   ¿°°´§ ¬± þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ            ´»¹¿´´§ ®»-°±²-·¾´» º±® ¬¸» «-» ±º ¿²§ -«½¸ ½¿²±»
   ¿®·-·²¹ ±«¬ ±º ¿²§ ½¿²±» ±® ®±©¾±¿¬ ±©²»¼ ±® «-»¼        ±® ®±©¾±¿¬ §±« ±©²ô °®±ª·¼»¼ ¬¸» ¿½¬«¿´ «-» ·-
   ¾§ ±® ®»²¬»¼ ¬± ¬¸» ·²-«®»¼ò                             ©·¬¸ §±«® °»®³·--·±²ò




ÝÙ îì ïê ïî ðé                           w ×ÍÑ Ð®±°»®¬·»-ô ×²½òô îððê                            Ð¿¹» ï ±º ï
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 215 of 579
ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí         ËËÒ ÜÚîêìë                                           ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                                                                              ÝÙ îë ðî ðé çè

        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                   ßÓÛÒÜÓÛÒÌ ÑÚ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ

                                                     ÍÝØÛÜËÔÛ

                                                                                     Ô·³·¬- Ñº ×²-«®¿²½»
Ù»²»®¿´ ß¹¹®»¹¿¬» Ô·³·¬                                                      üÁÁÁÁÁÁÁÁÁ
Ð®±¼«½¬-óÝ±³°´»¬»¼ Ñ°»®¿¬·±²- ß¹¹®»¹¿¬» Ô·³·¬                                üÁÁÁÁÁÁÁÁÁ
Ð»®-±²¿´ ú ß¼ª»®¬·-·²¹ ×²¶«®§ Ô·³·¬                                          üÁÁÁÁÁÁÁÁÁ
Û¿½¸ Ñ½½«®®»²½» Ô·³·¬                                                        üÁÁÁÁÁÁÁÁÁ
Ü¿³¿¹» Ì± Ð®»³·-»- Î»²¬»¼ Ì± Ç±« Ô·³·¬                                        ïôðððôððð ß²§ Ñ²» Ð®»³·-»-
                                                                             üÁÁÁÁÁÁÁÁÁ
Ó»¼·½¿´ Û¨°»²-» Ô·³·¬                                                        üÁÁÁÁÁÁÁÁÁ   ß²§ Ñ²» Ð»®-±²
ø×º ²± »²¬®§ ¿°°»¿®- ¿¾±ª»ô ·²º±®³¿¬·±² ®»¯«·®»¼ ¬± ½±³°´»¬» ¬¸·- »²¼±®-»³»²¬ ©·´´ ¾» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ¿-
¿°°´·½¿¾´» ¬± ¬¸·- »²¼±®-»³»²¬ò÷

Ì¸» ´·³·¬- ±º ·²-«®¿²½» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ¿®» ®»°´¿½»¼ ¾§ ¬¸» ´·³·¬- ¼»-·¹²¿¬»¼ ·² ¬¸» Í½¸»¼«´» ±® ·² ¬¸»
Ü»½´¿®¿¬·±²- ¿- -«¾¶»½¬ ¬± ¬¸·- »²¼±®-»³»²¬ ©·¬¸ ®»-°»½¬ ¬± ©¸·½¸ ¿² »²¬®§ ·- ³¿¼»ò




ÝÙ îë ðî ðé çè                   Ý±°§®·¹¸¬ô ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½òô ïççé                    Ð¿¹» ï ±º ï
       Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 216 of 579
     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                     ÝÇÞÛÎÚÔÛÈ
       ßÓÛÒÜÓÛÒÌ ÑÚ ÝÑÊÛÎßÙÛ Þ ó ÐÛÎÍÑÒßÔ ßÒÜ
                ßÜÊÛÎÌ×Í×ÒÙ ×ÒÖËÎÇ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

   ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ

Ì¸·- »²¼±®-»³»²¬ ¾®±¿¼»²- ½±ª»®¿¹» º±® þ§±«® ©»¾                      ½«-¬±¼§ ±® ½±²¬®±´ ¾§ -±³»±²» ²±¬
-·¬»þ ±® ·²¬»®²»¬ó®»´¿¬»¼ ¿½¬·ª·¬·»-ò                                 ¿«¬¸±®·¦»¼ ¬± ¿½½»-- ±® ¼·-¬®·¾«¬» ¬¸¿¬
ßò Í»½¬·±² Ê ó Ü»º·²·¬·±²- ·- ½¸¿²¹»¼ ¿- º±´´±©-æ                     ³¿¬»®·¿´ò
   ïò Ü»º·²·¬·±² Ñº ß¼ª»®¬·-»³»²¬ ó ×²¬»®²»¬                   íò Ü»º·²·¬·±² ±º Ç±«® É»¾ Í·¬»
       Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± Ð¿®¿¹®¿°¸ ¿ò ±º                    Ì¸» º±´´±©·²¹ ¼»º·²·¬·±² ·- ¿¼¼»¼æ
       ¬¸» ¼»º·²·¬·±² ±º þ¿¼ª»®¬·-»³»²¬þæ                         þÇ±«® ©»¾ -·¬»þ ³»¿²- ¿ ©»¾ °¿¹» ±® -»¬ ±º
       þß¼ª»®¬·-»³»²¬þ ³»¿²- ¬¸» ©·¼»-°®»¿¼                       ·²¬»®½±²²»½¬»¼ ©»¾ °¿¹»- °®»°¿®»¼ ¿²¼
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       ·³¿¹»- ¬¸¿¬ ¸¿- ¬¸» °«®°±-» ±º ·²¼«½·²¹ ¬¸»                ¾»¸¿´ºô º±® ¬¸» °«®°±-» ±º °®±³±¬·²¹ §±«®
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                                                                  ±® -»®ª·½»-ô ¬¸¿¬ ·- ¿½½»--·¾´» ±ª»® ¿²
       ¿ò øê÷ Ì¸» ×²¬»®²»¬å                                       ·²¬»®²»¬ò
   îò Ü»º·²·¬·±² ±º Ð»®-±²¿´ ß²¼ ß¼ª»®¬·-·²¹               Þò Ð¿®¿¹®¿°¸ îòô Û¨½´«-·±²- ±º Í»½¬·±² × ó
      ×²¶«®§                                                  Ý±ª»®¿¹» Þ ó Ð»®-±²¿´ ß²¼ ß¼ª»®¬·-·²¹
       ¿ò Ç±«® É»¾ Í·¬»                                       ×²¶«®§ Ô·¿¾·´·¬§ ·- ¿³»²¼»¼ ¿- º±´´±©-æ
           Ð¿®¿¹®¿°¸- ºò ¿²¼ ¹ò ±º ¬¸» ¼»º·²·¬·±² ±º          ïò Û¨½´«-·±²- ºòô ¹ò ¿²¼ ·ò ¿®» ®»°´¿½»¼ ¾§ ¬¸»
           þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®»                  º±´´±©·²¹æ
           ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ                             ºò Þ®»¿½¸ Ñº Ý±²¬®¿½¬
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           º±´´±©·²¹ ±ºº»²-»-æ                                         þ¿¼ª»®¬·-·²¹     ·¼»¿þ      ·²       §±«®
           ºò   Ý±°§·²¹ô ·² §±«® þ¿¼ª»®¬·-»³»²¬þ ±®                    þ¿¼ª»®¬·-»³»²¬þ ±® ±² þ§±«® ©»¾ -·¬»þå
                ±² þ§±«® ©»¾ -·¬»þô ¿ °»®-±²ù- ±®                   ¹ò Ï«¿´·¬§ Ñ® Ð»®º±®³¿²½» Ñº Ù±±¼- ó
                ±®¹¿²·¦¿¬·±²ù- þ¿¼ª»®¬·-·²¹ ·¼»¿þ ±®                   Ú¿·´«®» Ì± Ý±²º±®³ Ì± Í¬¿¬»³»²¬-
                -¬§´» ±º þ¿¼ª»®¬·-»³»²¬þå ±®
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             ©»¾ -·¬»þò                                                  þ¿¼ª»®¬·-»³»²¬þ ±® ±² þ§±«® ©»¾ -·¬»þå
       ¾ò Ð«¾´·½¿¬·±²        Þ§      Ì¸±-»       É·¬¸               ·ò   ×²º®·²¹»³»²¬ Ñº ×²¬»´´»½¬«¿´ Ð®±°»®¬§
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           °«¾´·½¿¬·±² ±º ³¿¬»®·¿´ ·² §±«® ½¿®»ô                             ½±°§®·¹¸¬ô °¿¬»²¬ô ¬®¿¼»³¿®µô ¬®¿¼»

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            ²¿³»ô ¬®¿¼» -»½®»¬ô ¬®¿¼» ¼®»--ô                       øî÷ Ý±°§·²¹ô ·² §±«® þ¿¼ª»®¬·-»³»²¬þ ±®
            -»®ª·½» ³¿®µ ±® ±¬¸»® ¼»-·¹²¿¬·±² ±º                        ±² þ§±«® ©»¾ -·¬»þô ¿ °»®-±²ù- ±®
            ±®·¹·² ±® ¿«¬¸»²¬·½·¬§å ±®                                  ±®¹¿²·¦¿¬·±²ù- þ¿¼ª»®¬·-·²¹ ·¼»¿þ ±®
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            ·²º®·²¹»³»²¬ ±® ª·±´¿¬·±² ±º ¿²§                   Þ«´´»¬·² Þ±¿®¼- ¼±»- ²±¬ ¿°°´§ò
            ·²¬»´´»½¬«¿´ °®±°»®¬§ ®·¹¸¬ô ©¸»¬¸»®            íò Í«¾°¿®¿¹®¿°¸- øï÷ô øî÷ ¿²¼ øí÷ ±º Û¨½´«-·±²
            -«½¸ ¿´´»¹¿¬·±² ±º ·²º®·²¹»³»²¬ ±®                 °ò ó ×²¬»®²»¬ ß¼ª»®¬·-»³»²¬- ß²¼ Ý±²¬»²¬ Ñº
            ª·±´¿¬·±² ·- ³¿¼» ¾§ §±« ±® ¾§ ¿²§                 Ñ¬¸»®- ¼± ²±¬ ¿°°´§ò
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            ·²-«®¿²½» ©±«´¼ ±¬¸»®©·-» ¿°°´§ò
        Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§
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ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


     ÝÎ×Í×Í ÓßÒßÙÛÓÛÒÌ ÛÈÐÛÒÍÛ ÎÛ×ÓÞËÎÍÛÓÛÒÌ
                    ÝÑÊÛÎßÙÛ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ


                                                         ÍÝØÛÜËÔÛ

 Ý®·-·-    Ó¿²¿¹»³»²¬       Û¨°»²-»      ß¹¹®»¹¿¬»
                                                         ü ïððôððð
 Ô·³·¬æ



ßò Ý®·-·- Ó¿²¿¹»³»²¬ Û¨°»²-» Î»·³¾«®-»³»²¬                                ¾»¬©»»²ô ±® ¬± ¿²¼ º®±³ ¿²§ °®»³·-»-
   Ý±ª»®¿¹»                                                               ¼»-½®·¾»¼ ·² -«¾°¿®¿¹®¿°¸- øï÷ ¿²¼ øî÷
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   Ý±ª»®¿¹»-æ                                                        ½ò Ì¸» þ½±ª»®»¼ »ª»²¬þ º·®-¬ ±½½«®- ±®
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   ïò É» ©·´´ ®»·³¾«®-» §±« º±® ®»¿-±²¿¾´» þ½®·-·-
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             ïôððð º»»¬ ±º °®»³·-»- ±©²»¼ô ®»²¬»¼ ±®                      »¨°»²-»-þ ¿®» ·²½«®®»¼ ©·¬¸·² -·¨¬§ øêð÷
             ´»¿-»¼ ¬± §±«å                                               ½±²-»½«¬·ª»       ¼¿§-       ¿º¬»®    ¬¸»
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             þª·±´»²¬ »ª»²¬þô ¬¸» ¿½¬ ±® -»®·»- ±º ¿½¬-                   »ª»²¬þò Ì¸·- -·¨¬§ øêð÷ ¼¿§ °»®·±¼ ©·´´
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              øï÷ Ñ² ±® ©·¬¸·² ïôððð º»»¬ ±º °®»³·-»-                ºò Ç±« ¸¿ª» °®±ª·¼»¼ -¿¬·-º¿½¬±®§ °®±±º ±º
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                  ¾»¸¿´ºô                                            ±® ½±³³»²½»¼ °®·±® ¬± ¬¸» ¾»¹·²²·²¹ ±º ¬¸»
                                                                     °±´·½§ °»®·±¼ô ©¸»¬¸»® ±® ²±¬æ
              ·²½´«¼·²¹ þª·±´»²¬ »ª»²¬-þ ¬¸¿¬ ±½½«® ±²
              þ¿«¬±-þ ±® ±¬¸»® ½±²ª»§¿²½»- ¬¸¿¬ ¿®»                  øï÷ ß²§ ½±ª»®¿¹» ·- ¿ª¿·´¿¾´» «²¼»® ¿²±¬¸»®
              ¾»·²¹ «-»¼ ¬± ¬®¿²-°±®¬ °»®-±²- ±²ô ·²                      ·²­«®»®­ °±´·½§ ±® ©¿­ ®»°±®¬»¼ ¬±
                                                                          ¿²±¬¸»® ·²-«®»®å ±®
Ú±®³ ØÝ ðì ïè ðê ïï                                                                                  Ð¿¹» ï ±º ì
          Case 3:24-cv-00490-FDW-SCR w Document    1-4 Filed 05/21/24 Page 219 of 579
                                        îðïïô Ì¸» Ø¿®¬º±®¼
      øî÷ Ì¸» þ½±ª»®»¼ »ª»²¬þ ½±²¬·²«»¼ ¬± ±½½«®           éò Ý¸·´¼ ß¾¼«½¬·±² Ñ®          Õ·¼²¿°°·²¹     Þ§
          º±® ¿ °»®·±¼ ±º ¬·³» ¬¸¿¬ »¨¬»²¼»¼ ·²¬±             Ð¿®»²¬ Ñ® Ù«¿®¼·¿²
          ¬¸» °±´·½§ °»®·±¼ò                                   þÝ¸·´¼ ¿¾¼«½¬·±² ±® µ·¼²¿°°·²¹þ ½±³³·¬¬»¼
   íò Ì¸» ¿³±«²¬ ©» °¿§ º±® ®»·³¾«®-»³»²¬ ±º                   ¾§ ¬¸» ½¸·´¼ù- ²¿¬«®¿´ ±® ¿¼±°¬·ª» °¿®»²¬ ±®
      þ½®·-·- ³¿²¿¹»³»²¬ »¨°»²-»-þ ·- ´·³·¬»¼ ¿-               ´»¹¿´ ¹«¿®¼·¿²ô ©¸»¬¸»® ±® ²±¬ -«½¸ °»®-±²
      ¼»-½®·¾»¼ ·² Ð¿®¿¹®¿°¸ Þò ¾»´±©ò                         °±--»--»- ¿²§ ´»¹¿´ ®·¹¸¬ ¬± ¸±´¼ -«½¸ ½¸·´¼ò
   Ò± ±¬¸»® ±¾´·¹¿¬·±² ±® ´·¿¾·´·¬§ ¬± °¿§ -«³- ±®         èò Ý±³³«²·½¿¾´» ×´´²»--»-ô Ü·-»¿-»- Ñ®
   °»®º±®³ ¿½¬- ±® -»®ª·½»- ·- ½±ª»®»¼ò                       Ê·®«-»-
Þò Û¨½´«-·±²-                                                  ß²§ þ½®·-·- ³¿²¿¹»³»²¬ »¨°»²-»-þ ¿®·-·²¹
   Ú±® ¬¸» °«®°±-»- ±º ¬¸» Ý®·-·- Ó¿²¿¹»³»²¬                   ±«¬ ±º ¬¸» ¬®¿²-³·--·±² ±º ¿²§ ½±³³«²·½¿¾´»
   Û¨°»²-» Î»·³¾«®-»³»²¬ ½±ª»®¿¹» ¿ºº±®¼»¼ ¾§                  ·´´²»--»-ô ¼·-»¿-»- ±® ª·®«-»- ±¬¸»® ¬¸¿²
   ¬¸·- »²¼±®-»³»²¬ô ¬¸» º±´´±©·²¹ »¨½´«-·±²- ¿®»              ¬¸±-» ¼»-½®·¾»¼ ·² -«¾°¿®¿¹®¿°¸- ¿ò ¿²¼ ¾ò
   ¿¼¼»¼ ¬± Ð¿®¿¹®¿°¸ îòô Û¨½´«-·±²- ±º Í»½¬·±² ×              ±º ¬¸» ¼»º·²·¬·±² ±º þ½±ª»®»¼ ·´´²»--þ ·² ¬¸»
    Ý±ª»®¿¹» ß  Þ±¼·´§ ×²¶«®§ ß²¼ Ð®±°»®¬§                   Ü»º·²·¬·±²- Í»½¬·±²ò
   Ü¿³¿¹»       Ô·¿¾·´·¬§   ¿²¼    Ð¿®¿¹®¿°¸   îòô      Ýò ß³»²¼»¼ É¸± ×- ß² ×²-«®»¼
   Û¨½´«-·±²- ±º Í»½¬·±² ×  Ý±ª»®¿¹» Þ                   Ú±® ¬¸» °«®°±-»- ±º ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼ ¾§
   Ð»®-±²¿´ ß²¼ ß¼ª»®¬·-·²¹ ×²¶«®§ Ô·¿¾·´·¬§ô ¿²¼          ¬¸·- »²¼±®-»³»²¬ô ¬¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬±
   ¿°°´§ ·² ¿¼¼·¬·±² ¬± ¿´´ ±¬¸»® »¨½´«-·±²-               Í»½¬·±² ××  É¸± ×­ ß² ×²­«®»¼æ
   ¿°°´·½¿¾´» ¬± ¬¸·- Ý±ª»®¿¹» Ð¿®¬æ
                                                           ß²§ °»®-±²- ±® ±®¹¿²·¦¿¬·±²- ©¸± ¿®» ¿²
   Ì¸» ·²-«®¿²½» °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬              ¿¼¼·¬·±²¿´ ·²-«®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô
   ¼±»- ²±¬ ¿°°´§ ¬±æ                                      »·¬¸»® ¾»½¿«-» ±º Ð¿®¿¹®¿°¸ êòô ß¼¼·¬·±²¿´
   ïò Ü¿³¿¹»-                                              ×²-«®»¼- É¸»² Î»¯«·®»¼ Þ§ É®·¬¬»²
      ß²§ ¼¿³¿¹»- ·³°±-»¼ «°±² ¿²§ ·²-«®»¼ô                Ý±²¬®¿½¬ô É®·¬¬»² ß¹®»»³»²¬ Ñ® Ð»®³·¬ô ±® ·²
      ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ¿²§ º·²»ô               ¿² »²¼±®-»³»²¬ ·--«»¼ ¾§ «- ¿²¼ ³¿¼» ¿ °¿®¬
      -¿²½¬·±²ô °»²¿´¬§ ±® °«²·¬·ª» ±® »¨»³°´¿®§           ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ¿®» ²±¬ ·²-«®»¼- «²¼»®
      ¼¿³¿¹»-ô °´«- ¿²§ »¯«·¬¿¾´»ô ·²¶«²½¬·ª» ±®           ¬¸·-      Ý®·-·-    Ó¿²¿¹»³»²¬       Û¨°»²-»
      ±¬¸»® ²±²ó³±²»¬¿®§ ®»´·»ºò                           Î»·³¾«®-»³»²¬ Ý±ª»®¿¹»ò
   îò Ü»º»²-» Û¨°»²-»-                                  Üò Ý®·-·- Ó¿²¿¹»³»²¬        Û¨°»²-»      Ô·³·¬   Ñº
                                                           ×²-«®¿²½»
      ß²§ »¨°»²-»- §±« ·²½«® ·² ¬¸» ·²ª»-¬·¹¿¬·±²ô
      ¼»º»²-» ±® -»¬¬´»³»²¬ ±º ¿ ½´¿·³ ±® þ-«·¬þ º±®       Ú±® ¬¸» °«®°±-»- ±º ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼ ¾§
      þ¾±¼·´§ ·²¶«®§þô þ°®±°»®¬§ ¼¿³¿¹»þ ±®                ¬¸·- »²¼±®-»³»²¬ô Í»½¬·±² ×××  Ô·³·¬­ Ñº
      þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬        ×²-«®¿²½» ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
      ±º ¿ þ½±ª»®»¼ »ª»²¬þò                                Ì¸» Ý®·-·- Ó¿²¿¹»³»²¬ Û¨°»²-» ß¹¹®»¹¿¬»
   íò Ð»®°»¬®¿¬±®-                                         Ô·³·¬ -¸±©² ·² ¬¸» Í½¸»¼«´» ±º ¬¸·- »²¼±®-»³»²¬
                                                           ·- ¬¸» ³±-¬ ©» ©·´´ ®»·³¾«®-» §±« º±® ¬¸» -«³ ±º
      ß²§ þ½®·-·- ³¿²¿¹»³»²¬ »¨°»²-»-þ ·²½«®®»¼            ¿´´ þ½®·-·- ³¿²¿¹»³»²¬ »¨°»²-»-þô ®»¹¿®¼´»-- ±º
      ¾§ ¿²§ °»®-±² ø·²½´«¼·²¹ ¬¸»·® º¿³·´·»-÷ô ©¸±ô       ¬¸» ²«³¾»® ±ºæ
      »·¬¸»® ¼·®»½¬´§ ±® ·²¼·®»½¬´§ô °»®°»¬®¿¬»¼ô
      °¿®¬·½·°¿¬»¼ ·² ±® °´¿²²»¼ ¿ þª·±´»²¬ »ª»²¬þò        ïò þÝ±ª»®»¼ »ª»²¬-þ ¬¸¿¬ ±½½«® ±® ½±³³»²½»
                                                              ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼å ±®
   ìò Þ¿-» Í¿´¿®·»- Ñ® É¿¹»-
                                                           îò Ð»®-±²- ±® ±®¹¿²·¦¿¬·±²- -«-¬¿·²·²¹ ·²¶«®§ ±®
      Ì¸» ¾¿-» -¿´¿®·»- ±® ©¿¹»- ±º ¿²§ ±º §±«®               ¼¿³¿¹» ¿- ¿ ®»-«´¬ ±º ¿ þ½±ª»®»¼ »ª»²¬þò
      þ»³°´±§»»-þò
                                                           Ì¸» Ô·³·¬- ±º ×²-«®¿²½» ±º ¬¸·- »²¼±®-»³»²¬
   ëò Î¿²-±³ Ð¿§³»²¬-                                      ¿°°´§ -»°¿®¿¬»´§ ¬± »¿½¸ ½±²-»½«¬·ª» ¿²²«¿´
      ß²§ °¿§³»²¬ ³¿¼»ô ±® ±¬¸»® »¨°»²-»                   °»®·±¼ ¿²¼ ¬± ¿²§ ®»³¿·²·²¹ °»®·±¼ ±º ´»-- ¬¸¿²
      ·²½«®®»¼ô ¬± ³»»¬ ¿ ¼»³¿²¼ ³¿¼» ¬± ®»¼»»³            ïî ³±²¬¸-ô -¬¿®¬·²¹ ©·¬¸ ¬¸» ¾»¹·²²·²¹ ±º ¬¸»
      ¿ ¸±-¬¿¹» ±® ½¿°¬·ª»ò                                °±´·½§ °»®·±¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô «²´»--
   êò Î»¬¿·²»®- Ñ® Ý±²¬®¿½¬»¼ Ú»»-                         ¬¸» °±´·½§ °»®·±¼ ·- »¨¬»²¼»¼ ¿º¬»® ·--«¿²½» º±®
                                                           ¿² ¿¼¼·¬·±²¿´ °»®·±¼ ±º ´»-- ¬¸¿² ïî ³±²¬¸-ò ×²
      ß²§ ®»¬¿·²»®- ±® ±¬¸»® ½±²¬®¿½¬»¼ º»»- §±«
                                                           ¬¸¿¬ ½¿-»ô ¬¸» ¿¼¼·¬·±²¿´ °»®·±¼ ©·´´ ¾» ¼»»³»¼
      °¿·¼ ¿ °®±º»--·±²¿´ ½®·-·- ³¿²¿¹»³»²¬ô
                                                           °¿®¬ ±º ¬¸» ´¿-¬ °®»½»¼·²¹ °»®·±¼ º±® °«®°±-»- ±º
      °«¾´·½ ®»´¿¬·±²-ô ³»¼·¿ ®»´¿¬·±²- ±® -·³·´¿®
                                                           ¼»¬»®³·²·²¹ ¬¸» Ô·³·¬- ±º ×²-«®¿²½»ò
      º·®³ °®·±® ¬± ¿ þ½±ª»®»¼ »ª»²¬þò




Ð¿¹» î Case
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                                                                            Ú±®³ ØÝofðì579
                                                                                        ïè ðê ïï
Ûò Ý±ª»®»¼ Ûª»²¬ Ý±²¼·¬·±²-                                  Ì¸·- ·²-«®¿²½» ·- ¿´-± »¨½»-- ±ª»® ¿²§ -«³-
   Ú±® ¬¸» °«®°±-»- ±º ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼ ¾§              ©» ¸¿ª» °¿·¼ º±® ³»¼·½¿´ »¨°»²-»- «²¼»®
   ¬¸·- »²¼±®-»³»²¬ô Í»½¬·±² ×Ê  Ý±³³»®½·¿´                 Í»½¬·±² ×  Ý±ª»®¿¹» Ý  Ó»¼·½¿´
   Ù»²»®¿´ Ô·¿¾·´·¬§ Ý±²¼·¬·±²- ·- ¿³»²¼»¼ ¿-                Ð¿§³»²¬-ò
   º±´´±©-æ                                            Úò Ý±ª»®»¼ Ûª»²¬ Ü»º·²·¬·±²-
   ïò Ì¸» º±´´±©·²¹ ½±²¼·¬·±² ·- ¿¼¼»¼æ                   Ú±® ¬¸» °«®°±-»- ±º ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼ ¾§
                                                          ¬¸·- »²¼±®-»³»²¬ô ¬¸» Ü»º·²·¬·±²- Í»½¬·±² ·-
      Ü«¬·»- ×² Ì¸» Ûª»²¬ Ñº ß Ý±ª»®»¼ Ûª»²¬
                                                          ¿³»²¼»¼ ¾§ ¬¸» ¿¼¼·¬·±² ±º ¬¸» º±´´±©·²¹
      ¿ò Ç±« ³«-¬ -»» ¬± ·¬ ¬¸¿¬ ©» ¿®» ²±¬·º·»¼ ¿-       ¼»º·²·¬·±²-æ
         -±±² ¿- °®¿½¬·½¿¾´» ±º ¿ þ½±ª»®»¼ »ª»²¬þ
                                                          ïò þÝ¸·´¼ ¿¾¼«½¬·±² ±® µ·¼²¿°°·²¹þ ³»¿²- ¬¸»
         ¬¸¿¬ ³¿§ ®»-«´¬ ·² þ½®·-·- ³¿²¿¹»³»²¬
                                                              ©®±²¹º«´ ¿²¼ ·´´»¹¿´ -»·¦«®» ±º ¿ ½¸·´¼ «²¼»®
         »¨°»²-»-þò Ì± ¬¸» »¨¬»²¬ °±--·¾´»ô
                                                              ¬¸» ¿¹» ±º »·¹¸¬»»² øïè÷ ¾§ -±³»±²» ±¬¸»®
         ²±¬·½» -¸±«´¼ ·²½´«¼»æ
                                                              ¬¸¿² ¬¸» ½¸·´¼ù- ²¿¬«®¿´ ±® ¿¼±°¬·ª» °¿®»²¬ô
          øï÷ Ø±©ô ©¸»² ¿²¼ ©¸»®» ¬¸» þ½±ª»®»¼                º±-¬»® °¿®»²¬ ±® ´»¹¿´ ¹«¿®¼·¿²ò
              »ª»²¬þ ¬±±µ °´¿½»å                          îò þÝ±ª»®»¼ »ª»²¬þ ³»¿²-æ
          øî÷ Ì¸» ²¿³»- ¿²¼ ¿¼¼®»--»- ±º ¿²§                  ¿ò ß þ½±ª»®»¼ ·´´²»--þå
              ·²ª±´ª»¼ °¿®¬·»- ¿²¼ ©·¬²»--»-å
                                                              ¾ò ß º·®»ô »¨°´±-·±²ô ½±²-¬®«½¬·±² ¿½½·¼»²¬ô
          øí÷ Ì¸» ²¿¬«®» ¿²¼ ´±½¿¬·±² ±º ¿²§ ·²¶«®§                »¯«·°³»²¬ º¿·´«®»ô ±® ©±®µ°´¿½» ¿½½·¼»²¬
              ±® ¼¿³¿¹» ¿®·-·²¹ ±«¬ ±º ¬¸»                         ¬¸¿¬ ®»-«´¬- ·² þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§
              þ½±ª»®»¼ »ª»²¬þå ¿²¼                                 ¼¿³¿¹»þ ¿²¼ ¿¼ª»®-» ®»¹·±²¿´ô ²¿¬·±²¿´
          øì÷ Ý±°·»- ±º ®»°±®¬- ³¿¼» ¾§ ¬¸»                        ±® ·²¬»®²¿¬·±²¿´ ²»©- ³»¼·¿ ½±ª»®¿¹» ±º
              °±´·½» ±® ¿²§ -·³·´¿® ¹±ª»®²³»²¬¿´                   §±«® ¾«-·²»--å ±®
              »²¬·¬§ò                                         ½ò ß þª·±´»²¬ »ª»²¬þò
      ¾ò Ç±« ¿²¼ ¿²§ ±¬¸»® ·²ª±´ª»¼ ·²-«®»¼               íò þÝ±ª»®»¼ ·´´²»--þ ³»¿²- þ¾±¼·´§ ·²¶«®§þ
         ³«-¬æ                                                ·²½«®®»¼ ¾§ ³±®» ¬¸¿² ±²» °»®-±² ¬¸¿¬ ·-
          øï÷ ×³³»¼·¿¬»´§ -»²¼ «- ½±°·»- ±º                   ½¿«-»¼ ¾§æ
              ·²ª±·½»-ô ¼»³¿²¼-ô ®»½»·°¬-ô ±® ¿²§             ¿ò Þ¿½¬»®·¿´ ³·½®±±®¹¿²·-³- ¬®¿²-³·¬¬»¼ ¬±
              ±¬¸»®    °»®¬·²»²¬    ¼±½«³»²¬¿¬·±²                  ¬¸» ·²¶«®»¼ °»®-±² ¬¸®±«¹¸ ¸«³¿²
              -«°°±®¬·²¹ ¬¸» þ½®·-·- ³¿²¿¹»³»²¬                    ½±²¬¿½¬ ©·¬¸ º±±¼ô ¼®·²µ·²¹ ©¿¬»® ±® ±¬¸»®
              »¨°»²-»-þ ®»-«´¬·²¹ º®±³ ¿ þ½±ª»®»¼                  ¾»ª»®¿¹»-å ±®
              »ª»²¬þå                                         ¾ò Ô»¹·±²²¿·®»-ù ¼·-»¿-»ô ¸»°¿¬·¬·- ª·®«-»-
          øî÷ ß«¬¸±®·¦» «- ¬± ±¾¬¿·² ®»½±®¼- ¿²¼                   ±® ²±®±ª·®«-»-ô ¿- ¼»º·²»¼ ¾§ ¬¸» Ë²·¬»¼
              ±¬¸»® ·²º±®³¿¬·±²å ¿²¼                               Í¬¿¬»- Ý»²¬»®- º±® Ü·-»¿-» Ý±²¬®±´ ¿²¼
          øí÷ Ý±±°»®¿¬»      ©·¬¸    «-    ·²   ¬¸»                Ð®»ª»²¬·±²ò
              ·²ª»-¬·¹¿¬·±² ±º ¿ þ½±ª»®»¼ »ª»²¬þò             þÝ±ª»®»¼ ·´´²»--þ ¼±»- ²±¬ ·²½´«¼» ¿²§ ±¬¸»®
                                                              ¬§°»- ±º ½±³³«²·½¿¾´» ·´´²»--»-ô ¼·-»¿-»-
      ½ò Ç±« ³«-¬ -«¾³·¬ ¿ ½´¿·³ º±®
                                                              ±® ª·®«-»- ±¬¸»® ¬¸¿² ¬¸±-» ¼»-½®·¾»¼ ·²
         ®»·³¾«®-»³»²¬ ±º þ½®·-·- ³¿²¿¹»³»²¬
                                                              -«¾°¿®¿¹®¿°¸- ¿ò ¿²¼ ¾ò ¿¾±ª»ò
         »¨°»²-»-þ ©·¬¸·² ±²» ¸«²¼®»¼ »·¹¸¬§
         øïèð÷ ¼¿§- ±º ·²½«®®·²¹ -«½¸ þ½®·-·-                 ß þ½±ª»®»¼ ·´´²»--þ -¸¿´´ ¾» ¼»»³»¼ ¬±
         ³¿²¿¹»³»²¬ »¨°»²-»-þò                                ½±³³»²½» ¿¬ ¬¸» ¬·³» -§³°¬±³- ³¿²·º»-¬ ·²
                                                              ¬¸» º·®-¬ °»®-±² ¬± ½±²¬®¿½¬ ¬¸» þ½±ª»®»¼
   îò Ú±® ¬¸» °«®°±-»- ±º ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼
                                                              ·´´²»--þò
      ¾§ ¬¸·- »²¼±®-»³»²¬ô ¬¸» Ñ¬¸»® ×²-«®¿²½»
      ½±²¼·¬·±² ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ             ìò þÝ®·-·- ³¿²¿¹»³»²¬ »¨°»²-»-þ ³»¿²-æ
      Ñ¬¸»® ×²-«®¿²½»                                         Ó±²»¬¿®§ ¿³±«²¬- §±« °¿§ º±®æ
                                                              ¿ò Ú·®-¬ ¿·¼ ¿²¼ ±¬¸»® ³»¼·½¿´ »¨°»²-»- º±®
      Ì¸» ·²-«®¿²½» °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬
                                                                   °»®-±²- -«ºº»®·²¹ þ¾±¼·´§ ·²¶«®§þ ¿- ¿
      ·- »¨½»-- ±ª»® ¿²§ ±¬¸»® ·²-«®¿²½»ô ©¸»¬¸»®
                                                                   ®»-«´¬ ±º ¿ þ½±ª»®»¼ »ª»²¬þô ·²½´«¼·²¹ ¾«¬
      °®·³¿®§ô »¨½»--ô ½±²¬·²¹»²¬ ±® ±² ¿²§ ±¬¸»®
                                                                   ²±¬ ´·³·¬»¼ ¬± ¸±-°·¬¿´·¦¿¬·±²ô -µ·´´»¼
      ¾¿-·-ô »¨½»°¬ ©¸»² °«®½¸¿-»¼ -°»½·º·½¿´´§ ¬±
                                                                   ²«®-·²¹ º¿½·´·¬·»-ô ®»¸¿¾·´·¬¿¬·±² º¿½·´·¬·»-ô
      ¿°°´§ ·² »¨½»-- ±º ¬¸·- ·²-«®¿²½»ò Ì¸·-
                                                                   °¸§-·½¿´ ¬¸»®¿°§ ¿²¼ °®±-¬¸»¬·½ ¼»ª·½»-å
      ·²½´«¼»-ô ¾«¬ ·- ²±¬ ´·³·¬»¼ ¬±ô ¿²§ °®±°»®¬§
      ·²-«®¿²½» °±´·½·»- °«®½¸¿-»¼ ¾§ ¬¸» ·²-«®»¼             ¾ò ß³¾«´¿²½» ±® ±¬¸»® ¬®¿²-°±®¬¿¬·±²
      ¬¸¿¬ ³¿§ ¿´-± °®±ª·¼» ½±ª»®¿¹» º±® þ½®·-·-                   -»®ª·½»- ø·²½´«¼·²¹ ¿·® ¿³¾«´¿²½»- ±®
      ³¿²¿¹»³»²¬ »¨°»²-»-þ ®»-«´¬·²¹ º®±³ ¿                        ¸»´·½±°¬»®-÷ º±® °»®-±²- -«ºº»®·²¹ þ¾±¼·´§
      þ½±ª»®»¼ »ª»²¬þò                                             ·²¶«®§þ ¿- ¿ ®»-«´¬ ±º ¬¸» þ½±ª»®»¼ »ª»²¬þå

      Case
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                                                                                     579í ±º ì
     ½ò Ú«²»®¿´ ¿²¼ ¾«®·¿´ »¨°»²-»- ±º ¿²§±²»               ëò þÚ¿³·´§ ³»³¾»®þ ³»¿²- ¿ °»®-±² ®»´¿¬»¼ ¬±
        ©¸± ¼·»¼ ¿- ¿ ®»-«´¬ ±º ¿ þ½±ª»®»¼                     ¿ ª·½¬·³ ¾§ ¾´±±¼ô ¿¼±°¬·±²ô ³¿®®·¿¹» ±® ¿
        »ª»²¬þå                                                ´»¹¿´´§ó®»½±¹²·¦»¼ ½·ª·´ «²·±²ò Ì¸·- ·²½´«¼»-
     ¼ò Ñª»®¬·³» ©¿¹»- ¿²¼ ±¬¸»® ½±-¬- ±º §±«®                 ¿ º±-¬»® °¿®»²¬ ±® º±-¬»® ½¸·´¼ò
        þ»³°´±§»»-þ ¿¾±ª» ¿²¼ ¾»§±²¼ ¬¸»·®                  êò þØ±-¬¿¹» -·¬«¿¬·±²þ ³»¿²- ¬¸» ¸±´¼·²¹ ±º ¿
        ²±®³¿´ ½±³°»²-¿¬·±²ô ±® ¬¸» ½±-¬- ±º                   °»®-±² ¿¹¿·²-¬ ¬¸»·® ©·´´ ¾§ ¿ °»®°»¬®¿¬±® ±®
        ±¬¸»® °»®-±²- ±® ±®¹¿²·¦¿¬·±²- §±« ¸·®»                °»®°»¬®¿¬±®- ·² ±®¼»® ¬± -»½«®» ¿ -°»½·º·½
        ¬¸¿¬ ¿®» ·²½«®®»¼ ·² ®»-¬±®·²¹ ¬¸»                     ¼»³¿²¼ò
        °®»³·-»- ©¸»®» ¬¸» þ½±ª»®»¼ »ª»²¬þ                  éò þÊ·±´»²¬ »ª»²¬þ ³»¿²- ¿² ¿½¬«¿´ ±®
        ¬±±µ °´¿½» ¬± ¬¸» ½±²¼·¬·±² ·¬ ©¿- ·² °®·±®            ¿¬¬»³°¬»¼ ½®·³·²¿´ ¿½¬ ±® ¿ -»®·»- ±º ®»´¿¬»¼
        ¬± ¬¸» þ½±ª»®»¼ »ª»²¬þå                                ¿½¬«¿´ ±® ¿¬¬»³°¬»¼ ½®·³·²¿´ ¿½¬- °»®°»¬®¿¬»¼
     »ò Ì¸» ´»¿-» ±® ®»²¬¿´ ±º ¬»³°±®¿®§                       ¾§ ±²» ±® ³±®» °»®-±²- ¬¸¿¬ ·²ª±´ª» »¨»®¬·±²
        º¿½·´·¬·»- ¾»·²¹ «-»¼ ·² °´¿½» ±º ®»¿´                 ±º °¸§-·½¿´ º±®½» ¬¸¿¬ ·²º´·½¬- ±® ©¿- ·²¬»²¼»¼
        °®±°»®¬§ ¬¸¿¬ ·- ¾»·²¹ ®»°¿·®»¼ ±®                     ¬± ·²º´·½¬ þ¾±¼·´§ ·²¶«®§þ «°±² ¿²±¬¸»® °»®-±²ò
        ®»°´¿½»¼ ¼«» ¬± ¼·®»½¬ þ°®±°»®¬§                        ß þª·±´»²¬ »ª»²¬þ ¿´-± ·²½´«¼»-æ
        ¼¿³¿¹»þ ¬¸¿¬ ¿®±-» ±«¬ ±º ¿ þ½±ª»®»¼
        »ª»²¬þå ±®                                              ¿ò ß þ¸±-¬¿¹» -·¬«¿¬·±²þå

     ºò   Ú»»- ¿²¼ ½±-¬- §±« ·²½«® ¼«» ¬± ¬¸» «-»               ¾ò þÝ¸·´¼ ¿¾¼«½¬·±² ±® µ·¼²¿°°·²¹þå
          ±º °®±º»--·±²¿´ ½®·-·- ³¿²¿¹»³»²¬ô                    ½ò Ì¸» -¬¿´µ·²¹ ¿²¼ ¿¾¼«½¬·±² ±º ±²» ±®
          °«¾´·½ ®»´¿¬·±²-ô ³»¼·¿ ®»´¿¬·±²- ±®                     ³±®» ±º §±«® -¬«¼»²¬-ô þ»³°´±§»»-þ ±®
          -·³·´¿® º·®³- ·² ±®¼»® ¬± ³·¬·¹¿¬» ¿²§                   ½«-¬±³»®- ¾§ -±³»±²» ±¬¸»® ¬¸¿² ¿
          ²»¹¿¬·ª» °«¾´·½·¬§ ¿²¼ ®»-¬±®» ¬¸» ·³¿¹»                 þº¿³·´§ ³»³¾»®þå ±®
          ±º §±«® ±®¹¿²·¦¿¬·±² ·² ¬¸» °«¾´·½ù- »§» ·²           ¼ò Ì¸» ·²¬»²¬·±²¿´ ½±²¬¿³·²¿¬·±² ±º º±±¼ô
          ¬¸» ©¿µ» ±º ¿ þ½±ª»®»¼ »ª»²¬þò Ì¸·-                      ¾»ª»®¿¹»- ±® °¸¿®³¿½»«¬·½¿´-ò
          ·²½´«¼»- ¬¸» ½±-¬- ±º ¿¼ª»®¬·-·²¹ ½®»¿¬»¼
                                                                ß þª·±´»²¬ »ª»²¬þ -¬¿®¬- ©¸»² ¬¸» º·®-¬ ¿½¬«¿´
          º±® ¬¸±-» °«®°±-»-ò
                                                                ±® ¿¬¬»³°¬»¼ ½®·³·²¿´ ¿½¬ ±® ¬¸» º·®-¬ ±º ¿
     ×º ¬¸» þ½±ª»®»¼ »ª»²¬þ ·- ¿ þª·±´»²¬ »ª»²¬þô               -»®·»- ±º ®»´¿¬»¼ ½®·³·²¿´ ¿½¬- ¾»¹·²-ò ß
     þ½®·-·- ³¿²¿¹»³»²¬ »¨°»²-»-þ ¿´-± ·²½´«¼»                  þª·±´»²¬ »ª»²¬þ »²¼-æ
     ³±²»¬¿®§ ¿³±«²¬- §±« °¿§ º±®æ
                                                                    øï÷ É¸»² ¬¸» ¿½¬ ·- ½±²½´«¼»¼ ¾§ ¬¸»
     ¹ò Ð-§½¸±´±¹·½¿´ ½±«²-»´·²¹          ±®   ±¬¸»®                    °»®°»¬®¿¬±®ø-÷å ±®
        ³»²¬¿´ ¸»¿´¬¸ ¬®»¿¬³»²¬ º±®æ
                                                                    øî÷ É¸»² ¬¸» ´¿-¬ ±º ¿ -»®·»- ±º ¿½¬- ¿®»
          øï÷ Ð»®-±²- -«ºº»®·²¹ þ¾±¼·´§ ·²¶«®§þ ¿-                      ½±²½´«¼»¼ ¾§ ¬¸» °»®°»¬®¿¬±®ø-÷ò
              ¿ ®»-«´¬ ±º ¿ þª·±´»²¬ »ª»²¬þå ±®
                                                            èò þÆ±²» ±º °¸§-·½¿´ ¼¿²¹»®þ ³»¿²- ¬¸» ¿®»¿ ·²
          øî÷ Ð»®-±²- ©¸± ©»®» ·² ¬¸» þ¦±²» ±º                 ©¸·½¸ ¿ °»®-±² ·- ·² ¿½¬«¿´ °¸§-·½¿´ °»®·´
              °¸§-·½¿´ ¼¿²¹»®þ ©¸»² ¬¸» þª·±´»²¬               º®±³ ¬¸» ½±²¼«½¬ ±º ¿²±¬¸»® °»®-±²ò
              »ª»²¬þ ¬±±µ °´¿½»å ±®
     ¸ò Ì¸» ½±-¬- ±º -»½«®·²¹ ¬¸» °®»³·-»-
        ©¸»®» ¬¸» þª·±´»²¬ »ª»²¬þ ¬±±µ °´¿½» ¿²¼
        ¬¸» ½±-¬- ±º ·²½®»¿-»¼ -»½«®·¬§
        °»®-±²²»´ °«¬ ·² °´¿½» ·² ¬¸» ¿º¬»®³¿¬¸
        ±º ¬¸» þª·±´»²¬ »ª»²¬þò




Ð¿¹» ì Case
       ±º ì 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 222
                                                                             Ú±®³ ØÝofðì579
                                                                                         ïè ðê ïï
      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


        Ô×Ó×ÌÛÜ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎ ÒÛÙÔ×ÙÛÒÝÛ
        ÎÛÔßÌÛÜ ÌÑ ÍÛÈËßÔ ßÞËÍÛ ÑÎ ÓÑÔÛÍÌßÌ×ÑÒ ó
                         Ó×ÍÍ×ÍÍ×ÐÐ×
Ì¸» ½±ª»®¿¹» °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬ ¼·ºº»®- -«¾-¬¿²¬·¿´´§ º®±³ ¬¸» ½±ª»®¿¹» °®±ª·¼»¼ «²¼»® ¬¸»
°±´·½§ ¬± ©¸·½¸ ·¬ ·- ¿¬¬¿½¸»¼ò Ð´»¿-» ®»¿¼ ·¬ ª»®§ ½¿®»º«´´§ò

Ì¸» ½±ª»®¿¹» «²¼»® ¬¸·- »²¼±®-»³»²¬ ¿°°´·»- ±²´§ ¬± þ-»¨«¿´ ¿¾«-» ·²¶«®§þ º·®-¬ ±½½«®®·²¹ ±®
½±³³»²½·²¹ ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ ½¿«-»¼ ¾§ ¿ þ©®±²¹º«´ ¿½¬þ ¬± ©¸·½¸ ¬¸·- ·²-«®¿²½» ¿°°´·»-ò Ì¸·-
½±ª»®¿¹» ¼±»- ²±¬ ¿°°´§ ¬± þ-»¨«¿´ ¿¾«-» ·²¶«®§þ º·®-¬ ±½½«®®·²¹ ±® ½±³³»²½·²¹ °®·±® ¬± ¬¸» °±´·½§ °»®·±¼ò
þÍ»¨«¿´ ¿¾«-» ·²¶«®§þ ±½½«®®·²¹ ±ª»® ¬·³» ³¿§ ¾» -«¾¶»½¬ ¬± ¿ -·²¹´» ´·³·¬ ±º ·²-«®¿²½»ò

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ


                                                 ÍÝØÛÜËÔÛ
Í»½¬·±² ×óóÔ·³·¬»¼ Ô·¿¾·´·¬§ Ý±ª»®¿¹» Ú±® Ò»¹´·¹»²½» Î»´¿¬»¼ Ì± Í»¨«¿´ ß¾«-» ±® Ó±´»-¬¿¬·±² Ô·³·¬- ±º
×²-«®¿²½»
Í»¨«¿´ ß¾«-» ×²¶«®§ Ô·³·¬ Ñº ×²-«®¿²½»æ
ü ïôðððôððð

øÍ«¾¶»½¬ ¬± ¿²¼ ¼»°´»¬»- ¬¸» Ù»²»®¿´ ß¹¹®»¹¿¬» Í»¬ Ú±®¬¸ ×² Ì¸» Ð±´·½§ Ü»½´¿®¿¬·±²-÷


×ò   Ô×Ó×ÌÛÜ        Ô×ßÞ×Ô×ÌÇ      ÝÑÊÛÎßÙÛ       ÚÑÎ                  ²±¬ ¿°°´§ò É» ³¿§ ¿¬ ±«® ¼·-½®»¬·±²
     ÒÛÙÔ×ÙÛÒÝÛ ÎÛÔßÌÛÜ ÌÑ ÍÛÈËßÔ ßÞËÍÛ                                ·²ª»-¬·¹¿¬» ¿²§ þ©®±²¹º«´ ¿½¬þ ¿²¼ -»¬¬´»
     ÑÎ ÓÑÔÛÍÌßÌ×ÑÒ                                                    ¿²§ ½´¿·³ ±® þ-«·¬þ ¬¸¿¬ ³¿§ ®»-«´¬ò
     Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± Í»½¬·±² ×  Ý±ª»®¿¹»­æ               ½ò Ì¸» ¿³±«²¬ ©» ©·´´ °¿§ º±® ¼¿³¿¹»- ·-
     ïò ×²-«®·²¹ ß¹®»»³»²¬                                             ´·³·¬»¼ ¿- ¼»-½®·¾»¼ ·² Í»½¬·±² ×ô -«¾ó
                                                                       -»½¬·±² íò Ô·³·¬- ±º ×²-«®¿²½» ±º ¬¸·-
        ¿ò É» ©·´´ °¿§ ±² ¾»¸¿´º ±º ¬¸» ·²-«®»¼ ¬¸±-»                  »²¼±®-»³»²¬ò       Ò± ±¾´·¹¿¬·±² ¬± °¿§
              -«³- ¬¸¿¬ ¬¸» ·²-«®»¼ -¸¿´´ ¾»½±³»                       »¨°»²-»- ±® ¿²§ ±¬¸»® ´·¿¾·´·¬§ ¬± °¿§ -«³-
              ´»¹¿´´§ ±¾´·¹¿¬»¼ ¬± °¿§ ¿- ¼¿³¿¹»- º±®                  ±® °»®º±®³ ¿½¬- ±® -»®ª·½»- ·- ½±ª»®»¼
              þ-»¨«¿´ ¿¾«-» ·²¶«®§þ ¾»½¿«-» ±º ¿                       «²´»-- »¨°´·½·¬´§ °®±ª·¼»¼ º±® «²¼»® ¬¸»
              þ©®±²¹º«´ ¿½¬þ ¬± ©¸·½¸ ¬¸·- »²¼±®-»³»²¬
                                                                       Í«°°´»³»²¬¿®§ Ð¿§³»²¬- -»½¬·±² ±º ¬¸»
              ¿°°´·»-ò
                                                                       °±´·½§ò
        ¾ò É» ©·´´ ¸¿ª» ¬¸» ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼
                                                                    ¼ò Ñ«® ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ »²¼- ©¸»²
              ¬¸» ·²-«®»¼ ¿¹¿·²-¬ ¿²§ ½´¿·³ ±® þ-«·¬þ
                                                                       ©» ¸¿ª» «-»¼ «° ¬¸» ¿°°´·½¿¾´» Ô·³·¬ ±º
              -»»µ·²¹ ¼¿³¿¹»- º±® þ-»¨«¿´ ¿¾«-»
                                                                       ×²-«®¿²½» ·² ¬¸» °¿§³»²¬ ±º ¼¿³¿¹»-
              ·²¶«®§þ ¾»½¿«-» ±º ¿ þ©®±²¹º«´ ¿½¬þ ¬±
                                                                       «²¼»® ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼ ¾§ ¬¸» °±´·½§
              ©¸·½¸     ¬¸·-    »²¼±®-»³»²¬    ¿°°´·»-ò
                                                                       ±® ¬¸·- »²¼±®-»³»²¬ò
              Ø±©»ª»®ô ©» ©·´´ ¸¿ª» ²± ¼«¬§ ¬± ¼»º»²¼
              ¬¸» ·²-«®»¼ ¿¹¿·²-¬ ¿²§ ½´¿·³ ±® þ-«·¬þ               »ò Ì¸»     ½±ª»®¿¹»     °®±ª·¼»¼   ¾§    ¬¸·-
              -»»µ·²¹ ¼¿³¿¹»- º±® ¿²§ ·²¶«®§ ±®                        »²¼±®-»³»²¬ ¿°°´·»- ¬± ¿ þ©®±²¹º«´ ¿½¬þ ±®
              ¼¿³¿¹» ¬± ©¸·½¸ ¬¸·- »²¼±®-»³»²¬ ¼±»-                    þ®»´¿¬»¼ ©®±²¹º«´ ¿½¬þ ±²´§ ·ºæ



Ú±®³ ØÝ ðì íï ïï ðê                                                                                 Ð¿¹» ï ±º í

                                              w îððê Ì¸» Ø¿®¬º±®¼
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             ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º Document    1-4 Filed
                                               ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                          ×²½ò ©·¬¸ ·¬- Page  223 of 579
                                                                                        °»®³·--·±²ò÷
          øï÷ Ì¸» þ©®±²¹º«´ ¿½¬þ ±® þ®»´¿¬»¼ ©®±²¹º«´                ø¾÷ Í»¨«¿´ ³±´»-¬¿¬·±²å
              ¿½¬þ ¬¿µ»- °´¿½» ·² ¬¸» þ½±ª»®¿¹»                      ø½÷ Í»¨«¿´´§     »¨°´·½·¬ô  -»¨«¿´´§
              ¬»®®·¬±®§þå ¿²¼                                            ±®·»²¬»¼ô ±® -»¨«¿´´§ -«¹¹»-¬·ª»
          øî÷ þÍ»¨«¿´ ¿¾«-» ·²¶«®§þ º·®-¬ ±½½«®- ±®                      ´¿²¹«¿¹»ô ·³¿¹»-ô      ¿½¬-   ±®
              ½±³³»²½»- ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ò                        -¬¿¬»³»²¬-å
          Ò± ½±ª»®¿¹» ·- ¿ºº±®¼»¼ ·º ¬¸» þ-»¨«¿´                     ø¼÷ ×²¿°°®±°®·¿¬» ¬±«½¸·²¹ô ·²½´«¼·²¹
          ¿¾«-» ·²¶«®§þô ±® ¿²§ °±®¬·±² ¬¸»®»±ºô º·®-¬                   ¾«¬ ²±¬ ´·³·¬»¼ ¬± ¿²§ µ·--·²¹ ±®
          ±½½«®- ±® ½±³³»²½»- ±«¬-·¼» ±º ¬¸»                             º±²¼´·²¹ ±º ¿²§ ¾±¼·´§ °¿®¬ô
          °±´·½§ °»®·±¼ô ©¸»¬¸»® ±® ²±¬æ                                 ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬±
          ø¿÷ Í»¨«¿´ ¿¾«-» ·²¶«®§ ±® ¿ ©®±²¹º«´ ¿½¬                      ¹»²·¬¿´·¿å
              ©¿­ ½±ª»®»¼ ¾§ ¿²±¬¸»® ·²­«®»®­                       ø»÷ Í»¨«¿´ »¨¸·¾·¬·±²·-³å
              °±´·½§ ±® ©¿- ®»°±®¬»¼ ¬± ¿²±¬¸»®                      øº÷ Ê±§»«®·-³å ±®
              ·²-«®»®å ±®
                                                                     ø¹÷ Ð¸±¬±¹®¿°¸·½ô ¿«¼·±ô ª·¼»± ±®
          ø¾÷ Ì¸» þ-»¨«¿´ ¿¾«-» ·²¶«®§þ ½±²¬·²«»¼ ¬±                     ¼·¹·¬¿´ ®»½±®¼·²¹ ±® ¬¸» -¸±©·²¹ ±º
              ±½½«® º±® ¿ °»®·±¼ ±º ¬·³» ¬¸¿¬ »¨¬»²¼-                    ¿²§ ±º ¬¸» º±®»¹±·²¹
              ·²¬± ¬¸» °±´·½§ °»®·±¼ò
                                                                     ©¸»¬¸»® ·²¶«®§ ·- ·²¬»²¼»¼ ±® ²±¬ò
     ºò   Ú±® ¬¸» °«®°±-» ±º ¬¸» ½±ª»®¿¹» °®±ª·¼»¼
          ¾§ ¬¸·- »²¼±®-»³»²¬ô ¬¸» º±´´±©·²¹                      øí÷ þÍ»¨«¿´ ¿¾«-» ·²¶«®§þ ³»¿²-æ
          ¼»º·²·¬·±²- ¿°°´§æ                                         ø¿÷ þÞ±¼·´§ ×²¶«®§þå
          øï÷ þÉ®±²¹º«´ ¿½¬þ ³»¿²- ¬¸» ²»¹´·¹»²¬æ                    ø¾÷ Ó»²¬¿´ ¿²¹«·-¸        ±®   »³±¬·±²¿´
              ø¿÷ Û³°´±§³»²¬ ±ºå                                         ¼·-¬®»--å
              ø¾÷ ×²ª»-¬·¹¿¬·±² ±ºô    ±®   º¿·´«®» ¬±               ø½÷ Ñ®¿´ô    ©®·¬¬»²  ±®  »´»½¬®±²·½
                  ·²ª»-¬·¹¿¬»å                                           °«¾´·½¿¬·±² ±º ³¿¬»®·¿´ ¬¸¿¬
                                                                         -´¿²¼»®- ±® ´·¾»´- ¿ °»®-±² ±®
              ø½÷ Í«°»®ª·-·±²    ±ºô   ±®   º¿·´«®»   ¬±                 ±®¹¿²·¦¿¬·±²å
                  -«°»®ª·-»å
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              ø¼÷ Î»°±®¬·²¹ ¬± °®±°»® ¿«¬¸±®·¬·»- ±ºô                    °«¾´·½¿¬·±² ±º ³¿¬»®·¿´ ¬¸¿¬
                  ±® º¿·´«®» ¬± -± ®»°±®¬å                               ª·±´¿¬»­ ¿ °»®­±²­ ®·¹¸¬ ±º
              ø»÷ Î»¬»²¬·±² ±ºå ±®                                       °®·ª¿½§å
              øº÷ Ú¿·´«®» ¬± °®±¬»½¬ ±¬¸»®- º®±³ ¬¸»                 ø»÷ É®±²¹º«´ »²¬®§ ·²¬±ô ±® ·²ª¿-·±² ±º
                  ½±²¼«½¬ ±ºæ                                            ¬¸» ®·¹¸¬ ±º °®·ª¿¬» ±½½«°¿²½§ ±º ¿
              §±«®       ±ºº·½»®ø-÷ô       ¼·®»½¬±®ø-÷ô                  ®±±³ô ¼©»´´·²¹ ±® °®»³·-»- ¬¸¿¬ ¿
              »¨»½«¬·ª»ø-÷ô ±® þ»³°´±§»»ø-÷þô ±® §±«®                    °»®-±² ±½½«°·»-ô ½±³³·¬¬»¼ ¾§ ±®
              ¿¹»²¬ø-÷ô              ®»°®»-»²¬¿¬·ª»ø-÷ô                  ±² ¾»¸¿´º ±º ·¬- ±©²»®ô ´¿²¼´±®¼ ±®
              ´·½»²-»»ø-÷ô ·²ª·¬»»ø-÷ô -¬«¼»²¬- ±®                       ´»--±®å ±®
              þª±´«²¬»»® ©±®µ»®ø-÷þ º±® ©¸±-»                        øº÷ Ü·-½®·³·²¿¬·±² ±® ¸«³·´·¿¬·±² ¬¸¿¬
              ½±²¼«½¬ §±« ¿®» ´»¹¿´´§ ®»-°±²-·¾´»ô                       ®»-«´¬- ·² ·²¶«®§ ¬± ¬¸» º»»´·²¹- ±®
              ©¸± ¸¿ª» ¿´´»¹»¼´§ ½±³³·¬¬»¼ þ-»¨«¿´                       ®»°«¬¿¬·±² ±º ¿ ²¿¬«®¿´ °»®-±²
              ¿¾«-»þò ß²§ ¿½¬ ±º þ-»¨«¿´ ¿¾«-»þ ¾§                   ½¿«-»¼ ¾§ þ-»¨«¿´ ¿¾«-»þò
              ¿²§ ·²-«®»¼ô ±® ¿²§ ±¬¸»® ¿½¬ô »®®±® ±®
              ±³·--·±² ²±¬ ¼»-½®·¾»¼ ¿¾±ª»ô ·- ²±¬                øì÷ þÍ«·¬þ ³»¿²- ¿ ½·ª·´ °®±½»»¼·²¹ ·²
              ¿ þ©®±²¹º«´ ¿½¬þ ¿²¼ ·- ²±¬ ½±ª»®»¼ò                    ©¸·½¸ ¼¿³¿¹»- ¾»½¿«-» ±º þ-»¨«¿´
                                                                      ¿¾«-»      ·²¶«®§þ ¬± ©¸·½¸    ¬¸·-
              ß´´ þ©®±²¹º«´ ¿½¬-þ ¬¸¿¬ ·²ª±´ª» ¬¸»                    »²¼±®-»³»²¬ ¿°°´·»- ¿®» ¿´´»¹»¼ò
              -¿³» °»®°»¬®¿¬±® ±º þ-»¨«¿´ ¿¾«-»þô                     þÍ«·¬þ ·²½´«¼»-æ
              ±® °»®°»¬®¿¬±®-ô ·º ¿ °¿®¬·½«´¿® ¿½¬ ±®
              ¿½¬- ±º þ-»¨«¿´ ¿¾«-»þ ¿®» ½±³³·¬¬»¼                   ø¿÷ ß² ¿®¾·¬®¿¬·±² °®±½»»¼·²¹ ·² ©¸·½¸
              ¾§ ³±®» ¬¸¿² ±²» °»®°»¬®¿¬±® ¿½¬·²¹ ·²                     -«½¸ ¼¿³¿¹»- ¿®» ½´¿·³»¼ ¿²¼ ¬±
              ½±²½»®¬ô -¸¿´´ ¾» ¼»»³»¼ ¬± ¾» ±²»                         ©¸·½¸ ¬¸» ·²-«®»¼ ³«-¬ -«¾³·¬ ±®
              þ®»´¿¬»¼ ©®±²¹º«´ ¿½¬þò                                    ¼±»- -«¾³·¬ ©·¬¸ ±«® ½±²-»²¬å ±®
          øî÷ þÍ»¨«¿´ ¿¾«-»þ ³»¿²- ¬¸» º±´´±©·²¹                     ø¾÷ ß²§ ±¬¸»® ¿´¬»®²¿¬·ª» ¼·-°«¬»
              ¿½¬«¿´ô ¬¸®»¿¬»²»¼ ±® ¿¬¬»³°¬»¼ ´»©¼ô                      ®»-±´«¬·±² °®±½»»¼·²¹ ·² ©¸·½¸
              ´¿-½·ª·±«- ±® -»¨«¿´ ½±²¼«½¬æ                              -«½¸ ¼¿³¿¹»- ¿®» ½´¿·³»¼ ¿²¼ ¬±
                                                                         ©¸·½¸ ¬¸» ·²-«®»¼ -«¾³·¬- ©·¬¸
              ø¿÷ Í»¨«¿´ ·²¬»®½±«®-»ô ·²½´«¼·²¹ ¾«¬                      ±«® ½±²-»²¬ò
                  ²±¬ ´·³·¬»¼ ¬± -»¨«¿´ °»²»¬®¿¬·±²
                  ±º ¿²§ ¾±¼·´§ ±®·º·½» ±® °¿®¬å




Ð¿¹» î Case
       ±º í 3:24-cv-00490-FDW-SCR               Document 1-4 Filed 05/21/24 Page 224
                                                                              Ú±®³ ØÝofðì579
                                                                                          íï ïï ðê
  îò Û¨½´«-·±²-                                                      °¿®¬·½«´¿® ¿½¬ ±® ¿½¬- ±º       þ-»¨«¿´
     Ì¸» º±´´±©·²¹ ¿¼¼·¬·±²¿´ »¨½´«-·±²- ¿°°´§ ¬±                    ¿¾«-»þ ¿®» ½±³³·¬¬»¼ ¾§ ³±®» ¬¸¿²
     ¬¸» ½±ª»®¿¹» ¿ºº±®¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬ò                      ±²» °»®°»¬®¿¬±® ¿½¬·²¹ ·² ½±²½»®¬å ±®
     Ì¸» ½±ª»®¿¹» °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬                   øî÷ ß®·-·²¹ ±«¬ ±º »¿½¸ þ©®±²¹º«´ ¿½¬þ ±®
     ¼±»- ²±¬ ¿°°´§ ¬±æ                                              -»®·»- ±º þ®»´¿¬»¼ ©®±²¹º«´ ¿½¬-þò
     ¿ò ß²§ ´·¿¾·´·¬§ ¿--«³»¼ ¾§ ¬¸» ·²-«®»¼ «²¼»®           ¼ò Ì¸» Í»¨«¿´ ß¾«-» ×²¶«®§ Ô·³·¬ ±º
         ¿²§ ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ô ¾«¬ ¬¸·-                    ×²-«®¿²½» -»¬ º±®¬¸ ·² ¬¸» Í½¸»¼«´» ±º ¬¸·-
         »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ´·¿¾·´·¬§ ¬¸¿¬             »²¼±®-»³»²¬ ·- ·² ´·»« ±ºô ¿²¼ ²±¬ ·²
         ¬¸» ·²-«®»¼ ©±«´¼ ¸¿ª» ·² ¬¸» ¿¾-»²½» ±º               ¿¼¼·¬·±² ¬±ô ±¬¸»® ½±ª»®¿¹»ô ·º ¿²§ô
         ¬¸» ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ò                             °®±ª·¼»¼ ¾§ ¬¸» °±´·½§ ø±® ¿²§ ±¬¸»®
     ¾ò Ì¸» ¿½¬- ±® º¿·´«®» ¬± ¿½¬ ±º ¿²§ ·²-«®»¼ô              »²¼±®-»³»²¬- ¬¸»®»¬±÷ ¬± ©¸·½¸ ¬¸·-
         ©¸± °¿®¬·½·°¿¬»¼ ±® ½±²-°·®»¼ ·²ô ¼·®»½¬»¼ô            »²¼±®-»³»²¬ ·- ¿¬¬¿½¸»¼ò Ì¸» ½±ª»®¿¹»
         ±¾-»®ª»¼ ±® µ²±©·²¹´§ ¿´´±©»¼ ¿²§                      °®±ª·¼»¼ ¾§ ¬¸·- »²¼±®-»³»²¬ ·- -«¾¶»½¬ ¬±
         þ-»¨«¿´ ¿¾«-»þò                                        ¬¸» Ù»²»®¿´ ß¹¹®»¹¿¬» Ô·³·¬ ±º ¬¸» °±´·½§ò
                                                                Ð»® ´±½¿¬·±²ô °»® °®±¶»½¬ ±® °»® ½¿³°«-
     ½ò Ú·²»- ±® °»²¿´¬·»- ¿--»--»¼ ·²ô ±® ´»¹¿´
                                                                Ù»²»®¿´ ß¹¹®»¹¿¬» Ô·³·¬-ô ·º ¿²§ô
         ½±-¬- ·²½«®®»¼ ·² ¬¸» ¼»º»²-» ±ºô ¿²§
                                                                ¿°°´·½¿¾´» ¬± ¬¸» °±´·½§ -¸¿´´ ²±¬ ¿°°´§ ¬±
         ½®·³·²¿´ ¿½¬·±²ò
                                                                ¬¸»    ½±ª»®¿¹»      °®±ª·¼»¼    ¾§    ¬¸·-
     ¼ò þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ »¨½»°¬                »²¼±®-»³»²¬ò
         ¿- ³¿§ ¾» -°»½·º·½¿´´§ °®±ª·¼»¼ ·² ¬¸»
         ¼»º·²·¬·±² ±º þ-»¨«¿´ ¿¾«-» ·²¶«®§þò           ××ò ßÜÜ×Ì×ÑÒßÔ ÝÑÒÜ×Ì×ÑÒÍ ßÐÐÔ×ÝßÞÔÛ ÌÑ
                                                            ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ
     »ò ß²§ ½´¿·³ ±® þ-«·¬þ ¾§ ¿²§ ·²-«®»¼ ¿¹¿·²-¬
         ¿²§ ±¬¸»® ·²-«®»¼ò Ì¸·- »¨½´«-·±² ¼±»-           Ì¸» º±´´±©·²¹ ¿¼¼·¬·±²¿´ Ý±²¼·¬·±²- ¿°°´§ ©·¬¸
         ²±¬ ¿°°´§ ¬± ¿ ½´¿·³ ±® þ-«·¬þ ¾§ ¿              ®»-°»½¬ ¬± ¿²§ ½±ª»®¿¹» ¿ºº±®¼»¼ ¾§ ¬¸·-
         þª±´«²¬»»® ©±®µ»®þò                              »²¼±®-»³»²¬ò
     ºò þÍ»¨«¿´ ¿¾«-» ·²¶«®§þ ¬¸¿¬ ·- ½±ª»®»¼ ¾§          ïò Ì¸» º±´´±©·²¹ Ý±²¼·¬·±² ·- ¿¼¼»¼æ
         ¿²§ ±¬¸»® ·²-«®¿²½» ¬¸¿¬ ·- ¿ª¿·´¿¾´» ¬± ¬¸»        É¸»²»ª»® §±« ±® ¿²§ ±ºº·½»®ô ¼·®»½¬±®ô
         ·²-«®»¼ô ±® ¬¸¿¬ ©±«´¼ ¾» ¿ª¿·´¿¾´» ¾«¬ º±®         »¨»½«¬·ª» ±® ¿¼³·²·-¬®¿¬·ª» þ»³°´±§»»þ ±º ¬¸»
         ¬¸» »¨¸¿«-¬·±² ±º ·¬- ´·³·¬-ò Í«½¸ ±¬¸»®            Ò¿³»¼ ×²-«®»¼ -¸¿´´æ
         ·²-«®¿²½» ·²½´«¼»- ¾«¬ ·- ²±¬ ´·³·¬»¼ ¬±
                                                             ¿ò ß½¯«·®» µ²±©´»¼¹» ±º ±® ±¾-»®ª» ¿²§
         Û³°´±§³»²¬ Ð®¿½¬·½»- Ô·¿¾·´·¬§ ×²-«®¿²½»ò
                                                                þ-»¨«¿´ ¿¾«-»þ »·¬¸»® ¿¬¬»³°¬»¼ ±®
  íò Ô·³·¬- ±º ×²-«®¿²½»                                        ½±³³·¬¬»¼ ¾§ ¿²§ ±ºº·½»®ô ¼·®»½¬±®ô
     Ì¸» Ô·³·¬- ±º ×²-«®¿²½» øÍ»½¬·±² ×××÷ ¿®»                  þ»³°´±§»»þô ¿¹»²¬ô ®»°®»-»²¬¿¬·ª»ô ±®
     ³±¼·º·»¼ ¿- º±´´±©-æ                                       þª±´«²¬»»® ©±®µ»®þ ±º ¬¸» Ò¿³»¼ ×²-«®»¼å
     ¿ò ß²§ ¿³±«²¬- ¬¸¿¬ ©» ³¿§ °¿§ «²¼»® ¬¸»                   ¿²¼
         ¬»®³- ±º ¬¸·- »²¼±®-»³»²¬ ¿®» -«¾¶»½¬ ¬±            ¾ò Ú¿·´ ¬± ®»°±®¬ ±® °»®º±®³ ¼«» ¼·´·¹»²½» ·²
         ¿²¼ ·²½´«¼»¼ ©·¬¸·² ¬¸» Ù»²»®¿´                          ¬¸» ·²ª»-¬·¹¿¬·±² ±º -«½¸ þ-»¨«¿´ ¿¾«-»þ
         ß¹¹®»¹¿¬» Ô·³·¬ ±º ¬¸» °±´·½§ -»¬ º±®¬¸ ·²          ¬¸»² §±« ±® ¿²§ -«½¸ ±ºº·½»®ô ¼·®»½¬±®ô
         ¬¸» Ð±´·½§ Ü»½´¿®¿¬·±²- ¿²¼ ®»¼«½» ¬¸»              »¨»½«¬·ª» ±® ¿¼³·²·-¬®¿¬·ª» þ»³°´±§»»þ ±º ¬¸»
         ¿³±«²¬ ±º -«½¸ Ù»²»®¿´ ß¹¹®»¹¿¬» Ô·³·¬ò             Ò¿³»¼ ×²-«®»¼ ¿®» ²± ´±²¹»® ¿² ·²-«®»¼
         Ñ²½» ¬¸» Ù»²»®¿´ ß¹¹®»¹¿¬» Ô·³·¬ ±º ¬¸»             «²¼»® ¬¸» ½±ª»®¿¹» °®±ª·¼»¼ ¾§ ¬¸·-
         °±´·½§ ·- »¨¸¿«-¬»¼ ¾§ ¬¸» °¿§³»²¬ ±º               »²¼±®-»³»²¬ º±® -«¾-»¯«»²¬ ¿½¬- ±®
         ¿³±«²¬-       «²¼»®    ¬¸»    °±´·½§ô   ¬¸·-        ±³·--·±²- ·²ª±´ª·²¹ô ¿®·-·²¹ ±«¬ ±ºô ±® ·² ¿²§
         »²¼±®-»³»²¬ -¸¿´´ ¬»®³·²¿¬»ò                        ©¿§ ®»´¿¬»¼ ¬±ô ¬¸» ¿½¬- ±® ±³·--·±²- ±º -«½¸
     ¾ò þÍ»¨«¿´ ¿¾«-» ·²¶«®§þ -¸¿´´ ¾» -«¾¶»½¬ ¬±            ±ºº·½»®ô    ¼·®»½¬±®ô     þ»³°´±§»»þô     ¿¹»²¬ô
         ±²´§ ±²» Í»¨«¿´ ß¾«-» ×²¶«®§ Ô·³·¬ ±º               ®»°®»-»²¬¿¬·ª» ±® þª±´«²¬»»® ©±®µ»®þò
         ×²-«®¿²½» «²¼»® ¬¸» °±´·½§ ·² ©¸·½¸ ¿²§          îò Í«¾°¿®¿¹®¿°¸ îòº ±º ¬¸» Ü«¬·»- ×² Ì¸» Ûª»²¬
         -«½¸ þ-»¨«¿´ ¿¾«-» ·²¶«®§þ º·®-¬ ±½½«®- ±®          Ñº Ñ½½«®®»²½»ô Ñºº»²-»ô Ý´¿·³ ±® Í«·¬ ·-
         ½±³³»²½»-ò
                                                             ¼»´»¬»¼ ¿²¼ ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
     ½ò Í«¾¶»½¬ ¬± ¿ò ¿²¼ ¾ò ¿¾±ª»ô ¬¸» Í»¨«¿´
                                                             Ð¿®¿¹®¿°¸- ¿ò ¿²¼ ¾ò ¿¾±ª» ±²´§ ¿°°´§ ©¸»²
         ß¾«-» ×²¶«®§ Ô·³·¬ ±º ×²-«®¿²½» -»¬ º±®¬¸ ·²
                                                             ¿²§     ±ºº·½»®ô   ¼·®»½¬±®ô   »¨»½«¬·ª»    ±®
         ¬¸» Í½¸»¼«´» ±º ¬¸·- »²¼±®-»³»²¬ ·- ¬¸»
                                                             ¿¼³·²·-¬®¿¬·ª» þ»³°´±§»»þ ±º ¬¸» Ò¿³»¼
         ³±-¬ ©» ©·´´ °¿§ º±® ¬¸» -«³ ±º ¿´´
                                                             ×²-«®»¼ -¸¿´´ ¿½¯«·®» µ²±©´»¼¹» ±º ¿²§
         ¼¿³¿¹»- ¾»½¿«-» ±º ¿´´ þ-»¨«¿´ ¿¾«-»
                                                             þ-»¨«¿´ ¿¾«-»þ ½±³³·¬¬»¼ ¾§ ¿²§ ±ºº·½»®ô
         ·²¶«®§þæ
                                                             ¼·®»½¬±®ô þ»³°´±§»»þô ¿¹»²¬ô ®»°®»-»²¬¿¬·ª» ±®
         øï÷ ×²ª±´ª·²¹ ¬¸» -¿³» °»®°»¬®¿¬±® ±º               þª±´«²¬»»® ©±®µ»®þ ±º ¬¸» Ò¿³»¼ ×²-«®»¼ò
              þ-»¨«¿´ ¿¾«-»þô ±® °»®°»¬®¿¬±®-ô ·º ¿




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          ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


               ÛÈÝÔËÍ×ÑÒ ó ÌÎßÓÐÑÔ×ÒÛ ßÒÜ ÙÇÓÒßÍÌ×Ý
                       ÎÛÞÑËÒÜ×ÒÙ ÜÛÊ×ÝÛÍ

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

          ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ


Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± ùù¾±¼·´§ ·²¶«®§ùù ¿®·-·²¹ ±«¬ ±º ¬¸»æ
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          Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 226 of 579
                                     Ý±°§®·¹¸¬ô Ø¿®¬º±®¼ Ú·®» ×²-«®¿²½» Ý±³°¿²§ô ïçèé
                                                                                  ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ




        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


        ÛÈÝÔËÍ×ÑÒ ó ÛÈÐÑÍËÎÛÍ ÒÑÌ ÝÑÒÌÛÓÐÔßÌÛÜ ×Ò
               ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ øÊßÝßÒÌ ÔßÒÜ÷

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

        ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ



                                                ÛÈÝÔËÍ×ÑÒ ÍÝØÛÜËÔÛ


    ø¿÷ ùù®»¿´ »-¬¿¬» ¼»ª»´±°³»²¬ °®±°»®¬§ùù
    ø¾÷ ª¿½¿²¬ ´¿²¼ «-»¼ ¾§ °»®-±²- ±¬¸»® ¬¸¿² ¬¸»
        ·²-«®»¼ º±® ¾«-·²»-- °«®°±-»-
    ø½÷ ¸«²¬·²¹ °®»-»®ª»-ò


Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± ùù¾±¼·´§ ·²¶«®§þô ùù°®±°»®¬§ ¼¿³¿¹»ùù ±® ùù°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§ùù ¿®·-·²¹ ±«¬ ±º
¿²§ °®»³·-»-ô ¸¿¦¿®¼- ±® ±°»®¿¬·±²- -¸±©² ·² ¬¸» Û¨½´«-·±² Í½¸»¼«´»ò
Ì¸·- Û¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ¿²§ °®»³·-»-ô ¸¿¦¿®¼- ±® ±°»®¿¬·±² - -°»½·º·½¿´´§ ¼»-½®·¾»¼ ¿- ½±ª»®»¼ ·² ¿ -½¸»¼«´»
º±®³·²¹ ¿ °¿®¬ ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
ùùÎ»¿´ »-¬¿¬» ¼»ª»´±°³»²¬ °®±°»®¬§ùù ³»¿²- ´¿²¼ ·² ¿²§ -¬¿¹» ±º ¿½¬·ª» ¼»ª»´±°³»²¬ò ß½¬·ª» ¼»ª»´±°³»²¬ ·²½´«¼»- -·¬»
°®»°¿®¿¬·±² ©±®µ ¿- ©»´´ ¿- ¿½¬«¿´ ½±²-¬®«½¬·±² ¿½¬·ª·¬·»-ò




Ú±®³ ØÝ îï ïï ðé çè

                                                   w ïççèô Ì¸» Ø¿®¬º±®¼

                        ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ×²-«®¿²½» Í»®ª·½»- Ñºº·½»
        Case 3:24-cv-00490-FDW-SCR          Document 1-4 Filed 05/21/24 Page 227 of 579
                             ©·¬¸ ·¬- °»®³·--·±²ò Ý±°§®·¹¸¬ô ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ïççé÷
      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


     Ô×Ó×ÌßÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ó ÔÛÙßÔ Ô×ßÞ×Ô×ÌÇ ÚÑÎ
                 ÜßÓßÙÛ ÌÑ ÐÎÛÓ×ÍÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ


Ð¿®¿¹®¿°¸ ¿ò ±º ¬¸» ¼»º·²·¬·±² ±º þ·²-«®»¼ ½±²¬®¿½¬þ ·² ¬¸» Ü»º·²·¬·±²- Í»½¬·±² ·- ®»°´¿½»¼ ¾§ ¬¸» º±´´±©·²¹æ
   þ×²-«®»¼ ½±²¬®¿½¬þ ³»¿²-æ
    ¿ò ß ½±²¬®¿½¬ º±® ¿ ´»¿-» ±º °®»³·-»-ò Ø±©»ª»®ô ¬¸¿¬ °±®¬·±² ±º ¬¸» ½±²¬®¿½¬ º±® ¿ ´»¿-» ±º °®»³·-»- ¬¸¿¬
       ·²¼»³²·º·»- ¿²§ °»®-±² ±® ±®¹¿²·¦¿¬·±² º±® ¼¿³¿¹» ¾§ º·®»ô ´·¹¸¬²·²¹ ±® »¨°´±-·±² ¬± °®»³·-»- ©¸·´» ®»²¬»¼
       ¬± §±« ±® ¬»³°±®¿®·´§ ±½½«°·»¼ ¾§ §±« ©·¬¸ °»®³·--·±² ±º ¬¸» ±©²»® ·- ²±¬ ¿² þ·²-«®»¼ ½±²¬®¿½¬þå




Ú±®³ ØÝ îï çê ðê ðë                                                                                     Ð¿¹» ï ±º ï

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                                    îððë Ì¸» Ø¿®¬º±®¼
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     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


            ßÞÍÑÔËÌÛ ÍÛÈËßÔ ßÞËÍÛ ÑÎ ÓÑÔÛÍÌßÌ×ÑÒ
                         ÛÈÝÔËÍ×ÑÒ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ


Ì¸» º±´´±©·²¹ »¨½´«-·±² ·- ¿¼¼»¼ ¬± ¬¸» °±´·½§æ              îò ß²§æ
Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± ¿²§ ·²¶«®§ ±®                      ¿ò Û³°´±§³»²¬ ±ºå
¼¿³¿¹»ô ´±--ô ½±-¬ ±® »¨°»²-»ô ·²½´«¼·²¹ ¾«¬ ²±¬                    ¾ò ×²ª»-¬·¹¿¬·±² ±º ±® º¿·´«®» ¬± ·²ª»-¬·¹¿¬»å
´·³·¬»¼ ¬± þ¾±¼·´§ ·²¶«®§þô þ°®±°»®¬§ ¼¿³¿¹»þ ±®
þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±ºô ±®                ½ò Í«°»®ª·-·±² ±º ±® º¿·´«®» ¬± -«°»®ª·-»å
®»´¿¬·²¹ ¬±ô ·² ©¸±´» ±® ·² °¿®¬æ                                   ¼ò Î»°±®¬·²¹ ¬± ¬¸» °®±°»® ¿«¬¸±®·¬·»- ±ºô ±®
   ïò ß½¬«¿´ô ¬¸®»¿¬»²»¼     ±®   ¿¬¬»³°¬»¼   þ-»¨«¿´                  º¿·´«®» ¬± -± ®»°±®¬å
      ¿¾«-»þò                                                       »ò Î»¬»²¬·±² ±ºå ±®
       þÍ»¨«¿´ ¿¾«-»þ ³»¿²- ´»©¼ô ´¿-½·ª·±«- ±®                     ºò  Ú¿·´«®» ¬± °®±¬»½¬ ±¬¸»®- º®±³ ¬¸» ½±²¼«½¬
       -»¨«¿´ ½±²¼«½¬ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬±æ                    ±º
       ¿ò Í»¨«¿´ ·²¬»®½±«®-»ô ·²½´«¼·²¹ ¾«¬ ²±¬                     ¿²§ °»®-±²ø-÷ ©¸±-» ½±²¼«½¬ ©±«´¼ ¾»
          ´·³·¬»¼ ¬± ¿²§ µ·²¼ ±º -»¨«¿´ °»²»¬®¿¬·±²ô                »¨½´«¼»¼ ¾§ °¿®¿¹®¿°¸ ïò ¿¾±ª»ò
          ±º ¿²§ ¾±¼·´§ ±®·º·½» ±® °¿®¬å
       ¾ò Í»¨«¿´ ³±´»-¬¿¬·±²å
       ½ò Í»¨«¿´´§ »¨°´·½·¬ô -»¨«¿´´§ ±®·»²¬»¼ô ±®
          -»¨«¿´´§ -«¹¹»-¬·ª» ´¿²¹«¿¹»ô ·³¿¹»-ô
          ¿½¬- ±® -¬¿¬»³»²¬-å
       ¼ò ×²¿°°®±°®·¿¬» ¬±«½¸·²¹ô ·²½´«¼·²¹ ¾«¬ ²±¬
          ´·³·¬»¼ ¬± ¿²§ µ·--·²¹ ±® º±²¼´·²¹ ±º ¿²§
          ¾±¼·´§ °¿®¬ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬±
          ¹»²·¬¿´·¿å
       »ò Í»¨«¿´ »¨¸·¾·¬·±²·-³å
       ºò   Ê±§»«®·-³å ±®
       ¹ò Ð¸±¬±¹®¿°¸·½ô ¿«¼·±ô ª·¼»± ±® ¼·¹·¬¿´
          ®»½±®¼·²¹ ±® ¬¸» -¸±©·²¹ ±º ¿²§ ±º ¬¸»
          º±®»¹±·²¹
       ¾§ ¿²§ °»®-±²ø-÷ô ©¸»¬¸»® ·²¶«®§ ·- ·²¬»²¼»¼ ±®
       ²±¬ò




Ú±®³ ØÝ îî íì ðí ðë                                                                                    Ð¿¹» ï ±º ï

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                                     îððìô Ì¸» Ø¿®¬º±®¼
      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


    Ü×ÍÝÎ×Ó×ÒßÌ×ÑÒ ó ßÓÛÒÜÓÛÒÌ ÑÚ ÐÛÎÍÑÒßÔ ßÒÜ
            ßÜÊÛÎÌ×Í×ÒÙ ×ÒÖËÎÇ ÜÛÚ×Ò×Ì×ÑÒ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
    ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ

Ð¿®¿¹®¿°¸ ¸ò ·- ¿¼¼»¼ ¬± ¬¸» ¼»º·²·¬·±² ±º þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿- º±´´±©-æ
¸ò Ü·-½®·³·²¿¬·±² ¬¸¿¬ ®»-«´¬- ·² ¸«³·´·¿¬·±² ±® ±¬¸»® ·²¶«®§ ¬± ¬¸» º»»´·²¹- ±® ®»°«¬¿¬·±² ±º ¿ ²¿¬«®¿´ °»®-±²ô
   °®±ª·¼»¼ ¬¸¿¬ -«½¸ ¼·-½®·³·²¿¬·±² ·- ²±¬ ½±³³·¬¬»¼ ¾§ ±® ¿¬ §±«® ¼·®»½¬·±²ô ±® ¬¸» ¼·®»½¬·±² ±º ¿²§ °¿®¬²»®ô
   ³»³¾»®ô ³¿²¿¹»®ô þ»¨»½«¬·ª» ±ºº·½»®þô ¼·®»½¬±®ô -¬±½µ¸±´¼»® ±® ¬®«-¬»» ±º ¬¸» ·²-«®»¼ò




Ú±®³ ØÝ íð ðê ðç ïê                                                                                 Ð¿¹» ï ±º ï
       Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 230 of 579
                                   îðïêô Ì¸» Ø¿®¬º±®¼
   ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò              øï÷ Ì¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ·-
Î»¿¼ ¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô                 ½¿«-»¼ ¾§ ¿² þ±½½«®®»²½»þ ¬¸¿¬ ¬¿µ»-
¼«¬·»- ¿²¼ ©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò                                °´¿½» ·² ¬¸» þ½±ª»®¿¹» ¬»®®·¬±®§þå
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ ¬¸» ©±®¼- þ§±«þ ¿²¼ þ§±«®þ                 øî÷ Ì¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ
®»º»® ¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸»                               ±½½«®- ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼å ¿²¼
Ü»½´¿®¿¬·±²-ô ¿²¼ ¿²§ ±¬¸»® °»®-±² ±® ±®¹¿²·¦¿¬·±²                øí÷ Ð®·±® ¬± ¬¸» °±´·½§ °»®·±¼ô ²± ·²-«®»¼ ´·-¬»¼
¯«¿´·º§·²¹ ¿- ¿ Ò¿³»¼ ×²-«®»¼ «²¼»® ¬¸·- °±´·½§ò Ì¸»                  «²¼»® Ð¿®¿¹®¿°¸ ïò ±º Í»½¬·±² ×× ó É¸± ×-
©±®¼- þ©»þô þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» -¬±½µ                         ß² ×²-«®»¼ ¿²¼ ²± þ»³°´±§»»þ ¿«¬¸±®·¦»¼
·²-«®¿²½» ½±³°¿²§ ³»³¾»® ±º Ì¸» Ø¿®¬º±®¼                              ¾§ §±« ¬± ¹·ª» ±® ®»½»·ª» ²±¬·½» ±º ¿²
°®±ª·¼·²¹ ¬¸·- ·²-«®¿²½»ò                                             þ±½½«®®»²½»þ ±® ½´¿·³ô µ²»© ¬¸¿¬ ¬¸»
Ì¸» ©±®¼ þ·²-«®»¼þ ³»¿²- ¿²§ °»®-±² ±®                                þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¸¿¼
±®¹¿²·¦¿¬·±² ¯«¿´·º§·²¹ ¿- -«½¸ «²¼»® Í»½¬·±² ×× ó                    ±½½«®®»¼ô ·² ©¸±´» ±® ·² °¿®¬ò ×º -«½¸ ¿
É¸± ×- ß² ×²-«®»¼ò                                                    ´·-¬»¼ ·²-«®»¼ ±® ¿«¬¸±®·¦»¼ þ»³°´±§»»þ
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±²                      µ²»©ô °®·±® ¬± ¬¸» °±´·½§ °»®·±¼ô ¬¸¿¬ ¬¸»
³¿®µ- ¸¿ª» -°»½·¿´ ³»¿²·²¹ò Î»º»® ¬± Í»½¬·±² Ê ó                      þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ
Ü»º·²·¬·±²-ò                                                          ±½½«®®»¼ô ¬¸»² ¿²§ ½±²¬·²«¿¬·±²ô ½¸¿²¹»
                                                                      ±® ®»-«³°¬·±² ±º -«½¸ þ¾±¼·´§ ·²¶«®§þ ±®
ÍÛÝÌ×ÑÒ × ó ÝÑÊÛÎßÙÛÍ                                                 þ°®±°»®¬§ ¼¿³¿¹»þ ¼«®·²¹ ±® ¿º¬»® ¬¸»
ÝÑÊÛÎßÙÛ ß ÞÑÜ×ÔÇ ×ÒÖËÎÇ ßÒÜ ÐÎÑÐÛÎÌÇ                                 °±´·½§ °»®·±¼ ©·´´ ¾» ¼»»³»¼ ¬± ¸¿ª» ¾»»²
ÜßÓßÙÛ Ô×ßÞ×Ô×ÌÇ                                                      µ²±©² °®·±® ¬± ¬¸» °±´·½§ °»®·±¼ò
ïò ×²-«®·²¹ ß¹®»»³»²¬                                          ½ò þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ©·´´ ¾»
   ¿ò É» ©·´´ °¿§ ¬¸±-» -«³- ¬¸¿¬ ¬¸» ·²-«®»¼                      ¼»»³»¼ ¬± ¸¿ª» ¾»»² µ²±©² ¬± ¸¿ª»
       ¾»½±³»- ´»¹¿´´§ ±¾´·¹¿¬»¼ ¬± °¿§ ¿- ¼¿³¿¹»-                 ±½½«®®»¼ ¿¬ ¬¸» »¿®´·»-¬ ¬·³» ©¸»² ¿²§
       ¾»½¿«-» ±º þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§                     ·²-«®»¼ ´·-¬»¼ «²¼»® Ð¿®¿¹®¿°¸ ïò ±º Í»½¬·±² ××
       ¼¿³¿¹»þ ¬± ©¸·½¸ ¬¸·- ·²-«®¿²½» ¿°°´·»-ò É»                 ó É¸± ×- ß² ×²-«®»¼ ±® ¿²§ þ»³°´±§»»þ
      ©·´´ ¸¿ª» ¬¸» ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ ¬¸»                   ¿«¬¸±®·¦»¼ ¾§ §±« ¬± ¹·ª» ±® ®»½»·ª» ²±¬·½» ±º
       ·²-«®»¼ ¿¹¿·²-¬ ¿²§ þ-«·¬þ -»»µ·²¹ ¬¸±-»                    ¿² þ±½½«®®»²½»þ ±® ½´¿·³æ
       ¼¿³¿¹»-ò Ø±©»ª»®ô ©» ©·´´ ¸¿ª» ²± ¼«¬§ ¬±                  øï÷ Î»°±®¬- ¿´´ô ±® ¿²§ °¿®¬ô ±º ¬¸» þ¾±¼·´§
       ¼»º»²¼ ¬¸» ·²-«®»¼ ¿¹¿·²-¬ ¿²§ þ-«·¬þ -»»µ·²¹                  ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¬± «- ±® ¿²§
       ¼¿³¿¹»- º±® þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§                       ±¬¸»® ·²-«®»®å
       ¼¿³¿¹»þ ¬± ©¸·½¸ ¬¸·- ·²-«®¿²½» ¼±»- ²±¬                   øî÷ Î»½»·ª»- ¿ ©®·¬¬»² ±® ª»®¾¿´ ¼»³¿²¼ ±®
       ¿°°´§ò É» ³¿§ô ¿¬ ±«® ¼·-½®»¬·±²ô ·²ª»-¬·¹¿¬»                  ½´¿·³ º±® ¼¿³¿¹»- ¾»½¿«-» ±º ¬¸» þ¾±¼·´§
       ¿²§ þ±½½«®®»²½»þ ¿²¼ -»¬¬´» ¿²§ ½´¿·³ ±® þ-«·¬þ                ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þå ±®
       ¬¸¿¬ ³¿§ ®»-«´¬ò Þ«¬æ
                                                                  øí÷ Þ»½±³»- ¿©¿®» ¾§ ¿²§ ±¬¸»® ³»¿²- ¬¸¿¬
      øï÷ Ì¸» ¿³±«²¬ ©» ©·´´ °¿§ º±® ¼¿³¿¹»- ·-                       þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¸¿-
          ´·³·¬»¼ ¿- ¼»-½®·¾»¼ ·² Í»½¬·±² ××× ó Ô·³·¬-                ±½½«®®»¼ ±® ¸¿- ¾»¹«² ¬± ±½½«®ò
          Ñº ×²-«®¿²½»å ¿²¼
                                                               ¼ò Ü¿³¿¹»- ¾»½¿«-» ±º þ¾±¼·´§ ·²¶«®§þ ·²½´«¼»
      øî÷ Ñ«® ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ »²¼- ©¸»²                  ¼¿³¿¹»- ½´¿·³»¼ ¾§ ¿²§ °»®-±² ±®
          ©» ¸¿ª» «-»¼ «° ¬¸» ¿°°´·½¿¾´» ´·³·¬ ±º                 ±®¹¿²·¦¿¬·±² º±® ½¿®»ô ´±-- ±º -»®ª·½»- ±®
          ·²-«®¿²½» ·² ¬¸» °¿§³»²¬ ±º ¶«¼¹³»²¬- ±®                ¼»¿¬¸ ®»-«´¬·²¹ ¿¬ ¿²§ ¬·³» º®±³ ¬¸» þ¾±¼·´§
          -»¬¬´»³»²¬- «²¼»® Ý±ª»®¿¹»- ß ±® Þ ±®                   ·²¶«®§þò
          ³»¼·½¿´ »¨°»²-»- «²¼»® Ý±ª»®¿¹» Ýò
                                                               »ò ×²½·¼»²¬¿´ Ó»¼·½¿´ Ó¿´°®¿½¬·½» ß²¼ Ù±±¼
      Ò± ±¬¸»® ±¾´·¹¿¬·±² ±® ´·¿¾·´·¬§ ¬± °¿§ -«³- ±®             Í¿³¿®·¬¿² Ý±ª»®¿¹»
      °»®º±®³ ¿½¬- ±® -»®ª·½»- ·- ½±ª»®»¼ «²´»--
      »¨°´·½·¬´§ °®±ª·¼»¼ º±® «²¼»® Í«°°´»³»²¬¿®§                 þÞ±¼·´§ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º ¬¸» ®»²¼»®·²¹ ±º
      Ð¿§³»²¬- ó Ý±ª»®¿¹»- ß ¿²¼ Þò                               ±® º¿·´«®» ¬± ®»²¼»® ¬¸» º±´´±©·²¹ ¸»¿´¬¸ ½¿®»
                                                                  -»®ª·½»- ¾§ ¿²§ þ»³°´±§»»þ ±® þª±´«²¬»»®
   ¾ò Ì¸·- ·²-«®¿²½» ¿°°´·»- ¬± þ¾±¼·´§ ·²¶«®§þ ¿²¼               ©±®µ»®þ -¸¿´´ ¾» ¼»»³»¼ ¬± ¾» ½¿«-»¼ ¾§ ¿²
      þ°®±°»®¬§ ¼¿³¿¹»þ ±²´§ ·ºæ                                  þ±½½«®®»²½»þ º±®æ

ØÙ ðð ðï ðç ïê                                                                                      Ð¿¹» ï ±º îï
                                            w îðïê Ì¸» Ø¿®¬º±®¼
       Case 3:24-cv-00490-FDW-SCR
            ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º Document    1-4 Filed
                                              ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô05/21/24
                                                                         ×²½ò ©·¬¸ ·¬- Page  231 of 579
                                                                                       °»®³·--·±²ò÷
     øï÷ Ð®±º»--·±²¿´ ¸»¿´¬¸ ½¿®» -»®ª·½»- -«½¸ ¿-æ                ø¿÷ Ô·¿¾·´·¬§ ¬± -«½¸ °¿®¬§ º±®ô ±® º±® ¬¸»
         ø¿÷ Ó»¼·½¿´ô -«®¹·½¿´ô ¼»²¬¿´ô ´¿¾±®¿¬±®§ô ¨ó                 ½±-¬ ±ºô ¬¸¿¬ °¿®¬§ù- ¼»º»²-» ¸¿- ¿´-±
             ®¿§ ±® ²«®-·²¹ -»®ª·½»- ±® ¬®»¿¬³»²¬ô                     ¾»»² ¿--«³»¼ ·² ¬¸» -¿³» þ·²-«®»¼
             ¿¼ª·½» ±® ·²-¬®«½¬·±²ô ±® ¬¸» ®»´¿¬»¼                     ½±²¬®¿½¬þå ¿²¼
             º«®²·-¸·²¹ ±º º±±¼ ±® ¾»ª»®¿¹»-å                      ø¾÷ Í«½¸ ¿¬¬±®²»§ º»»- ¿²¼ ´·¬·¹¿¬·±²
         ø¾÷ ß²§ ¸»¿´¬¸ ±® ¬¸»®¿°»«¬·½ -»®ª·½»ô                        »¨°»²-»- ¿®» º±® ¼»º»²-» ±º ¬¸¿¬ °¿®¬§
             ¬®»¿¬³»²¬ô ¿¼ª·½» ±® ·²-¬®«½¬·±²å ±®                      ¿¹¿·²-¬ ¿ ½·ª·´ ±® ¿´¬»®²¿¬·ª» ¼·-°«¬»
                                                                       ®»-±´«¬·±²    °®±½»»¼·²¹    ·²    ©¸·½¸
         ø½÷ Ì¸» º«®²·-¸·²¹ ±® ¼·-°»²-·²¹ ±º ¼®«¹-                     ¼¿³¿¹»- ¬± ©¸·½¸ ¬¸·- ·²-«®¿²½»
             ±® ³»¼·½¿´ô ¼»²¬¿´ô ±® -«®¹·½¿´ -«°°´·»-                  ¿°°´·»- ¿®» ¿´´»¹»¼ò
             ±® ¿°°´·¿²½»-å ±®
                                                            ½ò Ô·¯«±® Ô·¿¾·´·¬§
     øî÷ Ú·®-¬ ¿·¼ -»®ª·½»-ô ©¸·½¸ ·²½´«¼»æ
                                                                þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ º±® ©¸·½¸
         ø¿÷ Ý¿®¼·±°«´³±²¿®§       ®»-«-½·¬¿¬·±²ô               ¿²§ ·²-«®»¼ ³¿§ ¾» ¸»´¼ ´·¿¾´» ¾§ ®»¿-±² ±ºæ
             ©¸»¬¸»® °»®º±®³»¼ ³¿²«¿´´§ ±® ©·¬¸ ¿
             ¼»º·¾®·´´¿¬±®å ±®                                 øï÷ Ý¿«-·²¹ ±® ½±²¬®·¾«¬·²¹ ¬± ¬¸» ·²¬±¨·½¿¬·±²
                                                                   ±º ¿²§ °»®-±²å
         ø¾÷ Í»®ª·½»- °»®º±®³»¼ ¿- ¿ Ù±±¼
             Í¿³¿®·¬¿²ò                                        øî÷ Ì¸» º«®²·-¸·²¹ ±º ¿´½±¸±´·½ ¾»ª»®¿¹»- ¬± ¿
                                                                   °»®-±² «²¼»® ¬¸» ´»¹¿´ ¼®·²µ·²¹ ¿¹» ±®
      Ú±® ¬¸» °«®°±-» ±º ¼»¬»®³·²·²¹ ¬¸» ´·³·¬- ±º                 «²¼»® ¬¸» ·²º´«»²½» ±º ¿´½±¸±´å ±®
      ·²-«®¿²½»ô ¿²§ ¿½¬ ±® ±³·--·±² ¬±¹»¬¸»® ©·¬¸
      ¿´´ ®»´¿¬»¼ ¿½¬- ±® ±³·--·±²- ·² ¬¸» º«®²·-¸·²¹          øí÷ ß²§ -¬¿¬«¬»ô ±®¼·²¿²½» ±® ®»¹«´¿¬·±²
      ±º ¬¸»-» -»®ª·½»- ¬± ¿²§ ±²» °»®-±² ©·´´ ¾»                  ®»´¿¬·²¹ ¬± ¬¸» -¿´»ô ¹·º¬ô ¼·-¬®·¾«¬·±² ±® «-»
      ½±²-·¼»®»¼ ±²» þ±½½«®®»²½»þò                                 ±º ¿´½±¸±´·½ ¾»ª»®¿¹»-ò
      Ø±©»ª»®ô ¬¸·- ×²½·¼»²¬¿´ Ó»¼·½¿´ Ó¿´°®¿½¬·½»             Ì¸·- »¨½´«-·±² ¿°°´·»- »ª»² ·º ¬¸» ½´¿·³-
      ß²¼ Ù±±¼ Í¿³¿®·¬¿² Ý±ª»®¿¹» °®±ª·-·±²                    ¿¹¿·²-¬ ¿²§ ·²-«®»¼ ¿´´»¹» ²»¹´·¹»²½» ±®
      ¿°°´·»- ±²´§ ·º §±« ¿®» ²±¬ »²¹¿¹»¼ ·² ¬¸»               ±¬¸»® ©®±²¹¼±·²¹ ·²æ
      ¾«-·²»-- ±® ±½½«°¿¬·±² ±º °®±ª·¼·²¹ ¿²§ ±º ¬¸»              ø¿÷ Ì¸» -«°»®ª·-·±²ô ¸·®·²¹ô »³°´±§³»²¬ô
      -»®ª·½»- ¼»-½®·¾»¼ ·² ¬¸·- °®±ª·-·±²ò                           ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®- ¾§ ¬¸¿¬
îò Û¨½´«-·±²-                                                         ·²-«®»¼å ±®
   Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ                              ø¾÷ Ð®±ª·¼·²¹ ±® º¿·´·²¹ ¬± °®±ª·¼»
                                                                      ¬®¿²-°±®¬¿¬·±² ©·¬¸ ®»-°»½¬ ¬± ¿²§
   ¿ò Û¨°»½¬»¼ Ñ® ×²¬»²¼»¼ ×²¶«®§                                     °»®-±² ¬¸¿¬ ³¿§ ¾» «²¼»® ¬¸» ·²º´«»²½»
      þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ »¨°»½¬»¼                   ±º ¿´½±¸±´å
      ±® ·²¬»²¼»¼ º®±³ ¬¸» -¬¿²¼°±·²¬ ±º ¬¸»                   ·º ¬¸» þ±½½«®®»²½»þ ©¸·½¸ ½¿«-»¼ ¬¸» þ¾±¼·´§
      ·²-«®»¼ò Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±                ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þô ·²ª±´ª»¼ ¬¸¿¬
      þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ®»-«´¬·²¹           ©¸·½¸ ·- ¼»-½®·¾»¼ ·² Ð¿®¿¹®¿°¸ øï÷ô øî÷ ±® øí÷
      º®±³ ¬¸» «-» ±º ®»¿-±²¿¾´» º±®½» ¬± °®±¬»½¬              ¿¾±ª»ò
      °»®-±²- ±® °®±°»®¬§ò
                                                               Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ¿°°´·»- ±²´§ ·º §±«
   ¾ò Ý±²¬®¿½¬«¿´ Ô·¿¾·´·¬§                                    ¿®» ·² ¬¸» ¾«-·²»-- ±º ³¿²«º¿½¬«®·²¹ô
      þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ º±® ©¸·½¸           ¼·-¬®·¾«¬·²¹ô -»´´·²¹ô -»®ª·²¹ ±® º«®²·-¸·²¹
      ¬¸» ·²-«®»¼ ·- ±¾´·¹¿¬»¼ ¬± °¿§ ¼¿³¿¹»- ¾§               ¿´½±¸±´·½ ¾»ª»®¿¹»-ò Ú±® ¬¸» °«®°±-»- ±º ¬¸·-
      ®»¿-±² ±º ¬¸» ¿--«³°¬·±² ±º ´·¿¾·´·¬§ ·² ¿               »¨½´«-·±²ô °»®³·¬¬·²¹ ¿ °»®-±² ¬± ¾®·²¹
      ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ò Ì¸·- »¨½´«-·±² ¼±»-               ¿´½±¸±´·½ ¾»ª»®¿¹»- ±² §±«® °®»³·-»-ô º±®
      ²±¬ ¿°°´§ ¬± ´·¿¾·´·¬§ º±® ¼¿³¿¹»-æ                      ½±²-«³°¬·±² ±² §±«® °®»³·-»-ô ©¸»¬¸»® ±®
      øï÷ Ì¸¿¬ ¬¸» ·²-«®»¼ ©±«´¼ ¸¿ª» ·² ¬¸»                   ²±¬ ¿ º»» ·- ½¸¿®¹»¼ ±® ¿ ´·½»²-» ·- ®»¯«·®»¼
          ¿¾-»²½» ±º ¬¸» ½±²¬®¿½¬ ±® ¿¹®»»³»²¬å ±®             º±® -«½¸ ¿½¬·ª·¬§ô ·- ²±¬ ¾§ ·¬-»´º ½±²-·¼»®»¼ ¬¸»
                                                               ¾«-·²»-- ±º -»´´·²¹ô -»®ª·²¹ ±® º«®²·-¸·²¹
      øî÷ ß--«³»¼ ·² ¿ ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ ¬¸¿¬
                                                               ¿´½±¸±´·½ ¾»ª»®¿¹»-ò
          ·- ¿² þ·²-«®»¼ ½±²¬®¿½¬þô °®±ª·¼»¼ ¬¸»
          þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ              ¼ò É±®µ»®-ù Ý±³°»²-¿¬·±² ß²¼ Í·³·´¿® Ô¿©-
          ±½½«®- -«¾-»¯«»²¬ ¬± ¬¸» »¨»½«¬·±² ±º ¬¸»            ß²§ ±¾´·¹¿¬·±² ±º ¬¸» ·²-«®»¼ «²¼»® ¿ ©±®µ»®-ù
          ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ò Í±´»´§ º±® ¬¸»                ½±³°»²-¿¬·±²ô       ¼·-¿¾·´·¬§  ¾»²»º·¬-   ±®
          °«®°±-»- ±º ´·¿¾·´·¬§ ¿--«³»¼ ·² ¿²                  «²»³°´±§³»²¬ ½±³°»²-¿¬·±² ´¿© ±® ¿²§
          þ·²-«®»¼ ½±²¬®¿½¬þô ®»¿-±²¿¾´» ¿¬¬±®²»§              -·³·´¿® ´¿©ò
          º»»- ¿²¼ ²»½»--¿®§ ´·¬·¹¿¬·±² »¨°»²-»-            »ò Û³°´±§»®ù- Ô·¿¾·´·¬§
          ·²½«®®»¼ ¾§ ±® º±® ¿ °¿®¬§ ±¬¸»® ¬¸¿² ¿²
          ·²-«®»¼ ¿®» ¼»»³»¼ ¬± ¾» ¼¿³¿¹»-                     þÞ±¼·´§ ·²¶«®§þ ¬±æ
          ¾»½¿«-» ±º þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§              øï÷ ß² þ»³°´±§»»þ ±º ¬¸» ·²-«®»¼ ¿®·-·²¹ ±«¬ ±º
          ¼¿³¿¹»þô °®±ª·¼»¼æ                                       ¿²¼ ·² ¬¸» ½±«®-» ±ºæ


Ð¿¹» î Case
       ±º îï 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 232ØÙ
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                                                                                        ðð ðï ðç ïê
         ø¿÷ Û³°´±§³»²¬ ¾§ ¬¸» ·²-«®»¼å ±®                        ø½÷ É¸·½¸ ¿®» ±® ©»®» ¿¬ ¿²§ ¬·³»
         ø¾÷ Ð»®º±®³·²¹ ¼«¬·»- ®»´¿¬»¼ ¬± ¬¸»                         ¬®¿²-°±®¬»¼ô ¸¿²¼´»¼ô -¬±®»¼ô ¬®»¿¬»¼ô
             ½±²¼«½¬ ±º ¬¸» ·²-«®»¼ù- ¾«-·²»--å ±®                    ¼·-°±-»¼ ±ºô ±® °®±½»--»¼ ¿- ©¿-¬» ¾§
    øî÷ Ì¸» -°±«-»ô ½¸·´¼ô °¿®»²¬ô ¾®±¬¸»® ±® -·-¬»®                  ±® º±®æ
         ±º ¬¸¿¬ þ»³°´±§»»þ ¿- ¿ ½±²-»¯«»²½» ±º                       ø·÷ ß²§ ·²-«®»¼å ±®
         Ð¿®¿¹®¿°¸ øï÷ ¿¾±ª»ò                                        ø··÷ ß²§ °»®-±² ±® ±®¹¿²·¦¿¬·±² º±®
      Ì¸·- »¨½´«-·±² ¿°°´·»-æ                                             ©¸±³ §±« ³¿§ ¾» ´»¹¿´´§
    øï÷ É¸»¬¸»® ¬¸» ·²-«®»¼ ³¿§ ¾» ´·¿¾´» ¿- ¿²                           ®»-°±²-·¾´»å
         »³°´±§»® ±® ·² ¿²§ ±¬¸»® ½¿°¿½·¬§å ¿²¼                   ø¼÷ ß¬ ±® º®±³ ¿²§ °®»³·-»-ô -·¬» ±®
    øî÷ Ì± ¿²§ ±¾´·¹¿¬·±² ¬± -¸¿®» ¼¿³¿¹»- ©·¬¸                       ´±½¿¬·±² ±² ©¸·½¸ ¿²§ ·²-«®»¼ ±® ¿²§
         ±® ®»°¿§ -±³»±²» »´-» ©¸± ³«-¬ °¿§                           ½±²¬®¿½¬±®- ±® -«¾½±²¬®¿½¬±®- ©±®µ·²¹
         ¼¿³¿¹»- ¾»½¿«-» ±º ¬¸» ·²¶«®§ò                               ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ±² ¿²§ ·²-«®»¼ù-
      Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ´·¿¾·´·¬§                      ¾»¸¿´º ¿®» °»®º±®³·²¹ ±°»®¿¬·±²- ·º ¬¸»
      ¿--«³»¼ ¾§ ¬¸» ·²-«®»¼ «²¼»® ¿² þ·²-«®»¼                        þ°±´´«¬¿²¬-þ ¿®» ¾®±«¹¸¬ ±² ±® ¬± ¬¸»
      ½±²¬®¿½¬þò                                                      °®»³·-»-ô -·¬» ±® ´±½¿¬·±² ·² ½±²²»½¬·±²
                                                                      ©·¬¸ -«½¸ ±°»®¿¬·±²- ¾§ -«½¸ ·²-«®»¼ô
  ºò Ð±´´«¬·±²                                                        ½±²¬®¿½¬±® ±® -«¾½±²¬®¿½¬±®ò Ø±©»ª»®ô
     øï÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ                         ¬¸·- -«¾°¿®¿¹®¿°¸ ¼±»- ²±¬ ¿°°´§ ¬±æ
         ¿®·-·²¹ ±«¬ ±º ¬¸» ¿½¬«¿´ô ¿´´»¹»¼ ±®                        ø·÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ
         ¬¸®»¿¬»²»¼ ¼·-½¸¿®¹»ô ¼·-°»®-¿´ô -»»°¿¹»ô
                                                                          ¿®·-·²¹ ±«¬ ±º ¬¸» »-½¿°» ±º º«»´-ô
         ³·¹®¿¬·±²ô     ®»´»¿-»      ±®   »-½¿°»    ±º
                                                                          ´«¾®·½¿²¬- ±® ±¬¸»® ±°»®¿¬·²¹ º´«·¼-
         þ°±´´«¬¿²¬-þæ
                                                                          ©¸·½¸ ¿®» ²»»¼»¼ ¬± °»®º±®³ ¬¸»
         ø¿÷ ß¬ ±® º®±³ ¿²§ °®»³·-»-ô -·¬» ±®                             ²±®³¿´ »´»½¬®·½¿´ô ¸§¼®¿«´·½ ±®
             ´±½¿¬·±² ©¸·½¸ ·- ±® ©¿- ¿¬ ¿²§ ¬·³»                         ³»½¸¿²·½¿´ º«²½¬·±²- ²»½»--¿®§ º±®
             ±©²»¼ ±® ±½½«°·»¼ ¾§ô ±® ®»²¬»¼ ±®                           ¬¸» ±°»®¿¬·±² ±º þ³±¾·´» »¯«·°³»²¬þ
             ´±¿²»¼ ¬±ô ¿²§ ·²-«®»¼ò Ø±©»ª»®ô ¬¸·-                        ±® ·¬- °¿®¬-ô ·º -«½¸ º«»´-ô ´«¾®·½¿²¬-
             -«¾°¿®¿¹®¿°¸ ¼±»- ²±¬ ¿°°´§ ¬±æ                              ±® ±¬¸»® ±°»®¿¬·²¹ º´«·¼- »-½¿°»
             ø·÷ þÞ±¼·´§ ·²¶«®§þ ·º -«-¬¿·²»¼ ©·¬¸·² ¿                    º®±³ ¿ ª»¸·½´» °¿®¬ ¼»-·¹²»¼ ¬±
                 ¾«·´¼·²¹ ¿²¼ ½¿«-»¼ ¾§ -³±µ»ô                            ¸±´¼ô -¬±®» ±® ®»½»·ª» ¬¸»³ò Ì¸·-
                 º«³»-ô ª¿°±® ±® -±±¬ °®±¼«½»¼ ¾§                         »¨½»°¬·±² ¼±»- ²±¬ ¿°°´§ ·º ¬¸»
                 ±® ±®·¹·²¿¬·²¹ º®±³ »¯«·°³»²¬ ¬¸¿¬                       þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ
                 ·- «-»¼ ¬± ¸»¿¬ô ½±±´ ±® ¼»¸«³·¼·º§                      ¿®·-»- ±«¬ ±º ¬¸» ·²¬»²¬·±²¿´
                 ¬¸» ¾«·´¼·²¹ô ±® »¯«·°³»²¬ ¬¸¿¬ ·-                       ¼·-½¸¿®¹»ô ¼·-°»®-¿´ ±® ®»´»¿-» ±º
                 «-»¼ ¬± ¸»¿¬ ©¿¬»® º±® °»®-±²¿´                          ¬¸» º«»´-ô ´«¾®·½¿²¬- ±® ±¬¸»®
                 «-»ô ¾§ ¬¸» ¾«·´¼·²¹ù- ±½½«°¿²¬- ±®                      ±°»®¿¬·²¹ º´«·¼-ô ±® ·º -«½¸ º«»´-ô
                 ¬¸»·® ¹«»-¬-å                                            ´«¾®·½¿²¬- ±® ±¬¸»® ±°»®¿¬·²¹ º´«·¼-
            ø··÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ                     ¿®» ¾®±«¹¸¬ ±² ±® ¬± ¬¸» °®»³·-»-ô
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                 §±« ¿®» ¿ ½±²¬®¿½¬±® ¿²¼ ¬¸» ±©²»®                       ¬¸»§ ¾» ¼·-½¸¿®¹»¼ô ¼·-°»®-»¼ ±®
                 ±® ´»--»» ±º -«½¸ °®»³·-»-ô -·¬» ±®                      ®»´»¿-»¼ ¿- °¿®¬ ±º ¬¸» ±°»®¿¬·±²-
                 ´±½¿¬·±² ¸¿- ¾»»² ¿¼¼»¼ ¬± §±«®                          ¾»·²¹ °»®º±®³»¼ ¾§ -«½¸ ·²-«®»¼ô
                 °±´·½§ ¿- ¿² ¿¼¼·¬·±²¿´ ·²-«®»¼ ©·¬¸                     ½±²¬®¿½¬±® ±® -«¾½±²¬®¿½¬±®å
                 ®»-°»½¬ ¬± §±«® ±²¹±·²¹ ±°»®¿¬·±²-                  ø··÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ
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                 ·²-«®»¼ ¿¬ ¬¸¿¬ °®»³·-»-ô -·¬» ±®                        ½¿«-»¼ ¾§ ¬¸» ®»´»¿-» ±º ¹¿-»-ô
                 ´±½¿¬·±² ¿²¼ -«½¸ °®»³·-»-ô -·¬» ±®                      º«³»- ±® ª¿°±®- º®±³ ³¿¬»®·¿´-
                 ´±½¿¬·±² ·- ²±¬ ¿²¼ ²»ª»® ©¿-                            ¾®±«¹¸¬ ·²¬± ¬¸¿¬ ¾«·´¼·²¹ ·²
                 ±©²»¼ ±® ±½½«°·»¼ ¾§ô ±® ®»²¬»¼ ±®                       ½±²²»½¬·±² ©·¬¸ ±°»®¿¬·±²- ¾»·²¹
                 ´±¿²»¼ ¬±ô ¿²§ ·²-«®»¼ô ±¬¸»® ¬¸¿²                       °»®º±®³»¼ ¾§ §±« ±® ±² §±«® ¾»¸¿´º
                 ¬¸¿¬ ¿¼¼·¬·±²¿´ ·²-«®»¼å ±®                              ¾§ ¿ ½±²¬®¿½¬±® ±® -«¾½±²¬®¿½¬±®å ±®
           ø···÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ               ø···÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ
                 ¿®·-·²¹ ±«¬ ±º ¸»¿¬ô -³±µ» ±® º«³»-                      ¿®·-·²¹ ±«¬ ±º ¸»¿¬ô -³±µ» ±® º«³»-
                 º®±³ ¿ þ¸±-¬·´» º·®»þå                                   º®±³ ¿ þ¸±-¬·´» º·®»þå ±®
         ø¾÷ ß¬ ±® º®±³ ¿²§ °®»³·-»-ô -·¬» ±®                     ø»÷ ß¬ ±® º®±³ ¿²§ °®»³·-»-ô -·¬» ±®
             ´±½¿¬·±² ©¸·½¸ ·- ±® ©¿- ¿¬ ¿²§ ¬·³»                     ´±½¿¬·±² ±² ©¸·½¸ ¿²§ ·²-«®»¼ ±® ¿²§
             «-»¼ ¾§ ±® º±® ¿²§ ·²-«®»¼ ±® ±¬¸»®- º±®                 ½±²¬®¿½¬±®- ±® -«¾½±²¬®¿½¬±®- ©±®µ·²¹
             ¬¸» ¸¿²¼´·²¹ô -¬±®¿¹»ô ¼·-°±-¿´ô                         ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ±² ¿²§ ·²-«®»¼ù-
             °®±½»--·²¹ ±® ¬®»¿¬³»²¬ ±º ©¿-¬»å                        ¾»¸¿´º ¿®» °»®º±®³·²¹ ±°»®¿¬·±²- ·º ¬¸»

      Case
ØÙ ðð ðï     3:24-cv-00490-FDW-SCR
         ðç ïê                                  Document 1-4 Filed 05/21/24 Page 233 ofÐ¿¹»
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              ±°»®¿¬·±²- ¿®» ¬± ¬»-¬ º±®ô ³±²·¬±®ô               øì÷ Ô·¿¾·´·¬§ ¿--«³»¼ «²¼»® ¿²§ þ·²-«®»¼
              ½´»¿² «°ô ®»³±ª»ô ½±²¬¿·²ô ¬®»¿¬ô                       ½±²¬®¿½¬þ º±® ¬¸» ±©²»®-¸·°ô ³¿·²¬»²¿²½»
              ¼»¬±¨·º§ ±® ²»«¬®¿´·¦»ô ±® ·² ¿²§ ©¿§                   ±® «-» ±º ¿·®½®¿º¬ ±® ©¿¬»®½®¿º¬å
              ®»-°±²¼ ¬±ô ±® ¿--»-- ¬¸» »ºº»½¬- ±ºô              øë÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ
              þ°±´´«¬¿²¬-þò                                           ¿®·-·²¹ ±«¬ ±ºæ
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         ¿²§æ                                                             »¯«·°³»²¬ ¬¸¿¬ ·- ¿¬¬¿½¸»¼ ¬±ô ±® °¿®¬
         ø¿÷ Î»¯«»-¬ô ¼»³¿²¼ô ±®¼»® ±® -¬¿¬«¬±®§ ±®                       ±ºô ¿ ´¿²¼ ª»¸·½´» ¬¸¿¬ ©±«´¼ ¯«¿´·º§
              ®»¹«´¿¬±®§ ®»¯«·®»³»²¬ ¬¸¿¬ ¿²§                             «²¼»® ¬¸» ¼»º·²·¬·±² ±º þ³±¾·´»
              ·²-«®»¼ ±® ±¬¸»®- ¬»-¬ º±®ô ³±²·¬±®ô                        »¯«·°³»²¬þ ·º ·¬ ©»®» ²±¬ -«¾¶»½¬ ¬± ¿
              ½´»¿² «°ô ®»³±ª»ô ½±²¬¿·²ô ¬®»¿¬ô                           ½±³°«´-±®§ ±® º·²¿²½·¿´ ®»-°±²-·¾·´·¬§
              ¼»¬±¨·º§ ±® ²»«¬®¿´·¦»ô ±® ·² ¿²§ ©¿§                       ´¿© ±® ±¬¸»® ³±¬±® ª»¸·½´» ·²-«®¿²½»
              ®»-°±²¼ ¬±ô ±® ¿--»-- ¬¸» »ºº»½¬- ±ºô                       ´¿© ©¸»®» ·¬ ·- ´·½»²-»¼ ±® °®·²½·°¿´´§
              þ°±´´«¬¿²¬-þå ±®                                            ¹¿®¿¹»¼å ±®
         ø¾÷ Ý´¿·³ ±® -«·¬ ¾§ ±® ±² ¾»¸¿´º ±º ¿                     ø¾÷ Ì¸» ±°»®¿¬·±² ±º ¿²§ ±º ¬¸» ³¿½¸·²»®§
              ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ º±® ¼¿³¿¹»-                          ±® »¯«·°³»²¬ ´·-¬»¼ ·² Ð¿®¿¹®¿°¸ ºòøî÷
              ¾»½¿«-» ±º ¬»-¬·²¹ º±®ô ³±²·¬±®·²¹ô                         ±® ºòøí÷ ±º ¬¸» ¼»º·²·¬·±² ±º þ³±¾·´»
              ½´»¿²·²¹ «°ô ®»³±ª·²¹ô ½±²¬¿·²·²¹ô                          »¯«·°³»²¬þå ±®
              ¬®»¿¬·²¹ô ¼»¬±¨·º§·²¹ ±® ²»«¬®¿´·¦·²¹ô ±®         øê÷ ß² ¿·®½®¿º¬ ¬¸¿¬ ·- ²±¬ ±©²»¼ ¾§ ¿²§
              ·² ¿²§ ©¿§ ®»-°±²¼·²¹ ¬±ô ±® ¿--»--·²¹                  ·²-«®»¼ ¿²¼ ·- ¸·®»¼ô ½¸¿®¬»®»¼ ±® ´±¿²»¼
              ¬¸» »ºº»½¬- ±ºô þ°±´´«¬¿²¬-þò                           ©·¬¸ ¿ °¿·¼ ½®»©ò Ø±©»ª»®ô ¬¸·- »¨½»°¬·±²
          Ø±©»ª»®ô ¬¸·- °¿®¿¹®¿°¸ ¼±»- ²±¬ ¿°°´§ ¬±                   ¼±»- ²±¬ ¿°°´§ ·º ¬¸» ·²-«®»¼ ¸¿- ¿²§ ±¬¸»®
          ´·¿¾·´·¬§ º±® ¼¿³¿¹»- ¾»½¿«-» ±º þ°®±°»®¬§                  ·²-«®¿²½» º±® -«½¸ þ¾±¼·´§ ·²¶«®§þ ±®
          ¼¿³¿¹»þ ¬¸¿¬ ¬¸» ·²-«®»¼ ©±«´¼ ¸¿ª» ·²                      þ°®±°»®¬§ ¼¿³¿¹»þô ©¸»¬¸»® ¬¸» ±¬¸»®
          ¬¸» ¿¾-»²½» ±º -«½¸ ®»¯«»-¬ô ¼»³¿²¼ô                        ·²-«®¿²½» ·- °®·³¿®§ô »¨½»--ô ½±²¬·²¹»²¬
          ±®¼»®       ±®   -¬¿¬«¬±®§     ±®  ®»¹«´¿¬±®§               ±® ±² ¿²§ ±¬¸»® ¾¿-·-ò
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         ±² ¾»¸¿´º ±º ¿ ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ò
                                                                  þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¿®·-·²¹
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      þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¿®·-·²¹               øï÷ Ì¸» ¬®¿²-°±®¬¿¬·±² ±º þ³±¾·´» »¯«·°³»²¬þ
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      »²¬®«-¬³»²¬ ¬± ±¬¸»®- ±º ¿²§ ¿·®½®¿º¬ô þ¿«¬±þ ±®                ®»²¬»¼ ±® ´±¿²»¼ ¬± ¿²§ ·²-«®»¼å ±®
     ©¿¬»®½®¿º¬ ±©²»¼ ±® ±°»®¿¬»¼ ¾§ ±® ®»²¬»¼ ±®                øî÷ Ì¸» «-» ±º þ³±¾·´» »¯«·°³»²¬þ ·²ô ±® ©¸·´»
      ´±¿²»¼ ¬± ¿²§ ·²-«®»¼ò Ë-» ·²½´«¼»- ±°»®¿¬·±²
                                                                      ·² °®¿½¬·½» º±®ô ±® ©¸·´» ¾»·²¹ °®»°¿®»¼ º±®ô
      ¿²¼ þ´±¿¼·²¹ ±® «²´±¿¼·²¹þò
                                                                      ¿²§      °®»¿®®¿²¹»¼       ®¿½·²¹ô     -°»»¼ô
      Ì¸·- »¨½´«-·±² ¿°°´·»- »ª»² ·º ¬¸» ½´¿·³-                       ¼»³±´·¬·±²ô ±® -¬«²¬·²¹ ¿½¬·ª·¬§ò
      ¿¹¿·²-¬ ¿²§ ·²-«®»¼ ¿´´»¹» ²»¹´·¹»²½» ±®
                                                              ·ò É¿®
      ±¬¸»® ©®±²¹¼±·²¹ ·² ¬¸» -«°»®ª·-·±²ô ¸·®·²¹ô
      »³°´±§³»²¬ô ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®-                þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þô ¸±©»ª»®
      ¾§ ¬¸¿¬ ·²-«®»¼ô ·º ¬¸» þ±½½«®®»²½»þ ©¸·½¸                  ½¿«-»¼ô ¿®·-·²¹ô ¼·®»½¬´§ ±® ·²¼·®»½¬´§ô ±«¬ ±ºæ
      ½¿«-»¼ ¬¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§                    øï÷ É¿®ô ·²½´«¼·²¹ «²¼»½´¿®»¼ ±® ½·ª·´ ©¿®å
      ¼¿³¿¹»þ          ·²ª±´ª»¼      ¬¸»    ±©²»®-¸·°ô           øî÷ É¿®´·µ» ¿½¬·±² ¾§ ¿ ³·´·¬¿®§ º±®½»ô ·²½´«¼·²¹
      ³¿·²¬»²¿²½»ô «-» ±® »²¬®«-¬³»²¬ ¬± ±¬¸»®- ±º                    ¿½¬·±² ·² ¸·²¼»®·²¹ ±® ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿²
      ¿²§ ¿·®½®¿º¬ô þ¿«¬±þ ±® ©¿¬»®½®¿º¬ ¬¸¿¬ ·- ±©²»¼                ¿½¬«¿´ ±® »¨°»½¬»¼ ¿¬¬¿½µô ¾§ ¿²§
      ±® ±°»®¿¬»¼ ¾§ ±® ®»²¬»¼ ±® ´±¿²»¼ ¬± ¿²§                       ¹±ª»®²³»²¬ô -±ª»®»·¹² ±® ±¬¸»® ¿«¬¸±®·¬§
      ·²-«®»¼ò                                                        «-·²¹ ³·´·¬¿®§ °»®-±²²»´ ±® ±¬¸»® ¿¹»²¬-å
      Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±æ                               ±®
     øï÷ ß ©¿¬»®½®¿º¬ ©¸·´» ¿-¸±®» ±² °®»³·-»- §±«               øí÷ ×²-«®®»½¬·±²ô ®»¾»´´·±²ô ®»ª±´«¬·±²ô «-«®°»¼
         ±©² ±® ®»²¬å                                                 °±©»®ô ±® ¿½¬·±² ¬¿µ»² ¾§ ¹±ª»®²³»²¬¿´
     øî÷ ß ©¿¬»®½®¿º¬ §±« ¼± ²±¬ ±©² ¬¸¿¬ ·-æ                         ¿«¬¸±®·¬§ ·² ¸·²¼»®·²¹ ±® ¼»º»²¼·²¹ ¿¹¿·²-¬
                                                                      ¿²§ ±º ¬¸»-»ò
         ø¿÷ Ô»-- ¬¸¿² ëï º»»¬ ´±²¹å ¿²¼
                                                             ¶ò Ü¿³¿¹» Ì± Ð®±°»®¬§
         ø¾÷ Ò±¬ ¾»·²¹ «-»¼ ¬± ½¿®®§ °»®-±²- º±® ¿
              ½¸¿®¹»å                                             þÐ®±°»®¬§ ¼¿³¿¹»þ ¬±æ
     øí÷ Ð¿®µ·²¹ ¿² þ¿«¬±þ ±²ô ±® ±² ¬¸» ©¿§- ²»¨¬               øï÷ Ð®±°»®¬§ §±« ±©²ô ®»²¬ô ±® ±½½«°§ô
         ¬±ô °®»³·-»- §±« ±©² ±® ®»²¬ô °®±ª·¼»¼ ¬¸»                   ·²½´«¼·²¹ ¿²§ ½±-¬- ±® »¨°»²-»- ·²½«®®»¼
         þ¿«¬±þ ·- ²±¬ ±©²»¼ ¾§ ±® ®»²¬»¼ ±® ´±¿²»¼                   ¾§ §±«ô ±® ¿²§ ±¬¸»® °»®-±²ô ±®¹¿²·¦¿¬·±²
         ¬± §±« ±® ¬¸» ·²-«®»¼å                                       ±® »²¬·¬§ô º±® ®»°¿·®ô ®»°´¿½»³»²¬ô


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       ±º îï 3:24-cv-00490-FDW-SCR               Document 1-4 Filed 05/21/24 Page 234ØÙ
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                                                                                         ðð ðï ðç ïê
          »²¸¿²½»³»²¬ô ®»-¬±®¿¬·±² ±® ³¿·²¬»²¿²½»            ³ò Ü¿³¿¹» Ì± ×³°¿·®»¼ Ð®±°»®¬§ Ñ® Ð®±°»®¬§
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          °®»ª»²¬·±² ±º ·²¶«®§ ¬± ¿ °»®-±² ±® ¼¿³¿¹»             þÐ®±°»®¬§ ¼¿³¿¹»þ ¬± þ·³°¿·®»¼ °®±°»®¬§þ ±®
          ¬± ¿²±¬¸»®ù- °®±°»®¬§å                                 °®±°»®¬§ ¬¸¿¬ ¸¿- ²±¬ ¾»»² °¸§-·½¿´´§ ·²¶«®»¼ô
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          ·º ¬¸» þ°®±°»®¬§ ¼¿³¿¹»þ ¿®·-»- ±«¬ ±º ¿²§            øï÷ ß ¼»º»½¬ô ¼»º·½·»²½§ô ·²¿¼»¯«¿½§ ±®
          °¿®¬ ±º ¬¸±-» °®»³·-»-å                                    ¼¿²¹»®±«- ½±²¼·¬·±² ·² þ§±«® °®±¼«½¬þ ±®
     øí÷ Ð®±°»®¬§ ´±¿²»¼ ¬± §±«å                                     þ§±«® ©±®µþå ±®
     øì÷ Ð»®-±²¿´ °®±°»®¬§ ·² ¬¸» ½¿®»ô ½«-¬±¼§ ±®              øî÷ ß ¼»´¿§ ±® º¿·´«®» ¾§ §±« ±® ¿²§±²» ¿½¬·²¹
          ½±²¬®±´ ±º ¬¸» ·²-«®»¼å                                    ±² §±«® ¾»¸¿´º ¬± °»®º±®³ ¿ ½±²¬®¿½¬ ±®
     øë÷ Ì¸¿¬ °¿®¬·½«´¿® °¿®¬ ±º ®»¿´ °®±°»®¬§ ±²                    ¿¹®»»³»²¬ ·² ¿½½±®¼¿²½» ©·¬¸ ·¬- ¬»®³-ò
          ©¸·½¸ §±« ±® ¿²§ ½±²¬®¿½¬±®- ±®                       Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» ´±-- ±º
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          ©±®µ·²¹ ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ±² §±«® ¾»¸¿´º         ¿²¼ ¿½½·¼»²¬¿´ °¸§-·½¿´ ·²¶«®§ ¬± þ§±«®
          ¿®» °»®º±®³·²¹ ±°»®¿¬·±²-ô ·º ¬¸» þ°®±°»®¬§           °®±¼«½¬þ ±® þ§±«® ©±®µþ ¿º¬»® ·¬ ¸¿- ¾»»² °«¬
          ¼¿³¿¹»þ ¿®·-»- ±«¬ ±º ¬¸±-» ±°»®¿¬·±²-å ±®            ¬± ·¬- ·²¬»²¼»¼ «-»ò
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                                                             ²ò Î»½¿´´ Ñº Ð®±¼«½¬-ô É±®µ Ñ® ×³°¿·®»¼
          ³«-¬ ¾» ®»-¬±®»¼ô ®»°¿·®»¼ ±® ®»°´¿½»¼                Ð®±°»®¬§
          ¾»½¿«-» þ§±«® ©±®µþ ©¿- ·²½±®®»½¬´§
          °»®º±®³»¼ ±² ·¬ò                                       Ü¿³¿¹»- ½´¿·³»¼ º±® ¿²§ ´±--ô ½±-¬ ±®
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                                                                 ±º «-»ô ©·¬¸¼®¿©¿´ô ®»½¿´´ô ·²-°»½¬·±²ô ®»°¿·®ô
      ¼± ²±¬ ¿°°´§ ¬± þ°®±°»®¬§ ¼¿³¿¹»þ ø±¬¸»® ¬¸¿²
                                                                 ®»°´¿½»³»²¬ô ¿¼¶«-¬³»²¬ô ®»³±ª¿´ ±® ¼·-°±-¿´
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      °»®·±¼ ±º -»ª»² ±® º»©»® ½±²-»½«¬·ª» ¼¿§-ò ß              øï÷ þÇ±«® °®±¼«½¬þå
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                                                                øí÷ þ×³°¿·®»¼ °®±°»®¬§þå
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                                                                ±® ®»½¿´´»¼ º®±³ ¬¸» ³¿®µ»¬ ±® º®±³ «-» ¾§
      ·º ¬¸» °®»³·-»- ¿®» þ§±«® ©±®µþ ¿²¼ ©»®»
                                                                ¿²§ °»®-±² ±® ±®¹¿²·¦¿¬·±² ¾»½¿«-» ±º ¿
      ²»ª»® ±½½«°·»¼ô ®»²¬»¼ ±® ¸»´¼ º±® ®»²¬¿´ ¾§
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      §±«ò
                                                                ·²¿¼»¯«¿½§ ±® ¼¿²¹»®±«- ½±²¼·¬·±² ·² ·¬ò
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      ²±¬ ¿°°´§ ¬± þ°®±°»®¬§ ¼¿³¿¹»þ ¿®·-·²¹ º®±³            ±ò Ð»®-±²¿´ ß²¼ ß¼ª»®¬·-·²¹ ×²¶«®§
      ¬¸» «-» ±º »´»ª¿¬±®-ò                                     þÞ±¼·´§ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º þ°»®-±²¿´ ¿²¼
      Ð¿®¿¹®¿°¸- øí÷ô øì÷ô øë÷ ¿²¼ øê÷ ±º ¬¸·-                  ¿¼ª»®¬·-·²¹ ·²¶«®§þò
      »¨½´«-·±² ¼± ²±¬ ¿°°´§ ¬± ´·¿¾·´·¬§ ¿--«³»¼            °ò ß½½»-- ±® Ü·-½´±-«®» Ñº Ý±²º·¼»²¬·¿´ Ñ®
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      ²±¬ ¿°°´§ ¬± þ°®±°»®¬§ ¼¿³¿¹»þ ¬± ¾±®®±©»¼                 Ü¿³¿¹»- ¿®·-·²¹ ±«¬ ±ºæ
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      ±°»®¿¬·±²- ¿¬ ¬¸» ¶±¾ -·¬»ò
                                                                     °»®-±²ù- ±® ±®¹¿²·¦¿¬·±²ù- ½±²º·¼»²¬·¿´ ±®
      Ð¿®¿¹®¿°¸ øê÷ ±º ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§                 °»®-±²¿´ ·²º±®³¿¬·±²ô ·²½´«¼·²¹ °¿¬»²¬-ô
      ¬± þ°®±°»®¬§ ¼¿³¿¹»þ ·²½´«¼»¼ ·² ¬¸»                           ¬®¿¼» -»½®»¬-ô °®±½»--·²¹ ³»¬¸±¼-ô
      þ°®±¼«½¬-ó½±³°´»¬»¼ ±°»®¿¬·±²- ¸¿¦¿®¼þò                        ½«-¬±³»® ´·-¬-ô º·²¿²½·¿´ ·²º±®³¿¬·±²ô ½®»¼·¬
  µò Ü¿³¿¹» Ì± Ç±«® Ð®±¼«½¬                                          ½¿®¼ ·²º±®³¿¬·±²ô ¸»¿´¬¸ ·²º±®³¿¬·±² ±® ¿²§
      þÐ®±°»®¬§ ¼¿³¿¹»þ ¬± þ§±«® °®±¼«½¬þ ¿®·-·²¹                    ±¬¸»® ¬§°» ±º ²±²°«¾´·½ ·²º±®³¿¬·±²å ±®
      ±«¬ ±º ·¬ ±® ¿²§ °¿®¬ ±º ·¬ò                              øî÷ Ì¸» ´±-- ±ºô ´±-- ±º «-» ±ºô ¼¿³¿¹» ¬±ô
  ´ò Ü¿³¿¹» Ì± Ç±«® É±®µ                                             ½±®®«°¬·±² ±ºô ·²¿¾·´·¬§ ¬± ¿½½»--ô ±®
      þÐ®±°»®¬§ ¼¿³¿¹»þ ¬± þ§±«® ©±®µþ ¿®·-·²¹ ±«¬                   ·²¿¾·´·¬§ ¬± ³¿²·°«´¿¬» »´»½¬®±²·½ ¼¿¬¿ò
      ±º ·¬ ±® ¿²§ °¿®¬ ±º ·¬ ¿²¼ ·²½´«¼»¼ ·² ¬¸»                Ì¸·- »¨½´«-·±² ¿°°´·»- »ª»² ·º ¼¿³¿¹»- ¿®»
      þ°®±¼«½¬-ó½±³°´»¬»¼ ±°»®¿¬·±²- ¸¿¦¿®¼þò                    ½´¿·³»¼ º±® ²±¬·º·½¿¬·±² ½±-¬-ô            ½®»¼·¬
      Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ·º ¬¸» ¼¿³¿¹»¼               ³±²·¬±®·²¹ »¨°»²-»-ô º±®»²-·½ »¨°»²-»-ô
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      Ø±©»ª»®ô «²´»-- Ð¿®¿¹®¿°¸ øï÷ ¿¾±ª»                                 ¼»¬±¨·º§·²¹ ±® ²»«¬®¿´·¦·²¹ ±® ·² ¿²§
      ¿°°´·»-ô ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±                           ©¿§ ®»-°±²¼·²¹ ¬± ±® ¿--»--·²¹ ¬¸»
      ¼¿³¿¹»- ¾»½¿«-» ±º þ¾±¼·´§ ·²¶«®§þò                                 »ºº»½¬- ±º ¿² þ¿-¾»-¬±- ¸¿¦¿®¼þò
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      ¿²¼ ¿°°´·½¿¬·±²- -±º¬©¿®»ô ¸¿®¼ ±® º´±°°§                   ±³·--·±² ¬¸¿¬ ª·±´¿¬»- ±® ·- ¿´´»¹»¼ ¬± ª·±´¿¬»æ
      ¼·-µ-ô ÝÜóÎÑÓÍô ¬¿°»-ô ¼®·ª»-ô ½»´´-ô ¼¿¬¿                 øï÷ Ì¸» Ì»´»°¸±²» Ý±²-«³»® Ð®±¬»½¬·±² ß½¬
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                                                                      øÌÝÐß÷ô ·²½´«¼·²¹ ¿²§ ¿³»²¼³»²¬ ±º ±®
      ¿®» «-»¼ ©·¬¸ »´»½¬®±²·½¿´´§ ½±²¬®±´´»¼
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          ®»´¿¬»¼ °®¿½¬·½»-þå ±®                                      ·²½´«¼·²¹ ¬¸» Ú¿·® ¿²¼ ß½½«®¿¬» Ý®»¼·¬
    øî÷ Ì¸» -°±«-»ô ½¸·´¼ô °¿®»²¬ô ¾®±¬¸»® ±® -·-¬»®                  Ì®¿²-¿½¬·±² ß½¬ øÚßÝÌß÷å ±®
          ±º ¬¸¿¬ °»®-±² ¿- ¿ ½±²-»¯«»²½» ±º þ¾±¼·´§             øì÷ ß²§ º»¼»®¿´ô -¬¿¬» ±® ´±½¿´ -¬¿¬«¬»ô
          ·²¶«®§þ ¬± ¬¸¿¬ °»®-±² ¿¬ ©¸±³ ¿²§                          ±®¼·²¿²½» ±® ®»¹«´¿¬·±²ô ±¬¸»® ¬¸¿² ¬¸»
          þ»³°´±§³»²¬ó®»´¿¬»¼         °®¿½¬·½»-þ    ¿®»               ÌÝÐß ±® ÝßÒóÍÐßÓ ß½¬ ±º îððí ±® ÚÝÎß
          ¼·®»½¬»¼ò                                                   ¿²¼ ¬¸»·® ¿³»²¼³»²¬- ¿²¼ ¿¼¼·¬·±²-ô ¬¸¿¬
      Ì¸·- »¨½´«-·±² ¿°°´·»-æ                                         ¿¼¼®»--»-ô °®±¸·¾·¬- ±® ´·³·¬- ¬¸» °®·²¬·²¹ô
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          »³°´±§³»²¬ ±º ¬¸¿¬ °»®-±²å                          Ü¿³¿¹» Ì± Ð®»³·-»- Î»²¬»¼ Ì± Ç±« ó
    øî÷ É¸»¬¸»® ¬¸» ·²-«®»¼ ³¿§ ¾» ´·¿¾´» ¿- ¿²               Û¨½»°¬·±² Ú±® Ü¿³¿¹» Þ§ Ú·®»ô Ô·¹¸¬²·²¹ Ñ®
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    øí÷ Ì± ¿²§ ±¾´·¹¿¬·±² ¬± -¸¿®» ¼¿³¿¹»- ©·¬¸               Û¨½´«-·±²- ½ò ¬¸®±«¹¸ ¸ò ¿²¼ ¶ò ¬¸®±«¹¸ ²ò ¼± ²±¬
          ±® ®»°¿§ -±³»±²» »´-» ©¸± ³«-¬ °¿§                  ¿°°´§ ¬± ¼¿³¿¹» ¾§ º·®»ô ´·¹¸¬²·²¹ ±® »¨°´±-·±² ¬±
          ¼¿³¿¹»- ¾»½¿«-» ±º ¬¸» ·²¶«®§ò                      °®»³·-»- ©¸·´» ®»²¬»¼ ¬± §±« ±® ¬»³°±®¿®·´§
  ®ò ß-¾»-¬±-                                                 ±½½«°·»¼ ¾§ §±« ©·¬¸ °»®³·--·±² ±º ¬¸» ±©²»®ò ß
                                                              -»°¿®¿¬» ´·³·¬ ±º ·²-«®¿²½» ¿°°´·»- ¬± ¬¸·-
     øï÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ                 ½±ª»®¿¹» ¿- ¼»-½®·¾»¼ ·² Í»½¬·±² ××× ó Ô·³·¬- Ñº
          ¿®·-·²¹ ±«¬ ±º ¬¸» þ¿-¾»-¬±- ¸¿¦¿®¼þò               ×²-«®¿²½»ò
     øî÷ ß²§ ¼¿³¿¹»-ô ¶«¼¹³»²¬-ô -»¬¬´»³»²¬-ô              ÝÑÊÛÎßÙÛ Þ ÐÛÎÍÑÒßÔ ßÒÜ ßÜÊÛÎÌ×Í×ÒÙ
          ´±--ô ½±-¬- ±® »¨°»²-»- ¬¸¿¬æ                    ×ÒÖËÎÇ Ô×ßÞ×Ô×ÌÇ
          ø¿÷ Ó¿§ ¾» ¿©¿®¼»¼ ±® ·²½«®®»¼ ¾§ ®»¿-±²         ïò ×²-«®·²¹ ß¹®»»³»²¬
              ±º ¿²§ ½´¿·³ ±® -«·¬ ¿´´»¹·²¹ ¿½¬«¿´ ±®
                                                              ¿ò É» ©·´´ °¿§ ¬¸±-» -«³- ¬¸¿¬ ¬¸» ·²-«®»¼
              ¬¸®»¿¬»²»¼ ·²¶«®§ ±® ¼¿³¿¹» ±º ¿²§
                                                                  ¾»½±³»- ´»¹¿´´§ ±¾´·¹¿¬»¼ ¬± °¿§ ¿- ¼¿³¿¹»-
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              ©¸·½¸ ©±«´¼ ²±¬ ¸¿ª» ±½½«®®»¼ ·²
                                                                  ¬± ©¸·½¸ ¬¸·- ·²-«®¿²½» ¿°°´·»-ò É» ©·´´ ¸¿ª»
              ©¸±´» ±® ·² °¿®¬ ¾«¬ º±® ¬¸» þ¿-¾»-¬±-
                                                                  ¬¸» ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ ¬¸» ·²-«®»¼
              ¸¿¦¿®¼þå
                                                                  ¿¹¿·²-¬ ¿²§ þ-«·¬þ -»»µ·²¹ ¬¸±-» ¼¿³¿¹»-ò
          ø¾÷ ß®·-» ±«¬ ±º ¿²§ ®»¯«»-¬ô ¼»³¿²¼ô                   Ø±©»ª»®ô ©» ©·´´ ¸¿ª» ²± ¼«¬§ ¬± ¼»º»²¼ ¬¸»
              ±®¼»® ±® -¬¿¬«¬±®§ ±® ®»¹«´¿¬±®§                    ·²-«®»¼ ¿¹¿·²-¬ ¿²§ þ-«·¬þ -»»µ·²¹ ¼¿³¿¹»-
              ®»¯«·®»³»²¬ ¬¸¿¬ ¿²§ ·²-«®»¼ ±® ±¬¸»®-              º±® þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¬± ©¸·½¸
              ¬»-¬ º±®ô ³±²·¬±®ô ½´»¿² «°ô ®»³±ª»ô                ¬¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ò É» ³¿§ô ¿¬ ±«®
              »²½¿°-«´¿¬»ô ½±²¬¿·²ô ¬®»¿¬ô ¼»¬±¨·º§ ±®            ¼·-½®»¬·±²ô ·²ª»-¬·¹¿¬» ¿²§ ±ºº»²-» ¿²¼ -»¬¬´»
              ²»«¬®¿´·¦» ±® ·² ¿²§ ©¿§ ®»-°±²¼ ¬± ±®              ¿²§ ½´¿·³ ±® þ-«·¬þ ¬¸¿¬ ³¿§ ®»-«´¬ò Þ«¬æ
              ¿--»-- ¬¸» »ºº»½¬- ±º ¿² þ¿-¾»-¬±-
                                                                 øï÷ Ì¸» ¿³±«²¬ ©» ©·´´ °¿§ º±® ¼¿³¿¹»- ·-
              ¸¿¦¿®¼þå ±®
                                                                      ´·³·¬»¼ ¿- ¼»-½®·¾»¼ ·² Í»½¬·±² ××× ó Ô·³·¬-
         ø½÷ ß®·-» ±«¬ ±º ¿²§ ½´¿·³ ±® -«·¬ º±®                       Ñº ×²-«®¿²½»å ¿²¼
              ¼¿³¿¹»- ¾»½¿«-» ±º ¬»-¬·²¹ º±®ô
                                                                 øî÷ Ñ«® ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ »²¼ ©¸»² ©»
              ³±²·¬±®·²¹ô ½´»¿²·²¹ «°ô ®»³±ª·²¹ô
                                                                      ¸¿ª» «-»¼ «° ¬¸» ¿°°´·½¿¾´» ´·³·¬ ±º
              »²½¿°-«´¿¬·²¹ô ½±²¬¿·²·²¹ô ¬®»¿¬·²¹ô
                                                                      ·²-«®¿²½» ·² ¬¸» °¿§³»²¬ ±º ¶«¼¹³»²¬- ±®


Ð¿¹» ê Case
       ±º îï 3:24-cv-00490-FDW-SCR               Document 1-4 Filed 05/21/24 Page 236ØÙ
                                                                                      of 579
                                                                                         ðð ðï ðç ïê
          -»¬¬´»³»²¬- «²¼»® Ý±ª»®¿¹»- ß ±® Þ ±®               ¸ò É®±²¹ Ü»-½®·°¬·±² Ñº Ð®·½»-
          ³»¼·½¿´ »¨°»²-»- «²¼»® Ý±ª»®¿¹» Ýò                      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º
      Ò± ±¬¸»® ±¾´·¹¿¬·±² ±® ´·¿¾·´·¬§ ¬± °¿§ -«³- ±®             ¬¸» ©®±²¹ ¼»-½®·°¬·±² ±º ¬¸» °®·½» ±º ¹±±¼-ô
      °»®º±®³ ¿½¬- ±® -»®ª·½»- ·- ½±ª»®»¼ «²´»--                  °®±¼«½¬- ±® -»®ª·½»-ò
      »¨°´·½·¬´§ °®±ª·¼»¼ º±® «²¼»® Í«°°´»³»²¬¿®§              ·ò ×²º®·²¹»³»²¬ Ñº ×²¬»´´»½¬«¿´ Ð®±°»®¬§
      Ð¿§³»²¬- ó Ý±ª»®¿¹»- ß ¿²¼ Þò                               Î·¹¸¬-
   ¾ò Ì¸·- ·²-«®¿²½» ¿°°´·»- ¬± þ°»®-±²¿´ ¿²¼                    øï÷ þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹
      ¿¼ª»®¬·-·²¹ ·²¶«®§þ ½¿«-»¼ ¾§ ¿² ±ºº»²-»                       ±«¬ ±º ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ·²º®·²¹»³»²¬
      ¿®·-·²¹ ±«¬ ±º §±«® ¾«-·²»-- ¾«¬ ±²´§ ·º ¬¸»                   ±® ª·±´¿¬·±² ±º ¿²§ ·²¬»´´»½¬«¿´ °®±°»®¬§
      ±ºº»²-» ©¿- ½±³³·¬¬»¼ ·² ¬¸» þ½±ª»®¿¹»                         ®·¹¸¬- -«½¸ ¿- ½±°§®·¹¸¬ô °¿¬»²¬ô
      ¬»®®·¬±®§þ ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼ò                           ¬®¿¼»³¿®µô ¬®¿¼» ²¿³»ô ¬®¿¼» -»½®»¬ô ¬®¿¼»
îò Û¨½´«-·±²-                                                        ¼®»--ô -»®ª·½» ³¿®µ ±® ±¬¸»® ¼»-·¹²¿¬·±²
   Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ                                 ±º ±®·¹·² ±® ¿«¬¸»²¬·½·¬§å ±®
   ¿ò Õ²±©·²¹ Ê·±´¿¬·±² Ñº Î·¹¸¬- Ñº ß²±¬¸»®                     øî÷ ß²§ ·²¶«®§ ±® ¼¿³¿¹» ¿´´»¹»¼ ·² ¿²§ ½´¿³
                                                                     ±® þ-«·¬þ ¬¸¿¬ ¿´-± ¿´´»¹»- ¿² ·²º®·²¹»³»²¬
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º               ±® ª·±´¿¬·±² ±º ¿²§ ·²¬»´´»½¬«¿´ °®±°»®¬§
      ¿² ±ºº»²-» ½±³³·¬¬»¼ ¾§ô ¿¬ ¬¸» ¼·®»½¬·±² ±®                   ®·¹¸¬ô ©¸»¬¸»® -«½¸ ¿´´»¹¿¬·±² ±º
      ©·¬¸ ¬¸» ½±²-»²¬ ±® ¿½¯«·»-½»²½» ±º ¬¸»                        ·²º®·²¹»³»²¬ ±® ª·±´¿¬·±² ·- ³¿¼» ¾§ §±« ±®
      ·²-«®»¼ ©·¬¸ ¬¸» »¨°»½¬¿¬·±² ±º ·²º´·½¬·²¹                     ¾§ ¿²§ ±¬¸»® °¿®¬§ ·²ª±´ª»¼ ·² ¬¸» ½´¿·³ ±®
      þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þò                             þ-«·¬þô ®»¹¿®¼´»-- ±º ©¸»¬¸»® ¬¸·-
   ¾ò Ó¿¬»®·¿´ Ð«¾´·-¸»¼ É·¬¸ Õ²±©´»¼¹» Ñº                           ·²-«®¿²½» ©±«´¼ ±¬¸»®©·-» ¿°°´§ò
      Ú¿´-·¬§                                                     Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ·º ¬¸»
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º            ±²´§ ¿´´»¹¿¬·±² ·² ¬¸» ½´¿·³ ±® þ-«·¬þ ·²ª±´ª·²¹
      ±®¿´ô ©®·¬¬»² ±® »´»½¬®±²·½ °«¾´·½¿¬·±²ô ·² ¿²§             ¿²§ ·²¬»´´»½¬«¿´ °®±°»®¬§ ®·¹¸¬ ·- ´·³·¬»¼ ¬±æ
      ³¿²²»®ô ±º ³¿¬»®·¿´ô ·º ¼±²» ¾§ ±® ¿¬ ¬¸»                  øï÷ ×²º®·²¹»³»²¬ô ·² §±«® þ¿¼ª»®¬·-»³»²¬þô ±ºæ
      ¼·®»½¬·±² ±º ¬¸» ·²-«®»¼ ©·¬¸ µ²±©´»¼¹» ±º ·¬-
      º¿´-·¬§ò                                                       ø¿÷ Ý±°§®·¹¸¬å
   ½ò Ó¿¬»®·¿´ Ð«¾´·-¸»¼ Ð®·±® Ì± Ð±´·½§ Ð»®·±¼                      ø¾÷ Í´±¹¿²å ±®
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º               ø½÷ Ì·¬´» ±º ¿²§ ´·¬»®¿®§ ±® ¿®¬·-¬·½ ©±®µå ±®
      ±®¿´ô ©®·¬¬»² ±® »´»½¬®±²·½ °«¾´·½¿¬·±²ô ·² ¿²§            øî÷ Ý±°§·²¹ô ·² §±«® þ¿¼ª»®¬·-»³»²¬þô ¿
      ³¿²²»®ô ±º ³¿¬»®·¿´ ©¸±-» º·®-¬ °«¾´·½¿¬·±²                    °»®-±²ù- ±® ±®¹¿²·¦¿¬·±²ù- þ¿¼ª»®¬·-·²¹
      ¬±±µ °´¿½» ¾»º±®» ¬¸» ¾»¹·²²·²¹ ±º ¬¸» °±´·½§                  ·¼»¿þ ±® -¬§´» ±º þ¿¼ª»®¬·-»³»²¬þò
      °»®·±¼ò                                                  ¶ò ×²-«®»¼- ×² Ó»¼·¿ ß²¼ ×²¬»®²»¬ Ì§°»
   ¼ò Ý®·³·²¿´ ß½¬-                                               Þ«-·²»--»-
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º            þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ½±³³·¬¬»¼
      ¿ ½®·³·²¿´ ¿½¬ ½±³³·¬¬»¼ ¾§ ±® ¿¬ ¬¸» ¼·®»½¬·±²             ¾§ ¿² ·²-«®»¼ ©¸±-» ¾«-·²»-- ·-æ
      ±º ¬¸» ·²-«®»¼ò                                            øï÷ ß¼ª»®¬·-·²¹ô ¾®±¿¼½¿-¬·²¹ô °«¾´·-¸·²¹ ±®
   »ò Ý±²¬®¿½¬«¿´ Ô·¿¾·´·¬§                                          ¬»´»½¿-¬·²¹å
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ º±® ©¸·½¸ ¬¸»            øî÷ Ü»-·¹²·²¹ ±® ¼»¬»®³·²·²¹ ½±²¬»²¬ ±º ©»¾
      ·²-«®»¼ ¸¿- ¿--«³»¼ ´·¿¾·´·¬§ ·² ¿ ½±²¬®¿½¬ ±®                 -·¬»- º±® ±¬¸»®-å ±®
      ¿¹®»»³»²¬ò Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±                øí÷ ß² ×²¬»®²»¬ -»¿®½¸ô ¿½½»--ô ½±²¬»²¬ ±®
      ´·¿¾·´·¬§ º±® ¼¿³¿¹»- ¬¸¿¬ ¬¸» ·²-«®»¼ ©±«´¼                   -»®ª·½» °®±ª·¼»®ò
      ¸¿ª» ·² ¬¸» ¿¾-»²½» ±º ¬¸» ½±²¬®¿½¬ ±®
      ¿¹®»»³»²¬ò                                                 Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±
                                                                 Ð¿®¿¹®¿°¸- ¿òô ¾ò ¿²¼ ½ò ±º ¬¸» ¼»º·²·¬·±² ±º
   ºò Þ®»¿½¸ Ñº Ý±²¬®¿½¬                                         þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ «²¼»® ¬¸»
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º ¿         Ü»º·²·¬·±²- Í»½¬·±²ò
      ¾®»¿½¸ ±º ½±²¬®¿½¬ô »¨½»°¬ ¿² ·³°´·»¼ ½±²¬®¿½¬ ¬±          Ú±® ¬¸» °«®°±-»- ±º ¬¸·- »¨½´«-·±²ô ¬¸» °´¿½·²¹
      «-» ¿²±¬¸»®ù- þ¿¼ª»®¬·-·²¹ ·¼»¿þ ·² §±«®                   ±º º®¿³»-ô ¾±®¼»®- ±® ´·²µ-ô ±® ¿¼ª»®¬·-·²¹ô º±®
      þ¿¼ª»®¬·-»³»²¬þò                                           §±« ±® ±¬¸»®- ¿²§©¸»®» ±² ¬¸» ×²¬»®²»¬ô ·- ²±¬
   ¹ò Ï«¿´·¬§ Ñ® Ð»®º±®³¿²½» Ñº Ù±±¼- ó Ú¿·´«®»                  ¾§ ·¬-»´ºô ½±²-·¼»®»¼ ¬¸» ¾«-·²»-- ±º
      Ì± Ý±²º±®³ Ì± Í¬¿¬»³»²¬-                                   ¿¼ª»®¬·-·²¹ô ¾®±¿¼½¿-¬·²¹ô °«¾´·-¸·²¹ ±®
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º           ¬»´»½¿-¬·²¹ò
      ¬¸» º¿·´«®» ±º ¹±±¼-ô °®±¼«½¬- ±® -»®ª·½»- ¬±           µò Û´»½¬®±²·½ Ý¸¿¬®±±³- Ñ® Þ«´´»¬·² Þ±¿®¼-
      ½±²º±®³ ©·¬¸ ¿²§ -¬¿¬»³»²¬ ±º ¯«¿´·¬§ ±®                   þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º
      °»®º±®³¿²½» ³¿¼» ·² §±«® þ¿¼ª»®¬·-»³»²¬þò                  ¿² »´»½¬®±²·½ ½¸¿¬®±±³ ±® ¾«´´»¬·² ¾±¿®¼ ¬¸»


      Case
ØÙ ðð ðï     3:24-cv-00490-FDW-SCR
         ðç ïê                                    Document 1-4 Filed 05/21/24 Page 237 ofÐ¿¹»
                                                                                          579 é ±º îï
      ·²-«®»¼ ¸±-¬-ô ±©²-ô ±® ±ª»® ©¸·½¸ ¬¸»                   øì÷ Ý±³°«¬»® ½±¼»ô -±º¬©¿®» ±® °®±¹®¿³³·²¹
      ·²-«®»¼ »¨»®½·-»- ½±²¬®±´ò                                   «-»¼ ¬± »²¿¾´»æ
   ´ò Ë²¿«¬¸±®·¦»¼ Ë-» Ñº ß²±¬¸»®ù- Ò¿³» Ñ®                        ø¿÷ Ç±«® ©»¾ -·¬»å ±®
      Ð®±¼«½¬                                                      ø¾÷ Ì¸» °®»-»²¬¿¬·±² ±® º«²½¬·±²¿´·¬§ ±º ¿²
     þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º                  þ¿¼ª»®¬·-»³»²¬þ ±® ±¬¸»® ½±²¬»²¬ ±²
     ¬¸» «²¿«¬¸±®·¦»¼ «-» ±º ¿²±¬¸»®ù- ²¿³» ±®                         §±«® ©»¾ -·¬»ò
     °®±¼«½¬ ·² §±«® »ó³¿·´ ¿¼¼®»--ô ¼±³¿·² ²¿³»            ¯ò Î·¹¸¬ Ñº Ð®·ª¿½§ Ý®»¿¬»¼ Þ§ Í¬¿¬«¬»
     ±® ³»¬¿¬¿¹-ô ±® ¿²§ ±¬¸»® -·³·´¿® ¬¿½¬·½- ¬±
     ³·-´»¿¼ ¿²±¬¸»®ù- °±¬»²¬·¿´ ½«-¬±³»®-ò                    þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º
                                                               ¬¸» ª·±´¿¬·±² ±º ¿ °»®-±²ù- ®·¹¸¬ ±º °®·ª¿½§
  ³ò Ð±´´«¬·±²                                                 ½®»¿¬»¼ ¾§ ¿²§ -¬¿¬» ±® º»¼»®¿´ ¿½¬ò
     þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º           Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±
     ¬¸» ¿½¬«¿´ô ¿´´»¹»¼ ±® ¬¸®»¿¬»²»¼ ¼·-½¸¿®¹»ô               ´·¿¾·´·¬§ º±® ¼¿³¿¹»- ¬¸¿¬ ¬¸» ·²-«®»¼ ©±«´¼
     ¼·-°»®-¿´ô -»»°¿¹»ô ³·¹®¿¬·±²ô ®»´»¿-» ±®                  ¸¿ª» ·² ¬¸» ¿¾-»²½» ±º -«½¸ -¬¿¬» ±® º»¼»®¿´
     »-½¿°» ±º þ°±´´«¬¿²¬-þ ¿¬ ¿²§ ¬·³»ò                        ¿½¬ò
  ²ò Ð±´´«¬·±²óÎ»´¿¬»¼                                       ®ò Ê·±´¿¬·±² Ñº ß²¬·óÌ®«-¬ ´¿©
      ß²§ ´±--ô ½±-¬ ±® »¨°»²-» ¿®·-·²¹ ±«¬ ±º ¿²§æ            þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º
     øï÷ Î»¯«»-¬ô ¼»³¿²¼ô ±®¼»® ±® -¬¿¬«¬±®§ ±®                ¿ ª·±´¿¬·±² ±º ¿²§ ¿²¬·ó¬®«-¬ ´¿©ò
         ®»¹«´¿¬±®§ ®»¯«·®»³»²¬ ¬¸¿¬ ¿²§ ·²-«®»¼ ±®         -ò Í»½«®·¬·»-
         ±¬¸»®- ¬»-¬ º±®ô ³±²·¬±®ô ½´»¿² «°ô ®»³±ª»ô
         ½±²¬¿·²ô ¬®»¿¬ô ¼»¬±¨·º§ ±® ²»«¬®¿´·¦»ô ±® ·²          þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º
         ¿²§ ©¿§ ®»-°±²¼ ¬±ô ±® ¿--»-- ¬¸» »ºº»½¬-              ¬¸» º´«½¬«¿¬·±² ·² °®·½» ±® ª¿´«» ±º ¿²§ -¬±½µ-ô
         ±ºô þ°±´´«¬¿²¬-þå ±®                                   ¾±²¼- ±® ±¬¸»® -»½«®·¬·»-ò
     øî÷ Ý´¿·³ ±® -«·¬ ¾§ ±® ±² ¾»¸¿´º ±º ¿                  ¬ò Î»½±®¼·²¹ ß²¼ Ü·-¬®·¾«¬·±² Ñº Ó¿¬»®·¿´ Ñ®
         ¹±ª»®²³»²¬¿´ ¿«¬¸±®·¬§ º±® ¼¿³¿¹»-                     ×²º±®³¿¬·±² ×² Ê·±´¿¬·±² Ñº Ô¿©
         ¾»½¿«-» ±º ¬»-¬·²¹ º±®ô ³±²·¬±®·²¹ô                    þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹
         ½´»¿²·²¹     «°ô    ®»³±ª·²¹ô    ½±²¬¿·²·²¹ô           ¼·®»½¬´§ ±® ·²¼·®»½¬´§ ±«¬ ±º ¿²§ ¿½¬·±² ±®
         ¬®»¿¬·²¹ô ¼»¬±¨·º§·²¹ ±® ²»«¬®¿´·¦·²¹ô ±® ·²           ±³·--·±² ¬¸¿¬ ª·±´¿¬»- ±® ·- ¿´´»¹»¼ ¬± ª·±´¿¬»æ
         ¿²§ ©¿§ ®»-°±²¼·²¹ ¬±ô ±® ¿--»--·²¹ ¬¸»               øï÷ Ì¸» Ì»´»°¸±²» Ý±²-«³»® Ð®±¬»½¬·±² ß½¬
         »ºº»½¬- ±ºô þ°±´´«¬¿²¬-þò                                  øÌÝÐß÷ô ·²½´«¼·²¹ ¿²§ ¿³»²¼³»²¬ ±º ±®
  ±ò É¿®                                                            ¿¼¼·¬·±² ¬± -«½¸ ´¿©å
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þô ¸±©»ª»®               øî÷ Ì¸» ÝßÒóÍÐßÓ ß½¬ ±º îððíô ·²½´«¼·²¹
      ½¿«-»¼ô ¿®·-·²¹ô ¼·®»½¬´§ ±® ·²¼·®»½¬´§ô ±«¬ ±ºæ             ¿²§ ¿³»²¼³»²¬ ±º ±® ¿¼¼·¬·±² ¬± -«½¸ ´¿©å
     øï÷ É¿®ô ·²½´«¼·²¹ «²¼»½´¿®»¼ ±® ½·ª·´ ©¿®å               øí÷ Ì¸» Ú¿·® Ý®»¼·¬ Î»°±®¬·²¹ ß½¬ øÚÝÎß÷ô ¿²¼
     øî÷ É¿®´·µ» ¿½¬·±² ¾§ ¿ ³·´·¬¿®§ º±®½»ô ·²½´«¼·²¹             ¿²§ ¿³»²¼³»²¬ ±º ±® ¿¼¼·¬·±² ¬± -«½¸ ´¿©ô
         ¿½¬·±² ·² ¸·²¼»®·²¹ ±® ¼»º»²¼·²¹ ¿¹¿·²-¬ ¿²               ·²½´«¼·²¹ ¬¸» Ú¿·® ¿²¼ ß½½«®¿¬» Ý®»¼·¬
         ¿½¬«¿´ ±® »¨°»½¬»¼ ¿¬¬¿½µô ¾§ ¿²§                         Ì®¿²-¿½¬·±² ß½¬ øÚßÝÌß÷å ±®
         ¹±ª»®²³»²¬ô -±ª»®»·¹² ±® ±¬¸»® ¿«¬¸±®·¬§              øì÷ ß²§ º»¼»®¿´ô -¬¿¬» ±® ´±½¿´ -¬¿¬«¬»ô
         «-·²¹ ³·´·¬¿®§ °»®-±²²»´ ±® ±¬¸»® ¿¹»²¬-å                 ±®¼·²¿²½» ±® ®»¹«´¿¬·±²ô ±¬¸»® ¬¸¿² ¬¸»
         ±®                                                        ÌÝÐß ±® ÝßÒóÍÐßÓ ß½¬ ±º îððí ±® ÚÝÎß
     øí÷ ×²-«®®»½¬·±²ô ®»¾»´´·±²ô ®»ª±´«¬·±²ô «-«®°»¼              ¿²¼ ¬¸»·® ¿³»²¼³»²¬- ¿²¼ ¿¼¼·¬·±²-ô ¬¸¿¬
         °±©»®ô ±® ¿½¬·±² ¬¿µ»² ¾§ ¹±ª»®²³»²¬¿´                    ¿¼¼®»--»-ô °®±¸·¾·¬- ±® ´·³·¬- ¬¸» °®·²¬·²¹ô
         ¿«¬¸±®·¬§ ·² ¸·²¼»®·²¹ ±® ¼»º»²¼·²¹ ¿¹¿·²-¬               ¼·--»³·²¿¬·±²ô     ¼·-°±-¿´ô      ½±´´»½¬·²¹ô
         ¿²§ ±º ¬¸»-»ò                                             ®»½±®¼·²¹ô      -»²¼·²¹ô       ¬®¿²-³·¬¬·²¹ô
                                                                   ½±³³«²·½¿¬·²¹ ±® ¼·-¬®·¾«¬·±² ±º ³¿¬»®·¿´
  °ò ×²¬»®²»¬ ß¼ª»®¬·-»³»²¬- ß²¼ Ý±²¬»²¬ Ñº                        ±® ·²º±®³¿¬·±²ò
      Ñ¬¸»®-
                                                            «ò Û³°´±§³»²¬óÎ»´¿¬»¼ Ð®¿½¬·½»-
      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬
      ±ºæ                                                      þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¬±æ
     øï÷ ß² þ¿¼ª»®¬·-»³»²¬þ º±® ±¬¸»®- ±² §±«® ©»¾             øï÷ ß °»®-±² ¿®·-·²¹ ±«¬ ±º ¿²§ þ»³°´±§³»²¬ó
          -·¬»å                                                    ®»´¿¬»¼ °®¿½¬·½»-þå ±®
     øî÷ Ð´¿½·²¹ ¿ ´·²µ ¬± ¿ ©»¾ -·¬» ±º ±¬¸»®- ±²             øî÷ Ì¸» -°±«-»ô ½¸·´¼ô °¿®»²¬ô ¾®±¬¸»® ±® -·-¬»®
          §±«® ©»¾ -·¬»å                                           ±º ¬¸¿¬ °»®-±² ¿- ¿ ½±²-»¯«»²½» ±º
                                                                   þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¬± ¬¸¿¬
     øí÷ Ý±²¬»²¬ô ·²½´«¼·²¹ ·²º±®³¿¬·±²ô -±«²¼-ô                   °»®-±² ¿¬ ©¸±³ ¿²§ þ»³°´±§³»²¬ó®»´¿¬»¼
          ¬»¨¬ô ¹®¿°¸·½-ô ±® ·³¿¹»- º®±³ ¿ ©»¾ -·¬»                °®¿½¬·½»-þ ¿®» ¼·®»½¬»¼ò
          ±º ±¬¸»®- ¼·-°´¿§»¼ ©·¬¸·² ¿ º®¿³» ±®
          ¾±®¼»® ±² §±«® ©»¾ -·¬»å ±®

Ð¿¹» è Case
       ±º îï 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 Page 238ØÙ
                                                                                     of 579
                                                                                        ðð ðï ðç ïê
      Ì¸·- »¨½´«-·±² ¿°°´·»-æ                            ÝÑÊÛÎßÙÛ Ý ÓÛÜ×ÝßÔ ÐßÇÓÛÒÌÍ
     øï÷ É¸»¬¸»®      ¬¸»     ·²¶«®§ó½¿«-·²¹   »ª»²¬     ïò ×²-«®·²¹ ß¹®»»³»²¬
         ¼»-½®·¾»¼ ·² ¬¸» ¼»º·²·¬·±² ±º þ»³°´±§³»²¬ó        ¿ò É» ©·´´ °¿§ ³»¼·½¿´ »¨°»²-»- ¿- ¼»-½®·¾»¼
         ®»´¿¬»¼    °®¿½¬·½»-þ       ±½½«®-   ¾»º±®»           ¾»´±© º±® þ¾±¼·´§ ·²¶«®§þ ½¿«-»¼ ¾§ ¿²
         »³°´±§³»²¬ô ¼«®·²¹ »³°´±§³»²¬ ±® ¿º¬»®                ¿½½·¼»²¬æ
         »³°´±§³»²¬ ±º ¬¸¿¬ °»®-±²å
                                                               øï÷ Ñ² °®»³·-»- §±« ±©² ±® ®»²¬å
     øî÷ É¸»¬¸»® ¬¸» ·²-«®»¼ ³¿§ ¾» ´·¿¾´» ¿- ¿²
         »³°´±§»® ±® ·² ¿²§ ±¬¸»® ½¿°¿½·¬§å ¿²¼                øî÷ Ñ² ©¿§- ²»¨¬ ¬± °®»³·-»- §±« ±©² ±®
                                                                   ®»²¬å ±®
     øí÷ Ì± ¿²§ ±¾´·¹¿¬·±² ¬± -¸¿®» ¼¿³¿¹»- ©·¬¸
         ±® ®»°¿§ -±³»±²» »´-» ©¸± ³«-¬ °¿§                    øí÷ Þ»½¿«-» ±º §±«® ±°»®¿¬·±²-å
         ¼¿³¿¹»- ¾»½¿«-» ±º ¬¸» ·²¶«®§ò                         °®±ª·¼»¼ ¬¸¿¬æ
  ªò ß-¾»-¬±-                                                  øï÷ Ì¸» ¿½½·¼»²¬ ¬¿µ»- °´¿½» ·² ¬¸» þ½±ª»®¿¹»
     øï÷ þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹                 ¬»®®·¬±®§þ ¿²¼ ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼å
         ±«¬ ±º ¬¸» þ¿-¾»-¬±- ¸¿¦¿®¼þò                         øî÷ Ì¸» »¨°»²-»- ¿®» ·²½«®®»¼ ¿²¼ ®»°±®¬»¼
     øî÷ ß²§ ¼¿³¿¹»-ô ¶«¼¹³»²¬-ô -»¬¬´»³»²¬-ô                      ¬± «- ©·¬¸·² ¬¸®»» §»¿®- ±º ¬¸» ¼¿¬» ±º ¬¸»
         ´±--ô ½±-¬- ±® »¨°»²-»- ¬¸¿¬æ                             ¿½½·¼»²¬å ¿²¼
         ø¿÷ Ó¿§ ¾» ¿©¿®¼»¼ ±® ·²½«®®»¼ ¾§ ®»¿-±²              øí÷ Ì¸»      ·²¶«®»¼    °»®-±²     -«¾³·¬-    ¬±
             ±º ¿²§ ½´¿·³ ±® -«·¬ ¿´´»¹·²¹ ¿½¬«¿´ ±®               »¨¿³·²¿¬·±²ô ¿¬ ±«® »¨°»²-»ô ¾§
             ¬¸®»¿¬»²»¼ ·²¶«®§ ±® ¼¿³¿¹» ±º ¿²§                    °¸§-·½·¿²- ±º ±«® ½¸±·½» ¿- ±º¬»² ¿- ©»
             ²¿¬«®» ±® µ·²¼ ¬± °»®-±²- ±® °®±°»®¬§                 ®»¿-±²¿¾´§ ®»¯«·®»ò
             ©¸·½¸ ©±«´¼ ²±¬ ¸¿ª» ±½½«®®»¼ ·²               ¾ò É» ©·´´ ³¿µ» ¬¸»-» °¿§³»²¬- ®»¹¿®¼´»-- ±º
             ©¸±´» ±® ·² °¿®¬ ¾«¬ º±® ¬¸» þ¿-¾»-¬±-             º¿«´¬ò Ì¸»-» °¿§³»²¬- ©·´´ ²±¬ »¨½»»¼ ¬¸»
             ¸¿¦¿®¼þå                                           ¿°°´·½¿¾´» ´·³·¬ ±º ·²-«®¿²½»ò É» ©·´´ °¿§
         ø¾÷ ß®·-» ±«¬ ±º ¿²§ ®»¯«»-¬ô ¼»³¿²¼ô                  ®»¿-±²¿¾´» »¨°»²-»- º±®æ
             ±®¼»® ±® -¬¿¬«¬±®§ ±® ®»¹«´¿¬±®§                  øï÷ Ú·®-¬ ¿·¼ ¿¼³·²·-¬»®»¼ ¿¬ ¬¸» ¬·³» ±º ¿²
             ®»¯«·®»³»²¬ ¬¸¿¬ ¿²§ ·²-«®»¼ ±® ±¬¸»®-                ¿½½·¼»²¬å
             ¬»-¬ º±®ô ³±²·¬±®ô ½´»¿² «°ô ®»³±ª»ô              øî÷ Ò»½»--¿®§ ³»¼·½¿´ô -«®¹·½¿´ô Èó®¿§ ¿²¼
             »²½¿°-«´¿¬»ô ½±²¬¿·²ô ¬®»¿¬ô ¼»¬±¨·º§ ±®              ¼»²¬¿´ -»®ª·½»-ô ·²½´«¼·²¹ °®±-¬¸»¬·½
             ²»«¬®¿´·¦» ±® ·² ¿²§ ©¿§ ®»-°±²¼ ¬± ±®                ¼»ª·½»-å ¿²¼
             ¿--»-- ¬¸» »ºº»½¬- ±º ¿² þ¿-¾»-¬±-
                                                               øí÷ Ò»½»--¿®§       ¿³¾«´¿²½»ô        ¸±-°·¬¿´ô
             ¸¿¦¿®¼þå ±®
                                                                   °®±º»--·±²¿´ ²«®-·²¹ ¿²¼ º«²»®¿´ -»®ª·½»-ò
         ø½÷ ß®·-» ±«¬ ±º ¿²§ ½´¿·³ ±® -«·¬ º±®
                                                         îò Û¨½´«-·±²-
             ¼¿³¿¹»- ¾»½¿«-» ±º ¬»-¬·²¹ º±®ô
             ³±²·¬±®·²¹ô ½´»¿²·²¹ «°ô ®»³±ª·²¹ô             É» ©·´´ ²±¬ °¿§ »¨°»²-»- º±® þ¾±¼·´§ ·²¶«®§þæ
             »²½¿°-«´¿¬·²¹ô ½±²¬¿·²·²¹ô ¬®»¿¬·²¹ô           ¿ò ß²§ ×²-«®»¼
             ¼»¬±¨·º§·²¹ ±® ²»«¬®¿´·¦·²¹ ±® ·² ¿²§
                                                               Ì± ¿²§ ·²-«®»¼ô »¨½»°¬ þª±´«²¬»»® ©±®µ»®-þò
             ©¿§ ®»-°±²¼·²¹ ¬± ±® ¿--»--·²¹ ¬¸»
             »ºº»½¬- ±º ¿² þ¿-¾»-¬±- ¸¿¦¿®¼þò               ¾ò Ø·®»¼ Ð»®-±²
  ©ò ß½½»-- Ñ® Ü·-½´±-«®» Ñº Ý±²º·¼»²¬·¿´ Ñ®                   Ì± ¿ °»®-±² ¸·®»¼ ¬± ¼± ©±®µ º±® ±® ±² ¾»¸¿´º
      Ð»®-±²¿´ ×²º±®³¿¬·±²                                     ±º ¿²§ ·²-«®»¼ ±® ¿ ¬»²¿²¬ ±º ¿²§ ·²-«®»¼ò
     þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º       ½ò ×²¶«®§ Ñ² Ò±®³¿´´§ Ñ½½«°·»¼ Ð®»³·-»-
     ¿²§ ¿½½»-- ¬± ±® ¼·-½´±-«®» ±º ¿²§ °»®-±²ù- ±®            Ì± ¿ °»®-±² ·²¶«®»¼ ±² ¬¸¿¬ °¿®¬ ±º °®»³·-»-
     ±®¹¿²·¦¿¬·±²ù- ½±²º·¼»²¬·¿´     ±® °»®-±²¿´               §±« ±©² ±® ®»²¬ ¬¸¿¬ ¬¸» °»®-±² ²±®³¿´´§
     ·²º±®³¿¬·±²ô ·²½´«¼·²¹ °¿¬»²¬-ô ¬®¿¼» -»½®»¬-ô            ±½½«°·»-ò
     °®±½»--·²¹ ³»¬¸±¼-ô ½«-¬±³»® ´·-¬-ô º·²¿²½·¿´          ¼ò É±®µ»®- Ý±³°»²-¿¬·±² ß²¼ Í·³·´¿® Ô¿©-
     ·²º±®³¿¬·±²ô ½®»¼·¬ ½¿®¼ ·²º±®³¿¬·±²ô ¸»¿´¬¸
     ·²º±®³¿¬·±² ±® ¿²§ ±¬¸»® ¬§°» ±º ²±²°«¾´·½                Ì± ¿ °»®-±²ô ©¸»¬¸»® ±® ²±¬ ¿² þ»³°´±§»»þ ±º
     ·²º±®³¿¬·±²ò                                              ¿²§ ·²-«®»¼ô ·º ¾»²»º·¬- º±® ¬¸» þ¾±¼·´§ ·²¶«®§þ ¿®»
                                                               °¿§¿¾´» ±® ³«-¬ ¾» °®±ª·¼»¼ «²¼»® ¿ ©±®µ»®-ù
     Ì¸·- »¨½´«-·±² ¿°°´·»- »ª»² ·º ¼¿³¿¹»- ¿®»
                                                               ½±³°»²-¿¬·±² ±® ¼·-¿¾·´·¬§ ¾»²»º·¬- ´¿© ±® ¿
     ½´¿·³»¼ º±® ²±¬·º·½¿¬·±² ½±-¬-ô           ½®»¼·¬
                                                               -·³·´¿® ´¿©ò
     ³±²·¬±®·²¹ »¨°»²-»-ô º±®»²-·½ »¨°»²-»-ô
     °«¾´·½ ®»´¿¬·±²- »¨°»²-»- ±® ¿²§ ±¬¸»® ´±--ô           »ò ß¬¸´»¬·½- ß½¬·ª·¬·»-
     ½±-¬ ±® »¨°»²-» ·²½«®®»¼ ¾§ §±« ±® ±¬¸»®-                 Ì± ¿ °»®-±² ·²¶«®»¼ ©¸·´» °®¿½¬·½·²¹ô
     ¿®·-·²¹ ±«¬ ±º ¿²§ ¿½½»-- ¬± ±® ¼·-½´±-«®» ±º             ·²-¬®«½¬·²¹ ±® °¿®¬·½·°¿¬·²¹ ·² ¿²§ °¸§-·½¿´
     ¿²§ °»®-±²ù- ±® ±®¹¿²·¦¿¬·±²ù- ½±²º·¼»²¬·¿´ ±®            »¨»®½·-»- ±® ¹¿³»-ô -°±®¬-ô ±® ¿¬¸´»¬·½
     °»®-±²¿´ ·²º±®³¿¬·±²ò                                     ½±²¬»-¬-ò


      Case
ØÙ ðð ðï     3:24-cv-00490-FDW-SCR
         ðç ïê                                 Document 1-4 Filed 05/21/24 Page 239 ofÐ¿¹»
                                                                                       579 ç ±º îï
    ºò Ð®±¼«½¬-óÝ±³°´»¬»¼ Ñ°»®¿¬·±²- Ø¿¦¿®¼                        ¿--«³»¼ ¾§ ¬¸» ·²-«®»¼ ·² ¬¸» -¿³» þ·²-«®»¼
        ×²½´«¼»¼ ©·¬¸·² ¬¸» þ°®±¼«½¬-ó½±³°´»¬»¼                    ½±²¬®¿½¬þå
        ±°»®¿¬·±²- ¸¿¦¿®¼þò                                    ¼ò Ì¸» ¿´´»¹¿¬·±²- ·² ¬¸» þ-«·¬þ ¿²¼ ¬¸»
   ¹ò Ý±ª»®¿¹» ß Û¨½´«-·±²-                                        ·²º±®³¿¬·±² ©» µ²±© ¿¾±«¬ ¬¸» þ±½½«®®»²½»þ
                                                                   ¿®» -«½¸ ¬¸¿¬ ²± ½±²º´·½¬ ¿°°»¿®- ¬± »¨·-¬
        Û¨½´«¼»¼ «²¼»® Ý±ª»®¿¹» ßò
                                                                   ¾»¬©»»² ¬¸» ·²¬»®»-¬- ±º ¬¸» ·²-«®»¼ ¿²¼ ¬¸»
ÍËÐÐÔÛÓÛÒÌßÎÇ ÐßÇÓÛÒÌÍ ó ÝÑÊÛÎßÙÛÍ                                 ·²¬»®»-¬- ±º ¬¸» ·²¼»³²·¬»»å
ß ßÒÜ Þ
                                                               »ò Ì¸» ·²¼»³²·¬»» ¿²¼ ¬¸» ·²-«®»¼ ¿-µ «- ¬±
ïò É» ©·´´ °¿§ô ©·¬¸ ®»-°»½¬ ¬± ¿²§ ½´¿·³ ©»                       ½±²¼«½¬ ¿²¼ ½±²¬®±´ ¬¸» ¼»º»²-» ±º ¬¸¿¬
   ·²ª»-¬·¹¿¬» ±® -»¬¬´»ô ±® ¿²§ þ-«·¬þ ¿¹¿·²-¬ ¿²                 ·²¼»³²·¬»» ¿¹¿·²-¬ -«½¸ þ-«·¬þ ¿²¼ ¿¹®»» ¬¸¿¬
   ·²-«®»¼ ©» ¼»º»²¼æ                                             ©» ½¿² ¿--·¹² ¬¸» -¿³» ½±«²-»´ ¬± ¼»º»²¼
   ¿ò ß´´ »¨°»²-»- ©» ·²½«®ò                                       ¬¸» ·²-«®»¼ ¿²¼ ¬¸» ·²¼»³²·¬»»å ¿²¼
   ¾ò Ë° ¬± üïôððð º±® ½±-¬ ±º ¾¿·´ ¾±²¼- ®»¯«·®»¼             ºò Ì¸» ·²¼»³²·¬»»æ
        ¾»½¿«-» ±º ¿½½·¼»²¬- ±® ¬®¿ºº·½ ´¿© ª·±´¿¬·±²-
                                                                  øï÷ ß¹®»»- ·² ©®·¬·²¹ ¬±æ
        ¿®·-·²¹ ±«¬ ±º ¬¸» «-» ±º ¿²§ ª»¸·½´» ¬± ©¸·½¸
        ¬¸» Þ±¼·´§ ×²¶«®§ Ô·¿¾·´·¬§ Ý±ª»®¿¹» ¿°°´·»-ò                ø¿÷ Ý±±°»®¿¬» ©·¬¸ «- ·² ¬¸» ·²ª»-¬·¹¿¬·±²ô
        É» ¼± ²±¬ ¸¿ª» ¬± º«®²·-¸ ¬¸»-» ¾±²¼-ò                           -»¬¬´»³»²¬ ±® ¼»º»²-» ±º ¬¸» þ-«·¬þå
   ½ò Ì¸» ½±-¬ ±º ¿°°»¿´ ¾±²¼- ±® ¾±²¼- ¬± ®»´»¿-»                   ø¾÷ ×³³»¼·¿¬»´§ -»²¼ «- ½±°·»- ±º ¿²§
        ¿¬¬¿½¸³»²¬-ô ¾«¬ ±²´§ º±® ¾±²¼ ¿³±«²¬-                           ¼»³¿²¼-ô ²±¬·½»-ô -«³³±²-»- ±® ´»¹¿´
        ©·¬¸·² ¬¸» ¿°°´·½¿¾´» ´·³·¬ ±º ·²-«®¿²½»ò É» ¼±                  °¿°»®- ®»½»·ª»¼ ·² ½±²²»½¬·±² ©·¬¸ ¬¸»
        ²±¬ ¸¿ª» ¬± º«®²·-¸ ¬¸»-» ¾±²¼-ò                                 þ-«·¬þå
   ¼ò ß´´ ®»¿-±²¿¾´» »¨°»²-»- ·²½«®®»¼ ¾§ ¬¸»                        ø½÷ Ò±¬·º§ ¿²§ ±¬¸»® ·²-«®»® ©¸±-»
        ·²-«®»¼ ¿¬ ±«® ®»¯«»-¬ ¬± ¿--·-¬ «- ·² ¬¸»                       ½±ª»®¿¹»     ·-  ¿ª¿·´¿¾´»    ¬±    ¬¸»
        ·²ª»-¬·¹¿¬·±² ±® ¼»º»²-» ±º ¬¸» ½´¿·³ ±® þ-«·¬þô                 ·²¼»³²·¬»»å ¿²¼
        ·²½´«¼·²¹ ¿½¬«¿´ ´±-- ±º »¿®²·²¹- «° ¬± üëðð ¿               ø¼÷ Ý±±°»®¿¬» ©·¬¸ «- ©·¬¸ ®»-°»½¬ ¬±
        ¼¿§ ¾»½¿«-» ±º ¬·³» ±ºº º®±³ ©±®µò                               ½±±®¼·²¿¬·²¹     ±¬¸»®       ¿°°´·½¿¾´»
   »ò ß´´ ½±«®¬ ½±-¬- ¬¿¨»¼ ¿¹¿·²-¬ ¬¸» ·²-«®»¼ ·²                       ·²-«®¿²½» ¿ª¿·´¿¾´» ¬± ¬¸» ·²¼»³²·¬»»å
        ¬¸» þ-«·¬þò      Ø±©»ª»®ô -«½¸ ½±-¬- ¼± ²±¬                      ¿²¼
        ·²½´«¼» ¿¬¬±®²»§-ù º»»-ô ¿¬¬±®²»§-ù »¨°»²-»-ô
                                                                  øî÷ Ð®±ª·¼»- «- ©·¬¸ ©®·¬¬»² ¿«¬¸±®·¦¿¬·±² ¬±æ
        ©·¬²»-- ±® »¨°»®¬ º»»-ô ±® ¿²§ ±¬¸»® »¨°»²-»-
        ±º ¿ °¿®¬§ ¬¿¨»¼ ¬± ¬¸» ·²-«®»¼ò                             ø¿÷ Ñ¾¬¿·² ®»½±®¼- ¿²¼ ±¬¸»® ·²º±®³¿¬·±²
    ºò Ð®»¶«¼¹³»²¬ ·²¬»®»-¬ ¿©¿®¼»¼ ¿¹¿·²-¬ ¬¸»                          ®»´¿¬»¼ ¬± ¬¸» þ-«·¬þå ¿²¼
        ·²-«®»¼ ±² ¬¸¿¬ °¿®¬ ±º ¬¸» ¶«¼¹³»²¬ ©» °¿§ò ×º              ø¾÷ Ý±²¼«½¬ ¿²¼ ½±²¬®±´ ¬¸» ¼»º»²-» ±º ¬¸»
        ©» ³¿µ» ¿² ±ºº»® ¬± °¿§ ¬¸» ¿°°´·½¿¾´» ´·³·¬ ±º                  ·²¼»³²·¬»» ·² -«½¸ þ-«·¬þò
        ·²-«®¿²½»ô ©» ©·´´ ²±¬ °¿§ ¿²§ °®»¶«¼¹³»²¬             Í± ´±²¹ ¿- ¬¸» ¿¾±ª» ½±²¼·¬·±²- ¿®» ³»¬ô
        ·²¬»®»-¬ ¾¿-»¼ ±² ¬¸¿¬ °»®·±¼ ±º ¬·³» ¿º¬»® ¬¸»        ¿¬¬±®²»§-ù º»»- ·²½«®®»¼ ¾§ «- ·² ¬¸» ¼»º»²-» ±º
        ±ºº»®ò                                                 ¬¸¿¬ ·²¼»³²·¬»»ô ²»½»--¿®§ ´·¬·¹¿¬·±² »¨°»²-»-
   ¹ò ß´´ ·²¬»®»-¬ ±² ¬¸» º«´´ ¿³±«²¬ ±º ¿²§ ¶«¼¹³»²¬          ·²½«®®»¼ ¾§ «- ¿²¼ ²»½»--¿®§ ´·¬·¹¿¬·±² »¨°»²-»-
        ¬¸¿¬ ¿½½®«»- ¿º¬»® »²¬®§ ±º ¬¸» ¶«¼¹³»²¬ ¿²¼           ·²½«®®»¼ ¾§ ¬¸» ·²¼»³²·¬»» ¿¬ ±«® ®»¯«»-¬ ©·´´ ¾»
        ¾»º±®» ©» ¸¿ª» °¿·¼ô ±ºº»®»¼ ¬± °¿§ô ±®                °¿·¼       ¿-       Í«°°´»³»²¬¿®§      Ð¿§³»²¬-ò
        ¼»°±-·¬»¼ ·² ½±«®¬ ¬¸» °¿®¬ ±º ¬¸» ¶«¼¹³»²¬            Ò±¬©·¬¸-¬¿²¼·²¹ ¬¸» °®±ª·-·±²- ±º Ð¿®¿¹®¿°¸
        ¬¸¿¬ ·- ©·¬¸·² ¬¸» ¿°°´·½¿¾´» ´·³·¬ ±º ·²-«®¿²½»ò      îò¾òøî÷ ±º Í»½¬·±² × ó Ý±ª»®¿¹» ß ó Þ±¼·´§ ×²¶«®§
   Ì¸»-» °¿§³»²¬- ©·´´ ²±¬ ®»¼«½» ¬¸» ´·³·¬- ±º                ß²¼ Ð®±°»®¬§ Ü¿³¿¹» Ô·¿¾·´·¬§ô -«½¸ °¿§³»²¬-
   ·²-«®¿²½»ò                                                  ©·´´ ²±¬ ¾» ¼»»³»¼ ¬± ¾» ¼¿³¿¹»- º±® þ¾±¼·´§
                                                               ·²¶«®§þ ¿²¼ þ°®±°»®¬§ ¼¿³¿¹»þ ¿²¼ ©·´´ ²±¬ ®»¼«½»
îò ×º ©» ¼»º»²¼ ¿² ·²-«®»¼ ¿¹¿·²-¬ ¿ þ-«·¬þ ¿²¼ ¿²
                                                               ¬¸» ´·³·¬- ±º ·²-«®¿²½»ò
   ·²¼»³²·¬»» ±º ¬¸» ·²-«®»¼ ·- ¿´-± ²¿³»¼ ¿- ¿
   °¿®¬§ ¬± ¬¸» þ-«·¬þô ©» ©·´´ ¼»º»²¼ ¬¸¿¬ ·²¼»³²·¬»»         Ñ«® ±¾´·¹¿¬·±² ¬± ¼»º»²¼ ¿² ·²-«®»¼ù- ·²¼»³²·¬»»
   ·º ¿´´ ±º ¬¸» º±´´±©·²¹ ½±²¼·¬·±²- ¿®» ³»¬æ                 ¿²¼ ¬± °¿§ º±® ¿¬¬±®²»§-ù º»»- ¿²¼ ²»½»--¿®§
   ¿ò Ì¸» þ-«·¬þ ¿¹¿·²-¬ ¬¸» ·²¼»³²·¬»» -»»µ-                  ´·¬·¹¿¬·±² »¨°»²-»- ¿- Í«°°´»³»²¬¿®§ Ð¿§³»²¬-
        ¼¿³¿¹»- º±® ©¸·½¸ ¬¸» ·²-«®»¼ ¸¿- ¿--«³»¼              »²¼- ©¸»²æ
        ¬¸» ´·¿¾·´·¬§ ±º ¬¸» ·²¼»³²·¬»» ·² ¿ ½±²¬®¿½¬ ±®       ¿ò É» ¸¿ª» «-»¼ «° ¬¸» ¿°°´·½¿¾´» ´·³·¬ ±º
        ¿¹®»»³»²¬ ¬¸¿¬ ·- ¿² þ·²-«®»¼ ½±²¬®¿½¬þå                    ·²-«®¿²½» ·² ¬¸» °¿§³»²¬ ±º ¶«¼¹³»²¬- ±®
   ¾ò Ì¸·- ·²-«®¿²½» ¿°°´·»- ¬± -«½¸ ´·¿¾·´·¬§                      -»¬¬´»³»²¬-å ±®
        ¿--«³»¼ ¾§ ¬¸» ·²-«®»¼å                                ¾ò Ì¸» ½±²¼·¬·±²- -»¬ º±®¬¸ ¿¾±ª»ô ±® ¬¸» ¬»®³- ±º
   ½ò Ì¸» ±¾´·¹¿¬·±² ¬± ¼»º»²¼ô ±® ¬¸» ½±-¬ ±º ¬¸»                ¬¸» ¿¹®»»³»²¬ ¼»-½®·¾»¼ ·² Ð¿®¿¹®¿°¸ ºò
        ¼»º»²-» ±ºô ¬¸¿¬ ·²¼»³²·¬»»ô ¸¿- ¿´-± ¾»»²                ¿¾±ª»ô ¿®» ²± ´±²¹»® ³»¬ò



Ð¿¹» ïðCase
        ±º îï 3:24-cv-00490-FDW-SCR                Document 1-4 Filed 05/21/24 Page 240ØÙ
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                                                                                           ðð ðï ðç ïê
ÍÛÝÌ×ÑÒ ×× ó ÉØÑ ×Í ßÒ ×ÒÍËÎÛÜ                                         þª±´«²¬»»® ©±®µ»®þ ¿- ¿ ½±²-»¯«»²½»
ïò ×º §±« ¿®» ¼»-·¹²¿¬»¼ ·² ¬¸» Ü»½´¿®¿¬·±²- ¿-æ                       ±º Ð¿®¿¹®¿°¸ øï÷ø¿÷ ¿¾±ª»å
   ¿ò ß² ·²¼·ª·¼«¿´ô §±« ¿²¼ §±«® -°±«-» ¿®»                       ø½÷ Ú±® ©¸·½¸ ¬¸»®» ·- ¿²§ ±¾´·¹¿¬·±² ¬±
       ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸» ½±²¼«½¬                  -¸¿®» ¼¿³¿¹»- ©·¬¸ ±® ®»°¿§ -±³»±²»
       ±º ¿ ¾«-·²»-- ±º ©¸·½¸ §±« ¿®» ¬¸» -±´»                         »´-» ©¸± ³«-¬ °¿§ ¼¿³¿¹»- ¾»½¿«-»
       ±©²»®ò                                                          ±º ¬¸» ·²¶«®§ ¼»-½®·¾»¼ ·² Ð¿®¿¹®¿°¸-
                                                                       øï÷ø¿÷ ±® øï÷ø¾÷ ¿¾±ª»å ±®
   ¾ò ß °¿®¬²»®-¸·° ±® ¶±·²¬ ª»²¬«®»ô §±« ¿®» ¿²
      ·²-«®»¼ò Ç±«® ³»³¾»®-ô §±«® °¿®¬²»®-ô ¿²¼                    ø¼÷ ß®·-·²¹ ±«¬ ±º ¸·- ±® ¸»® °®±ª·¼·²¹ ±®
      ¬¸»·® -°±«-»- ¿®» ¿´-± ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸                   º¿·´·²¹ ¬± °®±ª·¼» °®±º»--·±²¿´ ¸»¿´¬¸
      ®»-°»½¬ ¬± ¬¸» ½±²¼«½¬ ±º §±«® ¾«-·²»--ò                         ½¿®» -»®ª·½»-ò
   ½ò ß ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§ô §±« ¿®» ¿²                       ×º §±« ¿®» ²±¬ ·² ¬¸» ¾«-·²»-- ±º °®±ª·¼·²¹
      ·²-«®»¼ò Ç±«® ³»³¾»®- ¿®» ¿´-± ·²-«®»¼-ô ¾«¬                  °®±º»--·±²¿´ ¸»¿´¬¸ ½¿®» -»®ª·½»-æ
      ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸» ½±²¼«½¬ ±º §±«®                      ø¿÷ Í«¾°¿®¿¹®¿°¸- øï÷ø¿÷ô øï÷ø¾÷ ¿²¼ øï÷ø½÷
      ¾«-·²»--ò Ç±«® ³¿²¿¹»®- ¿®» ·²-«®»¼-ô ¾«¬                         ¿¾±ª» ¼± ²±¬ ¿°°´§ ¬± ¿²§ þ»³°´±§»»þ
      ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸»·® ¼«¬·»- ¿- §±«®                         ±® þª±´«²¬»»® ©±®µ»®þ °®±ª·¼·²¹ º·®-¬ ¿·¼
      ³¿²¿¹»®-ò                                                         -»®ª·½»-å ¿²¼
   ¼ò ß² ±®¹¿²·¦¿¬·±² ±¬¸»® ¬¸¿² ¿ °¿®¬²»®-¸·°ô ¶±·²¬               ø¾÷ Í«¾°¿®¿¹®¿°¸ øï÷ø¼÷ ¿¾±ª» ¼±»- ²±¬
      ª»²¬«®» ±® ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§ô §±« ¿®»                     ¿°°´§ ¬± ¿²§ ²«®-»ô »³»®¹»²½§ ³»¼·½¿´
      ¿² ·²-«®»¼ò Ç±«® þ»¨»½«¬·ª» ±ºº·½»®-þ ¿²¼                         ¬»½¸²·½·¿² ±® °¿®¿³»¼·½ »³°´±§»¼ ¾§
      ¼·®»½¬±®- ¿®» ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬±                  §±« ¬± °®±ª·¼» -«½¸ -»®ª·½»-ò
      ¬¸»·® ¼«¬·»- ¿- §±«® ±ºº·½»®- ±® ¼·®»½¬±®-ò Ç±«®          øî÷ þÐ®±°»®¬§ ¼¿³¿¹»þ ¬± °®±°»®¬§æ
      -¬±½µ¸±´¼»®- ¿®» ¿´-± ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸
      ®»-°»½¬ ¬± ¬¸»·® ´·¿¾·´·¬§ ¿- -¬±½µ¸±´¼»®-ò                  ø¿÷ Ñ©²»¼ô ±½½«°·»¼ ±® «-»¼ ¾§ô
   »ò ß ¬®«-¬ô §±« ¿®» ¿² ·²-«®»¼ò Ç±«® ¬®«-¬»»- ¿®»               ø¾÷ Î»²¬»¼ ¬±ô ·² ¬¸» ½¿®»ô ½«-¬±¼§ ±®
      ¿´-± ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸»·®                    ½±²¬®±´ ±ºô ±® ±ª»® ©¸·½¸ °¸§-·½¿´
      ¼«¬·»- ¿- ¬®«-¬»»-ò                                              ½±²¬®±´ ·- ¾»·²¹ »¨»®½·-»¼ º±® ¿²§
                                                                       °«®°±-» ¾§
îò Û¿½¸ ±º ¬¸» º±´´±©·²¹ ·- ¿´-± ¿² ·²-«®»¼æ
                                                                  §±«ô ¿²§ ±º §±«® þ»³°´±§»»-þô þª±´«²¬»»®
   ¿ò Û³°´±§»»- ß²¼ Ê±´«²¬»»® É±®µ»®-                             ©±®µ»®-þô ¿²§ °¿®¬²»® ±® ³»³¾»® ø·º §±«
      Ç±«® þª±´«²¬»»® ©±®µ»®-þ ±²´§ ©¸·´»                         ¿®» ¿ °¿®¬²»®-¸·° ±® ¶±·²¬ ª»²¬«®»÷ô ±® ¿²§
      °»®º±®³·²¹ ¼«¬·»- ®»´¿¬»¼ ¬± ¬¸» ½±²¼«½¬ ±º                 ³»³¾»® ø·º §±« ¿®» ¿ ´·³·¬»¼ ´·¿¾·´·¬§
      §±«® ¾«-·²»--ô ±® §±«® þ»³°´±§»»-þô ±¬¸»®                   ½±³°¿²§÷ò
      ¬¸¿² »·¬¸»® §±«® þ»¨»½«¬·ª» ±ºº·½»®-þ ø·º §±« ¿®»      ¾ò Î»¿´ Û-¬¿¬» Ó¿²¿¹»®
      ¿² ±®¹¿²·¦¿¬·±² ±¬¸»® ¬¸¿² ¿ °¿®¬²»®-¸·°ô ¶±·²¬
      ª»²¬«®» ±® ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§÷ ±® §±«®             ß²§ °»®-±² ø±¬¸»® ¬¸¿² §±«® þ»³°´±§»»þ ±®
      ³¿²¿¹»®- ø·º §±« ¿®» ¿ ´·³·¬»¼ ´·¿¾·´·¬§                  þª±´«²¬»»® ©±®µ»®þ÷ô ±® ¿²§ ±®¹¿²·¦¿¬·±² ©¸·´»
      ½±³°¿²§÷ô ¾«¬ ±²´§ º±® ¿½¬- ©·¬¸·² ¬¸» -½±°»              ¿½¬·²¹ ¿- §±«® ®»¿´ »-¬¿¬» ³¿²¿¹»®ò
      ±º ¬¸»·® »³°´±§³»²¬ ¾§ §±« ±® ©¸·´»                    ½ò Ì»³°±®¿®§ Ý«-¬±¼·¿²- Ñº Ç±«® Ð®±°»®¬§
      °»®º±®³·²¹ ¼«¬·»- ®»´¿¬»¼ ¬± ¬¸» ½±²¼«½¬ ±º                ß²§ °»®-±² ±® ±®¹¿²·¦¿¬·±² ¸¿ª·²¹ °®±°»®
      §±«® ¾«-·²»--ò                                             ¬»³°±®¿®§ ½«-¬±¼§ ±º §±«® °®±°»®¬§ ·º §±« ¼·»ô
      Ø±©»ª»®ô ²±²» ±º ¬¸»-» þ»³°´±§»»-þ ±®                      ¾«¬ ±²´§æ
      þª±´«²¬»»® ©±®µ»®-þ ¿®» ·²-«®»¼- º±®æ                     øï÷ É·¬¸ ®»-°»½¬ ¬± ´·¿¾·´·¬§ ¿®·-·²¹ ±«¬ ±º ¬¸»
      øï÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹              ³¿·²¬»²¿²½» ±® «-» ±º ¬¸¿¬ °®±°»®¬§å ¿²¼
          ·²¶«®§þæ                                              øî÷ Ë²¬·´ §±«® ´»¹¿´ ®»°®»-»²¬¿¬·ª» ¸¿- ¾»»²
          ø¿÷ Ì± §±«ô ¬± §±«® °¿®¬²»®- ±® ³»³¾»®- ø·º               ¿°°±·²¬»¼ò
              §±« ¿®» ¿ °¿®¬²»®-¸·° ±® ¶±·²¬ ª»²¬«®»÷ô       ¼ò Ô»¹¿´ Î»°®»-»²¬¿¬·ª» ×º Ç±« Ü·»
              ¬± §±«® ³»³¾»®- ø·º §±« ¿®» ¿ ´·³·¬»¼
              ´·¿¾·´·¬§ ½±³°¿²§÷ô ¬± ¿ ½±óþ»³°´±§»»þ            Ç±«® ´»¹¿´ ®»°®»-»²¬¿¬·ª» ·º §±« ¼·»ô ¾«¬ ±²´§
                                                                ©·¬¸ ®»-°»½¬ ¬± ¼«¬·»- ¿- -«½¸ò Ì¸¿¬
              ©¸·´» ·² ¬¸» ½±«®-» ±º ¸·- ±® ¸»®
              »³°´±§³»²¬ ±® °»®º±®³·²¹ ¼«¬·»-                   ®»°®»-»²¬¿¬·ª» ©·´´ ¸¿ª» ¿´´ §±«® ®·¹¸¬- ¿²¼
              ®»´¿¬»¼ ¬± ¬¸» ½±²¼«½¬ ±º §±«®                    ¼«¬·»- «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
              ¾«-·²»--ô ±® ¬± §±«® ±¬¸»® þª±´«²¬»»®          »ò Ë²²¿³»¼ Í«¾-·¼·¿®§
              ©±®µ»®-þ ©¸·´» °»®º±®³·²¹ ¼«¬·»-                  ß²§ -«¾-·¼·¿®§ô ¿²¼ -«¾-·¼·¿®§ ¬¸»®»±ºô ±º
              ®»´¿¬»¼ ¬± ¬¸» ½±²¼«½¬ ±º §±«®                    §±«®- ©¸·½¸ ·- ¿ ´»¹¿´´§ ·²½±®°±®¿¬»¼ »²¬·¬§ ±º
              ¾«-·²»--å                                         ©¸·½¸ §±« ±©² ¿ º·²¿²½·¿´ ·²¬»®»-¬ ±º ³±®»
          ø¾÷ Ì± ¬¸» -°±«-»ô ½¸·´¼ô °¿®»²¬ô ¾®±¬¸»® ±®          ¬¸¿² ëðû ±º ¬¸» ª±¬·²¹ -¬±½µ ±² ¬¸» »ºº»½¬·ª»
              -·-¬»® ±º ¬¸¿¬ ½±óþ»³°´±§»»þ ±® ¬¸¿¬              ¼¿¬» ±º ¬¸» Ý±ª»®¿¹» Ð¿®¬ò


      Case
ØÙ ðð ðï     3:24-cv-00490-FDW-SCR
         ðç ïê                                   Document 1-4 Filed 05/21/24 Page 241 of 579ïï ±º îï
                                                                                      Ð¿¹»
       Ì¸» ·²-«®¿²½» ¿ºº±®¼»¼ ¸»®»·² º±® ¿²§                 ß °»®-±² ±® ±®¹¿²·¦¿¬·±² ·- ¿² ¿¼¼·¬·±²¿´ ·²-«®»¼
       -«¾-·¼·¿®§ ²±¬ ²¿³»¼ ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬            «²¼»® ¬¸·- °®±ª·-·±² ±²´§ º±® ¬¸¿¬ °»®·±¼ ±º ¬·³»
       ¿- ¿ ²¿³»¼ ·²-«®»¼ ¼±»- ²±¬ ¿°°´§ ¬± ·²¶«®§           ®»¯«·®»¼ ¾§ ¬¸» ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ò
       ±® ¼¿³¿¹» ©·¬¸ ®»-°»½¬ ¬± ©¸·½¸ -«½¸ ·²-«®»¼          Ø±©»ª»®ô ²± -«½¸ °»®-±² ±® ±®¹¿²·¦¿¬·±² ·- ¿²
       ·- ¿´-± ¿ ²¿³»¼ ·²-«®»¼ «²¼»® ¿²±¬¸»® °±´·½§          ·²-«®»¼ «²¼»® ¬¸·- °®±ª·-·±² ·º -«½¸ °»®-±² ±®
       ±® ©±«´¼ ¾» ¿ ²¿³»¼ ·²-«®»¼ «²¼»® -«½¸                ±®¹¿²·¦¿¬·±² ·- ·²½´«¼»¼ ¿- ¿² ·²-«®»¼ ¾§ ¿²
       °±´·½§ ¾«¬ º±® ·¬- ¬»®³·²¿¬·±² ±® ¬¸» »¨¸¿«-¬·±²      »²¼±®-»³»²¬ ·--«»¼ ¾§ «- ¿²¼ ³¿¼» ¿ °¿®¬ ±º
       ±º ·¬- ´·³·¬- ±º ·²-«®¿²½»ò                           ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
íò Ò»©´§ ß½¯«·®»¼ Ñ® Ú±®³»¼ Ñ®¹¿²·¦¿¬·±²                     ¿ò Ê»²¼±®-
   ß²§ ±®¹¿²·¦¿¬·±² §±« ²»©´§ ¿½¯«·®» ±® º±®³ô                    ß²§ °»®-±²ø-÷ ±® ±®¹¿²·¦¿¬·±²ø-÷ ø®»º»®®»¼ ¬±
   ±¬¸»® ¬¸¿² ¿ °¿®¬²»®-¸·°ô ¶±·²¬ ª»²¬«®» ±® ´·³·¬»¼             ¾»´±© ¿- ª»²¼±®÷ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬±
   ´·¿¾·´·¬§ ½±³°¿²§ô ¿²¼ ±ª»® ©¸·½¸ §±« ³¿·²¬¿·²                 þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¿®·-·²¹
   º·²¿²½·¿´ ·²¬»®»-¬ ±º ³±®» ¬¸¿² ëðû ±º ¬¸» ª±¬·²¹              ±«¬ ±º þ§±«® °®±¼«½¬-þ ©¸·½¸ ¿®» ¼·-¬®·¾«¬»¼ ±®
   -¬±½µô ©·´´ ¯«¿´·º§ ¿- ¿ Ò¿³»¼ ×²-«®»¼ ·º ¬¸»®» ·-             -±´¼ ·² ¬¸» ®»¹«´¿® ½±«®-» ±º ¬¸» ª»²¼±®ù-
   ²± ±¬¸»® -·³·´¿® ·²-«®¿²½» ¿ª¿·´¿¾´» ¬± ¬¸¿¬                   ¾«-·²»-- ¿²¼ ±²´§ ·º ¬¸·- Ý±ª»®¿¹» Ð¿®¬
   ±®¹¿²·¦¿¬·±²ò Ø±©»ª»®æ                                         °®±ª·¼»- ½±ª»®¿¹» º±® þ¾±¼·´§ ·²¶«®§þ ±®
   ¿ò Ý±ª»®¿¹» «²¼»® ¬¸·- °®±ª·-·±² ·- ¿ºº±®¼»¼ ±²´§              þ°®±°»®¬§ ¼¿³¿¹»þ ·²½´«¼»¼ ©·¬¸·² ¬¸»
       «²¬·´ ¬¸» ïèð¬¸ ¼¿§ ¿º¬»® §±« ¿½¯«·®» ±® º±®³              þ°®±¼«½¬-ó½±³°´»¬»¼ ±°»®¿¬·±²- ¸¿¦¿®¼þò
       ¬¸» ±®¹¿²·¦¿¬·±² ±® ¬¸» »²¼ ±º ¬¸» °±´·½§                 øï÷ Ì¸» ·²-«®¿²½» ¿ºº±®¼»¼ ¬¸» ª»²¼±® ·-
       °»®·±¼ô ©¸·½¸»ª»® ·- »¿®´·»®å                                  -«¾¶»½¬ ¬± ¬¸» º±´´±©·²¹ ¿¼¼·¬·±²¿´
   ¾ò Ý±ª»®¿¹» ß ¼±»- ²±¬ ¿°°´§ ¬± þ¾±¼·´§ ·²¶«®§þ                    »¨½´«-·±²-æ
       ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¬¸¿¬ ±½½«®®»¼ ¾»º±®»                      Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ
       §±« ¿½¯«·®»¼ ±® º±®³»¼ ¬¸» ±®¹¿²·¦¿¬·±²å ¿²¼
                                                                      ø¿÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ º±®
   ½ò Ý±ª»®¿¹» Þ ¼±»- ²±¬ ¿°°´§ ¬± þ°»®-±²¿´ ¿²¼                          ©¸·½¸ ¬¸» ª»²¼±® ·- ±¾´·¹¿¬»¼ ¬± °¿§
       ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º ¿² ±ºº»²-»                      ¼¿³¿¹»- ¾§ ®»¿-±² ±º ¬¸» ¿--«³°¬·±²
       ½±³³·¬¬»¼ ¾»º±®» §±« ¿½¯«·®»¼ ±® º±®³»¼ ¬¸»                        ±º ´·¿¾·´·¬§ ·² ¿ ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ò
       ±®¹¿²·¦¿¬·±²ò                                                      Ì¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬±
ìò Ò±²±©²»¼ É¿¬»®½®¿º¬                                                    ´·¿¾·´·¬§ º±® ¼¿³¿¹»- ¬¸¿¬ ¬¸» ª»²¼±®
   É·¬¸ ®»-°»½¬ ¬± ©¿¬»®½®¿º¬ §±« ¼± ²±¬ ±©² ¬¸¿¬ ·-                      ©±«´¼ ¸¿ª» ·² ¬¸» ¿¾-»²½» ±º ¬¸»
   ´»-- ¬¸¿² ëï º»»¬ ´±²¹ ¿²¼ ·- ²±¬ ¾»·²¹ «-»¼ ¬±                        ½±²¬®¿½¬ ±® ¿¹®»»³»²¬å
   ½¿®®§ °»®-±²- º±® ¿ ½¸¿®¹»ô ¿²§ °»®-±² ·- ¿²                       ø¾÷ ß²§ »¨°®»-- ©¿®®¿²¬§ «²¿«¬¸±®·¦»¼ ¾§
   ·²-«®»¼ ©¸·´» ±°»®¿¬·²¹ -«½¸ ©¿¬»®½®¿º¬ ©·¬¸ §±«®                      §±«å
   °»®³·--·±²ò ß²§ ±¬¸»® °»®-±² ±® ±®¹¿²·¦¿¬·±²                       ø½÷ ß²§ °¸§-·½¿´ ±® ½¸»³·½¿´ ½¸¿²¹» ·² ¬¸»
   ®»-°±²-·¾´» º±® ¬¸» ½±²¼«½¬ ±º -«½¸ °»®-±² ·-                          °®±¼«½¬ ³¿¼» ·²¬»²¬·±²¿´´§ ¾§ ¬¸»
   ¿´-± ¿² ·²-«®»¼ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬± ´·¿¾·´·¬§                    ª»²¼±®å
   ¿®·-·²¹ ±«¬ ±º ¬¸» ±°»®¿¬·±² ±º ¬¸» ©¿¬»®½®¿º¬ô ¿²¼
                                                                      ø¼÷ Î»°¿½µ¿¹·²¹ô »¨½»°¬ ©¸»² «²°¿½µ»¼
   ±²´§ ·º ²± ±¬¸»® ·²-«®¿²½» ±º ¿²§ µ·²¼ ·- ¿ª¿·´¿¾´»
                                                                          -±´»´§ º±® ¬¸» °«®°±-» ±º ·²-°»½¬·±²ô
   ¬± ¬¸¿¬ °»®-±² ±® ±®¹¿²·¦¿¬·±² º±® ¬¸·- ´·¿¾·´·¬§ò
                                                                          ¼»³±²-¬®¿¬·±²ô       ¬»-¬·²¹ô    ±®   ¬¸»
   Ø±©»ª»®ô ²± °»®-±² ±® ±®¹¿²·¦¿¬·±² ·- ¿² ·²-«®»¼                       -«¾-¬·¬«¬·±² ±º °¿®¬- «²¼»® ·²-¬®«½¬·±²-
   ©·¬¸ ®»-°»½¬ ¬±æ                                                       º®±³ ¬¸» ³¿²«º¿½¬«®»®ô ¿²¼ ¬¸»²
   ¿ò þÞ±¼·´§ ·²¶«®§þ ¬± ¿ ½±óþ»³°´±§»»þ ±º ¬¸»                           ®»°¿½µ¿¹»¼ ·² ¬¸» ±®·¹·²¿´ ½±²¬¿·²»®å
       °»®-±² ±°»®¿¬·²¹ ¬¸» ©¿¬»®½®¿º¬å ±®                           ø»÷ ß²§ º¿·´«®» ¬± ³¿µ» -«½¸ ·²-°»½¬·±²-ô
   ¾ò þÐ®±°»®¬§ ¼¿³¿¹»þ ¬± °®±°»®¬§ ±©²»¼ ¾§ô                             ¿¼¶«-¬³»²¬-ô ¬»-¬- ±® -»®ª·½·²¹ ¿- ¬¸»
       ®»²¬»¼ ¬±ô ·² ¬¸» ½¸¿®¹» ±º ±® ±½½«°·»¼ ¾§ §±«                     ª»²¼±® ¸¿- ¿¹®»»¼ ¬± ³¿µ» ±® ²±®³¿´´§
       ±® ¬¸» »³°´±§»® ±º ¿²§ °»®-±² ©¸± ·- ¿²                            «²¼»®¬¿µ»- ¬± ³¿µ» ·² ¬¸» «-«¿´
       ·²-«®»¼ «²¼»® ¬¸·- °®±ª·-·±²ò                                      ½±«®-» ±º ¾«-·²»--ô ·² ½±²²»½¬·±² ©·¬¸
ëò ß¼¼·¬·±²¿´ ×²-«®»¼- É¸»² Î»¯«·®»¼ Þ§                                   ¬¸» ¼·-¬®·¾«¬·±² ±® -¿´» ±º ¬¸» °®±¼«½¬-å
   É®·¬¬»² Ý±²¬®¿½¬ô É®·¬¬»² ß¹®»»³»²¬ Ñ®                             øº÷ Ü»³±²-¬®¿¬·±²ô ·²-¬¿´´¿¬·±²ô -»®ª·½·²¹
   Ð»®³·¬                                                                 ±® ®»°¿·® ±°»®¿¬·±²-ô »¨½»°¬ -«½¸
   Ì¸» º±´´±©·²¹ °»®-±²ø-÷ ±® ±®¹¿²·¦¿¬·±²ø-÷ ¿®» ¿²                      ±°»®¿¬·±²- °»®º±®³»¼ ¿¬ ¬¸» ª»²¼±®ù-
   ¿¼¼·¬·±²¿´ ·²-«®»¼ ©¸»² §±« ¸¿ª» ¿¹®»»¼ô ·² ¿                          °®»³·-»- ·² ½±²²»½¬·±² ©·¬¸ ¬¸» -¿´» ±º
   ©®·¬¬»² ½±²¬®¿½¬ô ©®·¬¬»² ¿¹®»»³»²¬ ±® ¾»½¿«-» ±º                      ¬¸» °®±¼«½¬å
   ¿ °»®³·¬ ·--«»¼ ¾§ ¿ -¬¿¬» ±® °±´·¬·½¿´ -«¾¼·ª·-·±²ô              ø¹÷ Ð®±¼«½¬- ©¸·½¸ô ¿º¬»® ¼·-¬®·¾«¬·±² ±®
   ¬¸¿¬ -«½¸ °»®-±² ±® ±®¹¿²·¦¿¬·±² ¾» ¿¼¼»¼ ¿- ¿²                        -¿´» ¾§ §±«ô ¸¿ª» ¾»»² ´¿¾»´»¼ ±®
   ¿¼¼·¬·±²¿´ ·²-«®»¼ ±² §±«® °±´·½§ô °®±ª·¼»¼ ¬¸»                        ®»´¿¾»´»¼ ±® «-»¼ ¿- ¿ ½±²¬¿·²»®ô °¿®¬
   ·²¶«®§ ±® ¼¿³¿¹» ±½½«®- -«¾-»¯«»²¬ ¬± ¬¸»                              ±® ·²¹®»¼·»²¬ ±º ¿²§ ±¬¸»® ¬¸·²¹ ±®
   »¨»½«¬·±² ±º ¬¸» ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ò                                -«¾-¬¿²½» ¾§ ±® º±® ¬¸» ª»²¼±®å ±®


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         ø¸÷ þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ                 ±³·--·±²- ±º ¬¸±-» ¿½¬·²¹ ±² §±«® ¾»¸¿´ºæ
              ¿®·-·²¹ ±«¬ ±º ¬¸» -±´» ²»¹´·¹»²½» ±º ¬¸»          øï÷ ×² ½±²²»½¬·±² ©·¬¸ §±«® °®»³·-»-å ±®
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                                                                      ±°»®¿¬·±²- °»®º±®³»¼ ¾§ §±« ±® ±² §±«®
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                                                                      ¾»¸¿´ºò
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                                                                  É·¬¸ ®»-°»½¬ ¬± ¬¸» ·²-«®¿²½» ¿ºº±®¼»¼ ¬¸»-»
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                                                                  ¿¼¼·¬·±²¿´ ·²-«®»¼-ô ¬¸» º±´´±©·²¹ ¿¼¼·¬·±²¿´
                  °¿®¿¹®¿°¸- ø¼÷ ±® øº÷å ±®
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                  ¿¹®»»¼ ¬± ³¿µ» ±® ²±®³¿´´§
                                                                  ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¿®·-·²¹ ±«¬ ±º ¬¸» ®»²¼»®·²¹
                  «²¼»®¬¿µ»- ¬± ³¿µ» ·² ¬¸» «-«¿´
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                                                                  »³°´±§³»²¬ô ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®-
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                                                                      ±«¬ ±º ±°»®¿¬·±²- °»®º±®³»¼ º±® ¬¸» -¬¿¬»
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         §±« ½»¿-» ¬± ´»¿-» ¬¸¿¬ ´¿²¼å ±®                     ºò ß²§ Ñ¬¸»® Ð¿®¬§
      îò Í¬®«½¬«®¿´ ¿´¬»®¿¬·±²-ô ²»© ½±²-¬®«½¬·±² ±®
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         ¾»¸¿´º ±º -«½¸ °»®-±² ±® ±®¹¿²·¦¿¬·±²ò
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  ¼ò ß®½¸·¬»½¬-ô Û²¹·²»»®- Ñ® Í«®ª»§±®-                           ´·¿¾·´·¬§ º±® þ¾±¼·´§ ·²¶«®§þô þ°®±°»®¬§ ¼¿³¿¹»þ
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     ©·¬¸ ®»-°»½¬ ¬± ´·¿¾·´·¬§ º±® þ¾±¼·´§ ·²¶«®§þô              ©¸±´» ±® ·² °¿®¬ô ¾§ §±«® ¿½¬- ±® ±³·--·±²- ±®
      þ°®±°»®¬§ ¼¿³¿¹»þ ±® þ°»®-±²¿´ ¿²¼                          ¬¸» ¿½¬- ±® ±³·--·±²- ±º ¬¸±-» ¿½¬·²¹ ±² §±«®
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     øî÷ ×² ½±²²»½¬·±² ©·¬¸ §±«® °®»³·-»- ±©²»¼           Ò± °»®-±² ±® ±®¹¿²·¦¿¬·±² ·- ¿² ·²-«®»¼ ©·¬¸ ®»-°»½¬
         ¾§ ±® ®»²¬»¼ ¬± §±«å ±®                          ¬± ¬¸» ½±²¼«½¬ ±º ¿²§ ½«®®»²¬ ±® °¿-¬ °¿®¬²»®-¸·°ô
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            ®»¯«·®»- §±« ¬± °®±ª·¼» -«½¸ ½±ª»®¿¹»            Ì¸» Ô·³·¬- ±º ×²-«®¿²½» -¸±©² ·² ¬¸»
            ¬± -«½¸ ¿¼¼·¬·±²¿´ ·²-«®»¼å ¿²¼                  Ü»½´¿®¿¬·±²- ¿²¼ ¬¸» ®«´»- ¾»´±© º·¨ ¬¸» ³±-¬ ©»
        ø¾÷ Ì¸·- Ý±ª»®¿¹» Ð¿®¬ °®±ª·¼»- ½±ª»®¿¹»             ©·´´ °¿§ ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±ºæ
            º±® þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ         ¿ò ×²-«®»¼-å
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         ¿¹®»»³»²¬ô ¬¸» ·²-«®¿²½» ¿ºº±®¼»¼ ¬± -«½¸           ¾ò Ü¿³¿¹»- «²¼»® Ý±ª»®¿¹» ßô »¨½»°¬
         ¿¼¼·¬·±²¿´ ·²-«®»¼ ©·´´ ²±¬ ¾» ¾®±¿¼»® ¬¸¿²            ¼¿³¿¹»- ¾»½¿«-» ±º þ¾±¼·´§ ·²¶«®§þ ±®
         ¬¸¿¬ ©¸·½¸ §±« ¿®» ®»¯«·®»¼ ¾§ ¬¸» ½±²¬®¿½¬            þ°®±°»®¬§ ¼¿³¿¹»þ ·²½´«¼»¼ ·² ¬¸» þ°®±¼«½¬-ó
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         ½¸¿²¹»      ±®¼»®-    ±®    ¼®¿©·²¹-     ¿²¼        «²¼»® Ý±ª»®¿¹» Þ º±® ¬¸» -«³ ±º ¿´´ ¼¿³¿¹»-
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     ±¬¸»® ©®±²¹¼±·²¹ ·² ¬¸» -«°»®ª·-·±²ô ¸·®·²¹ô            ¬¸» -«³ ±ºæ
     »³°´±§³»²¬ô ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®-            ¿ò Ü¿³¿¹»- «²¼»® Ý±ª»®¿¹» ßå ¿²¼
     ¾§ ¬¸¿¬ ·²-«®»¼ô ·º ¬¸» þ±½½«®®»²½»þ ©¸·½¸
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     ½¿«-»¼ ¬¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§
     ¼¿³¿¹»þô ±® ¬¸» ±ºº»²-» ©¸·½¸ ½¿«-»¼ ¬¸»                ¾»½¿«-» ±º ¿´´ þ¾±¼·´§ ·²¶«®§þ ¿²¼ þ°®±°»®¬§
     þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þô ·²ª±´ª»¼ ¬¸»         ¼¿³¿¹»þ ¿®·-·²¹ ±«¬ ±º ¿²§ ±²» þ±½½«®®»²½»þò
     ®»²¼»®·²¹ ±º ±® ¬¸» º¿·´«®» ¬± ®»²¼»® ¿²§            êò Ü¿³¿¹» Ì± Ð®»³·-»- Î»²¬»¼ Ì± Ç±« Ô·³·¬
     °®±º»--·±²¿´ -»®ª·½»- ¾§ ±® º±® §±«ò                    Í«¾¶»½¬ ¬± ëò ¿¾±ª»ô ¬¸» Ü¿³¿¹» Ì± Ð®»³·-»-
  Ì¸» ´·³·¬- ±º ·²-«®¿²½» ¬¸¿¬ ¿°°´§ ¬± ¿¼¼·¬·±²¿´           Î»²¬»¼ Ì± Ç±« Ô·³·¬ ·- ¬¸» ³±-¬ ©» ©·´´ °¿§
  ·²-«®»¼- ·- ¼»-½®·¾»¼ ·² Í»½¬·±² ××× ó Ô·³·¬- Ñº           «²¼»® Ý±ª»®¿¹» ß º±® ¼¿³¿¹»- ¾»½¿«-» ±º
  ×²-«®¿²½»ò                                                 þ°®±°»®¬§ ¼¿³¿¹»þ ¬± ¿²§ ±²» °®»³·-»-ô ©¸·´»
  Ø±© ¬¸·- ·²-«®¿²½» ¿°°´·»- ©¸»² ±¬¸»® ·²-«®¿²½»            ®»²¬»¼ ¬± §±«ô ±® ·² ¬¸» ½¿-» ±º ¼¿³¿¹» ¾§ º·®»ô
  ·- ¿ª¿·´¿¾´» ¬± ¬¸» ¿¼¼·¬·±²¿´ ·²-«®»¼ ·- ¼»-½®·¾»¼        ´·¹¸¬²·²¹ ±® »¨°´±-·±²ô ©¸·´» ®»²¬»¼ ¬± §±« ±®
  ·² ¬¸» Ñ¬¸»® ×²-«®¿²½» Ý±²¼·¬·±² ·² Í»½¬·±² ×Ê ó           ¬»³°±®¿®·´§ ±½½«°·»¼ ¾§ §±« ©·¬¸ °»®³·--·±² ±º
  Ý±³³»®½·¿´ Ù»²»®¿´ Ô·¿¾·´·¬§ Ý±²¼·¬·±²-ò                   ¬¸» ±©²»®ò



Ð¿¹» ïìCase
        ±º îï 3:24-cv-00490-FDW-SCR             Document 1-4 Filed 05/21/24 Page 244ØÙ
                                                                                     of 579
                                                                                        ðð ðï ðç ïê
   ×² ¬¸» ½¿-» ±º ¼¿³¿¹» ¾§ º·®»ô ´·¹¸¬²·²¹ ±®              ¾ò Ò±¬·½» Ñº Ý´¿·³
   »¨°´±-·±²ô ¬¸» Ü¿³¿¹» ¬± Ð®»³·-»- Î»²¬»¼ Ì±                  ×º ¿ ½´¿·³ ·- ³¿¼» ±® þ-«·¬þ ·- ¾®±«¹¸¬ ¿¹¿·²-¬
   Ç±« Ô·³·¬ ¿°°´·»- ¬± ¿´´ ¼¿³¿¹» °®±¨·³¿¬»´§                  ¿²§ ·²-«®»¼ô §±« ±® ¿²§ ¿¼¼·¬·±²¿´ ·²-«®»¼
   ½¿«-»¼ ¾§ ¬¸» -¿³» »ª»²¬ô ©¸»¬¸»® -«½¸                       ³«-¬æ
   ¼¿³¿¹» ®»-«´¬- º®±³ º·®»ô ´·¹¸¬²·²¹ ±® »¨°´±-·±²
   ±® ¿²§ ½±³¾·²¿¬·±² ±º ¬¸»-»ò                                øï÷ ×³³»¼·¿¬»´§ ®»½±®¼ ¬¸» -°»½·º·½- ±º ¬¸»
                                                                    ½´¿·³ ±® þ-«·¬þ ¿²¼ ¬¸» ¼¿¬» ®»½»·ª»¼å ¿²¼
éò Ó»¼·½¿´ Û¨°»²-» Ô·³·¬
                                                               øî÷ Ò±¬·º§ «- ¿- -±±² ¿- °®¿½¬·½¿¾´»ò
   Í«¾¶»½¬ ¬± ëò ¿¾±ª»ô ¬¸» Ó»¼·½¿´ Û¨°»²-» Ô·³·¬ ·-
   ¬¸» ³±-¬ ©» ©·´´ °¿§ «²¼»® Ý±ª»®¿¹» Ý º±® ¿´´               Ç±« ±® ¿²§ ¿¼¼·¬·±²¿´ ·²-«®»¼ ³«-¬ -»» ¬± ·¬
   ³»¼·½¿´ »¨°»²-»- ¾»½¿«-» ±º þ¾±¼·´§ ·²¶«®§þ                 ¬¸¿¬ ©» ®»½»·ª» ©®·¬¬»² ²±¬·½» ±º ¬¸» ½´¿·³ ±®
   -«-¬¿·²»¼ ¾§ ¿²§ ±²» °»®-±²ò                                þ-«·¬þ ¿- -±±² ¿- °®¿½¬·½¿¾´»ò
èò Ø±© Ô·³·¬- ß°°´§ Ì± ß¼¼·¬·±²¿´ ×²-«®»¼-                  ½ò ß--·-¬¿²½»     ß²¼    Ý±±°»®¿¬·±²       Ñº   Ì¸»
                                                               ×²-«®»¼
   ×º §±« ¸¿ª» ¿¹®»»¼ ·² ¿ ©®·¬¬»² ½±²¬®¿½¬ ±® ©®·¬¬»²
   ¿¹®»»³»²¬ ¬¸¿¬ ¿²±¬¸»® °»®-±² ±® ±®¹¿²·¦¿¬·±²                Ç±« ¿²¼ ¿²§ ±¬¸»® ·²ª±´ª»¼ ·²-«®»¼ ³«-¬æ
   ¾» ¿¼¼»¼ ¿- ¿² ¿¼¼·¬·±²¿´ ·²-«®»¼ ±² §±«® °±´·½§ô           øï÷ ×³³»¼·¿¬»´§ -»²¼ «- ½±°·»- ±º ¿²§
   ¬¸» ³±-¬ ©» ©·´´ °¿§ ±² ¾»¸¿´º ±º -«½¸ ¿¼¼·¬·±²¿´               ¼»³¿²¼-ô ²±¬·½»-ô -«³³±²-»- ±® ´»¹¿´
   ·²-«®»¼ ·- ¬¸» ´»--»® ±ºæ                                       °¿°»®- ®»½»·ª»¼ ·² ½±²²»½¬·±² ©·¬¸ ¬¸»
   ¿ò Ì¸» ´·³·¬- ±º ·²-«®¿²½» -°»½·º·»¼ ·² ¬¸» ©®·¬¬»²             ½´¿·³ ±® þ-«·¬þå
       ½±²¬®¿½¬ ±® ©®·¬¬»² ¿¹®»»³»²¬å ±®                       øî÷ ß«¬¸±®·¦» «- ¬± ±¾¬¿·² ®»½±®¼- ¿²¼ ±¬¸»®
   ¾ò Ì¸» Ô·³·¬- ±º ×²-«®¿²½» -¸±©² ·² ¬¸»                         ·²º±®³¿¬·±²å
       Ü»½´¿®¿¬·±²-ò                                           øí÷ Ý±±°»®¿¬» ©·¬¸ «- ·² ¬¸» ·²ª»-¬·¹¿¬·±² ±®
   Í«½¸ ¿³±«²¬ -¸¿´´ ¾» ¿ °¿®¬ ±º ¿²¼ ²±¬ ·²                       -»¬¬´»³»²¬ ±º ¬¸» ½´¿·³ ±® ¼»º»²-» ¿¹¿·²-¬
   ¿¼¼·¬·±² ¬± Ô·³·¬- ±º ×²-«®¿²½» -¸±©² ·² ¬¸»                    ¬¸» þ-«·¬þå ¿²¼
   Ü»½´¿®¿¬·±²- ¿²¼ ¼»-½®·¾»¼ ·² ¬¸·- Í»½¬·±²ò                 øì÷ ß--·-¬ «-ô «°±² ±«® ®»¯«»-¬ô ·² ¬¸»
Ì¸» Ô·³·¬- ±º ×²-«®¿²½» ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿°°´§                »²º±®½»³»²¬ ±º ¿²§ ®·¹¸¬ ¿¹¿·²-¬ ¿²§ °»®-±²
-»°¿®¿¬»´§ ¬± »¿½¸ ½±²-»½«¬·ª» ¿²²«¿´ °»®·±¼ ¿²¼ ¬±                ±® ±®¹¿²·¦¿¬·±² ©¸·½¸ ³¿§ ¾» ´·¿¾´» ¬± ¬¸»
¿²§ ®»³¿·²·²¹ °»®·±¼ ±º ´»-- ¬¸¿² ïî ³±²¬¸-ô                       ·²-«®»¼ ¾»½¿«-» ±º ·²¶«®§ ±® ¼¿³¿¹» ¬±
-¬¿®¬·²¹ ©·¬¸ ¬¸» ¾»¹·²²·²¹ ±º ¬¸» °±´·½§ °»®·±¼                   ©¸·½¸ ¬¸·- ·²-«®¿²½» ³¿§ ¿´-± ¿°°´§ò
-¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô «²´»-- ¬¸» °±´·½§ °»®·±¼         ¼ò Ñ¾´·¹¿¬·±²- ß¬ Ì¸» ×²-«®»¼- Ñ©² Ý±-¬
·- »¨¬»²¼»¼ ¿º¬»® ·--«¿²½» º±® ¿² ¿¼¼·¬·±²¿´ °»®·±¼ ±º         Ò± ·²-«®»¼ ©·´´ô »¨½»°¬ ¿¬ ¬¸¿¬ ·²-«®»¼ù- ±©²
´»-- ¬¸¿² ïî ³±²¬¸-ò ×² ¬¸¿¬ ½¿-»ô ¬¸» ¿¼¼·¬·±²¿´              ½±-¬ô ª±´«²¬¿®·´§ ³¿µ» ¿ °¿§³»²¬ô ¿--«³»
°»®·±¼ ©·´´ ¾» ¼»»³»¼ °¿®¬ ±º ¬¸» ´¿-¬ °®»½»¼·²¹               ¿²§ ±¾´·¹¿¬·±²ô ±® ·²½«® ¿²§ »¨°»²-»ô ±¬¸»®
°»®·±¼ º±® °«®°±-»- ±º ¼»¬»®³·²·²¹ ¬¸» Ô·³·¬- ±º               ¬¸¿² º±® º·®-¬ ¿·¼ô ©·¬¸±«¬ ±«® ½±²-»²¬ò
×²-«®¿²½»ò
                                                            »ò ß¼¼·¬·±²¿´ ×²-«®»¼- Ñ¬¸»® ×²-«®¿²½»
ÍÛÝÌ×ÑÒ ×Ê ó ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ
Ô×ßÞ×Ô×ÌÇ ÝÑÒÜ×Ì×ÑÒÍ                                           ×º ©» ½±ª»® ¿ ½´¿·³ ±® þ-«·¬þ «²¼»® ¬¸·-
                                                               Ý±ª»®¿¹» Ð¿®¬ ¬¸¿¬ ³¿§ ¿´-± ¾» ½±ª»®»¼ ¾§
ïò Þ¿²µ®«°¬½§                                                  ±¬¸»® ·²-«®¿²½» ¿ª¿·´¿¾´» ¬± ¿² ¿¼¼·¬·±²¿´
   Þ¿²µ®«°¬½§ ±® ·²-±´ª»²½§ ±º ¬¸» ·²-«®»¼ ±® ±º ¬¸»           ·²-«®»¼ô -«½¸ ¿¼¼·¬·±²¿´ ·²-«®»¼ ³«-¬ -«¾³·¬
   ·²-«®»¼ù- »-¬¿¬» ©·´´ ²±¬ ®»´·»ª» «- ±º ±«®                 -«½¸ ½´¿·³ ±® þ-«·¬þ ¬± ¬¸» ±¬¸»® ·²-«®»® º±®
   ±¾´·¹¿¬·±²- «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò                       ¼»º»²-» ¿²¼ ·²¼»³²·¬§ò
îò Ü«¬·»- ×² Ì¸» Ûª»²¬ Ñº Ñ½½«®®»²½»ô Ñºº»²-»ô                  Ø±©»ª»®ô ¬¸·- °®±ª·-·±² ¼±»- ²±¬ ¿°°´§ ¬± ¬¸»
   Ý´¿·³ Ñ® Í«·¬                                                »¨¬»²¬ ¬¸¿¬ §±« ¸¿ª» ¿¹®»»¼ ·² ¿ ©®·¬¬»²
   ¿ò Ò±¬·½» Ñº Ñ½½«®®»²½» Ñ® Ñºº»²-»                           ½±²¬®¿½¬ ±® ©®·¬¬»² ¿¹®»»³»²¬ ¬¸¿¬ ¬¸·-
       Ç±« ±® ¿²§ ¿¼¼·¬·±²¿´ ·²-«®»¼ ³«-¬ -»» ¬± ·¬             ·²-«®¿²½» ·- °®·³¿®§ ¿²¼ ²±²ó½±²¬®·¾«¬±®§
       ¬¸¿¬ ©» ¿®» ²±¬·º·»¼ ¿- -±±² ¿- °®¿½¬·½¿¾´» ±º           ©·¬¸ ¬¸» ¿¼¼·¬·±²¿´ ·²-«®»¼ù- ±©² ·²-«®¿²½»ò
       ¿² þ±½½«®®»²½»þ ±® ¿² ±ºº»²-» ©¸·½¸ ³¿§               ºò Õ²±©´»¼¹» Ñº ß² Ñ½½«®®»²½»ô Ñºº»²-»ô
       ®»-«´¬ ·² ¿ ½´¿·³ò Ì± ¬¸» »¨¬»²¬ °±--·¾´»ô               Ý´¿·³ Ñ® Í«·¬
       ²±¬·½» -¸±«´¼ ·²½´«¼»æ                                   Ð¿®¿¹®¿°¸- ¿ò ¿²¼ ¾ò ¿°°´§ ¬± §±« ±® ¬± ¿²§
      øï÷ Ø±©ô ©¸»² ¿²¼ ©¸»®» ¬¸» þ±½½«®®»²½»þ ±®               ¿¼¼·¬·±²¿´     ·²-«®»¼   ±²´§    ©¸»²      -«½¸
          ±ºº»²-» ¬±±µ °´¿½»å                                   þ±½½«®®»²½»þô ±ºº»²-»ô ½´¿·³ ±® þ-«·¬þ ·- µ²±©²
      øî÷ Ì¸» ²¿³»- ¿²¼ ¿¼¼®»--»- ±º ¿²§ ·²¶«®»¼                ¬±æ
          °»®-±²- ¿²¼ ©·¬²»--»-å ¿²¼                           øï÷ Ç±« ±® ¿²§ ¿¼¼·¬·±²¿´ ·²-«®»¼ ¬¸¿¬ ·- ¿²
      øí÷ Ì¸» ²¿¬«®» ¿²¼ ´±½¿¬·±² ±º ¿²§ ·²¶«®§ ±®                  ·²¼·ª·¼«¿´å
          ¼¿³¿¹» ¿®·-·²¹ ±«¬ ±º ¬¸» þ±½½«®®»²½»þ ±®            øî÷ ß²§ °¿®¬²»®ô ·º §±« ±® ¬¸» ¿¼¼·¬·±²¿´
          ±ºº»²-»ò                                                  ·²-«®»¼ ·- ¿ °¿®¬²»®-¸·°å


      Case
ØÙ ðð ðï     3:24-cv-00490-FDW-SCR
         ðç ïê                                  Document 1-4 Filed 05/21/24 Page 245 of 579ïë ±º îï
                                                                                     Ð¿¹»
     øí÷ ß²§ ³¿²¿¹»®ô ·º §±« ±® ¬¸» ¿¼¼·¬·±²¿´                øí÷ Ì»²¿²¬ Ô·¿¾·´·¬§
         ·²-«®»¼ ·- ¿ ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§å                  Ì¸¿¬ ·- ·²-«®¿²½» °«®½¸¿-»¼ ¾§ §±« ¬±
     øì÷ ß²§ þ»¨»½«¬·ª» ±ºº·½»®þ ±® ·²-«®¿²½»                     ½±ª»® §±«® ´·¿¾·´·¬§ ¿- ¿ ¬»²¿²¬ º±®
         ³¿²¿¹»®ô ·º §±« ±® ¬¸» ¿¼¼·¬·±²¿´ ·²-«®»¼ ·-             þ°®±°»®¬§ ¼¿³¿¹»þ ¬± °®»³·-»- ®»²¬»¼ ¬±
         ¿ ½±®°±®¿¬·±²å                                           §±« ±® ¬»³°±®¿®·´§ ±½½«°·»¼ ¾§ §±« ©·¬¸
     øë÷ ß²§ ¬®«-¬»»ô ·º §±« ±® ¬¸» ¿¼¼·¬·±²¿´                    °»®³·--·±² ±º ¬¸» ±©²»®å
         ·²-«®»¼ ·- ¿ ¬®«-¬å ±®                               øì÷ ß·®½®¿º¬ô ß«¬± Ñ® É¿¬»®½®¿º¬
     øê÷ ß²§ »´»½¬»¼ ±® ¿°°±·²¬»¼ ±ºº·½·¿´ô ·º §±« ±®             ×º ¬¸» ´±-- ¿®·-»- ±«¬ ±º ¬¸» ³¿·²¬»²¿²½» ±®
         ¬¸» ¿¼¼·¬·±²¿´ ·²-«®»¼ ·- ¿ °±´·¬·½¿´                    «-» ±º ¿·®½®¿º¬ô þ¿«¬±-þ ±® ©¿¬»®½®¿º¬ ¬± ¬¸»
         -«¾¼·ª·-·±² ±® °«¾´·½ »²¬·¬§ò                            »¨¬»²¬ ²±¬ -«¾¶»½¬ ¬± Û¨½´«-·±² ¹ò ±º
   Ì¸·- ¼«¬§ ¿°°´·»- -»°¿®¿¬»´§ ¬± §±« ¿²¼ ¿²§                    Í»½¬·±² × ó Ý±ª»®¿¹» ß ó Þ±¼·´§ ×²¶«®§ ß²¼
   ¿¼¼·¬·±²¿´ ·²-«®»¼ò                                            Ð®±°»®¬§ Ü¿³¿¹» Ô·¿¾·´·¬§å
íò Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-                                    øë÷ Ð®±°»®¬§       Ü¿³¿¹»       Ì±    Þ±®®±©»¼
                                                                  Û¯«·°³»²¬ Ñ® Ë-» Ñº Û´»ª¿¬±®-
  Ò± °»®-±² ±® ±®¹¿²·¦¿¬·±² ¸¿- ¿ ®·¹¸¬ «²¼»® ¬¸·-
  Ý±ª»®¿¹» Ð¿®¬æ                                                  ×º ¬¸» ´±-- ¿®·-»- ±«¬ ±º þ°®±°»®¬§ ¼¿³¿¹»þ
                                                                  ¬± ¾±®®±©»¼ »¯«·°³»²¬ ±® ¬¸» «-» ±º
  ¿ò Ì± ¶±·² «- ¿- ¿ °¿®¬§ ±® ±¬¸»®©·-» ¾®·²¹ «-                  »´»ª¿¬±®- ¬± ¬¸» »¨¬»²¬ ²±¬ -«¾¶»½¬ ¬±
     ·²¬± ¿ þ-«·¬þ ¿-µ·²¹ º±® ¼¿³¿¹»- º®±³ ¿²                     Û¨½´«-·±² ¶ò ±º Í»½¬·±² × ó Ý±ª»®¿¹» ß ó
     ·²-«®»¼å ±®                                                  Þ±¼·´§ ×²¶«®§ ß²¼ Ð®±°»®¬§ Ü¿³¿¹»
  ¾ò Ì± -«» «- ±² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ «²´»-- ¿´´ ±º                Ô·¿¾·´·¬§å
     ·¬- ¬»®³- ¸¿ª» ¾»»² º«´´§ ½±³°´·»¼ ©·¬¸ò                 øê÷ É¸»² Ç±« ß®» ß¼¼»¼ ß- ß² ß¼¼·¬·±²¿´
  ß °»®-±² ±® ±®¹¿²·¦¿¬·±² ³¿§ -«» «- ¬± ®»½±ª»®                  ×²-«®»¼ Ì± Ñ¬¸»® ×²-«®¿²½»
  ±² ¿² ¿¹®»»¼ -»¬¬´»³»²¬ ±® ±² ¿ º·²¿´ ¶«¼¹³»²¬                  ß²§ ±¬¸»® ·²-«®¿²½» ¿ª¿·´¿¾´» ¬± §±«
  ¿¹¿·²-¬ ¿² ·²-«®»¼å ¾«¬ ©» ©·´´ ²±¬ ¾» ´·¿¾´» º±®               ½±ª»®·²¹ ´·¿¾·´·¬§ º±® ¼¿³¿¹»- ¿®·-·²¹ ±«¬
  ¼¿³¿¹»- ¬¸¿¬ ¿®» ²±¬ °¿§¿¾´» «²¼»® ¬¸» ¬»®³- ±º                 ±º ¬¸» °®»³·-»- ±® ±°»®¿¬·±²-ô ±® °®±¼«½¬-
  ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ±® ¬¸¿¬ ¿®» ·² »¨½»-- ±º ¬¸»                 ¿²¼ ½±³°´»¬»¼ ±°»®¿¬·±²-ô º±® ©¸·½¸ §±«
  ¿°°´·½¿¾´» ´·³·¬ ±º ·²-«®¿²½»ò ß² ¿¹®»»¼                        ¸¿ª» ¾»»² ¿¼¼»¼ ¿- ¿² ¿¼¼·¬·±²¿´ ·²-«®»¼
  -»¬¬´»³»²¬ ³»¿²- ¿ -»¬¬´»³»²¬ ¿²¼ ®»´»¿-» ±º                    ¾§ ¬¸¿¬ ·²-«®¿²½»å ±®
  ´·¿¾·´·¬§ -·¹²»¼ ¾§ «-ô ¬¸» ·²-«®»¼ ¿²¼ ¬¸»
  ½´¿·³¿²¬ ±® ¬¸» ½´¿·³¿²¬ù- ´»¹¿´ ®»°®»-»²¬¿¬·ª»ò            øé÷ É¸»² Ç±« ß¼¼ Ñ¬¸»®- ß- ß²
                                                                  ß¼¼·¬·±²¿´ ×²-«®»¼ Ì± Ì¸·- ×²-«®¿²½»
ìò Ñ¬¸»® ×²-«®¿²½»
                                                                  ß²§ ±¬¸»® ·²-«®¿²½» ¿ª¿·´¿¾´» ¬± ¿²
  ×º ±¬¸»® ª¿´·¼ ¿²¼ ½±´´»½¬·¾´» ·²-«®¿²½» ·-                     ¿¼¼·¬·±²¿´ ·²-«®»¼ò
  ¿ª¿·´¿¾´» ¬± ¬¸» ·²-«®»¼ º±® ¿ ´±-- ©» ½±ª»® «²¼»®
  Ý±ª»®¿¹»- ß ±® Þ ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ±«®                    Ø±©»ª»®ô ¬¸» º±´´±©·²¹ °®±ª·-·±²- ¿°°´§ ¬±
  ±¾´·¹¿¬·±²- ¿®» ´·³·¬»¼ ¿- º±´´±©-æ                            ±¬¸»® ·²-«®¿²½» ¿ª¿·´¿¾´» ¬± ¿²§ °»®-±² ±®
                                                                 ±®¹¿²·¦¿¬·±² ©¸± ·- ¿² ¿¼¼·¬·±²¿´ ·²-«®»¼
   ¿ò Ð®·³¿®§ ×²-«®¿²½»                                          «²¼»® ¬¸·- ½±ª»®¿¹» °¿®¬ò
     Ì¸·- ·²-«®¿²½» ·- °®·³¿®§ »¨½»°¬ ©¸»² ¾ò                    ø¿÷ Ð®·³¿®§ ×²-«®¿²½» É¸»² Î»¯«·®»¼
     ¾»´±© ¿°°´·»-ò ×º ±¬¸»® ·²-«®¿²½» ·- ¿´-±                       Þ§ Ý±²¬®¿½¬
     °®·³¿®§ô ©» ©·´´ -¸¿®» ©·¬¸ ¿´´ ¬¸¿¬ ±¬¸»®
     ·²-«®¿²½» ¾§ ¬¸» ³»¬¸±¼ ¼»-½®·¾»¼ ·² ½ò                         Ì¸·- ·²-«®¿²½» ·- °®·³¿®§ ·º §±« ¸¿ª»
     ¾»´±©ò                                                          ¿¹®»»¼ ·² ¿ ©®·¬¬»² ½±²¬®¿½¬ ±® ©®·¬¬»²
                                                                     ¿¹®»»³»²¬ ¬¸¿¬ ¬¸·- ·²-«®¿²½» ¾»
  ¾ò Û¨½»-- ×²-«®¿²½»                                                °®·³¿®§ò ×º ±¬¸»® ·²-«®¿²½» ·- ¿´-±
      Ì¸·- ·²-«®¿²½» ·- »¨½»-- ±ª»® ¿²§ ±º ¬¸» ±¬¸»®                 °®·³¿®§ô ©» ©·´´ -¸¿®» ©·¬¸ ¿´´ ¬¸¿¬
      ·²-«®¿²½»ô     ©¸»¬¸»®    °®·³¿®§ô     »¨½»--ô                 ±¬¸»® ·²-«®¿²½» ¾§ ¬¸» ³»¬¸±¼
      ½±²¬·²¹»²¬ ±® ±² ¿²§ ±¬¸»® ¾¿-·-æ                              ¼»-½®·¾»¼ ·² ½ò ¾»´±©ò
     øï÷ Ç±«® É±®µ                                               ø¾÷ Ð®·³¿®§ ß²¼ Ò±²óÝ±²¬®·¾«¬±®§ Ì±
         Ì¸¿¬ ·- Ú·®»ô Û¨¬»²¼»¼ Ý±ª»®¿¹»ô Þ«·´¼»®ù-                  Ñ¬¸»® ×²-«®¿²½» É¸»² Î»¯«·®»¼ Þ§
         Î·-µô ×²-¬¿´´¿¬·±² Î·-µ ±® -·³·´¿® ½±ª»®¿¹»                 Ý±²¬®¿½¬
         º±® þ§±«® ©±®µþå                                            ×º §±« ¸¿ª» ¿¹®»»¼ ·² ¿ ©®·¬¬»²
     øî÷ Ð®»³·-»- Î»²¬»¼ Ì± Ç±«                                      ½±²¬®¿½¬ô ©®·¬¬»² ¿¹®»»³»²¬ô ±® °»®³·¬
                                                                     ¬¸¿¬ ¬¸·- ·²-«®¿²½» ·- °®·³¿®§ ¿²¼ ²±²ó
         Ì¸¿¬ ·- º·®»ô ´·¹¸¬²·²¹ ±® »¨°´±-·±²
                                                                     ½±²¬®·¾«¬±®§    ©·¬¸    ¬¸»    ¿¼¼·¬·±²¿´
         ·²-«®¿²½» º±® °®»³·-»- ®»²¬»¼ ¬± §±« ±®
                                                                     ·²-«®»¼ù- ±©² ·²-«®¿²½»ô ¬¸·- ·²-«®¿²½»
         ¬»³°±®¿®·´§ ±½½«°·»¼ ¾§ §±« ©·¬¸                            ·- °®·³¿®§ ¿²¼ ©» ©·´´ ²±¬ -»»µ
         °»®³·--·±² ±º ¬¸» ±©²»®å
                                                                     ½±²¬®·¾«¬·±² º®±³ ¬¸¿¬ ±¬¸»® ·²-«®¿²½»ò



Ð¿¹» ïêCase
        ±º îï 3:24-cv-00490-FDW-SCR            Document 1-4 Filed 05/21/24 Page 246ØÙ
                                                                                    of 579
                                                                                       ðð ðï ðç ïê
          Ð¿®¿¹®¿°¸- ø¿÷ ¿²¼ ø¾÷ ¼± ²±¬ ¿°°´§ ¬±                 ½±³°«¬¿¬·±²ô ¿²¼ -»²¼ «- ½±°·»- ¿¬ -«½¸
          ±¬¸»® ·²-«®¿²½» ¬± ©¸·½¸ ¬¸» ¿¼¼·¬·±²¿´                ¬·³»- ¿- ©» ³¿§ ®»¯«»-¬ò
          ·²-«®»¼ ¸¿- ¾»»² ¿¼¼»¼ ¿- ¿² ¿¼¼·¬·±²¿´           êò Î»°®»-»²¬¿¬·±²-
          ·²-«®»¼ò
                                                               ¿ò É¸»² Ç±« ß½½»°¬ Ì¸·- Ð±´·½§
       É¸»² ¬¸·- ·²-«®¿²½» ·- »¨½»--ô ©» ©·´´ ¸¿ª»
                                                                   Þ§ ¿½½»°¬·²¹ ¬¸·- °±´·½§ô §±« ¿¹®»»æ
       ²± ¼«¬§ «²¼»® Ý±ª»®¿¹»- ß ±® Þ ¬± ¼»º»²¼
       ¬¸» ·²-«®»¼ ¿¹¿·²-¬ ¿²§ þ-«·¬þ ·º ¿²§ ±¬¸»®                øï÷ Ì¸» -¬¿¬»³»²¬- ·² ¬¸» Ü»½´¿®¿¬·±²- ¿®»
       ·²-«®»® ¸¿- ¿ ¼«¬§ ¬± ¼»º»²¼ ¬¸» ·²-«®»¼                       ¿½½«®¿¬» ¿²¼ ½±³°´»¬»å
       ¿¹¿·²-¬ ¬¸¿¬ þ-«·¬þò ×º ²± ±¬¸»® ·²-«®»® ¼»º»²¼-ô          øî÷ Ì¸±-» -¬¿¬»³»²¬- ¿®» ¾¿-»¼ «°±²
      ©» ©·´´ «²¼»®¬¿µ» ¬± ¼± -±ô ¾«¬ ©» ©·´´ ¾»                      ®»°®»-»²¬¿¬·±²- §±« ³¿¼» ¬± «-å ¿²¼
       »²¬·¬´»¼ ¬± ¬¸» ·²-«®»¼ù- ®·¹¸¬- ¿¹¿·²-¬ ¿´´
                                                                  øí÷ É» ¸¿ª» ·--«»¼ ¬¸·- °±´·½§ ·² ®»´·¿²½»
       ¬¸±-» ±¬¸»® ·²-«®»®-ò
                                                                      «°±² §±«® ®»°®»-»²¬¿¬·±²-ò
       É¸»² ¬¸·- ·²-«®¿²½» ·- »¨½»-- ±ª»® ±¬¸»®
                                                               ¾ò Ë²·²¬»²¬·±²¿´ Ú¿·´«®» Ì± Ü·-½´±-» Ø¿¦¿®¼-
       ·²-«®¿²½»ô ©» ©·´´ °¿§ ±²´§ ±«® -¸¿®» ±º ¬¸»
       ¿³±«²¬ ±º ¬¸» ´±--ô ·º ¿²§ô ¬¸¿¬ »¨½»»¼- ¬¸»               ×º «²·²¬»²¬·±²¿´´§ §±« -¸±«´¼ º¿·´ ¬± ¼·-½´±-» ¿´´
       -«³ ±ºæ                                                    ¸¿¦¿®¼- ®»´¿¬·²¹ ¬± ¬¸» ½±²¼«½¬ ±º §±«®
      øï÷ Ì¸» ¬±¬¿´ ¿³±«²¬ ¬¸¿¬ ¿´´ -«½¸ ±¬¸»®                    ¾«-·²»-- ¬¸¿¬ »¨·-¬ ¿¬ ¬¸» ·²½»°¬·±² ¼¿¬» ±º
           ·²-«®¿²½» ©±«´¼ °¿§ º±® ¬¸» ´±-- ·² ¬¸»                ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©» -¸¿´´ ²±¬ ¼»²§
           ¿¾-»²½» ±º ¬¸·- ·²-«®¿²½»å ¿²¼                         ½±ª»®¿¹» «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¾»½¿«-»
                                                                  ±º -«½¸ º¿·´«®»ò
      øî÷ Ì¸» ¬±¬¿´ ±º ¿´´ ¼»¼«½¬·¾´» ¿²¼ -»´ºó·²-«®»¼
           ¿³±«²¬- «²¼»® ¿´´ ¬¸¿¬ ±¬¸»® ·²-«®¿²½»ò          éò Í»°¿®¿¬·±² Ñº ×²-«®»¼-
       É» ©·´´ -¸¿®» ¬¸» ®»³¿·²·²¹ ´±--ô ·º ¿²§ô ©·¬¸          Û¨½»°¬ ©·¬¸ ®»-°»½¬ ¬± ¬¸» Ô·³·¬- ±º ×²-«®¿²½»ô
       ¿²§ ±¬¸»® ·²-«®¿²½» ¬¸¿¬ ·- ²±¬ ¼»-½®·¾»¼ ·²            ¿²¼ ¿²§ ®·¹¸¬- ±® ¼«¬·»- -°»½·º·½¿´´§ ¿--·¹²»¼ ·²
       ¬¸·- Û¨½»-- ×²-«®¿²½» °®±ª·-·±² ¿²¼ ©¿- ²±¬             ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ô
       ¾±«¹¸¬ -°»½·º·½¿´´§ ¬± ¿°°´§ ·² »¨½»-- ±º ¬¸»           ¬¸·- ·²-«®¿²½» ¿°°´·»-æ
       Ô·³·¬- ±º ×²-«®¿²½» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-           ¿ò ß- ·º »¿½¸ Ò¿³»¼ ×²-«®»¼ ©»®» ¬¸» ±²´§
       ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò                                      Ò¿³»¼ ×²-«®»¼å ¿²¼
   ½ò Ó»¬¸±¼ Ñº Í¸¿®·²¹                                        ¾ò Í»°¿®¿¬»´§ ¬± »¿½¸ ·²-«®»¼ ¿¹¿·²-¬ ©¸±³
       ×º ¿´´ ±º ¬¸» ±¬¸»® ·²-«®¿²½» °»®³·¬-                       ½´¿·³ ·- ³¿¼» ±® þ-«·¬þ ·- ¾®±«¹¸¬ò
       ½±²¬®·¾«¬·±² ¾§ »¯«¿´ -¸¿®»-ô ©» ©·´´ º±´´±©         èò Ì®¿²-º»® Ñº Î·¹¸¬- Ñº Î»½±ª»®§ ß¹¿·²-¬
       ¬¸·- ³»¬¸±¼ ¿´-±ò Ë²¼»® ¬¸·- ¿°°®±¿½¸ »¿½¸              Ñ¬¸»®- Ì± Ë-
       ·²-«®»® ½±²¬®·¾«¬»- »¯«¿´ ¿³±«²¬- «²¬·´ ·¬ ¸¿-
       °¿·¼ ·¬- ¿°°´·½¿¾´» ´·³·¬ ±º ·²-«®¿²½» ±® ²±²»          ¿ò Ì®¿²-º»® Ñº Î·¹¸¬- Ñº Î»½±ª»®§
       ±º ¬¸» ´±-- ®»³¿·²-ô ©¸·½¸»ª»® ½±³»- º·®-¬ò                ×º ¬¸» ·²-«®»¼ ¸¿- ®·¹¸¬- ¬± ®»½±ª»® ¿´´ ±® °¿®¬
       ×º ¿²§ ±º ¬¸» ±¬¸»® ·²-«®¿²½» ¼±»- ²±¬ °»®³·¬              ±º ¿²§ °¿§³»²¬ô ·²½´«¼·²¹ Í«°°´»³»²¬¿®§
       ½±²¬®·¾«¬·±² ¾§ »¯«¿´ -¸¿®»-ô ©» ©·´´                      Ð¿§³»²¬-ô ©» ¸¿ª» ³¿¼» «²¼»® ¬¸·-
       ½±²¬®·¾«¬» ¾§ ´·³·¬-ò Ë²¼»® ¬¸·- ³»¬¸±¼ô »¿½¸              Ý±ª»®¿¹» Ð¿®¬ô ¬¸±-» ®·¹¸¬- ¿®» ¬®¿²-º»®®»¼ ¬±
       ·²-«®»®ù- -¸¿®» ·- ¾¿-»¼ ±² ¬¸» ®¿¬·± ±º ·¬-               «-ò Ì¸» ·²-«®»¼ ³«-¬ ¼± ²±¬¸·²¹ ¿º¬»® ´±-- ¬±
       ¿°°´·½¿¾´» ´·³·¬ ±º ·²-«®¿²½» ¬± ¬¸» ¬±¬¿´                 ·³°¿·® ¬¸»³ò ß¬ ±«® ®»¯«»-¬ô ¬¸» ·²-«®»¼ ©·´´
       ¿°°´·½¿¾´» ´·³·¬- ±º ·²-«®¿²½» ±º ¿´´ ·²-«®»®-ò            ¾®·²¹ þ-«·¬þ ±® ¬®¿²-º»® ¬¸±-» ®·¹¸¬- ¬± «- ¿²¼
                                                                  ¸»´° «- »²º±®½» ¬¸»³ò
ëò Ð®»³·«³ ß«¼·¬
                                                               ¾ò É¿·ª»® Ñº Î·¹¸¬- Ñº Î»½±ª»®§ øÉ¿·ª»® Ñº
   ¿ò É» ©·´´ ½±³°«¬» ¿´´ °®»³·«³- º±® ¬¸·-
       Ý±ª»®¿¹» Ð¿®¬ ·² ¿½½±®¼¿²½» ©·¬¸ ±«® ®«´»-                 Í«¾®±¹¿¬·±²÷
       ¿²¼ ®¿¬»-ò                                                ×º ¬¸» ·²-«®»¼ ¸¿- ©¿·ª»¼ ¿²§ ®·¹¸¬- ±º
   ¾ò Ð®»³·«³ -¸±©² ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿-                     ®»½±ª»®§ ¿¹¿·²-¬ ¿²§ °»®-±² ±® ±®¹¿²·¦¿¬·±²
       ¿¼ª¿²½» °®»³·«³ ·- ¿ ¼»°±-·¬ °®»³·«³ ±²´§ò                º±® ¿´´ ±® °¿®¬ ±º ¿²§ °¿§³»²¬ô ·²½´«¼·²¹
       ß¬ ¬¸» ½´±-» ±º »¿½¸ ¿«¼·¬ °»®·±¼ ©» ©·´´                 Í«°°´»³»²¬¿®§ Ð¿§³»²¬-ô ©» ¸¿ª» ³¿¼»
       ½±³°«¬» ¬¸» »¿®²»¼ °®»³·«³ º±® ¬¸¿¬ °»®·±¼                «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©» ¿´-± ©¿·ª» ¬¸¿¬
       ¿²¼ -»²¼ ²±¬·½» ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ò               ®·¹¸¬ô °®±ª·¼»¼ ¬¸» ·²-«®»¼ ©¿·ª»¼ ¬¸»·® ®·¹¸¬-
       Ì¸» ¼«» ¼¿¬» º±® ¿«¼·¬ ¿²¼ ®»¬®±-°»½¬·ª»                  ±º ®»½±ª»®§ ¿¹¿·²-¬ -«½¸ °»®-±² ±®
       °®»³·«³- ·- ¬¸» ¼¿¬» -¸±©² ¿- ¬¸» ¼«» ¼¿¬»                ±®¹¿²·¦¿¬·±² ·² ¿ ½±²¬®¿½¬ô ¿¹®»»³»²¬ ±®
       ±² ¬¸» ¾·´´ò ×º ¬¸» -«³ ±º ¬¸» ¿¼ª¿²½» ¿²¼                °»®³·¬ ¬¸¿¬ ©¿- »¨»½«¬»¼ °®·±® ¬± ¬¸» ·²¶«®§ ±®
       ¿«¼·¬ °®»³·«³- °¿·¼ º±® ¬¸» °±´·½§ °»®·±¼ ·-              ¼¿³¿¹»ò
       ¹®»¿¬»® ¬¸¿² ¬¸» »¿®²»¼ °®»³·«³ô ©» ©·´´             çò É¸»² É» Ü± Ò±¬ Î»²»©
       ®»¬«®² ¬¸» »¨½»-- ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ò           ×º ©» ¼»½·¼» ²±¬ ¬± ®»²»© ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©»
   ½ò Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ³«-¬ µ»»° ®»½±®¼- ±º             ©·´´ ³¿·´ ±® ¼»´·ª»® ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼
       ¬¸» ·²º±®³¿¬·±² ©» ²»»¼ º±® °®»³·«³                     -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ©®·¬¬»² ²±¬·½» ±º ¬¸»


      Case
ØÙ ðð ðï     3:24-cv-00490-FDW-SCR
         ðç ïê                                    Document 1-4 Filed 05/21/24 Page 247 of 579ïé ±º îï
                                                                                       Ð¿¹»
  ²±²®»²»©¿´ ²±¬ ´»-- ¬¸¿² íð ¼¿§- ¾»º±®» ¬¸»                ½ò ß´´ ±¬¸»® °¿®¬- ±º ¬¸» ©±®´¼ ·º ¬¸» ·²¶«®§ ±®
  »¨°·®¿¬·±² ¼¿¬»ò                                               ¼¿³¿¹» ¿®·-»- ±«¬ ±ºæ
  ×º ²±¬·½» ·- ³¿·´»¼ô °®±±º ±º ³¿·´·²¹ ©·´´ ¾»                 øï÷ Ù±±¼- ±® °®±¼«½¬- ³¿¼» ±® -±´¼ ¾§ §±« ·²
  -«ºº·½·»²¬ °®±±º ±º ²±¬·½»ò                                       ¬¸» ¬»®®·¬±®§ ¼»-½®·¾»¼ ·² ¿ò ¿¾±ª»å
ÍÛÝÌ×ÑÒ Ê ó ÜÛÚ×Ò×Ì×ÑÒÍ                                         øî÷ Ì¸» ¿½¬·ª·¬·»- ±º ¿ °»®-±² ©¸±-» ¸±³» ·-
ïò þß¼ª»®¬·-»³»²¬þ ³»¿²- ¬¸» ©·¼»-°®»¿¼ °«¾´·½                      ·² ¬¸» ¬»®®·¬±®§ ¼»-½®·¾»¼ ·² ¿ò ¿¾±ª»ô ¾«¬ ·-
   ¼·--»³·²¿¬·±² ±º ·²º±®³¿¬·±² ±® ·³¿¹»- ¬¸¿¬ ¸¿-                  ¿©¿§ º±® ¿ -¸±®¬ ¬·³» ±² §±«® ¾«-·²»--å ±®
   ¬¸» °«®°±-» ±º ·²¼«½·²¹ ¬¸» -¿´» ±º ¹±±¼-ô                   øí÷ þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ±ºº»²-»-
   °®±¼«½¬- ±® -»®ª·½»- ¬¸®±«¹¸æ                                    ¬¸¿¬ ¬¿µ» °´¿½» ¬¸®±«¹¸ ¬¸» ×²¬»®²»¬ ±®
    ¿ò øï÷ Î¿¼·±å                                                   -·³·´¿® »´»½¬®±²·½ ³»¿²- ±º ½±³³«²·½¿¬·±²
      øî÷ Ì»´»ª·-·±²å                                        °®±ª·¼»¼ ¬¸» ·²-«®»¼ù- ®»-°±²-·¾·´·¬§ ¬± °¿§
                                                             ¼¿³¿¹»- ·- ¼»¬»®³·²»¼ ·² ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º
      øí÷ Þ·´´¾±¿®¼å                                         ß³»®·½¿ ø·²½´«¼·²¹ ·¬- ¬»®®·¬±®·»- ¿²¼ °±--»--·±²-÷ô
      øì÷ Ó¿¹¿¦·²»å                                          Ð«»®¬± Î·½± ±® Ý¿²¿¼¿ô ·² ¿ þ-«·¬þ ±² ¬¸» ³»®·¬-
      øë÷ Ò»©-°¿°»®å ±®                                      ¿½½±®¼·²¹ ¬± ¬¸» -«¾-¬¿²¬·ª» ´¿© ·² -«½¸ ¬»®®·¬±®§ ±®
                                                             ·² ¿ -»¬¬´»³»²¬ ©» ¿¹®»» ¬±ò
   ¾ò ß²§ ±¬¸»® °«¾´·½¿¬·±² ¬¸¿¬ ·- ¹·ª»² ©·¼»-°®»¿¼
      °«¾´·½ ¼·-¬®·¾«¬·±²ò                                éò þÛ³°´±§»»þ ·²½´«¼»- ¿ þ´»¿-»¼ ©±®µ»®þò
                                                             þÛ³°´±§»»þ ¼±»- ²±¬ ·²½´«¼» ¿ þ¬»³°±®¿®§
   Ø±©»ª»®ô þ¿¼ª»®¬·-»³»²¬þ ¼±»- ²±¬ ·²½´«¼»æ
                                                             ©±®µ»®þò
   ¿ò Ì¸» ¼»-·¹²ô °®·²¬»¼ ³¿¬»®·¿´ô ·²º±®³¿¬·±² ±®        èò þÛ³°´±§³»²¬óÎ»´¿¬»¼ Ð®¿½¬·½»-þ ³»¿²-æ
       ·³¿¹»- ½±²¬¿·²»¼ ·²ô ±² ±® «°±² ¬¸»
       °¿½µ¿¹·²¹ ±® ´¿¾»´·²¹ ±º ¿²§ ¹±±¼- ±®                 ¿ò Î»º«-¿´ ¬± »³°´±§ ¬¸¿¬ °»®-±²å
       °®±¼«½¬-å ±®                                          ¾ò Ì»®³·²¿¬·±² ±º ¬¸¿¬ °»®-±²ù- »³°´±§³»²¬å ±®
   ¾ò ß² ·²¬»®¿½¬·ª» ½±²ª»®-¿¬·±² ¾»¬©»»² ±®                 ½ò Û³°´±§³»²¬ó®»´¿¬»¼ °®¿½¬·½»-ô °±´·½·»-ô ¿½¬-
       ¿³±²¹ °»®-±²- ¬¸®±«¹¸ ¿ ½±³°«¬»® ²»¬©±®µò                 ±® ±³·--·±²-ô -«½¸ ¿- ½±»®½·±²ô ¼»³±¬·±²ô
îò þß¼ª»®¬·-·²¹ ·¼»¿þ ³»¿²- ¿²§ ·¼»¿ º±® ¿²                      »ª¿´«¿¬·±²ô       ®»¿--·¹²³»²¬ô     ¼·-½·°´·²»ô
   þ¿¼ª»®¬·-»³»²¬þò                                              ¼»º¿³¿¬·±²ô        ¸¿®¿--³»²¬ô    ¸«³·´·¿¬·±²ô
                                                                 ¼·-½®·³·²¿¬·±² ±® ³¿´·½·±«- °®±-»½«¬·±²
íò þß-¾»-¬±- ¸¿¦¿®¼þ ³»¿²- ¿² »¨°±-«®» ±®
                                                                 ¼·®»½¬»¼ ¿¬ ¬¸¿¬ °»®-±²ò
   ¬¸®»¿¬ ±º »¨°±-«®» ¬± ¬¸» ¿½¬«¿´ ±® ¿´´»¹»¼
   °®±°»®¬·»- ±º ¿-¾»-¬±- ¿²¼ ·²½´«¼»- ¬¸» ³»®»           çò þÛ¨»½«¬·ª» ±ºº·½»®þ ³»¿²- ¿ °»®-±² ¸±´¼·²¹ ¿²§
   °®»-»²½» ±º ¿-¾»-¬±- ·² ¿²§ º±®³ò                         ±º ¬¸» ±ºº·½»® °±-·¬·±²- ½®»¿¬»¼ ¾§ §±«® ½¸¿®¬»®ô
                                                             ½±²-¬·¬«¬·±²ô ¾§ó´¿©- ±® ¿²§ ±¬¸»® -·³·´¿®
ìò þß«¬±þ ³»¿²-æ
                                                             ¹±ª»®²·²¹ ¼±½«³»²¬ò
   ¿ò ß ´¿²¼ ³±¬±® ª»¸·½´»ô ¬®¿·´»® ±® -»³·¬®¿·´»®
                                                          ïðòþØ±-¬·´» º·®»þ ³»¿²- ±²» ©¸·½¸ ¾»½±³»-
      ¼»-·¹²»¼ º±® ¬®¿ª»´ ±² °«¾´·½ ®±¿¼-ô ·²½´«¼·²¹
                                                             «²½±²¬®±´´¿¾´» ±® ¾®»¿µ- ±«¬ º®±³ ©¸»®» ·¬ ©¿-
      ¿²§ ¿¬¬¿½¸»¼ ³¿½¸·²»®§ ±® »¯«·°³»²¬å ±®                ·²¬»²¼»¼ ¬± ¾»ò
   ¾ò ß²§ ±¬¸»® ´¿²¼ ª»¸·½´» ¬¸¿¬ ·- -«¾¶»½¬ ¬± ¿
                                                          ïïòþ×³°¿·®»¼ °®±°»®¬§þ ³»¿²- ¬¿²¹·¾´» °®±°»®¬§ô
      ½±³°«´-±®§ ±® º·²¿²½·¿´ ®»-°±²-·¾·´·¬§ ´¿© ±®
                                                             ±¬¸»® ¬¸¿² þ§±«® °®±¼«½¬þ ±® þ§±«® ©±®µþô ¬¸¿¬
      ±¬¸»® ³±¬±® ª»¸·½´» ·²-«®¿²½» ´¿© ©¸»®» ·¬ ·-          ½¿²²±¬ ¾» «-»¼ ±® ·- ´»-- «-»º«´ ¾»½¿«-»æ
      ´·½»²-»¼ ±® °®·²½·°¿´´§ ¹¿®¿¹»¼ò
                                                             ¿ò ×¬ ·²½±®°±®¿¬»- þ§±«® °®±¼«½¬þ ±® þ§±«® ©±®µþ
   Ø±©»ª»®ô þ¿«¬±þ ¼±»- ²±¬ ·²½´«¼» þ³±¾·´»
                                                                 ¬¸¿¬ ·- µ²±©² ±® ¬¸±«¹¸¬ ¬± ¾» ¼»º»½¬·ª»ô
   »¯«·°³»²¬þò
                                                                 ¼»º·½·»²¬ô ·²¿¼»¯«¿¬» ±® ¼¿²¹»®±«-å ±®
ëò þÞ±¼·´§ ·²¶«®§þ ³»¿²- °¸§-·½¿´æ
                                                             ¾ò Ç±« ¸¿ª» º¿·´»¼ ¬± º«´º·´´ ¬¸» ¬»®³- ±º ¿
   ¿ò ×²¶«®§å                                                   ½±²¬®¿½¬ ±® ¿¹®»»³»²¬å
   ¾ò Í·½µ²»--å ±®                                           ·º -«½¸ °®±°»®¬§ ½¿² ¾» ®»-¬±®»¼ ¬± «-» ¾§ ¬¸»
   ½ò Ü·-»¿-»                                                ®»°¿·®ô ®»°´¿½»³»²¬ô ¿¼¶«-¬³»²¬ ±® ®»³±ª¿´ ±º
   -«-¬¿·²»¼ ¾§ ¿ °»®-±² ¿²¼ô ·º ¿®·-·²¹ ±«¬ ±º ¬¸»          þ§±«® °®±¼«½¬þ ±® þ§±«® ©±®µþô ±® §±«® º«´º·´´·²¹ ¬¸»
   ¿¾±ª»ô ³»²¬¿´ ¿²¹«·-¸ ±® ¼»¿¬¸ ¿¬ ¿²§ ¬·³»ò               ¬»®³- ±º ¬¸» ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ò
êò þÝ±ª»®¿¹» ¬»®®·¬±®§þ ³»¿²-æ                            ïîòþ×²-«®»¼ ½±²¬®¿½¬þ ³»¿²-æ
   ¿ò Ì¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿ ø·²½´«¼·²¹ ·¬-            ¿ò ß ½±²¬®¿½¬ º±® ¿ ´»¿-» ±º °®»³·-»-ò Ø±©»ª»®ô
      ¬»®®·¬±®·»- ¿²¼ °±--»--·±²-÷ô Ð«»®¬± Î·½± ¿²¼             ¬¸¿¬ °±®¬·±² ±º ¬¸» ½±²¬®¿½¬ º±® ¿ ´»¿-» ±º
      Ý¿²¿¼¿å                                                   °®»³·-»- ¬¸¿¬ ·²¼»³²·º·»- ¿²§ °»®-±² ±®
   ¾ò ×²¬»®²¿¬·±²¿´ ©¿¬»®- ±® ¿·®-°¿½»ô ¾«¬ ±²´§ ·º             ±®¹¿²·¦¿¬·±² º±® ¼¿³¿¹» ¾§ º·®»ô ´·¹¸¬²·²¹ ±®
      ¬¸» ·²¶«®§ ±® ¼¿³¿¹» ±½½«®- ·² ¬¸» ½±«®-» ±º              »¨°´±-·±² ¬± °®»³·-»- ©¸·´» ®»²¬»¼ ¬± §±« ±®
      ¬®¿ª»´ ±® ¬®¿²-°±®¬¿¬·±² ¾»¬©»»² ¿²§ °´¿½»-               ¬»³°±®¿®·´§ ±½½«°·»¼ ¾§ §±« ©·¬¸ °»®³·--·±²
      ·²½´«¼»¼ ·² ¿ò ¿¾±ª»å ±®                                  ±º ¬¸» ±©²»® ·- -«¾¶»½¬ ¬± ¬¸» Ü¿³¿¹» ¬±

Ð¿¹» ïèCase
        ±º îï 3:24-cv-00490-FDW-SCR             Document 1-4 Filed 05/21/24 Page 248ØÙ
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                                                                                        ðð ðï ðç ïê
        Ð®»³·-»- Î»²¬»¼ Ì± Ç±« Ô·³·¬ ¼»-½®·¾»¼ ·²            ïìòþÔ±¿¼·²¹ ±® «²´±¿¼·²¹þ ³»¿²- ¬¸» ¸¿²¼´·²¹ ±º
        Í»½¬·±² ××× ó Ô·³·¬- ±º ×²-«®¿²½»å                      °®±°»®¬§æ
   ¾ò ß -·¼»¬®¿½µ ¿¹®»»³»²¬å                                    ¿ò ßº¬»® ·¬ ·- ³±ª»¼ º®±³ ¬¸» °´¿½» ©¸»®» ·¬ ·-
   ½ò ß²§ »¿-»³»²¬ ±® ´·½»²-» ¿¹®»»³»²¬ô                           ¿½½»°¬»¼ º±® ³±ª»³»²¬ ·²¬± ±® ±²¬± ¿²
        ·²½´«¼·²¹ ¿² »¿-»³»²¬ ±® ´·½»²-» ¿¹®»»³»²¬                 ¿·®½®¿º¬ô ©¿¬»®½®¿º¬ ±® þ¿«¬±þå
        ·² ½±²²»½¬·±² ©·¬¸ ½±²-¬®«½¬·±² ±® ¼»³±´·¬·±²           ¾ò É¸·´» ·¬ ·- ·² ±® ±² ¿² ¿·®½®¿º¬ô ©¿¬»®½®¿º¬ ±®
        ±°»®¿¬·±²- ±² ±® ©·¬¸·² ëð º»»¬ ±º ¿ ®¿·´®±¿¼å             þ¿«¬±þå ±®
   ¼ò ß² ±¾´·¹¿¬·±²ô ¿- ®»¯«·®»¼ ¾§ ±®¼·²¿²½»ô ¬±               ½ò É¸·´» ·¬ ·- ¾»·²¹ ³±ª»¼ º®±³ ¿² ¿·®½®¿º¬ô
        ·²¼»³²·º§ ¿ ³«²·½·°¿´·¬§ô »¨½»°¬ ·² ½±²²»½¬·±²             ©¿¬»®½®¿º¬ ±® þ¿«¬±þ ¬± ¬¸» °´¿½» ©¸»®» ·¬ ·-
       ©·¬¸ ©±®µ º±® ¿ ³«²·½·°¿´·¬§å                               º·²¿´´§ ¼»´·ª»®»¼å
   »ò ß² »´»ª¿¬±® ³¿·²¬»²¿²½» ¿¹®»»³»²¬å                        ¾«¬ þ´±¿¼·²¹ ±® «²´±¿¼·²¹þ ¼±»- ²±¬ ·²½´«¼» ¬¸»
    ºò Ì¸¿¬ °¿®¬ ±º ¿²§ ±¬¸»® ½±²¬®¿½¬ ±® ¿¹®»»³»²¬             ³±ª»³»²¬ ±º °®±°»®¬§ ¾§ ³»¿²- ±º ¿ ³»½¸¿²·½¿´
        °»®¬¿·²·²¹ ¬± §±«® ¾«-·²»-- ø·²½´«¼·²¹ ¿²               ¼»ª·½»ô ±¬¸»® ¬¸¿² ¿ ¸¿²¼ ¬®«½µô ¬¸¿¬ ·- ²±¬
        ·²¼»³²·º·½¿¬·±² ±º ¿ ³«²·½·°¿´·¬§ ·² ½±²²»½¬·±²         ¿¬¬¿½¸»¼ ¬± ¬¸» ¿·®½®¿º¬ô ©¿¬»®½®¿º¬ ±® þ¿«¬±þò
       ©·¬¸ ©±®µ °»®º±®³»¼ º±® ¿ ³«²·½·°¿´·¬§÷ «²¼»®         ïëòþÓ±¾·´» »¯«·°³»²¬þ ³»¿²- ¿²§ ±º ¬¸» º±´´±©·²¹
       ©¸·½¸ §±« ¿--«³» ¬¸» ¬±®¬ ´·¿¾·´·¬§ ±º ¿²±¬¸»®           ¬§°»- ±º ´¿²¼ ª»¸·½´»-ô ·²½´«¼·²¹ ¿²§ ¿¬¬¿½¸»¼
        °¿®¬§ ¬± °¿§ º±® þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§
                                                                ³¿½¸·²»®§ ±® »¯«·°³»²¬æ
        ¼¿³¿¹»þ ¬± ¿ ¬¸·®¼ °»®-±² ±® ±®¹¿²·¦¿¬·±²ô
        °®±ª·¼»¼ ¬¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§               ¿ò Þ«´´¼±¦»®-ô º¿®³ ³¿½¸·²»®§ô º±®µ´·º¬- ¿²¼ ±¬¸»®
        ¼¿³¿¹»þ ·- ½¿«-»¼ô ·² ©¸±´» ±® ·² °¿®¬ô ¾§                 ª»¸·½´»- ¼»-·¹²»¼ º±® «-» °®·²½·°¿´´§ ±ºº °«¾´·½
        §±« ±® ¾§ ¬¸±-» ¿½¬·²¹ ±² §±«® ¾»¸¿´ºò Ì±®¬                ®±¿¼-å
        ´·¿¾·´·¬§ ³»¿²- ¿ ´·¿¾·´·¬§ ¬¸¿¬ ©±«´¼ ¾»               ¾ò Ê»¸·½´»- ³¿·²¬¿·²»¼ º±® «-» -±´»´§ ±² ±® ²»¨¬
        ·³°±-»¼ ¾§ ´¿© ·² ¬¸» ¿¾-»²½» ±º ¿²§                       ¬± °®»³·-»- §±« ±©² ±® ®»²¬å
        ½±²¬®¿½¬ ±® ¿¹®»»³»²¬ò                                  ½ò Ê»¸·½´»- ¬¸¿¬ ¬®¿ª»´ ±² ½®¿©´»® ¬®»¿¼-å
        Ð¿®¿¹®¿°¸ ºò ·²½´«¼»- ¬¸¿¬ °¿®¬ ±º ¿²§ ½±²¬®¿½¬
                                                                ¼ò Ê»¸·½´»-ô ©¸»¬¸»® -»´ºó°®±°»´´»¼ ±® ²±¬ô
        ±® ¿¹®»»³»²¬ ¬¸¿¬ ·²¼»³²·º·»- ¿ ®¿·´®±¿¼ º±®
                                                                    ³¿·²¬¿·²»¼ °®·³¿®·´§ ¬± °®±ª·¼» ³±¾·´·¬§ ¬±
        þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ¿®·-·²¹
                                                                    °»®³¿²»²¬´§ ³±«²¬»¼æ
        ±«¬ ±º ½±²-¬®«½¬·±² ±® ¼»³±´·¬·±² ±°»®¿¬·±²-ô
        ©·¬¸·² ëð º»»¬ ±º ¿²§ ®¿·´®±¿¼ °®±°»®¬§ ¿²¼                øï÷ Ð±©»® ½®¿²»-ô -¸±ª»´-ô ´±¿¼»®-ô ¼·¹¹»®- ±®
        ¿ºº»½¬·²¹ ¿²§ ®¿·´®±¿¼ ¾®·¼¹» ±® ¬®»-¬´»ô ¬®¿½µ-ô               ¼®·´´-å ±®
        ®±¿¼ó¾»¼-ô ¬«²²»´ô «²¼»®°¿-- ±® ½®±--·²¹ò                  øî÷ Î±¿¼        ½±²-¬®«½¬·±²   ±®    ®»-«®º¿½·²¹
        Ø±©»ª»®ô Ð¿®¿¹®¿°¸ ºò ¼±»- ²±¬ ·²½´«¼» ¬¸¿¬                     »¯«·°³»²¬ -«½¸ ¿- ¹®¿¼»®-ô -½®¿°»®- ±®
        °¿®¬ ±º ¿²§ ½±²¬®¿½¬ ±® ¿¹®»»³»²¬æ                              ®±´´»®-å
       øï÷ Ì¸¿¬ ·²¼»³²·º·»- ¿² ¿®½¸·¬»½¬ô »²¹·²»»® ±®           »ò Ê»¸·½´»- ²±¬ ¼»-½®·¾»¼ ·² ¿òô ¾òô ½ò ±® ¼ò ¿¾±ª»
            -«®ª»§±® º±® ·²¶«®§ ±® ¼¿³¿¹» ¿®·-·²¹ ±«¬ ±ºæ           ¬¸¿¬ ¿®» ²±¬ -»´ºó°®±°»´´»¼ ¿²¼ ¿®» ³¿·²¬¿·²»¼
            ø¿÷ Ð®»°¿®·²¹ô ¿°°®±ª·²¹ô ±® º¿·´·²¹ ¬±                 °®·³¿®·´§ ¬± °®±ª·¼» ³±¾·´·¬§ ¬± °»®³¿²»²¬´§
                 °®»°¿®» ±® ¿°°®±ª»ô ³¿°-ô -¸±°                     ¿¬¬¿½¸»¼ »¯«·°³»²¬ ±º ¬¸» º±´´±©·²¹ ¬§°»-æ
                 ¼®¿©·²¹-ô ±°·²·±²-ô ®»°±®¬-ô -«®ª»§-ô             øï÷ ß·® ½±³°®»--±®-ô °«³°- ¿²¼ ¹»²»®¿¬±®-ô
                 º·»´¼ ±®¼»®-ô ½¸¿²¹» ±®¼»®- ±® ¼®¿©·²¹-                ·²½´«¼·²¹ -°®¿§·²¹ô ©»´¼·²¹ô ¾«·´¼·²¹
                 ¿²¼ -°»½·º·½¿¬·±²-å ±®                                 ½´»¿²·²¹ô ¹»±°¸§-·½¿´ »¨°´±®¿¬·±²ô ´·¹¸¬·²¹
            ø¾÷ Ù·ª·²¹ ¼·®»½¬·±²- ±® ·²-¬®«½¬·±²-ô ±®                   ¿²¼ ©»´´ -»®ª·½·²¹ »¯«·°³»²¬å ±®
                 º¿·´·²¹ ¬± ¹·ª» ¬¸»³ô ·º ¬¸¿¬ ·- ¬¸»              øî÷ Ý¸»®®§ °·½µ»®- ¿²¼ -·³·´¿® ¼»ª·½»- «-»¼ ¬±
                 °®·³¿®§ ½¿«-» ±º ¬¸» ·²¶«®§ ±® ¼¿³¿¹»å                 ®¿·-» ±® ´±©»® ©±®µ»®-å
                 ±®                                             ºò Ê»¸·½´»- ²±¬ ¼»-½®·¾»¼ ·² ¿òô ¾òô ½ò ±® ¼ò ¿¾±ª»
       øî÷ Ë²¼»® ©¸·½¸ ¬¸» ·²-«®»¼ô ·º ¿² ¿®½¸·¬»½¬ô               ³¿·²¬¿·²»¼ °®·³¿®·´§ º±® °«®°±-»- ±¬¸»® ¬¸¿²
            »²¹·²»»® ±® -«®ª»§±®ô ¿--«³»- ´·¿¾·´·¬§ º±®            ¬¸» ¬®¿²-°±®¬¿¬·±² ±º °»®-±²- ±® ½¿®¹±ò
            ¿² ·²¶«®§ ±® ¼¿³¿¹» ¿®·-·²¹ ±«¬ ±º ¬¸»
                                                                    Ø±©»ª»®ô -»´ºó°®±°»´´»¼ ª»¸·½´»- ©·¬¸ ¬¸»
            ·²-«®»¼ù- ®»²¼»®·²¹ ±® º¿·´«®» ¬± ®»²¼»®
                                                                    º±´´±©·²¹ ¬§°»- ±º °»®³¿²»²¬´§ ¿¬¬¿½¸»¼
            °®±º»--·±²¿´ -»®ª·½»-ô ·²½´«¼·²¹ ¬¸±-» ´·-¬»¼
                                                                    »¯«·°³»²¬ ¿®» ²±¬ þ³±¾·´» »¯«·°³»²¬þ ¾«¬ ©·´´
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ïíòþÔ»¿-»¼ ©±®µ»®þ ³»¿²- ¿ °»®-±² ´»¿-»¼ ¬± §±«                    øï÷ Û¯«·°³»²¬ ¼»-·¹²»¼ °®·³¿®·´§ º±®æ
   ¾§ ¿ ´¿¾±® ´»¿-·²¹ º·®³ «²¼»® ¿² ¿¹®»»³»²¬                           ø¿÷ Í²±© ®»³±ª¿´å
   ¾»¬©»»² §±« ¿²¼ ¬¸» ´¿¾±® ´»¿-·²¹ º·®³ô ¬±                         ø¾÷ Î±¿¼      ³¿·²¬»²¿²½»ô       ¾«¬     ²±¬
   °»®º±®³ ¼«¬·»- ®»´¿¬»¼ ¬± ¬¸» ½±²¼«½¬ ±º §±«®                          ½±²-¬®«½¬·±² ±® ®»-«®º¿½·²¹å ±®
   ¾«-·²»--ò þÔ»¿-»¼ ©±®µ»®þ ¼±»- ²±¬ ·²½´«¼» ¿
                                                                      ø½÷ Í¬®»»¬ ½´»¿²·²¹å
   þ¬»³°±®¿®§ ©±®µ»®þò


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         ðç ïê                                     Document 1-4 Filed 05/21/24 Page 249 of 579ïç ±º îï
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      øî÷ Ý¸»®®§ °·½µ»®- ¿²¼ -·³·´¿® ¼»ª·½»-                      øî÷ É±®µ ¬¸¿¬ ¸¿- ²±¬ §»¬ ¾»»² ½±³°´»¬»¼ ±®
          ³±«²¬»¼ ±² ¿«¬±³±¾·´» ±® ¬®«½µ ½¸¿--·-                      ¿¾¿²¼±²»¼ò Ø±©»ª»®ô þ§±«® ©±®µþ ©·´´ ¾»
          ¿²¼ «-»¼ ¬± ®¿·-» ±® ´±©»® ©±®µ»®-å ¿²¼                     ¼»»³»¼ ½±³°´»¬»¼ ¿¬ ¬¸» »¿®´·»-¬ ±º ¬¸»
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          ·²½´«¼·²¹ -°®¿§·²¹ô ©»´¼·²¹ô ¾«·´¼·²¹                       ø¿÷ É¸»² ¿´´ ±º ¬¸» ©±®µ ½¿´´»¼ º±® ·² §±«®
          ½´»¿²·²¹ô ¹»±°¸§-·½¿´ »¨°´±®¿¬·±²ô ´·¹¸¬·²¹                     ½±²¬®¿½¬ ¸¿- ¾»»² ½±³°´»¬»¼ò
          ¿²¼ ©»´´ -»®ª·½·²¹ »¯«·°³»²¬ò                               ø¾÷ É¸»² ¿´´ ±º ¬¸» ©±®µ ¬± ¾» ¼±²» ¿¬ ¬¸»
   Ø±©»ª»®ô þ³±¾·´» »¯«·°³»²¬þ ¼±»- ²±¬ ·²½´«¼»                           ¶±¾ -·¬» ¸¿- ¾»»² ½±³°´»¬»¼ ·º §±«®
   ¿²§ ´¿²¼ ª»¸·½´» ¬¸¿¬ ·- -«¾¶»½¬ ¬± ¿ ½±³°«´-±®§                       ½±²¬®¿½¬ ½¿´´- º±® ©±®µ ¿¬ ³±®» ¬¸¿²
   ±® º·²¿²½·¿´ ®»-°±²-·¾·´·¬§ ´¿© ±® ±¬¸»® ³±¬±®                         ±²» ¶±¾ -·¬»ò
   ª»¸·½´» ·²-«®¿²½» ´¿© ©¸»®» ·¬ ·- ´·½»²-»¼ ±®                      ø½÷ É¸»² ¬¸¿¬ °¿®¬ ±º ¬¸» ©±®µ ¼±²» ¿¬ ¿
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   ½±³°«´-±®§ ±® º·²¿²½·¿´ ®»-°±²-·¾·´·¬§ ´¿© ±® ±¬¸»®                    «-» ¾§ ¿²§ °»®-±² ±® ±®¹¿²·¦¿¬·±²
   ³±¬±® ª»¸·½´» ·²-«®¿²½» ´¿© ¿®» ½±²-·¼»®»¼                             ±¬¸»® ¬¸¿² ¿²±¬¸»® ½±²¬®¿½¬±® ±®
   þ¿«¬±-þò                                                               -«¾½±²¬®¿½¬±® ©±®µ·²¹ ±² ¬¸» -¿³»
ïêòþÑ½½«®®»²½»þ ³»¿²- ¿² ¿½½·¼»²¬ô ·²½´«¼·²¹                              °®±¶»½¬ò
   ½±²¬·²«±«- ±® ®»°»¿¬»¼ »¨°±-«®» ¬± -«¾-¬¿²¬·¿´´§                 É±®µ      ¬¸¿¬     ³¿§      ²»»¼    -»®ª·½»ô
   ¬¸» -¿³» ¹»²»®¿´ ¸¿®³º«´ ½±²¼·¬·±²-ò                              ³¿·²¬»²¿²½»ô      ½±®®»½¬·±²ô   ®»°¿·®   ±®
ïéòþÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ³»¿²-                           ®»°´¿½»³»²¬ô ¾«¬ ©¸·½¸ ·- ±¬¸»®©·-»
   ·²¶«®§ô ·²½´«¼·²¹ ½±²-»¯«»²¬·¿´ þ¾±¼·´§ ·²¶«®§þô                  ½±³°´»¬»ô ©·´´ ¾» ¬®»¿¬»¼ ¿- ½±³°´»¬»¼ò
   ¿®·-·²¹ ±«¬ ±º ±²» ±® ³±®» ±º ¬¸» º±´´±©·²¹                 ¾ò Ü±»- ²±¬ ·²½´«¼» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§
   ±ºº»²-»-æ                                                      ¼¿³¿¹»þ ¿®·-·²¹ ±«¬ ±ºæ
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   ¾ò Ó¿´·½·±«- °®±-»½«¬·±²å                                           ·²¶«®§ ±® ¼¿³¿¹» ¿®·-»- ±«¬ ±º ¿ ½±²¼·¬·±²
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        ·²¬±ô ±® ·²ª¿-·±² ±º ¬¸» ®·¹¸¬ ±º °®·ª¿¬»                      ¾§ §±«ô ¿²¼ ¬¸¿¬ ½±²¼·¬·±² ©¿- ½®»¿¬»¼ ¾§
        ±½½«°¿²½§ ±º ¿ ®±±³ô ¼©»´´·²¹ ±® °®»³·-»-                      ¬¸» þ´±¿¼·²¹ ±® «²´±¿¼·²¹þ ±º ¬¸¿¬ ª»¸·½´»
        ¬¸¿¬ ¿ °»®-±² ±® ±®¹¿²·¦¿¬·±² ±½½«°·»-ô                        ¾§ ¿²§ ·²-«®»¼å
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        ´¿²¼´±®¼ ±® ´»--±®å                                            »¯«·°³»²¬ ±® ¿¾¿²¼±²»¼ ±® «²«-»¼
   ¼ò Ñ®¿´ô ©®·¬¬»² ±® »´»½¬®±²·½ °«¾´·½¿¬·±²ô ·² ¿²§                  ³¿¬»®·¿´-å ±®
        ³¿²²»®ô ±º ³¿¬»®·¿´ ¬¸¿¬ -´¿²¼»®- ±® ´·¾»´- ¿             øí÷ Ð®±¼«½¬- ±® ±°»®¿¬·±²- º±® ©¸·½¸ ¬¸»
        °»®-±² ±® ±®¹¿²·¦¿¬·±² ±® ¼·-°¿®¿¹»- ¿                         ½´¿--·º·½¿¬·±²ô ´·-¬»¼ ·² ¬¸» Ü»½´¿®¿¬·±²- ±®
        °»®-±²ù- ±® ±®¹¿²·¦¿¬·±²ù- ¹±±¼-ô °®±¼«½¬- ±®                  ·² ¿ °±´·½§ Í½¸»¼«´»ô -¬¿¬»- ¬¸¿¬ °®±¼«½¬-ó
        -»®ª·½»-å                                                      ½±³°´»¬»¼ ±°»®¿¬·±²- ¿®» -«¾¶»½¬ ¬± ¬¸»
   »ò Ñ®¿´ô ©®·¬¬»² ±® »´»½¬®±²·½ °«¾´·½¿¬·±²ô ·² ¿²§                  Ù»²»®¿´ ß¹¹®»¹¿¬» Ô·³·¬ò
        ³¿²²»®ô ±º ³¿¬»®·¿´ ¬¸¿¬ ª·±´¿¬»- ¿ °»®-±²ù-        îðòþÐ®±°»®¬§ ¼¿³¿¹»þ ³»¿²-æ
        ®·¹¸¬ ±º °®·ª¿½§å                                      ¿ò Ð¸§-·½¿´ ·²¶«®§ ¬± ¬¿²¹·¾´» °®±°»®¬§ô ·²½´«¼·²¹
    ºò Ý±°§·²¹ô ·² §±«® þ¿¼ª»®¬·-»³»²¬þô ¿ °»®-±²ù-                ¿´´ ®»-«´¬·²¹ ´±-- ±º «-» ±º ¬¸¿¬ °®±°»®¬§ò ß´´
        ±® ±®¹¿²·¦¿¬·±²ù- þ¿¼ª»®¬·-·²¹ ·¼»¿þ ±® -¬§´» ±º           -«½¸ ´±-- ±º «-» -¸¿´´ ¾» ¼»»³»¼ ¬± ±½½«® ¿¬
        þ¿¼ª»®¬·-»³»²¬þå ±®                                        ¬¸» ¬·³» ±º ¬¸» °¸§-·½¿´ ·²¶«®§ ¬¸¿¬ ½¿«-»¼ ·¬å
   ¹ò ×²º®·²¹»³»²¬ ±º ½±°§®·¹¸¬ô -´±¹¿²ô ±® ¬·¬´» ±º               ±®
        ¿²§ ´·¬»®¿®§ ±® ¿®¬·-¬·½ ©±®µô ·² §±«®                 ¾ò Ô±-- ±º «-» ±º ¬¿²¹·¾´» °®±°»®¬§ ¬¸¿¬ ·- ²±¬
        þ¿¼ª»®¬·-»³»²¬þò                                           °¸§-·½¿´´§ ·²¶«®»¼ò ß´´ -«½¸ ´±-- ±º «-» -¸¿´´
ïèòþÐ±´´«¬¿²¬-þ ³»¿² ¿²§ -±´·¼ô ´·¯«·¼ô ¹¿-»±«- ±®                 ¾» ¼»»³»¼ ¬± ±½½«® ¿¬ ¬¸» ¬·³» ±º ¬¸»
   ¬¸»®³¿´ ·®®·¬¿²¬ ±® ½±²¬¿³·²¿²¬ô ·²½´«¼·²¹ -³±µ»ô               þ±½½«®®»²½»þ ¬¸¿¬ ½¿«-»¼ ·¬ò
   ª¿°±®ô -±±¬ô º«³»-ô ¿½·¼-ô ¿´µ¿´·-ô ½¸»³·½¿´- ¿²¼           ß- «-»¼ ·² ¬¸·- ¼»º·²·¬·±²ô ½±³°«¬»®·¦»¼ ±®
   ©¿-¬»ò É¿-¬» ·²½´«¼»- ³¿¬»®·¿´- ¬± ¾» ®»½§½´»¼ô             »´»½¬®±²·½¿´´§ -¬±®»¼ ¼¿¬¿ô °®±¹®¿³- ±® -±º¬©¿®»
   ®»½±²¼·¬·±²»¼ ±® ®»½´¿·³»¼ò                                 ¿®» ²±¬ ¬¿²¹·¾´» °®±°»®¬§ò Û´»½¬®±²·½ ¼¿¬¿ ³»¿²-
ïçòþÐ®±¼«½¬-ó½±³°´»¬»¼ ±°»®¿¬·±²- ¸¿¦¿®¼þæ                     ·²º±®³¿¬·±²ô º¿½¬- ±® °®±¹®¿³-æ
   ¿ò ×²½´«¼»- ¿´´ þ¾±¼·´§ ·²¶«®§þ ¿²¼ þ°®±°»®¬§               ¿ò Í¬±®»¼ ¿- ±® ±²å
        ¼¿³¿¹»þ ±½½«®®·²¹ ¿©¿§ º®±³ °®»³·-»- §±«
                                                               ¾ò Ý®»¿¬»¼ ±® «-»¼ ±²å ±®
        ±©² ±® ®»²¬ ¿²¼ ¿®·-·²¹ ±«¬ ±º þ§±«® °®±¼«½¬þ
        ±® þ§±«® ©±®µþ »¨½»°¬æ                                 ½ò Ì®¿²-³·¬¬»¼ ¬± ±® º®±³å
       øï÷ Ð®±¼«½¬- ¬¸¿¬ ¿®» -¬·´´ ·² §±«® °¸§-·½¿´            ½±³°«¬»® -±º¬©¿®»ô ·²½´«¼·²¹ -§-¬»³- ¿²¼
            °±--»--·±²å ±®                                     ¿°°´·½¿¬·±²- -±º¬©¿®»ô ¸¿®¼ ±® º´±°°§ ¼·-µ-ô ÝÜó


Ð¿¹» îðCase
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                                                                                          ðð ðï ðç ïê
   ÎÑÓÍô ¬¿°»-ô ¼®·ª»-ô ½»´´-ô ¼¿¬¿ °®±½»--·²¹             îëò þÇ±«® ©±®µþæ
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                                                              øï÷ É±®µ ±® ±°»®¿¬·±²- °»®º±®³»¼ ¾§ §±« ±®
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   ¼¿³¿¹»- ¾»½¿«-» ±º þ¾±¼·´§ ·²¶«®§þô þ°®±°»®¬§
   ¼¿³¿¹»þ ±® þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ¬±            øî÷ Ó¿¬»®·¿´-ô °¿®¬- ±® »¯«·°³»²¬ º«®²·-¸»¼ ·²
   ©¸·½¸ ¬¸·- ·²-«®¿²½» ¿°°´·»- ¿®» ¿´´»¹»¼ò þÍ«·¬þ               ½±²²»½¬·±² ©·¬¸ -«½¸ ©±®µ ±® ±°»®¿¬·±²-ò
   ·²½´«¼»-æ                                               ¾ò ×²½´«¼»-
   ¿ò ß² ¿®¾·¬®¿¬·±² °®±½»»¼·²¹ ·² ©¸·½¸ -«½¸                 øï÷ É¿®®¿²¬·»- ±® ®»°®»-»²¬¿¬·±²- ³¿¼» ¿¬
       ¼¿³¿¹»- ¿®» ½´¿·³»¼ ¿²¼ ¬± ©¸·½¸ ¬¸»                       ¿²§ ¬·³» ©·¬¸ ®»-°»½¬ ¬± ¬¸» º·¬²»--ô
       ·²-«®»¼ ³«-¬ -«¾³·¬ ±® ¼±»- -«¾³·¬ ©·¬¸ ±«®                ¯«¿´·¬§ô ¼«®¿¾·´·¬§ô °»®º±®³¿²½» ±® «-» ±º
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       °®±½»»¼·²¹ ·² ©¸·½¸ -«½¸ ¼¿³¿¹»- ¿®»                       ©¿®²·²¹- ±® ·²-¬®«½¬·±²-ò
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   º«®²·-¸»¼ ¬± §±« ¬± -«¾-¬·¬«¬» º±® ¿ °»®³¿²»²¬
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   ¾ò Ü±²¿¬»- ¸·- ±® ¸»® ©±®µå
   ½ò ß½¬- ¿¬ ¬¸» ¼·®»½¬·±² ±º ¿²¼ ©·¬¸·² ¬¸» -½±°»
      ±º ¼«¬·»- ¼»¬»®³·²»¼ ¾§ §±«å ¿²¼
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      ©±®µ °»®º±®³»¼ º±® §±«ò
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     øï÷ ß²§ ¹±±¼- ±® °®±¼«½¬-ô ±¬¸»® ¬¸¿² ®»¿´
         °®±°»®¬§ô ³¿²«º¿½¬«®»¼ô -±´¼ô ¸¿²¼´»¼ô
         ¼·-¬®·¾«¬»¼ ±® ¼·-°±-»¼ ±º ¾§æ
         ø¿÷ Ç±«å
         ø¾÷ Ñ¬¸»®- ¬®¿¼·²¹ «²¼»® §±«® ²¿³»å ±®
         ø½÷ ß °»®-±² ±® ±®¹¿²·¦¿¬·±² ©¸±-»
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   ¾ò ×²½´«¼»-
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         ¯«¿´·¬§ô ¼«®¿¾·´·¬§ô °»®º±®³¿²½» ±® «-» ±º
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   ½ò Ü±»- ²±¬ ·²½´«¼» ª»²¼·²¹ ³¿½¸·²»- ±® ±¬¸»®
      °®±°»®¬§ ®»²¬»¼ ¬± ±® ´±½¿¬»¼ º±® ¬¸» «-» ±º
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ØÙ ðð ðï     3:24-cv-00490-FDW-SCR
         ðç ïê                                 Document 1-4 Filed 05/21/24 Page 251 of 579îï ±º îï
                                                                                    Ð¿¹»
     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                    ÛÈÝÔËÍ×ÑÒ ó ËÒÓßÒÒÛÜ ß×ÎÝÎßÚÌ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
    ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ øÛÈÝÛÍÍ ó ÞÎÑßÜ ÚÑÎÓ÷
    ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ øÛÈÝÛÍÍ÷

ßò Û¨½´«-·±² îò¹ò ß·®½®¿º¬ô ß«¬± Ñ® É¿¬»®½®¿º¬                           ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®- ¾§
   «²¼»® Í»½¬·±² × ó Ý±ª»®¿¹» ß ó Þ±¼·´§ ×²¶«®§                          ¬¸¿¬ ·²-«®»¼ô ·º ¬¸» þ±½½«®®»²½»þ ©¸·½¸
   ß²¼ Ð®±°»®¬§ Ü¿³¿¹» Ô·¿¾·´·¬§ ·- ®»°´¿½»¼ ¾§                          ½¿«-»¼ ¬¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§
   ¬¸» º±´´±©·²¹æ                                                        ¼¿³¿¹»þ ·²ª±´ª»¼ ¬¸» ±©²»®-¸·°ô
   îò Û¨½´«-·±²-                                                         ³¿·²¬»²¿²½»ô «-» ±® »²¬®«-¬³»²¬ ¬±
                                                                         ±¬¸»®- ±º ¿²§ ¿·®½®¿º¬ ø±¬¸»® ¬¸¿²
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        ¹ò ß·®½®¿º¬ô ß«¬± Ñ® É¿¬»®½®¿º¬                                  ©¿¬»®½®¿º¬ ¬¸¿¬ ·- ±©²»¼ ±® ±°»®¿¬»¼
            øï÷ Ë²³¿²²»¼ ß·®½®¿º¬                                        ¾§ ±® ®»²¬»¼ ±® ´±¿²»¼ ¬± ¿²§ ·²-«®»¼ò
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                ¿®·-·²¹ ±«¬ ±º ¬¸» ±©²»®-¸·°ô                            ¬±æ
                ³¿·²¬»²¿²½»ô «-» ±® »²¬®«-¬³»²¬ ¬±                       ø¿÷ ß ©¿¬»®½®¿º¬ ©¸·´» ¿-¸±®» ±²
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                ¬¸» ½´¿·³- ¿¹¿·²-¬ ¿²§ ·²-«®»¼ ¿´´»¹»
                ²»¹´·¹»²½» ±® ±¬¸»® ©®±²¹¼±·²¹ ·² ¬¸»                         ø··÷ Ò±¬ ¾»·²¹ «-»¼ ¬± ½¿®®§
                -«°»®ª·-·±²ô      ¸·®·²¹ô  »³°´±§³»²¬ô                             °»®-±²- º±® ¿ ½¸¿®¹»å
                ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®- ¾§                      ø½÷ Ð¿®µ·²¹ ¿² þ¿«¬±þ ±²ô ±® ±² ¬¸»
                ¬¸¿¬ ·²-«®»¼ô ·º ¬¸» þ±½½«®®»²½»þ ©¸·½¸                       ©¿§- ²»¨¬ ¬±ô °®»³·-»- §±« ±©²
                ½¿«-»¼ ¬¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§                       ±® ®»²¬ô °®±ª·¼»¼ ¬¸» þ¿«¬±þ ·- ²±¬
                ¼¿³¿¹»þ ·²ª±´ª»¼ ¬¸» ±©²»®-¸·°ô                               ±©²»¼ ¾§ ±® ®»²¬»¼ ±® ´±¿²»¼ ¬±
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                ß·®½®¿º¬÷ô ß«¬± Ñ® É¿¬»®½®¿º¬                                 ±º ¿·®½®¿º¬ ±® ©¿¬»®½®¿º¬å ±®
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                ¬¸» ½´¿·³- ¿¹¿·²-¬ ¿²§ ·²-«®»¼ ¿´´»¹»                              ±¬¸»® ³±¬±® ª»¸·½´» ·²-«®¿²½»
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                   ø··÷ Ì¸» ±°»®¿¬·±² ±º ¿²§ ±º ¬¸»              Ì¸·- »¨½´«-·±² ¿°°´·»- »ª»² ·º ¬¸» ½´¿·³-
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                        ´·-¬»¼ ·² Ð¿®¿¹®¿°¸ ºòøî÷ ±®             ±¬¸»® ©®±²¹¼±·²¹ ·² ¬¸» -«°»®ª·-·±²ô ¸·®·²¹ô
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                        þ³±¾·´» »¯«·°³»²¬þò                      ¾§ ¬¸¿¬ ·²-«®»¼ô ·º ¬¸» ±ºº»²-» ©¸·½¸ ½¿«-»¼
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                   ·²-«®¿²½» ·- °®·³¿®§ô »¨½»--ô                 ¾ò ×²º®·²¹·²¹ «°±² ¿²±¬¸»®ù- ½±°§®·¹¸¬ô ¬®¿¼»
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   Û¨½´«-·±²- ±º Ý±ª»®¿¹» Þ ó Ð»®-±²¿´ ß²¼                   Ü»º·²·¬·±²- -»½¬·±²æ
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   îò Û¨½´«-·±²-                                             ïò Ü»-·¹²»¼å
       Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ                     îò Ó¿²«º¿½¬«®»¼å ±®
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ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




       ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ



ÙØðéçìðëïç ßÓÛÒÜÛÜ ÝÑÔÔÛÙÛ ÑÎ ÍÝØÑÑÔÍ
           øÔ×Ó×ÌÛÜ ÚÑÎÓ÷


ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ


ÙØðéçìðëïç




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Ú±®³ ×Ø ïî ðï ïï èë ÍÛÏòÒÑò ðê          Ð®·²¬»¼ ·² ËòÍòßò
                                                                                                                              ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ




                        ÏË×ÝÕ ÎÛÚÛÎÛÒÝÛ
            ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
                          ÝÔß×ÓÍ ÓßÜÛ

                                                        ÎÛßÜ ÇÑËÎ ÐÑÔ×ÝÇ ÝßÎÛÚËÔÔÇ

ÜÛÝÔßÎßÌ×ÑÒÍ ÐßÙÛÍ
     Ò¿³»¼ ×²-«®»¼ ¿²¼ Ó¿·´·²¹ ß¼¼®»--
     Ð±´·½§ Ð»®·±¼
     Ü»-½®·°¬·±² ±º Þ«-·²»-- ¿²¼ Ô±½¿¬·±²
     Ý±ª»®¿¹»- ¿²¼ Ô·³·¬- ±º ×²-«®¿²½»

ÍÛÝÌ×ÑÒ × ó ÝÑÊÛÎßÙÛÍ                                                                                                                                      Þ»¹·²²·²¹ ±² Ð¿¹»
     Ý±ª»®¿¹» ÛÞ                                                      ×²-«®·²¹ ß¹®»»³»²¬ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòò                   ï
                                                                      Û¨½´«-·±²- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòò            ï
                                                                      Í«°°´»³»²¬¿®§ Ð¿§³»²¬- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòò                        î
ÍÛÝÌ×ÑÒ ×× ó ÉØÑ ×Í ßÒ ×ÒÍËÎÛÜ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòò                              î
ÍÛÝÌ×ÑÒ ××× ó Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòò                               î
ÍÛÝÌ×ÑÒ ×Ê ó ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÒÜ×Ì×ÑÒÍ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòò                                                       í
     Þ¿²µ®«°¬½§ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòò         í
     Ü«¬·»- ·² ¬¸» Ûª»²¬ ±º Û³°´±§»» Þ»²»º·¬- ×²¶«®§ô Ý´¿·³ ±® Í«·¬ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòò                                       í
     Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-                 òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòò   í
     Ñ¬¸»® ×²-«®¿²½» òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òò            í
     Ð®»³·«³ ß«¼·¬ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòò           ì
     Î»°®»-»²¬¿¬·±²- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òò            ì
     Í»°¿®¿¬·±²- ±º ×²-«®»¼- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòò                 ì
     Ì®¿²-º»® ±º Î·¹¸¬- ±º Î»½±ª»®§ ß¹¿·²-¬ Ñ¬¸»®- Ì± Ë- òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòò                                    ì
ÍÛÝÌ×ÑÒ Ê ó ÛÈÌÛÒÜÛÜ ÎÛÐÑÎÌ×ÒÙ ÐÛÎ×ÑÜ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòò                                           ì
ÍÛÝÌ×ÑÒ Ê× ó ÜÛÚ×Ò×Ì×ÑÒÍ òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòòòòòòòòòòòòòòò òòòòòòòòòòòòòòòòòòò                        ë
ÝÑÓÓÑÒ ÐÑÔ×ÝÇ ÝÑÒÜ×Ì×ÑÒÍ
     Ý¿²½»´´¿¬·±²
     Ý¸¿²¹»-
     Û¨¿³·²¿¬·±² ±º Ç±«® Þ±±µ- ¿²¼ Î»½±®¼-
     ×²-°»½¬·±²- ¿²¼ Í«®ª»§-
     Ð®»³·«³-
     Ì®¿²-º»® ±º Ç±«® Î·¹¸¬- ¿²¼ Ü«¬·»- «²¼»® ¬¸·- Ð±´·½§
ÛÒÜÑÎÍÛÓÛÒÌÍ
     Ì¸»-» º±®³ ²«³¾»®- ¿®» -¸±©² ±² ¬¸» Ý±ª»®¿¹» Ð¿®¬ ó Ü»½´¿®¿¬·±²- Ð¿¹» ±® ±² ¬¸» Ý±³³±² Ð±´·½§ Ü»½´¿®¿¬·±²-
     Ð¿¹»ò



Ú±®³ ØÝ éð ïï ðî èê                 Ð®·²¬»¼ ·² ËòÍòßò øÒÍ÷
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                                                    Ý±°§®·¹¸¬ Ø¿®¬º±®¼ Ú·®» ×²-«®¿²½» Ý±³°¿²§ô ïçèê
ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ
ÝÑÊÛÎßÙÛ ÐßÎÌ ó ÜÛÝÔßÎßÌ×ÑÒÍ øÝÔß×ÓÍ ÓßÜÛ÷

         ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


Ì¸·- ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ øÝÔß×ÓÍ ÓßÜÛ÷ ½±²-·-¬- ±ºæ

    ßò Ì¸·- Ü»½´¿®¿¬·±²-å
    Þò Ý±³³»®½·¿´ Ù»²»®¿´ Ô·¿¾·´·¬§ Í½¸»¼«´»å
    Ýò Û³°´±§»» Þ»²»º·¬- Ô·¿¾·´·¬§ Ý±ª»®¿¹» Ú±®³å ¿²¼
    Üò ß²§ Û²¼±®-»³»²¬- ·--«»¼ ¬± ¾» ¿ °¿®¬ ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿²¼ ´·-¬»¼ ¾»´±©ò

Î»¬®±¿½¬·ª» Ü¿¬»æ ïîñíïñçî ò           ×º ²± ¼¿¬» ·- »²¬»®»¼ô ¬¸» Î»¬®±¿½¬·ª» Ü¿¬» ·- ¬¸» ×²½»°¬·±² Ü¿¬»
                                       ±º ¬¸» Ð±´·½§ Ð»®·±¼ -¬¿¬»¼ ·² ¬¸» Ý±³³±² Ð±´·½§ Ü»½´¿®¿¬·±²-ò

Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ

Ì¸» Ô·³·¬- ±º ×²-«®¿²½»ô -«¾¶»½¬ ¬± ¿´´ ¬¸» ¬»®³- ±º ¬¸·- Ð±´·½§ ¬¸¿¬ ¿°°´§ô ¿®»æ

       Û¿½¸ Ý´¿·³                                                         üïôðððôððð

       ß¹¹®»¹¿¬»                                                          üîôðððôððð

                                                                        ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                   üïíïòðð
ßËÜ×Ì ÐÛÎ×ÑÜæ ßÒÒËßÔ ßËÜ×Ì




Û¨½»°¬ ·² ¬¸·- Ü»½´¿®¿¬·±²-ô ©¸»² ©» «-» ¬¸» ©±®¼ ùùÜ»½´¿®¿¬·±²-ùù ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ©» ³»¿² ¬¸·- ùùÜ»½´¿®¿¬·±²-ùù ±®
¬¸» ùùÝ±³³±² Ð±´·½§ Ü»½´¿®¿¬·±²-òùù

Ú±®³ Ò«³¾»®- ±º Ý±ª»®¿¹» Ú±®³-ô Û²¼±®-»³»²¬- ¿²¼ Í½¸»¼«´»- ¬¸¿¬ ¿®» °¿®¬ ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬æ

ØÝîíéððïïë             ØÝéðïïðîèê              ØÝððîïðéçç              ØÝïîïðïïèëÌ




Ú±®³ ØÝ ðð îð ðî çë
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          ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ

                               ÝÑÊÛÎßÙÛ ÛÞ ÐÎÑÊ×ÜÛÍ ÝÔß×ÓÍ ÓßÜÛ ÝÑÊÛÎßÙÛò
                                 ÐÔÛßÍÛ ÎÛßÜ ÌØÛ ÛÒÌ×ÎÛ ÚÑÎÓ ÝßÎÛÚËÔÔÇò


Ê¿®·±«- °®±ª·-·±²- ·² ¬¸·- °±´·½§ ®»-¬®·½¬ ½±ª»®¿¹»ò Î»¿¼                    þ½´¿·³þ ±® þ-«·¬þ ¬¸¿¬ ³¿§ ®»-«´¬å ¿²¼
¬¸» »²¬·®» °±´·½§ ½¿®»º«´´§ ¬± ¼»¬»®³·²» ®·¹¸¬-ô ¼«¬·»- ¿²¼              øí÷ Ñ«® ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ »²¼ ©¸»² ©»
©¸¿¬ ·- ¿²¼ ·- ²±¬ ½±ª»®»¼ò                                                  ¸¿ª» «-»¼ «° ¬¸» ¿°°´·½¿¾´» ´·³·¬ ±º
Ì¸®±«¹¸±«¬ ¬¸·- °±´·½§ô ¬¸» ©±®¼-ô þ§±«þ ¿²¼ þ§±«®þ ®»º»®                    ·²-«®¿²½» ·² ¬¸» °¿§³»²¬ ±º ¶«¼¹³»²¬- ±®
¬± ¬¸» Ò¿³»¼ ×²-«®»¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ò Ì¸»                          -»¬¬´»³»²¬- «²¼»® Ý±ª»®¿¹» ÛÞò              Ì¸·-
©±®¼- þ©»þ þ«-þ ¿²¼ þ±«®þ ®»º»® ¬± ¬¸» Ý±³°¿²§ °®±ª·¼·²¹                     ¿°°´·»- ¾±¬¸ ¬± þ½´¿·³-þ ¿²¼ þ-«·¬-þ °»²¼·²¹
¬¸·- ·²-«®¿²½»ò                                                              ¿¬ ¬¸¿¬ ¬·³» ¿²¼ ¬± ¬¸±-» º·´»¼ ¬¸»®»¿º¬»®ò
Ì¸» ©±®¼ þ·²-«®»¼þ ³»¿²- ¿²§ °»®-±² ±® ±®¹¿²·¦¿¬·±²                ¾ò    Ì¸·- ·²-«®¿²½» ¿°°´·»- ¬± ¿² þ»³°´±§»» ¾»²» º·¬-
¯«¿´·º§·²¹ ¿- -«½¸ «²¼»® ÍÛÝÌ×ÑÒ ×× ó ÉØÑ ×Í ßÒ                          ·²¶«®§þ ±²´§ ·ºæ
×ÒÍËÎÛÜò
                                                                         øï÷ ß þ½´¿·³þ º±® þ¼¿³¿¹»-þ ¾»½¿«-» ±º ¬¸»
Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¯«±¬¿¬·±² ³¿®µ-                       þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ·- º·®-¬ ³¿¼»
¸¿ª» -°»½·¿´ ³»¿²·²¹ò                                                        ¿¹¿·²-¬ ¿²§ ·²-«®»¼ ¼«®·²¹ ¬¸» °±´·½§ °»®·±¼å
Î»º»® ¬± ÍÛÝÌ×ÑÒ Ê× ó ÜÛÚ×Ò×Ì×ÑÒÍò                                           ¿²¼
ÍÛÝÌ×ÑÒ × ó ÝÑÊÛÎßÙÛ ÛÞ                                                  øî÷ ß¬ ¬¸» ¬·³» §±« ¿°°´·»¼ º±® ¬¸·- ·²-«®¿²½»
                                                                             §±« ¸¿¼ ²± µ²±©´»¼¹» ±º ¿²§ þ½´¿·³þ ±®
ïò   ×ÒÍËÎ×ÒÙ ßÙÎÛÛÓÛÒÌò
                                                                             þ-«·¬þ ±® ±º ¿²§ þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ
     ¿ò   É» ©·´´ °¿§ ¬¸±-» -«³- ¬¸¿¬ ¬¸» ·²-«®»¼                            ©¸·½¸ ³·¹¸¬ ®»¿-±²¿¾´§ ¾» »¨°»½¬»¼ ¬±
          ¾»½±³»- ´»¹¿´´§ ±¾´·¹¿¬»¼ ¬± °¿§ ¿- þ¼¿³¿¹»-þ                      ®»-«´¬ ·² ¿ þ½´¿·³þ ±® þ-«·¬ôþ »¨½»°¬ ¿- §±«
          ¾»½¿«-» ±º þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ¬± ©¸·½¸                     ¸¿¼ ®»°±®¬»¼ ¬± «- ·² ©®·¬·²¹ ¿¬ ¬¸» ¬·³» §±«
          ¬¸·- ·²-«®¿²½» ¿°°´·»-ò Ò± ±¬¸»® ±¾´·¹¿¬·±² ±®                     -± ¿°°´·»¼ò
          ´·¿¾·´·¬§ ¬± °¿§ -«³- ±® °»®º±®³ ¿½¬- ±® -»®ª·½»-
                                                                   ½ò    ß þ½´¿·³þ ¾§ ¿ °»®-±² ±® ±®¹¿²·¦¿¬·±² -»»µ·²¹
          ·- ½±ª»®»¼ «²´»-- »¨°´·½·¬´§ °®±ª·¼»¼ º±® «²¼»®
                                                                         þ¼¿³¿¹»-þ ©·´´ ¾» ¼»»³»¼ ¬± ¸¿ª» ¾»»² ³¿¼»
          ÍËÐÐÔÛÓÛÒÌßÎÇ ÐßÇÓÛÒÌÍ ó ÝÑÊÛÎßÙÛ                              ©¸»² ²±¬·½» ±º -«½¸ þ½´¿·³þ ·- ®»½»·ª»¼ ¿²¼
          ÛÞò  Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±                          ®»½±®¼»¼ ¾§ ¿² ·²-«®»¼ ±® ¾§ «-ô ©¸·½¸»ª»®
          þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ©¸·½¸ ±½½«®®»¼                      ½±³»- º·®-¬ò
          ¾»º±®» ¬¸» Î»¬®±¿½¬·ª» Ü¿¬»ô ·º ¿²§ô -¸±©² ·² ¬¸»
          Ü»½´¿®¿¬·±²- ±® ©¸·½¸ ±½½«®- ¿º¬»® ¬¸» °±´·½§            ¼ò    ß´´ þ½´¿·³-þ     º±® þ¼¿³¿¹»-þ      ¾»½¿«-»   ±º
          °»®·±¼ò Ì¸» ²»¹´·¹»²¬ ¿½¬ô »®®±® ±® ±³·--·±²                   þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ¬± ¬¸» -¿³» °»®-±² ±®
          ³«-¬ ¬¿µ» °´¿½» ·² ¬¸» þ½±ª»®¿¹» ¬»®®·¬±®§þò                   ±®¹¿²·¦¿¬·±² ©·´´ ¾» ¼»»³»¼ ¬± ¸¿ª» ¾»»² ³¿¼»
                                                                         ¿¬ ¬¸» ¬·³» ¬¸» º·®-¬ ±º ¬¸±-» þ½´¿·³-þ ·- ³¿¼»
          É» ©·´´ ¸¿ª» ¬¸» ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼ ¿²§
                                                                         ¿¹¿·²-¬ ¿²§ ·²-«®»¼ò
          þ½´¿·³þ ±® þ-«·¬þ -»»µ·²¹ -«½¸ þ¼¿³¿¹»-þò Þ«¬æ
                                                              îò   ÛÈÝÔËÍ×ÑÒÍ
          øï÷ Ì¸» ¿³±«²¬ ©» ©·´´ °¿§ º±® þ¼¿³¿¹»-þ ·-
              ´·³·¬»¼ ¿- ¼»-½®·¾»¼ ·² ÍÛÝÌ×ÑÒ ××× ó                Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ
              Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛå                                 ¿ò    ß²§ ½·ª·´ ±® ½®·³·²¿´ ´·¿¾·´·¬§ ·³°±-»¼ ±² ¬¸»
          øî÷ É» ³¿§ô ¿¬ ±«® ¼·-½®»¬·±²ô ·²ª»-¬·¹¿¬» ¿²§                 ·²-«®»¼ô ¿®·-·²¹ ±«¬ ±ºæ
              ¿´´»¹»¼ ¿½¬ô »®®±® ±® ±³·--·±² ¿²¼ -»¬¬´» ¿²§              øï÷ ß²§ º¿·´«®» ¾§ ¬¸»    ·²-«®»¼ ¬± ½±³°´§ ©·¬¸




Ú±®³ ØÝ ðð îï ðé çç                                                                                           Ð¿¹» ï ±º é

                                                  w ïçççô Ì¸» Ø¿®¬º±®¼

                          ø×²½´«¼»- ½±°§®·¹¸¬»¼Document
          Case 3:24-cv-00490-FDW-SCR            ³¿¬»®·¿´ ±º ×²-«®¿²½»
                                                             1-4 FiledÍ»®ª·½»- Ñºº·½» Page 257 of 579
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                   ©·¬¸ ·¬- °»®³·--·±²ò Ý±°§®·¹¸¬ô ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ïçèîô ïçèêô ïçèèô ïççî÷
ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ

              ¿²§ º»¼»®¿´ ±® -¬¿¬» -¬¿¬«¬±®§ ±® ®»¹«´¿¬±®§                 ·² ½±«®¬ ¬¸» °¿®¬ ±º ¬¸» ¶«¼¹³»²¬ ¬¸¿¬ ·- ©·¬¸·² ¬¸»
              ®»°±®¬·²¹  ®»¯«·®»³»²¬     ®»´¿¬·²¹  ¬± ¿²                   ¿°°´·½¿¾´» ´·³·¬ ±º ·²-«®¿²½»ò
              þ»³°´±§»» ¾»²»º·¬- °®±¹®¿³åþ ±®                         Ì¸»-» °¿§³»²¬-       ©·´´   ²±¬ ®»¼«½»    ¬¸» ´·³·¬-   ±º
          øî÷ Ì¸» ½±³³·--·±² ±® ±³·--·±² ¾§ ¿² ·²-«®»¼                ·²-«®¿²½»ò
              ±º ¿²§ ¿½¬·ª·¬§ ·² ½±²²»½¬·±² ©·¬¸ ¬¸»
              ³¿²¿¹»³»²¬ ±º ¿--»¬- ±º ¬¸» þ»³°´±§»»
                                                                 ÍÛÝÌ×ÑÒ ×× ó ÉØÑ ×Í ßÒ ×ÒÍËÎÛÜ
              ¾»²»º·¬- °®±¹®¿³þ ©¸·½¸ ·- °®±¸·¾·¬»¼ «²¼»®        ïò   ×º §±« ¿®» ¼»-·¹²¿¬»¼ ·² ¬¸» Ü»½´¿®¿¬·±²- ¿-æ
              ¿²§ º»¼»®¿´ ±® -¬¿¬» -¬¿¬«¬» ±® ®»¹«´¿¬·±²ò             ¿ò   ß² ·²¼·ª·¼«¿´ô §±« ¿²¼ §±«® -°±«-» ¿®» ·²-«®»¼-ô
     Ú±® ¬¸» °«®°±-»- ±º ¬¸·- »¨½´«-·±²ô ½·ª·´ ±® ½®·³·²¿´                 ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸» ½±²¼«½¬ ±º ¿
     ´·¿¾·´·¬§ ·²½´«¼»- °®» ±® °±-¬ ¶«¼¹»³»²¬ ½±-¬- ±®                     ¾«-·²»-- ±º ©¸·½¸ §±« ¿®» ¬¸» -±´» ±©²»®ò
     »¨°»²-»-ò                                                        ¾ò   ß °¿®¬²»®-¸·° ±® ¶±·²¬ ª»²¬«®»ô §±« ¿®» ¿²
     ¾ò   þÞ±¼·´§ ·²¶«®§ôþ þ°®±°»®¬§    ¼¿³¿¹»ôþ    þ°»®-±²¿´              ·²-«®»¼ò Ç±«® ³»³¾»®-ô §±«® °¿®¬²»®-ô ¿²¼ ¬¸»·®
          ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§òþ                                         -°±«-»- ¿®» ¿´-± ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬
     ½ò   ß²§ ¼·-¸±²»-¬ô º®¿«¼«´»²¬ô ½®·³·²¿´ ±® ³¿´·½·±«-                 ¬± ¬¸» ½±²¼«½¬ ±º §±«® ¾«-·²»--ò
          ¿½¬ò                                                        ½ò   ß ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§ô §±« ¿®» ¿² ·²-«®»¼ò
     ¼ò   Ì¸» º¿·´«®» ±º ¿²§ ·²ª»-¬³»²¬ ±® -¿ª·²¹ °®±¹®¿³                  Ç±«® ³»³¾»®- ¿®» ¿´-± ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸
          ¬± °»®º±®³ ¿- ®»°®»-»²¬»¼ ¾§ ¿² ·²-«®»¼ò                         ®»-°»½¬ ¬± ¬¸» ½±²¼«½¬ ±º §±«® ¾«-·²»--ò Ç±«®
                                                                           ³¿²¿¹»®- ¿®» ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬±
     »ò   ß² þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ¬¸¿¬ ¿®·-»- ±«¬ ±º
                                                                           ¬¸»·® ¼«¬·»- ¿- §±«® ³¿²¿¹»®-ò
          ¿¼ª·½» ¹·ª»² ¾§ ¿²§ ·²-«®»¼ ¬± ¿² þ»³°´±§»»þ
          ©¸»¬¸»® ¬± °¿®¬·½·°¿¬» ±® ²±¬ ¬± °¿®¬·½·°¿¬» ·² ¿²§         ¼ò   ß² ±®¹¿²·¦¿¬·±² ±¬¸»® ¬¸¿² ¿ °¿®¬²»®-¸·°ô ¶±·²¬
          þ»³°´±§»» ¾»²»º·¬- °®±¹®¿³òþ                                     ª»²¬«®» ±® ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§ô §±« ¿®» ¿²
                                                                           ·²-«®»¼ò Ç±«® þ»¨»½«¬·ª» ±ºº·½»®-þ ¿²¼ ¼·®»½¬±®-
     ºò   Ì¸» º¿·´«®» ±º ¿²§ ·²-«®»¼ ¬±æ
                                                                           ¿®» ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸»·® ¼«¬·»-
          øï÷ Ð»®º±®³ ¿²§ ±¾´·¹¿¬·±²å                                      ¿- §±«® ±ºº·½»®- ±® ¼·®»½¬±®-ò Ç±«® -¬±½µ¸±´¼»®-
          øî÷ Ú«´º·´´ ¿²§ ¹«¿®¿²¬»»å                                       ¿®» ¿´-± ·²-«®»¼-ô ¾«¬ ±²´§ ©·¬¸ ®»-°»½¬ ¬± ¬¸»·®
          ©·¬¸ ®»-°»½¬ ¬±æ                                                 ´·¿¾·´·¬§ ¿- -¬±½µ¸±´¼»®-ò
          øï÷ Ì¸» °¿§³»²¬ ±º ¾»²»º·¬- «²¼»®               ¿²§    îò   Û¿½¸ ±º ¬¸» º±´´±©·²¹ ·- ¿´-± ¿² ·²-«®»¼æ
              þ»³°´±§»» ¾»²»º·¬- °®±¹®¿³åþ ±®                         ¿ò   Ç±«® þ»³°´±§»»-þô ±¬¸»® ¬¸¿² »·¬¸»® §±«®
          øî÷ Ì¸» °®±ª·¼·²¹ô ¸¿²¼´·²¹ ±® ·²ª»-¬·²¹ ±º º«²¼-                þ»¨»½«¬·ª» ±ºº·½»®-þ ø·º §±« ¿®» ¿² ±®¹¿²·¦¿¬·±²
              ®»´¿¬·²¹ ¬± ¿²§ ±º ¬¸»-»ò                                    ±¬¸»® ¬¸¿² ¿ °¿®¬²»®-¸·°ô ¶±·²¬ ª»²¬«®» ±® ´·³·¬»¼
íò   ÍËÐÐÔÛÓÛÒÌßÎÇ ÐßÇÓÛÒÌÍ ó ÝÑÊÛÎßÙÛ ÛÞ                                  ´·¿¾·´·¬§ ½±³°¿²§÷ ±® §±«® ³¿²¿¹»®- ø·º §±« ¿®» ¿
                                                                           ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§÷ô ¾«¬ ±²´§ º±® ¿½¬- ©·¬¸·²
     É» ©·´´ °¿§ô ©·¬¸ ®»-°»½¬ ¬± ¿²§ þ½´¿·³þ ±® þ-«·¬þ ©»                 ¬¸» -½±°» ±º ¬¸»·® »³°´±§³»²¬ ¾§ §±« ±® ©¸·´»
     ¼»º»²¼æ                                                               °»®º±®³·²¹ ¼«¬·»- ®»´¿¬»¼ ¬± ¬¸» ½±²¼«½¬ ±º §±«®
     ¿ò   ß´´ »¨°»²-»- ©» ·²½«®ò                                           ¾«-·²»--ò
     ¾ò   Ì¸» ½±-¬ ±º ¾±²¼- ¬± ®»´»¿-» ¿¬¬¿½¸³»²¬-ô ¾«¬               ¾ò   Ç±«® ´»¹¿´ ®»°®»-»²¬¿¬·ª» ·º §±« ¼·»ô ¾«¬ ±²´§ ©·¬¸
          ±²´§ º±® ¾±²¼ ¿³±«²¬- ©·¬¸·² ¬¸» ¿°°´·½¿¾´» ´·³·¬                ®»-°»½¬ ¬± ¼«¬·»- ¿- -«½¸ò Ì¸¿¬ ®»°®»-»²¬¿¬·ª»
          ±º ·²-«®¿²½»ò É» ¼± ²±¬ ¸¿ª» ¬± º«®²·-¸ ¬¸»-»                    ©·´´ ¸¿ª» ¿´´ §±«® ®·¹¸¬- ¿²¼ ¼«¬·»- «²¼»® ¬¸·-
          ¾±²¼-ò                                                           Ý±ª»®¿¹» Ð¿®¬ò
     ½ò   ß´´ ®»¿-±²¿¾´» »¨°»²-»- ·²½«®®»¼ ¾§ ¬¸» ·²-«®»¼        íò   ß²§ ±®¹¿²·¦¿¬·±² §±« ²»©´§ ¿½¯«·®» ±® º±®³ô ±¬¸»®
          ¿¬ ±«® ®»¯«»-¬ ¬± ¿--·-¬ «- ·² ¬¸» ·²ª»-¬·¹¿¬·±² ±®         ¬¸¿² ¿ °¿®¬²»®-¸·°ô ¶±·²¬ ª»²¬«®» ±® ´·³·¬»¼ ´·¿¾·´·¬§
          ¼»º»²-» ±º ¬¸» þ½´¿·³þ ±® þ-«·¬ôþ ·²½´«¼·²¹ ¿½¬«¿´          ½±³°¿²§ô ¿²¼ ±ª»® ©¸·½¸ §±« ³¿·²¬¿·² ±©²»®-¸·° ±®
          ´±-- ±º »¿®²·²¹- «° ¬± üîëð ¿ ¼¿§ ¾»½¿«-» ±º                ³¿¶±®·¬§ ·²¬»®»-¬ô ©·´´ ¯«¿´·º§ ¿- ¿ Ò¿³»¼ ×²-«®» ¼ ·º
          ¬·³» ±ºº º®±³ ©±®µò                                         ¬¸»®» ·- ²± ±¬¸»® -·³·´¿® ·²-«®¿²½» ¿ª¿·´¿¾´» ¬± ¬¸¿¬
     ¼ò   ß´´ ½±-¬- ¬¿¨»¼ ¿¹¿·²-¬ ¬¸» ·²-«®»¼ ·² ¬¸» þ-«·¬òþ          ±®¹¿²·¦¿¬·±²ò Ø±©»ª»®æ
     »ò   ß´´ ·²¬»®»-¬ ±² ¬¸» º«´´ ¿³±«²¬ ±º ¿²§ ¶«¼¹³»²¬ ¬¸¿¬        ¿ò   Ý±ª»®¿¹» «²¼»® ¬¸·- °®±ª·-·±² ·- ¿ºº±®¼»¼ ±²´§
          ¿½½®«»- ¿º¬»® »²¬®§ ±º ¬¸» ¶«¼¹³»²¬ ¿²¼ ¾»º±®» ©»                «²¬·´ ¬¸» ïèð¬¸ ¼¿§ ¿º¬»® §±« ¿½¯«·®» ±® º±®³ ¬¸»
          ¸¿ª» °¿·¼ô ±ºº»®»¼ ¬± °¿§ô ±® ¼»°±-·¬»¼                          ±®¹¿²·¦¿¬·±² ±® ¬¸» »²¼ ±º ¬¸» °±´·½§ °»®·±¼ ô
                                                                           ©¸·½¸»ª»® ·- »¿®´·»®å ¿²¼
                                                                      ¾ò   Ý±ª»®¿¹» ÛÞ ¼±»- ²±¬ ¿°°´§ ¬± þ»³°´±§»»
                                                                           ¾»²»º·¬- ·²¶«®§þ ¬¸¿¬ ±½½«®®»¼ ¾»º±®» §±«
                                                                           ¿½¯«·®»¼ ±® º±®³»¼ ¬¸» ±®¹¿²·¦¿¬·±²ò




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Ð¿¹» î ±º é                                                                                          Ú±®³ ØÝ ðð îï ðé çç
                                                               ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ

Ò± °»®-±² ±® ±®¹¿²·¦¿¬·±² ·- ¿² ·²-«®»¼ ©·¬¸ ®»-°»½¬ ¬±             ½ò   Ç±« ¿²¼ ¿²§ ±¬¸»® ·²ª±´ª»¼ ·²-«®»¼ ³«-¬æ
¬¸» ½±²¼«½¬ ±º ¿²§ ½«®®»²¬ ±® °¿-¬ °¿®¬²»®-¸·°ô ¶±·²¬                    øï÷ ×³³»¼·¿¬»´§      -»²¼ «- ½±°·»- ±º ¿²§
ª»²¬«®» ±® ´·³·¬»¼ ´·¿¾·´·¬§ ½±³°¿²§ ¬¸¿¬ ·- ²±¬ -¸±©² ¿- ¿                  ¼»³¿²¼-ô ²±¬·½»-ô -«³³±²-»- ±® ´»¹¿´
Ò¿³»¼ ×²-«®»¼ ·² ¬¸» Ü»½´¿®¿¬·±²-ò                                           °¿°»®- ®»½»·ª»¼ ·² ½±²²»½¬·±² ©·¬¸ ¬¸»
ÍÛÝÌ×ÑÒ ××× ó Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ                                            þ½´¿·³þ ±® þ-«·¬þå
ïò   Ì¸» Ô·³·¬- ±º ×²-«®¿²½» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-                   øî÷ ß«¬¸±®·¦» «- ¬± ±¾¬¿·² ®»½±®¼- ¿²¼ ±¬¸»®
     ¿²¼ ¬¸» ®«´»- ¾»´±© º·¨ ¬¸» ³±-¬ ©» ©·´´ °¿§                            ·²º±®³¿¬·±²å
     ®»¹¿®¼´»-- ±º ¬¸» ²«³¾»® ±ºæ                                        øí÷ Ý±±°»®¿¬» ©·¬¸ «- ·² ¬¸» ·²ª»-¬·¹¿¬·±²ô
          ¿ò   ×²-«®»¼-å                                                     -»¬¬´»³»²¬ ±® ¼»º»²-» ±º ¬¸» þ½´¿·³þ ±®
          ¾ò   þÝ´¿·³-þ ³¿¼» ±® þ-«·¬-þ ¾®±«¹¸¬å ±®                          þ-«·¬þå ¿²¼

          ½ò   Ð»®-±² ±® ±®¹¿²·¦¿¬·±²- ³¿µ·²¹ þ½´¿·³-þ ±®                øì÷ ß--·-¬ «-ô «°±² ±«® ®»¯«»-¬ô ·² ¬¸»
               ¾®·²¹·²¹ þ-«·¬òþ                                              »²º±®½»³»²¬ ±º ¿²§ ®·¹¸¬ ¿¹¿·²-¬ ¿²§ °»®-±²
                                                                             ±® ±®¹¿²·¦¿¬·±² ©¸·½¸ ³¿§ ¾» ´·¿¾´» ¬± ¬¸»
îò   Ì¸» Û³°´±§»» Þ»²»º·¬- Ô·¿¾·´·¬§ ß¹¹®»¹¿¬» Ô·³·¬ ·-
                                                                             ·²-«®»¼ ¾»½¿«-» ±º þ»³°´±§»» ¾»²»º·¬-
     ¬¸» ³±-¬ ©» ©·´´ °¿§ º±® ¿´´ þ¼¿³¿¹»-þ ¬± ©¸·½¸ ¬¸·-
                                                                             ·²¶«®§þ ¬± ©¸·½¸ ¬¸·- ·²-«®¿²½» ³¿§ ¿´-±
     ·²-«®¿²½» ¿°°´·»-ò
                                                                             ¿°°´§ò
íò   Í«¾¶»½¬ ¬± îò ¿¾±ª» ¬¸» Û¿½¸ Ý´¿·³ Ô·³·¬ ·- ¬¸» ³±-¬           ¼ò   Ò± ·²-«®»¼- ©·´´ô »¨½»°¬ ¿¬ ¬¸»·® ±©² ½±-¬ô
     ©» ©·´´ °¿§ º±® ¿´´ þ¼¿³¿¹»-þ ©·¬¸ ®»-°»½¬ ¬± ¿²§ ±²»               ª±´«²¬¿®·´§ ³¿µ» ¿ °¿§³»²¬ô ¿--«³» ¿²§
     þ½´¿·³þò                                                            ±¾´·¹¿¬·±² ±® ·²½«® ¿²§ »¨°»²-»ô ±¬¸»® ¬¸¿² º±®
Ì¸» ´·³·¬- ±º ¬¸·- °±´·½§ ¿°°´§ -»°¿®¿¬»´§ ¬± »¿½¸                       º·®-¬ ¿·¼ô ©·¬¸±«¬ ±«® ½±²-»²¬ò
½±²-»½«¬·ª» ¿²²«¿´ °»®·±¼ ¿²¼ ¬± ¿²§ ®»³¿·²·²¹ °»®·±¼          íò   Ô»¹¿´ ß½¬·±² ß¹¿·²-¬ Ë-ò
±º ´»-- ¬¸¿² ïî ³±²¬¸-ô -¬¿®¬·²¹ ©·¬¸ ¬¸» ¾»¹·²²·²¹ ±º ¬¸»
                                                                    Ò± °»®-±² ±® ±®¹¿²·¦¿¬·±² ¸¿- ¿ ®·¹¸¬ «²¼»® ¬¸·-
°±´·½§ °»®·±¼ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-ô «²´»-- ¬¸» °±´·½§
                                                                    Ý±ª»®¿¹» Ð¿®¬æ
°»®·±¼ ·- »¨¬»²¼»¼ ¿º¬»® ·--«¿²½» º±® ¿² ¿¼¼·¬·±²¿´ °»®·±¼
±º ´»-- ¬¸¿² ïî ³±²¬¸-ò ×² ¬¸¿¬ ½¿-» ¬¸» ¿¼¼·¬·±²¿´ °»®·±¼               ¿ò   Ì± ¶±·² «- ¿- ¿ °¿®¬§ ±® ±¬¸»®©· -» ¾®·²¹ «-
©·´´ ¾» ¼»»³»¼ °¿®¬ ±º ¬¸» ´¿-¬ °®»½»¼·²¹ °»®·±¼ º±®                          ·²¬± ¿ þ-«·¬þ ¿-µ·²¹ º±® þ¼¿³¿¹»-þ º®±³ ¿²
°«®°±-»- ±º ¼»¬»®³·²·²¹ ¬¸» Ô·³·¬- ±º ×²-«®¿²½»ò                              ·²-«®»¼å ±®
                                                                         ¾ò   Ì± -«» «- ±² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ «²´»-- ¿´´
ÍÛÝÌ×ÑÒ ×Ê ó ÛÓÐÔÑÇÛÛ                         ÞÛÒÛÚ×ÌÍ                        ±º ·¬- ¬»®³- ¸¿ª» ¾»»² º«´´§ ½±³°´·»¼ ©·¬¸ò
Ô×ßÞ×Ô×ÌÇ ÝÑÒÜ×Ì×ÑÒÍ                                                     ß °»®-±² ±® ±®¹¿²·¦¿¬·±² ³¿§ -«» «- ¬± ®»½±ª»®
ïò   Þ¿²µ®«°¬½§ò                                                         ±² ¿² ¿¹®»»¼ -»¬¬´»³»²¬ ±® ±² ¿ º·²¿´ ¶«¼¹³»²¬
     Þ¿²µ®«°¬½§ ±® ·²-±´ª»²½§ ±º ¬¸» ·²-«®»¼ ±® ±º ¬¸»                   ¿¹¿·²-¬ ¿² ·²-«®»¼ ±¾¬¿·²»¼ ¿º¬»® ¿² ¿½¬«¿´ ¬®·¿´å
     ·²-«®»¼ù- »-¬¿¬» ©·´´ ²±¬ ®»´·»ª» «- ±º ±«® ±¾´·¹¿¬·±²-             ¾«¬ ©» ©·´´ ²±¬ ¾» ´·¿¾´» º±® þ¼¿³¿¹»-þ ¬¸¿¬ ¿®»
     «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò                                           ²±¬ °¿§¿¾´» «²¼»® ¬¸» ¬»®³- ±º ¬¸·- Ý±ª» ®¿¹»
                                                                         Ð¿®¬ ±® ¬¸¿¬ ¿®» ·² »¨½»-- ±º ¬¸» ¿°°´·½¿¾´» ´·³·¬
îò   Ü«¬·»- ·² Ì¸» Ûª»²¬ ±º Û³°´±§»» Þ»²»º·¬- ×²¶«®§ô                    ±º ·²-«®¿²½»ò ß² ¿¹®»»¼ -»¬¬´»³»²¬ ³»¿²- ¿
     Ý´¿·³ ±® Í«·¬ò                                                      -»¬¬´»³»²¬ ¿²¼ ®»´»¿-» ±º ´·¿¾·´·¬§ -·¹²»¼ ¾§ «-ô
     ¿ò   Ç±« ³«-¬ -»» ¬± ·¬ ¬¸¿¬ ©» ¿®» ²±¬·º·»¼ ¿- -±±²                ¬¸» ·²-«®»¼ ¿²¼ ¬¸» ½´¿·³¿²¬ ±® ¬¸» ½´¿·³¿²¬ù-
          ¿- °®¿½¬·½¿¾´» ±º ¿² þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ                ´»¹¿´ ®»°®»-»²¬¿¬·ª»ò
          ©¸·½¸ ³¿§ ®»-«´¬ ·² ¿ þ½´¿·³þò Ì± ¬¸» »¨¬»²¬         ìò   Ñ¬¸»® ×²-«®¿²½»ò
          °±--·¾´»ô ²±¬·½» -¸±«´¼ ·²½´«¼»æ
                                                                    ×º ±¬¸»® ª¿´·¼ ¿²¼ ½±´´»½¬·¾´» ·²-«®¿²½» ·- ¿ª¿·´¿¾´» ¬±
          øï÷ Ø±©ô ©¸»² ¿²¼ ©¸»®» ¬¸»            þ»³°´±§»»          ¬¸» ·²-«®»¼ º±® ¿ ´±-- ©» ½±ª»®ô ±«® ±¾´·¹¿¬·±²- ¿®»
              ¾»²»º·¬- ·²¶«®§þ ¬±±µ °´¿½»å ¿²¼                      ´·³·¬»¼ ¿- º±´´±©-æ
          øî÷ Ì¸» ²¿³»- ¿²¼ ¿¼¼®»--»- ±º ¿²§ ·²¶«®»¼                ¿ò   Ð®·³¿®§ ×²-«®¿²½»
              °»®-±²- ¿²¼ ©·¬²»--»-ò                                     Ì¸·- ·²-«®¿²½» ·- °®·³¿®§ »¨½»°¬ ©¸»² ¾ò ¾»´±©
          Ò±¬·½» ±º ¿² þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ·- ²±¬                 ¿°°´·»-ò    ×º ¬¸·- ·²-«®¿²½» ·- °®·³¿®§ô ±«®
          ²±¬·½» ±º ¿ þ½´¿·³þò                                           ±¾´·¹¿¬·±²- ¿®» ²±¬ ¿ºº»½¬»¼ «²´»-- ¿²§ ±º ¬¸»
     ¾ò   ×º ¿ ©®·¬¬»² þ½´¿·³þ ·- ³¿¼» ±® þ-«·¬þ ·- ¾®±«¹¸¬              ±¬¸»® ·²-«®¿²½» ·- ¿´-± °®·³¿®§ò Ì¸»² ©» ©·´´
          ¿¹¿·²-¬ ¿²§ ·²-«®»¼ô §±« ³«-¬ -»» ¬± ·¬ ¬¸¿¬ ©»                -¸¿®» ©·¬¸ ¿´´ ¬¸¿¬ ±¬¸»® ·²-«®¿²½» ¾§ ¬¸» ³»¬¸±¼
          ®»½»·ª» °®±³°¬ ©®·¬¬»² ²±¬·½» ±º ¬¸» þ½´¿·³þ ±®                ¼»-½®·¾»¼ ·² ½ò ¾»´±©ò
          þ-«·¬þò




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Ú±®³ ØÝ ðð îï ðé çç                                                                                          Ð¿¹» í ±º é
ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ

     ¾ò   Û¨½»-- ×²-«®¿²½»                                           ¾ò   Ð®»³·«³ -¸±©² ·² ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿-
          Ì¸·- ·²-«®¿²½» ·- »¨½»-- ±ª»® ¿²§ ±¬¸»®                         ¿¼ª¿²½» °®»³·«³ ·- ¿ ¼»°±-·¬ °®»³·«³ ±²´§ò ß¬
          ·²-«®¿²½»ô ©¸»¬¸»® °®·³¿®§ô »¨½»--ô ½±²¬·²¹»²¬                  ¬¸» ½´±-» ±º »¿½¸ ¿«¼·¬ °»®·±¼ ©» ©·´´ ½±³°«¬»
          ±® ±² ¿²§ ±¬¸»® ¾¿-·-ô ¬¸¿¬ ·- »ºº»½¬·ª» °®·±® ¬±               ¬¸» »¿®²»¼ °®»³·«³ º±® ¬¸¿¬ °»®·±¼ò
          ¬¸» ¾»¹·²²·²¹ ±º ¬¸» °±´·½§ °»®·±¼ -¸±©² ·² ¬¸»                 ß«¼·¬ °®»³·«³- ¿®» ¼«» ¿²¼ °¿§¿¾´» ±² ²±¬·½»
          Ü»½´¿®¿¬·±²- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿²¼ ¿°°´·»-                  ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ò ×º ¬¸» -«³ ±º ¬¸»
          ¬± þ¼¿³¿¹»-þ ±² ±¬¸»® ¬¸¿² ¿ ½´¿·³-ó³¿¼»                        ¿¼ª¿²½» ¿²¼ ¿«¼·¬ °®»³·«³- °¿·¼ º±® ¬¸» °±´·½§
          ¾¿-·-ô ·ºæ                                                      ¬»®³ ·- ¹®»¿¬»® ¬¸¿² ¬¸» »¿®²»¼ °®»³·«³ô ©» ©·´´
          øï÷ Ò± ®»¬®±¿½¬·ª» ¼¿¬» ·- -¸±©² ·²            ¬¸»              ®»¬«®² ¬¸» »¨½»-- ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ò
              Ü»½´¿®¿¬·±²- ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬å ±®                 ½ò   Ì¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ ³«-¬ µ»»° ®»½±®¼- ±º
              øî÷ Ì¸» ±¬¸»® ·²-«®¿²½» ¸¿- ¿ °±´·½§ °»®·±¼                 ¬¸» ·²º±®³¿¬·±²    ©»   ²»»¼    º±® °®»³·«³
              ©¸·½¸ ½±²¬·²«»- ¿º¬»® ¬¸» Î»¬®±¿½¬·ª» Ü¿¬»                  ½±³°«¬¿¬·±²ô ¿²¼ -»²¼ «- ½±°·»- ¿¬ -«½¸ ¬·³»-
              -¸±©² ·² ¬¸» Ü»½´¿®¿ó¬·±²- ±º ¬¸·- Ý±ª»®¿¹»                 ¿- ©» ³¿§ ®»¯«»-¬ò
              Ð¿®¬ò                                             êò   Î»°®»-»²¬¿¬·±²-ò
          É¸»² ¬¸·- ·²-«®¿²½» ·- »¨½»--ô ©» ©·´´ ¸¿ª» ²±             Þ§ ¿½½»°¬·²¹ ¬¸·- °±´·½§ô §±« ¿¹®»»æ
          ¼«¬§ ¬± ¼»º»²¼ ¿²§ þ½´¿·³þ ±® þ-«·¬þ ¬¸¿¬ ¿²§
                                                                     ¿ò   Ì¸» -¬¿¬»³»²¬- ·² ¬¸» Ü»½´¿®¿¬·±²- ¿®» ¿½½«®¿¬»
          ±¬¸»® ·²-«®»® ¸¿- ¿ ¼«¬§ ¬± ¼»º»²¼ò ×º ²± ±¬¸»®
                                                                          ¿²¼ ½±³°´»¬»å
          ·²-«®»® ¼»º»²¼-ô ©» ©·´´ «²¼»®¬¿µ» ¬± ¼± -±ô ¾«¬
          ©» ©·´´ ¾» »²¬·¬´»¼ ¬± ¬¸» ·²-«®»¼ù- ®·¹¸¬- ¿¹¿·²-¬        ¾ò   Ì¸±-» -¬¿¬»³»²¬- ¿®» ¾¿-»¼ «°±² ®»°®»-»²ó
          ¿´´ ¬¸±-» ±¬¸»® ·²-«®»®-ò                                       ¬¿¬·±²- §±« ³¿¼» ¬± «-å ¿²¼
          É¸»² ¬¸·- ·²-«®¿²½» ·- »¨½»--ô ©» ©·´´ °¿§ ±²´§            ½ò   É» ¸¿ª» ·--«»¼ ¬¸·- °±´·½§ ·² ®»´·¿²½» «°±² §±«®
          ±«® -¸¿®» ±º ¬¸» ¿³±«²¬ ±º ¬¸» ´±--ô ·º ¿²§ô ¬¸¿¬               ®»°®»-»²¬¿¬·±²-ò
          »¨½»»¼- ¬¸» -«³ ±ºæ                                   éò   Í»°¿®¿¬·±² ±º ×²-«®»¼-ò
          øï÷ Ì¸» ¬±¬¿´ ¿³±«²¬ ¬¸¿¬ ¿´´ -«½¸ ±¬¸»®                   Û¨½»°¬ ©·¬¸ ®»-°»½¬ ¬± ¬¸» Ô·³·¬- ±º ×²-«®¿²½»ô ¿²¼
              ·²-«®¿²½» ©±«´¼ °¿§ º±® ¬¸» ´±-- ·² ¬¸»                ¿²§ ®·¹¸¬- ±® ¼«¬·»- -°»½·º·½¿´´§ ¿--·¹²»¼ ·² ¬¸·-
              ¿¾-»²½» ±º ¬¸·- ·²-«®¿²½»å ¿²¼                         Ý±ª»®¿¹» Ð¿®¬ ¬± ¬¸» º·®-¬ Ò¿³»¼ ×²-«®»¼ô ¬¸·-
          øî÷ Ì¸» ¬±¬¿´ ±º ¿´´ ¼»¼«½¬·¾´» ¿²¼ -»´ºó·²-«®»¼           ·²-«®¿²½» ¿°°´·»-æ
              ¿³±«²¬- «²¼»® ¿´´ ¬¸¿¬ ±¬¸»® ·²-«®¿²½»ò                ¿ò   ß- ·º »¿½¸ Ò¿³»¼ ×²-«®»¼ ©»®» ¬¸» ±²´§ Ò¿³»¼
          É» ©·´´ -¸¿®» ¬¸» ®»³¿·²·²¹ ´±--ô ·º ¿²§ô ©·¬¸ ¿²§              ×²-«®»¼å ¿²¼
          ±¬¸»® ·²-«®¿²½» ¬¸¿¬ ·- ²±¬ ¼»-½®·¾»¼ ·² ¬¸·-              ¾ò   Í»°¿®¿¬»´§ ¬± »¿½¸ ·²-«®»¼ ¿¹¿·²-¬           ©¸±³
          Û¨½»-- ×²-«®¿²½» °®±ª·-·±² ¿²¼ ©¿- ²±¬ ¾±«¹¸¬                   þ½´¿·³þ ·- ³¿¼» ±® þ-«·¬þ ·- ¾®±«¹¸¬ò
          -°»½·º·½¿´´§ ¬± ¿°°´§ ·² »¨½»-- ±º ¬¸» Ô·³·¬- ±º
                                                                èò   Ì®¿²-º»® Ñº Î·¹¸¬- Ñº Î»½±ª»®§ ß¹¿·²-¬ Ñ¬¸»®-
          ×²-«®¿²½» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ±º ¬¸·-
          Ý±ª»®¿¹» Ð¿®¬ò                                             Ì± Ë-ò

     ½ò   Ó»¬¸±¼ ±º Í¸¿®·²¹                                          ×º ¬¸» ·²-«®»¼ ¸¿- ®·¹¸¬- ¬± ®»½±ª»® ¿´´ ±® °¿®¬ ±º ¿²§
                                                                     °¿§³»²¬ ©» ¸¿ª» ³¿¼» «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô
          ×º ¿´´ ±º ¬¸» ±¬¸»® ·²-«®¿²½» °»®³·¬- ½±²¬®·¾«¬·±²         ¬¸±-» ®·¹¸¬- ¿®» ¬®¿²-º»®®»¼ ¬± «-ò Ì¸» ·²-«®»¼ ³«-¬
          ¾§ »¯«¿´ -¸¿®»-ô ©» ©·´´ º±´´±© ¬¸·- ³»¬¸±¼ ¿´-±ò          ¼± ²±¬¸·²¹ ¿º¬»® ´±-- ¬± ·³°¿·® ¬¸»³ò ß¬ ±«® ®»¯«»-¬ô
          Ë²¼»® ¬¸·- ¿°°®±¿½¸ô »¿½¸ ·²-«®»® ½±²¬®·¾«¬»-              ¬¸» ·²-«®»¼ ©·´´ ¾®·²¹ þ-«·¬þ ±® ¬®¿²-º»® ¬¸±-» ®·¹¸¬- ¬±
          »¯«¿´ ¿³±«²¬- «²¬·´ ·¬ ¸¿- °¿·¼ ·¬- ¿°°´·½¿¾´»             «- ¿²¼ ¸»´° «- »²º±®½» ¬¸»³ò
          ´·³·¬ ±º ·²-«®¿²½» ±® ²±²» ±º ¬¸» ´±-- ®»³¿·²-ô
          ©¸·½¸»ª»® ½±³»- º·®-¬ò                                ÍÛÝÌ×ÑÒ         Ê    ó   ÛÈÌÛÒÜÛÜ           ÎÛÐÑÎÌ×ÒÙ
          ×º ¿²§ ±º ¬¸» ±¬¸»® ·²-«®¿²½» ¼±»- ²±¬ °»®³·¬         ÐÛÎ×ÑÜÍ
          ½±²¬®·¾«¬·±² ¾§ »¯«¿´ -¸¿®»-ô ©» ©·´´ ½±²¬®·¾«¬»      ïò   É» ©·´´ °®±ª·¼» ±²» ±® ³±®» Û¨¬»²¼»¼ Î»°±®¬·²¹
          ¾§ ´·³·¬-ò Ë²¼»® ¬¸·- ³»¬¸±¼ô »¿½¸ ·²-«®»®ù-               Ð»®·±¼-ô ¿- ¼»-½®·¾»¼ ¾»´±©ô ·ºæ
          -¸¿®» ·- ¾¿-»¼ ±² ¬¸» ®¿¬·± ±º ·¬- ¿°°´·½¿¾´» ´·³·¬
                                                                     ¿ò   Ì¸·- Ý±ª»®¿¹» Ð¿®¬ ·- ½¿²½»´´»¼ ±® ²±¬ ®»²»©»¼å
          ±º ·²-«®¿²½» ¬± ¬¸» ¬±¬¿´ ¿°°´·½¿¾´» ´·³·¬- ±º
                                                                          ±®
          ·²-«®¿²½» ±º ¿´´ ·²-«®»®-ò
                                                                     ¾ò   É» ®»²»© ±® ®»°´¿½» ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ©·¬¸
ëò   Ð®»³·«³ ß«¼·¬ò
                                                                          ·²-«®¿²½» ¬¸¿¬æ
     ¿ò   É» ©·´´ ½±³°«¬» ¿´´ °®»³·«³- º±® ¬¸·- Ý±ª»®¿¹»
          Ð¿®¬ ·² ¿½½±®¼¿²½» ©·¬¸ ±«® ®«´»- ¿²¼ ®¿¬»-ò




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Ð¿¹» ì ±º é                                                                                         Ú±®³ ØÝ ðð îï ðé çç
                                                               ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ

          øï÷ Ø¿- ¿ Î»¬®±¿½¬·ª» Ü¿¬» ´¿¬»® ¬¸¿² ¬¸» ¼¿¬»            Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ô ·²½´«¼·²¹
              -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±² ±º ¬¸·- Ý±ª»®¿¹»             ¿ °®±ª·-·±² ¬± ¬¸» »ºº»½¬ ¬¸¿¬ ¬¸» ·²-«®¿²½» ¿ºº±®¼»¼
              Ð¿®¬å ±®                                              º±® þ½´¿·³-þ º·®-¬ ®»½»·ª»¼ ¼«®·²¹ -«½¸ °»®·±¼ ·-
          øî÷ Ü±»- ²±¬ ¿°°´§ ¬± þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ          »¨½»-- ±ª»® ¿²§ ±¬¸»® ª¿´·¼ ¿²¼ ½±´´»½¬·¾´» ·²-«®¿²½»
              ±² ¿ ½´¿·³-ó³¿¼» ¾¿-·-ò                               ¿ª¿·´¿¾´» «²¼»® °±´·½·»-         ·² º±®½» ¿º¬»® ¬¸»
                                                                    Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ -¬¿®¬-ò
îò   ß Þ¿-·½ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ ·- ¿«¬±ó³¿¬·½¿´´§
                                                               ìò   Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼- ¼± ²±¬ »¨¬»²¼ ¬¸» °±´·½§
     °®±ª·¼»¼ ©·¬¸±«¬ ¿¼¼·¬·±²¿´ ½¸¿®¹»ò        Ì¸·- °»®·±¼
                                                                    °»®·±¼ ±® ½¸¿²¹» ¬¸» -½±°» ±º ½±ª»®¿¹» °®±ª·¼»¼ò
     -¬¿®¬- ©·¬¸ ¬¸» »²¼ ±º ¬¸» °±´·½§ °»®·±¼ ¿²¼ ´¿-¬- º±®æ
                                                                    Ì¸»§ ¿°°´§ ±²´§ ¬± þ½´¿·³-þ º±® þ»³°´±§»» ¾»²»º·¬-
     ¿ò   Ñ²» §»¿® º±® þ½´¿·³-þ ¿®·-·²¹ ±«¬ ±º ¿²                   ·²¶«®§þ ¬¸¿¬ ±½½«® ¾»º±®» ¬¸» »²¼ ±º ¬¸» °±´·½§ °»®·±¼
          þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ®»°±®¬»¼ ¬± «-ô ²±¬            ø¾«¬ ²±¬ ¾»º±®» ¬¸» Î»¬®±¿½¬·ª» Ü¿¬»ô ·º ¿²§ô -¸±©² ·²
          ´¿¬»® ¬¸¿² êð ¼¿§- ¿º¬»® ¬¸» »²¼ ±º ¬¸» °±´·½§            ¬¸» Ü»½´¿®¿¬·±²-÷ò
          °»®·±¼ô ·² ¿½½±®¼¿²½» ©·¬¸ °¿®¿¹®¿°¸ îò¿ò ±º              þÝ´¿·³-þ º±® -«½¸ ·²¶«®§ ©¸·½¸ ¿®» º·®-¬ ®»½»·ª»¼ ¿²¼
          ÍÛÝÌ×ÑÒ ×Ê ó ÛÓÐÔÑÇÛÛ                 ÞÛÒÛÚ×ÌÍ            ®»½±®¼»¼ ¼«®·²¹ ¬¸» Þ¿-·½ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼
          Ô×ßÞ×Ô×ÌÇ ÝÑÒÜ×Ì×ÑÒÍå ±®                                  ø±®      ¼«®·²¹     ¬¸»     Í«°°´»³»²¬¿´        Û¨¬»²¼»¼
     ¾ò   Í·¨¬§ ¼¿§- º±® ¿´´ ±¬¸»® þ½´¿·³-þò                        Î»°±®¬·²¹ Ð»®·±¼ô ·º ·¬ ·- ·² »ºº»½¬÷ ©·´´ ¾» ¼»»³»¼ ¬±
     Ì¸» Þ¿-·½ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ ¼±»- ²±¬                   ¸¿ª» ¾»»² ³¿¼» ±² ¬¸» ´¿-¬ ¼¿§ ±º ¬¸» °±´·½§ °»®·±¼ò
     ¿°°´§ ¬± þ½´¿·³-þ ¬¸¿¬ ¿®» ½±ª»®»¼ «²¼»® ¿²§                   Ñ²½» ·² »ºº»½¬ô Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼- ³¿§ ²±¬
     -«¾-»¯«»²¬ ·²-«®¿²½» §±« °«®½¸¿-»ô ±® ¬¸¿¬ ©±«´¼               ¾» ½¿²½»´´»¼ò
     ¾» ½±ª»®»¼ ¾«¬ º±® »¨¸¿«-¬·±² ±º ¬¸» ¿³±«²¬ ±º            ëò   Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼- ¼± ²±¬ ®»·²-¬¿¬» ±®
     ·²-«®¿²½» ¿°°´·½¿¾´» ¬± -«½¸ þ½´¿·³-þò                         ·²½®»¿-» ¬¸» Ô·³·¬- ±º ×²-«®¿²½» ¿°°´·½¿¾´» ¬± ¿²§
íò   ß Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ ±º ¬¸®»»              þ½´¿·³þ ¬± ©¸·½¸ ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿°°´·»-ô »¨½»°¬
     §»¿®- ¼«®¿¬·±² ·- ¿ª¿·´¿¾´»ô ¾«¬ ±²´§ ¾§ ¿²                    ¬± ¬¸» »¨¬»²¬ ¼»-½®·¾»¼ ·² °¿®¿¹®¿°¸ êò ±º ¬¸·-
     »²¼±®-»³»²¬ ¿²¼ º±® ¿² »¨¬®¿ ½¸¿®¹»ò               Ì¸·-        Í»½¬·±²ò
     -«°°´»³»²¬¿´ °»®·±¼ -¬¿®¬-æ                               êò   ×º ¬¸» Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ ·- ·²
     ¿ò Ñ²» §»¿® ¿º¬»® ¬¸» »²¼ ±º ¬¸» °±´·½§ °»®·±¼ º±®             »ºº»½¬ô ©» ©·´´ °®±ª·¼» ¬¸» -»°¿®¿¬» ¿¹¹®»¹¿¬» ´·³·¬ ±º
          þ½´¿·³-þ ¿®·-·²¹ ±«¬ ±º ¿² þ±½½«®®»²½»þ ®»°±®¬»¼          ·²-«®¿²½» ¼»-½®·¾»¼ ¾»´±©ô ¾«¬ ±²´§ º±® þ½´¿·³-þ º·®-¬
          ¬± «-ô ²±¬ ´¿¬»® ¬¸¿² êð ¼¿§- ¿º¬»® ¬¸» »²¼ ±º ¬¸»        ®»½»·ª»¼ ¿²¼ ®»½±®¼»¼ ¼«®·²¹ ¬¸» Í«°°´»³»²¬¿´
          °±´·½§ °»®·±¼ô ·² ¿½½±®¼¿²½» ©·¬¸ °¿®¿¹®¿°¸ îò¿ò          Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ò
          ±º ÍÛÝÌ×ÑÒ ×Ê ó ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ                         Ì¸» -»°¿®¿¬» ¿¹¹®»¹¿¬» ´·³·¬ ±º ·²-«®¿²½» ©·´´ ¾»
          Ô×ßÞ×Ô×ÌÇ ÝÑÒÜ×Ì×ÑÒÍå ±®                                  »¯«¿´ ¬± ¬¸» ¼±´´¿® ¿³±«²¬ -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²-
     ¾ò Í·¨¬§ ¼¿§- ¿º¬»® ¬¸» »²¼ ±º ¬¸» °±´·½§ °»®·±¼ º±®           ·² »ºº»½¬ ¿¬ ¬¸» »²¼ ±º ¬¸» °±´·½§ °»®·±¼ò
          ¿´´ ±¬¸»® þ½´¿·³-þò                                       Ð¿®¿¹®¿°¸îò ±º ÍÛÝÌ×ÑÒ ××× ó Ô×Ó×ÌÍ                 ÑÚ
     Ç±« ³«-¬ ¹·ª» «- ¿ ©®·¬¬»² ®»¯«»-¬ º±® ¬¸»                     ×ÒÍËÎßÒÝÛ ©·´´ ¾» ¿³»²¼»¼ ¿½½±®¼·²¹´§ò
     »²¼±®-»³»²¬ ©·¬¸·² êð ¼¿§- ¿º¬»® ¬¸» »²¼ ±º ¬¸»           ÍÛÝÌ×ÑÒ Ê× ó ÜÛÚ×Ò×Ì×ÑÒÍ
     °±´·½§ °»®·±¼ò         Ì¸» Í«°°´»³»²¬¿´       Û¨¬»²¼»¼    ß- «-»¼ ·² ¬¸·- ½±ª»®¿¹» °¿®¬æ
     Î»°±®¬·²¹ Ð»®·±¼ ©·´´ ²±¬ ¹± ·²¬± »ºº»½¬ «²´»-- §±«
                                                               ïò þß¼³·²·-¬®¿¬·±²þ ³»¿²-æ
     °¿§ ¬¸» ¿¼¼·¬·±²¿´ °®»³·«³ °®±³°¬´§ ©¸»² ¼«»ò
                                                                   ¿ò Ù·ª·²¹ ½±«²-»´ ¬± §±«® »³°´±§»»- ±® ¬¸»·®
     É» ©·´´ ¼»¬»®³·²» ¬¸» ¿¼¼·¬·±²¿´ °®»³·«³ ·²
                                                                       ¼»°»²¼»²¬- ¿²¼ ¾»²»º·½·¿®·»-ô ©·¬¸ ®»-°»½¬ ¬±
     ¿½½±®¼¿²½» ©·¬¸ ±«® ®«´»- ¿²¼ ®¿¬»-ò ×² ¼±·²¹ -±ô ©»
                                                                       ·²¬»®°®»¬·²¹ ¬¸» -½±°» ±º §±«® þ»³°´±§»»
     ³¿§ ¬¿µ» ·²¬± ¿½½±«²¬ ¬¸» º±´´±©·²¹æ
                                                                       ¾»²»º·¬- °®±¹®¿³þ ±® ¬¸»·® »´·¹·¾·´·¬§ ¬± °¿®¬·½·°¿¬»
     ¿ò Ì¸» »¨°±-«®»- ·²-«®»¼å                                         ·² -«½¸ °®±¹®¿³-å ¿²¼
     ¾ò Ð®»ª·±«- ¬§°»- ¿²¼ ¿³±«²¬ ±º ·²-«®¿²½»å                    ¾ò Ø¿²¼´·²¹ ®»½±®¼- ·² ½±²²»½¬·±² ©·¬¸ þ»³°´±§»»
     ½ò Ô·³·¬- ±º ×²-«®¿²½» ¿ª¿·´¿¾´» «²¼»® ¬¸·-                       ¾»²»º·¬- °®±¹®¿³þò
          Ý±ª»®¿¹» Ð¿®¬ º±® º«¬«®» °¿§³»²¬ ±º þ¼¿³¿¹»-ôþ
                                                               îò   þß¼ª»®¬·-»³»²¬þ   ³»¿²-    ¿   ¼·--»³·²¿¬·±²   ±º
          ¿²¼
                                                                    ·²º±®³¿¬·±² ±® ·³¿¹»- ¬¸¿¬ ¸¿- ¬¸» °«®°±-» ±º
     ¼ò Ñ¬¸»® ®»´¿¬»¼ º¿½¬±®-ò
                                                                    ·²¼«½·²¹ ¬¸» -¿´» ±º ¹±±¼-ô °®±¼«½¬- ±® -»®ª·½»-
     Ì¸» ¿¼¼·¬·±²¿´ °®»³·«³ ©·´´ ²±¬ »¨½»»¼ îððû ±º ¬¸»             ¬¸®±«¹¸æ
     ¿²²«¿´ °®»³·«³ º±® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
     Ì¸·- »²¼±®-»³»²¬ -¸¿´´ -»¬ º±®¬¸ ¬¸» ¬»®³-ô ²±¬
     ·²½±²-·-¬»²¬ ©·¬¸ ¬¸·- Í»½¬·±²ô ¿°°´·½¿¾´» ¬± ¬¸»




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Ú±®³ ØÝ ðð îï ðé çç                                                                                          Ð¿¹» ë ±º é
ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ

          ¿ò   øï÷ Î¿¼·±å                                                ¿ò   Ù®±«° ´·º» ·²-«®¿²½»ô ¹®±«° ¿½½·¼»²¬ ±® ¸»¿´¬¸
                                                                              ·²-«®¿²½»ô °®±º·¬ -¸¿®·²¹ °´¿²-ô °»²-·±² °´¿²-
               øî÷ Ì»´»ª·-·±²å
                                                                              ¿²¼ -¬±½µ -«¾-½®·°¬·±² °´¿²-ô °®±ª·¼»¼ ¬¸¿¬ ²±
               øí÷ Þ·´´¾±¿®¼å                                                 ±²» ±¬¸»® ¬¸¿² ¿² þ»³°´±§»»þ ³¿§ -«¾-½®·¾» ¬±
               øì÷ Ó¿¹¿¦·²»å                                                  -«½¸ ·²-«®¿²½» ±® °´¿²-å ¿²¼
               øë÷ Ò»©-°¿°»®å ±®                                         ¾ò   Ë²»³°´±§³»²¬      ·²-«®¿²½»ô  -±½·¿´ -»½«®·¬§
                                                                              ¾»²»º·¬-ô ©±®µ»®-ù ½±³°»²-¿¬·±² ¿²¼ ¼·-¿¾·´·¬§
          ¾ò   ß²§ ±¬¸»® °«¾´·½¿¬·±²        ¬¸¿¬     ·-     ¹·ª»²
                                                                              ¾»²»º·¬-ò
               ©·¼»-°®»¿¼ °«¾´·½ ¼·-¬®·¾«¬·±²ò
                                                                     ïïò þÛ¨»½«¬·ª» ±ºº·½»®þ ³»¿²- ¿ °»®-±² ¸±´¼·²¹ ¿²§ ±º
          Ø±©»ª»®ô þ¿¼ª»®¬·-»³»²¬þ ¼±»- ²±¬ ·²½´«¼» ¬¸»
                                                                         ¬¸» ±ºº·½»® °±-·¬·±²- ½®»¿¬»¼ ¾§ §±«® ½¸¿®¬»®ô
          ¼»-·¹²ô °®·²¬»¼ ³¿¬»®·¿´ô ·²º±®³¿¬·±² ±® ·³¿¹»-
                                                                         ½±²-¬·¬«¬·±²ô ¾§ó´¿©- ±® ¿²§ ±¬¸»® -·³·´¿® ¹±ª»®²·²¹
          ½±²¬¿·²»¼ ·²ô ±² ±® «°±² ¬¸» °¿½µ¿¹·²¹ ±®
                                                                         ¼±½«³»²¬ò
          ´¿¾»´·²¹ ±º ¿²§ ¹±±¼- ±® °®±¼«½¬-ò
                                                                     ïîò þÔ»¿-»¼ ©±®µ»®þ ³»¿²- ¿ °»®-±² ´»¿-»¼ ¬± §±« ¾§ ¿
íò   þß¼ª»®¬·-·²¹   ·¼»¿þ       ³»¿²-   ¿²§   ·¼»¿        º±®   ¿²
                                                                         ´¿¾±® ´»¿-·²¹ º·®³ «²¼»® ¿² ¿¹®»»³»²¬ ¾»¬©»»² §±«
     þ¿¼ª»®¬·-»³»²¬þò
                                                                         ¿²¼ ¬¸» ´¿¾±® ´»¿-·²¹ º·®³ô ¬± °»®º±®³ ¼«¬·»- ®»´¿¬»¼
ìò   þÞ±¼·´§ ·²¶«®§þ ³»¿²- ¾±¼·´§ ·²¶«®§ô -·½µ²»-- ±®                    ¬± ¬¸» ½±²¼«½¬ ±º §±«® ¾«-·²»--ò             þÔ»¿-»¼
     ¼·-»¿-» -«-¬¿·²»¼ ¾§ ¿ °»®-±²ô ·²½´«¼·²¹ ³»²¬¿´                     ©±®µ»®þ ¼±»- ²±¬ ·²½´«¼» ¿ þ¬»³°±®¿®§ ©±®µ»®þò
     ¿²¹«·-¸ ±® ¼»¿¬¸ ®»-«´¬·²¹ º®±³ ¿²§ ±º ¬¸»-» ¿¬ ¿²§
                                                                     ïí ò þÑ½½«®®»²½»þ    ³»¿²-    ¿²    ¿½½·¼»²¬ô  ·²½´«¼·²¹
     ¬·³»ò
                                                                          ½±²¬·²«±«- ±® ®»°»¿¬»¼ »¨°±-«®» ¬± -«¾-¬¿²¬·¿´´§ ¬¸»
ëò   þÝ´¿·³þ ³»¿²- ¿ ©®·¬¬»² ¼»³¿²¼ ®»½»·ª»¼ ¾§ ¿²§
                                                                          -¿³» ¹»²»®¿´ ¸¿®³º«´ ½±²¼·¬·±²-ò
     ·²-«®»¼ º±® þ¼¿³¿¹»-þ ¿´´»¹·²¹ þ»³°´±§»» ¾»²»º·¬-
     ·²¶«®§þô ·²½´«¼·²¹ ¬¸» ·²-¬·¬«¬·±² ±º ¿ þ-«·¬þ º±® -«½¸         ïì ò þÐ»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹ ·²¶«®§þ ³»¿²- ·²¶«®§ô
     þ¼¿³¿¹»-þ ¿¹¿·²-¬ ¿²§ ·²-«®»¼ò                                       ·²½´«¼·²¹ ½±²-»¯«»²¬·¿´ þ¾±¼·´§ ·²¶«®§þô ¿®·-· ²¹ ±«¬ ±º
êò   þÝ±ª»®¿¹» ¬»®®·¬±®§þ ³»¿²-æ                                          ±²» ±® ³±®» ±º ¬¸» º±´´±©·²¹ ±ºº»²-»-æ
      ¿ò Ì¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿ ø·²½´«¼·²¹ ·¬-                     ¿ò   Ú¿´-» ¿®®»-¬ô ¼»¬»²¬·±² ±® ·³°®·-±²³»²¬å
          ¬»®®·¬±®·»- ¿²¼ °±--»--·±²-÷ô Ð«»®¬± Î·½± ¿²¼                  ¾ò   Ó¿´·½·±«- °®±-»½«¬·±²å
          Ý¿²¿¼¿å
                                                                         ½ò   Ì¸» ©®±²¹º«´ »ª·½¬·±² º®±³ô ©®±²¹º«´ »²¬®§ ·²¬±ô
     ¾ò   ×²¬»®²¿¬·±²¿´ ©¿¬»®- ±® ¿·®-°¿½»ô °®±ª·¼»¼ ¬¸»                      ±® ·²ª¿-·±² ±º ¬¸» ®·¹¸¬ ±º °®·ª¿¬» ±½½«°¿²½§ ±º ¿
          þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ¼±»- ²±¬ ±½½«® ·² ¬¸»                    ®±±³ô ¼©»´´·²¹ ±® °®»³·-»- ¬¸¿¬ ¿ °»®-±²
          ½±«®-» ±º ¬®¿ª»´ ±® ¬®¿²-°±®¬¿¬·±² ¬± ±® º®±³ ¿²§                   ±½½«°·»-ô ½±³³·¬¬»¼ ¾§ ±® ±² ¾»¸¿´º ±º ·¬-
          °´¿½» ²±¬ ·²½´«¼»¼ ·² ¿ò ¿¾±ª»ò                                     ±©²»®ô ´¿²¼´±®¼ ±® ´»--±®å
éò   þÜ¿³¿¹»-þ ·²½´«¼» °®»¶«¼¹³»²¬ ·²¬»®»-¬ ¿©¿®¼»¼                      ¼ò   Ñ®¿´ ±® ©®·¬¬»² °«¾´·½¿¬·±² ±º ³¿¬»®·¿´ ¬¸¿¬
     ¿¹¿·²-¬ ¬¸» ·²-«®»¼ ±² ¬¸¿¬ °¿®¬ ±º ¬¸» ¶«¼¹³»²¬ ©»                      -´¿²¼»®- ±® ´·¾»´- ¿ °»®-±² ±® ±®¹¿²·¦¿¬·±² ±®
     °¿§ò þÜ¿³¿¹»-þ ¼± ²±¬ ·²½´«¼»æ                                           ¼·-°¿®¿¹»- ¿ °»®-±²ù- ±® ±®¹¿²·¦¿¬·±²ù- ¹±±¼-ô
     ïò   Ú·²»-å                                                              °®±¼«½¬- ±® -»®ª·½»-å

     îò   Ð»²¿´¬·»-å ±®                                                  »ò   Ñ®¿´ ±® ©®·¬¬»² °«¾´·½¿¬·±² ±º ³¿¬»®·¿´         ¬¸¿¬
                                                                              ª·±´¿¬»- ¿ °»®-±²ù- ®·¹¸¬ ±º °®·ª¿½§ò
     íò   Ü¿³¿¹»- º±® ©¸·½¸ ·²-«®¿²½» ·- °®±¸·¾·¬»¼ ¾§
          ¬¸» ´¿© ¿°°´·½¿¾´» ¬± ¬¸» ½±²-¬®«½¬·±² ±º ¬¸·-                 ºò   Ý±°§·²¹ô ·² §±«® þ¿¼ª»®¬·-»³»²¬þô ¿ °»®-±²ù- ±®
          Ý±ª»®¿¹» Ð¿®¬ò                                                      ±®¹¿²·¦¿¬·±²ù- þ¿¼ª»®¬·-·²¹ ·¼»¿-þ ±® -¬§´» ±º
                                                                              þ¿¼ª»®¬·-»³»²¬þ ±®
èò   þÛ³°´±§»»þ ·²½´«¼»- ¿ þ´»¿-»¼ ©±®µ»®þ ©¸·½¸ ·- ²±¬
     ½±ª»®»¼ «²¼»® ¿ ´¿¾±® ´»¿-·²¹ º·®³ù- þ»³°´±§»»                      ¹ò   ×²º®·²¹»³»²¬ ±º ½±°§®·¹¸¬ô -´±¹¿²ô ±® ¬·¬´» ±º ¿²§
     ¾»²»º·¬- °®±¹®¿³þò þÛ³°´±§»»þ ¼±»- ²±¬ ·²½´«¼» ¿                         ´·¬»®¿®§ ±® ¿®¬·-¬·½ ©±®µô ·² §±«® þ¿¼ª»®¬·-»³»²¬þò
     þ¬»³°±®¿®§ ©±®µ»®þò                                             ïëò þÐ®±°»®¬§ ¼¿³¿¹»þ ³»¿²-æ
çò   þÛ³°´±§»» ¾»²»º·¬- ·²¶«®§þ ³»¿²- ·²¶«®§ ¬¸¿¬ ¿®·-»-                 ¿ò   Ð¸§-·½¿´ ·²¶«®§ ¬± ¬¿²¹·¾´» °®±°»®¬§ô ·²½´«¼·²¹ ¿´´
     ±«¬ ±º ¿²§ ²»¹´·¹»²¬ ¿½¬ô »®®±® ±® ±³·--·±² ·² ¬¸»                       ®»-«´¬·²¹ ´±-- ±º «-» ±º ¬¸¿¬ °®±°»®¬§ò ß´´ -«½¸
     þ¿¼³·²·-¬®¿¬·±²þ  ±º   §±«®   þ»³°´±§»»    ¾»²»º·¬-                      ´±-- ±º «-» -¸¿´´ ¾» ¼»»³»¼ ¬± ±½½«® ¿¬ ¬¸» ¬·³»
     °®±¹®¿³-þò                                                               ±º ¬¸» °¸§-·½¿´ ·²¶«®§ ¬¸¿¬ ½¿«-»¼ ·¬å ±®
ïðò þÛ³°´±§»» ¾»²»º·¬- °®±¹®¿³þ ³»¿²- ¿ º±®³¿´                           ¾ò   Ô±-- ±º «-» ±º ¬¿²¹·¾´» °®±°»®¬§ ¬¸¿¬ ·- ²±¬
    °®±¹®¿³ ±® °®±¹®¿³- ±º »³°´±§»»         ¾»²»º·¬-                          °¸§-·½¿´´§ ·²¶«®»¼ò  ß´´ -«½¸ ´±-- -¸¿´´ ¾»
    ³¿·²¬¿·²»¼ ·² ½±²²»½¬·±² ©·¬¸ §±«® ¾«-·²»-- ±®                            ¼»»³»¼ ¬± ±½½«® ¿¬ ¬¸» ¬·³» ±º ¬¸» þ±½½«®®»²½»þ
    ±°»®¿¬·±²ô -«½¸ ¿- ¾«¬ ²±¬ ´·³·¬»¼ ¬±æ                                    ¬¸¿¬ ½¿«-»¼ ·¬ò




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Ð¿¹» ê ±º é                                                                                             Ú±®³ ØÝ ðð îï ðé çç
                                                          ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ

ïëò þÍ«·¬þ ³»¿²- ¿ ½·ª·´ °®±½»»¼·²¹ ·² ©¸·½¸ ¼¿³¿¹»           ¾ò   ß²§    ±¬¸»®   ¿´¬»®²¿¬·ª»  ¼·-°«¬»   ®»-±´«¬·±²
    ¾»½¿«-» ±º þ»³°´±§»» ¾»²»º·¬- ·²¶«®§þ ¬± ©¸·½¸ ¬¸·-            °®±½»»¼·²¹ ·² ©¸·½¸ -«½¸ ¼¿³¿¹»- ¿®» ½´¿·³»¼
    ·²-«®¿²½» ¿°°´·»- ¿®» ¿´´»¹»¼ò þÍ«·¬þ ·²½´«¼»-æ                ¿²¼ ¬± ©¸·½¸ §±« -«¾³·¬ ©·¬¸ ±«® ½±²-»²¬ò
    ¿ò   ß² ¿®¾·¬®¿¬·±² °®±½»»¼·²¹ ·² ©¸·½¸ -«½¸          ïêò þÌ»³°±®¿®§ ©±®µ»®þ ³»¿²- ¿ °»®-±² ©¸± ·-
         ¼¿³¿¹»- ¿®» ½´¿·³»¼ ¿²¼ ¬± ©¸·½¸ §±« ³«-¬            º«®²·-¸»¼ ¬± §±« ¬± -«¾-¬·¬«¬» º±® ¿ °»®³¿²»²¬
         -«¾³·¬ ±® ¼± -«¾³·¬ ©·¬¸ ±«® ½±²-»²¬å ±®             þ»³°´±§»»þ ±² ´»¿ª» ±® ¬± ³»»¬ -»¿-±²¿´ ±® -¸±®¬ó
                                                              ¬»®³ ©±®µ´±¿¼ ½±²¼·¬·±²-ò




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Ú±®³ ØÝ ðð îï ðé çç                                                                                  Ð¿¹» é ±º é
ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ
ÜÛÝÔßÎßÌ×ÑÒÍ
Ð±´·½§ Ò«³¾»®æ ìí ËËÒ ÜÚîêìë

ÒÑÌ×ÝÛæ ÌØÛ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ÍÝØÛÜËÔÛÜ ×Ò ×ÌÛÓ ë ÑÚ ÌØÛ ÜÛÝÔßÎßÌ×ÑÒÍ ÐÎÑÊ×ÜÛ ÝÔß×ÓÍ
ÓßÜÛ ÝÑÊÛÎßÙÛò ÛÈÝÛÐÌ ßÍ ÑÌØÛÎÉ×ÍÛ ÍÐÛÝ×Ú×ÛÜ ØÛÎÛ×Òæ ÇÑËÎ ÝÑÊÛÎßÙÛ ßÐÐÔ×ÛÍ ÑÒÔÇ ÌÑ
ß ÝÔß×Ó Ú×ÎÍÌ ÓßÜÛ ÜËÎ×ÒÙ ÌØÛ ÐÑÔ×ÝÇ ÐÛÎ×ÑÜ ßÒÜ ÎÛÐÑÎÌÛÜ ÌÑ ËÍ ×Ò ßÝÝÑÎÜßÒÝÛ É×ÌØ ÌØÛ
ßÐÐÔ×ÝßÞÔÛ ÒÑÌ×ÝÛ ÐÎÑÊ×Í×ÑÒÍô ÚÑÎ ÉÎÑÒÙÚËÔ ßÝÌÍ ÑÝÝËÎÎ×ÒÙ ßÚÌÛÎ ÌØÛ ßÐÐÔ×ÝßÞÔÛ
ÎÛÌÎÑßÝÌ×ÊÛ ÜßÌÛô ×Ú ßÒÇò ÝÑÊÛÎßÙÛ ×Í ÍËÞÖÛÝÌ ÌÑ ÌØÛ ×ÒÍËÎÛÜùÍ ÐßÇÓÛÒÌ ÑÚ ÌØÛ
ßÐÐÔ×ÝßÞÔÛ ÎÛÌÛÒÌ×ÑÒò ÐßÇÓÛÒÌ ÑÚ ÜÛÚÛÒÍÛ ÝÑÍÌÍ ×Í ×Ò ßÜÜ×Ì×ÑÒ ÌÑ ÌØÛ ßÊß×ÔßÞÔÛ Ô×Ó×Ì ÑÚ
Ô×ßÞ×Ô×ÌÇò ÐÔÛßÍÛ ÎÛßÜ ÌØÛ ÐÑÔ×ÝÇ ÝßÎÛÚËÔÔÇ ßÒÜ Ü×ÍÝËÍÍ ÌØÛ ÝÑÊÛÎßÙÛ É×ÌØ ÇÑËÎ
×ÒÍËÎßÒÝÛ ßÙÛÒÌ ÑÎ ÞÎÑÕÛÎò
×¬»³ ïæ Ò¿³»¼ Û²¬·¬§ ¿²¼ Ó¿·´·²¹ ß¼¼®»--æ ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ
                                          ÍÛÛ ×Øïîðì
                                          ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ ÝñÑ Ô×ÒÜß ÝÑÝØÎßÒ
                                          ÖßÝÕÍÑÒ              ÓÍ íçîðç
×¬»³ îæ Ð®±¼«½»® ­ Ò¿³» ¿²¼ ß¼¼®»­­æ ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝ
                                       ÐÑ ÞÑÈ ïïíç
                                       ÖßÝÕÍÑÒ            ÓÍ íçîïë
×¬»³ íæ Ð±´·½§ Ð»®·±¼æ
        ×²½»°¬·±² Ü¿¬»æ ðëñîðñîî            ïîæðï ßÓô ¿¬ §±«® ³¿·´·²¹ ¿¼¼®»-- -¸±©² ·² ×¬»³ ï
        Û¨°·®¿¬·±² Ü¿¬»æ ðëñîðñîí           ïîæðï ßÓô ¿¬ §±«® ³¿·´·²¹ ¿¼¼®»-- -¸±©² ·² ×¬»³ ï
×¬»³ ìæ Ð®»³·«³æ            üçôéêêòðð

×¬»³ ëæ Ý±ª»®¿¹» Ð¿®¬ Û´»½¬·±²-
Ñ²´§ ¬¸±-» Ý±ª»®¿¹» Ð¿®¬- ¿²¼ Ñ°¬·±²¿´ Ý±ª»®¿¹»­ ¼»­·¹²¿¬»¼ ©·¬¸ ¿²  È ¿®» ·²½´«¼»¼ «²¼»® ¬¸·­ Ð±´·½§ò

      Û¿½¸ Ý´¿·³ Ý±³¾·²»¼ Ô·³·¬ ±º Ô·¿¾·´·¬§æ
      Ý±³¾·²»¼ ß¹¹®»¹¿¬» Ô·³·¬ ±º Ô·¿¾·´·¬§ º±® ß´´ Ý±ª»®¿¹» Ð¿®¬-æ

 È    Ô·³·¬- ¿®» ²±¬ ½±³¾·²»¼ò Í»» »²¼±®-»³»²¬ò

      Ý±ª»®¿¹» Ð¿®¬            Î»¬»²¬·±²                  Î»¬®±¿½¬·ª» Ü¿¬»                Ñ°¬·±²¿´ Ý±ª»®¿¹»
      Ü·®»½¬±®-ô Ñºº·½»®-      Î»¬»²¬·±²æ                 Î»¬®±¿½¬·ª» Ü¿¬»æ
      ¿²¼ Û²¬·¬§ Ô·¿¾·´·¬§     ×²-«®·²¹ Ý´¿«-» ß
                                                          ø·º  Ò±²» ·­ »²¬»®»¼ô °®·±®
                               ×²-«®·²¹ Ý´¿«-» Þ          ¿½¬- ½±ª»®¿¹» ·- «²´·³·¬»¼÷

                               ×²-«®·²¹ Ý´¿«-» Ý


      Û³°´±§³»²¬               Î»¬»²¬·±²æ                 Î»¬®±¿½¬·ª» Ü¿¬»æ                   Ì¸·®¼ Ð¿®¬§ Ô·¿¾·´·¬§
      Ð®¿½¬·½»- Ô·¿¾·´·¬§
                                                                                              Î»¬»²¬·±²æ
                                                          ø·º  Ò±²» ·­ »²¬»®»¼ô °®·±®
                                                          ¿½¬- ½±ª»®¿¹» ·- «²´·³·¬»¼÷
                                                                                              Î»¬®±¿½¬·ª» Ü¿¬»æ


 È    Û¼«½¿¬±®- Û®®±®-         Î»¬»²¬·±²æ                 Î»¬®±¿½¬·ª» Ü¿¬»æ
      ¿²¼ Ñ³·--·±²-                 üëôððð                ðëñîðñïí
      Ô·¿¾·´·¬§                                           ø·º  Ò±²» ·­ »²¬»®»¼ô °®·±®
                                                          ¿½¬- ½±ª»®¿¹» ·- «²´·³·¬»¼÷



Ú±®³ ØÙ ðð ðì ðí ïë                                                                                    Ð¿¹» ï ±º î
       Case 3:24-cv-00490-FDW-SCR w Document    1-4 Filed 05/21/24 Page 264 of 579
                                     îðïëô Ì¸» Ø¿®¬º±®¼
×¬»³ êæ Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼
         Ü«®¿¬·±²æ ï Ç»¿®
         Ý¸¿®¹»æ ïððû ±º Ú«´´ ß²²«¿´ Ð®»³·«³

Ú«´´ ß²²«¿´ Ð®»³·«³ ³»¿²- ¬¸» -«³ ±º ¬¸» ¿²²«¿´ °®»³·«³ -°»½·º·»¼ º±® ¿´´ ¿°°´·½¿¾´» Ý±ª»®¿¹» Ð¿®¬- °´«- ¬¸»
¿²²«¿´·¦»¼ ¿³±«²¬- ±º ¿²§ ¿¼¼·¬·±²¿´ °®»³·«³ø-÷ ½¸¿®¹»¼ º±® -«½¸ Ý±ª»®¿¹» Ð¿®¬- ¼«®·²¹ ¬¸» Ð±´·½§ Ð»®·±¼ò

×¬»³ éæ Û²¼±®-»³»²¬-
Ì¸·- °±´·½§ -¸¿´´ ·²½´«¼» ¬¸» º±´´±©·²¹ »²¼±®-»³»²¬- ¿¬ ·--«¿²½»æ
ØÝîíéððïïë           ØÙîïðîðíïë            ØÙðððëðíïë           ØÙðððéðíïë          ØÙîëðîðíïë
ØÙççïïðíïë           ØÝïîïðïïèëÌ




Ì¸·- °±´·½§ -¸¿´´ ¿´-± ·²½´«¼» ¿²§ »²¼±®-»³»²¬- ¬¸¿¬ º±®³ ¿ °¿®¬ ±º ¬¸» Ý±³³»®½·¿´ Ù»²»®¿´ Ô·¿¾·´·¬§ Ð±´·½§ ·--«»¼
©·¬¸ ¬¸» -¿³» Ð±´·½§ Ò«³¾»® ¿- ¬¸·- Ð±´·½§ ¿²¼ ¬¸¿¬ ¿®» ¿°°´·½¿¾´» ¬± »·¬¸»® þÛ¼«½¿¬±®- Ô»¹¿´ Ô·¿¾·´·¬§þ ±®
þÛ¼«½¿¬±®- Ð®±º»--·±²¿´ Ý¸±·½»þ ½±ª»®¿¹»ò

É¸»®» ®»¯«·®»¼ ¾§ ´¿©ô ¬¸·- Ð±´·½§ ·- ²±¬ ¾·²¼·²¹ «²´»-- ½±«²¬»®-·¹²»¼ ¾§ ±«® ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»ò




                        Ý±«²¬»®-·¹²»¼ ¾§                                                         ðëñîíñîî
                                                     ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»                    Ü¿¬»




Ð¿¹» î Case
       ±º î 3:24-cv-00490-FDW-SCR               Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                                 265ØÙ
                                                                                     of 579
                                                                                        ðð ðì ðí ïë
ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                         ÍÛÐßÎßÌÛ Ô×Ó×ÌÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ¬¸» °®±ª·-·±²- ±º ¬¸» º±´´±©·²¹æ

           ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ  ÜÛÝÔßÎßÌ×ÑÒÍ
           ÝÑÓÓÑÒ ÌÛÎÓÍ ßÒÜ ÝÑÒÜ×Ì×ÑÒÍ

øï÷ ×¬»³ ë ±º ¬¸» Ü»½´¿®¿¬·±²- ·- ¿³»²¼»¼ ¬± ®»¿¼ ·² ·¬- »²¬·®»¬§ ¿- º±´´±©-æ
    ×¬»³ ëæ Ý±ª»®¿¹» Ð¿®¬ Û´»½¬·±²-
    Ñ²´§ ¬¸±-» Ý±ª»®¿¹» Ð¿®¬- ¿²¼ Ñ°¬·±²¿´ Ý±ª»®¿¹»­ ¬¸¿¬ ¿®» ¼»­·¹²¿¬»¼ ©·¬¸ ¿²  È ¿®» ·²½´«¼»¼ «²¼»® ¬¸·­
    Ð±´·½§ò

      È       Ô·³·¬- ¿®» ²±¬ ½±³¾·²»¼ò

             Ý±ª»®¿¹» Ð¿®¬       Ô·³·¬                   Î»¬»²¬·±²              Î»¬®±¿½¬·ª» Ü¿¬»      Ñ°¬·±²¿´ Ý±ª»®¿¹»
             Ü·®»½¬±®-ô          Û¿½¸ Ý´¿·³              Î»¬»²¬·±²æ             Î»¬®±¿½¬·ª» Ü¿¬»æ
             Ñºº·½»®- ¿²¼        Ô·³·¬ ±º Ô·¿¾·´·¬§      ×²-«®·²¹ Ý´¿«-» ß
             Û²¬·¬§ Ô·¿¾·´·¬§
                                 ß¹¹®»¹¿¬»               ×²-«®·²¹ Ý´¿«-» Þ
                                 Ô·³·¬ ±º Ô·¿¾·´·¬§
                                                         ×²-«®·²¹ Ý´¿«-» Ý

             Û³°´±§³»²¬          Û¿½¸ Ý´¿·³              Î»¬»²¬·±²æ             Î»¬®±¿½¬·ª» Ü¿¬»æ         Ì¸·®¼ Ð¿®¬§
             Ð®¿½¬·½»-           Ô·³·¬ ±º Ô·¿¾·´·¬§                                                       Ô·¿¾·´·¬§
             Ô·¿¾·´·¬§                                                                                    Î»¬»²¬·±²æ
                                 ß¹¹®»¹¿¬»
                                 Ô·³·¬ ±º Ô·¿¾·´·¬§                                                       Î»¬®±¿½¬·ª»
                                                                                                          Ü¿¬»æ


       È     Û¼«½¿¬±®- Û®®±®-    Û¿½¸ Ý´¿·³              Î»¬»²¬·±²æ             Î»¬®±¿½¬·ª» Ü¿¬»æ
             ¿²¼ Ñ³·--·±²-       Ô·³·¬ ±º Ô·¿¾·´·¬§            üëôððð           ðëñîðñïí
             Ô·¿¾·´·¬§           üïðôðððôððð
                                 ß¹¹®»¹¿¬»
                                 Ô·³·¬ ±º Ô·¿¾·´·¬§
                                 üïðôðððôððð

øî÷ Í»½¬·±² ×Ê Ô×Ó×Ì ÑÚ Ô×ßÞ×Ô×ÌÇ ±º ¬¸» Ý±³³±²                             ¿³±«²¬ ¬¸¿¬ ©» -¸¿´´ °¿§ «²¼»® -«½¸
    Ì»®³- ¿²¼ Ý±²¼·¬·±²- ±º ¬¸·- Ð±´·½§ ·- ¼»´»¬»¼                          Ý±ª»®¿¹» Ð¿®¬ º±® ¿´´ Ü¿³¿¹»- º®±³
    ¿²¼ ®»°´¿½»¼ ©·¬¸ ¬¸» º±´´±©·²¹æ                                        ¿²§ Ý´¿·³ ½±ª»®»¼ «²¼»® -«½¸
           ×Êò Ô×Ó×Ì ÑÚ Ô×ßÞ×Ô×ÌÇ                                           Ý±ª»®¿¹» Ð¿®¬ò
           øß÷ Ì¸» Û¿½¸ Ý´¿·³ Ô·³·¬ ±º Ô·¿¾·´·¬§ º±®                    øÞ÷ Ì¸» ß¹¹®»¹¿¬» Ô·³·¬ ±º Ô·¿¾·´·¬§ º±® »¿½¸
               »¿½¸ Ý±ª»®¿¹» Ð¿®¬ ·² ×¬»³ ë ±º ¬¸»                          Ý±ª»®¿¹» Ð¿®¬ ·² ×¬»³ ë ±º ¬¸»
               Ü»½´¿®¿¬·±²- -¸¿´´ ¾» ¬¸» ³¿¨·³«³                            Ü»½´¿®¿¬·±²- -¸¿´´ ¾» ¬¸» ³¿¨·³«³



Ú±®³ ØÙ îë ðî ðí ïë                                                                                      Ð¿¹» ï ±º î
          Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 266 of 579
                                      îðïëô Ì¸» Ø¿®¬º±®¼
         ¿¹¹®»¹¿¬» ¿³±«²¬ ¬¸¿¬ ©» -¸¿´´ °¿§ º±®                  ß¹¹®»¹¿¬» Ô·³·¬ ±º Ô·¿¾·´·¬§ º±® ¿²§
         ¿´´ Ü¿³¿¹»- º®±³ ¿´´ Ý´¿·³- ½±ª»®»¼                     ¿°°´·½¿¾´» Ý±ª»®¿¹» Ð¿®¬ ·- »¨¸¿«-¬»¼
         «²¼»® -«½¸ Ý±ª»®¿¹» Ð¿®¬ ¼«®·²¹ ¬¸»                     ¾§ ¬¸» °¿§³»²¬ ±º Ü¿³¿¹»-ô ©» ©·´´
         Ð±´·½§ Ð»®·±¼ò                                          ¸¿ª» ²± º«®¬¸»® ±¾´·¹¿¬·±² ¬± °¿§
     øÝ÷ ×² ¬¸» »ª»²¬ ¬¸¿¬ ¿ Ý´¿·³ ·- ½±ª»®»¼                    Ü¿³¿¹»- ±® Ü»º»²-» Ý±-¬- ©·¬¸
         «²¼»® ³±®» ¬¸¿² ±²» Ý±ª»®¿¹» Ð¿®¬ô                      ®»-°»½¬ ¬± -«½¸ Ý±ª»®¿¹» Ð¿®¬ò É¸»²
         ¬¸»² ±«® ³¿¨·³«³ ´·³·¬ ±º ´·¿¾·´·¬§ º±® ¿´´             ¬¸» ß¹¹®»¹¿¬» Ô·³·¬ ±º Ô·¿¾·´·¬§ º±® »ª»®§
         Ü¿³¿¹»- ®»-«´¬·²¹ º®±³ -«½¸ Ý´¿·³                       ¿°°´·½¿¾´» Ý±ª»®¿¹» Ð¿®¬ ·- »¨¸¿«-¬»¼
         -¸¿´´ ²±¬ »¨½»»¼ ¬¸» ´¿®¹»-¬ -·²¹´»                     ¾§ ¬¸» °¿§³»²¬ ±º Ü¿³¿¹»-ô ¬¸»
         ¿°°´·½¿¾´» Û¿½¸ Ý´¿·³ Ô·³·¬ ±º Ô·¿¾·´·¬§                °®»³·«³ º±® ¬¸» Ð±´·½§ -¸¿´´ ¾» ¼»»³»¼
         ¿ª¿·´¿¾´» «²¼»® ¿²§ -«½¸ Ý±ª»®¿¹»                       º«´´§ »¿®²»¼ ¿²¼ ©» ©·´´ ¸¿ª» ²± º«®¬¸»®
         Ð¿®¬ò                                                   ±¾´·¹¿¬·±² «²¼»® ¬¸·- Ð±´·½§ò

     øÜ÷ É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-ô
         Ü»º»²-» Ý±-¬- -¸¿´´ ¾» ·² ¿¼¼·¬·±² ¬±
         »¿½¸ ¿°°´·½¿¾´» Ô·³·¬ ±º Ô·¿¾·´·¬§ò ×º ¿²




Ð¿¹» î Case
       ±º î 3:24-cv-00490-FDW-SCR             Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                               267ØÙ
                                                                                   of 579
                                                                                      îë ðî ðí ïë
                ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ
                    ÝÑÓÓÑÒ ÌÛÎÓÍ ßÒÜ ÝÑÒÜ×Ì×ÑÒÍ
ÒÑÌ×ÝÛæ ÌØÛ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ÍÝØÛÜËÔÛÜ ×Ò ×ÌÛÓ ë ÑÚ ÌØÛ ÜÛÝÔßÎßÌ×ÑÒÍ ÐÎÑÊ×ÜÛ ÝÔß×ÓÍ
ÓßÜÛ ÝÑÊÛÎßÙÛò ÛÈÝÛÐÌ ßÍ ÑÌØÛÎÉ×ÍÛ ÍÐÛÝ×Ú×ÛÜ ØÛÎÛ×Òæ ÇÑËÎ ÝÑÊÛÎßÙÛ ßÐÐÔ×ÛÍ ÑÒÔÇ ÌÑ
ß ÝÔß×Ó Ú×ÎÍÌ ÓßÜÛ ÜËÎ×ÒÙ ÌØÛ ÐÑÔ×ÝÇ ÐÛÎ×ÑÜ ßÒÜ ÎÛÐÑÎÌÛÜ ÌÑ ËÍ ×Ò ßÝÝÑÎÜßÒÝÛ É×ÌØ ÌØÛ
ßÐÐÔ×ÝßÞÔÛ ÒÑÌ×ÝÛ ÐÎÑÊ×Í×ÑÒÍô ÚÑÎ ÉÎÑÒÙÚËÔ ßÝÌÍ ÑÝÝËÎÎ×ÒÙ ßÚÌÛÎ ÌØÛ ßÐÐÔ×ÝßÞÔÛ
ÎÛÌÎÑßÝÌ×ÊÛ ÜßÌÛô ×Ú ßÒÇò ÝÑÊÛÎßÙÛ ×Í ÍËÞÖÛÝÌ ÌÑ ÌØÛ ×ÒÍËÎÛÜÍ ÐßÇÓÛÒÌ ÑÚ ÌØÛ
ßÐÐÔ×ÝßÞÔÛ ÎÛÌÛÒÌ×ÑÒò ÐßÇÓÛÒÌ ÑÚ ÜÛÚÛÒÍÛ ÝÑÍÌÍ ×Í ×Ò ßÜÜ×Ì×ÑÒ ÌÑ ÌØÛ ßÊß×ÔßÞÔÛ Ô×Ó×Ì ÑÚ
Ô×ßÞ×Ô×ÌÇò ÐÔÛßÍÛ ÎÛßÜ ÌØÛ ÐÑÔ×ÝÇ ÝßÎÛÚËÔÔÇ ßÒÜ Ü×ÍÝËÍÍ ÌØÛ ÝÑÊÛÎßÙÛ É×ÌØ ÇÑËÎ
×ÒÍËÎßÒÝÛ ßÙÛÒÌ ÑÎ ÞÎÑÕÛÎò
Ì¸®±«¹¸±«¬ ¬¸·­ Ð±´·½§ ¬¸» ©±®¼­ §±« ¿²¼ §±«® ®»º»® ¬± ¬¸» Ò¿³»¼ Û²¬·¬§ ­¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²­ô ¿²¼ ¿²§
±¬¸»® °»®­±² ±® ±®¹¿²·¦¿¬·±² ¯«¿´·º§·²¹ ¿­ ¿ Ò¿³»¼ Û²¬·¬§ «²¼»® ¬¸·­ Ð±´·½§ò Ì¸» ©±®¼­ ©»ô «­ ¿²¼ ±«® ®»º»®
¬± ¬¸» Ý±³°¿²§ ·--«·²¹ ¬¸·- Ð±´·½§ò Ñ¬¸»® ©±®¼- ¿²¼ °¸®¿-»- ¬¸¿¬ ¿°°»¿® ·² ¾±´¼ ¸¿ª» -°»½·¿´ ³»¿²·²¹ò
                                                                                            Þ»¹·²²·²¹ ±² Ð¿¹»
        ×ò     ÌÛÎÓÍ ßÒÜ ÝÑÒÜ×Ì×ÑÒÍ                                                                 ï
       ××ò     ÝÑÓÓÑÒ ÜÛÚ×Ò×Ì×ÑÒÍ                                                                   î
      ×××ò     ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍ                                                                  í
      ×Êò      Ô×Ó×Ì ÑÚ Ô×ßÞ×Ô×ÌÇ                                                                   í
       Êò      ÎÛÌÛÒÌ×ÑÒ                                                                            ì
      Ê×ò      ÜÛÚÛÒÍÛ ßÒÜ ÍÛÌÌÔÛÓÛÒÌ                                                               ì
      Ê××ò     ÛÈÌÛÒÜÛÜ ÎÛÐÑÎÌ×ÒÙ ÐÛÎ×ÑÜ                                                            ë
     Ê×××ò     ×ÒÌÛÎÎÛÔßÌ×ÑÒÍØ×Ð ÑÚ ÝÔß×ÓÍ                                                          ë
      ×Èò      ßÔÔÑÝßÌ×ÑÒ                                                                           ë
       Èò      ÝßÒÝÛÔÔßÌ×ÑÒñÒÑÒÎÛÒÛÉßÔ                                                              ë
      È×ò      ÝØßÒÙÛÍ ×Ò ÛÈÐÑÍËÎÛ                                                                  ê
      È××ò     ÍËÞÎÑÙßÌ×ÑÒ                                                                          ê
      È×××     ßÐÐÔ×ÝßÌ×ÑÒ                                                                          ê
     È×Êò      ßÝÌ×ÑÒ ßÙß×ÒÍÌ ËÍ                                                                    é
      ÈÊò      ßÍÍ×ÙÒÓÛÒÌ                                                                           é
     ÈÊ×ò      ÞßÒÕÎËÐÌÝÇ ÑÎ ×ÒÍÑÔÊÛÒÝÇ                                                             é
     ÈÊ××ò     ßËÌØÑÎ×ÆßÌ×ÑÒ ÑÚ ÒßÓÛÜ ÛÒÌ×ÌÇ                                                        é
     ÈÊ×××ò    ÝØßÒÙÛÍ                                                                              é
     È×Èò      ÛÒÌ×ÎÛ ßÙÎÛÛÓÛÒÌ                                                                     é
      ÈÈò      ÒÑÌ×ÝÛ ßÜÜÎÛÍÍÛÍ                                                                     é
     ÈÈ×ò      ØÛßÜ×ÒÙÍ                                                                             é
     ÈÈ××ò     ÎÛÚÛÎÛÒÝÛÍ ÌÑ ÔßÉÍ                                                                   é
     ÈÈ×××ò    ÝÑÊÛÎßÙÛ ÌÛÎÎ×ÌÑÎÇ                                                                   é

×² ½±²-·¼»®¿¬·±² ±º ¬¸» °¿§³»²¬ ±º ¬¸» °®»³·«³ ¿²¼ -«¾¶»½¬ ¬± ¬¸» Ü»½´¿®¿¬·±²- ¿²¼ ¿´´ ±º ¬¸» ¬»®³-ô ½±²¼·¬·±²-
¿²¼ ´·³·¬¿¬·±²- ±º ¬¸·- Ð±´·½§ô ¬¸» ×²-«®»¼- ¿²¼ ©» ¿¹®»» ¿- º±´´±©-æ


×ò      ÌÛÎÓÍ ßÒÜ ÝÑÒÜ×Ì×ÑÒÍ                                    øÞ÷ Û¨½»°¬ ¿- ±¬¸»®©·-» °®±ª·¼»¼ ¾§ -°»½·º·½
        øß÷ ß´´ Ý±ª»®¿¹» Ð¿®¬- ·²½´«¼»¼ ·² ¬¸·- Ð±´·½§              ®»º»®»²½» ¬± ±¬¸»® Ý±ª»®¿¹» Ð¿®¬-ô ¬¸»
            ¿®» -«¾¶»½¬ ¬± ¬¸» º±´´±©·²¹ Ý±³³±² Ì»®³-               ¬»®³- ¿²¼ ½±²¼·¬·±²- ±º »¿½¸ Ý±ª»®¿¹» Ð¿®¬
            ¿²¼ Ý±²¼·¬·±²-ò ×º ¿²§ °®±ª·-·±² ·² ¬¸»-»               -¸¿´´ ¿°°´§ ±²´§ ¬± -«½¸ Ý±ª»®¿¹» Ð¿®¬ò
            Ý±³³±² Ì»®³- ¿²¼ Ý±²¼·¬·±²- ·-                      øÝ÷ Ì¸·- Ð±´·½§ ·- ¿´-± -«¾¶»½¬ ¬± ½»®¬¿·²
            ·²½±²-·-¬»²¬ ±® ·² ½±²º´·½¬ ©·¬¸ ¬¸» ¬»®³- ¿²¼          »²¼±®-»³»²¬- ¬± ¬¸» Ý±³³»®½·¿´ Ù»²»®¿´
            ½±²¼·¬·±²- ±º ¿²§ Ý±ª»®¿¹» Ð¿®¬ô ¬¸» ¬»®³-              Ô·¿¾·´·¬§ Ð±´·½§ ±º ©¸·½¸ ¬¸·- Ð±´·½§ ·- ¿
            ¿²¼ ½±²¼·¬·±²- ±º -«½¸ Ý±ª»®¿¹» Ð¿®¬ -¸¿´´              ½±ª»®¿¹» °¿®¬ô ©¸·½¸ »²¼±®-»³»²¬- ¿®»
            ½±²¬®±´ º±® °«®°±-»- ±º ¬¸¿¬ Ý±ª»®¿¹» Ð¿®¬ò             ®»º»®»²½»¼ ·² ×¬»³ é ±º ¬¸» Ü»½´¿®¿¬·±²- ±º
                                                                    ¬¸·- Ð±´·½§ò

Ú±®³ ØÙ ðð ðë ðí ïë                                                                                Ð¿¹» ï ±º é
              Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 268 of 579
                                          îðïëô Ì¸» Ø¿®¬º±®¼
××ò   ÝÑÓÓÑÒ ÜÛÚ×Ò×Ì×ÑÒÍ                                           ø½÷ ¿²§ º»»-ô »¨°»²-»- ±® ½±-¬- ¬¸¿¬ ©»®»
      Ì¸» º±´´±©·²¹ ¬»®³-ô ©¸»¬¸»® «-»¼ ·² ¬¸»                         ·²½«®®»¼ °®·±® ¬± ¬¸» ¼¿¬» ±² ©¸·½¸ ©»
      -·²¹«´¿® ±® °´«®¿´ô -¸¿´´ ¸¿ª» ¬¸» ³»¿²·²¹-                      ®»½»·ª»¼ ©®·¬¬»² ²±¬·½» ±º ¬¸» Ý´¿·³ º®±³
      -°»½·º·»¼ ¾»´±©ò                                                 ¬¸» ×²-«®»¼ò
      øß÷ •ß°°´·½¿¬·±² ³»¿²­ ¬¸» ¿°°´·½¿¬·±² º±® ¬¸·­          øÙ÷ •Ü±³»-¬·½ Ð¿®¬²»® ³»¿²­ ¿²§ ²¿¬«®¿´
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          ©¸·½¸ ¬¸·- °±´·½§ ·- ¿ ®»²»©¿´ ±®                         «²¼»® ¬¸» °®±ª·-·±²- ±º ¿²§ ¿°°´·½¿¾´»
          ®»°´¿½»³»²¬ô ·²½´«¼·²¹ ¿²§ ³¿¬»®·¿´- ±®                   º»¼»®¿´ô -¬¿¬» ±® ´±½¿´ ´¿© ±® «²¼»® ¬¸»
          ·²º±®³¿¬·±² -«¾³·¬¬»¼ ¬¸»®»©·¬¸ ±® ³¿¼»                   °®±ª·-·±²- ±º ¿²§ º±®³¿´ °®±¹®¿³ »-¬¿¾´·-¸»¼
          ¿ª¿·´¿¾´» ¬± «- ¼«®·²¹ ¬¸» «²¼»®©®·¬·²¹                   ¾§ ¬¸» ×²-«®»¼ Û²¬·¬§ò
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          -°»½·º·»¼ º±® -«½¸ ¬»®³ ·² »¿½¸ Ý±ª»®¿¹»                     Û²¬·¬§å ±®
          Ð¿®¬ò                                                    øî÷ -«½¸ ×²-«®»¼ Û²¬·¬§ ¾»½±³·²¹ ¿ Ü»¾¬±®
      øÛ÷ •Ü»¾¬±® ·² Ð±--»--·±² ³»¿²­ ¿ ¼»¾¬±® ·²                    ·² Ð±--»--·±²ò
          °±­­»­­·±² ¿­ ­«½¸ ¬»®³ ·­ ¼»º·²»¼ ·²                øÕ÷ •×²-«®»¼ Û²¬·¬§ ³»¿²­ ¬¸» Ò¿³»¼ Û²¬·¬§
          Ý¸¿°¬»® ïï ±º ¬¸» ËòÍò Þ¿²µ®«°¬½§ Ý±¼» ¿-                 ¿²¼ ¿²§ ¿¼¼·¬·±²¿´ »²¬·¬·»- -°»½·º·½¿´´§
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              ¸¿ª» ²± ±¾´·¹¿¬·±² ¬± º«®²·-¸ -«½¸ ¾±²¼-
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              ×²-«®»¼-ô ¾»½¿«-» ±º ¬·³» ±ºº º®±³ ©±®µ           øÐ÷ •Ó¿²¿¹»® ³»¿²­ ¿²§ ²¿¬«®¿´ °»®­±² ©¸±
              ¬± ¿¬¬»²¼ ¿ ¸»¿®·²¹ô ¬®·¿´ ±® ¼»°±-·¬·±²ò             ©¿-ô ·- ±® -¸¿´´ ¾»½±³» ¿ø²÷æ
          Ø±©»ª»®ô Ü»º»²-» Ý±-¬- -¸¿´´ ²±¬ ·²½´«¼»æ                øï÷ ¼«´§ »´»½¬»¼ ±® ¿°°±·²¬»¼ ¼·®»½¬±®ô
                                                                       ¿¼ª·-±®§ ¼·®»½¬±®ô ¾±¿®¼ ±¾-»®ª»®ô
          ø¿÷ -¿´¿®·»-ô ©¿¹»-ô ®»³«²»®¿¬·±²ô ±ª»®¸»¿¼
                                                                       ¿¼ª·-±®§ ¾±¿®¼ ³»³¾»®ô ±ºº·½»®ô ³»³¾»®
              ±® ¾»²»º·¬ »¨°»²-»- ¿--±½·¿¬»¼ ©·¬¸ ¿²§
                                                                       ±º ¬¸» ¾±¿®¼ ±º ³¿²¿¹»®- ±®
              ×²-«®»¼-ô »¨½»°¬ ¿- »¨°®»--´§ °®±ª·¼»¼
                                                                       ³¿²¿¹»³»²¬ ½±³³·¬¬»» ³»³¾»® ±º ¿²
              ·² -«¾°¿®¿¹®¿°¸ øí÷ ¿¾±ª»å
                                                                       ×²-«®»¼ Û²¬·¬§å ±®
          ø¾÷ ¿²§ º»»-ô »¨°»²-»- ±® ½±-¬- ¬¸¿¬ ¿®»
                                                                   øî÷ Û³°´±§»» -±´»´§ ·² ¸·- ±® ¸»® ½¿°¿½·¬§
              ·²½«®®»¼ ¾§ ±® ±² ¾»¸¿´º ±º ¿ °¿®¬§ ¬¸¿¬ ·-
                                                                       ¿- ´»¹¿´ ½±«²-»´ ¬± ¿² ×²-«®»¼ Û²¬·¬§ò
              ²±¬ ¿ ½±ª»®»¼ ×²-«®»¼å ±®

Ð¿¹» î Case
       ±º é 3:24-cv-00490-FDW-SCR                  Document 1-4 Filed 05/21/24 Page 269
                                                                                 Ú±®³ ØÙofðð579
                                                                                             ðë ðí ïë
   øÏ÷ •Ò¿³»¼ Û²¬·¬§ ³»¿²­ ¬¸» »²¬·¬§ ²¿³»¼ ·²                   ¿ Ý´¿·³ ³¿¼» ¿¹¿·²-¬ -«½¸ -°±«-» ±®
       ×¬»³ ï ±º ¬¸» Ü»½´¿®¿¬·±²-ò                                Ü±³»-¬·½ Ð¿®¬²»®ô °®±ª·¼»¼ ¬¸¿¬æ
   øÎ÷ •Ò±¬·½» Ó¿²¿¹»® ­¸¿´´ ¸¿ª» ¬¸» ³»¿²·²¹                    øï÷ -«½¸ Ý´¿·³ ¿®·-»- -±´»´§ ±«¬ ±ºæ
       -°»½·º·»¼ º±® -«½¸ ¬»®³ ·² »¿½¸ Ý±ª»®¿¹»                       ø¿÷ -«½¸ °»®-±²ù- -¬¿¬«- ¿- ¬¸» -°±«-»
       Ð¿®¬ò                                                              ±® Ü±³»-¬·½ Ð¿®¬²»® ±º ¿² ×²-«®»¼
   øÍ÷ •Ð±´·½§ Ð»®·±¼ ³»¿²­ ¬¸» °»®·±¼ º®±³ ¬¸»                          Ð»®-±²å ±®
       ×²½»°¬·±² Ü¿¬» ¬± ¬¸» Û¨°·®¿¬·±² Ü¿¬» -¬¿¬»¼                   ø¾÷ -«½¸    -°±«-»ù-   ±®    Ü±³»-¬·½
       ·² ×¬»³ í ±º ¬¸» Ü»½´¿®¿¬·±²- ±® ¿²§ »¿®´·»®                       Ð¿®¬²»®­ ±©²»®-¸·° ±º °®±°»®¬§
       ½¿²½»´´¿¬·±² ¼¿¬»ò
                                                                          -±«¹¸¬ ¿- ®»½±ª»®§ º±® ¿ É®±²¹º«´
   øÌ÷ •Ð±´´«¬¿²¬- ³»¿²­ ¿²§ ­±´·¼ô ´·¯«·¼ô                              ß½¬å
       ¹¿-»±«- ±® ¬¸»®³¿´ ·®®·¬¿²¬ ±® ½±²¬¿³·²¿²¬ô
                                                                  øî÷ ¬¸» ×²-«®»¼ Ð»®-±² ·- ²¿³»¼ ·² -«½¸
       ·²½´«¼·²¹ -³±µ»ô ª¿°±®ô -±±¬ô º«³»-ô ¿½·¼-ô
                                                                      Ý´¿·³ ¬±¹»¬¸»® ©·¬¸ ¬¸» -°±«-» ±®
       ¿´µ¿´·-ô ½¸»³·½¿´-ô ±¼±®-ô ²±·-»ô ´»¿¼ô ±·´ ±®
                                                                      Ü±³»-¬·½ Ð¿®¬²»®å ¿²¼
       ±·´ °®±¼«½¬ô ®¿¼·¿¬·±²ô ¿-¾»-¬±- ±® ¿-¾»-¬±-ó
       ½±²¬¿·²·²¹ °®±¼«½¬ô ©¿-¬»ô ¿²§ »´»½¬®·½ô                   øí÷ ½±ª»®¿¹» ±º ¬¸» -°±«-» ±® Ü±³»-¬·½
       ³¿¹²»¬·½ ±® »´»½¬®±³¿¹²»¬·½ º·»´¼ ±º ¿²§                       Ð¿®¬²»® -¸¿´´ ¾» ±² ¬¸» -¿³» ¬»®³- ¿²¼
       º®»¯«»²½§ ±® ¿²§ ±¬¸»® ³¿¬»®·¿´ ©¸·½¸                          ½±²¼·¬·±²-ô ·²½´«¼·²¹ ¿²§ ¿°°´·½¿¾´»
       ¬¸®»¿¬»²- ¸«³¿² ¸»¿´¬¸ ±® ©»´º¿®»ò É¿-¬»                       Î»¬»²¬·±²ô ¬¸¿¬ ¿°°´§ ¬± ½±ª»®¿¹» ±º ¬¸»
       ·²½´«¼»-     ³¿¬»®·¿´-     ¬±   ¾»    ®»½§½´»¼ô                ×²-«®»¼ Ð»®-±² º±® -«½¸ Ý´¿·³ò
       ®»½±²¼·¬·±²»¼ ±® ®»½´¿·³»¼ò Ð±´´«¬¿²¬- ¿´-±                Ò± ½±ª»®¿¹» -¸¿´´ ¿°°´§ ¬± ¿²§ Ý´¿·³ º±® ¿
       ³»¿²- ¿²§ -«¾-¬¿²½» ·¼»²¬·º·»¼ ±² ¿ ´·-¬ ±º                É®±²¹º«´ ß½¬ ±º -«½¸ -°±«-» ±® Ü±³»-¬·½
       ¸¿¦¿®¼±«- -«¾-¬¿²½»- ·--«»¼ ¾§ ¿²§ º»¼»®¿´                 Ð¿®¬²»®ò
       ¿¹»²½§     ø·²½´«¼·²¹     ¬¸»    Û²ª·®±²³»²¬¿´
       Ð®±¬»½¬·±² ß¹»²½§÷ ±® ¿²§ -¬¿¬»ô ½±«²¬§ô               øÞ÷ Û-¬¿¬»- ¿²¼ Ô»¹¿´ Î»°®»-»²¬¿¬·ª»-
       ³«²·½·°¿´·¬§ ±® ´±½¿´·¬§ ±® ½±«²¬»®°¿®¬ ¬¸»®»±ºô           ×² ¬¸» »ª»²¬ ±º ¬¸» ¼»¿¬¸ô ·²½¿°¿½·¬§ ±®
       ±® ¿²§ º±®»·¹² »¯«·ª¿´»²¬ ¬¸»®»±ºò                         ¾¿²µ®«°¬½§ ±º ¿² ×²-«®»¼ Ð»®-±²ô ¿²§
   øË÷ •É¿¹» ¿²¼ Ø±«® Ê·±´¿¬·±² ³»¿²­ ¿²§                        Ý´¿·³ ³¿¼» ¿¹¿·²-¬ ¬¸» »-¬¿¬»ô ¸»·®-ô ´»¹¿´
       ¿½¬«¿´ ±® ¿´´»¹»¼ ª·±´¿¬·±² ±º ¬¸» ¼«¬·»- ¿²¼              ®»°®»-»²¬¿¬·ª»- ±® ¿--·¹²- ±º -«½¸ ×²-«®»¼
       ®»-°±²-·¾·´·¬·»- ¬¸¿¬ ¿®» ·³°±-»¼ «°±² ¿²                  Ð»®-±² º±® ¿ É®±²¹º«´ ß½¬ ±º -«½¸ ×²-«®»¼
       ×²-«®»¼ ¾§ ¿²§ º»¼»®¿´ô -¬¿¬» ±® ´±½¿´ ´¿© ±®              Ð»®-±² -¸¿´´ ¾» ¼»»³»¼ ¬± ¾» ¿ Ý´¿·³
       ®»¹«´¿¬·±² ¿²§©¸»®» ·² ¬¸» ©±®´¼ô ·²½´«¼·²¹                ³¿¼» ¿¹¿·²-¬ -«½¸ ×²-«®»¼ Ð»®-±²ò Ò±
       ¬¸» Ú¿·® Ô¿¾±® Í¬¿²¼¿®¼- ß½¬ ±® ¿²§ -·³·´¿®                ½±ª»®¿¹» -¸¿´´ ¿°°´§ ¬± ¿²§ Ý´¿·³ º±® ¿
       ´¿© ø»¨½»°¬ ¬¸» Û¯«¿´ Ð¿§ ß½¬÷ô ¬¸¿¬ ¹±ª»®²-               É®±²¹º«´ ß½¬ ±º -«½¸ »-¬¿¬»ô ¸»·®-ô ´»¹¿´
       ©¿¹»ô ¸±«® ¿²¼ °¿§®±´´ °®¿½¬·½»-ò Í«½¸                     ®»°®»-»²¬¿¬·ª»- ±® ¿--·¹²-ò
       °®¿½¬·½»- ·²½´«¼»æ                                  ×Êò Ô×Ó×Ì ÑÚ Ô×ßÞ×Ô×ÌÇ
       øï÷ ¬¸» ½¿´½«´¿¬·±² ¿²¼ °¿§³»²¬ ±º ©¿¹»-ô              øß÷ Ì¸» Û¿½¸ Ý´¿·³ Ý±³¾·²»¼ Ô·³·¬ ±º Ô·¿¾·´·¬§
           ±ª»®¬·³» ©¿¹»-ô ³·²·³«³ ©¿¹»- ¿²¼                      -¬¿¬»¼ ·² ×¬»³ ë ±º ¬¸» Ü»½´¿®¿¬·±²- -¸¿´´ ¾»
           °®»ª¿·´·²¹ ©¿¹» ®¿¬»-å                                 ¬¸» ³¿¨·³«³ ¿³±«²¬ ¬¸¿¬ ©» -¸¿´´ °¿§
       øî÷ ¬¸» ½¿´½«´¿¬·±² ¿²¼ °¿§³»²¬ ±º ¾»²»º·¬-å               «²¼»® ¿´´ ·²½´«¼»¼ Ý±ª»®¿¹» Ð¿®¬- º±® ¿´´
       øí÷ ¬¸» ½´¿--·º·½¿¬·±² ±º ¿²§ °»®-±² ±®                    Ü¿³¿¹»- º®±³ ¿²§ Ý´¿·³ ½±ª»®»¼ «²¼»®
           ±®¹¿²·¦¿¬·±² º±® ©¿¹» ¿²¼ ¸±«®                         ±²» ±® ³±®» Ý±ª»®¿¹» Ð¿®¬ø-÷ò
           °«®°±-»-å                                          øÞ÷ Ì¸» Ý±³¾·²»¼ ß¹¹®»¹¿¬» Ô·³·¬ ±º Ô·¿¾·´·¬§
       øì÷ ®»·³¾«®-»³»²¬ ±º ¾«-·²»-- »¨°»²-»-å                    º±® ß´´ Ý±ª»®¿¹» Ð¿®¬- ø¬¸» •Ý±³¾·²»¼
                                                                  ß¹¹®»¹¿¬» Ô·³·¬÷ ·² ×¬»³ ë ±º ¬¸»
       øë÷ ¬¸» «-» ±º ½¸·´¼ ´¿¾±®å
                                                                  Ü»½´¿®¿¬·±²- -¸¿´´ ¾» ¬¸» ³¿¨·³«³
       øê÷ ¹¿®²·-¸³»²¬-ô ©·¬¸¸±´¼·²¹- ¿²¼ ±¬¸»®                   ¿¹¹®»¹¿¬» ¿³±«²¬ ¬¸¿¬ ©» -¸¿´´ °¿§ º±® ¿´´
           ¼»¼«½¬·±²- º®±³ ©¿¹»-å ±®                              Ü¿³¿¹»- º®±³ ¿´´ Ý´¿·³- ½±ª»®»¼ «²¼»® ¿´´
       øé÷ ³»¿´ô ¾®»¿µ ¿²¼ ®»-¬ °»®·±¼-ò                          ·²½´«¼»¼ Ý±ª»®¿¹» Ð¿®¬- ¼«®·²¹ ¬¸» Ð±´·½§
   øÊ÷ •É®±²¹º«´ ß½¬ ­¸¿´´ ¸¿ª» ¬¸» ³»¿²·²¹                      Ð»®·±¼ò
       -°»½·º·»¼ º±® -«½¸ ¬»®³ ·² »¿½¸ Ý±ª»®¿¹»               øÝ÷ É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-ô
       Ð¿®¬ò                                                      Ü»º»²-» Ý±-¬- -¸¿´´ ¾» ·² ¿¼¼·¬·±² ¬± »¿½¸
×××ò ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍ                                          ¿°°´·½¿¾´» Ô·³·¬ ±º Ô·¿¾·´·¬§ò ×º ¬¸» Ý±³¾·²»¼
                                                                  ß¹¹®»¹¿¬» Ô·³·¬ ·- »¨¸¿«-¬»¼ ¾§ ¬¸»
   øß÷ Í°±«-¿´ñÜ±³»-¬·½ Ð¿®¬²»® Ô·¿¾·´·¬§                         °¿§³»²¬ ±º Ü¿³¿¹»-ô ¬¸» °®»³·«³ º±® ¬¸»
       Ý±ª»®¿¹» -¸¿´´ ¿°°´§ ¬± ¬¸» ´¿©º«´ -°±«-» ±®               Ð±´·½§ -¸¿´´ ¾» ¼»»³»¼ º«´´§ »¿®²»¼ ¿²¼ ©»
       Ü±³»-¬·½ Ð¿®¬²»® ±º ¿² ×²-«®»¼ Ð»®-±² º±®                  ©·´´ ¸¿ª» ²± º«®¬¸»® ±¾´·¹¿¬·±² «²¼»® ¬¸·-
                                                                  Ð±´·½§ò


      Case
Ú±®³ ØÙ     3:24-cv-00490-FDW-SCR
        ðð ðë ðí ïë                              Document 1-4 Filed 05/21/24 Page 270 ofÐ¿¹»
                                                                                         579í ±º é
Êò ÎÛÌÛÒÌ×ÑÒ                                              øÞ÷ ×º ©» ¸¿ª» ¬¸» ¼«¬§ ¬± ¼»º»²¼ ¿ Ý´¿·³ô ±«®
  É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-æ                         ¼«¬§ ¬± ¼»º»²¼ -«½¸ Ý´¿·³ -¸¿´´ ½»¿-» «°±²
                                                              »¨¸¿«-¬·±² ±º ¿²§ ¿°°´·½¿¾´» Ô·³·¬ ±º
  øß÷ É» -¸¿´´ °¿§ Ô±-- ·² »¨½»-- ±º ¬¸»                      Ô·¿¾·´·¬§ò
      Î»¬»²¬·±² ¿°°´·½¿¾´» ¬± »¿½¸ Ý´¿·³ ¿-
      -°»½·º·»¼ ·² ×¬»³ ë ±º ¬¸» Ü»½´¿®¿¬·±²-ò            øÝ÷ ×º ©» ¸¿ª» ¬¸» ¼«¬§ ¬± ¼»º»²¼ ¿ Ý´¿·³ô ©»
                                                              ¸¿ª» ¬¸» ®·¹¸¬ ¬± -»´»½¬ ¯«¿´·º·»¼ ´»¹¿´
  øÞ÷ ß´´ Î»¬»²¬·±²- -¸¿´´ ¾» ¿--«³»¼ ¾§ ¬¸»                  ½±«²-»´ ¬± ¼»º»²¼ ¿ Ý´¿·³ ½±ª»®»¼ «²¼»®
      ×²-«®»¼- ¿¬ ¬¸»·® ±©² ®·-µ ¿²¼ -¸¿´´ ²±¬ ¾»             ¬¸» Ð±´·½§ ¿²¼ô «°±² ¬¸» ×²-«®»¼ù- ®»¯«»-¬ô
      ·²-«®»¼å ¸±©»ª»®ô ·² ¬¸» »ª»²¬ ¬¸¿¬ ©»                  ©» ³¿§ ½±²-«´¬ ©·¬¸ ¬¸» ×²-«®»¼ ®»¹¿®¼·²¹
      ½¸±±-»ô ·² ±«® -±´» ¼·-½®»¬·±²ô ¬± °¿§ ¿´´ ±®           -«½¸ -»´»½¬·±² ±º ½±«²-»´ò
      ¿²§ °±®¬·±² ±º ¿ Î»¬»²¬·±² ±² ¾»¸¿´º ±º ¿²§
      ×²-«®»¼ô ¬¸» ×²-«®»¼- -¸¿´´ ®»·³¾«®-» «- º±®        øÜ÷ Ì¸» ×²-«®»¼- -¸¿´´ ²±¬ ¿¼³·¬ ±® ¿--«³» ¿²§
      -«½¸ ¿³±«²¬- «°±² ®»¯«»-¬ò                              ´·¿¾·´·¬§ô ³¿µ» ¿²§ -»¬¬´»³»²¬ ±ºº»® ±® »²¬»®
                                                              ·²¬± ¿²§ -»¬¬´»³»²¬ ¿¹®»»³»²¬ô -¬·°«´¿¬» ¬±
  øÝ÷ Ì¸» Î»¬»²¬·±² -¸¿´´ ¿°°´§ ¬± Ü¿³¿¹»- ¿²¼                ¿²§ ¶«¼¹³»²¬ô ±® ·²½«® ¿²§ Ü»º»²-» Ý±-¬-
      Ü»º»²-» Ý±-¬- ½±ª»®»¼ «²¼»® ¬¸·- Ð±´·½§ô                ®»¹¿®¼·²¹ ¿²§ Ý´¿·³ ©·¬¸±«¬ ±«® °®·±® ©®·¬¬»²
      °®±ª·¼»¼ ¬¸¿¬ ·º ¿²§ Ü»º»²-» Ý±-¬- ¿®»                  ½±²-»²¬ô -«½¸ ½±²-»²¬ ²±¬ ¬± ¾»
      ·²½«®®»¼ ¾§ «- °®·±® ¬± ¬¸» ×²­«®»¼­                   «²®»¿-±²¿¾´§ ©·¬¸¸»´¼å °®±ª·¼»¼ ¬¸¿¬ ©»
      ½±³°´»¬» °¿§³»²¬ ±º ¬¸» Î»¬»²¬·±²ô ¬¸»² ¬¸»             -¸¿´´ ²±¬ ¾» ´·¿¾´» º±® ¿²§ ¿¼³·--·±²ô
      ×²-«®»¼- -¸¿´´ ®»·³¾«®-» «- º±® -«½¸                    ¿--«³°¬·±²ô -»¬¬´»³»²¬ ±ºº»® ±® ¿¹®»»³»²¬ô
      Ü»º»²-» Ý±-¬- «°±² ®»¯«»-¬ò                             -¬·°«´¿¬·±²ô ±® Ü»º»²-» Ý±-¬- ¬± ©¸·½¸ ©»
  øÜ÷ ×º ¼·ºº»®»²¬ °¿®¬- ±º ¿ -·²¹´» Ý´¿·³ ¿®»                ¸¿ª» ²±¬ ½±²-»²¬»¼ò
      -«¾¶»½¬ ¬± ¼·ºº»®»²¬ Î»¬»²¬·±²- ·² ¼·ºº»®»²¬        øÛ÷ É» -¸¿´´ ¸¿ª» ¬¸» ®·¹¸¬ ¬± ¾» ·²ª±´ª»¼ ·² ¬¸»
      Ý±ª»®¿¹» Ð¿®¬-ô ¬¸» ¿°°´·½¿¾´» Î»¬»²¬·±²-               ¼»º»²-» ¿²¼ -»¬¬´»³»²¬ ±º ¿²§ Ý´¿·³ ¬¸¿¬
      ©·´´ ¾» ¿°°´·»¼ -»°¿®¿¬»´§ ¬± »¿½¸ °¿®¬ ±º              ¿°°»¿®- ®»¿-±²¿¾´§ ´·µ»´§ ¬± ·²ª±´ª» ¬¸·-
      -«½¸ Ý´¿·³ô ¾«¬ ¬¸» -«³ ±º -«½¸ ®»¬»²¬·±²-              Ð±´·½§ô ³¿µ» ¿²§ ·²ª»-¬·¹¿¬·±² ©» ¼»»³
      -¸¿´´ ²±¬ »¨½»»¼ ¬¸» ´¿®¹»-¬ ¿°°´·½¿¾´»                 ¿°°®±°®·¿¬» ·² ½±²²»½¬·±² ©·¬¸ ¿²§ Ý´¿·³ô
      Î»¬»²¬·±²ò                                              ¿²¼ô ©·¬¸ ¬¸» ©®·¬¬»² ½±²-»²¬ ±º ¬¸»
  øÛ÷ Ò± Î»¬»²¬·±² -¸¿´´ ¿°°´§ ¬± Ô±-- ·²½«®®»¼ ¾§            ×²-«®»¼-ô -»¬¬´» ¿²§ Ý´¿·³ º±® ¿ ³±²»¬¿®§
      ¿²§ ×²-«®»¼ Ð»®-±² ¬¸¿¬ ¿² ×²-«®»¼ Û²¬·¬§               ¿³±«²¬ ¬¸¿¬ ©» ¼»»³ ®»¿-±²¿¾´»ò
      ·- ²±¬ °»®³·¬¬»¼ ¾§ ½±³³±² ±® -¬¿¬«¬±®§ ´¿©         øÚ÷ ×² ¬¸» »ª»²¬ ¬¸¿¬ ¬¸» ×²-«®»¼- ®»º«-» ¬±
      ¬± ·²¼»³²·º§ô ±® ·- °»®³·¬¬»¼ ±® ®»¯«·®»¼ ¬±            ½±²-»²¬ ¬± ¿²§ ®»¿-±²¿¾´» -»¬¬´»³»²¬ ©»
      ·²¼»³²·º§ô ¾«¬ ·- ²±¬ ¿¾´» ¬± ¼± -±´»´§ ¾§              ®»½±³³»²¼ ¿²¼ -«½¸ -»¬¬´»³»²¬ ·-
      ®»¿-±² ±º Ú·²¿²½·¿´ ×²-±´ª»²½§ò                         ¿½½»°¬¿¾´» ¬± ¬¸» ½´¿·³¿²¬ô ±«® ´·¿¾·´·¬§ ©·´´ ¾»
  øÚ÷ ×º ¿² ×²-«®»¼ Û²¬·¬§ ·- °»®³·¬¬»¼ ±® ®»¯«·®»¼           ´·³·¬»¼ ¬± ¬¸» ¿³±«²¬ ±º Ü¿³¿¹»- º±® ©¸·½¸
      ¾§ ½±³³±² ±® -¬¿¬«¬±®§ ´¿© ¬± ·²¼»³²·º§ ¿²              ¬¸» Ý´¿·³ ½±«´¼ ¸¿ª» ¾»»² -»¬¬´»¼ °´«-
      ×²-«®»¼ Ð»®-±² º±® ¿²§ Ü¿³¿¹»-ô ±® ¬±                   Ü»º»²-» Ý±-¬- ·²½«®®»¼ «° ¬± ¬¸» ¼¿¬» ¬¸»
      ¿¼ª¿²½» Ü»º»²-» Ý±-¬- ±² ¸·- ±® ¸»®                     ×²-«®»¼- ®»º«-»¼ ¬± -»¬¬´» -«½¸ Ý´¿·³ ø¬¸»
      ¾»¸¿´ºô ¿²¼ ¼±»- ²±¬ ¼± -± ±¬¸»® ¬¸¿²                   Í»¬¬´»³»²¬ ß³±«²¬÷ô ¿²¼ ©» ­¸¿´´ ¿´­±
      ¾»½¿«-» ±º Ú·²¿²½·¿´ ×²-±´ª»²½§ô ¬¸»² -«½¸              ¸¿ª» ¬¸» ®·¹¸¬ ¬± ®»·³¾«®-»³»²¬ ±º ¿²§
      ×²-«®»¼ Û²¬·¬§ ¿²¼ ¬¸» Ò¿³»¼ Û²¬·¬§ -¸¿´´               Ü»º»²-» Ý±-¬- ©» °¿§ ·² ½±²²»½¬·±² ©·¬¸
      ®»·³¾«®-» ¿²¼ ¸±´¼ «- ¸¿®³´»-- º±® ±«®                  ¬¸» Ý´¿·³ ±² ¾»¸¿´º ±º ¬¸» ×²-«®»¼ ¿º¬»® ¬¸»
      °¿§³»²¬ ±® ¿¼ª¿²½»³»²¬ ±º -«½¸ Ü¿³¿¹»-                  ¼¿¬» ±º -«½¸ ®»º«-¿´ò
      ±® Ü»º»²-» Ý±-¬- «° ¬± ¬¸» ¿³±«²¬ ±º ¬¸»            øÙ÷ Ì¸» ×²-«®»¼- -¸¿´´ ¹·ª» ¬± «- ¿´´ ·²º±®³¿¬·±²ô
      Î»¬»²¬·±² ¬¸¿¬ ©±«´¼ ¸¿ª» ¿°°´·»¼ ·º -«½¸               ¿--·-¬¿²½» ¿²¼ ½±±°»®¿¬·±² ¿- ©» ³¿§
      ·²¼»³²·º·½¿¬·±² ¸¿¼ ¾»»² ³¿¼»ò                          ®»¿-±²¿¾´§ ®»¯«»-¬ò
Ê×ò ÜÛÚÛÒÍÛ ßÒÜ ÍÛÌÌÔÛÓÛÒÌ                                øØ÷ É·¬¸ ®»-°»½¬ ¬± ¿ Ý´¿·³ ½±ª»®»¼ ·² ©¸±´» ±®
  É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-æ                         ·² °¿®¬ º±® ©¸·½¸ ©» ¼± ²±¬ ¸¿ª» ¬¸» ¼«¬§ ¬±
                                                              ¼»º»²¼ô ©» -¸¿´´ ¿¼ª¿²½» Ü»º»²-» Ý±-¬- ·²
  øß÷ É» -¸¿´´ ¸¿ª» ¬¸» ®·¹¸¬ ¿²¼ ¼«¬§ ¬± ¼»º»²¼
                                                              ¿½½±®¼¿²½» ©·¬¸ Í»½¬·±² ×È ßÔÔÑÝßÌ×ÑÒ
      Ý´¿·³- ½±ª»®»¼ «²¼»® ¬¸·- Ð±´·½§ô »ª»² ·º
                                                              øÞ÷ ¬¸¿¬ ©» ¾»´·»ª» ¬± ¾» ½±ª»®»¼ «²¼»® ¬¸·-
      -«½¸ Ý´¿·³ ·- ¹®±«²¼´»--ô º¿´-» ±®
                                                              Ð±´·½§ «²¬·´ ¿ ¼·ºº»®»²¬ ¿´´±½¿¬·±² ·-
      º®¿«¼«´»²¬ô °®±ª·¼»¼ ¬¸¿¬æ
                                                              ²»¹±¬·¿¬»¼ô     ¿®¾·¬®¿¬»¼   ±®    ¶«¼·½·¿´´§
      øï÷ ¬¸» ×²-«®»¼- ¹·ª» ²±¬·½» ¬± «- ·²                   ¼»¬»®³·²»¼ò
          ¿½½±®¼¿²½»   ©·¬¸     ¬¸»    ¿°°´·½¿¾´»
                                                          Ú±® ¿²§ Ý´¿·³ ·²ª±´ª·²¹ ¿´´»¹¿¬·±²-ô ·² ©¸±´» ±®
          Ý±ª»®¿¹» Ð¿®¬­ ²±¬·½» °®±ª·-·±²-å ¿²¼
                                                          ·² °¿®¬ô ±º ¿ É¿¹» ¿²¼ Ø±«® Ê·±´¿¬·±²ô ·¬ -¸¿´´
      øî÷ -«½¸ Ý´¿·³ ¼±»- ²±¬ ·²ª±´ª» ¿´´»¹¿¬·±²-ô        ¾» ¬¸» ¼«¬§ ±º ¬¸» ×²-«®»¼-ô ¿²¼ ²±¬ ±«® ¼«¬§ô ¬±
          ·² ©¸±´» ±® ·² °¿®¬ô ±º ¿ É¿¹» ¿²¼ Ø±«®         ¼»º»²¼ -«½¸ Ý´¿·³ò
          Ê·±´¿¬·±²ò

Ð¿¹» ì Case
       ±º é 3:24-cv-00490-FDW-SCR            Document 1-4 Filed 05/21/24 Page 271
                                                                           Ú±®³ ØÙofðð579
                                                                                       ðë ðí ïë
Ê××ò ÛÈÌÛÒÜÛÜ ÎÛÐÑÎÌ×ÒÙ ÐÛÎ×ÑÜ                                    ³¿¼» ¼«®·²¹ -«½¸ Û¨¬»²¼»¼ Î»°±®¬·²¹
   É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-ô ¬¸» º±´´±©·²¹              Ð»®·±¼ º±® É®±²¹º«´ ß½¬- ±½½«®®·²¹ ¿º¬»®
   ¿°°´·»- ·º ¿²§ Ý±ª»®¿¹» Ð¿®¬ ·- ½¿²½»´´»¼ ±®                   ¿²§ ¿°°´·½¿¾´» Î»¬®±¿½¬·ª» Ü¿¬» ¿²¼ °®·±® ¬±
   ²±²®»²»©»¼ º±® ¿²§ ®»¿-±² ±¬¸»® ¬¸¿² ²±²ó                      ¬¸» »¿®´·»® ±º ¬¸» »²¼ ±º ¬¸» Ð±´·½§ Ð»®·±¼ ±®
   °¿§³»²¬ ±º °®»³·«³ò                                            ¬¸» »ºº»½¬·ª» ¼¿¬» ±º ¿²§ ½¿²½»´´¿¬·±²ô
                                                                  ²±²®»²»©¿´ ±® ¿²§ ¬®¿²-¿½¬·±² ¼»-½®·¾»¼ ·²
   øß÷ Ì¸» ×²-«®»¼- -¸¿´´ ¸¿ª» ¿² ¿«¬±³¿¬·½ ²·²»¬§                Í»½¬·±² È× ÝØßÒÙÛÍ ×Ò ÛÈÐÑÍËÎÛô øÞ÷
       øçð÷ ¼¿§ »¨¬»²-·±² ±º ¬·³» º±´´±©·²¹ ¬¸»                   Ì¿µ»±ª»® ±º Ò¿³»¼ Û²¬·¬§ò Ò± ½±ª»®¿¹»
       »ºº»½¬·ª» ¼¿¬» ±º ½¿²½»´´¿¬·±² ±® ²±²®»²»©¿´               -¸¿´´ ¿°°´§ º±® ¿²§ É®±²¹º«´ ß½¬ ±½½«®®·²¹
       ¬± ®»°±®¬ Ý´¿·³- «²¼»® -«½¸ Ý±ª»®¿¹» Ð¿®¬                  ¿º¬»® -«½¸ ¬·³»ò
       ø¬¸» Þ¿­·½ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼÷ò
       Ì¸» Þ¿-·½ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ ¼±»-               øÜ÷ Ì¸»®» ·- ²± -»°¿®¿¬» ±® ¿¼¼·¬·±²¿´ Ô·³·¬ ±º
       ²±¬ ¿°°´§ ¬± Ý´¿·³- ¬¸¿¬ ¿®» ½±ª»®»¼ «²¼»®                 Ô·¿¾·´·¬§ º±® ¿²§ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ò
       ¿²§ -«¾-»¯«»²¬ ·²-«®¿²½» §±« °«®½¸¿-» ±®            Ê×××ò ×ÒÌÛÎÎÛÔßÌ×ÑÒÍØ×Ð ÑÚ ÝÔß×ÓÍ
       ¬¸¿¬ ©±«´¼ ¾» ½±ª»®»¼ ¾«¬ º±® »¨¸¿«-¬·±² ±º            É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-æ
       ¿²§ ¿°°´·½¿¾´» Ô·³·¬ ±º Ô·¿¾·´·¬§ ±º ¬¸·- Ð±´·½§ò
                                                              ß´´ Ý´¿·³- ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ ±® ·² ¿²§
   øÞ÷ Ì¸» ×²-«®»¼- -¸¿´´ ¿´-± ¸¿ª» ¬¸» ®·¹¸¬ ¬±              ©¿§ ®»´¿¬»¼ ¬± ¬¸» -¿³» É®±²¹º«´ ß½¬ ±®
       »´»½¬ ¿² ¿¼¼·¬·±²¿´ »¨¬»²-·±² ±º ¬·³» ¬± ®»°±®¬        ×²¬»®®»´¿¬»¼ É®±²¹º«´ ß½¬- -¸¿´´ ¾» ¼»»³»¼ ¬±
       Ý´¿·³- «²¼»® -«½¸ Ý±ª»®¿¹» Ð¿®¬ ø¬¸»                   ¾» ¿ -·²¹´» Ý´¿·³ º±® ¿´´ °«®°±-»- «²¼»® ¬¸·-
       Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼÷              Ð±´·½§ô º·®-¬ ³¿¼» ±² ¬¸» »¿®´·»-¬ ¼¿¬» ¬¸¿¬æ
       ¾§ »²¼±®-»³»²¬ ¬± ¬¸·- Ð±´·½§ ¿²¼ º±® ¿²
       ¿¼¼·¬·±²¿´ °®»³·«³ò                                    øß÷ ¿²§ ±º -«½¸ Ý´¿·³- ©¿- º·®-¬ ³¿¼»ô
                                                                  ®»¹¿®¼´»-- ±º ©¸»¬¸»® -«½¸ ¼¿¬» ·- ¾»º±®» ±®
       øï÷ Ì± »´»½¬ ¬¸» Í«°°´»³»²¬¿´ Û¨¬»²¼»¼                     ¼«®·²¹ ¬¸» Ð±´·½§ Ð»®·±¼å
           Î»°±®¬·²¹ Ð»®·±¼ô ¬¸» ×²-«®»¼- -¸¿´´
           -»²¼ ¿ ©®·¬¬»² ²±¬·½» ±º »´»½¬·±² ±º ¬¸»           øÞ÷ ²±¬·½» ±º ¿²§ É®±²¹º«´ ß½¬ ¼»-½®·¾»¼ ¿¾±ª»
           Í«°°´»³»²¬¿´      Û¨¬»²¼»¼      Î»°±®¬·²¹              ©¿- ¹·ª»² ¬± «- «²¼»® ¬¸·- Ð±´·½§ °«®-«¿²¬ ¬±
           Ð»®·±¼ ¬± «- ¬±¹»¬¸»® ©·¬¸ ¬¸» °®»³·«³                 ¬¸» ÒÑÌ×ÝÛ ÑÚ ÝÔß×Ó -»½¬·±² ·² ¿²§
           ¬¸»®»º±®ò ×º ¬¸» ×²-«®»¼- °«®½¸¿-» ¿                   ¿°°´·½¿¾´» Ý±ª»®¿¹» Ð¿®¬å ±®
           Í«°°´»³»²¬¿´      Û¨¬»²¼»¼      Î»°±®¬·²¹          øÝ÷ ²±¬·½» ±º ¿²§ É®±²¹º«´ ß½¬ ¼»-½®·¾»¼ ¿¾±ª»
           Ð»®·±¼ º±® ³«´¬·°´» Ý±ª»®¿¹» Ð¿®¬-ô ¬¸»                ©¿- ¹·ª»² «²¼»® ¿²§ °®·±® ·²-«®¿²½» °±´·½§ò
           -¿³» °»®·±¼ ±º ¬·³» ³«-¬ ¾» »´»½¬»¼ º±®         ×Èò ßÔÔÑÝßÌ×ÑÒ
           ¿´´ Ý±ª»®¿¹» Ð¿®¬- ·²½´«¼»¼ ·² -«½¸
           °«®½¸¿-»ò      Ì¸» ®·¹¸¬ ¬± »´»½¬ ¬¸»              É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-æ
           Í«°°´»³»²¬¿´      Û¨¬»²¼»¼      Î»°±®¬·²¹          É¸»®» ×²-«®»¼- ¬¸¿¬ ¿®» ¿ºº±®¼»¼ ½±ª»®¿¹» º±®
           Ð»®·±¼ -¸¿´´ »²¼ «²´»-- ©» ®»½»·ª» -«½¸            ¿ Ý´¿·³ ·²½«® ¿² ¿³±«²¬ ½±²-·-¬·²¹ ±º ¾±¬¸ Ô±--
           ©®·¬¬»² ²±¬·½» ¿²¼ °®»³·«³ ©·¬¸·² -·¨¬§            ¬¸¿¬ ·- ½±ª»®»¼ ¾§ ¬¸·- Ð±´·½§ ¿²¼ ¿´-± ´±-- ¬¸¿¬ ·-
           øêð÷ ¼¿§- ±º ¬¸» »ºº»½¬·ª» ¼¿¬» ±º                 ²±¬ ½±ª»®»¼ ¾§ ¬¸·- Ð±´·½§ ¾»½¿«-» -«½¸ Ý´¿·³
           ½¿²½»´´¿¬·±² ±® ²±²®»²»©¿´ò Ì¸»®» -¸¿´´            ·²½´«¼»- ¾±¬¸ ½±ª»®»¼ ¿²¼ «²½±ª»®»¼ ³¿¬¬»®-ô
           ¾» ²± ®·¹¸¬ ¬± »´»½¬ ¬¸» Í«°°´»³»²¬¿´              ¬¸»² ½±ª»®¿¹» -¸¿´´ ¿°°´§ ¿- º±´´±©-æ
           Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ ¿º¬»® -«½¸
                                                              øß÷ É·¬¸ ®»-°»½¬ ¬± ¿ ½±ª»®»¼ Ý´¿·³ º±® ©¸·½¸
           ¬·³»ò
                                                                  ©» ¸¿ª» ¬¸» ¼«¬§ ¬± ¼»º»²¼æ
       øî÷ Ì¸» °®»³·«³ º±® ¬¸» Í«°°´»³»²¬¿´
           Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ -¸¿´´ ¾» ¬¸¿¬                øï÷ ïððû ±º ¬¸» ×²­«®»¼­ Ü»º»²­» Ý±­¬­
           °»®½»²¬¿¹» -°»½·º·»¼ ·² ×¬»³ ê ±º ¬¸»                      -¸¿´´ ¾» ¿´´±½¿¬»¼ ¬± ½±ª»®»¼ Ô±--å ¿²¼
           Ü»½´¿®¿¬·±²- ±º ¬¸» -«³ ±º ¬¸» ±®·¹·²¿´                øî÷ ¿´´ ±¬¸»® Ô±-- -¸¿´´ ¾» ¿´´±½¿¬»¼
           ¿²²«¿´ °®»³·«³ º±® -«½¸ Ý±ª»®¿¹»                           ¾»¬©»»² ½±ª»®»¼ Ô±-- ¿²¼ ²±²ó½±ª»®»¼
           Ð¿®¬ø-÷ °´«- ¬¸» ¿²²«¿´·¦»¼ ¿³±«²¬ ±º                      ´±-- ¾¿-»¼ «°±² ¬¸» ®»´¿¬·ª» ´»¹¿´
           ¿²§ ¿¼¼·¬·±²¿´ °®»³·«³ ½¸¿®¹»¼ ¾§ «-                       »¨°±-«®» ±º ¿´´ °¿®¬·»- ¬± -«½¸ ³¿¬¬»®-ò
           ¼«®·²¹ ¬¸» Ð±´·½§ Ð»®·±¼ º±® -«½¸                  øÞ÷ É·¬¸ ®»-°»½¬ ¬± ¿ ½±ª»®»¼ Ý´¿·³ º±® ©¸·½¸
           Ý±ª»®¿¹» Ð¿®¬ø-÷ò Í«½¸ °®»³·«³ -¸¿´´                   ©» ¼± ²±¬ ¸¿ª» ¬¸» ¼«¬§ ¬± ¼»º»²¼ô ¿´´
           ¾» ¼»»³»¼ º«´´§ »¿®²»¼ ¿¬ ¬¸» ·²½»°¬·±²                Ü¿³¿¹»- ¿²¼ Ü»º»²-» Ý±-¬- -¸¿´´ ¾»
           ±º ¬¸» Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹                 ¿´´±½¿¬»¼ ¾»¬©»»² ½±ª»®»¼ Ô±-- ¿²¼ ²±²ó
           Ð»®·±¼ò                                                ½±ª»®»¼ ´±-- ¾¿-»¼ «°±² ¬¸» ®»´¿¬·ª» ´»¹¿´
       øí÷ Ì¸» Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹                    »¨°±-«®» ±º ¿´´ °¿®¬·»- ¬± -«½¸ ³¿¬¬»®-ò
           Ð»®·±¼ -¸¿´´ ¾» º±® ¬¸» ¼«®¿¬·±² -°»½·º·»¼      Èò ÝßÒÝÛÔÔßÌ×ÑÒñÒÑÒÎÛÒÛÉßÔ
           ·² ×¬»³ ê ±º ¬¸» Ü»½´¿®¿¬·±²- º±´´±©·²¹
           ¬¸» »²¼ ±º ¬¸» Þ¿-·½ Û¨¬»²¼»¼ Î»°±®¬·²¹    øß÷ É» ³¿§ ½¿²½»´ ¬¸·- Ð±´·½§ º±® ²±²ó°¿§³»²¬
           Ð»®·±¼ò                                        ±º °®»³·«³ ¾§ -»²¼·²¹ ²±¬ ´»-- ¬¸¿² ¬»² øïð÷
                                                          ¼¿§-ù ©®·¬¬»² ²±¬·½» ¬± ¬¸» Ò¿³»¼ Û²¬·¬§ò
   øÝ÷ Ý±ª»®¿¹» ¼«®·²¹ ¿²§ ¿°°´·½¿¾´» Û¨¬»²¼»¼            Ì¸·- Ð±´·½§ ³¿§ ²±¬ ±¬¸»®©·-» ¾» ½¿²½»´´»¼
       Î»°±®¬·²¹ Ð»®·±¼ -¸¿´´ ¿°°´§ ¬± Ý´¿·³-             ¾§ «-ò
      Case
Ú±®³ ØÙ ðð ðë3:24-cv-00490-FDW-SCR
               ðí ïë                      Document 1-4 Filed 05/21/24 Page 272 ofÐ¿¹»     579ë ±º é
     øÞ÷ Û¨½»°¬ ¿- °®±ª·¼»¼ ·² Í»½¬·±² È× ÝØßÒÙÛÍ                   ®»¯«·®»¼ ¿²¼ ¼± »ª»®§¬¸·²¹ ²»½»--¿®§ ¬±
         ×Ò ÛÈÐÑÍËÎÛ øÞ÷ Ì¿µ»±ª»® ±º Ò¿³»¼                          -»½«®» ¿²¼ °®»-»®ª» -«½¸ ®·¹¸¬-ô ·²½´«¼·²¹
         Û²¬·¬§ô ¬¸» ×²-«®»¼- ³¿§ ½¿²½»´ ¬¸·- Ð±´·½§                ¬¸» »¨»½«¬·±² ±º ¿²§ ¼±½«³»²¬- ²»½»--¿®§
         ¾§ -»²¼·²¹ ©®·¬¬»² ²±¬·½» ±º ½¿²½»´´¿¬·±² ¬±               ¬± »²¿¾´» «- ¬± »ºº»½¬·ª»´§ ¾®·²¹ -«·¬ ·² ¬¸»
         «-ò Í«½¸ ²±¬·½» -¸¿´´ ¾» »ºº»½¬·ª» «°±² ±«®                ²¿³» ±º ¬¸» ×²-«®»¼-ò Ì¸» ×²-«®»¼- -¸¿´´
         ®»½»·°¬ «²´»-- ¿ ´¿¬»® ½¿²½»´´¿¬·±² ¬·³» ·-                ¼± ²±¬¸·²¹ ¬± °®»¶«¼·½» ±«® °±-·¬·±² ±® ¿²§
         -°»½·º·»¼ ¬¸»®»·²ò                                         °±¬»²¬·¿´ ±® ¿½¬«¿´ ®·¹¸¬- ±º ®»½±ª»®§ò
     øÝ÷ ×º ¬¸» ×²-«®»¼- ½¿²½»´ ¬¸·- Ð±´·½§ô «²»¿®²»¼           øÞ÷ É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-ô ©» -¸¿´´
         °®»³·«³ -¸¿´´ ¾» ½¿´½«´¿¬»¼ ¿¬ ±«®                         ²±¬ »¨»®½·-» ±«® ®·¹¸¬- ±º -«¾®±¹¿¬·±²
         ½«-¬±³¿®§ -¸±®¬ ®¿¬»-ò Ð¿§³»²¬ ±º ¿²§                      ¿¹¿·²-¬ ¿² ×²-«®»¼ Ð»®-±² «²¼»® ¬¸·- Ð±´·½§
         «²»¿®²»¼ °®»³·«³ -¸¿´´ ²±¬ ¾» ¿ ½±²¼·¬·±²                  «²´»-- -«½¸ ×²-«®»¼ Ð»®-±² ¸¿-æ
         °®»½»¼»²¬ ¬± ¬¸» »ºº»½¬·ª»²»-- ±º ¿                        øï÷ ±¾¬¿·²»¼         ¿²§      °»®-±²¿´      °®±º·¬ô
         ½¿²½»´´¿¬·±²ò É» -¸¿´´ ³¿µ» °¿§³»²¬ ±º ¿²§                      ®»³«²»®¿¬·±² ±® ¿¼ª¿²¬¿¹» ¬± ©¸·½¸
         «²»¿®²»¼ °®»³·«³ ¿- -±±² ¿- °®¿½¬·½¿¾´»ò                        -«½¸ ×²-«®»¼ Ð»®-±² ©¿- ²±¬ ´»¹¿´´§
     øÜ÷ É» ©·´´ ²±¬ ¾» ®»¯«·®»¼ ¬± ®»²»© ¬¸·- Ð±´·½§                    »²¬·¬´»¼ô ±®
         «°±² ·¬- »¨°·®¿¬·±²ò É» ©·´´ °®±ª·¼» ¬¸»                   øî÷ ½±³³·¬¬»¼ ¿ ½®·³·²¿´ ±® ¼»´·¾»®¿¬»´§
         Ò¿³»¼ Û²¬·¬§ ©·¬¸ ¬¸·®¬§ øíð÷ ¼¿§­ ©®·¬¬»²                     º®¿«¼«´»²¬ ¿½¬ ±® ±³·--·±² ±® ¿²§ ©·´´º«´
         ²±¬·½» ±º ¿²§ ²±²®»²»©¿´ò É» ³¿§ »¨¬»²¼                         ª·±´¿¬·±² ±º ´¿©å
         §±«® Ð±´·½§ Ð»®·±¼ ¬± ¿½½±³³±¼¿¬» ¬¸·-
                                                                    ·º ¿ ¶«¼¹³»²¬ ±® ±¬¸»® º·²¿´ ¿¼¶«¼·½¿¬·±²
         ²±¬·½» °»®·±¼ò
                                                                    »-¬¿¾´·-¸»-        -«½¸       °»®-±²¿´      °®±º·¬ô
È×ò ÝØßÒÙÛÍ ×Ò ÛÈÐÑÍËÎÛ                                             ®»³«²»®¿¬·±²ô ¿¼ª¿²¬¿¹»ô ¿½¬ô ±³·--·±²ô ±®
     É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-æ                            ª·±´¿¬·±²ò
     øß÷ Ó»®¹»®-ô ß½¯«·-·¬·±²- ±® Ý®»¿¬»¼ Û²¬·¬·»-        È×××ò ßÐÐÔ×ÝßÌ×ÑÒ
         Ì¸» ×²-«®»¼- -¸¿´´ ¹·ª» «- ©®·¬¬»² ²±¬·½»              øß÷ Ì¸»      ×²-«®»¼-       ®»°®»-»²¬      ¬¸¿¬   ¬¸»
         ¿²¼ º«´´ô ©®·¬¬»² ¼»¬¿·´- ±º ¿²§ ³»®¹»®-ô                  ¼»½´¿®¿¬·±²- ¿²¼ -¬¿¬»³»²¬- ½±²¬¿·²»¼ ·² ¬¸»
         ¿½¯«·-·¬·±²- ±® »²¬·¬§ ½®»¿¬·±²- ¿- -±±² ¿-                ß°°´·½¿¬·±² ¿®» ¬®«»ô ¿½½«®¿¬» ¿²¼
         °®¿½¬·½¿¾´»ô ¾«¬ ·² ¿´´ ½¿-»-ô ©·¬¸·² ²·²»¬§               ½±³°´»¬»ò Ì¸·- Ð±´·½§ ·- ·--«»¼ ·² ®»´·¿²½»
         øçð÷ ¼¿§- ±º -«½¸ »ª»²¬ò Ì¸»®» -¸¿´´ ¾» ²±                 «°±² ¬¸» ß°°´·½¿¬·±²ò Ì¸» ß°°´·½¿¬·±²
         ½±ª»®¿¹» «²¼»® ¿²§ ®»²»©¿´ ±® ®»°´¿½»³»²¬                  -¸¿´´ ¾» ¼»»³»¼ ¬± ¾» °¿®¬ ±º ¬¸» Ð±´·½§ ¬±
         ±º ¬¸·- Ð±´·½§ º±® ¿²§ -«½¸ ²»© »²¬·¬§ ±® º±®              ¬¸» »¨¬»²¬ ¬¸¿¬ ¿°°´·½¿¾´» -¬¿¬» ´¿© ®»¯«·®»-ò
         ¿²§ ²¿¬«®¿´ °»®-±²- ¿--±½·¿¬»¼ ©·¬¸ -«½¸               øÞ÷ ×º ¬¸» ß°°´·½¿¬·±² ½±²¬¿·²- ·²¬»²¬·±²¿´
         ²»© »²¬·¬§ «²´»-- ¬¸» ×²-«®»¼- ½±³°´§ ©·¬¸                 ³·-®»°®»-»²¬¿¬·±²- ±® ³·-®»°®»-»²¬¿¬·±²-
         ¬¸» ¬»®³- ±º ¬¸·- °®±ª·-·±²ò                               ¬¸¿¬ ³¿¬»®·¿´´§ ¿ºº»½¬ ±«® ¿½½»°¬¿²½» ±º ¬¸»
     øÞ÷ Ì¿µ»±ª»® ±º Ò¿³»¼ Û²¬·¬§                                   ®·-µæ
         ×ºô ¼«®·²¹ ¬¸» Ð±´·½§ Ð»®·±¼ô ¬¸» Ò¿³»¼                    øï÷ º±® ¬¸» °«®°±-» ±º ¼»¬»®³·²·²¹ ½±ª»®¿¹»
         Û²¬·¬§ ³»®¹»- ·²¬± ±® ½±²-±´·¼¿¬»- ©·¬¸                         «²¼»® ¿´´ Ý±ª»®¿¹» Ð¿®¬- ±¬¸»® ¬¸¿² ¬¸»
         ¿²±¬¸»® »²¬·¬§ -«½¸ ¬¸¿¬ ¬¸» Ò¿³»¼ Û²¬·¬§ ·-                    Ü·®»½¬±®-ô Ñºº·½»®- ¿²¼ Û²¬·¬§ Ô·¿¾·´·¬§
         ²±¬ ¬¸» -«®ª·ª·²¹ »²¬·¬§ô ¬¸»²æ                                 Ý±ª»®¿¹» Ð¿®¬ô ²± ½±ª»®¿¹» -¸¿´´ ¾»
         øï÷ ½±ª»®¿¹» -¸¿´´ ½±²¬·²«» «²¼»® ¬¸» Ð±´·½§                    ¿ºº±®¼»¼ «²¼»® ¬¸·- Ð±´·½§ º±® ¿²§
               º±® ¬¸» Ò¿³»¼ Û²¬·¬§ «²¬·´ ¬¸» »¨°·®¿¬·±²                 ×²-«®»¼- ©¸± µ²»© ±² ¬¸» ×²½»°¬·±²
               ±º ¬¸» ½«®®»²¬ Ð±´·½§ Ð»®·±¼ô ¾«¬ ±²´§ º±®                Ü¿¬» ±º ¬¸·- Ð±´·½§ ±º ¬¸» º¿½¬- ¬¸¿¬ ©»®»
               É®±²¹º«´ ß½¬- ±½½«®®·²¹ °®·±® ¬± -«½¸                     -± ³·-®»°®»-»²¬»¼ô °®±ª·¼»¼ ¬¸¿¬æ
               »ª»²¬å                                                    ø¿÷ µ²±©´»¼¹» °±--»--»¼ ¾§ ¿²§
         øî÷ ¬¸·- Ð±´·½§ -¸¿´´ ²±¬ ¾» ½¿²½»´´»¼ô ¿²¼                          ×²-«®»¼ Ð»®-±² -¸¿´´ ²±¬ ¾»
               ¬¸» »²¬·®» °®»³·«³ º±® ¬¸·- Ð±´·½§ -¸¿´´                       ·³°«¬»¼ ¬± ¿²§ ±¬¸»® ×²-«®»¼
               ¾» ¼»»³»¼ º«´´§ »¿®²»¼å ¿²¼                                    Ð»®-±²å ¿²¼
         øí÷ ¬¸» ×²-«®»¼- -¸¿´´ ¹·ª» «- ©®·¬¬»² ²±¬·½»                   ø¾÷  µ²±©´»¼¹»       °±--»--»¼ ¾§ ¬¸»
               ¿²¼ º«´´ô ©®·¬¬»² ¼»¬¿·´- ±º -«½¸ »ª»²¬ ¿-                     °®»-·¼»²¬ñÝÛÑô     ½¸¿²½»´´±®ô °®±ª±-¬ô
               -±±² ¿- °®¿½¬·½¿¾´» ¾«¬ô ·² ¿´´ ½¿-»-ô                         °®·²½·°¿´ô  -«°»®·²¬»²¼»²¬ô     ¸»¿¼ ±º
               ©·¬¸·² ²·²»¬§ øçð÷ ¼¿§- ±º -«½¸ »ª»²¬ò                         -½¸±±´ô   ½¸·»º  ®·-µ  ±ºº·½»®ô  ¹»²»®¿´
                                                                              ½±«²-»´ô ½¸·»º º·²¿²½·¿´ ±ºº·½»®ô
           ×º ¿²§ »ª»²¬ ¼»-½®·¾»¼ ¸»®»·² ±½½«®-ô ¬¸»²
                                                                              ¼·®»½¬±® ±º ¸«³¿² ®»-±«®½»- ±® ¿²§
           ©» ©·´´ ²±¬ ¾» ±¾´·¹¿¬»¼ ¬± ±ºº»® ¿²§ ®»²»©¿´                      °±-·¬·±² »¯«·ª¿´»²¬ ¬± ¬¸» º±®»¹±·²¹
           ±® ®»°´¿½»³»²¬ ±º ¬¸·- Ð±´·½§
                                                                              ±º ¬¸» Ò¿³»¼ Û²¬·¬§ô ±® ¿²§±²»
È××ò ÍËÞÎÑÙßÌ×ÑÒ                                                              -·¹²·²¹ ¬¸» ß°°´·½¿¬·±²ô -¸¿´´ ¾»
     øß÷ É» -¸¿´´ ¾» -«¾®±¹¿¬»¼ ¬± ¿´´ ±º ¬¸»                                 ·³°«¬»¼ ¬± ¿´´ ×²-«®»¼ Û²¬·¬·»-ô ¿²¼
         ×²-«®»¼-ù ®·¹¸¬- ±º ®»½±ª»®§ ®»¹¿®¼·²¹ ¿²§                           ²± ±¬¸»® °»®-±²ù- µ²±©´»¼¹» -¸¿´´
         °¿§³»²¬ ±º Ô±-- ¾§ «- «²¼»® ¬¸·- Ð±´·½§ò                             ¾» ·³°«¬»¼ ¬± ¿² ×²-«®»¼ Û²¬·¬§å
         Ì¸» ×²-«®»¼- -¸¿´´ »¨»½«¬» ¿´´ °¿°»®-                                ¿²¼
Ð¿¹» ê Case
         ±º é 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page                        Ú±®³ 273ØÙofðð579
                                                                                                           ðë ðí ïë
       øî÷ º±® ¬¸» °«®°±-» ±º ¼»¬»®³·²·²¹ ½±ª»®¿¹»            ²±¬·½»- ®»¹¿®¼·²¹ Ý´¿·³-ô ½¿²½»´´¿¬·±²ô »´»½¬·±²
           «²¼»® ¬¸» Ü·®»½¬±®-ô Ñºº·½»®- ¿²¼ Û²¬·¬§           ±º ¿²§ Í«°°´»³»²¬¿´ Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ô
           Ô·¿¾·´·¬§ Ý±ª»®¿¹» Ð¿®¬ô ²± ½±ª»®¿¹»               °¿§³»²¬ ±º °®»³·«³-ô ®»½»·°¬ ±º ¿²§ ®»¬«®²
           -¸¿´´ ¾» ¿ºº±®¼»¼ «²¼»® ¬¸·- Ð±´·½§ º±®æ           °®»³·«³-ô ¿²¼ ¿½½»°¬¿²½» ±º ¿²§ »²¼±®-»³»²¬-
           ø¿÷ ¿²§ ×²-«®»¼ Ð»®-±²-ô «²¼»®                     ¬± ¬¸·- Ð±´·½§ò
               ×²-«®·²¹ ß¹®»»³»²¬ øß÷ô ©¸± µ²»©            ÈÊ×××ò ÝØßÒÙÛÍ
               ¿- ±º ¬¸» ×²½»°¬·±² Ü¿¬» ±º ¬¸·-                Ì¸·- Ð±´·½§ -¸¿´´ ²±¬ ¾» ½¸¿²¹»¼ ±® ³±¼·º·»¼
               Ð±´·½§ ¬¸» º¿½¬- ¬¸¿¬ ©»®» -±                   »¨½»°¬ ·² ¿ ©®·¬¬»² »²¼±®-»³»²¬ ·--«»¼ ¾§ «- ¬±
               ³·-®»°®»-»²¬»¼ ·² ¬¸» ß°°´·½¿¬·±²ô              º±®³ ¿ °¿®¬ ±º ¬¸·- Ð±´·½§ò
               °®±ª·¼»¼ô ¸±©»ª»®ô ¬¸¿¬ µ²±©´»¼¹»
               °±--»--»¼ ¾§ ¿²§ ×²-«®»¼ Ð»®-±²             È×Èò ÛÒÌ×ÎÛ ßÙÎÛÛÓÛÒÌ
               -¸¿´´ ²±¬ ¾» ·³°«¬»¼ ¬± ¿²§ ±¬¸»®              Ì¸·- Ð±´·½§ô ·²½´«¼·²¹ ¬¸» Ü»½´¿®¿¬·±²-ô Ý±³³±²
               ×²-«®»¼ Ð»®-±²å                                Ì»®³- ¿²¼ Ý±²¼·¬·±²-ô ·²½´«¼»¼ Ý±ª»®¿¹»
           ø¾÷ ¿² ×²-«®»¼ Û²¬·¬§ô «²¼»® ×²-«®·²¹              Ð¿®¬ø-÷ô     ß°°´·½¿¬·±²    ¿²¼     ¿²§    ©®·¬¬»²
               ß¹®»»³»²¬ øÞ÷ô ¬± ¬¸» »¨¬»²¬ ·¬                »²¼±®-»³»²¬- ¿¬¬¿½¸»¼ ¸»®»¬±ô ½±²-¬·¬«¬»- ¬¸»
               ·²¼»³²·º·»- ¿²§ ×²-«®»¼ Ð»®-±²                 »²¬·®» ¿¹®»»³»²¬ ¾»¬©»»² ¬¸» ×²-«®»¼- ¿²¼ «-
               ®»º»®»²½»¼ ·² -«¾°¿®¿¹®¿°¸ øî÷ø¿÷              ®»´¿¬·²¹ ¬± ¬¸·- ·²-«®¿²½»ò
               ¿¾±ª»å ±®                                   ÈÈò ÒÑÌ×ÝÛ ßÜÜÎÛÍÍÛÍ
           ø½÷ ¿² ×²-«®»¼ Û²¬·¬§ô «²¼»® ×²-«®·²¹              øß÷ ß´´ ²±¬·½»- ¬± ¬¸» ×²-«®»¼- -¸¿´´ ¾» -»²¬ ¬±
               ß¹®»»³»²¬         øÝ÷ô      ·º      ¿²§            ¬¸» Ò¿³»¼ Û²¬·¬§ ¿¬ ¬¸» ¿¼¼®»-- -°»½·º·»¼
               °®»-·¼»²¬ñÝÛÑô ½¸¿²½»´´±®ô °®±ª±-¬ô                ·² ×¬»³ ï ±º ¬¸» Ü»½´¿®¿¬·±²-ò
               °®·²½·°¿´ô -«°»®·²¬»²¼»²¬ô ¸»¿¼ ±º             øÞ÷ ß´´ ²±¬·½»- ¬± «- -¸¿´´ ¾» -»²¬ ¬± ¬¸» ¿¼¼®»--
               -½¸±±´ô ½¸·»º ®·-µ ±ºº·½»®ô ¹»²»®¿´                -°»½·º·»¼ ·² §±«® °±´·½§ °¿½µ¿¹»ò ß²§ -«½¸
               ½±«²-»´ô ½¸·»º º·²¿²½·¿´ ±ºº·½»® ±® ¿²§            ²±¬·½» -¸¿´´ ¾» »ºº»½¬·ª» «°±² ®»½»·°¬ ¾§ «-
               °±-·¬·±² »¯«·ª¿´»²¬ ¬± ¬¸» º±®»¹±·²¹               ¿¬ -«½¸ ¿¼¼®»--ò
               ±º ¬¸» Ò¿³»¼ Û²¬·¬§ô ±® ¿²§±²»
               -·¹²·²¹ ¬¸» ß°°´·½¿¬·±²ô µ²»© ¿- ±º         ÈÈ×ò ØÛßÜ×ÒÙÍ
               ¬¸» ×²½»°¬·±² Ü¿¬» ±º ¬¸·- Ð±´·½§ ¬¸»          Ì¸» ¸»¿¼·²¹- ±º ¬¸» ª¿®·±«- -»½¬·±²- ±º ¬¸·-
               º¿½¬- ¬¸¿¬ ©»®» -± ³·-®»°®»-»²¬»¼ ·²           Ð±´·½§ ¿®» ·²¬»²¼»¼ º±® ®»º»®»²½» ±²´§ ¿²¼ -¸¿´´
               ¬¸» ß°°´·½¿¬·±²å                               ²±¬ ¾» °¿®¬ ±º ¬¸» ¬»®³- ¿²¼ ½±²¼·¬·±²- ±º
           °®±ª·¼»¼ ¬¸¿¬ «²¼»® ²± ½·®½«³-¬¿²½»-               ½±ª»®¿¹»ò
           -¸¿´´ ©» ¾» »²¬·¬´»¼ ¬± ®»-½·²¼ ×²-«®·²¹        ÈÈ××ò ÎÛÚÛÎÛÒÝÛÍ ÌÑ ÔßÉÍ
           ß¹®»»³»²¬ øß÷ò                                     øß÷ É¸»®»ª»® ¬¸·- Ð±´·½§ ³»²¬·±²- ¿²§ ´¿©ô
È×Êò ßÝÌ×ÑÒ ßÙß×ÒÍÌ ËÍ                                            ·²½´«¼·²¹ ¿²§ -¬¿¬«¬»ô ß½¬ ±® Ý±¼» ±º ¬¸»
                                                                  Ë²·¬»¼ Í¬¿¬»-ô -«½¸ ³»²¬·±² -¸¿´´ ¾»
   É·¬¸ ®»-°»½¬ ¬± ¿´´ Ý±ª»®¿¹» Ð¿®¬-æ
                                                                  ¼»»³»¼ ¬± ·²½´«¼» ¿´´ ¿³»²¼³»²¬- ±ºô ¿²¼
   øß÷ Ò± ¿½¬·±² -¸¿´´ ¾» ¬¿µ»² ¿¹¿·²-¬ «- «²´»--                 ¿´´ ®«´»- ±® ®»¹«´¿¬·±²- °®±³«´¹¿¬»¼ «²¼»®ô
       ¬¸»®» ¸¿- ¾»»² º«´´ ½±³°´·¿²½» ©·¬¸ ¿´´ ¬¸»                -«½¸ ´¿©ò
       ¬»®³- ¿²¼ ½±²¼·¬·±²- ±º ¬¸·- Ð±´·½§ò
                                                              øÞ÷ É¸»®»ª»® ¬¸·- Ð±´·½§ ³»²¬·±²- ¿²§ ´¿© ±®
   øÞ÷ Ò± °»®-±² ±® ±®¹¿²·¦¿¬·±² -¸¿´´ ¸¿ª» ¿²§                   ´¿©-ô ·²½´«¼·²¹ ¿²§ -¬¿¬«¬»ô ß½¬ ±® Ý±¼» ±º
       ®·¹¸¬ «²¼»® ¬¸·- Ð±´·½§ ¬± ¶±·² «- ¿- ¿ °¿®¬§ ¬±           ¬¸» Ë²·¬»¼ Í¬¿¬»- ¿²¼ -«½¸ ³»²¬·±² ·-
       ¿²§ Ý´¿·³ ¿¹¿·²-¬ ¬¸» ×²-«®»¼-ô ²±® -¸¿´´                  º±´´±©»¼ ¾§ ¬¸» °¸®¿­» ±® ¿²§ ­·³·´¿® ´¿©ô
       ©» ¾» ·³°´»¿¼»¼ ¾§ ¬¸» ×²-«®»¼- ·² ¿²§                     -«½¸ °¸®¿-» -¸¿´´ ¾» ¼»»³»¼ ¬± ·²½´«¼» ¿´´
       -«½¸ Ý´¿·³ò                                                -·³·´¿® ´¿©- ±º ¿´´ ¶«®·-¼·½¬·±²- ¬¸®±«¹¸±«¬ ¬¸»
ÈÊò ßÍÍ×ÙÒÓÛÒÌ                                                    ©±®´¼ô ·²½´«¼·²¹ -¬¿¬«¬»- ¿²¼ ¿²§ ®«´»- ±®
                                                                  ®»¹«´¿¬·±²- °®±³«´¹¿¬»¼ «²¼»® -«½¸ -¬¿¬«¬»-
   ß--·¹²³»²¬ ±º ·²¬»®»-¬ «²¼»® ¬¸·- Ð±´·½§ -¸¿´´ ²±¬             ¿- ©»´´ ¿- ½±³³±² ´¿©ò
   ¾·²¼ «- ©·¬¸±«¬ ±«® ½±²-»²¬ ¿- -°»½·º·»¼ ·² ¿
   ©®·¬¬»² »²¼±®-»³»²¬ ·--«»¼ ¾§ «- ¬± º±®³ ¿ °¿®¬         ÈÈ×××ò ÝÑÊÛÎßÙÛ ÌÛÎÎ×ÌÑÎÇ
   ±º ¬¸·- Ð±´·½§ò                                             Ý±ª»®¿¹» «²¼»® ¬¸·- Ð±´·½§ ¿°°´·»- ©±®´¼©·¼»
ÈÊ×ò ÞßÒÕÎËÐÌÝÇ ÑÎ ×ÒÍÑÔÊÛÒÝÇ                                  ¾«¬ ±²´§ ·º ¬¸» ×²­«®»¼­ ´»¹¿´ ±¾´·¹¿¬·±² ¬± °¿§
                                                               -«³- ·² ½±²²»½¬·±² ©·¬¸ ¿ Ý´¿·³ ¬± ©¸·½¸ ¬¸·-
   Þ¿²µ®«°¬½§ ±® ·²-±´ª»²½§ ±º ¿²§ ×²-«®»¼- -¸¿´´
                                                               ·²-«®¿²½» ¿°°´·»- ·- ¼»¬»®³·²»¼ ·² ¬¸» Ë²·¬»¼
   ²±¬ ®»´·»ª» «- ±º ¿²§ ±º ±«® ±¾´·¹¿¬·±²- «²¼»® ¬¸·-
                                                               Í¬¿¬»- ±º ß³»®·½¿ô ·¬- ¬»®®·¬±®·»- ±® °±--»--·±²-ô
   Ð±´·½§ò
                                                               Ð«»®¬± Î·½±ô ±® Ý¿²¿¼¿ ¿½½±®¼·²¹ ¬± ¬¸»
ÈÊ××ò ßËÌØÑÎ×ÆßÌ×ÑÒ ÑÚ ÒßÓÛÜ ÛÒÌ×ÌÇ                            -«¾-¬¿²¬·ª» ´¿© ·² -«½¸ ¶«®·-¼·½¬·±²ô ±® ¿- ¬¸»
   Ì¸» Ò¿³»¼ Û²¬·¬§ -¸¿´´ ¿½¬ ±² ¾»¸¿´º ±º ¿´´                 ×²-«®»¼ ¿²¼ ©» ³¿§ ³«¬«¿´´§ ¿¹®»»ò
   ×²-«®»¼- ©·¬¸ ®»-°»½¬ ¬± ¿´´ ³¿¬¬»®- «²¼»® ¬¸·-
   Ð±´·½§ô ·²½´«¼·²¹ ¬¸» ½±²ª»§¿²½» ¿²¼ ®»½»·°¬ ±º

      Case
Ú±®³ ØÙ     3:24-cv-00490-FDW-SCR
        ðð ðë ðí ïë                              Document 1-4 Filed 05/21/24 Page 274 ofÐ¿¹»
                                                                                         579é ±º é
               ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ
              ÛÜËÝßÌÑÎÍ ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ
                          ÝÑÊÛÎßÙÛ ÐßÎÌ
            ÚÑÎ ÐÎ×ÊßÌÛ ÍÝØÑÑÔÍô ÝØßÎÌÛÎ ÍÝØÑÑÔÍô ÝÑÔÔÛÙÛÍñËÒ×ÊÛÎÍ×Ì×ÛÍ ßÒÜ ÑÌØÛÎ Ø×ÙØÛÎ
                                       ÛÜËÝßÌ×ÑÒ ×ÒÍÌ×ÌËÌ×ÑÒÍ

                                                                                          Þ»¹·²²·²¹ ±² Ð¿¹»
      ×ò     ×ÒÍËÎ×ÒÙ ßÙÎÛÛÓÛÒÌ                                                                   ï
      ××ò    ÜÛÚ×Ò×Ì×ÑÒÍ                                                                          ï
     ×××ò    ÛÈÝÔËÍ×ÑÒÍ                                                                           í
     ×Êò     ÑÌØÛÎ ×ÒÍËÎßÒÝÛ                                                                      ë
     Êò      ÒÑÌ×ÝÛ ÑÚ ÝÔß×Ó                                                                      ë
     Ê×ò     ÝÑÑÎÜ×ÒßÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ                                                             ê

×ò      ×ÒÍËÎ×ÒÙ ßÙÎÛÛÓÛÒÌ                                           ®»´·»º ½±³³»²½»¼ ¾§ ¬¸» ®»½»·°¬ ±º -«½¸
        É» -¸¿´´ °¿§ Ô±-- ±² ¾»¸¿´º ±º ¬¸» ×²-«®»¼-                  ¼»³¿²¼å ±®
        ®»-«´¬·²¹ º®±³ ¿ Ý´¿·³ º·®-¬ ³¿¼» ¿¹¿·²-¬ ¬¸»            øî÷ ½·ª·´ °®±½»»¼·²¹ô ·²½´«¼·²¹ ¿² ¿®¾·¬®¿¬·±²
        ×²-«®»¼- ¼«®·²¹ ¬¸» Ð±´·½§ Ð»®·±¼ ±® ¿²§                     ±® ±¬¸»® ¿´¬»®²¿¬·ª» ¼·-°«¬» ®»-±´«¬·±²
        ¿°°´·½¿¾´» Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼ º±® ¿                   °®±½»»¼·²¹ô ½±³³»²½»¼ ¾§ ¬¸» -»®ª·½»
        É®±²¹º«´ ß½¬ ½±³³·¬¬»¼ ±® ¿´´»¹»¼´§ ½±³³·¬¬»¼                ±º ¿ ½±³°´¿·²¬ô º·´·²¹ ±º ¿ ¼»³¿²¼ º±®
        ±² ±® ¿º¬»® ¬¸» Î»¬®±¿½¬·ª» Ü¿¬» -»¬ º±®¬¸ ·² ×¬»³           ¿®¾·¬®¿¬·±²ô ±® -·³·´¿® °´»¿¼·²¹å
        ë ±º ¬¸» Ü»½´¿®¿¬·±²-ô °®±ª·¼»¼ ¬¸¿¬ -«½¸ Ý´¿·³          ¿¹¿·²-¬ ¿² ×²-«®»¼ º±® ¿ É®±²¹º«´ ß½¬ò
        ·- ®»°±®¬»¼ ·² ¿½½±®¼¿²½» ©·¬¸ Í»½¬·±² Ê
                                                                 Ý´¿·³ ¿´-± ³»¿²- ¿ ©®·¬¬»² ®»¯«»-¬ ¬± ¿²
        ÒÑÌ×ÝÛ ÑÚ ÝÔß×Ó ±º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
                                                                 ×²-«®»¼ ¬± ¬±´´ ±® ©¿·ª» ¿ -¬¿¬«¬» ±º
××ò ÜÛÚ×Ò×Ì×ÑÒÍ                                                  ´·³·¬¿¬·±²- ®»¹¿®¼·²¹ ¿ °±¬»²¬·¿´ Ý´¿·³ ¿-
        Ì¸» º±´´±©·²¹ ¬»®³-ô ©¸»¬¸»® «-»¼ ·² ¬¸»                 ¼»-½®·¾»¼ ¿¾±ª»ò Í«½¸ Ý´¿·³ -¸¿´´ ¾»
        -·²¹«´¿® ±® °´«®¿´ô -¸¿´´ ¸¿ª» ¬¸» ³»¿²·²¹-              ½±³³»²½»¼ ¾§ ¬¸» ®»½»·°¬ ±º -«½¸ ®»¯«»-¬ò
        -°»½·º·»¼ ¾»´±©æ                                         Ø±©»ª»®ô Ý´¿·³ -¸¿´´ ²±¬ ·²½´«¼» ¿²§
        øß÷ •Ý¸¿®¬»® Í½¸±±´ ³»¿²­ ¿²§ ­¬¿¬»ó                    ½®·³·²¿´ °®±½»»¼·²¹ò
            ´»¹·-´¿¬»¼ »´»³»²¬¿®§ ±® -»½±²¼¿®§ -½¸±±´        øÜ÷ •Ü¿³¿¹»- ³»¿²­ ¬¸» ¿³±«²¬ ¬¸¿¬ ¬¸»
            -«°°±®¬»¼ ¾§ ¬¿¨ ®»ª»²«»- ¿²¼ »-¬¿¾´·-¸»¼            ×²-«®»¼- ¿®» ´»¹¿´´§ ´·¿¾´» ¬± °¿§ -±´»´§ ¿- ¿
            ¾§ ¿ ½¸¿®¬»® ¾»¬©»»² ¿ ¹®¿²¬·²¹ ¾±¼§ ¿²¼ ¿           ®»-«´¬ ±º ¿ Ý´¿·³ ½±ª»®»¼ ¾§ ¬¸·- Ý±ª»®¿¹»
            °»®-±² ±® ¹®±«°ò                                     Ð¿®¬ô ·²½´«¼·²¹æ
        øÞ÷ •Ý¸¿®¬»® Í½¸±±´ ÛúÑ É®±²¹º«´ ß½¬                    øï÷ ½±³°»²-¿¬±®§ ¼¿³¿¹»-å
            ³»¿²-ô ©·¬¸ ®»¹¿®¼ ¬± ¿²§ ×²-«®»¼ Û²¬·¬§
                                                                 øî÷ -»¬¬´»³»²¬ ¿³±«²¬-å
            ¬¸¿¬ ·- ¿ Ý¸¿®¬»® Í½¸±±´ô ¿²§ ¿½¬«¿´ ±®
            ¿´´»¹»¼ ª·±´¿¬·±² ±º ¿ -¬«¼»²¬ù- ®·¹¸¬- ¾§ ¿²        øí÷ °®»ó¶«¼¹³»²¬      ¿²¼      °±-¬ó¶«¼¹³»²¬
            ×²-«®»¼ º±® »¯«¿´ ¿½½»-- ¬± »¼«½¿¬·±²ô                   ·²¬»®»-¬å ¿²¼
            -°»½·¿´ »¼«½¿¬·±² -»®ª·½»- ±® ±¬¸»®                  øì÷ ½±-¬- ¿²¼ ¿¬¬±®²»§-ù      º»»-   ¿©¿®¼»¼
            »¼«½¿¬·±²ó®»´¿¬»¼ ¼«» °®±½»-- ¹®¿²¬»¼                    °«®-«¿²¬ ¬± ¶«¼¹³»²¬-ò
            «²¼»® º»¼»®¿´ô -¬¿¬» ±® ´±½¿´ ´¿©ô ·²½´«¼·²¹æ
                                                                 Ü¿³¿¹»- ¿´-± ·²½´«¼»- °«²·¬·ª» ¿²¼
              øï÷ ß³»®·½¿²- ©·¬¸ Ü·-¿¾·´·¬·»- ß½¬å               »¨»³°´¿®§ ¼¿³¿¹»- ¬¸¿¬ ¿®» ¿©¿®¼»¼ ·²
              øî÷ Ú¿³·´§ Û¼«½¿¬·±²¿´ Î·¹¸¬- ¿²¼ Ð®·ª¿½§          ½±²²»½¬·±² ©·¬¸ ½±³°»²-¿¬±®§ ¼¿³¿¹»-ô
                  ß½¬å ±®                                        ©¸»®» °¿§³»²¬ ±º -«½¸ °«²·¬·ª» ±®
                                                                 »¨»³°´¿®§ ¼¿³¿¹»- ·- °»®³·¬¬»¼ ¾§ ´¿©ò
              øí÷ ×²¼·ª·¼«¿´- ©·¬¸ Ü·-¿¾·´·¬·»- Û¼«½¿¬·±²
                  ß½¬å                                           Ø±©»ª»®ô Ü¿³¿¹»- -¸¿´´ ²±¬ ·²½´«¼»æ
              ¿²¼ ¿²§ ¿³»²¼³»²¬- ¬¸»®»¬±ò                        ø¿÷ ¬¿¨»-ô º·²»- ±® °»²¿´¬·»- ·³°±-»¼ ¾§ ´¿©ô
        øÝ÷ •Ý´¿·³ ³»¿²­ ¿²§æ                                       ±® ¬¸» ³«´¬·°´» °±®¬·±² ±º ¿²§ -¬¿¬«¬±®§
                                                                     ³«´¬·°´·»¼ ¼¿³¿¹» ¿©¿®¼å
              øï÷ ©®·¬¬»² ¼»³¿²¼ º±® ½·ª·´ ³±²»¬¿®§
                  ¼¿³¿¹»- ±® ±¬¸»® ½·ª·´ ²±²ó³±²»¬¿®§

Ú±®³ ØÙ ðð ðé ðí ïë                                                                               Ð¿¹» ï ±º ê
             Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 275 of 579
                                         îðïëô Ì¸» Ø¿®¬º±®¼
      ø¾÷ ½±-¬- ¿--±½·¿¬»¼ ©·¬¸ °®±ª·¼·²¹ ¿²§                   ¿² ×²-«®»¼ Û²¬·¬§ ±® ¾§ ¿² ×²-«®»¼ Ð»®-±²
          ·²¶«²½¬·ª»ô ½±®®»½¬·ª» ±® ²±²ó³±²»¬¿®§                -±´»´§ ©¸·´» ¿½¬·²¹ ©·¬¸·² ¬¸» -½±°» ±º ¸·- ±®
          ®»´·»ºå                                               ¸»® ¼«¬·»- º±® ¬¸» ×²-«®»¼ Û²¬·¬§ ·²
      ø½÷ ½±-¬- ¿--±½·¿¬»¼ ©·¬¸ °®±ª·¼·²¹ ¿²§                   °»®º±®³¿²½» ±º ¬¸» ×²-«®»¼ Û²¬·¬§ù-
          ¿½½±³³±¼¿¬·±²- ®»¯«·®»¼ ¾§ ¬¸»                        »¼«½¿¬·±²¿´ º«²½¬·±²- ¿- -»¬ º±®¬¸ ·² ¬¸»
          ß³»®·½¿²- ©·¬¸ Ü·-¿¾·´·¬·»- ß½¬ ±® ¿²§                ¿¾±ª» °¿®¿¹®¿°¸ò
          -·³·´¿® ´¿©å                                      øÚ÷ •Û³°´±§»» ³»¿²­ ¿²§ ²¿¬«®¿´ °»®­±² ©¸±
      ø¼÷ ¬¸» ª¿´«» ±º ¿²§ ¬«·¬·±² ±® -½¸±´¿®-¸·°-ô             ©¿-ô ·- ±® -¸¿´´ ¾»½±³» ¿ø²÷æ
          ·²½´«¼·²¹ ´±-- ±º º«¬«®» »¿®²·²¹-ô                    øï÷ »³°´±§»» ±º ¿² ×²-«®»¼ Û²¬·¬§ ·²½´«¼·²¹
          ®±§¿´¬·»- ±® º«¬«®» »¿®²·²¹ ±°°±®¬«²·¬·»-å                ¿²§ °¿®¬ ¬·³»ô -»¿-±²¿´ô Ô»¿-»¼
      ø»÷ ¬¸» ®»¬«®² ±º º«²¼-ô ·²½´«¼·²¹ º«²¼- ¬¸¿¬                 Û³°´±§»»ô ±® Ô±¿²»¼ Û³°´±§»»å
          ¬¸» ×²-«®»¼ ®»½»·ª»¼ «²¼»® ¿²§ ¬§°» ±º                øî÷ ª±´«²¬»»® º±® ¿² ×²-«®»¼ Û²¬·¬§å ±®
          ¹®¿²¬ô °®±¹®¿³ô ½±²¬®¿½¬ ±® -·³·´¿®
          ¿¹®»»³»²¬ ±® ¿®®¿²¹»³»²¬å ±®                          øí÷ -¬«¼»²¬ ¬»¿½¸»®-ô -«¾-¬·¬«¬» ¬»¿½¸»®-ô
                                                                    ¬»¿½¸·²¹ ¿--·-¬¿²¬-ô ¿²¼ ©±®µó¹®¿²¬
      øº÷ ¿²§ ±¬¸»® ³¿¬¬»®- «²·²-«®¿¾´» °«®-«¿²¬                    -¬«¼»²¬-å
          ¬± ¿²§ ¿°°´·½¿¾´» ´¿©ò
                                                                ¾«¬ -±´»´§ º±® ½±²¼«½¬ ©·¬¸·² ¬¸» -½±°» ±º ¸·-
  øÛ÷ •Û¼«½¿¬±®- ÛúÑ É®±²¹º«´ ß½¬ ³»¿²­ ¿²§                    ±® ¸»® »³°´±§³»²¬ó®»´¿¬»¼ ¼«¬·»- º±® ¬¸»
      ¿½¬«¿´ ±® ¿´´»¹»¼ ²»¹´·¹»²¬ ¿½¬ô »®®±® ±®                 ×²-«®»¼ Û²¬·¬§ò Ø±©»ª»®ô Û³°´±§»» -¸¿´´
      ±³·--·±² ½±³³·¬¬»¼ ¾§ ¿² ×²-«®»¼ Ð»®-±²                   ²±¬ ·²½´«¼» ¿²§ ×²¼»°»²¼»²¬ Ý±²¬®¿½¬±®ô ±®
      -±´»´§ ©¸·´» ¿½¬·²¹ ©·¬¸·² ¬¸» -½±°» ±º ¸·- ±®            ¿²§ ¬»³°±®¿®§ »³°´±§»» ©¸± ·- ²»·¬¸»® ¿
      ¸»® ¼«¬·»- º±® ¬¸» ×²-«®»¼ Û²¬·¬§ ·² ¬¸»                  Ô»¿-»¼      Û³°´±§»»      ²±®    ¿   Ô±¿²»¼
      °»®º±®³¿²½» ±º ¬¸» ×²-«®»¼ Û²¬·¬§ù-                       Û³°´±§»»ò
      »¼«½¿¬·±²¿´ º«²½¬·±²-ô ±® ½±³³·¬¬»¼ ¾§ ¿²
      ×²-«®»¼ Û²¬·¬§ ·² ¬¸» °»®º±®³¿²½» ±º ·¬-              øÙ÷ •×²¼»°»²¼»²¬ Ý±²¬®¿½¬±® ³»¿²­ ¿²§
      »¼«½¿¬·±²¿´ º«²½¬·±²-ò Ì¸»-» »¼«½¿¬·±²¿´                  ²¿¬«®¿´ °»®-±² ©±®µ·²¹ ·² ¬¸» ½¿°¿½·¬§ ±º ¿²
      º«²½¬·±²- ·²½´«¼»æ                                        ·²¼»°»²¼»²¬ ½±²¬®¿½¬±® ¬± °»®º±®³ -»®ª·½»-
                                                                ·² ¬¸» ¾«-·²»-- ±º »¼«½¿¬·±² °«®-«¿²¬ ¬± ¿²
      øï÷ »¼«½¿¬·±²¿´ ·²-¬®«½¬·±²å                              ×²¼»°»²¼»²¬ Ý±²¬®¿½¬±® ß¹®»»³»²¬ò
      øî÷ ½¿®»»® ¹«·¼¿²½»å                                  øØ÷ •×²¼»°»²¼»²¬ Ý±²¬®¿½¬±® ß¹®»»³»²¬
      øí÷ ¿¼³·²·-¬®¿¬·±² ±º ¼·-½·°´·²» ±® ½±®°±®¿´              ³»¿²- ¿²§ »¨°®»-- ©®·¬¬»² ½±²¬®¿½¬ ±®
          °«²·-¸³»²¬å                                           ¿¹®»»³»²¬ ¾»¬©»»² ¿² ×²¼»°»²¼»²¬
      øì÷ -¬«¼»²¬ ½±²-«³»®·-³ô ·²½´«¼·²¹ ½´¿--                  Ý±²¬®¿½¬±® ¿²¼ ¿² ×²-«®»¼ Û²¬·¬§ô ©¸·½¸
          ½±²¬»²¬ ¿²¼ ¹®¿¼·²¹ °®¿½¬·½»-å                        ½±²¬®¿½¬ ·²½´«¼»- ¿ °®±ª·-·±² ¬¸¿¬ ¬¸»
                                                                ×²-«®»¼ Û²¬·¬§ ·²¼»³²·º§ ¬¸» ×²¼»°»²¼»²¬
      øë÷ ¿¼³·¬¬¿²½» °®±½»¼«®»- ±® ¿½¿¼»³·½
          °´¿½»³»²¬å                                            Ý±²¬®¿½¬±® º±® ½»®¬¿·² ¿½¬·ª·¬§ ¿²¼ -°»½·º·»-
                                                                ¬¸» ¬»®³- ±º ¬¸» ×²-«®»¼ Û²¬·¬§ù-
      øê÷ »¨°«´-·±² °®±½»¼«®»-å                                 »²¹¿¹»³»²¬      ±º    -«½¸      ×²¼»°»²¼»²¬
      øé÷ -¬«¼»²¬ »²®±´´³»²¬å ±®                                Ý±²¬®¿½¬±®ò
      øè÷ °¿®¬·½·°¿¬·±² ·² ¿²§ -½¸±±´ °®±¹®¿³ô              ø×÷ •×²-«®»¼ ³»¿²­ ¿²§æ
          »¼«½¿¬·±²¿´ °®±¹®¿³ ±® »¨¬®¿½«®®·½«´¿®
                                                                øï÷ ×²-«®»¼ Û²¬·¬§å ±®
          ¿½¬·ª·¬·»-ô ·²½´«¼·²¹ ¬¸» ¬®¿²-°±®¬¿¬·±² ±º
          -¬«¼»²¬- ¬± ¿²¼ º®±³ -«½¸ °®±¹®¿³- ±®                 øî÷ ×²-«®»¼ Ð»®-±²ò
          ¿½¬·ª·¬·»-ò                                       øÖ÷ •×²-«®»¼ Ð»®-±² ³»¿²­ ¿²§æ
      Û¼«½¿¬±®- ÛúÑ É®±²¹º«´ ß½¬ ¿´-± ³»¿²-                     øï÷ Ó¿²¿¹»®å
      ¿½¬«¿´ ±® ¿´´»¹»¼ ¼·-½®·³·²¿¬·±² ±² ¬¸» ¾¿-·-
                                                                øî÷ Û³°´±§»»å
      ±º ¿¹»ô ¹»²¼»®ô ®¿½»ô -»¨ô ½±´±®ô ²¿¬·±²¿´
      ±®·¹·²ô »¬¸²·½·¬§ô ®»´·¹·±²ô ½®»»¼ô ³¿®·¬¿´ ±®            øí÷ ¬®«-¬»»-ô ³»³¾»®- ¿²¼ ¼·®»½¬±®- ±º ¿²§
      º¿³·´§ -¬¿¬«-ô -»¨«¿´ ±®·»²¬¿¬·±² ±®                          ½±³³·--·±²ô         ¾±¿®¼ô     ¿«¬¸±®·¬§ô
      °®»º»®»²½»ô ¹»²¼»® ·¼»²¬·¬§ ±® »¨°®»--·±²ô                    ¿¼³·²·-¬®¿¬·ª» ¼»°¿®¬³»²¬ ±® ±¬¸»®
      ¹»²»¬·½ ³¿µ»«° ±® ®»º«-¿´ ¬± -«¾³·¬ ¬±                        -·³·´¿® «²·¬ ±°»®¿¬»¼ «²¼»® ¬¸» ¿«¬¸±®·¬§
      ¹»²»¬·½      ³¿µ»«°      ¬»-¬·²¹ô   °®»¹²¿²½§ô                ±º ¬¸» ×²-«®»¼ Û²¬·¬§ô ·² ¬¸»·® ½¿°¿½·¬§
      ¼·-¿¾·´·¬§ô Ø×Ê ±® ±¬¸»® ¸»¿´¬¸ -¬¿¬«-ô ª»¬»®¿²               ¿- -«½¸å
      ±® ±¬¸»® ³·´·¬¿®§ -¬¿¬«- ±® ¿²§ ±¬¸»® °®±¬»½¬»¼           øì÷ °¿®»²¬ó¬»¿½¸»®     ±®¹¿²·¦¿¬·±²-       ±®
      -¬¿¬«- »-¬¿¾´·-¸»¼ «²¼»® º»¼»®¿´ô -¬¿¬»ô ±®                   ¿--±½·¿¬·±²- ¾«¬ ±²´§ ·º ¬¸» ±®¹¿²·¦¿¬·±²
      ´±½¿´ ´¿©ô ®»-«´¬·²¹ ·² ¸«³·´·¿¬·±² ±® ±¬¸»®                  ±® ¿--±½·¿¬·±² ®»°±®¬- ¬± ¿²¼ ·- «²¼»®
      ·²¶«®§ ¬± ¬¸» º»»´·²¹- ±® ®»°«¬¿¬·±² ±º ¿                     ¬¸» ¼·®»½¬ -«°»®ª·-·±² ±º ¬¸» ×²-«®»¼
      ½«®®»²¬ ±® °®±-°»½¬·ª» -¬«¼»²¬ô ½±³³·¬¬»¼ ¾§                  Û²¬·¬§ù- ¹±ª»®²·²¹ ¾±¿®¼ ¿²¼ ±²´§ ©¸·´»


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       ±º ê 3:24-cv-00490-FDW-SCR              Document 1-4 Filed 05/21/24 PageÚ±®³
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          °»®º±®³·²¹     -»®ª·½»-   ±®   ¿½¬·ª·¬·»-              øí÷ ©®±²¹º«´ »ª·½¬·±² º®±³ô ©®±²¹º«´ »²¬®§
          ¿«¬¸±®·¦»¼ ¾§ ¬¸» ×²-«®»¼ Û²¬·¬§å ±®                       ·²¬±ô ¬®»-°¿--ô ±® ·²ª¿-·±² ±º ¬¸» ®·¹¸¬ ±º
      øë÷ -¬«¼»²¬- °¿®¬·½·°¿¬·²¹ ·² ¿ -«°»®ª·-»¼                     °®·ª¿¬» ±½½«°¿²½§ ±º ¿ ®±±³ô ¼©»´´·²¹ ±®
          ·²¬»®²-¸·° °®±¹®¿³ ±® ¿ -«°»®ª·-»¼                         °®»³·-»- ¬¸¿¬ ¿ °»®-±² ±½½«°·»-ô
          »¨¬»®²-¸·° °®±¹®¿³ ·² -¿¬·-º¿½¬·±² ±º                      ½±³³·¬¬»¼ ¾§ ±® ±² ¾»¸¿´º ±º ·¬- ±©²»®ô
          ½«®®·½«´«³ ®»¯«·®»³»²¬-ô ¾«¬ ±²´§ ©¸·´»                    ´¿²¼´±®¼ ±® ´»--±®å
          °»®º±®³·²¹ -»®ª·½»- ±® ¿½¬·ª·¬·»- ©·¬¸·²               øì÷ ±®¿´ô ©®·¬¬»² ±® »´»½¬®±²·½ °«¾´·½¿¬·±² ±º
          ¬¸» -½±°» ±º -«½¸ ·²¬»®²-¸·° ±®                            ³¿¬»®·¿´ ¬¸¿¬ -´¿²¼»®- ±® ´·¾»´- ¿ °»®-±²
          »¨¬»®²-¸·° °®±¹®¿³ò                                        ±® ±®¹¿²·¦¿¬·±² ±® ¼·-°¿®¿¹»- ¿ °»®-±²ù-
      Ø±©»ª»®ô ¿ °¿®»²¬ó¬»¿½¸»® ±®¹¿²·¦¿¬·±² ·-                      ±® ±®¹¿²·¦¿¬·±²ù- ¹±±¼-ô °®±¼«½¬-ô ±®
      ²±¬ ¿² ×²-«®»¼ Ð»®-±² ·º ·¬ ·- ·²-«®»¼ «²¼»®                   -»®ª·½»-å
      ¿²§ ±¬¸»® ª¿´·¼ ¿²¼ ½±´´»½¬·¾´» »®®±®- ¿²¼                 øë÷ ±®¿´ô ©®·¬¬»² ±® »´»½¬®±²·½ °«¾´·½¿¬·±² ±º
      ±³·--·±²- ±® °®±º»--·±²¿´ ´·¿¾·´·¬§ ·²-«®¿²½»ò                 ³¿¬»®·¿´ ¬¸¿¬ ª·±´¿¬»- ¿ °»®-±²ù- ®·¹¸¬ ¬±
  øÕ÷ •Ô»¿-»¼ Û³°´±§»» ³»¿²­ ¿²§ °»®­±²                             °®·ª¿½§å
      ©¸±æ                                                       øê÷ ·²º®·²¹»³»²¬ô ¼·´«¬·±² ±® ³·-¿°°®±°®·¿¬·±²
                                                                     ±º ½±°§®·¹¸¬ô ¬®¿¼»³¿®µô ¬®¿¼» ²¿³»ô
      øï÷ °»®º±®³- -»®ª·½»- ·² ¬¸» ½±«®-» ±º ¬¸»
                                                                     ¬®¿¼» ¼®»--ô -»®ª·½» ³¿®µô -´±¹¿²ô ±® ¬·¬´»
          ×²-«®»¼ Û²¬·¬§ù- ¾«-·²»-- ±² ¬¸»
                                                                     ±º ¿²§ ´·¬»®¿®§ô ¿®¬·-¬·½ ©±®µ ±®
          ×²-«®»¼ Û²¬·¬§ù- °®»³·-»- «²¼»® ¬¸»
                                                                     ¿¼ª»®¬·-»³»²¬ô ¬®¿¼» -»½®»¬-ô ±® ±¬¸»®
          ×²-«®»¼ Û²¬·¬§ù- -«°»®ª·-·±²å
                                                                     ·²¬»´´»½¬«¿´ °®±°»®¬§å ±®
      øî÷ ·- °»®-±²¿´´§ ·¼»²¬·º·»¼ ·² ¿ ©®·¬¬»² ´»¿-»            øé÷ ´·¾»´ô -´¿²¼»®ô ¼»º¿³¿¬·±²ô °´¿¹·¿®·-³ô
          ½±²¬®¿½¬ ¾»¬©»»² ¬¸» ×²-«®»¼ Û²¬·¬§                        ³·-¿°°®±°®·¿¬·±²        ±º   ·¼»¿-ô      ±®
          ¿²¼ ¿ ´¿¾±® ´»¿-·²¹ º·®³ ®»¹¿®¼·²¹ ¬¸»                     «²¿«¬¸±®·¦»¼ «-» ±º ¬·¬´»ò
          °»®º±®³¿²½» ±º ¬¸» Ô»¿-»¼ Û³°´±§»»ù-
          -»®ª·½»-å ¿²¼                                      øÐ÷ •É®±²¹º«´ ß½¬ ³»¿²­æ
      øí÷ ·- -«¾¶»½¬ ¬± ¬¸» ×²-«®»¼ Û²¬·¬§ù- ¸«³¿²               øï÷ ¿² Û¼«½¿¬±®- ÛúÑ É®±²¹º«´ ß½¬å ±®
          ®»-±«®½» °±´·½·»- ¿²¼ °®±½»¼«®»-ò                      øî÷ ¿ Ý¸¿®¬»® Í½¸±±´ É®±²¹º«´ ß½¬ò
  øÔ÷ •Ô±¿²»¼ Û³°´±§»» ³»¿²­ ¿²§ °»®­±²                  ×××ò ÛÈÝÔËÍ×ÑÒÍ
      ©¸±-» »³°´±§³»²¬ ©·¬¸ ¬¸» ×²-«®»¼ Û²¬·¬§               É» -¸¿´´ ²±¬ °¿§ Ô±-- ·² ½±²²»½¬·±² ©·¬¸ ¿²§
      ·- ±² ´±¿² º®±³ ¿ -·³·´¿® »¼«½¿¬·±²¿´                  Ý´¿·³æ
      ·²-¬·¬«¬·±² ¿²¼ ©¸±-» ¶±¾ º«²½¬·±² ·- ¬¸»
      -¿³» º±® ¬¸» ×²-«®»¼ Û²¬·¬§ ¿- ·¬ ©¿- º±®              øß÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
      -«½¸ -·³·´¿® »¼«½¿¬·±²¿´ ·²-¬·¬«¬·±²ò                      ®»´¿¬»¼ ¬± ¿²§ ¾±¼·´§ ·²¶«®§ô Ð»®-±²¿´ ¿²¼
                                                                 ß¼ª»®¬·-·²¹ ×²¶«®§ô -·½µ²»--ô ¼·-»¿-»ô
  øÓ÷ •Ò±¬·½» Ó¿²¿¹»® ³»¿²­ ¿²§ ²¿¬«®¿´                         »³±¬·±²¿´ ¼·-¬®»--ô ³»²¬¿´ ¿²¹«·-¸ô ´±-- ±º
      °»®-±²      -»®ª·²¹     ¿-    °®»-·¼»²¬ñÝÛÑô               ½±²-±®¬·«³ô ±® ¼»¿¬¸ ±º ¿²§ °»®-±²ô ±®
      ½¸¿²½»´´±®ô °®±ª±-¬ô ½¸·»º º·²¿²½·¿´ ±ºº·½»®ô              ¼¿³¿¹» ¬± ±® ¼»-¬®«½¬·±² ±º ¿²§ ¬¿²¹·¾´»
      ¸»¿¼ ±º -½¸±±´ô °®·²½·°¿´ô -«°»®·²¬»²¼»²¬ô                 °®±°»®¬§ô ·²½´«¼·²¹ ´±-- ±º «-» ±® ¼·³·²«¬·±²
      ¹»²»®¿´ ½±«²-»´ô ½¸·»º ®·-µ ±ºº·½»®ô ¼·®»½¬±® ±º           ±º ª¿´«» ¬¸»®»±ºå °®±ª·¼»¼ô ¸±©»ª»®ô ¬¸¿¬ ¬¸·-
      ¸«³¿² ®»-±«®½»- ±® ¿²§ °±-·¬·±² »¯«·ª¿´»²¬                 »¨½´«-·±² -¸¿´´ ²±¬ ¿°°´§ ¬± Ô±-- º±®
      ¬± ¬¸» º±®»¹±·²¹ô ±º ¿² ×²-«®»¼ Û²¬·¬§ò                    ©®±²¹º«´ ·²º´·½¬·±² ±º ³»²¬¿´ ¿²¹«·-¸ ±®
  øÒ÷ •Ñ«¬-·¼» Û²¬·¬§ ³»¿²­ ¿²§æ                                »³±¬·±²¿´ ¼·-¬®»-- ¿´´»¹»¼ ·² ½±²²»½¬·±² ©·¬¸
      øï÷ ²±¬óº±®ó°®±º·¬ ½±®°±®¿¬·±²ô ½±³³«²·¬§                  ¿² Û¼«½¿¬±®- ÛúÑ É®±²¹º«´ ß½¬ ±º
          ½¸»-¬ô º«²¼ ±® º±«²¼¿¬·±² ¬¸¿¬ ·- »¨»³°¬               ¼·-½®·³·²¿¬·±²å
          º®±³ º»¼»®¿´ ·²½±³» ¬¿¨ ¿- ¿²                      øÞ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
          ±®¹¿²·¦¿¬·±² ¼»-½®·¾»¼ ·² Í»½¬·±²                      ®»´¿¬»¼ ¬± ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ »³°´±§³»²¬ó
          ëðïø½÷øí÷ ±º ¬¸» ×²¬»®²¿´ Î»ª»²«» Ý±¼»                 ®»´¿¬»¼æ ©®±²¹º«´ ¬»®³·²¿¬·±²å -»¨«¿´ ±®
          ±º ïçèêô ¬¸¿¬ ·- ²±¬ ¿² ×²-«®»¼ Û²¬·¬§å ±®             ©±®µ°´¿½»       ¸¿®¿--³»²¬å     ¼·-½®·³·²¿¬·±²å
      øî÷ »²¬·¬§ ±®¹¿²·¦»¼ º±® ¿ ®»´·¹·±«- ±®                    ®»¬¿´·¿¬·±²å ¾®»¿½¸ ±º ¿²§ »¨°®»-- ±® ·³°´·»¼
          ½¸¿®·¬¿¾´» °«®°±-» «²¼»® ¿²§ ²±¬óº±®ó                  »³°´±§³»²¬ ½±²¬®¿½¬å ©®±²¹º«´ ·²º´·½¬·±² ±º
          °®±º·¬ -¬¿¬«¬»ô ¬¸¿¬ ·- ²±¬ ¿² ×²-«®»¼                 ³»²¬¿´ ¿²¹«·-¸ ±® »³±¬·±²¿´ ¼·-¬®»--å º¿·´«®»
          Û²¬·¬§ò                                                ¬± ½®»¿¬»ô °®±ª·¼» º±® ±® »²º±®½» ¿¼»¯«¿¬» ±®
                                                                 ½±²-·-¬»²¬ »³°´±§³»²¬ó®»´¿¬»¼ °±´·½·»- ¿²¼
  øÑ÷ •Ð»®-±²¿´ ¿²¼ ß¼ª»®¬·-·²¹ ×²¶«®§ ³»¿²­                    °®±½»¼«®»-å ²»¹´·¹»²¬ ®»¬»²¬·±²å ²»¹´·¹»²¬
      ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼æ                                     -«°»®ª·-·±²å       ²»¹´·¹»²¬      »³°´±§³»²¬
      øï÷ º¿´-» ¿®®»-¬ô ¼»¬»²¬·±² ±® ·³°®·-±²³»²¬å               »ª¿´«¿¬·±²å ²»¹´·¹»²¬ ¸·®·²¹ ±® ²»¹´·¹»²¬
      øî÷ ³¿´·½·±«-    °®±-»½«¬·±²    ±®   ¿¾«-»   ±º            ¬®¿·²·²¹å ·²ª¿-·±² ±º °®·ª¿½§å ¼»º¿³¿¬·±² ±®
          °®±½»--å                                               ³·-®»°®»-»²¬¿¬·±²å


      Case
Ú±®³ ØÙ     3:24-cv-00490-FDW-SCR
        ðð ðé ðí ïë                             Document 1-4 Filed 05/21/24 Page 277 of 579
                                                                                        Ð¿¹» í ±º ê
  øÝ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§                   ¿¹®»»³»²¬ ±¬¸»® ¬¸¿² ¿ ½±²¬®¿½¬ º±®
      ®»´¿¬»¼ ¬±æ                                               »¼«½¿¬·±²¿´ -»®ª·½»- ¾»¬©»»² ¿ -¬«¼»²¬ ¿²¼
      øï÷ ¿² ×²-«®»¼ Ð»®-±²ù- -»®ª·½» ¿¬ ¿²§ ¬·³»               ¬¸» ×²-«®»¼ Û²¬·¬§å °®±ª·¼»¼ ¬¸¿¬ ¬¸·-
          º±® ¿²§ »²¬·¬§ ±¬¸»® ¬¸¿² ¿² ×²-«®»¼                  »¨½´«-·±² -¸¿´´ ²±¬ ¿°°´§ ¬± ¬¸» »¨¬»²¬ ¬¸¿¬
          Û²¬·¬§ô ·²½´«¼·²¹ ¿² Ñ«¬-·¼» Û²¬·¬§ô                  ´·¿¾·´·¬§ ©±«´¼ ¸¿ª» ¾»»² ·²½«®®»¼ ·² ¬¸»
          »ª»² ·º -«½¸ -»®ª·½» ·- ¿¬ ¬¸» ¼·®»½¬·±² ±®           ¿¾-»²½» ±º -«½¸ ½±²¬®¿½¬ ±® ¿¹®»»³»²¬å
          ®»¯«»-¬ ±º -«½¸ ×²-«®»¼ Û²¬·¬§å                   ø×÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
                                                                ®»´¿¬»¼ ¬± ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ª·±´¿¬·±² ±º
      øî÷ ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ª·±´¿¬·±² ±º -¬¿¬»
                                                                ÛÎ×Íß ±® ¿²§ -·³·´¿® ´¿©ô ±® ¿²§ º·¼«½·¿®§
          -¬¿¬«¬»- ¾§ ¿²§ ×²-«®»¼ Û²¬·¬§ ¾±¿®¼-
                                                                ®»-°±²-·¾·´·¬·»- ©·¬¸ ®»¹¿®¼ ¬± °»²-·±² °´¿²-ô
          ±® ¬®«-¬»»-ô ±® ¬¸»·® ½±²¬®¿½¬±®-ô ·²
          ½±²²»½¬·±² ©·¬¸ ½±²-¬®«½¬·±² °®±¶»½¬- ±®              ®»¬·®»³»²¬ °´¿²-ô »³°´±§»» ¾»²»º·¬ °´¿²- ±®
                                                                »³°´±§»» -¬±½µ ±©²»®-¸·° °´¿²-å
          ½±²-¬®«½¬·±² ®»´¿¬»¼ ©±®µ º±® ¬¸»
          ×²-«®»¼ Û²¬·¬§å ±®                                øÖ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
                                                                ®»´¿¬»¼ ¬± ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ª·±´¿¬·±² ±º
      øí÷ ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ²»¹´·¹»²¬ »®®±®ô
                                                                ¬¸» ®»-°±²-·¾·´·¬·»-ô ¼«¬·»- ±® ±¾´·¹¿¬·±²-
          ³·--¬¿¬»³»²¬ô ¿½¬ô ±³·--·±²ô ²»¹´»½¬ ±®
                                                                ·³°±-»¼ «²¼»® ¿²§ ´¿© ®»¹¿®¼·²¹ Í±½·¿´
          ¾®»¿½¸ ±º ¼«¬§ ½±³³·¬¬»¼ ¾§ ¿²§
                                                                Í»½«®·¬§ô «²»³°´±§³»²¬ ·²-«®¿²½»ô ©±®µ»®-ù
          ×²-«®»¼ Û²¬·¬§ ¾±¿®¼-ô ¬®«-¬»»- ±®
                                                                ½±³°»²-¿¬·±²ô ¼·-¿¾·´·¬§ ·²-«®¿²½»ô ±® ¿²§
          »³°´±§»»- ·² ¬¸»·® ½¿°¿½·¬§ ¿- ¿ °«¾´·½
                                                                -·³·´¿® ´¿©å
          »³°´±§»®ô      ·²    ½±²²»½¬·±²       ©·¬¸
          ¿¼³·²·-¬®¿¬·ª» ¸»¿®·²¹- ±® ¬¿¨ ·--«»-å            øÕ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
                                                                ®»´¿¬»¼ ¬± ¿²§ É¿¹» ¿²¼ Ø±«® Ê·±´¿¬·±² ±®
  øÜ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
                                                                ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ª·±´¿¬·±² ±º ¬¸» Ú¿·®
      ®»´¿¬»¼ ¬± ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ¿--¿«´¬ô
                                                                Ô¿¾±® Í¬¿²¼¿®¼- ß½¬ô Û¯«¿´ Ð¿§ ß½¬ô Ú¿³·´§
      ¾¿¬¬»®§ô ¿¾«-» ±® ³±´»-¬¿¬·±²ô ·²½´«¼·²¹ ¿²§
                                                                ¿²¼ Ó»¼·½¿´ Ô»¿ª» ß½¬ô É±®µ»® ß¼¶«-¬³»²¬
      -»¨«¿´ ¿--¿«´¬ô -»¨«¿´ ¾¿¬¬»®§ô -»¨«¿´ ¿¾«-»
                                                                ¿²¼ Î»¬®¿·²·²¹ Ò±¬·º·½¿¬·±² ß½¬ô Ò¿¬·±²¿´
      ±® -»¨«¿´ ³±´»-¬¿¬·±²ô ±® ¿²§ ¿½¬«¿´ ±®
                                                                Ô¿¾±® Î»´¿¬·±²- ß½¬ô Ñ½½«°¿¬·±²¿´ Í¿º»¬§
      ¿´´»¹»¼ ´¿½µ ±º -«°»®ª·-·±² ¿´´±©·²¹ ¿²§ -«½¸
                                                                ¿²¼ Ø»¿´¬¸ ß½¬ô Ý±²-±´·¼¿¬»¼ Ñ³²·¾«-
      ½±²¼«½¬ ¬± ±½½«®å
                                                                Þ«¼¹»¬ Î»½±²½·´·¿¬·±² ß½¬ ±º ïçèë ±® ¿²§
  øÛ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§                   -·³·´¿® ´¿©å
      ®»´¿¬»¼ ¬± ¿²§ °®·±® ±® °»²¼·²¹ ¼»³¿²¼ô
                                                            øÔ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
      ¿´´»¹¿¬·±²ô -«·¬ô -°»½·¿´ »¼«½¿¬·±² ¸»¿®·²¹ ±®
                                                                ®»´¿¬»¼ ¬± ¿²§ ´·-¬·²¹ ±® ±ºº»®·²¹ ±º -»½«®·¬·»-
      °®±½»»¼·²¹ ·²ª±´ª·²¹ ¿²§ ×²-«®»¼ ¿- ±º ¬¸»
                                                                ±º ¿² ×²-«®»¼ Û²¬·¬§ ±® ¬¸» °«®½¸¿-» ±® -¿´»
      ¿°°´·½¿¾´» Î»¬®±¿½¬·ª» Ü¿¬» ·² ×¬»³ ë ±º ¬¸»
                                                                ±º -«½¸ -»½«®·¬·»- -«¾-»¯«»²¬ ¬± -«½¸ ´·-¬·²¹
      Ü»½´¿®¿¬·±²- ±® ¬¸» -¿³» ±® ¿²§
                                                                ±® ±ºº»®·²¹ô ±® ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ª·±´¿¬·±²
      -«¾-¬¿²¬·¿´´§ -·³·´¿® º¿½¬ô ½·®½«³-¬¿²½» ±®
                                                                ±º ¿²§ -»½«®·¬·»- ´¿©- ±® ®»¹«´¿¬·±²-
      -·¬«¿¬·±² «²¼»®´§·²¹ ±® ¿´´»¹»¼ ·² -«½¸
                                                                ¿²§©¸»®» ·² ¬¸» ©±®´¼å
      ¼»³¿²¼ô ¿´´»¹¿¬·±²ô -«·¬ô ¸»¿®·²¹ ±®
      °®±½»»¼·²¹å                                           øÓ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
                                                                ®»´¿¬»¼ ¬± °®·½» º·¨·²¹ô ®»-¬®¿·²¬ ±º ¬®¿¼»ô
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                                                                ³±²±°±´·¦¿¬·±²ô ±® ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼
      ®»´¿¬»¼ ¬± ¿²§ º¿½¬ô ½·®½«³-¬¿²½»ô -·¬«¿¬·±² ±®
                                                                ª·±´¿¬·±² ±º ¬¸» Í¸»®³¿² ß²¬·¬®«-¬ ß½¬ô
      É®±²¹º«´ ß½¬ ¬¸¿¬ô ¾»º±®» ¬¸» ×²½»°¬·±²
                                                                Ý´¿§¬±² ß½¬ô ±® ¿²§ -·³·´¿® ´¿© ®»¹«´¿¬·²¹
      Ü¿¬» ·² ×¬»³ í ±º ¬¸» Ü»½´¿®¿¬·±²-ô ©¿- ¬¸»
                                                                ¿²¬·¬®«-¬ô ³±²±°±´§ô °®·½» º·¨·²¹ô °®·½»
      -«¾¶»½¬ ±º ¿²§ ²±¬·½» ¹·ª»² «²¼»® ¿²§ ±¬¸»®
                                                                ¼·-½®·³·²¿¬·±²ô °®»¼¿¬±®§ °®·½·²¹ ±® ®»-¬®¿·²¬
      ¼·®»½¬±®- ¿²¼ ±ºº·½»®- ´·¿¾·´·¬§ °±´·½§ô
                                                                ±º ¬®¿¼» ¿½¬·ª·¬·»-å
      ³¿²¿¹»³»²¬ ´·¿¾·´·¬§ °±´·½§ô »³°´±§³»²¬
      °®¿½¬·½»- ´·¿¾·´·¬§ °±´·½§ô »®®±®- ¿²¼                øÒ÷ ¾®±«¹¸¬ ±® ³¿·²¬¿·²»¼ ¾§ ±® ±² ¾»¸¿´º ±º ¿²§
      ±³·--·±²- ´·¿¾·´·¬§ °±´·½§ ±® -·³·´¿® ·²-«®¿²½»           ×²-«®»¼ ø·² ¿²§ ½¿°¿½·¬§÷ ±® ¾§ ¿²§ ±©²»® ±º
      °±´·½§ ¬¸¿¬ ·²-«®»- É®±²¹º«´ ß½¬- ½±ª»®»¼                 ¿² ×²-«®»¼ Û²¬·¬§å °®±ª·¼»¼ ¬¸¿¬ ¬¸·-
      «²¼»® ¬¸·- Ð±´·½§å                                        »¨½´«-·±² -¸¿´´ ²±¬ ¿°°´§ ¬± ¬¸» °±®¬·±² ±º
                                                                Ô±-- ¼·®»½¬´§ ¿®·-·²¹ º®±³ ¿ ½·ª·´ °®±½»»¼·²¹
  øÙ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
      ®»´¿¬»¼ ¬± ¿²§ º¿½¬ô ½·®½«³-¬¿²½»ô -·¬«¿¬·±² ±®           ¾§ ±® ±² ¾»¸¿´º ±º ¿² ×²-«®»¼ Ð»®-±² º±®
      É®±²¹º«´ ß½¬ ¿¾±«¬ ©¸·½¸ ¿²§ Ò±¬·½»                       ½±²¬®·¾«¬·±² ±® ·²¼»³²·º·½¿¬·±² ·º -«½¸ Ý´¿·³
      Ó¿²¿¹»® ¸¿¼ µ²±©´»¼¹» °®·±® ¬± ¬¸»                        ¼·®»½¬´§ ®»-«´¬- º®±³ ¿ Ý´¿·³ ¬¸¿¬ ·-
      ·²½»°¬·±² ¼¿¬» ±º ¬¸» º·®-¬ Û¼«½¿¬±®-                     ±¬¸»®©·-» ½±ª»®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹»
      Ð®±º»--·±²¿´ Ý¸±·½» Ð±´·½§ ·--«»¼ ¿²¼                     Ð¿®¬å
      ½±²¬·²«±«-´§ ®»²»©»¼ ¾§ «-å                           øÑ÷ ©·¬¸ ®»¹¿®¼ ¬± ¿ Ý¸¿®¬»® Í½¸±±´æ
  øØ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§                   øï÷ º±® ¿²§ ·--«¿²½» ±® ®»ª±½¿¬·±² ±ºô ¿²§
      ®»´¿¬»¼ ¬± ¿²§ ´·¿¾·´·¬§ «²¼»® ¿²§ ½±²¬®¿½¬ ±®                º¿·´«®» ¬± ¹®¿²¬ô ®»¬¿·² ±® ®»²»©ô ±® ¿²§


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          ¼»²·¿´ ±º ¿ ½¸¿®¬»® ¬± -«½¸ Ý¸¿®¬»®                       °®»-»²¬ Ó¿²¿¹»® ±º ¬¸» Ò¿³»¼ Û²¬·¬§
          Í½¸±±´ô ·²½´«¼·²¹ ¬¸» ³¿·²¬»²¿²½»ô                        ½±³³·¬¬»¼ -«½¸ ¿² ¿½¬ô ±³·--·±² ±®
          ½¿²½»´´¿¬·±² ±® »¨°·®¿¬·±² ±º ¿²§ ½¸¿®¬»®å                ©·´´º«´ ª·±´¿¬·±²å
          ±®                                                    ¿²¼ º«®¬¸»®ô °®±ª·¼»¼ ¬¸¿¬ º±® ¬¸» °«®°±-»- ±º
      øî÷ º±® -«½¸ Ý¸¿®¬»® Í½¸±±´ù- ½±³°´·¿²½»                  ¬¸·- ÛÈÝÔËÍ×ÑÒ øÍ÷ô ¬¸» É®±²¹º«´ ß½¬ ±º
          ©·¬¸ ¿´´ ¿°°´·½¿¾´» ´¿©-ô ®«´»- ¿²¼                   ¿² ×²-«®»¼ Ð»®-±² -¸¿´´ ²±¬ ¾» ·³°«¬»¼ ¬±
          ®»¹«´¿¬·±²- ®»¹¿®¼·²¹ ½¸¿®¬»® -½¸±±´                  ¿²§ ±¬¸»® ×²-«®»¼ Ð»®-±²å
          »-¬¿¾´·-¸³»²¬ ¿²¼ ½±²¬·²«¿¬·±² ·² ¬¸»             øÌ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
          -½¸±±´ ¼·-¬®·½¬ ±® ±¬¸»® ±ºº·½» ±º                    ®»´¿¬»¼ ¬± ¬¸» º¿·´«®» ¬± °«®½¸¿-» °®±°»®
          »¼«½¿¬·±² ¬¸¿¬ ¹®¿²¬»¼ -«½¸ Ý¸¿®¬»®                   ·²-«®¿²½» ±® ³¿·²¬¿·² ¿¼»¯«¿¬» ´·³·¬- ±º
          Í½¸±±´ù- ½¸¿®¬»®å                                     ·²-«®¿²½»å
  øÐ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§               øË÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
      ®»´¿¬»¼ ¬± ¬¸» °®±ª·-·±² ±º -»½«®·¬§ ±® °±´·½»            ®»´¿¬»¼ ¬± ¿²§æ
      -»®ª·½»-å
                                                                øï÷ ¿½¬«¿´ ±® ¿´´»¹»¼ ¼·-½¸¿®¹»ô ¼·-°»®-¿´ô
  øÏ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§                       ®»´»¿-»ô ±® »-½¿°» ±º Ð±´´«¬¿²¬-ô ±® ¿²§
      ®»´¿¬»¼ ¬± ¬¸» ¿½¬«¿´ ±® ¿´´»¹»¼ °®±ª·-·±² ±®                 ¬¸®»¿¬ ±º -«½¸ ¼·-½¸¿®¹»ô ¼·-°»®-¿´ô
      º¿·´«®» ¬± °®±ª·¼» ¿²§ ³»¼·½¿´ ±® ¸»¿´¬¸                      ®»´»¿-» ±® »-½¿°»å ±®
      -»®ª·½»-å °-§½¸·¿¬®·½ô °-§½¸±´±¹·½¿´ô ±®
      ½±«²-»´·²¹ -»®ª·½»-å ®»´·¹·±«- ±® -°·®·¬«¿´               øî÷ ¼·®»½¬·±²ô ®»¯«»-¬ ±® ª±´«²¬¿®§ ¼»½·-·±²
      ¹«·¼¿²½»å ´»¹¿´ ±® ¼»²¬¿´ -»®ª·½»- ±® -·³·´¿®                 ¬± ¬»-¬ º±®ô ¿¾¿¬»ô ³±²·¬±®ô ½´»¿² «°ô
      °®±º»--·±²¿´ -»®ª·½»- ¬± ¿²§ ½«-¬±³»®ô ½´·»²¬                 ®»³±ª»ô ½±²¬¿·²ô ¬®»¿¬ô ¼»¬±¨·º§ ±®
      ±® ·²¼·ª·¼«¿´å ¸±©»ª»®ô ¬¸·- »¨½´«-·±² -¸¿´´                  ²»«¬®¿´·¦» Ð±´´«¬¿²¬-å
      ²±¬ ¿°°´§ ¬± ¿²§ Ý´¿·³ ¿®·-·²¹ ±«¬ ±º ¬¸»             øÊ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§
      »¼«½¿¬·±² ±® ¬»¿½¸·²¹ ±º -¬«¼»²¬-ô ±® ¬¸»                 ®»´¿¬»¼ ¬± ¿²§ ¿½¬«¿´ ±® ¿´´»¹»¼ ²«½´»¿®
      Û¼«½¿¬±®- ÛúÑ É®±²¹º«´ ß½¬ ±º ¿ -½¸±±´                    ®»¿½¬·±²ô ²«½´»¿® ®¿¼·¿¬·±²ô ±® ®¿¼·±¿½¬·ª»
      °-§½¸±´±¹·-¬ô    ¿ -½¸±±´      °-§½¸±³»¬®·-¬              ½±²¬¿³·²¿¬·±²ô ¸±©»ª»® ½¿«-»¼ô ©¸»¬¸»®
      -«°»®ª·-»¼ ¾§ ¿ -½¸±±´ °-§½¸±´±¹·-¬ô ±® ¿                 ·²¬»²¬·±²¿´ ±® «²·²¬»²¬·±²¿´ô ·²½´«¼·²¹ ¬¸»
      -½¸±±´ ½±«²-»´±® »³°´±§»¼ ¾§ §±«å                         ®»´»¿-»ô ¼·-°»®-¿´ ±® ¿°°´·½¿¬·±² ±º
  øÎ÷ º±® ¼·-°¿®¿¬» ¬®»¿¬³»²¬ ¼·-½®·³·²¿¬·±²                    ®¿¼·±¿½¬·ª» ³¿¬»®·¿´ô ±® ¬¸» «-» ±º ¿ ²«½´»¿®
                                                                ©»¿°±² ±® ¼»ª·½» ¬¸¿¬ ·²ª±´ª»- ±® °®±¼«½»-
      ½±³³·¬¬»¼ ¾§ ¿² ×²-«®»¼å °®±ª·¼»¼ ¬¸¿¬ ¬¸·-
                                                                ¿ ²«½´»¿® ®»¿½¬·±²ô ²«½´»¿® ®¿¼·¿¬·±² ±®
      »¨½´«-·±² -¸¿´´ ²±¬ ¿°°´§ ¬±æ
                                                                ®¿¼·±¿½¬·ª» ½±²¬¿³·²¿¬·±² ±® ®¿¼·±¿½¬·ª»
      øï÷ ¿²§ Ý´¿·³ ¾¿-»¼ ±² ¬¸» ª·½¿®·±«- ´·¿¾·´·¬§            º±®½»ò
          ±º ¬¸» ×²-«®»¼ Û²¬·¬§ º±® ¬¸» ¿½¬ø-÷ ±º ¿²
                                                         ×Êò ÑÌØÛÎ ×ÒÍËÎßÒÝÛ
          ×²-«®»¼ Ð»®-±²å
                                                            Ì¸·- Ý±ª»®¿¹» Ð¿®¬ ·- »¨½»-- ±ºô ¿²¼ ©·´´ ²±¬
      øî÷ ¿²§ Ý´¿·³ ¿´´»¹·²¹ ¼·-°¿®¿¬» ·³°¿½¬
                                                            ½±²¬®·¾«¬» ©·¬¸æ
          ¼·-½®·³·²¿¬·±² ½±³³·¬¬»¼ ¾§ ¿² ×²-«®»¼å
          ±®                                                øß÷ ¿²§ ±¬¸»® ª¿´·¼ ¿²¼ ½±´´»½¬·¾´» ·²-«®¿²½»
                                                                ¿ª¿·´¿¾´» ¬± ¿²§ ×²-«®»¼ô «²´»-- -«½¸ ±¬¸»®
      øí÷ Ü»º»²-» Û¨°»²-»-ò
                                                                ·²-«®¿²½» ·- ©®·¬¬»² -°»½·º·½¿´´§ ·² »¨½»-- ±º
  øÍ÷ ¾¿-»¼ «°±²ô ¿®·-·²¹ º®±³ô ±® ·² ¿²§ ©¿§                   ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¾§ ®»º»®»²½» ·² -«½¸
      ®»´¿¬»¼ ¬±æ                                               ±¬¸»® ·²-«®¿²½» ¬± ¬¸·- Ð±´·½§ù- Ð±´·½§
      øï÷ ¬¸» ¹¿·²·²¹ ±º ¿²§ °®±º·¬ô ®»³«²»®¿¬·±² ±®            Ò«³¾»® ¿²¼ º±®³ ¬·¬´»å ±®
           ¿¼ª¿²¬¿¹» ¾§ ¿² ×²-«®»¼ ¬± ©¸·½¸ -«½¸            øÞ÷ ¿²§ ·²¼»³²·º·½¿¬·±² ¬± ©¸·½¸ ¿²§ ×²-«®»¼
           ×²-«®»¼ ·- ²±¬ ´»¹¿´´§ »²¬·¬´»¼ ·º ¿                 Ð»®-±² ·- »²¬·¬´»¼ º®±³ ¿²§ »²¬·¬§ ±¬¸»® ¬¸¿²
          ¶«¼¹³»²¬ ±® ±¬¸»® º·²¿´ ¿¼¶«¼·½¿¬·±²                  ¬¸» ×²-«®»¼ Û²¬·¬§ò
           »-¬¿¾´·-¸»- ¬¸¿¬ -«½¸ ¿ ¹¿·² ¼·¼ ±½½«®å
                                                         Êò ÒÑÌ×ÝÛ ÑÚ ÝÔß×Ó
      øî÷ ¿²§ ¾®»¿½¸ ±º º·¼«½·¿®§ ¼«¬§ ·² ¬¸»
                                                            øß÷ ß- ¿ ½±²¼·¬·±² °®»½»¼»²¬ ¬± ½±ª»®¿¹» «²¼»®
          ¸¿²¼´·²¹ ±® ³¿²¿¹·²¹ ±º °«¾´·½ ±® °®·ª¿¬»
          ³±²·»-ô ·²ª»-¬³»²¬-ô ¹®¿²¬- ±® ±¬¸»®                  ¬¸·- Ý±ª»®¿¹» Ð¿®¬ô ¬¸» ×²-«®»¼- -¸¿´´æ
          º«²¼-å ±®                                             øï÷ ¹·ª» «- ©®·¬¬»² ²±¬·½» ±º ¿²§ Ý´¿·³ ¿-
      øí÷ ¿²§ ½®·³·²¿´ ±® ¼»´·¾»®¿¬»´§ º®¿«¼«´»²¬                   -±±² ¿- °®¿½¬·½¿¾´» ¿º¬»® ¿ Ò±¬·½»
          ¿½¬ ±® ±³·--·±² ±® ¿²§ ©·´´º«´ ª·±´¿¬·±² ±º               Ó¿²¿¹»® ¾»½±³»- ¿©¿®» ±º -«½¸
          ´¿© ¾§ ¿² ×²-«®»¼ ·º ¿ ¶«¼¹³»²¬ ±® ±¬¸»®                  Ý´¿·³ô ¾«¬ ·² ²± »ª»²¬ ´¿¬»® ¬¸¿²æ
          º·²¿´ ¿¼¶«¼·½¿¬·±² »-¬¿¾´·-¸»- -«½¸ ¿²                    ø¿÷ ·º ¬¸·- Ð±´·½§ »¨°·®»- ±® ·- ±¬¸»®©·-»
          ¿½¬ô ±³·--·±² ±® ª·±´¿¬·±²å °®±ª·¼»¼ô                         ¬»®³·²¿¬»¼ ©·¬¸±«¬ ¾»·²¹ ®»²»©»¼
          ¸±©»ª»®ô ¬¸¿¬ ¬¸·- »¨½´«-·±² -¸¿´´ ±²´§                       ©·¬¸ «-ô ²·²»¬§ øçð÷ ¼¿§- ¿º¬»® ¬¸»
          ¿°°´§ ¬± ×²-«®»¼ Û²¬·¬·»- ·º ¿ °¿-¬ ±®                        »ºº»½¬·ª» ¼¿¬» ±º -¿·¼ »¨°·®¿¬·±² ±®
                                                                        ¬»®³·²¿¬·±²å ±®

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                                                                                       Ð¿¹» ë ±º ê
          ø¾÷ ¬¸» »¨°·®¿¬·±² ±º ¿²§ ¿°°´·½¿¾´»            øÝ÷ ×º ²±¬·½» ±º ¿ Ý´¿·³ ¸¿- ¾»»² ¹·ª»² «²¼»®
              Û¨¬»²¼»¼ Î»°±®¬·²¹ Ð»®·±¼å                      »·¬¸»® ¬¸» Ü·®»½¬±®-ô Ñºº·½»®- ¿²¼ Û²¬·¬§
          °®±ª·¼»¼ô ¸±©»ª»®ô ¬¸¿¬ ·º ¬¸·- Ð±´·½§ ·-           Ô·¿¾·´·¬§ Ý±ª»®¿¹» Ð¿®¬ ±® Û³°´±§³»²¬
          ½¿²½»´´»¼ º±® ²±²ó°¿§³»²¬ ±º °®»³·«³ô               Ð®¿½¬·½»- Ô·¿¾·´·¬§ Ý±ª»®¿¹» Ð¿®¬ ¿²¼ ¿
          ¬¸» ×²-«®»¼- ©·´´ ¹·ª» «- ©®·¬¬»² ²±¬·½»            ¼»¬»®³·²¿¬·±² ·- ³¿¼» ¾§ «- ¬¸¿¬ -«½¸ Ý´¿·³
          ±º -«½¸ Ý´¿·³ °®·±® ¬± ¬¸» »ºº»½¬·ª» ¼¿¬»           ©±«´¼ ¾» ½±ª»®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬
          ±º ½¿²½»´´¿¬·±²å ¿²¼                                ·º ²±¬·½» ¸¿¼ ¾»»² ¹·ª»² «²¼»® ¬¸·-
                                                              Ý±ª»®¿¹» Ð¿®¬ô ¬¸»² ¬¸» ×²-«®»¼- -¸¿´´ ¾»
      øî÷ º±®©¿®¼ ¬± «- ¿- -±±² ¿- °®¿½¬·½¿¾´»
                                                              ¼»»³»¼ ¬± ¸¿ª» ¹·ª»² ²±¬·½» ±º -«½¸ Ý´¿·³
          «°±² ®»½»·°¬ »ª»®§ ¼»³¿²¼ô ²±¬·½»ô
                                                              «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿¬ ¬¸» -¿³» ¬·³»
          -«³³±²-ô ½±³°´¿·²¬ ±® ±¬¸»® ´»¹¿´
                                                              ¬¸¿¬ ²±¬·½» ©¿- ¹·ª»² «²¼»® -«½¸ ±¬¸»®
          ½±®®»-°±²¼»²½»       ±®   ³¿¬»®·¿´-   ·²
                                                              Ý±ª»®¿¹» Ð¿®¬ò
          ½±²²»½¬·±² ©·¬¸ ¿²§ Ý´¿·³ô ¿«¬¸±®·¦» «-
          ¬± ±¾¬¿·² ®»½±®¼- ¿²¼ ±¬¸»® ·²º±®³¿¬·±²ô     Ê×ò ÝÑÑÎÜ×ÒßÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ
          ¿²¼ ½±±°»®¿¬» ©·¬¸ «- ·² ¬¸»                    ×º ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿²¼ »·¬¸»® ¬¸» Ü·®»½¬±®-ô
          ·²ª»-¬·¹¿¬·±²ô -»¬¬´»³»²¬ ±® ¼»º»²-» ±º         Ñºº·½»®- ¿²¼ Û²¬·¬§ Ô·¿¾·´·¬§ Ý±ª»®¿¹» Ð¿®¬ ±®
          -«½¸ Ý´¿·³ò                                     Û³°´±§³»²¬ Ð®¿½¬·½»- Ô·¿¾·´·¬§ Ý±ª»®¿¹» Ð¿®¬ ·-
  øÞ÷ ×º ¼«®·²¹ ¬¸» Ð±´·½§ Ð»®·±¼ ¬¸» ×²-«®»¼-            ·²½´«¼»¼ «²¼»® ¬¸·- Ð±´·½§ô ¿²¼ ¿ Ý´¿·³ ·-
      ¾»½±³» ¿©¿®» ±º ¿ É®±²¹º«´ ß½¬ ¬¸¿¬ ³¿§             ½±ª»®»¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ¿²¼ ¿²§ -«½¸
      ®»¿-±²¿¾´§ ¾» »¨°»½¬»¼ ¬± ¹·ª» ®·-» ¬± ¿            ±¬¸»® Ý±ª»®¿¹» Ð¿®¬ô Ô±-- -¸¿´´ ¾» º·®-¬ ½±ª»®»¼
      Ý´¿·³ô ¿²¼ ·º ©®·¬¬»² ²±¬·½» ±º -«½¸                ¿²¼ °¿·¼ «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ò
      É®±²¹º«´ ß½¬ ·- ¹·ª»² ¬± «- ¼«®·²¹ ¬¸»
      Ð±´·½§ Ð»®·±¼ô ·²½´«¼·²¹ ¬¸» ®»¿-±²- º±®
      ¿²¬·½·°¿¬·²¹ -«½¸ ¿ Ý´¿·³ô ¬¸» ²¿¬«®» ¿²¼
      ¼¿¬» ±º ¬¸» É®±²¹º«´ ß½¬ô ¬¸» ·¼»²¬·¬§ ±º ¬¸»
      ×²-«®»¼- ¿´´»¹»¼´§ ·²ª±´ª»¼ô ¬¸» ¿´´»¹»¼
      ·²¶«®·»- ±® ¼¿³¿¹»- -«-¬¿·²»¼ô ¬¸» ²¿³»- ±º
      °±¬»²¬·¿´ ½´¿·³¿²¬-ô ¿²¼ ¬¸» ³¿²²»® ·² ©¸·½¸
      ¬¸» ×²-«®»¼- º·®-¬ ¾»½¿³» ¿©¿®» ±º ¬¸»
      É®±²¹º«´ ß½¬ô ¬¸»² ¿²§ Ý´¿·³ -«¾-»¯«»²¬´§
      ¿®·-·²¹ º®±³ -«½¸ É®±²¹º«´ ß½¬ -¸¿´´ ¾»
      ¼»»³»¼ ¬± ¾» ¿ Ý´¿·³ º·®-¬ ³¿¼» ¼«®·²¹ ¬¸»
      Ð±´·½§ Ð»®·±¼ ±² ¬¸» ¼¿¬» ¬¸¿¬ ©» ®»½»·ª»
      ¬¸» ¿¾±ª» ²±¬·½»ò




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                                                                                     ðð ðé ðí ïë
      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


           Ó×ÍÍ×ÍÍ×ÐÐ× ÝØßÒÙÛÍ ó ÝßÒÝÛÔÔßÌ×ÑÒ ßÒÜ
                         ÒÑÒÎÛÒÛÉßÔ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ¬¸» °®±ª·-·±²- ±º ¬¸» º±´´±©·²¹æ

        ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ 
        ÝÑÓÓÑÒ ÌÛÎÓÍ ßÒÜ ÝÑÒÜ×Ì×ÑÒÍ

Í»½¬·±² È ÝßÒÝÛÔÔßÌ×ÑÒñÒÑÒÎÛÒÛÉßÔ øÜ÷ ±º ¬¸» Ý±³³±² Ì»®³- ¿²¼ Ý±²¼·¬·±²- ±º ¬¸·- Ð±´·½§ ·- ¼»´»¬»¼
¿²¼ ®»°´¿½»¼ ©·¬¸ ¬¸» º±´´±©·²¹æ
øÜ÷ É» ©·´´ ²±¬ ¾» ®»¯«·®»¼ ¬± ®»²»© ¬¸·- Ð±´·½§ «°±² ·¬- »¨°·®¿¬·±²ò É» ©·´´ °®±ª·¼» ¬¸» Ò¿³»¼ Û²¬·¬§ ©·¬¸ ¬¸·®¬§
    øíð÷ ¼¿§-ù ©®·¬¬»² ²±¬·½» ±º ¿²§ ²±²®»²»©¿´ò




Ú±®³ ØÙ çç ïï ðí ïë                                                                                   Ð¿¹» ï ±º ï
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                                   îðïëô Ì¸» Ø¿®¬º±®¼
                                                                          ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                           ßÞÍÑÔËÌÛ ÔÛßÜ ÛÈÝÔËÍ×ÑÒ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ
        ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
        ÑÉÒÛÎÍ ßÒÜ ÝÑÒÌÎßÝÌÑÎÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
        ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
        Îß×ÔÎÑßÜ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
        ÚßÎÓ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ


Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± ¿²§ ¼¿³¿¹»-ô                 ½ò    ß®·-» ±«¬ ±º ¿²§ ½´¿·³ ±® ¿²§ ùù-«·¬ùù º±®
¶«¼¹³»²¬-ô -»¬¬´»³»²¬-ô ´±--ô ½±-¬- ±® »¨°»²-»- ¬¸¿¬æ               ¼¿³¿¹»- ¾»½¿«-» ±ºæ
    ¿ò Ó¿§ ¾» ¿©¿®¼»¼ ±® ·²½«®®»¼ ¾§ ®»¿-±² ±º ¿²§                ïò ×¼»²¬·º·½¿¬·±² ±ºô ¿¾¿¬»³»²¬ ±ºô ¬»-¬·²¹ º±®ô
       ½´¿·³ ±® ùù-«·¬ùù ¿´´»¹·²¹ ¿½¬«¿´ ±® ¬¸®»¿¬»²»¼                -¿³°´·²¹ô ³±²·¬±®·²¹ô ½´»¿²·²¹ «°ô
       ·²¶«®§ ±® ¼¿³¿¹» ±º ¿²§ ²¿¬«®» ±® µ·²¼ ¬±                      ®»³±ª·²¹ô ½±ª»®·²¹ô ½±²¬¿·²·²¹ô ¬®»¿¬·²¹ô
       °»®-±² ±® °®±°»®¬§ ©¸·½¸ ¿®·-»- ±«¬ ±º ±®                      ¼»¬±¨·º§·²¹ô ¼»½±²¬¿³·²¿¬·²¹ô ²»«¬®¿´·¦·²¹
       ©±«´¼ ²±¬ ¸¿ª» ±½½«®®»¼ ·² ©¸±´» ±® ·² °¿®¬                    ±® ³·¬·¹¿¬·²¹ ±® ·² ¿²§ ©¿§ ®»-°±²¼·²¹ ¬±
       ¾«¬ º±® ¬¸» ´»¿¼ ¸¿¦¿®¼å ±®                                    ±® ¿--»--·²¹ ¬¸» »ºº»½¬- ±º ¬¸» ´»¿¼
    ¾ò ß®·-» ±«¬ ±º ¿²§ ®»¯«»-¬ô ¼»³¿²¼ ±® ±®¼»® ¬±æ                  ¸¿¦¿®¼å ±®
       ïò ×¼»²¬·º§ô ¿¾¿¬»ô ¬»-¬ º±®ô -¿³°´»ô ³±²·¬±®ô             îò ß- ¿ ®»-«´¬ ±º -«½¸ »ºº»½¬-ô ®»°¿·®·²¹ô
           ½´»¿² «°ô ®»³±ª»ô ½±ª»®ô ½±²¬¿·²ô ¬®»¿¬ô                   ®»°´¿½·²¹ ±® ·³°®±ª·²¹ ¿²§ °®±°»®¬§ò
           ¼»¬±¨·º§ô ¼»½±²¬¿³·²¿¬»ô ²»«¬®¿´·¦» ±®         ß- «-»¼ ·² ¬¸·- »¨½´«-·±²ô ´»¿¼ ¸¿¦¿®¼ ³»¿²- ¿²
           ³·¬·¹¿¬» ±® ·² ¿²§ ©¿§ ®»-°±²¼ ¬± ±®           »¨°±-«®» ±® ¬¸®»¿¬ ±º »¨°±-«®» ¬± ¬¸» ¿½¬«¿´ ±® ¿´´»¹»¼
           ¿--»-- ¬¸» »ºº»½¬- ±º ¬¸» ´»¿¼ ¸¿¦¿®¼å ±®      °®±°»®¬·»- ±º ´»¿¼ ¿²¼ ·²½´«¼»- ¬¸» ³»®» °®»-»²½» ±®
        îò ß- ¿ ®»-«´¬ ±º -«½¸ »ºº»½¬-ô ®»°¿·®ô ®»°´¿½»   -«-°»½¬»¼ °®»-»²½» ±º ´»¿¼ ·² ¿²§ º±®³ ±®
           ±® ·³°®±ª» ¿²§ °®±°»®¬§ò                       ½±³¾·²¿¬·±²ò




Ú±®³ ØÝ îï íé ðí çí
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                                              w ïççíô Ì¸» Ø¿®¬º±®¼
     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


             ÛÈÝÔËÍ×ÑÒ ó ÚËÒÙ×ô ÞßÝÌÛÎ×ß ßÒÜ Ê×ÎËÍÛÍ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÑÉÒÛÎÍ ßÒÜ ÝÑÒÌÎßÝÌÑÎÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      Îß×ÔÎÑßÜ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÓßÒËÚßÝÌËÎÛÎÍù ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÛÜËÝßÌÑÎÍ ÔÛÙßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      ÝÑÒÜÑÓ×Ò×ËÓ ßÒÜ ÝÑÑÐÛÎßÌ×ÊÛ Ü×ÎÛÝÌÑÎÍ ßÒÜ ÑÚÚ×ÝÛÎÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ



Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ

    ïò ×²¶«®§ ±® ¼¿³¿¹» ¿®·-·²¹ ±«¬ ±º ±® ®»´¿¬»¼ ¬±             îò ß²§ ´±--ô ½±-¬ ±® »¨°»²-» ¿®·-·²¹ ±«¬ ±º ¬¸»
       ¬¸» °®»-»²½» ±ºô -«-°»½¬»¼ °®»-»²½» ±ºô ±®                   ¬»-¬·²¹ º±®ô ³±²·¬±®·²¹ ±ºô ½´»¿²·²¹ «° ±ºô
       »¨°±-«®» ¬±æ                                                 ®»³±ª¿´ ±ºô ½±²¬¿·²³»²¬ ±ºô ¬®»¿¬³»²¬ ±ºô
        ¿ò Ú«²¹·ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ³±´¼ô                ¼»¬±¨·º·½¿¬·±² ±ºô ²»«¬®¿´·¦¿¬·±² ±ºô ®»³»¼·¿¬·±²
           ³·´¼»©ô ¿²¼ §»¿-¬å                                       ±ºô ¼·-°±-¿´ ±ºô ±® ¿²§ ±¬¸»® ®»-°±²-» ¬± ±®
                                                                    ¿--»--³»²¬ ±ºô ¬¸» »ºº»½¬- ±º ¿²§ ±º ¬¸» ·¬»³-
        ¾ò Þ¿½¬»®·¿å                                                ·² ïò¿òô ¾òô ½ò ±® ¼ò ¿¾±ª»ô º®±³ ¿²§ -±«®½»
        ½ò   Ê·®«-»-å ±®                                            ©¸¿¬-±»ª»®ò
        ¼ò Ü«-¬ô -°±®»-ô ±¼±®-ô °¿®¬·½«´¿¬»- ±®                  Ø±©»ª»®ô ¬¸·- »¨½´«-·±² ¼±»- ²±¬ ¿°°´§ ¬± þ¾±¼·´§
           ¾§°®±¼«½¬-ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬±              ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ ½¿«-»¼ ¾§ ¬¸»
           ³§½±¬±¨·²- ¿²¼ »²¼±¬±¨·²-ô ®»-«´¬·²¹ º®±³             ·²¹»-¬·±² ±º º±±¼ò
           ¿²§ ±º ¬¸» ±®¹¿²·-³- ´·-¬»¼ ·² ¿òô ¾òô ±® ½ò
           ¿¾±ª»å
        º®±³ ¿²§ -±«®½» ©¸¿¬-±»ª»®ò




Ú±®³ ØÝ îï çð ðê ðè                                                                                      Ð¿¹» ï ±º ï
                                              w îððèô Ì¸» Ø¿®¬º±®¼
               ø×²½´«¼»- ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ×²-«®¿²½» Í»®ª·½»- Ñºº·½»ô ×²½ò ©·¬¸ ·¬- °»®³·--·±²ò÷
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     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


            ÝßÐ ÑÒ ÔÑÍÍÛÍ ÚÎÑÓ ÝÛÎÌ×Ú×ÛÜ ßÝÌÍ ÑÚ
                        ÌÛÎÎÑÎ×ÍÓ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
ÝÑÒÜÑÓ×Ò×ËÓ ßÒÜ ÝÑÑÐÛÎßÌ×ÊÛ Ü×ÎÛÝÌÑÎÍ ßÒÜ ÑÚÚ×ÝÛÎÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
ÜßÌß ÞÎÛßÝØ ÝÑÊÛÎßÙÛ ÚÑÎÓ
ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ
ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
ÛÓÐÔÑÇÓÛÒÌóÎÛÔßÌÛÜ ÐÎßÝÌ×ÝÛÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
Ô×ÞÎßÎÇ ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
Ô×ÏËÑÎ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
ÓßÒËÚßÝÌËÎÛÎÍù ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
ÑÉÒÛÎÍ ßÒÜ ÝÑÒÌÎßÝÌÑÎÍ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
ÐÑÔÔËÌ×ÑÒ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
ÐÎ×ÒÌÛÎùÍ ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
ÐÎÑÜËÝÌ ÎÛÝßÔÔ ÛÈÐÛÒÍÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
Îß×ÔÎÑßÜ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
ÍÐÛÝ×ßÔ ÐÎÑÌÛÝÌ×ÊÛ ßÒÜ Ø×ÙØÉßÇ Ô×ßÞ×Ô×ÌÇ ÐÑÔ×ÝÇ ÒÛÉ ÇÑÎÕ ÜÛÐßÎÌÓÛÒÌ ÑÚ ÌÎßÒÍÐÑÎÌßÌ×ÑÒ


ßò Ü·-½´±-«®» Ñº Ú»¼»®¿´ Í¸¿®» Ñº Ì»®®±®·-³                  Þò Ý¿° Ñ² ×²-«®»® Ô·¿¾·´·¬§ Ú±® Ì»®®±®·-³
   Ô±--»-                                                       Ô±--»-
   Ì¸» Ë²·¬»¼ Í¬¿¬»- Ü»°¿®¬³»²¬ ±º ¬¸» Ì®»¿-«®§                  ß þ½»®¬·º·»¼ ¿½¬ ±º ¬»®®±®·-³þ ³»¿²- ¿² ¿½¬ ¬¸¿¬ ·-
   ©·´´ ®»·³¾«®-» ·²-«®»®- º±® ¿ °±®¬·±² ±º -«½¸                 ½»®¬·º·»¼ ¾§ ¬¸» Í»½®»¬¿®§ ±º ¬¸» Ì®»¿-«®§ô ·²
   ·²-«®»¼ ´±--»- ¿- ·²¼·½¿¬»¼ ·² ¬¸» ¬¿¾´» ¾»´±©                ¿½½±®¼¿²½» ©·¬¸ ¬¸» °®±ª·-·±²- ±º ¬¸» º»¼»®¿´
   ¬¸¿¬ »¨½»»¼- ¬¸» ¿°°´·½¿¾´» ·²-«®»® ¼»¼«½¬·¾´»æ               Ì»®®±®·-³ Î·-µ ×²-«®¿²½» ß½¬ô ¬± ¾» ¿² ¿½¬ ±º
         Ý¿´»²¼¿® Ç»¿®          Ú»¼»®¿´ Í¸¿®» ±º                 ¬»®®±®·-³ «²¼»® ÌÎ×ßò Ì¸» ½®·¬»®·¿ ½±²¬¿·²»¼ ·²
                                Ì»®®±®·-³ Ô±--»-                 ÌÎ×ß º±® ¿ þ½»®¬·º·»¼ ¿½¬ ±º ¬»®®±®·-³þ ·²½´«¼» ¬¸»
                                                                 º±´´±©·²¹æ
              îðïë                     èëû
                                                                 ïò Ì¸» ¿½¬ ®»-«´¬- ·² ·²-«®»¼ ´±--»- ·² »¨½»-- ±º
              îðïê                     èìû                           üë ³·´´·±² ·² ¬¸» ¿¹¹®»¹¿¬»ô ¿¬¬®·¾«¬¿¾´» ¬± ¿´´
              îðïé                     èíû                           ¬§°»- ±º ·²-«®¿²½» -«¾¶»½¬ ¬± ÌÎ×ßå ¿²¼
              îðïè                     èîû                       îò Ì¸» ¿½¬ ®»-«´¬- ·² ¼¿³¿¹» ©·¬¸·² ¬¸» Ë²·¬»¼
                                                                     Í¬¿¬»-ô ±® ±«¬-·¼» ¬¸» Ë²·¬»¼ Í¬¿¬»- ·² ¬¸»
              îðïç                     èïû
                                                                     ½¿-» ±º ½»®¬¿·² ¿·® ½¿®®·»®- ±® ª»--»´- ±® ¬¸»
          îðîð ±® ´¿¬»®                èðû                           °®»³·-»- ±º ¿ Ë²·¬»¼ Í¬¿¬»- ³·--·±²å ¿²¼
   Ø±©»ª»®ô      ·º   ¿¹¹®»¹¿¬»      ·²-«®»¼    ´±--»-           íò Ì¸» ¿½¬ ·- ¿ ª·±´»²¬ ¿½¬ ±® ¿² ¿½¬ ¬¸¿¬ ·-
   ¿¬¬®·¾«¬¿¾´» ¬± þ½»®¬·º·»¼ ¿½¬- ±º ¬»®®±®·-³þ «²¼»®               ¼¿²¹»®±«- ¬± ¸«³¿² ´·º»ô °®±°»®¬§ ±®
   ¬¸» º»¼»®¿´ Ì»®®±®·-³ Î·-µ ×²-«®¿²½» ß½¬ô ¿-                      ·²º®¿-¬®«½¬«®» ¿²¼ ·- ½±³³·¬¬»¼ ¾§ ¿²
   ¿³»²¼»¼ øÌÎ×ß÷ »¨½»»¼ üïðð ¾·´´·±² ·² ¿                           ·²¼·ª·¼«¿´ ±® ·²¼·ª·¼«¿´- ¿- °¿®¬ ±º ¿² »ºº±®¬ ¬±
   ½¿´»²¼¿® §»¿®ô ¬¸» Ì®»¿-«®§ -¸¿´´ ²±¬ ³¿µ» ¿²§                    ½±»®½» ¬¸» ½·ª·´·¿² °±°«´¿¬·±² ±º ¬¸» Ë²·¬»¼
   °¿§³»²¬ º±® ¿²§ °±®¬·±² ±º ¬¸» ¿³±«²¬ ±º -«½¸                     Í¬¿¬»- ±® ¬± ·²º´«»²½» ¬¸» °±´·½§ ±® ¿ºº»½¬ ¬¸»
   ´±--»- ¬¸¿¬ »¨½»»¼- üïðð ¾·´´·±²ò Ì¸» Ë²·¬»¼                      ½±²¼«½¬ ±º ¬¸» Ë²·¬»¼ Í¬¿¬»- Ù±ª»®²³»²¬ ¾§
   Í¬¿¬»- Ù±ª»®²³»²¬ ¸¿- ²±¬ ½¸¿®¹»¼ ¿²§                             ½±»®½·±²ò
   °®»³·«³ º±® ¬¸»·® °¿®¬·½·°¿¬·±² ·² ½±ª»®·²¹                   ×º ¿¹¹®»¹¿¬» ·²-«®»¼ ´±--»- ¿¬¬®·¾«¬¿¾´» ¬±
   ¬»®®±®·-³ ´±--»-ò                                             þ½»®¬·º·»¼ ¿½¬- ±º ¬»®®±®·-³þ «²¼»® ÌÎ×ß »¨½»»¼

Ú±®³ ØÝ îí éð ðï ïë                                                                                     Ð¿¹» ï ±º î
                                             w îðïëô Ì¸» Ø¿®¬º±®¼
       Caseø×²½´«¼»-
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                     ½±°§®·¹¸¬»¼ ³¿¬»®·¿´ ±º ¬¸»Document    1-4 Filed
                                                 ×²-«®¿²½» Í»®ª·½»-      05/21/24
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                                                                                           °»®³·--·±²ò÷
  üïðð ¾·´´·±² ·² ¿ ½¿´»²¼¿® §»¿® ¿²¼ ©» ¸¿ª» ³»¬ô     Ýò ß°°´·½¿¬·±² ±º Ñ¬¸»® Û¨½´«-·±²-
  ±® ©·´´ ³»»¬ô ±«® ·²-«®»® ¼»¼«½¬·¾´» «²¼»® ÌÎ×ß         Ì¸» ¬»®³- ¿²¼ ´·³·¬¿¬·±²- ±º ¿²§ ¬»®®±®·-³
  ©» -¸¿´´ ²±¬ ¾» ´·¿¾´» º±® ¬¸» °¿§³»²¬ ±º ¿²§           »¨½´«-·±²ô ¬¸» ·²¿°°´·½¿¾·´·¬§ ±® ±³·--·±² ±º ¿
  °±®¬·±² ±º ¬¸» ¿³±«²¬ ±º -«½¸ ´±--»- ¬¸¿¬               ¬»®®±®·-³ »¨½´«-·±²ô ±® ¬¸» ·²½´«-·±² ±º Ì»®®±®·-³
  »¨½»»¼- üïðð ¾·´´·±²ò ×² -«½¸ ½¿-»ô §±«®                ½±ª»®¿¹»ô ¼± ²±¬ -»®ª» ¬± ½®»¿¬» ½±ª»®¿¹» º±®
  ½±ª»®¿¹» º±® ¬»®®±®·-³ ´±--»- ³¿§ ¾» ®»¼«½»¼            ¿²§ ´±-- ©¸·½¸ ©±«´¼ ±¬¸»®©·-» ¾» »¨½´«¼»¼
  ±² ¿ °®±ó®¿¬¿ ¾¿-·- ·² ¿½½±®¼¿²½» ©·¬¸                  «²¼»® ¬¸·- Ý±ª»®¿¹» Ð¿®¬ ±® Ð±´·½§ô -«½¸ ¿-
  °®±½»¼«®»- »-¬¿¾´·-¸»¼ ¾§ ¬¸» Ì®»¿-«®§ô ¾¿-»¼           ´±--»- »¨½´«¼»¼ ¾§ ¬¸» Ò«½´»¿® Ø¿¦¿®¼
  ±² ·¬- »-¬·³¿¬»- ±º ¿¹¹®»¹¿¬» ·²¼«-¬®§ ´±--»-           Û¨½´«-·±²ô Ð±´´«¬·±²       Û¨½´«-·±²ô ±® É¿®
  ¿²¼ ±«® »-¬·³¿¬» ¬¸¿¬ ©» ©·´´ »¨½»»¼ ±«® ·²-«®»®        Û¨½´«-·±²ò
  ¼»¼«½¬·¾´»ò ×² ¿½½±®¼¿²½» ©·¬¸ Ì®»¿-«®§
  °®±½»¼«®»-ô ¿³±«²¬- °¿·¼ º±® ´±--»- ³¿§ ¾»
  -«¾¶»½¬ ¬± º«®¬¸»® ¿¼¶«-¬³»²¬- ¾¿-»¼ ±²
  ¼·ºº»®»²½»- ¾»¬©»»² ¿½¬«¿´ ´±--»- ¿²¼
  »-¬·³¿¬»-ò




Ð¿¹» î Case
       ±º î 3:24-cv-00490-FDW-SCR            Document 1-4 Filed 05/21/24 PageÚ±®³
                                                                              285ØÝ
                                                                                  of îí
                                                                                     579éð ðï ïë
     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                      ÛÈÝÔËÍ×ÑÒ ó Í×Ô×Ýß
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÝÑÒÜÑÓ×Ò×ËÓ ßÒÜ ÝÑÑÐÛÎßÌ×ÊÛ Ü×ÎÛÝÌÑÎÍ ßÒÜ ÑÚÚ×ÝÛÎÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ÐÑÔ×ÝÇ
      ÛÓÐÔÑÇÛÎÍ Ô×ßÞ×Ô×ÌÇ ßÒÜ ÍÌÑÐ ÙßÐ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      ÓßÒËÚßÝÌËÎÛÎÍù ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÑÉÒÛÎÍ ßÒÜ ÝÑÒÌÎßÝÌÑÎÍ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÐÑÔÔËÌ×ÑÒ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      Îß×ÔÎÑßÜ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÍÐÛÝ×ßÔ ÐÎÑÌÛÝÌ×ÊÛ ßÒÜ Ø×ÙØÉßÇ Ô×ßÞ×Ô×ÌÇ ÐÑÔ×ÝÇ ó ÒÛÉ ÇÑÎÕ ÜÛÐßÎÌÓÛÒÌ ÑÚ
      ÌÎßÒÍÐÑÎÌßÌ×ÑÒ

ßò Ì¸» º±´´±©·²¹ »¨½´«-·±² ·- ¿¼¼»¼æ
        Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ
        Í·´·½¿
        ß²§ ·²¶«®§ô ¼¿³¿¹»ô ´±­­ô ½±­¬ ±® »¨°»²­»ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ¾±¼·´§ ·²¶«®§ô °®±°»®¬§ ¼¿³¿¹» ±®
        °»®­±²¿´ ¿²¼ ¿¼ª»®¬·­·²¹ ·²¶«®§ ¿®·­·²¹ ±«¬ ±ºô ±® ®»´¿¬·²¹ ¬±ô ·² ©¸±´» ±® ·² °¿®¬ô ¬¸» ­·´·½¿ ¸¿¦¿®¼ò
Þò Ì¸» º±´´±©·²¹ ·- ¿¼¼»¼ ¬± ¬¸» Ü»º·²·¬·±²- Í»½¬·±²æ
        Í·´·½¿ ¸¿¦¿®¼ ³»¿²­ ¿² »¨°±­«®» ¬±ô ·²¸¿´¿¬·±² ±º ±® ½±²¬¿½¬ ©·¬¸ô ±® ¬¸®»¿¬ ±º »¨°±­«®» ¬±ô ·²¸¿´¿¬·±² ±º
        ±® ½±²¬¿½¬ ©·¬¸ô ¬¸» ¿½¬«¿´ ±® ¿´´»¹»¼ °®±°»®¬·»- ±º -·´·½¿ ±® ¿²§ -·´·½¿ ½±²¬¿·²·²¹ ³¿¬»®·¿´- ¿²¼ ·²½´«¼»- ¬¸»
        ³»®» °®»-»²½» ±º -·´·½¿ ±® ¿²§ -·´·½¿ ½±²¬¿·²·²¹ ³¿¬»®·¿´- ·² ¿²§ º±®³ò
        Í·´·½¿ ·²½´«¼»- ¿´´ º±®³- ±º ¬¸» ½±³°±«²¼ -·´·½±² ¼·±¨·¼»ô ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± ¯«¿®¬¦ò




ØÙ îï ðî ðí ïë                                                                                            Ð¿¹» ï ±º ï
       Case 3:24-cv-00490-FDW-SCR wDocument   1-4 Filed 05/21/24 Page 286 of 579
                                   îðïëô Ì¸» Ø¿®¬º±®¼
      ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


              ÛÈÝÔËÍ×ÑÒ ó ÛÔÛÝÌÎÑÓßÙÒÛÌ×Ý ØßÆßÎÜ
Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

      ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÝÑÒÜÑÓ×Ò×ËÓ ßÒÜ ÝÑÑÐÛÎßÌ×ÊÛ Ü×ÎÛÝÌÑÎÍ ßÒÜ ÑÚÚ×ÝÛÎÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      ÛÜËÝßÌÑÎÍ ÔÛÙßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      Ô×ÞÎßÎÇ ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      ÓßÒËÚßÝÌËÎÛÎÍù ÛÎÎÑÎÍ ßÒÜ ÑÓ×ÍÍ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÓÑÎÌ×Ý×ßÒÍù ÐÎÑÚÛÍÍ×ÑÒßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      ÑÉÒÛÎÍ ßÒÜ ÝÑÒÌÎßÝÌÑÎÍ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÐÑÔÔËÌ×ÑÒ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      ÐÎÑÜËÝÌ ÎÛÝßÔÔ ÛÈÐÛÒÍÛ ÝÑÊÛÎßÙÛ ÚÑÎÓ
      ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ
      Îß×ÔÎÑßÜ ÐÎÑÌÛÝÌ×ÊÛ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ


Ì¸» º±´´±©·²¹ »¨½´«-·±² ·- ¿¼¼»¼æ                             ½ò Î»¯«»-¬ô ¼»³¿²¼ô ±®¼»®ô ±® -¬¿¬«¬±®§ ±®
Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ                                ®»¹«´¿¬±®§ ®»¯«·®»³»²¬ ½´¿·³ ±® -«·¬ -»»µ·²¹
                                                                 ¬¸» ³±¼·º·½¿¬·±²ô ®»°¿·®ô ®»°´¿½»³»²¬ ±®
Û´»½¬®±³¿¹²»¬·½ Ø¿¦¿®¼                                           ·³°®±ª»³»²¬ ±º ¿²§ °®±°»®¬§ ¿- ¿ ®»-«´¬ ±º
ïò ß²§ ·²¶«®§ô ¼¿³¿¹»ô ´±--ô ½±-¬ ±® »¨°»²-»ô                    ¬¸» »ºº»½¬- ±º ¿² þ»´»½¬®±³¿¹²»¬·½ ¸¿¦¿®¼þò
   ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬± þ¾±¼·´§ ·²¶«®§þô          íò ß- «-»¼ ·² ¬¸·- »¨½´«-·±²ô þ»´»½¬®±³¿¹²»¬·½
   þ°®±°»®¬§ ¼¿³¿¹»þ ±® þ°»®-±²¿´ ¿²¼ ¿¼ª»®¬·-·²¹            ¸¿¦¿®¼þ ³»¿²- ¿² »¨°±-«®» ±® ¬¸®»¿¬ ±º
   ·²¶«®§þô ©¸»¬¸»® ¬¿²¹·¾´» ±® ·²¬¿²¹·¾´» ·² ²¿¬«®»ô        »¨°±-«®» ¬± ¬¸» ¿½¬«¿´ ±® ¿´´»¹»¼ °®±°»®¬·»- ±º
   ¿®·-·²¹ ±«¬ ±ºô ±® ®»´¿¬·²¹ ¬±ô ·² ©¸±´» ±® ·² °¿®¬ô      ®¿¼·¿¬·±² ±® »²»®¹§ º®±³ »´»½¬®±³¿¹²»¬·½
   ¬¸» þ»´»½¬®±³¿¹²»¬·½ ¸¿¦¿®¼þò                             -±«®½»- ±º ¿´´ º®»¯«»²½·»- ¿²¼ ·²¬»²-·¬·»-ô
îò ß²§ ¼¿³¿¹»ô ¶«¼¹³»²¬ô -»¬¬´»³»²¬ô ´±--ô ½±-¬ ±®           ·²½´«¼·²¹ ¾«¬ ²±¬ ´·³·¬»¼ ¬±æ
   »¨°»²-» ¬¸¿¬ ¿®·-» ±«¬ ±º ¿²§æ                             ¿ò Î¿¼·± º®»¯«»²½§ ®¿¼·¿¬·±² ±® »²»®¹§å
    ¿ò Î»¯«»-¬ô ¼»³¿²¼ô ±®¼»®ô ±® -¬¿¬«¬±®§ ±®                ¾ò Û´»½¬®·½ º·»´¼- ±® ©¿ª»-å
       ®»¹«´¿¬±®§ ®»¯«·®»³»²¬ ¬¸¿¬ ¿²§ ·²-«®»¼
       ·¼»²¬·º§ô ¿¾¿¬»ô ¬»-¬ º±®ô -¿³°´»ô ³±²·¬±®ô            ½ò Ó¿¹²»¬·½ º·»´¼- ±® ©¿ª»-å ±®
       ®»³±ª»ô ½±²¬¿·²ô ¬®»¿¬ô ²»«¬®¿´·¦» ±® ³·¬·¹¿¬»         ¼ò Û´»½¬®±³¿¹²»¬·½ º·»´¼- ±® ©¿ª»-å ¿²¼
       ±® ·² ¿²§ ©¿§ ®»-°±²¼ ¬± ±® ¿--»-- ¬¸»                 ·²½´«¼»- ¬¸» ³»®» °®»-»²½» ±® -«-°»½¬»¼
       »ºº»½¬- ±º ¬¸» þ»´»½¬®±³¿¹²»¬·½ ¸¿¦¿®¼þå               °®»-»²½» ±º ¿²§ ±º ¬¸»-» ¿¬ ¿²§ ¬·³»ò
    ¾ò ß²§ ½´¿·³ ±® -«·¬ º±® ¼¿³¿¹»- ¾»½¿«-» ±º
       ·¼»²¬·º§·²¹ô ¿¾¿¬·²¹ô ¬»-¬·²¹ º±®ô -¿³°´·²¹ô
       ³±²·¬±®·²¹ô ½´»¿² «° ±ºå ®»³±ª·²¹ô ½±ª»®·²¹ô
       ½±²¬¿·²·²¹ô    ¬®»¿¬·²¹ô    ²»«¬®¿´·¦·²¹  ±®
       ³·¬·¹¿¬·²¹ô ±® ·² ¿²§ ©¿§ ®»-°±²¼·²¹ ¬± ±®
       ¿--»--·²¹      ¬¸»      »ºº»½¬-     ±º   ¬¸»
       þ»´»½¬®±³¿¹²»¬·½ ¸¿¦¿®¼þå ±®




Ú±®³ ØÙ îî ðí ðê ðë                                                                              Ð¿¹» ï ±º ï
       Case 3:24-cv-00490-FDW-SCRw Document   1-4 Filed 05/21/24 Page 287 of 579
                                   îððëô Ì¸» Ø¿®¬º±®¼
ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ


        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


Û²¬®·»- ¸»®»·²ô »¨½»°¬ ¿- -°»½·º·½¿´´§ °®±ª·¼»¼ »´-»©¸»®» ·² ¬¸·- °±´·½§ô ¼± ²±¬ ³±¼·º§ ¿²§ ±º ¬¸» ±¬¸»® °®±ª·-·±²- ±º ¬¸·-
°±´·½§ò

ÎßÌ×ÒÙ ÝÔßÍÍ×Ú×ÝßÌ×ÑÒÍ




ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ                     ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ             ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                                   ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                            ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                              ðîèñððï                             ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                                   ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                            ÖßÝÕÍÑÒ
                                            ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             ìéìêç
 ÍÝØÑÑÔÍ ó ÚßÝËÔÌÇ Ô×ßÞ×Ô×ÌÇ ÚÑÎ ÝÑÎÐÑÎßÔ ÐËÒ×ÍØÓÛÒÌ ÑÚ ÐËÐ×ÔÍ ó ×ÒÝÔËÜ×ÒÙ
 ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛ
 ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ                   ÚßÝËÔÌÇ ÓÛÓÞÛÎÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                                   ìî

ÎßÌÛæ                                       çòíçêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                            íççòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ                     ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ             ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                                   ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                            ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                              ðîçñððï                             ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                                   ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                            ÖßÝÕÍÑÒ
                                            ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             ííïçè
 ÍÛÈËßÔ ßÞËÍÛ ÑÎ ÓÑÔÛÍÌßÌ×ÑÒ ó Ø×ÙØÛÎ ÛÜËÝßÌ×ÑÒ

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ                   ÐËÐ×ÔÍ                              ÐÛÎ ï




Ú±®³ ØÝ ïî ïð ïï èëÌ Ð®·²¬»¼ ·² ËòÍòßò øÒÍ÷                          ÐßÙÛ      ï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÛÈÐÑÍËÎÛæ                       ïôéíì

ÎßÌÛæ                           ðòííéð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ëçðòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðîçñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             ííëðé
 ÝÎ×Í×Í ÓßÒßÙÛÓÛÒÌ ÛÈÐÛÒÍÛ ÎÛ×ÓÞËÎÍÛÓÛÒÌ ÝÑÊÛÎßÙÛ

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÚÔßÌ ÝØßÎÙÛ                   ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ïôððð

ÎßÌÛæ                           ïôðïðòðð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïôðïðòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðîçñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ     î øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÛÈÐÑÍËÎÛæ                       éïôçðð

ÎßÌÛæ                           ëëòðììð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                íôççéòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðííñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       è

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                îéèòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðíìñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ     í øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       è

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                îéèòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðíëñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðíêñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ     ì øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðíéñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðíèñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ                êððïð




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ     ë øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðíçñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðìðñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ     ê øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðìïñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðìîñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ     é øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êððïð
 ßÐßÎÌÓÛÒÌ ÞË×ÔÜ×ÒÙÍ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ
 ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
 ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ËÒ×ÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           íìòìðîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëðñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ              ìçìëî
 ÊßÝßÒÌ ÔßÒÜ ó ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ
 ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ
 ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÝÎÛÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       íð

ÎßÌÛæ                           îòëêìð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éèòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëïñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëíìï ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ     è øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ïëôððð

ÎßÌÛæ                           ëëòðììð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                èíìòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëèñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ÇßÔÑÞËÍØß ÝÑËÒÌÇ
                                ÝÑÚÚÛÛÊ×ÔÔÛ
                                ÓÍò   íèçîî

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ              ìçìëî
 ÊßÝßÒÌ ÔßÒÜ ó ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ
 ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ
 ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÝÎÛÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       íð

ÎßÌÛæ                           îòëêìð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éèòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëçñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       Û ÝÑËÒÌÇ Ô×ÒÛ ÎÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîïï




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ     ç øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ              ìçìëî
 ÊßÝßÒÌ ÔßÒÜ ó ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ
 ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ
 ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÝÎÛÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       íè

ÎßÌÛæ                           îòëêìð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                çèòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðêðñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ÌÛÎÎÇ ÎÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîïî

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ              ìçìëî
 ÊßÝßÒÌ ÔßÒÜ ó ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ
 ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ
 ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÝÎÛÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           îòëêìð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                íòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðêèñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ïìèî ÎÑÈÞËÎÇ ÝÌ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîïï




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïð øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           êïòçîìð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                êíòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðêçñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ìððë ÎÑÈÞËÎÇ ÎÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           êïòçîìð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                êíòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððïñððï                       ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             ìðïïï
 ÞÑßÌÍ ó ÝßÒÑÛÍ ÑÎ ÎÑÉÞÑßÌÍ ó ÒÑÌ ÚÑÎ ÎÛÒÌ ó ÒÑÌ ÛÏË×ÐÐÛÜ É×ÌØ ÓÑÌÑÎÍ ó
 ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ
 ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÞÑßÌÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       î

ÎßÌÛæ                           íðòèçíð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                êîòðð

ÚÑÎÓøÍ÷ ßÐÐÔ×ÝßÞÔÛ ÌÑ ÌØ×Í ÝÔßÍÍ ÝÑÜÛæ
 ÝÙîìïî

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððïñððï                       ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       êêôìðð

ÎßÌÛæ                           ëèòììêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                íôçîðòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïî øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððíñððï                       ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ììð É ÕÛÒÒÛÜÇ ÞÔÊÜ
                                ÑÎÔßÒÜÑ
                                ÚÔò   íîèïð

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êïîîé
 ÞË×ÔÜ×ÒÙÍ ÑÎ ÐÎÛÓ×ÍÛÍ ó ÑÚÚ×ÝÛ ó ÒÑÝ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ
 ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì


ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ïôððð

ÎßÌÛæ                           ïííòéëîð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíëòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððìñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçïç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ íðï
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïí øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððëñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçðç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ íðë
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððêñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçëð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ îïð
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïì øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
        Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 301 of 579
ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððéñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçîð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ îðê
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððèñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçíð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïïì
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïë øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ððçñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçëð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïðè
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïïñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçïð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ îðì
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïê øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïîñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçîð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïïì
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïíñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçèç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ îðë
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïé øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïìñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçïð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïðð
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïëñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçíð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïïî
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïè øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïêñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïççç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ îïë
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïéñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçïç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïðç
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    ïç øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïèñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïççç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ îðë
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðïçñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçéç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïðç
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îð øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðîðñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçéç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ îðç
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðîïñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçðç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ íðç
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ                êíðïð




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðîîñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçèç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïïí
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðîíñððï                ÌÛÎÎæ ððê
ÔÑÝßÌ×ÑÒæ                       ïçðç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ íïí
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îî øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           éðòíìêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                éïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðêëñððï                ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ïçèç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ îðí
                                ÑÊ×ÛÜÑ
                                ÚÔò    íîéêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                     ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           ïïèòíëçð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïîðòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëíñððï                 ÌÛÎÎæ ëðí
ÔÑÝßÌ×ÑÒæ                       ïëèð ÌÛÎÎÛÔÔ Ó×ÔÔ ÎÜ ÍÛ
                                ÓßÎ×ÛÌÌß
                                Ùßò   íððêé




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îí øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êïîïê
 ÞË×ÔÜ×ÒÙÍ ÑÎ ÐÎÛÓ×ÍÛÍ ó ÞßÒÕ ÑÎ ÑÚÚ×ÝÛ ó ÓÛÎÝßÒÌ×ÔÛ ÑÎ ÓßÒËÚßÝÌËÎ×ÒÙ
 øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       íôððð

ÎßÌÛæ                           îéòçëêð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                èëòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëíñððï                 ÌÛÎÎæ ëðí
ÔÑÝßÌ×ÑÒæ                       ïëèð ÌÛÎÎÛÔÔ Ó×ÔÔ ÎÜ ÍÛ
                                ÓßÎ×ÛÌÌß
                                Ùßò   íððêé

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       îïôéèì

ÎßÌÛæ                           îéòêëïð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                êðèòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëéñððï                 ÌÛÎÎæ ëðí
ÔÑÝßÌ×ÑÒæ                       ïëèì ÌÛÎÎÛÔÔ Ó×ÔÔ ÎÜ ÍÛ
                                ÓßÎ×ÛÌÌß
                                Ùßò   íððêé




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îì øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ              ìçìëî
 ÊßÝßÒÌ ÔßÒÜ ó ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ
 ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ
 ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÝÎÛÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ì

ÎßÌÛæ                           îòïçìð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                çòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðêêñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëçí ÐßÎÕ ßÊÛ
                                ÒÛÉ ÇÑÎÕ
                                ÒÇò   ïððêë

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ìôððð

ÎßÌÛæ                           ìêçòïðïð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïôèçëòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðêéñððï                       ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ïïîð êÌØ ßÊÛ
                                ÒÛÉ ÇÑÎÕ
                                ÒÇò   ïððíê




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îë øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êïîîé
 ÞË×ÔÜ×ÒÙÍ ÑÎ ÐÎÛÓ×ÍÛÍ ó ÑÚÚ×ÝÛ ó ÒÑÝ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ
 ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì


ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ïèç

ÎßÌÛæ                           èçëòïèíð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïéïòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðîìñððï                       ÌÛÎÎæ ððî
ÔÑÝßÌ×ÑÒæ                       îïðï ÝßÎÓÛÔ ÎÜ ý ß
                                ÝØßÎÔÑÌÌÛ
                                ÒÝò   îèîîê

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ìêôçðð

ÎßÌÛæ                           îéòêðçð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïôíðèòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðêïñððï                       ÌÛÎÎæ ððî
ÔÑÝßÌ×ÑÒæ                       îîîë ÝßÎÓÛÔ ÎÜ
                                ÝØßÎÔÑÌÌÛ
                                ÒÝò   îèîîê




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îê øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
        Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 313 of 579
ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ              ìçìëî
 ÊßÝßÒÌ ÔßÒÜ ó ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ
 ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ
 ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÝÎÛÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       é

ÎßÌÛæ                           îòïêðð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïëòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëìñððï                ÌÛÎÎæ ððïñððï
ÔÑÝßÌ×ÑÒæ                       ïîðî ÜÎßÙÑÒ ÍÌ ÍÌÛ ïðì
                                ÜßÔÔßÍ
                                ÌÈò    éëîðé

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       êôéîç

ÎßÌÛæ                           îïòèèíð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïìçòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëëñððï                       ÌÛÎÎæ ððìñððì
ÔÑÝßÌ×ÑÒæ                       èíðð ÕßÌÇ ÚÉÇ
                                ØÑËÍÌÑÒ
                                ÌÈò   ééðîì




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îé øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
        Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 314 of 579
ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ïôððð

ÎßÌÛæ                           îéòðïìð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                îéòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ        ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðëêñððï                ÌÛÎÎæ ëðï
ÔÑÝßÌ×ÑÒæ                       èîîé ÑÔÜ ÝÑËÎÌØÑËÍÛ ÎÜ
                                Ê×ÛÒÒß
                                Êßò    îîïèî

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                          ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ïðôððð

ÎßÌÛæ                           îìòéêíð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                îëðòðð

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð îð÷




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ    îè øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÍÝØÛÜËÔÛ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ                íðïçë
 ÛÓÐÔÑÇÛÛ ÞÛÒÛÚ×ÌÍ

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÛÓÐÔÑÇÛÛ                    ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ìïê

ÎßÌÛæ                           ðòïééð

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                ïíïòðð ÓÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÛÜËÝßÌÑÎÍ ÐÎÑÚÛÍÍ×ÑÒßÔ ÝØÑ×ÝÛ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÙ ðð ðì÷

ÐÎÓÍñÞÔÜÙò ÒÑæ                  ðîçñððï                     ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëìîî ÝÔ×ÒÌÑÒ ÞÔÊÜ
                                ÖßÝÕÍÑÒ
                                ÓÍò   íçîðç

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             ííðìí
 ÐÎ×ÊßÌÛ ÝÑÔÔÛÙÛÍ ßÒÜ ËÒ×ÊÛÎÍ×Ì×ÛÍ ÛúÑ

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÍÌËÜÛÒÌÍ                    ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ïôéíì

ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ                çôéêêòðð


ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
ÌÑÌßÔ ßÜÊßÒÝÛ ÐÎÛÓ×ËÓæ               îèôèèïòðð
ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ




Ú±®³ ØÝ ïî ïð ïï èëÌ                                ÐßÙÛ   îç
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ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


    ßÓÛÒÜÛÜ ÝÑÔÔÛÙÛÍ ÑÎ ÍÝØÑÑÔÍ øÔ×Ó×ÌÛÜ ÚÑÎÓ÷

Ì¸·- »²¼±®-»³»²¬ ³±¼·º·»- ·²-«®¿²½» °®±ª·¼»¼ «²¼»® ¬¸» º±´´±©·²¹æ

    ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌ

É·¬¸ ®»-°»½¬ ¬± ¬¸» ±°»®¿¬·±² ±º ¿²§ ½±´´»¹» ±® -½¸±±´     Þò Ì¸» º±´´±©·²¹ »¨½´«-·±²- ¿®» ¿¼¼»¼ ¬± Í»½¬·±² × ó
¾§ §±« ±® ±² §±«® ¾»¸¿´ºô ¬¸» º±´´±©·²¹ °®±ª·-·±²-            Ý±ª»®¿¹» ß ó Þ±¼·´§ ×²¶«®§ ß²¼ Ð®±°»®¬§ Ü¿³¿¹»
¿°°´§æ                                                        Ô·¿¾·´·¬§ ¿²¼ Í»½¬·±² × ó Ý±ª»®¿¹» Þ ó Ð»®-±²¿´
ßò É·¬¸ ®»-°»½¬ ¬± ¬¸» ¬®¿²-°±®¬¿¬·±² ±º -¬«¼»²¬-ô            ß²¼ ß¼ª»®¬·-·²¹ ×²¶«®§ Ô·¿¾·´·¬§æ
   Û¨½´«-·±² ¹ò ±º Ð¿®¿¹®¿°¸ îò Û¨½´«-·±²- ±º                  ïò Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± þ¾±¼·´§
   Í»½¬·±² × ó Ý±ª»®¿¹» ß ó Þ±¼·´§ ×²¶«®§ ß²¼                     ·²¶«®§þ ¬± ¿²§ °»®-±² ©¸·´» °®¿½¬·½·²¹ º±® ±®
   Ð®±°»®¬§ Ü¿³¿¹» Ô·¿¾·´·¬§ ·- ®»°´¿½»¼ ¾§ ¬¸»                   °¿®¬·½·°¿¬·²¹ ·² ¿²§ -°±®¬- ±® ¿¬¸´»¬·½ ½±²¬»-¬
   º±´´±©·²¹æ                                                     ±® »¨¸·¾·¬·±² ·º ¬¸»®» ·- ²± ¼·®»½¬ ³¿²¿¹»³»²¬ô
    îò Û¨½´«-·±²-                                                 ±®¹¿²·¦¿¬·±² ±® -«°»®ª·-·±² ±º -«½¸ -°±®¬- ±®
                                                                  ¿¬¸´»¬·½ ½±²¬»-¬ ±® »¨¸·¾·¬·±² ¾§ ¿²§ ·²-«®»¼ò
        Ì¸·- ·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬±æ
                                                           Ýò Ì¸» º±´´±©·²¹ »¨½´«-·±² ·- ¿¼¼»¼ ¬± Í»½¬·±² × ó
        ¹ò þÞ±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§ ¼¿³¿¹»þ               Ý±ª»®¿¹» Ý ó Ó»¼·½¿´ Ð¿§³»²¬-æ
           ¿®·-·²¹     ±«¬     ±º    ¬¸»     ±©²»®-¸·°ô
           ³¿·²¬»²¿²½»ô ±°»®¿¬·±²ô «-»ô þ´±¿¼·²¹ ±®            É» ©·´´ ²±¬ °¿§ »¨°»²-»- º±® þ¾±¼·´§ ·²¶«®§þ ¬±
           «²´±¿¼·²¹þ ±® »²¬®«-¬³»²¬ ¬± ±¬¸»®- ±º ¿²§          §±«® -¬«¼»²¬ò
           ¿·®½®¿º¬ô þ¿«¬±þ ±® ©¿¬»®½®¿º¬ ¬¸¿¬ ·- ±©²»¼ô   Üò Í»½¬·±² ×× ó É¸± ×- ß² ×²-«®»¼ ·- ¿³»²¼»¼ ¬±
           ±°»®¿¬»¼ ±® ¸·®»¼ ¾§ ¿²§ ·²-«®»¼ò Ú±® ¬¸»          ·²½´«¼» ¿- ¿² ·²-«®»¼ ¿²§ ±º ¬¸» º±´´±©·²¹ ¾«¬ ±²´§
           °«®°±-» ±º ¬¸·- »¨½´«-·±²ô ¬¸» ©±®¼ ¸·®»¼          ©·¬¸ ®»-°»½¬ ¬± ¬¸»·® ¼«¬·»- ·² ½±²²»½¬·±² ©·¬¸ ¬¸»
           ·²½´«¼»-     ¿²§ ½±²¬®¿½¬ ¬± º«®²·-¸               °±-·¬·±²- ¼»-½®·¾»¼ ¾»´±©æ
           ¬®¿²-°±®¬¿¬·±² ±º §±«® -¬«¼»²¬- ¬± ¿²¼              ïò ß²§ ±º §±«® ¬®«-¬»»- ±® ³»³¾»®- ±º §±«®
           º®±³ -½¸±±´-ò                                          Þ±¿®¼ ±º Ù±ª»®²±®- ·º §±« ¿®» ¿ °®·ª¿¬»
        Ì¸·- »¨½´«-·±² ¿°°´·»- »ª»² ·º ¬¸» ½´¿·³-                 ½¸¿®·¬¿¾´» ±® »¼«½¿¬·±²¿´ ·²-¬·¬«¬·±²å
        ¿¹¿·²-¬ ¿²§ ·²-«®»¼ ¿´´»¹» ²»¹´·¹»²½» ±®               îò ß²§   ±º    §±«®   ¾±¿®¼    ³»³¾»®-     ±®
        ±¬¸»® ©®±²¹¼±·²¹ ·² ¬¸» -«°»®ª·-·±²ô ¸·®·²¹ô              ½±³³·--·±²»®- ·º §±« ¿®» ¿ °«¾´·½ ¾±¿®¼ ±®
        »³°´±§³»²¬ô ¬®¿·²·²¹ ±® ³±²·¬±®·²¹ ±º ±¬¸»®-              ½±³³·--·±²å ±®
        ¾§ ¬¸¿¬ ·²-«®»¼ô ·º ¬¸» þ±½½«®®»²½»þ ©¸·½¸
        ½¿«-»¼ ¬¸» þ¾±¼·´§ ·²¶«®§þ ±® þ°®±°»®¬§                íò ß²§ -¬«¼»²¬ ¬»¿½¸»®- ¬»¿½¸·²¹ ¿- °¿®¬ ±º ¬¸»·®
        ¼¿³¿¹»þ      ·²ª±´ª»¼     ¬¸»     ±©²»®-¸·°ô              »¼«½¿¬·±²¿´ ®»¯«·®»³»²¬-ò
        ³¿·²¬»²¿²½»ô «-» ±® »²¬®«-¬³»²¬ ¬± ±¬¸»®- ±º
        ¿²§ ¿·®½®¿º¬ô þ¿«¬±þ ±® ©¿¬»®½®¿º¬ ¬¸¿¬ ·-
        ±©²»¼ô ±°»®¿¬»¼ ±® ¸·®»¼ ¾§ ¿²§ ·²-«®»¼ò




Ú±®³ ÙØ ðé çì ðë ïç                                                                                 Ð¿¹» ï ±º ï
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                                   îðïçô Ì¸» Ø¿®¬º±®¼
ÐÑÔ×ÝÇ ßÜÖËÍÌÓÛÒÌ ÒÑÌ×ÝÛ



Ì¸» °®»³·«³ ©» ½¸¿®¹»¼ º±® §±«® »²½´±-»¼ Ø¿®¬º±®¼ °±´·½§ ©¿- ¾¿-»¼ô ·² °¿®¬ô ±² »-¬·³¿¬»- ¿²¼
¿--«³°¬·±²- ®»´¿¬»¼ ¬± ·¬»³- -«½¸ ¿- °¿§®±´´ô -¿´»- ®»ª»²«»ô ¿²¼ ¬¸» ²¿¬«®» ±º ¾«-·²»-- ±°»®¿¬·±²- º±® ¬¸»
°±´·½§ °»®·±¼ -¸±©²ò É¸»² §±«® ½±ª»®¿¹» °»®·±¼ »¨°·®»-ô ¿ °®»³·«³ ¿«¼·¬ ©·´´ ¾» ½±²¼«½¬»¼ ¬± »²-«®» ¬¸»
°®»³·«³ §±« °¿·¼ º±® §±«® ·²-«®¿²½» ©¿- ¿½½«®¿¬»ò ×² ±®¼»® ¬± ½±³°´»¬» ¬¸» °®»³·«³ ¿«¼·¬ô ©¸»² §±«®
°±´·½§ ½±ª»®¿¹» °»®·±¼ »¨°·®»- §±« ³¿§ ®»½»·ª»ô ª·¿ »ó³¿·´ ±® ËÍ Ð±-¬¿´ ³¿·´ô ¿ ®»¯«»-¬ ¬± ½±³°´»¬» ¿²
þ×²-«®»¼ù- Î»°±®¬ ±º Û¨°±-«®»þ Ú±®³ò ß´¬»®²¿¬·ª»´§ô §±« ³¿§ ®»½»·ª» ²±¬·½» ¬¸¿¬ ¿ Ð®»³·«³ ß«¼·¬
®»°®»-»²¬¿¬·ª» ©·´´ ¾» ½±²¬¿½¬·²¹ §±« ¬± ®»ª·»© §±«® ®»½±®¼- ¿²¼ ¼·-½«-- §±«® ¾«-·²»-- ±°»®¿¬·±²- ±ª»®
¬¸» °¸±²» ±® ·² °»®-±²ò Ì¸» °«®°±-» ±º ¬¸» -¬¿¬»³»²¬ô °¸±²» ½¿´´ ±® ª·-·¬ ·- º±® ¬¸» Ð®»³·«³ ß«¼·¬
Ü»°¿®¬³»²¬ ¬± ½±´´»½¬ ¬¸» ·²º±®³¿¬·±² ®»¯«·®»¼ ¬± »²-«®» ¬¸¿¬ ¬¸» °®»³·«³ §±« °¿·¼ º±® §±«® ½±ª»®¿¹» ©¿-
¿½½«®¿¬»ò

Ñ²½» ¬¸» ¿«¼·¬ ·- ½±³°´»¬»ô §±« ©·´´ ®»½»·ª» ¿ Í¬¿¬»³»²¬ ±º Ð®»³·«³ ß¼¶«-¬³»²¬ ©¸·½¸ ©·´´ ®»º´»½¬ ¬¸»
¿³±«²¬ ±º §±«® °±´·½§ ¿«¼·¬¿¾´» °®»³·«³ô ¿²¼ ©·´´ ·²¼·½¿¬» ©¸»¬¸»® §±« ¿®» ±©»¼ ¿ ®»º«²¼ ±® ·º ¿¼¼·¬·±²¿´
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×º ©» ±©» §±« ¿ ®»¬«®² °®»³·«³ô Ì¸» Ø¿®¬º±®¼ ©·´´ ¿°°´§ ¬¸» ®»º«²¼ ¿³±«²¬ ¬± ¿²§ ½«®®»²¬ ¿½½±«²¬
              ¾¿´¿²½»ò ×º §±«® ¿½½±«²¬ ·- °¿·¼ ·² º«´´ô ±® ·º §±«® ®»º«²¼ ¿³±«²¬ ·- ¹®»¿¬»® ¬¸¿² ¬¸» ½«®®»²¬
              ¿½½±«²¬ ¾¿´¿²½»ô ©» ©·´´ ·--«» §±« ¿ ®»º«²¼ ½¸»½µò Ç±« ½¿² »¨°»½¬ ¬± ®»½»·ª» ¬¸·- ½¸»½µ
              ©·¬¸·² ¬¸» ²»¨¬ íð ¼¿§-ò

×º §±« ±©» «- ¿² ¿¼¼·¬·±²¿´ °®»³·«³ô ¬¸» »²¬·®» ¿³±«²¬ ©·´´ ¿°°»¿® ¿- ¼«» ¿²¼ °¿§¿¾´» ±² §±«® ²»¨¬ ¾·´´ò
              Ì¸·- ¿³±«²¬ ©·´´ ¿°°»¿® ¿- þÐ®»³·«³ ß«¼·¬þ ±² §±«® ¾·´´ò


×º §±« ¸¿ª» ¿²§ ¯«»-¬·±²- ®»¹¿®¼·²¹ ¬¸» Ð®»³·«³ ß«¼·¬ °®±½»--ô °´»¿-» ½¿´´ §±«® ·²-«®¿²½» ¿¹»²¬ò


Ì¸¿²µ §±« º±® ¼±·²¹ ¾«-·²»-- ©·¬¸ Ì¸» Ø¿®¬º±®¼ò




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Ú±®³    3:24-cv-00490-FDW-SCR
     Ùóíðëèóï Ð®·²¬»¼ ·² ËòÍòßò             Document 1-4 Filed 05/21/24 Page 318 of 579
                         ÐÎÑÜËÝÛÎ ÝÑÓÐÛÒÍßÌ×ÑÒ ÒÑÌ×ÝÛ



Ç±« ½¿² ®»ª·»© ¿²¼ ±¾¬¿·² ·²º±®³¿¬·±² ±² Ì¸» Ø¿®¬º±®¼­ °®±¼«½»® ½±³°»²­¿¬·±² °®¿½¬·½»­ ¿¬
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Ú±®³ Ùóíìïèóð
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              ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                                               ÐÑÔ×ÝÇ ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ º±®³- ¿ °¿®¬ ±º ¬¸» Ð±´·½§ ²«³¾»®»¼ ¾»´±©æ

ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë            ÜØ
ÝØßÒÙÛ ÒËÓÞÛÎæ ððì

Ð±´·½§ Ý¸¿²¹» Ûºº»½¬·ª» Ü¿¬»æ ðïñðçñîí
Ò¿³»¼ ×²-«®»¼æ ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ
               ÍÛÛ ×Øïîðì

Ð®±¼«½»®ù- Ò¿³»æ       ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝ

Ð®± Î¿¬¿ Ú¿½¬±®æ        òíëç

Ü»-½®·°¬·±² ±º Ý¸¿²¹»ø-÷æ


ßÒÇ ÝØßÒÙÛÍ ×Ò ÇÑËÎ ÐÎÛÓ×ËÓ É×ÔÔ ÞÛ ÎÛÚÔÛÝÌÛÜ ×Ò ÇÑËÎ ÒÛÈÌ Þ×ÔÔ×ÒÙ
ÍÌßÌÛÓÛÒÌò ×Ú ÇÑË ßÎÛ ÛÒÎÑÔÔÛÜ ×Ò ÎÛÐÛÌ×Ì×ÊÛ ÛÚÌ ÜÎßÉÍ ÚÎÑÓ ÇÑËÎ
ÞßÒÕ ßÝÝÑËÒÌô ÝØßÒÙÛÍ ×Ò ÐÎÛÓ×ËÓ É×ÔÔ ÝØßÒÙÛ ÚËÌËÎÛ ÜÎßÉ ßÓÑËÒÌÍò
                           ÌØ×Í ×Í ÒÑÌ ß Þ×ÔÔò
ßÜÜ×Ì×ÑÒßÔ ÐÎÛÓ×ËÓ ÜËÛ ßÌ ÌØÛ ÝØßÒÙÛ ÛÚÚÛÝÌ×ÊÛ ÜßÌÛæ                      üéèïòððö
ö×ÒÝÔËÜÛÍ ßÜÜ×Ì×ÑÒßÔ ÌÛÎÎÑÎ×ÍÓ ÐÎÛÓ×ËÓ ÑÚ         üîíòðð

ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ
ØßÎÌÚÑÎÜ Ú×ÎÛ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ ×Í ÝØßÒÙÛÜ
  ÐÎÛÓ×ÍÛÍ éé ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éè ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éç ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ èð ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî



ÚÑÎÓ ÒËÓÞÛÎÍ ÑÚ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ßÒÜ ÛÒÜÑÎÍÛÓÛÒÌÍ ÎÛÊ×ÍÛÜ
ßÌ ÛÒÜÑÎÍÛÓÛÒÌ ×ÍÍËÛæ ÍÛÛ ßÞÑÊÛ ÚÑÎ ÝÑÓÐßÒÇ ÒßÓÛ
  ÐÎÑÐÛÎÌÇæ ÐÝðððîðïïçÌ




                   Ý±«²¬»®-·¹²»¼ ¾§                                                  ðïñîëñîí
              øÉ¸»®» ®»¯«·®»¼ ¾§ ´¿©÷         ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»                  Ü¿¬»




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Ú±®³ ØÓ ïî ðï ðï ðéÌ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ
ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ

            ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
            ÝØßÒÙÛ ÒËÓÞÛÎæ ððì


ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑÊÛÎßÙÛ ßÒÜ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

×ÒÍËÎßÒÝÛ ßÐÐÔ×ÛÍ ÑÒ ß ÞÔßÒÕÛÌ ÞßÍ×Í ÑÒÔÇ ÌÑ ß ÝÑÊÛÎßÙÛ ÚÑÎ ÉØ×ÝØ ß Ô×Ó×Ì
ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÍØÑÉÒ ÞÛÔÑÉ ×Ò ÌØÛ ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ
ÐÎÑÐÛÎÌÇò ÌØÛ ÓßÈ×ÓËÓ ÉÛ É×ÔÔ ÐßÇ ÚÑÎ ÔÑÍÍ ÑÎ ÜßÓßÙÛ ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
×Í ÌØÛ ÍÓßÔÔÛÍÌ ßÐÐÔ×ÝßÞÔÛ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ÍØÑÉÒ ×Ò ÌØÛ ÜÛÝÔßÎßÌ×ÑÒÍô
ÍÝØÛÜËÔÛÍô ÑÎ ÛÒÜÑÎÍÛÓÛÒÌøÍ÷ò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ
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ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ×ÒÍËÎÛÜ ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ
ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                      Ô×Ó×ÌøÍ÷ ÑÚ ×ÒÍËÎßÒÝÛ
                                                      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞË×ÔÜ×ÒÙ                                                          üìêôêéêôððð
ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ                                         üêôêëëôìðð

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÊßÔËßÌ×ÑÒ ÐÎÑÊ×Í×ÑÒæ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÎÛÐÔßÝÛÓÛÒÌ ÝÑÍÌ øÍËÞÖÛÝÌ ÌÑ Ô×Ó×ÌßÌ×ÑÒÍ÷ ßÐÐÔ×ÛÍ ÌÑ ÌØÛ ÌÇÐÛÍ ÑÚ ÝÑÊÛÎÛÜ
ÐÎÑÐÛÎÌÇ ×ÒÍËÎÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇò ÚÑÎ ÊßÔËßÌ×ÑÒ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß
ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ ó ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                             Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
                                                            ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                 üëôêðëôððð
  ìè ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
 ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ




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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑ×ÒÍËÎßÒÝÛ ÐÎÑÊ×Í×ÑÒæ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ËÒÔÛÍÍ ÑÌØÛÎÉ×ÍÛ ÍÌßÌÛÜ ×Ò ÌØ×Í ÐÑÔ×ÝÇô ÝÑ×ÒÍËÎßÒÝÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ÌØÛ
ÝÑÊÛÎßÙÛÍ ÍØÑÉÒ ÑÒ ÌØ×Í ÐÑÔ×ÝÇò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ßÔÔ ÝÑÊÛÎßÙÛÍ ßÍ ÐÎÑÊ×ÜÛÜ ßÒÜ Ô×Ó×ÌÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇ ßÌ ßÔÔ ×ÒÍËÎÛÜ
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ ×Ò ÌÑÌßÔ Í×ÌËßÌÛÜ ×Òæ
                                            ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ÝßÔ×ÚÑÎÒ×ß                                                 ÒÑÌ ÝÑÊÛÎÛÜ
ßÔßÞßÓß                                                    ÒÑÌ ÝÑÊÛÎÛÜ
ÙÛÑÎÙ×ß                                                     üëôðððôððð
ÔÑË×Í×ßÒß                                                  ÒÑÌ ÝÑÊÛÎÛÜ
ÒÑÎÌØ ÝßÎÑÔ×Òß                                              üëôðððôððð
ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ                                            üëôðððôððð

ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ
ßÒÇ ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò
ÌØÛ ÔßÎÙÛÍÌ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ËÒÜÛÎ
ÌØ×Í ÐÑÔ×ÝÇ ×Ò ÌÑÌßÔ ×Ò ßÒÇ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ ÛÊÛÒ ×Ú ÌØÛ ÔÑÍÍ ÑÎ ÜßÓßÙÛ
×ÒÊÑÔÊÛÍ ÓÑÎÛ ÌØßÒ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ
ÞÎÛßÕÜÑÉÒ ÐÎÑÐÛÎÌÇ ×Í ÌØÛ ßÐÐÔ×ÝßÞÔÛ ÞË×ÔÜ×ÒÙô ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ
ßÒÜ ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛò

ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍæ  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ßÎÛ ×ÒÝÔËÜÛÜ ×Ò ÌØÛ ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ßÒÜ ßÐÐÔÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ÐÎÑÐÛÎÌÇò




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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



                                                             Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ

ÝÚÝ ÎÛÚÎ×ÙÛÎßÒÌÍæ                                         ×ÒÝÔËÜÛÜ ×Ò ÌØÛ Ô×Ó×Ì
                                                         ÑÚ ×ÒÍËÎßÒÝÛ ßÐÐÔ×ÝßÞÔÛ
                                                          ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ØßÆßÎÜÑËÍ ÍËÞÍÌßÒÝÛÍæ                                              üïððôððð
ÍÐÑ×ÔßÙÛæ                                                          üïððôððð
ÛÈÐÛÜ×Ì×ÒÙ ÛÈÐÛÒÍÛÍæ                                               üïððôððð

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÜÛÜËÝÌ×ÞÔÛÍ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ÜÛÜËÝÌ×ÞÔÛÍ ÌØßÌ ßÐÐÔÇ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




ÞÇ ÛßÎÌØÏËßÕÛæ
                             ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
  ×Ò ÌØÛ ÍÌßÌÛøÍ÷ ÑÚæ
    ÙÛÑÎÙ×ß                              üëðôððð
    ÒÑÎÌØ ÝßÎÑÔ×Òß                       üëðôððð

  ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ
    ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ            üëðôððð
    ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍò

ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
  ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                 üïðôððð




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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÌØÛ ÚÑÔÔÑÉ×ÒÙ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ ßÐÐÔÇ ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ ËÒÔÛÍÍ
ÑÌØÛÎÉ×ÍÛ ÍÌßÌÛÜò


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  ÐÎÛÓ×ÍÛÍ ÒÑò   ï

  ßÜÜÎÛÍÍæ

    ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
    ÑÊ×ÛÜÑô ÚÔ íîéêë
    ÍÛÓ×ÒÑÔÛ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                       üïïôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                    üîôçððôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                               üîôðððôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
    ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÜËÝÌ×ÞÔÛÍ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                         ÐÛÎÝÛÒÌßÙÛ       Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                         ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ        ëû                üîôëðð


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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     ï       ÝÑÒÌ×ÒËÛÜ




      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô      éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ     Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ     éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ßÜÜÎÛÍÍæ

    ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
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  ÞË×ÔÜ×ÒÙæ                                                        üëôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                      üíéëôððð


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  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                 üïëðôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
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    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                         ÐÛÎÝÛÒÌßÙÛ         Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                           ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ        ëû                  üîôëðð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô         éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ     Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ      éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð


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    ììð É ÕÛÒÒÛÜÇ ÞÔÊÜ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                      üïëðôððð




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                                                                             ÒÛÈÌ  ÐßÙÛ÷
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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                              ÒÑÌ ÝÑÊÛÎÛÜ


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    ïçïç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ íðï
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                  üïïôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
    ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ




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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                  üïïôððð
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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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  ÞË×ÔÜ×ÒÙæ                                                   ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
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                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                          ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞË×ÔÜ×ÒÙæ                                                   ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                          ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô ÒÑ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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  ÜÛÜËÝÌ×ÞÔÛÍ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üëðôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô        éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üïðôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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  ÞË×ÔÜ×ÒÙæ                                                   ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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  ÑÝÝËÐßÒÝÇæ     ÍÌËÜÛÒÌ ØÑËÍ×ÒÙ

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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üîëôððð




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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ

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      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üëðôððð

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                               ÐÑÔ×ÝÇ ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ º±®³- ¿ °¿®¬ ±º ¬¸» Ð±´·½§ ²«³¾»®»¼ ¾»´±©æ

ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë            ÜØ
ÝØßÒÙÛ ÒËÓÞÛÎæ ððí

Ð±´·½§ Ý¸¿²¹» Ûºº»½¬·ª» Ü¿¬»æ ïðñðéñîî
Ò¿³»¼ ×²-«®»¼æ ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ
               ÍÛÛ ×Øïîðì

Ð®±¼«½»®ù- Ò¿³»æ       ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝ

Ð®± Î¿¬¿ Ú¿½¬±®æ        òêïé

Ü»-½®·°¬·±² ±º Ý¸¿²¹»ø-÷æ


ßÒÇ ÝØßÒÙÛÍ ×Ò ÇÑËÎ ÐÎÛÓ×ËÓ É×ÔÔ ÞÛ ÎÛÚÔÛÝÌÛÜ ×Ò ÇÑËÎ ÒÛÈÌ Þ×ÔÔ×ÒÙ
ÍÌßÌÛÓÛÒÌò ×Ú ÇÑË ßÎÛ ÛÒÎÑÔÔÛÜ ×Ò ÎÛÐÛÌ×Ì×ÊÛ ÛÚÌ ÜÎßÉÍ ÚÎÑÓ ÇÑËÎ
ÞßÒÕ ßÝÝÑËÒÌô ÝØßÒÙÛÍ ×Ò ÐÎÛÓ×ËÓ É×ÔÔ ÝØßÒÙÛ ÚËÌËÎÛ ÜÎßÉ ßÓÑËÒÌÍò
                           ÌØ×Í ×Í ÒÑÌ ß Þ×ÔÔò
ßÜÜ×Ì×ÑÒßÔ ÐÎÛÓ×ËÓ ÜËÛ ßÌ ÌØÛ ÝØßÒÙÛ ÛÚÚÛÝÌ×ÊÛ ÜßÌÛæ     üïôíîçòððö
ö×ÒÝÔËÜÛÍ ßÜÜ×Ì×ÑÒßÔ ÌÛÎÎÑÎ×ÍÓ ÐÎÛÓ×ËÓ ÑÚ         üìïòðð

ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ
ØßÎÌÚÑÎÜ Ú×ÎÛ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ ×Í ÝØßÒÙÛÜ
  ÐÎÛÓ×ÍÛÍ éí ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éì ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éë ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éê ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî



ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
ØßÎÌÚÑÎÜ ËÒÜÛÎÉÎ×ÌÛÎÍ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ




                   Ý±«²¬»®-·¹²»¼ ¾§                                            ïïñðïñîî
              øÉ¸»®» ®»¯«·®»¼ ¾§ ´¿©÷         ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»            Ü¿¬»




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                                                 ÐßÙÛ ï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
Ú±®³ ØÓ ïî ðï ðï ðéÌ
ÐÑÔ×ÝÇ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë   ÜØ




ÚÑÎÓ ÒËÓÞÛÎÍ ÑÚ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ßÒÜ ÛÒÜÑÎÍÛÓÛÒÌÍ ßÜÜÛÜ ÌÑ ÌØ×Í ÐÑÔ×ÝÇ
ßÌ ÛÒÜÑÎÍÛÓÛÒÌ ×ÍÍËÛæ ÍÛÛ ßÞÑÊÛ ÚÑÎ ÝÑÓÐßÒÇ ÒßÓÛ
  ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇæ ØÝïîïïïïèë øßÐÐÔ×ÛÍ ÌÑ ØÓððïð÷
ÚÑÎÓ ÒËÓÞÛÎÍ ÑÚ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ßÒÜ ÛÒÜÑÎÍÛÓÛÒÌÍ ÎÛÊ×ÍÛÜ
ßÌ ÛÒÜÑÎÍÛÓÛÒÌ ×ÍÍËÛæ ÍÛÛ ßÞÑÊÛ ÚÑÎ ÝÑÓÐßÒÇ ÒßÓÛ
  ÐÎÑÐÛÎÌÇæ ÐÝðððîðïïçÌ




Ú±®³ ØÓ ïî ðï ðï ðéÌ                             ÐßÙÛ     î
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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ
ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ

            ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
            ÝØßÒÙÛ ÒËÓÞÛÎæ ððí


ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑÊÛÎßÙÛ ßÒÜ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

×ÒÍËÎßÒÝÛ ßÐÐÔ×ÛÍ ÑÒ ß ÞÔßÒÕÛÌ ÞßÍ×Í ÑÒÔÇ ÌÑ ß ÝÑÊÛÎßÙÛ ÚÑÎ ÉØ×ÝØ ß Ô×Ó×Ì
ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÍØÑÉÒ ÞÛÔÑÉ ×Ò ÌØÛ ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ
ÐÎÑÐÛÎÌÇò ÌØÛ ÓßÈ×ÓËÓ ÉÛ É×ÔÔ ÐßÇ ÚÑÎ ÔÑÍÍ ÑÎ ÜßÓßÙÛ ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
×Í ÌØÛ ÍÓßÔÔÛÍÌ ßÐÐÔ×ÝßÞÔÛ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ÍØÑÉÒ ×Ò ÌØÛ ÜÛÝÔßÎßÌ×ÑÒÍô
ÍÝØÛÜËÔÛÍô ÑÎ ÛÒÜÑÎÍÛÓÛÒÌøÍ÷ò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ×ÒÍËÎÛÜ ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ
ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                      Ô×Ó×ÌøÍ÷ ÑÚ ×ÒÍËÎßÒÝÛ
                                                      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞË×ÔÜ×ÒÙ                                                          üìêôêéêôððð
ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ                                         üêôêëëôìðð

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÊßÔËßÌ×ÑÒ ÐÎÑÊ×Í×ÑÒæ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÎÛÐÔßÝÛÓÛÒÌ ÝÑÍÌ øÍËÞÖÛÝÌ ÌÑ Ô×Ó×ÌßÌ×ÑÒÍ÷ ßÐÐÔ×ÛÍ ÌÑ ÌØÛ ÌÇÐÛÍ ÑÚ ÝÑÊÛÎÛÜ
ÐÎÑÐÛÎÌÇ ×ÒÍËÎÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇò ÚÑÎ ÊßÔËßÌ×ÑÒ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß
ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ ó ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                             Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
                                                            ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                 üëôêðëôððð
  ìè ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
 ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ




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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑ×ÒÍËÎßÒÝÛ ÐÎÑÊ×Í×ÑÒæ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ËÒÔÛÍÍ ÑÌØÛÎÉ×ÍÛ ÍÌßÌÛÜ ×Ò ÌØ×Í ÐÑÔ×ÝÇô ÝÑ×ÒÍËÎßÒÝÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ÌØÛ
ÝÑÊÛÎßÙÛÍ ÍØÑÉÒ ÑÒ ÌØ×Í ÐÑÔ×ÝÇò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ßÔÔ ÝÑÊÛÎßÙÛÍ ßÍ ÐÎÑÊ×ÜÛÜ ßÒÜ Ô×Ó×ÌÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇ ßÌ ßÔÔ ×ÒÍËÎÛÜ
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ ×Ò ÌÑÌßÔ Í×ÌËßÌÛÜ ×Òæ
                                            ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ÝßÔ×ÚÑÎÒ×ß                                                 ÒÑÌ ÝÑÊÛÎÛÜ
ßÔßÞßÓß                                                    ÒÑÌ ÝÑÊÛÎÛÜ
ÙÛÑÎÙ×ß                                                     üëôðððôððð
ÔÑË×Í×ßÒß                                                  ÒÑÌ ÝÑÊÛÎÛÜ
ÒÑÎÌØ ÝßÎÑÔ×Òß                                              üëôðððôððð
ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ                                            üëôðððôððð

ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ
ßÒÇ ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò
ÌØÛ ÔßÎÙÛÍÌ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ËÒÜÛÎ
ÌØ×Í ÐÑÔ×ÝÇ ×Ò ÌÑÌßÔ ×Ò ßÒÇ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ ÛÊÛÒ ×Ú ÌØÛ ÔÑÍÍ ÑÎ ÜßÓßÙÛ
×ÒÊÑÔÊÛÍ ÓÑÎÛ ÌØßÒ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ
ÞÎÛßÕÜÑÉÒ ÐÎÑÐÛÎÌÇ ×Í ÌØÛ ßÐÐÔ×ÝßÞÔÛ ÞË×ÔÜ×ÒÙô ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ
ßÒÜ ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛò

ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍæ  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ßÎÛ ×ÒÝÔËÜÛÜ ×Ò ÌØÛ ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ßÒÜ ßÐÐÔÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ÐÎÑÐÛÎÌÇò




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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



                                                             Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ

ÝÚÝ ÎÛÚÎ×ÙÛÎßÒÌÍæ                                         ×ÒÝÔËÜÛÜ ×Ò ÌØÛ Ô×Ó×Ì
                                                         ÑÚ ×ÒÍËÎßÒÝÛ ßÐÐÔ×ÝßÞÔÛ
                                                          ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ØßÆßÎÜÑËÍ ÍËÞÍÌßÒÝÛÍæ                                              üïððôððð
ÍÐÑ×ÔßÙÛæ                                                          üïððôððð
ÛÈÐÛÜ×Ì×ÒÙ ÛÈÐÛÒÍÛÍæ                                               üïððôððð

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÜÛÜËÝÌ×ÞÔÛÍ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ÜÛÜËÝÌ×ÞÔÛÍ ÌØßÌ ßÐÐÔÇ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




ÞÇ ÛßÎÌØÏËßÕÛæ
                             ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
  ×Ò ÌØÛ ÍÌßÌÛøÍ÷ ÑÚæ
    ÙÛÑÎÙ×ß                              üëðôððð
    ÒÑÎÌØ ÝßÎÑÔ×Òß                       üëðôððð

  ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ
    ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ            üëðôððð
    ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍò

ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
  ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                 üïðôððð




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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÌØÛ ÚÑÔÔÑÉ×ÒÙ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ ßÐÐÔÇ ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ ËÒÔÛÍÍ
ÑÌØÛÎÉ×ÍÛ ÍÌßÌÛÜò


  ö ö ö ö ö ö ö ö ö ö ö ö ö ö ö

  ÐÎÛÓ×ÍÛÍ ÒÑò   ï

  ßÜÜÎÛÍÍæ

    ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
    ÑÊ×ÛÜÑô ÚÔ íîéêë
    ÍÛÓ×ÒÑÔÛ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                       üïïôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                    üîôçððôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                               üîôðððôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
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  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                         ÐÛÎÝÛÒÌßÙÛ       Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                         ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ        ëû                üîôëðð


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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     ï       ÝÑÒÌ×ÒËÛÜ




      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô      éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ     Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ     éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð


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  ßÜÜÎÛÍÍæ

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  ÞË×ÔÜ×ÒÙæ                                                        üëôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                      üíéëôððð


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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                 üïëðôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                         ÐÛÎÝÛÒÌßÙÛ         Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                           ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ        ëû                  üîôëðð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô         éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ     Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ      éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð


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    ììð É ÕÛÒÒÛÜÇ ÞÔÊÜ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                      üïëðôððð




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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     í       ÝÑÒÌ×ÒËÛÜ




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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                              ÒÑÌ ÝÑÊÛÎÛÜ


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    ïçïç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ íðï
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                  üïïôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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    ÑÊ×ÛÜÑô ÚÔ íîéêë
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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                  üïïôððð
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
    ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ




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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð




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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
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  ÞË×ÔÜ×ÒÙæ                                                            üïððôððð

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  ÞË×ÔÜ×ÒÙæ                                                     ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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                                                                             ÒÛÈÌ  ÐßÙÛ÷
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                                                             ÒÛÈÌ  ÐßÙÛ÷
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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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  ÞË×ÔÜ×ÒÙæ                                                   ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                ÞË×ÔÜ×ÒÙ Ô×Ó×Ì

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                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                          ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô ÒÑ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞË×ÔÜ×ÒÙæ                                                   ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                          ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô ÒÑ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô        éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ

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  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞË×ÔÜ×ÒÙæ                                                     ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                  ÞË×ÔÜ×ÒÙ Ô×Ó×Ì

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üîëôððð




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                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     éî        ÝÑÒÌ×ÒËÛÜ




    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üïðôððð


  ö ö ö ö ö ö ö ö ö ö ö ö ö ö ö

  ÐÎÛÓ×ÍÛÍ ÒÑò        éí

  ßÜÜÎÛÍÍæ

    ïèëé ÐßÎÕÎ×ÜÙÛ Ü
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
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  ÞË×ÔÜ×ÒÙæ                                                            üîïêôððð


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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
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                                                                    ÒÑÌ ÝÑÊÛÎÛÜ


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    ëîìí ÕßÇÉÑÑÜ ÜÎ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ




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                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     éì        ÝÑÒÌ×ÒËÛÜ




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  ÞË×ÔÜ×ÒÙæ                                                            üíïíôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÝßËÍÛ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛæ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

                                                                    ÒÑÌ ÝÑÊÛÎÛÜ


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  ÐÎÛÓ×ÍÛÍ ÒÑò        éë

  ßÜÜÎÛÍÍæ

    ëîíé ÕßÇÉÑÑÜ ÜÎ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
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  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                            üîééôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ




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                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     éë        ÝÑÒÌ×ÒËÛÜ




  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÝßËÍÛ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛæ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

                                                                  ÒÑÌ ÝÑÊÛÎÛÜ


  ö ö ö ö ö ö ö ö ö ö ö ö ö ö ö

  ÐÎÛÓ×ÍÛÍ ÒÑò        éê

  ßÜÜÎÛÍÍæ

    ïêêì É×ÔØËÎÍÌ ÍÌ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                           üïçíôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                              ÒÑÌ ÝÑÊÛÎÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÝßËÍÛ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛæ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

                                                                  ÒÑÌ ÝÑÊÛÎÛÜ




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        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                      ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
        ÝØßÒÙÛ ÒËÓÞÛÎæ          ððí

×¬ ·- ¿¹®»»¼ ¬¸¿¬ ¬¸» Í½¸»¼«´» øÚ±®³ ØÝ ïî ïð÷ ·- ½¸¿²¹»¼ ¿- º±´´±©-æ


ÌØÛ ÚÑÔÔÑÉ×ÒÙ ×Í ßÜÜÛÜæ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ                   ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ            ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                                 ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                          ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                             ðéíñððï          ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                                 ïèëé ÐßÎÕÎ×ÜÙÛ Ü
                                          ÖßÝÕÍÑÒ
                                          ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ                 ÜÉÛÔÔ×ÒÙÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                                 ï

ÎßÌÛæ                                     êïòçîìð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                           êíòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                           íçòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ                   ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ            ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                                 ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                          ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                             ðéìñððï                  ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                                 ëîìí ÕßÇÉÑÑÜ ÜÎ
                                          ÖßÝÕÍÑÒ
                                          ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ                 ÜÉÛÔÔ×ÒÙÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                                 ï

ÎßÌÛæ                                     êïòçîìð



Ú±®³ ØÝ ïî ïï ïï èëÌ Ð®·²¬»¼ ·² ËòÍòßò øÒÍ÷                       ÐßÙÛ     ï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 êíòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 íçòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ   ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                   ðéëñððï            ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëîíé ÕßÇÉÑÑÜ ÜÎ
                                ÖßÝÕÍÑÒ
                                ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï

ÎßÌÛæ                           êïòçîìð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 êíòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 íçòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ   ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                   ðéêñððï          ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ïêêì É×ÔØËÎÍÌ ÍÌ
                                ÖßÝÕÍÑÒ
                                ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ï




Ú±®³ ØÝ ïî ïï ïï èëÌ                              ÐßÙÛ   î øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ÎßÌÛæ                           êïòçîìð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 êíòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 íçòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

  ÌÑÌßÔ ÐÎÛÓ×ËÓ ÝØßÒÙÛ
ÚÑÎ ÌØ×Í ÐÑÔ×ÝÇ ÝØßÒÙÛæ       ïëêòðð ßÐ
ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ




Ú±®³ ØÝ ïî ïï ïï èëÌ                           ÐßÙÛ   í
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              ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                                               ÐÑÔ×ÝÇ ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ º±®³- ¿ °¿®¬ ±º ¬¸» Ð±´·½§ ²«³¾»®»¼ ¾»´±©æ

ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë            ÜØ
ÝØßÒÙÛ ÒËÓÞÛÎæ ððî

Ð±´·½§ Ý¸¿²¹» Ûºº»½¬·ª» Ü¿¬»æ ïðñðéñîî
Ò¿³»¼ ×²-«®»¼æ ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ


Ð®±¼«½»®ù- Ò¿³»æ       ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝ

Ð®± Î¿¬¿ Ú¿½¬±®æ        òêïé

Ü»-½®·°¬·±² ±º Ý¸¿²¹»ø-÷æ


                                                                          ÝØßÒÙÛ ÒÑòæ   ððî
ßÒÇ ÝØßÒÙÛÍ ×Ò ÇÑËÎ ÐÎÛÓ×ËÓ É×ÔÔ ÞÛ ÎÛÚÔÛÝÌÛÜ ×Ò ÇÑËÎ ÒÛÈÌ Þ×ÔÔ×ÒÙ
ÍÌßÌÛÓÛÒÌò ×Ú ÇÑË ßÎÛ ÛÒÎÑÔÔÛÜ ×Ò ÎÛÐÛÌ×Ì×ÊÛ ÛÚÌ ÜÎßÉÍ ÚÎÑÓ ÇÑËÎ
ÞßÒÕ ßÝÝÑËÒÌô ÝØßÒÙÛÍ ×Ò ÐÎÛÓ×ËÓ É×ÔÔ ÝØßÒÙÛ ÚËÌËÎÛ ÜÎßÉ ßÓÑËÒÌÍò
                           ÌØ×Í ×Í ÒÑÌ ß Þ×ÔÔò
ÝØßÒÙÛ ÒÑæ ððî ×Í ÝßÒÝÛÔÔÛÜò




                   Ý±«²¬»®-·¹²»¼ ¾§                                                     ïðñíïñîî
              øÉ¸»®» ®»¯«·®»¼ ¾§ ´¿©÷         ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»                     Ü¿¬»




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Ú±®³ ØÓ ïî ðï ðï ðéÌ
              ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                                               ÐÑÔ×ÝÇ ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ º±®³- ¿ °¿®¬ ±º ¬¸» Ð±´·½§ ²«³¾»®»¼ ¾»´±©æ

ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë            ÜØ
ÝØßÒÙÛ ÒËÓÞÛÎæ ððî

Ð±´·½§ Ý¸¿²¹» Ûºº»½¬·ª» Ü¿¬»æ ïðñðéñîî
Ò¿³»¼ ×²-«®»¼æ ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ
               ÍÛÛ ×Øïîðì

Ð®±¼«½»®ù- Ò¿³»æ       ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝ

Ð®± Î¿¬¿ Ú¿½¬±®æ        òêïé

Ü»-½®·°¬·±² ±º Ý¸¿²¹»ø-÷æ


ßÒÇ ÝØßÒÙÛÍ ×Ò ÇÑËÎ ÐÎÛÓ×ËÓ É×ÔÔ ÞÛ ÎÛÚÔÛÝÌÛÜ ×Ò ÇÑËÎ ÒÛÈÌ Þ×ÔÔ×ÒÙ
ÍÌßÌÛÓÛÒÌò ×Ú ÇÑË ßÎÛ ÛÒÎÑÔÔÛÜ ×Ò ÎÛÐÛÌ×Ì×ÊÛ ÛÚÌ ÜÎßÉÍ ÚÎÑÓ ÇÑËÎ
ÞßÒÕ ßÝÝÑËÒÌô ÝØßÒÙÛÍ ×Ò ÐÎÛÓ×ËÓ É×ÔÔ ÝØßÒÙÛ ÚËÌËÎÛ ÜÎßÉ ßÓÑËÒÌÍò
                           ÌØ×Í ×Í ÒÑÌ ß Þ×ÔÔò
ßÜÜ×Ì×ÑÒßÔ ÐÎÛÓ×ËÓ ÜËÛ ßÌ ÌØÛ ÝØßÒÙÛ ÛÚÚÛÝÌ×ÊÛ ÜßÌÛæ   üîçèôîéðòððö
ö×ÒÝÔËÜÛÍ ßÜÜ×Ì×ÑÒßÔ ÌÛÎÎÑÎ×ÍÓ ÐÎÛÓ×ËÓ ÑÚ      üîôçééòðð

ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ
ØßÎÌÚÑÎÜ Ú×ÎÛ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ ×Í ÝØßÒÙÛÜ
  ÐÎÛÓ×ÍÛÍ éí ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éì ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éë ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éê ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî



ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
ØßÎÌÚÑÎÜ ËÒÜÛÎÉÎ×ÌÛÎÍ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ




                   Ý±«²¬»®-·¹²»¼ ¾§                                            ïðñíïñîî
              øÉ¸»®» ®»¯«·®»¼ ¾§ ´¿©÷         ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»            Ü¿¬»




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                                                 ÐßÙÛ ï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
Ú±®³ ØÓ ïî ðï ðï ðéÌ
ÐÑÔ×ÝÇ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë   ÜØ




ÚÑÎÓ ÒËÓÞÛÎÍ ÑÚ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ßÒÜ ÛÒÜÑÎÍÛÓÛÒÌÍ ßÜÜÛÜ ÌÑ ÌØ×Í ÐÑÔ×ÝÇ
ßÌ ÛÒÜÑÎÍÛÓÛÒÌ ×ÍÍËÛæ ÍÛÛ ßÞÑÊÛ ÚÑÎ ÝÑÓÐßÒÇ ÒßÓÛ
  ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇæ ØÝïîïïïïèë øßÐÐÔ×ÛÍ ÌÑ ØÓððïð÷
ÚÑÎÓ ÒËÓÞÛÎÍ ÑÚ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ßÒÜ ÛÒÜÑÎÍÛÓÛÒÌÍ ÎÛÊ×ÍÛÜ
ßÌ ÛÒÜÑÎÍÛÓÛÒÌ ×ÍÍËÛæ ÍÛÛ ßÞÑÊÛ ÚÑÎ ÝÑÓÐßÒÇ ÒßÓÛ
  ÐÎÑÐÛÎÌÇæ ÐÝðððîðïïçÌ




Ú±®³ ØÓ ïî ðï ðï ðéÌ                             ÐßÙÛ     î
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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ
ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ

            ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
            ÝØßÒÙÛ ÒËÓÞÛÎæ ððî


ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑÊÛÎßÙÛ ßÒÜ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

×ÒÍËÎßÒÝÛ ßÐÐÔ×ÛÍ ÑÒ ß ÞÔßÒÕÛÌ ÞßÍ×Í ÑÒÔÇ ÌÑ ß ÝÑÊÛÎßÙÛ ÚÑÎ ÉØ×ÝØ ß Ô×Ó×Ì
ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÍØÑÉÒ ÞÛÔÑÉ ×Ò ÌØÛ ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ
ÐÎÑÐÛÎÌÇò ÌØÛ ÓßÈ×ÓËÓ ÉÛ É×ÔÔ ÐßÇ ÚÑÎ ÔÑÍÍ ÑÎ ÜßÓßÙÛ ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
×Í ÌØÛ ÍÓßÔÔÛÍÌ ßÐÐÔ×ÝßÞÔÛ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ÍØÑÉÒ ×Ò ÌØÛ ÜÛÝÔßÎßÌ×ÑÒÍô
ÍÝØÛÜËÔÛÍô ÑÎ ÛÒÜÑÎÍÛÓÛÒÌøÍ÷ò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ×ÒÍËÎÛÜ ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ
ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                      Ô×Ó×ÌøÍ÷ ÑÚ ×ÒÍËÎßÒÝÛ
                                                      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞË×ÔÜ×ÒÙ                                                          üìêôêéêôððð
ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ                                         üêôêëëôìðð

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÊßÔËßÌ×ÑÒ ÐÎÑÊ×Í×ÑÒæ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÎÛÐÔßÝÛÓÛÒÌ ÝÑÍÌ øÍËÞÖÛÝÌ ÌÑ Ô×Ó×ÌßÌ×ÑÒÍ÷ ßÐÐÔ×ÛÍ ÌÑ ÌØÛ ÌÇÐÛÍ ÑÚ ÝÑÊÛÎÛÜ
ÐÎÑÐÛÎÌÇ ×ÒÍËÎÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇò ÚÑÎ ÊßÔËßÌ×ÑÒ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß
ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ ó ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                             Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
                                                            ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                 üëôêðëôððð
  ìè ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
 ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ




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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑ×ÒÍËÎßÒÝÛ ÐÎÑÊ×Í×ÑÒæ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ËÒÔÛÍÍ ÑÌØÛÎÉ×ÍÛ ÍÌßÌÛÜ ×Ò ÌØ×Í ÐÑÔ×ÝÇô ÝÑ×ÒÍËÎßÒÝÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ÌØÛ
ÝÑÊÛÎßÙÛÍ ÍØÑÉÒ ÑÒ ÌØ×Í ÐÑÔ×ÝÇò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ßÔÔ ÝÑÊÛÎßÙÛÍ ßÍ ÐÎÑÊ×ÜÛÜ ßÒÜ Ô×Ó×ÌÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇ ßÌ ßÔÔ ×ÒÍËÎÛÜ
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ ×Ò ÌÑÌßÔ Í×ÌËßÌÛÜ ×Òæ
                                            ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ÝßÔ×ÚÑÎÒ×ß                                                 ÒÑÌ ÝÑÊÛÎÛÜ
ßÔßÞßÓß                                                    ÒÑÌ ÝÑÊÛÎÛÜ
ÙÛÑÎÙ×ß                                                     üëôðððôððð
ÔÑË×Í×ßÒß                                                  ÒÑÌ ÝÑÊÛÎÛÜ
ÒÑÎÌØ ÝßÎÑÔ×Òß                                              üëôðððôððð
ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ                                            üëôðððôððð

ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ
ßÒÇ ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò
ÌØÛ ÔßÎÙÛÍÌ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ËÒÜÛÎ
ÌØ×Í ÐÑÔ×ÝÇ ×Ò ÌÑÌßÔ ×Ò ßÒÇ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ ÛÊÛÒ ×Ú ÌØÛ ÔÑÍÍ ÑÎ ÜßÓßÙÛ
×ÒÊÑÔÊÛÍ ÓÑÎÛ ÌØßÒ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ
ÞÎÛßÕÜÑÉÒ ÐÎÑÐÛÎÌÇ ×Í ÌØÛ ßÐÐÔ×ÝßÞÔÛ ÞË×ÔÜ×ÒÙô ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ
ßÒÜ ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛò

ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍæ  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ßÎÛ ×ÒÝÔËÜÛÜ ×Ò ÌØÛ ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ßÒÜ ßÐÐÔÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ÐÎÑÐÛÎÌÇò




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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



                                                             Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ

ÝÚÝ ÎÛÚÎ×ÙÛÎßÒÌÍæ                                         ×ÒÝÔËÜÛÜ ×Ò ÌØÛ Ô×Ó×Ì
                                                         ÑÚ ×ÒÍËÎßÒÝÛ ßÐÐÔ×ÝßÞÔÛ
                                                          ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ØßÆßÎÜÑËÍ ÍËÞÍÌßÒÝÛÍæ                                              üïððôððð
ÍÐÑ×ÔßÙÛæ                                                          üïððôððð
ÛÈÐÛÜ×Ì×ÒÙ ÛÈÐÛÒÍÛÍæ                                               üïððôððð

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÜÛÜËÝÌ×ÞÔÛÍ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ÜÛÜËÝÌ×ÞÔÛÍ ÌØßÌ ßÐÐÔÇ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




ÞÇ ÛßÎÌØÏËßÕÛæ
                             ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
  ×Ò ÌØÛ ÍÌßÌÛøÍ÷ ÑÚæ
    ÙÛÑÎÙ×ß                              üëðôððð
    ÒÑÎÌØ ÝßÎÑÔ×Òß                       üëðôððð

  ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ
    ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ            üëðôððð
    ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍò

ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
  ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                 üïðôððð




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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




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  ÐÎÛÓ×ÍÛÍ ÒÑò   ï

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    ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
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  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                         ÐÛÎÝÛÒÌßÙÛ       Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                         ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ        ëû                üîôëðð


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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

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      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô      éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ     Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ     éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞË×ÔÜ×ÒÙæ                                                        üëôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                      üíéëôððð


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  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                 üïëðôððð
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    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                         ÐÛÎÝÛÒÌßÙÛ         Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                           ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ        ëû                  üîôëðð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô         éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ     Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ      éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð




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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô      éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð


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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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                                                                ÞË×ÔÜ×ÒÙ Ô×Ó×Ì

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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô ÒÑ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üîëôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô        éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üïðôððð


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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

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                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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  ÜÛÜËÝÌ×ÞÔÛÍ
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  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üëðôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô        éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üïðôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üîëôððð




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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÖßÝÕÍÑÒô ÓÍ íçîïï
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  ÑÝÝËÐßÒÝÇæ     ßÜÓ×Ò ÑÚÚ×ÝÛÍ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                     ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                  ÞË×ÔÜ×ÒÙ Ô×Ó×Ì

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
                                                                  ÐÎÑÐÛÎÌÇ Ô×Ó×Ì


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÜËÝÌ×ÞÔÛÍ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üîëôððð




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                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     éî        ÝÑÒÌ×ÒËÛÜ




    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üïðôððð


  ö ö ö ö ö ö ö ö ö ö ö ö ö ö ö

  ÐÎÛÓ×ÍÛÍ ÒÑò        éí

  ßÜÜÎÛÍÍæ

    ïèëé ÐßÎÕÎ×ÜÙÛ ÜÎ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                            üîïêôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÝßËÍÛ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛæ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

                                                                    ÒÑÌ ÝÑÊÛÎÛÜ


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  ÐÎÛÓ×ÍÛÍ ÒÑò        éì

  ßÜÜÎÛÍÍæ

    ëîìí ÕßÇÉÑÑÜ ÜÎ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ




      Case
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                                                               øÝÑÒÌ×ÒËÛÜ        of 579
                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     éì        ÝÑÒÌ×ÒËÛÜ




  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                            üíïíôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÝßËÍÛ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛæ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

                                                                    ÒÑÌ ÝÑÊÛÎÛÜ


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  ÐÎÛÓ×ÍÛÍ ÒÑò        éë

  ßÜÜÎÛÍÍæ

    ëîíé ÕßÇÉÑÑÜ ÜÎ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                            üîééôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ




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Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
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                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     éë        ÝÑÒÌ×ÒËÛÜ




  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÝßËÍÛ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛæ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

                                                                  ÒÑÌ ÝÑÊÛÎÛÜ


  ö ö ö ö ö ö ö ö ö ö ö ö ö ö ö

  ÐÎÛÓ×ÍÛÍ ÒÑò        éê

  ßÜÜÎÛÍÍæ

    ïêêì É×ÔØËÎÍÌ ÍÌ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                           üïçíôððð


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                              ÒÑÌ ÝÑÊÛÎÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÝßËÍÛ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛæ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

                                                                  ÒÑÌ ÝÑÊÛÎÛÜ




      Case
Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
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        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                      ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
        ÝØßÒÙÛ ÒËÓÞÛÎæ          ððî

×¬ ·- ¿¹®»»¼ ¬¸¿¬ ¬¸» Í½¸»¼«´» øÚ±®³ ØÝ ïî ïð÷ ·- ½¸¿²¹»¼ ¿- º±´´±©-æ


ÌØÛ ÚÑÔÔÑÉ×ÒÙ ×Í ßÜÜÛÜæ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ                   ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ            ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                                 ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                          ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                             ðéíñððï           ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                                 ïèëé ÐßÎÕÎ×ÜÙÛ ÜÎ
                                          ÖßÝÕÍÑÒ
                                          ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ                 ÜÉÛÔÔ×ÒÙÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                                 ïôêêî

ÎßÌÛæ                                     êïòçîìð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                           ïðíôçìéòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                           êìôïíëòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ                   ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ            ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                                 ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                          ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                             ðéìñððï                  ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                                 ëîìí ÕßÇÉÑÑÜ ÜÎ
                                          ÖßÝÕÍÑÒ
                                          ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ                 ÜÉÛÔÔ×ÒÙÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                                 îôìïì

ÎßÌÛæ                                     êïòçîìð



Ú±®³ ØÝ ïî ïï ïï èëÌ Ð®·²¬»¼ ·² ËòÍòßò øÒÍ÷                       ÐßÙÛ     ï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
        Case 3:24-cv-00490-FDW-SCR Document 1-4 Filed 05/21/24 Page 501 of 579
ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 ïëðôçéçòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 çíôïëìòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ   ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                   ðéëñððï            ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ëîíé ÕßÇÉÑÑÜ ÜÎ
                                ÖßÝÕÍÑÒ
                                ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       îôïíé

ÎßÌÛæ                           êïòçîìð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 ïííôêëëòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 èîôìêëòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ   ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                   ðéêñððï          ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ïêêì É×ÔØËÎÍÌ ÍÌ
                                ÖßÝÕÍÑÒ
                                ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ÜÉÛÔÔ×ÒÙÍ                ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                       ïôìèê




Ú±®³ ØÝ ïî ïï ïï èëÌ                              ÐßÙÛ   î øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ÎßÌÛæ                           êïòçîìð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 çîôçíçòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 ëéôíìíòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

  ÌÑÌßÔ ÐÎÛÓ×ËÓ ÝØßÒÙÛ
ÚÑÎ ÌØ×Í ÐÑÔ×ÝÇ ÝØßÒÙÛæ       îçéôðçéòðð ßÐ
ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ




Ú±®³ ØÝ ïî ïï ïï èëÌ                           ÐßÙÛ   í
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              ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                                               ÐÑÔ×ÝÇ ÝØßÒÙÛÍ
Ì¸·- »²¼±®-»³»²¬ º±®³- ¿ °¿®¬ ±º ¬¸» Ð±´·½§ ²«³¾»®»¼ ¾»´±©æ

ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë            ÜØ
ÝØßÒÙÛ ÒËÓÞÛÎæ ððï

Ð±´·½§ Ý¸¿²¹» Ûºº»½¬·ª» Ü¿¬»æ ðêñïêñîî
Ò¿³»¼ ×²-«®»¼æ ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ
               ÍÛÛ ×Øïîðì

Ð®±¼«½»®ù- Ò¿³»æ       ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝ

Ð®± Î¿¬¿ Ú¿½¬±®æ        òçîê

Ü»-½®·°¬·±² ±º Ý¸¿²¹»ø-÷æ


ßÒÇ ÝØßÒÙÛÍ ×Ò ÇÑËÎ ÐÎÛÓ×ËÓ É×ÔÔ ÞÛ ÎÛÚÔÛÝÌÛÜ ×Ò ÇÑËÎ ÒÛÈÌ Þ×ÔÔ×ÒÙ
ÍÌßÌÛÓÛÒÌò ×Ú ÇÑË ßÎÛ ÛÒÎÑÔÔÛÜ ×Ò ÎÛÐÛÌ×Ì×ÊÛ ÛÚÌ ÜÎßÉÍ ÚÎÑÓ ÇÑËÎ
ÞßÒÕ ßÝÝÑËÒÌô ÝØßÒÙÛÍ ×Ò ÐÎÛÓ×ËÓ É×ÔÔ ÝØßÒÙÛ ÚËÌËÎÛ ÜÎßÉ ßÓÑËÒÌÍò
                           ÌØ×Í ×Í ÒÑÌ ß Þ×ÔÔò
ßÜÜ×Ì×ÑÒßÔ ÐÎÛÓ×ËÓ ÜËÛ ßÌ ÌØÛ ÝØßÒÙÛ ÛÚÚÛÝÌ×ÊÛ ÜßÌÛæ     üíëôìèïòððö
ö×ÒÝÔËÜÛÍ ßÜÜ×Ì×ÑÒßÔ ÌÛÎÎÑÎ×ÍÓ ÐÎÛÓ×ËÓ ÑÚ        üçëîòðð

ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛæ
ÎßÌÛÍ ßÒÜ ÐÎÛÓ×ËÓÍ ßÎÛ ÝØßÒÙÛÜò
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ
ØßÎÌÚÑÎÜ Ú×ÎÛ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÊÛÎßÙÛ ÐßÎÌ ×Í ÝØßÒÙÛÜ
ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ
  ÞË×ÔÜ×ÒÙ ÝÑÊÛÎßÙÛæ
    ÞÔßÒÕÛÌ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÝØßÒÙÛÜ ÚÎÑÓ                 üîçôððíôððð
     ÌÑ üìêôêéêôððð
  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ÝÑÊÛÎßÙÛæ
    ÞÔßÒÕÛÌ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÝØßÒÙÛÜ ÚÎÑÓ                   üêôêðëôìðð
     ÌÑ   üêôêëëôìðð
  ÐÎÛÓ×ÍÛÍ éð ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî
  ÐÎÛÓ×ÍÛÍ éï ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî




                   Ý±«²¬»®-·¹²»¼ ¾§                                            ðéñðéñîî
              øÉ¸»®» ®»¯«·®»¼ ¾§ ´¿©÷         ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»            Ü¿¬»




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                                                 ÐßÙÛ ï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
Ú±®³ ØÓ ïî ðï ðï ðéÌ
ÐÑÔ×ÝÇ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë   ÜØ




  ÐÎÛÓ×ÍÛÍ éî ×Í ßÜÜÛÜ
    ÍÛÛ ÍÝØÛÜËÔÛ ÐÝðððî



ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
ØßÎÌÚÑÎÜ ËÒÜÛÎÉÎ×ÌÛÎÍ ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇ



ÚÑÎÓ ÒËÓÞÛÎÍ ÑÚ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ßÒÜ ÛÒÜÑÎÍÛÓÛÒÌÍ ßÜÜÛÜ ÌÑ ÌØ×Í ÐÑÔ×ÝÇ
ßÌ ÛÒÜÑÎÍÛÓÛÒÌ ×ÍÍËÛæ ÍÛÛ ßÞÑÊÛ ÚÑÎ ÝÑÓÐßÒÇ ÒßÓÛ
  ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇæ ØÝïîïïïïèë øßÐÐÔ×ÛÍ ÌÑ ØÓððïð÷
ÚÑÎÓ ÒËÓÞÛÎÍ ÑÚ ÝÑÊÛÎßÙÛ ÐßÎÌÍ ßÒÜ ÛÒÜÑÎÍÛÓÛÒÌÍ ÎÛÊ×ÍÛÜ
ßÌ ÛÒÜÑÎÍÛÓÛÒÌ ×ÍÍËÛæ ÍÛÛ ßÞÑÊÛ ÚÑÎ ÝÑÓÐßÒÇ ÒßÓÛ
  ÐÎÑÐÛÎÌÇæ ÐÝðððîðïïçÌ




Ú±®³ ØÓ ïî ðï ðï ðéÌ                             ÐßÙÛ     î
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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ
ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ

            ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
            ÝØßÒÙÛ ÒËÓÞÛÎæ ððï


ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑÊÛÎßÙÛ ßÒÜ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

×ÒÍËÎßÒÝÛ ßÐÐÔ×ÛÍ ÑÒ ß ÞÔßÒÕÛÌ ÞßÍ×Í ÑÒÔÇ ÌÑ ß ÝÑÊÛÎßÙÛ ÚÑÎ ÉØ×ÝØ ß Ô×Ó×Ì
ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÍØÑÉÒ ÞÛÔÑÉ ×Ò ÌØÛ ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ
ÐÎÑÐÛÎÌÇò ÌØÛ ÓßÈ×ÓËÓ ÉÛ É×ÔÔ ÐßÇ ÚÑÎ ÔÑÍÍ ÑÎ ÜßÓßÙÛ ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
×Í ÌØÛ ÍÓßÔÔÛÍÌ ßÐÐÔ×ÝßÞÔÛ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ÍØÑÉÒ ×Ò ÌØÛ ÜÛÝÔßÎßÌ×ÑÒÍô
ÍÝØÛÜËÔÛÍô ÑÎ ÛÒÜÑÎÍÛÓÛÒÌøÍ÷ò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ×ÒÍËÎÛÜ ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ
ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                      Ô×Ó×ÌøÍ÷ ÑÚ ×ÒÍËÎßÒÝÛ
                                                      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞË×ÔÜ×ÒÙ                                                          üìêôêéêôððð
ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ                                         üêôêëëôìðð

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÊßÔËßÌ×ÑÒ ÐÎÑÊ×Í×ÑÒæ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÎÛÐÔßÝÛÓÛÒÌ ÝÑÍÌ øÍËÞÖÛÝÌ ÌÑ Ô×Ó×ÌßÌ×ÑÒÍ÷ ßÐÐÔ×ÛÍ ÌÑ ÌØÛ ÌÇÐÛÍ ÑÚ ÝÑÊÛÎÛÜ
ÐÎÑÐÛÎÌÇ ×ÒÍËÎÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇò ÚÑÎ ÊßÔËßÌ×ÑÒ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß
ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ ó ÞÔßÒÕÛÌ ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò
                                                             Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
                                                            ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ

ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                 üëôêðëôððð
  ìè ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
 ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ




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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝÑ×ÒÍËÎßÒÝÛ ÐÎÑÊ×Í×ÑÒæ
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ËÒÔÛÍÍ ÑÌØÛÎÉ×ÍÛ ÍÌßÌÛÜ ×Ò ÌØ×Í ÐÑÔ×ÝÇô ÝÑ×ÒÍËÎßÒÝÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ÌØÛ
ÝÑÊÛÎßÙÛÍ ÍØÑÉÒ ÑÒ ÌØ×Í ÐÑÔ×ÝÇò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ßÔÔ ÝÑÊÛÎßÙÛÍ ßÍ ÐÎÑÊ×ÜÛÜ ßÒÜ Ô×Ó×ÌÛÜ ËÒÜÛÎ ÌØ×Í ÐÑÔ×ÝÇ ßÌ ßÔÔ ×ÒÍËÎÛÜ
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ ×Ò ÌÑÌßÔ Í×ÌËßÌÛÜ ×Òæ
                                            ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ÝßÔ×ÚÑÎÒ×ß                                                 ÒÑÌ ÝÑÊÛÎÛÜ
ßÔßÞßÓß                                                    ÒÑÌ ÝÑÊÛÎÛÜ
ÙÛÑÎÙ×ß                                                     üëôðððôððð
ÔÑË×Í×ßÒß                                                  ÒÑÌ ÝÑÊÛÎÛÜ
ÒÑÎÌØ ÝßÎÑÔ×Òß                                              üëôðððôððð
ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ                                            üëôðððôððð

ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ
ßÒÇ ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò
ÌØÛ ÔßÎÙÛÍÌ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ ×Í ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ËÒÜÛÎ
ÌØ×Í ÐÑÔ×ÝÇ ×Ò ÌÑÌßÔ ×Ò ßÒÇ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ ÛÊÛÒ ×Ú ÌØÛ ÔÑÍÍ ÑÎ ÜßÓßÙÛ
×ÒÊÑÔÊÛÍ ÓÑÎÛ ÌØßÒ ÑÒÛ ÐÑÔ×ÝÇ ÇÛßÎ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛò

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ×ÒÍËÎßÒÝÛ ÌØßÌ ßÐÐÔ×ÛÍ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÓÑÍÌ ÉÛ É×ÔÔ ÐßÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ
ÞÎÛßÕÜÑÉÒ ÐÎÑÐÛÎÌÇ ×Í ÌØÛ ßÐÐÔ×ÝßÞÔÛ ÞË×ÔÜ×ÒÙô ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ
ßÒÜ ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛò

ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍæ  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÝÑÊÛÎßÙÛ ÛÈÌÛÒÍ×ÑÒÍ Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ
ßÎÛ ×ÒÝÔËÜÛÜ ×Ò ÌØÛ ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
ßÒÜ ßÐÐÔÇ ×Ò ßÒÇ ÑÒÛ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ ßÝÝ×ÜÛÒÌ ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ÐÎÑÐÛÎÌÇò




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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



                                                             Ô×Ó×ÌÍ ÑÚ ×ÒÍËÎßÒÝÛ

ÝÚÝ ÎÛÚÎ×ÙÛÎßÒÌÍæ                                         ×ÒÝÔËÜÛÜ ×Ò ÌØÛ Ô×Ó×Ì
                                                         ÑÚ ×ÒÍËÎßÒÝÛ ßÐÐÔ×ÝßÞÔÛ
                                                          ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ
ØßÆßÎÜÑËÍ ÍËÞÍÌßÒÝÛÍæ                                              üïððôððð
ÍÐÑ×ÔßÙÛæ                                                          üïððôððð
ÛÈÐÛÜ×Ì×ÒÙ ÛÈÐÛÒÍÛÍæ                                               üïððôððð

ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
ÜÛÜËÝÌ×ÞÔÛÍ
ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

ÚÑÎ ÜÛÜËÝÌ×ÞÔÛÍ ÌØßÌ ßÐÐÔÇ ÌÑ ß ÍÐÛÝ×Ú×Ý ÐÎÛÓ×ÍÛÍ ÍÛÛæ        ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó
ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍò

ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




ÞÇ ÛßÎÌØÏËßÕÛæ
                             ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
  ×Ò ÌØÛ ÍÌßÌÛøÍ÷ ÑÚæ
    ÙÛÑÎÙ×ß                              üëðôððð
    ÒÑÎÌØ ÝßÎÑÔ×Òß                       üëðôððð

  ßÔÔ ÑÌØÛÎ ÍÌßÌÛÍ
    ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ            üëðôððð
    ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍò

ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
  ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                 üïðôððð




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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë




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  ÐÎÛÓ×ÍÛÍ ÒÑò   ï

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    ïîíï ÎÛÚÑÎÓßÌ×ÑÒ ÜÎ
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  ÞË×ÔÜ×ÒÙæ                                                       üïïôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                    üîôçððôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                         ÐÛÎÝÛÒÌßÙÛ       Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                         ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ        ëû                üîôëðð


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                                                                             ÒÛÈÌ  ÐßÙÛ÷
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      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     ï       ÝÑÒÌ×ÒËÛÜ




      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô      éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ     Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ     éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                        üëôðððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                      üíéëôððð


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  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                 üïëðôððð
     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

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  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ ÒßÓÛÜ ÍÌÑÎÓæ
                                         ÐÛÎÝÛÒÌßÙÛ         Ó×Ò×ÓËÓ ÜÛÜËÝÌ×ÞÔÛ
                                                           ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛ
      ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÐÛÎÝÛÒÌßÙÛ ßÐÐÔ×ÛÍæ        ëû                  üîôëðð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô         éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÌÑ ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒæ

      ßÐÐÔ×ÝßÞÔÛ ÌÑ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛæ     Ì×ÓÛ ÜÛÜËÝÌ×ÞÔÛæ      éî ØÑËÎÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð


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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                      üïëðôððð




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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     í       ÝÑÒÌ×ÒËÛÜ




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  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                              ÒÑÌ ÝÑÊÛÎÛÜ


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    ïçïç ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ íðï
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
    ÐßÇÎÑÔÔ ×Í ×ÒÝÔËÜÛÜ




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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð




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Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
              ðï ïç Ì                Document 1-4ÐßÙÛ
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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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    ïçëð ÍËÓÓÛÎ ÝÔËÞ ÜÎ ßÐÌ ïðè
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                       üïëôððð




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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                         üïëôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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                                                                               ÒÛÈÌ  ÐßÙÛ÷
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞË×ÔÜ×ÒÙæ                                                          üïððôððð

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ
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  ÞË×ÔÜ×ÒÙæ                                                     ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                          ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


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                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                                                             ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


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                                                             øÝÑÒÌ×ÒËÛÜ        of 579
                                                                             ÒÛÈÌ  ÐßÙÛ÷
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                          ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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                                                                             ÒÛÈÌ  ÐßÙÛ÷
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ               ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                               ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üïðôððð




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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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                                                                ÞË×ÔÜ×ÒÙ Ô×Ó×Ì

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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                          ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                üîëôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô ÒÑ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üîëôððð

      ßÍ ÎÛÍÐÛÝÌÍ ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ÝÑÊÛÎßÙÛô        éî ØÑËÎ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ
      ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üïðôððð


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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üëðôððð

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      ßÐÐÔ×ÛÍ

    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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     ìè ØÑËÎÍ Éß×Ì×ÒÙ ÐÛÎ×ÑÜ ßÐÐÔ×ÛÍ                            ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ
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                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
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  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
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    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
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                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ     éï        ÝÑÒÌ×ÒËÛÜ




    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üïðôððð


  ö ö ö ö ö ö ö ö ö ö ö ö ö ö ö

  ÐÎÛÓ×ÍÛÍ ÒÑò        éî

  ßÜÜÎÛÍÍæ

    ìîêè ×ÒÌÛÎÍÌßÌÛ ëë ÒÑÎÌØ
    ÖßÝÕÍÑÒô ÓÍ íçîïï
    Ø×ÒÜÍ ÝÑËÒÌÇ

  ÑÝÝËÐßÒÝÇæ     ßÜÓ×Ò ÑÚÚ×ÝÛÍ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ÝÑÊÛÎßÙÛ ÑÎ ÐÎÑÐÛÎÌÇ                   Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞË×ÔÜ×ÒÙæ                                                     ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                  ÞË×ÔÜ×ÒÙ Ô×Ó×Ì

  ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ ø×ÒÝÔËÜ×ÒÙ ÍÌÑÝÕ÷æ                 ×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ
                                                                 ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ
                                                                  ÐÎÑÐÛÎÌÇ Ô×Ó×Ì


  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÞËÍ×ÒÛÍÍ ×ÒÌÛÎÎËÐÌ×ÑÒ               Ô×Ó×Ì ÑÚ ×ÒÍËÎßÒÝÛ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ ßÒÜ ÛÈÌÎß ÛÈÐÛÒÍÛæ                                ÒÑÌ ÝÑÊÛÎÛÜ

  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó
  ÜÛÜËÝÌ×ÞÔÛÍ
  ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó ó

  ÌØÛ ÚÑÔÔÑÉ×ÒÙ ÜÛÜËÝÌ×ÞÔÛøÍ÷ ÍØßÔÔ ßÐÐÔÇ ÌÑ ÔÑÍÍ ÑÎ ÜßÓßÙÛæ




    ÞÇ É×ÒÜÍÌÑÎÓ ÑÎ Øß×Ôæ
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ                  üîëôððð




      Case
Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
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                                                                               ÒÛÈÌ  ÐßÙÛ÷
ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ ø½±²¬·²«»¼÷


      ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë

    ÐÎÛÓ×ÍÛÍ   éî   ÝÑÒÌ×ÒËÛÜ




    ÞÇ ßÒÇ ÑÌØÛÎ ÝÑÊÛÎÛÜ ÔÑÍÍô
      ×Ò ßÒÇ ÑÒÛ ÑÝÝËÎÎÛÒÝÛæ               üïðôððð




      Case
Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
              ðï ïç Ì                Document 1-4ÐßÙÛ
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        ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò


                                      ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ

        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
        ÝØßÒÙÛ ÒËÓÞÛÎæ          ððï

×¬ ·- ¿¹®»»¼ ¬¸¿¬ ¬¸» Í½¸»¼«´» øÚ±®³ ØÝ ïî ïð÷ ·- ½¸¿²¹»¼ ¿- º±´´±©-æ


ÌØÛ ÚÑÔÔÑÉ×ÒÙ ×Í ßÜÜÛÜæ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ                   ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ            ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                                 ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                          ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                             ðéðñððï          ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                                 íçêî ÞÛÎÕÔÛÇ ÜÎò
                                          ÖßÝÕÍÑÒ
                                          ÓÍ íçîïî

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êíðïð
 ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ                 ÜÉÛÔÔ×ÒÙÍ                         ÐÛÎ ï

ÛÈÐÑÍËÎÛæ                                 ï

ÎßÌÛæ                                     êïòçîìð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                           êíòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                           ëèòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ                   ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ            ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                                 ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                          ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                             ðéïñððï          ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                                 ïìðð ÓÛßÜÑÉÞÎÑÑÕ ÎÜ
                                          ÖßÝÕÍÑÒ
                                          ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êïîïê
 ÞË×ÔÜ×ÒÙÍ ÑÎ ÐÎÛÓ×ÍÛÍ ó ÞßÒÕ ÑÎ ÑÚÚ×ÝÛ ó ÓÛÎÝßÒÌ×ÔÛ ÑÎ ÓßÒËÚßÝÌËÎ×ÒÙ
 øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
 ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ
 ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ                 ßÎÛß                              ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                                 ííôççï




Ú±®³ ØÝ ïî ïï ïï èëÌ Ð®·²¬»¼ ·² ËòÍòßò øÒÍ÷                       ÐßÙÛ     ï øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë



ÎßÌÛæ                           îèòçéêð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 ççëòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 çîïòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ   ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                   ðéïñððï          ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ïìðð ÓÛßÜÑÉÞÎÑÑÕ ÎÜ
                                ÖßÝÕÍÑÒ
                                ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ
 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                     ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ïéôëèî

ÎßÌÛæ                           ëëòðììð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 çééòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 çðëòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

ÜÛÍÝÎ×ÐÌ×ÑÒ ÑÚ ØßÆßÎÜÍæ         ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒ   ÝÑÊÛÎßÙÛ

ÎÛÚÛÎ ÌÑæ                       ÝÑÓÓÛÎÝ×ßÔ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ
                                ÝÑÊÛÎßÙÛ ÐßÎÌ øÚÑÎÓ ØÝ ðð ïð÷

ÐÎÓÍñÞÔÜÙ ÒÑæ                   ðéîñððï          ÌÛÎÎæ ððï
ÔÑÝßÌ×ÑÒæ                       ìîêè ×ÒÌÛÎÍÌßÌÛ ëë ÒÑÎÌØ
                                ÖßÝÕÍÑÒ
                                ÓÍ íçîïï

ÝÔßÍÍ×Ú×ÝßÌ×ÑÒ ÝÑÜÛ ÒËÓÞÛÎ
ßÒÜ ÜÛÍÝÎ×ÐÌ×ÑÒæ             êéëðç
 ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ ÝÑÔÔÛÙÛÍ ÑÎ ÝÑÔÔÛÙÛ ÐÎÛÐßÎßÌÑÎÇ ó
 ÒÑÌóÚÑÎóÐÎÑÚ×Ì ÑÒÔÇ ó ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
 ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ ßÙÙÎÛÙßÌÛ




Ú±®³ ØÝ ïî ïï ïï èëÌ                            ÐßÙÛ    î øÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ÷
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ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ øÝ±²¬·²«»¼÷



        ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë


 Ô×Ó×Ì

ÐÎÛÓ×ËÓ ßÒÜ ÎßÌ×ÒÙ ÞßÍ×Íæ       ßÎÛß                  ÐÛÎ ïôððð

ÛÈÐÑÍËÎÛæ                       ìéôêðð

ÎßÌÛæ                           ëëòðììð

ßÒÒËßÔ ÐÎÛÓ×ËÓæ                 îôêìêòðð

ÐÎÛÓ×ËÓ ÝØßÒÙÛæ                 îôìëðòðð ßÐ

ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ

  ÌÑÌßÔ ÐÎÛÓ×ËÓ ÝØßÒÙÛ
ÚÑÎ ÌØ×Í ÐÑÔ×ÝÇ ÝØßÒÙÛæ       ìôííìòðð ßÐ
ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ




Ú±®³ ØÝ ïî ïï ïï èëÌ                           ÐßÙÛ   í
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     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò



                                          ÐÑÔ×ÝÇ ÝØßÒÙÛÍ

Ì¸·- »²¼±®-»³»²¬ º±®³- ¿ °¿®¬ ±º ¬¸» Ð±´·½§ ²«³¾»®»¼ ¾»´±©æ
Ð±´·½§ Ò«³¾»® ìí     ËËÒ ÜÚîêìë          Ò¿³»¼ ×²-«®»¼
                                                             ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ
                                                             ÍÛÛ ÚÑÎÓ ×Øïîðì
Ð±´·½§ Ý¸¿²¹» Ûºº»½¬·ª» Ü¿¬»             Ý¸¿²¹» Ò±ò       ß¹»²¬ ±® Þ®±µ»®
         ðëñîíñîí                        ððé             ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝñîíðìðï

                                                 ÝØßÒÙÛøÍ÷
ÝÑÓÓÛÎÝ×ßÔ ÐÎÑÐÛÎÌÇ ßÒÜ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌæ
×Ò ÝÑÒÍ×ÜÛÎßÌ×ÑÒ ÑÚ ÞÛÔÑÉ ÝØßÒÙÛ ×Ò ÐÎÛÓ×ËÓô ×Ì ×Í ØÛÎÛÞÇ ßÙÎÛÛÜ ßÒÜ ËÒÜÛÎÍÌÑÑÜ
ÌØßÌ ÔÑÝßÌ×ÑÒ ýðèî ×Í ßÜÜÛÜ ÐÛÎ ÌØÛ ßÌÌßÝØÛÜ ÐÝðððîðïïç ßÒÜ ØÝïîïïïïèë ÚÑÎÓÍò


ßÒÇ ÝØßÒÙÛÍ ×Ò ÇÑËÎ ÐÎÛÓ×ËÓ É×ÔÔ ÞÛ ÎÛÚÔÛÝÌÛÜ ×Ò ÇÑËÎ ÒÛÈÌ Þ×ÔÔ×ÒÙ ÍÌßÌÛÓÛÒÌò
×Ú ÇÑË ßÎÛ ÛÒÎÑÔÔÛÜ ×Ò ÎÛÐÛÌ×Ì×ÊÛ ÛÚÌ ÜÎßÉÍ ÚÎÑÓ ÇÑËÎ ÞßÒÕ ßÝÝÑËÒÌô ÝØßÒÙÛÍ ×Ò
ÐÎÛÓ×ËÓ É×ÔÔ ÝØßÒÙÛ ÚËÌËÎÛ ÜÎßÉ ßÓÑËÒÌÍò
                          ÌØ×Í ×Í ÒÑÌ ß Þ×ÔÔò
ÐÎÑ ÎßÌß ÚßÝÌÑÎæ òðîî

ÌØÛ ÞÛÔÑÉ ßÜÜ×Ì×ÑÒßÔ ÐÎÛÓ×ËÓ ×ÒÝÔËÜÛÍ ÌÛÎÎÑÎ×ÍÓ ÐÎÛÓ×ËÓ ÑÚ üð



                                                                          ß¼¼·¬·±²¿´         Î»¬«®²
Ü«» ¿¬ Ð±´·½§ Ý¸¿²¹» »ºº»½¬·ª» ¼¿¬»æ                                      ü êö               ü

×²-¬¿´´³»²¬ Ð®»³·«³ Í½¸»¼«´»
       Ü«» Ü¿¬»-                Ð®·±® ¬± ¬¸·- ½¸¿²¹»                Î»-«´¬ ±º Ý¸¿²¹»                 öÎ»ª·-»¼
                                                             ß¼¼·¬·±²¿´            Î»¬«®²           ×²-¬¿´´³»²¬
                            ü                            ü                    ü                 ü
                            ü                            ü                    ü                 ü
                            ü                            ü                    ü                 ü
                            ü                            ü                    ü                 ü
                            ü                            ü                    ü                 ü
                            ü                            ü                    ü                 ü
                            ü                            ü                    ü                 ü
                            ü                            ü                    ü                 ü
                            ü                            ü                    ü                 ü

Î»ª·-»¼ ·²-¬¿´´³»²¬-ô ·º ²±¬ -¸±©² ±² ¬¸·- »²¼±®-»³»²¬ô ©·´´ ¾» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ±® ±² Ú±®³ ØÓ çç ðïò
ö×º Ú«¬«®» ß²²«¿´ ×²-¬¿´´³»²¬-ô ¬¸·- »¨½´«¼»- ß«¬±³±¾·´» Ð®»³·«³ò
Ì¸·- »²¼±®-»³»²¬ ¼±»- ²±¬ ½¸¿²¹» ¬¸» °±´·½§ »¨½»°¬ ¿- -¸±©²ò



Ð±´·½§ Û¨°·®¿¬·±² Ü¿¬»

   ðëñíïñîí                                    Ý±«²¬»®-·¹²»¼ ¾§
                                        øÉ¸»®» ®»¯«·®»¼ ¾§ ´¿©÷               ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»     Ü¿¬»

Ú±®³ ØÓ ïî ðï ðï ðé
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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ
ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ
ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
ÝØßÒÙÛ ÒËÓÞÛÎæ ððé

Ì¸» Ô·³·¬- ±º ×²-«®¿²½» ¿- -¬¿¬»¼ ¾»´±© ¿®» -«¾¶»½¬ ¬± ¿´´ ¬¸» ¬»®³- ¿²¼ ½±²¼·¬·±²- ±º ¬¸·- °±´·½§ò

Î»°´¿½»³»²¬ ½±-¬ ø-«¾¶»½¬ ¬± ´·³·¬¿¬·±²-÷ ¿°°´·»- ¬± ¬¸» ¬§°»- ±º Ý±ª»®»¼ Ð®±°»®¬§ ·²-«®»¼ «²¼»® ¬¸·- °±´·½§ò
Ú±® ª¿´«¿¬·±² ±¬¸»® ¬¸¿² Î»°´¿½»³»²¬ Ý±-¬ ¬¸¿¬ ¿°°´·»- ¬± ¿ Í°»½·º·½ Ð®»³·-»- -»» ¾»´±© Ð®±°»®¬§ Ý¸±·½» ó
Í½¸»¼«´»¼ Ð®»³·-»-ò



                                 ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ
Ì¸» º±´´±©·²¹ ´·³·¬- ±º ·²-«®¿²½» ¿°°´§ ·² ¿²§ ±²» ±½½«®®»²½» «²´»-- ±¬¸»®©·-» -¬¿¬»¼ò

ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò

Í½¸»¼«´»¼                                                                                                          Ý±ó
                                                              Ü»-½®·°¬·±² ±º
Ð®»³·-»-          Í½¸»¼«´»¼ Ð®»³·-»- ß¼¼®»--                                           Ô·³·¬ ±º ×²-«®¿²½»       ·²-«®¿²½»
                                                           Ý±ª»®¿¹» ±® Ð®±°»®¬§
 Ò«³¾»®                                                                                                             û
              ßÜÜ ÔÑÝßÌ×ÑÒæ
ðèîñððï       ëïëë ÉßÇÒÛÔßÒÜ ÜÎ ßÐÌ Õë                   ÞË×ÔÜ×ÒÙ                    üïððôððð
              ÖßÝÕÍÑÒô ÓÍ íçîïï
                                                         ÞËÍ×ÒÛÍÍ ×ÒÝÑÓÛ             üïïôððð

                                                         ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ üïëôððð
                                                         ÐÎÑÐÛÎÌÇ
                                                         ø×ÒÝÔ ÍÌÑÝÕ÷




Ý±·²-«®¿²½» Ð®±ª·-·±²æ Ý±·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» ½±ª»®¿¹»- -¸±©² ±² ¬¸·- °±´·½§ò
Ú±® ½±·²-«®¿²½» ¬¸¿¬ ¼±»- ¿°°´§ -»» ¿¾±ª» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´»¼ Ð®»³·-»-ò




      Case
Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                         ÝÑÊÛÎÛÜ ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ



ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò

Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§ ±²» Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ ¬± Û¯«·°³»²¬ Þ®»¿µ¼±©² Ð®±°»®¬§ ·- ¬¸» ´»--»®
±º ¬¸» ¿°°´·½¿¾´» Þ«·´¼·²¹ô Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ¿²¼ Þ«-·²»-- ×²¬»®®«°¬·±² Ô·³·¬- ±º ×²-«®¿²½» ±®
üïððôðððôðððò


Û¯«·°³»²¬ Þ®»¿µ¼±©² ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-ò Ì¸»-» ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ´·³·¬-                Ô·³·¬ ±º ×²-«®¿²½»
¿°°´§ ±²´§ ¬± Í½¸»¼«´»¼ Ð®»³·-»- «²¼»® ¬¸» Ð®±°»®¬§ Ý±ª»®¿¹» Ú±®³ò

ÝÚÝ Î»º®·¹»®¿²¬-                                                                             ×²½´«¼»¼ ·² ¬¸»
                                                                                          Û¯«·°³»²¬ Þ®»¿µ¼±©²
                                                                                                  Ô·³·¬ò
Ø¿¦¿®¼±«- Í«¾-¬¿²½»-                                                                            üïððôðððò
Í°±·´¿¹»                                                                                        üïððôðððò
Û¨°»¼·¬·²¹ Û¨°»²-» øÛ¯«·°³»²¬ Þ®»¿µ¼±©²÷                                                        üïððôðððò


                                ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÔÛÝÌÎÑÒ×Ý ÊßÒÜßÔ×ÍÓ



                                                 Ô·³·¬ø-÷ ±º ×²-«®¿²½» ó ×² ¿²§ ±²» ±½½«®®»²½»
       Û´»½¬®±²·½ Ê¿²¼¿´·-³æ      ü                         Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§
                                  ü                         Þ«-·²»-- ×²½±³»
                                  ü                         Û¨¬®¿ Û¨°»²-»
                   Ø±«® É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Û´»½¬®±²·½ Ê¿²¼¿´·-³ ó Þ«-·²»-- ×²½±³» Ô±--

Ò± É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Û´»½¬®±²·½ Ê¿²¼¿´·-³ ó Û¨¬®¿ Û¨°»²-» Ô±--

Ì¸» º±´´±©·²¹ Ý±ª»®¿¹»- ¿®» º±«²¼ ·² ¬¸» Ý¿«-»- Ñº Ô±-- ó Û´»½¬®±²·½ Ê¿²¼¿´·-³ Ú±®³ ¿²¼ ¿®» ·² ¿¼¼·¬·±² ¬± ¬¸»
Ý¿«-»- Ñº Ô±-- ó Û´»½¬®±²·½ Ê¿²¼¿´·-³ Ý¿«-»- Ñº Ô±-- ó Ô·³·¬ ±º ×²-«®¿²½» ·² ¿²§ ±²» ±½½«®®»²½»æ

Ü»²·¿´ ±º Í»®ª·½» ó Þ«-·²»-- ×²½±³»æ                                            üîëôððð
   Ø±«® É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Ü»²·¿´ Ñº Í»®ª·½» ó Þ«-·²»-- ×²½±³» Ô±--

Ü»²·¿´ ±º Í»®ª·½» ó Û¨¬®¿ Û¨°»²-»æ                                              üîëôððð
Ò± É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Ü»²·¿´ Ñº Í»®ª·½» Û¨¬®¿ Û¨°»²-» Ô±--

É»¾-·¬» ß²¼ ×²¬»®²»¬ Þ«-·²»-- ×²½±³»æ                                         üïððôððð
  Ø±«® É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± É»¾-·¬» ¿²¼ ×²¬»®²»¬ Í»®ª·½»- Þ«-·²»-- ×²½±³» Ô±--

É»¾-·¬» ß²¼ ×²¬»®²»¬ Í»®ª·½»- Û¨¬®¿ Û¨°»²-»æ                                  üïððôððð
Ò± É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± É»¾-·¬» ¿²¼ ×²¬»®²»¬ Í»®ª·½»- Û¨¬®¿ Û¨°»²-» Ô±--

Ù±±¼ Ú¿·¬¸ ß¼ª»®¬·-·²¹ Û¨°»²-»æ                                     üîëôððð ×² ¿²§ ±²» Ð±´·½§ Ç»¿®



      Case
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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                       ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÛÒÜÑÎÍÛÓÛÒÌ øÑ°¬·±²¿´÷

ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò



                                                                                            Ð±´·½§ Ç»¿®
Ý¿«-»- ±º Ô±-- ó Û¿®¬¸¯«¿µ»
                                                                                         Ô·³·¬ ±º ×²-«®¿²½»
ß´´ ½±ª»®¿¹»- ¿¬ ¿´´ ·²-«®»¼ Í½¸»¼«´»¼ Ð®»³·-»- ·² ¬±¬¿´ -·¬«¿¬»¼ ·²æ
ÝßÔ×ÚÑÎÒ×ßæ                                                                         ü
ß´´ ±¬¸»® -¬¿¬»-æ                                                                   ü



Û¨½´«¼»¼ Ð®»³·-»-æ Ý¿«-»- ±º Ô±-- ó Û¿®¬¸¯«¿µ» ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» º±´´±©·²¹ Í½¸»¼«´»¼ Ð®»³·-»-æ
Ò±òø-÷
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ ßÒÇ
ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò



Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                           ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÚÔÑÑÜ ÛÒÜÑÎÍÛÓÛÒÌ øÑ°¬·±²¿´÷

ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò



                                                                                           Ð±´·½§ Ç»¿®
Ý¿«-»- ±º Ô±-- ó Ú´±±¼
                                                                                        Ô·³·¬ ±º ×²-«®¿²½»
ß´´ ½±ª»®¿¹»- ¿¬ ¿´´ ·²-«®»¼ Í½¸»¼«´»¼ Ð®»³·-»- ·² ¬±¬¿´æ                       ü
ß´´ ½±ª»®¿¹»- ¿¬ ¿´´ ·²-«®»¼ Í½¸»¼«´»¼ Ð®»³·-»- -·¬«¿¬»¼ ·² ¦±²» °®»º·¨»¼ ÅÈÃ   ü
¿- ¼»-·¹²¿¬»¼ ¾§ ¬¸» Ò¿¬·±²¿´ Ú´±±¼ ×²-«®¿²½» ß½¬ ±º ïçêè ø±® ¿²§ -«¾-»¯«»²¬
¿³»²¼³»²¬÷æ
ß´´ ½±ª»®¿¹»- ¿¬ ¿´´ ·²-«®»¼ Í½¸»¼«´»¼ Ð®»³·-»- -·¬«¿¬»¼ ·² ¦±²» °®»º·¨»¼ ÅÈÃ   ü
¿- ¼»-·¹²¿¬»¼ ¾§ ¬¸» Ò¿¬·±²¿´ Ú´±±¼ ×²-«®¿²½» ß½¬ ±º ïçêè ø±® ¿²§ -«¾-»¯«»²¬
¿³»²¼³»²¬÷æ
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÚÔÑÑÜ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ ßÒÇ ËÒÒßÓÛÜ
ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò

Û¨½´«¼»¼ Ð®»³·-»-æ Ý¿«-»- ±º Ô±-- ó Ú´±±¼ ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» º±´´±©·²¹ Í½¸»¼«´»¼ Ð®»³·-»-æ
Ò±òø-÷




      Case
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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

          ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÓÓÑÒ ÝÎ×ÓÛ ÝÑÊÛÎßÙÛÍ ÚÑÎÓ øÞËÍ×ÒÛÍÍ ÝÎ×ÓÛ÷ øÑ°¬·±²¿´÷

ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò



Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³» Ý±ª»®¿¹»- Ú±®³                          Ô·³·¬ ±º ×²-«®¿²½»
Û³°´±§»» Ì¸»º¬                                                       ü
Ú±®¹»®§ ±® ß´¬»®¿¬·±²                                                ü
×²-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º Ó±²»§ ¿²¼ Í»½«®·¬·»- ó ×²-·¼» »¿½¸    ü
Í½¸»¼«´»¼ Ð®»³·-»-ô »¨½»°¬ ¿¬ ¬¸» º±´´±©·²¹ °®»³·-»-æ
Ò±òø-÷                                                               ü
Ñ«¬-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º Ó±²»§ ¿²¼ Í»½«®·¬·»-æ                ü
Ý±³°«¬»® Ú®¿«¼                                                       ü
Ó±²»§ Ñ®¼»®- ¿²¼ Ý±«²¬»®º»·¬ Ð¿°»® Ý«®®»²½§                          ü



Ð«¾´·½ Û³°´±§»» Ì¸»º¬ Ý±ª»®¿¹» Ú±®³                                  Ô·³·¬ ±º ×²-«®¿²½»
         Ð»® Û³°´±§»»                     Ð»® Ô±--                   ü




      Case
Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                                               ÜÛÜËÝÌ×ÞÔÛøÍ÷

Ì¸» º±´´±©·²¹ ¼»¼«½¬·¾´» ¿³±«²¬- -¸¿´´ ¿°°´§ ¬± ´±-- ±® ¼¿³¿¹»æ

Ð±´·½§ Ü»¼«½¬·¾´»
ß°°´·»- ¬± ¿´´ ½±ª»®¿¹»- ¿²¼ °®»³·-»-ô «²´»-- ±¬¸»®©·-» -¬¿¬»¼ ¾»´±©æ                    ü ïðôððð

                                                                               ×² ¿²§ ±²» ±½½«®®»²½»æ
   Þ§ Û¿®¬¸¯«¿µ»æ                                                              ü

   ×² ¬¸» Í¬¿¬»ø-÷ ±ºæ                                                         ü

   Þ§ Û¿®¬¸¯«¿µ»æ                                                              ü

   ×² ¬¸» Í¬¿¬»ø-÷ ±ºæ                                                         ü



                                                                               ×² ¿²§ ±²» ±½½«®®»²½»æ
   Þ§ Ú´±±¼æ                                                                   ü
   ×² ¿²§ ±²» ±½½«®®»²½»æ                                                      ü
   ß´´ °®»³·-»- ·² ¿²§ ±²» ±½½«®®»²½» -·¬«¿¬»¼ ·² ¦±²» °®»º·¨»¼ Å¨Ã ¿-         ü
   ¼»-·¹²¿¬»¼ ¾§ ¬¸» Ò¿¬·±²¿´ Ú´±±¼ ×²-«®¿²½» ß½¬ ±º ïçêè ø±® ¿²§ -«¾-»¯«»²¬
   ¿³»²¼³»²¬÷æ
   ß´´ °®»³·-»- ·² ¿²§ ±²» ±½½«®®»²½» -·¬«¿¬»¼ ·² ¦±²» °®»º·¨»¼ Å¨Ã ¿-         ü
   ¼»-·¹²¿¬»¼ ¾§ ¬¸» Ò¿¬·±²¿´ Ú´±±¼ ×²-«®¿²½» ß½¬ ±º ïçêè ø±® ¿²§ -«¾-»¯«»²¬
   ¿³»²¼³»²¬÷æ




   Ð®»³·-»-
                                  Ý±ª»®¿¹»ø-÷                                      Ü»¼«½¬·¾´»
   Ò«³¾»®ø-÷




      Case
Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                   ÓÑÎÌÙßÙÛØÑÔÜÛÎÍô ÔÛÒÜÛÎ ÔÑÍÍ ÐßÇÛÛÍ ¿²¼ ÔÑÍÍ ÐßÇÛÛÍ



Ð®»³·-»-
                          Ò¿³»                               ß¼¼®»--            ×²¬»®»-¬
Ò«³¾»®




      Case
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  Ð±´·½§ Ò«³¾»®         ìí ËËÒ ÜÚîêìë




ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                      ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ

  ×¬ ·- ¿¹®»»¼ ¬¸¿¬ ¬¸» Í½¸»¼«´» øÚ±®³ ØÝ ïî ïð÷ ·- ½¸¿²¹»¼ ¿- º±´´±©-æ

           Î¿¬·²¹ Ý´¿--·º·½¿¬·±²            Ý±¼» Ò±ò       Ð®»³·«³         Î¿¬»         ß²²«¿´    ß¼¼´ò ±® Î»¬ò
                                                            Þ¿-·-                      Ð®»³·«³      Ð®»³·«³
  ßÜÜ ÔÑÝßÌ×ÑÒæ                                                                    ü              ü
  ÐÎÛÓ×ÍÛÍñÑÐÛÎßÌ×ÑÒÍ

  ÐÎÓÍæðèî ÞÔÜÙæððï ÌÛÎÎæððï

  ëïëë ÉßÇÒÛÔßÒÜ ÜÎ ßÐÌ Õë
  ÖßÝÕÍÑÒô ÓÍ íçîïï                                     ßÎÛß
                                                        ÛßÝØ ï
  ÜÉÛÔÔ×ÒÙÍ ó ÑÒÛóÚßÓ×ÔÇ                   êíðïð        ï                 êïòçîì   üêíö          üï ßÐö
  øÔÛÍÍÑÎùÍ Î×ÍÕ ÑÒÔÇ÷ ó
  ×ÒÝÔËÜ×ÒÙ ÐÎÑÜËÝÌÍ ßÒÜñÑÎ
  ÝÑÓÐÔÛÌÛÜ ÑÐÛÎßÌ×ÑÒÍ ó
  ÐÎÑÜËÝÌÍñÝÑÓÐÔÛÌÛÜ
  ÑÐÛÎßÌ×ÑÒÍ ÔÑÍÍÛÍ ßÎÛ
  ÍËÞÖÛÝÌ ÌÑ ÌØÛ ÙÛÒÛÎßÔ
  ßÙÙÎÛÙßÌÛ Ô×Ó×Ì




  öÌÛÎÎÑÎ×ÍÓ ÐÎÛÓ×ËÓ ×ÒÝÔËÜÛÜ




                                                                          Ì±¬¿´ Ð®»³·«³ ½¸¿²¹»
                                                                          º±® ¬¸·- »²¼±®-»³»²¬   ü ×ÒÝÔËÜÛÜ


  Ú±®³ ØÝ ïî ïï ïï èë Ð®·²¬»¼ ·² ËòÍòßò øÒÍ÷
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     ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò



                                          ÐÑÔ×ÝÇ ÝØßÒÙÛÍ

Ì¸·- »²¼±®-»³»²¬ º±®³- ¿ °¿®¬ ±º ¬¸» Ð±´·½§ ²«³¾»®»¼ ¾»´±©æ
Ð±´·½§ Ò«³¾»® ìí     ËËÒ ÜÚîêìë          Ò¿³»¼ ×²-«®»¼
                                                             ÎÛÚÑÎÓÛÜ ÌØÛÑÔÑÙ×ÝßÔ ÍÛÓ×ÒßÎÇ ÎÌÍ
                                                             ÍÛÛ ÚÑÎÓ ×Øïîðì
Ð±´·½§ Ý¸¿²¹» Ûºº»½¬·ª» Ü¿¬»             Ý¸¿²¹» Ò±ò       ß¹»²¬ ±® Þ®±µ»®
         ðíñïçñîí                           ððê          ÎÑÍÍ ú ÇÛÎÙÛÎ ×ÒÍËÎßÒÝÛ ×ÒÝñîíðìðï

                                                  ÝØßÒÙÛøÍ÷
ÝÑÓÓÛÎÝ×ßÔ ÐÎÑÐÛÎÌÇ ßÒÜ ÙÛÒÛÎßÔ Ô×ßÞ×Ô×ÌÇ ÝÑÊÛÎßÙÛ ÐßÎÌæ
×Ò ÝÑÒÍ×ÜÛÎßÌ×ÑÒ ÑÚ ÞÛÔÑÉ ÝØßÒÙÛ ×Ò ÐÎÛÓ×ËÓô ×Ì ×Í ØÛÎÛÞÇ ßÙÎÛÛÜ ßÒÜ ËÒÜÛÎÍÌÑÑÜ
ÌØßÌ ÔÑÝßÌ×ÑÒ ýðèï ×Í ßÜÜÛÜ ÐÛÎ ÌØÛ ßÌÌßÝØÛÜ ÐÝðððîðïïç ßÒÜ ØÝïîïïïïèë ÚÑÎÓÍò

ÌØÛ ÞÔßÒÕÛÌ ÞË×ÔÜ×ÒÙ Ô×Ó×Ì ×Í ÝØßÒÙÛÜ ÚÎÑÓ üìêôêéêôððð ÌÑ üëðôëèðôîððò
ÌØÛ ÞÔßÒÕÛÌ ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ÐÎÑÐÛÎÌÇ Ô×Ó×Ì ×Í ÝØßÒÙÛÜ ÚÎÑÓ üêôêëëôìðð ÌÑ
üêôéðëôìððò

ßÒÇ ÝØßÒÙÛÍ ×Ò ÇÑËÎ ÐÎÛÓ×ËÓ É×ÔÔ ÞÛ ÎÛÚÔÛÝÌÛÜ ×Ò ÇÑËÎ ÒÛÈÌ Þ×ÔÔ×ÒÙ ÍÌßÌÛÓÛÒÌò
×Ú ÇÑË ßÎÛ ÛÒÎÑÔÔÛÜ ×Ò ÎÛÐÛÌ×Ì×ÊÛ ÛÚÌ ÜÎßÉÍ ÚÎÑÓ ÇÑËÎ ÞßÒÕ ßÝÝÑËÒÌô ÝØßÒÙÛÍ ×Ò
ÐÎÛÓ×ËÓ É×ÔÔ ÝØßÒÙÛ ÚËÌËÎÛ ÜÎßÉ ßÓÑËÒÌÍò ÌØ×Í ×Í ÒÑÌ ß Þ×ÔÔò
ÐÎÑ ÎßÌß ÚßÝÌÑÎæ òîðð

ÌØÛ ÞÛÔÑÉ ßÜÜ×Ì×ÑÒßÔ ÐÎÛÓ×ËÓ ×ÒÝÔËÜÛÍ ÌÛÎÎÑÎ×ÍÓ ÐÎÛÓ×ËÓ ÑÚ üìéòððò

                                                                          ß¼¼·¬·±²¿´         Î»¬«®²
Ü«» ¿¬ Ð±´·½§ Ý¸¿²¹» »ºº»½¬·ª» ¼¿¬»æ                                      ü ïôèðèòðð         ü

×²-¬¿´´³»²¬ Ð®»³·«³ Í½¸»¼«´»
       Ü«» Ü¿¬»-                Ð®·±® ¬± ¬¸·- ½¸¿²¹»                Î»-«´¬ ±º Ý¸¿²¹»                öÎ»ª·-»¼
                                                             ß¼¼·¬·±²¿´          Î»¬«®²            ×²-¬¿´´³»²¬
                            ü                            ü                   ü                 ü
                            ü                            ü                   ü                 ü
                            ü                            ü                   ü                 ü
                            ü                            ü                   ü                 ü
                            ü                            ü                   ü                 ü
                            ü                            ü                   ü                 ü
                            ü                            ü                   ü                 ü
                            ü                            ü                   ü                 ü
                            ü                            ü                   ü                 ü

Î»ª·-»¼ ·²-¬¿´´³»²¬-ô ·º ²±¬ -¸±©² ±² ¬¸·- »²¼±®-»³»²¬ô ©·´´ ¾» -¸±©² ·² ¬¸» Ü»½´¿®¿¬·±²- ±® ±² Ú±®³ ØÓ çç ðïò
ö×º Ú«¬«®» ß²²«¿´ ×²-¬¿´´³»²¬-ô ¬¸·- »¨½´«¼»- ß«¬±³±¾·´» Ð®»³·«³ò
Ì¸·- »²¼±®-»³»²¬ ¼±»- ²±¬ ½¸¿²¹» ¬¸» °±´·½§ »¨½»°¬ ¿- -¸±©²ò



Ð±´·½§ Û¨°·®¿¬·±² Ü¿¬»

   ðëñíïñîí                                   Ý±«²¬»®-·¹²»¼ ¾§
                                        øÉ¸»®» ®»¯«·®»¼ ¾§ ´¿©÷              ß«¬¸±®·¦»¼ Î»°®»-»²¬¿¬·ª»     Ü¿¬»

Ú±®³ ØÓ ïî ðï ðï ðé
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ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ó ÍÝØÛÜËÔÛ ÑÚ
ÐÎÛÓ×ÍÛÍ ßÒÜ ÝÑÊÛÎßÙÛÍ
ÐÑÔ×ÝÇ ÒËÓÞÛÎæ ìí ËËÒ ÜÚîêìë
ÝØßÒÙÛ ÒËÓÞÛÎæ ððê

Ì¸» Ô·³·¬- ±º ×²-«®¿²½» ¿- -¬¿¬»¼ ¾»´±© ¿®» -«¾¶»½¬ ¬± ¿´´ ¬¸» ¬»®³- ¿²¼ ½±²¼·¬·±²- ±º ¬¸·- °±´·½§ò

Î»°´¿½»³»²¬ ½±-¬ ø-«¾¶»½¬ ¬± ´·³·¬¿¬·±²-÷ ¿°°´·»- ¬± ¬¸» ¬§°»- ±º Ý±ª»®»¼ Ð®±°»®¬§ ·²-«®»¼ «²¼»® ¬¸·- °±´·½§ò
Ú±® ª¿´«¿¬·±² ±¬¸»® ¬¸¿² Î»°´¿½»³»²¬ Ý±-¬ ¬¸¿¬ ¿°°´·»- ¬± ¿ Í°»½·º·½ Ð®»³·-»- -»» ¾»´±© Ð®±°»®¬§ Ý¸±·½» ó
Í½¸»¼«´»¼ Ð®»³·-»-ò



                                 ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÍÝØÛÜËÔÛÜ ÐÎÛÓ×ÍÛÍ
Ì¸» º±´´±©·²¹ ´·³·¬- ±º ·²-«®¿²½» ¿°°´§ ·² ¿²§ ±²» ±½½«®®»²½» «²´»-- ±¬¸»®©·-» -¬¿¬»¼ò

ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò

Í½¸»¼«´»¼                                                                                                          Ý±ó
                                                              Ü»-½®·°¬·±² ±º
Ð®»³·-»-          Í½¸»¼«´»¼ Ð®»³·-»- ß¼¼®»--                                           Ô·³·¬ ±º ×²-«®¿²½»       ·²-«®¿²½»
                                                           Ý±ª»®¿¹» ±® Ð®±°»®¬§
 Ò«³¾»®                                                                                                             û
              ßÜÜ×ÒÙæ
  ðèï         ïìîí ÑÔÜ ÍÏËßÎÛ ÎÑßÜ                       ÞË×ÔÜ×ÒÙ          üíôçðìôîððö
              ÖßÝÕÍÑÒô ÓÍ íçîïï                          ÞËÍ×ÒÛÍÍ ÐÛÎÍÑÒßÔ ü   ëðôðððö
                                                         ÐÎÑÐÛÎÌÇ ø×ÒÝÔ
                                                         ÍÌÑÝÕ÷




              ö×ÒÝÔËÜÛÜ ×Ò ÞÔßÒÕÛÌ Ô×Ó×ÌÍ




Ý±·²-«®¿²½» Ð®±ª·-·±²æ Ý±·²-«®¿²½» ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» ½±ª»®¿¹»- -¸±©² ±² ¬¸·- °±´·½§ò
Ú±® ½±·²-«®¿²½» ¬¸¿¬ ¼±»- ¿°°´§ -»» ¿¾±ª» Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´»¼ Ð®»³·-»-ò




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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                         ÝÑÊÛÎÛÜ ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÏË×ÐÓÛÒÌ ÞÎÛßÕÜÑÉÒ



ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò

Ì¸» ³±-¬ ©» ©·´´ °¿§ ·² ¿²§ ±²» Û¯«·°³»²¬ Þ®»¿µ¼±©² ß½½·¼»²¬ ¬± Û¯«·°³»²¬ Þ®»¿µ¼±©² Ð®±°»®¬§ ·- ¬¸» ´»--»®
±º ¬¸» ¿°°´·½¿¾´» Þ«·´¼·²¹ô Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§ ¿²¼ Þ«-·²»-- ×²¬»®®«°¬·±² Ô·³·¬- ±º ×²-«®¿²½» ±®
üïððôðððôðððò


Û¯«·°³»²¬ Þ®»¿µ¼±©² ß¼¼·¬·±²¿´ Ý±ª»®¿¹»-ò Ì¸»-» ß¼¼·¬·±²¿´ Ý±ª»®¿¹» ´·³·¬-                Ô·³·¬ ±º ×²-«®¿²½»
¿°°´§ ±²´§ ¬± Í½¸»¼«´»¼ Ð®»³·-»- «²¼»® ¬¸» Ð®±°»®¬§ Ý±ª»®¿¹» Ú±®³ò

ÝÚÝ Î»º®·¹»®¿²¬-                                                                             ×²½´«¼»¼ ·² ¬¸»
                                                                                          Û¯«·°³»²¬ Þ®»¿µ¼±©²
                                                                                                  Ô·³·¬ò
Ø¿¦¿®¼±«- Í«¾-¬¿²½»-                                                                            üïððôðððò
Í°±·´¿¹»                                                                                        üïððôðððò
Û¨°»¼·¬·²¹ Û¨°»²-» øÛ¯«·°³»²¬ Þ®»¿µ¼±©²÷                                                        üïððôðððò


                                ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛÔÛÝÌÎÑÒ×Ý ÊßÒÜßÔ×ÍÓ



                                                 Ô·³·¬ø-÷ ±º ×²-«®¿²½» ó ×² ¿²§ ±²» ±½½«®®»²½»
       Û´»½¬®±²·½ Ê¿²¼¿´·-³æ      ü ÛÈÝÔËÜÛÜ                Þ«-·²»-- Ð»®-±²¿´ Ð®±°»®¬§
                                  ü ÛÈÝÔËÜÛÜ                Þ«-·²»-- ×²½±³»
                                  ü ÛÈÝÔËÜÛÜ                Û¨¬®¿ Û¨°»²-»
                   Ø±«® É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Û´»½¬®±²·½ Ê¿²¼¿´·-³ ó Þ«-·²»-- ×²½±³» Ô±--

Ò± É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Û´»½¬®±²·½ Ê¿²¼¿´·-³ ó Û¨¬®¿ Û¨°»²-» Ô±--

Ì¸» º±´´±©·²¹ Ý±ª»®¿¹»- ¿®» º±«²¼ ·² ¬¸» Ý¿«-»- Ñº Ô±-- ó Û´»½¬®±²·½ Ê¿²¼¿´·-³ Ú±®³ ¿²¼ ¿®» ·² ¿¼¼·¬·±² ¬± ¬¸»
Ý¿«-»- Ñº Ô±-- ó Û´»½¬®±²·½ Ê¿²¼¿´·-³ Ý¿«-»- Ñº Ô±-- ó Ô·³·¬ ±º ×²-«®¿²½» ·² ¿²§ ±²» ±½½«®®»²½»æ

Ü»²·¿´ ±º Í»®ª·½» ó Þ«-·²»-- ×²½±³»æ                                            üîëôððð
   Ø±«® É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Ü»²·¿´ Ñº Í»®ª·½» ó Þ«-·²»-- ×²½±³» Ô±--

Ü»²·¿´ ±º Í»®ª·½» ó Û¨¬®¿ Û¨°»²-»æ                                              üîëôððð
Ò± É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± Ü»²·¿´ Ñº Í»®ª·½» Û¨¬®¿ Û¨°»²-» Ô±--

É»¾-·¬» ß²¼ ×²¬»®²»¬ Þ«-·²»-- ×²½±³»æ                                         üïððôððð
  Ø±«® É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± É»¾-·¬» ¿²¼ ×²¬»®²»¬ Í»®ª·½»- Þ«-·²»-- ×²½±³» Ô±--

É»¾-·¬» ß²¼ ×²¬»®²»¬ Í»®ª·½»- Û¨¬®¿ Û¨°»²-»æ                                  üïððôððð
Ò± É¿·¬·²¹ Ð»®·±¼ ¿°°´·»- ¬± É»¾-·¬» ¿²¼ ×²¬»®²»¬ Í»®ª·½»- Û¨¬®¿ Û¨°»²-» Ô±--

Ù±±¼ Ú¿·¬¸ ß¼ª»®¬·-·²¹ Û¨°»²-»æ                                     üîëôððð ×² ¿²§ ±²» Ð±´·½§ Ç»¿®



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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                       ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÛÒÜÑÎÍÛÓÛÒÌ øÑ°¬·±²¿´÷

ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò



                                                                                            Ð±´·½§ Ç»¿®
Ý¿«-»- ±º Ô±-- ó Û¿®¬¸¯«¿µ»
                                                                                         Ô·³·¬ ±º ×²-«®¿²½»
ß´´ ½±ª»®¿¹»- ¿¬ ¿´´ ·²-«®»¼ Í½¸»¼«´»¼ Ð®»³·-»- ·² ¬±¬¿´ -·¬«¿¬»¼ ·²æ
ÝßÔ×ÚÑÎÒ×ßæ                                                                         ü
ß´´ ±¬¸»® -¬¿¬»-æ                                                                   ü ëôðððôððð



Û¨½´«¼»¼ Ð®»³·-»-æ Ý¿«-»- ±º Ô±-- ó Û¿®¬¸¯«¿µ» ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» º±´´±©·²¹ Í½¸»¼«´»¼ Ð®»³·-»-æ
Ò±òø-÷
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÛßÎÌØÏËßÕÛ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ ßÒÇ
ËÒÒßÓÛÜ ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò



Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                           ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÚÔÑÑÜ ÛÒÜÑÎÍÛÓÛÒÌ øÑ°¬·±²¿´÷

ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò



                                                                                           Ð±´·½§ Ç»¿®
Ý¿«-»- ±º Ô±-- ó Ú´±±¼
                                                                                        Ô·³·¬ ±º ×²-«®¿²½»
ß´´ ½±ª»®¿¹»- ¿¬ ¿´´ ·²-«®»¼ Í½¸»¼«´»¼ Ð®»³·-»- ·² ¬±¬¿´æ                       ü
ß´´ ½±ª»®¿¹»- ¿¬ ¿´´ ·²-«®»¼ Í½¸»¼«´»¼ Ð®»³·-»- -·¬«¿¬»¼ ·² ¦±²» °®»º·¨»¼ ÅÈÃ   ü
¿- ¼»-·¹²¿¬»¼ ¾§ ¬¸» Ò¿¬·±²¿´ Ú´±±¼ ×²-«®¿²½» ß½¬ ±º ïçêè ø±® ¿²§ -«¾-»¯«»²¬
¿³»²¼³»²¬÷æ
ß´´ ½±ª»®¿¹»- ¿¬ ¿´´ ·²-«®»¼ Í½¸»¼«´»¼ Ð®»³·-»- -·¬«¿¬»¼ ·² ¦±²» °®»º·¨»¼ ÅÈÃ   ü
¿- ¼»-·¹²¿¬»¼ ¾§ ¬¸» Ò¿¬·±²¿´ Ú´±±¼ ×²-«®¿²½» ß½¬ ±º ïçêè ø±® ¿²§ -«¾-»¯«»²¬
¿³»²¼³»²¬÷æ
ÝßËÍÛÍ ÑÚ ÔÑÍÍ ó ÚÔÑÑÜ ÜÑÛÍ ÒÑÌ ßÐÐÔÇ ÌÑ ßÒÇ ÜÛÐÛÒÜÛÒÌ ÐÎÑÐÛÎÌ×ÛÍ ÑÎ ßÒÇ ËÒÒßÓÛÜ
ÐÎÛÓ×ÍÛÍ ÑÎ ßÒÇ ËÌ×Ô×ÌÇ ÍÛÎÊ×ÝÛÍ ßÜÜ×Ì×ÑÒßÔ ÝÑÊÛÎßÙÛò

Û¨½´«¼»¼ Ð®»³·-»-æ Ý¿«-»- ±º Ô±-- ó Ú´±±¼ ¼±»- ²±¬ ¿°°´§ ¬± ¬¸» º±´´±©·²¹ Í½¸»¼«´»¼ Ð®»³·-»-æ
Ò±òø-÷




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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

          ÐÎÑÐÛÎÌÇ ÝØÑ×ÝÛ ÝÑÓÓÑÒ ÝÎ×ÓÛ ÝÑÊÛÎßÙÛÍ ÚÑÎÓ øÞËÍ×ÒÛÍÍ ÝÎ×ÓÛ÷ øÑ°¬·±²¿´÷

ÍÛÛ ÜÛÜËÝÌ×ÞÔÛ -»½¬·±² º±® ¿°°´·½¿¾´» ÜÛÜËÝÌ×ÞÔÛøÍ÷ò



Ð®±°»®¬§ Ý¸±·½» Ý±³³±² Ý®·³» Ý±ª»®¿¹»- Ú±®³                          Ô·³·¬ ±º ×²-«®¿²½»
Û³°´±§»» Ì¸»º¬                                                       ü
Ú±®¹»®§ ±® ß´¬»®¿¬·±²                                                ü
×²-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º Ó±²»§ ¿²¼ Í»½«®·¬·»- ó ×²-·¼» »¿½¸    ü
Í½¸»¼«´»¼ Ð®»³·-»-ô »¨½»°¬ ¿¬ ¬¸» º±´´±©·²¹ °®»³·-»-æ
Ò±òø-÷                                                               ü
Ñ«¬-·¼» ¬¸» Ð®»³·-»- ó Ì¸»º¬ ±º Ó±²»§ ¿²¼ Í»½«®·¬·»-æ                ü
Ý±³°«¬»® Ú®¿«¼                                                       ü
Ó±²»§ Ñ®¼»®- ¿²¼ Ý±«²¬»®º»·¬ Ð¿°»® Ý«®®»²½§                          ü



Ð«¾´·½ Û³°´±§»» Ì¸»º¬ Ý±ª»®¿¹» Ú±®³                                  Ô·³·¬ ±º ×²-«®¿²½»
         Ð»® Û³°´±§»»                     Ð»® Ô±--                   ü




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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                                               ÜÛÜËÝÌ×ÞÔÛøÍ÷

Ì¸» º±´´±©·²¹ ¼»¼«½¬·¾´» ¿³±«²¬- -¸¿´´ ¿°°´§ ¬± ´±-- ±® ¼¿³¿¹»æ

Ð±´·½§ Ü»¼«½¬·¾´»
ß°°´·»- ¬± ¿´´ ½±ª»®¿¹»- ¿²¼ °®»³·-»-ô «²´»-- ±¬¸»®©·-» -¬¿¬»¼ ¾»´±©æ                    ü ïðôððð

                                                                               ×² ¿²§ ±²» ±½½«®®»²½»æ
   Þ§ Û¿®¬¸¯«¿µ»æ                                                              ü ëðôððð

   ×² ¬¸» Í¬¿¬»ø-÷ ±ºæ                                                         ü

   Þ§ Û¿®¬¸¯«¿µ»æ                                                              ü

   ×² ¬¸» Í¬¿¬»ø-÷ ±ºæ                                                         ü



                                                                               ×² ¿²§ ±²» ±½½«®®»²½»æ
   Þ§ Ú´±±¼æ                                                                   ü
   ×² ¿²§ ±²» ±½½«®®»²½»æ                                                      ü
   ß´´ °®»³·-»- ·² ¿²§ ±²» ±½½«®®»²½» -·¬«¿¬»¼ ·² ¦±²» °®»º·¨»¼ Å¨Ã ¿-         ü
   ¼»-·¹²¿¬»¼ ¾§ ¬¸» Ò¿¬·±²¿´ Ú´±±¼ ×²-«®¿²½» ß½¬ ±º ïçêè ø±® ¿²§ -«¾-»¯«»²¬
   ¿³»²¼³»²¬÷æ
   ß´´ °®»³·-»- ·² ¿²§ ±²» ±½½«®®»²½» -·¬«¿¬»¼ ·² ¦±²» °®»º·¨»¼ Å¨Ã ¿-         ü
   ¼»-·¹²¿¬»¼ ¾§ ¬¸» Ò¿¬·±²¿´ Ú´±±¼ ×²-«®¿²½» ß½¬ ±º ïçêè ø±® ¿²§ -«¾-»¯«»²¬
   ¿³»²¼³»²¬÷æ




   Ð®»³·-»-
                                  Ý±ª»®¿¹»ø-÷                                      Ü»¼«½¬·¾´»
   Ò«³¾»®ø-÷
     ðèï            É×ÒÜñØß×Ô                                     üîëôððð




      Case
Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
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Ð®±°»®¬§ Ý¸±·½» ó Í½¸»¼«´» ±º Ð®»³·-»- ¿²¼ Ý±ª»®¿¹»- ó ½±²¬·²«»¼

                   ÓÑÎÌÙßÙÛØÑÔÜÛÎÍô ÔÛÒÜÛÎ ÔÑÍÍ ÐßÇÛÛÍ ¿²¼ ÔÑÍÍ ÐßÇÛÛÍ



Ð®»³·-»-
                          Ò¿³»                               ß¼¼®»--            ×²¬»®»-¬
Ò«³¾»®




      Case
Ú±®³ ÐÝ ðð ðî3:24-cv-00490-FDW-SCR
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  Ð±´·½§ Ò«³¾»®         ìí ËËÒ ÜÚîêìë




ÌØ×Í ÛÒÜÑÎÍÛÓÛÒÌ ÝØßÒÙÛÍ ÌØÛ ÐÑÔ×ÝÇò ÐÔÛßÍÛ ÎÛßÜ ×Ì ÝßÎÛÚËÔÔÇò

                      ÍÝØÛÜËÔÛ ÝØßÒÙÛÍ

  ×¬ ·- ¿¹®»»¼ ¬¸¿¬ ¬¸» Í½¸»¼«´» øÚ±®³ ØÝ ïî ïð÷ ·- ½¸¿²¹»¼ ¿- º±´´±©-æ

           Î¿¬·²¹ Ý´¿--·º·½¿¬·±²            Ý±¼» Ò±ò       Ð®»³·«³         Î¿¬»         ß²²«¿´    ß¼¼´ò ±® Î»¬ò
                                                            Þ¿-·-                      Ð®»³·«³      Ð®»³·«³
  ßÜÜ×ÒÙæ                                                                          ü              ü
  ÐÎÛÓ×ÍÛÍ ðèï ÞË×ÔÜ×ÒÙ ððïæ
  ïìîí ÑÔÜ ÍÏËßÎÛ ÎÑßÜ
  ÖßÝÕÍÑÒô ÓÍ íçîïï

  ÍÝØÑÑÔÍ ó ÝÑÔÔÛÙÛÍô                      êéëðç        ßÎÛß              ëëòðìì   üïôììéòðð     üîèçòößÐ
  ËÒ×ÊÛÎÍ×Ì×ÛÍô ÖËÒ×ÑÎ                                  îêôðîè
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